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 13
 14                            UNITED STATES DISTRICT COURT

 15                       SOUTHERN DISTRICT OF CALIFORNIA
 16
      JAMES MILLER, et al.,                          Case No. 3:19-cv-01537-BEN-JLB
 17
                                                     Hon. Roger T. Benitez
 18 Plaintiffs,                                      Magistrate Hon. Jill L. Burkhardt
 19 vs.
                                                     DECLARATION OF JOHN LOTT
 20                                                  IN SUPPORT OF PLAINTIFFS’
    XAVIER BECERRA, in his official
 21                                                  MOTION FOR PRELIMINARY
    capacity as Attorney General of California,      INJUNCTION
 22 et al.,
 23                                                  Complaint filed: August 15, 2019
      Defendants.                                    Amended Complaint filed:
 24
                                                     September 27, 2019
 25
 26                                                  Date: Thursday, January 16, 2020
                                                     Time: 10:00 a.m.
 27                                                  Courtroom: 5A, 5th floor
 28


                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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  1                           DECLARATION OF JOHN LOTT, JR.
  2 I, John R. Lott, Jr., declare as follows:
  3       I am not a party to the captioned action, am over the age of 18, have personal
  4 knowledge of the facts stated herein, and am competent to testify as to the matters stated
  5 and the opinions rendered below.
  6
                                       Background/Qualifications
  7
  8       1. I reside in Burke, Virginia, and am an economist. I graduated with a bachelor’s
  9 degree in economics from the University of California Los Angeles (UCLA) in 1980. I
 10 obtained my master’s degree in economics from UCLA in 1982; and my PhD in
 11
      economics from UCLA in 1984. I have held research and/or teaching positions at
 12
      various higher education academic institutions, including the University of Chicago,
 13
      Yale University, the Wharton School of the University of Pennsylvania, Stanford
 14
 15 University, and Rice University; and was the chief economist at the United States
 16 Sentencing Commission during 1988-1989.
 17       2. I have authored numerous academic and popular publications. For example, I
 18 have authored (a) nine books, including More Guns, Less Crime, The Bias Against
 19 Guns, and Freedomnomics; and (b) more than 100 articles in peer-reviewed academic
 20
    journals.
 21
         3. I am also the founder and president of the Crime Prevention Research Center
 22
    (CPRC). CPRC is a research and education organization dedicated to conducting
 23
 24 academic quality research on the relationship between laws regulating the ownership or
 25 use of guns, crime, and public safety; educating the public on the results of such
 26 research; and supporting other organizations, projects, and initiatives that are organized
 27 and operated for similar purposes. CPRC has section 501(c)(3) status and does not
 28 accept donations from gun or ammunition makers or organizations such as the National

                                                       1
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  1 Rifle Association (NRA) or any other organizations involved in the gun control debate
  2 on either side of the issue.
  3        4. CPRC’s goal is to provide an objective and accurate scientific evaluation of
  4
      both the costs and benefits of gun ownership as well as policing activities. CPRC’s
  5
      core activities include:
  6
               (a)   Conducting and publishing academic quality research on the
  7                  relationship between laws regulating the ownership or use of
  8                  guns, crime, and public safety.
  9           (b)    Supporting affiliated academics in conducting and publishing
 10                  similar research by means such as providing direct financial
                     support, sharing data, and providing technical assistance.
 11
 12           (c)    Educating the public, journalists, and policy makers on the
                     results of research on these issues through books, public
 13                  lectures, newspaper columns, academic seminars, information
 14                  briefings, and other means.
 15           (d)    Making research and data available to researchers, the public,
 16                  policy makers, and journalists by maintaining a comprehensive
                     website.
 17
              (e)    Engaging in other related activities consistent with the mission
 18
                     and goals of CPRC.
 19
           5. Attached hereto as Exhibit 1 is a true and correct copy of my Curriculum Vitae.
 20
      It describes my education, awards, fellowships, work experience, research, books and
 21
 22 publications, presentations, and legislative and court testimony.
 23        6. Based on my education, work experience, research background, publications,
 24 and review of the research of others, in my opinion, there is no credible evidence that
 25 so-called “assault weapons” bans have any meaningful effect of reducing gun
 26 homicides and no discernable crime-reduction impact.
 27
 28

                                                       2
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  1       7.   I have conducted an extensive literature review and have summarized the
  2 results of my research of pertinent publications. I would consider other pertinent
  3 publications if presented with them.
  4
         8. The impact of state assault weapon bans is difficult to determine because very
  5
    few states have implemented such restrictions and all restrictions are relatively new.
  6
    However, based on my and others’ research on assault weapon bans and their effects, I
  7
    have no reason to believe that implementing state assault weapon bans has any more
  8
  9 effect than the 1994 Federal Assault Weapons Ban. All credible research shows that the
 10 1994 Federal Assault Weapons Ban had no discernable effect on gun violence or crime
 11 in general. This is why the federal ban was permitted to sunset due to its lack of effect.
 12       9. More generally, based on my research, as well as my review of the research of
 13 others, gun bans have little to no effect on violent crime or the ability for criminal to
 14
    obtain firearms illegally.
 15
                               Criminals Buy Guns from Other Sources
 16
         10. First, the criminals do not buy their firearms legally. In determining where
 17
 18 criminals obtain their firearms, the U.S. Bureau of Justice Statistics primarily relies on
 19 surveys of state and federal prisoners who possessed a firearm during the offense for
 20 which they are serving time. The surveys provide remarkably consistent results over
 21 time, with very few guns obtained through retail sources (i.e., a gun shop, pawn gun,
 22 flea market, or gun show). The latest survey in 2016 (published in 2019) showed that
 23
    among the prisoners who had a gun during their offense, approximately 90% did not
 24
    obtain it from retail sources, with just 0.4% from flea markets, 0.8% through gun
 25
 26
 27
 28

                                                      3
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  1 shows, and slightly more, 1.6%, from pawn shops and 7.5% from gun shops/stores.1
  2 Attached hereto as Exhibit 2 is a true and correct copy of Alper, et al. (2019).
  3        11. Interestingly, among the prisoners that obtained a firearm during their offense,
  4
      more than half (56%), had either stolen it (6%), found it at the scene of a crime (7%), or
  5
      obtained it off the street or from the underground market (43%).                     The remainder
  6
      includes 1.6% obtained in theft from a family member or a friend, 1.5% from
  7
      burglaries, 0.2% in theft from retail sources, and 3% in other unspecified thefts.
  8
  9 (See Exhibit 2, Alper, et al. 2019 [Table 5].) Considering the number of firearms
 10 widely available throughout the U.S. that would fall under the various definitions of
 11 what constitutes an “assault weapon,” it is unlikely a state ban would have any
 12 beneficial effect.
 13      12. Also, since the California assault weapon ban is largely based on the features
 14
    that are attached to the firearm, nothing prevents an individual from purchasing a
 15
    complaint rifle, purchasing one or more of these banned features, and then unlawfully
 16
    converting the firearm into an illegal configuration. To my knowledge, this is precisely
 17
 18 what was done in 2014 in the San Bernardino terrorist attack. See attached hereto as
 19 Exhibit 3 is a true and correct copy of the digital article from The Wall Street Journal,
 20 “Rifles Used In San Bernardino Shooting Illegal Under State Law.”
 21
 22
 23
 24
 25
       1
          See Mariel Alper and Lauren Glaze, Special Report, “Source and Use of Firearms
       Involved in Crimes: Survey of Prison Inmates, 2016,” U.S. Department of Justice,
 26    Office of Justice Programs, Jan. 2019 [Alper, et al. 2016]; and for numbers in 2001,
 27    see Caroline Wolf Harlow, Special Report, “Firearm Use by Offenders,” U.S.
       Department of Justice, Office of Justice Programs, November 2001
 28    [https://www.bjs.gov/content/pub/pdf/fuo.pdf], last accessed Aug. 2019.)
                                                       4
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  1     Firearm Bans Have Little Effect on Preventing Criminals From Obtaining Guns
  2        13.   Even if all sources for obtaining semiautomatic firearms with various
  3 features such as a pistol grip, telescoping stock, and/or high capacity magazines were
  4
    closed off within the state of California, it is unlikely that such laws would stop the vast
  5
    majority of criminals from acquiring these guns. Take Mexico where there has been
  6
    only one-gun store in the country since 1972; and where only about 1% of Mexican
  7
    adults have licenses to legally own guns, with the most powerful legally owned firearms
  8
  9 are .22-caliber rifles, hardly the type of weapon used by criminals. Despite that, in
 10 2019, Mexico has a murder rate that is more than five (5) times the U.S. rate.2 The point
 11 is simple — criminals have guns and they get them illegally, primarily from drug
 12 dealers; and it is just as difficult to stop criminals from obtaining guns as it is to stop
 13 drug dealers from obtaining illegal drugs. It is also becoming increasingly common for
 14
      criminal to make their own guns, so-called ghost guns. Arbitrary bans of firearm
 15
      features will do little to stop this. Attached hereto as Exhibit 4 are a true and correct
 16
      copies of the article from the Associated Press (2019) and the FBI’s crime report (2017)
 17
 18 [see footnote 2, below].).
 19      14. In fact, based on my research, every place that has banned guns (either all
 20 guns or all handguns) has seen murder rates go up. Examples include Chicago, Illinois,
 21 Washington D.C., and island nations such as England, Jamaica, Ireland, Venezuela, and
 22 obscure places like the Solomon Islands. The original research is available in Lott,
 23
      More Guns, Less Crime, University of Chicago Press, 2010, Third edition. Support for
 24
 25    2
           Associated Press, “Mexico sets 1st half murder record, up 5.3%,” July 22, 2019
 26    (https://www.apnews.com/c197a3ee34834ea69f745975fa632ea2). Compare these
       numbers to the FBI Uniform Crime Report for 2017 (https://ucr.fbi.gov/crime-in-the-
 27
       u.s/2017/crime-in-the-u.s.-2017/topic-pages/tables/table-1).
 28

                                                      5
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  1 my opinion is found at https://crimeresearch.org/2016/04/murder-and-homicide-rates-
  2 before-and-after-gun-bans/.
  3       15. According to the 2018 FBI Crime in the United States, murders involving all
  4
      types of rifles and shotguns totaled 541 of 10,265 in the United States. See FBI
  5
      Criminal Justice Information Services Division, “2018 Crime in the United States,”
  6
      Table 20 (referenced in paragraph 16 below). Assault weapon bans largely prohibit
  7
      various rifles and shotguns (although certain handguns can be included in the definition
  8
  9 of assault weapon). Thus, a country-wide ban may only have a chance of effecting less
 10 than .0527% of firearm murders. This percentage is even lower when you consider
 11 California’s assault weapon law would only apply within the state of California. In
 12 California, murders involving all types of rifles and shotguns totaled 51 of 1,117
 13 murders committed with firearms. Id. In other words, rifle and shotgun murders
 14
    accounted for .0433% of murders involving firearms in California. Id.
 15
          16. By comparison, there were 87 murders with “hands, fists, feet etc.” and 252
 16
    murders with “knives or cutting instruments in California. Id. Moreover, there were 615
 17
 18 total murder by “hands, fists, feet, etc” across the United States – 74 more than murders
 19 with rifles and shotguns combined. No significant or even discernable decrease in crime
 20 or gun violence could be attributable to a firearm ban that only effects such an
 21 insignificant percentage of the actual gun crime committed.
 22      17. Attached hereto as Exhibit 5 is a true and correct copy of the FBI Criminal
 23
    Justice Information Services Division, “2018 Crime in the United States,” Table 20
 24
    [Murder by State, Types of Weapons, 2018].
 25
 26
 27
 28

                                                      6
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  1     All Credible Studies Conclude That Assault Weapon Bans Have No Meaningful
                                    Effect on Gun Crime
  2
  3       18. In addition to my own peer-reviewed research, I have reviewed the pertinent
  4 studies and surveys regarding the effects of assault weapons bans on gun violence.
  5 Below is a list of the various research that has been conducted. With each publication, I
  6 have identified the title and authors, summarized the key findings of the article, and
  7
      then presented an analysis of those conclusions, along with my professional opinion on
  8
      the methods used in each publication.
  9
          19. Christopher S. Koper, Daniel Woods, and Jeffrey A. Roth, “Impact
 10
      Evaluation of the Public Safety and Recreational Firearms Use Protection Act of
 11
 12 1994,” National Institute of Justice, United States Department of Justice, March
 13 1997. This paper was later republished in the Journal of Quantitative Criminology,
 14 September 2002. (Christopher S. Koper, Daniel Woods, and Jeffrey A. Roth, “Updated
 15 Assessment of the Federal Assault Weapons Ban: Impacts on Gun Markets and Gun
 16
    Violence, 1994-2003,” National Institute of Justice, United States Department of
 17
    Justice, June 2004).
 18
         20. These two papers use panel data for the United States to study the impact of
 19
    the Federal Assault Weapon Ban over two different periods of time to study homicide
 20
 21 rates and mass shootings. Criminology professors Chris Koper and Jeff
 22 Roth concluded, in a 1997 report for the National Institute of Justice, that the gun
 23 homicide rates were reduced since the ban, however, “[t]he evidence is not strong
 24 enough for us to conclude that there was any meaningful effect (i.e., that the effect was
 25 different from zero).” It also found “no statistical evidence of post-ban decreases in
 26
      either the number of victims per gun homicide incident, the number of gunshot wounds
 27
      per victim, or the proportion of gunshot victims with multiple wounds.” Id. at 172.
 28

                                                      7
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  1 Messrs. Koper and Roth suggested that it might be possible to find a benefit after the
  2 ban had been in effect for more years.
  3       21. In 2004, they published the follow-up NIJ study with fellow criminologist
  4
      Dan Woods. In this study, they found: “[w]e cannot clearly credit the ban with any of
  5
      the nation’s recent drop in gun violence” and “indeed, there has been no discernible
  6
      reduction in the lethality and injuriousness of gun violence, based on indicators like the
  7
      percentage of gun crimes resulting in death or the share of gunfire incidents resulting in
  8
  9 injury[.]” The study concluded that should the federal ban be reauthorized (and it was
 10 not), “the evidence on these matters is too limited (both in volume and quality) to make
 11 firm projections of the [federal] ban’s impact[.]” Ex. 380-381.
 12       22.    Attached hereto as Exhibit 6 is a true and correct copy of Christopher S.
 13 Koper, Daniel Woods, and Jeffrey A. Roth, “Impact Evaluation of the Public Safety and
 14
    Recreational Firearms Use Protection Act of 1994,” National Institute of Justice, United
 15
    States Department of Justice, March 1997.
 16
         23. Attached hereto as Exhibit 7 is a true and correct copies of (Christopher S.
 17
 18 Koper, Daniel Woods, and Jeffrey A. Roth, “Updated Assessment of the Federal
 19 Assault Weapons Ban: Impacts on Gun Markets and Gun Violence, 1994-2003,”
 20 National Institute of Justice, United States Department of Justice, June 2004).
 21       24.    Kleck, “Large-Capacity Magazines and the Casualty Counts in Mass
 22 Shootings: The Plausibility of Linkages,” Justice Research and Policy, Vol 17,
 23
    2016: 28-47. This study looks at whether large-capacity magazines that are used in
 24
    mass public shootings allow the murderers to fire their guns at faster rates than they
 25
    could have otherwise fired their guns. But the report finds: “the data indicate that mass
 26
 27 shooters maintain such slow rates of fire that the time needed to reload would not
 28

                                                       8
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 1 increase the time between shots and thus the time available for prospective victims to
 2 escape.” Ex. 8 at 393.
 3       25. Attached hereto as Exhibit 8 is a true and correct copy of Kleck,
 4
     “Large-Capacity Magazines and the Casualty Counts in Mass Shootings: The
 5
     Plausibility of Linkages,” Justice Research and Policy, Vol 17, 2016: 28-47.
 6
         26. Gius, “An examination of the effects of concealed weapons laws and
 7
     assault weapons bans on state-level murder rates,” Applied Economics Letters,
 8
 9 2014. This study follows different states over time from 1980 to 2009 to see whether
10 they are covered by either the federal or state assault weapon bans through the use of
11 panel data. The study uses variables that pick up the pre-existing average differences for
12 different states and years. The study finds no impact from assault weapon bans.
13      27. This study only accounts for one other type of gun control. Problems with the
14
     study include that it does not account for any types of law enforcement. Only one
15
     specification is provided so no evidence is provided on the sensitivity of the estimate.
16
     No explanation is offered for the years studied.
17
18       28. Attached hereto as Exhibit 9 is a true and correct copy of Gius, “An

19 examination of the effects of concealed weapons laws and assault weapons bans on
20 state-level murder rates,” Applied Economics Letters, 2014.
21       29. Lott, More Guns, Less Crime, University of Chicago Press, 2010, third
22 edition. This study follows different states over time from 1977 to 2005 to see whether
23
   they are covered by either the federal or state assault weapon bans through the use of
24
   panel data. The study finds no impact from assault weapon bans. The study uses
25
   variables that pick up the pre-existing average differences for different states and years.
26
27 The study accounts for twelve other types of gun control and hundreds of other factors
28

                                                      9
                          DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 including detailed demographics, arrest rates, percent of the population in prison,
 2 poverty rates, and income.
 3        30. Attached hereto as Exhibit 10 are true and correct copies of relevant excerpts
 4
     from Lott, More Guns, Less Crime, University of Chicago Press, 2010, third edition.
 5
          31. Koper, Johnson, Nichols, Ayers, and Mullins, “Criminal Use of Assault
 6
     Weapons and High-Capacity Semiautomatic Firearms: an Updated Examination
 7
     of Local and National Sources,” Journal of Urban Health (2018). The purpose of
 8
 9 this study was to investigate “current levels of criminal activity with assault weapons
10 and other high-capacity semiautomatics in the USA….” This study provides no
11 evidence that murders or mass public shootings were reduced by the assault weapon
12 ban. Specifically, it provides city level data for ten cities showing that the percentage of
13 guns recovered by the police from criminals that are assault weapons, and their numbers
14
     range from 2.4% in Baltimore to 8.5% in Syracuse. Ex. 11, at 879. They also provide
15
     some national data from the ATF that 5% of all guns recovered by police and reported
16
     to the ATF for tracing are assault weapons. Notably, the study states that “[p]atterns and
17
18 trends in these particular cities may not be indicative of those elsewhere; further,
19 some… are covered by state AW [assault weapon] and LCM [large capacity magazines]
20 restrictions that were in effect during all or portions of the study period (this study does
21 not attempt to evaluate the implementation and effects of these laws or variations
22 therein.” Id. at 877. The study also provides additional caveats throughout regarding its
23
     data collection. With regard to the study’s data on firearms recovered by law
24
     enforcement agencies throughout the nation reported by the ATF, the study states that
25
     the information “do[es] not constitute a statistically representative sample for the nation
26
27 given that gun tracing is voluntary… and varies between agencies and over time.” Id.
28 at 878. In other words, since police don’t trace all guns, there is the concern of

                                                     10
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 1 self-selection. Also, ten cities provide only the roughest picture of what is happening
 2 nationally and cannot be relied on as credible evidence regarding this study’s
 3 conclusions.
 4
         32. However, if you look at murders, the FBI Uniform Crime Reports show that
 5
   only 2.9% of firearm murders and 2.1% of all murders are committed with any type of
 6
   rifle. Not only is this small, but the share fell after the federal assault weapon ban fell
 7
   ended. The percentage of firearm murders with rifles was 4.8% prior to the ban starting
 8
 9 in September 1994, 4.9% from 1995 to 2004 when the ban was in effect, and just 3.6%
10 after that (3.9% if you look at just the first ten years after the ban ended). There are
11 similar drops over time if one looks at the share of total murders committed with rifles.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27       33. Attached hereto as Exhibit 11 is a true and correct copy of Koper, Johnson,
28
     Nichols, Ayers, and Mullins, “Criminal Use of Assault Weapons and High-Capacity
                                             11
                         DECLARATION OF JOHN LOTT IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 Semiautomatic Firearms: An Updated Examination of Local and National Sources,”
 2 Journal of Urban Health (2018).
 3       34. DiMaggio, Avraham, Berry, Bukur, Feldman, Klein, Shah, Tandon, and
 4
     Frangos, "Changes in US mass shooting deaths associated with the 1994-2004
 5
     federal assault weapons ban: Analysis of open-source data," Trauma Acute Care
 6
     Surgery 2018. This study tested the hypothesis that the Federal Assault Weapons Ban
 7
     was associated with a decrease in mass shooting fatalities in the United States. Unlike
 8
 9 the other studies described above that use panel data, this study used purely time series
10 United States data from 1981 to 2017. The difficulty with purely time-series evidence is
11 that you only have two experiments: (i) the implementation of the Federal Assault
12 Weapons Ban in 1994, and (ii) the elimination of the ban in 2004. Having only two
13 experiments makes it difficult to account for any other factors, and this study accounts
14
     for no other factors. Although the study states that “mass-shooting related homicides in
15
     the United States were reduced during the years of the federal assault weapons ban of
16
     1994 to 2004,” it also acknowledges that it made no attempt to differentiate states with
17
18 and without their own assault weapon bans. Ex. 12, at 887.
19     35. To the extent that mass public shootings are occurring in states that already
20 have their own assault weapon bans in either the pre- or post-federal ban periods, their
21 estimates will be misleading. There is another significant problem with these estimates.
22 They make no attempt to see whether the rate of shootings with assault weapons have
23
     changed over these periods. These estimates lump together attacks with and without
24
     assault weapons. If their claims are correct, we should see a drop in the percent of
25
     attacks with assault weapons during the federal ban period and then an increase in the
26
27 post-ban period, but as the next section below on Klarevas’s work shows, that is not the
28 case.

                                                    12
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 1       36. Importantly, the study states that its analysis does not “indicate that an assault
 2 weapon ban will result in fewer overall firearm-related homicides,” but then claims
 3 these results “support a re-institution of the 1994 federal assault weapons ban as a way
 4
   to prevent and control mass shooting fatalities in the United States.” Ex. 12, at 897.
 5
   Considering the methods used, it is difficult to come to the same conclusion.
 6
        37. Attached hereto as Exhibit 12 is a true and correct copy of DiMaggio,
 7
   Avraham, Berry, Bukur, Feldman, Klein, Shah, Tandon, and Frangos, "Changes in US
 8
 9 mass shooting deaths associated with the 1994–2004 federal assault weapons ban:
10 Analysis of open-source data," Trauma Acute Care Surgery 2018
11       38. Gius, “The impact of state and federal assault weapons bans on public
12 mass shootings,” Applied Economics Letters, 2015: 281-284. The purpose of this
13 study was to determine the effects of federal and state assault weapons bans on public
14
   mass shootings. Unlike the DiMaggio et al., study above, this paper provides a panel
15
   level analysis. The author claims to find “fatalities due to mass shootings were lower
16
   during both the federal and state assault weapons ban periods.” Ex. 13, at 910.
17
18 However, like the DiMaggio paper, this conclusion is misleading. If Gius’ claim is
19 correct, we should see a drop in the percent of attacks with assault weapons during the
20 federal ban period and then an increase in the post-ban period, but the Gius paper
21 doesn’t examine this. Thus, Guis’ conclusions are flawed as they do not take into
22 account the proper considerations. Moreover, as the next section shows, that is not the
23
   case.
24
        39. There are a couple other important points to make. As in Gius’ 2014 paper, no
25
   attempt is made to try to account for any impact from law enforcement or other gun
26
27 control measures. The only gun control law accounted for is the assault weapon ban.
28

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 1 Thus, there is no way to differentiate between the assault weapons ban and other gun
 2 control measures that may have been in place during the period studied.
 3        40. In addition, the Guis study used Mother Jones data as a basis for its analysis.
 4
     The Mother Jones data is problematic. As criminologist James Alan Fox noted: “Not
 5
     only is Mother Jones’ decision to disqualify cases based on certain criteria hard to
 6
     defend, the criteria themselves were not necessarily applied consistently. . . .
 7
     Notwithstanding the questionable motive-based selectivity built into the Mother Jones
 8
 9 analysis, it seems odd to ignore shootings with large death tolls just because there was
10 more than one shooter or because the shooter was related to his or her victims. These
11 incidents are no less devastating to the families and communities impacted by the
12 crimes.” James Alan Fox, “Mass shootings not trending,” The Boston Globe,
13 January 23, 2013 (http://archive.boston.com/community/blogs/crime_punishment/2013
14
     /01/mass_shootings_not_trending.html). Thus, the Mother Jones data was arbitrarily
15
     selective in its data collection.
16
          41. Finally, the study acknowledges that “many of the perpetrators in these mass
17
18 shootings used multiple types of firearms. Contrary to popular belief, however, assault
19 rifles were not the predominant type of weapon used in these types of crimes. In fact,
20 according to a recent study, handguns were to most commonly used type of firearm in
21 mass shootings (32.99% of mass shootings); rifles were used in only 8.25% of mass
22 shootings (Huff-Corzine et al., 2014).” Ex. 13, at 908. Thus, a conclusion that assault
23
     weapon bans (largely focused on rifles) have any significant effect on reducing mass
24
     shooting fatalities is problematic.
25
          42. Attached hereto as Exhibit 13 is a true and correct copy of Gius, “The impact
26
27 of state and federal assault weapons bans on public mass shootings,” Applied
28 Economics Letters, 2015: 281-284.

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 1       43. Rampage Nation by Louis Klarevas. The non-refereed book titled, Rampage
 2 Nation by Louis Klarevas has been cited most frequently by gun control advocates and
 3 politicians, including Senator Feinstein. Jon Stokes, “The assault weapons ban didn't
 4
   work. A new version won't, either,” Los Angeles Times, March 1, 2018
 5
   (https://www.latimes.com/opinion/op-ed/la-oe-stokes-assault-weapon-ban-20180301-
 6
   story.html). A very similar claim has been made in the New York Times by two other
 7
   academics, John Donohue at Stanford Law School and Theodora Boulouta a student at
 8
 9 Stanford. John Donohue and Theodora Boulouta, “That Assault Weapon Ban? It Really
10 Did Work,” New York Times, September 4, 2019 (https://www.nytimes.com/
11 2019/09/04/opinion/assault-weapon-ban.html). In forming his analysis and conclusions,
12 Klarevas limits his research to shootings with 6 or more fatalities. I don’t know of any
13 other study that does this, and Klarevas doesn’t provide an explanation. Nor does he
14
   explain why he lumps in public shootings with gang shootings, failing to draw any
15
   distinction. These factors single out Klarevas’ analysis as no other studies use these
16
   limitations or fail to make such distinctions. In Klarevas’ book, he merely uses the
17
18 alternative phraseology of “high-fatality” mass shootings. These issues call into
19 question Klarevas’ conclusions.
20       44. To further address the various problems with Klarevas’ analysis and
21 conclusions, I have provided a Washington Post graph that makes use of Klarevas’
22 numbers below. Senator Dianne Feinstein (D-CA) showed President Trump this
23
   diagram when she met with him shortly after the Parkland school shooting in Florida in
24
   February 2018. Brian Doherty, “Dianne Feinstein Touts Research Claiming the Assault
25
   Weapon Ban Reduced Mass Shootings,” Reason, March 2, 2018
26
27 (https://reason.com/2018/03/02/research-relied-on-to-defend-a-new-assau/).
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12       45. Few academics would make the types of comparisons that Klarevas makes.
13 They would instead observe how death rates changed in states where the federal ban
14 actually affected the ability of citizens to own assault weapons. Then they would
15
   compare these states with other states where the law effectively remained unchanged
16
   because state-level bans were already in place. Klarevas did not do this. However,
17
   Koper and Roth did it in their studies, and as I have done in my own research. These
18
19 studies did not find any impact from assault weapon bans.
20       46. Over time, the rate of mass shootings or mass public shootings may rise or fall
21 for many reasons. But regardless of any other factors, if assault weapons bans reduced
22 these attacks, the share of attacks committed with “assault weapons” should have
23 decreased. For the sake of argument, let’s follow Klarevas in looking at the total
24
   number of attacks before, during, and after the assault weapons ban. We will use the
25
   cases that Klarevas identifies in his book as mass shootings (pp. 72 and 73), as well as
26
   mass public shootings collected by Mother Jones and the CPRC. Klarevas doesn’t
27
   provide any breakdown of shootings committed with assault weapons, even though the
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 1 1994 assault weapons ban is the subject of his research. In other words, as assault
 2 weapon bans would not affect firearms that are not defined as “assault weapons,” any
 3 analysis on the effect of assault weapon bans needs to take into account mass shootings
 4
   that did not involve an assault weapon.
 5
        47. In an email to writer Jon Stokes, Klarevas identified seven mass shootings
 6
   with assault weapons over the ten years from 1984 through 1993 (the earliest being the
 7
   San Ysidro, California attack on a McDonald’s in July 1983). Jon Stokes, “The assault
 8
 9 weapons ban didn't work. A new version won't, either,” Los Angeles Times,
10 March 1, 2018      (https://www.latimes.com/opinion/op-ed/la-oe-stokes-assault-weapon-
11 ban-20180301-story.html). Using Klarevas’ definition, we identified only two cases
12 involving assault weapons in the ten years during which the Federal Assault Weapons
13 Ban was in effect – September 1994 to September 2004. The two attacks were the
14
   Columbine shooting in 1999 and a case in Wakefield, Massachusetts in 2000 that
15
   involved an AK-47. Our numbers will differ slightly from Klarevas’ simply because we
16
   look at the 10-year periods from September 1984 to August 1994, September 1994 to
17
18 August 2004, and September 2004 to September 2014. We only include part of 1984
19 and 2014 in our time range, whereas Klaveras includes both years in their entirety.
20       48. We utilize Mother Jones magazine’s mass shootings dataset, even though it
21 includes cases that don’t meet the FBI’s definition of mass public shootings. But since it
22 is a widely cited source of cases, we have used it for our comparisons.
23
         49. No matter which dataset we use, the number of mass shootings committed
24
     with assault weapons is very small compared to the total number of mass shootings.
25
     Looking at the number of attacks with assault weapons, the Mother Jones list shows a
26
27 difference of only one or two between each of the three, ten-year periods. This holds
28 true whether we use the traditional FBI definition of 4-or-more killed or Klarevas’

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1 definition of 6-or-more killed. The Crime Prevention Research Center (CPRC) data are
2 similar, showing differences of either zero, two, or three attacks between the ten-year
3 periods. None of these changes are large enough to prove that the ban had any impact
4
  on the frequency of attacks.
5
       50. Looking at attacks committed with any type of firearm, the disparities that
6
  Klarevas finds between the pre-ban and ban periods either completely disappear or
7
  become differences of just one or two attacks.
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 1       51.    When we instead look at the number of fatalities instead of the number of
 2 mass public shootings, we see again that there is very little evidence of any benefit from
 3 the assault weapons ban. Using the Mother Jones list of cases, we find that compared to
 4
   the preceding ten years, there was a drop of only four deaths in the decade of the assault
 5
   weapons ban. That comes to 0.4 fewer deaths per year. The CPRC data actually shows
 6
   that there was a slight increase in deaths when the ban was in effect. This pattern holds
 7
   true for mass shootings with 6 or more fatalities.
 8
 9       52. In fact, Klarevas’ own data shows a decline over time that continued after the

10 assault weapons ban expired. The Mother Jones and CPRC data show even steeper
11 post-ban declines. Instead of the decade with the assault weapons ban showing the
12 lowest share of deaths from assault weapons, the pattern is contrary to what gun control
13 advocates would predict. This is true whether one uses the traditional FBI definition of
14
     4-or-more killed or Klarevas’ definition of 6-or-more killed. See graphs below.
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14       53. Again, the Federal Assault Weapons Ban should have caused the number of
15 attacks with assault weapons to have declined relative to attacks committed using other
16 types of firearms. Testing for this seems to be the best way of evaluating Klarevas’ and
17 other gun control advocates’ claims. But whether we use Klarevas’ list of cases and his
18 definition of mass shootings, or the Mother Jones or CPRC lists and definitions, none of
19 the results are consistent with what gun control advocates would predict. The share of
20 attacks involving assault weapons did not reach its lowest point during the Federal
21
     Assault Weapons Ban. For both Klarevas and Mother Jones, the share of attacks
22
     committed with assault weapons continued to drop even after the assault weapons ban
23
     expired. The ten years after the end of the assault weapons ban (September 2004 to
24
     August 2014) saw the lowest share of shootings that involved assault weapons.
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 1        54. Chicoine, “Homicides in Mexico and the expiration of the U.S. federal
 2 assault weapons ban: a difference-in-discontinuities approach,” Journal of
 3 Economic Geography, 2017. This study finds a “statistically significant increase in the
 4
   firearm homicide rate following the [2004] expiration of the Assault Weapon Ban” in
 5
   Mexico. Ex. 14, at 913. Mexico’s homicide and firearm homicide rates fell until 2007,
 6
   three years after the federal assault weapons ban ended, and then had almost tripled by
 7
   2010. While the paper mentions that the Mexican government started using the military
 8
 9 to fight the drug cartels in 2006 and that estimated cocaine sales to the United States fell
10 after 2006, the author ignores the exact reason that the Mexican government war on the
11 cartels was the reason for the increased the murder rate. During this time, the Mexican
12 government succeeded in removing some of the top leadership in the cartels. This
13 caused the cartels to splinter and wars broke out between the different factions to try
14
     control parts of the drug trade – which significantly increased the homicide rates. As
15
     this critical factor was not considered in this study, little credibility can be given to its
16
     conclusions.
17
18        55. Attached hereto as Exhibit 14 is a true and correct copy of Chicoine,

19 “Homicides in Mexico and the expiration of the U.S. federal assault weapons ban: a
20 difference-in-discontinuities approach,” Journal of Economic Geography, 2017.
21
                                     Other Public Health Studies
22
          56. Fleegler, Lee, Monuteaux, Hemenway, and Mannix, “Firearm Legislation
23
24 and Firearm-Related Fatalities in the United States,” JAMA Internal Medicine,
25 May 13, 2013. This study attempts to determine whether more firearm laws in a state
26 are associated with fewer firearm fatalities. Although the study claims to find “an
27 association between the legislative strength of a state’s firearm laws — as measured by
28 a higher number of laws — and a lower rate of firearm fatalities,” the study uses purely

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 1 cross-sectional data so it can’t account for pre-existing differences across states. Ex. 15,
 2 at 979. Also, it does not separate out the impact of assault weapons laws. The study
 3 sums all the different laws together so that it is impossible to tell the impact of any one
 4
   law on crime rates. Thus, it cannot claim that assault weapon laws have any effect on
 5
   homicides or suicides. This study concludes by stating it “could not determine a cause-
 6
   and-effect relationship, further studies are necessary to define the nature of this
 7
   association.” Id.
 8
 9      57. Attached hereto as Exhibit 15 is a true and correct copy of Fleegler, Lee,

10 Monuteaux, Hemenway, and Mannix, “Firearm Legislation and Firearm-Related
11 Fatalities in the United States,” JAMA Internal Medicine, May 13, 2013.
12       58. Siegel, Pahn, Xuan, Fleegler, and Hemenway, “The Impact of State
13 Firearm Laws on Homicide and Suicide Deaths in the USA, 1991–2016: A Panel
14
   Study,” Journal of General Internal Medicine, 2019. This study analyzed the
15
   relationship between state firearm laws and overall homicide and suicide rates at the
16
   state level across all 50 states over a 26-year period. Of the 10 laws analyzed, the paper
17
18 found no effect of the assault weapon bans on either the homicide or suicide. These
19 authors use different sets of control variables and specifications and different periods of
20 time in different papers without any explanation. This raises concerns about data
21 mining.
22      59. Attached hereto as Exhibit 16 is a true and correct copy of Siegel, Pahn,
23
   Xuan, Fleegler, and Hemenway, “The Impact of State Firearm Laws on Homicide and
24
   Suicide Deaths in the USA, 1991–2016: A Panel Study,” Journal of General Internal
25
   Medicine, 2019.
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 1                 Survey Analysis Also Concludes Assault Weapon Bans Have No
                                      Discernable Effect
 2
 3       60. Several surveys have been conducted relating to whether assault weapon bans
 4 have any effect on reducing gun crime. These surveys form their conclusions based on
 5 the consensus of the various studies they have reviewed. It should be noted that these
 6 surveys make rules on what studies to include or exclude in their survey. Thus, they are
 7
     not as reliable as the actual studies conducted to form conclusions. However, I have
 8
     reviewed two surveys that discuss the effectiveness of assault weapons bans. All the
 9
     studies that each survey considered are included in our above discussion. These surveys
10
     reached the same conclusion shown here – that there was no significant evidence that
11
12 assault weapon bans reduced violent crime or suicide.
13       61. Attached hereto as Exhibit 17 is a true and correct copy of Hahn, Bilukha,
14 Crosby, Fullilove, Liberman, Moscicki, Snyder, Tuma, and Briss, “Firearms Laws
15 and the Reduction of Violence A Systematic Review,” American Journal of
16
   Preventative Medicine, 2005
17
       62. Attached hereto as Exhibit 18 is a true and correct copy of Rand
18
   Corporation, “Effects of Bans on the Sale of Assault Weapons and High-Capacity
19
   Magazines on Mass Shootings,” Gun Policy in America, March 2, 2018.
20
21                                 CONCLUSIONS

22       63. Based on my education, work experience, research background, publications,
23 and review of the research of others, in my opinion, there is no credible evidence that
24 so-called “assault weapons” bans have any meaningful effect on reducing gun
25 homicides and no discernable crime-reduction impact. Several studies have shown no
26
   discernable crime-reduction impact. The studies or articles that do show some crime-
27
   reduction impact suffer from various flaws in their methods and data collection. These
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1 factors call into question their conclusions and, therefore, the studies should not be
2 relied on as credible.
3        64. Thus, all credible evidence shows that assault weapon bans have little to no
4
     effect in reducing mass shootings, homicides, or violent crime in general.
5
         I declare under penalty of perjury that the foregoing is true and correct. Executed
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     within the United States on December 6, 2019.
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  4
         1     John R. Lott                                                    0001-0124
  5            Curriculum Vitae
  6      2     “Source and Use of Firearms Involved in Crimes:                 0125-0145
  7            Survey of Prison Inmates, 2016” U.S. Department
               of Justice, Office of Justice Programs;
  8            (2019) Mariel Alper and Lauren Glaze
  9      3     “Rifles Used In San Bernardino Shooting Illegal                 0146-0148
10             Under State Law” The Wall Street Journal

11       4     “Mexico sets 1st half murder record, up 5.3%”                   0149-0154
               Associated Press (2019);
12             FBI Uniform Crime Report for 2017
13       5     “2018 Crime in the United States” (Table 20);      0155-0158
14             FBI Criminal Justice Information Services Division
               (2018)
15
         6     “Impact Evaluation of the Public Safety and                    0159-0276
16             Recreational Firearms Use Protection Act of
17             1994”; National Institute of Justice, United States
               Department of Justice (March 2017)
18
         7     “Updated Assessment of the Federal Assault          0277-0391
19             Weapons Ban: Impacts on Gun Markets and Gun
20             Violence, 1994-2003” National Institute of Justice,
               United States Department of Justice (2004) Koper,
21             et al.
22       8     “Large-Capacity Magazines and the Casualty                     0392-0412
23             Counts in Mass Shootings: The Plausibility of
               Linkages,” Justice Research Policy, Volume 17
24             (2016) Kleck
25       9     “An examination of the effects of concealed
                                                                              0413-0417
26             weapons laws and assault weapons ban on
               state-level murder rates, Applied Economics
27
               Letters (2014) Gius
28


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  3   Exhibit Description                                                      Page(s)
  4
         10    Relevant Excerpts from                                        0418-0874
  5            More Guns, Less Crime, University of Chicago
  6            Press (2010) Lott
  7      11    “Criminal Use of Assault Weapons and                          0875-0884
               High-Capacity Semiautomatic Firearms: An
  8            Updated Examination of Local and National
  9            Sources,” Journal of Urban Health
               (2018) Koper, et al.
10
         12    “Changes in US mass shooting deaths associated   0885-0905
11             with the 1994-2004 federal assault weapons ban:
12             Analysis of open-source data,” Trauma Acute Care
               Surgery (2018) DiMaggio, et al.
13
         13    “The impact of state and federal assault weapons               0906-0911
14             bans on public mass shootings,” Applied
15             Economics Letters (2015) Guis
16       14    “Homicides in Mexico and the expiration of the                 0912-0970
               U.S. federal assault weapons ban: a difference-in-
17             discontinuities approach,” Journal of Economic
18             Geography (2017) Chicoine
19       15    “Firearm Legislation and Firearm-Related                       0971-0980
               Fatalities in the United States,” JAMA Internal
20             Medicine (2013) Fleegler, et al.
21       16    “The Impact of State Firearm Laws on Homicide      0981-0989
22             and Suicide Deaths in the USA, 1991-2016: A
               Panel Study,” Journal of General Internal Medicine
23
               (2019) Siegel, et al.
24       17    “Firearms Laws and the Reduction of Violence A                 0990-1023
25             Systematic Review, “ American Journal of
               Preventative Medicine (2005) Hahn, et al.
26
         18    “Effects of Bans on the Sale of Assault Weapons 1024-1027
27
               and High-Capacity Magazines on Mass Shootings,”
28             Gun Policy in America (2018) Rand Corporation
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             EXHIBIT "1"




                                   Exhibit 1
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                                                                               November 20, 2016
                                       Curriculum Vitae

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                    MA: UCLA, 1982, Economics
                    BA: UCLA, 1980, Economics, Magna cum laude

DISSERTATION:       “Alternative Explanations for Public Provision of Education”
                     CHAIRMAN: Harold Demsetz

RANKINGS:          Number 27 among Economics, Law, and Business researchers in terms of
                        lifetime downloads of papers at the Social Science Research Network
                    Worldwide Rankings of Economists and Economics Departments: 1969-2000
                        by Tom Coupe listed me 26th worldwide in terms of quality adjusted total
                        academic journal output, 4th in terms of total research output, and 86th in
                        terms of citations.
                   Listed in various editions of “Who’s Who in Economics” by Mark Blaug and
                        Howard Vane.

AWARDS AND FELLOWSHIPS:
                 Senior Research Scholar, School of Law, Yale University __ Sept. 1999 to
                        August 2001.

                    The John M. Olin Law and Economics Fellow, School of Law, University of
                           Chicago __ September 1995 to August 1999.

                    The John M. Olin Visiting Assistant Professor, The George J. Stigler Center for
                           the Study of the Economy and the State, Graduate School of Business,
                           University of Chicago __ July 1994 to August 1995.

                    The John M. Olin Visiting Fellow, Cornell University Law School, March 1994.

                    Winner of the Duncan Black Award presented by the Public Choice Society for
                          the best Public Choice paper of the year for 1992.

                    The John M. Olin National Fellow, Hoover Institution, Stanford University __
                           September 1986 to August 1987.

                    Honorable Mention, Outstanding Doctoral Dissertation Contest in Government
                          Finance and Taxation sponsored by the National Tax Association and
                          the Tax Institute of America, 1984.

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                                                                        John R. Lott, Jr. Page 2
AWARDS AND FELLOWSHIPS (CONTINUED):

                    Weaver Fellowship, Intercollegiate Studies Institute, 1980-1981.
WORK EXPERIENCE:

           President, Crime Prevention Research Center -- August 5, 2013 to Present.
           Columnist, Fox News -- March 3, 2008 to Present.
           Contributor, Fox News -- March 3, 2008 to November 11, 2013.
           Senior Editorial Writer for Economics, Washington Times -- February 2009 to December
              1, 2010.
           Senior Research Scientist, University of Maryland Foundation, University of Maryland at
              College Park -- July 2007 to June 2009.
           The Dean’s Visting Professor, State University of New York at Binghamton – August
              2006 to July 2007.
           Resident Scholar, American Enterprise Institute __ September 2001 to July 2006.
           Senior Research Scholar, School of Law, Yale University __ September 1999 to August
              2001.
           The John M. Olin Law and Economics Fellow, School of Law, University of Chicago __
                 September 1995 to August 1999.
           The John M. Olin Visiting Assistant Professor, The George J. Stigler Center for the Study
                 of the Economy and the State, Graduate School of Business, University of Chicago
                 __ July 1994 to August 1995.
           The John M. Olin Visiting Fellow, Cornell University Law School, March 1994.
           The Carl D. Covitz Term Assistant Professor, The Wharton School, University of
                 Pennsylvania __ July 1991 to June 1995.
           Visiting Assistant Professor, John E. Anderson Graduate School of Management,
                 University of California at Los Angeles __ July 1989 to June 1991.
           Chief Economist (GS-15, Step 6), United States Sentencing Commission, Washington,
                 D.C. __ February 1988 to August 1989.
           Visiting Assistant Professor, Department of Economics, Rice University __ July 1987 to
                 June 1988.
           The John M. Olin National Fellow, Hoover Institution, Stanford University __ September
                 1986 to August 1987.
           Visiting Assistant Professor, Department of Economics, Texas A&M University __
                 August 1984 to June 1986.
           Lecturer, Department of Economics, California State University, Northridge __ August
                 1983 to June 1984.

FIELDS OF INTEREST FOR RESEARCH:

           Law and Economics, Public Choice, Industrial Organization, Labor, Public Finance,
                Microeconomic Theory, Environmental Regulation




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COURSES TAUGHT (PARTIAL LIST):

            Managerial Economics (MBA), Legal Environment of Business (MBA), Environmental
                Regulation (MBA), White Collar Crime and Corporate Criminal Penalties (MBA),
                Public Choice (Graduate), Microeconomics (Principles, Intermediate, and MBA),
                Macroeconomics (Principles, Intermediate, and MBA), Money and Banking
                (Undergraduate), Issues in Deterrence (Law), Empirical Law and Economics (Law),
                Cost-Benefit Analysis (Undergraduate, MBA, Graduate), Political Economy of the
                Public Sector (MBA), Economics of the Nonprofit Sector (MBA), Research
                Seminar for Law Students

OTHER AFFILIATIONS:
           Adjunct Scholar, American Enterprise Institute, January 1995 to August 2001.
           Member, The Mont Pelerin Society, September 1990 to present.
           Associate, Political Economy Research Center, March 1987 to present.
           Member, National Policy Forum, Economic Growth and Workplace Opportunity, January
                  1994 to 1996.

EDITORIAL ACTIVITY AND OTHER PROFESSIONAL POSITIONS:
           Coeditor, Economic Inquiry, November 1996 to August 1998.
           Editorial Board, Regulation, July 1989 to 2006.
           Editorial Board, Public Choice, March 1994 to December 2003.
           Editorial Board, Managerial and Decision Economics, January 1994 to July 1998.
           Co-editor, Special Issue of Journal of Law and Economics on Penalties: Public and
                  Private, 1999.
           Co-editor, Special Issue of Economic Inquiry in Honor of Armen Alchian’s 80th
                  Birthday, July 1996.
           Special Editor, Managerial and Decision Economics, special issue on “The Economics
                  of Corporate Crime,” July-August 1996.
           Nominating Committee for Presidency and Board of Directors of Western Economic
                  Association, Western Economic Association, 1996.

OTHER ACTIVITIES (UNPAID):

            Board of Advisers, Business & Media Institute, May, 2008 to present.
            Wrote the Statistical Report for the Minority members of the U.S. Commission on Civil
                   Rights on the “Probe of Election Practices in Florida During the 2000 Presidential
                   Election.”
            Served as a Statistical expert for USA Today in evaluating the precinct level data that they
                   had put together after the Florida Presidential Election in 2000.
            Advisor to the Allied Pilots Association and the Airline Pilots Security Alliance on the
                   issue of arming pilots in the cockpit: January 2002 to present.
            Served as the statistical expert for the challenge by Senator Mitch McConnell against
                   McCain-Feingold campaign finance regulations.

OTHER ACTIVITIES (PAID):

            Consultant, Federal Trade Commission, April 17, 2002 to July 1, 2003.




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                                                                        John R. Lott, Jr. Page 4
BOOKS:
           Uncertainty and Economic Evolution: Essays in Honor of Armen Alchian, edited volume,
               Routledge Press: New York (1997).

           More Guns, Less Crime: Analyzing Crime and Gun Control Laws, University of Chicago
               Press: Chicago, Illinois (1998), translated into Portuguese (1999), Russian (2004),
               and German (2017). Second edition published 2000, third edition published May,
               2010.

           Are Predatory Commitments Credible?: Who Should the Courts Believe?, University of
                Chicago Press: Chicago, Illinois (1999).

           The Bias Against Guns: Why Almost Everything You've Heard About Gun Control Is
                Wrong, Regnery Press, Washington, DC (2003) translated into Portuguese (Brazil
                and Portugal).

           Freedomnomics: Why the Free Market Works and Other Half-Baked Theories Don’t,
                Regnery Press, Washington, DC (2007), translated into Portuguese (Brazil and
                Portugal), Chinese, and Korean.

           Straight Shooting: Firearms, Economics and Public Policy, Merril Press: Seattle,
                 Washington, (2010).

           Debacle: Obama's War on Jobs and Growth and What We Can Do Now to Regain Our
               Future, co-authored with Grover Norquist, John Wiley & Sons: New York, NY
               (March, 2012).

           At the Brink, Regnery Press, Washington, DC (February 9, 2013)

           Dumbing Down the Courts: How Politics Keeps the Smartest Judges Off the Bench,
               Hillcrest Media: Minneapolis, MN (September 8, 2013).

           The War on Guns, Regnery Press, Washington, DC (2016)

PUBLICATIONS:

      LAW AND ECONOMICS:

           (1) “Licensing and Nontransferable Rents,” American Economic Review, Vol. 77, no. 3,
                June 1987: 453-455; “Licensing and Nontransferable Rents: Reply,” American
                Economic Review, Vol. 79, no. 4, September 1989: 910-912.




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     LAW AND ECONOMICS (CONTINUED):

          (2) “Juvenile Delinquency and Education: A Comparison of Public and Private
               Provision,” International Review of Law and Economics, Vol.7, no. 2, December
               1987: 163-175.

         (3) “Should the Wealthy Be Able to ‘Buy Justice’?” Journal of Political Economy, Vol.
              95, no. 6, December 1987: 1307-1316.

         (4) “Why Comply: The One-Sided Enforcement of Price Controls and Victimless Crime
              Laws,” co-authored with Russell Roberts, Journal of Legal Studies, Vol. 18, no. 2,
              June 1989: 403-414, reprinted in The Economics of Corruption and Illegal
              Markets, edited by Gianluca Fiorentini and Stefano Zamagni, Cheltenham, U.K.:
              Edward Elgar Publishing Limited, forthcoming.

         (5) “A Transaction Costs Explanation For Why the Poor are More Likely to Commit
              Crime,” Journal of Legal Studies, Vol. 19, no. 1, January 1990: 243-245.

          (6) “Optimal Penalties Versus Minimizing the Level of Crime: Does it Matter Who is
               Correct?” Boston University Law Review, invited conference volume on the United
               States Sentencing Commission’s proposed Organizational Sanctions, March 1991:
               439-446.

         (7) “An Attempt at Measuring the Total Monetary Penalty from Drug Convictions: The
              Importance of an Individual’s Reputation,” Journal of Legal Studies, Vol. 21, no.
              1, January 1992: 159-187, reprinted in The Economics of Corruption and Illegal
              Markets, edited by Gianluca Fiorentini and Stefano Zamagni, Cheltenham, U.K.:
              Edward Elgar Publishing Limited, forthcoming.

          (8) “Low-Probability-High-Penalty Enforcement Strategies and the Efficient Operation
               of the Plea Bargaining System,” co-authored with Bruce H. Kobayashi,
               International Review of Law and Economics, Vol. 12, no. 1, March 1992: 69-77.

         (9) “Do We Punish High Income Criminals too Heavily?” Economic Inquiry, Vol. 30,
              no. 4, October 1992: 583-608.

         (10) “The Reputational Penalty Firms Bear for Committing Fraud,” co-authored with
              Jonathan M. Karpoff, Journal of Law and Economics, Vol. 36, no. 2, October
              1993: 757-803, closely related version reprinted in The Economics of Organized
              Crime, edited by Gianluca Fiorentini and Sam Peltzman, London: Cambridge
              University Press, 1995: 199-246.

         (11) “The Expected Penalty for Committing a Crime: An Analysis of Minimum Wage
              Violations,” co-authored with Russell Roberts, Journal of Human Resources, Vol.
              30, no. 2, Spring 1995: 397-408.

         (12) “Should Criminal Penalties Include Third-Party Avoidance Costs?” co-authored
              with Kermit Daniel, Journal of Legal Studies, Vol. 24, no. 2, June 1995: 523-534.




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     LAW AND ECONOMICS (CONTINUED):

          (13) “The Optimal Level of Criminal Fines in the Presence of Reputation,” Managerial
               and Decision Economics, invited conference volume, Vol. 17, no. 4, July-August,
               1996: 363-380.

         (14) “In Defense of Criminal Defense Expenditures and Plea Bargaining,” co-authored
              with Bruce Kobayashi, International Review of Law and Economics, Vol. 16, no.
              4, December 1996: 397-416.

          (15) “Crime, Deterrence, and Right-to-Carry Concealed Handguns,” co-authored with
               David Mustard, Journal of Legal Studies, Vol. 26, no. 1, January 1997: 1-68;
               portion reprinted in The Gun Control Debate: A Documentary History, edited by
               Marjolin Bijlefeld, Westport, CT.: Greenwood Publishing (1997): 88-91; single
               authored summary reprinted in the Valparasio University Law Review, Vol. 31, no.
               2 Spring 1997: 355-364; Reprinted in Guns in America: a reader. 1999. edited by
               Jan E. Dizard, Robert M. Muth, Stephen P. Andrews, NYU Press. Reprinted in The
               Economics of Crime. 2005. edited by Isaac Ehrlich and Zhiqiang Liu, The
               International Library of Critical Writings in Economics, Edward Elgar Pub..
               Reprinted in Economics, Law and Individual Rights, 2008, edited by Hugo M.
               Mialon, Paul H. Rubin, Routledge.

         (16) “The Concealed Handgun Debate,” Journal of Legal Studies, Vol. 27, no. 1, January
               1998: 221-243.

         (17) “Deterrence, Right-to-Carry Concealed Handgun Laws, and the Geographic
               Displacement of Crime,” co-authored with Stephen G. Bronars, American
               Economic Review, Vol. 88, no. 2 (May 1998): 475-479.

         (18) “Do Concealed Handgun Laws Save Lives?” American Journal of Public Health,
               Vol. 88, no. 6 (June 1988): 980-982.

         (19) “Punitive Damages: Their Determinants, Effects on Firm Value, and the Impact of
               Supreme Court and Congressional Attempts to Limit Awards,” co-authored with
               Jonathan M. Karpoff, Journal of Law and Economics, Vol. 42, no. 1 (part 2) (April
               1999): 527-573.

         (20) “Have changing Liability Rules Compensated Workers Twice for Occupational
               Hazards?: Earnings Premiums and Cancer Risks,” co-authored with Richard
               Manning, Journal of Legal Studies, Vol. 29, no. 1 (January 2000): 99-130.

         (21) “Does a Helping hand Put Others At Risk?: Affirmative Action, Police Departments,
               and Crime,” Economic Inquiry, Vol. 38, no. 2 (April 2000): 239-277; republished
               in The Economics of Affirmative Action, edited by Harry J. Holzer, Edward Elgar
               Publishing Ltd.: Surrey, UK (2004).

         (22) “The American Bar Association, Judicial Ratings, and Political Bias,” Journal of
               Law & Politics, (Winter 2001): 41-61.




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     LAW AND ECONOMICS (CONTINUED):

          (23) “Safe Storage Gun Laws: Accidental Deaths, Suicides, and Crime,” co-authored
               with John Whitley, Journal of Law and Economics, Vol. 44, no. 2, part 2, (October
               2001): 659-689.

         (24) “Non-Voted Ballots and Discrimination in Florida.” Journal of Legal Studies, Vol.
               32, no. 1 (January 2003): 181-220.

          (25) “Measurement Error in County-Level UCR Data,” with John Whitley, Journal of
               Quantitative Criminology, Vol. 19, No. 2 (June 2003): 185-198.

         (26) “The Judicial Confirmation Process: The Difficulty in Being Smart,” Journal of
               Empirical Law and Economics, Vol. 2, no. 3, 2005: 407-447 (Lead article).

         (27)“The Reputational Penalties for Environmental Violations: Empirical Evidence,” with
            Jonathan Karpoff and Eric Wehrly, Journal of Law and Economics, Vol., no. 2
            (October 2005): 653-675.

         (28) “Abortion and Crime: Unwanted Children and Out-of-Wedlock Births,” co-authored
               with John Whitley, Economic Inquiry, Vol. 45, no. 2, (April 2007): 304-324.

         (29) “Peer Effects in Affirmative Action: Evidence from Law Student Performance,” co-
              authored with Mark Ramseyer and Jeffrey Standen, International Review of Law
              and Economics, Vol. 31, no. 1 (March 2011): 1-15 (Lead article).

         (30) “What a balancing test will show for Right-to-Carry Laws,” University of Maryland
               Law Review, Vol. 71, no. 4 (2012): 1205-1218.

     PUBLIC CHOICE AND PUBLIC FINANCE:

         (1) “Brand Names and Barriers to Entry in Political Markets,” Public Choice, Vol. 51,
              no. 1, 1986: 87-92.

         (2) “Political Cheating,” Public Choice, Vol. 52, no. 2, 1987: 169-186.

          (3) “The Effect of Nontransferable Property Rights on the Efficiency of Political
               Markets: Some Evidence,” Journal of Public Economics, Vol. 32, no. 2, March
               1987: 231-246.

         (4) “The Institutional Arrangement of Public Education: The Puzzle of Exclusive
              Territories,” Public Choice, Vol. 54, no. 1, 1987: 89-96.

         (5) “Why is Education Publicly Provided?: A Critical Survey,” Cato Journal, Vol. 7,
              no. 2, Fall 1987: 475-501, reprinted in The Economic Value of Education, edited
              by Mark Blaug, Cheltenham, U.K.: Edward Elgar Publishing Limited, 1992,
              Chapter 27.




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                                                                       John R. Lott, Jr. Page 8
    PUBLIC CHOICE AND PUBLIC FINANCE (CONTINUED):

          (6) “Explaining Challengers' Campaign Expenditures: The Importance of Sunk
               Nontransferable Brand Name,” Public Finance Quarterly, Vol. 17, no. 1, January
               1989: 108-118.

          (7) “Deadweight Losses and the Saving Response to a Deficit,” co-authored with
               Gertrud Fremling, Economic Inquiry, Vol. 27, no. 1, January 1989: 117-129.

         (8) “Shirking and Sorting in a Political Market with Finite-Lived Politicians,” co-
              authored with W. Robert Reed, Public Choice, Vol. 61, no. 1, April 1989: 75-96.

         (9) “Time Dependent Information Costs, Price Controls, and Successive Government
              Intervention,” co-authored with Gertrud Fremling, Journal of Law, Economics,
              and Organization, Vol. 5, no. 2, Fall 1989: 293-306.

         (10) “Attendance Rates, Political Shirking, and the Effect of Post-Elective Office
              Employment,” Economic Inquiry, Vol. 28, no. 1, January 1990: 133-150.

         (11) “An Explanation for Public Provision of Schooling: The Importance of
              Indoctrination,” Journal of Law and Economics, Vol. 33, no.1, April 1990: 199-
              231.

         (12) “Predation by Public Enterprises,” Journal of Public Economics, Vol. 43, no. 2,
              November 1990: 237-251.

         (13) “Does Additional Campaign Spending Really Hurt Incumbents?: The Theoretical
              Importance of Past Investments in Political Brand Name,” Public Choice, Vol. 72,
              October 1991: 87-92.

         (14) “A Critical Review and An Extension of the Political Shirking Literature,” co-
              authored with Michael L. Davis, Public Choice, Vol. 74, no. 4, December 1992:
              461-484, winner of the Duncan Black Award presented by the Public Choice
              Society for the best Public Choice paper of the year.

         (15) “Reconciling Voters’ Behavior with Legislative Term Limits,” co-authored with
              Andrew R. Dick, Journal of Public Economics, Vol. 50, no. 1, January 1993: 1-14,
              reprinted in Term Limits: A Public Choice Perspective, edited by Bernard
              Grofman, Dordrecht, Netherlands: Kluwer Academic Publishers, forthcoming
              1996.

         (16) “Time Series Evidence on Shirking by Members of the U.S. House of
              Representatives,” coauthored with Stephen G. Bronars, Public Choice, invited
              conference volume, Vol. 76, no. 1-2, June 1993: 125-149, reprinted in Foundations
              of Regulatory Economics, edited by Robert B. Ekelund, Jr., London: Edward Elgar
              Publishing Limited, 2000.

         (17) “An Explanation for Why Senators from the Same State Vote Differently So
              Frequently,” coauthored with Gi-Ryong Jung and Lawrence W. Kenny, Journal of
              Public Economics, Vol. 54, no. 1, May 1994: 65-96.



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                                                                      John R. Lott, Jr. Page 9

    PUBLIC CHOICE AND PUBLIC FINANCE (CONTINUED):

          (18) “Do Deficits Affect the Level of Insurance?” co-authored with Gertrud M.
               Fremling, Journal of Money, Credit, and Banking, Vol. 26, no. 4, November 1994:
               934-940.

         (19) “Are Government or Private Enterprises More Likely to Engage in Dumping?: Some
              International Evidence,” Managerial and Decision Economics, Vol. 16, no. 3,
              May-June 1995: 185-204.

         (20) “Legislator Voting and Shirking: A Critical Review of the Literature,” co-authored
              with Bruce Bender, Public Choice, Vol. 87, nos. 1 and 2, April 1996: 67-100.

         (21) “Term Limits and Electoral Competitiveness: Evidence from California’s State
              Legislative Races,” co-authored with Kermit Daniel, Public Choice, Vol. 90, nos. 1-
              4, March 1997: 165-184, reprinted in Constitutional Political Economy in a Public
              Choice Perspective, edited by Charles K. Rowley, Kluwer Academic Publishers:
              Boston, 1997, Chapter 7, pp. 165-184.

         (22) “Does Political Reform Increase Wealth?: Or, Why the Difference Between the
              Chicago and Virginia Schools is Really an Elasticity Question,” Public Choice, Vol.
              91, nos. 3-4, June 1997: 219-227.

         (23) “A Review Article on Donald Wittman’s The Myth of Democratic Failure,” Public
               Choice, Vol. 92, no. 1-2, July 1997: 1-13 (Lead article).

         (24) “How Term Limits Enhance the Expression of Democratic Preferences,” coauthored
              with Einer Elhauge and Richard Manning, Supreme Court Economic Review, Vol.
              5, 1997: 59-81.

          (25) “Do Campaign Donations Alter How a Politician Votes?,” coauthored with Steve
               Bronars, Journal of Law and Economics, Vol. 40, no. 2, October 1997: 317-350.

         (26) “Did Women’s Suffrage Change the Size and Scope of Government?,” co-authored
              with Larry Kenny, Journal of Political Economy, Vol. 107, no. 6, part 1, December
              1999: 1163-1198.

         (27) “Public Schooling, Indoctrination, and Totalitarianism,” Journal of Political
              Economy, Vol. 107, no. 6, part 2, December 1999: S127-S157.

         (28) “A Simple Explanation for Why Campaign Donations are Increasing: The
              Government is Getting Bigger,” Journal of Law and Economics., Vol. 42, no. 2,
              October 2000: 359-393.

         (29) “Documenting Unusual Declines in Republican Voting Rates in Florida’s Western
               Panhandle Counties in 2000,” Public Choice, Vol. 123, June 2005: 349-361.

         (30) “Campaign Finance Reform and Electoral Competition,” Public Choice: Vol. 129
               (3-4), 2006: 263-300.



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                                                                    John R. Lott, Jr. Page 10

    PUBLIC CHOICE AND PUBLIC FINANCE (CONTINUED):

          (31) "Non-voted Ballots, The Cost of Voting, and Race," Public Choice, Vol. 138, no. 1,
               (January 2009): 171-197.

         (32) “What Does the American Bar Association Judicial Rating Really Measure?” Public
               Choice, 2013.

         (33) “Is Newspaper Coverage of Economic Events Politically Biased?” co-authored with
              Kevin Hassett, Public Choice, (July 2014): 65-108.

    INDUSTRIAL ORGANIZATION:

         (1) “Brand Names, Ignorance, and Quality Guaranteeing Premiums,” Applied
              Economics, Vol. 20, no. 2, February 1988: 165-176.

         (2) “Qualitative Information, Reputation, and Monopolistic Competition,” co-authored
              with Michael Darby, International Review of Law and Economics, Vol. 9, no. 1,
              June 1989: 87-103.

         (3) “A Guide to the Pitfalls of Identifying Price Discrimination,” co-authored with
              Russell D. Roberts, Economic Inquiry, Vol. 29, no. 1, January 1991: 14-23,
              reprinted in Who Sets Prices?, Pittsburgh, PA.: Enterprise & Education Foundation,
              1991.

         (4) “Do Some Firms Rely on Preferences Instead of Sunk Investments to Guarantee
              Performance?” coauthored with Andrew R. Dick, Managerial and Decision
              Economics, invited conference volume, Vol. 14, no. 2, March-April 1993: 109-118.

          (5) “Profiting from Induced Changes in Competitors’ Market Values: The Case of Entry
               and Entry Deterrence,” co-authored with Robert G. Hansen, Journal of Industrial
               Economics, Vol. 43, no. 3, September 1995: 261-276.

         (6) “Externalities and Corporate Objectives in a World with Diversified
              Shareholder/Consumers,” co-authored with Robert G. Hansen, Journal of
              Financial and Quantitative Analysis, Vol. 31, no. 1, March 1996: 43-68.

         (7) “Testing Whether Predatory Commitments are Credible,” co-authored with Tim
              Opler, Journal of Business, Vol. 69, no. 3, July 1996: 339-382.




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     OTHER AREAS:

         (1) “Why Do Workers Join Unions?: The Importance of Rent-Seeking,” co-authored
              with Stephen G. Bronars, Economic Inquiry, Vol. 27, no. 4, April 1989: 305-324.

         (2) “The Winner's Curse and Public Information in Common Value Auctions:
              Comment,” co-authored with Robert G. Hansen, American Economic Review, Vol.
              81, no. 1, March 1991: 347-361, reprinted in Recent Developments in
              Experimental Economics, Vol. II, edited by John D. Hey and Graham Loomes,
              Cheltenham, U.K.: Edward Elgar Publishing Limited, 1993, Chapter 9, pp. 154-168.

         (3) “The Bias Towards Zero in Aggregate Perceptions: An Explanation Based on
               Rationally Calculating Individuals,” co-authored with Gertrud Fremling, Economic
               Inquiry, Vol. 34, no. 2, April 1996: 276-295; “The Bias Towards Zero in
               Identifying Relationships: Reply to Kennedy,” co-authored with Gertrud Fremling,
               Economic Inquiry, Vol. 37, no. 2, April 1999: 385-386.


         (4) “The Effect of Macroeconomic News on Stock Returns: New Evidence from
               Newspaper Coverage,” co-authored with Gene Birz, Journal of Banking and
               Finance, Vol. 35, November 2011: 2791-2800 (Semifinalist for Best Paper in
               Investments Award at 2009 FMA Annual Meetings).

     SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS:

         (1) “A Note on Law, Property Rights, and Air Pollution,” Cato Journal, Vol. 3, no. 3,
              Winter 1983/1984: 875-878.

         (2) “Education,” Economics Research Directory, New York: Manhattan Institute, 1984:
              Chp. 7.

         (3) “Rates of Return Promised by Social Security to Today's Young Workers,” co-
              authored with Peter Ferrara, in Social Security: The Prospects for Real Reform,
              Peter Ferrara ed., Washington: Cato Institute, 1985: Chp. 1.

         (4) Review of Unnatural Monopolies, edited by Robert Poole, Southern Economic
              Journal, Vol. 53, no. 1, July 1986: 287-288.

         (5) “On Nationalizing Private Property and the Present Value of Dictators,” co-authored
              with David Reiffen, Public Choice, Vol. 48, no. 1, 1986: 81-87.

         (6) “Externalities, Agency Structure, and the Level of Transfers,” Public Choice, Vol.
              53, no. 3, 1987: 285-287.

         (7) “Televising Legislatures: Some Thoughts on Whether Politicians are Search Goods,”
              co-authored with Gertrud Fremling, Public Choice, Vol. 58, no. 1, July 1988: 73-
              78.




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      SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS (CONTINUED):

          (8) “Some Thoughts on Tullock's New Definition of Rent-Seeking,”
               Contemporary Policy Issues, Vol. 6, no. 4, October 1988: 48-49.

          (9) “Racial Employment and Earnings Differentials: The Impact of the Reagan
               Administration: Comment,” The Review of Black Political Economy, Vol. 17, no.
               4, Spring 1989: 83-84.

         (10) “Production Costs and Deregulation,” co-authored with Morgan Reynolds, Public
              Choice, Vol. 61, no. 2, May 1989: 183-186.

         (11) Review of Televised Legislatures: Political Information, Technology, and Public
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         (12) “Getting Tough on White-Collar Crime,” Regulation, Vol. 13, no. 1, Winter 1990:
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         (13) “A Comment on ‘The Role of Potential Competition in Industrial Organization,’”
              co-authored with Andrew Dick, Journal of Economic Perspectives, Vol. 4, no. 2,
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         (14) “Why is Education Publicly Provided?: Some Further Thoughts,” Cato Journal,
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         (15) “Nontransferable Rents and an Unrecognized Social Cost of Minimum Wage
              Laws,” Journal of Labor Research, Vol. 11, no. 4, Fall 1990: 453-460.

         (16) “The Effect of Conviction on the Legitimate Income of Criminals,” Economics
              Letters, Vol. 34, no. 12, December 1990: 381-385.

          (17) “Why the Commission’s Corporate Guidelines May Create Disparity,” Federal
               Sentencing Reporter, co-authored with Jonathan Karpoff, November/December
               1990: 140-141.

         (18) Review of Institutions, Institutional Change, and Economic Performance, by
              Douglas C. North, Journal of Policy Analysis and Management, Vol. 11, no. 1,
              1992: 156-159.

         (19) “Goring the U.S. Economy,” Review of Earth in the Balance: Ecology and the
              Human Spirit, by Senator Albert Gore, Jr., Regulation, Vol. 15, no. 3, Summer
              1992: 76-80.

         (20) Review of Reforming Products Liability, by W. Kip Viscusi, Journal of Policy
              Analysis and Management, Vol. 11, no. 4, 1992: 726-728.

         (21) Review of The Future of Economics, by John D. Hey (ed.), Public Choice, Vol. 75,
              no. 4 (April 1993): 389-394.



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      SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS (CONTINUED):

          (22) “Regulatory Common Sense vs. Environmental Nonsense,” Reviews of
               Environmental Overkill: Whatever Happened to Common Sense? by Dixy Lee Ray
               with Lou Guzo and Science Under Siege: Balancing Technology and the
               Environment by Michael Fumento, Regulation, Vol. 16, no. 1, Fall 1993: 80-82.

         (23) “Regulating Indoor Air Quality: The Economist’s View,” coauthored with Robert G.
              Hansen, The EPA Journal, Vol. 19, no. 4 (October-December, 1993): 30-31.

         (24) “Environmental Economics: Fallacies and Market Incentives,” Chapter 3 in
              Balancing the Earth’s Economy and Ecology: Analysis and Constructive
              Alternatives to Earth in the Balance, John Baden (ed.), San Francisco: Pacific
              Research Institute, 1994: 77-89.

          (25) “The Regulatory Quest for Safety at Any Cost,” Review of Collision Course: The
               Truth About Airline Safety by Ralph Nader and Wesley J. Smith, Regulation, Vol.
               17, no. 1, Winter 1994: 80-81.

          (26) “Armen A. Alchian’s Influence on Economics,” Economic Inquiry , Vol. 34, no. 3,
               July, 1996: 409-411, reprinted in Uncertainty and Economic Evolution: Essays in
               Honor of Armen Alchian, John R. Lott, Jr. (ed.), Routledge Press: New York
               (1997): 1-3.

          (27) Moderated and Participated in “Roundtable discussion in Celebration of Armen
               Alchian’s 80th Birthday,” Economic Inquiry Vol. 34, no. 3 (July 1996): 412-426.

         (28) “Corporate Criminal Penalties,” Managerial and Decision Economics Vol. 17, no. 4
               (July-August 1996): 349-350.

         (29) “In Praise of Lost Mail and $900 Toilet Seats?” Review of The Myth of Democratic
              Failure: Why Political Institutions are Efficient, by Donald Wittman, Regulation,
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         (30) “Concealed Handguns Can Save Lives,” Agenda, Vol. 3, no. 4, 1996: 499-502.

         (31) “Freedom, Wealth, and Coercion,” co-authored with Gertrud Fremling, in
              Uncertainty and Economic Evolution: Essays in Honor of Armen Alchian, John R.
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         (32) “Survey of the Economics of Corporate Crime,” Encyclopedia of Law and
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         (33) “The Reputational Penalty Imposed on Criminals,” The New Palgrave Dictionary
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                                                             John R. Lott, Jr. Page 14
      SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS (CONTINUED):

          (35) “Who is Really Hurt By Affirmative Action?,” Police Executive Research Forum,
               Vol. 12, No. 5, May 1998: 1 and 3.

         (36) “How to Stop Mass Shootings,” The American Enterprise, Vol. 9, no.4,
              July/August 1998: 66-67.

         (37) “More Guns, Less Crime,” Letter to the Editor, The New England Journal of
              Medicine, May 20, 1999.

         (38) “Refusing to Let Facts Get In The Way of A Good Story,” The American
              Enterprise, Vol. 10, No. 3 (May/June 1999): p. 68.

         (39) “Public and Private Penalties: Introduction,” Journal of Law and Economics, Vol.
              42, June 1999: 239-243.

         (40) “Does Allowing Law-Abiding Citizens to Carry Concealed Handguns Save Lives?”
              in Guns in America: A Reader, edited by Jan Dizard, Robert Muth, and Stephen
              Andrews, New York University Press: New York (1999): 322-330.

         (41) “Violence Prevention and Concealed Weapons Laws,” Letter to the Editor, Journal
              of the American Medical Association, Vol. 283 No. 9, March 1, 2000.

         (42) “When Gun Control Costs Lives,” Phi Kappa Phi Journal, Vol. 80, Fall 2000: 29-
               32.

         (43) “Another Media Murder of the Truth,” The American Enterprise, Vol. 11, no.8,
               December 2000: p. 10.

         (1) “Impact of the Brady Act on Homicide and Suicide Rates,” Letters to the Editor,
             Journal of the American Medical Association, Vol. 284 No. 21, December 6, 2000,
             p. 2718.

         (2) “Carrying Concealed Weapons Prevents Crime,” Chapter 3, in Crime and Criminals,
             edited by Tamara L. Roeff, University of Michigan Press, 2000.

         (3) “Guns, Crime, and Safety: Introduction,” Journal of Law and Economics, Vol. 44,
             no. 2, part 2, (October 2001): 605-614.

         (47) “The Surprising Finding that ‘Cultural Worldviews’ Don’t Explain People’s Views
                on Gun Control,” co-authored with Gertrud M. Fremling, University of
                Pennsylvania Law Review, Vol. 151, no. 4 (April 2003): 1341-1348.

         (48) “Correcting ‘The March of Science’ Editorial,” Archives of Pediatrics & Adolescent
                Medicine, June 2008: 589.

         (49) “Civil Rights: Racial Preferences in Higher Education,” Chapman Law Review,
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      SHORTER PAPERS, BOOK CHAPTERS, AND BOOK REVIEWS (CONTINUED):

         (50) “Reforms that ignore the black victims of crime,” Cato Unbound, March 13, 2009.

         (51) “An Unsatisfying Change?: Canadians’ satisfaction with their health care isn’t much
                different from uninsured Americans,” Regulation, Summer 2009: 38-44.

         (52) Forward to From Luby's to the Legislature: One Woman's Fight Against Gun
                Control, by Suzanna Gratia Hupp, Privateer Publications (December 1, 2009).

         (53) "Making Guns Less Available Does Not Reduce Gun Violence," in Opposing
               Viewpoints: Gun Violence, Louise Gerdes, editor, Gale Publishing: Dallas, Texas
               (2011).

         (54) Forward to Power Divided is Power Checked, Jason Lewis, Bascom Hill Publishing
                (January 2011).

         (56) “How do Multiple Victim Public Shooters Decide Where to Attack?” ACJS
               (Academy of Criminal Justice Sciences) Today, September, 2012: pp. 14-17.

         (55) “The Cost-Benefit Analysis of Crime,” in Developing Standards for Benefit-Cost
               Analysis, Richard Zerbe, editor, the University of Washington Benefit-Cost Center
               (2011).

         (56) “How do Multiple Victim Public Shooters Decide Where to Attack?” Academy of
                Criminal Justice Sciences Today, September, 2012: 14-17.

         (57) "Did John Lott Provide Bad Data to the NRC?: A Note on Aneja, Donohue, and
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               Watch, January 2013.




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     REFEREED FOR:

          American Economic Review; American Economic Journal: Applied Economics;
          American Journal of Political Science; Contemporary Economic Policy; Criminology;
          Criminology & Public Policy; Eastern Economic Journal; Economic Inquiry;
          Economica; Economics of Education Review; Economics of Governance; International
          Economic Review; International Journal of Industrial Organization; International
          Review of Law and Economics; Journal of the American Medical Association; Journal of
          Corporate Finance; Journal of Economic Behavior and Organization; Journal of
          Economic Education; Journal of Human Resources; Journal of Interpersonal Violence;
          Journal of Law and Economics; Journal of Law, Economics, and Organization; Journal
          of Legal Studies; Journal of Financial and Quantitative Analysis; Journal of Policy
          Analysis & Management; Journal of Political Economy; Journal of Politics; Journal of
          Public Economics; Legislative Studies Quarterly; Managerial and Decision Economics;
          National Science Foundation; Oxford University Press; Policy Studies Journal; Public
          Choice; Public Finance Quarterly; Quarterly Journal of Economics; Quarterly Review of
          Economics and Finance; RAND Journal of Economics; Rationality and Society; Research
          in Law and Economics; Review of Economics and Statistics; Review of Economics of the
          Household; Social Choice and Welfare; Southern Economic Journal; and Regulation.

SELECTED PRESENTATIONS:

      PRESENTATIONS AT GOVERNMENT AGENCIES AND OTHER NON-UNIVERSITY INSTITUTIONS:

          Ad Hoc Working Group on the Economics of the Pharmaceutical Industry: 1995;
          American Legislative Exchange Council (National Meeting): 1998; Cato Institute: 1996,
          2000, 2007, 2010; City of Philadelphia Continuing Legal Education for Municipal
          Attorneys: 1999; Commodity Futures Trading Commission: 1991; Commonwealth Club
          of California (San Jose): 2008; Comstock Club (Stockton, California): 1997;
          Congressional Hispanic Caucus Institute: 2001; Contemporary Club (Charlottesville,
          Virginia): 2008; Doctors for Disaster Preparedness (San Francisco, Ca.): 2000; Eagle
          Council: 1999, 2000; Federal Trade Commission: 1990, 1992, 1996; Fortune Society
          debate on “Should Convicted Felons Have a Vote?”: 2004; Frontiers of Freedom: 2000;
          Goldwater Institute (Phoenix, Arizona): 1998; Heartland Institute: 1999, 2007, 2010;
          Heritage Foundation: 1997; Illinois Police Association Annual State Convention
          (Luncheon Keynote Speaker): 1997; Innocenzo Gasparini Institute for Economic
          Research (Milan, Italy): 1993; Intelligence Squared: 2008; Koch Crime Commission
          (Topeka, Kansas): 1998; Lone Star Foundation: 1999; National Association of Treasury
          Agents Annual Convention: 1997; New Jersey Conference of Mayors: 2000; New
          Zealand Department of Justice: 2006; Orange County Federalist Society: 2007, 2009,
          2013, 2016; “Bully Pulpit Speaker” series Sponsored by Wisconsin State House Speaker
          before legislative staff: 2000; Rand Corporation: 1991, 1999; Reason Weekend: 2000;
          Republican National Lawyers Association, National Summer Election Law Seminar &
          School: 2006; Seattle Economic Council: 2007; Souix Falls (South Dakota) City club:
          2000; St. Louis Police Officers Association: 1999; Sunday Morning Breakfast Club
          (Philadelphia): 2000; U.S. Department of Education: 1988; U.S. Department of Justice:
          1987, 1988, 1989, 1991, 1993; U.S. Office of Management and Budget: 1991; U.S.
          Securities and Exchange Commission: 1988, 1989; World Affairs Council of
          Philadelphia: 1993.



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    Conferences (Excluding Multiple Presentations at a conference):

          American Bar Association’s conference on Gun & Media Violence - Issues for the
          Litigator: 2001; American Criminology Society: 1996, 1998, 2003; American Economics
          Association: 1993, 1995, 1996, 1997, 1998, 1999, 2001, 2011; American Enterprise
          Institute’s Panel to Discuss my book entitled More Guns, Less Crime: 1998; American
          Enterprise Institute’s Panel to Discuss my paper on multiple victim shootings: 1999;
          American Enterprise Institute Conference on “Guns, Crime, and Safety”: 1999; American
          Law and Economics Association Annual Meeting: 1993, 1994, 1995, 1996, 1997, 2000,
          2001; American Statistical Association: 2001; Association of American Law Schools
          Meetings: 1999; Association of Managerial Economists Meetings: 1993; Association of
          Private Enterprise Economists: 2001 (Luncheon Speaker); Atlantic Economic Association
          Meetings: 1993; Cato Institute’s Conference on The U.S. Sentencing Commission’s
          Corporate Penalty Guidelines: 1991; Centre for Economic Policy Research Conference on
          the Economics of Organized Crime (Bologna, Italy): 1993; Constitutional Rights
          Foundation Youth Summit (Chicago), 2006; Cornell Political Forum: 2000; Economic
          Science Association Meetings: 1989; Federalist Society Faculty Division Conference:
          1999; Federalist Society Southern Leadership: 1999; Firearm Safety Seminar (Sponsored
          by the New Zealand Police): 2006; Guns, Crime, and Punishment in America (University
          of Arizona): 2001; Handgun Control, Inc. Sponsored Debate on my Concealed Handgun
          Research: 1996; Harvard Law School Conference on the Economics of Law Enforcement:
          1998; Heritage Foundation, Legal Strategy Form: 1999; International Symposium on
          Forecasting: 2007; Law and Economics Center’s Conference to Discuss the fourth Edition
          of Economic Analysis of Law by Richard Posner: 1993; Law and Economics Center’s
          National Conference on Sentencing of the Corporation: 1990; Missouri Farmer’s
          Association: 2005; Neoliberal Policies for Development: Analysis and Criticism,
          sponsored by the Program for Studies in Capitalism, Yale University and Faculdade de
          Direeito da Universidade de Sao Paulo (Sao Paulo, Brazil): 2000; Penalties: Public and
          Private (held at the University of Chicago): 1997; National Lawyers Convention: 1999;
          Public Choice: 1985, 1986, 1987, 1988, 1989, 1990, 1991, 1992, 1994, 1995, 1996, 1997,
          1999, 2001, 2005, 2011; Southern Economic Association: 1991, 1997; Strategy and
          Politics sponsored by the University of Maryland Collective Choice Center: 1996;
          Symposium on the Economic Analysis of Social Behavior to honor Gary Becker’s 65th
          Birthday: 1995; Symposium on Election Law, Federalist Society National Conference:
          2000; Symposium on Guns and Liability in America at the University of Connecticut
          School of Law: 2000; Western Economic Association: 1983, 1984, 1985, 1986, 1987,
          1988, 1989, 1990, 1991, 1992, 1993, 1994, 1995, 1996, 1997, 2007; Wharton Health Care
          Conference: 1992; Young Republican Conference, 2006.




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     PRESENTATIONS AT UNIVERSITIES (REFERS TO BUSINESS SCHOOLS OR ECONOMICS
          DEPARTMENTS UNLESS NOTED OTHERWISE AND EXCLUDES PRESENTATIONS AT HOME
          INSTITUTION):

         Arizona State University: 1988, 1989, 1991, 1998; Arizona State University Law School:
         2016; Auburn University: 1999; Australian National University: 1996; Baylor University:
         2007; Baylor University Law School: 2004, 2016; Boston University School of Law:
         1998; Boston University Law School: 2000; Brigham Young University: 1992; Brigham
         Young University Law School: 2002; California State University, East Bay: 2008;
         Campbell University Law School: 2008; Carnegie Mellon University: 1994; Case
         Western Reserve University Law School: 2002, 2012, 2015; Catholic University School
         of Law: 2003; Chicago-Kent School of Law: 2000; Claremont Graduate School: 1989,
         1998, 2012; Clemson University: 1988, 2008, 2010; Columbia University School of Law:
         1999, 2003; Cornell University: 1989, 1994; Cornell University School of Law: 1994,
         1998, 2005; California State University at Hayward: 1987, 1993, 2004, 2010; California
         State University at Northridge: 1984; Capitol University: 2000; Cardozo School of Law:
         1999, 2000, 2012; Catholic University Law School: 2003; Chapman University School of
         Law: 2005; Dartmouth College: 1985, 2000; Detroit Mercy Law School: 2007; Duke
         University School of Law: 1998, 2003, 2008; Duquesne Law School: 2012, 2015; Elon
         University Law School: 2008; Emory University: 1993, 1996; Florida Coastal University
         School of Law: 2006, 2009; Florida International University School of Law: 2006;
         Florida State University School of Law: 2005, 2009, 2016; Florida State University:
         2005, 2009; Fordham University School of Law: 1996; Furman University: 2009; George
         Mason University: 1988, 1989, 1991, 1994, 1995, 2001; George Mason University
         School of Law: 1988, 1990, 1992, 1993, 1996, 1999, 2001, 2005, 2008; George
         Washington University Law School: 2000; Georgetown University School of Law: 1997,
         2000; Golden Gate Law School: 2012; Gonzaga University: 2003, 2010; Hamline
         University School of Law: 2007; Harvard University School of Law: 1996, 1999;
         University of Hawaii Law School: 2011, 2011; Hillsdale College: 2004, 2007;
         Hitotsubashi University: 2007; Hoover Institution, Stanford University: 2001; Indiana
         University: 1994; Indiana University Law School: 2016; Indiana University-Purdue
         University at Indianapolis: 1997; Johns Hopkins University: 2001; Lewis & Clark Law
         School: 2004, 2007; Louisville University: 1999; Loyola College (Maryland): 2000;
         McGeorge Law School: 2012; McKendree College: 2001; Michigan State University:
         1997; University of Minnesota School of Law: 2007; Montana State University: 1986;
         University of Nevada at Las Vegas: 2010; New York University: 1988; New York
         University School of Law: 1998, 2001, 2008; North Carolina State University: 1990;
         Northwestern University: 1994; Northeastern University School of Law: 2016;
         Northwestern University School of Law: 1993, 1996, 2008; Northwestern University
         Medical School: 2003; Notre Dame University: 1995; Notre Dame University Law
         School: 2008; Nova Southeastern Law School: 2005; Ohio State University: 1989, 2000;
         Ohio State University Law School: 2000, 2003; Ohio University: 2003, 2004; Oklahoma
         City University School of Law: 1999; Pennsylvania State University: 1999; Pepperdine
         University: 1989; Pepperdine University Law School: 2012; Rice University: 1998;
         Roger Williams Law School: 2016; Rutgers University: 1991; Rutgers University Law
         School: 2012; Samford University Law School: 2005; St. Mary’s University Law School:
         2008, 2010; Santa Clara University: 1991, 2001; Santa Clara University Law School:
         2012; Savanah University Law School: 2016; Seattle University School of Law: 2003,
         2007; Simon Fraser University: 1991, 2001, 2007; South Dakota University: 2000;
         Southern Illinois University: 2000; Southern Methodist University: 1985, 1992;



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     PRESENTATIONS AT UNIVERSITIES (CONTINUED):

         Southern Methodist University School of Law: 1999, 2004; Stanford School of Law:
         1987, 1989, 1996, 2010; SUNY - Binghamtom: 1997; Texas A&M University: 1992;
         Texas Tech University: 2004; Trinity College: 2000; Tulane University: 1989; Touro Law
         School: 2012; University of Akron Law School: 2012; University of Alabama Law
         School: 2005; University of Alberta: 1991; University of Arizona: 1991; University of
         Arizona School of Law: 1991; University of Baltimore Law School: 2004; University of
         British Columbia: 2007; University of Canterbury (New Zealand): 2006; University of
         Chicago: 1990, 1992, 1993; University of Chicago Law School: 2004; UC Berkeley Law
         School: 1998, 2001, 2001, 2010; UC Davis: 1987, 1993, 1998; UC Irvine: 1989, 1991;
         UCLA: 1989, 1993, 1995, 1997; UCLA School of Law: 1991, 2005; UC Santa Barbara:
         1987, 1990; University of Colorado at Bolder: 2016; University of Florida: 1988, 2000,
         2009; University of Florida Law School: 2009; University of Georgia: 1992, 1993;
         University of Houston: 1984, 1985, 1986, 1987, 1992, 1999, 2010; University of Houston
         Law School: 1999; University of Idaho: 2003; University of Idaho Law School: 2004,
         2010, 2012; University of Illinois (Champaign-Urbana): 1994; University of Illinois
         School of Law (Champaign-Urbana): 1998; University of Illinois (Chicago): 1996;
         University of Iowa School of Law: 2003; University of Kansas: 1999; University of
         Kansas School of Law: 1999; University of Kentucky: 1995, 2008; University of Maine
         Law School: 2012; University of Maryland Computer Science Department: 2004;
         University of Miami: 1989, 1990, 1998, 2005, 2006, 2009; University of Miami School of
         Law: 2005; University of Michigan: 1995, 1997, 2001; University of Michigan School of
         Law: 2000, 2001; University of Missouri at St. Louis: 2001; University of Memphis:
         2005; University of Montana School of Law: 2003; University of Nebraska: 2016;
         University of New Hampshire Law School: 2016; University of New Mexico: 1984;
         University of Oklahoma: 1999; University of Oklahoma School of Law: 1999, 2012;
         University of Oregon School of Law: 2003, 2007; University of Pennsylvania: 1991;
         University of Pennsylvania School of Law: 1999; University of San Diego School of
         Law: 2000, 2003, 2005, 2008; University of South Carolina: 2005, 2010; University of
         Southern California: 1990, 1999; University of Southern California School of Law: 1999,
         2012; University of Utah School of Law: 2002; Saint Cloud State University: 2002; St.
         Louis University: 2001; St. Louis University (general University talk): 2002; St. Mary’s
         University Law School: 2015; St. Thomas University Law School: 2015; Stetson
         University School of Law: 2006, 2009; Thomas Cooley Law School (Grand Rapids:
         2007) (Lansing: 2007) (Oakland: 2007); University of Tennessee School of Law: 2005;
         University of Texas (Austin): 1985, 2004, 2007; University of Texas School of Law
         (Austin): 1999, 2004, 2010, 2016; University of Texas (Dallas): 1992, 1998, 2007; Tiffin
         University: 1999; University of Tokyo School of Law: 2007; University of Toronto:
         1991, 1995; University of Tulsa: 2012; University of Virginia: 1988; University of
         Virginia School of Law: 2000; University of Washington: 1990, 1997 (business school),
         1997, 2007 (economics);, 2004 (Law); University of Western Ontario: 1993, 2006;
         Vanderbilt University School of Law: 2005; West Virginia University School of Law:
         2003; Willamette University Law School: 2003, 2007; Williams College: 1999;
         University of Wisconsin (Madison): 1995; University of Wisconsin Law School
         (Madison): 1999; University of Wisconsin (Milwaukee): 1992; Virginia Polytechnic
         Institute: 1988; Wake Forest University: 1998; Washington State University:
         1990;Washington University in St. Louis: 2000;




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     PRESENTATIONS AT UNIVERSITIES (CONTINUED):

         Washington University in St. Louis School of Law: 2003; Wayne State University: 2000;
         Widener University Law School: 2016; College of William and Mary: 1999, 2006;
         William and Mary School of Law: 1999, 2007; William Mitchell Law School: 2003;
         Xavier University: 2004; Yale University School of Law: 1985, 1996.

     LEGISLATIVE TESTIMONY:

         U.S. House of Representatives, Subcommittee on Health and the Environment, Public
              Hearing on Prescription Drugs in the Health Security Act, Tuesday, February 8,
              1994.

         U.S. House of Representatives, Subcommittee on Health, Committee on Ways and
              Means, Public Hearing on Alternative Health Reform Proposals, Thursday,
              February 10, 1994.

         Nebraska State Senate, Judiciary Committee, Public Hearings on Concealed Handgun
              Permits, Thursday, February 6, 1997 (lead witness).

         Kansas State Senate, State and Federal Affairs Committee, Public Hearings on Concealed
             Handgun Permits, Monday, February 10, 1997 (lead witness).

         Kansas State House, State and Federal Affairs Committee, Public Hearings on Concealed
             Handgun Permits, Monday, February 10, 1997 (lead witness).

         Illinois State House, Transportation Committee, Public Hearings on Concealed Handgun
               Permits, Tuesday, March 18, 1997 (lead witness).

         California State Assembly, Committee on Public Safety, Public Hearings on Concealed
              Handgun Permits, Tuesday, November 18, 1997.

         City of Toledo (Ohio), City Council; Public Hearings on Ordinances to require handgun
               registration, require gun locks, and ban assault weapons; Monday, Dec. 13, 1998
               (lead witness).

         Minnesota Joint State Assembly and Senate Hearing, Committee on Public Safety, Public
             Hearings on Concealed Handgun Permits, February 19, 1999 (lead witness).

         Ohio State House, Judiciary Committee, Public Hearings on Concealed Handgun Permits,
              Tuesday, March 2, 1999 (lead witness).

         Maryland State House, Judiciary Committee, Public Hearings on Concealed Handgun
             Permits, Wednesday, March 17, 1999.

         Maryland State Senate, Judicial Procedures Committee, Public Hearings on Concealed
             Handgun Permits, Wednesday, March 17, 1999 (lead witness).




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     LEGISLATIVE TESTIMONY (CONTINUED):

         U.S. Senate, Rules and Administration Committee, Public Hearings on Campaign Finance
              Reform, Wednesday, March 24, 1999.

         Michigan State House, Conservation and Outdoor Recreation Committee, Public
             Hearings on Concealed Handgun Permits, Wednesday, April 22, 1999 (lead
             witness).

         U.S. House of Representatives, Judiciary Committee, Subcommittee on Crime, Public
              Hearing on Gun Control Legislation, Thursday, May 27, 1999.

         Utah Joint State Assembly and Senate Hearing, Committees on the Judiciary and Law
              Enforcement, Wednesday, July 21, 1999 (lead witness).

         Hawaii State Senate Joint Committee Hearing, Committee on the Judiciary and
             Committee on Transportation and Intergovernmental Affairs, Tuesday, February 15,
             2000.

         Maryland State House, Budget Committee, Public Hearings on Tax Credit for Gun Locks,
             Wednesday, February 16, 2000

         Wisconsin State House, Judiciary and Privacy Committee, Public Hearings on Concealed
             Handgun Law, Tuesday, February 29, 2000.

         Maryland State Senate, Judicial Procedures Committee, Public Hearings on Smart Gun
             Locks, Wednesday, March 15, 2000.

         New Jersey State Senate, Law and Public Safety Committee, Public Hearings on Smart
             Gun Locks and raising the age at which a gun can be purchased to 21, Thursday,
             May 15, 2000.

         Ohio State House, Civil and Commercial Law Committee, Public Hearings on Concealed
              Handgun Law, Wednesday, June 13, 2001 (lead witness).

         U.S. Senate, Rules and Administration Committee, Public Hearing to examine a report
              from the U.S. Commission on Civil Rights regarding the November 2000 election
              and election reform in general, Wednesday, June 27, 2001.

         U.S. House of Representatives, Judiciary Committee, Public Hearing on the “Help
              America Vote Act of 2001,” Wednesday, December 5, 2001.

         Wisconsin State Senate, Judiciary Committee, Public Hearings on Concealed Handgun
             Law, Saturday, March 9, 2002.

         Ohio State Senate, Judiciary – Civil Justice Committee, Public Hearing on Concealed
              Handguns – License to Carry, Wednesday, May 22, 2002.




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     LEGISLATIVE TESTIMONY (CONTINUED):

          Maryland State House, Judiciary Committee, Public Hearings on Concealed Handgun
              Law, Wednesday, March 16, 2004.

          U.S. Election Assistance Commission, Public Meeting on Voting Systems, Wednesday,
               February 23, 2005.

          U.S. House of Representatives, House Government Reform Committee, Public Hearing
               on the “District of Columbia Gun Ban,” Tuesday, June 28, 2005.

          U.S. Election Assistance Commission, Public Meeting on Voting Systems, Wednesday,
               August 23, 2005.

          Illinois State House, Special Committee on Concealed Carry, Monday, April 10, 2012
                (lead witness).

          Governor's School Safety Task Force, Virginia, Hearing to examining Delegate Bob
              Marshall's bill to allow teachers to carry guns on school property, January 27, 2013,
              5:30 to 6:00 PM.

          U.S. Senate Judiciary Committee’s Subcommittee on the Constitution, Civil Rights, and
               Human Rights, Hearing on “‘Stand Your Ground’ Laws: Civil Rights and Public
               Safety Implications of the Expanded Use of Deadly Force,” October 29, 2013.

          Joint Mexican Senate and House Constitution Committee Hearing on rewriting Article 10
                of the Mexican Constitution that deals with gun ownership, November 16, 2016.

     COURT TESTIMONY:
         California Pro-life Council Political Action Committee v. Jan Scully, et al., United States
              District Court, Eastern District of California, NO. CIV. S-96-1965 LKK/DAD.

          Colorado Right to Life Committee v. Buckley, United States District Court, District of
               Colorado, Case No. 96-S-2844.

          Florida Right to Life, Inc., et al. v. Sandra Mortham, etc. et al., United States District
                Court, Central District of Florida , No. 98-770-CIV-ORL-19A.

          Montana Right to Life Association et. al. v. Robert Eddelman et. al., United States
              District Court, District of Montana, NO. CIV. 96-165-BLG-JDS.

          Daggett v. Webster, 74 F.Supp.2d 53(D.Maine 1999) and 81 F.Supp.2d 128 (D.Maine
              2000).

          Marcella Landell, et al. v. William Sorell, et al., United States District Court, District of
              Vermont , 118 F.Supp.2d 459 (D.Vt 2000).

          Stewart, et. al. v. J. Kenneth Blackwell, et al., United States District Court, Northern
               District of Ohio, Eastern Division (February 20, 2004 and September 30, 2004),
               Case No. 5:02 CV 2028.


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       DEPOSITIONS ONLY:

            Expert for the Virginia State Attorneys General, State Legislative Redistricting,
                 September 2001.

            Expert for National Middle School Association v. Lloyds London, Franklin County Court
                 of Common Pleas, August, 2012.

  CONFERENCES ORGANIZED AND RAISED MONEY:

            Corporate Sentencing: The Guidelines Take Hold, held at the Four Seasons Hotel under
                 the auspices of the Cato Institute, October 31, 1991.

             “Penalties: Public and Private,” held at the University of Chicago, December 1997 and
                 published in the Journal of Law and Economics, June 1999.

            “Guns, Crime, and Safety,” held at the American Enterprise Institute and co-sponsored
                with the Yale Law School, December 1999 and published in the Journal of Law
                and Economics, October 2001.

SELECTED PUBLIC APPEARANCES (all times are EST, except where otherwise noted, primarily limited to
                 National appearances):

            C-SPAN, Press conference presenting letter that I authored which was signed by 565
                economists on President Clinton’s Health-care Plan, 8:00 AM, Friday, January 14,
                1994 and 2:00 PM, Sunday, January 16, 1994.

            CNN and CNN Headline News, Thursday, January 13, 1994.

            All Things Considered, National Public Radio, Thursday, January 13, 1994.

            Market Place, Public Radio International, Thursday, January 13, 1994.

            The Nightly Business Report, National Public Television, Thursday, January 13, 1994.

            At least 50 local television stations around the nation covered the letter, from Thursday,
                  January 13, 1994 to Friday, January 14, 1994.

            Appeared on 61 radio talk shows around the nation to discuss the economists’ letter on
                President Clinton’s Health-care Plan from Friday, January 14, 1994 to Friday,
                January 28, 1994.

            CNN, Inside Business, Sunday, January 23, 1994.

            New Jersey Network and National Empowerment Television, National Policy Forum
                “Taxpayers, Speak Out!: A National Tax Day Policy Forum,” 1 to 3 PM, Friday,
                April 15, 1994.

            ABC National Evening News, Friday, August 2, 1996.



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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         British Broadcasting Corporation Radio, Sunday, August 4, 1996.

         Monitor Radio, Thursday, August 8, 1996.

         MSNBC, 10:05 AM and 3:05 PM, Thursday, August 8, 1996.

         NBC National Evening News, Thursday, August 8, 1996.

         CNN and CNN Headline News, Thursday, August 8, 1996.

         NBC - Nightside, Friday, August 9, 1996.

         NBC News at Sunrise, Friday, August 9, 1996.

         NBC Today Show, twice, Friday, August 9, 1996.

         C-SPAN, Presentation of Concealed Handgun Study, 11:30 AM, Friday, August 9, 1996.

         At least 41 local television stations around the nation (along with radio stations in at least
               New York, Los Angeles, Chicago, Hartford, and Miami) covered the findings of my
               concealed handgun study, from Thursday, August 8, 1996 to Saturday, August 10,
               1996.

         Appeared on approximately 100 radio talk shows around the nation to discuss the
             concealed handgun study from Thursday, August 8, 1996 to December 31, 1996.

         Australian Broadcasting Corporation, The Breakfast with Peter Thompson, National
              Morning Radio Broadcast, 8:05 AM, Thursday, August 15, 1996, Sydney time.

         As It Happens, Canadian Broadcasting Corporation, Tuesday, August 20, 1996.

         Morning Edition, “Study Says Concealed Weapons Law Decreases Crime Rate,” National
             Public Radio, Monday, September 23, 1996, 6:40, 8:40, and 10:40 AM.

         CNN Early Prime, “Handguns are Becoming More Powerful, But More Compact,”
            Monday, October 14, 1996, 4:38 PM.

         British Broadcasting Corporation Radio, Wednesday, October 16, 1996.

         C-SPAN, Presentation of Concealed Handgun Study, 9:00 AM, 2:30 PM, and 9:30 PM,
             Monday, December 9, 1996; 2:30 AM Tuesday, December 10, 1996; and 5:36 PM
             Saturday, December 14, 1996.

         Morning Edition, National Public Radio, “Concealed Weapons Laws,” Tuesday,
             December 10, 1996, 10:00 AM.

         MSNBC, 4:08 to 4:20 PM, Monday, February 24, 1997.



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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The O’Reilly Report, Fox News Channel, “Concealed Handguns and Crime,” 6:10 to
              6:17 PM, Thursday, April 10, 1997.

         The Impact of Term Limits, C-SPAN, 11:00 AM, Wednesday, August 27, 1997; 7:00 AM
              Thursday, August 28, 1997.

         The Hannity and Colmes Show, Fox News Channel, 9:30 to 10:00 PM, Tuesday, October
              7, 1997.

         Appeared on approximately 160 radio talk shows and 13 local television shows around
             the nation to discuss my book entitled More Guns, Less Crime, from Monday,
             March 30, 1998 to July 1, 1998.

         The O’Reilly Factor, Fox News Channel, 8:40 to 8:45 PM, Monday, March 30, 1998.

         The John Robbie Morning Radio Show (Johannesburg, Pretoria, and Cape Town), 5:44 to
              5:55 AM (South Africa), Wednesday, April 15, 1998.

         The John Mason Morning Radio Show (Cape Town), 6:38 to 6:49 AM (South Africa),
              Friday, April 17, 1998.

         America’s Voice Tonight, America’s Voice Channel, 8:35 to 8:45 PM, Tuesday, April 28,
             1998.

         MSNBC, 4:10 to 5:30 PM, Thursday, May 21, 1998.

         SkyNews Television, 4:51 to 4:55 PM (London), Friday, May 22, 1998.

         Fox News Channel, 2:40 to 2:50 PM, Friday, May 22, 1998.

         Anne Petrie’s TalkTV, Canadian Broadcasting Corporation Newsworld, 6:15 to 6:50 PM,
             Monday, May 25, 1998.

         American Family, America’s Voice Channel, 9:07 to 9:30 AM, Thursday, June 11, 1998.

         About Books, Discussion of More Guns, Less Crime at the American Enterprise Institute,
             C-SPAN2, 9:00 PM to 10:30 PM, Saturday, June 20, 1998; 12:00 AM to 11:30 AM
             and 10:00 AM to 11:30 AM, Sunday, June 21, 1998.

         The Today Show, NBC, 7:40 to 7:45 AM, July 21, 1998. Replayed several times on
              MSNBC on July 21, 1998.

         Interview with Philipa Thomas, The World Today, British Broadcasting Corporation,
               August 12, 1998.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Interview with Fred Graham, Washington Watch, Court TV, Friday, August, 28, 1998,
               7:30 PM; Saturday, August, 29, 1998, 5:30 PM; and Sunday, August, 30, 1998, 5:30
               PM.

         Politics, Canadian Broadcasting Corporation Newsworld, Tuesday, September 22, 1998,
               5:10 to 5:20 PM.

         Newsworld Reports, Canadian Broadcasting Corporation Newsworld, Tuesday,
             September 22, 1998, 7:05 to 7:15 PM.

         National Magazine, Canadian Broadcasting Corporation, Tuesday, September 22, 1998,
              9:10 to 9:20 PM.

         The CBS Morning News, “Cities to go after gun makers to convince them to change
              manufacturing and distribution policies,” Friday, December 11, 1998, 7:00 AM.

         About Books, More Guns, Less Crime, C-SPAN2, 10:50 AM to 12:17 PM and 3:12 PM
             to 4:39 PM, Saturday, February 20, 1999; 7:00 AM to 8:27 AM, Sunday, February
             21, 1998.

         Armstrong Williams Show, America’s Voice Channel, 6:40 to 7:00 PM, Monday, March
             15, 1999.

         Howard Stern Radio Show, 8:10 to 8:35 AM, Tuesday, March 30, 1999.

         Michael Medved Radio Show, 5:07 to 5:45 PM, Wednesday, April 6, 1999.

         “Should We Have More Gun Control?” Debates/Debates, National Public Television,
              Week of April 21, 1999.

         Interview, Canadian Television News, 8:05 to 8:12 PM, Thursday, April 22, 1999.

         Rush Limbaugh Radio Show, 2:30 to 2:45 PM, Friday, April 23, 1999.

         Sunday Morning Live, Canadian Broadcasting Corporation, 10:00 to 10:10 AM, Sunday,
             April 24, 1999.

         Fox News Channel, 10:05 to 10:10 PM, Tuesday, April 27, 1999.

         MSNBC, 6:08 to 7:00 PM, Tuesday, April 27, 1999.

         CNN’s “Talkback Live,” 3:00 to 4:00 PM, Wednesday, April 28, 1999.

         Fox News Channel, 10:15 to 10:30 AM, Thursday, April 27, 1999.

         NBC National Evening News, Friday, April 30, 1999.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Special on Columbine School Shooting, selective segments, Fox News Channel, 11:00 to
              11:30 PM, Friday, April 30, 1999.

         MSNBC, 11:45 to 11:55 AM, Saturday, May 1, 1999.

         Fox News Channel, 12:35 to 12:45 PM, Monday, May 3, 1999.

         The Fox News Report, Fox News Channel, 7:35 to 7:45 PM, Monday, May 3, 1999.

         MSNBC, 11:45 to 11:55 AM, Sunday, May 9, 1999.

         CNN & Company, 11:30 AM to 12:00 PM, Thursday, May 20, 1999.

         Interview with Tony Snow, Fox News Channel, 10:20 to 10:30 AM, Friday, May 21,
               1999.

         Fox News Channel, 3:10 to 3:16 PM, Friday, May 21, 1999.

         Internight with John Gibson, MSNBC, 7:00 to 7:30 PM, Friday, May 21, 1999.

         Fox News Channel, 4:10 to 4:15 PM, Sunday, May 23, 1999.

         Hardball with Chris Matthews, CNBC, Wednesday, May 26, 1999, 8:00 PM.

         C-SPAN, Testimony Before House Judiciary Committee’s Subcommittee on Crime, 2:00
             PM, Thursday, May 27, 1999; 12:16 AM Friday, May 28, 1999; 2:00 PM Saturday,
             May 29, 1999.

         Fox News Channel, 9:50 to 9:55 AM, Tuesday, June 1, 1999.

         Fox News Channel, 1:40 to 1:45 PM, Wednesday, June 16, 1999.

         “Gun Control Debate: Good Legislation or Bad Legislation?” CNN Today, CNN, 1:29
             TO 1:38 PM, Friday, June 18, 1999.

         Hardball with Chris Matthews, CNBC, Tuesday, June 22, 1999, 8:00 PM.

         “Airlines and Government,” C-SPAN3, 11:30 AM to 1:30 PM, Monday, June 28, 1999;
               C-SPAN, 9:20pm to 11:19 PM, Monday, June 28, 1999; C-SPAN2, 1:20 to 3:20
               AM, Tuesday, June 29, 1999.

         “Gun Life,” A&E series on “Guns in America,” 9:00 to 10:00 PM, Monday, June 28,
             1999.

         The Hannity and Colmes Show, Fox News Channel, 9:20 to 9:40 PM, Wednesday,
              August 11, 1999.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Hardball with Chris Matthews, CNBC, Wednesday, August 18, 1999, 8:40 to 9:00 PM.

         “Buckley V. Valeo Revisited: Are Existing Campaign Contribution Limits Consistent
              with the First Amendment?” C-SPAN1, 2:30 to 3:40 PM, Friday, September 10,
              1999; C-SPAN1, 3:48 to 5:00 AM, Tuesday, September 14, 1999.

         “Gunmakers Coming Under Increasing Pressure From All Areas to Make Guns Safer,”
             National Public Radio, Thursday, December 9, 1999.

         “Watch It” with Laura Ingraham, MSNBC, 6:15 to 6:30 PM, Thursday, December 9,
             1999.

         “Guns, Crime, and Safety,” Conference at the American Enterprise Institute, C-SPAN1,
             3:30 PM to 5:40 PM, Friday, December 10, 1999; C-SPAN2, 8:00 AM to 10:40
             AM, Monday, December 13, 1999. Also carried on C-SPAN radio.

         “A Society of Violence,” segment on The NewsHour with Jim Lehrer, 6:32 to 6:50 PM,
              Thursday, December 16, 1999.

         “The spotlight is back on US gun laws,” Australian Broadcasting Corporation’s AM
              program, 8:20 to 8:25 AM AEDT, March 2, 2000.

         “The Diane Rehm Show,” National Public Radio, 11:00 to 11:50 AM, Thursday, May 11,
              2000.

         “The Michael Reagan Show,” 7:30 to 8:00 PM, Friday, May 12, 2000.
         “The News with Brian Williams,” MSNBC, 9:15 to 9:22 PM, Friday, May 12, 2000.

          “Armed Informed Mothers March” C-SPAN1, 4:00 to 6:00 PM, Sunday, May 14, 2000;
              C-SPAN1, 2:00 to 4:00 AM, Monday, May 15, 2000; C-SPAN2, and 10:09 PM to
              12:44 AM, Monday, May 15, 2000.

         Australian Broadcasting Corporation’s “Late Line,” 10:45 to 11:15 AEDT, Monday, May
              15, 2000.

          “Special Report with Brit Hume,” Fox News Channel, 6:18 to 6:23 PM, Monday, May
              15, 2000.

         Gun Buyback Programs,” Fox Report, Fox News Channel, 7:15 to 7:17 PM, Thursday,
             June 1, 2000.

         The Hannity and Colmes Show, Fox News Channel, 9:00 to 9:15 PM, Friday, June 3,
              2000.

         Think Tank with Ben Wattenberg, National Public Television, Week starting June 8,
              2000.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         About Books, Discussion of More Guns, Less Crime at the Cato Institute, C-SPAN2, 1:20
             PM to 3:10 PM, Sunday, July 10, 2000.

         Fox Report, Fox New Channel, 7:50 to 7:55 PM, Thursday, October 19, 2000.

         “The Election and Guns,” CNN NewsStand, CNN, 10:32 to 10:55 PM, Tuesday, October
              24, 2000 and 1:32 to 1:55 AM, Wednesday, October 25, 2000.

         Politically Incorrect, ABC, 12:05 to 12:35 PM, Monday, February 26, 2001.

         “Reaction to Bancroft Winner Arming America,” Columbia College Conservative Club,
              C-SPAN2, 9:45 to 11:05 PM, Sunday, April 29, 2001; C-SPAN2, 5:30 to 6:50 PM,
              Monday, April 30, 2001.

         Special Report with Brit Hume, Fox News Channel, 6:25 to 6:27 PM, Tuesday, May 1,
              2001.

         “Zero Tolerance Policy,” The News with John Gibson, Fox News Channel, 5:35 to 5:38
              PM, Tuesday, June19, 2001.
         “Shifting Gun Control Policy,” To the Point, Public Radio International, 2:30 to 2:50 PM,
              Thursday, August 9, 2001.

         “Should Guns be Allowed Near Schools?” interviewed by Rick Sanchez, MSNBC, 1:33
              to 1:38 PM, Monday, August 21, 2001.

         The Sean Hannity Radio Show, 3:35 to 3:50 PM, Friday, September 28, 2001.

         “Can Guns Stop Terrorists?” interviewed by Neil Cavuto, Fox News Channel, 4:43 to
              4:46 PM, Monday, October 1, 2001.

         “The Terrorist Threat,” MSNBC, Thursday, October 11, 2001, 4:32 to 5:00 PM.

         “Mischaracterization of History?” Fox News Channel, Wednesday, January 9, 2002, 7:50
              to 7:53 PM.

          “Study: Guns No Safer When Locked Up,” Special Report with Bret Hume, Fox News
              Channel, Friday, July 5, 2002, 6:35 to 6:38 PM and July 6, 2002, 12:35 to 12:38
              AM; also presented on Fox Fair & Balanced, Fox News Channel, 3:55 to 3:58 PM.

         "The Abrams Report," MSNBC, Monday, October 7, 2002, 6:25 to 6:28 PM.

         Fox News, Friday, October 11, 2000, 1:50 to 1:56 PM.

         “Ballistic Fingerprinting,” Connie Chung Tonight, CNN, Wednesday, October 16, 2002,
              8:33 to 8:40 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Laura Ingraham Radio Show, 8:41 to 8:57 PM, Wednesday, October 16, 2002.

          “Advocates of Gun Control Use Killing Spree to Take Aim at Gun Lobby,” The Big
              Story with John Gibson, Fox News Channel, Friday, October 18, 2002, 5:13 to 5:16
              PM; also replayed on The Fox Report with Shepard Smith and other segments that
              day.

         Dennis Praeger Radio Show, 12:05 to 12:55 PM, Tuesday, October 22, 2002.

         “Interview with John Lott,” Special Report with Bret Hume, Fox News Channel,
               Tuesday, October 22, 2002, 6:19 to 6:29 PM.

         CNNfn, Thursday, October 24, 2002, 11:50 to 11:59 AM.

         “Political Bias in Publishing,” Fox Report, Saturday, January 19, 2003, 8:24 to 8:26 PM.

         Buchanan & Press, MSNBC, Monday, May 26, 2003, 3:30 to 3:35 PM.

         Scarborough Country, MSNBC, Tuesday, June 17, 2003, 10:03 to 10:11 PM and
              Wednesday, June 18, 2003, 1:03 to 1:11 AM.

         Hardball with Chris Matthews, MSNBC, Monday, June 30, 2003, 7:30 to 7:38 PM and
              11:30 to 11:38 PM.

         News Conference, Armed Pilots Program, Airline Pilots Security Alliance, C-SPAN2,
             5:12 AM to 5:52 AM, 8:48 AM to 9:28 AM, 1:20 PM to 2:00 PM, 8:48 PM to 9:28
             PM, Wednesday, August 27, 2003 and 12:28 AM to 1:08 AM, Thursday, August
             28, 2003.

         “Are the Skies Safe?” Lou Dobbs Moneyline, CNN and CNNfn, Tuesday, September 2,
              2003, 6:27 to 6:30 PM.

         “Will Democrat candidates opt out of public funding?” NPR’s Marketplace, Friday,
              October 17, 2003.

         “A ‘Jobless’ Recovery?” CNBC, Friday, January 23, 2004, 5:35 to 5:41 PM.

          “Granny Get Your Gun,” Fox Report with Shepard Smith, Fox News, Monday, February
              2, 2004; also replayed on Sunday Best, Fox News Channel, February 8, 2004, 9:35
              to 9:37 PM.

         “Big Story: Getting A Bead On The New Gun Control Law,” CNNfn, Friday, February
              27, 2004, 11:05 to 11:25 AM.

         “The Lars Larson Show,” nationally syndicated radio show, Monday, March 1, 2004,
              7:45 to 7:58 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         “Voting Rights for Felons,” National Public Radio’s The Connection, Monday, April 4,
              2004, 10:00 to 11:00 AM.

         “Ohio’s New Concealed Handgun Law,” National Public Radio’s Day to Day, Friday,
              April 8, 2004, 9:20 to 9:25 AM.

         “Five years after Columbine,” Tony Snow’s Radio Show, Tuesday, April 20, 2004, 10:50
              to 10:55 AM.

         “Guns: Self Defense or Public Health Crisis,” Duquesne University Debate,
             Pennsylvania Cable Network TV, Tuesday, April 27, 2004, 10:30 AM to 12:10 PM;
             Wednesday, April 28, 2004, 9:00 AM to 10:40 AM.

         “The Bias Against Guns: Why Almost Everything You've Heard About Gun Control Is
              Wrong,” Book TV, C-SPAN2, Saturday, May 15, 2004, 1:00 to 2:39 PM; Sunday,
              May 16, 1:00 to 2:39 AM; and Monday, May 31, 3:15 to 5:00 AM; C-SPAN Radio,
              Sunday, May 16, 5:00 to 6:39 PM; C-SPAN2, Saturday, August 28, 10:30 AM to
              12:09 PM.

         The Michael Dresser Show, Friday, May 29, 2004, 9:05 to 9:30 PM.

         “Electronic Voting Machines and Fraud,” State Circle, Maryland Public Television,
              Friday, June 4, 2004.

         Geoff Metcalf, nationally syndicated radio show, Friday June 18, 2004, 8:30 to 9:00 PM.

         “Preventing Another Florida?: Will the Changes Make Things Better?” C-SPAN1,
              Monday, June 21, 2004, 10:15 AM to 12:15 PM and 1:00 to 2:00 PM; C-SPAN3,
              Tuesday, June 22, 2004, 6:52 to 8:57 PM; C-SPAN2, Tuesday, June 29, 2004, 2:28
              to 4:30 PM; C-SPAN3, Wednesday, June 30, 2004, 5:50 to 7:45 PM; C-SPAN3,
              Tuesday, August 17, 2004, 4:12 to 6:03 PM.

         Linda Chavez’s nationally syndicated radio show, Friday, July 2, 2004, 11:15 to 11:30
              AM.

         Alan Colmes’ nationally syndicated radio show, Friday, July 2, 2004, 10:15 to 10:30 PM.

         “Electronic Voting Machines in Florida,” Nightly Business Report, National Public
              Television, Thursday, July 22, 2004.

         “Assault Weapons Ban,” On the Point, National Public Radio, Friday, August 13, 2004,
              7:29 to 7:33 PM.

         “The Quiet Death of the Assault Gun Ban,” The Connection, National Public Radio,
              Friday, September 10, 2004, 10 to 11 AM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

          “Media Bias,” MSNBC with Lester Holt, Monday, September 10, 2004, 5:45 to 5:52
             PM.

          “Assault Weapons Ban,” KNX Radio, Monday, September 10, 2004, 6:30 to 6:38 PM.

         “Assault Weapons Ban,” Larry Elder’s Radio Talk Show, Monday, September 10, 2004,
              7:10 to 7:30 PM.

         “Media Bias” CNBC, Thursday, September 16, 2004, 5:45 to 5:50 PM.

         “Gun Bias and the Media,” C-SPAN3, Monday, September 27, 2004, 2:00 to 3:30 PM.

         “Are the Elections any more Secure than 2000?” Lou Dobbs Tonight, Thursday, October
              21, 2004, 6:30 to 6:37 PM and 11:30 to 11:37 PM and Friday, October 22, 2004,
              4:30 to 4:37 AM.

         “Judicial Confirmation Process,” C-SPAN3, Monday, February 14, 2005, 9:00 to 10:30
              AM; C-SPAN2, Monday, February 14, 2005, 9:55 to 11:25 PM; C-SPAN2,
              Tuesday, February 15, 2005, 1:30 to 3:00 AM; C-SPAN3, Tuesday, February 15,
              2005, 12:30 to 2:00 PM; C-SPAN3, Tuesday, February 15, 2005, 7:00 to 8:30 PM;
              and C-SPAN3, Wednesday, February 16, 2005, 7:00 to 8:30 PM.

         “Michael Reagan Radio Show,” Friday, February 18, 2005, 7:45 to 8:30 PM.

         Joe Scaraborough’s national syndicated radio show, Tuesday, March 1, 2005, 10:15 to
              10:40 AM.

         Linda Chavez’s nationally syndicated radio show, Thursday, March 3, 2005, 8:15 to 8:30
              AM.

         Laura Ingraham’s national syndicated radio show, Thursday, March 3, 2005, 9:35 to 9:48
              AM.

         Connected: Coast to Coast, MSNBC, Tuesday, March 22, 2005, 12:03 to 12:20 PM.

         To the Point, Public Radio International, Tuesday, March 22, 2005, 2:03 to 12:30 PM.

         Scarborough Country, MSNBC, Tuesday, March 22, 2005, 10:50 to 10:58 PM.

         Interview With John Lott, The Big Story with John Gibson, Fox News Channel,
               Thursday, April 21, 2005, 7:50 to 7:53 PM.

         “Affirmative Action Factor in Atlanta Shooting?”Fox Report with Shepard Smith, Fox
              News Channel, Tuesday, April 26, 2005, 5:44 to 5:54 PM.

         “Guns,” Penn & Teller: BULLSHIT!: Gun Control,” Showtime, June 27, 2005, 10:00 to
             10:30 PM and 11:00 to 11:30 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

          “The Truth of Statistics: Freakonomics,” Culture Time, German Television 3sat-
              Suchmaschine, July 14th.

         “Campaign Spending Limits,” C-SPAN 1, Wednesday, August 3, 2005, 2:05 to 4:05 PM
             and C-SPAN 1, Wednesday, August 3, 2005, 4:21 to 6:21 AM.

         “Price Gouging,” Dateline, Radio America, September 21, 2005, 6:10 to 6:20 PM.

         “Brazilian Referendum Gun Ban Won’t Make Country Safer, says American,” British
              Broadcasting Corporation, October 18, 2005.

         “Guns and Road Rage,” The Lars Larson Show, February 2, 2006, 7:05 to 7:25 PM.

         “Convenor say gun safety conference not forum for pro-gun lobby,” Radio New Zealand,
             February 22, 2006, 8:15 AM (New Zealand time).

         Tom Gresham’s Gun Talk, March 26, 2006, 2:05 to 3:00 PM (on more than 100 radio
             stations).

         Alan Colmes’ Radio Show, April 18, 2006, 11:05 to 11:30 PM.

         Mayor Bloomberg’s Summit on Guns, Regional News Network (Cable News Channel in
             New York, New Jersey, and Connecticut), April 26, 2006, 5:05 to 5:15 PM.

         Concealed Handgun Laws, G. Gordon Liddy Radio Show, Talk American Radio
             Network, Thursday, April 27, 2006, 11:30 AM to 12:00 PM.

         “Special Report with Brit Hume,” Fox News Channel, 6:15 to 6:18 PM, Monday, May
              20, 2006.

         Gunlocks, G. Gordon Liddy Radio Show, Talk American Radio Network, Thursday,
              April 27, 2006, 11:20 AM to 11:30 AM.

         Abortion and Crime, Janet Parshall’s America, Salem Radio Network, Tuesday,
              September 5, 2006, 3:30 to 4:00 PM.

         Abortion and Crime, Lars Larson, nationally syndicated radio show, Friday, September
              22, 2006, 6:35 to 6:49 PM.

         Multiple Victim Public Shootings, Dennis Prager, nationally syndicated radio show,
              Tuesday, October 3, 2006, 1:35 to 1:42 PM.

         Electronic Voting Fraud Claims, The Greg Knapp Experience, nationally syndicated radio
               show, October 24, 2006, 3:35 to 3:49 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

          “Should Felons have the Right to Vote?” National Public Radio’s Justice Talking, play at
              various times nationally during the week of October 23, 2006, debate lasted 35
              minutes.

         “Guns in the Workplace,” the Jerry Doyle Show, February 13, 2007, 5:35 to 6:00 PM.

         The Lars Larson Show, March 30, 2007, 7:35 to 8:00 PM.

         The G. Gordon Libby Radio Show, April 11, 2007, 12:05 PM to 1:00 PM.

         Virginia Tech Shooting, Larry Elder, nationally syndicated radio show, Monday, April
              16, 2007, 4:05 to 4:42 PM.

         Virginia Tech Shooting, Lars Larson, nationally syndicated radio show, Monday, April
              16, 2007, 6:05 to 6:30 PM.

         Virginia Tech Shooting, The Mark Levine Show, nationally syndicated radio show,
              Tuesday, April 17, 2007, 6:05 to 6:24 PM.

         Guns and Crime, Al-Jazeera main news broadcast, Tuesday, April 17, 2007, 5:20 to 5:24
              PM.

         Virginia Tech Shooting, The Alan Colmes Show, nationally syndicated radio show,
              Tuesday, April 17, 2007, 11:05 to 11:30 PM.

         Virginia Tech Shooting, Wisconsin Public Radio, statewide syndicated radio show,
              Wednesday, April 18, 2007, 8:05 to 8:30 AM.

         Virginia Tech Shooting, Laura Ingraham, nationally syndicated radio show, Wednesday,
              April 18, 2007, 10:40 to 10:55 AM.

         Virginia Tech Shooting, Dennis Miller, nationally syndicated radio show, Wednesday,
              April 18, 2007, 11:05 to 11:30 AM.

         Virginia Tech Shooting, Sean Hannity, nationally syndicated radio show, Wednesday,
              April 18, 2007, 5:05 to 5:17 PM.

         Virginia Tech Shooting, Larry Elder, nationally syndicated radio show, Wednesday, April
              18, 2007, 6:40 to 6:48 PM.

         Gun Control, The John Gibson Show, nationally syndicated radio show, Thursday, April
             19, 2007, 7:35 to 7:47 PM.

         Virginia Tech Shooting, The Jerry Doyle Show, nationally syndicated radio show, Friday,
              April 20, 2007, 3:05 to 3:25 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Gun Control, The Bill Bennett Show, nationally syndicated radio show, Monday, April
             23, 2007, 7:35 to 7:47 AM.

         Virginia Tech Shooting, Mancow in the Morning, nationally syndicated radio show,
              Wednesday, April 25, 2007, 7:07 to 7:15 AM.

         The Jerry Doyle Show, May 31, 2007, 4:05 to 4:30 PM.

         The G. Gordon Liddy Show, Tuesday, June 5, 2007, 11:35 AM to 12:30 PM.

         Michael Medved Show, Wednesday, June 6, 2007, 5:05 to 6:00 PM.

         The G. Gordon Liddy Show, Friday, June 9, 2007, 12:05 to 1:00 PM.

         The Source with Paul Anderson, Sunday, June 10, 2007, 9:06 to 10:00 PM.

         Mike McConnell Show, Monday, June 11, 2007, 10:06 to 10:30 AM.

         Radio Rusy Humphries Show, Tuesday, June 12, 2007, 9:36 to 10:00 PM.

         The Jerry Doyle Show, Wednesday, June 13, 2007, 4:35 to 5:00 PM.

         The Christian Broadcasting Network, Friday, June 15, 2007, 2 minutes.

         Dennis Miller, Monday, June 18, 2007, 11:15 to 11:45 AM.

         Lars Larson, nationally syndicated radio show, Monday, June 16, 2007, 6:20 to 6:50 PM.

         Thom Hartman, Air America, Monday, June 16, 2007, 1:06 to 1:30 PM.

         “New Union Rules,” Kudlow & Company, CNBC, Monday, June 21, 2007, 4:42 to 4:47
             PM.

         Michael Medved Show, Friday, June 29, 2007, 4:05 to 5:00 PM.

         The Dennis Prager Show, July 2, 2007, 2:35 to 3:00 PM.

         The Laura Ingraham Show, Monday, July 16, 2007, 11:23 to 11:30 AM.

         Book TV, Discussion of Freedomnomics: Why the Free Market Works and Other Half-
             Baked Theories Don't at the Heritage Foundation, C-SPAN2, 11:00 AM to Noon,
             Sunday, August 12, 2007; Midnight to 1 AM, Sunday, August 12, 2007; and 7:00 to
             8:00 PM, Saturday, August 18, 2007; and 5:00 PM to 6:0 PM, Monday, September
             3, 2007.

         Lars Larson, nationally syndicated radio show, Monday, August 13, 2007, 6:20 to 6:30
              PM.

         The Dennis Prager Show, August 13, 2007, 12:35 to 12:45 PM.

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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The G. Gordon Liddy Show, Tuesday, August 14, 2007, 10:05 to 10:45 AM.

         Washington Post Radio, Tuesday, August 14, 2007, 4:08 to 4:15 PM.

         The Glenn Beck Show, CNN Headline News, Wednesday, August 29, 2007, 7:07 to 7:11
              PM and 9:07 to 9:11 PM.

         The Glenn Beck Radio Show, Thursday, August 30, 2007, 10:35 to 10:53 AM.

         Lars Larson Radio Show, Tuesday, September 18, 2007, 6:20 to 6:30 AM.

         Freedomnomics: Why the Free Market Works and Other Half-Baked Theories Don't at
              the Eagle Forum, C-SPAN2, 46 minutes, Friday, September 12, 2007; 7:00 PM to
              7:46 PM, Sunday, November 25, 2007.

         The G. Gordon Liddy Show, Monday, September 24, 2007, 10:05 to 10:45 AM.

         Hugh Hewitt, Monday, October 9, 2007, 8:34 to 8:50 PM.

         The Glenn Beck Show, CNN Headline News, Tuesday, October 10, 2007, 7:21 to 7:25
              PM and 9:21 to 9:25 PM, Monday, October 11, 2007, 12:21 to 12:25 AM Saturday,
              October 13, 2007, 7:21 to 7:25 PM and 9:21 to 9:25 PM; and Sunday, October 14,
              2007, 12:21 to 12:25 AM.

         Should teachers carry guns in US School, World Have Your Say, BBC World Service
              radio, Tuesday, October 24, 2007, 1:50 to 2:00 PM.

         The G. Gordon Liddy Show, Monday, November 12, 2007, 11:05 to 11:30 AM.

         Lars Larson Radio Show, Monday, November 12, 2007, 6:35 to 6:50 PM.

         Interview on carrying concealed handguns on university campuses, CNN Radio News,
               Wednesday, November 22, 2007.

         Women Voting and the Growth of Government, C-SPAN 1, Thursday, November 29,
            2007, 10:40 to 11:00 AM.

         Women Voting and the Growth of Government, The Thom Hartmann Show, Air
            America, November 29, 2007, 12:05 to 12:15 PM.

         The G. Gordon Liddy Show, Friday, November 30, 2007, 12:15 to 1:00 PM.

         The Dennis Prager Show, Thursday, December 6, 2007, 12:15 to 12:30 PM.

         Andrew Wilkow, The Wilkow Majority, Sirius Satellite Radio Patriot 144, Thursday,
             December 6, 2007, 1:40 to 2:00 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Lars Larson Radio Show, Thursday, December 6, 2007, 6:35 to 7:00 PM.

         Bill Cunningham Radio Show, Premiere Radio Network, Sunday, December 9, 2007.

         The Greg Knapp Experience, Thursday, December 20, 2007, 5:07 to 5:20 PM.

         Lars Larson Radio Show, Monday, January 14, 2008, 6:20 to 6:30 PM.

         The G. Gordon Liddy Show, Tuesday, January 15, 2008, 11:35 AM to Noon.

         Dennis Miller Show, Wednesday, February 13, 2008, 10:35 AM to 10:50 AM.

         The G. Gordon Liddy Show, Wednesday, February 13, 2008, 12:35 PM to 12:48 PM.

         Dennis Miller Show, Monday, March 10, 2008, 11:35 AM to 11:42 AM.

         Martha Zoller Show, Wednesday, March 12, 2008, 1:15 PM to 1:50 PM.

         Rusty Humphries Show, Wednesday, March 12, 2008, 9:48 PM to 10:00 PM.

         The G. Gordon Liddy Show, Monday, March 17, 2008, 10:06 AM to 10:30 AM.

         Lars Larson Radio Show, Monday, March 17, 2008, 6:15 PM to 6:30 PM.

         Mancow in the Morning, nationally syndicated radio show, Tuesday, March 18, 2008,
             7:45 to 8:00 AM.

         Brian and the Judge, Fox News Radio, Tuesday, March 18, 2008, 9:22 to 9:30 AM.

         The Michael Reagan Show, Tuesday, March 18, 2008, 7:20 to 7:30 PM.

         Debate with Paul Helmke, the president of the Brady Campaign, Bloomberg Television,
              Tuesday, March 18, 2008, 9:35 to 9:41 PM.

         Greg Garrison Show, Wednesday, March 19, 2008, 10:35 to 11:00 AM.

         The Glenn Beck Show, Wednesday, March 19, 2008, 11:06 to 11:20 AM.

         Discussion on the Economy, Dennis Miller Show, Wednesday, April 2, 2008, 10:35 AM
              to 10:42 AM.

         Discussion on the Economy, Fox & Friends, Fox News, Thursday, April 3, 2008, 6:22
              AM to 6:27 AM.

         “Charlton Heston and Guns,” Weekend Breakfast, BBC Radio 5 Live, Sunday, April 6,
              2008, 2:06 AM to 2:15 AM EDT.

         The G. Gordon Liddy Show, Tuesday, April 15, 2008, 12:22 PM to 1:00 PM.



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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The G. Gordon Liddy Show, Tuesday, April 29, 2008, 10:35 AM to 10:50 AM.

         Lars Larson Radio Show, Tuesday, April 29, 2008, 7:35 PM to 7:45 PM.

         The G. Gordon Liddy Show, Tuesday, May 13, 2008, 12:07 PM to 12:19 PM.

         Lars Larson Radio Show, Friday, May 30, 2008, 6:23 PM to 6:30 PM.

         The G. Gordon Liddy Show, Monday, June 16, 2008, 10:06 AM to 10:30 AM.

         “The Cost of the Iraq War,” Lars Larson Radio Show, Monday, June 16, 2008, 6:20 PM
              to 6:50 PM.

         Supreme Court Decision on Heller, Michael Gallagher Radio Show, June 26, 2008, 10:45
              AM to 10:55 AM.

         Supreme Court Decision on Heller, Tom Sullivan Radio Show, June 26, 2008, 2:05 PM to
              2:15 PM.

         Supreme Court Decision on Heller, Kresta in the Afternoon, June 26, 2008, 4:07 PM to
              4:20 PM.

         Supreme Court Decision on Heller, The Jason Lewis Radio Show, June 26, 2008, 5:30
              PM to PM.

         Supreme Court Decision on Heller, Jerry Johnson Live, June 26, 2008, 6:15 PM to 6:30
              PM.

         Supreme Court Decision on Heller, The Rusty Humphries Show, June 26, 2008, 9:15 PM
              to 9:30 PM.

         Debate with Brady Campaign President Paul Helmke over Supreme Court Decision on
              Heller, The Alan Colmes Show, June 26, 2008, 9:15 PM to 9:30 PM.

         The Steve Malzberg Radio Show, Monday, June 30, 2008, 4:35 PM to 4:50 PM.

         Discussion about profits in health care, The Mark Levin Show, July 10, 2008, 7:35 to
              7:43 PM.

         Discussion of Oil Company Profits, The Thom Hartmann Show, Air America, July 18,
              2008, 1:06 to 1:16 PM.

         Tom Gresham Radio Show, Sunday, July 27, 2008, 2:06 PM to 3:00 PM.

         Lars Larson Radio Show, Thursday, July 31, 2008, 6:23 PM to 6:46 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

          “Handguns on College Campuses,” a debate with Paul Helmke, president of the Brady
              Campaign, C-SPAN1, Friday, August 1, 2008, 1:10 to 2:15 PM; reboadcast on C-
              SPAN1, Friday, August 1, 2008, 9:02 to 10:07 PM.

         “The Second Amendment, post Heller decision,” C-SPAN2, Monday, August 4, 2008,
              4:10 to 5:06 PM; rebroadcast 1:06 to 1:58 AM, Tuesday, August 19, 2008, C-
              SPAN2; 1:43 to 2:35 PM, Thursday, August, 21, 2008, C-SPAN2.

         The Mark Levin Show, Thursday, August 28, 2008, 7:35 to 7:50 PM.

         Obama on Gun Control, The Steve Malzberg Radio Show, Monday, September 1, 2008,
             5:35 PM to 5:50 PM.

         “The Cost of the Iraq War,” Lars Larson Radio Show, Wednesday, September 17, 2008,
              6:24 PM to 6:50 PM.

         “The Bailout Bill,” Lars Larson Radio Show, Thursday, October 2, 2008, 7:07 PM to 7:20
              PM.

         The Michael Medved Show, Tuesday, October 14, 2008, 5:05 PM to 6:00 PM.

         The Michael Medved Show, Friday, October 24, 2008, 5:05 PM to 6:00 PM.

         Jason Lewis Show, Friday, October 31, 2008, 6:05 PM to 7:00 PM.

         “Minnesota Ripe for Election Fraud,” Lars Larson Radio Show, Monday, November 10,
             2008, 8:20 PM to 8:30 PM.

         “Minnesota Ripe for Election Fraud,” Glenn Beck Show, Tuesday, November 11, 2008,
             10:45 to 10:52 AM.

         Thom Hartmann's Show, Air America, Tuesday, November 11, 2008, 2:09 to 2:30 AM.

         “Minnesota Ripe for Election Fraud,” interviewed by Neil Cavuto, Fox News Network,
             Tuesday, November 11, 2008, 4:37 to 4:41 PM.

         “Minnesota Ripe for Election Fraud,” Steve Malzberg Show, Wednesday, November 12,
             2008, 4:47 to 5:00 PM.

         “Minnesota Ripe for Election Fraud,” Bill Bennett's Morning In America, Thursday,
             November 13, 2008, 8:05 to 8:15 AM.

         “Minnesota Ripe for Election Fraud,” Mike Gallagher Show, Thursday, November 13,
             2008, 9:47 to 9:55 AM.

         “Minnesota Ripe for Election Fraud,” Dennis Prager Show, Thursday, November 13,
             2008, 2:06 to 2:16 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         “Minnesota Ripe for Election Fraud,” Fox News Live with Jamie Colby, Fox News,
             Sunday, November 16, 2008, 11:41 to 11: 45 AM.

         Terrorist Attack in India, The Steve Malzberg Show, Wednesday, December 3, 2008,
              3:35 to 3: 45 PM.

         Terrorist Attack in India, The Greg Knapp Experience, nationally syndicated radio show,
              Friday, December 6, 2008, 4:35 to 4:43 PM.

         Terrorist Attack in India, Lars Larson, nationally syndicated radio show, Friday,
              December 6, 2008, 7:35 to 7:45 PM.

         The G. Gordon Liddy Show, Monday, December 15, 2008, 12:35 PM to 1:00 PM.

         The Auto Bailout, The Steve Malzberg Show, Wednesday, December 16, 2008, 4:35 to 4:
              45 PM.

         Tim Farley, The Morning Briefing, POTUS, XM Radio, December 18, 2008, 6:20 AM to
              6:30 AM.

         The G. Gordon Liddy Show, Monday, December 22, 2008, 12:35 PM to 1:00 PM.

         Minnesota Recount and Gun Control, Dennis Miller Show, Tuesday, December 23, 2008,
             11:35 AM to 11:47 AM.

         Minnesota Recount, the Jerry Doyle Show, Tuesday, December 23, 2008, 4:05 to 4:30
             PM.

         The G. Gordon Liddy Show, Tuesday, January 13, 2009, 12:22 PM to 12:30 PM.

         Lars Larson Radio Show, Thursday, January 28, 2009, 6:38 PM to 6:53 PM.

         Gun Control, Coast to Coast AM, Thursday, February 5, 2009, 1:17 to 2:00 AM.

         Gun Control and Gangs in Canada, The Roy Green Show, Corus Radio Network
             (National Canadian Network), Saturday, February 7, 2009, 3:35 to 4:00 PM.

         A. Gordon Liddy, Tuesday, February 10, 2009, 12:35 PM to 12:55 PM.

         The Dennis Miller Show, Thursday, February 12, 2009, 10 minutes.

         “The Cost of the Stimulus Bill,” Fox News, Monday, February 16, 2009, 11:10 to 11:12
              AM; and other times during the day.

         “Nationalizing Banks,” Glenn Beck Show, Fox News, Monday, February 16, 2009, 5:04
              to 5:11 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The G. Gordon Liddy Show, Wednesday, February 25, 2008, 11:35 to 11:45 AM.

         Mancow in the Morning, Friday, February 27, 2009, 7:55 to 8:03 AM.

         The Jason Lewis Show, Thursday, March 12, 2009, 8:05 to 9:00 PM.

         G. Gordon Liddy, Wednesday, April 1, 2009, 11:35 AM to 12:00 PM.

         Gun Control, Coast to Coast AM, Saturday, April 4, 2009, 1:03 to 1:08 AM.

         The Jason Lewis Show, Monday, April 13, 2009, 8:05 to 9:00 PM.

         Washington Journal, C-SPAN, Tuesday, April 14, 2009, 8:02 to 8:30 AM.

         Freedomnomics and Gun Control, Coast to Coast AM, Monday, May 4, 2009, 1:15 to
              4:00 AM.

         Health care debate, Street Signs, CNBC, Friday, May 8, 2009, 2:20 to 2:30 PM.

         The Jason Lewis Show, Wednesday, May 13, 2009, 8:05 to 9:00 PM.

         The Dennis Miller Show, Tuesday, May 19, 2009, 11:34 to 11:46 AM.

         Gun Control, Coast to Coast AM, Thursday, May 21, 2009, 1:10 to 1:55 AM.

         Lars Larson Radio Show, Friday, May 29, 2009, 6:21 PM to 6:30 PM.

         “Discussing the Obama Administration’s spending policy when it comes to issues such as
              health care, U.S. automakers, & the financial system,” Washington Journal, C-
              SPAN, Sunday, June 14, 2009, 7:30 to 8:30 AM.

         G. Gordon Liddy, Wednesday, June 25, 2009, 11:35 AM to 12:00 PM.

         Greg Garrison Show, Wednesday, July 1, 2009, 10:35 to 11:00 AM.

         Steve Malzberg Show, Wednesday, July 1, 2009, 5:35 to 6:00 PM.

         The Jason Lewis Show, Tuesday, July 14, 2009, 8:05 to 9:00 PM.

         The G. Gordon Liddy Show, Monday, July 20, 2009, 11:35 AM to 12:00 PM.

         Gun Control, Coast to Coast AM, Wednesday, July 22, 2009, 1:10 to 1:15 AM.

         The Thom Hartmann Show, Air America, Monday, August 3, 2009, 12:06 to 12:17 PM.

         The G. Gordon Liddy Show, Tuesday, August 4, 2009, 11:05 AM to 12:00 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The John Gibson Show, Tuesday, August 4, 2009, 1:10 to 1:20 PM.

         Cash for Clunkers and Health care, FOX Business, Thursday, August 6, 2009, 7:05 to
              7:12 PM.

         The Jason Lewis Show, Friday, August 14, 2009, 8:05 to 9:00 PM.

         Greg Garrison Show, Thursday, August 20, 2009, 10:35 to 11:00 AM.

         Discussion of Health Care Debate, The Thom Hartmann Show, Air America, Thursday,
              August 20, 2008, 12:06 to 12:16 PM.

         The Thom Hartmann Show, Air America, Tuesday, September 1, 2009, 1:15 to 1:30 PM.

         Greg Garrison Show, Monday, September 7, 2009, 10:05 to 11:00 AM.

         The G. Gordon Liddy Show, Monday, September 7, 2009, 11:05 AM to 12:00 PM.

         The Jason Lewis Show, Monday, September 7, 2009, 8:05 to 9:00 PM.

         The G. Gordon Liddy Show, Thursday, September 17, 2009, 11:05 AM to 12:00 PM.

         Lars Larson Radio Show, Thursday, September 17, 2009, 6:35 PM to 6:45 PM.

         The Thom Hartmann Show, Air America, Monday, September 21, 2009, 1:05 to 1:15 PM.

         The Dennis Miller Show, Wednesday, September 23, 2009, 11:08 to 11:18 AM.

         Mancow & Cassidy, WLS, September 30, 2009, 11:33 to 11:43 AM.

         The Jason Lewis Show, Monday, October 5, 2009, 8:05 to 9:00 PM.

         The Thom Hartmann Show, Air America, Tuesday, October 20, 2009, 12:05 to 12:15 PM.

         The Thom Hartmann Show, Air America, Monday, October 27, 2009, 12:05 to 12:15 PM.

         The Thom Hartmann Show, Air America, Monday, November 9, 2009, 2:05 to 2:15 PM.

         Gun Control, Coast to Coast AM, Wednesday, November 18, 2009, 1:10 to 1:15 AM.

         "White House Aims to Cut Deficit With TARP Cash," FOX Business, Friday, November
             13, 2009, 7:02 to 7:15 PM.

         The G. Gordon Liddy Show, Tuesday, November 24, 2009, 12:15 to 1:00 PM.

         Climate-gate, The Ryan Doyle Show, simulcast in Montreal and Toronto, Friday,
              November 27, 2009, 8:05 to 8:22 PM.



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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The Jason Lewis Show, Wednesday, December 2, 2009, 8:05 to 9:00 PM.

         The Steve Malzberg Show, Wednesday, December 16, 2009, 4:34 to 4:49 PM.

         The Mark Levine Show, nationally syndicated radio show, Wednesday, December 16,
              2009, 8:35 to 8:45 PM.

         The Thom Hartmann Show, Tuesday, January 12, 2010, 1:05 to 1:15 PM.

         The Jason Lewis Show, Tuesday, January 19, 2010, 8:05 to 9:00 PM.

         The Thom Hartmann Show, Wednesday, January 27, 2010, 2:05 to 2:15 PM.

         Lars Larson Radio Show, Tuesday, March 2, 2010, 8:20 PM to 8:30 PM.

         Supreme Court Gun Control, Coast to Coast AM, Tuesday, March 2, 2010, 1:10 to 1:55
              AM.

         Supreme Court Gun Control, Freedom Watch, Judge Napolitano, Tuesday, March 2,
              2010, 1:15 to 1:30 PM.

         Supreme Court Gun Control, Lou Dobbs Radio Show, Tuesday, March 2, 2010, 4:20 to
              4:30 PM.

         Supreme Court Gun Control, Lars Larson Radio Show, Tuesday, March 2, 2010, 8:20 to
              8:30 PM.

         Supreme Court Gun Control, Jason Lewis Radio Show, Tuesday, March 2, 2010, 8:30 to
              9:00 PM.

         Supreme Court Gun Control, Ave Maria Radio Show, Wednesday, March 3, 2010, 7:30
              to 8:00 PM.

         Knowing Barack Obama at Chicago, Mark Levin Radio Show, Wednesday, March 3,
             2010, 7:30 to 8:00 PM.

         Steve Malzberg Show, Monday, April 5, 2010, 5:20 to 5:30 PM.

         Gun Control, Coast to Coast AM, Friday, April 9, 2010, 1:03 to 1:08 AM.

         The Lars Larson Radio Show, Friday, April 16, 2010, 7:35 PM to 7:46 PM.

         The Jason Lewis Show, Friday, April 16, 2010, 8:05 to 9:00 PM.

         The Thom Hartmann Show, Wednesday, April 28, 2010, 12:05 to 12:15 PM.

         The Jim Bohannon Show, Thursday, April 29, 2010, 10:05 to 11:00 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The Jason Lewis Show, Thursday, May 13, 2010, 8:05 to 9:00 PM.

         The Lars Larson Show, Monday, May 24, 2010, 7:35 to 7:45 PM.

         The Steve Malzberg Show, Tuesday, May 25, 2010, 4:35 to 5:00 PM.

         The Jim Bohannon Show, Tuesday, May 25, 2010, 11:05 PM to 11:58 PM.

         Coast to Coast AM, Wednesday, May 26, 2010, 1:10 to 1:15 AM.

         The Greg Garrison Radio Show, May 26, 2010, 10:05 to 10:30 AM.

         The Lou Dobbs Radio Show, Wednesday, May 26, 2010, 2:35 to 2:55 PM.

         The Ed Morrissey Hot Air Radio, Wednesday, May 26, 2010, 4:05 to 4:30 PM.

         The Dennis Miller Show, Friday, May 28, 2010, 11:35 to 11:57 AM.

         The G. Gordon Liddy Show, Wednesday, June 2, 2010, 12:05 AM to 1:00 PM.

         The Michael Savage Show, Thursday, June 3, 2010, during third hour.

         The Jason Lewis Show, Monday, June 21, 2010, 8:05 to 9:00 PM.

         The Steve Malzberg Show, Monday, June 28, 2010, 4:22 to 4:30 PM.

         American Family Radio, Monday, June 28, 2010, 6:15 to 6:30 PM.

         The Alan Colmes Show, Monday, June 28, 2010, 11:06 to PM.

         Coast to Coast AM, Tuesday, June 29, 2010, 1:10 to 2:00 AM.

         The Mancow Show, Tuesday, June 29, 2010, 7:05 to 7: AM.

         The John McCaslin Show, Tuesday, June 29, 2010, 8:15 to 8:30 AM.

         The Michael Savage Show, Tuesday, June 29, 2010, during third hour.

         Discussing Supreme Court Ruling on Gun Rights, Washington Journal, C-SPAN,
              Wednesday, June 30, 2010, 9:15 to 10:10 AM.

         Kagan’s Confirmation Hearing, CBS’s Unplugged, Wednesday, June 30, 2010, 1:15 to
             1:50 PM.

         The Jason Lewis Show, Monday, July 5, 2010, 8:05 to 9:00 PM.

         Fox News’ “Strategy Room,” Tuesday, September 7, 2010, 9:30 to 9:42 AM.



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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The Lou Dobbs Radio Show, Tuesday, September 7, 2010, 3:35 to 3:45 PM.

         Coast to Coast AM, Wednesday, September 8, 2010, 1:10 to 3:00 AM.

         Fox News’ “Strategy Room,” Thursday, September 23, 2010, 10:30 to 10:40 AM.

         The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
              Friday, October 22, 2010.

         The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
              Monday, November 1, 2010, 8:05 to 8:09 PM.

         The Jason Lewis Show, Friday, November 5, 2010, 8:05 to 9:00 PM.

         The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
              Wednesday, December 8, 2010, 7:32 to 7:42 PM.

         The Jason Lewis Show, Monday, December 13, 2010, 8:05 to 9:00 PM.

         The Lars Larson Show, Tuesday, December 14, 2010, 6:35 to 6:45 PM.

         The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
              Wednesday, December 22, 2010, 7:32 to 7:42 PM.

         The Thom Hartmann Program, Free Speech TV Network and the RT America Channel,
              Wednesday, December 29, 2010, 7:32 to 7:42 PM.

         “Should the debt limit be raised?” Fox News Live with Kimberly Guilfoyle, Fox News,
              Friday, January 7, 2011, 1:40 to 11: 47 PM.

         Discussion of Representative Gabrielle Giffords’ shooting, Fox News, Sunday, January 9,
              2011, 5:23 to 5:29 PM.

         Armed American Radio, Sunday, January 9, 2011, 8:30 to 9:00 PM.

         Arizona Shooting, Coast to Coast AM, Tuesday, January 11, 2011, 1:10 to 2:00 AM.

         The Jason Lewis Show, Tuesday, January 11, 2011, 8:05 to 9:00 PM.

         Gun Control Legislation after the Arizona Shooting, Bloomberg TV, Wednesday, January
             12, 2011, 5:00 to 5:30 PM.

         State and Federal Gun Laws, Washington Journal, C-SPAN, Thursday, January 22, 2011,
               7:51 to 8:36 AM; replayed C-SPAN, Thursday, January 13, 2011, 12:17 to 1:00 PM.

         The Jim Bohannon Show, Thursday, January 13, 2011, 10:05 to 11:00 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Fred Thompson Radio Show, Friday, January 14, 2011, 12:34 to 12:45 PM.

         Rusty Humphries Radio Show, Tuesday, January 18, 2011, 4:35 to 4:45 PM.

         Dennis Miller Radio Show, Wednesday, January 19, 2011, 11:07 to 11:39 PM.

         The G. Gordon Liddy Show, Friday, January 21, 2009, 10:35 to 11:00 AM.

         The Thom Hartmann Show, Thursday, February 3, 2011, 12:05 to 12:15 PM.

         The Steve Malzberg Show, Thursday, February 3, 2011, 4:05 to 4:15 PM.

         “Why Obama Can't Do the Math On Jobs?” Fox News Live, Tuesday, February 8, 2011,
             11:23 to 11:30 AM.

         “University of Guns,” Fox Business, Thursday, February 24, 2011, 8:42 to 8:47 PM.

         “Is our government seeing double?” Fox News Live, Wednesday, March 2, 2011, 12:24
               to 12:40 PM.

         “The Truth About Obama and Budget Cuts,” Fox News Live, Wednesday, March 9,
              2011, 12:50 to 12:57 PM.

         The Jason Lewis Show, Friday, March 25, 2011, 8:05 to 9:00 PM.

         S&P Warning on Downgrading US Debt, Fox News Live, Thursday, April 15, 2011,
             10:30 to 10:45 AM.

         Budget Deficit Debate, Fox News Live, Thursday, April 21, 2011, 9:35 to 9:45 AM.

         Gun Ownership, Coast to Coast AM, Tuesday, May 3, 2011, 1:10 to 3:00 AM.

         “Texas State Senate passes Concealed Carry on Campus,” Coast to Coast AM, Tuesday,
              May 10, 2011, 1:08 to 1:10 AM.

         “Gun Control,” Freedom Watch with Judge Andrew Napolitano, Fox Business Channel,
             Friday, May 20, 2011, 8:40 to 8:45 PM.

         The Jason Lewis Show, Wednesday, June 8, 2011, 8:05 to 9:00 PM.

         Coast-to-Coast AM, Thursday, June 16, 2011, 1:15 to 2 AM.

         “Winnipeg carried a handgun for protection,” The Caldwell Account, Sun News Network,
             June 28, 2011.

         “Gun Myths,” The Source with Ezra Levant, Sun News Network, July 5, 2011.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Discussion of Operation Fast and Furious, Fox News Live, Friday, July 8, 2011, 11:35 to
              11:45 AM.

         “Myths about Debt Ceiling ‘Disaster’,” Fox News Live, Monday, July 18, 2011, 10:30 to
             10:41 AM.

         Discussion of the Norway Bombing and Shooting, Al Jazeera Television, Saturday, July
              23, 2011, 2:30 to 2:45 AM.

         “Gang of Six Not Ready for Prime Time?” Fox News Live, Monday, July 25, 2011, 10:30
             to 10:41 AM.

         “Winners & Losers from the Debt Limit Deal,” Fox News Live, Wednesday, August 3,
             2011, 10:16 to 10:23 AM.

         Lars Larson, Wednesday, August 3, 2011, 7:35 to 7:55 PM.z

         “Guns on College Campuses,” a debate between myself and the Brady Campaign’s Colin
             Goddard took about 50 minutes of this conference, C-SPAN3, Monday, August 8,
             noon to 3:30 PM; replayed C-SPAN3, Tuesday, August 9, 2011, 6:44 to 10:03 AM;
             C-SPAN2, Tuesday, August 9, 2011, 9:57 to 11:07 AM; C-SPAN2, Wednesday,
             August 10, 2011, 3:45 to 5:43 PM.

         Lars Larson, Monday, September 19, 2011, 6:35 to 6:45 PM.

         The Jason Lewis Show, Monday, October 24, 2011, 7:05 to 8:00 PM.

         The Jason Lewis Show, Friday, November 11, 2011, 8:05 to 9:00 PM.

         Coast-to-Coast AM, Thursday, November 17, 2011, 1:07 to 1:10 AM.

         Lars Larson, Friday, December 3, 2011, 8:20 to 8:30 PM.

         The Jason Lewis Show, Friday, December 16, 2011, 8:05 to 9:00 PM.

         Discussing the January Unemployment Report, The Mark Levine Show, Friday, February
              3, 2012, 7:20 to 7:45 PM.

         Jason Lewis Show, Friday, February 10, 2012, 8:05 to 9:00 PM.

         Larry Elder Show, Tuesday, March 6, 2012, 8:35 to 8:45 PM.

         Crime after DC and Chicago Supreme Court Decisions, Fox News, Thursday, March 8,
             2012, 12:10 to 12:12 PM.

         Jason Lewis Show, Friday, March 11, 2012, 8:05 to 9:00 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The Kudlow Report, CNBC, Tuesday, March 13, 2012, 8:50 to 8:54 PM.

         The Dennis Miller Show, Wednesday, March 14, 2012, 12:07 to 1:00 PM.

         The G. Gordon Liddy Show, Thursday, March 15, 2012, 12:05 to 12:30 PM.

         Michael Medved Radio Show, Monday, March 19, 2012, 5:07 to 5:55 PM.

         Jason Lewis Show, Thursday, March 22, 2012, 8:05 to 9:00 PM.

         The Drive Home with Steve Ray and Rachel Crowson, Tuesday, March 27, 2012, 8:15 to
              8:25 PM.

         The Phil Valentine Show, Thursday, March 29, 2012, 4:35 to 4:50 PM.

         The Rusty Humphries Show, Friday, March 30, 2012, 6:10 to 6:20 PM.

         Discussing “Debacle: Obama's War on Jobs and Growth and What We Can Do Now to
              Regain Our Future,” Washington Journal, C-SPAN 2 Book TV, Saturday, March
              31, 2012, 2:00 to 3:04 PM; Sunday, April 15th at 12:15 AM and at 10:45 AM.

         Dateline Washington, Greg Comoros, national radio show, Wednesday, April 4, 2012,
              3:05 to 3:15 PM.

         The Dennis Miller Show, Friday, April 6, 2012, 11:35 to 11:45 AM.

         America’s Morning News with John McCaslin, Monday, April 9, 2012, 7:30 to 7:40 AM.

         Fox News Live, Monday, April 9, 2012, 10:40 to 10:45 AM.

         American Now with Andy Dean, Tuesday, April 10, 2012, 8:35 to 8:55 PM.

         Point of View with Kerby Anderson, Wednesday, April 11, 2012, 2:05 to 3:00 PM.

         Dateline Washington, Thursday, Wednesday, April 12, 2012, 2:05 to 2:20 PM.

         The Jason Lewis Show, Friday, April 20, 2012, 7:05 to 8:00 PM.

         Debate on Stand Your Ground Laws, The Sean Hannity Show, Monday, April 23, 2012,
              5:07 to 5:20 PM.

         Clothing being made for concealed handgun permit holders, BBC Radio Scotland,
              Wednesday, April 25, 2012, 12:45 to 12:55 PM.

         Discussion on Stand Your Ground Laws, The Phil Valentine Show, Friday, April 27,
              2012, 3:35 to 3:50 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Debate on Stand Your Ground Laws, The Daily Rundown, MSNBC, Tuesday, May 1,
              2012, 9:35 to 9:45 AM.

         The Jason Lewis Show, Wednesday, May 23, 2012, 8:20 to 9 PM.

         Coast-to-Coast AM, Tuesday, June 19, 2012, 1:10 to 1:12 AM.

         The Jason Lewis Show, Wednesday, June 27, 2012, 7:35 to 7:50 PM.

         The Lars Larson Show, Friday, July 6, 2012, 6:20 to 6:30 PM.

         The Jason Lewis Show, Friday, July 6, 2012, 8:05 to 9:00 PM.

         UN Arms Trade Treaty, Coast-to-Coast AM, Thursday, July 12, 2012, 1:15 AM to 2:00
             AM.

         UN Arms Trade Treaty, The Sean Hannity Show, Thursday, July 12, 2012, 5:05 to 5:20
             PM.

         Colorado Shooting, BBC World Radio Service, Friday, July 20, 2012, 12:15 to 12:50 PM.

         Colorado Shooting, Rusty Humphries Show, July 20, 2012, 3:07 to 3:20 PM.

         Colorado Shooting, BBC World Television News, Saturday, July 21, 2012, 8:10 to 8:15
              PM.

         Mark Levin Radio Show, Monday, July 23, 2012, 6:35 to 6:49 PM.

         Bret Baier’s Special Report, Fox News, Monday, July 23, 2012.

         Piers Morgan Tonight, CNN, Monday, July 23, 2012, 9:30 to 9:46 PM.

         Mike Huckabee Radio Show, Tuesday, July 24, 2012, 12:35 to 12:45 PM.

         Sean Hannity Radio Show, Tuesday, July 24, 2012, 5:05 to 5:21 PM.

         Dennis Miller Radio Show, Wednesday, July 25, 2012, 11:05 to noon.

         “More or Less,” BBC Radio 4, Wednesday, July 25, 2012.

         Laura Ingraham Show, Friday, July 27, 2012, 10:35 to 10:42 AM.

         Mike Huckabee Radio Show, Friday, July 27, 2012, 2:35 to 2:45 PM.

         Lou Dobbs Tonight, Fox Business, Friday, July 27, 2012, 7:07 to 7:15 PM.

         USA Radio Network, Thursday, August 2, 2012, 1:15 to 1:40 PM.



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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Sean Hannity Radio Show, Thursday, August 2, 2012, 5:36 to 5:52 PM.

         Outfront with Erin Burnett, CNN, Monday, August 6, 2012, 7:51 to 7:57 PM.

         Jason Lewis Radio Show, Monday, August 6, 2012, 8:05 to 9:00 PM.

         Coast to Coast AM, Tuesday, August 7, 2012, 1:05 to 1:08 AM.

         Wall Street Shuffle, Tuesday, August 22, 2012, 6:35 to 6:45 PM.

         Jason Lewis Radio Show, Tuesday, August 22, 2012, 8:05 to 9:00 PM.

         Coast to Coast AM, Tuesday, September 4, 2012, 1:09 to 1:13 AM.

         Hugh Hewitt Radio Show, Friday, September 8, 2012, 7:05 to 7:12 PM.

         Coast to Coast AM, Saturday, December 1, 2012, 1:05 to 1:08 AM.

         Mark Levin Radio Show, Monday, December 3, 2012, 6:05 to 6:14 PM.

         Jason Lewis Radio Show, Wednesday, December 12, 2012, 8:05 to 9:00 PM.

         Mark Levin Radio Show, Friday, December 14, 2012, 7:35 to 7:55 PM.

         Piers Morgan Tonight, CNN, Friday, December 14, 2012, 9:30 to 9:46 PM.

         Coast to Coast AM, Saturday, December 15, 2012, 1:12 to 2:00 AM.

         CTV (Canadian Television), Saturday, December 15, 2012, 7:15 to 7:19 PM.

         State of the Union, CNN, Sunday, December 16, 2012, 10:07 to 10:12 AM.

         BBC World Service Radio, Sunday, December 16, 2012, 3:35 to 3:40 PM.

         BBC Newsday, BBC, Sunday, December 16, 2012, 9:00 to 9:05 PM.

         Starting Point with Soledad O’Brien, CNN, Monday, December 17, 2012, 7:33 to 7:43
               AM.

         “Sandy Hook Massacre Changes Gun Control Conversations,” Talk of the Nation, NPR,
              Monday, December 17, 2012, 1:03 to 1:12 PM.

         “Would more guns make America safer?” Washington Post, Monday, December 17, 2012.

         Dennis Prager Show, Monday, December 17, 2012, 1:05 to 1:30 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Heated Gun Debate Begins, CNN International, Monday, December 17, 2012, 3:07 to
              3:17 PM.

         BBC Newsnight, television, BBC, Monday, December 17, 2012, 5:30 to 5:35 PM.

         Coast to Coast AM, Tuesday, December 18, 2012, 1:05 to 1:08 AM.

         Mark Levin Radio Show, Tuesday, December 18, 2012, 6:35 to 6:55 PM.

         “Kudlow Report,” CNBC, Wednesday, December 19, 2012, 7:00 to 7:05 PM.

         “Chat: Chat: Gun control, nation after Newtown,” Video conference call, USA Today,
              Wednesday, December 19, 2012, 2:00 to 2:45 PM.

         "Examining the Efficacy and Limitations of Gun Control Laws to Stop Violence," PBS
             Newshour, Wednesday, December 19, 2012, 7:12 to 7:20 PM.

         Piers Morgan Tonight, CNN, Wednesday, December 19, 2012, various points from 9:20 to
               9:50 PM.

         World Have Your Say, BBC World Service, Friday, December 21, 2012, 1:50 to 1:58 PM.

         Megan Kelly, Fox News, Friday, December 21, 2012, 2:10 to 2:20 PM.

         America’s Gun Debate, CBC, Friday, December 21, 2012, 5:12 to 5:18 PM.

         Today Show, NBC, Saturday, December 22, 2012, 7:03 to 7:07 AM.

         "Control de armas," Noticiero, Telemundo, Sunday, December 23, 2012, 12:05 to 12:10
              PM.

         Coast to Coast AM, Wednesday, December 26, 2012, 1:05 to 1:08 AM.

         Gun Control, The Bill Bennett Show, nationally syndicated radio show, Thursday,
             December 27, 2012, 7:05 to 7:12 AM.

         Byline, Sun News, Monday, December 31, 2012, 11:35 to 11:45 AM.

         Coast to Coast AM, Friday, January 4, 2013, 1:05 to 1:08 AM.

         Gun Control, The Bill Bennett Show, nationally syndicated radio show, Thursday,
             December 27, 2012, 8:05 to 8:15 AM.

         Kilmeade & Friends, nationally syndicated radio show, Friday, January 11, 2013, 9:20 to
             9:30 AM.

         Laura Ingraham, Friday, January 11, 2013, 9:35 to 9:45 AM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Geraldo Rivera, Friday, January 11, 2013, 10:12 to 10:20 AM.

         CNN, Saturday, January 12, 2013, 8:10 to 8:18 AM.

         CBS Radio, January 14, 2013, five minutes taped.

         Dennis Prager Show, Wednesday, January 16, 2013, 1:05 to 2:00 PM.

         Washington Journal, C-SPAN, Saturday, January 19, 2013, 8:30 to 9:15 AM.

         Fox News, Saturday, January 19, 2013, 4:30 to 4:40 PM.

         Coast to Coast AM, Friday, January 25, 2013, 1:05 to 1:08 AM.

         Geraldo Rivera, Thursday, January 31, 2013, 10:08 to 10:30 AM.

         Sean Hannity Radio Show, Friday, February 1, 2013, 5:07 to 5:20 PM.

         WSJ Live, Monday, February 11, 2013, 1:25 to 1:29 PM.

         WSJ Live, “Gun Control: Smart or Illegal,” Monday, February 11, 2013, 3:57 to 4:01
             PM.

         The Dennis Miller Show, April 2, 2013, 12:05 to 12:30 PM.

         Steve Malzberg’s Show on News Max, April 2, 2013, 3:35 to 3:45 PM.

         Geraldo Rivera Radio Show, April 4, 2013, 10:35 to 10:47 AM.

         The Dennis Miller Show, April 10, 2013, 11:05 to 11:30 AM.

         Mark Levin Show, Wednesday, April 10, 2013, 6:35 to 6:47 PM.

         Geraldo Rivera Radio Show, April 11, 2013, 11:35 to 11:45 AM.

         Senate Debate over Gun Control, Fox News Live, April 11, 2013, 12:10 to 12:17 PM.

         The Scott Hennen Show, April 11, 2013, 1:35 to 1:50 PM.

         Mike Huckabee’s Radio Show, Thursday, April 11, 2013, 2:35 to 2:47 PM.

         Jason Lewis Show, Thursday, April 11, 2013, 8:05 to 9:00 PM.

         BBC World TV, Thursday, April 11, 2013, 10:05 to 10:10 PM.

         The Rusty Humphries Show, Friday, April 12, 2013, 5:35 to 5:45 PM.




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     SELECTED NATIONAL PUBLIC APPEARANCES (CONTINUED):

         Bill Cunningham’s “The Great Show,” Sunday, April 14, 2013, 10:35 to 11:00 PM.

         “Am Agenda,” Sun News Network, Thursday, April 18, 2013, 9:20 to 9:28 AM.

         Senate Vote on Gun Control, Fox News Live, Thursday, April 18, 2013, 12:20 to 12:28
              PM.

         NY1's The Call Tonight: Senate votes against expanding background checks, Thursday,
             April 18, 2013, 9:15 to 9:20 PM.

         Jim Bohannon Show, Thursday, April 18, 2013, 10:35 to 11:00 PM.

         Coast to Coast AM, Wednesday, May 8, 2013, 1:15 to 2:00 AM.

         Lars Larson Show, Tuesday, June 11, 2013, 7:10 to 8:00 PM.

         Substitute host for Jason Lewis Show, Thursday, June 13, 2013, 6:05 to 9:00 PM.

         Substitute host for Jason Lewis Show, Friday, June 14, 2013, 6:05 to 9:00 PM.

         Mike Huckabee’s Radio Show, Tuesday, July 15, 2013, 12:35 to 12:47 PM.

         Wilkow!, The Blaze TV, Friday, July 19, 2013, 4:50 to 4:57 PM.

         Stand Your Ground Laws, C-SPAN Washington Journal, Saturday, July 20, 2013, 7:45 to
              9:15 AM.

         Steve Malzberg Show, News Max Radio, Tuesday, July 23, 2013, 3:45 to 3:55 PM.

         Coast to Coast AM, Wednesday, July 25, 2013, 1:07 to 1:10 AM.

         Steve Malzberg Show, News Max Radio, Wednesday, July 31, 2013, 5:32 to 5:45 PM.

         Dana Loesch Show, Thursday, August 1, 2013, 1:35 to 1:45 PM.

         “Opinion: Cory Booker: Reality v. Rhetoric,” WSJ Live, Thursday, August 15, 2013,
              1:10 to 1:15 PM.

         Byline, Sun News, Monday, August 29, 2013, 9:06 to 9:11 PM.

         Sandy Rios, American Family Radio, September 3, 2013, 8:45 to 8:55 AM.

         Steve Malzberg Show, News Max Radio, Tuesday, September 3, 2013, 5:32 to 5:45 PM.

         Coast to Coast AM, Friday, September 13, 2013, 1:07 to 1:10 AM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Shooting in Washington, DC, Sky News UK, Monday, September 16, 2013, 1:14 to 1:19
              PM.

         Shooting in Washington, DC, Sean Hannity Radio Show, Monday, September 16, 2013,
              5:32 to 5:50 PM.

         Shooting in Washington, DC, Piers Morgan Tonight, CNN, Monday, September 16,
              2013, 9:25 to 9:41 PM.

         Sandy Rios, American Family Radio, Tuesday, September 17, 2013, 8:20 to 8:45 AM.

         Dennis Miller Radio Show, Wednesday, September 18, 2013, 11:15 to 11:45 AM.

         Steve Malzberg Show, News Max Radio, Thursday, September 19, 2013, 4:20 to 4:30
              PM.

         Lou Dobbs, Fox Business, Thursday, September 19, 2013, 7:35 to 7:40 PM.

         Lars Larson Radio Show, Thursday, September 19, 2013, 8:08 to 8:30 PM.

         Bill Martinez Live!, Friday, September 20, 2013, 9:16 to 9:50 AM.

         Fox News, Friday, September 20, 2013, 1:40 to 1:45 PM.

         Dana Loesch Show, Friday, September 20, 2013, 2:35 to 2:50 PM.

         The Source, Sun New, Friday, September 20, 2013, 5 PM hour, 7 minutes.

         The Alan Colmes Radio Show, Friday, September 20, 2013, 7:06 to 7:30 PM.

         Jason Lewis Radio Show, Friday, September 20, 2013, 8:05 to 9:00 PM.

         Fox & Friends, Saturday, September 21, 2013, 6:45 to 6:49 AM.

         “Dumbing Down the Courts,” Federalist Society Teleforum, Wednesday, September 25,
             2013, 12:00 to 1:00 PM.

         “Obama’s call for continued gun control,” Voice of Russia, Moscow, Wednesday,
             September 25, 2013, 1:05 to 1:10 PM.

         Sun New, Wednesday, September 25, 2013, 3:17 to 3:23 PM.

         Glenn Beck, The Blaze TV, October 1, 2013, 3:20 to 3:25 PM.

         “Is the push for gun control over?” Fox News Live, Wednesday, October 2, 2013, 12:33
               to 12:40 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         “Book Discussion on ‘Dumbing Down the Courts,’” C-SPAN2, Saturday, October 20,
             2013, 11:00 PM to 12:06 AM; C-SPAN2, Sunday, October 21, 2013, 3:45 to 4:51
             PM; and C-SPAN2, Saturday, October 26, 2013, 9:45 to 10:51 AM.

         The Dennis Miller Show, Monday, October 22, 2013, 10:46 to 11:00 PM.

         “Gun sales a snap on Instagram,” New Day, CNN, Saturday, October 26, 2013, 9:15 to
             9:20 AM.

         “Stand Your Ground Laws,” Senate Judiciary Subcommittee on the Constitution, Civil
              Rights, and Human Rights, C-SPAN2, Thursday, October 31, 2013, 8:00 to 10:00
              AM; C-SPAN2, Thursday, October 31, 2013, 5:26 to 7:26 PM; C-SPAN3, Friday,
              November 1, 2013, 8:00 to 10:00 PM; and C-SPAN3, Saturday, November 2, 2013,
              2:00 to 4:00 AM.

         Steve Malzberg Show, News Max Radio, Thursday, November 21, 2013, 4:35 to 4:45
              PM.

         Mike Huckabee’s Radio Show, Friday, November 22, 2013, 11:35 to 1:45 PM.

         “Kudlow Report,” CNBC, Friday, November 22, 2012, 7:50 to 7:57 PM.

         Dana Loesch Show, Friday, December 6, 2013, 1:35 to 1:50 PM.

         Lars Larson Radio Show, Wednesday, December 11, 2013, 8:35 to 8:55 PM.

         Glenn Beck TV Show, Friday, December 13, 2013, 5:50 to 6:00 PM.

         The Jim Bohannon Show, Monday, December 16, 2013, 10:05 to 11:00 PM.

         Geraldo Rivera, Tuesday, December 17, 2013, 10:06 to 10:15 AM.

         Coast-to-Coast AM, Wednesday, December 18, 2013, 1:05 to 1:07 AM.

         The Jerry Agar Show, Sun News (Canada), Tuesday, December 24, 2013, 4:35 to 4:41
              PM.

         Lars Larson Radio Show, Friday, January 3, 2014, 6:22 to 6:30 PM.

         “Will More Guns Keep You Safe?” Outfront with Erin Burnett, CNN, Friday, January 3,
              2014, 7:33 to 7:40 PM.

         Jason Lewis Radio Show, Friday, January 3, 2014, 8:05 to 9:00 PM.

         “Gun Myths Shot Down,” Byline with Brian Lilley, Sun News (Canada), Tuesday,
             January 7, 2014, 6:03 to 6:10 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Coast-to-Coast AM, Wednesday, January 8, 2014, 1:06 to 1:09 AM.

         The Mancow Experience, Wednesday, January 29, 2014, 11:37 to 11:50 AM.

         Sean Hannity Show, Tuesday, March 4, 2014, 5:06 to 5:21 PM.

         Lars Larson Radio Show, Friday, March 7, 2014, 5:35 to 5:50 PM.

         Jason Lewis Radio Show, Friday, March 7, 2014, 7:35 to 8:00 PM.

         “Putting America Back to Work,” Byline with Brian Lilley, Sun News (Canada), Friday,
               March 7, 2014, 10:23 to 10:30 PM.

         The Source with Paul Anderson, Sunday, March 9, 2014, 10:05 to 10:40 PM.

         Dennis Miller Show, Monday, March 10, 2014, 12:35 to 12:50 PM.

         The Gary Nolan Radio Show, Thursday, March 13, 2014, 11:35 to noon.

         The Dana Show, Thursday, March 20, 2014, 1:36 to 1:47 PM.

         Sandy Rios’ Radio Show, Friday, March 21, 2014, 8:20 to 8:35 AM.

         The Steve Malzberg Show, Friday, March 21, 2014, 5:20 to 5:30 PM.

         Blaze TV, Friday, March 21, 2014, 5:21 to 5:26 PM.

         Coastal Daybreak, Tuesday, March 25, 2014, 8:45 to 9 AM.

         Bill Bennett’s Morning in America, Friday, March 28, 2014, 7:06 to 7:15 AM.

         The Lars Larson Show, Wednesday, April 2, 2014, 7:45 to 7:53 PM.

         The Jim Bohannon Show, Wednesday, April 2, 2014, 10:35 to 10:42 PM.

         WMAL, Thursday, April 3, 2014, 7:05 to 7:14 AM.

         KTSA Radio, Thursday, April 3, 2014, 7:36 to 7:45 AM.

         The Sandy Rios, Thursday, April 3, 2014, 8:36 to 8:51 AM.

         The Dana Show, Thursday, April 3, 2014, 1:35 to 1:48 PM.

         The Sean Hannity Show, Thursday, April 3, 2014, 3:35 to 3:51 PM.

         The Janet Mefferd Show, Thursday, April 3, 2014, 4:10 to 4:20 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Phil Valentine Show, Thursday, April 3, 2014, 4:35 to 4:48 PM.

         The Mark Levin Show, Thursday, April 3, 2014, 6:07 to 6:30 PM.

         The David Webb Show, Thursday, April 3, 2014, 10:05 to 10:15 PM.

         Big John and Amy Show, Friday, April 4, 2014, 7:35 to 7:45 AM.

         Michigan Talk Radio, Friday, April 4, 2014, 8:35 to 8:45 AM.

         “Fort Hood Shooting,” Jansing & Co with Chris Jansing, MSNBC, Friday, April 4, 2014,
               10:05 to 10:14 AM.

         The Jason Lewis Radio Show, Friday, April 4, 2014, 8:05 to 9:00 PM.

         Tom Gresham’s Gun Talk, Sunday, April 6, 2014, 3:35 to 3:45 PM.

         The Dennis Miller Show, Tuesday, April 8, 2014, 1:05 to 1:30 PM.

         Coast to Coast AM, Thursday, April 10, 2014, 1:08 to 1:11 AM.

         The Ed Morrissey Show, Tuesday, April 22, 2014, 4:48 to 5:00 PM.

         Jason Lewis Radio Show, Tuesday, April 22, 2014, 8:05 to 9:00 PM.

         Peter Schiff Radio Show, Wednesday, April 23, 2014, 10:35 to 11:00 AM.

         Phil Valentine Radio Show, Wednesday, April 23, 2014, 3:35 to 3:45 PM.

         Conservative News/Talk KNUS, Wednesday, April 23, 2014, 4:35 to 4:45 PM.

         Fox News, Thursday, April 24, 2014, 3:33 to 3:37 PM.

         The Michigan Talk Network, Thursday, April 24, 2014, 8:35 to 8:41 AM.

         Coast to Coast AM, Thursday, April 24, 2014, 1:08 to 1:10 AM.

         Greg Garrison Radio Show WIBC in Indianapolis, Thursday, April 24, 2014, 9:35 to
              10:00 AM.

         “New Georgia Law Expands Rights of Gun Owners,” The Real Story with Gretchen
             Carlson, Fox News, Thursday, April 24, 2014, 3:33 to 3:37 PM.

         Nancy Grace, CNN Headline News, Thursday, April 24, 2014, 10:40 to 10:45 PM.

         Justice with Judge Jeanine, Fox News, Saturday, April 26, 2014, 9:33 to 9:37 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Southern California Public Radio, KPCC, Monday, April 28, 2014.

         The Peter Boyle Show, Wednesday, April 30, 2014, 7:10 to 7:30 AM.

         The Source with Ezra Levant, Canada’s Sun News, Monday, May 5, 2014.

         Dennis Miller Radio Show, Wednesday, May 7, 2014, 2:06 to 2:30 PM.

         Dennis Miller Radio Show, Wednesday, May 14, 2014, 2:06 to 2:30 PM.

         Dennis Miller Radio Show, Friday, May 16, 2014, 12:33 to 1:00 PM.

         WMAL, Tuesday, May 20, 2014, 5:37 to 5:45 PM.

         Larry Elder Show, Tuesday, May 27, 2014, 7:14 to 7:21 PM.

         Lars Larson Show, Tuesday, May 27, 2014, 7:35 to 8:00 PM.

         The Real Side, Tuesday, May 27, 2014, 6:08 to 6:30 PM.

         The Marc Bernier Show, Tuesday, May 27, 2014, 5:20 to 5:30 PM.

         Dr. Gina Loundon Show, Tuesday, May 27, 2014, 4:20 to 4:30 PM.

         Istook Live!, Tuesday, May 27, 2014, 1:05 to 1:20 PM.

         John Gibson Radio Show, Tuesday, May 27, 2014, 12:35 to 12:50 PM.

         The C4 Show, WBAL, Tuesday, May 27, 2014, 11:05 to 11:20 AM.

         Doug McIntyre KABC Los Angeles, Tuesday, May 27, 2014, 9:05 to 9:14 AM.

         The Tom Woods Radio Show, Thursday, May 29, 2014.

         Byline with Brian Lilley, Canada’s Sun News Network, “Moncton Shooting,” Thursday,
              June 5, 2014, 6 to 7 PM.

         The Jason Lewis Radio Show, Thursday, June 5, 2014, 8:17 to 9 PM.

         The Sandy Rios Show, Monday, June 9, 2014, 8:40 to 9:00 AM.

         News Max, Midpoint, Monday, June 9, 2014, 12:15 to 12:26 PM.

         KTTH Radio in Seattle, Tuesday, June 10, 2014.

         The David Boze Show, Tuesday, June 10, 2014, 10:05 to 10:30 AM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The Arena with Michael Coren, Canada’s Sun News, “More Control, More Violence,”
              Wednesday, June 11, 2014.

         The Jim Bohannon Show, Monday, June 16, 2014, 10:35 to 11 PM.

         “Gun Rights” a presentation to a dinner for Gun Rights North Carolina, C-SPAN3,
             Saturday, July 5, 2014, 4:36 to 6:11 PM and C-SPAN2, Thursday, September 4,
             2014, 10:35 AM to 12:10 PM.

         The Jason Lewis Radio Show, Sunday, July 20, 2014.

         “Mayor Emanuel to blame for Chicago violence,” Fox TV Chicago, Monday, July 28,
             2014.

         WMAL, Tuesday, July 29, 2014, 5:07 to 5:15 PM.

         An interview with Cam & Company and Katie Pavlich, Monday, August 4, 2014, 2:40 to
              2:51 PM.

         Jim Bohannon Radio Show, Monday, August 4, 2014, 10:35 to 11:00 PM.

         Michigan Talk Network, Wednesday, August 13, 2014, 8:30 to 8:40 AM.

         KFI, John and Ken Show, Wednesday, August 13, 2014, 8:35 to 8:45 PM.

         Coast to Coast AM, Thursday, August 14, 2014, 1:07 to 1:09 AM.

         Sportsman Channel, Thursday, August 14, 2014, 5:15 to 5.25 PM.

         The Dana Loesch Show (radio), Tuesday, August 19, 2014, 2:06 to 2:20 PM.

         The Glenn Beck TV Show, Tuesday, August 19, 2014, 4:30 to 4:50 PM.

         The Lars Larson National Radio Show, Monday, August 25, 2014, 6:20 to 6:30 PM.

         Coast to Coast AM, Tuesday, August 26, 2014, 1:07 to 1:10 AM.

         Women stalking victims and guns used for self protection, The Blaze TV with Dana
            Loesch, Tuesday, August 26th, 2014, 5:20 to 5:40 PM.

         Washington, DC’s WMAL, Friday, August 29, 2014, 5:35 to 5:40 PM.

         The Michigan Talk Network, Friday, August 29, 2014, 8:35 to 8:55 AM.

         The Larry Elder Show, Wednesday, September 3, 2014, 8:20 to 8:30 PM.

         WVON, Thursday, September 4, 2014, 8:05 to 9:15 PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

          “Russian versus US murder rates,” Voice of Russia, Saturday, September 20th, 2014,
              9:07 to 9:16 AM.

         Mistakes by police and civilians using guns, The Blaze TV with Dana Loesch, Tuesday,
              September 30, 2014, 6:09 to 6:19 PM.

          “It’s a Mean, Mean World?” The John Stossel Show, Fox News, Saturday, October 4,
                2014, 5 PM and 10 PM; Sunday, October 5, 2014, 10 PM; Monday, October 6,
                2014, 1 AM. Also shown on Fox Business, Thursday, October 2, 2014, 9 PM;
                Friday, October 3, 2014, 1 AM; Saturday, October 4, 2014, 9 PM and Midnight;
                Sunday, October 5, 2014, 9 PM.

         Michael Smerconish Show, CNN, Saturday, October 11, 2014, 9:30 to 9:35 AM and 6:30
             to 6:35 PM.

         The Lars Larson National Radio Show, Tuesday, October 14, 2014, 6:35 to 6:43 PM.

         The Dennis Miller National Radio Show, Tuesday, October 14, 2014, 1:15 to 1:30 PM.

         The Tom Gresham’s National Radio Show, Sunday, October 19, 2014, 2:07 to 2:19 PM.

         The Sand Rios National Radio Show, Monday, October 20, 2014, 8:20 to 8:37 AM.

         Errors in FBI report on public shootings, The Blaze TV with Dana Loesch, Monday,
              October 20, 2014, 5:20 to 5:30 PM.

         Coast-to-Coast AM Radio, Thursday, October 14, 2014, 1:07 to 1:11 AM.

         The Lars Larson National Radio Show, Thursday, October 23, 2014 from 6:37 to 6:45
              PM.

         “Does gun control save lives or does it tilt the battlefield in favour of terrorists?” The
             Source with Ezra Levant, Sun News (Canada), Tuesday, November 3, 2014, 8:48
             PM.

         The Bill Martinez Live Radio Show, Tuesday, December 2, 2014, 9:20 to 9:45 AM.

         Coast-to-Coast AM Radio, Wednesday, December 3, 2014, 1:06 to 1:09 AM.

         The Lars Larson National Radio Show, Monday, December 8th, 2014, 6:35 to 6:44 PM.

         The Dennis Miller National Radio Show, Wednesday, December 10th, 2014, 2:05 to 2:30
              PM.

         The Lars Larson National Radio Show, Thursday, December 12th, 2014, 7:35 to 7:40
              PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The Sean Hannity Radio Show, Friday, December 19th, 2014, 5:09 to 5:16 PM.

         The Steve Malzberg Show, Monday December 22nd, 2014, 5:20 to 5:30 PM.

         Michigan Talk Network, Monday, December 22nd, 2014, 7:45 to 7:52 AM.

         The Flipside, Tuesday, December 23, 2014.

         “Shoot an intruder in Idaho & the intruder goes to jail. In Canada the shooter might,”
              Byline with Brian Lilley, Sun News (Canada), Monday, January 19, 2015.

         The Dana Loesch Radio Show, Thursday, January 22nd, 2015, 2:23 to 2:30 PM and 3:05
              to 3:16 PM.

         The Lars Larson National Radio Show, Thursday, January 22nd, 2015, 6:05 to 6:15 PM.

         Michigan Talk Network, Thursday, January 22, 2015, 8:35 to 8:41 AM.

         The Frank Beckmann Show on WJR, Friday, January 30th, 2015.

         The Lars Larson National Radio Show, Thursday, February 12th, 2015, 6:21 to 6:30 PM.

         The Jim Bohannon National Radio Show, Wednesday, February 18th, 2015, 10:05 to
              11:00 PM.

         Jim Bohannon’s America in the Morning, Friday, February 20th, 2015, 5 AM hour.

         John Gambling on WOR, Friday, February 27, 2015, 11:20 to 11:30 AM.

         Coast-to-Coast AM, Friday, February 27, 2015 from 1:07 to 1:09 AM.

         Wyoming Public Television, Friday, February 27th, 2015 at 8 PM.

         Mark Levin Radio Show, Tuesday, March 10th, 2015 from 7:35 to 7:46 PM.

         Sean Hannity Radio Show, Monday, March 16th, 2015, 5:06 to 5:20 PM.

         Steve Malzberg NewsMax TV Show, March 20, 2015.

         John Stossel’s Show on Fox News and Fox Business, March 22, 23, and 24, 2015.

         Lars Larson’s National Radio Show, Wednesday, March 25, 2015, 6:20 to 6:30 PM.

         The Jim Bohannon National Radio Show, Friday, March 13, 2015, 10:35 to 11:00 PM.

         The Jim Bohannon National Radio Show, Wednesday, March 18, 2015, 10:35 to 11:00
              PM.




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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         The Phil Valentine Show, Monday, March 30, 2015, 2:35 to 3:00 PM.

         Larry O’Connor’s Show, WMAL, Thursday, April 16th, 2015 from 5:35 to 5:50 PM.

         Michigan Talk Network, Tuesday, April 21, 2015 from 6:40 to 6:47 AM.

         Washington Journal, C-SPAN, April 25, 2015, 7:51 to 8:20 AM.

         Michigan Talk Network, Tuesday, April 28, 2015 from 7:35 to 7:43 AM.

         Coast-to-Coast AM, Tuesday, April 28th, 2015, 1:15 to 3:00 AM.

         Michigan Talk Network, Tuesday, May 5, 2015 from 6:40 to 6:47 AM.

         Lars Larson’s National Radio Show, Monday, May 4, 2015, 6:20 to 6:30 PM.

         “What National Crime Wave?” Wall Street Journal’s Opinion Journal, June 9, 2015.

         The Jim Bohannon National Radio Show, Wednesday, June 4, 2015, 11:05 to 12:00 PM

         Larry O’Connor’s Show, WMAL, Thursday, June 11th, 2015 from 5:07 to 5:14 PM.

         Lars Larson’s National Radio Show, Thursday, June 11th, 8:20 to 8:42 PM.

         Coast-to-Coast AM, Friday, June 12th, 1:07 to 1:10 AM.

         Coast-to-Coast AM, Friday, June 19, 2015 from 1:07 to 1:10 AM.

         Bill Bennett's Morning in America, Friday, June 19, 2015 from 7:05 to 7:16 AM.

         Lars Larson’s National Radio Show, Friday, June 19, 2015 from 6:22 to 6:30 PM.

         Dennis Prager National Radio Show, Monday, June 22, 2015 form 2:05 to 3:00 PM.

         Sean Hannity’s Television Show, Fox News, Monday, June 22, 2015 from 10:18 to 10:20
              PM.

         The Daily Wrap's co-hosted by Joe Concha and Rick Ungar, NewsMax TV, Tuesday,
              June 23, 2015 from 7:10 to 7:17 PM.

         Larry O’Connor’s Show, WMAL, Thursday, July 2nd, 2015 from 8:40 to 8:45 AM.

         Lars Larson Show on Thursday, July 16th, 2015 from 7:20 to 7:30 PM.

         Larry Elder Show on Friday, July 17th, 2015 from 3:20 to 3:30 PM.

         Laura Ingraham Radio Show, Friday, July 24, 2015 from 10:07 to 10:16 AM.



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     SELECTED PUBLIC APPEARANCES (CONTINUED):

         Coast-to-Coast AM, Tuesday, July 28, 2015 from 1:08 to 1:11 AM.

         The John Stossel Show on Fox News and Fox Business on Friday, July 31, 2015.

         Aljazeera America, Monday, August 10, 2015.

         Lars Larson’s National Radio Show, Thursday, August 13, 2015 from 6:22 to 6:30 PM.

         UN Arms Trade Treaty, Radio America, Thursday, August 27, 2015.

         Steve Malzberg’s Show, NewsMax TV, Thursday, August 27, 2015 from 7:34 to 7:40
              PM.

         CBS Evening News, Thursday, August 27th, 2015, 6:45 to 6:47 PM.

         Coast-to-Coast AM, Friday, August 28th, 2015 from 1:15 to 2 AM.

         Jim Bohannon’s America in the Morning, Tuesday, August 18, 2015, 5 AM hour.

         The Daily Wrap's co-hosted by Joe Concha and Rick Ungar, NewsMax TV, Friday,
              August 28, 2015, 6:05 to 6:09 PM.

         Sandy Rios National Radio Show, Tuesday, September 1, 2015, 8:15 to 8:50 AM.

         Dana TV, The Blaze, October 1, 2015.

         Aljazeera International, October 2, 2015 from 11:10 to 11:15 AM.

         CNN Newsroom with Carol Costello, CNN, October 2, 2015.

         Coast-to-Coast AM, Friday, October 2, 2015 from 1:07 to 1:10 AM.

         Mark Levin National Radio Show, Friday, October 2, 2015 from 6:35 to 6:53 PM.

         Laura Ingraham Radio Show, Friday, October 2, 2015 from 1:15 to 1:23 PM.

         John Gibson National Radio Show, Friday, October 2nd, 2012 from 1:05 to 1:17 PM.

         Sean Hannity Radio Show, Monday, October 6, 2015, 5:06 to 5:21.

         “The Danger of Gun-free Zones,” Wall Street Journal’s Opinion Journal, October 5,
              2015.

         NewsMax TV, Friday, October 5, 2015 from 8:24 to 8:29 PM.

         “Would New Guns Laws Make You Safer?” Fox & Friends, October 10, 2015.

         Not yet updated after this date.



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     SELECTED NONACADEMIC WRITINGS ON ECONOMICS:

         “Stop Subsidizing the Future Rich,” USA Today, February 19, 1985, p. 8A.

          “Social Security’s a Bad Deal That’s Also Difficult to Justify,” Houston Post, Sunday,
              October 27, 1985, p. B3, also appeared in The Orange County Register and Peoria
              (Illinois) Star Journal, Sunday, November 3, 1985.

          “Competition Would Benefit Schools,” Bozeman (MT) Daily Chronicle, Thursday, July
              31, 1986, p. 4.

         “Teachers: They Could Stand Some Competition,” Detroit News, Thursday, July 17,
              1986, also appeared in the St. Louis Post-Dispatch, Friday, July 18, 1986;
              Pittsburgh Post-Gazette, Saturday, July 12, 1986; and the Washington Times,
              Monday, July 14, 1986.

         “Advantage, Incumbents,” coauthored with Gertrud Fremling, The Orange County
             Register, April 18, 1987, p. A28.

          “Incumbents Benefit if Spending Caps are Equal,” The Wall Street Journal, Wednesday,
               June 10, 1987, p. A10.

          “Academic Freedom at a Public University,” The Freeman, March 1990, pp. 112-115.

          “Blaming the Bad News Bearer,” Los Angeles Times, Monday, August 13, 1990, p. B5;
              also appeared in the Courier-Journal (Louisville, Kentucky), Tuesday, August 14,
              1990, p. 9A; the Sacramento Bee, Wednesday, August, 15, 1990, p. B7; and carried
              on Los Angeles Times newswire service.

          “Raising Commodity Prices Justifiable?” debate with U.S. Senator Joseph Lieberman,
              PM Editorial Services, August 1990.

         “What Should We Do About the Deficit?” United Press International Newswire,
             October 11, 1990.

          “Strong Arm of the Law Left Milken Defenseless,” The Orange County Register,
               Sunday, March 31, 1991, p. G1 and G2.

          “Is Curbing Crime Worth the Cost?” New York Times, coauthored with Michael Block,
               Sunday, May 5, 1991, p. F 13.

          “Our Economy is Still the World’s Leader,” New York Newsday, Tuesday, April 7, 1992,
              p. 85; also appeared in the Indianapolis Star, Wednesday, April 22, 1992, p. A13;
              carried on Los Angeles Times newswire service.

         “Clinton Economic Plan Won’t Work,” Philadelphia Inquirer, Sunday, April 19, 1992,
              p. D13, also appeared in the Richmond Times-Dispatch, Sunday, April 26, and
              carried on Knight-Ridder newswire service.




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     SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

         “Czechoslovak Mutual Funds Fuel Reform,” The Wall Street Journal Europe,
              coauthored with Robert G. Hansen, Friday, July 17, 1992, p. 6.

          “Al Gore on the Environment: Warped and Extremist Thinking,” Philadelphia Inquirer,
              Friday, August 27, 1992, p. A23, also appeared in the Detroit News, Monday
              September 28, 1992, p.7A.

         “If Al Gore’s a Conservative, Clinton Must Be Waaay Out,” New York Newsday,
               Tuesday, October 6, 1992, p. 75, carried on Los Angeles Times-Washington Post
               newswire service.

          “But Look at the Price Tag,” Philadelphia Inquirer, Thursday, October 15, 1992, p.
              A23, also appeared in the St. Louis Post-Dispatch, Sunday, October 11, 1992, p.
              7E, The Seattle Times, Friday, October 23, 1992, and carried on Knight-Ridder
              newswire service.

          “Clinton’s ‘Big Lie’ on Economy,” Philadelphia Inquirer, Monday, November 2, 1992,
               p. A15.

         “Give Reagan-Bush Their Due: They Did Build Up the Economy,” Philadelphia
              Inquirer, Wednesday, January 20, 1993, p. A9; also appeared in the Orange County
              Register, Sunday, January 24, 1993; Long Beach (Ca.) Press-Telegram, Friday,
              January 22, 1993; Lexington (KY) Herald-Leader, Monday, January 25, 1993; The
              Wichita Eagle, Sunday January 24, 1993; Corpus Christi (TX) Caller Times,
              Saturday, January 23, 1993; News Sentinel (Fort Wayne, Indiana), Saturday,
              January 23, 1993; and carried on Knight-Ridder newswire service.“Energy Tax Hits
              the Middle Class,” Philadelphia Inquirer, Monday, February 8, 1993, p. A13; also
              appeared in the Orange County Register, Sunday, February 21, 1993, pp. J1 and J2;
              and carried on Knight-Ridder newswire service.

          “Drug Research: Pay Now or Later,” Philadelphia Inquirer, Saturday, March 20, 1993,
              p. A11, carried on Knight-Ridder newswire service.

          “Clinton: Proteger a EE UU,” Cinco Dias (Second largest business newspaper in Spain),
               Friday, April 16, 1993, pp. 2 and 3.

         “U.S. Taxpayers Will Pay Dearly for that Biodiversity Treaty,” Philadelphia Inquirer,
              Wednesday, May 19, 1993, p. A11; also appeared in the Washington Times,
              Tuesday, June 1, 1993, pp. E1 and E4; the Phoenix Gazette, Saturday, May 22,
              1993, p. A13; and the Montgomery County (PA.) Observer, Wednesday, May 26,
              1993, p. 11.

          “Who Gets Socked __ Salmon or Energy Consumers?: The True Cost of Clinton’s
             Energy Bill,” Philadelphia Inquirer, Thursday, June 10, 1993, p. A23.

          “Clinton Plan Isn’t Campaign Reform,” Philadelphia Inquirer, Saturday, August 21,
               1993, p. A7.



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     SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

         “Toxic Land, Toxic Fears,” Reviews of Environmental Overkill: Whatever Happened to
              Common Sense? by Dixy Lee Ray with Lou Guzo and Science Under Siege:
              Balancing Technology and the Environment by Michael Fumento, Philadelphia
              Inquirer, Sunday, August 22, 1993, pp. K1 and K4.

         “Galbraith, Speculating About Economic Cycles,” Review of A Short History of
              Financial Euphoria by John Kenneth Galbraith, Philadelphia Inquirer, Sunday,
              September 5, 1993, p. K3.

         “Vouchers Would Foster A Healthy Competition,” Richmond Times-Dispatch, Tuesday,
             September 7, 1993 and the Daily Oklahoman, Saturday, October 9, 1993, p. 4.

         “Clinton’s Plan Needs a Doctor,” Philadelphia Inquirer, Thursday, September 23, 1993,
              p. A23; also appeared in the San Francisco Chronicle, Friday, September 24, 1993,
              p. A25; the Orange County Register, Wednesday, September 29, 1993; the
              Charlotte (N.C.) Observer, Wednesday, September 29, 1993; the Phoenix Gazette,
              Thursday, September 23, 1993, p. A27; the Milwaukee Sentinel, Thursday,
              September 30, 1993; the Daily Oklahoman, Monday, October 18, 1993, p. 6; and
              carried on Knight-Ridder newswire service.

          “Public Schools Need More Competition,” Philadelphia Inquirer, Wednesday, October
              13, 1993, p. A11.

         “Are Oxygenated Fuels Worth All the Extra Cost?: Drivers Pay 5 to 7 Cents More A
              Gallon, and The Special Fuel Isn’t Even Necessary,” Philadelphia Inquirer,
              Monday, November 1, 1993, p. A19; also appeared in the Washington Times,
              Monday, November 1, 1993, p. A17; the Phoenix Gazette, Tuesday, November 2,
              1993, p. B15; the Salt Lake City Tribune, Friday, October 29, 1993; and the
              Albuquerque Journal, Friday, December 17, 1993, p. A19.

         “Look at What Drugs Are Doing, and Elders’ Idea Doesn’t Look Bad,” Philadelphia
             Inquirer, Thursday, December 23, 1993, p. A15.

         “Rush Limbaugh Vents about Clinton, Gore and ‘the Decade of Fraud,’ ” Review of See,
              I Told You So by Rush H. Limbaugh, III, Philadelphia Inquirer, Sunday,
              December 26, 1993, p. C3.

          “Whitman Can Close the Gap Through School Choice,” Philadelphia Inquirer,
             Saturday, January 22, 1994, p. A9.

          “Drug Policy Frees Prisons for Real Criminals,” the Detroit News, Sunday, January 23,
              1994, p. B3.

          “The Government Exaggerates the Secondhand Smoke Threat,” Philadelphia Inquirer,
              Wednesday, April 6, 1994, p. A15; also appeared in the Cincinnati Post, Thursday,
              April 7, 1994, p. A14; and the Cythiana Democrat (Kentucky), April 14, 1994, p. 4.




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     SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

          “The Danger of Medical Price Controls,” Letters to the Editor, The Wall Street Journal,
              Monday, May 9, 1994, p. A15.

          “With Clinton’s Health Care, We also Get Price Controls,” Philadelphia Inquirer,
              Saturday, July 23, 1994, p. A7; also appeared in the Cythiana Democrat
              (Kentucky), June 23, 1994, p. 4.

          “On the World Bank’s Debit Side: Progress that Brings Problems,” Review of
              Mortgaging the Earth: The World Bank, Environmental Improverishment, and the
              Crisis of Development by Bruce Rich, Philadelphia Inquirer, Sunday, July 24,
              1994, p. H3.

          “Clinton Pollster Looks at Politics and Power,” Review of Middle Class Dreams: The
               Politics and Power of the New American Majority, by Stanley B. Greenberg,
               Philadelphia Inquirer, Sunday, March 12, 1995, p. H1.

          “An Environmental Optimist Sees A Good Earth Likely to Get Better,” Review of A
              Moment on the Earth: The Coming Age of Environmental Optimism, by Gregg
              Easterbrook, Philadelphia Inquirer, Sunday, April 30, 1995, p. M3.

          “An Assessment that Finds Fault with Liberal Social Policies,” Review of The Vision of
              the Anointed: Self-congratulations as a Basis for Social Policy, Thomas Sowell,
              Philadelphia Inquirer, Sunday, October 1, 1995, p. H3.

         “Laws that Permit Handguns Save Lives,” Seattle Times, Thursday, August 22, 1996, p.
             B5; Philadelphia Inquirer, Thursday, August 29, 1996, p. A23; Chicago Sun-
             Times, Sunday, October 13, 1996, p. 44.

          “Do Concealed Handgun Laws Save Lives?” The Wall Street Journal, Wednesday,
              August 28, 1996, p. A13; reprinted in Guns and Violence: Current Controversies,
              edited by Henny H. Kim (Greenhaven Press: San Diego, Ca., 1999) and also
              numerous other places.

          “It Would be Criminal to Ignore How Concealed-Carry Laws Cut Murder Rates,” Letters
               to the Editor, The Washington Times, Monday, September 9, 1996, p. A18.

         “America Still the Richest of Countries,” Philadelphia Inquirer, Sunday, September 29,
             1996, p. E6.

          “What Deters Criminals?” Letters to the Editor, The Washington Post, Thursday,
             October 31, 1996, p. 20.

          “Bulletproof,” Letters to the Editor, The Economist, January 11th-17th, 1997, pp. 6 and
              8.

          “Study on Handgun Permit Laws,” Letters to the Editor, Los Angeles Times, Sunday,
              February 2, 1997, p. M4.



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     SELECTED NONACADEMIC WRITINGS ON ECONOMICS (CONTINUED):

         “Gun Study Extensive, Thorough,” Omaha World Herald, Sunday, March 9, 1997, p. B9.

         “Concealed Handguns; Letting citizens carry them leads to drop in murder rates,”
             Minneapolis Star Tribune, Friday, March 21, 1997, p. 21.

         “Concealed Handguns and Crime,” Letters to the Editor, Washington Post, Wednesday,
             April 9, 1997, p. A20; also appeared in Dallas Morning News, May 14, 1997.

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          “Think Twice On New Gun Laws,” Newsday (New York, NY), Friday, April 30, 1999,
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          “When self-defense is banned,” Washington Times, Wednesday, May 5, 1999, p. A19;
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          “Guns and Crime and Traditional Myths,” Letters to the Editor, The Wall Street Journal,
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           “Bathtubs Kill More Babies than Guns Do,” Human Events, July 2, 1999, p. 6.

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          “Will Gun Bans Stop Shootings?: Analysis of data hints they may not,” coauthored with
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               (Minnesota), Thursday, December 30, 1999; Dallas Morning News, Friday,
               December 31, 1999; Fresno Bee (Fresno, Ca.), Sunday, January 2, 2000, p. G4;
               Cincinnati Enquirer, Sunday, January 2, 2000, p. B6; Post and Courier
               (Charleston, SC), Sunday, January 2, 2000, p. A11; News and Observer (Raleigh,
               NC), Wednesday, January 5, 2000, p. A17; Commercial Appeal (Memphis, TN),
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              A15 and the Hartford Courant.

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          “Not-So-Smart Locks,” Letters to the Editor, Washington Post, Tuesday, February 1,
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           “Gun-safety laws proposed for Ohio only would backfire,” Columbus Dispatch
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          “Gun locks will cost, not save, lives in Maryland,” Baltimore Sun, Friday, February 25,
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          “Clinton Shoots from Hip with Loaded Claims,” Los Angeles Times, Sunday, March 19,
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          “Dangerous Myths About Guns,” Hartford Courant, Sunday, April 9, 2000.

          “How the Government Preyed on a ‘Predator,’” Review of Richard B. McKenzie’s
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          “Rampage killing facts and fantasies,” Washington Times, Wednesday, April 26, 2000, p.
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          “Legal Tactic Destroys Lives and Businesses,” Letters to the Editor, The Wall Street
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          “Gun Advocate Slams The New York Times,” APBnews.com’s special report on Truth
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              Having Them,” Los Angeles Times, Thursday, June 1, 2000, p. 11; reprinted in the
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          “Gun locks may increase crime,” Detroit News, Friday, June 2, 2000, p. A15.

          “Gore Doesn’t Seem to Trust People to Handle the Truth,” Hartford Courant, Tuesday,
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              2000, p. A15;Cincinnati Enquirer, Sunday, June 11, 2000, p. E7; Houston
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          “Gun Licensing Leads to Increased Crime, Lost Lives,” Los Angeles Times, Wednesday,
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          “A Look into the Details Shows that Bush’s Plan on Taxes Tops Gore’s,” Philadelphia
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          “Regulating gun show sales of firearms,” Oregonian, Friday, October 13, 2000.

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           “Gore might lose a second round: Media suppressed the Bush vote,” Philadelphia
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           “A recount not a sure victory for Gore,” coauthored with Stephen Bronars, Philadelphia
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          “What Can We do After Wakefield?” Boston Globe, Thursday, December 28, 2000, p.
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          “Less Gun Control Means Less Crime,” Reason Online, Tuesday, May 22, 2001.

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          “When Gun Control Costs Lives,” National Review Online, June 12, 2001.

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                 A11.

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          “Arming The Free: Let Airline Pilots And Passengers Terrorize Thugs,” Inverstor’s
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         "The Recession May Be Over -- But the 'Recovery' Is Very Weak," Fox News, Monday,
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         “Why Gun Bans Still Don't Work September," Fox News, Wednesday, September 29,
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         “If Republicans Win Big on Tuesday, Stocks Will Go Up,” Fox News, Sunday, October
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         “Promises, Promises: Will Obama, GOP Keep Theirs?” Fox News, Friday, November 5,
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         "Playing Chicken With China," Fox News, Friday, November 26, 2010.

         “Who Knew? Cutting Government Spending IS Actually Possible,” Fox News,
               Wednesday, December 1, 2010.

         “Assault Weapons and the Truth,” National Review Online, Thursday, December 2, 2010.

         “What the new job numbers mean,” Fox News, Friday, December 3, 2010.




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          “Does President Obama Understand Economics?” Fox News, Tuesday, December 7,
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          “The Democrats Flip-Flop On Tax Cuts,” Fox News, Friday, December 10, 2010.

          “The First Entirely ‘Temporary Help Service’ Job Recovery,” Fox News, Monday,
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          “Class Warfare May Make Good Politics But Is It Fair to the American Taxpayer?” Fox
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          “Americans very gloomy about the economy,” Fox News, Wednesday, December 29,
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          “Rationing Revealed at the Heart of Obamacare,” Fox News, Wednesday, December 29,
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          “Rounding Up the Guns: What not to do,” National Review Online, Thursday, January 13,
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          “The Arizona Shootings, Gun Violence Research and the Facts vs. The New York Times,”
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          “Gun Control Emotions vs. Gun Control Fact,” AOL News, Thursday, January 20, 2011.

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         “So How Much Do Public Union Workers Really Make?” Fox News, March 1, 2011.

         “GAO Report and Government Waste -- Can You Spell O-U-T-R-A-G-E?” Fox News,
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         “Illinois Gun Info Plan Is Misguided and Dangerous,” Fox News, March 3, 2011.

         “The Truth About Obama, Democrats and Budget Cuts,” Fox News, March 8, 2011.

         “Should Bans Against Carrying Concealed Weapons Be Lifted On College Campuses?”
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         “Why Unions Are Harmful to Workers,” Fox News, March 18, 2011.

         “What's Really Behind Obama's New Push for Gun Control?” Fox News, March 24, 2011.

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         "Paul Ryan Is Right About the Budget -- Americans Cannot Afford Another Decade of
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         “If Obama Had Kept His Campaign Promises, We Wouldn't Have a Deficit Today,” Fox
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         “Who Has the Best Plans to Rescue America from the Budget Crisis?” Fox News, May
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         “Greece Needs to Pay Off Debts While It Still Has a Chance,” Fox News, June 22, 2011.

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          “Pelosi Is Right -- The Gang of Six Plan Is Not Ready for Prime Time,” Fox News, July
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         “Risk of a U.S. default has been exaggerated: History and the bond markets contradict the
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         The Debt Deal's Three Biggest Winners and Losers, Fox News, Tuesday, August 02,
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         The S&P Downgrade Is a Wake Up Call for All Americans, Fox News, Friday, August 05,
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         Looks Like We're In a Recession, Not a 'Recovery', Fox News, Friday, August 05, 2011.

         The Texas Miracle Is No Myth, National Review Online, Friday, August 19, 2011.

         Liberals and the Texas Unemployment Miracle, Fox News, Friday, August 19, 2011.

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         Has Your Job Been 'Saved'?, Fox News, Tuesday, September 20, 2011.

         Media Silence Is Deafening About Important Gun News, Fox News, Friday, September
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         The China Currency Bill Will Make Americans Poorer, Not Richer, Thursday, Fox News,
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         Is the Public Sector Hurting?, National Review Online, Wednesday, October 26, 2011.

         Yes, the Economy Is Growing But Obama's Policies Are Not Helping, Fox News,
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         Blame Bush -- Is That Holder's Strategy to Get Out of the 'Fast and Furious' Mess?, Fox
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         What's Wrong With Making It Easier to Carry a Gun Across State Lines?, Fox News,
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         Fast and Furious Scandal Cries Out for Answers, Fox News, Friday, December 09, 2011.

         President Obama’s Anti-gun Agenda Shows No Sign of Stopping, Fox News, Wednesday,
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         Obama has learned nothing from the Mortgage Meltdown, Fox News, Monday, January 2,
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         Should New York tourists have their lives destroyed because of concealed carry laws?,
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         Lessons to be learned from Europe's debt downgrades, Fox News, Monday, January 23,
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         President Obama's strange definition of fairness, Fox News, Monday, January 26, 2012.

         The bad news behind the January jobs report, Fox News, Friday, February 3, 2012.

         David Brock, Media Matters and gun control hypocrisy, Fox News, Thursday, February
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         Obama's contraception deception, Fox News, Thursday, March 1, 2012.

         What's the truth about the unemployment numbers?, Fox News, Sunday, March 4, 2012.

         Amendment II: The Right of the People to Keep & Bear Arms, Shall Not Be Infringed,
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         If lead bullets are banned, it could compromise self-defense, Fox News, Friday, March 16,
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         Where did stimulus money really go?, Fox News, Friday, March 23, 2012.

         Ask Canada -- gun registration won't make D.C. safer, Washington Examiner, co-
               authored with Gary Mauser, Tuesday, March 27, 2012.

         It’s not about Stand Your Ground, National Review Online, Wednesday, March 28, 2012.

         Big Labor's Endorsement For Obama Is All About Repaying Favors, Inverstor’s Business
                Daily, co-authored with Grover Norquist, Wednesday, March 28, 2012.

         Author Claims Obama's War On Jobs and Growth a ‘Debacle,’ CNBC, Friday, March 30,
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         Obama’s stimulus delayed recovery, Politico, co-authored with Grover Norquist, Monday,
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         Trayvon Martin, George Zimmerman and the media's misleading rhetoric on guns, Fox
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         Defending Fiscal Insanity “Demagoguery” is not too strong of a word to describe Obama’s
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         Team Obama and the phantom jobs that never were, Fox News, Friday, April 6, 2012.

         Where’s the ‘Probable Cause’? The affidavit in the Zimmerman case fails to justify a
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         Krugman's bad predictions, Fox News, Friday, April 13, 2012.

         Stand Your Ground makes sense: These are sane laws that protect people, New York Daily
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         U.S. money give to GM has been a bad investment, Philadelphia Inquirer, Sunday, May
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         Media Matters, 'Stand Your Ground' and me, Fox News, Tuesday, May 8, 2012.
         Obama and GM Cook the Books, National Review Online, Wednesday, May 16, 2012.




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          Bloomberg’s Soda Ban, National Review Online, Tuesday, June 5, 2012.
          Two mistakes in Obama's press conference last week, Fox News, Monday, June 11, 2012.
          Obama's revisionism: He predicted a strong economy, but blames his failure on Bush,
                National Review Online, Monday, June 18, 2012.
          Fast and Furious -- Holder's day of reckoning has finally arrived, Fox News, Wednesday,
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          The Obama Debacle, National Review Online, Thursday, June 21, 2012.
          A Nation too scared to quit, New York Post, Monday, June 25, 2012.
          Holder contempt citation -- just remember that people died because of 'Fast and Furious,'
                 Fox News, Thursday, June 28, 2012.
          A disappointing jobs picture and no, we're not doing better than Europe, Fox News,
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          The truth about Obama's tax cut extension plan, Fox News, Monday, July 9, 2012.
          Austerity Works: It's Time to Give It a Try, co-authored with Sherwin Lott, Real Clear
                 Markets, Monday, July 16, 2012.
          Obama needs a history lesson on business and the US, Fox News, Monday, July 16, 2012.
          UN gun control treaty will reveal gun laws Obama really supports, Fox News, Thursday,
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          Concealed Weapons Save Lives, New York Daily News, Wednesday, July 25, 2012.
          ‘Military-Style Weapons’: Function, not cosmetics, should govern gun policy, National
                  Review Online, Friday, July 27, 2012.
          New gun laws will do nothing to stop mass shooting attacks, Fox News, Monday, July 30,
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          What Mayor Bloomberg Doesn't Know About Police and Guns, Wall Street Journal,
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          President Obama, and the Myth About 4.5 Million New Jobs, Real Clear Markets,
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         "The ‘40 Percent’ Myth: The figure gun-control advocates are throwing around is false,"
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         “Don't Rush, but Really Think How to Reduce Murders,” Letters, Wall Street Journal,
                Monday, January 28, 2013.
         “Obama’s spending failure,” Daily Caller, Wednesday, February 13, 2013.
         “Misleading claims about what new proposals will do,” Philadelphia Inquirer, Tuesday,
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         “Will Obama push us over the edge?,” Fox News, Friday, February 22, 2013.
         “Ted Cruz Sets the Record Straight on Guns,” National Review Online, Friday, February
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         “Obama's Sequester Cuts Are A Mere 1% Of Budget,” Inverstor’s Business Daily,
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         “The truth about assault weapons bans and background checks,” Fox News, Thursday,
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         “February's jobs report only looks good because our expectations are so low?” Fox News,
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         “Can poor people be trusted with guns?” Fox News, Tuesday, March 12, 2013.
         “Fact vs. fiction on background checks and the gun control debate,” Fox News, Tuesday,
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         “Who is really lying in the gun debate?” Fox News, Thursday, April 18, 2013.
         "What Should We Do about Guns?” National Review Online, Wednesday, May 1, 2013.
         "Children and Guns: The Fear and the Reality," National Review Online, Monday, May
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         “Why gun control just got even more difficult,” Fox News, Friday, May 31, 2013.
         “The real hole in the border bill,” New York Post, Monday, June 10, 2013.
         “Gabrielle Giffords and Mark Kelly are wrong about gun control,” New Hampshire
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         “Polls give a skewed picture of gun issues,” Columbus Dispatch, Friday, July 5, 2013.
         “The Zimmerman trial is already over,” Fox News, Saturday, July 5, 2013.



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          “Trayvon Martin's testimony wouldn't have changed anything in Zimmerman trial,” Fox
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          “Focus is on the wrong law,” Fox News, Saturday, July 20, 2013.
          “What liberal media won't tell you -- blacks benefit most from Stand Your Ground laws,”
                 Fox News, Wednesday, July 31, 2013.
          Gun toting teachers' names must remain private,” Fox News, Friday, August 9, 2013.
          "Speeches won't boost economy,” Philadelphia Inquirer, Friday, August 23, 2013.
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          “Democrats knew what they wanted in Colorado, but they overreached,” National Review
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          “What we've learned from the very partial government slimdown,” Fox News, Friday,
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          “In defense of stand your ground laws,” Chicago Tribune, Tuesday, October 28, 2013.
          "No Such Thing as a Free Lunch,” National Review Online, Thursday, October 31, 2013.
          “Are you a racist if you own a gun?” Fox News, Friday, November 1, 2013.
          "New gun rules for Neighborhood Watch volunteers in Sanford, Fla. about race, politics
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          “Why insurance companies who follow the ObamaCare 'fix' could face legal troubles,”
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         “NFL hypocrisy -- Bloomberg anti-gun ads ok but ad about ‘protection’ is banned?,” Fox
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         “New York's Fact-Free Gun Ruling,” National Review Online, Friday, January 3, 2014.
         “Why most Americans believe the US economy is poor (and they're right),” Fox News,
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         “Some realities to consider before passing more gun-control bills,” The Philadelphia
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         “How the Courts Got Dumbed Down,” Cato Unbound, Monday, January 13, 2014.
         “Potential concealed weapon databases by Civitas Media won't make US safer,” Fox
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         “The Cruelty of Gun-Free Zones,” National Review Online, Friday, January 31, 2014.
         “ABC News reports on guns mislead Americans,” Fox News, Friday, February 7, 2014.
         “It may soon be easy to carry a permitted concealed handgun in California,” Fox News,
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         “We're looking at 2.5 million discouraged workers thanks to ObamaCare,” Fox News,
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         “Media cherry picks Missouri gun data to make misleading case for more control,” Fox
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         “Piers Morgan's Revealing Rancor,” National Review Online, Monday, February 24,
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          “No more sitting ducks — we must arm our soldiers on their bases,” Pittsburgh Tribune,
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          “After Fort Hood: Should soldiers be allowed to bear arms on base?,” Fox News,
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          “What the press is missing in Bloomberg's anti-gun push,” Fox News, Thursday, April 17,
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          “Shaping the gun-control debate,” Pittsburgh Tribune-Review, Sunday, April 26, 2014.
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          “The Shaky Case against the Death Penalty,” National Review Online, Thursday, May 8,
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          “Memo to gun-control advocates: Even Elliot Rodger believed guns would have deterred
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          “Bloomberg's Bogus Gun-Control Numbers,” National Review Online, Thursday, May
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          “Media feeding frenzy over open carry guns in restaurants much ado about nothing,” Fox
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          “Killers seek gun-free zones for attacks,” Philadelphia Inquirer, Friday, June 13, 2014.
          “Making up facts about guns,” Fox News, Monday, June 16, 2014.




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          “What the Supreme Court still doesn't understand about guns,” Fox News, Wednesday,
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          “Beware of Populist Economics,” Barron's, Saturday, July 5, 2014.
          “Soccer may be 'in,' but it's not an injury-free sport,” Philadelphia Inquirer, Monday, July
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          “Chicago violence: The buck stops with you, Rahm Emanuel.” Fox News, Wednesday,
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          “False claims may allow illegal immigrants to stay in the US,” Fox News, Tuesday, July
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          “Armed doctor saved lives,” Philadelphia Inquirer, Tuesday, July 29, 2014.
          “Why Legalizing Concealed Carry Is The Answer To Persistent Stalkers,” The Daily
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          “The facts about Dartmouth student Taylor Woolrich and her stalker,” Fox News,
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          “Studies show right-to-carry laws reduce crime,” Indianapolis Star, Tuesday, August 19,
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          “Michael Bloomberg's anti-gun propaganda,” Fox News, Monday, October 6, 2014.
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          “Hidden consequences of Washington State’s gun background check Initiative 594,” Fox
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          “It’s shocking how little was spent on the midterms,” with Bradley A. Smith, The Wall
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         “Dangerous distortions about cops shooting black men,” New York Daily News, Tuesday,
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         “Expert: Blacks trust police more than whites do,” Fox News, Friday, December 19, 2014.

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         “Facts on police & race,” Pittsburgh Tribune Review, Friday, February 27, 2015.

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                                          Exhibit 1
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                                           Exhibit 1
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                                            Exhibit 1
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             EXHIBIT "2"




                                    Exhibit 2
                                      0125
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U.S. Department of Justice
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Bureau of Justice Statistics

JANUARY 2019
                                             Special Report                                                                    NCJ 251776


   Source and Use of Firearms Involved in
   Crimes: Survey of Prison Inmates, 2016
Mariel Alper, Ph.D., and Lauren Glaze, BJS Statisticians




B
       ased on the 2016 Survey of Prison Inmates                  Figure 1
       (SPI), about 1 in 5 (21%) of all state and federal         Percent of all state and federal prisoners who had
       prisoners reported that they had possessed or              possessed or used a firearm during their offense, 2016
carried a firearm when they committed the offense
for which they were serving time in prison (figure 1).                   Possesseda
More than 1 in 8 (13%) of all prisoners had used                            Any gun
a firearm by showing, pointing, or discharging it
during the offense for which they were imprisoned.                         Handgun
Fewer than 1 in 50 (less than 2%) of all prisoners had           Gun they obtained
obtained a firearm from a retail source and possessed,            from retail source
carried, or used it during the offense for which they
were imprisoned.                                                             Usedb
An estimated 287,400 prisoners had possessed a                              Any gun
firearm during their offense. Among these, more than
half (56%) had either stolen it (6%), found it at the                      Handgun
scene of the crime (7%), or obtained it off the street           Gun they obtained
or from the underground market (43%). Most of                     from retail source
the remainder (25%) had obtained it from a family                                      0      5          10             15      20        25
member or friend, or as a gift. Seven percent had                                                             Percent
purchased it under their own name from a licensed                 Note: See appendix table 1 for standard errors.
                                                                  aIncludes prisoners who carried or possessed a firearm during the
firearm dealer.                                                   offense.
                                                                  bIncludes prisoners who showed, pointed, or discharged a firearm
                                                                  during the offense.
                                                                  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


                                                      HIGHLIGHTS
     About 21% of state and 20% of federal prisoners said          Among prisoners who possessed a firearm during
       they possessed a gun during their offense, while                their offense, 0.8% obtained it at a gun show.
       79% of state and 80% of federal prisoners did not.            About 1 in 5 state and federal prisoners who
     About 29% of state and 36% of federal prisoners                 possessed a firearm during their offense obtained it
       serving time for a violent offense possessed a gun              with the intent to use it during the crime.
       during the offense.                                           Among state prisoners who possessed a gun during
     About 1.3% of prisoners obtained a gun from a retail            their offense, 27% killed someone with it, another
       source and used it during their offense.                        12% injured someone, 7% fired the gun but did not
     Handguns were the most common type of firearm                   injure anyone, and 54% did not fire it.
       possessed by state and federal prisoners (18% each);          State prisoners with no military service were more
       11% of all prisoners used a handgun.                            likely to possess a gun during their offense (21%) than
     Among prisoners who possessed a gun during their                prisoners who had served in the military (16%).
       offense, 90% did not obtain it from a retail source.



                                                            Exhibit 2
                                                              0126
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Statistics in this report are based on self-reported                    survey since the 1970s, with the most recent iteration
data collected through face-to-face interviews with                     fielded in 2004. The survey collects information from
a national sample of state and federal prisoners in the                 prisoners on a variety of topics, including firearm
2016 SPI. (See Methodology.)                                            possession during the crime for which a prisoner was
                                                                        serving time and how the firearm was used during
The 2016 SPI data collection was conducted from                         the crime. It also collects information on the method,
January through October 2016. The SPI was formerly                      source, and process that prisoners used to obtain the
known as the Survey of Inmates in State and Federal                     firearm. (See appendix 1, Questions related to firearms
Correctional Facilities (SISFCF). The Bureau of                         in the Survey of Prison Inmates, 2016.)
Justice Statistics (BJS) has periodically conducted the


  Terms and definitions
     Firearm − a weapon that uses gunpowder to                                 ——   Pawn shop – a business that offers secured
       shoot a bullet. Primary types are handguns, rifles,                            loans to customers, with personal property
       and shotguns:1                                                                 used as collateral. This personal property is
         ||   Handgun – a firearm which has a short stock                             sold to the public if the loan is not repaid.
              and is designed to be held and fired by the use                    ——   Flea market – a market that rents space to
              of a single hand.                                                       individuals to sell or barter merchandise.
         ||   Rifle – a firearm intended to be fired from the                    ——   Gun show – a temporary market where
              shoulder and designed to use the energy of an                           licensed dealers and unlicensed sellers can
              explosive to fire only a single projectile through                      rent tables or booths to sell firearms.
              a rifled bore for each single pull of the trigger.            ||   Obtained from an individual – includes
         ||   Shotgun – a firearm intended to be fired from                      purchasing, trading, renting, or borrowing
              the shoulder and designed to use the energy                        from a family or friend. Also includes when
              of an explosive to fire through a smooth                           the firearm was gifted to or purchased for
              bore either a number of ball shot or a single                      the person.
              projectile for each pull of the trigger.                      ||   Off the street or underground market – illegal
     Firearm possession – carrying or possessing at least                      sources of firearms that include markets for
       one firearm when the offense for which prisoners                          stolen goods, middlemen for stolen goods,
       were serving a sentence was committed.                                    criminals or criminal enterprises, or individuals
     Firearm use – showing a firearm to or pointing a                          or groups involved in sales of illegal drugs.
       firearm at anyone or discharging a firearm during the                ||   Theft – includes stealing the firearm during a
       offense for which a prisoner was serving time.                            burglary or from a retail source, family member,
     Source of the firearm – from where and how                                friend, or another source.
       prisoners reported obtaining the firearm they                        ||   Other sources – includes a firearm that a prisoner
       possessed during the crime for which they                                 obtained or found at the location of the crime,
       were imprisoned—                                                          including one that belonged to a victim or that
         ||   Purchased or traded from a retail source –                         someone else brought to the location of the
              includes a gun shop or store, pawn shop, flea                      crime. This category also includes sources for
              market, or gun show.                                               which there were few responses, such as for guns
                                                                                 bought online, and other sources that did not
              ——   Gun shop or store – a business                                fit into one of the existing categories. This also
                   establishment that sells firearms in an open                  includes instances where there was not enough
                   shopping format.                                              information to categorize the source, such as
  1The definitions of types of firearms in this section were taken               when a firearm was purchased from an unknown
                                                                                 source or obtained from another person by an
  from 18 U.S.C. § 921 (2009). They have been edited for length.
                                                                                 unknown method.




SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISONExhibit
                                                                INMATES, 2016
                                                                           2 | JANUARY 2019                                           2
                                                                     0127
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Controlling-offense characteristics                                             the crime. About 37% of state and 28% of federal
                                                                                prisoners serving time for homicide used a firearm
About 29% of state and 36% of federal prisoners                                 during the homicide.
serving a sentence for a violent offense in 2016
possessed a firearm during the crime (table 1). About                           Among those serving time for robbery, more than
a quarter of state (23%) and federal (25%) prisoners                            2 in 5 state prisoners (43%) and federal prisoners (46%)
serving time for a violent offense used a firearm during                        possessed a firearm during the offense, and nearly a
the crime. “Firearm use” is defined in this report as                           third of state (31%) and federal (32%) prisoners used
showing, pointing, or discharging a firearm during the                          a firearm during the robbery. Firearm possession was
offense for which a prisoner was serving a sentence.                            less common among state prisoners serving a sentence
                                                                                for rape or sexual assault (2%). Less than 1% of state
Among prisoners serving time for homicide, more                                 prisoners serving time for rape or sexual assault used a
than 2 in 5 (44%) state prisoners and more than 1 in 3                          firearm in the commission of their crime.
(36%) federal prisoners had possessed a firearm during

TABLE 1
Firearm possession and use among state and federal prisoners during the offense for which they were serving time,
by type of controlling offense, 2016
                                          Estimated        Percent of state prisoners who—         Estimated         Percent of federal prisoners who—
                                          number of          Possessed                             number of           Possessed
Controlling offensea                      state prisonersb   a firearmb Used a firearmc            federal prisonersb a firearmb        Used a firearmc
   Total                                    1,211,200           20.9%             13.9%                170,400            20.0%               5.0%
Violent*                                      667,300           29.1%             23.0%                 20,900            36.2%              25.3%
   Homicided                                  191,400           43.6              37.2                   3,800            35.9               28.4
   Rape/sexual assault                        144,800             2.0              0.8                   2,400                :                  :
   Robbery                                    149,600           43.3              31.5                  10,700            46.3               32.1
   Assault                                    149,400           25.0              20.6                   2,900            29.0               18.1
   Other violente                              32,200           17.0              12.6                   1,200            34.1                   :
Property                                      186,100             4.9% †           2.0% †               12,000             2.6% †                :
   Burglary                                    88,100             6.7              3.2                      300               :                  :
   Other propertyf                             98,000             3.3              1.0                  11,800             2.4                   :
Drug                                          180,800             8.4% †           0.8% †               80,500            12.3% †             0.6% †
   Traffickingg                               130,500             9.4              0.9                  72,300            12.9                0.7
   Possession                                  45,900             6.1                 :                  3,500                :                  :
   Other/unspecified drug                       4,300                :                :                  4,700                :                  :
Public order                                  158,300           21.5% †            5.6% †               52,900            30.2%               5.3% †
   Weaponsh                                    43,800           67.2              15.7                  22,200            66.9               11.3
   Other public orderi                        114,400             4.0              1.7                  30,700             3.6                   :
Other                                           3,900                :                :                  1,800                :                  :
Unknown                                        14,900             4.3% †              :                  2,200                :                  :
Note: See appendix table 2 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level across main categories, and no testing was done on subcategories
(e.g., homicide).
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aSee Methodology for information on how controlling offense was measured.
bExcludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on firearm possession. Includes prisoners who were
missing responses on firearm use.
cExcludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on firearm possession, and an additional 0.6% of state
prisoners and 0.7% of federal prisoners who were missing responses on firearm use.
dIncludes murder and both negligent and non-negligent manslaughter.
eIncludes kidnapping, blackmail, extortion, hit-and-run driving with bodily injury, child abuse, and criminal endangerment.
fIncludes larceny, theft, motor vehicle theft, arson, fraud, stolen property, destruction of property, vandalism, hit-and-run driving with no bodily injury,
criminal tampering, trespassing, entering without breaking, and possession of burglary tools.
gIncludes possession with intent to distribute.
hIncludes being armed while commiting a crime; possession of ammunition, concealed weapons, firearms and explosive devices; selling or trafficking
weapons; and other weapons offenses. Among federal prisoners, weapons offense include violations of federal firearms and explosives.
iIncludes commercialized vice, immigration crimes, DUI, violations of probation/parole, and other public-order offenses.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISONExhibit
                                                                INMATES, 2016
                                                                           2 | JANUARY 2019                                                              3
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State and federal prisoners serving time for a violent                          Extent of firearm use among prisoners during
offense were much more likely to have possessed a                               the crime
firearm during the offense (29% state, 36% federal)
than prisoners serving time for a property (5% state,                           State and federal prisoners in 2016 who had possessed
3% federal) or drug (8% state, 12% federal) offense.                            a firearm during their offense were about equally
Among prisoners serving time for a public-order                                 likely to report that they had obtained the firearm
offense, about 1 in 5 (21%) state prisoners and nearly                          with the intent to use it during the offense (19% state,
1 in 3 (30%) federal prisoners reported that they                               20% federal) (table 2). However, state prisoners (68%)
possessed a firearm during the crime, and about 1 in 20                         who possessed a firearm were more than 2.5 times
reported they had used it. About two-thirds of state                            as likely as federal prisoners (26%) who possessed a
and federal prisoners sentenced for a weapons offense                           firearm to have used it during the crime.
said they possessed a firearm during the crime.2                                Nearly half of state prisoners (46%) serving a sentence
2In addition to prisoners serving a sentence in state or federal                for a crime during which they possessed a firearm
prison in 2016 who possessed a firearm during the offense, weapons              discharged the firearm when they committed the
offenses include prisoners who were convicted of trafficking                    crime, compared to 12% of federal prisoners. Among
firearms but did not possess them at the time of the offense and                state prisoners who possessed a firearm during their
prisoners who were convicted of a weapons offense that did not
involve a firearm.                                                              offense, 27% killed a victim with the firearm and
                                                                                another 12% injured or shot a victim but did not kill
                                                                                him or her. Federal prisoners who possessed a firearm
                                                                                when they committed their offense were much less
                                                                                likely to have killed (4%) or injured (2%) a victim with
                                                                                the firearm than state prisoners.

TABLE 2
Among state and federal prisoners who possessed a firearm during the offense for which they were serving time,
extent of firearm use, 2016
                                                                                            State prisoners                  Federal prisoners
                                                       State         Federal            Violent       Non-violent        Violent       Non-violent
Firearm use                                            prisoners*    prisoners          offense*      offensea           offense*      offensea
   Total                                                100%          100%                100%           100%             100%            100%
Obtained firearm because planned to use
 in controlling offenseb
  Yes                                                   19.3%         19.7%               17.7%          24.6% †          26.4%          18.0%
  No                                                    80.7          80.3                82.3           75.4 †           73.6           82.1
Used firearmc                                           68.0%         25.9% †             81.0%          24.8% †          72.5%          12.9% †
  Discharged                                            46.5%         11.9% †             55.9%          15.4% †          27.3%           7.5% †
     Killed victim                                      27.1           4.1 †              35.0               :            16.5               :
    Injured/shot victim but did not kill victim         12.4           2.2 †              14.5            5.3 †               :              :
    Discharged firearm but did not shoot anyone          7.0           5.6                 6.4            9.0              5.7            5.4
  Did not discharged                                    21.5%         14.0% †             25.2%           9.4% †          45.3%           5.4% †
Did not use firearm                                     32.0%         74.1% †             19.0%          75.2% †          27.5%          87.1% †
  Estimated number of prisoners who possessed
    a firearm (with valid data)e                       245,400         32,900           187,800         57,000             7,200          25,600
Note: Percentages are based on data reported on firearm possession, use, and controlling offense. Excludes 3.1% of state prisoners and 3.5% of federal
prisoners who possessed a firearm during the offense and were missing responses on firearm use and 0.3% of state prisoners and 0.7% of federal
prisoners who possessed a firearm and were missing a controlling offense. The sum of violent offense and non-violent offense does not equal the total
number of state and federal prisoners who possessed a firearm in this table due to an estimated 600 state and 100 federal prisoners whose offense
type was unknown. See appendix table 3 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aIncludes property, drug, public order, and other non-violent offenses.
bPercentages are based on the 246,200 state and 32,600 federal prisoners who reported they carried or possessed a firearm and whether they
obtained a firearm to use during the offense.
cIncludes prisoners who showed a firearm to anyone, pointed a firearm at anyone, or discharged the firearm during the offense.
dIncludes prisoners who showed or pointed a firearm at anyone during the offense but did not discharge it.
eIncludes prisoners who reported they carried or possessed a firearm. Excludes prisoners who were missing responses on firearm possession or use.
For violent offense and non-violent offense, also excludes prisoners who were missing a controlling offense.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.
                                                                    Exhibit 2
                                                                      0129
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Among prisoners who possessed a firearm during                               Type of firearm possessed by prisoners
a violent offense, a large majority of both state                            during offense
(81%) and federal (73%) prisoners used the firearm
during the offense, far more than the percentages for                        Handguns were by far the most common type of
non-violent offenders (25% state, 13% federal). More                         firearm possessed or used by prisoners during the
than half (56%) of state prisoners serving time for a                        crime for which they were sentenced. About 18% of all
violent offense who possessed a firearm during the                           state and federal prisoners in 2016 reported that they
crime discharged it, compared to fewer than a sixth                          had possessed a handgun during the crime for which
(15%) of non-violent offenders in state prison who                           they were serving a sentence (table 3). Two percent or
possessed a firearm. Violent offenders (27%) in federal                      fewer possessed a rifle or a shotgun. Twelve percent
prison who possessed a firearm during the crime were                         of state and 5% of federal prisoners used a handgun
about 3.5 times as likely to discharge it as non-violent                     during their offense. Most state (79%) and federal
offenders (8%). Among state prisoners who had                                (80%) prisoners did not possess any type of firearm
possessed a firearm during their offense, however,                           during the crime for which they were imprisoned.
non-violent offenders (25%) were more likely than
violent offenders (18%) to have planned to use the
firearm during the offense.

TABLE 3
Firearm possession and use among state and federal prisoners during the offense for which they were serving time,
by type of firearm, 2016
                                       Percent of prisoners who possessed a firearm                 Percent of prisoners who used a firearma
Type of firearm                    All prisoners          State*           Federal            All prisoners           State*             Federal
   Total                                100%              100%               100%                  100%               100%                100%
Firearmb                               20.8%              20.9%              20.0%                12.8%               13.9%                5.0% †
   Handgun                             18.4               18.4               18.3                 11.2                12.2                 4.6
   Rifle                                 1.5               1.4                2.0 †                 0.8                0.8                 0.4 †
   Shotgun                               1.6               1.6                1.7                   1.1                1.2                 0.4 †
No firearm                             79.2%              79.1%              80.0%                87.2%               86.1%               95.0%
   Estimated number of
    prisoners (with valid data)c     1,378,200         1,208,100          170,100               1,378,200          1,208,100            170,100
Note: Details on type of firearm may not sum to totals because prisoners could report more than one type of firearm. Percentages exclude missing data.
Excludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on firearm possession during the offense and an additional
0.3% of state prisoners and 0.2% of federal prisoners who were missing responses on type of firearm. See appendix table 4 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
aPercentages exclude 0.6% of state prisoners and 0.7% of federal prisoners who were missing responses on firearm use.
bIncludes prisoners who reported a type of firearm that did not fit into one of the existing categories and those who did not provide enough
information to categorize the type of firearm. About 0.1% of state prisoners and 0.2% of federal prisoners reported another type of firearm or did not
report enough information to specify the type of firearm.
cExcludes prisoners who were missing responses on firearm possession or type of firearm. Counts are weighted to totals from the 2015 National
Prisoner Statistics Program; see Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web, July 2019).
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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Demographic characteristics                                                 3 in 10 (29%) black prisoners serving a sentence in
                                                                            state prison in 2016 possessed a firearm during their
Male prisoners were more likely than female prisoners                       crime. White (12%) and Hispanic (21%) state prisoners
to have possessed a firearm during their crime. About                       were less likely to have possessed a firearm during
a fifth of male state and federal prisoners serving a                       their crime. Similarly, white (17%) and Hispanic (13%)
sentence in 2016 possessed a firearm during the crime                       federal prisoners serving a sentence in 2016 were less
(table 4). Males in state prisons in 2016 were about                        likely to have possessed a firearm during the crime
2.5 times as likely (22%) as females in state prisons                       than black (29%) federal prisoners. State prisoners who
(9%) to have possessed a firearm during the crime for                       served in the military were less likely to have possessed
which they were imprisoned. In federal prisons, males                       a firearm during their crime (16%) than state prisoners
(21%) were about three times as likely as females (7%)                      who had not served in the military (21%).
to have possessed a firearm during their crime. Almost

TABLE 4
Firearm possession among state and federal prisoners during the offense for which they were serving time, by
demographic characteristics, 2016
                                                                    State                                             Federal
                                                                    Percent of prisoners who                           Percent of prisoners who
                                                  Number of         possessed a firearm during         Number of       possessed a firearm during
Demographic characteristic                        prisoners         the offense                        prisoners       the offense
Sex
   Male*                                          1,124,200                  21.8%                     159,800                  20.9%
   Female                                            87,000                   9.5 †                     10,600                   6.6 †
Race/Hispanic origina
   White                                            383,300                  12.4% †                     35,400                 16.6% †
   Black*                                           401,500                  29.4                        53,800                 29.2
   Hispanic                                         247,200                  21.5 †                      62,600                 12.6 †
   American Indian/Alaska Native                     17,200                  14.8 †                       2,800                 23.8
   Asian/Native Hawaiian/Other Pacific Islander      10,700                  22.8                         2,600                     :
   Two or more races                                133,100                  19.1 †                      10,900                 29.3
Age at time of survey
   18–24*                                           123,800                  31.7%                        8,200                 30.1%
   25–34                                            389,100                  24.4 †                      47,700                 27.4
   35–44                                            318,800                  19.3 †                      58,800                 19.0 †
   45–54                                            224,800                  14.6 †                      36,700                 14.1 †
   55 or older                                      154,800                  16.0 †                      19,000                 12.2 †
Marital status
   Married*                                         168,500                  16.7%                       36,800                 14.4%
   Widowed/widowered                                 34,300                  18.3                         3,100                 21.7
   Separated                                         58,300                  12.7 †                       9,600                 12.8
   Divorced                                         233,300                  14.5                        30,900                 15.2
   Never married                                    715,900                  24.8 †                      90,000                 24.6 †
Educationb
   Less than high school*                           750,500                  23.1%                       94,900                 22.7%
   High school graduate                             273,700                  19.6 †                      36,500                 19.4
   Some college                                     133,900                  14.7 †                      23,100                 18.8
   College degree or more                            43,600                  11.0 †                      12,700                  6.3 †
Citizenship
   U.S. citizen*                                  1,156,800                  21.0%                     127,500                  24.2%
   Non-U.S. citizen                                  53,100                  18.5                       42,400                   7.2 †
Military service
   Yes*                                              95,200                  15.6%                       9,200                  15.9%
   No                                             1,115,900                  21.4 †                    161,200                  20.3
Note: Percentages and counts exclude missing data. Excludes 3.0% of state prisoners and 1.7% of federal prisoners who were missing responses on
firearm possession during the offense. Details for counts may not sum to totals due to missing data. See appendix table 5 for standard errors.
*Comparison group.
†Difference with comparison group is significant at the 95% confidence level.
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic/Latino origin, unless specified.
bBased on highest year of education completed.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016. Exhibit 2
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In general, the likelihood of state and federal prisoners                    Method, source, and process used to obtain
having possessed a firearm during their crime decreased                      the firearm
with age. Firearm possession among state prisoners ages
18 to 24 (32%) in 2016 was more common than among                            Among prisoners who possessed a firearm when they
older prisoners. Federal prisoners ages 18 to 24 (30%)                       committed the offense for which they were imprisoned
were more likely to possess a firearm than those age 35                      and who reported the source from which they obtained
or older (16%, not shown in table).                                          it, the most common source (43%) was off-the-street or
                                                                             the underground market (table 5). Another 7% of state
The difference in firearm possession between                                 and 5% of federal prisoners stole the firearm, and 7%
U.S. citizens (21%) and non-citizens (18%) in state                          of state and 8% of federal prisoners reported that they
prisons in 2016 was not statistically significant. Among                     obtained the firearm at the location of the crime.
federal prisoners serving a sentence in 2016, firearm
possession was more than three times as high among
U.S. citizens (24%) as non-citizens (7%).

TABLE 5
Among state and federal prisoners who had possessed a firearm during the offense for which they were serving
time, sources and methods used to obtain a firearm, 2016
Source and method to obtain firearm                                     All prisoners                  State                       Federal
Purchased/traded at retail source                                            10.1%                     9.7%                         13.7%
  Gun shop/store                                                              7.5                      7.2                           9.6
  Pawn shop                                                                   1.6                      1.5                           2.2
  Flea market                                                                 0.4                         :                             :
  Gun show                                                                    0.8                      0.8                           1.4
Obtained from individual                                                     25.3%                    26.0%                         20.5%
  Purchased/traded from family/friend                                         8.0                      7.9                           9.1
  Rented/borrowed from family/friend                                          6.5                      7.0                           3.0
  Gift/purchased for prisoner                                                10.8                     11.2                           8.4
Off the street/underground marketa                                           43.2%                    43.2%                         42.9%
Theftb                                                                        6.4%                     6.6%                          4.7%
  From burglary                                                               1.5                      1.5                              :
  From retail source                                                          0.2                         :                             :
  From family/friend                                                          1.6                      1.8                              :
  Unspecified theftc                                                          3.1                      3.3                           1.8
Other source                                                                 17.4%                    17.1%                        20.1%
  Found at location of crime/victim                                           6.9                      6.7                           7.9
  Brought by someone else                                                     4.6                      4.7                           3.6
  Otherd                                                                      5.9                      5.6                           8.5
Multiple sourcese                                                             2.5%                     2.6%                          2.0%
  Estimated number of prisoners who possessed a firearm,
     excluding prisoners who did not report sourcef                        256,400                   227,100                      29,300
Note: Prisoners were asked to report all sources and methods of obtaining any firearm they possessed during the offense, so details may not sum to
totals. Each source is included in this table when multiple sources were reported. See Methodology. Percentages exclude missing data. Excludes 10.3%
of state prisoners and 14.1% of federal prisoners who possessed a firearm during the offense and were missing responses on either source or method
of obtaining the firearm. These prisoners were excluded either because they did not provide a valid response or they did not receive the questions
due to providing an open-ended response to the previous question about type of weapon. See appendix table 6 for standard errors.
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aIllegal sources of firearms that include markets for stolen goods, middlemen for stolen goods, criminals or criminal enterprises, or individuals or
groups involved in sales of illegal drugs.
bExcludes theft from victim.
cIncludes theft where the source could not be identified and theft other than from a burglary, retail location, family, or friend.
dIncluded if no source specified in the table was reported. Includes sources that did not fit into one of the existing categories, sources for which
there were few responses such as bought online, or if there was not enough information to categorize the source. Examples of other sources include
bought from an unknown source or obtained from a friend by an unknown method.
eIncludes prisoners who reported multiple sources or methods that fit into more than one of the categories. Each reported source is included in the
categories above.
fIncludes prisoners who reported they carried or possessed a firearm and prisoners who reported a source or method.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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Among prisoners who possessed a firearm during the
                                                                       TABLE 6
offense for which they were imprisoned, 7% of state
                                                                       Among state and federal prisoners who had possessed
and 10% of federal prisoners serving a sentence in 2016                a firearm during the offense for which they were
bought or traded for the firearm from a gun shop or                    serving time, processes used to obtain a firearm, 2016
gun store. About 1% bought or traded for the firearm                                                         All
at a gun show. About a quarter (26%) of state prisoners                Process to obtain firearm             prisoners State         Federal
and about a fifth (21%) of federal prisoners obtained a                  Total                                 100%    100%           100%
firearm that they possessed during their offense from                  Not purchased or traded at retail
an individual in a non-retail setting, such as a friend or              source                                89.9%    90.3%          86.3%
                                                                       Purchased or traded at retail sourcea 10.1%      9.7%          13.7%
family member.
                                                                         Licensed firearm dealer at retail
                                                                           source                               8.2     7.9           10.9
Prisoners who reported that they had purchased or
                                                                            Purchased under own nameb           6.9     6.8            8.4
traded a firearm at a retail source were asked if they                      Background check was
had obtained the firearm from a licensed dealer or                           reportedly conductedc              6.7     6.3            9.4
private seller. Among prisoners who had possessed a                      Private seller at retail sourced       1.2     1.1            2.3
firearm during the offense for which they were serving                   Unknowne                               0.7     0.8               :
time, 8% of state and 11% of federal prisoners had                       Estimated number of prisoners
purchased it from or traded with a licensed firearm                        who possessed a firearm (with
                                                                           valid data)f                      256,400 227,100         29,300
dealer at a retail source (table 6).                                   Note: Percentages exclude missing data. Excludes 10.3% of state
                                                                       prisoners and 14.1% of federal prisoners who possessed a firearm
Prisoners who reported that they had purchased a                       during the offense and were missing responses on source or method of
                                                                       obtaining the firearm. See appendix table 7 for standard errors.
firearm from a licensed firearm dealer at a retail source              : Not calculated. Too few cases to provide a reliable estimate, or
were further asked whether they bought the firearm                     coefficient of variation is greater than 50%.
                                                                       aIncludes prisoners who purchased or traded from a retail source,
under their own name and whether they knew a
                                                                       including a retail store, pawn shop, flea market, or gun show.
background check was conducted. Among those who                        bIncludes prisoners who purchased from a retail source, including a
had possessed a firearm during the offense for which                   retail store, pawn shop, flea market, or gun show. Excludes prisoners
they were imprisoned, 7% of state and 8% of federal                    who traded for a firearm from a retail source.
                                                                       cIncludes prisoners who purchased from a retail source, including a
prisoners had purchased it under their own name                        retail store, pawn shop, flea market, or gun show. Excludes prisoners
from a licensed firearm dealer at a retail source, while               who traded for a firearm from a retail source and prisoners who reported
approximately 1% of state and 2% of federal prisoners                  that a background check was not conducted or who were unaware as to
                                                                       whether one was conducted.
had purchased a firearm from a licensed dealer at a                    dExcludes private sellers other than at a retail source.
retail source but did not purchase it under their own                  eIncludes prisoners who purchased or traded a firearm from a retail
name (not shown in table).                                             source and were missing responses on whether a firearm was purchased
                                                                       or traded from a licensed firearm dealer or a private seller at a retail
                                                                       source.
Among all prisoners who purchased or traded a                          fIncludes prisoners who reported they carried or possessed a firearm
firearm from a licensed firearm dealer at a retail source              and prisoners who reported a source or method.
(8.2%), the majority reported that a background check                  Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.
was conducted (6.7%).




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Use and source of firearms among all state and                              Thirteen percent of all state and federal prisoners
federal prisoners                                                           used a firearm during the offense for which they were
                                                                            serving time in 2016.
About 1% of all state and federal prisoners used a
firearm during the offense that they obtained from
a retail source (table 7). About 2% of prisoners
possessed a firearm that they obtained from a retail
source, including a retail store, pawn shop, flea market,
or gun show.

TABLE 7
Firearm possession and use among all state and federal prisoners during the offense for which they were serving
time, by type of controlling offense and source, 2016
                              Percent of state and federal prisoners who—                      Percent of state and federal prisoners who—
                                                    Possessed a firearm that they                                    Used a firearm that they
Controlling offensea       Possessed a firearmb obtained from a retail sourcec               Used a firearmd         obtained from a retail sourcee
   Total                        20.8%                         1.9%                              12.8%                              1.3%
Violent*                        29.3%                         2.8%                              23.1%                              2.3%
   Homicidef                    43.5                          5.9                               37.0                               5.2
   Robbery                      43.5                          1.8                               31.5                               1.3
Property                          4.8% †                      0.5% †                             1.9% †                               :
Drug                              9.6% †                      1.0% †                             0.8% †                            0.1% †
Public order                    23.6% †                       1.7% †                             5.5% †                            0.6% †
Note: Percentages exclude missing data. Excludes 2.8% of prisoners who were missing responses on firearm possession during the offense and 1.2% of
prisoners who had a valid response to firearm possession but were missing a controlling offense. Retail source includes purchasing or trading the
firearm from a retail store, pawn shop, flea market, or gun show. Use includes prisoners who showed a firearm to anyone, pointed a firearm at anyone,
or discharged a firearm during the controlling offense. See appendix table 8 for standard errors.
*Comparison group.
† Difference with comparison group is significant at the 95% confidence level across main categories, and no testing was done on subcategories
(e.g., homicide).
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
aSee Methodology for more information on how controlling offense was measured.
bIncludes state and federal prisoners who reported a valid response to firearm possession.
cIncludes state and federal prisoners who reported a valid response to firearm possession and source.
dIncludes state and federal prisoners who reported a valid response to firearm possession and use.
eIncludes state and federal prisoners who reported a valid response to firearm possession, source, and use.
fIncludes murder and both non-negligent and negligent manslaughter.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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Methodology                                                            state prisons and 100% among federal prisons).3
                                                                       A total of 24,848 prisoners participated (20,064 state
                                                                       and 4,784 federal) in the 2016 SPI based on a sample
Survey of Prison Inmates                                               of 37,058 prisoners (30,348 state and 6,710 federal).
The findings in this report are primarily based on data                The second-stage response rate (i.e., the response rate
collected through the 2016 Survey of Prison Inmates                    among selected prisoners) was 70.0% (69.3% among
(SPI). The SPI is a periodic, cross-sectional survey of                state prisoners and 72.8% among federal prisoners).4
the state and sentenced federal prison populations.                    Responses from interviewed prisoners in the 2016 SPI
Its primary objective is to produce national statistics                were weighted to provide national estimates. Each
of the state and sentenced federal prison populations                  interviewed prisoner was assigned an initial weight
across a variety of domains, including—but not limited                 corresponding to the inverse of the probability of
to—demographic characteristics, current offense and                    selection within each sampled prison. A series of
sentence, incident characteristics, firearm possession                 adjustment factors were applied to the initial weight
and sources, criminal history, socioeconomic                           to minimize potential bias due to non-response and to
characteristics, family background, drug and alcohol                   provide national estimates.
use and treatment, mental and physical health and
treatment, and facility programs and rule violations.                  For more information on the 2016 SPI methodology,
RTI International served as BJS’s data collection agent                see Methodology: Survey of Prison Inmates, 2016
for the 2016 SPI under a cooperative agreement (award                  (NCJ 252210, BJS web, July 2019).
no. 2011-MU-MU-K070). From January through
October 2016, data were collected through face-to-face
                                                                       Standard errors and tests of significance
interviews with prisoners using computer-assisted
personal interviewing (CAPI).                                          When national estimates are derived from a sample, as
                                                                       with the SPI, caution must be used when comparing
Prior iterations of the SPI were known as the
                                                                       one estimate to another or when comparing estimates
Survey of Inmates in State and Federal Correctional
                                                                       between years. Although one estimate may be larger
Facilities (SISFCF), which was renamed with the
                                                                       than another, estimates based on a sample rather than
2016 implementation. The first survey of state
                                                                       a complete enumeration of the population have some
prisoners was fielded in 1974 and thereafter in 1979,
                                                                       degree of sampling error. The sampling error of an
1986, 1991, 1997, and 2004. The first survey of federal
                                                                       estimate depends on several factors, including the size
prisoners was fielded in 1991, along with the survey
                                                                       of the estimate, the number of completed interviews,
of state prisoners, and since then both surveys have
                                                                       and the intracluster correlation of the outcome within
been conducted at the same time using the same
                                                                       prisons. When the sampling error around an estimate
questionnaire and administration.
                                                                       is taken into account, estimates that appear different
The target population for the 2016 SPI was prisoners                   may not be statistically different. One measure of
ages 18 and older who were held in a state prison                      the sampling error associated with an estimate is the
or had a sentence to federal prison in the United                      standard error. The standard error may vary from one
States during 2016. Similar to prior iterations, the                   estimate to the next. Standard errors in this report were
2016 survey was a stratified two-stage sample design                   estimated using Taylor Series Linearization to account
in which prisons were selected in the first stage and                  for the complex design of the SPI in producing the
prisoners within sampled facilities were selected in                   variance estimates.
the second stage. The SPI sample was selected from                     3A total of 15 prisons (12 state and 3 federal) that were sampled
a universe of 2,001 unique prisons (1,808 state and                    were deemed ineligible for the 2016 SPI. For more information,
193 federal) that were either enumerated in the                        see Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web,
2012 Census of State and Federal Adult Correctional                    July 2019).
                                                                       4There were 10,661 sampled prisoners who were eligible for the
Facilities or had opened between the completion of the                 survey but did not participate. Another 1,549 sampled prisoners
census and July 2014 when the SPI sample of prisons                    were deemed ineligible for the survey. For more information, see
was selected. A total of 364 prisons (306 state and                    Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web,
                                                                       July 2019).
58 federal) participated in the 2016 survey out of the
385 selected (324 state and 61 federal) for interviewing.
The first-stage response rate (i.e., the response rate
among selected prisons) was 98.4% (98.1% among


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Readers may use the estimates and standard errors                      the estimated 1,421,700 state and federal prisoners in
of the estimates provided in this report to generate                   2016, an estimated 287,400 were armed with a firearm,
a 95% confidence interval around the estimates as a                    1,094,200 were not armed with a firearm, 23,800 did
measure of the margin of error. Typically, multiplying                 not know or refused to answer the question, and
the standard error by 1.96 and then adding or                          16,300 were not asked the question because they were
subtracting the result from the estimate produces the                  not convicted or they stopped the interview before
confidence interval. This interval expresses the range                 responding to the question.5
of values with which the true population parameter is
expected to fall 95% of the time if the same method is                 To determine whether prisoners possessed a firearm
used to select different samples.                                      at the time of the offense for which they were serving
                                                                       time in prison, respondents were first asked whether
For small samples and estimates close to 0%, the use                   they had carried, possessed, or used a weapon when
of the standard error to construct the 95% confidence                  the controlling offense occurred. Respondents could
interval may not be reliable. Therefore, caution should                report that they carried, possessed, or used a firearm or
be used when interpreting the estimates. Caution                       another weapon such as a toy or BB gun, knife, other
should also be used if constructing a 95% confidence                   sharp object, or blunt object. Weapons other than
interval, which would include zero in these cases,                     firearms, including toy and BB guns, were excluded
because the estimate may not be distinguishable                        from this report. Multiple weapons and firearms could
from zero.                                                             be reported by respondents.

The standard errors have been used to compare                          Of the respondents who were asked about possessing
estimates of firearm possession during the offense,                    a firearm during the offense for which they were
firearm use during the crime, and type of firearm                      imprisoned, about 3.0% of state and 1.7% of federal
possessed. They have also been used to compare                         prisoners in 2016 were missing responses on firearm
firearm possession among selected groups of prisoners                  possession. These prisoners were excluded from the
that have been defined by demographic characteristics                  analyses in this report. All prisoners who reported they
and controlling offense. To facilitate the analysis, rather            carried, possessed, or used a firearm during the offense
than provide the detailed estimates for every standard                 were asked whether they had obtained the firearm
error, differences in the estimates for subgroups in                   because they were planning to carry, possess, or use
the relevant tables in this report have been tested and                it during the offense. They were also asked whether
notated for significance at the 95% level of confidence.               they showed, pointed, or fired the firearm during
Readers should reference the tables for testing on                     the offense. Respondents who reported that they
specific findings. Unless otherwise noted, findings                    fired the firearm were also asked whether they shot
described in this report as higher, lower, or different                anyone and, if so, whether anyone they shot had died.
passed a test at the 0.05 level of statistical significance            Of the respondents who possessed a firearm during
(95% confidence level).                                                the offense, about 3.1% of state and 3.5% of federal
                                                                       prisoners in 2016 were missing responses on how they
Measurement of firearm possession and source                           used the firearm. These prisoners were excluded from
                                                                       the analyses in figure 1, tables 1 through 3, and table 7.
The 2016 SPI was restricted to prisoners age 18 or
older at the time of the survey. Firearms analyses                     To measure the type of firearm possessed by prisoners,
in this report were restricted to state and federal                    respondents were asked whether they had carried,
prisoners who were sentenced or state prisoners who                    possessed, or used a handgun, rifle, shotgun, or
were convicted but were awaiting sentencing. This                      some other type of firearm during the offense for
report excludes prisoners who were awaiting trial                      which they were imprisoned. About 0.3% of state
(i.e., unconvicted) or a revocation hearing or who                     prisoners and 0.2% of federal prisoners in 2016 were
were held for other reasons. Unconvicted prisoners,                    missing responses on the type of firearm that they
such as those awaiting trial or being held for other                   possessed. These prisoners, along with prisoners who
reasons like safekeeping or a civil commitment, were                   were missing a response on firearm possession, were
excluded from this report because they were not asked                  excluded from the analyses in table 3.
questions about firearm possession to protect against                  5The SPI sample was weighted to the state and federal prison
self-incrimination. (See appendix 1, Questions related                 populations that were eligible to be sampled in the survey. See
to firearms in the Survey of Prison Inmates, 2016.) Of                 Methodology: Survey of Prison Inmates, 2016 (NCJ 252210, BJS web,
                                                                       July 2019).


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To measure the source and method of obtaining the                      Prisoners who reported purchasing or trading a
firearm possessed by prisoners during their crime, two                 firearm from a retail source (gun shop or gun store,
separate questions were asked in the survey. The first                 pawn shop, flea market, or gun show) were asked if
question asked how the prisoners obtained the firearm,                 they purchased or traded it from a licensed firearm
and multiple responses could be reported in the                        dealer or a private seller. Prisoners who reported
2016 SPI. Possible responses included stole it, rented                 they purchased a firearm from a retail source were
it, borrowed it from or were holding it for somebody,                  further asked whether they bought the firearm under
traded something for it, bought it, someone bought it                  their own name and whether the seller did a firearm
for them, someone gave it as a gift, found it or it was at             purchase background check before selling them the
the location where the offense occurred, it was brought                firearm. About 1% of the respondents who possessed a
by someone else, or other. If respondents specified                    firearm during the offense purchased or traded it from
an “other” method of obtaining the firearm, then the                   a retail source and were missing responses on whether
field interviewers entered the respondents’ answers                    they bought the firearm from a licensed dealer or
into a text field. These responses originally reported                 private seller. About 1% of respondents who possessed
as “other” were coded to one of the existing response                  a firearm during the offense purchased it from a
categories if possible.                                                retail source and were missing responses on whether
                                                                       the firearm was purchased under their own name or
The second question asked where prisoners obtained                     whether a background check was conducted.
the firearm, and multiple responses could be reported
in the 2016 SPI. Respondents received this question if
they reported that they stole, rented, borrowed from                   Measurement of controlling offense
or were holding for somebody, traded something for,                    The way controlling offense was measured through
or bought the firearm. Possible responses included                     the 2016 SPI, and reflected in this report, varies
gun shop or gun store; pawn shop; flea market; gun                     by sentence status and the number of offenses
show; from a victim, family member, or friend; from a                  of prisoners:
fence (a middleman for stolen goods) or underground
market; off the street or from a drug dealer; in a                        For sentenced prisoners and those awaiting
burglary; online or the internet; or other. Fewer than                      sentencing with one offense, that offense is the
1% of state and federal prisoners reported obtaining a                      controlling offense.
firearm online. These responses were included in table
                                                                          For sentenced prisoners with multiple offenses and
5 in the “other” category due to the small number of
                                                                            sentences, the controlling offense is the one with the
sample cases. If respondents specified an “other” source
                                                                            longest sentence.
of obtaining a firearm, then the field interviewers
entered the respondents’ answers into a text field.                       For sentenced prisoners with multiple offenses and
Responses originally reported as “other” were coded to                      one sentence and those awaiting sentencing with
one of the existing response categories if possible.                        multiple offenses, the controlling offense is the most
                                                                            serious offense. For this report, violent offenses are
The responses from these two questions were used to                         considered most serious, followed by property, drug,
create the source and method categories in figure 1                         public-order, and all other offenses.
and tables 5 through 7. Approximately 10.3% of state
and 14.1% of federal prisoners in 2016 who possessed                   For prisoners who were convicted but awaiting
a firearm during the offense for which they were                       sentencing, the controlling offense is the most
serving a sentence were missing responses on source or                 serious offense.
method of obtaining the firearm. These prisoners were
excluded from figure 1 and tables 5 through 7.




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 Appendix 1. Questions related to firearms in the Survey of Prison Inmates, 2016
This appendix includes the questions from the 2016 SPI                 CJH5. (ASK IF RESPONDENT REPORTED “FIREARM” IN
that were used to measure the firearms' constructs in this             CJH2.) How did you obtain the (INSERT “firearm” OR
report. Text that appears in capital letters in the questions          “firearms”) that you carried, possessed, or used during the
was not read out loud to respondents. That text reflects               (INSERT CONTROLLING OFFENSE)? Any others? CHECK ALL
programming instructions for the CAPI instrument,                      THAT APPLY.
instructions to field interviewers who conducted the                      STOLE IT (GO TO CJH6)
interviews, or response options that were not read
out loud to respondents but were coded by the field                       RENTED IT (GO TO CJH6)
interviewers during the interviews.                                       BORROWED FROM OR WAS HOLDING FOR SOMEBODY
Questions                                                                   (GO TO CJH6)

CJ39. (ASK IF RESPONDENT REPORTED BEING SENTENCED                         TRADED SOMETHING FOR IT (GO TO CJH6)
IN CJ1 OR CJ3 OR IF RESPONDENT REPORTED HE/SHE WAS                        BOUGHT IT (GO TO CJH6)
AWAITING SENTENCING IN CJH2A.) Did you carry, possess,                    SOMEONE BOUGHT IT FOR ME (GO TO CJH7)
or use a weapon when the (INSERT CONTROLLING
OFFENSE) occurred?                                                        SOMEONE GAVE IT TO ME AS A GIFT (GO TO CJH9)

   YES                                                                  FOUND IT/WAS AT LOCATION WHERE OFFENSE
                                                                            OCCURRED (GO TO CJH9)
   NO (SKIP TO NEXT SECTION)
                                                                          WAS BROUGHT BY SOMEONE ELSE (GO TO CJH9)
CJH1. How many weapons did you carry, possess, or use
when the (INSERT CONTROLLING OFFENSE) occurred?                           OTHER

   ONE                                                                     ||   How did you obtain the firearm that you carried,
                                                                                  possessed, or used during the offense?
   TWO OR MORE
                                                                                  ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
CJH2. What (INSERT “kind of weapon was it?” OR “kinds of
weapons were they?”) CHECK ALL THAT APPLY.                             CJH6. (ASK IF RESPONDENT REPORTED “FIREARM” IN CJH2
                                                                       AND REPORTED IN CJH5 HE/SHE “STOLE IT”, “RENTED IT”,
   FIREARM                                                           “BORROWED FROM OR WAS HOLDING FOR SOMEBODY”,
   TOY OR BB GUN (INCLUDE FAKE OR REPLICA GUNS)                      “TRADED SOMETHING FOR IT”, OR “BOUGHT IT”.) Where
   KNIFE                                                             did you obtain the (INSERT TYPE OF FIREARM REPORTED
                                                                       IN CJH4)? CHECK ALL THAT APPLY.
   OTHER SHARP OBJECT (SCISSORS, ICE PICK, AX, ETC.)
                                                                          GUN SHOP OR GUN STORE (GO TO CJH6A)
   BLUNT OBJECT (ROCK, CLUB, BLACKJACK, ETC.)
                                                                          PAWN SHOP (GO TO CJH6A)
   ANOTHER WEAPON
                                                                          FLEA MARKET (GO TO CJH6A)
      ||   What kinds of weapons were they?
                                                                          GUN SHOW (GO TO CJH6A)
             ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
                                                                          FROM THE VICTIM(S) (GO TO CJH9)
CJH3. (ASK IF RESPONDENT REPORTED “FIREARM” IN
CJH2.) How many firearms did you carry, possess, or use                   FROM A FAMILY MEMBER (GO TO CJH9)
when the (INSERT CONTROLLING OFFENSE) occurred?                           FROM A FRIEND (GO TO CJH9)
   ENTER NUMBER OF FIREARMS                                             FROM A FENCE/BLACK MARKET SOURCE (GO TO CJH9)
CJH4. (ASK IF RESPONDENT REPORTED “FIREARM” IN                            OFF THE STREET/FROM A DRUG DEALER (GO TO CJH9)
CJH2.) What (INSERT “type of firearm was it?” OR “types of                IN A BURGLARY (GO TO CJH9)
firearms were they?”) CHECK ALL THAT APPLY.
                                                                          ONLINE/THE INTERNET (GO TO CJH9)
   A HANDGUN
                                                                          OTHER
   A RIFLE
                                                                             ||   Where did you obtain the (INSERT TYPE OF
   A SHOTGUN                                                                    FIREARM REPORTED IN CJH4)?
   SOME OTHER TYPE OF FIREARM                                                   ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
      ||   What type of firearm?
             ——   INTERVIEWER: RECORD RESPONSE VERBATIM.                                                   Continued on next page




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 Appendix 1. Questions related to firearms in the Survey of Prison Inmates, 2016 (continued)
CJH6a. (ASK IF RESPONDENT REPORTED IN CJH6 THAT                           OFF THE STREET/FROM A DRUG DEALER
THE FIREARM WAS FROM A “GUN SHOP OR GUN STORE”,                           IN A BURGLARY
“PAWN SHOP”, “FLEA MARKET”, OR “GUN SHOW”.) When
you obtained the (INSERT TYPE OF FIREARM REPORTED                         ONLINE/THE INTERNET
IN CJH4) was it from a licensed firearm dealer or a                       OTHER
private seller?                                                              ||   Where did that person obtain the (INSERT TYPE OF
   LICENSED FIREARM DEALER                                                      FIREARM REPORTED IN CJH4)?
   PRIVATE SELLER                                                               ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
CJH6b. (ASK IF RESPONDENT REPORTED IN CJH5 THAT                        CJH8. (ASK IF RESPONDENT REPORTED “SOMEONE ELSE
HE/SHE “BOUGHT IT” AND IN CJH6 REPORTED THAT THE                       BOUGHT IT FOR ME” IN CJH5.) Why did someone else
FIREARM WAS FROM A “GUN SHOP OR GUN STORE”, “PAWN                      obtain the (INSERT TYPE OF FIREARM REPORTED IN CJH4)
SHOP”, “FLEA MARKET”, OR “GUN SHOW”.) Did you buy the                  for you? CHECK ALL THAT APPLY.
(INSERT TYPE OF FIREARM REPORTED IN CJH4) under your                      COULD NOT TRAVEL TO WHERE THE SELLER WAS
own name?
                                                                          NOT ALLOWED BECAUSE TOO YOUNG
   YES
                                                                          NOT ALLOWED BECAUSE OF CRIMINAL RECORD
   NO
                                                                          THEY COULD GET IT MORE QUICKLY OR EASILY
   NO PAPERWORK WAS REQUIRED
                                                                          DID NOT WANT TO BE LINKED TO FIREARM PURCHASE
CJH6c. (ASK IF RESPONDENT REPORTED IN CJH5 THAT
HE/SHE “BOUGHT IT” AND REPORTED IN CJH6 THAT THE                          OTHER
FIREARM WAS FROM A “GUN SHOP OR GUN STORE”, “PAWN                            ||   Why did someone else obtain the (INSERT TYPE
SHOP”, “FLEA MARKET”, OR “GUN SHOW”.) Did the seller do                           OF FIREARM REPORTED IN CJH4) for you?
a firearm purchase background check before selling you
                                                                                  ——   INTERVIEWER: RECORD RESPONSE VERBATIM.
the gun?
                                                                       CJH9. Did you get the (INSERT TYPE OF FIREARM
   YES
                                                                       REPORTED IN CJH4) because you were planning
   NO                                                                to carry, possess, or use it during the (INSERT
CJH6d. (ASK IF RESPONDENT REPORTED IN CJH5 THAT                        CONTROLLING OFFENSE)?
HE/SHE “BOUGHT IT” AND REPORTED IN CJH6 THAT THE                          YES
FIREARM WAS FROM A “GUN SHOP OR GUN STORE”, “PAWN
                                                                          NO
SHOP”, “FLEA MARKET”, OR “GUN SHOW”.) Did you buy the
(INSERT TYPE OF FIREARM REPORTED IN CJH4) directly or                  CJH10. Did you show or point (INSERT “the firearm”
did someone else buy it for you?                                       OR “any of the firearms”) at anyone during the (INSERT
                                                                       CONTROLLING OFFENSE)?
   INMATE BOUGHT
                                                                          YES
   SOMEONE ELSE BOUGHT
                                                                          NO
CJH7. (ASK IF RESPONDENT REPORTED “SOMEONE ELSE
BOUGHT IT FOR ME” IN CJH5.) Where did that person                      CJH11. Did you fire (INSERT “the firearm” OR “any of the
obtain the (INSERT TYPE OF FIREARM REPORTED IN CJH4)?                  firearms”) during the (INSERT CONTROLLING OFFENSE)?
   GUN SHOP OR GUN STORE                                                YES
   PAWN SHOP                                                            NO (SKIP TO NEXT SECTION)
   FLEA MARKET                                                       CJH12. Did you shoot anyone?
   GUN SHOW                                                             YES
   FROM THE VICTIM(S)                                                   NO (SKIP TO NEXT SECTION)
   FROM A FAMILY MEMBER                                              CJH13. Did anyone you shot die?
   FROM A FRIEND                                                        YES
   FROM A FENCE/BLACK MARKET SOURCE                                     NO




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APPENDIX TABLE 1
Standard errors for figure 1: Percent of all state and
federal inmates who had possessed or used a firearm
during their offense, 2016
Characteristic                       Possessed                Used
Any gun                                0.64%                  0.51%
Handgun                                0.59                   0.46
Gun they obtained from retail source   0.13                   0.12
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


APPENDIX TABLE 2
Standard errors for table 1: Firearm possession and use among state and federal prisoners during the offense for
which they were serving time, by type of controlling offense, 2016
                                            Estimated      Percent of state prisoners who—           Estimated        Percent of federal prisoners who—
                                            number of        Possessed                               number of          Possessed
Controlling offense                         state prisoners a firearm        Used a firearm          federal prisoners a firearm         Used a firearm
   Total                                        31,100          0.69%             0.57%                   8,300            1.76%              0.71%
Violent                                         22,400          0.90%             0.73%                   2,700            2.87%              2.83%
   Homicide                                     10,900          1.16              1.12                       700           6.53               4.75
   Rape/sexual assault                           9,900          0.36              0.22                       600               :                  :
   Robbery                                       6,700          1.32              1.28                    1,600            3.73               3.80
   Assault                                       5,900          1.34              1.24                       700           5.15               4.52
   Other violent                                 2,100          2.03              1.73                      300            8.42                   :
Property                                         7,800          0.53%             0.32%                   2,000            0.83%                  :
   Burglary                                      3,900          0.80              0.54                      100                :                  :
   Other property                                5,800          0.58              0.33                    2,000            0.81                   :
Drug                                            11,400          0.68%             0.20%                   5,400            0.87%              0.21%
   Trafficking                                   9,700          0.83              0.24                    5,000            0.88               0.21
   Possession                                    3,400          1.06                  :                     600                :                  :
   Other/unspecified drug                          700              :                 :                     600                :                  :
Public order                                     8,400          1.35%             0.58%                   3,600            3.55%              0.88%
   Weapons                                       3,000          2.02              1.70                    2,700            2.02               1.60
   Other public order                            7,200          0.70              0.42                    3,800            0.89                   :
Other                                              600              :                 :                     300                :                  :
Unknown                                          1,400          1.61%                 :                     400                :                  :
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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APPENDIX TABLE 3
Standard errors for table 2: Among state and federal prisoners who possessed a firearm during the offense for
which they were serving time, extent of firearm use, 2016
                                                                                                State prisoners                  Federal prisoners
                                                        State           Federal            Violent        Non-violent        Violent       Non-violent
Firearm use                                             prisoners       prisoners          offense        offense            offense       offense
Obtained firearm because planned to use
  in controlling offense
   Yes                                                     0.81%          1.57%               0.81%            2.00%          4.01%          1.88%
   No                                                      0.81           1.57                0.81             2.00           4.01           1.88
Used firearm                                               1.11%          1.92%               0.85%            1.83%          3.86%          1.57%
  Discharged                                               1.34%          1.17%               1.36%            1.47%          3.58%          1.14%
    Killed victim                                          1.28           0.75                1.40                 :          2.49               :
    Injured/shot victim but did not kill victim            0.73           0.55                0.86             0.89               :              :
    Discharged firearm but did not shoot anyone            0.47           0.98                0.51             1.17           2.16           1.02
  Did not discharge                                        0.97%          1.60%               1.21%            1.24%          4.99%          0.87%
Did not use firearm                                        1.11%          1.92%               0.85%            1.83%          3.86%          1.57%
  Estimated number of prisoners who possessed
    a firearm (with valid data)                           10,100          3,100               9,200            3,400          1,200          2,200
: Not calculated. Too few cases to provide a reliable estimate or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.


APPENDIX TABLE 4
Standard errors for table 3: Firearm possession and use among state and federal prisoners during the offense for
which they were serving time, by type of firearm, 2016
                                    Percent of prisoners who possessed a firearm                         Percent of prisoners who used a firearm
Type of firearm                 All prisoners          State            Federal                  All prisoners            State             Federal
Firearm                              0.64               0.69%             1.76%                       0.51                0.57%               0.71%
   Handgun                           0.59               0.64              1.63                        0.46                0.51                0.67
   Rifle                             0.10               0.10              0.28                        0.07                0.08                0.13
   Shotgun                           0.11               0.12              0.22                        0.09                0.10                0.09
No firearm                           0.64               0.69              1.76                        0.51                0.57                0.71
   Estimated number of
     prisoners (with valid data) 32,100               31,000             8,300                        32,100            31,000              8,300
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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APPENDIX TABLE 5
Standard errors for table 4: Firearm possession among state and federal prisoners during the offense for which
they were serving time, by demographic characteristics, 2016
                                                                          State                                            Federal
                                                                           Percent of prisoners who                          Percent of prisoners who
                                                      Number of            possessed a firearm               Number of       possessed a firearm
Demographic characteristic                            prisoners            during the offense                prisoners       during the offense
Sex
   Male                                                 30,700                     0.74%                           8,200            1.88%
   Female                                                5,200                     0.96                            1,300            1.00
Race/Hispanic origin
   White                                                16,500                     0.64%                           3,900            2.28%
   Black                                                16,200                     0.91                            5,600            2.02
   Hispanic                                             12,400                     1.26                            8,000            1.70
   American Indian/Alaska Native                         2,500                     2.94                              800            5.18
   Asian/Native Hawaiian/Other Pacific Islander          1,600                     4.69                              600                :
   Two or more races                                     5,000                     1.19                            1,200            3.50
Age at time of survey
   18–24                                                 8,200                     1.71%                           1,000            5.69%
   25–34                                                13,700                     1.00                            3,200            2.57
   35–44                                                 9,500                     0.94                            3,400            1.68
   45–54                                                 9,100                     0.76                            2,400            1.68
   55 or older                                           7,700                     1.02                            2,200            2.02
Marital status
   Married                                               6,300                     1.06%                           3,100            1.77%
   Widowed/widowered                                     2,000                     2.10                              400            5.93
   Separated                                             2,700                     1.34                            1,200            3.11
   Divorced                                             10,600                     0.97                            2,200            1.58
   Never married                                        20,100                     0.81                            5,800            2.10
Education
   Less than high school                                21,500                     0.83%                           6,000            2.18%
   High school graduate                                  8,500                     0.88                            2,100            1.69
   Some college                                          5,000                     0.96                            2,000            2.08
   College degree or more                                2,500                     1.43                            2,000            1.83
Citizenship
   U.S. citizen                                         30,000                     0.69%                       10,700               1.87%
   Non-U.S. citizen                                      3,700                     2.04                         9,500               1.09
Military service
   Yes                                                   4,800                     1.07%                           1,200            2.98%
   No                                                   28,700                     0.72                            8,200            1.80
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




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APPENDIX TABLE 6
Standard errors for table 5: Among state and federal prisoners who had possessed a firearm during the offense for
which they were serving time, sources and methods used to obtain a firearm, 2016
Source and method to obtain firearm                                       All prisoners                      State   Federal
Purchased/traded at retail source                                             0.66%                          0.70%    2.07%
  Gun shop/store                                                              0.54                           0.56     1.87
  Pawn shop                                                                   0.27                           0.29     0.62
  Flea market                                                                 0.13                               :        :
  Gun show                                                                    0.16                           0.17     0.44
Obtained from individual                                                      0.87%                          0.94%    2.02%
  Purchased/traded from family/friend                                         0.59                           0.65     1.27
  Rented/borrowed from family/friend                                          0.47                           0.52     0.54
  Gift/purchased for prisoner                                                 0.69                           0.75     1.40
Off the street/underground market                                             1.07%                          1.13%    3.26%
Theft                                                                         0.48%                          0.53%    0.79%
  From burglary                                                               0.22                           0.24         :
  From retail source                                                          0.07                               :        :
  From family/friend                                                          0.26                           0.29         :
  Unspecified theft                                                           0.31                           0.34     0.53
Other source                                                                  0.78%                          0.85%    1.80%
  Found at location of crime/victim                                           0.50                           0.53     1.31
  Brought by someone else                                                     0.45                           0.49     0.87
  Other                                                                       0.51                           0.55     1.40
Multiple sources                                                              0.27%                          0.29%    0.50%
  Estimated number of prisoners who possessed a firearm,
     excluding prisoners who did not report source                           9,900                           9,500    2,800
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.



APPENDIX TABLE 7
Standard errors for table 6: Among state and federal
prisoners who had possessed a firearm during the
offense for which they were serving time, processes
used to obtain a firearm, 2016
                                    All
Process to obtain firearm           prisoners        State      Federal
Not purchased or traded at retail
 source                              0.66%           0.70%       2.07%
Purchased or traded at retail source 0.66%           0.70%       2.07%
  Licensed firearm dealer at retail
    source                           0.60            0.63        2.08
     Purchased under own name        0.54            0.57        1.89
     Backgroundcheck was
       reportedly conducted          0.54            0.56        1.93
  Private seller at retail source    0.19            0.20        0.63
  Unknown                            0.21            0.24            :
  Estimated number of prisoners
    who possessed a firearm (with
    valid data)                      9,900           9,500        2,800
: Not calculated. Too few cases to provide a reliable estimate, or
coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISONExhibit
                                                                INMATES, 2016
                                                                           2 | JANUARY 2019                                    18
                                                                          0143
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APPENDIX TABLE 8
Standard errors for table 7: Firearm possession and use among all state and federal prisoners during the offense for
which they were serving time, by type of controlling offense and source, 2016
                                           Percent of state and federal prisoners who—                    Percent of state and federal prisoners who—
                                                               Possessed a firearm that they                                Used a firearm that they
Controlling offense                      Possessed a firearm obtained from a retail source                Used a firearm obtained from a retail source
   Total                                       0.64%                    0.13%                                0.51%                        0.12%
Violent                                        0.88%                    0.23%                                0.72%                        0.21%
   Homicide                                    1.14                     0.63                                 1.10                         0.62
   Robbery                                     1.25                     0.29                                 1.22                         0.25
Property                                       0.50%                    0.15%                                0.30%                            :
Drug                                           0.52%                    0.17%                                0.15%                        0.04%
Public order                                   1.35%                    0.27%                                0.48%                        0.17%
: Not calculated. Too few cases to provide a reliable estimate, or coefficient of variation is greater than 50%.
Source: Bureau of Justice Statistics, Survey of Prison Inmates, 2016.




SOURCE AND USE OF FIREARMS INVOLVED IN CRIMES: SURVEY OF PRISONExhibit
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             The Bureau of Justice Statistics of the U.S. Department of Justice is the principal
             federal agency responsible for measuring crime, criminal victimization,
             criminal offenders, victims of crime, correlates of crime, and the operation of
             criminal and civil justice systems at the federal, state, tribal, and local levels.
             BJS collects, analyzes, and disseminates reliable statistics on crime and justice
             systems in the United States, supports improvements to state and local criminal
             justice information systems, and participates with national and international
             organizations to develop and recommend national standards for justice statistics.
             Jeffrey H. Anderson is the director.
             This report was written by Mariel Alper and Lauren Glaze of BJS. Mariel Alper
             conducted statistical analyses. Marcus Berzofsky and John Bunker of RTI
             International provided statistical review. Danielle Kaeble, Laura Maruschak,
             Todd Minton, and Stephanie Mueller verified the report. Lauren Glaze was the
             BJS project manager for the 2016 Survey of Prison Inmates.
             Eric Hendrixson and Jill Thomas edited the report. Tina Dorsey and Morgan
             Young produced the report.
             January 2019, NCJ 251776




                                                  NCJ251776

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                                                 Exhibit 2
                                                   0145
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             EXHIBIT "3"




                                    Exhibit 3
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                                    Exhibit 3
                                      0147
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                                    Exhibit 3
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             EXHIBIT "4"




                                    Exhibit 4
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                                                                Exhibit 4
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                                                                                 Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1164 Page 182 of
                                                                                                                      1057
Table 1
Crime in the United States
by Volume and Rate per 100,000 Inhabitants, 1998–2017
                                                                            Murder and                                  Rape                        Rape                                                                                                                                                                Motor
                                                  Violent      Murder and   nonnegligent                Rape          (revised         Rape        (legacy                                                                                  Property                                                         Motor      vehicle
                                   Violent         crime       nonnegligent manslaughter              (revised       definition)      (legacy     definition)                         Robbery       Aggravated Aggravated      Property      crime                   Burglary     Larceny-    Larceny-      vehicle      theft
                             1                                                                                   3                              4
     Year       Population                                     manslaughter                          definition)                    definition)                       Robbery                         assault                                            Burglary                   theft                     theft
                                         2                                                                                   3                            4
                                   crime            rate                        rate                                    rate                        rate                                rate                    assault rate    crime         rate                     rate                   theft rate                 rate
     1998       270,248,003        1,533,887        567.6            16,974          6.3                                                 93,144        34.5            447,186          165.5           976,583     361.4      10,951,827      4,052.5   2,332,735        863.2     7,376,311     2,729.5   1,242,781    459.9
     1999       272,690,813        1,426,044        523.0            15,522          5.7                                                 89,411        32.8            409,371          150.1           911,740     334.3      10,208,334      3,743.6   2,100,739        770.4     6,955,520     2,550.7   1,152,075    422.5
     2000       281,421,906        1,425,486        506.5            15,586          5.5                                                 90,178        32.0            408,016          145.0           911,706     324.0      10,182,584      3,618.3   2,050,992        728.8     6,971,590     2,477.3   1,160,002    412.2
     20015      285,317,559        1,439,480        504.5            16,037          5.6                                                 90,863        31.8            423,557          148.5           909,023     318.6      10,437,189      3,658.1   2,116,531        741.8     7,092,267     2,485.7   1,228,391    430.5
     2002       287,973,924        1,423,677        494.4            16,229          5.6                                                 95,235        33.1            420,806          146.1           891,407     309.5      10,455,277      3,630.6   2,151,252        747.0     7,057,379     2,450.7   1,246,646    432.9
     2003       290,788,976        1,383,676        475.8            16,528          5.7                                                 93,883        32.3            414,235          142.5           859,030     295.4      10,442,862      3,591.2   2,154,834        741.0     7,026,802     2,416.5   1,261,226    433.7
     2004       293,656,842        1,360,088        463.2            16,148          5.5                                                 95,089        32.4            401,470          136.7           847,381     288.6      10,319,386      3,514.1   2,144,446        730.3     6,937,089     2,362.3   1,237,851    421.5
     2005       296,507,061        1,390,745        469.0            16,740          5.6                                                 94,347        31.8            417,438          140.8           862,220     290.8      10,174,754      3,431.5   2,155,448        726.9     6,783,447     2,287.8   1,235,859    416.8
     2006       299,398,484        1,435,123        479.3            17,309          5.8                                                 94,472        31.6            449,246          150.0           874,096     292.0      10,019,601      3,346.6   2,194,993        733.1     6,626,363     2,213.2   1,198,245    400.2
     2007       301,621,157        1,422,970        471.8            17,128          5.7                                                 92,160        30.6            447,324          148.3           866,358     287.2       9,882,212      3,276.4   2,190,198        726.1     6,591,542     2,185.4   1,100,472    364.9
     2008       304,059,724        1,394,461        458.6            16,465          5.4                                                 90,750        29.8            443,563          145.9           843,683     277.5       9,774,152      3,214.6   2,228,887        733.0     6,586,206     2,166.1     959,059    315.4
     2009       307,006,550        1,325,896        431.9            15,399          5.0                                                 89,241        29.1            408,742          133.1           812,514     264.7       9,337,060      3,041.3   2,203,313        717.7     6,338,095     2,064.5     795,652    259.2
     2010       309,330,219        1,251,248        404.5            14,722          4.8                                                 85,593        27.7            369,089          119.3           781,844     252.8       9,112,625      2,945.9   2,168,459        701.0     6,204,601     2,005.8     739,565    239.1
     2011       311,587,816        1,206,005        387.1            14,661          4.7                                                 84,175        27.0            354,746          113.9           752,423     241.5       9,052,743      2,905.4   2,185,140        701.3     6,151,095     1,974.1     716,508    230.0
     2012       313,873,685        1,217,057        387.8            14,856          4.7                                                 85,141        27.1            355,051          113.1           762,009     242.8       9,001,992      2,868.0   2,109,932        672.2     6,168,874     1,965.4     723,186    230.4
     2013       316,497,531        1,168,298        369.1            14,319          4.5                 113,695           35.9          82,109        25.9            345,093          109.0           726,777     229.6       8,651,892      2,733.6   1,932,139        610.5     6,019,465     1,901.9     700,288    221.3
     2014       318,907,401        1,153,022        361.6            14,164          4.4                 118,027           37.0          84,864        26.6            322,905          101.3           731,089     229.2       8,209,010      2,574.1   1,713,153        537.2     5,809,054     1,821.5     686,803    215.4
     2015       320,896,618        1,199,310        373.7            15,883          4.9                 126,134           39.3          91,261        28.4            328,109          102.2           764,057     238.1       8,024,115      2,500.5   1,587,564        494.7     5,723,488     1,783.6     713,063    222.2
     20166      323,405,935        1,250,162        386.6            17,413          5.4                 132,414           40.9          96,970        30.0            332,797          102.9           802,982     248.3       7,928,530      2,451.6   1,516,405        468.9     5,644,835     1,745.4     767,290    237.3
     2017       325,719,178        1,247,321        382.9            17,284          5.3                 135,755           41.7          99,856        30.7            319,356           98.0           810,825     248.9       7,694,086      2,362.2   1,401,840        430.4     5,519,107     1,694.4     773,139    237.4
1
    Populations are U.S. Census Bureau provisional estimates as of July 1 for each year except 2000 and 2010, which are decennial census counts.
2
    The violent crime figures include the offenses of murder, rape (legacy definition), robbery, and aggravated assault.
3
    The figures shown in this column for the offense of rape were estimated using the revised Uniform Crime Reporting Program's (UCR) definition of rape. See data declaration for further explanation.
4
    The figures shown in this column for the offense of rape were estimated using the legacy UCR definition of rape. See data declaration for further explanation.
5
    The murder and nonnegligent homicides that occurred as a result of the events of September 11, 2001, are not included in this table.
6
    The crime figures have been adjusted.
NOTE: Although arson data are included in the trend and clearance tables, sufficient data are not available to estimate totals for this offense. Therefore, no arson data are published in this table.




                                                                                                                                                                        Exhibit 4
                                                                                                                                                                          0152
                                                                     Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1165 Page 183 of
                                                                                                          1057
Table 1A
Crime in the United States
Percent Change in Volume and Rate per 100,000 Inhabitants for 2 years, 5 years, and 10 years
                                                         Murder and                              Rape                      Rape                                                                                                                        Motor
                         Violent        Murder and       nonnegligent           Rape           (revised        Rape       (legacy                                                            Propert Property         Burglar         Larceny- Motor vehicle
                 Violent crime          nonnegligent     manslaughter         (revised        definition)     (legacy definition)                   Robbery Aggravated Aggravated               y     crime              y    Larceny- theft   vehicle theft
                                                                                         2                              3
                 crime1                 manslaughter                         definition)                    definition)                 Robbery              assault                                          Burglary rate     theft           theft
                                                                                                      2                         3
Years                     rate                               rate                                rate                      rate                       rate             assault rate           crime    rate                             rate            rate
2017/2016          -0.2        -0.9            -0.7                -1.4             +2.5            +1.8          +3.0         +2.2         -4.0       -4.7           +1.0           +0.3       -3.0       -3.6    -7.6    -8.2    -2.2    -2.9    +0.8       *
2017/2013          +6.8        +3.7           +20.7               +17.3            +19.4           +16.0         +21.6        +18.2         -7.5      -10.1          +11.6           +8.4      -11.1      -13.6   -27.4   -29.5    -8.3   -10.9   +10.4    +7.3
2017/2008         -10.6       -16.5            +5.0                -2.0                                          +10.0         +2.7        -28.0      -32.8           -3.9          -10.3      -21.3      -26.5   -37.1   -41.3   -16.2   -21.8   -19.4   -24.7
1
    The violent crime figures include the offenses of murder, rape (legacy definition), robbery, and aggravated assault.
2
    The figures shown in this column for the offense of rape were estimated using the revised Uniform Crime Reporting Program's (UCR) definition of rape. See data declaration for further explanation.
3
    The figures shown in this column for the offense of rape were estimated using the legacy UCR definition of rape. See data declaration for further explanation.
*
    Less than one-tenth of 1 percent.




                                                                                                                                      Exhibit 4
                                                                                                                                        0153
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                  Uniform Crime Report
                  Crime in the United States, 2017



     Overview
     Table 1—Crime in the United States, by Volume and Rate per 100,000
     Inhabitants, 1998–2017

     Table 1A—Crime in the United States, Percent Change in Volume and Rate
     per 100,000 Inhabitants for 2 years, 5 years, and 10 years

     •    In 2017, the estimated number of violent crime offenses was 1,247,321, a decrease
          of 0.2 percent from the 2016 estimate.

     •    The violent crime of murder and nonnegligent manslaughter decreased
          0.7 percent in 2017 when compared with the 2016 estimate. Rape offenses (legacy
          definition) increased 3.0 percent, and aggravated assault offenses increased
          1.0 percent. The violent crime of robbery decreased by 4.0 percent when
          compared with the 2016 estimate.

     •    The 2017 violent crime rate was 382.9 per 100,000 inhabitants, down 0.9 percent
          when compared with the 2016 violent crime rate.

     •    The murder rate was 5.3 per 100,000 inhabitants in 2017, a 1.4 percent decrease
          when compared with the estimated rate for the previous year.

     •    The estimated number of property crimes in 2017 was 7,694,086, a 3.0 percent
          decrease from the 2016 estimate.

     •    Of the property crimes, the estimated number of burglary offenses decreased
          7.6 percent, and larceny-theft offenses declined 2.2 percent. The estimated
          number of motor vehicle thefts increased 0.8 percent.

     •    The 2017 property crime rate was 2,362.2 per 100,000, a 3.6 percent decrease
          when compared with the 2016 rate.




     Crime in the United States, 2017                 U.S. Department of Justice—Federal Bureau of Investigation
                                                                                             Released Fall 2018



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     IMPACT EVALUATION OF THE
     PUBLIC SAFETY AND
     RECREATIONAL FIREARMS
     USE PROTECTION ACT OF 1994
     Final Report




                                                   THE URBAN INSTITUTE
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                                                      Wissoker


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           Supported under award #95-IJ-CX-0111 from the National Institute of Justice, Office
           of Justice Programs, U.S. Department of Justice. Points of view in this document are
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                                          Acknowledgments
           Researchers traditionally acknowledge assistance from others in completing a study. However, we
  received far more than traditional amounts of help. A host of people who cared about the questions we were
  asking generously donated their expertise, data, and time.

            Our greatest debts are owed to our advisors, Bill Bridgewater and Judy Bonderman. Bill, as executive
  director of the National Alliance of Stocking Gun Dealers, and his wife Carole, editor of the Alliance Voice, shared
  with us a vast knowledge of guns and gun markets. As adjunct law professor at Catholic University and an
  occasional legal advisor to Handgun Control, Inc., Judy taught us much about the relevant laws. Both helped us
  frame the questions we asked. While Bill and Judy made successful careers as advocates of quite different
  perspectives on gun policy, they both respected the integrity of our work as disinterested researchers. Sadly, Bill
  passed away before our work was completed. We hope he would agree that we learned what he tried to teach us.

            We also received substantial help from staff at the Bureau of Alcohol, Tobacco and Firearms. Ed Owen
  continued our education about firearms in the late stages of the project. He, Joe Vince, and Jerry Nunziato
  provided technical information and critically reviewed an early draft of this report. Willie Brownlee, Gerry
  Crispino, Jeff Heckel, David Krieghbaum, Tristan Moreland, Valerie Parks, and Lia Vannett all shared data and
  insights.

           We are grateful to the following researchers and organizations who generously shared their data with us:
  Tom Marvell, of Justec Research; Scott Decker, Richard Rosenthal, and Richard Rabe of Washington University;
  David Kennedy and Anthony Braga of Harvard University; Glenn Pierce of Northeastern University; Stephen
  Hargarten, M.D., and Mallory O’Brien of the Medical College of Wisconsin; Weldon Kennedy, Loretta Behm, and
  Monte McKee of the Federal Bureau of Investigation; Denise Griffin of the National Conference of State
  Legislatures; Kristen Rand of the Violence Policy Center; Donald T. Reay, M.D., Chief Medical Examiner, King
  County, Washington; Michael Buerger of the Jersey City Police Department; Beth Hume and Maxine Shuster of
  the Massachusetts Department of Public Health; Yvonne Williams, Office of the Medical Examiner, County of
  San Diego; and Rebecca Knox of Handgun Control, Inc.

           We appreciate the fine work of our Urban Institute colleagues who contributed to this report: Bill Adams,
  John Marcotte, John McGready, Maria Valera, and Doug Wissoker. We also appreciate research assistance by
  Sonja Johnson, Andrew Scott, Jason Greenberg, Kristen Mantei, Robert Moore, Rick Poulson, Veronica Puryear,
  and Claudia Vitale. We are grateful for O. Jay Arwood’s expert work in producing this complex document.
  Finally, we appreciate the advice and encouragement of Lois Felson Mock, our National Institute of Justice grant
  monitor, and the thorough and helpful comments by anonymous reviewers inside and outside NIJ.

           Any remaining errors or omissions are the responsibility of the authors. Opinions expressed herein are
  those of the authors and not necessarily those of The Urban Institute, its trustees, or its sponsors.




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                                              1.       OVERVIEW
           Title XI of the Violent Crime Control and Law Enforcement Act of 1994 (the Crime Control Act) took
  effect on September 13, 1994. Subtitle A banned the manufacture, transfer, and possession of designated
  semiautomatic assault weapons. It also banned “large-capacity” magazines, which were defined as ammunition
  feeding devices designed to hold more than 10 rounds. Finally, it required a study of the effects of these bans,
  with particular emphasis on violent and drug trafficking crime, to be conducted within 30 months following the
  effective date of the bans. To satisfy the study requirement, the National Institute of Justice (NIJ) awarded a grant
  to The Urban Institute for an impact evaluation of Subtitle A. This report contains the study findings.

           In defining assault weapons, Subtitle A banned 8 named categories of rifles and handguns. It also banned
  exact copies of the named guns, revolving cylinder shotguns, and guns with detachable magazines that were
  manufactured with certain features such as flash suppressors and folding rifle stocks. The ban specifically
  exempted grandfathered assault weapons and magazines that had been manufactured before the ban took effect.
  Implicitly, the ban exempts all other guns; several of these, which we treated as legal substitutes, closely resemble
  the banned guns but are not classified as exact copies.

           Among other characteristics, ban proponents cited the capacity of these weapons, most of which had been
  originally designed for military use, to fire many bullets rapidly. While this capacity had been demonstrated in
  several highly publicized mass murders in the decade before 1994, ban supporters argued that it was largely
  irrelevant for hunting, competitive shooting, and self-defense. Therefore, it was argued, the ban could prevent
  violent crimes with only a small burden on law-abiding gun owners. Some of our own analyses added evidence
  that assault weapons are disproportionately involved in murders with multiple victims, multiple wounds per
  victim, and police officers as victims.

            To reduce levels of these crimes, the law must increase the scarcity of the banned weapons. Scarcity
  would be reflected in higher prices not only in the primary markets where licensed dealers create records of sales
  to legally eligible purchasers, but also in secondary markets that lack such records. Although most secondary-
  market transfers are legal, minors, convicted felons, and other ineligible purchasers may purchase guns in them
  (usually at highly inflated prices) without creating records. In theory, higher prices in secondary markets would
  discourage criminal use of assault weapons, thereby reducing levels of the violent crimes in which assault
  weapons are disproportionately used.
           For these reasons, our analysis considered potential ban effects on gun markets, on assault weapon use in
  crime, and on lethal consequences of assault weapon use. However, the statutory schedule for this study
  constrained our findings to short-run effects, which are not necessarily a reliable guide to long-term effects. The
  timing also limited the power of our statistical analyses to detect worthwhile ban effects that may have occurred.
  Most fundamentally, because the banned guns and magazines were never used in more than a fraction of all gun
  murders, even the maximum theoretically achievable preventive effect of the ban on gun murders is almost
  certainly too small to detect statistically with only one year of post-ban crime data.

           With these cautions in mind, our analysis suggests that the primary-market prices of the banned guns and
  magazines rose by upwards of 50 percent during 1993 and 1994, while the ban was being debated, as gun
  distributors, dealers, and collectors speculated that the banned weapons would become expensive collectors’
  items. However, production of the banned guns also surged, so that more than an extra year’s normal supply of
  assault weapons and legal substitutes was manufactured during 1994. After the ban took effect, primary-market
  prices of the banned guns and most large-capacity magazines fell to nearly pre-ban levels and remained there at




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  least through mid-1996, reflecting both the oversupply of grandfathered guns and the variety of legal substitutes
  that emerged around the time of the ban.

           Even though the expected quick profits failed to materialize, we found no strong evidence to date that
  licensed dealers have increased “off the books” sales of assault weapons in secondary markets and concealed them
  with false stolen gun reports. Stolen gun reports for assault weapons did increase slightly after the ban took effect,
  but by less than reported thefts of unbanned large-capacity semiautomatic handguns, which began rising well
  before the ban.

           The lack of an increase in stolen gun reports suggests that so far, the large stock of grandfathered assault
  weapons has remained largely in dealers’ and collectors’ inventories instead of leaking into the secondary markets
  through which criminals tend to obtain guns. In turn, this speculative stockpiling of assault weapons by law-
  abiding dealers and owners apparently reduced the flow of assault weapons to criminals, at least temporarily.
  Between 1994 and 1995, the criminal use of assault weapons, as measured by law enforcement agency requests for
  BATF traces of guns associated with crimes, fell by 20 percent, compared to an 11 percent decrease for all guns.
  BATF trace requests are an imperfect measure because they reflect only a small percentage of guns used in crime.
  However, we found similar trends in data on all guns recovered in crime in two cities. We also found similar
  decreases in trace requests concerning guns associated with violent and drug crimes.

            At best, the assault weapons ban can have only a limited effect on total gun murders, because the banned
  weapons and magazines were never involved in more than a modest fraction of all gun murders. Our best estimate
  is that the ban contributed to a 6.7 percent decrease in total gun murders between 1994 and 1995, beyond what
  would have been expected in view of ongoing crime, demographic, and economic trends. However, with only one
  year of post-ban data, we cannot rule out the possibility that this decrease reflects chance year-to-year variation
  rather than a true effect of the ban. Nor can we rule out effects of other features of the 1994 Crime Act or a host of
  state and local initiatives that took place simultaneously. Further, any short-run preventive effect observable at
  this time may ebb in the near future as the stock of grandfathered assault weapons and legal substitute guns leaks
  to secondary markets, then increase as the stock of large-capacity magazines gradually dwindles.

           We were unable to detect any reduction to date in two types of gun murders that are thought to be closely
  associated with assault weapons, those with multiple victims in a single incident and those producing multiple
  bullet wounds per victim. We did find a reduction in killings of police officers since mid-1995. However, the
  available data are partial and preliminary, and the trends may have been influenced by law enforcement agency
  policies regarding bullet-proof vests.

           The following pages explain these findings in more detail, and recommend future research to update and
  refine our results at this early post-ban stage.


  1.1.     PRIMARY-MARKET EFFECTS

           1.1.1. Prices and Production

                    1.1.1.1. Findings

            We found clear peaks in legal-market prices of the banned weapons and magazines around the effective
  date of the ban, based on display ads in the nationally distributed periodical Shotgun News between 1992 and mid-
  1996. For example, a price index of banned SWD semiautomatic pistols rose by about 47 percent during the year
  preceding the ban, then fell by about 20 percent the following year, to a level where it remains. Meanwhile, the




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  prices of non-banned Davis and Lorcin semiautomatic pistols remained virtually constant over the entire period.
  Similarly, a price index for banned AR-15 rifles, exact copies, and legal substitutes at least doubled in the year
  preceding the ban, then fell after the ban nearly to 1992 levels, where they have remained. Prices of unbanned
  semiautomatic rifles (e.g., the Ruger Mini-14, Maadi, and SKS) behaved similarly to AR-15 prices, presumably
  due to pre-ban speculation that these guns would be included in the final version of the Crime Act.

           Like assault weapon prices, large-capacity magazine prices generally doubled within the year preceding
  the ban. However, trends diverged after the ban depending on what gun the magazine was made for. For example,
  magazines for non-banned Glock handguns held their new high levels, while magazines for banned Uzi and
  unbanned Mini-14 weapons fell substantially from their peaks. AR-15 large-capacity magazine prices also fell to
  1993 levels shortly after the ban took effect, but returned to their 1994 peak in mid-1996. We believe that demand
  for grandfathered Glock and AR-15 magazines was sustained or revived by continuing sales of legal guns that
  accept them.

           Production of the banned assault weapons surged in the months leading up to the ban. Data limitations
  preclude precise and comprehensive counts. However, we estimate that the annual production of five categories of
  assault weapons (AR-15s and models by Intratec, SWD, AA Arms, and Calico) and legal substitutes rose by more
  than 120 percent, from an estimated 1989–93 annual average of 91,000 guns to about 204,000 in 1994 — more
  than an extra year’s supply. In contrast, production of non-banned Lorcin and Davis pistols, which are among the
  guns most frequently seized by police, fell by about 35 percent, from a 1989–93 annual average of 283,000 to
  184,000 in 1994.

            Our interpretation of these trends is that the pre-ban price and production increases reflected speculation
  that grandfathered weapons and magazines in the banned categories would become profitable collectors’ items
  after the ban took effect. Instead, however, assault weapon prices fell sharply within months after the ban took
  effect, apparently under the combined weight of the extra year’s supply of grandfathered guns, along with legal
  substitute guns that entered the distribution chain around the time of the ban. While large-capacity magazine
  prices for several banned assault weapons followed similar trends, those for unbanned Glock pistols sustained
  their peaks, and those for the widely-copied AR-15 rifle rebounded at least temporarily to peak levels in 1996,
  after an immediate post-ban fall.

                    1.1.1.2. Recommendations

           To establish our findings about legal-market effects more definitively, we have short-term (i.e., 12-
  month) and long-term research recommendations for consideration by NIJ. In the short term, we recommend
  entering and analyzing large-capacity magazine price data that we have already coded but not entered, in order to
  study how the prices and legal status of guns affect the prices of large-capacity magazines as economic
  complements. We also recommend updating our price and production analyses for both the banned firearms and
  large-capacity magazines, to learn about retention of the apparent ban effects we identified. For the long term, we
  recommend that NIJ and BATF cooperate in establishing and maintaining time-series data on prices and
  production of assault weapons, legal substitutes, other guns commonly used in crime, and the respective large and
  small capacity magazines; like similar statistical series currently maintained for illegal drugs, we believe such a
  price and production series would be a valuable instrument for monitoring effects of policy changes and other
  influences on markets for weapons that are commonly used in violent and drug trafficking crime.




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  1.2.     SECONDARY-MARKET EFFECTS

           1.2.1. Findings
            In addition to the retail markets discussed above, there are secondary gun markets in which gun transfers
  are made without formal record keeping requirements. Secondary market transfers are by and large legal
  transactions. However, prohibited gun purchasers such as minors, felons, and fugitives tend to acquire most of
  their guns through secondary markets and pay premiums of 3 to 5 times the legal-market prices in order to avoid
  eligibility checks, sales records, and the 5-day waiting period required by the Brady Act. We were unable to
  observe secondary-market prices and quantities directly. Anecdotally, however, the channels through which guns
  “leak” from legal to secondary markets include gun thieves, unscrupulous licensed dealers who sell guns on the
  streets and in gun shows more or less exclusively to prohibited purchasers (who may resell the guns), as well as
  “storefront” dealers who sell occasionally in secondary markets, reporting the missing inventories to BATF
  inspectors as “stolen or lost.” Since two of these channels may lead to theft reports to the FBI’s National Crime
  Information Center (NCIC), we tested for an increase in reported assault weapon thefts after the ban.

          To this point, there has been only a slight increase in assault weapon thefts as a share of all stolen
  semiautomatic weapons. Thus, there does not appear to have been much leakage of assault weapons from legal to
  secondary markets.

            In order to assess the effects of the large-capacity magazine ban on secondary markets, we examined
  thefts of Glock and Ruger handgun models that accept these magazines. Thefts of these guns continued to increase
  after the ban, despite the magazine ban, which presumably made the guns less attractive. Yet we also did not find
  strong evidence of an increase in thefts of these guns relative to what would have been predicted based on pre-ban
  trends. This implies that dealers have not been leaking the guns to illegitimate users on a large scale.

           1.2.2. Recommendations
           To monitor possible future leakage of the large existing stock of assault weapons into secondary markets,
  we recommend updating our analyses of trends in stolen gun reports. We also recommend that BATF and NCIC
  encourage reporting agencies to ascertain and record the magazines with which guns were stolen. Also, because
  stolen gun reports are deleted from NCIC files when the guns are recovered, we recommend that analyses be
  conducted on periodic downloads of the database in order to analyze time from theft to recovery. For strategic
  purposes, it would also be useful to compare dealer patterns of assault weapon theft reports with patterns of
  occurrence in BATF traces of guns recovered in crime.


  1.3.     EFFECTS ON ASSAULT WEAPON USE IN CRIME

           1.3.1. Findings
           Requests for BATF traces of assault weapons recovered in crime by law enforcement agencies throughout
  the country declined 20 percent in 1995, the first calendar year after the ban took effect. Some of this decrease
  may reflect an overall decrease in gun crimes; total trace requests dropped 11 percent in 1995 and gun murders
  dropped 12 percent. Nevertheless, these trends suggest an 8–9 percent additional decrease due to substitution of
  other guns for the banned assault weapons in 1995 gun crimes. We were unable to find similar assault pistol
  reductions in states with pre-existing assault pistol bans. Nationwide decreases related to violent and drug crimes
  were at least as great as that in total trace requests in percentage terms, although these categories were quite small




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  in number. The decrease we observed was evidently not a spurious result of a spurt of assault-weapon tracing
  around the effective date of the ban, because there were fewer assault weapon traces in 1995 than in 1993.

           Trace requests for assault weapons rose by 7 percent in the first half of 1996, suggesting that the 1995
  effect we observed may be temporary. However, data limitations have prevented us from attributing this rebound
  to changes in overall crime patterns, leakage of grandfathered assault weapons to secondary markets, changes in
  trace request practices, or other causes. Data from two cities not subject to a pre-existing state bans suggested that
  assault weapon use, while rare in those cities both before and after the ban, also tapered off during late 1995 and
  into 1996.

           With our local data sources, we also examined confiscations of selected unbanned handguns capable of
  accepting large-capacity magazines. Criminal use of these guns relative to other guns remained stable or was
  higher during the post-ban period, though data from one of these cities were indicative of a recent plateau.
  However, we were unable to acquire data on the magazines with which these guns were equipped. Further, trends
  in confiscations of our selected models may not be indicative of trends for other unbanned large-capacity
  handguns. It is therefore difficult to make any definitive statements about the use of large-capacity magazines in
  crime since the ban. Nevertheless, the contrasting trends for these guns and assault weapons provide some
  tentative hints of short-term substitution of non-banned large-capacity semiautomatic handguns for the banned
  assault weapons.

           1.3.2. Recommendations
           Although BATF trace request data provide the only national trends related to assault weapon use, our
  findings based on them are subject to limitations. Law enforcement agencies request traces on only a fraction of
  confiscated guns that probably does not represent the entire population. Therefore, we recommend further study
  of available data on all guns recovered in crime in selected cities that either were or were not under state assault
  weapon bans when the Federal ban took effect. Beyond that, we recommend analyzing BATF trace data already
  in-house to compare trends for specific banned assault weapon models with trends for non-banned models that are
  close substitutes. Most strongly, we also recommend updating our trend analysis, to see if the early 1996 rebound
  in BATF trace requests for assault weapons continued throughout the year and to relate any change to 1996 trends
  in gun crime and overall trace requests.

            From a broader and longer-term perspective, we share others’ concerns about the adequacy of BATF trace
  data, the only available national data, as a basis for assessing the effects of firearms policies and other influences
  on the use of assault weapons and other guns in violent and drug trafficking crime. Therefore, we commend recent
  BATF efforts to encourage local law enforcement agencies to request traces on more of the guns they seize from
  criminals. As a complement, however, we recommend short-term research on departmental policies and officers’
  decisions that affect the probability that a specific gun recovered in crime will be submitted for tracing.

            Unfortunately, we have been unable to this point to assemble much information regarding trends in the
  criminal use of large-capacity magazines or guns capable of accepting these magazines. This gap is especially
  salient for the following reasons: the large-capacity magazine is perhaps the most functionally important
  distinguishing feature of assault weapons; the magazine ban affected more gun models than did the more visible
  bans on designated assault weapons; and based on 1993 BATF trace requests, non-banned semiautomatic weapons
  accepting large-capacity magazines were used in more crimes than were the banned assault weapons. For these
  reasons, we recommend that BATF and state/local law enforcement agencies encourage concerted efforts to record
  the magazines with which confiscated firearms are equipped — information that frequently goes unrecorded under
  present practice — and we recommend further research on trends, at both the national and local levels, on the




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  criminal use of guns equipped with large-capacity magazines. Finally, to support this research and a variety of
  strategic objectives for reducing the consequences of violent and drug trafficking crime, consideration should be
  given to studying the costs and benefits of legislative and administrative measures that would encourage
  recording, tracing, and analyzing magazines recovered in crimes, with or without guns.


  1.4.     CONSEQUENCES OF ASSAULT WEAPON USE

           1.4.1. Findings
           A central argument for special regulation of assault weapons and large-capacity magazines is that the
  rapid-fire/multi-shot capabilities they make available to gun offenders increase the expected number of deaths per
  criminal use, because an intended victim may receive more wounds, and more people can be wounded, in a short
  period of time. Therefore, we examined trends in three consequences of gun use: gun murders, victims per gun
  homicide incident, and wounds per gunshot victim.

           Our ability to discern ban effects on these consequences is constrained by a number of facts. The
  potential size of ban effects is limited because the banned weapons and magazines were used in only a minority of
  gun crimes — based on limited evidence, we estimate that 25% of gun homicides are committed with guns
  equipped with large-capacity magazines, of which assault weapons are a subset. Further, the power to discern
  small effects statistically is limited because post-ban data are available for only one full calendar year. Also, a
  large stock still exists of grandfathered magazines as well as grandfathered and legal-substitute guns with assault
  weapon characteristics.

            Our best estimate of the impact of the ban on state level gun homicide rates is that it caused a reduction
  of 6.7% in gun murders in 1995 relative to a projection of recent trends. However, the evidence is not strong
  enough for us to conclude that there was any meaningful effect (i.e., that the effect was different from zero). Note
  also that a true decrease of 6.7% in the gun murder rate attributable to the ban would imply a reduction of 27% in
  the use of assault weapons and large-capacity guns and no effective substitution of other guns. While we do not
  yet have an estimate of large-capacity magazine use in 1995, our nationwide assessment of assault weapon
  utilization suggested only an 8 to 20 percent drop in assault weapon use in 1995.

            Using a variety of national and local data sources, we found no statistical evidence of post-ban decreases
  in either the number of victims per gun homicide incident, the number of gunshot wounds per victim, or the
  proportion of gunshot victims with multiple wounds. Nor did we find assault weapons to be overrepresented in a
  sample of mass murders involving guns (see Appendix A).

           The absence of stronger ban effects may be attributable to the relative rarity with which the banned
  weapons are used in violent crimes. At the same time, our chosen measures reflect only a few of the possible
  manifestations of the rapid-fire/multi-shot characteristics thought to make assault weapons and large-capacity
  magazines particularly dangerous. For example, we might have found the use of assault weapons and large-
  capacity magazines to be more consequential in an analysis of the number of victims receiving any wound (fatal or
  non-fatal), in broader samples of firearm discharge incidents. Moreover, our comparisons did not control for
  characteristics of incidents and offenders that may affect the choice of weapon, the consequences of weapon use,
  or both.
            Recommendations: First, we recommend further study of the impact measures examined in this
  investigation. Relatively little time has passed since the implementation of the ban. This weakens the ability of
  statistical tests — particularly those in our time-series analyses — to discern meaningful impacts. Moreover, the




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  ban's effects on the gun market are still unfolding. Hence, the long term consequences of the ban may differ
  substantially from the short term consequences which have been the subject of this investigation.

           Therefore, we recommend updating the state-level analysis of gun murder rates as more data become
  available. Similarly, investigations of trends in wounds per gunshot victim could be expanded to include longer
  post ban periods, larger numbers of jurisdictions, and, wherever possible, data on both fatal and non-fatal victims.
  Examination of numbers of total wounded victims in both fatal and non-fatal gunshot incidents may also be useful.
  In some jurisdictions, it may also be possible to link trends in the types of guns seized by police to trends in
  specific weapon-related consequence measures.

            Second, we recommend further research on the role of assault weapons and large-capacity magazines in
  murders of police officers. Our analysis of police murders has shown that the fraction of police murders involving
  assault weapons is higher than that for civilian murders. This suggests that gun murders of police should be more
  sensitive to the ban than gun murders in general. Yet, further research, considering such factors as numbers of
  shots fired, wounds inflicted, and offender characteristics, is necessary for a greater understanding of the role of
  the banned weaponry in these murders.

            Along similar lines, we strongly recommend in-depth, incident-based research on the situational
  dynamics of both fatal and non-fatal gun assaults to gain greater understanding of the roles of banned and other
  weapons in intentional deaths and injuries. A goal of this research should be to determine the extent to which
  assault weapons and guns equipped with large-capacity magazines are used in homicides and assaults and to
  compare the fatality rates of attacks with these weapons to those with other firearms. A second goal should be to
  determine the extent to which the properties of the banned weapons influence the outcomes of criminal gun attacks
  after controlling for important characteristics of the situations and the actors. In other words, how many
  homicides and non-fatal gunshot wound cases involving assault weapons or large-capacity magazines would not
  occur if the offenders were forced to substitute other firearms and/or small capacity magazines? In what
  percentage of gun attacks, for instance, does the ability to fire more than 10 rounds without reloading influence the
  number of gunshot wound victims or determine the difference between a fatal and non-fatal attack? In this study,
  we found some weak evidence that victims killed with guns having large-capacity magazines tend to have more
  bullet wounds than victims killed with other firearms, and that mass murders with assault weapons tend to involve
  more victims than those with other firearms. However, our results were based on simple comparisons; much more
  comprehensive research should be pursued in this area.

           Future research on the dynamics of criminal shootings, including various measures of the number of shots
  fired and wounds inflicted, would provide information on possible effects of the assault weapon and magazine ban
  that we were unable to estimate, as well as useful information on violent gun crime generally. Such research
  requires linking medical and law enforcement data sets on victim wounds, forensic examinations of recovered
  firearms and magazines, and police incident reports.




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                  2.        BACKGROUND FOR THE IMPACT ASSESSMENT
            Title XI of the Violent Crime Control and Law Enforcement Act of 1994 (the Crime Control Act), took
  effect on its enactment date, September 13, 1994. Subtitle A, which is itself known as the Public Safety and
  Recreational Firearms Use Protection Act, contains three provisions related to “semiautomatic assault weapons.”
  Section 110102 (the assault weapons ban) made unlawful the manufacture, transfer, or possession of such weapons
  under 18:922 of the United States Code. Section 110103 (the magazine ban) made unlawful the transfer or
  possession of “large-capacity ammunition feeding devices”: detachable magazines that accept more than 10
  rounds1 and can be attached to semi- or automatic firearms. Section 110104 (the evaluation requirement) required
  the Attorney General to study the effect of these prohibitions and “in particular...their impact, if any, on violent
  and drug trafficking crime.” The evaluation requirement specified a time period for the study: an 18-month
  period beginning 12 months after the enactment date of the Act. It also required the Attorney General to report the
  study results to Congress 30 months after enactment of the Crime Control Act — March 13, 1997. The National
  Institute of Justice awarded a grant to the Urban Institute to conduct the mandated study, and this report contains
  the findings.

            This chapter first explains the legislation in additional detail, then discusses what is already known about
  the role of the banned weapons in crime, and finally explains certain relevant features of firearms markets.


  2.1.      THE LEGISLATION
            Effective on its enactment date, September 13, 1994, Section 110102 of Title XI banned the manufacture,
  transfer, and possession of “semiautomatic assault weapons.” It defined the banned items defined in four ways:

  1)        Named guns: specific rifles and handguns, available from ten importers and manufacturers: Norinco,
            Mitchell, and Poly Technologies (all models, popularly known as AKs); Israeli Military Industries UZI
            and Galil models, imported by Action Arms; Beretta Ar 70 (also known as SC-70); Colt AR-15; Fabrique
            National FN/FAL, FN/LAR, FN/FNC), SWD M-10, M-11, M-11/9, and M-12; Steyr AUG; and
            INTRATEC TEC-9, TEC-DC9, and TEC-22;

  2)        Exact copies: “Copies or duplicates of the [named guns] in any caliber”;

  3)        Revolving cylinder shotguns: Large-capacity shotguns, with the Street Sweeper and Striker 12 named as
            examples; and

  4)        Features-test guns: semiautomatic weapons capable of accepting detachable magazines and having at
            least two named features.2

            Several provisions of the ban require further explanation because they affected our approach to this study.
  First, the ban exempted several categories of guns: a long list of specific models specified in Appendix A to Sec.


            1 Or “that can be readily restored or converted to accept.”


             2 For rifles, the named features were: a folding or telescoping stock; a pistol grip that protrudes below the firing
  action; a bayonet mount; a flash suppresser or threaded barrel designed to accommodate one; a grenade launcher. For pistols,
  the features were a magazine outside the pistol grip; a threaded barrel (capable of accepting a barrel extender, flash suppresser,
  forward handgrip, or silencer); a heat shroud that encircles the barrel; a weight of more than 50 ounces unloaded; and a
  semiautomatic version of an automatic firearm. For shotguns, named features included the folding or telescoping stock,
  protruding pistol grip, fixed magazine capacity over 5 rounds, and ability to accept a detachable magazine.




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  110102; bolt- or pump-action, inoperable, and antique guns; semiautomatic rifles and shotguns that cannot hold
  more than 5 rounds; and firearms belonging to a unit of government, a nuclear materials security organization, a
  retired law enforcement officer, or an authorized weapons tester.

           Second, the prohibitions exempted weapons and magazines that met the definitional criteria but were
  legally owned (by manufacturers, distributors, retailers, or consumers) on the effective date of the Act. Such
  “grandfathered” guns may legally be sold, resold, and transferred indefinitely. Estimates of their numbers are
  imprecise. However, a 1992 report by the American Medical Association reported an estimate of 1 million
  semiautomatic assault weapons manufactured for civilian use, plus 1.5 million semiautomatic M-1 rifles sold as
  military surplus (AMA Council, 1992). To distinguish grandfathered guns from exempt guns that might be stolen
  or diverted to illegal markets, the ban required the serial numbers of guns in the banned categories to clearly
  indicate their dates of manufacture.

            Third, the ban on exact copies of the named guns did not prohibit the manufacture, sale, or transfer of
  legal substitutes, most of which first appeared around or after the effective date of the ban. Legal substitutes
  differ from banned exact copies by lacking certain named features or by incorporating minimal design
  modifications such as slight reductions of pistol barrel length, thumbholes drilled in a rifle stock, or the like.
  Manufacturers named some legal substitutes by adding a designation such as “Sporter,” “AB,” (After Ban), or
  “PCR” (Politically Correct Rifle) to the name of the corresponding banned weapon.

          Section 110103 of Title XI banned large-capacity magazines, i.e., magazines that accept ten or more
  rounds of ammunition. Its effective date, exemptions, and grandfathering provisions correspond to those
  governing firearms under Section 110102. This provision exempts attached tubular devices capable of operating
  only with .22 caliber rimfire ammunition.

          Section 110104 required the study that is the subject of this report: a study of the effect of the ban, citing
  impacts on violent crime and drug trafficking in particular. It also specified the time period of the study: to begin
  12 months after enactment, to be conducted over an 18-month period, and to be reported to Congress after 30
  months. Finally, Title XI included a “sunset provision” for the ban, repealing it 10 years after its effective date.

           Subtitles B and C of Title XI are relevant to this study because they took effect at the same time, and so
  special efforts are needed to distinguish their effects from those effects of the assault weapon and magazine bans
  in Subtitle A. With certain exemptions, Subtitle B bans the sale, delivery, or transfer of handguns to juveniles less
  than 18 years old. This juvenile handgun possession ban applies, of course, to assault pistols and to other
  semiautomatic handguns that are frequently recovered in crimes. Subtitle C requires applicants for new and
  renewal Federal Firearms Licenses — the Federal dealers’ licenses — to submit a photograph and fingerprints
  with their applications and to certify that their businesses will comply with all state and local laws pertinent to
  their business operations. These subtitles gave force of law to practices that BATF had begun early in 1994, to
  require the fingerprints and photographs, and to cooperate with local law enforcement agencies in investigations of
  Federal Firearms Licensees’ (FFLs) compliance with local sales tax, zoning, and other administrative
  requirements. These BATF practices are believed to have contributed to an 11 percent reduction in licensees
  (from 281,447 to 250,833) between January and the effective date of the Crime Act, and a subsequent 50 percent
  reduction to about 124,286 by December 1996 (U.S. Department of Treasury, 1997). These practices and subtitles
  were intended to discourage license applications and renewals by the subset of licensees least likely to comply
  with laws governing sales to felons, juveniles, and other prohibited purchasers.




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  2.2.     CONTEXT FOR THE ASSAULT WEAPONS BAN
           At least three considerations appear to have motivated the Subtitle A bans on assault weapons and large-
  capacity magazines: arguments over particularly dangerous consequences of their use, highly publicized incidents
  that drew public attention to the widespread availability of military-style weapons, and the disproportionate use of
  the banned weapons in crime.

            The argument over dangerous consequences is that the ban targets a large array of semiautomatic
  weapons capable of accepting large-capacity magazines (i.e., magazines holding more than 10 rounds).
  Semiautomatic firearms permit a somewhat more rapid rate of fire than do non-semiautomatics. When combined
  with large-capacity magazines, semiautomatic firearms enable gun offenders to fire more times and at a faster
  rate, thereby increasing the probability that offenders hit one or more victims at least once.

            There is very little empirical evidence, however, on the direct role of ammunition capacity in determining
  the outcomes of criminal gun attacks (see Koper 1995). The limited data which do exist suggest that criminal gun
  attacks involve three or fewer shots on average (Kleck 1991, pp.78-79; McGonigal et al. 1993, p.534). Further,
  there is no evidence comparing the fatality rate of attacks perpetrated with guns having large-capacity magazines
  to those involving guns without large-capacity magazines (indeed, there is no evidence comparing the fatality rate
  of attacks with semiautomatics to those with other firearms). But in the absence of substantial data on the
  dynamics of criminal shootings (including the number of shots fired and wounds inflicted per incident), it seems
  plausible that offenders using semiautomatics, especially assault weapons and other guns capable of accepting
  large-capacity magazines, have the ability to wound more persons, whether they be intended targets or innocent
  bystanders (see Sherman et al. 1989). This possibility encouraged us to attempt to estimate the effect of the ban
  on both the number of murder victims per incident and the number of wounds per murder victim.

            The potential of assault weapons to kill multiple victims quickly was realized in several dramatic public
  murder incidents that occurred in the decade preceding the ban and involved assault weapons or other
  semiautomatic firearms with large-capacity magazines (e.g., see Cox Newspapers 1989; Lenett 1995). In one of
  the worst mass murders ever committed in the United States, for example, James Huberty killed 21 persons and
  wounded 19 others in a San Ysidro, California, McDonald's on July 18, 1984, using an Uzi handgun and a shotgun.
  On September 14, 1989, Joseph T. Wesbecker killed seven persons and wounded thirteen others at his former
  workplace in Louisville, Kentucky before taking his own life. Wesbecker was armed with an AK-47 rifle, two
  MAC-11 handguns, and a number of other firearms. One of the most infamous assault weapon cases occurred on
  January 17, 1989, when Patrick Edward Purdy used an AK-47 to open fire on a schoolyard in Stockton, California,
  killing 5 children.

           There were additional high profile incidents in which offenders using semiautomatic handguns with
  large-capacity magazines killed large numbers of persons. In October of 1991, a gunman armed with a Glock 17, a
  Ruger P89 (both the Glock and Ruger models are semiautomatic handguns capable of accepting magazines with
  more than 10 rounds), and several large-capacity magazines killed 23 people and wounded another 19 in Killeen,
  Texas. In a December 1993 incident, six people were killed and another 20 were wounded on a Long Island
  commuter train by a gunman equipped with a semiautomatic pistol and large-capacity magazines.

            These events have been cited as jarring the public consciousness, highlighting the public accessibility of
  weapons generally associated with military use, and demonstrating the apparent danger to public health posed by
  semiautomatic weapons with large-capacity magazines. These considerations, along with the claim that large-
  capacity magazines were unnecessary for hunting or sporting purposes, reportedly galvanized public support for
  the initiative to ban these magazines (Lenett, 1995).




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           Debate over assault weapons raged for several years prior to the passage of the 1994 Crime Act.
  Throughout that time, different studies, news reports, policy debates, and legal regulations employed varying
  definitions of assault weapons. Yet, in general terms, the firearms targeted in these debates and those ultimately
  prohibited by the federal government’s ban consist of various semiautomatic pistols, rifles, and shotguns, most of
  which accept detachable ammunition magazines and have military-style features. Mechanically, the most
  important features of these guns are their semiautomatic firing mechanisms and the ability to accept detachable
  magazines, particularly large-capacity magazines. However, these traits do not distinguish them from many other
  semiautomatic weapons used for hunting and target shooting. Therefore, some have argued that assault weapons
  differ only cosmetically from other semiautomatic firearms (Kleck 1991; Cox Newspapers 1989).

           Nonetheless, proponents of assault weapons legislation argued that these weapons are too inaccurate to
  have much hunting or sporting value. Furthermore, they argued that various features of these weapons, such as
  folding stocks and shrouds surrounding their barrels, have no hunting or sporting value and serve to make these
  weapons more concealable and practical for criminal use (Cox Newspapers 1989). To the extent that these
  features facilitated criminal use of long guns or handguns with large-capacity magazines, one could hypothesize
  that there would be an increase in the deadliness of gun violence. Proponents also claimed that some of these
  weapons, such as Uzi carbines and pistols, could be converted rather easily to fully automatic firing.3
           To buttress these arguments, proponents of assault weapons legislation pointed out that assault weapons
  are used disproportionately in crime. According to estimates generated prior to the federal ban, assault weapons
  represented less than one percent of the over 200 million privately-owned guns in the United States; yet they were
  reported to account for 8% of all firearms trace requests submitted to BATF from 1986 to 1993 (Lenett 1995; also
  see Zawitz 1995). Moreover, these guns were perceived to be especially attractive to offenders involved in drug
  dealing and organized crime, as evidenced by the relatively high representation of these weapons among BATF
  gun trace requests for these crimes. To illustrate, a late 1980s study of BATF trace requests reported that nearly
  30% of the guns tied to organized crime cases were assault weapons, and 12.4% of gun traces tied to narcotics
  crimes involved these guns (Cox Newspapers 1989, p.4).

           Further, most assault weapons combine semiautomatic firing capability with the ability to accept large-
  capacity magazines and higher stopping power (i.e., the ability to inflict more serious wounds).4 Thus, assault
  weapons would appear to be a particularly lethal group of firearms. However, this is also true of many non-banned
  semiautomatic firearms. Moreover, there have been no studies comparing the fatality rate of attacks with assault
  weapons to those committed with other firearms.




           3 Fully automatic firearms, which shoot continuously as long as the trigger is held down, have been illegal to own in
  the U.S. without a federal permit since 1934. BATF has the responsibility of determining whether particular firearm models are
  too easily convertible to fully automatic firing. Earlier versions of the SWD M series assault pistols made by RPB Industries
  were met with BATF disapproval for this reason during the early 1980s.


           4 Determinants of firearm stopping power include the velocity, size, shape, and jacketing of projectiles fired from a
  gun. Notwithstanding various complexities, the works of various forensic, medical, and criminological researchers suggest we
  can roughly categorize different types of guns as inflicting more or less lethal wounds (see review in Koper 1995). At perhaps
  the most general level, we can classify shotguns, centerfire (high-veolocity) rifles, magnum handguns, and other large caliber
  handguns (generally, those larger than .32 caliber) as more lethal firearms and small caliber handguns and .22 caliber rimfire
  (low velocity) rifles as less lethal firearms. Most assault weapons are either high velocity rifles, large caliber handguns, or
  shotguns.




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           Nonetheless, the involvement of assault weapons in a number of mass murder incidents such as those
  discussed above provided an important impetus to the movement to ban assault weapons. Commenting on Patrick
  Purdy's murder of five children with an AK-47 rifle in Stockton, California in 1989, one observer noted, "The
  crime was to raise renewed outcries against the availability of exotic military-style weapons in our society. This
  time police forces joined forces with those who have traditionally opposed the widespread ownership of guns"
  (Cox Newspapers 1989, p.i). Later that year, California became the first state in the nation to enact an assault
  weapons ban, and the federal government enacted a ban on the importation of several foreign military-style rifles.


  2.3.     ASSAULT WEAPONS AND CRIME
            Table 2-1 describes the named guns banned by Subtitle A in terms of their design, price, pre-ban legal
  status, and examples of legal substitutes for the banned guns. The table also reports counts of BATF trace
  requests — law enforcement agency requests for BATF to trace the recorded purchase history of a gun. Trace
  counts are commonly used to compare the relative frequencies of gun model uses in crime, although they are
  subject to biases discussed in the next chapter. Together, the named guns and legal substitutes accounted for 3,493
  trace requests in 1993, the last full pre-ban year. This represented about 6.3 percent of all 55,089 traces requested
  that year.

           Of the nine types of banned weapons shown in Table 2-1, five are foreign-made: AKs, UZI/ Galil, Beretta
  Ar-70, FN models, and the Steyr AUG. Together they accounted for only 394 BATF trace requests in 1993, and
  281 of those concerned Uzis. There are at least three reasons for these low frequencies. First, imports of all of
  them had been banned under the 1989 assault weapon importation ban. Second, the Blue Book prices of the UZI,
  FN models, and Steyr AUG were all high relative to the prices of guns typically used in crime. Third, the FN and
  Steyr models lack the concealability that is often desired in criminal uses.

          Among the four domestically produced banned categories, two handgun types were the most frequently
  submitted for tracing, with 1,377 requests for TEC models and exact copies, and 878 traces of SWD’s M-series.
  Table 2-1 also reports 581 trace requests for Colt AR-15 rifles, 99 for other manufacturers’ exact copies of the
  AR-15, and a handful of trace requests for Street Sweepers and Berettas.




                                                      Exhibit
                                                      12      6
                                                         0178
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  Table 2-1.       Description of firearms banned in Title XI

   Name of firearm                                                       1993 Blue Book    Pre-ban Federal       1993 trace         Examples of legal
                         Description                                     price             legal status          request count      substitutes

   Avtomat               Chinese, Russian, other foreign and             $550 (plus 10-    Imports banned in     87                 Norinco NHM
   Kalashnikov (AK)      domestic: .223 or 7.62x39mm cal., semi-         15% for folding   1989                                     90/91
                         auto Kalashnikov rifle, 5, 10*, or 30*          stock models)
                         shot mag., may be supplied with bayonet.

   UZI, Galil            Israeli: 9mm, .41, or .45 cal. semi-auto        $550-$1050        Imports banned in     281 UZI
                         carbine, mini-carbine, or pistol.               (UZI)             1989
                                                                                                                 12 Galil
                         Magazine capacity of 16, 20, or 25,
                                                                         $875-$1150
                         depending on model and type (10 or 20
                                                                         (Galil)
                         on pistols).

   Beretta Ar-70         Italian: .222 or .223 cal., semi-auto           $1050             Imports banned in     1
                         paramilitary design rifle, 5, 8, or 30 shot                       1989
                         mag.

   Colt AR-15            Domestic: .Primarily 223 cal. paramilitary      $825-$1325        Legal (civilian       581 Colt           Colt Sporter,
                         rifle or carbine, 5-shot magazine, often                          version of military                      Match H-Bar,
                                                                                                                 99 Other
                         comes with two 5-shot detachable mags.                            M-16)                                    Target.
                                                                                                                 manufacturers
                         Exact copies by DPMS, Eagle, Olympic,
                                                                                                                                    Olympic PCR
                         and others.
                                                                                                                                    Models.
   FN/FAL,               Belgian design: .308 Winchester cal.,           $1100-$2500       Imports banned in     9                  L1A1 Sporter
   FN/LAR, FNC           semi-auto rifle or .223 Remington combat                          1989                                     (FN, Century)
                         carbine with 30-shot mag. Rifle comes
                         with flash hider, 4-position fire selector
                         on automatic models. Manufacturing
                         discontinued in 1988.

   SWD M-10, M-          Domestic: 9mm paramilitary semi-auto            $215              Legal                 878                Cobray PM-11,
   11, M-11/9, M-12      pistol, fires from closed bolt, 32-shot mag.                                                               PM12
                         Also available in fully automatic
                                                                                                                                    Kimel AP-9, Mini
                         variation.
                                                                                                                                    AP-9

   Steyr AUG             Austrian: .223 Remington/5.56mm cal.,           $2500             Imports banned in     4
                         semi-auto paramilitary design rifle.                              1989


   TEC-9, TEC*DC-        Domestic: 9mm semi-auto paramilitary            $145-$295         Legal                 1202 Intratec      TEC-AB
   9, TEC-22             design pistol, 10** or 32** shot mag.; .22
                                                                                                                 175 Exact copies
                         LR semi-auto paramilitary design pistol,
                         30-shot mag.

   Revolving             Domestic: 12 gauge, 12-shot rotary mag.,        $525***           Legal                 64 SWD Street
   Cylinder Shotguns     paramilitary configuration, double action.                                              Sweepers

     * The 30-shot magazine was banned by the 1994 Crime Act, and the 10-shot magazine was introduced as a result.
    ** The 32-shot magazine was banned by the 1994 Crime Act, and the 10-shot magazine was introduced as a result.
   *** Street Sweeper
   Source: Blue Book of Gun Values, 17th Edition, by S.P. Fjestad, 1996.


           Although the banned weapons are more likely than most guns to be used in crime, they are so rare that
  only 5 models appeared among the BATF National Tracing Center list of the 50 most frequently traced guns in
  1993: the SWD M-11/9 (659 trace requests, ranked 8), the TEC-9 (602 requests, ranked 9), the Colt AR-15 (581
  requests, ranked 11), the TEC-DC9 (397 requests, ranked 21), and the TEC-22 (203, ranked 48). In addition, the
  list named eight unbanned guns that accept banned large-capacity magazines: the Glock 17 pistol (509 requests,
  ranked 13), the Ruger P85 pistol (403 requests, ranked 20), the Ruger P89 pistol (361 requests, ranked 24), the




                                                                       Exhibit
                                                                       13      6
                                                                          0179
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  Glock 19 pistol (339 requests, ranked 28), the Taurus PT92 (282 requests, ranked 31), the Beretta/FI Industries
  Model 92 pistol (270 requests, ranked 33), the Beretta Model 92 (264 requests, ranked 34), and the Ruger Mini-14
  rifle (255 requests, ranked 36).

           In contrast, the list of ten most frequently traced guns is dominated by inexpensive small-caliber
  semiautomatic handguns not subject to the ban. These included the Raven P-25 (1,674 requests, ranked 1), the
  Davis P380 (1,539 requests, ranked 2), the Lorcin L-380 (1,163 requests, ranked 3), the Jennings J-22 (714
  requests, ranked 6), and the Lorcin L-25 (691 requests, ranked 7). Other guns among the 1993 top ten list were:
  the Norinco SKS, a Chinese-made semi-automatic rifle (786 requests, ranked 4); the Mossberg 500 .12-gauge
  shotgun (742 requests, ranked 5), and the Smith & Wesson .38 caliber revolver (596 requests, ranked 10). None
  of these are subject to the assault weapon ban.

           The relative infrequency of BATF trace requests for assault weapons is consistent with other findings
  summarized in Koper (1995). During the two years preceding the 1989 import ban, the percentage of traces
  involving assault weapons reportedly increased from 5.5 to 10.5 percent for all crimes (Cox Newspapers, n.d., p.4),
  and was 12.4 percent for drug crimes. Because law enforcement agencies are thought to request BATF traces more
  frequently in organized crime and drug crime cases, many criminal researchers (including ourselves) believe that
  raw trace request statistics overstate the criminal use of assault weapons in crime. Based on more representative
  samples, Kleck (1991) reports that assault weapons comprised 3.6 percent or less of guns confiscated from most of
  the Florida agencies he surveyed, with only one agency reporting as high as 8 percent. Similarly, Hutson et al.
  (1994) report that assault weapons were involved in less than one percent of 1991 Los Angeles drive-by shootings
  with juvenile victims. Based on his reanalysis of 1993 New York City data, Koper (1995) concluded that assault
  weapons were involved in only 4 percent of the 271 homicides in which discharged guns were recovered and
  6.5 percent of the 169 homicides in which ballistics evidence positively linked a recovered gun to the crime.

           Koper (1995) also summarizes findings which suggest that criminal self-reporting of assault weapon
  ownership or use may have become “trendy” in recent years, especially among young offenders. The percentages
  of offenders who reported ever using weapons in categories that may have included assault weapons was generally
  around 4 percent in studies conducted during the 1980s, but rose to the 20- to 30-percent range in surveys of youth
  reported since 1993, when publicity about such weapons was high (see, e.g., Knox et al., 1994; Sheley and Wright,
  1993).


  2.4.    MARKETS FOR ASSAULT WEAPONS AND OTHER FIREARMS
            Predicting effects of the bans on assault weapons and large-capacity magazines requires some basic
  knowledge of firearms markets. The Federal Bureau of Alcohol, Tobacco and Firearms (BATF) licenses persons
  to sell or repair firearms, or accept them as a pawnbroker under the Gun Control Act of 1968. Cook et al. (1995,
  p.73) summarized the relevant characteristics of a Federal firearms licensee (FFL) as follows. Licenses are issued
  for three years renewable, and they allow Federal Firearm licensees to buy guns mail-order across state lines
  without a background check or a waiting period. Starting well before the 1994 Crime Act, applicants had to state
  that they were at least 21 years old and provide a Social Security number, proposed business name and location,
  and hours of operation. Since the 1968 Omnibus Crime Control and Safe Streets Act, FFL applicants have had to
  state that they were not felons, fugitives, illegal immigrants, or substance abusers, and that they had never
  renounced their American citizenship, been committed to a mental institution, or dishonorably discharged from
  the military.

           The Gun Control Act of 1968 made these same categories of persons ineligible to purchase a gun from a
  licensee and required would-be purchasers to sign statements that they were not ineligible purchasers. The 1968




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  Act also requires FFLs to retain the records of each sale and a running log of acquisitions and dispositions of all
  guns that come into their possession. In 1993, the Brady Handgun Violence Prevention Act added several more
  requirements on handgun sales by FFLs; the focus on handguns reflected their disproportionate involvement in
  crime. Under the Brady Act, licensed dealers5 became required to obtain a photo ID from each would-be handgun
  purchaser, to verify that the ID described the purchaser, to notify the chief law enforcement officer (CLEO) of the
  purchaser’s home of the attempt to purchase, and to wait five business days before completing the sale, allowing
  the CLEO to verify eligibility and notify the seller if the purchaser is ineligible. The Brady Act also raised the fee
  for the most common license, Type 1 (retail), from $10.00 per year to $200.00 for the first three years and $90.00
  for each three-year renewal.

           Subtitle C of Title XI which took effect simultaneously with the 1994 assault weapons ban strengthened
  the requirements on FFLs and their customers in several ways, including the following. To facilitate fingerprint-
  based criminal history checks and to deter applicants who feared such checks, Subtitle C required FFL applicants
  to submit fingerprints and photographs; this ratified BATF practice that had begun in early 1994. To make FFLs
  more visible to local authorities, Subtitle C required applicants to certify that within 30 days they would comply
  with applicable local laws and required the Secretary of the Treasury to notify state and local authorities of the
  names and addresses of all new licensees. To help local law enforcement agencies recover stolen guns and to
  discourage licensees from retroactively classifying firearms they had sold without following Federally required
  procedures as “stolen,” Subtitle C introduced requirements for FFLs to report the theft or loss of a firearm to
  BATF and to local authorities within 48 hours.

           Assault weapons and other firearms are sold in primary and secondary markets whose structure was
  described by Cook et al. (1995). Primary markets include transactions by FFLs. At the wholesale level, licensed
  importers and distributors purchase firearms directly from manufacturers and advertise them through catalogs and
  display ads in nationally distributed publications such as Shotgun News. Under the law, purchasers may include
  walk-ins who reside in the distributor’s state and FFLs from anywhere who can order guns by telephone, fax, or
  mail. Primary-market retailers include both large discount stores and smaller-volume independent firearms
  specialists who offer advice, gun service, sometimes shooting ranges, and other professional services of interest to
  gun enthusiasts. Some 25,000 independent dealers are organized as the National Alliance of Stocking Gun
  Dealers. At both the wholesale and retail level, primary-market sellers are legally required to verify that the
  purchaser is eligible under Federal laws, to maintain records of sales for possible future use in BATF traces of
  guns used in crime, and, since the effective date of the Crime Act, to report thefts of guns to BATF.

           Cook et al. (1995, p.68) also designated ”secondary markets,” in which non-licensed persons sell or give
  firearms to others. Sellers other than FFLs include collectors or hobbyists who typically resell used guns through
  classified ads in newspapers or “consumer classified sheets,” through newsletters oriented toward gun enthusiasts,
  or through word of mouth to family and friends. The secondary market also includes gun shows, “street sales”,
  and gifts or sales to family, friends, or acquaintances. Secondary transfers are not subject to the record-keeping
  requirements placed on FFLs.

            Gun prices in the primary markets are widely publicized, and barriers to entry are few, so that the market
  for legal purchasers is fairly competitive. For new guns, distributors’ catalogs and publications such as Shotgun
  News disseminate wholesale prices. Prices of used guns are reported annually in a Blue Book catalog (Fjestad,
  1996). Based on interviews with gun market experts, Cook et al. (1995, p.71) report that retail prices track


           5 The Brady Act exempted sellers in states that already had similar requirements to verify the eligibility of would-be
  gun purchasers.




                                                           Exhibit
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  wholesale prices quite closely. They estimate that retail prices to eligible purchasers generally exceed wholesale
  (or original-purchase) prices by 3–5 percent in the large chain stores, by about 15 percent in independent
  dealerships, and by about 10 percent at gun shows because overhead costs are lower.

           In contrast, purchasers who wish to avoid creating a record of the transaction and ineligible purchasers,
  including convicted felons who lack convincing false identification and wish to avoid the Brady Act eligibility
  check or waiting period, must buy assault weapons and other guns in the secondary markets, which are much less
  perfect. Prices for banned guns with accurate and complete descriptions are rarely advertised, for obvious reasons.
  Sellers do not supply catalogues and reference books that would help an untrained buyer sort out the bewildering
  array of model designations, serial numbers, and detachable features that distinguish legal from illegal guns. And
  competition is limited because sellers who are wary of possible undercover purchases by law enforcement
  agencies prefer to limit “off-the-books” sales either to persons known or personally referred to them, or to settings
  such as gun shows and streets away from home, where they themselves can remain anonymous.

            In general, ineligible purchasers face premium prices some 3 to 5 times legal retail prices.6 Moreover,
  geographic differentials persist that make interstate arbitrage, or trafficking, profitable from “loose regulation”
  states to “tight regulation” states. Among the banned assault weapons, for example, Cook et al. (1995, p.72, note
  56) report TEC-9s with an advertised 1991 price of $200 in the Ohio legal retail market selling for $500 on the
  streets of Philadelphia. By 1995, they report a legal North Carolina price of $300 compared to a street price of
  $1,000 in New York City. In 1992 interviews with Roth (1992), local and state police officers reported even
  higher premiums in secondary submarkets in which ineligible purchasers bartered drugs for guns: prices in terms
  of the street value of drugs reportedly exceeded street cash prices by a factor of about 5.

           The attraction that the higher premiums hold for FFLs as sellers has been noted by both researchers and
  market participants. Cook et al. (1995, p.72) note that licensed dealers willing to sell to ineligible purchasers or
  without Federal paperwork offer buyers the combined advantages of the primary and secondary markets: “they
  have the ability to choose any new gun in the catalog, but without the paperwork, delays, fees, and restrictions on
  who can buy.” Their data raise the possibility that up to 78 percent of FFLs in the Raleigh/Durham/Chapel Hill
  area of North Carolina may operate primarily or exclusively in secondary markets, since 40 percent had not given
  BATF a business name on their application, and an additional 38 percent provided “business” numbers that turned
  out to be home numbers (Cook et al., 1995:75). They note the consistency of their findings with a national
  estimate by the Violence Policy Center (1992 — More Gun Dealers than Gas Stations) that 80 percent of dealers
  nationwide do not have storefront retail firearms businesses. Jacobs and Potter (1995, p.106) note that because
  resource constraints have restricted BATF inspections to storefronts, dealers without storefronts may operate
  without regard to the Brady Act requirements, or presumably to other requirements as well.

           The opportunities for FFLs, whether operating from storefronts or not, to sell firearms in both the primary
  and secondary markets, were colorfully described in the 1993 statement of the National Alliance of Stocking Gun
  Dealers (NASGD) to the House and Senate Judiciary Committees regarding Subtitle C. After noting the
  substantial price premium for selling guns directly felons to and others on the street, the statement continues:

           Should you feel a little queasy about the late night hours and the face-to-face negotiations with
           the street folk, then you can become a “gun-show cowboy.” Simply drive by your friendly
           “distributor”..., load up 250 handguns, and hit the weekend circuit of gun shows...If you choose



           6 There are exceptions. Guns fired in crimes may sell at substantial discounts on the street because ballistic
  “fingerprints” may incriminate the subsequent owner. Drug addicts who find and steal guns during burglaries may sell or trade
  them for drugs at prices far below market.




                                                           Exhibit
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           to do the “cash and carry” routine then you will command higher prices than those who insist on
           selling lawfully with all the attendant ID and paperwork. However, since you will most probably
           be selling at gun shows in states other than where you are licensed, it is unlawful for you to sell
           and deliver on the spot, so you will not want to identify yourself either. Attendees (purchasers)
           at gun shows include the entire spectrum of the criminal element — felons, gangs who don’t
           have their own armorer, underage youth, buyers for underage youth, multistate gun runners and
           such...Though the gun show cowboy won’t achieve quite as high a profit as the street seller, he
           can sell in very high volume and easily earn the same dollar amount and feel a lot safer.
           (NASGD, 1993:2-3).

            Pierce et al. (1995) made an initial effort to investigate the extent and distribution of FFLs’ transactions
  in secondary submarkets through which firearms flow to criminal uses. Using the automated Firearms Tracing
  System (FTS) recently developed by BATF’s National Tracing Center, they explored several covariates of the
  distribution of traces in which a given FFL holder is named. They reported the highest mean number of traces for
  dealers in Maryland, Vermont, and Virginia. Other cross-tabulations indicated that currently active dealers
  operating at the addresses previously used by out-of-business dealers were more likely than average to be named
  in traces, which suggests that dealers who are active in secondary markets tend to reapply for licenses under new
  names. Finally, they reported a very high concentration of dealers in trace requests. While 91.6 percent of the
  dealers in the FTS database had never been named in a trace, 2,133 dealers, 0.8 percent of the total, had been
  named in 10 or more traces. Together, they were named in 65.7 percent of all traces conducted. An even smaller
  handful of 145 dealers’ names surfaced in 30,850 traces — 25.5 percent of the entire trace database. These
  findings indicated that the channels through which guns flow from FFLs to criminal users are more heavily
  concentrated than previously recognized.

            The channels described above through which firearms flow from licensed dealers (FFLs) and eligible
  purchasers to ineligible purchasers vary in terms of visibility.7 In primary markets, ineligible purchasers may buy
  guns from FFLs using fake identification themselves or using “straw purchasers” (eligible buyers acting as agents
  for ineligible buyers, unbeknownst to the FFL). In Cook and Leitzel’s (1996) terminology, these are “formal”
  transactions that create official records, but the records do not identify the actual consumer.

           We use the term “leakage” to designate channels through which guns flow from legal primary and
  secondary markets to ineligible purchasers. No leakage channel creates valid sales records; however, at least since
  1994, all are likely to generate stolen gun reports to BATF. Ineligible purchasers may buy guns informally (i.e.,
  without paperwork) from unethical FFLs at gun shows or through “street” or “back door” sales. To prevent
  informal sales from creating discrepancies between actual inventories and the acquisition/disposition records, the
  FFL may report them as stolen. Such transactions are indistinguishable from actual thefts, the other leakage
  channel.

            Guns may also leak from eligible non-FFL gun owners to ineligible owners through direct sales on the
  street or at gun shows, or through thefts. While non-FFL owners are not required to record sales or transfers of
  their guns, they may also wish to report a gun that they sell to an ineligible purchaser as stolen if they suspect it
  may be recovered in a future crime. Therefore, leakage in secondary markets may also be reflected in theft
  reports.




            7 While the law presumes ineligible purchasers to be more likely than eligible purchasers to use guns during crimes,
  eligible purchasers have, in fact, committed viable crimes with large-capacity firearms.




                                                           Exhibit
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                                         3.       ANALYSIS PLAN
            Subtitle A of Title XI banned the manufacture, transfer, and possession of assault weapons and large-
  capacity magazines. We hypothesized that the ban would produce direct effects in the primary markets for these
  weapons, that related indirect effects in secondary markets would reduce the frequency of their criminal use, and
  that the decrease in use would reduce such consequences as gun homicides, especially incidents involving multiple
  victims, multiple wounds, and killings of law enforcement officers. In this chapter, we explain our general
  strategy testing these hypotheses.


  3.1.    POTENTIAL BAN EFFECTS
           Figure 3-1 displays the ban effects that we hypothesized and the measures that we used to test those
  effects. As shown there, we anticipated potential effects on primary and secondary markets for the banned guns
  and magazines, potential reductions in their use in crime, and subsequent reductions in the consequences of
  criminal use. Although the available measures of any single effect are problematic, the problems differ by
  measure. Therefore, our approach was to conduct several small studies, each subject to different error sources,
  and then to integrate the findings of the separate studies.

           As shown in Figure 3-1, the market effects of interest included indicators of price, production, and
  “leakage” between primary and secondary markets. If the Subtitle A bans are to be effective in reducing criminal
  uses of the banned weapons and magazines, they must increase the prices of those items. Our price indicators
  were collected for banned guns, selected legal substitutes, large-capacity magazines, and, as comparison groups,
  comparable guns that should not have been directly affected by the ban. The data were the nationally advertised
  prices of distributors who ran display ads in Shotgun News continuously from January 1992 through mid-1996.
  Because these distributors sell guns simultaneously at the wholesale and retail levels, and because primary-market
  retail margins are small, we believe these prices offer a useful index of primary-market prices. We used hedonic
  price analysis to study trends. Annual production data were obtained from the Violence Policy Research Project,
  an organization that compiles BATF manufacturing data. We lacked post-ban data because release of the
  production statistics is delayed two years by law. Also, we had to make certain approximations because
  production statistics are not reported for specific models. Therefore, findings from our tabular analyses of
  production are less complete and more tentative than those about price. Finally, as discussed in Section 3.2, we
  defined “leakage” as the transfer of firearms to ineligible purchasers from licensed dealers and eligible
  purchasers. Because we argued there that leakage is likely to generate theft reports (either because the guns were
  transferred by theft or because a false theft report was used to conceal a sale to an ineligible purchaser), we
  measured leakage using counts of stolen gun reports to the FBI’s National Crime Information Center (NCIC).

            Our primary indicator of assault weapon use in crime is the volume of requests for BATF traces of guns
  recovered in crime. Trace request data have the advantage of providing a national picture, and they allow us to
  focus on two of the Congressional priorities for this study, violent crime and drug trafficking crime. They require
  special caution in interpretation, however, since trace requests are a small and unrepresentative sample of guns
  recovered in crime. We believe that our tabular analyses provide a defensible estimate of the short-term effects of
  Title XI on criminal use of the banned weapons. We attempted to supplement the national analysis with analyses
  of local trends in recovered assault weapons in representative samples of recovered guns from a number of law
  enforcement agencies, but could obtain the necessary data for only a few cities.




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  Figure 3-1.   Logic model for Public Safety and Recreational Firearms Use Protection Act impact study



                                                                                     Consequences of
        Title XI:             Primary &                   AW/Magazine                Criminal Use
        Subtitle A            Secondary                   Use in Crime
                                                                                     • Gun murders
                              Markets                     • Total                    • Victims per
                              • Price                     • Violent                     event
                              • Production                • Drug
        Title XI:                                                                    • Wounds per
        Subtitles             • “Leakage”                     trafficking               victim
        B&C                                                                          • LEOKA




           Finally, as shown in Figure 3-1, we used four indicators of the consequences of criminal use of assault
  weapons and semiautomatic weapons with large-capacity magazines: total gun murders by state, victims per
  criminal event involving gun murder, entry wounds per gunshot wound victim, and law enforcement officers killed
  in action. While these indicators all have logical relationships to use of the banned items, all have difficulties.
  Total gun murders is an insensitive indicator because attacks with assault weapons and other semiautomatics with
  large-capacity magazines account for only a fraction of all murders. Other consequences such as victims per event
  and wounds per victim are more specific to the banned weapons and magazines, as supporters argued during the
  ban debates, and assault weapons are more disproportionately used in killings of law enforcement officers than in
  other murders. However, available databases for measuring those impacts are difficult to analyze because they
  contain such small numbers of cases. And, for all the indicators, the existence of only one full post-ban year in
  available data may make the estimates too imprecise to discern short-run impacts even if they are large enough to
  be of policy interest. As a result, our findings about ban effects on consequences are especially tentative.

            We anticipated that market effects during the short-term period allowed for this study would be heavily
  influenced by expectations. Enactment of the ban was preceded by extensive publicity and debate, which afforded
  time for manufacturers, distributors, retailers, and collectors to speculate that the firearms being considered for
  ban coverage would eventually become expensive collectors’ items. Analogous experience from 1989 seemed
  instructive, because that year saw both a Federal ban on importation of assault rifles and a California ban
  analogous to Title XI. During the three months leading up to the importation ban, import license requests for
  assault rifles, which had numbered 40,000 in 1987 and 44,000 in 1988, swelled 10-fold to an annual rate of
  456,000 (AMA Council, 1992). It is not clear how rapidly the import surge flowed through the distribution chain
  from importers to consumers in the primary and secondary markets. Yet six months later, during the period
  leading up to a California ban and sentence enhancement, several police agencies reported sharp decreases in
  criminal use of assault rifles. At the time, observers attributed this seeming paradox to advance publicity that may
  have left the misimpression that the ban took effect when enacted, judicial anticipation of the enhancements in
  setting bond and imposing sentence, tips to police from law-abiding gun dealers sensitive to the criminal gun use
  that motivated the ban, and owners' reluctance to risk confiscation for misuse of their assault weapons, which had
  become more valuable in anticipation of the ban (Mathews, 1989). However, it is equally plausible that the
  speculative price increases for the banned weapons in formal markets at least temporarily bid assault weapons




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  away from ineligible purchasers who would more probably have used them in crimes (Cook and Leitzel, 1996).8
  Whether these short-run conditions would hold for the long run would depend on the extent to which grandfathered
  guns in the banned categories leaked into secondary markets over time through gun shows, “back door” sales, and
  thefts.

           Therefore, our objectives became to estimate ban-related effects on price, supply responses, and leakage
  from formal to informal markets; to estimate how these market effects influenced criminal assault weapon use;
  and to estimate trends in the consequences of that use. In accordance with the statutory study requirement, we
  placed special emphasis on the use of assault weapons in violent crime and drug trafficking crime wherever
  available data permitted.


  3.2.     GENERAL DESIGN STRATEGY
            Our general design strategies are to test whether the assault weapon and magazine bans interrupted trends
  over time in the outcome measures listed above. A variety of techniques exist for this general problem. They
  differ in terms of desirable qualities such as statistical power, robustness against various threats to the validity of
  findings, and precision; unfortunately, the techniques with more desirable properties are generally more
  demanding in terms of data requirements. Because of different data constraints, we employed a variety of
  methods, including various forms of time series and multiple regression analysis (i.e., pooled, cross-sectional time
  series analysis, hedonic price analysis, and Box-Jenkins interrupted time series models), simple before and after
  comparisons, and graphical displays. As a result, our conclusions about some measures are stronger than about
  others.

          Because we anticipated these circumstances, our approach to the Congressional mandate was to conduct a
  number of small-scale analyses of more-or-less readily available data, then to synthesize the results into our best
  judgment concerning the impacts of Title XI.9 We carried out three kinds of analyses of market effects:

  •        Hedonic price analyses of 1992–96 primary-market price trends for banned semiautomatic firearms,
           comparable unbanned firearms, and large-capacity magazines, using national distributors’ prices;

  •        Tabular analyses of gun production data through 1994, the latest available year;

  •        Pre-ban/post-ban comparisons and time series analyses of 1992–96 trends in “leakage” to illegal markets,
           as measured by guns reported stolen to FBI/NCIC.

  We carried out two kinds of analyses of assault weapon use:

  •        Graphical and tabular analyses of 1992–96 trends in requests for BATF traces of assault weapons
           recovered in crime, in both absolute terms and as a percentage of all requests;



            8 While unbanned, widely available, inexpensive semiautomatic pistols made by Lorcin, Davis, and other
  manufacturers are good (and perhaps superior) substitutes for the banned assault weapons in most criminal uses, they are not
  substitutes for speculative purposes.
           9 During the project, we abandoned early plans for several additional impact studies that we had contemplated. It
  proved impossible to analyze trends in enforcement of the ban because of the small numbers of matters referred to U.S.
  Attorneys and cases filed in U.S. District Court. We were forced to abandon plans to measure secondary-market prices of
  banned weapons from classified advertisements for two reasons: back issues of consumer classifieds proved unavailable, and
  the ads describe the weapons too imprecisely for consistent classification. Finally, we dropped plans to analyze multi-city
  assault weapon use data from the gun module of the Drug Use Forecasting (DUF) program for two reasons. Data exist only for
  the post-ban period, and we had concerns about the validity of respondents’ reports of assault weapon ownership and use.




                                                           Exhibit
                                                           20      6
                                                              0186
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  •         Pre-ban/post-ban comparisons and time series analyses of 1992–96 trends in counts of guns recovered in
            crime by selected local law enforcement agencies.

  We carried out the following analyses of the consequences of using assault weapons and semiautomatics with
  large-capacity magazines in crime:

  •         An analysis of state-level time-series data on gun murders which controls for potential influences of
            legal, demographic, and criminological importance;

  •         Pre-ban/post-ban comparisons and time series analyses of 1980–95 trends in victims per gun-homicide
            incident as measured nationally from Supplementary Homicide Reports;

  •         Descriptive analysis of the use of assault weapons in mass murders in the U.S. from 1992-present (see
            Appendix A);

  •         Graphical analyses and pre-ban/post-ban comparisons of 1992–96 trends in the number of wounds per
            gunshot victim using medical data from medical examiners and one hospital emergency department in
            selected cities, following Webster et al. (1992) and McGonigal et al. (1993);

  •         A tabular analysis of 1992–96 trends in law enforcement officers killed in action (LEOKA) with assault
            weapons.

            3.2.1. Threats to Validity and Use of Comparison Groups
           The validity of the techniques we applied depends on comparisons of trends between meaningful
  treatment and comparison groups, and we used two approaches to defining comparison groups. In general, to
  estimate ban effects on markets and uses, we compared trends between types of guns and magazines that were
  differentially affected by the ban. To estimate effects on the consequences of assault weapon use, we used pre-
  existing state-level bans on assault weapons and juvenile handgun possession to define comparison groups,
  because we assumed that such laws would attenuate the effects of the Federal ban.10

            Table 3-1 describes our general classification scheme for types of guns affected by the ban and the
  corresponding comparison groups.11 The comparisons are not always precise, and, as later chapters will make
  clear, they differ from measure to measure depending on the gun descriptors used in available databases.




            10 Although in theory, comparisons of markets and uses could be made simultaneously by weapon and jurisdiction,
  the disaggregation often leaves too little data for meaningful analysis.
            11 To be considered a potential comparison gun, we had to have at least anecdotal evidence that it had appeal beyond
  the community of sportsmen and collectors and/or evidence that it was among the 50 guns most commonly submitted for BATF
  traces. Without that constraint, it would have been unreasonable to consider it as being functionally similar to any banned gun,
  and data on prices and uses would have involved numbers too small to analyze. The trade-off is that the comparison guns may
  well have been subject to indirect substitution effects from the ban.




                                                             Exhibit
                                                             21      6
                                                                0187
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  Table 3-1.    Banned weapons and examples of unbanned comparison weapons

   Banned weapon                                                 Examples of Comparison weapon
   Named Domestic Assault Pistols
                                                                 -Lorcin, Davis semiautomatic pistols (less expensive)
   -SWD M-10, M-11, M-11/9, M-12, exact copies under
                                                                 -Glock, Ruger semiautomatic pistols (more expensive)
   other names, legal substitutes
   -TEC-9, TEC-DC9,TEC-22, exact copies by AA Arms,
   legal substitutes
   Named Domestic Assault Rifles
                                                                 -Ruger Mini-14 (unbanned domestic)
   -Colt AR-15, exact copies and legal substitutes
                                                                 -Maadi (legal import)
   Named Foreign Assault Weapons

   -UZI carbines and pistols                                     -SKS (recently restricted, widely available import)
   -AK models
   “Features Test” Guns
                                                                 See pistols and rifles above.
   Calico Light Weapons pistols and rifles
   Feather rifles
   Rare Banned Weapons
                                                                 No comparisons defined.
   Beretta Ar-70, FN models, Steyr AUG, revolving
   cylinder shotguns


            Of the banned weapons named in Table 3-1, the named domestic assault pistols are of greatest interest
  because they are more widely used in crime than rifles. We used two categories of pistols as comparison groups:
  the cheap small-caliber pistols by Lorcin and Davis that are among the most widely used guns in crime, and the
  more expensive Glock and Ruger pistols. The Glock and Ruger models took on additional significance by serving
  as indicators of non-banned handguns capable of accepting large-capacity magazines. For the AR-15 family of
  assault rifles, we used the Ruger Mini-14, SKS, and/or Maadi rifles in various comparisons. All are legally and
  widely available.

           We performed relatively few comparative analyses of named foreign assault weapons, the UZI, Galil, and
  AK weapons, because the 1989 import ban limited their availability during our observation period, and their legal
  status was unchanged by the Title XI ban. Nevertheless, because these guns remain in criminal use, we performed
  price analyses for their large-capacity magazines, which are also widely available from foreign military surplus.
  The SKS semiautomatic rifle, which was imported from China and Russia in fairly large numbers12 until recently,
  served as an unbanned comparison weapon for the banned foreign rifles. We carried out no analyses concerning
  the rarest assault weapons shown in Table 3-1.

           Because few available databases relate the consequences of assault weapon use to the make and model of
  weapon, most of our analyses of consequences are based on treatment and comparison jurisdictions defined in
  terms of their legal environments. Four states — California, Connecticut, Hawaii, and New Jersey — already


           12 Although a 1994 ban on Chinese imports of many goods including firearms nominally covered SKS rifles, large
  numbers continued to enter the country under Craig Amendment exemptions for goods already “on the water” at the time of the
  import ban.




                                                         Exhibit
                                                         22      6
                                                            0188
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  banned assault weapons before the Federal ban was enacted. Although state bans can be circumvented by
  interstate traffickers, we hypothesized that their existence would reduce the effects of the Federal ban in their
  respective states.

            The following chapters report findings of the analyses described here. Each chapter also explains in
  detail the tailoring of this general analysis plan to data constraints associated with each comparison.




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                       4.        GUN AND MAGAZINE MARKET EFFECTS
           The discussion of gun markets in Chapter 2 led us to several hypotheses. First, assuming that the primary
  and secondary markets were in equilibrium before Congress took up serious discussion of a ban on assault
  weapons and large-capacity magazines, we hypothesized that the opening of debate would stimulate speculative
  demand for the banned guns and magazines, leading to price increases in primary markets well in advance of the
  effective date of the ban. Second, we hypothesized that for the makes and models of assault weapons whose prices
  increased, quantities produced would also increase before the ban took effect. These “grandfathered guns” were
  exempted from the ban.

           Having been advised by a gun market expert13 that legal substitutes for many of the banned weapons
  appeared in primary markets around the effective date of the ban, it seemed doubtful that the speculative pre-ban
  price increases could hold under the combined weight of stockpiled grandfathered guns and the flows of new legal
  substitute models. Therefore, our third hypothesis was that the post-ban prices of banned guns and their legal
  substitutes would return to their pre-debate equilibrium levels.

           We presumed that assault weapons and large-capacity magazines are economic complements, so that, like
  bread and butter, an increase in the supply of either one should decrease its price and increase the price of the
  other. Therefore, our fourth hypothesis was that, for the oversupplied assault weapons and legal substitutes whose
  prices fell from their speculative peaks, their magazine prices14 should rise over time, as the stock of
  grandfathered magazines dwindled.

           Finally, we believed that for banned makes and models whose prices experienced a speculative price
  bubble around the time of the ban and then returned to pre-ban levels, speculative demand would fall eventually in
  both primary and secondary markets as expectations receded for a price “rebound” in primary markets. In
  contrast, demand by ineligible purchasers intending to use the banned weapons in crime should be relatively
  unaffected. Therefore, at least in the short run, relative prices should rise in secondary markets, where such
  “crime demand” is concentrated. We could not directly observe secondary-market prices. However, a price rise in
  secondary relative to primary markets should cause increased “leakage” to secondary markets, reflected in rising
  theft reports of assault weapons during post-ban periods of low prices in primary markets.

           The following sections report the methods we used to test these hypotheses about market effects of the
  ban, and our findings.


  4.1.     FINDINGS OF PRICE ANALYSIS

           4.1.1. Collection of Price Data
           To test our hypotheses about price trends, we sought to approximate the prices at which the banned items
  could be legally purchased throughout the country. After considering available data sources, we decided that
  monthly data would be sufficient and that the distributors’ prices advertised in national publications would offer a



           13 William R. Bridgewater, personal communication, September 1995.

           14 Magazines are make and model-specific, so that in general a magazine made for a specific rifle will not fit other
  rifles. However, a magazine made for a banned assault rifle like the Colt AR-15 will fit an exact copy like the Olympic Arms
  AR-15 and a legal substitute like the Colt AR-15 Sporter, which has the same receiver.




                                                          Exhibit
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                                                             0190
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  suitable index. Those prices are available to any FFL, and, as discussed in Chapter 2, primary-market FFLs
  generally re-sell within 15 percent of the distributors’ price.

           To collect the necessary data, we developed two forms. The first was designed to collect data on base
  price and accessorized price on 47 makes and models of guns. These included all guns named in Subtitle A along
  with selected legal substitutes and functional substitutes (e.g., low-capacity semiautomatic pistols that are
  commonly used in crimes). The second form recorded make, model, capacity, and price of any advertised large-
  capacity magazines. Both forms also recorded the distributors’ names and, for verification purposes, a citation to
  the location of the advertisements.

           We selected twelve gun and magazine distributors that had display ads on a monthly basis in Shotgun
  News throughout the entire period from April 1992 through June 1996. This period was selected to permit
  observation of rumored “Clinton election” price effects (i.e., increased speculative demand based on concern over
  possible new gun controls under a Democratic administration) as well as the entire period of debate over Subtitle
  XI and as long a post-ban period as possible. Display ad prices were coded on a monthly basis throughout the
  period except immediately around the ban, from August 1994 to October 1994, when prices were coded on a
  weekly basis to maximize statistical power during the period when we expected the largest price variances. The
  Shotgun News issue to be coded for each month was selected randomly, to avoid any biases that might have
  occurred if a particular part of the month was coded throughout the period. The number of advertised-price
  observations for any given gun varied from month to month over the period, as distributors chose to feature
  different makes and models. The number of price observations for a given make and model bears an unknown
  relationship to the number of transactions occurring at that price. The advertised prices should be considered
  approximations for at least three reasons. Advertised prices simultaneously represent wholesale prices to retail
  dealers and retail prices to “convenience dealers” who hold licenses primarily to receive guns for personal use by
  mail from out-of-state sources. There is anecdotal evidence of discounts from advertised prices for purchases in
  large quantities or by long-time friends of the distributors. Finally, the ads did not permit us to accurately record
  such price-relevant features as finish, included gun cases, and included magazines.

           4.1.2. Analysis
           Price trends for a number of firearms and large-capacity magazines were analyzed using hedonic price
  analysis (Berndt 1990, pp.102-149; also see Chow 1967). This form of analysis examines changes over time in the
  price of a product while controlling for changes over time in the characteristics (i.e., quality) of the product.
  Hedonic analysis employs a model of the form:

                                       Y = a + b * X + c1 * T1 + ... cn * Tn + e

  where Y is the logarithmic price of the product, X represents one or more quality characteristics affecting the price
  of the product, T1 through Tn are dummy variables for the time periods of interest, a is an intercept term, and e is
  an error term with standard properties. The coefficients c1 through cn provide quality-adjusted estimates of
  changes over time in the price of the product.

           In the analysis that follows, all price data were first divided by quarterly values of the gross domestic
  product price deflator as provided in Economic Indicators (August 1996). This quantity was then logged. In all
  models, we have omitted the time dummy for the period when the ban went into effect. Thus, the time coefficients
  are interpreted relative to the prices at the time of ban implementation. Because the outcome variable is logged,
  the coefficients on the time period indicators can be interpreted as multiplier effects (we illustrate this in more




                                                      Exhibit
                                                      25      6
                                                         0191
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  detail below). Whenever possible, we examined quarterly price trends. In a number of instances, however, sample
  size considerations required us to use semi-annual or annual periods.

           Our quality variables correspond to factors such as manufacturer, model, distributor, and, in some cases,
  weapon caliber. In addition, some of the models include an indicator variable denoting whether the firearm had
  special features or enhancements or was a special edition of any sort.15 We have used these variables as proxy
  variables for quality characteristics in the absence of more detailed measures of weapon characteristics. Further,
  we cannot fully account for the meaning of significant distributor effects. Distributor effects may represent
  unmeasured quality differentials in the merchandise of different distributors, or they may represent other
  differences in stock volume or selling or service practices between the distributors.16 Nevertheless, we included
  distributor because it was often a significant predictor of price. Thus, our models provide price trends after
  controlling for the mix of products and distributors advertised during each time period. Finally, the models
  presented below are parsimonious models in which we have retained only those quality indicators which proved
  meaningful in preliminary analyses.17

                      4.1.2.1. Gun Prices

            For the analysis of firearm prices, we chose groups of weapons based on both theoretical importance and
  data availability (a number of the guns included on our coding form appeared infrequently in the ads examined by
  project staff). We examined price trends in banned assault pistols and compared them to price trends for
  unbanned semiautomatic handguns commonly used in crime. In addition, we analyzed the price trend for the
  banned AR-15 assault rifle and its variations and compared it to trends for a number of similar semiautomatic
  rifles not subject to the ban.

            Our findings for handguns were consistent with our hypotheses. For the banned SWD group of assault
  pistols, the average advertised price peaked at the time the ban took effect, having risen from 68 percent of the
  peak a year earlier; within a year, the mean price fell to about 79 percent of peak. In contrast, advertised prices of
  unbanned Davis and Lorcin semiautomatic pistols commonly used in crime were essentially constant over the
  entire period.

           Rifle price trends were only partially consistent with our hypotheses. For semiautomatic rifles, prices of
  both the banned AR-15 family of assault rifles and a comparison group of unbanned semiautomatic rifles showed
  evidence of speculative peaks around the time the ban took effect, followed by a decrease to approximately pre-
  speculation levels.

          We interpret these findings as evidence of substantial speculative pre-ban demand for guns that were
  expected to be banned as assault weapons, while the underlying primary market for guns more commonly used in
  crime remained stable. While no plausible definition of assault weapon was ever likely to include the Davis and



            15 We note, however, that recording special features of the weapons was a secondary priority in the data collection
  effort; for this reason, and because the ads do not follow a consistent format, this information may not have been recorded as
  consistently as other data elements.
            16 We have heard speculations but have no evidence that distributors’ prices for a given quantity of a specific gun
  may be inversely related to the rigor of their verification of purchasers’ eligibility.
            17 We eliminated control variables that had t values less than one in absolute value. This generally improved the
  standard errors for the coefficients of interest (i.e., the coefficients for the time period indicators).




                                                              Exhibit
                                                              26      6
                                                                 0192
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  Lorcin pistols, Lenett (1995) describes considerable uncertainty during the Crime Act debate over precisely which
  rifles were to be covered.

           Assault pistols: The analysis of assault pistol prices focused on the family of SWD M10/M11/M11-
  9/M12 weapons.18 19 Our coders did not find enough ads for these weapons to conduct a quarterly price trend
  analysis; therefore, we examined semi-annual prices. Results are shown in Table 4-1. In general, the M10, M11,
  and M11/9 models were significantly more expensive than the M12 model and the new PM11 and PM12 models.
  Models with the Cobray trademark name had lower prices, while weapons made in .380 caliber commanded higher
  prices. Finally, two distributors selling these weapons had significantly lower prices than did the other
  distributors.




           18 Over the years, this class of weapons has been manufactured under a number of different names (i.e., Military
  Armaments Corp., RPB Industries, Cobray, SWD, and FMJ).


            19 Initially, we had also wished to analyze the prices of banned Intratec weapons and their copies. However, project
  staff found few ads for these guns among the chosen distributors, particularly in the years prior to the ban's implementation.




                                                           Exhibit
                                                           27      6
                                                              0193
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  Table 4-1.     Regression of SWD handgun prices on time indicators, controlling for product characteristics and
                 distributors
                                                  Analysis of Variance
                                          Sum of                  Mean
       Source              DF             squares                square                F value                Prob>F
  Model                    16             16.26086                1.01630               13.376                  0.0001
  Error                    132            10.02900                0.07598
  C Total                  148            26.28986

               Root MSE                0.27564                               R–square                0.6185
               Dep Mean                0.87282                               Adj R–square            0.5723

                                                 Parameter Estimates
                                     Parameter              Standard              T for H0
  Variable              DF           estimate               error                 parameter = 0         Prob>|T|
  INTERCEP                   1           1.00876               0.073205             13.78                   0.0001
  T1                         1          -0.17097               0.130798             -1.307                  0.1935
  T2                         1          -0.29236               0.109943             -2.659                  0.0088
  T3                         1          -0.26949               0.078477             -3.434                  0.0008
  T4                         1          -0.38309               0.086909             -4.408                  0.0001
  T5                         1          -0.1881                0.12957              -1.452                  0.1489
  T7                         1          -0.04368               0.076185             -0.573                  0.5674
  T8                         1          -0.23376               0.108602             -2.152                  0.0332
  T9                         1           0.108787              0.205848              0.528                  0.5981
  CAL380                     1           0.200609              0.06946               2.888                  0.0045
  DIST 3                     1          -0.26216               0.128954             -2.033                  0.0441
  DIST 5                     1           0.331378              0.224065              1.479                  0.1415
  DIST 6                     1          -0.18987               0.059367             -3.198                  0.0017
  COBRAY                     1          -0.18832               0.053756             -3.503                  0.0006
  M10                        1           0.771313              0.131932              5.846                  0.0001
  M11                        1           0.308675              0.057351              5.382                  0.0001
  M119                       1           0.110174              0.077347              1.424                  0.1567


            The coefficients for the time indicator variables provide quality-adjusted price trends. The time indicator
  t6 has been omitted from the equation.20 This indicator corresponds to the period of July 1994 through December
  1994 which encompasses the ban implementation date of September 13, 1994. The coefficients on the time
  dummy variables are all negative and most are significant, indicating that prices for these weapons were at their
  highest during the six month period when the ban took effect. To interpret the time variables, we exponentiate the
  coefficients (i.e., take their antilogs). To illustrate, the coefficient for the first time period (January 1992 through
  June 1992) is -0.170966.21 Exponentiating this coefficient yields approximately 0.84, indicating that the average
  price of these weapons at time 1 (January 1992 through June 1992) was 84 percent of the average price at time 6


             20 In this and all other price analyses, time dummies are defined to omit the time period that includes the effective
  date of the ban. This restricts the coefficient to 0 and exp(0) = 1. Therefore, the effective date is the reference period for prices
  in all other periods.
             21 Data collection began with April 1992 issues of Shotgun News. Consequently, the first data point is based on data
  for April through June of 1992 rather than a full six-month period.




                                                             Exhibit
                                                             28      6
                                                                0194
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  (July 1994 through December 1994). Conversely, the average quality-adjusted price of these firearms was
  17 percent less during the January 1992-June 1992 period than during the July 1994-December 1994 period.
  Figure 4-1.               Semi-annual price trends for SWD group handguns
                       Semi-Annual Price Trends For SWD Group Handguns
   1.2

                                                                                    23                32                                  2
      1
                                                                                                                        11
                        6                                              7
                                        14           31
   0.8
                                                          23


   0.6


   0.4


   0.2


      0
          Jan-Jun 92




                                             Jan-Jun 93




                                                                       Jan-Jun 94




                                                                                                           Jan-Jun 95




                                                                                                                                              Jan-Jun 96
                                Jul-Dec 92




                                                          Jul-Dec 93




                                                                                         Jul-Dec 94




                                                                                                                             Jul-Dec 95
          Data for Jan 92-Jun 92 correspond to Apr 92-Jun 92.
           The time effects are displayed graphically in Figure 4-1 (sample sizes are shown for each time period).22
  During the semi-annual periods prior to the ban’s implementation, prices of these weapons ranged from 68 to
  83 percent of their price during the period of the ban’s implementation. Prices peaked when the ban became
  effective in the latter part of 1994 and remained high through the first half of 1995. In the second half of 1995,
  however, the prices dropped off dramatically, falling to levels comparable to the pre-ban period. Prices may have
  rebounded again during the first half of 1996, but the apparent “rebound” was based on only two advertisements
  and should be treated very cautiously. If one assumes that wholesale markets were in equilibrium before debates
  about the ban started, then these data reflect a ban-related, speculative peak of up to 47 percent in price, followed
  by a decline of about 20 percent. Parenthetically, we note that contrary to some anecdotes, we found no evidence
  of speculation related to the 1992 election.

           Comparison handguns: For comparison, we also examined price trends for a number of unbanned
  semiautomatic handgun models: the Davis P32 and P380 and the Lorcin L25 and L380. By a number of accounts,
  these models are among the guns most frequently used in crime (BATF 1995; Kennedy et al. 1996; Wintemute
  1994, Chapter 2 supra). Because of small sample size, this model was estimated using semi-annual data spanning
  from 1992 through 1995. Referring to Table 4-2, two of the handgun models were significantly less expensive
  than the others, and one distributor offered statistically significant discounts for these guns.


            22 Sample sizes are defined in terms of number of price observations available during the period. The number of
  transactions that took place at each recorded price is, of course, unavailable to us.




                                                                       Exhibit
                                                                       29      6
                                                                          0195
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  Table 4-2.     Regression of Lorcin and Davis handgun prices on time indicators, controlling for product characteristics
                 and distributors
                                               Analysis of Variance
                                       Sum of                Mean
      Source              DF           squares              square              F value              Prob>F
  Model                   11             3.60246             0.32750             30.678               0.0001
  Error                   81             0.86469             0.01068
  C Total                 92             4.46716

               Root MSE              0.10332                           R–square             0.8064
               Dep Mean             -0.60396                           Adj R–square         0.7801
               C.V.                -17.10713

                                               Parameter Estimates
                                   Parameter           Standard            T for H0
  Variable             DF          estimate            error               parameter = 0       Prob>|T|
  INTERCEP                  1        -0.44243             0.034043          -12.996               0.0001
  T1                        1        -0.03004             0.069877           -0.43                0.6684
  T2                        1         0.014817            0.040258            0.368               0.7138
  T3                        1        -0.0198              0.037239           -0.532               0.5964
  T4                        1        -0.00259             0.082314           -0.031               0.975
  T5                        1        -0.03162             0.048582           -0.651               0.517
  T7                        1        -0.02753             0.048576           -0.567               0.5724
  T8                        1        -0.05041             0.082314           -0.612               0.542
  P32                       1        -0.22559             0.033404           -6.753               0.0001
  L25                       1        -0.55562             0.034119          -16.285               0.0001
  DIST 2                    1        -0.06434             0.030256           -2.127               0.0365
  DIST 6                    1        -0.05723             0.042414           -1.349               0.181


           The time period coefficients indicate that prices for these weapons were unaffected by the assault
  weapons ban. Most of the time dummies have negative signs, but their t score values are very small, indicating
  that prices during these periods did not differ meaningfully from those at the time when the ban was implemented.
  This is underscored graphically in Figure 4-2.




                                                        Exhibit
                                                        30      6
                                                           0196
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  Figure 4-2.             Semi-annual price trends for handguns commonly used in crime
      Semi- Annual Price Trends For Handguns Commonly Used In
                               Crime
                                              Davis P32, P380 and Lorcin L25, L380

        1.2
                3                 25               34          2              8           11           8
          1                                                                                                        2



        0.8

        0.6

        0.4

        0.2

          0
                                  Jul-Dec92




                                                               Jul-Dec93




                                                                                           Jul-Dec94




                                                                                                                   Jul-Dec95
              Jan-Jun92




                                                   Jan-Jun93




                                                                              Jan-Jun94




                                                                                                       Jan-Jun95
        Jan-Jun 92 quarter contains data for April through June only; no 1996 observations


           Assault rifles: To investigate the ban’s effect on assault rifle prices, we examined quarterly price trends
  for the Colt AR15 family, which includes the AR15 as well as Colt’s Sporter, H-Bar, and Target models.23
  Referring to Table 4-3, the AR15 model was more expensive than other models. Further, guns which had special
  features/enhancements or a special designation of some sort had somewhat higher prices. Models in 7.62mm
  caliber were lower in price than other models, though this effect was not quite statistically significant. Finally,
  one distributor stood out as having lower prices than other distributors.




           23 A number of other manufacturers also made exact copies of the Colt AR15 (e.g., Essential Arms, Olympic Arms,
  and SGW Enterprises). We included a number of these copies on our price coding form before the ban and legal substitutes
  thereafter, but we did not find advertisements for these non-Colt versions in Shotgun News.




                                                                           Exhibit
                                                                           31      6
                                                                              0197
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  Table 4-3.     Regression of Colt AR15 group prices on time indicators, controlling for product characteristics and
                 distributors
                                              Analysis of Variance
                                        Sum of                Mean
       Source              DF           squares              square             F value               Prob>F
  Model                   23            21.67729              0.94249            18.161                0.0001
  Error                   235           12.19537              0.05190
  C Total                 258           33.87266

               Root MSE              0.22781                            R–square             0.6400
               Dep Mean              2.13335                            Adj R–square         0.6047
               C.V.                 10.67826

                                              Parameter Estimates
                                    Parameter           Standard            T for H0
  Variable              DF          estimate            error               parameter = 0       Prob>|T|
  INTERCEP                   1         2.714668            0.066599           40.762               0.0001
  Q1                         1        -0.52079             0.107749           -4.833               0.0001
  Q2                         1        -0.62023             0.149137           -4.159               0.0001
  Q3                         1        -0.62368             0.116786           -5.34                0.0001
  Q4                         1        -0.58506             0.083154           -7.036               0.0001
  Q5                         1        -1.54569             0.150793          -10.25                0.0001
  Q6                         1        -0.60339             0.095035           -6.349               0.0001
  Q7                         1        -0.68488             0.084707           -8.085               0.0001
  Q8                         1        -0.25158             0.14673            -1.715               0.0877
  Q9                         1        -0.14066             0.087217           -1.613               0.1081
  Q11                        1         0.143282            0.148951            0.962               0.3371
  Q12                        1         0.059189            0.082263            0.72                0.4725
  Q13                        1        -0.18904             0.07715            -2.45                0.015
  Q14                        1        -0.3144              0.075984           -4.138               0.0001
  Q15                        1        -0.46528             0.069595           -6.686               0.0001
  Q16                        1        -0.33741             0.079461           -4.246               0.0001
  Q17                        1        -0.40788             0.093078           -4.382               0.0001
  DIST 5                     1        -0.16586             0.044717           -3.709               0.0003
  SPORTERL                   1        -0.26691             0.042783           -6.239               0.0001
  SPORTERC                   1        -0.27709             0.057987           -4.778               0.0001
  MATCH H-BAR                1        -0.28594             0.041454           -6.898               0.0001
  TARGET                     1        -0.30664             0.05565            -5.51                0.0001
  FEATURE                    1         0.1039              0.040315            2.577               0.0106
  CAL762                     1        -0.14924             0.092373           -1.616               0.1075


           Turning to the quarterly indicator variables, the omitted period is quarter ten (July 1994 through
  September 1994). Most of the quarterly dummy variables have coefficients which are negative and significant,
  indicating that prices rose significantly at the time of the ban’s implementation. Indeed, prices during the 1992–
  93 period were 41 to 79 percent lower than those at the time of the ban. The prices then began rising during 1994
  and peaked during the quarter after the ban’s implementation (however, prices during the latter period were not
  significantly different from those when the ban went into effect). These data reflect price increase of 69 to
  100 percent over typical quarters during the 1992–93 period, and a 376 percent increase over the lowest price
  quarter during that period.




                                                        Exhibit
                                                        32      6
                                                           0198
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           Quality-adjusted prices began to fall significantly during the second quarter of 1995. During the first two
  quarters of 1996, prices were 29 to 33 percent less than at the time of the ban.24 These trends are illustrated in
  Figure 4-3.25
  Figure 4-3.       Quarterly price trends for Colt AR-15 and related rifles
          Quarterly Price Trends for Colt AR-15 and Related Rifles

  1.2                                                                3

                                                                               21
                                                               14
    1
                                                         14
                                                                                    24

  0.8                                             3
                                                                                         29
                                                                                                   28
                                                                                                        11
                                                                                              48
         8
  0.6           3      7    17         10   16



  0.4
                                  3


  0.2


    0
        Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr
            92            93              94              95           96
            Other Semiautomatic Rifles: A comparison price series was constructed for a small number of
  semiautomatic rifles not prohibited by the ban. The rifles selected for this analysis, the Ruger Mini-14 and Maadi
  rifles are arguably useful substitutes for the banned rifles for many purposes. The Mini-14 is a semiautomatic
  rifle which is relatively common among guns submitted to ATF for tracing.26 The Maadi is an Egyptian
  semiautomatic rifle which is loosely patterned after the AK-47, but it is a legal gun, according to BATF experts.




             24 Colt has discontinued its AR15 models, but the company has continued to make post-ban, modified versions of
  other weapons in the AR15 family (e.g., the Sporter). We considered the possibility that the AR15 model would follow a
  different pre/post ban trend from the other Colt models. Based on the number of available observations, we estimated a yearly
  model for the AR15. Yearly prices for the AR15 followed the same basic pattern as did the entire AR15 group. Relative to
  1994, prices for the AR15 were 57 percent lower in 1993 (p<.01), 39 percent lower in 1995 (p=.02), and 37 percent lower in
  1996 (p=.06). In addition, we estimated a model containing dummy variables for the AR15 and the post-ban period and an
  interaction term between these dummy variables (no other time period dummies were included in the model). The interaction
  term was very small and insignificant, leading us to include that the price differential between the AR15 model and the other
  Colt models remained constant throughout the period under study.
            25 Because some quarterly estimates were based on very small numbers of advertisements, the exact values of the
  quarterly coefficients should be treated cautiously. Nevertheless, a semi-annual model produced the same pattern of results.


             26 Based upon figures provided by ATF, the Mini-14 ranked as the 23rd most common firearm submitted to ATF for
  tracing in 1992 and the 36th most common firearm submitted in 1993. The Ruger Mini-14 was also featured as a common
  assault weapon in an early study of assault weapons published by Cox Newspapers (1989). However, the Crime Act
  specifically exempts Mini-14's without folding stocks from assault weapons status.




                                                              Exhibit
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                                                                 0199
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  Further, the Maadi rifle has not been affected by import restrictions as have a number of other potential substitute
  rifles.

           Table 4-4 and Figure 4-4 present trends for prices of these rifles (N=156) measured on a quarterly basis.
  The Ruger Mini-14 was significantly more expensive than was the Maadi, and a number of distributors had
  substantially lower or higher prices for these weapons. Guns having some sort of special feature or classification
  were somewhat less expensive than were other weapons.
  Table 4-4.     Regression of Ruger Mini-14 and Maadi rifle prices on time indicators, controlling for product
                 characteristics and distributors
                                              Analysis of Variance
                                       Sum of                Mean
      Source              DF           squares              square             F value               Prob>F
  Model                   23           15.72251              0.68359             12.468               0.0001
  Error                   132            7.23741             0.05483
  C Total                 155          22.95993

               Root MSE             0.23416                            R–square             0.6848
               Dep Mean             1.11132                            Adj R–square         0.6299
               C.V.                21.06999

                                              Parameter Estimates
                                   Parameter           Standard            T for H0
  Variable             DF          estimate            error               parameter = 0       Prob>|T|
  INTERCEP                  1         1.348039            0.096025           14.038               0.0001
  Q1                        1        -0.49339             0.150985           -3.268               0.0014
  Q2                        1        -0.28143             0.170394           -1.652               0.101
  Q3                        1        -0.26618             0.145198           -1.833               0.069
  Q4                        1        -0.49586             0.1189             -4.17                0.0001
  Q5                        1        -0.60429             0.149813           -4.034               0.0001
  Q6                        1        -0.45337             0.12651            -3.584               0.0005
  Q7                        1        -0.50108             0.123093           -4.071               0.0001
  Q8                        1        -0.08801             0.166538           -0.528               0.598
  Q9                        1        -0.07736             0.131103           -0.59                0.5561
  Q11                       1         0.06801             0.139693            0.487               0.6272
  Q12                       1        -0.26056             0.114103           -2.284               0.024
  Q13                       1        -0.55108             0.128193           -4.299               0.0001
  Q14                       1        -0.5565              0.137519           -4.047               0.0001
  Q15                       1        -0.61763             0.120067           -5.144               0.0001
  Q16                       1        -0.64124             0.119303           -5.375               0.0001
  Q17                       1        -0.73806             0.123765           -5.963               0.0001
  RUGER                     1         0.672197            0.055061           12.208               0.0001
  DIST 2                    1        -0.17779             0.079666           -2.232               0.0273
  DIST 3                    1        -0.08717             0.054575           -1.597               0.1126
  DIST 4                    1        -1.66399             0.242712           -6.856               0.0001
  DIST 5                    1        -0.19243             0.0727             -2.647               0.0091
  DIST 7                    1         0.235402            0.131826            1.786               0.0764
  FEATURES                  1        -0.08813             0.047131           -1.87                0.0637




                                                        Exhibit
                                                        34      6
                                                           0200
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  Figure 4-4.     Quarterly price trends for comparison semiautomatic rifles
        Quarterly Price Trends for Comparison Semiautomatic Rifles

  1.2
                                                                            6
                                                                     6
    1
                                                              7
                                                     3
                                                                                  18

  0.8         3       7

         5                              9
                             21               11                                         8
                                                                                              7
  0.6                             5                                                                12      17
                                                                                                                 11


  0.4


  0.2


    0
        Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr
            92             93              94              95          96
         Ruger Mini-14, Maadi

            The temporal price trends for these weapons mirror those found for the AR15 family rifles. Relative to
  the period of the ban’s implementation, prices were significantly lower during periods before and after the ban’s
  implementation. During 1992 and 1993, prices ranged from 23 to 45 percent lower than during the reference
  period. Prices were at their highest during 1994, with the peak occurring during the quarter following the ban’s
  effective date, reflecting an increase of 82 percent from the 1992–93 low point to the immediate post-ban period.
  However, prices for the first, second, and fourth quarters of 1994 were not discernibly different from those during
  the third quarter. Prices began to fall significantly in 1995, and by the second quarter of 1996, prices were
  approximately 52 percent lower than during the quarter when the ban took effect.27

           Alternative Comparison for Semiautomatic Rifles: As a final test of price trends for potential substitute
  semiautomatic rifles, we added the SKS rifle to the semiautomatic rifles model. The SKS rifle is imported (there
  are Russian and Chinese versions) and is occasionally mistaken for an AK-47. The SKS was not covered by either
  the 1989 import ban or the Crime Act. We initially excluded it as a comparison semiautomatic rifle because
  importation was nominally restricted in 1994 as part of U.S. trade sanctions directed against China. However,
  SKS rifles have continued to enter the U.S. under the Craig Amendment exemption for goods already “on the
  water” when the trade sanctions were imposed. We added it to subsequent analysis because it has been relatively




             27 Because some of the quarterly periods yielded few observations, we also estimated a semi-annual model for these
  gun prices. The results of this model paralleled those of the quarterly model; prices were at their highest during the latter half
  of 1994 and were significantly lower throughout 1992, 1993, 1995, and early 1996.




                                                             Exhibit
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  common among gun traces submitted to BATF28 and because our coders found over 550 ads for SKS rifles,
  making that gun the most frequently advertised weapon in Shotgun News from among those guns chosen for the
  analysis.

           Results from a quarterly price trend model for 698 SKS, Ruger Mini-14, and Maadi AK-type
  advertisements are presented in Table 4-5 and Figure 4-5. Again, the results indicate that prices were highest
  during 1994 and peaked during the quarter of the ban’s implementation (quarter ten). Prices during the 1992–93
  period were generally 32 to 25 percent less than they were during the quarter of the ban’s implementation.
  Following the ban, however, prices fell rather quickly, and by 1996 they were approximately 35 percent less than
  they had been at the time of the ban.




          28 Figures provided to us by BATF show that the SKS was the 10th most common firearm traced in 1992 and the 4th
  most common in 1993.




                                                       Exhibit
                                                       36      6
                                                          0202
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  Table 4-5.     Regression of Ruger Mini-14, Maadi, and SKS rifle prices on time indicators, controlling for product
                 characteristics and distributors
                                              Analysis of Variance
                                       Sum of                Mean
      Source              DF           squares              square             F value               Prob>F
  Model                   19          145.53206              7.65958           105.960                0.0001
  Error                   678          49.01094              0.07229
  C Total                 697         194.54300

               Root MSE             0.26886                            R–square             0.7481
               Dep Mean             0.32139                            Adj R–square         0.7410
               C.V.                83.65546

                                              Parameter Estimates
                                   Parameter           Standard            T for H0
  Variable             DF          estimate            error               parameter = 0       Prob>|T|
  INTERCEP                  1         0.320571            0.037047            8.653               0.0001
  Q1                        1        -0.29288             0.056985           -5.14                0.0001
  Q2                        1        -0.36758             0.060234           -6.103               0.0001
  Q3                        1        -0.32732             0.057937           -5.65                0.0001
  Q4                        1        -0.37657             0.056037           -6.72                0.0001
  Q5                        1        -0.33581             0.08099            -4.146               0.0001
  Q6                        1        -0.32629             0.051373           -6.351               0.0001
  Q7                        1        -0.39266             0.052767           -7.441               0.0001
  Q8                        1        -0.15306             0.060298           -2.538               0.0114
  Q9                        1        -0.13647             0.056349           -2.422               0.0157
  Q11                       1        -0.09587             0.056591           -1.694               0.0907
  Q12                       1        -0.25553             0.047168           -5.417               0.0001
  Q13                       1        -0.32473             0.053753           -6.041               0.0001
  Q14                       1        -0.457               0.054492           -8.387               0.0001
  Q15                       1        -0.32702             0.06053            -5.403               0.0001
  Q16                       1        -0.43303             0.052708           -8.216               0.0001
  Q17                       1        -0.42588             0.068581           -6.21                0.0001
  MAADI                     1         0.855348            0.032324           26.462               0.0001
  RUGER                     1         1.363013            0.036904           36.934               0.0001
  FEATURES                  1         0.093431            0.02203             4.241               0.0001




                                                        Exhibit
                                                        37      6
                                                           0203
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  Figure 4-5.    Quarterly price trends for comparison semiautomatic rifles
      Quarterly Price Trends for Comparison Semiautomatic Rifles
   1.2

                                                               57
     1                                                              38
                                                        38
                                                  31
                                                                          78
   0.8    37
                31   36           14   53                                       45         31
                          44                48
                                                                                     44          51   22

   0.6


   0.4


   0.2


     0
         Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr
             92            93              94               95          96
       Ruger Mini-14, Maadi, SKS

           4.1.3. Magazine Prices
           Since the Crime Act permanently capped the stock of large-capacity magazines at the number produced
  before September 13, 1994, our long-run expectations about price trends for the banned magazines depend on
  whether or not the ban prevented increases in the supply of “compatible” guns that accept the magazine. For
  compatible guns whose supply continued to increase — such as the unbanned Ruger Mini-14 rifle and Glock
  pistols and the AR-15 family of rifles, for which legal substitutes emerged — we expect a gradual long-run
  increase in the price of the large-capacity magazines. Only for compatible guns such as Uzi models, whose supply
  was capped because legal substitutes did not emerge, do we expect stable or declining long-run magazine prices as
  the operational stock of banned guns gradually declines.

            In the short run, which is all we can observe at this time, we expect at least three confounding factors to
  divert large-capacity magazine prices from these trends. First, as with the banned guns, speculative demand for
  the banned magazines may have caused prices to rise and then fall around the time of the ban. Second, because
  guns and magazines are economic complements, their prices may be likely to move in opposite directions. Third,
  for banned guns such as the AR-15 and Uzi models, which are mechanically identical to military weapons, there
  are military surplus supplies that we believe are huge relative to civilian demand. For these reasons, short-run
  price trends are a poor guide to long-run price trends for large-capacity magazines.

           With these reservations in mind, we examined price trends for large-capacity magazines (i.e., magazines
  holding more than 10 rounds) manufactured for use with banned firearms and compared them to trends for large-
  capacity magazines made for unbanned semiautomatic weapons. Selection of firearm models was based on both
  theoretical relevance and available sample sizes. To improve the generalizeability of the results, we attempted to




                                                        Exhibit
                                                        38      6
                                                           0204
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  analyze magazine prices for both handguns and long guns and for both banned and non-banned weapons. The
  methodology for the magazine price analysis was essentially the same as that used in the firearm price analysis. 29
  As in the firearm price analysis, our quality control variables consisted primarily of indicator variables
  corresponding to manufacturers and distributors. An additional key variable for the magazine analysis was the
  number of rounds held by the magazine (logged).30

           Assault weapon handgun magazines–Uzi: Our analysis of large-capacity magazines prices for assault
  weapons focused upon the 9mm Uzi handgun.31 Though importation of the Uzi handgun had been discontinued in
  1993 (Fjestad 1996, p.1049), our coders found ads for Uzi magazines (N=117) more frequently than for other
  assault weapon handguns.32 Even so, the number of observations was as low as 1-2 for some quarterly periods,
  and we therefore grouped the data into semi-annual time periods. There is no legal substitute for the banned Uzis
  that accepts the same magazine.

           Regression results for Uzi magazine prices are presented in Table 4-6 and price trends are displayed in
  Figure 4-6. Controlling for the number of rounds held by the magazine, semi-annual prices during the January
  1992 through June 1994 period ranged from approximately 52 to 62 percent of their value during the latter half of
  1994. Prices peaked in the first half of 1995, rising another 56 percent, to a tripling of their 1992–94 lowest
  prices. Prices began to fall in the latter half of 1995 and the first half of 1996, but they did not differ significantly
  from prices during the latter half of 1994.




           29 Project staff recorded information on all advertisements for magazines holding more than 10 rounds which
  appeared in the selected issues of Shotgun News. However, the volume of collected data required us to pursue a data reduction
  strategy. Based on informal inspection of the hardcopy data, therefore, we chose a group of magazines which appeared
  relatively more frequently and which had relevance as a banned weapon or legal substitute.


           30 Other potentially important characteristics are whether the magazine was new or used and the type of metal from
  which the magazine was made. Ads often did not state whether magazines were new or used, and our research staff did not
  record this information. Our working assumption is that the magazines were new or in good working condition. If an ad
  featured the same magazine manufactured with different types of metals, we used the base price magazine. If the coding form
  indicated that the advertisement featured only magazines made from special materials (e.g., stainless steel), we made note of
  this characteristic. There were very few such cases, and preliminary analyses using an indicator variable for the presence of a
  special metal showed the variable to have no impact in any of the models discussed in the main text.


            31 The Uzi was previously manufactured and imported to the U.S. in both carbine and handgun versions, but the
  carbine versions were banned from importation in 1989.


           32 The relative frequency of Uzi magazine advertisements is probably due to the fact that the Uzi is a military
  weapon. Firearms experts have informed us that good quality, military surplus magazines are commonly available and are often
  sold cheaply.




                                                           Exhibit
                                                           39      6
                                                              0205
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  Table 4-6.     Regression of Uzi large-capacity magazine prices on time indicators, controlling for product characteristics
                 and distributors
                                               Analysis of Variance
                                        Sum of                Mean
      Source              DF            squares              square              F value               Prob>F
  Model                    9            12.80484              1.42276               9.670               0.0001
  Error                   107           15.74298              0.14713
  C Total                 116           28.54782

               Root MSE              0.38358                            R–square              0.4485
               Dep Mean             -1.65739                            Adj R–square          0.4022
               C.V.                -23.14337

                                               Parameter Estimates
                                   Parameter            Standard            T for H0
  Variable             DF          estimate             error               parameter = 0       Prob>|T|
  INTERCEP                  1         -3.835055            0.54716949          -7.009               0.0001
  ROUNDS                    1          0.729783            0.15350538           4.754               0.0001
  T1                        1         -0.661263            0.19914123          -3.321               0.0012
  T2                        1         -0.525479            0.17560540          -2.992               0.0034
  T3                        1         -0.536934            0.13325422          -4.029               0.0001
  T4                        1         -0.515880            0.12659037          -4.075               0.0001
  T5                        1         -0.474834            0.12970256          -3.661               0.0004
  T7                        1          0.447430            0.16646042           2.688               0.0083
  T8                        1         -0.027967            0.16286070          -0.172               0.8640
  T9                        1         -0.137577            0.18908164          -0.728               0.4684




                                                         Exhibit
                                                         40      6
                                                            0206
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  Figure 4-6.              Semi-annual price trends for Uzi large-capacity magazines
      Semi-Annual Price Trends For Uzi High Capacity Magazines
   1.8
                                                                                                    9
   1.6

   1.4
   1.2
                                                                                     15
                                                                                                                     9
      1                                                                                                                      6

   0.8
                                                                       21
               5                7            19            26
   0.6

   0.4

   0.2

      0
          Jan-Jun 92




                                             Jan-Jun 93




                                                                        Jan-Jun 94




                                                                                                   Jan-Jun 95




                                                                                                                                 Jan-Jun 96
                                Jul-Dec 92




                                                          Jul-Dec 93




                                                                                      Jul-Dec 94




                                                                                                                Jul-Dec 95
          Data for Jan 92-Jun 92 correspond to Apr 92-Jun 92.

            Other Handgun Magazines: To provide price trends for large-capacity magazines manufactured for non-
  banned handguns, we examined large-capacity magazines for Glock 9mm handguns. Prior to the Crime Act,
  Glock sold several handgun models with large-capacity magazines. The most common, the Glock 17, was among
  the ten firearm models submitted most frequently to ATF for tracing in 1994 (BATF 1995a). Guns currently
  manufactured by Glock are capable of accepting Glock’s pre-ban large-capacity magazines, but the supply is
  limited to magazines made before the ban.

           Project staff found 74 advertisements for Glock magazines, but the large majority of these ads were
  placed after the ban (only nine ads were pre-ban) and there were no ads for 1992. It was therefore necessary to
  group the advertisements into yearly periods rather than quarterly or semi-annual periods. Regression results and
  price trends for 1993 through 1996 are shown in Table 4-7 and Figure 4-7 respectively. In general, magazines with
  greater numbers of rounds were more expensive. In addition, a number of distributors had higher prices for these
  magazines, and magazines for one particular model were more expensive at a moderate level of statistical
  significance.33




                       33 For the model dummy variables, the excluded category included magazines for which no model was indicated.




                                                                       Exhibit
                                                                       41      6
                                                                          0207
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  Table 4-7. Regression of Glock large-capacity handgun magazine prices on time indicators, controlling for product
               characteristics and distributors
                                             Analysis of Variance
                                      Sum of               Mean
      Source            DF            squares             square             F value               Prob>F
  Model                 10        29.85755             2.98575           28.020                0.0001
  Error                 91         9.69680             0.10656
  C Total               101       39.55434

             Root MSE              0.32643                          R–square              0.7548
             Dep Mean             -0.86656                          Adj R–square          0.7279
             C.V.                -37.66991

                                             Parameter Estimates
                                 Parameter           Standard            T for H0
  Variable           DF          estimate            error               parameter = 0       Prob>|T|
  INTERCEP                1         -3.37422             0.56384           -5.984               0.0001
  ROUNDS                  1          0.618327            0.197724           3.127               0.0024
  Y93                     1         -0.95884             0.17246           -5.56                0.0001
  Y95                     1          0.064606            0.108817           0.594               0.5542
  Y96                     1          0.2227              0.143595           1.551               0.1244
  DIST 10                 1          0.529244            0.279526           1.893               0.0615
  DIST 12                 1          0.601322            0.162505           3.7                 0.0004
  DIST 3                  1          0.37606             0.17071            2.203               0.0301
  DIST 5                  1          0.980483            0.101626           9.648               0.0001
  M17                     1          0.198804            0.108878           1.826               0.0711
  M19                     1          0.169323            0.112614           1.504               0.1362




                                                      Exhibit
                                                      42      6
                                                         0208
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  Figure 4-7.    Yearly price trends for Glock large-capacity handgun magazines

                Yearly Price Trends For Glock Handgun Magazines
    1.4
                                                                                                  13

    1.2
                                                                     70
                                     12
      1


    0.8


    0.6
           7
    0.4


    0.2


      0
          93                           94                             95                               96

           Most importantly, prices for large-capacity Glock magazines were 62 percent lower in 1993 than they
  were in 1994. Prices remained high through 1995, and they increased another 25 percent in 1996 (relative to
  1994), though this increase was not statistically significant by conventional standards.

          Assault rifle magazines — AR15 Family: Pre-ban large-capacity magazines manufactured by Colt for
  their AR15’s and related rifles can be utilized with the post-ban, modified versions of these rifles. Consequently,
  we expected that there would be a continuing demand for these magazines.

            Project staff recorded 364 ads for large-capacity magazines (.223 caliber) made to fit the AR15 and
  related rifles. Results from our analysis of quarterly price trends for these magazines are shown in Table 4-8 and
  Figure 4-8. Magazines having larger ammunition capacities were more expensive as were those magazines for
  which Colt was listed explicitly as the manufacturer.34 In addition, prices tended to differ significantly between
  distributors.

            During the quarters of 1992 and 1993, prices were anywhere from 33 to 56 percent lower than during the
  third quarter of 1994. Prices rose further during the last quarter of 1994 and remained high through the first three
  quarters of 1995. In the last quarter of 1995 and the first quarter of 1996, prices fell though they remained higher
  than their pre-ban levels. Prices then rebounded in the second quarter of 1996, reaching a peak value comparable
  to the last quarter of 1995 (prices were approximately 29 percent higher than during the quarter when the ban took
  effect). Gun market experts have suggested to us that these short-run fluctuations reflect intermittent availability
  of military surplus M-16 magazines, which are compatible with the AR-15 family of rifles.




           34 Though firearms usually require magazines made by the same manufacturer, a number of manufacturers other than
  Colt make magazines which can fit Colt rifles.




                                                        Exhibit
                                                        43      6
                                                           0209
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  Table 4-8.     Regression of Colt AR15 group large-capacity magazine prices on time indicators, controlling for product
                 characteristics and distributors
                                               Analysis of Variance
                                       Sum of                Mean
      Source              DF           squares              square             F value              Prob>F
  Model                   26       122.28012            4.70308            33.836               0.0001
  Error                   337      46.84153             0.13900
  C Total                 363      169.12165

               Root MSE             0.37282                           R–square             0.7230
               Dep Mean            -1.65183                           Adj R–square         0.7017
               C.V.               -22.57021

                                              Parameter Estimates
                                   Parameter           Standard           T for H0
  Variable             DF          estimate            error              parameter = 0       Prob>|T|
  INTERCEP                  1        -5.34744             0.194896          -27.437               0.0001
  ROUNDS                    1         1.025757            0.046243           22.182               0.0001
  CLT                       1         0.184123            0.063507            2.899               0.004
  DIST 2                    1         0.385288            0.283893            1.357               0.1756
  DIST 3                    1         0.10778             0.078807            1.368               0.1723
  DIST 4                    1        -0.40188             0.129797           -3.096               0.0021
  DIST 5                    1         0.134623            0.068759            1.958               0.0511
  DIST 7                    1        -0.41214             0.13435            -3.068               0.0023
  DIST 10                   1         0.137861            0.080196            1.719               0.0865
  DIST 11                   1        -0.36298             0.168942           -2.149               0.0324
  DIST 12                   1         0.215247            0.085722            2.511               0.0125
  Q1                        1        -0.82099             0.158248           -5.188               0.0001
  Q2                        1        -0.39767             0.115668           -3.438               0.0007
  Q3                        1        -0.68998             0.181038           -3.811               0.0002
  Q4                        1        -0.55199             0.137727           -4.008               0.0001
  Q5                        1        -0.61893             0.115858           -5.342               0.0001
  Q6                        1        -0.52304             0.093025           -5.623               0.0001
  Q7                        1        -0.54396             0.107619           -5.055               0.0001
  Q8                        1        -0.38921             0.102709           -3.789               0.0002
  Q9                        1        -0.17713             0.104247           -1.699               0.0902
  Q11                       1         0.229259            0.11575             1.981               0.0484
  Q12                       1         0.13716             0.107928            1.271               0.2047
  Q13                       1         0.115077            0.099774            1.153               0.2496
  Q14                       1        -0.05869             0.106556           -0.551               0.5821
  Q15                       1        -0.32639             0.107409           -3.039               0.0026
  Q16                       1        -0.21758             0.109759           -1.982               0.0482
  Q17                       1         0.252132            0.117683            2.142               0.0329




                                                        Exhibit
                                                        44      6
                                                           0210
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  Figure 4-8. Quarterly price trends for Colt AR15 large-capacity magazines
   Quarterly Price Trends For Colt AR15 Large Capacity Magazines
     1.4
                                                                        19                                 19

     1.2                                                                      25
                                                                                    38
                                                                32
                                                                                         26
       1
                                                          23                                         22

     0.8                                                                                        26
                18                                  23

                            10           33    20
     0.6    7          5          18



     0.4

     0.2


       0
           Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr
               92            93              94              95          96

           Comparison Semiautomatic Rifle Magazines — Ruger Mini-14: Quarterly price regression results for
  large-capacity magazines made for the Ruger Mini-14 rifle are shown in Table 4-9. Magazines with the Ruger
  name and larger magazines were more expensive than other magazines.35 Further, prices differed significantly
  among distributors.




            35 A number of manufacturers besides Ruger made large-capacity magazines to fit the Mini-14.




                                                         Exhibit
                                                         45      6
                                                            0211
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  Table 4-9.     Regression of Ruger Mini-14 large-capacity magazine prices on time indicators, controlling for product
                 characteristics and distributors
                                              Analysis of Variance
                                       Sum of                Mean
      Source              DF           squares              square             F value               Prob>F
  Model                   26       64.39474              2.4672            34.029               0.0001
  Error                   303      22.05342              0.07278
  C Total                 329      86.44816

               Root MSE             0.26978                           R–square              0.7449
               Dep Mean            -1.72827                           Adj R–square          0.7230
               C.V.               -15.61009

                                              Parameter Estimates
                                   Parameter           Standard            T for H0
  Variable             DF          estimate            error               parameter = 0       Prob>|T|
  INTERCEP                  1        -4.41607             0.145547          -30.341               0.0001
  ROUNDS                    1         0.836435            0.036639           22.829               0.0001
  RUG                       1         0.264903            0.061061            4.338               0.0001
  DIST 2                    1        -0.3889              0.17264            -2.253               0.025
  DIST 3                    1        -0.13012             0.072105           -1.805               0.0721
  DIST 4                    1        -0.57328             0.126483           -4.532               0.0001
  DIST 5                    1        -0.40885             0.066235           -6.173               0.0001
  DIST 7                    1        -0.5319              0.278193           -1.912               0.0568
  DIST 10                   1        -0.26988             0.074589           -3.618               0.0003
  DIST 11                   1        -0.1793              0.164002           -1.093               0.2751
  DIST 12                   1         0.324892            0.094116            3.452               0.0006
  Q1                        1        -0.29169             0.178205           -1.637               0.1027
  Q2                        1        -0.27167             0.08733            -3.111               0.002
  Q3                        1        -0.40486             0.122507           -3.305               0.0011
  Q4                        1        -0.425               0.082811           -5.132               0.0001
  Q5                        1        -0.44577             0.073027           -6.104               0.0001
  Q6                        1        -0.30726             0.070368           -4.366               0.0001
  Q7                        1        -0.33086             0.069189           -4.782               0.0001
  Q8                        1        -0.34428             0.074365           -4.63                0.0001
  Q9                        1        -0.29213             0.078927           -3.701               0.0003
  Q11                       1         0.071176            0.074263            0.958               0.3386
  Q12                       1         0.013922            0.07447             0.187               0.8518
  Q13                       1        -0.11436             0.073432           -1.557               0.1204
  Q14                       1        -0.1658              0.075341           -2.201               0.0285
  Q15                       1        -0.26924             0.081055           -3.322               0.001
  Q16                       1        -0.37783             0.084169           -4.489               0.0001
  Q17                       1        -0.34628             0.111216           -3.114               0.002


            The quarterly indicators in Table 4-9 and the graphic illustration in Figure 4-9 show that quarterly prices
  prior to the ban were 64 to 76 percent of their level at the time of the ban. By late 1995, prices of these magazines
  were falling significantly, and by 1996 they had fallen to levels comparable to pre-ban prices.




                                                        Exhibit
                                                        46      6
                                                           0212
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  Figure 4-9.   Quarterly price trends for Ruger Mini-14 large-capacity magazines
                        Ruger Mini-14 Large Capacity Magazines
    1.2
                                                                 23
                                                            39        26
       1
                                                                            24
                                                                                    22
                                                     1                                   1
    0.8    3    1                    26    26   2                                            1   8
                    6
                         1      23

    0.6


    0.4


    0.2


       0
        Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr
            92            93              94              95          96

           4.1.4. Summary of Large-Capacity Magazine Price Trends
           In summary, short-run price trends for four examples of banned large-capacity magazines appeared to
  depend on the legal status of the guns they fit, speculative demand for the guns and magazines, and the availability
  of military surplus magazines. All four magazine prices rose substantially during the period of debate over the
  ban, reflecting anticipatory demand. However, their price trends diverged substantially after that point. For a
  banned assault pistol (the 9mm Uzi) for which no legal substitute emerged, the post-ban magazine price fell to a
  level between its peak and its pre-speculation level and remained there. For a banned rifle (Colt AR-15) for which
  legal substitutes emerged and the gun price fell sharply after the ban, post-ban magazine prices fluctuated
  dramatically, apparently because of variations in the availability of military surplus M-16 magazines. For
  unbanned Glock pistols, whose supply continued to grow, the post-ban magazine price continued to rise
  throughout the post-ban period, though at a slower rate than during the pre-ban speculation; this is consistent with
  the expected long-term price trend. Finally, prices for large-capacity Ruger Mini-14 magazines appear to have
  followed speculative trends similar to those for the rifles themselves.


  4.2.     PRODUCTION TRENDS
           Analyses reported in Section 4.1 found substantial pre-ban price increases for two major categories of
  assault weapons that were examined: SWD and related handguns (+47 percent), the AR-15 assault rifle family
  (+69 percent to +100 percent, at minimum). A comparison group of unbanned semiautomatic rifles including the
  domestically produced Ruger Mini-14 showed a pre-ban price increase of 82 percent. But strikingly, a comparison
  group of inexpensive Davis and Lorcin semiautomatic handguns showed no discernible price change during the 4-
  year period that included the effective date of the ban.

           In the introduction to this chapter, we hypothesized that weapons whose prices increased during the pre-
  ban period would also show increases in production. To test that hypothesis, we were able to obtain annual




                                                         Exhibit
                                                         47      6
                                                            0213
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  production data from the Violence Policy Center for three of the four weapon categories above: the SWD, AR-15,
  and Davis/Lorcin groups.36 The data extend through 1994, the year of the ban and the last year for which
  production data are available.

           The production data for these three groups are shown in Figure 4-10, Figure 4-11, and Figure 4-12, and
  they strongly support the hypothesis that pre-ban price speculation was associated with increases in production.
  As shown there, the SWD and AR-15 groups show substantial increases in production in 1993 and 1994, the years
  when prices were increasing in advance of the ban. Production increases of similar magnitude appear for two
  other categories of banned assault weapons that could not be included in the price analysis: the Intratec/AA Arms
  group, and Calico and Feather Industries rifles, which are banned by the features test.37 In contrast, the
  Davis/Lorcin handgun group showed decreased production relative to both 1993 and their 1989–93 average.

           Table 4-10 summarizes production data for five typical groups of banned assault weapons and the
  Lorcin/Davis comparison group of small-caliber semiautomatic pistols. For each weapon type, the table reports
  1994 production, average 1989–93 production, and the ratio of 1994 production to the average over the period. On
  average, 1994 assault weapon production exceeded the 1989–93 average by a ratio of 2.233 during the nine months
  before the ban took effect. In contrast, 1994 production for the Lorcin/Davis comparison group was only
  65.2 percent of the 1989–93 average.
  Table 4-10.   Production trends for banned assault weapons and comparison guns
                                                 (1)                   (2)                     (3)                   (4)
                                                                1989–93 average                                   “Excess”
                                          1994 production          production                 Ratio              production
            Firearm type                                                                    [(1)/(2)]             [(1)-(2)]
  AR-15 group                                  66,042                38,511                   1.714                27,531
  Intratec 9mm, 22                            102,682                33,578                   3.058                69,104
  SWD family (all) & MAC (all)                 14,380                10,508                   1.368                 3,872
  AA Arms                                      17,280                 6,561                   2.633                10,719
  Calico 9mm, 22                                3,194                 1,979                   1.613                 1,215
  Lorcin, Davis                               184,139               282,603                   0.652
  Assault Weapon Total*                       203,578                 91,137                  2.233               112,441
  *Assault weapon total excludes Lorcin/Davis group



           Table 4-10 also displays "excess" production, the difference between 1994 production and 1989–93
  average production. Excess 1994 production for the five assault weapon types shown in the table was
  approximately 112,000, which were added to the stock of grandfathered assault weapons eligible for resale after
  the ban took effect.




             36 BATF production data for rifles are not disaggregated by model or caliber. While we could be confident that
  nearly all Colt's rifles belong to the AR-15 family and could therefore use Colt's rifle production data as an index of AR-15
  production, Sturm, Ruger produces too many rifles besides the Mini-14 for us to have a reliable index of Mini-14 production.


           37 It may be of interest that the Intratec, SWD, and Calico/Feather groups, but not the AR-15 group, also had
  production peaks in 1989, the year of the assault weapon import ban.




                                                           Exhibit
                                                           48      6
                                                              0214
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  Figure 4-10. Annual production data, Colt and Olympic Arms AR-15 type (years with complete data only)
      Annual Production Data, Colt and Olympic Arms AR-15 Type
                   (years with complete data only)


       70
                                                                                                 Total
       60

       50

       40
                                                                                                 Colt
       30

       20

       10                                                                                        O.A.

        0
            86        87       88          89          90          91     92          93        94
                                   Total        Colt Rifles    Olympic Arms
       Eagle, Bushmaster, DPMS, SGW, Essential Arms not included
  Figure 4-11. Annual production data, SWD group (missing data in some early years)
                           Annual Production Data, SWD Group
                            (missing data in some early years)

       16
                                                                                                     SWD
       14                                                                                            Group


       12

       10

        8

        6

        4                                                                     Total
                                                                              indicates data
        2                                                                     missing for
                                                                              1983–85.
        0
            80   81    82     83    84     85     86    87    88    89   90    91     92   93   94

    SWD Group includes SWD, RPB, Wayne Daniel, FMJ, and Cobray




                                                              Exhibit
                                                              49      6
                                                                 0215
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  Figure 4-12. Annual production data, small-caliber semiautomatic pistols
     Annual Production Data, Small-Caliber Semiautomatic Pistols
                        (all years complete)
    600


    500


    400


    300


    200
                                                                                      Total

    100                                                                                Lorcin
                                                                                       Davis
       0
           86     87        88        89          90    91        92         93      94
                                     Total    Lorcin    Davis

       Lorcin, Davis 22, 25, 32, 380's included


  4.3. UNINTENDED CONSEQUENCES: GUN THEFTS AND
  “LEAKAGE”

            4.3.1. Introduction
           As a final consideration of the ban’s impact on gun markets, we investigated trends in stolen firearms.
  Given the boom in production of the banned weapons prior to the assault weapon ban, there would appear to be a
  substantial stockpile of banned weapons, some of which may “leak” from gun dealers and carriers into the hands
  of criminals and other violence-prone individuals after the ban through a combination of recorded transfers,
  unrecorded transfers, and thefts.

            Indeed, we hypothesized that the Crime Act might have the unintended consequence of increasing
  reported thefts of the banned weapons for two reasons. Short-term price increases in primary markets might
  temporarily keep assault weapons from entering the sales distribution channels to criminals, who might be
  tempted to steal them instead. In addition, dealers who had paid high speculative prices for grandfathered assault
  weapons around the time of the of the ban but then suffered the post-ban price decline prices might be encouraged
  to sell their to ineligible purchases and then report the weapons as stolen to BATF, who in turn would enter them
  into the Federal Bureau of Investigation’s national database on stolen firearms. Our tests of these hypotheses had
  to recognize that any observed rise in assault weapon thefts could be due, at least in part, to new theft reporting
  requirements established for firearm dealers by Subtitle C of Title XI. In the sections below, we describe the tests
  and findings.




                                                       Exhibit
                                                       50      6
                                                          0216
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           4.3.2. Data and Analysis Strategy
            Since 1967, the Federal Bureau of Investigation has stored law enforcement agency reports of stolen and
  recovered guns in a database maintained by the National Crime Information Center (NCIC). This database
  contains records on guns which have been reported stolen to participating agencies. It also includes a relatively
  small number of guns which have been recovered by law enforcement agencies but which have not been reported
  stolen to the FBI. The latter category of guns accounts for about 6 percent of the guns in the database, and we
  removed them from our analysis. Weapons which are stolen and later recovered are removed from the database by
  the NCIC. Thus, the file contains only guns which have been stolen and not recovered. Among other items, the
  database contains entries for the following: the date the gun was reported stolen ; the weapon type, make, model,
  caliber, and serial number of the gun; and the agency to which the weapon owner reported the theft.

           For our analysis, we utilized data on guns stolen between January 1992 and May 1996. Our analysis of
  assault weapon thefts focused upon our select group of domestic assault weapons. Unfortunately, weapon model is
  missing for the majority of the records in the file. Therefore we used the following operational definitions to
  approximate thefts of assault weapons and other guns:38

  1)       Colt AR15 group: all .223 caliber firearms made by Colt, Eagle, Olympic/SGW, Essential Arms,
           Bushmaster, and Sendra.

  2)       Intratec group: all 9mm and .22 caliber semiautomatic weapons made by Intratec and all 9mm
           semiautomatic handguns made by AA Arms.

  3)       SWD group: all 9mm, .380, and .45 caliber semiautomatic weapons made by SWD, Ingram, Military
           Armaments Corp., and RPB Industries.

  4)       Features test group: all semiautomatic handguns and rifles made by Calico and all 9mm and .22 caliber
           semiautomatic rifles made by Feather.

  5)       Non-banned large-capacity handguns: Based on the relative frequency of the Glock 17 and Ruger P89
           among guns traced by BATF (see Chapter 2), we used Glock and Ruger 9mm semiautomatic handguns to
           operationalize this count.

           4.3.3. Trends in Stolen Assault Weapons
           Statistics in Table 4-11 show that the number of assault weapons reported stolen per month was higher
  during the post-ban period than during the pre-ban period. These figures combine all of the assault weapons in our
  select group. As is shown in




           38 We arrived at these operational definitions by examining the varieties of gun types, makes, models, and calibers
  contained in the Blue Book of Gun Values (Fjestad 1996). The largest approximation error is probably that Group 2 includes the
  Protect .22, which is not banned and does not accept large-capacity magazines.




                                                          Exhibit
                                                          51      6
                                                             0217
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  Figure 4-13, this post-ban increase continued an upward trend which began before the assault weapon ban.
  Interpreting the raw numbers of assault weapons thefts is problematic even with time series methods, however,
  because the Subtitle C theft reporting requirement for FFL's may have caused an artificial increase in reported
  thefts. The monthly average of total reported gun thefts did increase from approximately 11,602 for the January
  1992 through August 1994 period to 12,806 during the September 1994 through May 1996 period, although we did
  not make systematic attempts to explain the increase.

  Table 4-11.   Pre-ban (Jan. 1992-Aug. 1994) to post-ban (Sept. 1994-May 1996) changes in counts of stolen assault
                weapons and unbanned semiautomatic handguns capable of accepting large-capacity magazines
                                                                     Pre-ban           Post-ban
                                                                     monthly           monthly
   Stolen gun type                                                   mean              mean
   Assault weapons                                                       2,334             2,642

   Unbanned large-capacity semiautomatic handguns                          235               343



  Table 4-12.   Pre-ban (Jan. 1992-Aug. 1994) to post-ban (Sept. 1994-May 1996) changes in ratios of stolen assault
                weapons and unbanned semiautomatic handguns capable of accepting large-capacity magazines

                                                                        Pre-ban           Post-ban            Change


   Ratio:   Assault weapons ÷ automatic and semiautomatic                  .449              .463              +3%
            guns
   Ratio:   Unbanned large-capacity semiautomatic handguns                .054               .073              +35%
            ÷ All semiautomatic handguns


            To control for possible confounding effects of the Subtitle C reporting requirement, we examined assault
  weapon thefts as a proportion of all reported thefts of semiautomatic and automatic weapons. A post-ban increase
  in this proportion would suggest a rise in assault weapon thefts which occurred independently of any Subtitle C
  effect. We used semiautomatic and automatic weapons as our baseline rather than all reported thefts in order to
  control for changes in the composition of the gun stock; semiautomatic firearms, of which assault weapons are a
  subset, have grown dramatically since the late 1980s as a share of the firearms market. Relatedly, some law
  enforcement personnel have suggested to us that gun theft victims are more likely to report thefts of recently
  purchased firearms because it is easier for victims to assemble information necessary for a theft report (such as
  serial numbers) when dealing with a newer firearm. Finally, expressing assault weapons as a proportion of
  semiautomatic/automatic weaponry may correct potential bias stemming from the NCIC's removal of recovered
  weapons from their data system. Some evidence suggests that semiautomatic handguns tend to move more
  quickly from retail sale to crime than do other firearms (Kennedy et al. 1996). If this process works the same way
  for the time from theft to use in crime and recovery by police, then assault weapons and other semiautomatic
  firearms may tend to drop out of the system at a faster rate than other firearms.




                                                       Exhibit
                                                       52      6
                                                          0218
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  Figures in Table 4-12 reveal that between 1992 and 1996 automatic and semiautomatic assault weapon thefts
  increased only very slightly (about 3%) as a proportion of thefts of rapid fire weapons. A contingency table chi-
  square test indicated that this was a statistically significant increase (p<.01).39 However, an interrupted time
  series analysis of monthly trends (see Figure 4-14) failed to provide any strong evidence that the ban caused a
  change in the proportion of semiautomatic/automatic firearm thefts involving assault weapons.40 Either way, the
  relative Increase in assault weapon thefts appears to have been very modest.



            39 The proportion of semiautomatic/automatic gun thefts accounted for by assault weapons is strikingly large in light
  of the generally low prevalence of these guns among confiscated and traced weapons. Due to the manner in which we
  approximated assault weapon thefts, our figures probably overstate assault weapon thefts to some degree. In addition, BATF
  agents have suggested to us that assault weapon thefts may be more likely to be reported to NCIC than thefts of other firearms
  due to owners’ insurance claims on assault weapons and owners’ concerns about how stolen assault weapons may be used.
            Errors in the data submitted by law enforcement agencies may also be relevant. The NCIC uses character and
  numeric codes to identify manufacturers, weapon types, and calibers. To assess coding error in the data, we ran a number of
  crude reliability tests with guns made by selected manufacturers. To illustrate, if a particular handgun manufacturer makes only
  semiautomatic handguns, one can examine all guns made by that company which appear in the database and determine what
  percentage were coded as weapon types other than semiautomatic handguns. If 5% of the guns produced by this manufacturer
  have other weapon type codes, then the manufacturer and/or weapon type must be incorrect for that 5% of cases.
            We chose guns made by Davis Industries and Intratec for our tests. Davis Industries makes only derringers and
  semiautomatic pistols (Fjestad 1996, pp.412-413). Davis derringers are made in .22, .25, .32, .38, and 9mm calibers. The
  company’s semiautomatic pistols are produced in calibers .32 and .380. Of the several thousand guns in the data coded as
  Davis Industries firearms, about 10% were coded as weapon types other than derringers or semiautomatic handguns (most of
  these were coded as revolvers). Virtually 100% of the Davis Industries derringers had calibers in the proper range, as did 95%
  of the semiautomatic handguns.
             Intratec, a prominent maker of assault weapons, makes derringers in .38 caliber and produces semiautomatic handguns
  in .22, .25, .380, .40, .45, and 9mm calibers (Fjestad 1996, pp.577-579). Approximately 89% of the several thousand guns
  coded as Intratecs were coded as semiautomatic handguns or derringers. Nearly 100% of the Intratec semiautomatic handguns
  had caliber codes in the proper range, while 97% of the derringers had the proper caliber.
            In light of the various coding errors which are present in the NCIC data, we constructed our counts of assault weapons
  and semiautomatic/automatic guns using a broad array of weapon type codes corresponding to various semiautomatic and fully
  automatic weapon types. The analyses described above seem to indicate that errors in the numerator and denominator of our
  assault weapon measure are roughly proportional. Finally, our analysis assumes that any biases in the data resulting from the
  various issues discussed above have remained relatively constant from the pre-ban to post-ban periods.
           40 Due to ambiguity regarding the form of the ban's hypothesized impact on assault weapon thefts, we tested a
  number of impact models (see McCleary and Hay 1980). The temporary increase in assault weapon prices which occurred
  around the time of the ban may have raised the incentive for criminals to steal assault weapons, thereby creating an abrupt,
  temporary impact on thefts of assault weapons. However, an abrupt temporary impact was inconsistent with the data.
            The eventual fall in assault weapon prices, on the other hand, could have increased the incentive for dealers to "leak"
  the guns to illegitimate buyers. The gradual decline of assault weapon prices documented in the price analysis would suggest a
  gradual, permanent impact on assault weapon thefts. However, an abrupt, permanent impact also seems plausible. Further,
  abrupt, permanent impact models are less demanding on the data and sometimes provide a better fit and more accurate results
  even when the true form of the impact is not of this type (see McDowall et al. 1996). In this case, a gradual, permanent impact
  model yielded insignificant results and provided a worse fit to the data than did an abrupt, permanent impact model.
            Assessment of the abrupt, permanent impact model was complicated by the presence of an outlier observation
  corresponding to March 1993, during which time there was an unusually low proportion of thefts involving assault weapons
  (see Figure 4-14). We therefore estimated models with and without this observation. In the first model, we retained the outlier
  observation and logged the data series. This model suggested that the ban produced a moderately significant (p<.10) positive
  impact on the proportion of semiautomatic/automatic gun thefts that involved assault weapons. (After adding the intervention
  component, this model did not require any autoregressive or moving average parameters for the noise component). When the
  outlier observation was removed, however, the model failed to yield evidence of an impact from the ban. (The noise




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  component for this model included a fourth order autoregressive subset model [see SAS Institute 1993] in which all parameters
  except the fourth were set to zero).




                                                          Exhibit
                                                          54      6
                                                             0220
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  Figure 4-13. Stolen assault weapons count, January 1992–May 1996
                           Stolen assault weapons count
                                 January 1992 - May 1996
    3500


    3000


    2500


    2000


    1500


    1000


     500


         0




             Feb
             Feb




             Feb
             Feb




             Feb




             May




             May




             May
             May




             May




             Mar




             Mar




             Mar
             Mar




             Mar




             Oct




             Apr




             Oct




             Apr




             Oct




             Apr
             Apr




             Oct




             Apr




             Aug
             Sep




             Aug
             Sep


             Dec
             Aug
             Sep




             Aug
             Sep
             Dec




             Dec




             Dec
              Jul




              Jul
              Jul




              Jul




             Nov
             Nov




             Nov




             Nov
             Jan



             Jun




             Jan



             Jun




             Jan
             Jan



             Jun




             Jan



             Jun




  Figure 4-14. Assault weapons as a proportion of stolen semiautomatic and automatic guns, January 1992–June 1996
    Assault Weapons As a Proportion of Stolen Semiautomatic and
                         Automatic Guns
                                 January 1992 - May 1996
   0.6


   0.5


   0.4


   0.3


   0.2


   0.1


     0
         Feb




         Feb




         Feb




         Feb




         Feb

         April
         May




         May




         May




         May




         May
         Mar




         Mar




         Mar




         Mar




         Mar
          Apr




          Oct




          Apr




          Oct




          Apr




          Oct




          Apr




          Oct
         Aug
         Sep


         Dec




         Aug
         Sep


         Dec




         Aug
         Sep


         Dec




         Aug
         Sep


         Dec
         Nov




         Nov




         Nov




         Nov
          Jan




          Jun




          Jan




          Jun




          Jan




          Jun




          Jan




          Jun




          Jan
           Jul




           Jul




           Jul




           Jul




                                                     Exhibit
                                                     55      6
                                                        0221
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           Additional analyses (not shown) revealed that the assault weapon trends were driven entirely by assault
  pistols. Thefts of the AR15 group weapons, for example, were rather few in number both before and after the ban,
  and they decreased both in numbers and as a proportion of stolen weapons during the post-ban months.

           4.3.4. Trends in Thefts of Non-Banned Semiautomatic Handguns Capable of
           Accepting Large-capacity Magazines
           In another set of analyses, we investigated whether the ban affected thefts of non-banned semiautomatic
  handguns capable of handling banned, large-capacity magazines. A number of effects seem plausible. If the
  magazine ban has been effective in decreasing the availability of large-capacity magazines, one might hypothesize
  a decrease in offenders’ demand for handguns capable of accepting these magazines and a decrease in thefts of
  these weapons from primary-market dealers and eligible owners. Alternatively, if a similar decrease in the
  demand for these guns drove down their prices in the primary market, it might increase the incentive for dealers to
  leak the guns to the illegal market and report the guns as stolen or missing. However, recent years’ Blue Book
  values for Glock pistols suggest that their primary-market prices have been quite stable, when adjusted for
  inflation. Therefore, if these magazines are still widely available in secondary markets, some offenders might
  desire to substitute unbanned large-capacity handguns for banned assault weapons. In that case, we might also
  expect to see a rise in thefts of these guns.

           Average monthly thefts of these weapons were higher in the months following the ban (Table 4-11).
  Moreover, thefts of these guns increased by about a third during the post ban period as a fraction of all
  semiautomatic handgun thefts (Table 4-12). However, Figure 4-15 and Figure 4-16 show that thefts of these guns
  were trending upwards in both numbers and as a proportion of semiautomatic handgun thefts both before and after
  the ban. A time series analysis did not provide conclusive evidence that handguns accepting large-capacity
  magazines increased significantly after the ban as a fraction of semiautomatic handgun thefts.41 (We did not
  employ contingency table chi-square tests due to the clear upward trend in this variable.) At any rate, the Crime
  Act does not appear to have decreased criminal demand for these guns, as approximated by theft reports.




           41 We tested a variety of potential impact forms for this time series, though we considered an abrupt, permanent
  impact or a gradual, permanent impact to be most plausible in light of the steadily increasing prices for Glock magazines
  documented in the price analysis. A model with an abrupt, permanent intervention component and a first order autoregressive
  process for the noise component provided an adequate fit to the data. However, this model yielded an impact estimate virtually
  identical to the change in the proportion measure shown in Table 4-12 (an increase of approximately one third). In light of the
  clear pre-ban upward trend in this measure shown in Figure 4-16, we find this effect to be implausible and suspect that the data
  series is too short to provide a rigorous test of the ban's impact using this methodology.
                        We ran a crude alternative test in which we regressed the proportion measure on a time trend and a pre-
  ban/post-ban indicator variable. The time trend variable was significant, while the post ban variable suggested a positive, but
  statistically insignificant, increase of about 7% in the proportion measure.




                                                            Exhibit
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                                                               0222
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  Figure 4-15. Stolen unbanned large-capacity semiautomatic handgun counts, January 1992–May 1996
    Stolen unbanned high capacity semiautomatic handgun counts
                                  January 1992 - May 1996
   500



   400



   300



   200



   100



     0
          May




          May




          May




          May




          May
          Mar




          Mar




          Mar




          Mar




          Mar
          Apr




          Oct




          Apr




          Oct




          Apr




          Oct




          Apr




          Oct




          Apr
          Aug
          Sep


          Dec




          Aug
          Sep


          Dec




          Aug
          Sep


          Dec




          Aug
          Sep


          Dec
          Feb




          Feb




          Feb




          Feb




          Feb
          Nov




          Nov




          Nov




          Nov
          Jan




          Jun




          Jan




          Jun




          Jan




          Jun




          Jan




          Jun




          Jan
           Jul




           Jul




           Jul




           Jul
         Glock and Ruger Models

  Figure 4-16. Thefts of unbanned large-capacity semiautomatic handguns as a proportion of all semiautomatic
               handguns, January 1992–June 1996
    Thefts of unbanned high capacity semiautomatic handguns as a
                proportion of all semiautomatic handguns
                                  January 1992 - May 1996
    0.1



   0.08



   0.06



   0.04



   0.02



      0
          Aug
          Sep


          Dec




          Aug
          Sep


          Dec




          Aug
          Sep


          Dec




          Aug
          Sep


          Dec
          Feb




          Feb




          Feb




          Feb




          Feb
          Nov




          Nov




          Nov




          Nov
          Jan




          Jun




          Jan




          Jun




          Jan




          Jun




          Jan




          Jun




          Jan
          May




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          May




          May
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          Oct




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          Oct




          Apr
           Jul




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           Jul




         Glock and Ruger Models




                                                     Exhibit
                                                     57      6
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                                        5.        UTILIZATION EFFECTS

  5.1.     BATF NATIONAL FIREARM TRACE DATA

           5.1.1. Introduction: Data and Limitations
           To provide national level estimates of the use of assault weapons, we obtained data on firearm trace
  requests submitted to the U.S. Bureau of Alcohol, Tobacco and Firearms (BATF) by Federal, State, and local law
  enforcement personnel throughout the nation from January 1993 through May 1996. BATF maintains a firearm
  tracing center in West Virginia. Upon request, personnel at this center can trace firearms to their last point of
  recorded sale in a primary market. BATF makes this service available to police departments throughout the
  country to assist in criminal investigations.

           The assault weapon trace file provided by BATF contains the make, model, and caliber of all models
  subject to the assault weapons ban (the designations are discussed in more detail below). Further, the file includes
  the month and year when BATF received the request, the state from which the request originated, and type of
  crime with which the firearm was associated. Our data for total traces consist of aggregate counts of traces broken
  down by month, year, state, weapon type,42 and offense.

            BATF trace data are the only available national-level sample of guns used in crime. Nevertheless, BATF
  trace data have significant limitations for research purposes. As Zawitz (1995, p.4) has noted, trace requests
  represent an unknown fraction of all guns used in crime. In terms of general limitations, BATF cannot trace
  military surplus weapons, imported guns without the importer name, stolen guns, or guns without a legible serial
  number (Zawitz 1995, p.4). Tracing guns manufactured before 1968 is also difficult because FFL's were not
  required to keep records of their transactions prior to that time. BATF does not generally trace guns having a
  manufacturing date more than six years old (such guns are likely to be many transfers removed from the original
  retail purchaser), though BATF can and does trace these guns in response to special requests.

           Moreover, trace data are based on requests from law enforcement agencies; yet not all guns used in crime
  are seized by authorities, and agencies, particularly local ones, do not submit all guns they seize for tracing.
  Consequently, firearms submitted to BATF for tracing may not be a representative sample of firearms used in
  crime. Previous studies of trace data have suggested that only about 10 percent of gun crimes and 2 percent of
  violent crimes result in trace requests to BATF (Cox Newspapers 1989, p.3; Kleck 1991, p.75).43

           The vast majority of weapons submitted to BATF for tracing are associated with weapons offenses, drug
  offenses, or violent crimes. In 1994, 72% of traces were for weapons offenses, 12% were for drug-related
  offenses, 12% were for the combined violent crimes of homicide, assault, and robbery, and 2% were for burglary




           42 The weapon categories consist of revolver, pistol, derringer, rifle, shotgun, combination rifle/shotgun, and a few
  other miscellaneous categories.
             43 A prior study of BATF trace data by Cox Newspapers (1989) suggested that police are more likely to request gun
  traces for organized crime and drug trafficking. Further, the study indicated that these were the types of crimes with which
  assault weapons were most likely to be associated. Nearly 30 percent of the gun traces tied to organized crime were for assault
  weapons as defined by the Cox study (their definition did not match that in the 1994 Crime Act), and 12.4 percent of gun traces
  for drug crimes involved these guns. In contrast, assault weapons accounted for only 8 percent of gun trace requests for assaults
  and homicides.




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  (BATF 1995a, p.43). The high representation of weapons offenses was probably due to the fact that 57% of the
  trace requests were made by BATF field offices (BATF 1995a, p.45).

            Because of the predominance of weapons offenses, BATF trace data might not appear to be a good
  indicator of guns used in violent and/or drug-related crime. However, the fact that a gun was not seized in
  association with a specific violent crime does not rule out the possibility that it had been used or would have been
  used in violent crime. Substantial percentages of adult and juvenile offenders carry firearms on a regular basis for
  protection and to be prepared for criminal opportunities (Sheley and Wright 1993; Wright and Rossi 1986). In
  Kansas City, Missouri, for example, about 60% of the guns seized as a result of regular police enforcement
  activity in high crime beats in 1992 were seized in conjunction with pedestrian checks, car checks, and other
  traffic violations (Shaw 1994, p.263).44 Moreover, drug offenders tend to be disproportionately involved in
  violence and illegal gun traffic (National Institute of Justice 1995; Sheley and Wright 1993). Thus, guns seized in
  association with weapons offenses and violent offenses — in addition to those seized for drug-related crimes —
  may serve as a good indicator of guns possessed by drug offenders.

           Despite their limitations, guns confiscated by law enforcement agencies are a reasonable index of guns
  used in violent and drug-related crime, and they are the best available indicator of changes over time in the types
  of guns used in crime and possessed and/or carried by criminal and otherwise deviant or high risk persons. BATF
  trace data are the only such national sample.

            Yet, another important limitation to national trace data is that the process by which state and local law
  enforcement agencies decide to submit guns for tracing is largely unknown, and there are undoubtedly important
  sources of variation between agencies in different states and localities (and perhaps regions). For instance, a state
  or local agency may be less likely to need the tracing services of BATF if its state or city maintains its own
  firearms registration system. Knowledge of BATF's tracing capabilities and participation in federal/state/local
  law enforcement task forces are some additional factors that can affect an agency's tracing practices. Further,
  these conditions will vary over time; for example, BATF has been actively trying to spread this knowledge and
  encourage trace requests since 1994. For all of these reasons, BATF trace data should be interpreted cautiously.

            Finally, prior studies have suggested that assault weapons are more likely than other guns to be submitted
  for tracing.45 However, this generalization may no longer be valid, for, as is discussed below, police appear to be
  requesting traces for increasing proportions of confiscated firearms.

           5.1.2. Trends in Total Trace Requests
           Table 5-1 presents yearly changes in trace requests for all firearms for 1993 through early 1996. Total
  traces grew 57 percent from 1993 to 1994, decreased 11 percent from 1994 to 1995, and then increased 56 percent
  from 1995 to 1996. In contrast, Table 5-2 indicates that gun crimes declined throughout the 1993–95 period
  (national gun crime figures are not yet available for 1996). The increase in gun trace requests that occurred in
  1994 was not attributable to an increase in gun crime and thus appears to have reflected a change in police trace
  request behavior and/or BATF initiatives. The large growth in traces in early 1996 also seems to be unrelated to
  gun crime (national gun crime figures for 1996 are not yet available, but we are not aware of any data suggesting


            44 This calculation excludes guns seized by special crime hot spots patrols which were proactively targeting guns.
  Thus, the figure reflects normal police activity.
             45 Prior estimates have indicated that approximately 5 to 11 percent of trace requests are for assault weapons (Cox
  Newspapers 1989; Lenett 1995; Zawitz 1995), though these estimates have not all been based on the 1994 Crime Act definition
  of assault weapons.




                                                           Exhibit
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  that gun crime has increased over 50 percent since 1995). On the other hand, the decline in trace requests in 1994
  mirrored the decline in gun crime, particularly gun homicides (the most accurately measured gun crime category),
  suggesting that tracing practices were fairly stable from 1994 to 1995.

  Table 5-1.    Total traces, January 1993–May 1996
                                                                                                     Percent change from
               Year                           Total                    Monthly average                  previous year
               1993                          55,089                        4,591                             N/A

               1994                          86,216                           7,185                           + 57

               1995                          76,924                           6,410                            - 11

              1996                        54,254                             10,851                           +56*
          (Jan.-May)
   * Change is expressed relative to January through May of 1995.



  Table 5-2.    National trends in gun crime, 1993–95
                                                                                                     Percent change from
               Year                         Offense                         Number                      previous year
               1993                       Gun murders                       16,136                           N/A

               1994                       Gun murders                        15,463                            -4

               1995                       Gun murders                        13,673                            - 12

               1993                      Gun robberies                       279,737                           N/A

               1994                      Gun robberies                       257,428                           -8

               1995                      Gun robberies                       238,023                           -8

               1993                   Gun aggrav. assaults                   284,910                           N/A

               1994                   Gun aggrav. assaults                   268,788                           -6

               1995                   Gun aggrav. assaults                   251,712                           -6

   Sources: FBI Uniform Crime Reports, Crime in the United States (1996, pp.18, 26-29, 31-32; 1995, pp.18, 26-29,
   31; 1994, pp.27-29, 31-32).


           As a comparison to national trends, Table 5-3 presents gun confiscation figures for the cities of Boston
  and St. Louis, two cities for which we have data on all confiscated firearms.46 The Boston data are consistent with
  national trends in gun violence in that they show decreases in gun seizures for each year. 47 In St. Louis, gun
  confiscations increased slightly in 1994, but in 1995, they decreased by an amount comparable to the nationwide


           46 These Boston data were provided to us by the Boston Police Department via researchers at Harvard University.
  The St. Louis data are from the St. Louis Police Department and were provided by researchers at the University of Missouri, St.
  Louis.
           47 The sharp decrease in gun confiscations from 1995 to 1996 may be due in part to recent youth gun violence
  initiatives being undertaken by the Boston Police Department in collaboration with a number of other agencies and researchers
  from Harvard University (Kennedy et al. 1996; Kennedy 1996).




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  decreases in gun murders and gun robberies. Of course, trends in Boston and St. Louis may not be indicative of
  those in the rest of the nation. Nevertheless, the contrast between the Boston and St. Louis figures and the national
  tracing figures provide further evidence that changes in national gun traces in 1994 and early 1996 were driven
  largely by police practices and BATF initiatives rather than changes in gun crime.

  Table 5-3.    Gun confiscations/traces, January 1993–May 1996
                                                                                                      Percent change from
               Year                            Total                    Monthly average                  previous year
   Gun confiscations/traces for Boston, MA, January 1993–May 1996
             1993                        866                     72                                             N/A

               1994                             762                              64                            - 12%

               1995                             712                              59                            - 7%

               1996                             241                              48                           - 28%*
            (Jan.-May)
   Gun confiscations in St. Louis, MO, 1993–95
             1993                       3,544                                   295                             N/A

               1994                            3.729                            311                             5%

               1995                            3,349                            279                            -10%

   *Change is expressed relative to January-May of 1995.



            In sum, the changes in national trace requests which occurred in 1994 and early 1996 appear to have
  stemmed from BATF initiatives. Although we have little documentation of these changes, our consultations with
  BATF agents have suggested that the surge in trace requests from 1993 to 1994 was due largely to internal BATF
  initiatives that now require agents to submit all confiscated firearms for tracing. In addition, BATF has made
  efforts to encourage more police departments to submit trace requests and to encourage police departments to
  request traces for greater fractions of their confiscated weapons. One example is BATF's national juvenile
  firearms tracing initiative launched in late 1993 (BATF 1995b, p.21). Greater cooperation between BATF and
  local agencies (through, for example, special task forces) has also resulted in more trace requests according to
  BATF officials, and a few states and localities have recently reached 100 percent tracing. Beginning in the fall of
  1995, moreover, agents from the tracing center began visiting BATF's field divisions to inform federal, state, and
  local law enforcement personnel about the tracing center's services and capabilities, including the implementation
  of computerized on-line tracing services. This would appear to be a major factor behind the growth in trace
  requests from 1995 to 1996.

           For the 1994–95 period, however, tracing practices seem to have remained steady. The decline in traces
  in 1995 matched a real decrease in gun crimes. These developments have important ramifications for the analysis
  of assault weapon traces.48


             48 We made limited efforts to further disentangle federal and state/local trends by obtaining annual data on traces
  from a number of states broken down by requesting agency. We examined trace requests from a number of cities where,
  according to informal judgments by BATF agents, cooperative efforts between local law enforcement agencies and BATF had
  resulted in the submission of trace requests for a relatively high percentage of confiscated firearms over an extended period.
  We anticipated that trace requests from BATF field offices in these locations would show substantial increases from 1993 to




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            5.1.3. Total Assault Weapon Traces
            During the period from January 1993 through May 1996, BATF received 12,701 trace requests for assault
  weapons. This count covers specific makes and models listed in the 1994 Crime Act, exact copies of those makes
  and models, and other firearms failing the Crime Act’s features test for assault weapons.49 The requests include
  all states, Washington, D.C., Puerto Rico, and Guam.50

           Table 5-4 shows the number, monthly averages, and percentage changes of assault weapon traces for each
  year. Assault weapon traces increased 9 percent from 1993 to 1994, declined 20 percent from 1994 to 1995, and
  then increased 7 percent from 1995 to 1996. While one cannot entirely dismiss the possibility that the use of
  assault weapons rose in 1994 and 1996, it seems likely that these increases were due partially or entirely to the
  general increase in police trace requests which occurred during those years. Yet assault weapon traces increased
  by amounts much smaller than did total traces in 1994 and 1996, a finding which supports the conjecture that
  police have been more consistently diligent over time in requesting traces for confiscated assault weapons.51




  1994, and that requests from the local law enforcement agencies would rise from 1995 to 1996. However, the figures from
  these locations did not reveal any clearly interpretable patterns. Any patterns which might have existed may be obscured by the
  fact that local agencies may submit traces directly to the tracing center or submit them indirectly through local ATF field
  offices. In 1994, for example, 17% of trace requests were from outside (i.e., non-BATF) agencies directly, while 26% were
  from outside agencies through BATF offices (BATF 1995, p.45). Our judgment is that analyzing trace requests according to
  submitting agency will not necessarily illuminate the ambiguities in interpreting trace request trends without extensive research
  into both the processes by which guns are selected for tracing and submitted by local agencies and BATF field offices and the
  impact of special BATF/local initiatives on these processes.
            49 The guns designated as “features test” guns consist of makes and models that fail the features test based on
  manufacturer specifications. The file does not generally include guns which were legal as manufactured but were later modified
  in ways which made them illegal. (Firearms which are traced by BATF are not actually sent to BATF for inspection). Further,
  firearms are often manufactured and sold with various options, and the legal/illegal status of some models is contingent upon
  the particular features with which the gun was manufactured. For example, a Franchi Spas 12 shotgun may or may not be an
  assault weapon depending upon the size of its ammunition magazine (prior to the ban, the gun was sold with 5 shot and 8 shot
  tube magazines - see Fjestad [1996, p.471]). Unfortunately, this level of detail is not available in the BATF data. Potential
  assault weapon models like the Franchi Spas 12 were included in the assault weapon file, but, as is discussed later in the text,
  we did not utilize them in all analyses.
           50 It should be noted that the firearm make and model designations in BATF trace data are made by the law
  enforcement officers who submit the requests. Undoubtedly, there exists some level of error in these designations, though we
  do not have any data with which to estimate the error rate.
            51 The 1996 assault weapon traces include 89 observations identified as "duplicate traces." Although these trace
  requests can sometimes represent instances in which the same gun was used in multiple crimes, they usually represent instances
  in which, for various administrative reasons, a particular trace request was entered into the computer system more than once.
  Unfortunately, it is not possible to identify duplicate trace requests for years prior to 1996. In order to treat data from all years
  in a consistent manner, we therefore retained all of the 1996 trace requests for the analysis. Consequently, the total and assault
  weapon trace numbers presented in this report overstate the true numbers of trace requests. Our analysis of the trace data rests
  on the assumption that the rate of duplicate tracing has remained relatively constant over the 1993–96 period.




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  Table 5-4.    Assault weapons traces, January 1993–May 1996
                                                                                                     Percent change from
               Year                           Total                     Monthly average                 previous Year
               1993                           3,748                          312                             N/A

               1994                           4,077                            340                            + 9%

               1995                           3,268                            272                            - 20%

             1996                         1,608                                322                           + 7%*
         (Jan.-May)
   *Change is expressed relative to January through May of 1995.



           Traces for assault weapons dropped more markedly from 1994 to 1995 (20 percent) than did overall
  traces (11 percent). In a t-test of 1994 and 1995 monthly means, the drop in assault weapon traces was statistically
  significant (p=.01, two-tailed test), while the drop in total traces was not (p=.22, two-tailed test). Moreover, the
  drop in assault weapon traces was substantially greater than the declines in gun murder (12 percent), gun robbery
  (8 percent), and gun assault (6 percent) for the same period. This suggests that criminal use of assault weapons
  decreased from 1994 to 1995, both in absolute terms and relative to crime trends generally. In addition, utilization
  of assault weapons in crime was less in 1995 than in 1993.

           5.1.4. Analysis of Select Assault Weapons
            As noted in Chapter 2, many of the foreign makes and models banned by Title XI were banned from
  importation prior to the passage of that legislation. Thus, any recent decrease in the use of those weapons cannot
  be attributed unambiguously to the effects of the Crime Act. For this reason, we concentrated our analyses below
  on a select group of domestic assault weapons whose availability was not affected by legislation or regulations
  predating the 1994 Crime Act. These guns include the AR15 family (including the various non-Colt copies), the
  Intratec family (including the AA Arms AP-9), and the SWD handgun family.

           In addition, we selected a small number of firearm models which, as manufactured, fail the features test
  of the assault weapons legislation. These weapons had to meet three selection criteria: 1) the weapon had to be in
  production at the time of the Crime Act (if the weapon was a foreign weapon, its importation could not have been
  discontinued prior to the Crime Act);52 2) there had to be 30 or more trace requests for assault weapons made by
  that manufacturer during the period January 1993 through April 1994; and 3) the weapon had to have an
  unambiguous assault weapon designation as it was manufactured prior to the ban (i.e., its status could not be
  conditional on optional features).53 These criteria ensured that we would capture the most prevalent assault
  weapons that were still being sold in primary markets just prior to the effective date of Title XI. We used January
  1993 through April 1994 as the selection period in order to minimize effects on the gun market which may have
  resulted from the passage of the assault weapons legislation by the U.S. House of Representatives in May of 1994.



           52 Heckler and Koch, for example, manufactured a number of rifle and handgun models which were relatively
  common among assault weapon traces (i.e., the HK91, HK93, HK94, and SP89). However, these models were all discontinued
  between 1991 and 1993 (Fjestad 1996, p.531).
           53 BATF officials assisted us in these designations. The only weapon which passed the first two criteria but not the
  third was the Franchi Spas 12 shotgun. The assault weapon trace file contained 53 trace requests for this model prior to May
  1994.




                                                          Exhibit
                                                          63      6
                                                             0229
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  The features test weapons selected for the analysis were: Calico M950 and M110 model handguns; Calico M100,
  M900, and M951 model rifles; and Feather AT9 and AT22 model rifles.

           This select group of assault weapons accounted for 82 percent of assault weapon traces submitted to
  BATF during the study period. Yearly trends in trace requests for these weapons (see Table 5-5) were virtually
  identical to those for all assault weapons. Most importantly, average monthly traces were 20 percent lower in
  1995 than in 1994 (p=.01, two-tailed test). Figure 5-1 displays the trend in monthly traces for these firearms.

  Figure 5-1.    National ATF trace data: Traces for select assault weapons, January 1993–May 1996
                                        National ATF Trace Data
                         Traces for select assault weapons, Jan 93-May 96
       400



       300



       200



       100



         0
             Jan 93
             Feb 93
             Mar 93
             Apr 93
             May 93
             Jun 93
             Jul 93
             Aug 93
             Sep 93
             Oct 93
             Nov 93
             Dec 93
             Jan 94
             Feb 94
             Mar 94
             Apr 94
             May 94
             Jun 94
             Jul 94
             Aug 94
             Sep 94
             Oct 94
             Nov 94
             Dec 94
             Jan 95
             Feb 95
             Mar 95
             Apr 95
             May 95
             Jun 95
             Jul 95
             Aug 95
             Sep 95
             Oct 95
             Nov 95
             Dec 95
             Jan 96
             Feb 96
             Mar 96
             Apr 96
             May 96
         Includes AR15 group, Intratec group, SWD handgun group, and selected Calico and Feather models

  Table 5-5.     Traces for select assault weapons,† January 1993–May 1996
                                                                                                          Percent change from
                Year                             Total                       Monthly average                 previous year
                1993                             3,040                            253                             N/A

                1994                             3,358                               280                        + 10%

                1995                             2,673                               223                        - 20%

             1996                         1,323                                      265                        + 8%*
         (Jan.-May)
   *Change is expressed relative to January through May of 1995.
   †
    Includes traces for AR15 group, Intratec group, SWD handgun group, and selected Calico and Feather models.




                                                               Exhibit
                                                               64      6
                                                                  0230
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          5.1.5. Assault Weapon Traces for Violent Crimes and Drug-Related Crimes
           To fulfill Title XI's mandate to assess the effects of the ban on violent and drug-related crime, we also
  analyzed assault weapon traces associated with violent crimes (murder, assault, and robbery) and drug-related
  crimes. We used our select group of assault weapons for this analysis. Yearly trends for these traces are presented
  in Table 5-6. Monthly trends are graphed in Figure 5-2 and Figure 5-3. A striking feature of these numbers is
  their small magnitude. On average, the monthly number of assault weapon traces associated with violent crimes
  across the entire nation ranged from approximately 30 in 1995 to 44 in 1996. For drug crimes, the monthly
  averages ranged from 34 in 1995 to 50 in 1994.




                                                     Exhibit
                                                     65      6
                                                        0231
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  Figure 5-2.   National ATF trace data: Traces for select assault weapons (violent crimes)
                                    National ATF Trace Data
           Traces for select assault weapons (Violent Crimes), Jan 93-May 96
    100


     80


     60


     40


     20


       0
           Jan 93
           Feb 93
           Mar 93
           Apr 93
           May 93
           Jun 93
           Jul 93
           Aug 93
           Sep 93
           Oct 93
           Nov 93
           Dec 93
           Jan 94
           Feb 94
           Mar 94
           Apr 94
           May 94
           Jun 94
           Jul 94
           Aug 94
           Sep 94
           Oct 94
           Nov 94
           Dec 94
           Jan 95
           Feb 95
           Mar 95
           Apr 95
           May 95
           Jun 95
           Jul 95
           Aug 95
           Sep 95
           Oct 95
           Nov 95
           Dec 95
           Jan 96
           Feb 96
           Mar 96
           Apr 96
           May 96
        Includes AR15 group, Intratec group, SWD handgun group, and selected Calico and Feather models.


  Figure 5-3.   National ATF trace data: traces for select assault weapons (drug crimes)
                                    National ATF Trace Data
            Traces for select assault weapons (drug crimes), Jan 93-May 96
    100


     80


     60


     40


     20


       0
           Jan 93
           Feb 93
           Mar 93
           Apr 93
           May 93
           Jun 93
           Jul 93
           Aug 93
           Sep 93
           Oct 93
           Nov 93
           Dec 93
           Jan 94
           Feb 94
           Mar 94
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           May 94
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           Jan 95
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           Apr 95
           May 95
           Jun 95
           Jul 95
           Aug 95
           Sep 95
           Oct 95
           Nov 95
           Dec 95
           Jan 96
           Feb 96
           Mar 96
           Apr 96
           May 96




        Includes AR15 group, Intratec group, SWD handgun group, and selected Calico and Feather models.




                                                               Exhibit
                                                               66      6
                                                                  0232
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  Table 5-6.    Traces for select assault weapons,† January 1993–May 1996 (violent and drug-related crimes)

   Violent Crimes:

                                                                                           Percent change from
   Year                         Total                         Monthly average              previous year
   1993                                     513                          43                           N/A

   1994                                     428                           36                          - 17%

   1995                                     354                           30                          - 17%

   1996                                     222                           44                         + 35%*
   (Jan.-May)


   Drug-Related Crimes:

                                                                                           Percent change from
   Year                         Total                         Monthly average              previous year
   1993                                     498                          42                           N/A

   1994                                     595                           50                          + 19%

   1995                                     403                           34                          - 32%

   1996                                    217                            43                         + 24%*
   (Jan.-May)
   *Change is expressed relative to January through May of 1995.
   †
    Includes AR15 group, Intratec group, SWD handgun group, and selected Calico and Feather models.



          Traces for assault weapons associated with violent crimes dropped 17 percent in both 1994 and 1995.
  Both decreases were greater than the decreases which occurred for violent gun crimes in each of those years.
  However, assault weapon traces for violent crime rebounded 35 percent in 1996 to a level comparable with that in
  1993.

           Assault weapon traces for drug crimes followed patterns similar to those for all assault weapons. Assault
  weapon traces increased 19 percent from 1993 to 1994, decreased 32 percent from 1994 to 1995, and then
  increased 24 percent from 1995 to 1996. The yearly fluctuations of these traces were greater than those for all
  assault weapons, but the drug trace numbers may be relatively more unstable due to the small number of weapons
  under consideration.

           5.1.6. Conclusions on National Trends in the Use of Assault Weapons
           National-level data suggest that the use of assault weapons, as measured by trace requests to BATF,
  declined in 1995 in the wake of the Crime Act. The 20 percent decrease in assault weapon trace requests from
  1994 to 1995 was greater than occurred overall, and it was greater than the 6 to 12 percent national drop in violent
  gun crime. This is demonstrated graphically in Figure 5-4. Assault weapon traces for violent crimes and drug-
  related crimes also decreased in 1995 by amounts comparable to or greater than the overall drop in assault weapon




                                                       Exhibit
                                                       67      6
                                                          0233
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  traces. Further, there were approximately 13 percent fewer assault weapon trace requests in 1995 than during the
  pre-ban year of 1993.54

  Figure 5-4.   Relative changes in total and assault weapon traces
            Relative Changes in Total and Assault Weapon Traces
                                                  1993-1996
        160

        140

        120

        100

          80

          60

          40
           1993                            1994                          1995                          1996
                                   Total      Assault weapons            Gun murder
      (1994 = 100)

            Another indication that this was an effect from the ban is that assault weapon traces declined less in 1995
  in states which had their own bans prior to the Federal legislation. Table 5-7 presents combined yearly traces for
  our select assault pistol group in the four states with assault weapon bans: California, New Jersey, Connecticut,
  and Hawaii. In general, assault weapon traces in these states followed the same pattern as did the national figures.
  The increases in 1994 and 1996 were larger than the national increases which occurred during those years, but the
  1995 decrease was smaller than the national assault weapon decrease. Further, the decline in these ban states was
  consistent in magnitude with the national drop in gun crime.55


           54 The data also do not show any obvious substitution of non-banned long guns for assault weapons. Trace requests
  for shotguns decreased 10 percent in 1995. Total rifle traces increased 3.5 percent in 1995, but our select group of assault
  weapon rifles (AR15 group and selected Calico and Feather models) also increased 3 percent. Thus, banned and non-banned
  rifles did not follow divergent trends. With currently available data, we have not been able to assess whether the assault
  weapon ban led to displacement to other categories of weapons, such as non-banned semiautomatic handguns capable of
  carrying pre-ban large-capacity magazines.
            55 We chose to examine only assault weapon pistols because assault rifles are rarely used in crime and Hawaii's
  assault weapons legislation covers only handguns. Maryland passed an assault pistol ban in 1994, but the legislation was passed
  only a few months prior to the Federal ban, so we did not include Maryland as a ban state.
            All of the assault pistol ban states outlawed one or more of the handguns in our select group of assault pistols.
  However, the coverage of these state laws varied, and our select assault pistols were not banned in all of these states. We
  therefore conducted a supplemental analysis focusing on the Intratec TEC-9 series and the M10/M11 series made by SWD and
  others. As far as we can determine, these guns were covered by all of the state assault pistol bans. Trace requests for TEC-9's,




                                                           Exhibit
                                                           68      6
                                                              0234
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  Table 5-7.    Assault pistol traces, ban states (CA, NJ, CT, and HI), January 1993–May 1996
                                                                                                     Percent change from
               Year                           Total                      Monthly mean                   previous year
               1993                            204                            17                             N/A

               1994                            228                              19                            +12%

               1995                            210                              18                            - 8%

             1996                          106                                  21                            +15%
         (Jan.-May)
   *Change is expressed relative to January through May of 1995.



           Nationally, traces for assault weapons rebounded in 1996 to a level higher than that of 1993 but lower
  than that of 1994. This could represent leakage into illegal channels from the stockpile of legal, grandfathered
  assault weapons manufactured prior to the implementation of Title XI. Production of assault weapons increased
  considerably in 1994, and prices of these weapons fell to pre-ban levels in late 1995 and early 1996 (see Chapter
  3). Over the next few years, it is possible that more, rather than fewer, of the grandfathered weapons will make
  their way into the hands of criminals through secondary markets.

           On the other hand, the increase for 1996 may be an artifact of recent BATF initiatives to increase trace
  requests from local police. The rebound in assault weapon traces might also reflect an as yet undocumented
  rebound in gun crime in 1996. Unfortunately, we cannot disentangle these possibilities with data available at this
  time, and it is not yet clear whether the 1995 decrease in our indicator of assault weapon use was temporary or
  permanent.56

           5.1.7. The Prevalence of Assault Weapons Among Crime Guns
            As is shown in Figure 5-5, assault weapon traces decreased as a proportion of all traces throughout the
  entire study period. While Title XI may have contributed to this trend, it is apparent that the trend began before
  implementation of Title XI, and, to a large degree, must reflect the disproportionate growth in trace requests for
  non-assault weapons rather than a continual decline in the prevalence of assault weapons.




  M10's, and M11's from the ban states rose 1% from 1993 to 1994, decreased 6% from 1994 to 1995, and remained steady from
  1995 to early 1996. The 6% drop in 1995 seems to confirm that assault weapon trace requests dropped in the ban states after
  implementation of the federal law but by smaller percentages than assault weapon trace requests nationwide.
           56 In light of the substantial instrumentation problems with these data and the threat which such problems pose to
  quasi-experimental time series designs (Campbell and Stanley 1963, pp.40-41), we elected not to pursue more sophisticated
  methods, such as an interrupted time series analysis, with these data.




                                                          Exhibit
                                                          69      6
                                                             0235
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  Figure 5-5.   National ATF trace data: Assault weapons as a proportion of all traces
                                    National ATF Trace Data
                           assault weapons as proportion of all traces
      0.07

      0.06

      0.05

      0.04

      0.03

      0.02

      0.01

          0
              Jan 93
              Feb 93
              Mar 93
              Apr 93
              May 93
              Jun 93
              Jul 93
              Aug 93
              Sep 93
              Oct 93
              Nov 93
              Dec 93
              Jan 94
              Feb 94
              Mar 94
              Apr 94
              May 94
              Jun 94
              Jul 94
              Aug 94
              Sep 94
              Oct 94
              Nov 94
              Dec 94
              Jan 95
              Feb 95
              Mar 95
              Apr 95
              May 95
              Jun 95
              Jul 95
              Aug 95
              Sep 95
              Oct 95
              Nov 95
              Dec 95
              Jan 96
              Feb 96
              Mar 96
              Apr 96
              May 96
           Despite this problem with interpreting trends in the prevalence of assault weapon traces, the 1996 trace
  figures arguably provide the best available estimate of the prevalence of assault weapons among crime guns.
  Firearm tracing should now be more complete and less biased than at any time previously. For January through
  May of 1996, assault weapons accounted for 3 percent of all trace requests. Our group of select domestic assault
  weapons represented 2.5 percent of all traces. Traces for the select assault weapon group accounted for 2.6 percent
  of traces for guns associated with violent crimes and 3.5 percent of traces for guns associated with drug crimes.
  This is consistent with previous research indicating that assault weapons are more likely to be associated with drug
  crimes than with violent crime (Cox Newspapers 1989; Kleck 1991). At the same time, these numbers reinforce
  the conclusion that assault weapons are rare among crime guns.

           5.1.8. Crime Types Associated with Assault Weapons
            Table 5-8 displays the types of offenses with which assault weapons were associated. For each year,
  approximately two-thirds of assault weapons were tied to weapons offenses. Drug offenses were the next most
  common, accounting for 16 to 18 percent of assault weapon traces for each year. Violent offenses ranged from 13
  to 17 percent of assault weapon traces. For comparison, the percentage of total traces associated with drug
  offenses varied between 12 and 13 percent during this period. Violent offenses accounted for 12 to 16 percent of
  total traces. Hence, assault weapons were more likely to be associated with drug offenses than were other traces.




                                                       Exhibit
                                                       70      6
                                                          0236
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  Table 5-8.    Assault weapon trace requests to BATF by crime type
                                          1993                     1994                    1995              1996 (Jan–May)
  Offense type*                        (N=3,725)                (N=4,048)               (N=3,226)               (N=1,500)
  Murder/Homicide                       .097                     .069                    .063                    .072
  Aggravated assaults                   .048                     .040                    .051                    .076
  Robbery                               .027                     .018                    .020                    .022
  Drug abuse violations                 .167                     .182                    .161                    .174
  Weapons; carrying,
                                        .647                    .665                     .661                    .581
  possessing, etc.
  Other offenses                    .015                  .025                 .046                .075
  *Offense type could not be determined for 1 percent of assault weapon traces in 1993, 1994, and 1995. Offense
  type could not be determined for 7 percent of assault weapon traces in 1996.



  5.2. ASSAULT WEAPON UTILIZATION: LOCAL POLICE DATA
  SOURCES

           5.2.1. Introduction and Data Collection Effort.
           Because of our concerns over the validity of national BATF trace data for measuring the distribution of
  guns used in crime, we attempted to collect and analyze data from a number of police departments around the
  country. We sought to acquire data on all firearms confiscated in these jurisdictions, rather than just firearms for
  which BATF trace requests were made. Analyzing all guns confiscated in a jurisdiction provides a more complete
  and less biased picture of weapons used in crime than does analysis of guns selected for BATF traces. The
  disadvantage of using local agency gun seizure data is that trends in any given jurisdiction may not be indicative
  of those elsewhere in the nation. Of course, local agency data are still subject to general limitations regarding
  police gun confiscation data which were raised in the last section (i.e., not all guns confiscated by police are used
  in violent or drug-related crime and not all guns used in crime are seized by police).

           Unfortunately, the attempt to collect local gun data fell short of our expectations. Our intention was to
  collect data from cities in states both with and without their own assault weapon bans. Further, we concentrated
  our data collection effort on cities in states which had relatively high rates of gun violence. To this end, we
  contacted several police departments around the country. However, most of the departments that we contacted
  either did not have their property records computerized or had only computerized their records a few months prior
  to the implementation of the Crime Act, thus precluding the collection of meaningful pre-ban baseline data.57

           Ultimately, we obtained data from two cities, St. Louis and Boston, neither of which is subject to a State
  assault weapon ban. From St. Louis, we acquired a database on all firearms confiscated by police from 1992
  through 1995 (N=13,863). Our Boston data consist of monthly counts of various categories of firearms
  confiscated by Boston police from 1992 through August of 1996 (total confiscations numbered 3,840 for this
  period). For both locations, we examined trends in confiscations of our select domestic assault weapon group (i.e.,
  the AR15, Intratec, and SWD families and selected Calico and Feather models). In addition, we approximated
  trends in confiscations of semiautomatic handguns capable of accepting large-capacity magazines by analyzing
  confiscations of selected Glock and Ruger pistols.



           57 Time, cost, and personnel considerations limited our ability to implement on-site data collection efforts.




                                                           Exhibit
                                                           71      6
                                                              0237
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           The patterns we discovered were relatively consistent in both cities. Assault weapon confiscations were
  rare both before and after the ban. In both cities, the data were suggestive of a decrease in assault weapon
  confiscations after the ban. As a fraction of all confiscated guns, assault weapons decreased roughly 25% in these
  cities. Thus, these data sources provide some confirmation of our inferences regarding assault weapon trends from
  the national trace data. Further, we were able to examine the crimes with which assault weapons were associated
  in St. Louis and found that, as in the national data, assault weapons are overrepresented in drug offenses but not in
  violent offenses. Finally, confiscations of non-banned semiautomatic handguns capable of accepting large-
  capacity magazines increased or remained stable after the ban as a fraction of all confiscated handguns in both St.
  Louis and Boston.58

            5.2.2. Assault Weapons in St. Louis and Boston
           St. Louis police confiscated 180 weapons in the select assault weapon group between 1992 and 1995.59
  The vast majority of these weapons were from the Intratec and SWD assault pistol groups. Average monthly
  confiscations of assault weapons dropped from 4 to 3 after the ban’s implementation (see Table 5-9). Total gun
  seizures also dropped during the post-ban months. In order to control for the general downward trend in gun
  confiscations, we examined assault weapons as a fraction of all confiscated guns. Prior to the ban, assault
  weapons accounted for about 1.4% of all guns. After the ban they decreased to 1% of confiscated guns, a relative
  decrease of approximately 29%. A contingency table chi-square test indicated that this was a statistically
  meaningful drop (p=.05). In addition, assault weapons represented a lower fraction of all guns confiscated during
  1995 (.009) than
  Table 5-9.     Summary data on guns confiscated in St. Louis, January 1992 – December 1995
                                                       Pre-ban                            Post-ban
                                                 (Jan. ‘92–Aug. ‘94)                (Sept. ‘94–Dec. ‘95)                  Change
   Total guns confiscated
   Total                                                  9,372                              4,491
   Monthly mean                                            293                                281                           -4%
   Assault guns
   Total                                                   134                                 46
   Monthly mean                                              4                                  3                          -25%
   Proportion of confiscated guns                          .014                               .010                         -29%
   Large-capacity handguns (Ruger
   and Glock)
   Total                                                   118                                 93
   Monthly mean                                              4                                  6                          +50%
   Proportion of all handguns                              .018                               .031                         +72%




            58 As stated above, analyses of local data sources have the limitation that they are not necessarily indicative of those
  elsewhere in the nation. We cannot address the various local conditions which may have impacted recent gun trends in the
  selected cities. However, we should note that youth gun violence initiatives sponsored by the National Institute of Justice have
  been ongoing in each city during recent years. It is not clear at this time what impact, if any, these initiatives have had upon the
  gun trends that are the subjects of our investigation.
            59 The St. Louis data contain a few SWD streetsweeper shotguns in addition to SWD assault pistols.




                                                             Exhibit
                                                             72      6
                                                                0238
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  during 1993 (.018), the last full calendar year prior to the passage and implementation of the ban. A monthly trend
  line for assault weapons as a fraction of all guns is shown in Figure 5-6.60 61
  Figure 5-6.    Assault weapons as a proportion of all confiscated guns, St. Louis, 1992–95
             Assault weapons as a proportion of all confiscated guns
                                                St. Louis, 1992-1995
   0.035

     0.03

   0.025

     0.02

   0.015

     0.01

   0.005

         0
             Jan 92
             Feb 92
             Mar 92
             Apr 92
             May 92
             Jun 92
             Jul 92
             Aug 92
             Sep 92
             Oct 92
             Nov 92
             Dec 92
             Jan 93
             Feb 93
             Mar 93
             Apr 93
             May 93
             Jun 93
             Jul 93
             Aug 93
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             Dec 94
             Jan 95
             Feb 95
             Mar 95
             Apr 95
             May 95
             Jun 95
             Jul 95
             Aug 95
             Sep 95
             Oct 95
             Nov 95
             Dec 95
         Includes AR15 group, Intratec group, SWD group, and selected Calico and Feather models.




           A similar picture emerged from Boston. From 1992 through August of 1996, Boston police seized only
  74 of these weapons. As in St. Louis, the vast majority were Intratec and SWD assault pistols. Table 5-10 shows

            60 We also estimated interrupted time series models to test the post intervention change in the monthly trend for the
  assault weapons proportion measure. As in the NCIC analysis reported in Section 4.3 (p.50) we considered various models of
  impact. An abrupt, temporary impact model might seem appropriate, for example, based on the price trends presented in
  Section 4.1 (p.24). Both abrupt, permanent and gradual, permanent impacts are also plausible and seem to better match the
  pattern displayed in the St. Louis data. At any rate, these analyses failed to confirm that there was a significant change in
  assault weapons as a fraction of all guns. (The best fitting model was an abrupt, permanent impact model with an
  autoregressive parameter at the third lag).
            However, we have emphasized the chi-square proportions test because the monthly series is rather short (N=48) for
  interrupted time series analysis (McCleary and Hay 1980) and because the monthly trend line provides no strong indication that
  the post ban drop was due to a preexisting trend.
             61 Average monthly confiscations of long guns (rifles and shotguns) increased somewhat from 88 in the pre-ban
  months to 92 after the ban. As a proportion of all confiscated guns, long guns rose from .299 before the ban to .326 after the
  ban. Thus, the decrease in assault weapons may have been offset by an increase in the use of long guns. However, we did not
  have the opportunity to investigate the circumstances under which long guns were seized. The post-ban increase could have
  been due, for example, to an increase in the proportion of confiscated guns turned in voluntarily by citizens. In addition, the
  ramifications of a long gun substitution effect are somewhat unclear. If, for instance, the substituted long guns were .22 caliber,
  rimfire (i.e., low velocity) rifles (and in addition did not accept large-capacity magazines), then a substitution effect would be
  less likely to have demonstrably negative consequences. If, on the other hand, offenders substituted shotguns for assault
  weapons, there could be negative consequences for gun violence mortality.




                                                                Exhibit
                                                                73      6
                                                                   0239
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  the respective numbers of total firearms and assault weapons seized before and after the Crime Act. The average
  number of assault weapons seized per month dropped from approximately 2 before the ban to about 1 after the
  ban, but total gun seizures were also falling. As a fraction of all guns, assault weapons decreased from .021 before
  the ban to .016 after the ban, a relative decrease of about 24%. A contingency table chi-square test indicated that
  this change was not statistically meaningful (p=.38), but the numbers provide some weak indication that assault
  weapons were dropping at a faster rate than were other guns. Quarterly trends for the proportions variable shown
  in Figure 5-7 suggest that assault weapons were relatively high as a proportion of confiscated guns during the
  quarters immediately following the ban, but then dropped off notably starting in the latter part of 1995.62 63
  Table 5-10.   Summary data on guns confiscated in Boston, January 1992 – August 1996
                                                      Pre-ban                          Post-ban
                                                Jan. ‘92–Aug. ‘94)               (Sept. ‘94–Aug. ‘96)                 Change
   Total guns confiscated
   Total                                                2,567                             1,273
   Monthly mean                                          80                                53                          -34%
   Assault guns
   Total                                                  53                               21
   Monthly mean                                            2                                1                          -50%
   Proportion of confiscated guns                        .021                             .016                         -24%
   Large-capacity handguns (Ruger
   and Glock)
   Total                                                  28                               17
   Monthly mean                                            1                                1                            0%
   Proportion of all handguns                            .015                             .016                          +7%




           62 We did not estimate time series models with the Boston data due to the rarity with which assault weapons were
  confiscated during the study period.
           63 In other analyses, we found that long guns decreased as a proportion of gun confiscations throughout the period,
  suggesting that there was not substitution of long guns for assault weapons in Boston.




                                                          Exhibit
                                                          74      6
                                                             0240
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  Figure 5-7.               Assault weapons as a proportion of all confiscated guns by quarter, Boston, January 1992–August 1996
        Assault weapons as a proportion of all confiscated guns by
                                quarter
                                                                         Boston, January 1992 - August 1996
   0.04



   0.03



   0.02



   0.01



       0
                                                     Oct-Dec '92




                                                                                                             Oct-Dec '93




                                                                                                                                                                     Oct-Dec '94




                                                                                                                                                                                                                             Oct-Dec '95
           Jan-Mar '92




                                                                   Jan-Mar '93




                                                                                                                           Jan-Mar '94




                                                                                                                                                                                   Jan-Mar '95




                                                                                                                                                                                                                                           Jan-Mar '96
                         Apr-Jun '92




                                                                                 Apr-Jun '93




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                                                                                                                                                                                                                                                         Apr-Jun '96
                                       Jul-Sep '92




                                                                                               Jul-Sep '93




                                                                                                                                                       Jul-Sep '94




                                                                                                                                                                                                               Jul-Sep '95




                                                                                                                                                                                                                                                                       Jul-Sep '96
                5.2.3. Assault Weapons and Crime
           Using the data from St. Louis, we were able to investigate the types of crimes with which assault weapons
  were associated. Approximately 12% of the assault weapons seized in St. Louis during the study period were
  associated with the violent crimes of homicide, aggravated assault, and robbery. Overall, about 12% of all
  confiscated guns were associated with these crimes. Hence, assault weapons do not appear to be used
  disproportionately in violent crime relative to other guns in these data, a finding consistent with our conclusions
  about national BATF trace data (see previous section). Overall, assault weapons accounted for about 1% of guns
  associated with homicides, aggravated assaults, and robberies.

           However, 27% of the assault weapons seized in St. Louis were associated with drug offenses. This figure
  is notably higher than the 17% of all confiscated guns associated with drug charges.64 This finding is also
  consistent with our national trace data analysis showing assault weapons to be more heavily represented among
  drug offenders relative to other firearms. Nevertheless, only 2% of guns associated with drug crimes were assault
  weapons.

                5.2.4. Unbanned Handguns Capable of Accepting Large-capacity Magazines
          We could not directly measure criminal use of pre-ban large-capacity magazines. Therefore, in order to
  approximate pre-ban and post-ban trends, we examined confiscations of a number of Glock and Ruger handgun
  models which can accept large-capacity magazines. These guns are not banned by the Crime Act, but they can


                64 Some of the guns associated with drug charges were also tied to weapons charges.




                                                                                                                                         Exhibit
                                                                                                                                         75      6
                                                                                                                                            0241
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  accept banned large-capacity magazines. We selected Glock and Ruger models because they are relatively
  common in BATF trace data (BATF 1995a, p.35). A caveat to the analysis is that we were not able to obtain data
  on the magazines recovered with these guns. Consequently, we cannot say whether Glock and Ruger pistols
  confiscated after the ban were equipped with pre-ban large-capacity magazines. It is also possible that trends
  corresponding to Glocks and Rugers are not indicative of trends for other unbanned, large-capacity handguns.

           As was discussed in Chapter 4 (see the NCIC stolen gun analysis), the hypothesized effects of the ban on
  this group of weapons is ambiguous. If large-capacity handgun magazines have become less available since the
  ban as intended (indeed, recall that the magazine price analysis in Chapter 4 indicated that prices of large-capacity
  magazines for Glock handguns remained at high levels through our last measurement period in the spring of
  1996), one might hypothesize that offenders would find large-capacity handguns like Glocks and Rugers to be less
  desirable, particularly in light of their high prices relative to other handguns. If, on the other hand, large-capacity
  magazines for these unbanned handguns are still widely available, offenders seeking high-quality rapid-fire
  capability might substitute them for the banned assault weapons.

            With the St. Louis data, we investigated trends in confiscations of all Glock handguns and Ruger P85 and
  P89 models. Police confiscated 118 of these handguns during the pre-ban months and 93 during the post-ban
  months (see Table 5-9). The monthly average increased from approximately 4 in the pre-ban months to 6 in the
  post-ban period. As a fraction of all confiscated handguns, moreover, the Glock and Ruger models rose from .018
  before the ban to .031 after the ban, a relative increase of 72%. (These handguns also increased from .037 to .065
  — a 76% change — as a fraction of all semiautomatic handguns; thus, the upward trend for these guns was not
  simply a result of a general increase in the use of semiautomatic handguns). However, Figure 5-8 shows that these
  handguns were trending upward as a fraction of all handguns well before the ban was implemented. (For this
  reason, we did not conduct contingency table chi-square tests for the pre-ban and post-ban proportions). Visually,
  it appears that the ban may have caused this trend to level off. Nevertheless, an interrupted time series analysis
  failed to provide evidence of a ban effect on the proportion of handguns which were unbanned large-capacity
  semiautomatics.65




           65 In preliminary analysis, we found that the noise component of this time series was substantially affected by a
  modest outlier value at the last data point. We were able to estimate a better fitting model with more stable parameters with the
  outlier removed. After removing this data point (N=47), the final noise component consisted of a moving average parameter at
  the third lag, autoregressive parameters at lags two and four, and a seasonal autoregressive parameter at the twelfth lag. As in
  the time series analyses reported elsewhere, we examined a variety of impact models. The most appropriate impact model for
  the data was an abrupt, permanent impact. The impact parameter was positive (.006) but statistically insignificant
  (t value=1.13).




                                                           Exhibit
                                                           76      6
                                                              0242
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  Figure 5-8. Unbanned large-capacity handguns as a proportion of all confiscated handguns,
               St. Louis, 1992–95
           Unbanned large capacity handguns as a proportion of all
                           confiscated handguns
                                                                                                   St. Louis, 1992-1995
   0.07

   0.06

   0.05

   0.04

   0.03

   0.02

   0.01

      0
          Jan 92
          Feb 92
          Mar 92
          Apr 92
          May 92
          Jun 92
          Jul 92
          Aug 92
          Sep 92
          Oct 92
          Nov 92
          Dec 92
          Jan 93
          Feb 93
          Mar 93
          Apr 93
          May 93
          Jun 93
          Jul 93
          Aug 93
          Sep 93
          Oct 93
          Nov 93
          Dec 93
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          Mar 94
          Apr 94
          May 94
          Jun 94
          Jul 94
          Aug 94
          Sep 94
          Oct 94
          Nov 94
          Dec 94
          Jan 95
          Feb 95
          Mar 95
          Apr 95
          May 95
          Jun 95
          Jul 95
          Aug 95
          Sep 95
          Oct 95
          Nov 95
          Dec 95
  Figure 5-9.                Unbanned large-capacity semiautomatic handguns as a proportion of all confiscated handguns,
                             Boston, January 1992–August 1996
              Unbanned large-capacity semiautomatic handguns as a
                     proportion of all confiscated handguns
                                                                      Boston, January 1992 – August 1996

    0.05


    0.04


    0.03


    0.02


    0.01


          0
                                                        Oct-Dec '92




                                                                                                                 Oct-Dec '93




                                                                                                                                                                           Oct-Dec '94




                                                                                                                                                                                                                                   Oct-Dec '95
              Jan-Mar '92




                                                                       Jan-Mar '93




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                            Apr-Jun '92




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                                          Jul-Sep '92




                                                                                                   Jul-Sep '93




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                                                                                                                                                                                                                     Jul-Sep '95




                                                                                                                                                                                                                                                                             Jul-Sep '96




          Includes Glock 17 and Ruger P85 models.

           The data we acquired from Boston included counts for two specific unbanned, large-capacity handgun
  models, the Glock 17 and Ruger P85. Police in Boston confiscated 28 of these guns from January 1992 through
  August of 1994 and 17 from September 1994 through August 1996 (see Table 5-10). As a proportion of all




                                                                                                                                                           Exhibit
                                                                                                                                                           77      6
                                                                                                                                                              0243
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  confiscated handguns, these models increased slightly from .015 before the ban to .016 after the ban. However, a
  contingency table chi-square test indicated that this difference was not statistically meaningful (p=.83).66 The
  quarterly trend for the proportion measure is displayed in Figure 5-8. The pattern does not suggest any meaningful
  trends over time.67

           In sum, the data from St. Louis and Boston do not warrant any strong conclusions one way or the other
  with respect to the use of large-capacity magazines, as crudely approximated by confiscations of a few relatively
  popular unbanned handgun models which accept such magazines. The ban on large-capacity magazines does not
  seem to have discouraged the use of these guns. At the same time, the assault weapon ban has not caused a clear
  substitution of these weapons for the banned large-capacity firearms.




           66 We did not attempt any time series analyses with these data due to the rarity with which these guns were
  confiscated in Boston.
            67 A caveat to this analysis is that the Ruger P85 was discontinued in 1992 and replaced with a new version called the
  P89 (Fjestad 1996, p.996). The P89 was one of the ten most frequently traced guns nationally in 1994 (BATF 1995a, p.35).
  Unfortunately, we did not acquire data on confiscations of P89's in Boston (the P89 was included in our St. Louis figures). Had
  we been able to examine P89's in Boston, we may have found a greater increase in the use of unbanned, large-capacity
  handguns after the ban. Accordingly, the most prudent conclusion from the Boston data may be that there are no signs of a
  decrease in the use of unbanned, large-capacity handguns.




                                                           Exhibit
                                                           78      6
                                                              0244
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           6.       POTENTIAL CONSEQUENCES OF ASSAULT WEAPON USE
           The Congressional mandate for this study required us to study how the Subtitle A bans on assault
  weapons and large-capacity magazines affected two consequences of using those weapons: specifically, violent
  and drug-related crime. Among violent crimes, we devoted most attention to gun murders, because it is the best
  measured. However, the total gun murder rate is an insensitive indicator of ban effects, because only a fraction of
  gun murders involve large-capacity magazines, and only about 25 percent of those murders involve the banned
  assault weapons. Therefore, we carried out supplementary analyses of certain categories of gun murders that more
  commonly involve the banned guns and magazines: events that involve multiple gun murder victims, gun murders
  involving multiple wounds, and killings of law enforcement officers. Unlike the BATF trace data analyzed in
  Chapter 5, available data sources did not permit us to categorize these events on the basis of relationship to drugs.


  6.1.      TRENDS IN STATE-LEVEL GUN HOMICIDE RATES
           To estimate the impact of the Subtitle A bans on gun homicide rates, we estimated multivariate
  regression models using data from all states with reasonably consistent Supplementary Homicide Reporting over
  the sixteen-year period 1980 through 1995. We closely followed the approach used by Marvell and Moody (1995)
  to analyze the impact of enhanced prison sentences for felony gun use. Marvell and Moody generously provided
  their database, which we updated to cover the post-ban period.

           Any effort to estimate how the ban affected the gun murder rate must confront a fundamental problem,
  that the maximum achievable preventive effect of the ban is almost certainly too small to detect statistically.
  Although our statistical model succeeded in explaining 92 percent of the variation in State murder rates over the
  observation period, a post hoc power analysis revealed that it lacks the statistical power to detect a preventive
  effect smaller than about 17 percent of all gun murders under conventional standards of statistical reliability.68 A
  reduction that large would amount to preventing at least 2.4 murders for every one committed with an assault
  weapon before the ban, or, alternatively, preventing two-thirds of all gun murders committed with large-capacity
  magazines — obviously impossible feats given the availability of substitutes for the banned weapons.69 While
  there are substantially smaller reductions that would benefit society by more than the cost of the ban, they would
  be impossible to detect in a statistical sense, at least until the U.S. accumulates more years of post-ban data.

            Within this overall constraint, our strategy was to begin with a “first-approximation” estimate of the ban
  effect on murders, then to produce a series of re-estimates intended to rule out alternative explanations of the
  estimated effect. Based on these efforts, our best estimate of the short-run effect is that the ban produced a 6.7
  percent reduction in gun murders in 1995. However, we caution that for the reasons just explained, we cannot
  statistically rule out the possibility that no effect occurred. Also, we expect any short-run 1995 preventive effect
  on gun murders to ebb, then flow, in future years, as the stock of grandfathered assault weapons makes its way to
  offenders patronizing secondary markets, while the stock of large-capacity magazines dwindles over time.

            The following sections first describe our data set, then explain our analyses.




            68 By conventional standards, we mean statistical power of 0.8 to detect a change, with .05 probability of a Type 1
  error.
            69 Moreover, no evidence exists on the lethality effect of limiting magazine capacity.




                                                           Exhibit
                                                           79      6
                                                              0245
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            6.1.1. Data
           Data for gun homicides are available for the entire 1980–95 period of the study. We obtained data from
  “Crime in the United States” Uniform Crime Reports for the years 1994 and 1995, and from Marvell and Moody
  for the years 1980 through 1993. (Marvell and Moody used “Crime in the United States” Uniform Crime Reports
  for years 1991 to 1993, and unpublished data from the FBI for the earlier years.)

           Since the fraction of homicides for which weapon use was reported by states varied from state to state and
  even year to year over the period, it was necessary to adjust and filter the data. To address this reporting problem,
  we adopted Marvell and Moody’s (1995) approach to compile what they call a “usable” data series, consisting of
  observations (each year for each state) for which homicide weapon-use reporting is at least 75 percent complete
  (See Marvell and Moody, 1995).70 On this basis we had to eliminate a certain portion of the gun homicide data
  (see Table 6-2) For each observation that met this requirement, the number of gun homicides was multiplied by a
  correction factor defined as the ratio of the FBI estimate for the total number of reported homicides in the state to
  the number of homicides for which the state reported weapon data.

            We used Marvell and Moody’s rule of retaining states in the analysis only if they had data for seven or
  more consecutive years71 and added the additional requirement that states must have had gun homicide data for
  the post-intervention year, 1995. (This additional requirement caused us to eliminate four states entirely from the
  analysis: Delaware, Kansas, Nebraska, and New Mexico.) In addition, Marvell and Moody made allowances for
  otherwise adequate seven-year series that contained a single year of data that did not meet the above requirements.
  Provided the reporting rate was at least 50 percent and the corrected figure did not “depart greatly”72 from
  surrounding years, the state was not dropped from the analysis. (These are: Louisiana 1987, South Carolina 1991,
  Tennessee 1991, and Wyoming 1982.) A further allowance was, that if the reporting rate was below 50 percent, or
  if the adjusted number did depart from surrounding years, the percentage of gun homicides was revised as the
  average of that for the four surrounding years. (These are: Alaska 1984, Arizona 1989, Idaho 1991, Iowa,1987,
  Kentucky 1983, Maryland 1987, Minnesota 1990, North Dakota 1991, Texas 1982, and Vermont, 1993.) In the
  end, “usable data” remained for 42 states for the analysis (see Table 6-2).

          To allow us to account for intervening influences on gun homicide rates, we gathered data for several
  time-varying control variables that proved statistically significant in Marvell and Moody’s analysis. Two
  economic variables (state per capita personal income and state employment rate) and two age structure variables
  were included. State per capita personal income was available from the Bureau of Economic Analysis for all
  years; we obtained data for 1991–95 directly from the Department of Commerce, while Marvell and Moody
  provided us the data for earlier years. State employment rates were available from the Bureau of Labor Statistics,
  Department of Labor for 1994 and 1995 and from the Bureau of Economic Analysis (via Marvell and Moody) for
  year 1980–93. Data on the age structures of state populations were available from the Bureau of the Census


             70 An alternative approach would have been to use mortality data available from the National Center for Health
  Statistics through 1992, then to append NCR data for the subsequent years. We were concerned about possible artifactual
  effects of combining medical examiners’ and police data into a single time series, but recommend this approach for future
  replication.
            71 However, we departed from Marvell and Moody by including observations for years that followed a gap in a series
  of “usable” data and were therefore not part of a seven-year string. The state was treated as a missing observation during the
  gap.
            72 According to Marvell and Moody, a single year of data does not “depart greatly” from surrounding years if either
  the percentage of gun murders falls within the percentages for the prior and following years, or if it is within three percentage
  points of the average of the four closest years.




                                                            Exhibit
                                                            80      6
                                                               0246
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  unadjusted estimates of total resident population of each state as of July 1 of each year. (We obtained these data
  directly for years 1994–95, while Marvell and Moody generously provided us with the data for earlier years).

            6.1.2. Research Design
           As a first approximation for estimating effects of the assault weapon ban, we specified Model 1 as
  loglinear in state gun homicide rate (adjusted as described above) and a series of regressors.73 The regressors
  were:

  •          A third-degree polynomial trend in the logarithm of time;

  •          A dummy variable for each state;

  •          State per-capita income and employment rates for each year (logged);

  •          Proportions of the population aged 15-17 and 18-24 (logged);

  •          D95, a 1995 dummy variable, which represented ban effects in this first-approximation model; and

  •         PREBAN, a dummy variable set to represent states with assault weapon bans during their pre-ban years.

            We represented time with the polynomial trend instead of a series of year dummies for two reasons.
  First, by reducing the number of time parameters to estimate from 15 to 3, we improved statistical efficiency.
  Second, during sensitivity analyses after Model 1 was fit, we discovered that it produced more conservative
  estimates of ban effects than a model using time dummies (that model implicitly compares 1995 levels to 1994
  levels instead of to the projected trend for 1995), because the estimated trend began decreasing at an increasing
  rate in the most recent years. We included the economic and demographic explanatory variables because Marvell
  and Moody (1995) had found them to be significant influences on state-level homicide rates using the same data
  set. PREBAN was included so that for states with their own assault weapon bans, the D95 coefficient would
  reflect differences between 1995 and only those earlier years in which the state’s gun ban was in place.

           As shown in Table 6-1, Model 1 estimated a 9.0 percent reduction in gun murder rates in the year
  following the Crime Act, based on a statistically significant estimated coefficient for the 1995 dummy variable.74
  This estimated coefficient, of course, reflects the combined effect of a package of interventions that occurred
  nearly simultaneously with the Subtitle A bans on assault weapons and large-capacity magazines. These include:
  the Subtitle B ban on juvenile handgun possession and the new Subtitle C FFL application and reporting
  requirements, other Crime Act provisions, the Brady Act, and a variety of State and local initiatives.

           We reasoned that if the Model 1 estimate truly reflected assault weapon ban effects, then by
  disaggregating the states we would find a larger reduction in gun murders in the states without pre-existing assault
  weapon bans than in the four states with such bans prior to 1994 (California, Connecticut, Hawaii, and New
  Jersey). To test this hypothesis, we estimated Model 2, in which D95 was replaced by two interaction terms that
  indicated whether or not a State ban was in place in 1995. As shown in Table 6-1, disaggregating the states using



            73 We weighted the regression by state population to adjust for heteroskedasticity and to avoid giving undue weight to
  small states.
            74 In our sensitivity analyses of models in which the polynomial time trend was replaced with year dummies, the
  corresponding Model 1 estimated reduction was 11.2 percent, and the estimated coefficient was statistically significant at the
  .05 level. Similarly, for alternatives to Models 2-4, the estimated ban effects were 2 to 3 percent larger than those shown in
  Table 6-1 and were statistically significant at the .05 level.




                                                           Exhibit
                                                           81      6
                                                              0247
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  Model 2 did produce a larger estimated ban effect, a statistically significant reduction of 10.3 percent in the states
  without their own bans.
  Table 6-1.     Estimated Coefficients and Changes in Gun Murder Rates from Title XI Interventions
                                                                                          Percent         test
   Model         Subgroup for 1995 impact                              Coefficient        change          statistic
   1             All Usable (N = 42)                                   -0.094 +           -9.0%           -1.67



   2             States without AW ban                                 -0.108 +           -10.3           -1.88
                 (N = 38)
                 States with AW ban                                    -0.001             -0.1            -0.01
                 (N = 4)


   3             States without AW or JW ban                           -0.102             -9.7            -1.56
                 (N = 22)
                 States without AW, with JW ban                        -0.115             -10.9           -1.64
                 (N = 16)
                 States with AW, without JW ban                        -0.076             -7.3            -0.41
                 (N = 2)
                 States with AW and JW ban                             0.044              4.5             0.39
                 (N = 2)


   4             California and New York excluded:                     -0.103             -9.8            -1.58
                 States without AW or JW ban
                 (N = 22)
                 States without AW, with JW ban                        -0.069             -6.7            -0.95
                 (N = 15)
                 States with AW, without JW ban                        -0.079             -7.6            -0.43
                 (N = 2)
                 States with AW and JW ban                              0.056             5.8             0.30
                 (N = 1)
   + Statistically significant at 10-percent level


           To isolate the hypothesized Subtitle A bans from the Subtitle B ban on juvenile handgun possession, we
  estimated Model 3, in which D95 was used in four interaction terms with dummy variables indicating whether a
  state had its own assault weapon ban, juvenile handgun possession ban, both, or neither at the time of the Crime
  Act.75 We also added a term, PREJBAN, which represented states with juvenile bans during their pre-ban years,
  for reasons analogous to the inclusion of PREBAN. The estimates of most interest are those for the 38 states
  without their own assault weapon bans. Among those, the estimated ban effect was slightly larger in states that


            75 A more restrictive alternative to Model 3 is based on the assumption that the impacts for states without assault
  weapon bans and the impacts for states without juvenile handgun possession bans are additive. A model estimate under this
  assumption yielded very similar point estimates and slightly smaller standard errors than Model 3. We preferred the more
  flexible Model 3 for two reasons. First, the less restrictive model helps us interpret the estimates clearly in light of some of the
  legislative changes that occurred in late 1994. Model 3 allows the reader to assess the consequences of the assault weapon ban
  under each set of conditions that existed at the time the ban was implemented. Second, because a juvenile handgun possession
  ban a fortiori prohibits the most crime-prone segment of the population from possessing the assault weapons most widely used
  in crime, we hesitated to impose an additivity assumption.




                                                             Exhibit
                                                             82      6
                                                                0248
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  already had a juvenile handgun possession ban than in those that did not. We interpret the former estimate as a
  better estimate of the assault weapon ban effect because the State juvenile ban attenuates any confounding effects
  of the Federal juvenile ban. In any event, however, the estimates are not widely different, and they imply a
  reduction in the 10 to 11 percent range.

            We were also concerned that our estimates might be distorted by the effects of relevant State and local
  initiatives. Therefore, we reestimated Model 3 excluding 1995 data for California and New York. We filtered out
  these two because combined they account for nearly one-fourth of all U.S. murders and because they were
  experiencing potentially relevant local interventions at the time of the ban: California’s “three strikes” law and
  New York City’s “Bratton era” in policing, coming on the heels of several years of aggressive order maintenance
  in that city’s subway system.

           The estimation results with California and New York omitted appear as Model 4 in Table 6-1. While
  dropping these states leaves three of the estimated coefficients largely unaffected, it has a substantial effect on
  New York’s category, states with a juvenile handgun possession ban but no assault weapon ban. The estimated
  ban effect in this category drops from a nearly significant 10.9 percent reduction to a clearly insignificant 6.7
  percent reduction, which we take as our best estimate.

            To conclude our study of state-level gun homicide rates, we performed an auxiliary analysis. We were
  concerned that our Model 4 estimate of 1995 ban effects could be biased by failure to control for the additional
  requirements on FFL applicants that were imposed administratively by BATF in early 1994 and included
  statutorily in Subtitle C of Title XI, which took effect simultaneously with the assault weapon ban. These
  requirements were intended to discourage new and renewal applications by scofflaw dealers who planned to sell
  guns primarily to ineligible purchasers presumed to be disproportionately criminal. Indeed, they succeeded in
  decreasing the number of FFLs by some 37 percent during 1994 and 1995, from about 280,000 to about 180,000
  (U.S. Department of Treasury, 1997). We were concerned that if the FFLs who left the formal market during that
  period were disproportionately large suppliers of guns to criminals, then failure to control for their disappearance
  could cause us to impute any resulting decrease in gun murder rates mistakenly to the Subtitle A ban.

           Unfortunately, we could use only the 1989–95 subset of our database to test this possibility, because we
  could not obtain state-level FFL counts for years before 1989. Therefore, we modified Model 4 by replacing the
  time trend polynomial with year dummies. We then estimated the modified Model 4 both with and without a
  logged FFL count and an interaction term between the logged count and a 1994–95 dummy variable. Although the
  estimated coefficient on the interaction term was significantly negative, the estimated 1995 ban effect was
  essentially unchanged.
  Table 6-2.     Years for which gun-related homicide data are not available
                                                                   Gun homicide data 1980–95

   Alabama                                                                       ✔
   Alaska                                                                        ✔
   Arizona                                                                       ✔
   Arkansas                                                                      ✔
   California                                                                    ✔
   Colorado                                                                      ✔
   Connecticut                                                                   ✔




                                                        Exhibit
                                                        83      6
                                                           0249
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                                            Gun homicide data 1980–95

   Delaware                                       No usable data

   District of Columbia                           No usable data

   Florida                                          1988–91

   Georgia                                          1980–81

   Hawaii                                               ✔
   Idaho                                                ✔
   Illinois                                       No usable data

   Indiana                                         1989–1991

   Iowa                                            1991–1993

   Kansas                                         No usable data

   Kentucky                                       1987-89; 1994

   Louisiana                                        1990–91

   Maine                                            1990–92

   Maryland                                             ✔
   Massachusetts                                    1988–90

   Michigan                                             ✔
   Minnesota                                            ✔
   Mississippi                                    No usable data

   Missouri                                             ✔
   Montana                                        No usable data

   Nebraska                                       No usable data

   Nevada                                               ✔
   New Hampshire                                        ✔
   New Jersey                                           ✔
   New Mexico                                     No usable data

   New York                                             ✔
   North Carolina                                       ✔
   North Dakota                                       1994

   Ohio                                                 ✔
   Oklahoma                                             ✔
   Oregon                                               ✔




                                    Exhibit
                                    84      6
                                       0250
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                                                                       Gun homicide data 1980–95

   Pennsylvania                                                                        ✔
   Rhode Island                                                                        ✔
   South Carolina                                                                      ✔
   South Dakota                                                                No usable data

   Tennessee                                                                           ✔
   Texas                                                                               ✔
   Utah                                                                                ✔
   Vermont                                                                         1980-83

   Virginia                                                                            ✔
   Washington                                                                          ✔
   West Virginia                                                                       ✔
   Wisconsin                                                                           ✔
   Wyoming                                                                             ✔

   ✔ indicates usable data are available for all years (1980–95) in the period




  6.2. ASSAULT WEAPONS, LARGE-CAPACITY MAGAZINES, AND
  MULTIPLE VICTIM/MASS MURDERS

           6.2.1. Trends in Multiple-Victim Gun Homicides
           The use of assault weapons and other firearms with large-capacity magazines is hypothesized to facilitate
  a greater number of shots fired per incident, thus increasing the probability that one or more victims are hit in any
  given gun attack. Accordingly, one might expect there to be on average a higher number of victims per gun
  homicide incident for cases involving assault weapons or other firearms with large-capacity magazines. To the
  extent that the Crime Act brought about a permanent or temporary decrease in the use of these weapons (a result
  tentatively but not conclusively demonstrated for assault weapons in Chapter 5), we can hypothesize that the
  number of victims per gun homicide incident may have also declined.

          We investigated this hypothesis using data from the Federal Bureau of Investigation’s Supplemental
  Homicide Reports (SHR) for the years 1980 through 1995. We constructed a monthly database containing the
  number of gun homicide incidents and victims throughout the nation.76 The SHR does not contain information



             76 The SHR is compiled annually by the FBI based on homicide incident reports submitted voluntarily by law
  enforcement agencies throughout the country (see the FBI’s Uniform Crime Reports for more information about reporting to the
  Uniform Crime Reports and the Supplemental Homicide Reports). Though the SHR contains data on the vast majority of
  homicides in the nation, not all agencies report homicide incident data to the SHR, and those agencies which do report may fail
  to report data for some of the homicides in their jurisdiction. In this application, it is not clear how any potential bias from




                                                           Exhibit
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                                                              0251
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  about the makes, models, and magazine capacities of firearms used in homicides. Consequently, these results rely
  on indirect, inferred links between expected changes in the use of banned weapons and trends in the victim per
  incident measure.

           From 1980 through August of 1994 (the pre-ban period), there were 184,528 gun homicide incidents
  reported to the SHR. These cases involved 192,848 victims, for an average of 1.045 victims per gun homicide
  incident. For the post-ban months of September 1994 through December 1995, there were 18,720 victims killed in
  17,797 incidents, for an average of 1.052 victims per incident. Thus, victims per incident increased very slightly
  (less than 1 percent) after the Crime Act. A graph of monthly means presented in Figure 6-1 suggests that this
  increase predated the assault weapon ban. Nevertheless, an interrupted time series analysis also failed to produce
  any evidence that the ban reduced the number of victims per gun homicide incident.77
  Figure 6-1.            Victims per gun homicide incident, 1980–95
                                              Victims Per Gun Homicide Incident
                                                                             1980-1995
    1.1



  1.08



  1.06



  1.04



  1.02



      1
          80



                    81




                                         83

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            Considering the rarity with which assault weapons are used in violent crime (for example, assault
  weapons are estimated to be involved in 1 to 7 percent of gun homicides),78 this result is not unexpected. At the
  same time, an important qualifier is that the data available for this study have not produced much evidence
  regarding pre-ban/post-ban trends in the use of large-capacity magazines in gun crime. In the next section, we
  offer a tentative estimate, based on one city, that approximately 20 to 25 percent of gun homicides are committed


  missing cases would operate. That is, we are unaware of any data indicating whether reported and non-reported cases might
  differ with respect to the number of victims killed.
               77 We tested the data under different theories of impact suggested by the findings on assault weapon utilization
  reported in Chapter 5, but failed to find evidence of a beneficial ban effect. If anything, our time series analysis suggested that
  the post-ban increase in victims per gun murder incident was a meaningful change.
               78 See discussion in Chapters 2 (p.8) and 5 (p.58) and in Section 6.3 (p.87) of this chapter.




                                                                                       Exhibit
                                                                                       86      6
                                                                                          0252
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  with gun equipped with large-capacity magazines banned by the Crime Act.79 Hence, trends in the use of large-
  capacity magazines would seem to have more potential to produce measurable effects on gun homicides. It is not
  yet clear as to whether the use of large-capacity magazines has been substantially affected by the Crime Act.

           Despite these ambiguities, we can at least say that this examination of SHR data produced no evidence of
  short term decreases in the lethality of gun violence as measured by the mean number of victims killed in gun
  homicide incidents.80


  6.3. CONSEQUENCES OF TITLE XI: MULTIPLE WOUND GUN
  HOMICIDES
            To provide another measure of the consequences of the assault weapon/large-capacity magazine ban on
  the lethality of gun violence, we analyzed trends in the mean number of gunshot wounds per victim of gun
  homicides in a number of sites. In one jurisdiction, we were able to examine trends in multiple wound non-fatal
  gunshot cases. The logic of these analyses stems from the hypothesis that offenders with assault weapons or other
  large-capacity firearms can fire more times and at a more rapid rate, thereby increasing both the probability that
  they hit one or more victims and the likelihood that they inflict multiple wounds on their victims. One
  manifestation of this phenomenon could be a higher number of gunshot wounds for victims of gun homicides
  committed with assault weapons and other large-capacity firearms. To the extent that Title XI decreased the use
  of assault weapons and large-capacity magazines, we hypothesize a decrease in the average number of wounds per
  gun murder victim.

            To test this hypothesis, we collected data from police and medical sources on gunshot murders
  (justifiable homicides were excluded) in Milwaukee County, Seattle and King County, Jersey City (New Jersey),
  Boston, and San Diego County. Selection of the cities was based on both data availability and theoretical
  relevance. Jersey City and San Diego were chosen as comparison series for the other cities because New Jersey
  and California had their own assault weapons bans prior to the Federal ban. The New Jersey and California laws
  did not ban all large-capacity magazines, but they did ban several weapons capable of accepting large-capacity
  magazines. Thus, we hypothesized that any reduction in gunshot wounds per gun homicide victim due to the
  Federal ban might be smaller in magnitude in Jersey City and San Diego.

            The data from Seattle and San Diego were collected from the respective medical examiners' offices of
  those counties.81 The Milwaukee data were collected from both medical and police sources by researchers at the
  Medical College of Wisconsin. The Jersey City data were collected from the Jersey City Police Department.
  Finally, the Boston data were provided by the Massachusetts Department of Public Health. From each of these
  sources, we were able to collect data spanning from January 1992 through at least the end of 1995. In some cities
  we were able to obtain data on the actual number of gunshot wounds inflicted upon victims, while in other cities
  we were able to classify cases only as single wound or multiple wound cases. Depending on data available, we
  analyzed pre-ban and post-ban data in each city for either the mean number of wounds per victim or the proportion


           79 A New York study estimated this figure to be between 16 percent and 25 percent (New York State Division of
  Criminal Justice Services 1994, p.7).


           80 See Appendix A for an investigation of assault weapon use in mass murders.

            81 The Seattle data were collected for this project by researchers at the Harborview Injury Prevention and Research
  Center in Seattle. The San Diego County Medical Examiner’s Office provided data from San Diego.




                                                           Exhibit
                                                           87      6
                                                              0253
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  of victims with multiple wounds. We concluded this investigation with an examination of the mean number of
  gunshot wounds for victims killed with assault weapons and other firearms with large-capacity magazines, based
  on data from one city.

            6.3.1. Wounds per Incident: Milwaukee, Seattle, and Jersey City
           From the Milwaukee, Seattle, and Jersey City data, we were able to ascertain the number of gunshot
  wounds suffered by gun murder victims. Relevant data comparing pre-ban and post-ban cases are displayed in
  Table 6-3. The average number of gunshot wounds per victim did not decrease in any of these three cities.
  Gunshot wounds per victim actually increased in all these cities, but these increases were not statistically
  significant.82 83
  Table 6-3.     Gunshot wounds per gun homicide victim, Milwaukee, Seattle, and Jersey City
                                                                                           Standard
                                                              Cases        Average         deviation         T value        P level

Milwaukee County (N = 418)
   Pre-ban: January ‘92 - August ‘94                          282          2.28            2.34

   Post-ban: September ‘94 - December ‘95                     136          2.52            2.90

   Difference                                                              + 0.24                            0.85*          .40


Seattle and King County (N = 275)

   Pre-ban: January ‘92 - August ‘94                          184          2.08            1.78

   Post-ban: September ‘94 - June ‘96                         91           2.46            2.22

   Difference                                                              + 0.38                            1.44*          .15


Jersey City (N =44)

   Pre-ban: January ‘92 - August ‘94                          24           1.58            1.56

   Post-ban: September ‘94 - May ‘96                          20           1.60            1.79

  Difference                                                               + 0.02                            0.03           .97

* T values were computed using formula for populations having unequal variances



            82 Our comparisons of pre-ban and post-ban cases throughout this section are based on the assumption that the cases
  in each sample are independent. Technically, this assumption may be violated by incidents involving multiple victims and/or
  common offenders. Violation of this assumption has the practical consequence of making test statistics larger, thus making it
  more likely that differences will appear significant. Since the observed effects in these analyses are insignificant and usually in
  the wrong direction, it does not appear that violation of the independence assumption is a meaningful threat to our inferences.
            83 We also ran tests comparing only cases from 1993 (the last full year prior to passage and implementation of Title
  XI) and 1995 (the first full year following implementation of Title XI). These tests also failed to yield evidence of a post-ban
  reduction in the number of wounds per case.




                                                             Exhibit
                                                             88      6
                                                                0254
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           Time trends in the monthly average of wounds per victim for Milwaukee and Seattle are displayed in
  Figure 6-2 and Figure 6-3. Figure 6-4 presents quarterly time trends for Jersey City. None of the graphs provide
  strong visual evidence of trends or changes in trends associated with the implementation of Title XI, but the
  Milwaukee and Seattle graphs are somewhat suggestive of upward pre-ban trends that may have been affected by
  the ban. We made limited efforts to estimate interrupted time series models (McCleary and Hay 1980) for these
  two series. The Milwaukee model provided no evidence of a ban effect,84 and the efforts to model the Seattle data
  were inconclusive.85 Because the ban produced no effects in Milwaukee or Seattle, it was not necessary to draw
  inferences about Jersey City as a comparison site.
  Figure 6-2.   Gunshot wounds per gun homicide victim by month, Milwaukee County, January 1992–December 1995
                    GSW Per Gun Homicide Victim By Month
                           Milwaukee County, Jan 1992- Dec 1995
     5



     4



     3



     2



     1



     0
         Jan 92
         Feb 92
         Mar 92
         Apr 92
         May 92
         Jun 92
         Jul 92
         Aug 92
         Sep 92
         Oct 92
         Nov 92
         Dec 92
         Jan 93
         Feb 93
         Mar 93
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         May 93
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         Jan 95
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         Sep 95
         Oct 95
         Nov 95
         Dec 95




           84 We tested the Milwaukee data under various theories of impact but failed to find evidence of an effect from the
  ban.


            85 The Seattle data produced an autocorrelation function (see McCleary and Hay 1980) that was uninterpretable,
  perhaps as a result of the small number of gun murders per month in Seattle. Aggregating the data into larger time periods
  (such as quarters) would have made the series substantially shorter than the 40-50 observations commonly accepted as a
  minimum number of observations necessary for Box-Jenkins (i.e., ARIMA) modeling techniques (e.g., see McCleary and Hay
  1980, p.20).




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                                                          89      6
                                                             0255
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  Figure 6-3.   Gunshot wounds per gun homicide victim by month, King County (Seattle), January 1992–June 1996
                    GSW Per Gun Homicide Victim By Month
                       Seattle and King County, Jan 1992-Jun 1996
    7


    6


    5


    4


    3


    2


    1


    0
        Jan 92
        Feb 92
        Mar 92
        Apr 92
        May 92
        Jun 92
        Jul 92
        Aug 92
        Sep 92
        Oct 92
        Nov 92
        Dec 92
        Jan 93
        Feb 93
        Mar 93
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        Dec 93
        Jan 94
        Feb 94
        Mar 94
        Apr 94
        May 94
        Jun 94
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        Sep 94
        Oct 94
        Nov 94
        Dec 94
        Jan 95
        Feb 95
        Mar 95
        Apr 95
        May 95
        Jun 95
        Jul 95
        Aug 95
        Sep 95
        Oct 95
        Nov 95
        Dec 95
        Jan 96
        Feb 96
        Mar 96
        Apr 96
        May 96
        Jun 96
  Figure 6-4.   Gunshot wounds per gun homicide victim by quarter, Jersey City, January 1992–May 1996
                   GSW Per Gun Homicide Victim By Quarter
                              Jersey City, Jan 1992- May 1996
              94




              95
              92




              93




              95




      r-M 6
   Ap r 92




   Ap r 93




   Ap r 94




              94




              95
              92




              93




              96
      l-S 5
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      l-S 4




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           6.3.2. Proportion of Cases With Multiple Wounds: San Diego and Boston
           The data from San Diego and Boston identified cases only as being single or multiple wound cases. We
  examined the proportions of pre-ban and post-ban cases involving multiple wounds and utilized contingency tables
  with chi-square tests to determine whether pre-ban and post-ban cases differed significantly.86

            The proportion of San Diego County’s gun homicide victims sustaining multiple wounds increased very
  slightly after the ban (see Table 6-4), thus providing no evidence of a ban impact. Nor do there appear to have
  been any significant temporal trends before or after the ban (see Figure 6-5).
  Figure 6-5. Proportion of gunshot homicides with multiple wounds by month, San Diego County, January 1992–June
               1996
     Proportion of GSW Homicides With Multiple Wounds By Month
                               San Diego County, Jan 1992- June 1996
       1



     0.8



     0.6



     0.4



     0.2



       0
           Jan 92
           Feb 92
           Mar 92
           Apr 92
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           Jun 92
           Jul 92
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           Sep 92
           Oct 92
           Nov 92
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           May 95
           Jun 95
           Jul 95
           Aug 95
           Sep 95
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           Nov 95
           Dec 95
           Jan 96
           Feb 96
           Mar 96
           Apr 96
           May 96
           Jun 96




           The Boston data require further explanation and qualification. The data were taken from the Weapon-
  Related Injury Surveillance System (WRISS) of the Massachusetts Department of Public Health (MDPH). WRISS
  tracks gunshot and stabbing cases treated in acute care hospital emergency departments throughout the state.87
  These data have the unique advantage of providing trends for non-fatal victimizations, but they represent a biased
  sample of gunshot homicide cases because gun homicide victims found dead at the scene are not tracked by
  WRISS.88 Since multiple wound victims can be expected to have a greater chance of dying at the scene, WRISS


            86 Monthly and quarterly averages in the fraction of cases involving multiple wounds did not appear to follow
  discernible time trends for any of these series (see Figure 6-5 through Figure 6-8). Therefore, we did not analyze the data using
  time series methods.
           87 For a discussion of error rates in the determination of wound counts by hospital staff, see Randall (1993).

          88 The MDPH also maintains a database on all homicide victims, but this database does not contain single/multiple
  wound designations and data for 1995 are not complete as of this writing.




                                                           Exhibit
                                                           91      6
                                                              0257
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  data are likely to underestimate the fraction of gun homicide victims with multiple wounds. While it is possible
  that this bias has remained constant over time, the gun homicide trends should be treated cautiously.




                                                     Exhibit
                                                     92      6
                                                        0258
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  Table 6-4.   Proportion of gunshot victims receiving multiple wounds, San Diego and Boston
                                                                              Proportion with   Standard
                                                               Cases          multiple wounds   deviation

   San Diego homicides (N = 668)
       Pre-ban: January ‘92 - August ‘94                       445            .41               .49

       Post-ban: September ‘94 - June ‘96                      223            .43               .50

       Difference                                                             .02

       ξ2 = 0.177

       P level = .674


   Boston Gun homicides (N = 53)

       Pre-ban: January ‘92 - August ‘94                       32             .50               .50

       Post-ban: September ‘94 - December ‘95                  21             .38               .50

       Difference                                                             -.12

       ξ2 = 0.725

       P level = .39


   Boston non-fatal gunshot victims (N = 762)

       Pre-ban: January ‘92 - August ‘94                       518            .18               .39

       Post-ban: September ‘94 - December ‘95                  244            .24               .43

       Difference                                                             .06

       ξ2 = 3.048

       P level = .08


   Boston total gunshot victims (N = 815)

      Pre-ban: January ‘92 - August ‘94                        550            .20               .40

      Post-ban: September ‘94 - December ‘95                   265            .27               .44

       Difference                                                             .07

       ξ2 = 4.506

       P level = .03




                                                     Exhibit
                                                     93      6
                                                        0259
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            An additional concern with WRISS data is that system compliance is not 100 percent. Based on figures
  provided by MDPH, yearly hospital reporting rates in Boston during the study period were as follows: 63 percent
  for 1992; 69 percent for 1993; 75 percent for 1994; and 79 percent for 1995. It is thus possible that gunshot cases
  treated in non-reporting hospitals differ significantly from those treated in reporting hospitals with respect to
  single/multiple wound status. For all of these reasons, the Boston data should be interpreted cautiously. Overall,
  the WRISS captured 18 to 33 percent of Boston’s gun homicides for the years 1992–94.

            Pre-ban/post-ban comparisons for fatal, non-fatal, and total gunshot cases from WRISS are presented in
  Table 6-4. The proportion of multiple wound cases decreased only for gun homicides. This decrease was not
  statistically significant, but the sample sizes were very small and thus the statistical power of the test is rather low.
  Nonetheless, the non-fatal wound data, which are arguably less biased than the fatal wound data, show statistically
  meaningful increases in the proportion of cases with multiple wounds.89 Figure 6-6 through Figure 6-8 present
  monthly or quarterly trends for each series. These trends fail to provide any visual evidence of a post-ban
  reduction in the proportion of multiple wound gunshot cases.90 Thus, overall, the Boston data appear
  inconclusive.
  Figure 6-6.   Proportion of fatal gunshot wound cases with multiple wounds by quarter, Boston
  Proportion of Fatal GSW Cases With Multiple Wounds by Quarter
                                 Boston, Jan 1992- Dec 1995
     3


   2.5


     2


   1.5


     1


   0.5


     0
      Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct Jan Apr Jul Oct
            92              93              94              95




           89 Further, the decrease for homicide cases could have been due to an increase in the proportion of multiple wound
  victims who died at the scene and were not recorded in the WRISS.
           90 As with the Milwaukee and Seattle data, we also ran supplemental tests with the San Diego and Boston data using
  only cases from 1993 and 1995. These comparisons also failed to produce evidence of post-ban reductions in the proportion of
  gunshot cases with multiple wounds.




                                                          Exhibit
                                                          94      6
                                                             0260
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  Figure 6-7.   Proportion of non-fatal gunshot wound cases with multiple wounds by month, Boston, January 1992–
                December 1995
      Proportion of Non-fatal GSW Cases With Multiple Wounds By
                                Month
                                  Boston, Jan 1992- Dec 1995
     0.6


     0.5


     0.4


     0.3


     0.2


     0.1


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           Jan 92
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           Jul 92
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           Nov 95
           Dec 95
        Non-fatal multiple wound cases/total non-fatal cases

  Figure 6-8.   Proportion of gunshot wound victims with multiple wounds by month, Boston, January 1992–December
                1995
        Proportion of GSW Victims with Multiple Wounds By Month
                                  Boston, Jan 1992- Dec 1995
     0.6


     0.5


     0.4


     0.3


     0.2


     0.1


       0
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           Sep 95
           Oct 95
           Nov 95
           Dec 95




        multiple gsw cases/total cases




                                                     Exhibit
                                                     95      6
                                                        0261
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            6.3.3. Assault Weapons, Large-Capacity Magazines, and Multiple Wound Cases:
            Milwaukee
          Most of the data sources used in this investigation contain little or no detailed information regarding
  weapon makes and models. Consequently, the validity of the previous analyses rest on indirect, inferred links
  between multiple wound gun homicides and expected changes in the use of assault weapons and large-capacity
  magazines.

            However, we were able to make more explicit links between the banned weapons and gunshot wound
  counts by performing a cross-sectional analysis with the data from Milwaukee. Complete weapon make and
  model data were obtained for 149 guns associated with the 418 gun murders which occurred in Milwaukee County
  from 1992 through 1995. Eight of these firearms, or 5.4 percent, were assault weapons named in Title XI or copies
  of firearms named in Title XI (all of the assault weapons were handguns).91 Table 6-5 shows the mean number of
  wounds for gun homicide victims killed with assault weapons and other guns. Note that in Table 6-5 we screened
  out two cases in which the victim appeared to have been shot with multiple firearms. One of these cases involved
  an assault weapon. The results in Table 6-5 indicate that victims killed with assault weapons were shot a little
  over three times on average, while victims killed with other firearms were shot slightly over two times on average.
  This difference was not statistically significant, but the small number of cases involving assault weapons makes
  the test rather weak.
  Table 6-5.     Gunshot wounds per gun homicide victim: Assault weapon and large-capacity magazine cases, Milwaukee
                                                     Cases            Average         Standard         T value          P level
                                                                                      deviation
Assault weapons
v. other firearms (N = 147)
   Assault weapons                                         7               3.14             3.08

   Other firearms                                       140                2.21             2.87

   Difference                                                              0.93                              0.83              .41


Firearms with banned large-capacity
magazines v. other firearms (N = 132)
   Large-capacity firearms                               30                3.23             4.29

   Other firearms                                       102                2.08             2.48

   Difference                                                              1.15                              1.41*             .17

*T values were computed using formula for populations having unequal variances.
           We also conducted a more general examination of cases involving any firearm with a large-capacity
  magazine. There were 132 cases in which a victim was killed with a firearm for which make, model, and
  magazine capacity could be determined (the magazine capacity variable corresponds to the magazine actually
  recovered with the firearm). This analysis also excluded cases in which the victim was shot with more than one
  firearm. In 30 of these cases (23 percent), the victim was killed with a firearm carrying a large-capacity magazine


           91 It is possible that other firearms in the database were assault weapons according to the features test of Title XI, but
  we did not have the opportunity to fully assess this issue.




                                                               Exhibit
                                                               96      6
                                                                  0262
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  banned by Title XI. As is shown in the bottom of Table 6-5, offenders killed with guns having banned large-
  capacity magazines received over three wounds on average. In contrast, persons killed with firearms having non-
  banned magazines received an average of two wounds. Despite the relatively small number of large magazine
  cases, the t statistic is moderately large and could be considered statistically meaningful with a one-tailed test.92
  In addition, we constructed a regression model in which wound counts were regressed upon magazine capacity and
  the number of perpetrators involved in the incident.93 The large-capacity magazine coefficient was 1.24 with a
  two-tailed p level equal to 0.05 (however, the equation explained only 3 percent of the variance in wound counts).
  These admittedly crude comparisons support the hypothesis that large-capacity magazines are linked to higher
  numbers of shots fired and wounds inflicted.

           6.3.4. Conclusions
           Our multi-site analysis of gunshot wounds inflicted in fatal and non-fatal gunshot cases failed to produce
  evidence of a post-ban reduction in the average number of gunshot wounds per case or in the proportion of cases
  involving multiple wounds. These results are perhaps to be expected. Available data from national gun trace
  requests to BATF (see Chapter 5), Milwaukee (this chapter), and other cities (see Chapters 2 and 5) indicate that
  assault weapons account for only 1 to 7 percent of all guns used in violent crime. Likewise, our analysis of guns
  used in homicides in Milwaukee suggests that a substantial majority of gun homicides (approximately three-
  quarters) are not committed with guns having large-capacity magazines. Further, victims killed with large-
  capacity magazines in Milwaukee were shot three times on average, a number well below the ten-round capacity
  permitted for post-ban magazines. This does not tell us the actual number of shots fired in these cases, but other
  limited evidence also suggests that most gun attacks involve three or fewer shots (Kleck 1991; McGonigal et al.
  1993). Finally, a faster rate of fire is arguably an important lethality characteristic of semiautomatics which may
  influence the number of wounds inflicted in gun attacks; yet one would not expect the Crime Act to have had an
  impact on overall use of semiautomatics, of which assault weapons were a minority even before the ban.

            On the other hand, the analysis of Milwaukee gun homicides did produce some weak evidence that
  homicide victims killed with guns having large-capacity magazines tended to have more bullet wounds than did
  victims killed with other firearms. This may suggest that large-capacity magazines facilitate higher numbers of
  shots fired per incident, perhaps by encouraging gun offenders to fire more shots (a phenomenon we have heard
  some police officers refer to as a “spray and pray” mentality). If so, the gradual attrition of the stock of pre-ban
  large-capacity magazines could have important preventive effects on the lethality of gun violence. However, our
  analysis of wounds inflicted in banned and non-banned magazine cases was crude and did not control for
  potentially important characteristics of the incidents, victims, and offenders. We believe that such incident-based
  analyses would yield important information about the role of specific firearm characteristics in lethal and non-
  lethal gun violence and provide further guidance by which to assess this aspect of the Crime Act legislation.




           92 Note that two cases involving attached tubular .22 caliber large-capacity magazines were included in the non-
  banned magazine group because these magazines are exempted by Title XI. In one of these cases, the victim sustained 13
  wounds. In a second comparison, these cases were removed from the analysis entirely. The results were essentially the same;
  the two-tailed p level for the comparison decreased to .13.
           93 The regression model (N=138) included cases in which the victim was shot with more than one gun. Separate
  variables were included for the number of victims and the use of more than one firearm. Both variables proved insignificant,
  but the perpetrator variable had a somewhat larger t statistic and was retained for the model discussed in the main text.




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                                     1057



  6.4.     LAW ENFORCEMENT OFFICERS KILLED IN ACTION

           6.4.1. Introduction and Data
          As a final measure of consequences stemming from the assault weapons ban, we examined firearm
  homicides of police officers. Assault weapons and other high capacity firearms offer substantial firepower to
  offenders and may be especially attractive to very dangerous offenders. Further, the firepower offered by these
  weapons may facilitate successful gun battles with police. We hypothesized that these weapons might turn up
  more frequently in police homicides than in other gun homicides, and that the Crime Act might eventually
  decrease their use in these crimes.

            To investigate this issue, we obtained data from the Federal Bureau of Investigation (FBI) on all gun
  murders of police officers from January 1992 through May 1996.94 The data include the date of the incident, the
  state in which the incident occurred, the agency to which the officer belonged, and the make, model, and caliber of
  the firearm reportedly used in the murder. During this period, 276 police officers were killed by offenders using
  firearms. Gun murders of police peaked in 1994 (see Table 6-6). Data for 1995 and early 1996 suggest a decline
  in gun murders of police. However, any drop in gun murders of police could be due to more officers using bullet-
  proof vests, changes in policing tactics for drug markets, or other factors unrelated to the assault weapons ban.
  Moreover, the 1995 and 1996 data we received are preliminary and thus perhaps incomplete. For these reasons,
  we concentrated on the use of assault weapons in police homicides and did not attempt to judge whether the
  assault weapon ban has caused a decline in gun murders of police.
  Table 6-6. Murders of police officers with assault weapons
                                                                Proportion of victims
                  Total gun              Officers killed        killed with assault          Proportion of victims killed with
                  murders of police      with assault           weapons                      assault weapons for cases in which
  Year            officers               weapons                (minimum estimate)           gun make is known
  1992                     54                     0                        0%                                  0%
  1993                     67                     4                        6%                                  8%
  1994                     76                     9                       12%                                 16%
  1995*                    61                     7                       11%                                 16%
  1996*
                        18                        0                         0%                                   0%
  (Jan–May)
  *Data for 1995 and 1996 are preliminary

           Even this more limited task was complicated by the fact that complete data on the make, model, and
  caliber of the murder weapon were not reported for a substantial proportion of these cases. The number of cases
  by year for which at least the gun make is known are 43 (80%) for 1992, 49 (73%) for 1993, 58 (76%) for 1994, 44
  (72%) for 1995, and 10 (56%) for 1996.

           6.4.2. Assault Weapons and Homicides of Police Officers
          We focused our investigation on all makes and models named in Title XI and their exact copies. We also
  included our selected features test guns (Calico and Feather models), although we did not make a systematic



           94 These data are compiled annually by the FBI based on reports submitted by law enforcement agencies throughout
  the country.




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                                     1057


  assessment of all guns which may have failed the features test of the Crime Act as produced by their
  manufacturers.95 Using these criteria, our estimate is that 20 officers were murdered by offenders using assault
  weapons during this period. (In some of these cases, it appears that the same weapon was used to murder more
  than one officer). Of these cases, 3 involved Intratec models, 6 were committed with weapons in the SWD family,
  3 involved AR15's or exact AR15 copies, 2 cases involved Uzi’s, and 6 cases identified AK-47's as the murder
  weapons.96 97 These cases accounted for about 7% of all gun murders of police during this period. This 7% figure
  serves as a minimum estimate of assault weapon use in police gun murders. A more accurate estimate was
  obtained by focusing on those cases for which, at a minimum, the gun make was reported. Overall, 10% of these
  cases involved assault weapons, a figure higher than that for gun murders of civilians.98

           All of the assault weapon cases took place from 1993 through 1995 (see Table 6-6). For those three years,
  murders with assault weapons ranged from 6% of the cases in 1993 to 12% in 1994. Among those cases for which
  firearm make was reported, assault weapons accounted for 8% in 1993 and 16% in both 1994 and 1995. All of
  these cases occurred prior to June 1995. From that point through May of 1996, there were no additional deaths of
  police officers attributed to assault weapons. This is perhaps another indication of the temporary or permanent
  decrease in the availability of these weapons which was suggested in Chapter 5.

           In sum, police officers are rarely murdered with assault weapons. Yet the fraction of police gun murders
  perpetrated with assault weapons is higher than that for civilian gun murders. Assault weapons accounted for
  about 10% of police gun murders from 1992 through May of 1996 when considering only those cases for which the
  gun make could be ascertained. Whether the higher representation of assault weapons among police murders is
  due to characteristics of the weapons, characteristics of the offenders who are drawn to assault weapons, or some




          95 With the available data, it is not possible for us to determine whether otherwise legal guns were modified so as to
  make them assault weapons.
           96 There is a discrepancy between our data and those provided elsewhere with respect to a November 1994 incident in
  which two FBI agents and a Washington, D.C. police officer were killed. In a study of police murders from January 1994
  through September 1995, Adler et al. (1995) reported that the offender in this case used a TEC9 assault pistol. The FBI data
  identify the weapon as an M11. (The data actually identify the gun as a Smith and Wesson M11. However, Smith and Wesson
  does not make a model M11. We counted the weapon as an SWD M11.)
            In addition, Adler et al. identified one additional pre-ban incident in which an officer was killed with a weapon which
  may have failed the features test (a Springfield M1A). We are not aware of any other cases in our data which would qualify as
  assault weapon cases based on the features test, but we did not undertake an in-depth examination of this issue. There were no
  cases involving our select features test guns (Calico and Feather models).
             97 The weapon identifications in these data were made by the police departments reporting the incidents, and there is
  likely to be some degree of error in the firearm model designations. In particular, officers may not always accurately
  distinguish banned assault weapons from legal substitutes or look-alike variations. We note the issue here due to the
  prominence of AK-47's among guns used in police homicides. There are numerous AK-47 copies and look-alikes, and firearm
  experts have informed us that legal guns such as the SKS rifle and the Norinco NHM-90/91 (a modified, legal version of the
  AK-47) are sometimes, and perhaps commonly, mistakenly identified as AK-47's.


           98 In consultation with BATF officials, we developed a list of manufacturers who produced models listed in the Crime
  Act and exact copies of those firearms. We were thus able to determine whether all of the identified makes in the FBI file were
  assault weapons.




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                                     1057


  combination of both is unclear. However, there have been no recorded murders of police with assault weapons
  since the early part of 1995.99
            These findings have important ramifications for future research on the impact of the assault weapons ban.
  The relatively high use of assault weapons in murders of police suggests that police gun murders should be more
  sensitive to the effects of the ban than gun murders of civilians. That is, if the disproportionate representation of
  assault weapons among gun homicides of police is attributable to the objective properties of these firearms (i.e.,
  the greater lethality of these firearms), then a decrease in the availability of these guns should cause a notable
  reduction of police gun murders because other weapons will not be effective substitutes in gun battles with police.
  At this point, however, it is not clear whether the high representation of assault weapons among police murder
  cases is due to the greater stopping power of assault weapons (most assault weapons are high velocity rifles or
  high velocity handguns and thus inflict more serious wounds), their rate of fire and ability to accept large-capacity
  magazines, some combination of these weapon characteristics, or simply the traits of offenders who prefer assault
  weapons. A variety of non-banned weapons may serve as adequate substitutes for offenders who engage in armed
  confrontations with police.

          As more data become available, we encourage the study of trends in police gun murders before and after
  the Crime Act. Furthermore, we believe that research on these issues would be strengthened by the systematic
  recording of the magazines with which police murder weapons were equipped and the numbers of shots fired and
  wounds inflicted in these incidents.




           99 We did not examine police murders committed with firearms capable of accepting large-capacity magazines
  because the available data do not enable us to determine whether any guns used after the ban were actually equipped with pre-
  ban large-capacity magazines, nor do the data indicate the number of shots fired in these incidents. Moreover, in recent years
  many police departments have adopted large-capacity semiautomatic handguns as their standard firearm. Since about 14% of
  police officers murdered with guns are killed with their own firearms (FBI 1994, p.4), this could create an apparent increase in
  police murders with large-capacity firearms. (We did not acquire data on whether the officers were killed with their own
  firearms.) For a discussion of large-capacity firearms used in killings of police from January 1994 through September 30, 1995,
  see Adler et al. (1995).




                                                           Exhibit
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                                         Appendix A
                               Assault Weapons and Mass Murder
  INTRODUCTION: MASS MURDERS AS AN IMPACT MEASURE
           As another indicator of ban effects on the consequences of assault weapon use, we attempted to analyze
  pre- and post-ban trends in mass murders, which we defined as the killing of four or more victims at one time and
  place by a lone offender. Although we lacked advance information on the proportion of mass murders involving
  assault weapons, we had two reasons for believing that assault weapons were more prevalent in mass murders than
  in events involving smaller numbers of victims:

  1)        A weapon lethality/facilitation hypothesis, that assault weapon characteristics, especially high magazine
            capacities, would enable a rational but intent killer to shoot more people more rapidly with an assault
            weapon than with many other firearms.

  2)        A selection hypothesis, that certain deranged killers might tend to select assault weapons to act out
            “commando” fantasies (e.g., see Holmes and Holmes 1994, pp.86-87).

          In addition, we believed that newspaper reports of mass murders might carry more detail than reports of
  other murders, and that these reports might provide insights into the situational dynamics of mass murders
  involving assault weapons.

           Our attempt to construct and analyze a 1992–96 trend line in mass murders using Nexis searches of U.S.
  news sources foundered, for two primary reasons. First, apparent variations in reporting or indexing practices
  forced us to alter our search parameters over the period, and so all three kinds of variation introduce validity
  problems into the trends. Second, newspaper accounts were surprisingly imprecise about the type of weapon
  involved. In some cases, the offender had not yet been apprehended and thus the make and model of the weapon
  was probably unknown. In other instances, there was apparent inattention or confusion regarding the make, model,
  and features. Finally, some offenders were armed with multiple weapons when they committed their crimes or
  when they were captured, and it was unclear to the reporter which weapon accounted for which death(s).1

           Nevertheless, our mass murder analysis produced several interesting, though tentative, findings. First,
  SHR and news media sources both appear to undercount mass murders under our definition, and our capture-
  recapture analysis suggests that their true number may exceed the count based on either source by something like
  50 percent. Second, contrary to our expectations, only 2 — 3.8 percent — of the 52 mass murders we gleaned
  from the Nexis search unambiguously involved assault weapons. This is about the same percentage as for other
  murders. Third, media accounts lend some tenuous support to the notion that assault weapons are more deadly
  than other weapons in mass murder events, as measured by victims per incident.

          Our search methodology and the findings above are explained more fully in the following sections, which
  conclude with recommendations for further related research.




           1 It is also not unusual for news accounts to use imprecise terms like “assault rifle” when describing a military-style
  firearm. However, we did not encounter any such cases in our particular sample.




                                                                 A-1
                                                            Exhibit 6
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  DEFINING MASS MURDERS AND SAMPLE SELECTION
          In general terms, a mass murder is the killing of a number of people at one time and place. The time
  requirement in particular sets mass murders apart from serial murders, which take place over a very long
  timeframe. We focused our analysis upon mass murders committed with firearms, and we chose four victims for
  our operational definition of mass murder.2 In addition, we focused upon cases in which the murders were
  committed by one offender. We selected the victim and offender criteria based on practicality and because they
  arguably fit better with the weapon lethality/weapon facilitation argument. If assault weapons do contribute to
  mass murder, we hypothesized that they will enable a single offender to murder greater numbers of people at one
  time. Thus, we selected a subset of mass murders for which we felt assault weapons might plausibly play a greater
  role.

           Project staff conducted Nexis searches for multiple-victim firearm murder stories appearing in U.S. news
  sources from 1992 through the early summer of 1996. Fifty-two stories meeting our firearm mass murder criteria
  were found. A breakdown of these cases by year is shown in the bottom row of table A-1.3 Cases ranged from a
  low of 3 in 1994 and 1996 to a high of 20 in 1995. We urge caution in the interpretation of these numbers.
  Although project staff did examine well over a thousand firearm murder stories, we do not claim to have found all
  firearm mass murders occurring during this time. Rather, these cases should be treated as a possibly
  unrepresentative sample of firearm mass murders. Further, we do not recommend using these numbers as trend
  indicators. We refined our search parameters several times during the course of the research, and we cannot speak
  to issues regarding changes in journalistic practices (or Nexis coverage) which may have occurred during this
  period and affected our results. This portion of the evaluation was more exploratory in nature, and the primary
  goal was to assess the prevalence of assault weapons among a sample of recent mass murder incidents.
  Table A-1.     Mass murder newspaper reports, by weapon type and year of event
                                                 1992       1993       1994        1995       1996       Total
   Semiautomatics
   Handgun                                         4          3          1           7          1          16
   Rifle                                           0          0          0           2          0          2

   Generic weapon types
   Revolver                                        0          0          0           1          0          1
   Other non-semiautomatic handgun                 0          0          0           0          0          0
   Handgun, type unknown                           2          2          0           1          0          5
   Non-semiautomatic rifle                         0          0          0           1          0          1
   Rifle, type unknown                             1          1          0           0          0          2
   Non-semiautomatic shotgun                       0          0          0           1          0          1
   Shotgun, type unknown                           2          3          0           1          0          6
   Unknown firearm                                 5          2          2           6          2          17



            2 As Holmes and Holmes (1994, pp.71-73) have noted, most scholars set the victim criterion for mass murder at three
  or four victims.
            3 Table A-1 excludes 1 of the 52 for which we were unable to ascertain the date of the mass murder.




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   Total cases                                     14          11          3          20          3          51



  ESTIMATING TOTAL FIREARM MASS MURDERS: A
  METHODOLOGICAL NOTE
           Our investigation of multiple/mass murders utilized both the SHR and news media as data sources. Both
  of these sources have limitations for this task. Though the SHR is widely accepted as an accurate source of
  homicide data, not all agencies in the country report homicides to the SHR, and agencies that do report to the SHR
  program may not report all of their homicides. Likewise, some mass murders may not be reported accurately in
  media sources, or the stories may differ in their accessibility depending on where they occurred and the
  publication(s) which carried the story. Family-related mass murders, for example, seem less likely to be reported
  in national sources (Dietz 1986), although the availability of national electronic searches through services such as
  Nexis would seem to lessen this problem.4 Our experience suggests that both sources underestimate the number of
  true mass murders.

           Capture-recapture methods (e.g., see Mastro et al. 1994; Neugebauer and Wittes 1994) offer one potential
  way of improving estimation of mass murders. Capture-recapture methods enable one to estimate the true size of
  a population based on the number of overlapping subjects found in random samples drawn from the population.
  Mastro et al. (1994), for example, have used this methodology to estimate the number of HIV-infected drug users
  in the population of a foreign city. Similarly, researchers in the biological sciences have used this methodology to
  estimate the size of different wildlife populations.

           Given two samples from a population, the size of the population can be estimated as:

                                                         N = n1 * n2 / m

  where N is the population estimate, n1 is the size of the first sample, n2 is the size of the second sample, and m is
  the amount of overlap in the samples (i.e., the number of subjects which turned up in the first sample and that were
  subsequently recaptured in the second sample). Neugebauer and Wittes (1994, p.1068) point out that this estimate
  is biased but that the "bias is small when the capture and recapture sizes are large." The reliability of the estimate
  depends on four assumptions (Mastro et al. 1994, pp.1096-1097). First, the population must be closed (in our case,
  this is not a problem because our samples are drawn from the same geographic area and time period). Second, the
  capture sources must be independent (if more than two sources are used, log-linear modeling can be used to
  account for dependence between the sources, and the assumption of independence is not necessary). Third,
  members of the population must have an equal probability of being captured. Finally, the matching procedure
  must be accurate — all matches must be identified and there can be no false matches.

            As mentioned previously, our work with the SHR and media sources suggests that both sources
  underestimate the true number of firearm mass murders occurring in the nation. That being the case, we offer a
  tentative illustration of how capture-recapture methods might be used to estimate the true number of mass
  murders occurring in the nation based on the SHR and media source numbers. We add a number of qualifiers



            4 In our experience, one factor making mass murder cases more difficult to locate is that many of these stories are not
  labeled with dramatic terms such as "mass murder" or "massacre." Despite the rarity and tragedy of these events, they are often
  described in commonplace terms (headlines may simply state something like, "Gunman shoots five persons during robbery").
  Thus, it becomes necessary to develop Nexis search parameters broad enough to capture various sorts of multiple-victim
  incidents. This, in turn, requires one to examine a much greater number of stories.



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  throughout this exercise. To begin with, the SHR and media sources might not seem independent because,
  generally speaking, news organizations are reliant upon police for information about crime. Once a homicide is
  discovered, on the other hand, the reporting apparatuses for the SHR and news organizations are distinct.

           With that caveat in mind, we used the year 1992 for this demonstration. For that year, we identified all
  cases from both sources in which one offender killed four or more persons using a firearm. The SHR search
  turned up 15 cases, and the Nexis search yielded 14 cases.

           Next, we attempted to match these cases. Tentatively, we determined that nine cases were common to
  both sources (see Table A-2). Our estimate for the number of incidents during 1992 in which one offender killed
  four or more persons using a firearm(s) thus becomes:

                                                N = (15 * 14)/9 = 23.
  Table A-2.   1992 HR/Nexis comparisons

        NEXIS                        SHR                   NEXIS & SHR
         14                           15                        9

                                                            NUMBER OF
     NEXIS ONLY                                              VICTIMS
        2/16/92          Mobile, AL                             4
        5/1/92           Yuba County, CA                        4
        6/15/92          Inglewood, CA                          5
        9/13/92          Harris County, TX                      4
       11/13/92          Spring Branch, TX                      5
                                                            NUMBER OF
      FBI ONLY                                               VICTIMS
        8/92             Dade, FL                               4
        9/92             Chicago, IL                            4
        5/92             Detroit, MI                            4
        3/92             New York, NY                           4
        1/92             Burleigh, ND                           4
        7/92             Houston, TX                            4
                                                            NUMBER OF
     NEXIS & FBI                                             VICTIMS

        2/12/92          Seattle, WA                              4
        3/21/92          Sullivan, MO                             6
        3/26/92          Queens, NY                               5
        7/23/92          Fairmont, WV                             4
        10/4/92          Dallas, TX                               4
       10/15/92          Schuyler County                          4
        11/1/92          Rancho Santa Fe, CA                      4
       12/13/92          King County, WA                          4
       12/24/92          Prince William County, VA                4


            A number of cautionary notes are required. Obviously, our sample sizes are quite small, but, apparently,
  so is the population which we are trying to estimate. In addition, our matches between the sources were based on
  matching the town (determined from the police department’s name), month of occurrence, number of victims, and
  number of offenders. In a more thorough investigation, one would wish to make the matches more carefully. If,



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  for instance, the victims were not all immediately killed, one may find a news story referring to the initial number
  of deaths, and that count might not match the final count appearing in the SHR. Moreover, we have focused on
  cases in which one offender committed the murders. However, the SHR might list two or more offenders if there
  were other accomplices who did not do the shooting. Finally, there could be ambiguity regarding the exact
  location of the SHR cases because we used the police department name to match the locations with the Nexis cases
  (city or town name does not appear in the file). We did not investigate these issues extensively, but they would
  seem to be manageable problems.

            Another issue is whether each incident's probability of being captured is the same for each sample. Our
  tentative judgment is that this is not the case, or at least it does not appear to have been true for our sample.
  Referring to Table A-2, it seems that the SHR-only cases were more likely to appear in urban areas, whereas the
  Nexis-only cases appear to have taken place in more rural areas. We can speculate that rural police departments
  are somewhat less likely to participate in the SHR, and that cases in rural areas are thus less likely to be reported
  to the SHR. In contrast, the greater number of murders and violent acts which occur in urban areas may have the
  effect of making any given incident less newsworthy, even if that incident is a mass murder. A mass murder
  taking place among family members in an urban jurisdiction, for instance, might get less prominent coverage in
  news sources and might therefore be more difficult to locate in a national electronic search.

           But even if we accept these biases as real, we can at least estimate the direction of the bias in the capture-
  recapture estimate. Biases such as those discussed above have the effect of lessening the overlap between our
  sources. Therefore, they decrease the denominator of the capture-recapture equation and bias the population
  estimate upwards. With this in mind, our 1992 estimate of 23 cases should be seen as an upper estimate of the
  number of these incidents for that year.

            In this section, we have provided a very rough illustration of how capture-recapture models might be
  utilized to more accurately estimate the number of mass murders in the U.S. or any portion of the U.S. If
  additional homicide sources were added such as the U.S. Public Health Service's Mortality Detail Files, moreover,
  researchers could model any dependencies between the sources. With further research into past years and ahead
  into future years, researchers could build time series to track mass murders and firearm mass murders over time.
  This may be a worthwhile venture because though these events are only a small fraction of all homicides, they are
  arguably events which have a disproportionately negative impact on citizens' perceptions of safety.

  Firearms Used in Mass Murders
           Table A-1 displays information about the weapons used in our sample of mass murders. One of the major
  goals behind the Nexis search was to obtain more detailed information on the weapons used in firearm mass
  murders. Yet a substantial proportion of the articles said nothing about the firearm(s) used in the crime or
  identified the gun(s) with generic terms such as "handgun," "rifle," or "shotgun." Overall, 18 stories identified the
  murder weapon(s) as a semiautomatic weapon, and 16 of these guns were semiautomatic handguns. Only eight
  stories named the make and model of the murder weapon.

           Despite the general lack of detailed weapon information, our operating assumption was that, due to their
  notoriety, assault weapons would draw more attention in media sources. That is, we assumed that reporters would
  explicitly identify any assault weapons that were involved in the incident and that unidentified weapons were most
  likely not assault weapons. This assumption is most reasonable for cases in which the offender was apprehended.
  Overall, 37 cases (71 percent) were solved and another 6 (11.5 percent) had known suspects.




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          Of the total 52 cases in our sample, 2, or 3.8 percent, involved assault weapons as the murder weapon. If
  we focus on just the 37 solved cases, assault weapons were involved in 5.4 percent (both assault weapon cases
  were solved). One of the assault weapon cases took place in 1993 and the other took place in 1995 after the ban's
  implementation. The accounts of those cases are as follows:

            Case 1 (July 3, 1993, San Francisco, California). A 55-year-old man bearing a grudge against his
            former attorneys for a lawsuit in which he lost 1 million dollars killed 8 persons, wounded 6
            others, and then killed himself during a 15-minute rampage in which he fired 50-100 rounds.
            The offender was armed with two TEC-9 assault pistols, a .45 caliber semiautomatic pistol, and
            hundreds of rounds of ammunition.5

            Case 2 (June 20, 1995, Spokane, Washington). A military man assigned to Fairchild Air Force
            Base entered the base hospital with an AK-47 assault rifle and opened fire, killing 4 and
            wounding 19. The gunman was killed by a military police officer. At the time of the story, no
            motive for the killing had been discovered.
  In addition, our search uncovered two other cases in which the offender possessed an assault weapon but did not
  use it in the crime. In one of these cases, the additional weapon was identified only as a "Chinese assault rifle," so
  there is the possibility that the gun was an SKS rifle or other firearm that was not an assault weapon by the criteria
  of Title XI.


  LETHALITY OF ASSAULT WEAPONS USED IN MASS MURDERS
           Although assault weapons appeared rarely in our sample of firearm mass murder cases, there are some
  indications that mass murders involving assault weapons are more deadly than other mass murders with guns. The
  two unambiguous assault weapon cases in our sample involved a mean of 6 victims, a number 1.5 higher than the
  4.5 victims killed on average in the other cases. Further, each assault weapon case involved a substantial number
  of other victims who were wounded but not killed. Other notorious mass murders committed with assault weapons
  also claimed particularly high numbers of victims (Cox Newspapers 1989). The numbers of victims in these cases
  suggests that the ability of the murder weapons to accept large-capacity magazines was probably an important
  factor. We offer this observation cautiously, however, for several reasons besides the small number of cases in
  our sample. We did not make detailed assessments of the actors or circumstances involved in these incidents.
  Relevant questions, for example, might include whether the offender had a set number of intended targets (and,
  relatedly, the relationship between the offender and victims), the number of different guns used, whether the
  offender had the victims trapped at the time of the murders, and the amount of time the offender had to commit
  the crime.

           In order to refine our comparison somewhat further, we examined the number of victims in assault
  weapon and non-assault weapon cases after removing 19 family-related cases from consideration. This did not
  change the results; the average number of victims in assault weapon cases was still approximately 1.5 higher than
  that of non-assault weapon cases.




            5 The story indicated that the offender had modified the firearms to make them fire more rapidly than they would have
  otherwise. Presumably, this means that he converted the guns to fully automatic fire, but this is not entirely clear from the
  article.



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  RECOMMENDATIONS FOR FURTHER RELATED RESEARCH
            There are a number of related questions that could be pursued in future research. One concerns a more
  explicit examination of the role of large-capacity magazines in mass murder, particularly for incidents involving
  non-assault weapon firearms. Based on our experience, this information is rarely offered in media sources and
  would require contacting police departments which investigated mass murder incidents. Another issue concerns
  non-fatal victims. This was not an express focus of our research, but if the assault weapon/large-capacity
  semiautomatic hypothesis has validity, we can hypothesize that shootings involving these weapons will involve
  more total victims. Along similar lines, Sherman and his colleagues (1989) documented a rise in bystander
  shootings in a number of cities during the 1980s and speculated that the spread of semiautomatic weaponry was a
  factor in this development. Due to time and resource limitations, we did not pursue the issue of bystander
  shootings for this study, but further research might shed light on whether assault weapons and large-capacity
  magazines have been a factor in any such rise.




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             EXHIBIT "7"




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  The author(s) shown below used Federal funds provided by the U.S.
  Department of Justice and prepared the following final report:


  Document Title:        Updated Assessment of the Federal Assault
                         Weapons Ban: Impacts on Gun Markets and
                         Gun Violence, 1994-2003

  Author(s):             Christopher S. Koper

  Document No.:          204431

  Date Received:         July 2004

  Award Number:          98-IJ-CX-0039


  This report has not been published by the U.S. Department of Justice.
  To provide better customer service, NCJRS has made this Federally-
  funded grant final report available electronically in addition to
  traditional paper copies.


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           An Updated Assessment of the Federal Assault
           Weapons Ban: Impacts on Gun Markets and
                    Gun Violence, 1994-2003

                           Report to the National Institute of Justice,
                             United States Department of Justice

                                                                   By

                                                  Christopher S. Koper
                                                  (Principal Investigator)


                                                                 With

                                       Daniel J. Woods and Jeffrey A. Roth



                                                            June 2004




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       PREFACE

               Gun violence continues to be one of America’s most serious crime problems. In
       2000, over 10,000 persons were murdered with firearms and almost 49,000 more were
       shot in the course of over 340,000 assaults and robberies with guns (see the Federal
       Bureau of Investigation’s annual Uniform Crime Reports and Simon et al., 2002). The
       total costs of gun violence in the United States – including medical, criminal justice, and
       other government and private costs – are on the order of at least $6 to $12 billion per year
       and, by more controversial estimates, could be as high as $80 billion per year (Cook and
       Ludwig, 2000).

               However, there has been good news in recent years. Police statistics and national
       victimization surveys show that since the early 1990s, gun crime has plummeted to some
       of the lowest levels in decades (see the Uniform Crime Reports and Rennison, 2001).
       Have gun controls contributed to this decline, and, if so, which ones?

                During the last decade, the federal government has undertaken a number of
       initiatives to suppress gun crime. These include, among others, the establishment of a
       national background check system for gun buyers (through the Brady Act), reforms of the
       licensing system for firearms dealers, a ban on juvenile handgun possession, and Project
       Safe Neighborhoods, a collaborative effort between U.S. Attorneys and local authorities
       to attack local gun crime problems and enhance punishment for gun offenders.

               Perhaps the most controversial of these federal initiatives was the ban on
       semiautomatic assault weapons and large capacity ammunition magazines enacted as
       Title XI, Subtitle A of the Violent Crime Control and Law Enforcement Act of 1994.
       This law prohibits a relatively small group of weapons considered by ban advocates to be
       particularly dangerous and attractive for criminal purposes. In this report, we investigate
       the ban’s impacts on gun crime through the late 1990s and beyond. This study updates a
       prior report on the short-term effects of the ban (1994-1996) that members of this
       research team prepared for the U.S. Department of Justice and the U.S. Congress (Roth
       and Koper, 1997; 1999).




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       ACKNOWLEDGMENTS

               This research was supported by National Institute of Justice (U.S. Department of
       Justice) grants 2003-IJ-CX-1029 to the University of Pennsylvania and 98-IJ-CX-0039 to
       the Urban Institute. The Jerry Lee Center of Criminology, University of Pennsylvania
       provided additional support. The views expressed are those of the author. They do not
       reflect official positions of the United States Department of Justice and should not be
       attributed to the trustees of the University of Pennsylvania, the Urban Institute, or any of
       the other persons or organizations listed below.
               The author wishes to thank several people and organizations that assisted this
       effort in numerous ways. Daniel Woods assisted with data analysis. Jeffrey Roth, who
       directed our first study of the assault weapons ban, provided advice and editorial input.
       Additional research assistance was provided by the following former employees of the
       Urban Institute: Gretchen Moore, David Huffer, Erica Dinger, Darin Reedy, Kate
       Bunting, Katie Gorie, and Michele Waul. The following persons and organizations
       provided databases, information, or other resources utilized for this report: Glenn Pierce
       (Northeastern University), Pamela Shaw and Edward Koch (Baltimore Police
       Department), Robert Shem (Alaska State Police), Bill McGill and Mallory O’Brien
       (currently or formerly of the Firearm Injury Center, Medical College of Wisconsin), Rick
       Ruddell (California State University, Chico), Scott Doyle (Kentucky State Police),
       Terrence Austin and Joe Vince (currently or formerly of the Bureau of Alcohol, Tobacco,
       Firearms, and Explosives), Carlos Alvarez and Alan Lynn (Metro-Dade Police
       Department), Charles Branas (Firearm and Injury Center, University of Pennsylvania),
       Caroline Harlow (Bureau of Justice Statistics), and Rebecca Knox (Brady Center to
       Prevent Handgun Violence). Robert Burrows (Bureau of Alcohol, Tobacco, Firearms,
       and Explosives) and Wain Roberts (Wain Roberts Firearms) shared technical expertise on
       firearms. Anonymous reviewers for the National Institute of Justice provided thorough
       and helpful comments on earlier versions of this report, as did Terrence Austin and
       Robert Burrows of the Bureau of Alcohol, Tobacco, Firearms, and Explosives. Finally, I
       thank Lois Mock, our National Institute of Justice grant monitor, for her advice and
       encouragement throughout all of the research that my colleagues and I have conducted on
       the assault weapons ban.




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       1. IMPACTS OF THE FEDERAL ASSAULT WEAPONS BAN, 1994-2003: KEY
       FINDINGS AND CONCLUSIONS

              This overview presents key findings and conclusions from a study sponsored by
       the National Institute of Justice to investigate the effects of the federal assault weapons
       ban. This study updates prior reports to the National Institute of Justice and the U.S.
       Congress on the assault weapons legislation.


       The Ban Attempts to Limit the Use of Guns with Military Style Features and Large
       Ammunition Capacities

            •    Title XI, Subtitle A of the Violent Crime Control and Law Enforcement Act of
                 1994 imposed a 10-year ban on the “manufacture, transfer, and possession” of
                 certain semiautomatic firearms designated as assault weapons (AWs). The ban is
                 directed at semiautomatic firearms having features that appear useful in military
                 and criminal applications but unnecessary in shooting sports or self-defense
                 (examples include flash hiders, folding rifle stocks, and threaded barrels for
                 attaching silencers). The law bans 18 models and variations by name, as well as
                 revolving cylinder shotguns. It also has a “features test” provision banning other
                 semiautomatics having two or more military-style features. In sum, the Bureau of
                 Alcohol, Tobacco, Firearms, and Explosives (ATF) has identified 118 models and
                 variations that are prohibited by the law. A number of the banned guns are
                 foreign semiautomatic rifles that have been banned from importation into the U.S.
                 since 1989.

            •    The ban also prohibits most ammunition feeding devices holding more than 10
                 rounds of ammunition (referred to as large capacity magazines, or LCMs). An
                 LCM is arguably the most functionally important feature of most AWs, many of
                 which have magazines holding 30 or more rounds. The LCM ban’s reach is
                 broader than that of the AW ban because many non-banned semiautomatics
                 accept LCMs. Approximately 18% of civilian-owned firearms and 21% of
                 civilian-owned handguns were equipped with LCMs as of 1994.

            •    The ban exempts AWs and LCMs manufactured before September 13, 1994. At
                 that time, there were upwards of 1.5 million privately owned AWs in the U.S. and
                 nearly 25 million guns equipped with LCMs. Gun industry sources estimated that
                 there were 25 million pre-ban LCMs available in the U.S. as of 1995. An
                 additional 4.7 million pre-ban LCMs were imported into the country from 1995
                 through 2000, with the largest number in 1999.

            •    Arguably, the AW-LCM ban is intended to reduce gunshot victimizations by
                 limiting the national stock of semiautomatic firearms with large ammunition
                 capacities – which enable shooters to discharge many shots rapidly – and other
                 features conducive to criminal uses. The AW provision targets a relatively small
                 number of weapons based on features that have little to do with the weapons’

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                 operation, and removing those features is sufficient to make the weapons legal.
                 The LCM provision limits the ammunition capacity of non-banned firearms.


       The Banned Guns and Magazines Were Used in Up to A Quarter of Gun Crimes
       Prior to the Ban

            •    AWs were used in only a small fraction of gun crimes prior to the ban: about 2%
                 according to most studies and no more than 8%. Most of the AWs used in crime
                 are assault pistols rather than assault rifles.

            •    LCMs are used in crime much more often than AWs and accounted for 14% to
                 26% of guns used in crime prior to the ban.

            •    AWs and other guns equipped with LCMs tend to account for a higher share of
                 guns used in murders of police and mass public shootings, though such incidents
                 are very rare.


       The Ban’s Success in Reducing Criminal Use of the Banned Guns and Magazines
       Has Been Mixed

            •    Following implementation of the ban, the share of gun crimes involving AWs
                 declined by 17% to 72% across the localities examined for this study (Baltimore,
                 Miami, Milwaukee, Boston, St. Louis, and Anchorage), based on data covering all
                 or portions of the 1995-2003 post-ban period. This is consistent with patterns
                 found in national data on guns recovered by police and reported to ATF.

            •    The decline in the use of AWs has been due primarily to a reduction in the use of
                 assault pistols (APs), which are used in crime more commonly than assault rifles
                 (ARs). There has not been a clear decline in the use of ARs, though assessments
                 are complicated by the rarity of crimes with these weapons and by substitution of
                 post-ban rifles that are very similar to the banned AR models.

            •    However, the decline in AW use was offset throughout at least the late 1990s by
                 steady or rising use of other guns equipped with LCMs in jurisdictions studied
                 (Baltimore, Milwaukee, Louisville, and Anchorage). The failure to reduce LCM
                 use has likely been due to the immense stock of exempted pre-ban magazines,
                 which has been enhanced by recent imports.


       It is Premature to Make Definitive Assessments of the Ban’s Impact on Gun Crime

            •    Because the ban has not yet reduced the use of LCMs in crime, we cannot clearly
                 credit the ban with any of the nation’s recent drop in gun violence. However, the
                 ban’s exemption of millions of pre-ban AWs and LCMs ensured that the effects

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                 of the law would occur only gradually. Those effects are still unfolding and may
                 not be fully felt for several years into the future, particularly if foreign, pre-ban
                 LCMs continue to be imported into the U.S. in large numbers.


       The Ban’s Reauthorization or Expiration Could Affect Gunshot Victimizations, But
       Predictions are Tenuous

            •    Should it be renewed, the ban’s effects on gun violence are likely to be small at
                 best and perhaps too small for reliable measurement. AWs were rarely used in
                 gun crimes even before the ban. LCMs are involved in a more substantial share
                 of gun crimes, but it is not clear how often the outcomes of gun attacks depend on
                 the ability of offenders to fire more than ten shots (the current magazine capacity
                 limit) without reloading.

            •    Nonetheless, reducing criminal use of AWs and especially LCMs could have non-
                 trivial effects on gunshot victimizations. The few available studies suggest that
                 attacks with semiautomatics – including AWs and other semiautomatics equipped
                 with LCMs – result in more shots fired, more persons hit, and more wounds
                 inflicted per victim than do attacks with other firearms. Further, a study of
                 handgun attacks in one city found that 3% of the gunfire incidents resulted in
                 more than 10 shots fired, and those attacks produced almost 5% of the gunshot
                 victims.

            •    Restricting the flow of LCMs into the country from abroad may be necessary to
                 achieve desired effects from the ban, particularly in the near future. Whether
                 mandating further design changes in the outward features of semiautomatic
                 weapons (such as removing all military-style features) will produce measurable
                 benefits beyond those of restricting ammunition capacity is unknown. Past
                 experience also suggests that Congressional discussion of broadening the AW ban
                 to new models or features would raise prices and production of the weapons under
                 discussion.

            •    If the ban is lifted, gun and magazine manufacturers may reintroduce AW models
                 and LCMs, perhaps in substantial numbers. In addition, pre-ban AWs may lose
                 value and novelty, prompting some of their owners to sell them in undocumented
                 secondhand markets where they can more easily reach high-risk users, such as
                 criminals, terrorists, and other potential mass murderers. Any resulting increase
                 in crimes with AWs and LCMs might increase gunshot victimizations for the
                 reasons noted above, though this effect could be difficult to measure.




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       2. PROVISIONS OF THE ASSAULT WEAPONS BAN


       2.1. Assault Weapons

               Enacted on September 13, 1994, Title XI, Subtitle A of the Violent Crime Control
       and Law Enforcement Act of 1994 imposes a 10-year ban on the “manufacture, transfer,
       and possession” of certain semiautomatic firearms designated as assault weapons
       (AWs).1 The AW ban is not a prohibition on all semiautomatics. Rather, it is directed at
       semiautomatics having features that appear useful in military and criminal applications
       but unnecessary in shooting sports or self-defense. Examples of such features include
       pistol grips on rifles, flash hiders, folding rifle stocks, threaded barrels for attaching
       silencers, and the ability to accept ammunition magazines holding large numbers of
       bullets.2 Indeed, several of the banned guns (e.g., the AR-15 and Avtomat Kalashnikov
       models) are civilian copies of military weapons and accept ammunition magazines made
       for those military weapons.

               As summarized in Table 2-1, the law specifically prohibits nine narrowly defined
       groups of pistols, rifles, and shotguns. A number of the weapons are foreign rifles that
       the federal government has banned from importation into the U.S. since 1989. Exact
       copies of the named AWs are also banned, regardless of their manufacturer. In addition,
       the ban contains a generic “features test” provision that generally prohibits other
       semiautomatic firearms having two or more military-style features, as described in Table
       2-2. In sum, the federal Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF)
       has identified 118 model and caliber variations that meet the AW criteria established by
       the ban.3

              Figures 2-1 and 2-2 illustrate a few prominent AWs and their features. Figure 2-1
       displays the Intratec TEC-9 assault pistol, the AW most frequently used in crime (e.g.,
       see Roth and Koper 1997, Chapter 2). Figure 2-2 depicts the AK-47 assault rifle, a
       weapon of Soviet design. There are many variations of the AK-47 produced around the
       world, not all of which have the full complement of features illustrated in Figure 2-2.




       1
         A semiautomatic weapon fires one bullet for each squeeze of the trigger. After each shot, the gun
       automatically loads the next bullet and cocks itself for the next shot, thereby permitting a somewhat faster
       rate of fire relative to non-automatic firearms. Semiautomatics are not to be confused with fully automatic
       weapons (i.e., machine guns), which fire continuously as long as the trigger is held down. Fully automatic
       weapons have been illegal to own in the United States without a federal permit since 1934.
       2
         Ban advocates stress the importance of pistol grips on rifles and heat shrouds or forward handgrips on
       pistols, which in combination with large ammunition magazines enable shooters to discharge high numbers
       of bullets rapidly (in a “spray fire” fashion) while maintaining control of the firearm (Violence Policy
       Center, 2003). Ban opponents, on the other hand, argue that AW features also serve legitimate purposes for
       lawful gun users (e.g., see Kopel, 1995).
       3
         This is based on AWs identified by ATF’s Firearms Technology Branch as of December 1997.

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                                            Table 2-1. Firearms Banned by the Federal Assault Weapons Ban

 Firearm                     Description                                                                1993 Blue Book Price      Pre-Ban Federal       Examples of
                                                                                                                                  Legal Status          Legal
                                                                                                                                                        Substitutes
 Avtomat Kalashnikov Chinese, Russian, other foreign and domestic: .223 or                             $550 (generic import); add Imports banned in     Norinco NHM
 (AK) (by Norinco,   7.62x39mm caliber, semiauto. rifle; 5, 10, or 30 shot                             10-15% for folding stock   1989.                 90/91 1
 Mitchell, Poly      magazine, may be supplied with bayonet                                            models
 Technologies)
 Uzi, Galil                  Israeli: 9mm, .41, or .45 caliber semiauto. carbine, mini-                $550-$1050 (Uzi)           Imports banned in     Uzi Sporter 2
                             carbine, or pistol. Magazine capacity of 16, 20, or 25,                   $875-$1150 (Galil)         1989
                             depending on model and type (10 or 20 on pistols).
 Beretta AR-70               Italian: .222 or .223 caliber semiauto. paramilitary design rifle; $1050                             Imports banned in
                             5, 8, or 30 shot magazine.                                                                           1989.
 Colt AR-15                  Domestic: primarily .223 caliber paramilitary rifle or carbine; $825-$1325                           Legal (civilian       Colt Sporter,
                             5 shot magazines, often comes with two 5-shot detachable                                             version of military   Match H-Bar,
                             magazines. Exact copies by DPMS, Eagle, Olympic, and                                                 M-16)                 Target models
                             others.
 Fabrique National           Belgian design: .308 caliber semiauto. rifle or .223 combat               $1100-$2500                Imports banned in     L1A1 Sporter
 FN/FAL, FN/LAR,             carbine with 30 shot magazine. Rifle comes with flash hider,                                         1989.                 (FN, Century) 2
 FNC                         4 position fire selector on automatic models. Discontinued in
                             1988.
 Steyr AUG                   Austrian: .223/5.56mm caliber semiauto. paramilitary design               $2500                      Imports banned in
                             rifle.                                                                                               1989
 SWD M-10, 11, 11/9, Domestic: 9mm, .380, or .45 caliber paramilitary design                           $215 (M-11/9)              Legal                 Cobray PM11, 12
 12                  semiauto. pistol; 32 shot magazine. Also available in
                     semiauto. carbine and fully automatic variations.
 TEC-9, DC9, 22              Domestic: 9mm caliber semiauto. paramilitary design pistol,               $145-$295                  Legal                 TEC-AB
                             10 or 32 shot magazine.; .22 caliber semiauto. paramilitary
                             design pistol, 30 shot magazine.
 Revolving Cylinder          Domestic: 12 gauge, 12 shot rotary magazine; paramilitary                 $525 (Street Sweeper)      Legal
 Shotguns                    configuration
  1
      Imports were halted in 1994 under the federal embargo on the importation of firearms from China.
  2
      Imports banned by federal executive order, April 1998.



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                        Table 2-2. Features Test of the Federal Assault Weapons Ban

         Weapon Category                        Military-Style Features
                                                (Two or more qualify a firearm as an assault weapon)
         Semiautomatic pistols                       1) ammunition magazine that attaches outside the
         accepting detachable                           pistol grip
         magazines:                                  2) threaded barrel capable of accepting a barrel
                                                        extender, flash hider, forward handgrip, or silencer
                                                     3) heat shroud attached to or encircling the barrel
                                                     4) weight of more than 50 ounces unloaded
                                                     5) semiautomatic version of a fully automatic weapon
         Semiautomatic rifles                        1) folding or telescoping stock
         accepting detachable                        2) pistol grip that protrudes beneath the firing action
         magazines:                                  3) bayonet mount
                                                     4) flash hider or threaded barrel designed to
                                                        accommodate one
                                                     5) grenade launcher
         Semiautomatic shotguns:                     1)    folding or telescoping stock
                                                     2)    pistol grip that protrudes beneath the firing action
                                                     3)    fixed magazine capacity over 5 rounds
                                                     4)    ability to accept a detachable ammunition magazine



    2.2. Large Capacity Magazines

            In addition, the ban prohibits most ammunition feeding devices holding more than 10
    rounds of ammunition (referred to hereafter as large capacity magazines, or LCMs).4 Most
    notably, this limits the capacity of detachable ammunition magazines for semiautomatic
    firearms. Though often overlooked in media coverage of the law, this provision impacted a
    larger share of the gun market than did the ban on AWs. Approximately 40 percent of the
    semiautomatic handgun models and a majority of the semiautomatic rifle models being
    manufactured and advertised prior to the ban were sold with LCMs or had a variation that was
    sold with an LCM (calculated from Murtz et al., 1994). Still others could accept LCMs made
    for other firearms and/or by other manufacturers. A national survey of gun owners found that
    18% of all civilian-owned firearms and 21% of civilian-owned handguns were equipped with
    magazines having 10 or more rounds as of 1994 (Cook and Ludwig, 1996, p. 17). The AW
    provision did not affect most LCM-compatible guns, but the LCM provision limited the
    capacities of their magazines to 10 rounds.



    4
      Technically, the ban prohibits any magazine, belt, drum, feed strip, or similar device that has the capacity to
    accept more than 10 rounds or ammunition, or which can be readily converted or restored to accept more than 10
    rounds of ammunition. The ban exempts attached tubular devices capable of operating only with .22 caliber
    rimfire (i.e., low velocity) ammunition.

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                                      Figure 2-1. Features of Assault Weapons:
                                          The Intratec TEC-9 Assault Pistol


                                                Threaded Barrel
                                                Designed to accommodate a silencer




       Barrel Shroud
       Cools the barrel of the weapon so it will
       not overheat during rapid firing. Allows
       the shooter to grasp the barrel area during
       rapid fire without incurring serious burns.




                                                                                          Large Capacity Magazine Outside Pistol Grip
                                                                                          Characteristic of an assault weapon, not a
                                                                                          sporting handgun.



       Adapted from exhibit of the Center to Prevent Handgun Violence.


               As discussed in later chapters, an LCM is perhaps the most functionally important
       feature of many AWs. This point is underscored by the AW ban’s exemptions for
       semiautomatic rifles that cannot accept a detachable magazine that holds more than five rounds
       of ammunition and semiautomatic shotguns that cannot hold more than five rounds in a fixed
       or detachable magazine. As noted by the U.S. House of Representatives, most prohibited AWs
       came equipped with magazines holding 30 rounds and could accept magazines holding as
       many as 50 or 100 rounds (U.S. Department of the Treasury, 1998, p. 14). Also, a 1998 federal
       executive order (discussed below) banned further importation of foreign semiautomatic rifles
       capable of accepting LCMs made for military rifles. Accordingly, the magazine ban plays an
       important role in the logic and interpretations of the analyses presented here.




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                                      Figure 2-2. Features of Assault Weapons:
                                              The AK-47 Assault Rifle

                                                             Flash Suppressor
                                                             Reduces the flash from the barrel
                                                             of the weapon, allowing the
                                                             shooter to remain concealed when
                                                             shooting at night.


       Barrel Mount
       Designed to
       accommodate a
       bayonet, serves no
       sporting purpose.



                                                                                                                    Folding Stock
                                                                                                                    Sacrifices accuracy for
                                                                                                                    concealability and mobility
                                                                                                                    in combat situations.
                              Large Capacity
                              Detachable Magazine
                              Permits shooter to fire dozens
                              of rounds of ammunition
                              without reloading.
                                                                               Pistol Grip
                                                                               Allows the weapon to be
                                                                               “spray fired” from the hip.
                                                                               Also helps stabilize the
                                                                               weapon during rapid fire.

       Adapted from exhibit of the Center to Prevent Handgun Violence.



       2.3. Foreign Rifles Accepting Large Capacity Military Magazines

                In April of 1998, the Clinton administration broadened the range of the AW ban
       by prohibiting importation of an additional 58 foreign semiautomatic rifles that were still
       legal under the 1994 law but that can accept LCMs made for military assault rifles like
       the AK-47 (U.S. Department of the Treasury, 1998).5 Figure 2-3 illustrates a few such
       rifles (hereafter, LCMM rifles) patterned after the banned AK-47 pictured in Figure 2-2.
       The LCMM rifles in Figure 2-3 do not possess the military-style features incorporated
       into the AK-47 (such as pistol grips, flash suppressors, and bayonet mounts), but they
       accept LCMs made for AK-47s.6

       5
         In the civilian context, AWs are semiautomatic firearms. Many semiautomatic AWs are patterned after
       military firearms, but the military versions are capable of semiautomatic and fully automatic fire.
       6
         Importation of some LCMM rifles, including a number of guns patterned after the AK-47, was halted in
       1994 due to trade sanctions against China (U.S. Department of the Treasury, 1998).

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                              Figure 2-3. Foreign Semiautomatic Rifles Capable of Accepting Large Capacity Military
                                           Magazines: AK47 Copies Banned by Executive Order in 1998




               Taken from U.S. Department of the Treasury (1998)




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       2.4. Ban Exemptions

       2.4.1. Guns and Magazines Manufactured Prior to the Ban

               The ban contains important exemptions. AWs and LCMs manufactured before
       the effective date of the ban are “grandfathered” and thus legal to own and transfer.
       Around 1990, there were an estimated 1 million privately owned AWs in the U.S. (about
       0.5% of the estimated civilian gun stock) (Cox Newspapers, 1989, p. 1; American
       Medical Association Council on Scientific Affairs, 1992), though those counts probably
       did not correspond exactly to the weapons prohibited by the 1994 ban. The leading
       domestic AW producers manufactured approximately half a million AWs from 1989
       through 1993, representing roughly 2.5% of all guns manufactured in the U.S. during that
       time (see Chapter 5).

              We are not aware of any precise estimates of the pre-ban stock of LCMs, but gun
       owners in the U.S. possessed an estimated 25 million guns that were equipped with
       LCMs or 10-round magazines in 1994 (Cook and Ludwig, 1996, p. 17), and gun industry
       sources estimated that, including aftermarket items for repairing and extending
       magazines, there were at least 25 million LCMs available in the United States as of 1995
       (Gun Tests, 1995, p. 30). As discussed in Chapter 7, moreover, an additional 4.8 million
       pre-ban LCMs were imported into the U.S. from 1994 through 2000 under the
       grandfathering exemption.


       2.4.2. Semiautomatics With Fewer or No Military Features

               Although the law bans “copies or duplicates” of the named gun makes and
       models, federal authorities have emphasized exact copies. Relatively cosmetic changes,
       such as removing a flash hider or bayonet mount, are sufficient to transform a banned
       weapon into a legal substitute, and a number of manufacturers now produce modified,
       legal versions of some of the banned guns (examples are listed in Table 2-1). In general,
       the AW ban does not apply to semiautomatics possessing no more than one military-style
       feature listed under the ban’s features test provision.7 For instance, prior to going out of
       business, Intratec, makers of the banned TEC-9 featured in Figure 2-1, manufactured an
       AB-10 (“after ban”) model that does not have a threaded barrel or a barrel shroud but is
       identical to the TEC-9 in other respects, including the ability to accept an ammunition
       magazine outside the pistol grip (Figure 2-4). As shown in the illustration, the AB-10
       accepts grandfathered, 32-round magazines made for the TEC-9, but post-ban magazines
       produced for the AB-10 must be limited to 10 rounds.


       7
         Note, however, that firearms imported into the country must still meet the “sporting purposes test”
       established under the federal Gun Control Act of 1968. In 1989, ATF determined that foreign
       semiautomatic rifles having any one of a number of named military features (including those listed in the
       features test of the 1994 AW ban) fail the sporting purposes test and cannot be imported into the country.
       In 1998, the ability to accept an LCM made for a military rifle was added to the list of disqualifying
       features. Consequently, it is possible for foreign rifles to pass the features test of the federal AW ban but
       not meet the sporting purposes test for imports (U.S. Department of the Treasury, 1998).

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               Another example is the Colt Match Target H-Bar rifle (Figure 2-5), which is a
       legalized version of the banned AR-15 (see Table 2-1). AR-15 type rifles are civilian
       weapons patterned after the U.S. military’s M-16 rifle and were the assault rifles most
       commonly used in crime before the ban (Roth and Koper, 1997, Chapter 2). The post-
       ban version shown in Figure 2-5 (one of several legalized variations on the AR-15) is
       essentially identical to pre-ban versions of the AR-15 but does not have accessories like a
       flash hider, threaded barrel, or bayonet lug. The one remaining military feature on the
       post-ban gun is the pistol grip. This and other post-ban AR-15 type rifles can accept
       LCMs made for the banned AR15, as well as those made for the U.S. military’s M-16.
       However, post-ban magazines manufactured for these guns must hold fewer than 11
       rounds.

               The LCMM rifles discussed above constituted another group of legalized AW-
       type weapons until 1998, when their importation was prohibited by executive order.
       Finally, the ban includes an appendix that exempts by name several hundred models of
       rifles and shotguns commonly used in hunting and recreation, 86 of which are
       semiautomatics. While the exempted semiautomatics generally lack the military-style
       features common to AWs, many take detachable magazines, and some have the ability to
       accept LCMs.8


       2.5. Summary

              In the broadest sense, the AW-LCM ban is intended to limit crimes with
       semiautomatic firearms having large ammunition capacities – which enable shooters to
       discharge high numbers of shots rapidly – and other features conducive to criminal
       applications. The gun ban provision targets a relatively small number of weapons based
       on outward features or accessories that have little to do with the weapons’ operation.
       Removing some or all of these features is sufficient to make the weapons legal. In other
       respects (e.g., type of firing mechanism, ammunition fired, and the ability to accept a
       detachable magazine), AWs do not differ from other legal semiautomatic weapons. The
       LCM provision of the law limits the ammunition capacity of non-banned firearms.




       8
         Legislators inserted a number of amendments during the drafting process to broaden the consensus
       behind the bill (Lennett 1995). Among changes that occurred during drafting were: dropping a requirement
       to register post-ban sales of the grandfathered guns, dropping a ban on “substantial substitutes” as well as
       “exact copies” of the banned weapons, shortening the list of named makes and models covered by the ban,
       adding the appendix list of exempted weapons, and mandating the first impact study of the ban that is
       discussed below.

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                       Figure 2-4. Post-Ban, Modified Versions of Assault Weapons:
                       The Intratec AB (“After Ban”) Model (See Featured Firearm)




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                        Figure 2-5. Post-Ban, Modified Versions of Assault Weapons:
                                    The Colt Match Target HBAR Model




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       3. CRIMINAL USE OF ASSAULT WEAPONS AND LARGE CAPACITY
       MAGAZINES BEFORE THE BAN


               During the 1980s and early 1990s, AWs and other semiautomatic firearms
       equipped with LCMs were involved in a number of highly publicized mass murder
       incidents that raised public concern about the accessibility of high powered, military-style
       weaponry and other guns capable of discharging high numbers of bullets in a short period
       of time (Cox Newspapers, 1989; Kleck, 1997, pp.124-126,144; Lenett, 1995). In one of
       the worst mass murders ever committed in the U.S., for example, James Huberty killed
       21 persons and wounded 19 others in a San Ysidro, California MacDonald’s restaurant on
       July 18, 1984 using an Uzi carbine, a shotgun, and another semiautomatic handgun. On
       September 14, 1989, Joseph Wesbecker, armed with an AK-47 rifle, two MAC-11
       handguns, and a number of other firearms, killed 7 persons and wounded 15 others at his
       former workplace in Louisville, Kentucky before taking his own life. Another
       particularly notorious incident that precipitated much of the recent debate over AWs
       occurred on January 17, 1989 when Patrick Purdy used a civilian version of the AK-47
       military rifle to open fire on a schoolyard in Stockton, California, killing 5 children and
       wounding 29 persons.

               There were additional high profile incidents in which offenders using
       semiautomatic handguns with LCMs killed and wounded large numbers of persons.
       Armed with two handguns having LCMs (and reportedly a supply of extra LCMs), a rifle,
       and a shotgun, George Hennard killed 22 people and wounded another 23 in Killeen,
       Texas in October 1991. In a December 1993 incident, a gunman named Colin Ferguson,
       armed with a handgun and LCMs, opened fire on commuters on a Long Island train,
       killing 5 and wounding 17.

               Indeed, AWs or other semiautomatics with LCMs were involved in 6, or 40%, of
       15 mass shooting incidents occurring between 1984 and 1993 in which six or more
       persons were killed or a total of 12 or more were wounded (Kleck, 1997, pp.124-126,
       144). Early studies of AWs, though sometimes based on limited and potentially
       unrepresentative data, also suggested that AWs recovered by police were often associated
       with drug trafficking and organized crime (Cox Newspapers, 1989; also see Roth and
       Koper, 1997, Chapter 5), fueling a perception that AWs were guns of choice among drug
       dealers and other particularly violent groups. All of this intensified concern over AWs
       and other semiautomatics with large ammunition capacities and helped spur the passage
       of AW bans in California, New Jersey, Connecticut, and Hawaii between 1989 and 1993,
       as well as the 1989 federal import ban on selected semiautomatic rifles. Maryland also
       passed AW legislation in 1994, just a few months prior to the passage of the 1994 federal
       AW ban.9

              Looking at the nation’s gun crime problem more broadly, however, AWs and
       LCMs were used in only a minority of gun crimes prior to the 1994 federal ban, and AWs
       were used in a particularly small percentage of gun crimes.
       9
           A number of localities around the nation also passed AW bans during this period.

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       3.1. Criminal Use of Assault Weapons

               Numerous studies have examined the use of AWs in crime prior to the federal
       ban. The definition of AWs varied across the studies and did not always correspond
       exactly to that of the 1994 law (in part because a number of the studies were done prior to
       1994). In general, however, the studies appeared to focus on various semiautomatics
       with detachable magazines and military-style features. According to these accounts,
       AWs typically accounted for up to 8% of guns used in crime, depending on the specific
       AW definition and data source used (e.g., see Beck et al., 1993; Hargarten et al., 1996;
       Hutson et al., 1994; 1995; McGonigal et al., 1993; New York State Division of Criminal
       Justice Services, 1994; Roth and Koper, 1997, Chapters 2, 5, 6; Zawitz, 1995). A
       compilation of 38 sources indicated that AWs accounted for 2% of crime guns on average
       (Kleck, 1997, pp.112, 141-143).10

               Similarly, the most common AWs prohibited by the 1994 federal ban accounted
       for between 1% and 6% of guns used in crime according to most of several national and
       local data sources examined for this and our prior study (see Chapter 6 and Roth and
       Koper, 1997, Chapters 5, 6):


            •    Baltimore (all guns recovered by police, 1992-1993): 2%
            •    Miami (all guns recovered by police, 1990-1993): 3%
            •    Milwaukee (guns recovered in murder investigations, 1991-1993): 6%
            •    Boston (all guns recovered by police, 1991-1993): 2%
            •    St. Louis (all guns recovered by police, 1991-1993): 1%
            •    Anchorage, Alaska (guns used in serious crimes, 1987-1993): 4%
            •    National (guns recovered by police and reported to ATF, 1992-1993): 5%11
            •    National (gun thefts reported to police, 1992-Aug. 1994): 2%
            •    National (guns used in murders of police, 1992-1994): 7-9%12
            •    National (guns used in mass murders of 4 or more persons, 1992-1994): 4-13%13


              Although each of the sources cited above has limitations, the estimates
       consistently show that AWs are used in a small fraction of gun crimes. Even the highest

       10
          The source in question contains a total of 48 estimates, but our focus is on those that examined all AWs
       (including pistols, rifles, and shotguns) as opposed to just assault rifles.
       11
          For reasons discussed in Chapter 6, the national ATF estimate likely overestimates the use of AWs in
       crime. Nonetheless, the ATF estimate lies within the range of other presented estimates.
       12
          The minimum estimate is based on AW cases as a percentage of all gun murders of police. The
       maximum estimate is based on AW cases as a percentage of cases for which at least the gun manufacturer
       was known. Note that AWs accounted for as many as 16% of gun murders of police in 1994 (Roth and
       Koper, 1997, Chapter 6; also see Adler et al., 1995).
       13
          These statistics are based on a sample of 28 cases found through newspaper reports (Roth and Koper,
       1997, Appendix A). One case involved an AW, accounting for 3.6% of all cases and 12.5% of cases in
       which at least the type of gun (including whether the gun was a handgun, rifle, or shotgun and whether the
       gun was a semiautomatic) was known. Also see the earlier discussion of AWs and mass shootings at the
       beginning of this chapter.

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       estimates, which correspond to particularly rare events such mass murders and police
       murders, are no higher than 13%. Note also that the majority of AWs used in crime are
       assault pistols (APs) rather than assault rifles (ARs). Among AWs reported by police to
       ATF during 1992 and 1993, for example, APs outnumbered ARs by a ratio of 3 to 1 (see
       Chapter 6).

              The relative rarity of AW use in crime can be attributed to a number of factors.
       Many AWs are long guns, which are used in crime much less often than handguns.
       Moreover, a number of the banned AWs are foreign weapons that were banned from
       importation into the U.S. in 1989. Also, AWs are more expensive (see Table 2-1) and
       more difficult to conceal than the types of handguns that are used most frequently in
       crime.


       3.1.1. A Note on Survey Studies and Assault Weapons

               The studies and statistics discussed above were based primarily on police
       information. Some survey studies have given a different impression, suggesting
       substantial levels of AW ownership among criminals and otherwise high-risk juvenile
       and adult populations, particularly urban gang members (Knox et al., 1994; Sheley and
       Wright, 1993a). A general problem with these studies, however, is that respondents
       themselves had to define terms like “military-style” and “assault rifle.” Consequently,
       the figures from these studies may lack comparability with those from studies with police
       data. Further, the figures reported in some studies prompt concerns about exaggeration
       of AW ownership (perhaps linked to publicity over the AW issue during the early 1990s
       when a number of these studies were conducted), particularly among juvenile offenders,
       who have reported ownership levels as high as 35% just for ARs (Sheley and Wright,
       1993a).14

               Even so, most survey evidence on the actual use of AWs suggests that offenders
       rarely use AWs in crime. In a 1991 national survey of adult state prisoners, for example,
       8% of the inmates reported possessing a “military-type” firearm at some point in the past
       (Beck et al., 1993, p. 19). Yet only 2% of offenders who used a firearm during their
       conviction offense reported using an AW for that offense (calculated from pp. 18, 33), a
       figure consistent with the police statistics cited above. Similarly, while 10% of adult
       inmates and 20% of juvenile inmates in a Virginia survey reported having owned an AR,
       none of the adult inmates and only 1% of the juvenile inmates reported having carried
       them at crime scenes (reported in Zawitz, 1995, p. 6). In contrast, 4% to 20% of inmates
       surveyed in eight jails across rural and urban areas of Illinois and Iowa reported having
       used an AR in committing crimes (Knox et al., 1994, p. 17). Nevertheless, even
       assuming the accuracy and honesty of the respondents’ reports, it is not clear what

       14
          As one example of possible exaggeration of AW ownership, a survey of incarcerated juveniles in New
       Mexico found that 6% reported having used a “military-style rifle” against others and 2.6% reported that
       someone else used such a rifle against them. However, less than 1% of guns recovered in a sample of
       juvenile firearms cases were “military” style guns (New Mexico Criminal Justice Statistical Analysis
       Center, 1998, pp. 17-19; also see Ruddell and Mays, 2003).

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       weapons they were counting as ARs, what percentage of their crimes were committed
       with ARs, or what share of all gun crimes in their respective jurisdictions were linked to
       their AR uses. Hence, while some surveys suggest that ownership and, to a lesser extent,
       use of AWs may be fairly common among certain subsets of offenders, the overwhelming
       weight of evidence from gun recovery and survey studies indicates that AWs are used in
       a small percentage of gun crimes overall.


       3.1.2. Are Assault Weapons More Attractive to Criminal Users Than Other Gun Users?

                Although AWs are used in a small percentage of gun crimes, some have argued
       that AWs are more likely to be used in crime than other guns, i.e., that AWs are more
       attractive to criminal than lawful gun users due to the weapons’ military-style features
       and their particularly large ammunition magazines. Such arguments are based on data
       implying that AWs are more common among crime guns than among the general stock of
       civilian firearms. According to some estimates generated prior to the federal ban, AWs
       accounted for less than one percent of firearms owned by civilians but up to 11% of guns
       used in crime, based on firearms reported by police to ATF between 1986 and 1993 (e.g.,
       see Cox Newspapers, 1989; Lennett, 1995). However, these estimates were problematic
       in a number of respects. As discussed in Chapter 6, ATF statistics are not necessarily
       representative of the types of guns most commonly recovered by police, and ATF
       statistics from the late 1980s and early 1990s in particular tended to overstate the
       prevalence of AWs among crime guns. Further, estimating the percentage of civilian
       weapons that are AWs is difficult because gun production data are not reported by model,
       and one must also make assumptions about the rate of attrition among the stock of
       civilian firearms.

                Our own more recent assessment indicates that AWs accounted for about 2.5% of
       guns produced from 1989 through 1993 (see Chapter 5). Relative to previous estimates,
       this may signify that AWs accounted for a growing share of civilian firearms in the years
       just before the ban, though the previous estimates likely did not correspond to the exact
       list of weapons banned in 1994 and thus may not be entirely comparable to our estimate.
       At any rate, the 2.5% figure is comparable to most of the AW crime gun estimates listed
       above; hence, it is not clear that AWs are used disproportionately in most crimes, though
       AWs still seem to account for a somewhat disproportionate share of guns used in murders
       and other serious crimes.

               Perhaps the best evidence of a criminal preference for AWs comes from a study
       of young adult handgun buyers in California that found buyers with minor criminal
       histories (i.e., arrests or misdemeanor convictions that did not disqualify them from
       purchasing firearms) were more than twice as likely to purchase APs than were buyers
       with no criminal history (4.6% to 2%, respectively) (Wintemute et al., 1998a). Those
       with more serious criminal histories were even more likely to purchase APs: 6.6% of
       those who had been charged with a gun offense bought APs, as did 10% of those who had
       been charged with two or more serious violent offenses. AP purchasers were also more
       likely to be arrested subsequent to their purchases than were other gun purchasers.


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       Among gun buyers with prior charges for violence, for instance, AP buyers were more
       than twice as likely as other handgun buyers to be charged with any new offense and
       three times as likely to be charged with a new violent or gun offense. To our knowledge,
       there have been no comparable studies contrasting AR buyers with other rifle buyers.


       3.2. Criminal Use of Large Capacity Magazines

               Relative to the AW issue, criminal use of LCMs has received relatively little
       attention. Yet the overall use of guns with LCMs, which is based on the combined use of
       AWs and non-banned guns with LCMs, is much greater than the use of AWs alone.
       Based on data examined for this and a few prior studies, guns with LCMs were used in
       roughly 14% to 26% of most gun crimes prior to the ban (see Chapter 8; Adler et al.,
       1995; Koper, 2001; New York Division of Criminal Justice Services, 1994).


            •    Baltimore (all guns recovered by police, 1993): 14%
            •    Milwaukee (guns recovered in murder investigations, 1991-1993): 21%
            •    Anchorage, Alaska (handguns used in serious crimes, 1992-1993): 26%
            •    New York City (guns recovered in murder investigations, 1993): 16-25%15
            •    Washington, DC (guns recovered from juveniles, 1991-1993): 16%16
            •    National (guns used in murders of police, 1994): 31%-41%17


              Although based on a small number of studies, this range is generally consistent
       with national survey estimates indicating approximately 18% of all civilian-owned guns
       and 21% of civilian-owned handguns were equipped with LCMs as of 1994 (Cook and
       Ludwig, 1996, p. 17). The exception is that LCMs may have been used
       disproportionately in murders of police, though such incidents are very rare.

              As with AWs and crime guns in general, most crime guns equipped with LCMs
       are handguns. Two handgun models manufactured with LCMs prior to the ban (the
       Glock 17 and Ruger P89) were among the 10 crime gun models most frequently
       recovered by law enforcement and reported to ATF during 1994 (ATF, 1995).




       15
          The minimum estimate is based on cases in which discharged firearms were recovered, while the
       maximum estimate is based on cases in which recovered firearms were positively linked to the case with
       ballistics evidence (New York Division of Criminal Justice Services, 1994).
       16
          Note that Washington, DC prohibits semiautomatic firearms accepting magazines with more than 12
       rounds (and handguns in general).
       17
          The estimates are based on the sum of cases involving AWs or other guns sold with LCMs (Adler et al.,
       1995, p.4). The minimum estimate is based on AW-LCM cases as a percentage of all gun murders of
       police. The maximum estimate is based on AW-LCM cases as a percentage of cases in which the gun
       model was known.

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       3.3. Summary

               In sum, AWs and LCMs were used in up to a quarter of gun crimes prior to the
       1994 AW-LCM ban. By most estimates, AWs were used in less than 6% of gun crimes
       even before the ban. Some may have perceived their use to be more widespread,
       however, due to the use of AWs in particularly rare and highly publicized crimes such as
       mass shootings (and, to a lesser extent, murders of police), survey reports suggesting high
       levels of AW ownership among some groups of offenders, and evidence that some AWs
       are more attractive to criminal than lawful gun buyers.

               In contrast, guns equipped with LCMs – of which AWs are a subset – are used in
       roughly 14% to 26% of gun crimes. Accordingly, the LCM ban has greater potential for
       affecting gun crime. However, it is not clear how often the ability to fire more than 10
       shots without reloading (the current magazine capacity limit) affects the outcomes of gun
       attacks (see Chapter 9). All of this suggests that the ban’s impact on gun violence is
       likely to be small.




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       4. OVERVIEW OF STUDY DESIGN, HYPOTHESES, AND PRIOR FINDINGS


               Section 110104 of the AW-LCM ban directed the Attorney General of the United
       States to study the ban’s impact and report the results to Congress within 30 months of
       the ban’s enactment, a provision which was presumably motivated by a sunset provision
       in the legislation (section 110105) that will lift the ban in September 2004 unless
       Congress renews the ban. In accordance with the study requirement, the National
       Institute of Justice (NIJ) awarded a grant to the Urban Institute to study the ban’s short-
       term (i.e., 1994-1996) effects. The results of that study are available in a number of
       reports, briefs, and articles written by members of this research team (Koper and Roth,
       2001a; 2001b; 2002a; Roth and Koper, 1997; 1999).18 In order to understand the ban’s
       longer-term effects, NIJ provided additional funding to extend the AW research. In 2002,
       we delivered an interim report to NIJ based on data extending through at least the late
       1990s (Koper and Roth, 2002b). This report is based largely on the 2002 interim report,
       but with various new and updated analyses extending as far as 2003. It is thus a
       compilation of analyses conducted between 1998 and 2003. The study periods vary
       somewhat across the analyses, depending on data availability and the time at which the
       data were collected.


       4.1. Logical Framework for Research on the Ban

               An important rationale for the AW-LCM ban is that AWs and other guns
       equipped with LCMs are particularly dangerous weapons because they facilitate the rapid
       firing of high numbers of shots, thereby potentially increasing injuries and deaths from
       gun violence. Although AWs and LCMs were used in only a modest share of gun crimes
       before the ban, it is conceivable that a decrease in their use might reduce fatal and non-
       fatal gunshot victimizations, even if it does not reduce the overall rate of gun crime. (In
       Chapter 9, we consider in more detail whether forcing offenders to substitute other guns
       and smaller magazines can reduce gun deaths and injuries.)

               It is not clear how quickly such effects might occur, however, because the ban
       exempted the millions of AWs and LCMs that were manufactured prior to the ban’s
       effective date in September 1994. This was particularly a concern for our first study,
       which was based on data extending through mid-1996, a period potentially too short to
       observe any meaningful effects. Consequently, investigation of the ban’s effects on gun
       markets – and, most importantly, how they have affected criminal use of AWs and LCMs
       – has played a central role in this research. The general logic of our studies, illustrated in
       Figure 4-1, has been to first assess the law’s impact on the availability of AWs and
       LCMs, examining price and production (or importation) indices in legal markets and
       relating them to trends in criminal use of AWs and LCMs. In turn, we can relate these
       market patterns to trends in the types of gun crimes most likely to be affected by changes
       in the use of AWs and LCMs. However, we cannot make definitive assessments of the


       18
            The report to Congress was the Roth and Koper (1997) report.

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       ban’s impact on gun violence until it is clear that the ban has indeed reduced criminal use
       of AWs and LCMs.


                 Figure 4-1. Logic Model for Research on the Assault Weapons Ban


                                        Availability of AWs-                          Use of                       Consequences of
            AW Ban                     LCMs in Gun Markets                          AWs-LCMs                        AW-LCM Use
                                        (prices, production)                         in Crime                     (murders, injuries)




       4.2. Hypothesized Market Effects

       4.2.1. A General Description of Gun Markets

               Firearms are distributed in markets commonly referred to as primary and
       secondary markets. Illicit gun transactions occur in both markets. Primary markets
       include wholesale and retail transactions by federally-licensed gun dealers, referred to as
       federal firearm licensees. Licensed dealers are required to, among things, follow federal
       and state background procedures to verify the eligibility of purchasers, observe any
       legally required waiting period prior to making transfers, and maintain records of gun
       acquisitions and dispositions (though records are not required for sales of ammunition
       magazines).

                Despite these restrictions, survey data suggest that as many as 21% of adult gun
       offenders obtained guns from licensed dealers in the years prior to the ban (Harlow, 2001,
       p. 6; also see Wright and Rossi, 1986, pp. 183,185). In more recent years, this figure has
       declined to 14% (Harlow, 2001, p. 6), due likely to the Brady Act, which established a
       national background check system for purchases from licensed dealers, and reforms of
       the federal firearms licensing system that have greatly reduced the number of licensed
       gun dealers (see ATF, 2000; Koper, 2002). Some would-be gun offenders may be legally
       eligible buyers at the time of their acquisitions, while others may seek out corrupt dealers
       or use other fraudulent or criminal means to acquire guns from retail dealers (such as
       recruiting a legally entitled buyer to act as a “straw purchaser” who buys a gun on behalf
       of a prohibited buyer).

               Secondary markets encompass second-hand gun transactions made by non-
       licensed individuals.19 Secondary market participants are prohibited from knowingly
       transferring guns to ineligible purchasers (e.g., convicted felons and drug abusers).
       However, secondary transfers are not subject to the federal record-keeping and
       background check requirements placed on licensed dealers, thus making the secondary

       19
         Persons who make only occasional sales of firearms are not required to obtain a federal firearms license
       (ATF, 2000, p. 11).

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       market almost entirely unregulated and, accordingly, a better source of guns for criminal
       users.20 In the secondary market, ineligible buyers may obtain guns from a wide variety
       of legitimate or illegitimate gun owners: relatives, friends, fences, drug dealers, drug
       addicts, persons selling at gun shows, or other strangers (e.g., see Wright and Rossi,
       1986; Sheley and Wright, 1993a). Of course, ineligible purchasers may also steal guns
       from licensed gun dealers and private gun owners.

               Secondary market prices are generally lower than primary market prices (because
       the products are used), though the former may vary substantially across a range of gun
       models, places, circumstances, and actors. For example, street prices of AWs and other
       guns can be 3 to 6 times higher than legal retail prices in jurisdictions with strict gun
       controls and lower levels of gun ownership (Cook et al., 1995, p. 72). Nonetheless,
       experts note that primary and secondary market prices correspond to one another, in that
       relatively expensive guns in the primary market are also relatively expensive in the
       secondary market. Moreover, in any given locality, trends in secondary market prices
       can be expected to track those in the primary market because a rise in primary market
       prices for new weapons will increase demand for used weapons and therefore increase
       secondary market prices (Cook et al., 1995, p. 71).


       4.2.2. The AW-LCM Ban and Gun Markets

              In the long term, we can expect prices of the banned guns and magazines to
       gradually rise as supplies dwindle. As prices rise, more would-be criminal users of AWs
       and LCMs will be unable or unwilling to pay the higher prices. Others will be
       discouraged by the increasing non-monetary costs (i.e., search time) of obtaining the
       weapons. In addition, rising legal market prices will undermine the incentive for some
       persons to sell AWs and LCMs to prohibited buyers for higher premiums, thereby
       bidding some of the weapons away from the channels through which they would
       otherwise reach criminal users. Finally, some would-be AW and LCM users may
       become less willing to risk confiscation of their AWs and LCMs as the value of the
       weapons increases. Therefore, we expect that over time diminishing stocks and rising
       prices will lead to a reduction in criminal use of AWs and LCMs.21




       20
          Some states require that secondary market participants notify authorities about their transactions. Even
       in these states, however, it is not clear how well these laws are enforced.
       21
          We would expect these reductions to be apparent shortly after the price increases (an expectation that, as
       discussed below, was confirmed in our earlier study) because a sizeable share of guns used in crime are
       used within one to three years of purchase. Based on analyses of guns recovered by police in 17 cities,
       ATF (1997, p. 8) estimates that guns less than 3 years old (as measured by the date of first retail sale)
       comprise between 22% and 43% of guns seized from persons under age 18, between 30% and 54% of guns
       seized from persons ages 18 to 24, and between 25% and 46% of guns seized from persons over 24. In
       addition, guns that are one year old or less comprise the largest share of relatively new crime guns (i.e.,
       crime guns less than three years old) (Pierce et al., 1998, p. 11). Similar data are not available for
       secondary market transactions, but such data would shorten the estimated time from acquisition to criminal
       use.

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                However, the expected timing of the market processes is uncertain. We can
       anticipate that AW and LCM prices will remain relatively stable for as long as the supply
       of grandfathered weapons is adequate to meet demand. If, in anticipation of the ban, gun
       manufacturers overestimated the demand for AWs and LCMs and produced too many of
       them, prices might even fall before eventually rising. Market responses can be
       complicated further by the continuing production of legal AW substitute models by some
       gun manufacturers. If potential AW buyers are content with an adequate supply of legal
       AW-type weapons having fewer military features, it will take longer for the
       grandfathered AW supply to constrict and for prices to rise. Similarly, predicting LCM
       price trends is complicated by the overhang of military surplus magazines that can fit
       civilian weapons (e.g., military M-16 rifle magazines that can be used with AR-15 type
       rifles) and by the market in reconditioned magazines. The “aftermarket” in gun
       accessories and magazine extenders that can be used to convert legal guns and magazines
       into banned ones introduces further complexity to the issue.


       4.3. Prior Research on the Ban’s Effects

               To summarize the findings of our prior study, Congressional debate over the ban
       triggered pre-ban speculative price increases of upwards of 50% for AWs during 1994, as
       gun distributors, dealers, and collectors anticipated that the weapons would become
       valuable collectors’ items. Analysis of national and local data on guns recovered by
       police showed reductions in criminal use of AWs during 1995 and 1996, suggesting that
       rising prices made the weapons less accessible to criminal users in the short-term
       aftermath of the ban.

               However, the speculative increase in AW prices also prompted a pre-ban boost in
       AW production; in 1994, AW manufacturers produced more than twice their average
       volume for the 1989-1993 period. The oversupply of grandfathered AWs, the availability
       of the AW-type legal substitute models mentioned earlier, and the steady supply of other
       non-banned semiautomatics appeared to have saturated the legal market, causing
       advertised prices of AWs to fall to nearly pre-speculation levels by late 1995 or early
       1996. This combination of excess supply and reduced prices implied that criminal use of
       AWs might rise again for some period around 1996, as the large stock of AWs would
       begin flowing from dealers’ and speculators’ gun cases to the secondary markets where
       ineligible purchasers may obtain guns more easily.

              We were not able to gather much specific data about market trends for LCMs.
       However, available data did reveal speculative, pre-ban price increases for LCMs that
       were comparable to those for AWs (prices for some LCMs continued to climb into 1996),
       leading us to speculate – incorrectly, as this study will show (see Chapter 8) – that there
       was some reduction in LCM use after the ban.22

       22
         To our knowledge, there have been two other studies of changes in AW and LCM use during the post-
       ban period. One study reported a drop in police recoveries of AWs in Baltimore during the first half of
       1995 (Weil and Knox, 1995), while the other found no decline in recoveries of AWs or LCMs in
       Milwaukee homicide cases as of 1996 (Hargarten et al., 2000). Updated analyses for both of these cities

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               Determining whether the reduction in AW use (and perhaps LCM use) following
       the ban had an impact on gun violence was more difficult. The gun murder rate dropped
       more in 1995 (the first year following the ban) than would have been expected based on
       preexisting trends, but the short post-ban follow-up period available for the analysis
       precluded a definitive assessment as to whether the reduction was statistically meaningful
       (see especially Koper and Roth, 2001a). The reduction was also larger than would be
       expected from the AW-LCM ban, suggesting that other factors were at work in
       accelerating the decline. Using a number of national and local data sources, we also
       examined trends in measures of victims per gun murder incident and wounds per gunshot
       victim, based on the hypothesis that these measures might be more sensitive to variations
       in the use of AWs and LCMs. These analyses revealed no ban effects, thus failing to
       show confirming evidence of the mechanism through which the ban was hypothesized to
       affect the gun murder rate. However, newly available data presented in subsequent
       chapters suggest these assessments may have been premature, because any benefits from
       the decline in AW use were likely offset by steady or rising use of other guns equipped
       with LCMs, a trend that was not apparent at the time of our earlier study.

               We cautioned that the short-term patterns observed in the first study might not
       provide a reliable guide to longer-term trends and that additional follow-up was
       warranted. Two key issues to be addressed were whether there had been a rebound in
       AW use since the 1995-1996 period and, if so, whether that rebound had yet given way to
       a long-term reduction in AW use. Another key issue was to seek more definitive
       evidence on short and long-term trends in the availability and criminal use of LCMs.
       These issues are critical to assessing the effectiveness of the AW-LCM ban, but they also
       have broader implications for other important policy concerns, namely, the establishment
       of reasonable timeframes for sunset and evaluation provisions in legislation. In other
       words, how long is long enough in evaluating policy and setting policy expiration dates?




       are presented in Chapters 6 and 8.

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       5. MARKET INDICATORS FOR ASSAULT WEAPONS: PRICES AND
       PRODUCTION


               This chapter assesses the ban’s impact on the availability of AWs in primary and
       secondary markets, as measured by trends in AW prices and post-ban production of legal
       AW substitute models. Understanding these trends is important because they influence
       the flow of grandfathered weapons to criminals and the availability of non-banned
       weapons that are close substitutes for banned ones. In the next chapter, we assess the
       impact of these trends on criminal use of AWs, as approximated by statistics on gun
       seizures by police. (Subsequent chapters present similar analyses for LCMs.)

               Following our previous methods, we compare trends for AWs to trends for
       various non-banned firearms. The AW analyses generally focus on the most common
       AWs formerly produced in the U.S., including Intratec and SWD-type APs and AR-15-
       type ARs produced by Colt and others. In addition, we selected a small number of
       domestic pistol and rifle models made by Calico and Feather Industries that fail the
       features test provision of the AW legislation and that were relatively common among
       crime guns reported by law enforcement agencies to ATF prior to the ban (see Roth and
       Koper, 1997, Chapter 5). Together, this group of weapons represented over 80% of AWs
       used in crime and reported to ATF from 1993 through 1996, and the availability of these
       guns was not affected by legislation or regulations predating the AW-LCM ban.23 We
       also examine substitution of legalized, post-ban versions of these weapons, including the
       Intratec AB-10 and Sport-22, FMJ’s PM models (substitutes for the SWD group), Colt
       Sporters, Calico Liberty models, and others. We generally did not conduct comparative
       analyses of named foreign AWs (the Uzi, Galil, and AK weapons) because the 1989
       federal import ban had already limited their availability, and their legal status was
       essentially unchanged by the 1994 ban.

              The exact gun models and time periods covered vary across the analyses (based
       on data availability and the time at which data were collected). The details of each
       analysis are described in the following sections.


       5.1. Price Trends for Assault Weapons and Other Firearms

              To approximate trends in the prices at which AWs could be purchased throughout
       the 1990s, we collected annual price data for several APs, ARs, and non-banned
       comparison firearms from the Blue Book of Gun Values (Fjestad, 1990-1999). The Blue
       Book provides national average prices for an extensive list of new and used firearms
       based on information collected at gun shows and input provided by networks of dealers


       23
         The Intratec group includes weapons made by AA Arms. The SWD group contains related models
       made by Military Armaments Corporation/Ingram and RPB Industries. The AR-15 group contains models
       made by Colt and copies made by Bushmaster, Olympic Arms, Eagle Arms, SGW Enterprises, Essential
       Arms, DPMS, and Sendra.

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       and collectors. The Blue Book is utilized widely in the gun industry, though prices in any
       given locality may differ notably from the averages appearing in the Blue Book.

               To assess time trends in gun prices, we conducted hedonic price analyses (Berndt,
       1990) in which the gun prices were regressed upon a series of year and model indicators.
       The coefficients for the year indicators show annual changes in the prices of the guns
       relative to 1994 (the year the ban went into effect), controlling for time-stable differences
       in the prices of various gun models. Since manufacturers’ suggested retail prices
       (MSRP) were not available for banned AWs during post-ban years, we utilized prices for
       AWs in 100% condition for all years.24 For non-banned firearms, we used MSRP.25 For
       all models, we divided the gun prices by annual values of the gross domestic product
       price deflator provided in the December 2001 and 2000 issues of Economic Indicators
       and logged these adjusted prices.

              Each model presented below is based on data pooled across a number of firearm
       models and years, so that observation Pjt represents the price of gun model j during year t.
       We weighted each observation, Pjt, based on cumulative estimates of the production of
       model j from 1985 or 1986 (depending on data availability) through year t using data
       provided by gun manufacturers to ATF and published by the Violence Policy Center
       (1999).26, 27




       24
          Project staff also collected prices of weapons in 80% condition. However, the levels and annual changes
       of the 80% prices were very highly correlated (0.86 to 0.99) with those of the 100% condition prices.
       Therefore, we limited the analysis to the 100% prices.
       25
          We utilized prices for the base model of each AW and comparison firearm (in contrast to model
       variations with special features or accessories).
       26
          The regression models are based on equal numbers of observations for each gun model. Hence,
       unweighted regressions would give equal weight to each gun model. This does not seem appropriate,
       however, because some guns are produced in much larger numbers than are other guns. Weighting the
       regression models by production estimates should therefore give us a better sense of what one could
       “typically” expect to pay for a generic gun in each study category (e.g., a generic assault pistol).
       27
          Several of the selected weapons began production in 1985 or later. In other cases, available production
       data extended back to only the mid-1980s. Published production figures for handguns are broken down by
       type (semiautomatic, revolver) and caliber and thus provide perfect or very good approximations of
       production for the handgun models examined in this study. Rifle production data, however, are not
       disaggregated by gun type, caliber, or model. For the ARs under study, the production counts should be
       reasonable approximations of AR production because most of the rifles made by the companies in question
       prior to the ban were ARs. The rifles used in the comparison (i.e., non-banned) rifle analysis are made by
       companies (Sturm Ruger, Remington, and Marlin) that produce numerous semiautomatic and non-
       semiautomatic rifle models. However, the overall rifle production counts for these companies should
       provide some indication of differences in the availability of the comparison rifles relative to one another.
       Because production data were available through only 1997 at the time this particular analysis was
       conducted (Violence Policy Center, 1999), we used cumulative production through 1997 to weight the
       1998 and 1999 observations for the comparison handgun and comparison rifle models. This was not a
       consideration for AWs since their production ceased in 1994 (note that the AW production figures for 1994
       may include some post-ban legal substitute models manufactured after September 13, 1994). Nonetheless,
       weighting had very little effect on the inferences from either of the comparison gun models.

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       5.1.1. Assault Pistol Prices

                The analysis of AP prices focuses on the Intratec TEC-9/DC-9, TEC-22, SWD M-
       11/9, and Calico M950 models. Regression results are shown in Table 5-1, while Figure
       5-1 graphically depicts the annual trend in prices for the period 1990 through 1999. None
       of the yearly coefficients in Table 5-1 is statistically significant, thus indicating that
       average annual AP prices did not change during the 1990s after adjusting for inflation.
       Although the model is based on a modest number of observations (n=40) that may limit
       its statistical power (i.e., its ability to detect real effects), the size of the yearly
       coefficients confirm that prices changed very little from year to year. The largest yearly
       coefficient is for 1990, and it indicates that AP prices were only 4% higher in 1990 than
       in 1994.28

               This stands in contrast to our earlier finding (Roth and Koper, 1997, Chapter 4)
       that prices for SWD APs may have risen by as much as 47% around the time of the ban.
       However, the earlier analyses were based on semi-annual or quarterly analyses advertised
       by gun distributors and were intended to capture short-term fluctuations in price that
       assumed greater importance in the context of the first AW study, which could examine
       only short-term ban outcomes. Blue Book editions released close in time to the ban (e.g.,
       1995) also cautioned that prices for some AWs were volatile at that time. This study
       emphasizes longer-term price trends, which appear to have been more stable.29




       28
          To interpret the coefficient of each indicator variable in terms of a percentage change in the dependent
       variable, we exponentiate the coefficient, subtract 1 from the exponentiated value, and multiply the
       difference by 100.
       29
          Although the earlier analysis of AP prices focused on the greatest variations observed in semi-annual
       prices, the results also provide indications that longer-term trends were more stable. Prices in 1993, for
       example, averaged roughly 73% of the peak prices reached at the time the ban was implemented (i.e., late
       1994), while prices in early 1994 and late 1995 averaged about 83% and 79% of the peak prices,
       respectively. Hence, price variation was much more modest after removing the peak periods around the
       time of the ban‘s implementation (i.e., late 1994 and early 1995). The wider range of APs used in the
       current study may also be responsible for some of the differences between the results of this analysis and
       the prior study.

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       Table 5-1. Regression of Assault Pistol and Comparison Handgun Prices on Annual
       Time Indicators, 1990-1999, Controlling for Gun Model
                                     Assault Pistols (n=40)     Comparison Handguns
                                                                       (n=38)

                                                    Estimate             T Value              Estimate              T Value
       Constant                                       1.56                26.94***             -0.21                -6.81***
       1990                                           0.04                  1.07                0.12                 2.07**
       1991                                           0.01                  0.30                0.09                 1.79*
       1992                                          -0.01                 -0.32                0.05                  1.30
       1993                                          -0.03                 -1.09                0.02                  0.48
       1995                                           0.01                  0.22               -0.02                 -0.48
       1996                                          -0.01                 -0.45               -0.09                -2.69***
       1997                                          -0.03                 -1.13               -0.11                -3.26***
       1998                                           0.00                 -0.10               -0.07                 -1.99*
       1999                                          -0.02                 -0.58               -0.14                -4.02***
       Tec-9                                         -0.67               -11.95***
       Tec-22                                        -0.89               -15.59***
       SWD                                           -0.64               -11.49***
       Davis P32                                                                                  0.09              3.63***
       Davis P380                                                                                 0.20              8.20***
       Lorcin L380                                                                                0.29              11.35***

       F value                                        27.79                                      16.24
       (p value)                                      <.01                                       <.01
       Adj. R-square                                  0.89                                       0.83
       Time indicators are interpreted relative to 1994. Assault pistol model indicators are interpreted relative to
       Calico 9mm. Comparison handgun models are interpreted relative to Lorcin .25 caliber.
       * Statistically significant at p<=.10.
       ** Statistically significant at p<=.05.
       *** Statistically significant at p<=.01.




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                       Figure 5-1. Annual Price Trends for Assault Pistols and SNS
                                          Handguns, 1990-1999
                      1=1994 price
              1.2




                1




              0.8




              0.6




              0.4
                      1990        1991        1992        1993        1994        1995       1996        1997        1998        1999
                                                                  Assault          SNS
                    Assault pistol prices basd on TEC9, TEC22, SWD M11/9, and Calico M950. SNS prices based on Davis P32 and P380 and
                    Lorcin L25 and L380.




       5.1.2. Comparison Handgun Prices

               For comparison, Table 5-1 and Figure 5-1 illustrate price trends for a number of
       non-banned, cheaply priced, and readily concealable semiautomatic handgun models: the
       Davis P32 and P380 and the Lorcin L25 and L380. Such guns are often referred to as
       Saturday night specials (SNS). By a number of accounts, SNS-type guns, and Davis and
       Lorcin models in particular, are among the guns most frequently used in crime (ATF,
       1995; 1997; Kennedy et al., 1996; Wintemute, 1994). Although the differences between
       APs and SNS handguns (particularly the fact that most SNS handguns do not have
       LCMs) suggest they are likely to be used by gun consumers with different levels of
       firearms experience and sophistication, the SNS guns are arguably a good comparison
       group for APs because both groups of guns are particularly sensitive to criminal demand.
       Like AP buyers, SNS buyers are more likely than other gun buyers to have criminal
       histories and to be charged with new offenses, particularly violent or firearm offenses,
       subsequent to their purchases (Wintemute et al., 1998b).

              Prices of SNS handguns dropped notably throughout the 1990s. Prices for SNS
       handguns were 13% higher in 1990 than in 1994. Prices then dropped another 13% from
       1994 to 1999. This suggests that although AP prices remained generally stable
       throughout the 1990s, they increased relative to prices of other guns commonly used in
       crime. We say more about this below.


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       5.1.3. Assault Rifle Prices

                To assess trends in prices of ARs, we examined prices for several Colt and
       Olympic rifle models in the AR-15 class, as well as Calico models M900 and M951 and
       Feather models AT9 and AT22.30 Because rifle production data are not disaggregated by
       weapon type (semiautomatic, bolt action, etc.), caliber, or model, the regressions could
       only be weighted using overall rifle production counts for each company. For this
       reason, we calculated the average price of the ARs made by each company for each year
       and modeled the trends in these average prices over time, weighting by each company’s
       total rifle production.31

               Results shown in Table 5-2 and Figure 5-2 demonstrate that AR prices rose
       significantly during 1994 and 1995 before falling back to pre-ban levels in 1996 and
       remaining there through 1999. Prices rose 16% from 1993 to 1994 and then increased
       another 13% in 1995 (representing an increase of nearly one third over the 1993 level).
       Yet by 1996, prices had fallen to levels virtually identical to those before 1994. These
       patterns are consistent with those we found earlier for the 1992-1996 period (Roth and
       Koper, 1997, Chapter 4), though the annual price fluctuations shown here were not as
       dramatic as the quarterly changes shown in the earlier study.

              Note, however, that these patterns were not uniform across all of the AR
       categories. The results of the model were driven largely by the patterns for Colt rifles,
       which are much more numerous than the other brands. Olympic rifles increased in price
       throughout the time period, while prices for most Calico and Feather rifles tended to fall
       throughout the 1990s without necessarily exhibiting spikes around the time of the ban.




       30
          Specifically, we tracked prices for the Match Target Lightweight (R6530), Target Government Model
       (R6551), Competition H-Bar (R6700), and Match Target H-Bar (R6601) models by Colt and the
       Ultramatch, Service Match, Multimatch M1-1, AR15, and CAR15 models by Olympic Arms. Each of
       these models has a modified, post-ban version. We utilized prices for the pre-ban configurations during
       post-ban years.
       31
          Prices for the different models made by a given manufacturer tended to follow comparable trends, thus
       strengthening the argument for averaging prices.

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       Table 5-2. Regression of Assault Rifle and Comparison Semiautomatic Rifle Prices
       on Annual Time Indicators, 1991-1999, Controlling for Gun Make
                                      Assault Rifles (n=36)    Comparison Rifles (n=27)

                                                    Estimate              T value             Estimate               T value
       Constant                                       1.31               21.15***               1.40                76.75***
       1991                                          -0.12                 -1.98*              -0.01                  -0.21
       1992                                          -0.13                -2.26**               0.01                   0.30
       1993                                          -0.15                -2.78**                 0                   -0.13
       1995                                           0.12                 2.47**               0.03                   1.08
       1996                                          -0.11                -2.27**               0.04                   1.69
       1997                                          -0.11                -2.23**               0.03                   1.46
       1998                                          -0.12                -2.47**               0.02                   0.91
       1999                                          -0.14                -2.71**               0.03                   1.21
       Colt (AR-15 type)                              1.07               19.93***
       Olympic (AR-15 type)                           1.14               16.08***
       Calico                                         0.43                5.53***
       Ruger                                                                                      0.26              20.07***
       Remington                                                                                  0.29              21.69***

       F statistic                                    50.52                                                           63.62
       (p value)                                      <.01                                                            <.01
       Adj. R-square                                  0.94                                                            0.96
       Time indicators interpreted relative to 1994. Assault rifle makes interpreted relative to Feather.
       Comparison rifle makes interpreted relative to Marlin.
       * Statistically significant at p<=.10.
       ** Statistically significant at p<=.05.
       *** Statistically significant at p<=.01.




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                       Figure 5-2. Annual Price Trends for Assault Rifles and
                           Comparison Semiautomatic Rifles, 1991-1999
                 1=1994 price
          1.2




            1




          0.8




          0.6




          0.4
                    1991         1992         1993         1994         1995          1996         1997         1998         1999

                                                           Assault              Comparison

                Assault rifle prices based on Colt and Olympic AR-type, Calico, and Feather models. Comparison rifle prices based on
                selected Remington, Marlin, and Sturm Ruger models.




 5.1.4. Comparison Semiautomatic Rifles.

          The analysis of comparison rifle prices includes the Remington 7400, Marlin Model 9,
  and Sturm Ruger Mini-14 and Mini-30 models (the Ruger model prices were averaged for each
  year). The AW legislation exempted each of these semiautomatic rifles by name, though the
  exemption does not apply to Mini-14 models with folding stocks (a feature included in the ban’s
  features test). The Ruger models are of particular interest since they are among only four
  exempted guns that can accept LCMs made for military rifles (U.S. Department of the Treasury,
  1998, p. 23), though Ruger produced LCMs only for the Mini-14 model and substituted a 5-
  round magazine for this gun in 1989 (Fjestad, 2002, pp. 1361-1362). The Marlin model was also
  manufactured with an LCM prior to 1990 (Fjestad, 2002, p. 917). The Remington model is
  manufactured with a detachable 4-round magazine.

         Prices for these guns remained steady throughout the decade (see Table 5-2 and Figure 5-
  2). The largest change was a 4% increase (non-significant) in prices in 1996 relative to prices in
  1994. Therefore, the rifle price spikes in 1994 and 1995 were specific to assault rifles.
  However, the steady annual price trends may mask short-term fluctuations that we found




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  previously (Roth and Koper, 1997, Chapter 4) for some non-banned semiautomatic rifles
  (including the Ruger Mini-14) during 1994 and early 1995.32


  5.2. Production Trends for Assault Weapons and Other Firearms

          To more fully assess the ban’s effects on gun markets, examination of pre and post-ban
  trends in production of AWs and legal AW substitutes is a useful complement to studying price
  trends. Our earlier work revealed a spike in AW production during 1994 as the ban was being
  debated. Post-ban production of legal AW substitutes should reveal additional information about
  the reaction of gun markets to the ban. If production of these models has fallen off dramatically,
  it may suggest that the market for AWs has been temporarily saturated and/or that consumers of
  AWs favor the original AW models that have more military-style features. Stable or rising
  production levels, on the other hand, may indicate substantial consumer demand for AW
  substitutes, which would suggest that consumers consider the legal substitute models to be as
  desirable as the banned models.


  5.2.1. Production of Assault Pistols and Other Handguns

          Figure 5-3 presents production trends for a number of domestic AP manufacturers from
  1985 through 2001 (the most recent year available for data on individual manufacturers).33 After
  rising in the early 1990s and surging notably to a peak in 1994, production by these companies
  dropped off dramatically, falling 80% from 1993-1994 to 1996-1997 and falling another 35% by
  1999-2000 (Table 5-3).34 Makers of Intratec and SWD-type APs continued manufacturing
  modified versions of their APs for at least a few years following the ban, but at much lower
  volumes than that at which they produced APs just prior to the ban. Companies like AA Arms
  and Calico produced very few or no AP-type pistols from 1995 onward, and Intratec – producers
  of the APs most frequently used in crime – went out of business after 1999.

         However, the pattern of rising and then falling production was not entirely unique to APs.
  Table 5-3 shows that production of all handguns and production of SNS-type pistols both
  declined sharply in the mid to late 1990s following a peak in 1993. Nonetheless, the trends –

  32
      We attributed those short-term fluctuations to pre-ban uncertainty regarding which semiautomatic rifles would be
  prohibited by the ban. Also note that the prior findings were based on a different set of comparison semiautomatic
  rifles that included a number of foreign rifles. We concentrated on domestically produced rifles for this updated
  analysis in order to make more explicit links between rifle price and production trends (data for the latter are
  available only for domestic firearms).
  33
      Production figures for individual manufacturers through 2000 have been compiled by the Violence Policy Center
  (2002). Year 2001 data are available from ATF via the Internet (see www.atf.treas.gov). National gun production
  totals through 1998 are also available from ATF (2000, p. A-3).
  34
      The assault pistol production figures used here and in the price analysis include 9mm and .22 caliber pistols made
  by Intratec, 9mm pistols manufactured by AA Arms, all non-.22 caliber pistols manufactured by S.W. Daniels,
  Wayne Daniels, and Military Armaments Corporation (which together constitute the SWD group), and .22 and 9mm
  pistols manufactured by Calico. Intratec produces a few non-AW models in .22 and 9mm calibers, so the Intratec
  figures will overstate production of assault pistols and their legal substitutes to some degree. The comparison, SNS
  production figures are based on all handguns produced by Lorcin Engineering and Davis Industries.

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  both peak and decline – were more dramatic for APs than for other handguns. Production of APs
  rose 69% from 1990-1991 to 1993-1994, while SNS production and overall handgun production
  each increased 47%. From 1993-1994 to 1996-1997, production of AP-type handguns, SNS
  models, and all handguns declined 80%, 66%, and 47%, respectively. Further, production of
  AP-type handguns continued to decline at a faster rate than that of other handguns through the
  end of the decade.35



                              Figure 5-3. Assault Pistol Production, 1985-2001

       120000



       100000



        80000



        60000



        40000



        20000



            0
                1985 1986 1987 1988 1989 1990 1991 1992 1993 1994 1995 1996 1997 1998 1999 2000 2001

                                               Intratec        SWD            Calico         AA Arms




  35
     Lorcin, a prominent SNS brand that we examined for the price and production analyses, went out of business
  after 1998. Unlike the situation in the AP market (where, to our knowledge, former AP makers have not been
  replaced on any large scale), the SNS market appears to have compensated somewhat to offset the loss of Lorcin.
  The SNS change from 1996-1997 to 1999-2000 is based on examination of a larger group of SNS-type makers,
  including Lorcin, Davis, Bryco, Phoenix Arms, and Hi-Point. Production among this group declined by 22% from
  1996-1997 to 1999-2000, a decline greater than that for total handgun production but less than that for AP-type
  production.

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       Table 5-3. Production Trends for Assault Weapons and Other Firearms, 1990-2000*

            Firearm Category                        % Change                     % Change                      % Change
                                                    1990/91 to                   1993/94 to                    1996/97 to
                                                     1993/94                      1996/97                      1999/2000
       Total Handguns                                  47%                         -47%                          -10%
                 Assault Pistols                        69%                          -80%                          -35%
                 (or Post-Ban
                 Models)
                 SNS Handguns                           47%                          -66%                          -22%

       Total Rifles                                     22%                            8%                          18%
                 Assault Rifles                         81%                          -51%                         156%
                 (or Post-Ban
                 Models)
                 Comparison                             15%                           13%                          -16%
                 Rifles
       * Total handgun and rifle figures include all production by U.S. manufacturers. Assault pistols include
       Intratec group, SWD group, and Calico models. SNS figures are based on Lorcin Engineering and Davis
       Industries for changes up through 1996-1997. Because Lorcin went out of business after 1998, the SNS
       change from 1996-1997 to 1999-2000 is based on a larger group of SNS makers including Lorcin, Davis,
       Bryco, Phoenix Arms, and Hi-Point. Assault rifles include AR-15 type models by Colt and others.
       Comparison rifles include Sturm Ruger, Remington, and Marlin.



       5.2.2. Production of Assault Rifles and Other Rifles

               As shown in Figure 5-4, production of AR-15 type rifles surged during the early
       1990s, reaching a peak in 1994.36 AR production during the early 1990s rose almost 4
       times faster than total rifle production and over 5 times faster than production of the
       comparison rifles examined in the price analysis (Table 5-3). Yet, by 1996 and 1997,
       production of legalized AR-type rifles had fallen by 51%, as production of other rifles
       continued increasing. AR production trends reversed again during the late 1990s,
       however, rising over 150%.37 Total rifle production increased much more modestly
       during this time (18%), while production of the comparison rifles declined.




       36
          Note again that the AR and legalized AR production figures are approximations based on all rifles
       produced by the companies in question (rifle production data are not available by type, caliber, or model),
       but it appears that most rifles made by these companies during the study period were AR-type rifles. Also,
       the figures for the comparison rifle companies (Ruger, Marlin, and Remington) are based on all rifles
       produced by these companies (the price analysis focused on selected semiautomatic models).
       37
          There was also a notable shift in market shares among AR makers, as Bushmaster overtook Colt as the
       leading producer of AR-15 type rifles (Figure 5-4).

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                             Figure 5-4. Assault Rifle Production, 1986-2001 (AR-15 Type)

       140000


       120000


       100000


        80000


        60000


        40000


        20000


              0
                    1986 1987 1988 1989 1990 1991 1992 1993 1994 1995 1996 1997 1998 1999 2000 2001

                                             Colt AR          Bushmaster             Other          Total

                  Other: Olympic, Eagle/Armalite, DPMS, Essential Arms, Sendra.




       5.3. Summary and Interpretations

               Below, we offer some interpretations of the patterns found in the price and
       production analyses, keeping in mind that these analyses were largely descriptive, so
       causal inferences must be made cautiously. As documented in our earlier study,
       Congressional debate over the AW-LCM ban triggered speculative price increases for
       AWs in the months leading up to the ban’s enactment. This study’s examination of
       longer-term, annual price trends suggests that this speculative effect was very brief (and
       perhaps quite variable across jurisdictions) for APs but persisted through 1995 for ARs.
       This implies that speculators and sophisticated gun collectors (who we suspect played a
       large role in driving price trends) have more interest in ARs, which tend to be higher in
       quality and price than APs.

               Responding to the speculative price growth, AW manufacturers boosted their
       production of AWs in 1994. Although total handgun and rifle production were
       increasing during the early 1990s, the rise in AW production was steeper, and there was a
       production peak unique to AWs in 1994 (production of other handguns peaked in 1993).
       It seems that this boost in the supply of grandfathered AWs was sufficient to satisfy
       speculative demand, thereby restoring national average AP prices to pre-ban levels within
       a year of the ban and doing the same for AR prices by 1996. AW prices remained stable
       through the late 1990s, and production of legalized AW-type weapons dropped off

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       substantially, at least through 1998. This suggests that the supply of grandfathered AWs
       was sufficient to meet demand through the late 1990s.

               However, prices of APs rose relative to other handguns commonly used in crime
       during the 1990s. Handgun prices and production declined in general during the late
       1990s, implying a decrease in demand for APs and other handguns that probably
       stemmed from the nation’s declining crime rates.38 But the AW ban’s restriction of the
       AP supply, combined with the interest of speculators and collectors in these guns, may
       have prevented AP prices from falling as did prices for other handguns. The market
       patterns also suggest that consumers of APs are not as easily satisfied by legalized APs
       with fewer military-style features; despite the increasing value of APs (in relative terms),
       post-ban production of legalized APs declined faster than did production of other
       handguns, and some AP makers went out of business.

              Prices of ARs, on the other hand, remained steady during the late 1990s (after the
       speculative price bubble of 1994-1995) both in absolute terms and relative to other rifles.
       The failure of AR prices to rise in at least relative terms, as occurred for APs, and the
       temporary drop in production of AR-type rifles after the ban may signify that the AR
       market was saturated relative to the AP market for a least a number of years following the
       ban. However, demand for AR-type rifles later rebounded, as evidenced by the
       resurgence in production of legalized, AR-type rifles in the late 1990s. In fact, more of
       these guns were produced in 1999 than in 1994. Unlike AP users, therefore, rifle users
       appear to be readily substituting the legalized AR-type rifles for the banned ARs, which
       may be another factor that has kept prices of the latter rifles from rising. All of this
       suggests that rifle owners, who have a lower prevalence of criminal users than do
       handgun owners, can more easily substitute rifles with fewer or no military features for
       the hunting and other sporting purposes that predominate among rifle consumers.

                Another relevant factor may have been a surge in the supply of foreign
       semiautomatic rifles that can accept LCMs for military weapons (the LCMM rifles
       discussed in Chapter 2) during the early 1990s. Examples of LCMM rifles include
       legalized versions of banned AK-47, FN-FAL, and Uzi rifles. Importation of LCMM
       rifles rose from 19,147 in 1991 to 191, 341 in 1993, a nine-fold increase (Department of
       the Treasury, 1998, p. 34). Due to an embargo on the importation of firearms from China
       (where many legalized AK-type rifles are produced), imports of LCMM rifles dropped
       38
          It seems likely that the rise and fall of handgun production was linked to the rising crime rates of the late
       1980s and early 1990s and the falling crime rates of the mid and late 1990s. Self-defense and fear of crime
       are important motivations for handgun ownership among the general population (e.g., Cook and Ludwig,
       1996; McDowall and Loftin, 1983), and the concealability and price of handguns make them the firearms
       of choice for criminal offenders. It is likely that the peak in 1993 was also linked to the Congressional
       debate and passage of the Brady Act, which established a background check system for gun purchases from
       retail dealers. It is widely recognized in the gun industry that the consideration of new gun control
       legislation tends to increase gun sales.
                 The decline in production was more pronounced for SNS handguns, whose sales are likely to be
       particularly sensitive to crime trends. Criminal offenders make disproportionate use of these guns. We can
       also speculate that they are prominent among guns purchased by low-income citizens desiring guns for
       protection. In contrast, the poor quality and reliability of these guns make them less popular among more
       knowledgeable and affluent gun buyers.

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       back down to 21,261 in 1994. Importation of all foreign LCMM rifles was ended by
       federal executive order in 1998.

                ATF has reported that criminal use of LCMM rifles increased more quickly
       during the early 1990s than did that of other military-style rifles (U.S. Department of the
       Treasury, 1998, p. 33; also see Chapter 6). Accordingly, it is possible that the availability
       of LCMM rifles also helped to depress the prices of domestic ARs and discourage the
       production of legalized ARs during the 1990s, particularly if criminal users of rifles place
       a premium on the ability to accept LCMs. It is noteworthy, moreover, that the rebound in
       domestic production of legalized ARs came on the heels of the 1998 ban on LCMM
       rifles, perhaps suggesting the LCMM ban increased demand for domestic rifles accepting
       LCMs.

               In sum, this examination of the AW ban’s impact on gun prices and production
       suggests that there has likely been a sustained reduction in criminal use of APs since the
       ban but not necessarily ARs. Since most AWs used in crime are APs, this should result
       in an overall decline in AW use. In the following chapter, we examine the accuracy of
       this prediction.




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       6. CRIMINAL USE OF ASSAULT WEAPONS AFTER THE BAN


       6.1. Measuring Criminal Use of Assault Weapons: A Methodological Note

                In this chapter, we examine trends in the use of AWs using a number of national
       and local data sources on guns recovered by law enforcement agencies (we focus on the
       domestic AW models discussed at the beginning of the previous chapter). Such data
       provide the best available indicator of changes over time in the types (and especially the
       specific makes and models) of guns used in violent crime and possessed and/or carried by
       criminal and otherwise deviant or high-risk persons. The majority of firearms recovered
       by police are tied to weapon possession and carrying offenses, while the remainder are
       linked primarily to violent crimes and narcotics offenses (e.g., see ATF, 1976; 1977;
       1997; Brill, 1977). In general, up to a quarter of guns confiscated by police are
       associated with violent offenses or shots fired incidents (calculated from ATF, 1977, pp.
       96-98; 1997; Brill, 1977, pp. 24,71; Shaw, 1994, pp. 63, 65; also see data presented later
       in this chapter). Other confiscated guns may be found by officers, turned in voluntarily
       by citizens, or seized by officers for temporary safekeeping in situations that have the
       potential for violence (e.g., domestic disputes).

               Because not all recovered guns are linked to violent crime investigations, we
       present analyses based on all gun recoveries and gun recoveries linked to violent crimes
       where appropriate (some of the data sources are based exclusively, or nearly so, on guns
       linked to violent crimes). However, the fact that a seized gun is not clearly linked to a
       violent crime does not rule out the possibility that it had been or would have been used in
       a violent crime. Many offenders carry firearms on a regular basis for protection and to be
       prepared for criminal opportunities (Sheley and Wright, 1993a; Wright and Rossi, 1986).
       In addition, many confiscated guns are taken from persons involved in drugs, a group
       involved disproportionately in violence and illegal gun trafficking (National Institute of
       Justice, 1995; Sheley and Wright, 1993a). In some instances, criminal users, including
       those fleeing crime scenes, may have even possessed discarded guns found by patrol
       officers. For all these reasons, guns recovered by police should serve as a good
       approximation of the types of guns used in violent crime, even though many are not
       clearly linked to such crimes.

               Two additional caveats should be noted with respect to tracking the use of AWs.
       First, we can only identify AWs based on banned makes and models. The databases do
       not contain information about the specific features of firearms, thus precluding any
       assessment of non-banned gun models that were altered after purchase in ways making
       them illegal. In this respect, our numbers may understate the use of AWs, but we know
       of no data source with which to evaluate the commonality of such alterations. Second,
       one cannot always distinguish pre-ban versions of AWs from post-ban, legalized versions
       of the same weapons based on weapon make and model information (this occurs when
       the post-ban version of an AW has the same name as the pre-ban version), a factor which
       may have caused us to overstate the use of AWs after the ban. This was more of a
       problem for our assessment of ARs, as will be discussed below.


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              Finally, we generally emphasize trends in the percentage of crime guns that are
       AWs in order to control for overall trends in gun violence and gun recoveries. Because
       gun violence was declining throughout the 1990s, we expected the number of AW
       recoveries to drop independently of the ban’s impact.


       6.2. National Analysis of Guns Reported By Police to the Federal Bureau of
       Alcohol, Tobacco, and Firearms

       6.2.1. An Introduction to Gun Tracing Data

                In this section, we examine national trends in AW use based on firearm trace
       requests submitted to ATF by federal, state, and local law enforcement personnel
       throughout the nation. A gun trace is an investigation that typically tracks a gun from its
       manufacture to its first point of sale by a licensed dealer. Upon request, ATF traces guns
       seized by law enforcement as a service to federal, state, and local agencies. In order to
       initiate a trace on a firearm, the requesting law enforcement agency provides information
       about the firearm, such as make, model, and serial number.

               Although ATF tracing data provide the only available national sample of the types
       of guns used in crime and otherwise possessed or carried by criminal and high-risk
       groups, they do have limitations for research purposes. Gun tracing is voluntary, and
       police in most jurisdictions do not submit trace requests for all, or in some cases any,
       guns they seize. Crime and tracing data for 1994, for example, suggest that law
       enforcement agencies requested traces for 27% of gun homicides but only 1% of gun
       robberies and gun assaults known to police during that year (calculated from ATF, 1995
       and Federal Bureau of Investigation, 1995, pp. 13, 18, 26, 29, 31, 32).

               The processes by which state and local law enforcement agencies decide to
       submit guns for tracing are largely unknown, and there are undoubtedly important
       sources of variation between agencies in different states and localities. For example,
       agencies may be less likely to submit trace requests in states that maintain their own
       registers of gun dealers' sales. Knowledge of ATF's tracing capabilities and procedures,39
       as well as participation in federal/state/local law enforcement task forces, are some of the
       other factors that may affect an agency's tracing practices. Further, these factors are
       likely to vary over time, a point that is reinforced below.

                 Therefore, firearms submitted to ATF for tracing may not be representative of the

       39
          To illustrate, ATF cannot (or does not) trace military surplus weapons, imported guns without the
       importer name (generally, pre-1968 guns), stolen guns, or guns without a legible serial number (Zawitz
       1995). Tracing guns manufactured before 1968 is also difficult because licensed dealers were not required
       to keep records of their transactions prior to that time. Throughout much of the 1990s, ATF did not
       generally trace guns older than 5-10 years without special investigative reasons (Kennedy et al., 1996, p.
       171). Our data are based on trace requests rather than successful traces, but knowledge of the preceding
       operational guidelines might have influenced which guns law enforcement agencies chose to trace in some
       instances.

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       types of firearms typically seized by police. In general, not much is known about the
       nature of potential bias in tracing data. In prior studies, however, AWs tended to be more
       common in tracing data than in more representative samples of guns confiscated by
       police (Kleck, 1997, pp. 112, 141). This suggests that police have been more likely
       historically to initiate traces for seized AWs than for other seized guns. Although
       comparisons across studies are complicated by varying definitions of AWs used in
       different analyses, studies of guns confiscated by police or used in particular types of
       crimes generally suggest that AWs accounted for up to 6% of crime guns and about 2%
       on average prior to the federal AW ban (see Chapter 3 and Kleck, 1997, p. 141), whereas
       studies of pre-ban tracing data indicated that 8% of traced guns, and sometimes as many
       as 11%, were AWs (Cox Newspapers, 1989; Lenett, 1995; Zawitz, 1995).

               Changes over time in the tracing practices of law enforcement agencies present
       additional complexities in analyzing tracing data. Due to improvements in the tracing
       process, ATF promotional efforts, and special initiatives like the Youth Crime Gun
       Interdiction Initiative (see ATF, 1997; 1999 and more recent reports available via the
       Internet at www.atf.treas.gov),40 the utilization of tracing grew substantially throughout
       the 1990s in jurisdictions that chose to participate (also see ATF, 2000; Roth and Koper,
       1997). To illustrate, trace requests to ATF rose from roughly 42,300 in 1991 to 229,500
       in 2002 (see Table 6-1 in the next section), an increase of 443%. This growth reflects
       changes in tracing practices (i.e., changes in the number of agencies submitting trace
       requests and/or changes in the percentage of recovered guns for which participating
       agencies requested traces) rather than changes in gun crime; gun homicides, for example,
       were falling throughout the 1990s (see Table 6-1 in the next section) and were a third
       lower in 2002 than in 1991.

               Therefore, an increase in trace requests for AWs does not necessarily signal a real
       increase in the use of AWs. Further, examining trends in the percentage of trace requests
       associated with AWs is also problematic. Because law enforcement agencies were more
       likely to request traces for AWs than for other guns in years past, we can expect the
       growth rate in tracing for non-AWs to exceed the growth rate in traces for AWs as gun
       tracing becomes more comprehensive. Consequently, AWs are likely to decline over time
       as a share of trace requests due simply to reporting effects, except perhaps during periods
       when AWs figure prominently in public discourse on crime.41




       40
          As part of this initiative, police in a few dozen large cities are submitting trace requests to ATF for all
       guns that they confiscate. The initiative began with 17 cities in 1996 and has since spread to 55 major
       urban jurisdictions.
       41
          To illustrate, assume that a hypothetical police agency recovers 100 guns a year, 2 of which are AWs,
       and that the agency has a selective tracing policy that results in the submission of trace requests for 20 of
       the guns, including 1 of the recovered AWs. Under this scenario, the department would be almost three
       times as likely to request traces for AWs as for other guns. If the department adopted a policy to request
       traces on all guns (and again recovered 2 AWs and 98 other guns), AW traces would double and traces of
       other guns would increase by more than 400%. Moreover, AWs would decline from 5% of traced guns to
       2% of traced guns due simply to the change in tracing policy.

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       6.2.2. Traces of Assault Weapons, 1990-2002

                Figure 6-1 illustrates the share of all traces that were for AWs from 1990 through
       2002. A more detailed assessment of annual changes in traces for AWs and other guns is
       presented in Table 6-1. Changes in gun murders are also shown in Table 6-1 to
       emphasize the differences in trends for tracing and gun crime. Below, we summarize key
       points from the analysis. Due to the instrumentation problems inherent in tracing data,
       statistical tests are not presented.42


                Figure 6-1. Police Recoveries of Assault Weapons Reported to
                                   ATF (National), 1990-2002
            As % of Traced Guns (N=1,658,975)
     6



     5


     4



     3


     2


     1



     0
            1990       1991       1992      1993       1994       1995      1996       1997       1998   1999   2000   2001     2002


            Includes Intratec group, SWD group, AR-15 group, and selected Calico and Feather models.




       42
           Nearly 30% of the tracing records lack specific gun model designations (the crucial elements for
       conducting a trace are the gun make and serial number). For the makes and types of guns likely to be AWs,
       however, the missing model rate was slightly under 10%. Further, we were able to identity some of the
       latter weapons as AWs with reasonable confidence based on the makes, types, and calibers alone.
       Nevertheless, we conducted a supplemental analysis using only those records for which the gun model was
       identified. The results of that analysis were substantively very similar to those presented below.

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       Table 6-1. Annual Percentage Changes in Gun Murders and Police Requests to
       ATF for Traces of Assault Weapons and Other Firearms, 1991-2002 (Number of
       Traces in Parentheses)
       Year       Gun            All         AW           AP          AR         AW and        Violent        AW         LCMM
                 Murders        Traces      Traces*      Traces      Traces       AW           Crime        Violent       Rifle
                  (1)            (2)          (3)         (4)         (5)       Substitute     Traces       Crime       Traces**
                                                                                 Traces          (7)        Traces         (9)
                                                                                   (6)                         (8)
       1991         9%           14%          14%         24%         -6%         14%            19%          20%               --
                               (42281)       (2378)      (1775)      (603)       (2378)         (6394)       (344)

       1992        -1%           6%            1%          4%         -7%           1%            3%          7%                --
                               (44992)       (2398)      (1838)      (560)        (2398)        (6558)       (367)

       1993         5%           20%          25%         20%         42%          25%           26%          41%         252%
                               (54189)       (2994)      (2199)      (795)        (2994)        (8248)       (516)        (183)

       1994        -4%           53%          11%         23%        -21%          11%           22%         -18%         223%
                               (82791)       (3337)      (2706)      (631)        (3337)       (10083)       (424)        (592)

       1995       -10%           -6%          -19%        -24%        8%           -18%          23%         -15%          -10%
                               (77503)       (2730)      (2051)      (679)        (2747)       (12439)       (362)         (530)

       1996        -9%          66%           12%         13%         10%          17%           67%          27%           40%
                              (128653)       (3059)      (2309)      (750)        (3214)       (20816)       (459)         (743)

       1997        -7%          42%           31%         31%         34%          36%           11%          13%           24%
                              (183225)       (4019)      (3017)      (1002)       (4362)       (23147)       (519)         (925)

       1998       -11%           5%            0%         -9%         26%           7%           3%          -22%          33%
                              (192115)       (4014)      (2751)      (1263)       (4681)       (23844)       (404)        (1227)

       1999        -8%          -2%           -11%        -12%        -8%          -6%           3%           0%           -18%
                              (188296)       (3581)      (2414)      (1167)       (4406)       (24663)       (404)        (1003)

       2000         1%          -3%           -11%        -16%         0%          -6%          -13%         -25%          -14%
                              (182961)       (3196)      (2027)      (1169)       (4143)       (21465)       (305)         (859)

       2001        -1%          18%            1%          5%         -6%           3%           20%          6%            -3%
                              (215282)       (3238)      (2138)      (1100)       (4273)       (25822)       (322)         (833)

       2002         6%        7%         19%        4%       48%         12%         20%       65%        4%
                           (229525)     (3839)    (2214) (1625)         (4765)     (30985)    (531)      (865)
       * Based on Intratec group, SWD group, AR-15 group, and Calico and Feather models.
       ** Foreign semiautomatic rifles accepting large capacity military magazines (banned by executive order in
       1998). (Data are not shown for 1991 and 1992 because very few of these guns were traced in those years.)




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                 6.2.2.1. Assault Weapons as a Percentage of Crime Gun Traces

               As shown in Figure 6-1, AWs declined from 5.4% of crime gun traces in 1992-
       1993 to 1.6% in 2001-2002, a decline of 70%. Although this downward trend could be
       attributable in large part to changes in tracing practices, it is noteworthy that it did not
       begin until 1994 (the year of the ban); during the pre-ban years, 1990 to 1993, AWs
       accounted for a steady share of traces despite a 46% increase in total tracing volume. It is
       also remarkable that about 3,200 AWs were traced in both 2000 and 2001, which is
       virtually identical to the average number traced during 1993 and 1994 (3,166) even
       though total traces increased more than 190% during the same period (Table 6-1,
       columns 2 and 3).43


                 6.2.2.2. Annual Changes in Traces for Assault Weapons and Other Guns

               Throughout most of the post-ban period (particularly 1995 to 2001), AW traces
       either increased less or declined more than total traces (Table 6-1, columns 2 and 3), a
       pattern that is also consistent with a decline in the use of AWs relative to other guns,
       though it too may be distorted by changes in tracing practices. This pattern was largely
       consistent whether analyzing all traces or only traces associated with violent crimes
       (columns 7 and 8).44

               The years when total traces declined or were relatively flat are arguably the most
       informative in the series because they appear to have been less affected by changes in
       tracing practices. For example, there was a 6% decline in total trace requests from 1994
       to 1995 (the years featured in our earlier study) that coincided with a 10% drop in gun
       murders (Table 6-1, column 1). Therefore, it seems tracing practices were relatively
       stable (or, conversely, reporting effects were relatively small) from 1994 to 1995. The
       19% reduction in AW traces during this same period implies that AW use was declining
       faster than that of other guns. Furthermore, there were fewer AW traces in 1995 than in
       1993, the year prior to the ban. The fact that this occurred during a period when the AW
       issue was very prominent (and hence police might have been expected to trace more of
       the AWs they recovered) arguably strengthens the causal inference of a ban effect.45

               Total traces also declined slightly (2%-3%) in 1999 and 2000. In each of those
       years, the decline was greater for AWs (11%). Thus, in years when tracing declined
       overall, AW traces fell 3 to 6 times faster than did total traces. Put another way, AWs
       fell between 9% and 13% as a percentage of all traces in each of these years.

                 The general pattern of AW traces increasing less or declining more than those of
       43
          These general findings are consistent with those of other tracing analyses conducted by ATF (2003
       Congressional Q&A memo provided to the author) and the Brady Center to Prevent Gun Violence (2004).
       44
          A caveat is that requests without specific crime type information are often grouped with weapons
       offenses (ATF, 1999). Therefore, traces associated with violent crimes are likely understated to some
       degree.
       45
          This inference is also supported by our earlier finding that trace requests for AWs declined by only 8%
       in states that had their own AW bans prior to the federal ban (Roth and Koper, 1997, Chapter 5).

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       other crime guns was clearly apparent for APs but less consistent for ARs (Table 6-1,
       columns 4 and 5). For example, AR traces went up 26% in 1998 while total traces went
       up only 5% and AP traces declined 9%. In 2000, total and AP traces fell 3% and 16%,
       respectively, but AR traces remained flat. This is consistent with predictions derived
       from the price and production analyses described above. But note that the post-ban AR
       counts could be overstated because the data do not distinguish pre-ban from post-ban
       versions of some popular AR-15 type rifles like the Colt Sporter and Bushmaster XM-15.
       (Also note that the percentage of traces for ARs did fall from 1.4% in 1992-1993 to 0.6%
       in 2001-2002.)

                More generally, the use of post-ban AW-type weapons (including both legalized
       APs and ARs) has not been widespread enough to completely offset the apparent decline
       in the use of banned AWs. Combined traces for banned AWs and AW substitutes (Table
       6-1, column 6) also followed the pattern of increasing less or declining more than did
       total traces throughout most of the period, though the differences were not as pronounced
       as those between AWs and total traces. In 1999 and 2000, for example, AWs traces
       dropped 11%, while combined traces for AWs and legal substitutes declined only 6%.
       Still, the latter figure was greater than the 2%-3% drop for total traces.

               Finally, traces of the LCMM rifles banned by executive order in 1998 were
       generally rising to that point, reaching levels as high as those for AR-15 type rifles (Table
       6-1, column 9). Since 1998, however, the number of traces for LCMM rifles has fallen
       substantially. Despite a 4% increase from 2001 to 2002, the number of LCMM traces in
       2002 (865) was 30% lower than the peak number traced in 1998 (1,227). Tentatively,
       this suggests that the 1998 extension of the ban has been effective in curtailing weapons
       that offenders may have been substituting for the ARs banned in 1994.


                 6.2.2.3. Did Use of Assault Weapons Rebound in 2002?

               In 2002, tracing volume increased 7%, which closely matched the 6% increase in
       gun murders for that year. In contrast to the general pattern, AW traces increased by
       19%, suggesting a possible rebound in AW use independent of changes in tracing
       practices, a development that we have predicted elsewhere (Roth and Koper, 1997) based
       on the boom in AW production leading up to the ban. The disproportionate growth in
       AW traces was due to ARs, however, so it could partially reflect increasing use of post-
       ban AR-type rifles (see the discussion above).

               Moreover, this pattern could be illusory. With data from the most recent years, it
       was possible to run a supplementary analysis screening out traces of older weapons (not
       shown). Focusing on just those guns recovered and traced in the same year for 2000
       through 2002 revealed that recoveries of AWs declined in 2001, more so for ARs (16%)
       than for APs (9%), while total traces increased 1%.46 Traces for APs and ARs then

       46
          The tracing database indicates when guns were recovered and when they were traced. However, the
       recovery dates were missing for 30% of the records overall and were particularly problematic for years
       prior to 1998. For this reason, the main analysis is based on request dates. The auxiliary analysis for 2000-

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       increased in 2002 (1% and 6%, respectively) but by less than total traces (8%).
       Therefore, the disproportionate growth in AR traces in 2002 shown in Table 6-1 may
       have been due to tracing of older AWs by newly participating police agencies.


                 6.2.2.4. Summary of the ATF Gun Tracing Analysis

               Complexities arising from recent changes in the use of gun tracing by law
       enforcement warrant caution in the interpretation of ATF gun tracing data.
       Notwithstanding, the data suggest that use of AWs in crime, though relatively rare from
       the start, has been declining. The percentage of gun traces that were for AWs plummeted
       70% between 1992-1993 and 2001-2002 (from 5.4% to 1.6%), and this trend did not
       begin until the year of the AW ban. On a year-to-year basis, AW traces generally
       increased less or declined by more than other gun traces. Moreover, in years when
       tracing volume declined – that is, years when changes in reporting practices were least
       likely to distort the data – traces of AWs fell 3 to 6 times faster than gun traces in general.
       The drop in AW use seemed most apparent for APs and LCMM rifles (banned in 1998).
       Inferences were less clear for domestic ARs, but assessment of those guns is complicated
       by the possible substitution of post-ban legal variations.



       6.3. Local Analyses of Guns Recovered By Police

           Due to concerns over the validity of national ATF tracing data for investigating the
       types of guns used in crime, we sought to confirm the preceding findings using local data
       on guns recovered by police. To this end, we examined data from half a dozen localities
       and time periods.


            •    All guns recovered by the Baltimore Police Department from 1992 to 2000
                 (N=33,933)
            •    All guns recovered by the Metro-Dade Police Department (Miami and Dade
                 County, Florida) from 1990 to 2000 (N=39,456)
            •    All guns recovered by the St. Louis Police Department from 1992 to 2003
                 (N=34,143)
            •    All guns recovered by the Boston Police Department (as approximated by trace
                 requests submitted by the Department to ATF) from 1991 to 1993 and 2000 to
                 2002 (N=4,617)47


       2002 focuses on guns both recovered and traced in the same year because it is likely that some guns
       recovered in 2002 had not yet been traced by the spring of 2003 when this database was created. Using
       only guns recovered and traced in the same year should mitigate this bias.
       47
          The Boston Police Department has been tracing guns comprehensively since 1991 (Kennedy et al.,
       1996). However, we encountered difficulties in identifying Boston Police Department traces for several
       years in the mid-1990s. For this reason, we chose to contrast the 1991 to 1993 period with the 2000 to
       2002 period.

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            •    Guns recovered during murder investigations in Milwaukee County from 1991 to
                 1998 (N=592)48
            •    Guns linked to serious crimes in Anchorage and other parts of Alaska and
                 submitted to state firearm examiners for evidentiary testing from 1987 to 2000
                 (N=900)49


               The selection of these particular locations and samples reflects data availability.50
       The locations were not selected randomly, and some of the samples are small for
       conducting trend analysis of relatively rare events (i.e., AW recoveries). Accordingly,
       we must use caution in generalizing the results to other places. However, the data
       sources reflect a wide geographic range and cover post-ban periods extending through at
       least the latter 1990s (and typically through the year 2000 or beyond). To the extent that
       the results are similar across these jurisdictions, therefore, we can have more confidence
       that they reflect national patterns.

              In each jurisdiction, we examined pre-post changes in recoveries of AWs
       (focusing on the domestic AW group defined earlier) and substitution of post-ban AW
       models for the banned models. Where possible, we conducted separate analyses of all
       AW recoveries and those linked specifically to violent crimes.51 We also differentiated
       between AP and AR trends using the larger databases from Baltimore, Miami, and St.
       Louis. But since most of these databases do not extend more than two years beyond
       1998, we do not present analyses specifically for LCMM rifles.

              Key summary results are summarized in Table 6-2, while more detailed results
       from each site appear at the end of the chapter in Tables 6-3 through 6-6 and Figures 6-2
       through 6-6.52 The number of AW recoveries declined by 28% to 82% across these

       48
          The data are described in reports from the Medical College of Wisconsin (Hargarten et al., 1996; 2000)
       and include guns used in the murders and other guns recovered at the crime scenes. Guns are recovered in
       approximately one-third of Milwaukee homicide cases.
       49
          The data include guns submitted by federal, state, and local agencies throughout the state. Roughly half
       come from the Anchorage area. Guns submitted by police to the state lab are most typically guns that were
       used in major crimes against persons (e.g. murder, attempted murder, assault, robbery).
       50
          We contacted at least 20 police departments and crime labs in the course of our data search, focusing
       much of our attention on police departments participating in ATF’s Youth Crime Gun Interdiction Initiative
       (YCGII) (ATF, 1997; 1999). Departments participating in the YCGII submit data to ATF on all guns that
       they recover. Though the YCGII did not begin until 1996 (well after the implementation of the AW ban),
       we suspected that these departments would be among those most likely to have electronically-stored gun
       data potentially extending back in time to before the ban. Unfortunately, most of these departments either
       did not have their gun data in electronic format or could not provide data for other reasons (e.g., resource
       constraints). In the course of our first AW study (Roth and Koper, 1997), we contacted many other police
       departments that also did not have adequate data for the study.
       51
          All of the Milwaukee and Anchorage analyses were limited to guns involved in murders or other serious
       crimes. Despite evidence of a decline, AW recoveries linked to violence were too rare in Boston to
       conduct valid test statistics.
       52
          We omitted guns recovered in 1994 from both the pre and post-ban counts because the speculative price
       increases for AWs that occurred in 1994 (see previous section and Roth and Koper, 1997, Chapter 4) raise
       questions about the precise timing of the ban’s impact on AW use during that year, thereby clouding the
       designation of the intervention point. This is particularly a concern for the Baltimore analysis due to a

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       locations and time periods, but the discussion below focuses on changes in AWs as a share
       of crime guns in order to control for general trends in gun crime and gun seizures. Prior to
       the ban, AWs ranged from about 1% of guns linked to violent crimes in St. Louis to nearly
       6% of guns recovered in Milwaukee murder cases.53

       AWs dropped as share of crime guns in all jurisdictions after the ban. Reductions ranged
       from a low of 17% in Milwaukee (based on guns linked to homicides) to a high of 72% in
       Boston (based on all crime guns) but were generally between 32% and 40%.54, 55 A decline
       in the use of AWs relative to other guns was generally apparent whether examining all AW
       recoveries or just those linked to violent crimes.56 An exception was in St. Louis, where



       state AP ban that took effect a few months prior to the federal AW ban.
       53
           These figures should be treated as approximations of the prevalence of AWs. On the one hand, the
       numbers may understate the prevalence of AWs to a small degree because they are based on only the
       domestic AW group defined earlier. Based on analysis of national ATF gun tracing data, we estimated
       previously that the domestic AW group accounts for 82% of AWs used in crime (Roth and Koper, 1997,
       Chapter 5). To further test the reliability of this assessment, we investigated the prevalence of all banned
       AW models among guns recovered in Baltimore using an ATF list of all guns defined as AWs under the
       1994 Crime Act criteria (118 model and caliber combinations). We chose the Baltimore database because
       it provides a complete inventory of guns recovered by police in that city during the study period and,
       having been maintained by crime lab personnel, is particularly thorough with regard to make and model
       identifications. Though there was some ambiguity in classifying a small number of AK-type
       semiautomatic rifles (there are many civilian variations of the AK-47 rifle, some of which were legal under
       the 1994 legislation), our examination suggested that the domestic AW group accounted for approximately
       90% of the AWs recovered in Baltimore. (In addition, including all AWs had virtually no effect on the pre-
       post changes in AW use in Baltimore.) But as discussed previously, the counts could also overstate AW
       use to some degree because imprecision in the identification of gun models in some data sources may have
       resulted in some legalized firearms being counted as banned AWs.
       54
           The AW counts for Miami also include Interdynamics KG9 and KG99 models. These models were
       produced during the early 1980s and were forerunners to the Intratec models (ATF restricted the KG9
       during the early 1980s because it could be converted too easily to fully automatic fire). These weapons
       were very rare or non-existent in most of the local data sources, but they were more common in Miami,
       where Interdynamics was formerly based. Including these guns increased the AW count in Miami by about
       9% but did not affect pre-post changes in AW recoveries.
       55
           State AW legislation passed in Maryland and Massachusetts could have had some impact on AW trends
       in Baltimore and Boston, respectively. Maryland implemented an AP ban, similar in coverage to the
       federal AW ban, in June 1994 (Maryland has also required background checks for retail sales of a broader
       list of state-defined AWs since 1989), and Massachusetts implemented additional legislation on federally-
       defined AWs in late 1998. The timing and scope of these laws make them largely redundant with the
       federal ban, so they should not unduly complicate inferences from the analysis. However, Maryland
       forbids additional transfers of grandfathered APs, and Massachusetts has imposed additional requirements
       for possession and transfer of LCMs and guns accepting LCMs. Both states also have enhanced penalties
       for certain crimes involving APs, LCMs, and/or guns accepting LCMs. Hence, the ban on AWs was
       arguably strengthened in Baltimore and Boston, relative to the other jurisdictions under study. This does
       not appear to have affected trends in AW use in Baltimore, which were very similar to those found in the
       other study sites. However, use of AWs and combined use of AWs and post-ban AW substitutes declined
       more in Boston than in any other study site. Although the trends in Boston could reflect ongoing, post-
       2000 reductions in use of AWs and similar weapons (Boston was one of the only study sites from which we
       obtained post-2000 data), it is possible that the Massachusetts legislation was also a contributing factor.
       56
           There may be some inconsistency across jurisdictions in the identification of guns associated with
       violent crimes. In Miami, for example, 28% of the guns had an offense code equal to “other/not listed,”
       and this percentage was notably higher for the later years of the data series.

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       Table 6-2. Pre-Post Changes in Assault Weapons As a Share of Recovered Crime
       Guns For Selected Localities and Time Periods: Summary Results (Total Number
       of Assault Weapons for Pre and Post Periods in Parentheses) a

       Locality and Time                        AWs               AWs                 APs            ARs           AWs and
       Period                                                  (Linked to                                          Post-Ban
                                                                Violence)                                         Substitutes

       Baltimore (all                        -34%***             -41%**           -35%***           -24%            -29%***
       recoveries)                             (425)               (75)             (383)            (42)             (444)
       pre=1992-1993,
       post=1995-2000

       Miami-Dade (all                       -32%***            -39%***           -40%***           37%*            -30%***
       recoveries)                             (733)              (101)             (611)           (115)             (746)
       pre=1990-1993,
       post=1995-2000

       St. Louis (all recoveries)            -32%***                1%            -34%***            10%             -24%**
       pre=1992-1993,                          (306)               (28)             (274)            (32)             (328)
       post=1995-2003

       Boston (all recoveries)               -72%***               N/A                N/A            N/A            -60%***
       pre=1991-1993,                          (71)                                                                   (76)
       post=2000-2002

       Milwaukee (recoveries                     N/A               -17%               N/A            N/A                2%
       in murder cases)                                             (28)                                               (31)
       pre=1991-1993,
       post=1995-1998

       Anchorage, AK                             N/A               -40%               N/A            N/A              -40%
       (recoveries in serious                                       (24)                                               (24)
       crimes)
       pre=1987-1993,
       post=1995-2000
       a. Based on Intratec group, SWD group, AR-15 group, and Calico and Feather models. See the text for
       additional details about each sample and Tables 6-3 through 6-6 for more detailed results from each
       locality.
       * Statistically significant change at chi-square p level < .1
       ** Statistically significant change at chi-square p level < .05
       *** Statistically significant change at chi-square p level < .01




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       AWs declined as share of all guns but not of guns linked to violent crimes, though the
       latter test was based on rather small samples.

                These reductions were not due to any obvious pre-ban trends (see Figures 6-2
       through 6-6 at the end of the chapter). On the contrary, AW recoveries reached a peak in
       most of these jurisdictions during 1993 or 1994 (Boston, which is not shown in the
       graphs due to missing years, was an exception). We tested changes in AW prevalence
       using simple chi-square tests since there were no observable pre-existing time trends in
       the data. Due to the small number of AWs in some of these samples, these changes were
       not all statistically significant. Nonetheless, the uniformity of the results is highly
       suggestive, especially when one considers the consistency of these results with those
       found in the national ATF tracing analysis.

              The changes in Tables 6-2 through 6-6 reflect the average decline in recoveries of
       AWs during the post-ban period in each locality. However, some of these figures may
       understate reductions to date. In several of the localities, the prevalence of AWs among
       crime guns was at, or close to, its lowest mark during the most recent year analyzed (see
       Figures 6-2 through 6-6 at the end of the chapter), suggesting that AW use continues to
       decline. In Miami, for example, AWs accounted for 1.7% of crime guns for the whole
       1995 to 2000 period but had fallen to 1% by 2000. Further, the largest AW decline was
       recorded in Boston, one of two cities for which data extended beyond the year 2000
       (however, this was not the case in St. Louis, the other locality with post-2000 data).

               Breakouts of APs and ARs in Baltimore, Miami, and St. Louis show that the
       decline in AW recoveries was due largely to APs, which accounted for the majority of
       AWs in these and almost all of the other localities (the exception was Anchorage, where
       crimes with rifles were more common, as a share of gun crimes, than in the other sites).
       Pre-post changes in recoveries of the domestic AR group weapons, which accounted for
       less than 1% of crime guns in Baltimore, Miami, and St. Louis, were inconsistent. AR
       recoveries declined after the ban in Baltimore but increased in St. Louis and Miami. As
       discussed previously, however, the AR figures may partly reflect the substitution of post-
       ban, legalized versions of these rifles, thus overstating post-ban use of the banned
       configurations. Further, trends for these particular rifles may not be indicative of those
       for the full range of banned rifles, including the various foreign rifles banned by the 1994
       law and the import restrictions of 1989 and 1998 (e.g., see the ATF gun tracing analysis
       of LCMM rifles).57

       57
          As discussed in the last chapter, our research design focused on common AWs that were likely to be
       most affected by the 1994 ban as opposed to earlier regulations (namely, the 1989 import ban) or other
       events (e.g., company closings or model discontinuations prior to 1994). However, an auxiliary analysis
       with the Baltimore data revealed a statistically meaningful drop in recoveries of all ARs covered by the
       1994 legislation (not including the LCMM rifles) that was larger than that found for just the domestic group
       ARs discussed in the text. Similarly, an expanded AR analysis in Miami showed that total AR recoveries
       declined after the ban, in contrast to the increase found for the domestic group ARs. (Even after expanding
       the analysis, ARs still accounted for no more than 0.64% of crime guns before the ban in both locations.
       As with the domestic AR group, there are complexities in identifying banned versus non-banned versions
       of some of the other ARs, so these numbers are approximations.) Consequently, a more nuanced view of
       AR trends may be that AR use is declining overall, but this decline may be due largely to the 1989 import

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              Finally, the overall decline in AW use was only partially offset by substitution of
       the post-ban legalized models. Even if the post-ban models are counted as AWs, the
       share of crime guns that were AWs still fell 24% to 60% across most jurisdictions. The
       exception was Milwaukee where recoveries of a few post-ban models negated the drop in
       banned models in a small sample of guns recovered during murder investigations.58


       6.4. Summary

               Consistent with predictions derived from the analysis of market indicators in
       Chapter 5, analyses of national ATF gun tracing data and local databases on guns
       recovered by police in several localities have been largely consistent in showing that
       criminal use of AWs, while accounting for no more than 6% of gun crimes even before
       the ban, declined after 1994, independently of trends in gun crime. In various places and
       times from the late 1990s through 2003, AWs typically fell by one-third or more as a
       share of guns used in crime.59, 60 Some of the most recent, post-2000 data suggest


       restrictions that predated the AW ban. It is not yet clear that there has been a decline in the most common
       ARs prohibited exclusively by the 1994 ban.
       58
           This was not true when focusing on just those guns that were used in the incident as opposed to all guns
       recovered during the investigations. However, the samples of AWs identified as murder weapons were too
       small for valid statistical tests of pre-post changes.
       59
           These findings are also supported by prior research in which we found that reported thefts of AWs
       declined 7% in absolute terms and 14% as a fraction of stolen guns in the early period following the ban
       (i.e., late 1994 through early 1996) (Koper and Roth, 2002a, p. 21). We conducted that analysis to account
       for the possibility that an increase in thefts of AWs might have offset the effect of rising AW prices on the
       availability of AWs to criminals. Because crimes with AWs appear to have declined after the ban, the theft
       analysis is not as central to the arguments in this paper.
       60
           National surveys of state prisoners conducted by the federal Bureau of Justice Statistics show an
       increase from 1991 to 1997 in the percentage of prisoners who reported having used an AW (Beck et al.,
       1993; Harlow, 2001). The 1991 survey (discussed in Chapter 3) found that 2% of violent gun offenders
       had carried or used an AW in the offense for which they were sentenced (calculated from Beck et al. 1993,
       pp. 18,33). The comparable figure from the 1997 survey was nearly 7% (Harlow, 2001, pp.3, 7).
                  Although these figures appear contrary to the patterns shown by gun recovery data, there are
       ambiguities in the survey findings that warrant caution in such an interpretation. First, the definition of an
       AW (and most likely the respondents’ interpretation of this term) was broader in the 1997 survey. For the
       1991 survey, respondents were asked about prior ownership and use of a “…military-type weapon, such as
       an Uzi, AK-47, AR-15, or M-16” (Beck et al., 1993, p. 18), all of which are ARs or have AR variations.
       The 1997 survey project defined AWs to “…include the Uzi, TEC-9, and the MAC-10 for handguns, the
       AR-15 and AK-47 for rifles, and the ‘Street Sweeper’ for shotguns” (Harlow, 2001, p. 2). (Survey
       codebooks available from the Inter-University Consortium for Political and Social Research also show that
       the 1997 survey provided more detail and elaboration about AWs and their features than did the 1991
       survey, including separate definitions of APs, ARs, and assault shotguns.)
                  A second consideration is that many of the respondents in the 1997 survey were probably
       reporting criminal activity prior to or just around the time of the ban. Violent offenders participating in the
       survey, for example, had been incarcerated nearly six years on average at the time they were interviewed
       (Bureau of Justice Statistics, 2000, p. 55). Consequently, the increase in reported AW use may reflect an
       upward trend in the use of AWs from the 1980s through the early to mid 1990s, as well as a growing
       recognition of these weapons (and a greater tendency to report owning or using them) stemming from
       publicity about the AW issue during the early 1990s.
                  Finally, we might view the 1997 estimate skeptically because it is somewhat higher than that from
       most other sources. Nevertheless, it is within the range of estimates discussed earlier and could reflect a

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       reductions as high as 70%.61 This trend has been driven primarily by a decline in the use
       of APs, which account for a majority of AWs used in crime. AR trends have been more
       varied and complicated by the substitution of post-ban guns that are very similar to some
       banned ARs. More generally, however, the substitution of post-ban AW-type models
       with fewer military features has only partially offset the decline in banned AWs.

              These findings raise questions as to the whereabouts of surplus AWs, particularly
       APs, produced just prior to the ban. Presumably, many are in the hands of collectors and
       speculators holding them for their novelty and value.62 Even criminal possessors may be
       more sensitive to the value of their AWs and less likely to use them for risk of losing
       them to police.

               Finally, it is worth noting the ban has not completely eliminated the use of AWs,
       and, despite large relative reductions, the share of gun crimes involving AWs is similar to
       that before the ban. Based on year 2000 or more recent data, the most common AWs
       continue to be used in up to 1.7% of gun crimes.




       somewhat higher use of AWs among the subset of offenders who are most active and/or dangerous; recall
       that the highest estimate of AW use among the sources examined in this chapter came from a sample of
       guns recovered during murder investigations in Milwaukee (also see the discussion of offender surveys and
       AWs in Chapter 3).
       61
          Developing a national estimate of the number of AW crimes prevented by the ban is complicated by the
       range of estimates of AW use and changes therein derived from different data sources. Tentatively,
       nonetheless, it appears the ban prevents a few thousand crimes with AWs annually. For example, using 2%
       as the best estimate of the share of gun crimes involving AWs prior to the ban (see Chapter 3) and 40% as a
       reasonable estimate of the post-ban drop in this figure implies that almost 2,900 murders, robberies, and
       assaults with AWs were prevented in 2002 (this assumes that 1.2% of the roughly 358,000 gun murders,
       gun robberies, and gun assaults reported to police in 2002 [see the Uniform Crime Reports] involved AWs
       but that 2% would have involved AWs had the ban not been in effect). Even if this estimate is accurate,
       however, it does not mean the ban prevented 2,900 gun crimes in 2002; indeed, the preceding calculation
       assumes that offenders prevented from using AWs committed their crimes using other guns. Whether
       forcing such weapon substitution can reduce the number of persons wounded or killed in gun crimes is
       considered in more detail in Chapter 9.
       62
          The 1997 national survey of state prisoners discussed in footnote 60 found that nearly 49% of AW
       offenders obtained their gun from a “street” or illegal source, in contrast to 36% to 42% for other gun users
       (Harlow, 2001, p. 9). This could be another sign that AWs have become harder to acquire since the ban,
       but the data cannot be used to make an assessment over time.

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       Table 6-3. Trends in Police Recoveries of Domestic Assault Weapons in Baltimore,
       1992-2000 a
                                                  Pre-Ban Period                Post-Ban Period                    Change
        A. All Recoveries                      Jan. 1992-Dec. 1993 Jan. 1995-Dec. 2000

        Total AWs                                         135                            290
        Annual Mean                                       67.5                          48.33                       -28%
        AW’s as % of Guns                                1.88%                          1.25%                      -34%**

        APs                                               123                            260
        Annual Mean                                       61.5                          43.33                       -30%
        APs as % of Guns                                 1.71%                          1.12%                      -35%**

        ARs                                                12                             30
        Annual Mean                                         6                              5                         -17%
        ARs as % of Guns                                 0.17%                          0.13%                        -24%

        Total AWs and
        Substitutes                                       135                            309
        Annual Mean                                       67.5                           51.5                       -24%
        AWs/Subs as % of Guns                            1.88%                          1.33%                      -29%**

        B. Recoveries Linked
        to Violent Crimes b

        Total AWs                                          28                             47
        Annual Mean                                        14                            7.83                        -44%
        AWs as % of Violent                               2.1%                          1.24%                       -41%*
        Crime Guns


       a. Domestic assault weapons include Intratec group, SWD group, AR-15 group, and Calico and Feather
       models.
       b. Murders, assaults, and robberies
       * Chi-square p level < .05 (changes in percentages of guns that were AWs/APs/ARs/AW-subs were tested
       for statistical significance).
       ** Chi-square p level < .01 (changes in percentages of guns that were AWs/APs/ARs/AW-subs were tested
       for statistical significance).




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                              Figure 6-2. Police Recoveries of Assault Weapons in
                                               Baltimore, 1992-2000
              As % of Recovered Guns (N=33,933)
         3



       2.5



         2



       1.5



         1



       0.5



         0
                 1992            1993           1994            1995           1996            1997     1998   1999             2000

             Includes Intratec group, SWD group, AR-15 group, and selected Calico and Feather models.




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    Table 6-4. Trends in Police Recoveries of Domestic Assault Weapons in Miami
    (Metro-Dade), 1990-2000 a
                                                  Pre-Ban Period                Post-Ban Period                    Change
        A. All Recoveries                      Jan. 1990-Dec. 1993 Jan. 1995-Dec. 2000

        Total AWs                                        403                             330
        Annual Mean                                     100.75                            55                        -45%
        AW’s as % of Guns                               2.53%                           1.71%                     -32%***

        APs                                               355                            256
        Annual Mean                                      88.75                          42.67                       -52%
        APs as % of Guns                                 2.23%                          1.33%                     -40%***

        ARs                                                43                             72
        Annual Mean                                      10.75                            12                         12%
        ARs as % of Guns                                 0.27%                          0.37%                        37%*

        Total AWs and
        Substitutes                                      403                             343
        Annual Mean                                     100.75                          57.17                       -43%
        AWs/Subs as % of Guns                           2.53%                           1.78%                     -30%***

        B. Recoveries Linked
        to Violent Crimes b

        Total AWs                                          69                             32
        Annual Mean                                      17.25                           5.33                       -69%
        AWs as % of Violent                              2.28%                          1.39%                      -39%**
        Crime Guns


       a. Domestic assault weapons include Intratec group, SWD group, AR-15 group, and Calico and Feather
       models.
       b. Murders, assaults, and robberies
       * Chi-square p level < .1 (changes in percentages of guns that were AWs/APs/ARs/AW-subs were tested
       for statistical significance)
       ** Chi-square p level < .05 (changes in percentages of guns that were AWs/APs/ARs/AW-subs were tested
       for statistical significance)
       *** Chi-square p level <.01 (changes in percentages of guns that were AWs/APs/ARs/AW-subs were
       tested for statistical significance)




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                       Figure 6-3. Police Recoveries of Assault Weapons in Miami
                                         (Metro-Dade), 1990-2000
              As % of Recovered Guns (N=39,456)
         3



       2.5



         2



       1.5



         1



       0.5



         0
               1990         1991         1992         1993        1994         1995         1996        1997   1998   1999      2000

             Includes Intratec group, SWD group, AR-15 group, and selected Calico and Feather models.




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    Table 6-5. Trends in Police Recoveries of Domestic Assault Weapons in St. Louis,
    1992-2003 a
                                                  Pre-Ban Period                Post-Ban Period                    Change
        A. All Recoveries                      Jan. 1992-Dec. 1993 Jan. 1995-Dec. 2003

        Total AWs                                          94                            212
        Annual Mean                                        47                           23.56                       -50%
        AW’s as % of Guns                                1.33%                          0.91%                      -32%**

        APs                                                87                            187
        Annual Mean                                       43.5                          20.78                       -52%
        APs as % of Guns                                 1.23%                          0.81%                      -34%**

        ARs                                                 7                             25
        Annual Mean                                        3.5                           2.78                        -21%
        ARs as % of Guns                                  0.1%                          0.11%                        10%

        Total AWs and
        Substitutes                                        94                            234
        Annual Mean                                        47                             26                         -45%
        AWs/Subs as % of Guns                            1.33%                          1.01%                       -24%*

        B. Recoveries Linked
        to Violent Crimes b

        Total AWs                                           8                             20
        Annual Mean                                         4                             2.2                        -45%
        AWs as % of Violent                               0.8%                          0.81%                         1%
        Crime Guns


       a. Domestic assault weapons include Intratec group, SWD group, AR-15 group, and Calico and Feather
       models.
       b. Murders, assaults, and robberies
       * Chi-square p level < .05 (changes in percentages of guns that were AWs/APs/ARs/AW-subs were tested
       for statistical significance)
       ** Chi-square p level <.01 (changes in percentages of guns that were AWs/APs/ARs/AW-subs were tested
       for statistical significance)




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                          Figure 6-4. Police Recoveries of Assault Weapons in St.
                                              Louis, 1992-2003
             As % of Recovered Guns (N=34,143)
         2




       1.5




         1




       0.5




         0
               1992        1993       1994        1995        1996       1997        1998        1999   2000   2001   2002      2003

             Includes Intratec group, SWD group, AR-15 group, and selected Calico and Feather models.




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       Table 6-6. Trends in Police Recoveries of Domestic Assault Weapons in Boston,
       Milwaukee, and Anchorage (Alaska) a
                                                  Pre-Ban Period                Post-Ban Period                    Change

        Boston                                 Jan. 1991-Dec. 1993 Jan. 2000-Dec. 2002
        (All Gun Traces)
        AWs                                                60                             11
        Annual Mean                                        20                             3.7                        -82%
        AWs as % of Guns                                 2.16%                           0.6%                       -72%*

        AWs and Substitutes                                60                             16
        Annual Mean                                        20                             5.3                        -74%
        AWs/Subs as % of Guns                            2.16%                          0.87%                       -60%*

        Milwaukee                              Jan. 1991-Dec. 1993 Jan. 1995-Dec. 1998

        (Guns Recovered in
        Murder Cases)
        AWs                                                15                             13
        Annual Mean                                         5                            3.25                        -35%
        AWs as % of Guns                                 5.91%                          4.91%                        -17%

        AWs and Substitutes                                15                             16
        Annual Mean                                         5                              4                         -20%
        AWs/Subs as % of Guns                            5.91%                          6.04%                         2%

        Anchorage                              Jan. 1987-Dec. 1993 Jan. 1995-Dec. 2000

        (Guns Tested for
        Evidence)
        AWs                                                16                              8
        Annual Mean                                       2.29                           1.33                        -42%
        AW’s as % of Guns                                3.57%                          2.13%                        -40%

        AWs and Substitutes                               N/A                            N/A

       a. Domestic assault weapons include Intratec group, SWD group, AR-15 group, and Calico and Feather
       models.
       * Chi-square p level < .01 (changes in percentages of guns that were AWs/AW-subs were tested for
       statistical significance)



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                         Figure 6-5. Assault Weapons Recovered in Milwaukee County
                                           Murder Cases, 1991-1998
                As % of Guns Recovered in Murder Cases (N=592)
         10



           8



           6



           4



           2



           0
                      1991             1992              1993              1994             1995           1996          1997          1998


                Includes Intratec group, SWD group, AR-15 group, and selected Calico and Feather models.




                                  Figure 6-6. Police Recoveries of Assault Weapons in
                                             Anchorage (Alaska), 1987-2000
                 As % of Guns Submitted for Evidentiary Testing (N=900)
         10



           8



           6



           4



           2



           0
                  1987       1988     1989      1990      1991      1992      1993      1994       1995    1996   1997   1998   1999     2000

               Includes Intratec group, SWD group, AR-15 group, and selected Calico and Feather models.




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       7. MARKET INDICATORS FOR LARGE CAPACITY MAGAZINES: PRICES
       AND IMPORTATION


               The previous chapters examined the AW-LCM ban’s impact on the availability
       and criminal use of AWs. In this chapter and the next, we consider the impact of the
       ban’s much broader prohibition on LCMs made for numerous banned and non-banned
       firearms. We begin by studying market indicators. Our earlier study of LCM prices for a
       few gun models revealed that prices rose substantially during 1994 and into 1995 (Roth
       and Koper, 1997, Chapter 4). Prices of some LCMs remained high into 1996, while
       others returned to pre-ban levels or oscillated more unpredictably. The price increases
       may have reduced LCM use at least temporarily in the short-term aftermath of the ban,
       but we could not confirm this in our prior investigation.


       7.1. Price Trends for Large Capacity Magazines

               For this study, we sought to approximate longer term trends in the prices at which
       users could purchase banned LCMs throughout the country. To that end, we analyzed
       quarterly data on the prices of LCMs advertised by eleven gun and magazine distributors
       in Shotgun News, a national gun industry publication, from April 1992 to December
       1998.63 Those prices are available to any gun dealer, and primary market retailers
       generally re-sell within 15% of the distributors’ prices.64 The distributors were chosen
       during the course of the first AW study (Roth and Koper, 1997) based on the frequency
       with which they advertised during the April 1992 to June 1996 period. For each quarterly
       period, project staff coded prices for one issue from a randomly selected month. We
       generally used the first issue of each selected month based on a preliminary, informal
       assessment suggesting that the selected distributors advertised more frequently in those
       issues. In a few instances, first-of-month issues were unavailable to us or provided too
       few observations, so we substituted other issues.65 Also, we were unable to obtain
       Shotgun News issues for the last two quarters of 1996. However, we aggregated the data
       annually to study price trends, and the omission of those quarters did not appear to affect
       the results (this is explained further below).

                 We ascertained trends in LCM prices by conducting hedonic price analyses,
       63
          The Blue Book of Gun Values, which served as the data source for the AW price analysis, does not
       contain ammunition magazine prices.
       64
          According to gun market experts, retail prices track wholesale prices quite closely (Cook et al., 1995, p.
       71). Retail prices to eligible purchasers generally exceed wholesale (or original-purchase) prices by 3% to
       5% in the large chain stores, by about 15% in independent dealerships, and by about 10% at gun shows
       (where overhead costs are lower).
       65
          The decision to focus on first-of-month issues was made prior to data collection for price analysis
       update. For the earlier study (Roth and Koper, 1997), project staff coded data for one or more randomly
       selected issues of every month of the April 1992 to June 1996 period. For this analysis, we utilized data
       from only the first-of-month issues selected at random during the prior study. If multiple first-of-month
       issues were available for a given quarter, we selected one at random or based on the number of recorded
       advertisements. If no first-of-month issue was available for a given quarter, we selected another issue at
       random from among those coded during the first study.

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       similar to those described in the AW price analysis (Chapter 5), in which we regressed
       inflation-adjusted LCM prices (logged) on several predictors: magazine capacity
       (logged), gun make (for which the LCM was made), year of the advertisement, and
       distributor. We cannot account fully for the meaning of significant distributor effects.
       They may represent unmeasured quality differentials in the merchandise of different
       distributors, or they may represent other differences in stock volume or selling or service
       practices between the distributors.66 We included the distributor indicators when they
       proved to be significant predictors of advertised price. In addition, we focused on LCMs
       made for several of the most common LCM-compatible handguns and rifles, rather than
       try to model the differences in LCM prices between the several hundred miscellaneous
       makes and models of firearms that were captured in the data. Finally, for both the
       handgun and rifle models, we created and tested seasonal indicator variables to determine
       if their incorporation would affect the coefficient for 1996 (the year with winter/spring
       data only), but they proved to be statistically insignificant and are not shown in the results
       below.67


       7.1.1. Large Capacity Magazines for Handguns

               The handgun LCM analysis tracks the prices of LCMs made for Intratec and
       Cobray (i.e., SWD) APs and non-banned semiautomatic pistols made by Smith and
       Wesson, Glock, Sturm Ruger, Sig-Sauer, Taurus, and Beretta (each of the manufacturers
       in the former group produces numerous models capable of accepting LCMs). In general,
       LCMs with greater magazine capacities commanded higher prices, and there were
       significant price differentials between LCMs made for different guns and sold by
       different distributors (see Table 7-1). Not surprisingly, LCMs made for Glock handguns
       were most expensive, followed by those made for Beretta and Sig-Sauer firearms.

               Turning to the time trend indicators (see Table 7-1 and Figure 7-1), prices for
       these magazines increased nearly 50% from 1993 to 1994, and they rose another 56% in
       1995. Prices declined somewhat, though not steadily, from 1996 to 1998. Nevertheless,
       prices in 1998 remained 22% higher than prices in 1994 and nearly 80% higher than
       those in 1993.




       66
          For example, one possible difference between the distributors may have been the extent to which they
       sold magazines made of different materials (e.g., steel, aluminum, etc.) or generic magazines manufactured
       by companies other than the companies manufacturing the firearms for which the magazines were made.
       For example, there were indications in the data that 3% of the handgun LCMs and 10% of the AR-15 and
       Mini-14 rifle LCMs used in the analyses (described below) were generic magazines. We did not control
       for these characteristic, however, because such information was often unclear from the advertisements and
       was not recorded consistently by coders.
       67
          Project staff coded all LCM advertisements by the selected distributors. Therefore, the data are
       inherently weighted. However, the weights are based on the frequency with which the different LCMs
       were advertised (i.e., the LCMs that were advertised most frequently have the greatest weight in the
       models) rather than by production volume.

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  Table 7-1. Regression of Handgun and Rifle Large Capacity Magazine Prices on Annual
  Time Indicators, 1992-1998, Controlling for Gun Makes/Models and Distributors
                                       Handgun LCMs           Rifle LCMs (n=674)
                                           (n=1,277)
                                   Estimate         T value  Estimate        T value
    Constant                         -1.79        -12.74***    -4.10       -19.12***
    1992                             -0.19          -2.11**    -0.48        -4.20***
    1993                             -0.38         -6.00***    -0.55        -6.14***
    1995                              0.44          6.88***    -0.25        -2.64***
    1996                              0.29          4.05***    -0.12          -0.93
    1997                              0.36          6.33***    -0.31        -3.68***
    1998                              0.20          3.51***    -0.44        -5.19***
    Rounds (logged)                   0.26          5.73***     0.84        15.08***
    Cobray                           -0.36         -4.15***
    Glock                             0.41          8.15***
    Intratec                         -0.40         -4.18***
    Ruger                            -0.42         -7.79***
    Smith&Wesson                     -0.08           -1.71*
    Sig-Sauer                           0             -0.09
    Taurus                           -0.31         -6.10***
    AK-type                                                    -0.25        -3.15***
    Colt AR-15                                                  0.14          1.68*
    Ruger Mini-14                                              -0.08          -0.92
    Distributor 1                    -0.72        -16.38***    -0.35        -5.15***
    Distributor 2                    -0.15            -0.97    -0.83        -5.24***
    Distributor 3                    -0.16         -3.93***     0.19         2.69***
    Distributor 4                    -0.55         -5.72***     0.16           0.80
    Distributor 5                    -0.07           -1.79*    -0.18        -2.65***
    Distributor 6                    -0.53            -1.23    -0.12          -0.32
    Distributor 7                    -1.59         -3.70***    -0.10          -0.91
    Distributor 8                                               0.14           0.70
    Distributor 9                    -0.91        -12.52***    -0.48        -4.00***
    F statistic                      58.76                     21.22
    (p value)                       <.0001                    <.0001
    Adj. R-square                     0.51                      0.38
       Year indicators are interpreted relative to 1994, and distributors are interpreted relative to distributor 10.
       Handgun makes are relative to Beretta and rifle models are relative to SKS.
       * Statistically significant at p<=.10.
       ** Statistically significant at p<=.05.
       *** Statistically significant at p<=.01.

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                                  Figure 7-1. Annual Price Trends for Large Capacity
                                                 Magazines, 1992-1998
                1 = 1994 Price
       1.8


       1.6


       1.4


       1.2


            1


       0.8


       0.6


       0.4


       0.2


            0
                     1992                1993               1994                1995                 1996              1997                1998

                                                                   Handguns                 Rifles

                Based on 1,277 sampled ads for LCMs fitting models of 8 handgun makers and 674 sampled ads for LCMs fitting 4 rifle model groups.




    7.1.2. Large Capacity Magazines for Rifles

              We approximated trends in the prices of LCMs for rifles by modeling the prices
       of LCMs manufactured for AR-15, Mini-14, SKS,68 and AK-type rifle models (including
       various non-banned AK-type models). As in the handgun LCM model, larger LCMs
       drew higher prices, and there were several significant model and distributor effects. AR-
       15 magazines tended to have the highest prices, and magazines for AK-type models had
       the lowest prices (Table 7-1).

              Like their handgun counterparts, prices for rifle LCMs increased over 40% from
       1993 to 1994, as the ban was debated and implemented (see Table 7-1 and Figure 7-1).
       However, prices declined over 20% in 1995. Following a rebound in 1996, prices moved
       downward again during 1997 and 1998. Prices in 1998 were over one third lower than
       the peak prices of 1994 and were comparable to pre-ban prices in 1992 and 1993.

       68
          The SKS is a very popular imported rifle (there are Russian and Chinese versions) that was not covered
       by either the 1989 AR import ban or the 1994 AW ban. However, importation of SKS rifles from China
       was discontinued in 1994 due to trade restrictions.

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       7.2. Post-Ban Importation of Large Capacity Magazines

              ATF does not collect (or at least does not publicize) statistics on production of
       LCMs. Therefore, we cannot clearly document pre-ban production trends. Nevertheless,
       it seems likely that gun and magazine manufacturers boosted their production of LCMs
       during the debate over the ban, just as AW makers increased production of AWs.
       Regardless, gun industry sources estimated that there were 25 million LCMs available as
       of 1995 (including aftermarket items for repairing magazines or converting them to
       LCMs) (Gun Tests, 1995, p. 30).

              Moreover, the supply of LCMs continued to grow even after the ban due to
       importation of foreign LCMs that were manufactured prior to the ban (and thus
       grandfathered by the LCM legislation), according to ATF importation data.69 As shown
       in Table 7-2, nearly 4.8 million LCMs were imported for commercial sale (as opposed to
       law enforcement uses) from 1994 through 2000, with the largest number (nearly 3.7
       million) arriving in 1999.70 During this period, furthermore, importers received
       permission to import a total of 47.2 million LCMs; consequently, an additional 42 million
       LCMs may have arrived after 2000 or still be on the way, based on just those approved
       through 2000.71, 72

               To put this in perspective, gun owners in the U.S. possessed 25 million firearms
       that were equipped with magazines holding 10 or more rounds as of 1994 (Cook and
       Ludwig, 1996, p. 17). Therefore, the 4.7 million LCMs imported in the U.S. from 1994
       through 2000 could conceivably replenish 19% of the LCMs that were owned at the time
       of the ban. The 47.2 million approved during this period could supply nearly 2 additional
       LCMs for all guns that were so equipped as of 1994.


       7.3. Summary and Interpretations

               Prices of LCMs for handguns rose significantly around the time of the ban and,
       despite some decline from their peak levels in 1995, remained significantly higher than
       pre-ban prices through at least 1998. The increase in LCM prices for rifles proved to be
       more temporary, with prices returning to roughly pre-ban levels by 1998.73

       69
           To import LCMs into the country, importers must certify that the magazines were made prior to the ban.
       (The law requires companies to mark post-ban LCMs with serial numbers.) As a practical matter, however,
       it is hard for U.S. authorities to know for certain whether imported LCMs were produced prior to the ban.
       70
           The data do not distinguish between handgun and rifle magazines or the specific models for which the
       LCMs were made. But note that roughly two-thirds of the LCMs imported from 1994 through 2000 had
       capacities between 11 and 19 rounds, a range that covers almost all handgun LCMs as well as many rifle
       LCMs. It seems most likely that the remaining LCMs (those with capacities of 20 or more rounds) were
       primarily for rifles.
       71
          The statistics in Table 7-2 do not include belt devices used for machine guns.
       72
          A caveat to the number of approved LCMs is that importers may overstate the number of LCMs they
       have available to give themselves leeway to import additional LCMs, should they become available.
       73
           A caveat is that we did not examine prices of smaller magazines, so the price trends described here may
       not have been entirely unique to LCMs. Yet it seems likely that these trends reflect the unique impact of
       the ban on the market for LCMs.

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       Table 7-2. Large Capacity Magazines Imported into the United States or Approved
       For Importation for Commercial Sale, 1994-2000
                 Year                    Imported                    Approved

                      1994                                     67,063                                     77,666

                      1995                                      3,776                                   2,066,228

                      1996                                    280,425                                   2,795,173

                      1997                                     99,972                                   1,889,773

                      1998                                    337,172                                  20,814,574

                      1999                                   3,663,619                                 13,291,593

                      2000                                    346,416                                   6,272,876

                      Total                                  4,798,443                                 47,207,883

       Source: Firearms and Explosives Imports Branch, Bureau of Alcohol, Tobacco, Firearms, and Explosives.
       Counts do not include “links” (belt devices) or imports for law enforcement purposes.



                The drop in rifle LCM prices between 1994 and 1998 may have due to the
       simultaneous importation of approximately 788,400 grandfathered LCMs, most of which
       appear to have been rifle magazines (based on the fact that nearly two-thirds had
       capacities over 19 rounds), as well as the availability of U.S. military surplus LCMs that
       fit rifles like the AR-15 and Mini-14. We can also speculate that demand for LCMs is
       not as great among rifle consumers, who are less likely to acquire their guns for defensive
       or criminal purposes.

               The pre-ban supply of handgun LCMs may have been more constricted than the
       supply of rifle LCMs for at least a few years following the ban, based on prices from
       1994 to 1998. Although there were an estimated 25 million LCMs available in the U.S.
       as of 1995, some major handgun manufacturers (including Ruger, Sig Sauer, and Glock)
       had or were close to running out of new LCMs by that time (Gun Tests, 1995, p. 30). Yet
       the frequency of advertisements for handgun LCMs during 1997 and 1998, as well as the
       drop in prices from their 1995 peak, suggests that the supply had not become particularly
       low. In 1998, for example, the selected distributors posted a combined total of 92 LCM
       ads per issue (some of which may have been for the same make, model, and capacity
       combinations) for just the handguns that we incorporated into our model.74 Perhaps the
       74
          Project staff found substantially more advertisements per issue for 1997 and 1998 than for earlier years.
       For the LCMs studied in the handgun analysis, staff recorded an average of 412 LCM advertisements per
       year (103 per issue) during 1997 and 1998. For 1992-1996, staff recorded an average of about 100 ads per
       year (25 per issue) for the same LCMs. A similar but smaller differential existed in the volume of ads for
       the LCMs used in the rifle analysis. The increase in LCM ads over time may reflect changes in supply and

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       demand for enhanced firepower among handgun consumers, who are more likely to
       acquire guns for crime or defense against crime, was also a factor (and perhaps a large
       one) putting a premium on handgun LCMs.

                Although we might hypothesize that high prices depressed use of handguns with
       LCMs for at least a few years after the ban, a qualification to this prediction is that LCM
       use may be less sensitive to prices than is use of AWs because LCMs are much less
       expensive than the firearms they complement and therefore account for a smaller fraction
       of users’ income (e.g., see Friedman, 1962). To illustrate, TEC-9 APs typically cost $260
       at retail during 1992 and 1993, while LCMs for the TEC-9, ranging in capacity from 30
       to 36 rounds, averaged $16.50 in Shotgun News advertisements (and probably $19 or less
       at retail) during the same period. So, for example, a doubling of both gun and LCM
       prices would likely have a much greater impact on purchases of TEC-9 pistols than
       purchases of LCMs for the TEC-9. Users willing and able to pay for a gun that accepts
       an LCM are most likely willing and able to pay for an LCM to use with the gun.

               Moreover, the LCM supply was enhanced considerably by a surge in LCM
       imports that occurred after the period of our price analysis. During 1999 and 2000, an
       additional 4 million grandfathered LCMs were imported into the U.S., over two-thirds of
       which had capacities of 11-19 rounds, a range that covers almost all handgun LCMs (as
       well as many rifle LCMs). This may have driven prices down further after 1998.

                In sum, market indicators yield conflicting signs on the availability of LCMs. It is
       perhaps too early to expect a reduction in crimes with LCMs, considering that tens of
       millions of grandfathered LCMs were available at the time of the ban, an additional 4.8
       million – enough to replenish one-fifth of those owned by civilians – were imported from
       1994 through 2000, and that the elasticity of demand for LCMs may be more limited than
       that of firearms. And if the additional 42 million foreign LCMs approved for importation
       become available, there may not be a reduction in crimes with LCMs anytime in the near
       future.




       demand for LCMs during the study period, as well as product shifts by distributors and perhaps changes in
       ad formats (e.g., ads during the early period may have been more likely to list magazines by handgun
       model without listing the exact capacity of each magazine, in which case coders would have been more
       likely to miss some LCMs during the early period). Because the data collection effort for the early period
       was part of a larger effort that involved coding prices in Shotgun News for LCMs and numerous banned
       and non-banned firearms, it is also possible that coders were more likely to miss LCM ads during that
       period due to random factors like fatigue or time constraints.

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       8. CRIMINAL USE OF LARGE CAPACITY MAGAZINES AFTER THE BAN


                Assessing trends in criminal use of LCMs is difficult. There is no national data
       source on crime guns equipped with LCMs (ATF national tracing data do not include
       information about magazines recovered with traced firearms), and, based on our contacts
       with numerous police departments over the course of this study and the first AW study, it
       seems that even those police departments that maintain electronic databases on recovered
       firearms do not typically record the capacity of the magazines with which the guns are
       equipped.75,76 Indeed, we were unable to acquire sufficient data to examine LCM use for
       the first AW study (Roth and Koper, 1997).

               For the current study, we obtained four data sources with which to investigate
       trends in criminal use of LCMs. Three of the databases utilized in the AW analysis –
       those from Baltimore, Milwaukee, and Anchorage – contained information about the
       magazines recovered with the guns (see the descriptions of these databases in Chapter 6).
       Using updated versions of these databases, we examined all LCM recoveries in Baltimore
       from 1993 through 2003, recoveries of LCMs in Milwaukee murder cases from 1991 to
       2001, and recoveries of LCMs linked to serious crimes in Anchorage (and other parts of
       Alaska) from 1992 through 2002.77 In addition, we studied records of guns and
       magazines submitted to the Jefferson Regional Forensics Lab in Louisville, Kentucky
       from 1996 through 2000. This lab of the Kentucky State Police services law enforcement
       agencies throughout roughly half of Kentucky, but most guns submitted to the lab are
       from the Louisville area. Guns examined at the lab are most typically those associated
       with serious crimes such as murders, robberies, and assaults.

               The LCM analyses and findings were not as uniform across locations as were
       those for AWs. Therefore, we discuss each site separately. As in the AW analysis, we
       emphasize changes in the percentage of guns equipped with LCMs to control for overall
       trends in gun crime and gun recoveries. Because gun crime was falling during the latter
       1990s, we anticipated that the number of guns recovered with LCMs might decline
       independently of the ban’s impact. (Hereafter, we refer to guns equipped with LCMs as
       LCM guns.)




       75
          For the pre-ban period, one can usually infer magazine capacity based on the firearm model. For post-
       ban recoveries, this is more problematic because gun models capable of accepting LCMs may have been
       equipped with grandfathered LCMs or with post-ban magazines designed to fit the same gun but holding
       fewer rounds.
       76
          As for the AW analysis in Chapter 6, we utilize police data to examine trends in criminal use of LCMs.
       The reader is referred to the general discussion of police gun seizure data in Chapter 6.
       77
          Findings presented in our 2002 interim report (Koper and Roth, 2002b) indicated that LCM use had not
       declined as of the late 1990s. Therefore, we sought to update the LCM analyses where possible for this
       version of the report.

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       8.1. Baltimore

                In Baltimore, about 14% of guns recovered by police were LCM guns in 1993.
       This figure remained relatively stable for a few years after the ban but had dropped
       notably by 2002 and 2003 (Figure 8-1). For the entire post-ban period (1995-2003),
       recoveries of LCM guns were down 8% relative to those of guns with smaller magazines
       (Table 8-1, panel A), a change of borderline statistical significance. Focusing on the
       most recent years, however, LCM gun recoveries were 24% lower in 2002 and 2003 than
       during the year prior to the ban, a difference that was clearly significant (Table 8-1, panel
       B).78,79,80 This change was attributable to a 36% drop in LCM handguns (Table 8-1,
       panel C). LCM rifles actually increased 36% as a share of crime guns, although they still
       accounted for no more than 3% in 2002 and 2003 (Table 8-1, panel D).81

               Yet there was no decline in recoveries of LCM guns used in violent crimes (i.e.,
       murders, shootings, robberies, and other assaults). After the ban, the percentage of
       violent crime guns with LCMs generally oscillated in a range consistent with the pre-ban
       level (14%) and hit peaks of roughly 16% to 17% in 1996 and 2003 (Figure 8-1).82
       Whether comparing the pre-ban period to the entire post-ban period (1995-2003) or the
       most recent years (2002-2003), there was no meaningful decline in LCM recoveries
       linked to violent crimes (Table 8-2, panels A and B).83 Neither violent uses of LCM
       78
           Data on handgun magazines were also available for 1992. An auxiliary analysis of those data did not
       change the substantive inferences described in the text.
       79
           The Maryland AP ban enacted in June 1994 also prohibited ammunition magazines holding over 20
       rounds and did not permit additional sales or transfers of such magazines manufactured prior to the ban.
       This ban, as well as the Maryland and federal bans on AWs that account for many of the guns with
       magazines over 20 rounds, may have contributed to the downward trend in LCMs in Baltimore, but only
       2% of the guns recovered in Baltimore from 1993 to 2000 were equipped with such magazines.
       80
           All comparisons of 1993 to 2002-2003 in the Baltimore data are based on information from the months
       of January through November of each year. At the time we received these data, information was not yet
       available for December 2003, and preliminary analysis revealed that guns with LCMs were somewhat less
       likely to be recovered in December than in other months for years prior to 2003. Nevertheless, utilizing the
       December data for 1993 and 2002 did not change the substantive inferences. We did not remove December
       data from the comparisons of 1993 and the full post-ban period because those comparisons seemed less
       likely to be influenced by the absence of one month of data.
       81
           This increase may have been due largely to a general increase in rifle seizures. LCM rifles actually
       dropped as a percentage of all rifle recoveries from 1993 to 2002-2003, suggesting that recoveries of LCM
       rifles were increasing less than recoveries of other rifles.
       82
           For 1996, 45% of all records and 24% of those linked to violent crimes had missing data for magazine
       capacity (due to temporary changes in operational procedures in the Baltimore crime lab). For other years,
       missing data rates were no more than 6%. Based on those cases for which data were available, the share of
       guns with LCMs in 1996 was comparable to that in other years, particularly when examining all gun
       recoveries. At any rate, the analyses focusing on 1993, 2002, and 2003 reinforce the findings of those that
       include the 1996 data.
       83
           The ammunition capacity code in the Baltimore data usually reflected the full capacity of the magazine
       and weapon, but sometimes reflected the capacity of the magazine only. (For instance, a semiautomatic
       with a 10-round magazine and the ability to accept one additional round in the chamber might have been
       coded as having a capacity of 10 or 11.) Informal assessment suggested that capacity was more likely to
       reflect the exact capacity of the magazine in the early years of the database and more likely to reflect the
       full capacity of the gun and magazine in later years. For the main runs presented in the text and tables,
       guns were counted as having LCMs if the coded capacity was greater than 11 rounds. This ensured that
       LCMs were not overestimated, but it potentially understated LCM prevalence, particularly for the earlier

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       handguns or LCM rifles had declined appreciably by 2002-2003 (Table 8-2, panels C and
       D). Hence, the general decline in LCM recoveries may reflect differences in the
       availability and use of LCMs among less serious offenders, changes in police practices,84
       or other factors.


                    Figure 8-1. Police Recoveries of Guns Equipped With Large
                            Capacity Magazines in Baltimore, 1993-2003
            As % of Recovered Guns (N=33,403)
      20




      15




      10




        5




        0
             1993       1994      1995      1996       1997      1998       1999      2000      2001       2002      2003


                                                   All guns             Violent crime guns




       years. However, coding the guns as LCM weapons based on a threshold of 10 (i.e., a coded capacity over
       10 rounds) in 1993 and a threshold of 11 (i.e., a coded capacity over 11 rounds) for 2002-2003 did not
       change the inferences of the violent crime analysis. Further, this coding increased the pre-ban prevalence
       of LCMs by very little (about 4% in relative terms).
       84
          During the late 1990s, for example, Baltimore police put greater emphasis on detecting illegal gun
       carrying (this statement is based on prior research and interviews the author has done in Baltimore as well
       as the discussion in Center to Prevent Handgun Violence, 1998). One can hypothesize that this effort
       reduced the fraction of recovered guns with LCMs because illegal gun carriers are probably more likely to
       carry smaller, more concealable handguns that are less likely to have LCMs.

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       Table 8-1. Trends in All Police Recoveries of Firearms Equipped With Large
       Capacity Magazines, Baltimore, 1993-2003

                                                  Pre-Ban Period                Post-Ban Period                    Change

        A. All LCM Guns                            Jan.-Dec. 1993             Jan. 1995-Nov. 2003

        Total                                             473                           3703
        Annual Mean                                       473                          445.86 a                       -6%
        LCM Guns as % of All                            13.51%                         12.38%                        -8%*
        Guns

        B. All LCM Guns                            Jan.-Nov. 1993             Jan.-Nov. 2002-2003


        Total                                             430                            626
        Annual Mean                                       430                            313                        -27%
        LCM Guns as % of All                            13.47%                          10.3%                     -24%***
        Guns

        C. LCM Handguns                            Jan.-Nov. 1993             Jan.-Nov. 2002-2003

        Total                                             359                            440
        Annual Mean                                       359                            220                        -39%
        LCM Handguns as % of                            11.25%                          7.24%                     -36%***
        All Guns

        D. LCM Rifles                              Jan.-Nov. 1993             Jan.-Nov. 2002-2003


        LCM Rifles                                         71                            183
        Annual Mean                                        71                            91.5                        29%
        LCM Rifles as % of All                           2.22%                          3.01%                       36%**
        Guns

       a. Annual average calculated without 1996 and 2003 (to correct for missing months or missing magazine
       data).
       * Chi-square p level < .10 (changes in percentages of guns equipped with LCMs were tested for statistical
       significance)
       ** Chi-square p level <.05 (changes in percentages of guns equipped with LCMs were tested for statistical
       significance)
       ** Chi-square p level < .01 (changes in percentages of guns equipped with LCMs were tested for statistical
       significance)


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       Table 8-2. Trends in Police Recoveries of Firearms Equipped With Large Capacity
       Magazines in Violent Crime Cases, Baltimore, 1993-2003

                                                  Pre-Ban Period                Post-Ban Period                   Change a

        A. All LCM Guns                            Jan.-Dec. 1993             Jan. 1995-Nov. 2003

        Total                                             87                             711
        Annual Mean                                       87                           81.86 b                        -6%
        LCM Guns as % of All                            14.01%                         14.44%                         3%
        Guns

        B. All LCM Guns                            Jan.-Nov. 1993             Jan.-Nov. 2002-2003


        Total                                             79                             104
        Annual Mean                                       79                              52                         -34%
        LCM Guns as % of All                            13.96%                         13.65%                         -2%
        Guns

        C. LCM Handguns                            Jan.-Nov. 1993             Jan.-Nov. 2002-2003

        Total                                             62                             81
        Annual Mean                                       62                            40.5                         -35%
        LCM Handguns as % of                            10.95%                         10.63%                         -3%
        All Guns

        D. LCM Rifles                              Jan.-Nov. 1993             Jan.-Nov. 2002-2003


        LCM Rifles                                         17                             23
        Annual Mean                                        17                            11.5                        -32%
        LCM Rifles as % of All                             3%                           3.02%                         1%
        Guns

       a. Changes in the percentages of guns with LCMs were statistically insignificant in chi-square tests.
       b. Annual average calculated without 1996 and 2003 (to correct for missing months or missing magazine
       data).




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       8.2. Anchorage

               In the Alaska database, magazine capacity was recorded only for guns recovered
       during the post-ban years, 1995 through 2002. However, we estimated pre-ban use of
       LCM handguns by identifying handgun models inspected during 1992 and 1993 that were
       manufactured with LCMs prior to the ban.85 This permitted an assessment of pre-post
       changes in the use of LCM handguns.

                As shown in Figure 8-2 (also see Table 8-3, panel A), LCM guns rose from 14.5%
       of crime guns in 1995-1996 to 24% in 2000-2001 (we present two-year averages because
       the sample are relatively small, particularly for the most recent years) and averaged about
       20% for the entire post-ban period. LCM handguns drove much of this trend, but LCM
       rifles also increased from about 3% of crime guns in 1995-96 to 11% in 2000-2001.


                           Figure 8-2. Police Recoveries of Guns Equipped With Large
                              Capacity Magazines in Anchorage (Alaska), 1995-2002

                  As % of Guns Submitted for Evidentiary Testing (N=405)
            25




            20




            15




            10




             5




             0
                            1995-1996                  1997-1998                1999-2000                    2001-2002
                 Two year averages.




       85
         To make these determinations, we consulted gun catalogs such as the Blue Book of Gun Values and
       Guns Illustrated.

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       Table 8-3. Trends in Police Recoveries of Firearms Equipped With Large Capacity
       Magazines in Violent Crime Cases, Anchorage (Alaska), 1992-2002 a

                                                  Pre-Ban Period                Post-Ban Period                   Change b

                                                          N/A                 Jan. 1995-Dec. 2002
        A. All LCM Guns


        Total                                                                            80
        Annual Mean                                                                      10                           N/A
        LCM Guns as % of All                                                           19.75%                         N/A
        Guns

        B. LCM Handguns                        Jan. 1992-Dec. 1993 Jan. 1995-Dec. 2002


        Total                                             17                             57
        Annual Mean                                       8.5                           7.13                         -16%
        LCM Handguns as % All                           26.15%                         22.35%                        -15%
        Handguns

        C. LCM Handguns                        Jan. 1992-Dec. 1993 Jan. 2001-Dec. 2002


        Total                                             17                             10
        Annual Mean                                       8.5                             5                          -41%
        LCM Handguns as % of                            26.15%                         19.23%                        -26%
        All Handguns

       a. Based on guns submitted to State Police for evidentiary testing.
       b. Changes in the percentages of guns equipped with LCMs were statistically insignificant in chi-square tests.



              Investigation of pre-post changes for handguns revealed an inconsistent pattern
       (Figure 8-3). LCM handguns dropped initially after the ban, declining from 26% of
       handguns in 1992-1993 to 18% in 1995-1996. However, they rebounded after 1996,
       reaching a peak of 30% of handguns in 1999-2000 before declining to 19% in 2001-2002.

               For the entire post-ban period, the share of handguns with LCMs was about 15%
       lower than in the pre-ban period (Table 8-3, panel B). By the two most recent post-ban
       years (2001-2002), LCM use had dropped 26% from the pre-ban years (Table 8-3, panel
       C). These changes were not statistically significant, but the samples of LCM handguns
       were rather small for rigorous statistical testing. Even so, it seems premature to conclude

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       that there has been a lasting reduction in LCM use in Alaska. LCM use in 2001-2002
       was somewhat higher than that immediately following the ban in 1995-1996, after which
       there was a substantial rebound. Considering the inconsistency of post-ban patterns,
       further follow-up seems warranted before making definitive conclusions about LCM use
       in Alaska.


                             Figure 8-3. Police Recoveries of Handguns Equipped With
                            Large Capacity Magazines in Anchorage (Alaska), 1992-2002

                  As % of Handguns Submitted for Evidentiary Testing (N=319)
            35


            30


            25


            20


            15


            10


             5


             0
                         1992-1993                   1995-1996        1997-1998          1999-2000              2001-2002
                 Two-year averages. Data for 1994 excluded.




       8.3. Milwaukee

               LCM guns accounted for 21% of guns recovered in Milwaukee murder
       investigations from 1991 to 1993 (Table 8-4, panel A). Following the ban, this figure
       rose until reaching a plateau of over 36% in 1997 and 1998 (Figure 8-4). On average, the
       share of guns with LCMs grew 55% from 1991-1993 to 1995-1998, a trend that was
       driven by LCM handguns (Table 8-4, panels A and B).86 LCM rifles held steady at
       between 4% and 5% of the guns (Table 8-4, panel C).

              We also analyzed a preliminary database on 48 guns used in murders during 2000
       and 2001 (unlike the 1991-1998 database, this database did not include information on
       other guns recovered during the murder investigations). About 11% of these guns were
       LCM guns, as compared to 19% of guns used in murders from 1991 to 1993 (analyses
       not shown). However, nearly a quarter of the 2000-2001 records were missing
       information on magazine capacity.87 Examination of the types and models of guns with
       86
          LCM guns also increased as share of guns that were used in the murders (the full sample results
       discussed in the text include all guns recovered during the investigations).
       87
          Magazine capacity was missing for less than 4% of the records in earlier years.

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       unidentified magazines suggested that as many as 17% of guns used in murders during
       2000 and 2001 may have been LCM guns (based on all those that either had LCMs, were
       models sold with LCMs prior to the ban, or were unidentified semiautomatics). While
       this still suggests a drop in LCM use from the peak levels of the late 1990s (26% of guns
       used in murders from 1995 to 1998 had LCMs), it is not clear that LCM use has declined
       significantly below pre-ban levels.

       Table 8-4. Trends in Police Recoveries of Firearms Equipped With Large Capacity
       Magazines in Murder Cases, Milwaukee County, 1991-1998

                                                  Pre-Ban Period                Post-Ban Period                   Change

                                               Jan. 1991-Dec. 1993 Jan. 1995-Dec. 1998
        A. All LCM Guns


        Total                                              51                            83
        Annual Mean                                        17                           20.75                       22%
        LCM Guns as % of All                             20.9%                         32.42%                      55%*
        Guns

        B. LCM Handguns                        Jan. 1991-Dec. 1993 Jan. 1995-Dec. 1998


        Total                                             40                             71
        Annual Mean                                      13.33                          17.75                      33%
        LCM Handguns as % of                            16.39%                         27.73%                      69%*
        All Guns

        C. LCM Rifles                          Jan. 1991-Dec. 1993 Jan. 1995-Dec. 1998


        Total                                              11                             12
        Annual Mean                                       3.67                             3                        -18%
        LCM Rifles as % of All                           4.51%                          4.69%                        4%
        Guns

       * Chi-square p level < .01 (changes in percentages of guns equipped with LCMs were tested for statistical
       significance)




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                    Figure 8-4. Recoveries of Guns Equipped With Large Capacity
                      Magazines in Milwaukee County Murder Cases, 1991-1998

              As % of Guns Recovered in Murder Cases (N=571)
         40


         35


         30


         25


         20


         15


         10


          5


          0
                  1991           1992          1993          1994           1995          1996           1997          1998



       8.4. Louisville

               The Louisville LCM data are all post-ban (1996-2000), so we cannot make pre-
       post comparisons. Nonetheless, the share of crime guns with LCMs in Louisville (24%)
       was within the range of that observed in the other cities during this period. And similar
       to post-ban trends in the other sites, LCM recoveries peaked in 1997 before leveling off
       and remaining steady through the year 2000 (Figure 8-5). LCM rifles dropped 21% as a
       share of crime guns between 1996 and 2000 (analyses not shown), but there were few in
       the database, and they never accounted for more than 6.2% of guns in any year.




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                            Figure 8-5. Police Recoveries of Guns Equipped With Large
                              Capacity Magazines in Louisville (Kentucky), 1996-2000

                  As % of Guns Submitted for Evidentiary Testing (N=681)
            35


            30


            25


            20


            15


            10


             5


             0
                             1996                            1997          1998               1999                   2000

                 Year 2000 data are not for the full year.




       8.5. Summary

               Despite a doubling of handgun LCM prices between 1993 and 1995 and a 40%
       increase in rifle LCM prices from 1993 to 1994, criminal use of LCMs was rising or
       steady through at least the latter 1990s, based on police recovery data from four
       jurisdictions studied in this chapter. These findings are also consistent with an earlier
       study finding no decline in seizures of LCM guns from juveniles in Washington, DC in
       the year after the ban (Koper, 2001).88 Post-2000 data, though more limited and
       inconsistent, suggest that LCM use may be dropping from peak levels of the late 1990s
       but provide no definitive evidence of a drop below pre-ban levels.89 These trends have
       been driven primarily by LCM handguns, which are used in crime roughly three times as
       88
          From 1991 to 1993, 16.4% of guns recovered from juveniles in Washington, DC had LCMs (14.2% had
       LCMs in 1993). In 1995, this percentage increased to 17.1%. We did not present these findings in this
       chapter because the data were limited to guns recovered from juveniles, the post-ban data series was very
       short, and the gun markets supplying DC and Baltimore are likely to have much overlap (Maryland is a
       leading supplier of guns to DC – see ATF, 1997; 1999).
       89
          We reran selected key analyses with the Baltimore, Milwaukee, and Louisville data after excluding .22
       caliber guns, some of which could have been equipped with attached tubular magazines that are exempted
       from the LCM ban, and obtained results consistent with those reported in the text. It was possible to
       identify these exempted magazines in the Anchorage data. When they were removed from Anchorage’s
       LCM count, the general pattern in use of banned LCMs was similar to that presented in the main 1995-
       2002 analysis: guns with banned LCMs rose, reaching a peak of 21% of crime guns in 1999-2000, before
       declining slightly to 19% in 2001-2002.

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       often as LCM rifles. Nonetheless, there has been no consistent reduction in the use of
       LCM rifles either.

               The observed patterns are likely due to several factors: a hangover from pre-ban
       growth in the production and marketing of LCM guns (Cook and Ludwig, 1997, pp. 5-6;
       Wintemute, 1996);90 the low cost of LCMs relative to the firearms they complement,
       which seems to make LCM use less sensitive to prices than is firearm use;91 the utility
       that gun users, particularly handgun users, attach to LCMs; a plentiful supply of
       grandfathered LCMs, likely enhanced by a pre-ban surge in production (though this has
       not been documented) and the importation of millions of foreign LCMs since the ban;92
       thefts of LCM firearms (see Roth and Koper, 1997, Chapter 4); or some combination of
       these factors.93 However, it is worth noting that our analysis did not reveal an upswing in
       use of LCM guns following the surge of LCM importation in 1999 (see the previous
       chapter). It remains to be seen whether recent imports will have a demonstrable effect on
       patterns of LCM use.

               Finally, we must be cautious in generalizing these results to the nation because
       they are based on a small number of non-randomly selected jurisdictions. Nonetheless,
       the consistent failure to find clear evidence of a pre-post drop in LCM use across these
       geographically diverse locations strengthens the inference that the findings are indicative
       of a national pattern.




       90
          To illustrate this trend, 38% of handguns acquired by gun owners during 1993 and 1994 were equipped
       with magazines holding 10 or more rounds, whereas only 14% of handguns acquired before 1993 were so
       equipped (Cook and Ludwig, 1997, pp. 5-6).
       91
          Although elevated post-ban prices did not suppress use of LCMs, a more subtle point is that LCM use
       rose in most of these locations between 1995 and 1998, as LCM prices were falling from their peak levels
       of 1994-1995. Therefore, LCM use may have some sensitivity to price trends.
       92
          However, we do not have the necessary data to determine if LCMs used in crime after the ban were
       acquired before or after the ban.
       93
          In light of these considerations, it is conceivable that the ban slowed the rate of growth in LCM use,
       accelerated it temporarily (due to a pre-ban production boom), or had no effect. We do not have the data
       necessary to examine this issue rigorously. Moreover, the issue might be regarded as somewhat
       superfluous; the more critical point would seem to be that nearly a decade after the ban, LCM use has still
       not declined demonstrably below pre-ban levels.

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       9. THE CONSEQUENCES OF CRIMES WITH ASSAULT WEAPONS AND
       LARGE CAPACITY MAGAZINES


               One of the primary considerations motivating passage of the ban on AWs and
       LCMs was a concern over the perceived dangerousness of these guns and magazines. In
       principal, semiautomatic weapons with LCMs enable offenders to fire high numbers of
       shots rapidly, thereby potentially increasing both the number of person wounded per
       gunfire incident (including both intended targets and innocent bystanders) and the
       number of gunshot victims suffering multiple wounds, both of which would increase
       deaths and injuries from gun violence. Ban advocates also argued that the banned AWs
       possessed additional features conducive to criminal applications.

               The findings of the previous chapters suggest that it is premature to make
       definitive assessments of the ban’s impact on gun violence. Although criminal use of
       AWs has declined since the ban, this reduction was offset through at least the late 1990s
       by steady or rising use of other guns equipped with LCMs. As argued previously, the
       LCM ban has greater potential for reducing gun deaths and injuries than does the AW
       ban. Guns with LCMs – of which AWs are only a subset – were used in up to 25% of
       gun crimes before the ban, whereas AWs were used in no more than 8% (Chapter 3).
       Furthermore, an LCM is arguably the most important feature of an AW. Hence, use of
       guns with LCMs is probably more consequential than use of guns with other military-
       style features, such as flash hiders, folding rifle stocks, threaded barrels for attaching a
       silencers, and so on.94

              This is not to say that reducing use of AWs will have no effect on gun crime; a
       decline in the use of AWs does imply fewer crimes with guns having particularly large
       magazines (20 or more rounds) and other military-style features that could facilitate some
       crimes. However, it seems that any such effects would be outweighed, or at least


       94
           While it is conceivable that changing features of AWs other than their magazines might prevent some
       gunshot victimizations, available data provide little if any empirical basis for judging the likely size of such
       effects. Speculatively, some of the most beneficial weapon redesigns may be the removal of folding stocks
       and pistol grips from rifles. It is plausible that some offenders who cannot obtain rifles with folding stocks
       (which make the guns more concealable) might switch to handguns, which are more concealable but
       generally cause less severe wounds (e.g. see DiMaio, 1985). However, such substitution patterns cannot be
       predicted with certainty. Police gun databases rarely have information sufficiently detailed to make
       assessments of changes over time in the use of weapons with specific features like folding stocks. Based
       on informal assessments, there was no consistent pattern in post-ban use of rifles (as a share of crime guns)
       in the local databases examined in the prior chapters (also see the specific comments on LCM rifles in the
       previous chapters).
                  Pistol grips enhance the ability of shooters to maintain control of a rifle during rapid, “spray and
       pray” firing (e.g., see Violence Policy Center, 2003). (Heat shrouds and forward handgrips on APs serve
       the same function.) While this feature may prove useful in military contexts (e.g., firefights among groups
       at 100 meters or less – see data of the U.S. Army’s Operations Research Office as cited in Violence Policy
       Center, 2003), it is unknown whether civilian attacks with semiautomatic rifles having pistol grips claim
       more victims per attack than do those with other semiautomatic rifles. At any rate, most post-ban AR-type
       rifles still have pistol grips. Further, the ban does not count a stock thumbhole grip, which serves the same
       function as a pistol grip (e.g., see the illustration of LCMM rifles in Chapter 2), as an AR feature.

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       obscured, by the wider effects of LCM use, which themselves are likely to be small at
       best, as we argue below.95

               Because offenders can substitute non-banned guns and small magazines for
       banned AWs and LCMs, there is not a clear rationale for expecting the ban to reduce
       assaults and robberies with guns.96 But by forcing AW and LCM offenders to substitute
       non-AWs with small magazines, the ban might reduce the number of shots fired per gun
       attack, thereby reducing both victims shot per gunfire incident and gunshot victims
       sustaining multiple wounds. In the following sections, we consider the evidence linking
       high-capacity semiautomatics and AWs to gun violence and briefly examine recent trends
       in lethal and injurious gun violence.


       9.1. The Spread of Semiautomatic Weaponry and Trends in Lethal and Injurious
       Gun Violence Prior to the Ban

              Nationally, semiautomatic handguns grew from 28% of handgun production in
       1973 to 80% in 1993 (Zawitz, 1995, p. 3). Most of this growth occurred from the late
       1980s onward, during which time the gun industry also increased marketing and
       production of semiautomatics with LCMs (Wintemute, 1996). Likewise, semiautomatics
       grew as a percentage of crime guns (Koper, 1995; 1997), implying an increase in the
       average firing rate and ammunition capacity of guns used in crime.97

       95
           On a related note, a few studies suggest that state-level AW bans have not reduced crime (Koper and
       Roth, 2001a; Lott, 2003). This could be construed as evidence that the federal AW ban will not reduce
       gunshot victimizations without reducing LCM use because the state bans tested in those studies, as written
       at the time, either lacked LCM bans or had LCM provisions that were less restrictive than that of the
       federal ban. (New Jersey’s 1990 AW ban prohibited magazines holding more than 15 rounds. AP bans
       passed by Maryland and Hawaii prohibited magazines holding more than 20 rounds and pistol magazines
       holding more than 10 rounds, respectively, but these provisions did not take effect until just a few months
       prior to the federal ban.) However, it is hard to draw definitive conclusions from these studies for a number
       of reasons, perhaps the most salient of which are the following: there is little evidence on how state AW
       bans affect the availability and use of AWs (the impact of these laws is likely undermined to some degree
       by the influx of AWs from other states, a problem that was probably more pronounced prior to the federal
       ban when the state laws were most relevant); studies have not always examined the effects of these laws on
       gun homicides and shootings, the crimes that are arguably most likely to be affected by AW bans (see
       discussion in the main text); and the state AW bans that were passed prior to the federal ban (those in
       California, New Jersey, Hawaii, Connecticut, and Maryland) were in effect for only three months to five
       years (two years or less in most cases) before the imposition of the federal ban, after which they became
       largely redundant with the federal legislation and their effects more difficult to predict and estimate.
       96
           One might hypothesize that the firepower provided by AWs and other semiautomatics with LCMs
       emboldens some offenders to engage in aggressive behaviors that prompt more shooting incidents. On the
       other hand, these weapons might also prevent some acts of violence by intimidating adversaries, thus
       discouraging attacks or resistance. We suspect that firepower does influence perceptions, considering that
       many police departments have upgraded their weaponry in recent years – often adopting semiautomatics
       with LCMs – because their officers felt outgunned by offenders. However, hypotheses about gun types and
       offender behavior are very speculative, and, pending additional research on such issues, it seems prudent to
       focus on indicators with stronger theoretical and empirical foundations.
       97
           Revolvers, the most common type of non-semiautomatic handgun, typically hold only 5 or 6 rounds (and
       sometimes up to 9). Semiautomatic pistols, in contrast, hold ammunition in detachable magazines that,
       prior to the ban, typically held 5 to 17 bullets and sometimes upwards of 30 (Murtz et al., 1994).

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               The impact of this trend is debatable. Although the gun homicide rate rose
       considerably during the late 1980s and early 1990s (Bureau of Justice Statistics, 1994, p.
       13), the percentage of violent gun crimes resulting in death was declining (see Figure 9-1
       and the related discussion in section 9.3). Similarly, the percentage of victims killed or
       wounded in handgun discharge incidents declined from 27% during the 1979-1987 period
       to 25% for the 1987-1992 period (calculated from Rand, 1990, p. 5; 1994, p. 2) as
       semiautomatics were becoming more common crime weapons.98 On the other hand, an
       increasing percentage of gunshot victims died from 1992 to 1995 according to hospital
       data (Cherry et al., 1998), a trend that could have been caused in part by a higher number
       of gunshot victims with multiple wounds (also see McGonigal et al., 1993). Most
       notably, the case fatality rate for assaultive gunshot cases involving 15 to 24-year-old
       males rose from 15.9% in late 1993 to 17.5% in early 1995 (p. 56).



                      Figure 9-1. Percentage of Violent Gun Crimes Resulting in
                                      Death (National), 1982-2002

      3.5




        3




      2.5




        2




      1.5
            1982 1983 1984 1985 1986 1987 1988 1989 1990 1991 1992 1993 1994 1995 1996 1997 1998 1999 2000 2001 2002


            Based on gun homicides, gun robberies, and gun assaults reported in the Uniform Crime Reports and Supplemental Homicide Reports.




       98
          A related point is that there was a general upward trend in the average number of shots fired by
       offenders in gunfights with New York City police from the late 1980s through 1992 (calculated from
       Goehl, 1993, p. 51). However, the average was no higher during this time than during many years of the
       early 1980s and 1970s.

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              Some researchers have inferred links between the growing use of semiautomatics
       in crime and the rise of both gun homicides and bystander shootings in a number of cities
       during the late 1980s and early 1990s (Block and Block, 1993; McGonigal et al., 1993;
       Sherman et al., 1989; Webster et al., 1992). A study in Washington, DC, for example,
       reported increases in wounds per gunshot victim and gunshot patient mortality during the
       1980s that coincided with a reported increase in the percentage of crime guns that were
       semiautomatics (Webster et al., 1992).

               Nevertheless, changes in offender behavior, coupled with other changes in crime
       guns (e.g., growing use of large caliber handguns – see Caruso et al., 1999; Koper, 1995;
       1997; Wintemute, 1996), may have been key factors driving such trends. Washington,
       DC, for example, was experiencing an exploding crack epidemic at the time of the
       aforementioned study, and this may have raised the percentage of gun attacks in which
       offenders had a clear intention to injure or kill their victims. Moreover, studies that
       attempted to make more explicit links between the use of semiautomatic firearms and
       trends in lethal gun violence via time series analysis failed to produce convincing
       evidence of such links (Koper, 1995; 1997). However, none of the preceding research
       related specific trends in the use of AWs or LCMs to trends in lethal gun violence.


       9.2. Shots Fired in Gun Attacks and the Effects of Weaponry on Attack Outcomes

               The evidence most directly relevant to the potential of the AW-LCM ban to
       reduce gun deaths and injuries comes from studies examining shots fired in gun attacks
       and/or the outcomes of attacks involving different types of guns. Unfortunately, such
       evidence is very sparse.

               As a general point, the faster firing rate and larger ammunition capacities of
       semiautomatics, especially those equipped with LCMs, have the potential to affect the
       outcomes of many gun attacks because gun offenders are not particularly good shooters.
       Offenders wounded their victims in no more than 29% of gunfire incidents according to
       national, pre-ban estimates (computed from Rand, 1994, p. 2; also see estimates
       presented later in this chapter). Similarly, a study of handgun assaults in one city
       revealed a 31% hit rate per shot, based on the sum totals of all shots fired and wounds
       inflicted (Reedy and Koper, 2003, p. 154). Other studies have yielded hit rates per shot
       ranging from 8% in gunfights with police (Goehl, 1993, p. 8) to 50% in mass murders
       (Kleck, 1997, p. 144). Even police officers, who are presumably certified and regularly
       re-certified as proficient marksman and who are almost certainly better shooters than are
       average gun offenders, hit their targets with only 22% to 39% of their shots (Kleck, 1991,
       p. 163; Goehl, 1993). Therefore, the ability to deliver more shots rapidly should raise the
       likelihood that offenders hit their targets, not to mention innocent bystanders.99

       99
          However, some argue that this capability is offset to some degree by the effects of recoil on shooter aim,
       the limited number of shots fired in most criminal attacks (see below), and the fact that criminals using
       non-semiautomatics or semiautomatics with small magazines usually have the time and ability to deliver
       multiple shots if desired (Kleck, 1991, pp. 78-79).

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                A few studies have compared attacks with semiautomatics, sometimes specifically
       those with LCMs (including AWs), to other gun assaults in terms of shots fired, persons
       hit, and wounds inflicted (see Tables 9-1 and 9-2). The most comprehensive of these
       studies examined police reports of attacks with semiautomatic pistols and revolvers in
       Jersey City, New Jersey from 1992 through 1996 (Reedy and Koper, 2003), finding that
       use of pistols resulted in more shots fired and higher numbers of gunshot victims (Table
       9-1), though not more gunshot wounds per victim (Table 9-2).100 Results implied there
       would have been 9.4% fewer gunshot victims overall had semiautomatics not been used
       in any of the attacks. Similarly, studies of gun murders in Philadelphia (see McGonigal
       et al., 1993 in Table 9-1) and a number of smaller cities in Pennsylvania, Ohio, and Iowa
       (see Richmond et al., 2003 in Table 9-2) found that attacks with semiautomatics resulted
       in more shots fired and gunshot wounds per victim. An exception is that the differential
       in shots fired between pistol and revolver cases in Philadelphia during 1990 did not exist
       for cases that occurred in 1985, when semiautomatics and revolvers had been fired an
       average of 1.6 and 1.9 times, respectively. It is not clear whether the increase in shots
       fired for pistol cases from 1985 to 1990 was due to changes in offender behavior, changes
       in the design or quality of pistols (especially an increase in the use of models with LCMs
       – see Wintemute, 1996), the larger sample for 1990, or other factors.




       100
           But unlike other studies that have examined wounds per victim (see Table 9-2), this study relied on
       police reports of wounds inflicted rather than medical reports, which are likely to be more accurate.

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       Table 9-1. Shots Fired and Victims Hit in Gunfire Attacks By Type of Gun and
       Magazine
       Data Source                   Measure       Outcome

       Gun attacks with                              Shots Fired          Avg. = 3.2 – 3.7 (n=165 pistol cases) *
       semiautomatic pistols and
       revolvers, Jersey City, 1992-                                      Avg. = 2.3 – 2.6 (n=71 revolver cases) *
       1996 a

       Gun homicides with                            Shots Fired          Avg. = 1.6 (n=21 pistol cases, 1985)
       semiautomatic pistols and                                          Avg. = 1.9 (n=57 revolver cases, 1985)
       revolvers, Philadelphia, 1985
       and 1990 b                                                         Avg. = 2.7 (n=95 pistol cases, 1990)
                                                                          Avg. = 2.1 (n=108 revolver cases, 1990)

       Gun attacks with                              Victims Hit          Avg. = 1.15 (n=95 pistol cases) *
       semiautomatic pistols and
       revolvers, Jersey City, 1992-                                      Avg. = 1.0 (n=40 revolver cases) *
       1996 a

       Mass shootings with AWs,                     Victims Hit           Avg. = 29 (n=6 AW/LCM cases)
       semiautomatics having LCMs,
       or other guns, 6+ dead or 12+                                      Avg. = 13 (n=9 non-AW/LCM cases)
       shot, United States,
       1984-1993 c
       Self-reported gunfire attacks                % of Attacks 19.5% (n=72 AW or machine gun cases)
       by state prisoners with AWs,                 With Victims
       other semiautomatics, and non-               Hit          22.3% (n=419 non-AW, semiautomatic
       semiautomatic firearms,                                   cases)
       United States, 1997 or earlier d
                                                                          23.3% (n=608 non-AW, non-
                                                                          semiautomatic cases)
       a. Reedy and Koper (2003)
       b. McGonigal et al. (1993)
       c. Figures calculated by Koper and Roth (2001a) based on data presented by Kleck (1997, p. 144)
       d. Calculated from Harlow (2001, p. 11). (Sample sizes are based on unpublished information provided
       by the author of the survey report.)
       * Pistol/revolver differences statistically significant at p<.05 (only Reedy and Koper [2003] and Harlow
       [2001] tested for statistically significant differences). The shots fired ranges in Reedy and Koper are based
       on minimum and maximum estimates.




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       Table 9-2. Gunshot Wounds Per Victim By Type of Gun and Magazine
       Data Source                  Measure Outcome

       Gun attacks with semiautomatic                  Gunshot Avg. = 1.4 (n=107 pistol victims)
       pistols and revolvers, Jersey                   Wounds
       City, 1992-1996 a                                       Avg. = 1.5 (n=40 revolver victims)

       Gun homicides with                              Gunshot Avg. = 4.5 total (n=212 pistol victims)*
       semiautomatic pistols and                       Wounds Avg. = 2.9 entry
       revolvers, Iowa City (IA),
       Youngstown (OH), and                                           Avg. = 2.0 total (n=63 revolver victims)*
       Bethlehem (PA), 1994-1998 b                                    Avg. = 1.5 entry

       Gun homicides with assault                      Gunshot Avg. = 3.23 (n=30 LCM victims) **
       weapons (AWs), guns having                      Wounds Avg. = 3.14 (n=7 AW victims)
       large capacity magazines
       (LCMs), and other firearms,                                    Avg. = 2.08 (n=102 non-AW/LCM victims)**
       Milwaukee, 1992-1995 c

       a. Reedy and Koper (2003)
       b. Richmond et al. (2003)
       c. Roth and Koper (1997, Chapter 6)
       * Pistol/revolver differences statistically significant at p<.01.
       ** The basic comparison between LCM victims and non-AW/LCM victims was moderately significant
       (p<.10) with a one-tailed test. Regression results (with a slightly modified sample) revealed a difference
       significant at p=.05 (two-tailed test). Note that the non-LCM group included a few cases involving non-
       banned LCMs (.22 caliber attached tubular devices).



               Also, a national survey of state prisoners found that, contrary to expectations,
       offenders who reported firing on victims with AWs and other semiautomatics were no
       more likely to report having killed or injured victims than were other gun offenders who
       reported firing on victims (Table 9-1). However, the measurement of guns used and
       attack outcomes were arguably less precise in this study, which was based on offender
       self-reports, than in other studies utilizing police and medical reports.101

               Attacks with AWs or other guns with LCMs may be particularly lethal and
       injurious, based on very limited evidence. In mass shooting incidents (defined as those in
       which at least 6 persons were killed or at least 12 were wounded) that occurred during the
       decade preceding the ban, offenders using AWs and other semiautomatics with LCMs
       (sometimes in addition to other guns) claimed an average of 29 victims in comparison to
       an average of 13 victims for other cases (Table 9-1). (But also see the study discussed in
       the preceding paragraph in regards to victims hit in AW cases.)

               Further, a study of Milwaukee homicide victims from 1992 through 1995 revealed
       that those killed with AWs were shot 3.14 times on average, while those killed with any

       101
             See the discussion of self-reports and AW use in Chapter 3.

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       gun having an LCM were shot 3.23 times on average (Table 9-2). In contrast, victims
       shot with guns having small magazines had only 2.1 wounds on average. If such a
       wound differential can be generalized to other gun attacks – if, that is, both fatal and non-
       fatal LCM gunshot victims are generally hit one or more extra times – then LCM use
       could have a considerable effect on the number of gunshot victims who die. To illustrate,
       the fatality rate among gunshot victims in Jersey City during the 1990s was 63% higher
       for those shot twice than for those shot once (26% to 16%) (Koper and Roth, 2001a;
       2001b). Likewise, fatality rates are 61% higher for patients with multiple chest wounds
       than for patients with a single chest wound (49% to 30.5%), based on a Washington, DC
       study (Webster et al., 1992, p. 696).

               Similar conclusions can also be inferred indirectly from the types of crimes
       involving LCM guns. To illustrate, handguns associated with gunshot victimizations in
       Baltimore (see the description of the Baltimore gun and magazine data in the preceding
       chapter) are 20% to 50% more likely to have LCMs than are handguns associated with
       other violent crimes, controlling for weapon caliber (Table 9-3). This difference may be
       due to higher numbers of shots and hits in crimes committed with LCMs, although it is
       also possible that offenders using LCMs are more likely to fire on victims. But
       controlling for gunfire, guns used in shootings are 17% to 26% more likely to have LCMs
       than guns used in gunfire cases resulting in no wounded victims (perhaps reflecting
       higher numbers of shots fired and victims hit in LCM cases), and guns linked to murders
       are 8% to 17% more likely to have LCMs than guns linked to non-fatal gunshot
       victimizations (perhaps indicating higher numbers of shots fired and wounds per victim
       in LCM cases).102 These differences are not all statistically significant, but the pattern is
       consistent. And as discussed in Chapter 3, AWs account for a larger share of guns used
       in mass murders and murders of police, crimes for which weapons with greater firepower
       would seem particularly useful.




       102
           Cases with and without gunfire and gunshot victims were approximated based on offense codes
       contained in the gun seizure data (some gunfire cases not resulting in wounded victims may not have been
       identified as such, and it is possible that some homicides were not committed with the guns recovered
       during the investigations). In order to control for caliber effects, we focused on 9mm and .38 caliber
       handguns. Over 80% of the LCM handguns linked to violent crimes were 9mm handguns. Since all (or
       virtually all) 9mm handguns are semiautomatics, we also selected .38 caliber guns, which are close to 9mm
       in size and consist almost entirely of revolvers and derringers.
                 The disproportionate involvement of LCM handguns in injury and death cases is greatest in the
       comparisons including both 9mm and .38 caliber handguns. This may reflect a greater differential in
       average ammunition capacity between LCM handguns and revolvers/derringers than between LCM
       handguns and other semiautomatics. The differential in fatal and non-fatal gunshot victims may also be
       due to caliber effects; 9mm is generally a more powerful caliber than .38 based on measures like kinetic
       energy or relative stopping power (e.g., see DiMaio, 1985, p. 140; Warner 1995, p. 223; Wintemute, 1996,
       p. 1751).

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       Table 9-3. Probabilities That Handguns Associated With Murders, Non-Fatal
       Shootings, and Other Violent Crimes Were Equipped With Large Capacity
       Magazines in Baltimore, 1993-2000

       Handgun Sample                                                           % With                  % Difference
                                                                                 LCM                  (#2 Relative to #1)


       A. Handguns Used in Violent Crimes With
       and Without Gunshot Injury

       1) 9mm and .38: violence, no gunshot victims                              23.21%
       2) 9mm and .38: violence with gunshot                                     34.87%                        50%*
       victims

       1) 9mm: violence, no gunshot victims                                      52.92%
       2) 9mm: violence with gunshot victims                                     63.24%                        20%*


       B. Handguns Used in Gunfire Cases With
       and Without Gunshot Injury

       1) 9mm and .38: gunfire, no gunshot victims                               27.66%
       2) 9mm and .38: gunfire with gunshot victims                              34.87%                         26%

       1) 9mm: gunfire, no gunshot victims                                       54.17%
       2) 9mm: gunfire with gunshot victims                                      63.24%                         17%


       C. Handguns Used in Fatal Versus Non-
       Fatal Gunshot Victimizations

       1) 9mm and .38: non-fatal gunshot victims                                 32.58%
       2) 9mm and .38: homicides                                                 38.18%                         17%

       1) 9mm: non-fatal gunshot victims                                         61.14%
       2) 9mm: homicides                                                         66.04%                          8%
       * Statistically significant difference at p<.01 (chi-square).




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                The findings of the preceding studies are subject to numerous caveats. There
       were few if any attempts to control for characteristics of the actors or situations that
       might have influenced weapon choices and/or attack outcomes.103 Weapons data were
       typically missing for substantial percentages of cases. Further, many of the comparisons
       in the tables were not tested for statistical significance (see the notes to Tables 9-1 and 9-
       2).104

               Tentatively, nonetheless, the evidence suggests more often than not that attacks
       with semiautomatics, particularly those equipped with LCMs, result in more shots fired,
       leading to both more injuries and injuries of greater severity. Perhaps the faster firing
       rate and larger ammunition capacities afforded by these weapons prompt some offenders
       to fire more frequently (i.e., encouraging what some police and military persons refer to
       as a “spray and pray” mentality). But this still begs the question of whether a 10-round
       limit on magazine capacity will affect the outcomes of enough gun attacks to measurably
       reduce gun injuries and deaths.




       103
            In terms of offender characteristics, recall from Chapter 3 that AP buyers are more likely than other gun
       buyers to have criminal histories and commit subsequent crimes. This does not seem to apply, however, to
       the broader class of semiautomatic users: handgun buyers with and without criminal histories tend to buy
       pistols in virtually the same proportions (Wintemute et al., 1998b), and youthful gun offenders using pistols
       and revolvers have very comparable criminal histories (Sheley and Wright, 1993b, p. 381). Further,
       semiautomatic users, including many of those using AWs, show no greater propensity to shoot at victims
       than do other gun offenders (Harlow, 2001, p. 11; Reedy and Koper, 2003). Other potential confounders to
       the comparisons in Tables 9-1 and 9-2 might include shooter age and skill, the nature of the circumstances
       (e.g., whether the shooting was an execution-style shooting), the health of the victim(s), the type of location
       (e.g., indoor or outdoor location), the distance between the shooter and intended victim(s), the presence of
       multiple persons who could have been shot intentionally or accidentally (as bystanders), and (in the mass
       shooting incidents) the use of multiple firearms.
       104
            Tables 9-1 and 9-2 present the strongest evidence from the available studies. However, there are
       additional findings from these studies and others that, while weaker, are relevant. Based on gun model
       information available for a subset of cases in the Jersey City study, there were 12 gunfire cases involving
       guns manufactured with LCMs before the ban (7 of which resulted in wounded victims) and 94 gunfire
       cases involving revolvers or semiautomatic models without LCMs. Comparisons of these cases produced
       results similar to those of the main analysis: shot fired estimates ranged from 2.83 to 3.25 for the LCM
       cases and 2.22 to 2.6 for the non-LCM cases; 1.14 victims were wounded on average in the LCM gunshot
       cases and 1.06 in the non-LCM gunshot cases; and LCM gunshot victims had 1.14 wound on average,
       which, contrary to expectations, was less than the 1.47 average for other gunshot victims.
                  The compilation of mass shooting incidents cited in Table 9-1 had tentative shots fired estimates
       for 3 of the AW-LCM cases and 4 of the other cases. The AW-LCM cases averaged 93 shots per incident,
       a figure two and a half times greater than the 36.5 shot average for the other cases.
                  Finally, another study of firearm mass murders found that the average number of victims killed
       (tallies did not include others wounded) was 6 in AW cases and 4.5 in other cases (Roth and Koper, 1997,
       Appendix A). Only 2 of the 52 cases studied clearly involved AWs (or very similar guns). However, the
       make and model of the firearm were available for only eight cases, so additional incidents may have
       involved LCMs; in fact, at least 35% of the cases involved unidentified semiautomatics. (For those cases in
       which at least the gun type and firing action were known, semiautomatics outnumbered non-
       semiautomatics by 6 to 1, perhaps suggesting that semiautomatics are used disproportionately in mass
       murders.)

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       9.2.1. Will a 10-Round Magazine Limit Reduce Gunshot Victimizations?

                Specific data on shots fired in gun attacks are quite fragmentary and often inferred
       indirectly, but they suggest that relatively few attacks involve more than 10 shots fired.105
       Based on national data compiled by the FBI, for example, there were only about 19 gun
       murder incidents a year involving four or more victims from 1976 through 1995 (for a
       total of 375) (Fox and Levin, 1998, p. 435) and only about one a year involving six or
       more victims from 1976 through 1992 (for a total of 17) (Kleck, 1997, p. 126). Similarly,
       gun murder victims are shot two to three times on average according to a number of
       sources (see Table 9-2 and Koper and Roth, 2001a), and a study at a Washington, DC
       trauma center reported that only 8% of all gunshot victims treated from 1988 through
       1990 had five or more wounds (Webster et al., 1992, p. 696).

               However, counts of victims hit or wounds inflicted provide only a lower bound
       estimate of the number of shots fired in an attack, which could be considerably higher in
       light of the low hit rates in gunfire incidents (see above).106 The few available studies on
       shots fired show that assailants fire less than four shots on average (see sources in Table
       9-1 and Goehl, 1993), a number well within the 10-round magazine limit imposed by the
       AW-LCM ban, but these studies have not usually presented the full distribution of shots
       fired for all cases, so it is usually unclear how many cases, if any, involved more than 10
       shots.

               An exception is the aforementioned study of handgun murders and assaults in
       Jersey City (Reedy and Koper, 2003). Focusing on cases for which at least the type of
       handgun (semiautomatic, revolver, derringer) could be determined, 2.5% of the gunfire
       cases involved more than 10 shots.107 These incidents – all of which involved pistols –
       had a 100% injury rate and accounted for 4.7% of all gunshot victims in the sample (see
       Figure 9-2). Offenders fired a total of 83 shots in these cases, wounding 7 victims, only 1
       of whom was wounded more than once. Overall, therefore, attackers fired over 8 shots


       105
           Although the focus of the discussion is on attacks with more than 10 shots fired, a gun user with a post-
       ban 10-round magazine can attain a firing capacity of 11 shots with many semiautomatics by loading one
       bullet into the chamber before loading the magazine.
       106
           As a dramatic example, consider the heavily publicized case of Amadou Diallo, who was shot to death
       by four New York City police officers just a few years ago. The officers in this case fired upon Diallo 41
       times but hit him with only 19 shots (a 46% hit rate), despite his being confined in a vestibule. Two of the
       officers reportedly fired until they had emptied their 16-round magazines, a reaction that may not be
       uncommon in such high-stress situations. In official statistics, this case will appear as having only one
       victim.
       107
           The shots fired estimates were based on reported gunshot injuries, physical evidence (for example, shell
       casings found at the scene), and the accounts of witnesses and actors. The 2.5% figure is based on
       minimum estimates of shots fired. Using maximum estimates, 3% of the gunfire incidents involved more
       than 10 shots (Reedy and Koper, 2003, p. 154).
                 A caveat to these figures is that the federal LCM ban was in effect for much of the study period
       (which spanned January 1992 to November 1996), and a New Jersey ban on magazines with more than 15
       rounds predated the study period. It is thus conceivable that these laws reduced attacks with LCM guns and
       attacks with more than 10 shots fired, though it seems unlikely that the federal ban had any such effect (see
       the analyses of LCM use presented in the previous chapter). Approximately 1% of the gunfire incidents
       involved more than 15 shots.

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       for every wound inflicted, suggesting that perhaps fewer persons would have been
       wounded had the offenders not been able to fire as often.108



                        Figure 9-2. Attacks With More Than 10 Shots Fired

                                  Jersey City Handgun Attacks, 1992-1996
                           •     2.5% - 3% of gunfire incidents involved 11+ shots
                                      –    3.6% - 4.2% of semiauto pistol attacks
                           •     100% injury rate
                           •     Produced 4.7% of all gunshot wound victims
                           •     8.3 shots per gunshot wound

                 Based on data reported by Reedy and Koper (2003). Injury statistics based on the 2.5% of cases
                 involving 11+ shots by minimum estimate.



               Caution is warranted in generalizing from these results because they are based on
       a very small number of incidents (6) from one sample in one city. Further, it is not
       known if the offenders in these cases had LCMs (gun model and magazine information
       was very limited); they may have emptied small magazines, reloaded, and continued
       firing. But subject to these caveats, the findings suggest that the ability to deliver more
       than 10 shots without reloading may be instrumental in a small but non-trivial percentage
       of gunshot victimizations.

                On the other hand, the Jersey City study also implies that eliminating AWs and
       LCMs might only reduce gunshot victimizations by up to 5%. And even this estimate is
       probably overly optimistic because the LCM ban cannot be expected to prevent all
       incidents with more than 10 shots. Consequently, any effects from the ban (should it be
       extended) are likely to be smaller and perhaps quite difficult to detect with standard
       statistical methods (see Koper and Roth, 2001a), especially in the near future, if recent
       patterns of LCM use continue.


       9.3. Post-Ban Trends in Lethal and Injurious Gun Violence

               Having established some basis for believing the AW-LCM ban could have at least
       a small effect on lethal and injurious gun violence, is there any evidence of such an effect
       to date? Gun homicides plummeted from approximately 16,300 in 1994 to 10,100 in
       1999, a reduction of about 38% (see the Federal Bureau of Investigation’s Uniform Crime

       108
          These figures are based on a supplemental analysis not contained in the published study. We thank
       Darin Reedy for this analysis.

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       Reports). Likewise, non-fatal, assaultive gunshot injuries treated in hospitals nationwide
       declined one-third, from about 68,400 to under 46,400, between 1994 and 1998 (Gotsch
       et al., 2001, pp. 23-24). Experts believe numerous factors contributed to the recent drop
       in these and other crimes, including changing drug markets, a strong economy, better
       policing, and higher incarceration rates, among others (Blumstein and Wallman, 2000).
       Attributing the decline in gun murders and shootings to the AW-LCM ban is problematic,
       however, considering that crimes with LCMs appear to have been steady or rising since
       the ban. For this reason, we do not undertake a rigorous investigation of the ban’s effects
       on gun violence.109

               But a more casual assessment shows that gun crimes since the ban have been no
       less likely to cause death or injury than those before the ban, contrary to what we might
       expect if crimes with AWs and LCMs had both declined. For instance, the percentage of
       violent gun crimes resulting in death has been very stable since 1990 according to
       national statistics on crimes reported to police (see Figure 9-1 in section 9.1).110 In fact,
       the percentage of gun crimes resulting in death during 2001 and 2002 (2.94%) was
       slightly higher than that during 1992 and 1993 (2.9%).

                Similarly, neither medical nor criminological data sources have shown any post-
       ban reduction in the percentage of crime-related gunshot victims who die. If anything,
       this percentage has been higher since the ban, a pattern that could be linked in part to
       more multiple wound victimizations stemming from elevated levels of LCM use.
       According to medical examiners’ reports and hospitalization estimates, about 20% of
       gunshot victims died nationwide in 1993 (Gotsch et al., 2001). This figure rose to 23% in
       1996, before declining to 21% in 1998 (Figure 9-3).111 Estimates derived from the
       Uniform Crime Reports and the Bureau of Justice Statistics’ annual National Crime
       Victimization Survey follow a similar pattern from 1992 to 1999 (although the ratio of
       fatal to non-fatal cases is much higher in these data than that in the medical data) and also
       show a considerable increase in the percentage of gunshot victims who died in 2000 and
       2001 (Figure 9-3).112 Of course, changes in offender behavior or other changes in crime
       109
           In our prior study (Koper and Roth 2001a; Roth and Koper, 1997, Chapter 6), we estimated that gun
       murders were about 7% lower than expected in 1995 (the first year after the ban), adjusting for pre-existing
       trends. However, the very limited post-ban data available for that study precluded a definitive judgment as
       to whether this drop was statistically meaningful (see especially Koper and Roth, 2001a). Furthermore,
       that analysis was based on the assumption that crimes with both AWs and LCMs had dropped in the short-
       term aftermath of the ban, an assumption called into question by the findings of this study. It is now more
       difficult to credit the ban with any of the drop in gun murders in 1995 or anytime since. We did not update
       the gun murder analysis because interpreting the results would be unavoidably ambiguous. Such an
       investigation will be more productive after demonstrating that the ban has reduced crimes with both AWs
       and LCMs.
       110
           The decline in this figure during the 1980s was likely due in part to changes in police reporting of
       aggravated assaults in recent decades (Blumstein, 2000). The ratio of gun murders to gun robberies rose
       during the 1980s, then declined and remained relatively flat during the 1990s.
       111
           Combining homicide data from 1999 with non-fatal gunshot estimates for 2000 suggests that about 20%
       of gunshot victimizations resulted in death during 1999 and 2000 (Simon et al., 2002).
       112
           The SHR/NCVS estimates should be interpreted cautiously because the NCVS appears to undercount
       non-fatal gunshot wound cases by as much as two-thirds relative to police data, most likely because it fails
       to represent adequately the types of people most likely to be victims of serious crime (i.e., young urban
       males who engage in deviant lifestyles) (Cook, 1985). Indeed, the rate of death among gunshot victims

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       weaponry (such as an increase in shootings with large caliber handguns) may have
       influenced these trends. Yet is worth noting that multiple wound shootings were elevated
       over pre-ban levels during 1995 and 1996 in four of five localities examined during our
       first AW study, though most of the differences were not statistically significant (Table 9-
       4, panels B through E).

               Another potential indicator of ban effects is the percentage of gunfire incidents
       resulting in fatal or non-fatal gunshot victimizations. If attacks with AWs and LCMs result
       in more shots fired and victims hit than attacks with other guns and magazines, we might
       expect a decline in crimes with AWs and LCMs to reduce the share of gunfire incidents
       resulting in victims wounded or killed. Measured nationally with UCR and NCVS data,
       this indicator was relatively stable at around 30% from 1992 to 1997, before rising to about
       40% from 1998 through 2000 (Figure 9-4).113 Along similar lines, multiple victim gun
       homicides remained at relatively high levels through at least 1998, based on the national
       average of victims killed per gun murder incident (Table 9-4, panel A).114




       appears much higher in the SHR/NCVS series than in data compiled from medical examiners and hospitals
       (see the CDC series in Figure 9-3). But if these biases are relatively consistent over time, the data may still
       provide useful insights into trends over time.
       113
           The NCVS estimates are based on a compilation of 1992-2002 data recently produced by the Inter-
       University Consortium for Political and Social Research (ICPSR study 3691). In 2002, only 9% of non-
       fatal gunfire incidents resulted in gunshot victimizations. This implies a hit rate for 2002 that was below
       pre-ban levels, even after incorporating gun homicide cases into the estimate. However, the 2002 NCVS
       estimate deviates quite substantially from earlier years, for which the average hit rate in non-fatal gunfire
       incidents was 24% (and the estimate for 2001 was 20%). Therefore, we did not include the 2002 data in
       our analysis. We used two-year averages in Figures 9-3 and 9-4 because the annual NCVS estimates are
       based on very small samples of gunfire incidents. The 2002 sample was especially small, so it seems
       prudent to wait for more data to become available before drawing conclusions about hit rates since 2001.
       114
           We thank David Huffer for this analysis.

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                          Figure 9-3. Percentage of Gunshot Victimizations Resulting in Death
                                                 (National), 1992-2001
          50




          40



          30



          20



          10



           0
                   1992         1993         1994        1995         1996         1997         1998        1999         2000         2001

                                                                    CDC            SHR/NCVS

               SHR/NCVS series based on two-year averages from the Supplemental Homicide Reports and National Crime Victimization Survey. CDC
               series based on homicide and hospitalization data from the Centers for Disease Control (reported by Gotsch et al. 2001).




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       Table 9-4. Short-Term, Post-Ban Changes in the Lethality and Injuriousness of
       Gun Violence: National and Local Indicators, 1994-1998 a

            Measure and                     Pre-Ban Period                      Post-Ban Period                    Change
             Location

        A. Victims Per Gun               Jan. 1986-Sept. 1994                Oct. 1994-Dec. 1998
        Homicide Incident                        1.05                                1.06                            1%**
        (National)                           (N=106,668)                          (N=47,511)


        B. Wounds per                    Jan. 1992-Aug. 1994                 Sept. 1994-Dec. 1995
        Gun Homicide                             2.28                                 2.52                            11%
        Victim: Milwaukee                      (N=282)                              (N=136)
        County


        C. Wounds Per                    Jan. 1992-Aug. 1994                 Sept. 1994-Jun. 1996
        Gun Homicide                             2.08                                2.46                             18%
        Victim: Seattle                        (N=184)                              (N=91)
        (King County)


        D. Wounds Per                      Jan. 1992-Aug. 94                 Sept. 1994-Jun. 1996
        Gunshot Victim:                           1.42                               1.39                             -2%
        Jersey City (NJ)                        (N=125)                            (N=137)


        E. % of Gun                      Jan. 1992-Aug. 1994                 Sept. 1994-Jun. 1996
        Homicide Victims                         41%                                 43%                              5%
        With Multiple                          (N=445)                             (N=223)
        Wounds: San
        Diego County


        F. % of Non-Fatal                Jan. 1992-Aug. 1994                 Sept. 1994-Dec. 1995
        Gunshot Victims                          18%                                  24%                            33%*
        With Multiple                          (N=584)                              (N=244)
        Wounds: Boston

       a. National victims per incident figures based on unpublished update of analysis reported in Roth and
       Koper (1997, Chapter 5). Gunshot wound data are taken from Roth and Koper (1997, Chapter 6) and
       Koper and Roth (2001a). Wound data are based on medical examiners’ reports (Milwaukee, Seattle, San
       Diego), hospitalization data (Boston), and police reports (Jersey City).
       * Chi-square p level < .1.
       ** T-test p level < .01.



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               If anything, therefore, gun attacks appear to have been more lethal and injurious
       since the ban. Perhaps elevated LCM use has contributed to this pattern. But if this is
       true, then the reverse would also be true – a reduction in crimes with LCMs, should the
       ban be extended, would reduce injuries and deaths from gun violence.


                     Figure 9-4. Percentage of Gunfire Cases Resulting in Gunshot
                                   Victimizations (National), 1992-2001

       50




       40




       30




       20




       10




        0
                    1992-1993                   1994-1995                   1996-1997                  1998-1999         2000-2001

            Based on two-year averages from the Supplemental Homicide Reports and National Crime Victimization Survey.




       9.4. Summary

               Although the ban has been successful in reducing crimes with AWs, any benefits
       from this reduction are likely to have been outweighed by steady or rising use of non-
       banned semiautomatics with LCMs, which are used in crime much more frequently than
       AWs. Therefore, we cannot clearly credit the ban with any of the nation’s recent drop in
       gun violence. And, indeed, there has been no discernible reduction in the lethality and
       injuriousness of gun violence, based on indicators like the percentage of gun crimes
       resulting in death or the share of gunfire incidents resulting in injury, as we might have
       expected had the ban reduced crimes with both AWs and LCMs.

               However, the grandfathering provision of the AW-LCM ban guaranteed that the
       effects of this law would occur only gradually over time. Those effects are still unfolding
       and may not be fully felt for several years into the future, particularly if foreign, pre-ban
       LCMs continue to be imported into the U.S. in large numbers. It is thus premature to
       make definitive assessments of the ban’s impact on gun violence.


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              Having said this, the ban’s impact on gun violence is likely to be small at best,
       and perhaps too small for reliable measurement. AWs were used in no more than 8% of
       gun crimes even before the ban. Guns with LCMs are used in up to a quarter of gun
       crimes, but it is not clear how often the outcomes of gun attacks depend on the ability to
       fire more than 10 shots (the current limit on magazine capacity) without reloading.

                Nonetheless, reducing crimes with AWs and especially LCMs could have non-
       trivial effects on gunshot victimizations. As a general matter, hit rates tend to be low in
       gunfire incidents, so having more shots to fire rapidly can increase the likelihood that
       offenders hit their targets, and perhaps bystanders as well. While not entirely consistent,
       the few available studies contrasting attacks with different types of guns and magazines
       generally suggest that attacks with semiautomatics – including AWs and other
       semiautomatics with LCMs – result in more shots fired, persons wounded, and wounds
       per victim than do other gun attacks. Further, a study of handgun attacks in one city
       found that about 3% of gunfire incidents involved more than 10 shots fired, and those
       cases accounted for nearly 5% of gunshot victims. However, the evidence on these
       matters is too limited (both in volume and quality) to make firm projections of the ban’s
       impact, should it be reauthorized.




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       10. LOOKING TO THE FUTURE: RESEARCH RECOMMENDATIONS AND
       SPECULATION ABOUT THE CONSEQUENCES OF REAUTHORIZING,
       MODIFYING, OR LIFTING THE ASSAULT WEAPONS BAN


               In this chapter, we discuss future lines of inquiry that would be informative
       whether or not the AW-LCM ban is renewed in September 2004. We then offer some
       brief thoughts about the possible consequences of reauthorizing the ban, modifying it, or
       allowing it to expire.


       10.1. Research Recommendations and Data Requirements

       10.1.1. An Agenda for Assault Weapons Research and Recommendations for Data
       Collection by Law Enforcement

              The effects of the AW-LCM ban have yet to be fully realized; therefore, we
       recommend continued study of trends in the availability and criminal use of AWs and
       LCMs. Even if the ban is lifted, longer-term study of crimes with AWs and LCMs will
       inform future assessment of the consequences of these policy shifts and improve
       understanding of the responses of gun markets to gun legislation more generally.115

              Developing better data on crimes with LCMs is especially important. To this end,
       we urge police departments and their affiliated crime labs to record information about
       magazines recovered with crime guns. Further, we recommend that ATF integrate
       ammunition magazine data into its national gun tracing system and encourage reporting
       of magazine data by police departments that trace firearms.

               As better data on LCM use become available, more research is warranted on the
       impacts of AW and LCM trends (which may go up or down depending on the ban’s fate)
       on gun murders and shootings, as well as levels of death and injury per gun crime.
       Indicators of the latter, such as victims per gunfire incident and wounds per gunshot
       victim, are useful complementary outcome measures because they reflect the mechanisms
       through which use of AWs and LCMs is hypothesized to affect gun deaths and
       injuries.116 Other potentially promising lines of inquiry might relate AW and LCM use to
       mass murders and murders of police, crimes that are very rare but appear more likely to
       involve AWs (and perhaps LCMs) and to disproportionately affect public perceptions.117

       115
           Establishing time series data on primary and secondary market prices and production or importation of
       various guns and magazines of policy interest could provide benefits for policy researchers. Like similar
       statistical series maintained for illegal drugs, such price and production series would be valuable
       instruments for monitoring effects of policy changes and other influences on markets for various weapons.
       116
           However, more research is needed on the full range of factors that cause variation in these indicators
       over time and between places.
       117
           Studying these crimes poses a number of challenges, including modeling of rare events, establishing the
       reliability and validity of methods for measuring the frequency and characteristics of mass murders (such as
       through media searchers; see Duwe, 2000, Roth and Koper, 1997, Appendix A), and controlling for factors
       like the use of bullet-proof vests by police.

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       Finally, statistical studies relating AW and LCM use to trends in gun violence should
       include statistical power analysis to ensure that estimated models have sufficient ability
       to detect small effects, an issue that has been problematic in some of our prior time series
       research on the ban (Koper and Roth, 2001a) and is applicable more generally to the
       study of modest, incremental policy changes.

               Research on aggregate trends should be complemented by more incident-based
       studies that contrast the dynamics and outcomes of attacks with different types of guns
       and magazines, while controlling for relevant characteristics of the actors and situations.
       Such studies would refine predictions of the change in gun deaths and injuries that would
       follow reductions in attacks with AWs and LCMs. For instance, how many homicides
       and injuries involving AWs and LCMs could be prevented if offenders were forced to
       substitute other guns and magazines? In what percentage of gun attacks does the ability
       to fire more than ten rounds without reloading affect the number of wounded victims or
       determine the difference between a fatal and non-fatal attack? Do other AW features
       (such as flash hiders and pistol grips on rifles) have demonstrable effects on the outcomes
       of gun attacks? Studies of gun attacks could draw upon police incident reports, forensic
       examinations of recovered guns and magazines, and medical and law enforcement data
       on wounded victims.


       10.1.2. Studying the Implementation and Market Impacts of Gun Control

               More broadly, this study reiterates the importance of examining the
       implementation of gun policies and the workings of gun markets, considerations that
       have been largely absent from prior research on gun control. Typical methods of
       evaluating gun policies involve statistical comparisons of total or gun crime rates
       between places and/or time periods with and without different gun control provisions.
       Without complimentary implementation and market measures, such studies have a “black
       box” quality and may lead to misleading conclusions. For example, a time series study of
       gun murder rates before and after the AW-LCM ban might find that the ban has not
       reduced gun murders. Yet the interpretation of such a finding would be ambiguous,
       absent market or implementation measures. Reducing attacks with AWs and LCMs may
       in fact have no more than a trivial impact on gun deaths and injuries, but any such impact
       cannot be realized or adequately assessed until the availability and use of the banned guns
       and magazines decline appreciably. Additionally, it may take many years for the effects
       of modest, incremental policy changes to be fully felt, a reality that both researchers and
       policy makers should heed. Similar implementation concerns apply to the evaluation of
       various gun control policies, ranging from gun bans to enhanced sentences for gun
       offenders.

               Our studies of the AW ban have shown that the reaction of manufacturers,
       dealers, and consumers to gun control policies can have substantial effects on demand
       and supply for affected weapons both before and after a law’s implementation. It is
       important to study these factors because they affect the timing and form of a law’s impact



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       on the availability of weapons to criminals and, by extension, the law’s impact on gun
       violence.


       10.2. Potential Consequences of Reauthorizing, Modifying, or Lifting the Assault
       Weapons Ban

       10.2.1. Potential Consequences of Reauthorizing the Ban As Is

               Should it be renewed, the ban might reduce gunshot victimizations. This effect is
       likely to be small at best and possibly too small for reliable measurement. A 5%
       reduction in gunshot victimizations is perhaps a reasonable upper bound estimate of the
       ban’s potential impact (based on the only available estimate of gunshot victimizations
       resulting from attacks in which more than 10 shots were fired), but the actual impact is
       likely to be smaller and may not be fully realized for many years into the future,
       particularly if pre-ban LCMs continue to be imported into the U.S. from abroad. Just as
       the restrictions imposed by the ban are modest – they are essentially limits on weapon
       accessories like LCMs, flash hiders, threaded barrels, and the like – so too are the
       potential benefits.118 In time, the ban may be seen as an effective prevention measure
       that stopped further spread of weaponry considered to be particularly dangerous (in a
       manner similar to federal restrictions on fully automatic weapons). But that conclusion
       will be contingent on further research validating the dangers of AWs and LCMs.


       10.2.2. Potential Consequences of Modifying the Ban

              We have not examined the specifics of legislative proposals to modify the AW
       ban. However, we offer a few general comments about the possible consequences of
       such efforts, particularly as they relate to expanding the range of the ban as some have
       advocated (Halstead, 2003, pp. 11-12).

       118
            But note that although the ban’s impact on gunshot victimizations would be small in percentage terms
       and unlikely to have much effect on the public’s fear of crime, it could conceivably prevent hundreds of
       gunshot victimizations annually and produce notable cost savings in medical care alone. To help place this
       in perspective, there were about 10,200 gun homicides and 48,600 non-fatal, assault-related shootings in
       2000 (see the FBI’s Uniform Crime Reports for the gun homicide estimate and Simon et al. [2002] for the
       estimate of non-fatal shootings). Reducing these crimes by 1% would have thus prevented 588 gunshot
       victimizations in 2000 (we assume the ban did not actually produce such benefits because the reduction in
       AW use as of 2000 was outweighed by steady or rising levels of LCM use). This may seem insubstantial
       compared to the 342,000 murders, assaults, and robberies committed with guns in 2000 (see the Uniform
       Crime Reports). Yet, gunshot victimizations are particularly costly crimes. Setting aside the less tangible
       costs of lost lives and human suffering, the lifetime medical costs of assault-related gunshot injuries (fatal
       and non-fatal) were estimated to be about $18,600 per injury in 1994 (Cook et al., 1999). Therefore, the
       lifetime costs of 588 gun homicides and shootings would be nearly $11 million in 1994 dollars (the net
       medical costs could be lower for reasons discussed by Cook and Ludwig [2000] but, on the other hand, this
       estimate does not consider other governmental and private costs that Cook and Ludwig attribute to gun
       violence). This implies that small reductions in gunshot victimizations sustained over many years could
       produce considerable long-term savings for society. We do not wish to push this point too far, however,
       considering the uncertainty regarding the ban’s potential impact.

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               Gun markets react strongly merely to debates over gun legislation. Indeed, debate
       over the AW ban’s original passage triggered spikes upwards of 50% in gun distributors’
       advertised AW prices (Roth and Koper, 1997, Chapter 4). In turn, this prompted a surge
       in AW production in 1994 (Chapter 5). Therefore, it seems likely that discussion of
       broadening the AW ban to additional firearms would raise prices and production of the
       weapons under discussion. (Such market reactions may already be underway in response
       to existing proposals to expand the ban, but we have not investigated this issue.)
       Heightened production levels could saturate the market for the weapons in question,
       depressing prices and delaying desired reductions in crimes with the weapons, as appears
       to have happened with banned ARs.

               Mandating further design changes in the outward features of semiautomatic
       weapons (e.g., banning weapons having any military-style features) may not produce
       benefits beyond those of the current ban. As noted throughout this report, the most
       important feature of military-style weapons may be their ability to accept LCMs, and this
       feature has been addressed by the LCM ban and the LCMM rifle ban. Whether changing
       other features of military-style firearms will produce measurable benefits is unknown.

              Finally, curbing importation of pre-ban LCMs should help reduce crimes with
       LCMs and possibly gunshot victimizations. Crimes with LCMs may not decline
       substantially for quite some time if millions of LCMs continue to be imported into the
       U.S.


       10.2.3. Potential Consequences of Lifting the Ban

               If the ban is lifted, it is likely that gun and magazine manufacturers will
       reintroduce AW models and LCMs, perhaps in substantial numbers.119 In addition, AWs
       grandfathered under the 1994 law may lose value and novelty, prompting some of their
       lawful owners to sell them in secondary markets, where they may reach criminal users.
       Any resulting increase in crimes with AWs and LCMs might increase gunshot
       victimizations, though this effect could be difficult to discern statistically.

              It is also possible, and perhaps probable, that new AWs and LCMs will eventually
       be used to commit mass murder. Mass murders garner much media attention, particularly
       when they involve AWs (Duwe, 2000). The notoriety likely to accompany mass murders
       if committed with AWs and LCMs, especially after these guns and magazines have been
       deregulated, could have a considerable negative impact on public perceptions, an effect
       that would almost certainly be intensified if such crimes were committed by terrorists
       operating in the U.S.



       119
          Note, however, that foreign semiautomatic rifles with military features, including the LCMM rifles and
       several rifles prohibited by the 1994 ban, would still be restricted by executive orders passed in 1989 and
       1998. Those orders stem from the sporting purposes test of the Gun Control Act of 1968.

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       Research Article
                                                                                            Justice Research and Policy
                                                                                                 2016, Vol. 17(1) 28-47

       Large-Capacity Magazines                                                                  ª The Author(s) 2016
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       and the Casualty Counts                                                       DOI: 10.1177/1525107116674926
                                                                                        journals.sagepub.com/home/jrx
       in Mass Shootings: The
       Plausibility of Linkages

       Gary Kleck1



       Abstract
       Do bans on large-capacity magazines (LCMs) for semiautomatic firearms have sig-
       nificant potential for reducing the number of deaths and injuries in mass shootings?
       The most common rationale for an effect of LCM use is that they allow mass killers to
       fire many rounds without reloading. LCMs are known to have been used in less than
       one third of 1% of mass shootings. News accounts of 23 shootings in which more than
       six people were killed or wounded and LCMs were known to have been used,
       occurring in the United States in 1994–2013, were examined. There was only one
       incident in which the shooter may have been stopped by bystander intervention when
       he tried to reload. In all of these 23 incidents, the shooter possessed either multiple
       guns or multiple magazines, meaning that the shooter, even if denied LCMs, could have
       continued firing without significant interruption by either switching loaded guns or
       changing smaller loaded magazines with only a 2- to 4-seconds delay for each magazine
       change. Finally, the data indicate that mass shooters maintain such slow rates of fire
       that the time needed to reload would not increase the time between shots and thus
       the time available for prospective victims to escape.

       Keywords
       mass shootings, gun control, large-capacity magazines




       1
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       Introduction—Mass Shootings and Large-Capacity
       Magazines (LCMs)
       There have been at least 23 shootings in which more than six victims were shot and
       one or more LCMs were known to have been used in the United States in the period
       1994–2013. One of the most common political responses to mass shootings has been
       to propose new gun control measures, commonly focusing on ‘‘assault weapons’’ and
       LCMs. LCMs are detachable ammunition magazines used in semiautomatic firearms
       that are capable of holding more than a specified number (most commonly 10 or 15)
       rounds. For example, the 1994 federal assault weapons ban prohibited both (a) certain
       kinds of guns defined as assault weapons and (b) magazines able to hold more than
       10 rounds (Koper, 2004). At least eight states and the District of Columbia similarly
       ban magazines with a large capacity, and still other states are considering bills to enact
       such restrictions (Brady Campaign to Prevent Gun Violence, 2013).


       Theory—The Rationale for LCM Bans
       When supporters of bans on LCMs provide an explicit rationale for these measures, they
       stress the potential for such restrictions to reduce the death toll in mass shootings. And
       indeed there is a statistical association between LCM use and the casualty count in mass
       shootings (Koper, 2004), though it is unknown whether this reflects an effect of LCM use
       or is merely a spurious association reflecting the offender’s stronger intention to harm
       many people. If there is a causal effect, how would it operate? Does possession of LCMs
       somehow enable aggressors to shoot more victims, above and beyond the ability conferred
       by the use of semiautomatic guns equipped with smaller capacity detachable magazines?
       (A semiautomatic firearm is a gun that fires a single shot for each pull of the gun’s trigger,
       but automatically causes a fresh round to be loaded into the gun’s firing chamber.)
           Possession of LCMs is largely irrelevant to ordinary gun crimes, that is, those with
       fewer victims than mass shootings, because it is extremely rare that the offenders in such
       attacks fire more rounds than can be fired from guns with ordinary ammunition capa-
       cities. For example, only 2.5% of handgun crimes in Jersey City, NJ, in 1992–1996
       involved over 10 rounds being fired (Reedy & Koper, 2003, p. 154). Even among those
       crimes in which semiautomatic pistols were used, and some of the shooters were
       therefore likely to possess magazines holding more than 10 rounds, only 3.6% of the
       incidents involved over 10 rounds fired. Thus, if LCMs have any effect on the outcomes
       of violent crimes, it is more likely to be found among mass shootings with many victims,
       which involve unusually large numbers of rounds being fired.
           Koper (2004) noted that ‘‘one of the primary considerations motivating passage of
       the ban on [LCMs]’’ was the belief that

          semiautomatic weapons with LCMs enable offenders to fire high numbers of shots
          rapidly, thereby potentially increasing both the number of persons wounded per gunfire
          incident . . . and the number of gunshot victims suffering multiple wounds, both of which
          would increase deaths and injuries from gun violence. (p. 80)



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        This summary was as much a rationale for restricting semiautomatic guns as it was for
        limits on magazine capacity, but Koper also concluded that ‘‘an LCM is arguably the
        most important feature of an AW. Hence, use of guns with LCMs is probably more
        consequential than use of guns with other military-style features’’ (p. 80). He then
        went on: ‘‘By forcing AW and LCM offenders to substitute non-AWs with small
        magazines, the ban might reduce the number of shots fired per gun, thereby reducing
        both victims shot per gunfire incident and gunshot victims sustaining multiple
        wounds’’ (p. 81).
            It is reasonable to expect fewer people shot if fewer rounds were fired, but Koper
        did not explain why, for example, the use of three 10-round magazines would result
        in fewer shots fired than if a 30-round magazine were used. After all, three 10-round
        magazines and one 30-round magazine both contain 30 cartridges and thus allow
        30 shots to be fired. Semiautomatic guns do not fire any faster when they have a
        larger magazine inserted in them than when they have a smaller magazine, nor is the
        lethality of any one shot affected by the size of the magazine from which it came. A
        limit on the number of cartridges that the shooter could fit into any one magazine
        would not limit the total number of rounds of ammunition that a would-be mass
        shooter could bring to the scene of their crime, or even the total number loaded into
        multiple detachable magazines.
            The main difference between a 30-round magazine and three 10-round magazines,
        however, is that a shooter equipped with three 10-round magazines would have to
        change magazines twice in order to fire 30 rounds, while a shooter with a 30-round
        magazine would not have to change magazines at all. This presumably is what Koper
        (2004) meant when he wrote that ‘‘semiautomatic weapons with LCMs enable offen-
        ders to fire high numbers of shots rapidly’’ (p. 80).
            Thus, it could be the additional magazine changes necessitated by the use of
        smaller magazines that might reduce the number of people hurt in mass shootings.
        Advocates of LCM bans argue that, if LCMs were not available, would-be mass
        murderers would shoot fewer people because they would have to reload more often
        due to the more limited capacities of the magazines that would then be legally avail-
        able. A spokesperson for the Violence Policy Center (2011), for example, argued that
        ‘‘High-capacity ammunition magazines facilitate mass shootings by giving attackers
        the ability to fire numerous rounds without reloading.’’
            It is not, however, self-evident why this should be so. Skilled shooters can change
        detachable magazines in 2 seconds or less, and even relatively unskilled persons can, with
        minimal practice, do so in 4 seconds (for a demonstration, see the video at https://
        www.youtube.com/watch?v¼ZRCjY-GtROY, which shows a 2-seconds magazine
        change by an experienced shooter). Certainly, additional magazine changes do not
        increase the time needed to fire a given number of rounds by much.
            Why, then, might inducing more magazine changes reduce casualty counts? Two
        explanations have been offered. First, during an additional interval when the shooter
        was forced to change magazines, bystanders might tackle the shooter and prevent any
        further shooting. Bystanders are presumably more willing to tackle a shooter while the
        shooter was reloading because it would be safer to do so—a shooter armed with only


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       one loaded gun would not be able to shoot those seeking to intervene during the effort
       to reload. A shooter equipped only with smaller capacity magazines would have to
       change magazines sooner and would therefore presumably shoot fewer people before
       he was tackled by the bystanders.
           Second, additional magazine changes could extend the time interval between some
       of the shots, thereby allowing more prospective victims to safely escape the scene than
       otherwise would have been the case had the possession of LCMs enabled the shooter
       to reload less often.
           These scenarios are plausible as logical possibilities, but have they actually
       occurred in the past often enough for it to be plausible that they would happen
       with some nonnegligible frequency in the future? If the past is any guide to the
       future, the credibility of any expectation of future benefits from LCM restrictions
       would rely heavily on how often these scenarios have actually played out in past
       mass shootings. This research is intended to test the plausibility of these possible
       causal linkages between LCM use and the casualty counts of mass shootings by
       closely examining the relevant details of such crimes. In particular, it was intended
       to estimate the share of mass shootings in which LCM use could plausibly have
       affected the casualty count.


       Prior Research on LCMs
       No one has actually tested whether mass shooters with LCMs fire more rounds than
       those without LCMs. We only have evidence indirectly bearing on this issue. Koper
       reported data showing that there are more gunshot wound victims in incidents in which
       the offender used an LCM (Koper, 2004, p. 86). The meaning of this statistical
       association, however, is unclear since one would expect it to exist even if LCM use
       had no causal effect on either the number of shots fired or the number of victims shot.
       The association is at least partly spurious if the deadliness of the shooter’s intentions
       affects both his selection of weaponry (including magazines) and the number of shots
       he fires or persons he wounds.
          It is a virtual tautology that the deadliness of the shooter’s intentions affects the number
       of people hurt, unless one is prepared to assert that there is no relationship whatsoever
       between violent intentions and outcomes. While it is certainly true that outcomes do not
       match intentions perfectly, it is unlikely that there is no correlation at all.
          The deadliness of a would-be mass shooter’s intentions, however, is also likely to
       affect preparations for the shooting, such as accumulating many rounds of ammuni-
       tion, acquiring multiple guns and multiple magazines, and selecting larger magazines
       rather than smaller ones. Accounts of mass shootings with high death tolls routinely
       describe the shooters making elaborate plans for their crimes, well in advance of the
       attacks, and stockpiling weaponry and ammunition (e.g., see Office of the State’s
       Attorney 2013, regarding the Sandy Creek elementary school shootings; Washington
       Post ‘‘Pa. Killer had Prepared for ‘Long Siege,’’’ October 4, 2006, regarding the
       Amish school killings in Lancaster, PA; Virginia Tech Review Panel, 2007, especially
       pp. 25–26, regarding the shootings at Virginia Tech; ‘‘Before gunfire, hints of bad


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        news,’’ New York Times August 27, 2012, regarding the Aurora Colorado movie
        theater shootings). In short, people who intend to shoot many people are not only
        more likely to end up doing so but also prepare for doing so by acquiring equipment
        that they believe is better suited to this task.
           The most direct indication that the intentions of mass shooters are more deadly
        than those of the average gun aggressor, aside from the number of casualties
        inflicted itself, is the percentage of wounded victims who were killed rather than
        nonfatally wounded. The data gathered for the present study indicate that in 23
        LCM-involved mass shooting incidents, a total of 197 gunshot victims were killed
        and 298 were nonfatally wounded, for a fatality rate of 40.0%. In contrast, Cook
        (1985, p. 96) reported that police reports on general samples of shootings indicated
        that about only 15% of those wounded by gunshot were killed. Thus, the lethality of
        gunshot wounds inflicted by mass shooters is about 2.7 times as high as for shootings
        in general. Any one shot fired from a gun equipped with a larger capacity magazine
        is no more deadly or accurate than one fired from a gun with a smaller capacity
        magazine, so it is implausible that LCMs affect this fatality rate (deaths/persons
        wounded) by enabling shooters to more accurately hit vital areas of a victim’s body
        where wounds are more likely to be fatal. Indeed, if those who suggest that shooters
        with LCMs fire faster than other shooters are correct, accuracy would be worse in
        LCM-involved shootings.
           Thus, it is more likely that the high fatality rate in mass shootings is a product of
        the aggressor’s stronger intentions to shoot more people, though it could also be
        partly a product of the greater use of rifles and shotguns in mass shootings (25 of
        the 66 guns used in these incidents [38%] of known gun type were rifles or shot-
        guns; in comparison, only 8% of all U.S. gun homicides in 2014 were committed
        with rifles or shotguns—U.S. Federal Bureau of Investigation [FBI], 2015). This
        too could be an indication of greater shooter lethality, since rifles and shotguns are,
        on average, more lethal than handguns (Kleck, 1984). In sum, mass shooters appear
        to have more lethal intentions as aggressors, apart from any advantages they may
        gain from use of LCMs.
           There is therefore sound reason to question whether a simple bivariate association
        between LCM use and number of shots fired, or victims wounded, in a mass shooting
        reflects a causal effect of LCM use. Unfortunately, there is no known way to directly
        measure the lethality of shooters’ intentions at the time of their shootings, so we
        cannot simply statistically control for lethality of intentions in order to isolate the
        effect of LCM use. On the other hand, it would become more plausible to conclude
        that LCM use made its own contribution to the casualty count of shootings, above
        and beyond the effects of the apparently more lethal intentions of their users, if there
        was some evidence that either (a) significant numbers of mass shootings were dis-
        rupted by bystanders intervening when the shooters attempted to reload detachable
        magazines or (b) magazine changes increase the time intervals between shots fired,
        thus potentially allowing more prospective victims to escape to safety. This article
        provides a close examination of the details of mass shootings so as to cast light on
        these and related issues.


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       Method
       Definition of Eligible Incidents
       We tried to identify, as comprehensively as possible, all mass shootings that occurred
       in the United States in the 20-year period from 1994 through 2013 inclusive and that
       were known to have involved an LCM. An LCM was defined as a magazine holding
       more than 10 rounds of ammunition. A mass shooting was defined as one in which
       more than six people were shot, either fatally or nonfatally, in a single incident. Any
       specific numerical cutoff is necessarily somewhat arbitrary, but some are less arbitrary
       than others. The six-victim cutoff was used because an offender could shoot as many
       as six persons using a typical old-fashioned six-shot revolver of the sort that has been
       around since the 19th century, and our goal was to identify all incidents in which it
       was plausible that use of an LCM (always used in connection with modern semiauto-
       matic firearms) affected the number of casualties. It is less likely that LCMs affect the
       casualty count in incidents in which few people were shot, and generally fewer rounds
       were fired, since the rationale for banning LCMs is that they permit shooters to fire
       many rounds without reloading, and thereby kill or injure more victims (Koper, 2004).
       Thus, had the numerical cutoff been set lower, the sample of incidents would have
       included more cases in which LCM use was unlikely to have affected the number of
       victims. In that way, we have intentionally biased the sample in favor of the hypoth-
       esis that LCM use causes a higher casualty count.
           We partly relied on a list compiled by the staff of the Violence Policy Center (2015)
       to identify LCM-involved mass shootings. Because this organization advocates bans
       on LCMs (Violence Policy Center, 2011), we are confident its staff were well moti-
       vated to compile as comprehensive a list as possible so as to better document the need
       to restrict magazine capacities. Our search of NewsBank and the other compilations of
       mass shootings that we cite (see Data Sources section) did not uncover any additional
       qualifying incidents. It is nevertheless logically impossible to know for certain that all
       qualifying incidents were included.
           We did not employ the oft-used definition of ‘‘mass murder’’ as a homicide in
       which four or more victims were killed, because most of these involve just four to six
       victims (Duwe, 2007), which could therefore have involved as few as six rounds fired,
       a number that shooters using even ordinary revolvers are capable of firing without
       reloading. LCMs obviously cannot help shooters who fire no more rounds than could
       be fired without LCMs, so the inclusion of ‘‘nonaffectable’’ cases with only four to six
       victims would dilute the sample, reducing the percentage of sample incidents in which
       an LCM might have affected the number of casualties. Further, had we studied only
       homicides with four or more dead victims, drawn from the FBI’s Supplementary
       Homicide Reports (SHR), we would have missed cases in which huge numbers of
       people were shot, and huge numbers of rounds were fired, but three or fewer of the
       victims died. For example, in one widely publicized shooting carried out in Los
       Angeles on February 28, 1997, two bank robbers shot a total of 18 people—surely
       a mass shooting by any reasonable standard (Table 1). Yet, because none of the people
       they shot died, this incident would not qualify as a mass murder (or even murder of


                                             Exhibit 8
                                               0398
                 Table 1. Mass Shootings in Which Shooter(s) Used Magazines With a Capacity Over 10 Rounds, United States, 1994–2013.a

                                                                                                                       Capacity of                 Number Seconds         Number




            34
                                                                          Number of Number Number of                    Largest         Shooter(s) of Shots Per   Number Nonfatally
                 Shooter(s)                     Date                       Shooters of Guns Magazines                   Magazine        Reloaded? Fired     Shot   Killed Wounded

                 Dean Allen Mellberg            June 20, 1994                   1              2            4                70               ?          43–56       <6             4           23
                 Larry Phillips, Jr., and       February 28, 1997               2              6           9þ               100              Yes         1,101        2.40          0           18
                    Emil Matasareanu
                 Mitchell Johnson and           March 24, 1998                  2            13             3                30               ?            30          ?            5           11
                    Andrew Golden
                 Kip Kinkel                     May 21, 1998                    1              3           3þ                50              Yes           51         ?             2           15
                 Dylan Klebold and Eric         April 20, 1999                  2              4           16                52              Yes          188        15.64         13           21
                    Harris
                 Larry Gene Ashbrook            September 15, 1999              1              2            6              15               Yes          >100         6.00          7            7
                 Byran Koji Uyesugi             November 2, 1999                1              1            3              15                ?             10       180.0           7            0
                 Michael McDermott              December 26, 2000               1              3           4þ              30               Yes            37        10.54          7            0
                 Terry Ratzmann                 March 12, 2005                  1              1            3             15?               Yes            22        <2.7           7            4
                 Seung-Hui Cho                  April 16, 2007                  1              2           19              15               Yes           174        53.79         32           23
                 Robert Hawkins                 December 5, 2007                1              1            2              30                ?            >30        12.00          8            5




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                 Steven Kazmierczak             February 14, 2008               1              4           6þ              33               Yes            56         5.36          5           21




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                 Jiverley Wong                  April 3, 2009                   1              2            3              30               Yes            99         ?            13            4
                 George Sodini                  August 4, 2009                  1              4           3þ              30                ?             50         ?             3            9
                 Nidal Hasan                    November 5, 2009                1              2           15              30               Yes           214         ?            13           38
                 Timothy Hendron                January 7, 2010                 1              4           3þ        Probable LCM            ?            115         c. 18         3            5
                 Omar Thorton                   August 3, 2010                  1              2            4              17                ?             19         9.47          8            2
                 Jared Loughner                 January 8, 2011                 1              1            4              33               Nob            31         0.45          6           13
                 Eduardo Sancion                September 6, 2011               1              3            3              30               Yes          60þ          1.42          4           14
                 James Holmes                   July 20, 2012                   1              4            4             100               Yes            76         4.74         12           58
                 Michael Page                   August 5, 2012                  1              1            3              19               Yes          33þ          ?             6            3
                 Andrew Engeldinger             September 27, 2012              1              1            2              15               Yes          46þ         16.3           6            2
                 Adam Lanza                     December 14, 2012               1              4          12þ              30               Yes          154þ         1.56         26            2
                 Note. Details of these incidents and citations to news accounts used as sources may be found in the appendix to an extended version of this article, with the same title, on the Social
                 Science Research Network, at http://papers.ssrn.com/sol3/papers.cfm?abstract_id¼2700166. LCM ¼ large-capacity magazine; c ¼ circa, i.e. approximately; ? ¼ unknown.
                 a
                  Number of guns is the number in the shooter’s immediate possession, not necessarily the number fired. Number of magazines is the number of detachable magazines in the
                 shooter’s immediate possession. The number includes magazines in loaded semiautomatic firearms. ‘‘Seconds per shot’’ is the average time interval between shots through the
                 period of shooting. bShooter was prevented from reloading a defective magazine by bystanders tackling him.
                                                                                                                                                                                                     3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1411 Page
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       any kind). Exclusion of such incidents would bias the sample against the proposition
       that LCM use increases the number of victims by excluding incidents with large
       numbers of victims.
          We also excluded shootings in which more than six persons were shot over the
       entire course of the incident, but the shootings occurred in multiple locations with no
       more than six people shot in any one of the locations, and substantial periods of time
       intervened between episodes of shooting. An example is the series of killings com-
       mitted by Rodrick Dantzler on July 7, 2011. He killed seven people and wounded two
       others, but did so in three different locations over a 5-hr period, shooting no more than
       four people in any one of the locations. Since shooters in these types of incidents have
       ample time to reload between sets of shots even without LCMs, use of an LCM is less
       likely to be relevant to the casualty counts than in a mass shooting as defined herein.
          It is not possible to compare shootings involving LCMs with shootings not
       involving LCMs, because no source of information on shooting incidents, whether
       news media reports or police offense reports, systematically establishes which
       shootings did not involve LCMs. Thus, it is impossible to distinguish (a) shootings
       in which the perpetrator did not use an LCM from (b) shootings in which the
       perpetrator did use an LCM, but this fact was not mentioned in the account of the
       incident. Consequently, we are necessarily limited to describing incidents that were
       affirmatively identified as involving LCMs. In any case, since our purpose was to
       establish how often LCM use affects casualty counts in mass shootings, even if we
       could identify incidents that definitely did not involve LCMs, they would be irre-
       levant to this narrow purpose because they are obviously cases in which LCM use
       could not have affected casualty counts.


       Data Sources
       We relied on news stories to identify mass shootings and get information on their
       details. Relying on news outlets has obvious limits, since some mass shootings get
       little news coverage beyond a few stories by news outlets near the shooting location,
       and it is possible that none of the writers of these few stories used even one of the
       common words and phrases we used in our database searches. Further, even multiple
       news accounts of widely reported incidents may not include crucial details of the
       incidents, especially the number of shots fired and the duration of the shooting. Also,
       early news accounts of shootings are sometimes inaccurate in their details (Huff-
       Corzine, Corzine, Jarvis, Tetzlaff-Bemiller, Weller, & Landon, 2014), so we con-
       sulted later stories on a given incident (often pertaining to the trial of the shooter)
       in addition to early ones. Excluding the early news stories, we found that reported
       details of mass shootings were extremely consistent across stories. Fortunately, the
       known biases of news coverage of crime mostly work in favor of our goal of covering
       shootings in which many shots were fired, since news coverage is biased in favor of
       reporting incidents with larger numbers of victims (Duwe, 2000).
           The alternative of using police reports was not feasible because such reports are not
       publicly available for a large share of homicides. Relying on the FBI’s SHR would be


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        even worse than news accounts for our purposes, because this source says nothing
        about the number of rounds fired, number of guns used, details about the guns used
        (beyond whether they were handguns, rifles, or shotguns), number of magazines used,
        or the capacity of magazines used for any homicide incidents, whereas news stories
        provide such information for many mass shootings. These same deficiencies apply to
        data from the FBI’s National Incident-based Reporting System, which have the addi-
        tional disadvantage of covering only part of the nation.
           A variety of sources were used to identify eligible incidents. First, as previously
        noted, we consulted ‘‘Mass Shootings in the United States Involving High-Capacity
        Ammunition Magazines,’’ a fact sheet compiled by the Violence Policy Center, avail-
        able online at http://www.vpc.org/fact_sht/VPCshootinglist.pdf. This source only
        covers incidents known to involve magazines with a capacity of 10 or more rounds.
           Second, we searched the NewsBank Infoweb online database which covers hun-
        dreds of print, broadcast, and online news outlets, including newspapers, news maga-
        zines, transcripts of television news programs, and online-only news providers, in
        every state in the nation. We searched for articles whose text (including headlines)
        included any of the following phrases: ‘‘mass shooting,’’ ‘‘massacre,’’ mass murder,
        ‘‘shooting spree,’’ or ‘‘rampage’’ for the 20-year period from January 1, 1994, through
        December 31, 2013.
           Third, we consulted the following existing compilations of mass shootings, mass
        murders, and ‘‘active shooter incidents’’ (and the sources they cited) to identify
        potentially relevant shooting incidents:

            ‘‘US Mass Shootings, 1982–2012: Data from Mother Jones’ (2013) Investiga-
             tion,’’ created by the staff of Mother Jones magazine, available online at http://
             www.motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-data.
             This source only covers incidents in public places with four or more dead, and
             therefore misses those with many victims shot but three or fewer of them fatally
             as well as incidents occurring in private places. It also includes some spree
             shootings in which only a few victims were shot in any one location.
            ‘‘Analysis of Recent Mass Shootings’’ (September 2013), compiled by Mayors
             Against Illegal Guns, and available online at http://www.demandaction.org/
             detail/2013-09-updated-analysis-of-recent-mass-shootings. This covers inci-
             dents only for January 2009 to September 2013, and only those with four or
             more dead victims, thereby excluding those with many victims shot, but three
             or fewer shot fatally.
            Bjelopera, Bagalman, Caldwell, Finklea, and McCallion (March 18, 2013).
             Public Mass Shootings in the United States: Selected Implications for Federal
             Public Health and Safety Policy. Washington, DC: Congressional Research
             Service. This source only covers incidents occurring in public places and with
             four or more deaths, thereby excluding cases with many victims shot but three
             or fewer fatally as well as those occurring in private places.
            Citizens Crime Commission of New York City. ‘‘Mass Shooting Incidents in
             America (1984–2012),’’ at http://www.nycrimecommission.org/mass-shoot


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             ing-incidents-america.php, accessed January 15, 2014. This source covers
             shootings with four or more persons killed, with a magazine capable of holding
             more than 10 rounds. It excludes cases with no known use of LCMs, and
             incidents with many victims shot but three or fewer killed.

          Notwithstanding the use of these multiple sources, we cannot be certain of achieving
       absolutely complete coverage of all LCM-involved mass shootings. Most of the sources
       rely, directly or indirectly, on news media accounts of the incidents, and some of these
       shootings received little coverage beyond local news outlets and perhaps an Associated
       Press state wire service story. The fewer news stories reporting an incident, the more
       likely it is that there were no stories containing any of the commonly used phrases for
       which we searched. The mass shootings most likely to receive little news coverage are
       those with fewer than four victims killed. Most of the lightly covered incidents we
       discovered also involved fewer than 10 victims shot, fatally or nonfatally.
          On the other hand, it is unlikely that we missed many large-scale shootings,
       because these are likely to be well covered by multiple news outlets. Since those
       we missed are likely to involve fewer victims, it is also less likely that an LCM was
       needed for shooting as many people as were shot in these incidents. Omission of
       these cases, therefore, biases the sample in favor of the hypothesis that LCMs affect
       casualty counts.
          As a check on the completeness of coverage of our methods, we used the FBI’s
       SHRs data to identify all SHR-covered U.S. homicides that involved more than six
       dead victims and the use of firearms (not just those involving LCMs). These SHR data
       sets cover about 90% of U.S. homicides. For the period 1994–2013, we identified 17
       qualifying incidents in the SHR data sets. We then checked to see if our search
       methods would have identified these cases. We found that searches of the NewsBank
       database alone identified all 17 of these incidents. Thus, shootings with many dead
       victims clearly are completely covered by the news media.
          Once eligible incidents were identified, we searched through news accounts for
       details related to whether the use of LCMs could have influenced the casualty counts.
       Specifically, we searched for (1) the number of magazines in the shooter’s immediate
       possession, (2) the capacity of the largest magazine, (3) the number of guns in the
       shooter’s immediate possession during the incident, (4) the types of guns possessed,
       (5) whether the shooter reloaded during the incident, (6) the number of rounds fired,
       (7) the duration of the shooting from the first shot fired to the last, and (8) whether
       anyone intervened to stop the shooter.


       Findings
       How many mass shootings were known to have been committed using LCMs? We identified
       23 total incidents in which more than six people were shot at a single time and place in
       the United States from 1994 through 2013 and that were known to involve use of any
       magazines with capacities over 10 rounds. Table 1 summarizes key details of the
       LCM-involved mass shootings relevant to the issues addressed in this article.


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            What fraction of all mass shootings are known to involve LCMs? There is no
        comprehensive listing of all mass shootings available for the entire 1994–2013
        period, but the most extensive one currently available is the one at the Shootingtrack
        er.com website, which only began its coverage in 2013. For 2013, this database
        identified 31 incidents in which more than six victims were supposedly killed or
        injured. This source includes deaths or injuries of perpetrators in their counts of
        ‘‘victim’’ deaths and injuries and also counts as victims’ persons who were shot at,
        but not hit. Correcting these flaws eliminated six of the incidents as mass shootings,
        while another three incidents were spree shootings. Eliminating these nine ineligible
        incidents left 22 genuine mass shootings. The Shootingtracker database itself does
        not record LCM use, but examination of news media accounts indicated that none of
        these 22 incidents in 2013 were known to involve use of an LCM. For 2013, the
        Violence Policy Center (2015) identified just one shooting with more than six
        victims killed or injured that involved an LCM, but this incident was a spree shoot-
        ing in which eight people were shot in three different widely spaced locations, with
        no more than three shot in any one of the locations (the June 7, 2013, incident in
        Santa Monica, CA). Thus, there apparently were zero mass shootings in 2013 known
        to involve LCMs.
            To put these numbers in perspective, for the United States as a whole in 2013, there
        were an estimated 14,196 people killed in murders and nonnegligent manslaughters
        (MNNM) involving any weapon types, 9,795 of them killed with firearms (U.S. FBI,
        2014b). There were an estimated 13,349 mnnm incidents,1 of which just 3 involved
        more than six dead victims, 12,675 involved a single dead victim, and 13,346 involved
        six or fewer dead victims (U.S. Department of Justice Federal Bureau of Investigation,
        2015). The 22 qualifying shooting incidents identified by Shooting Tracker as involv-
        ing more than six victims therefore accounted for less than one sixth of 1% of
        homicide incidents and victims killed in those incidents claimed less than one tenth
        of 1% of homicide victims.
            One might speculate that there were significant numbers of mass shootings in
        which LCMs were used, but not a single news account mentioned the LCM use. The
        use of LCMs has been a major focus of gun control advocacy groups and national
        news outlets since at least 1989, when a Stockton California schoolyard shooting lead
        to the nation’s first state-level assault weapons ban (Kleck, 1997, chap. 4). In this
        light, it seems unlikely that LCM use in a mass shooting would go completely unre-
        ported in all news accounts, but it cannot be ruled out as a logical possibility. It is,
        however, irrelevant to our analyses unless shootings with unmentioned LCM use are
        systematically different from those that explicitly mentioned LCM use—a speculation
        we cannot test.
            LCMs are sometimes defined as magazines holding over 10 rounds, sometimes as
        those holding over 15 rounds (Koper, 2004). For our entire 20-year study period of
        1994–2013, 23 mass shootings were known to involve LCMs using the more inclusive
        cutoff of 10 rounds, that is, at least one round was fired during the incident from a gun
        equipped with a magazine capable of holding more than 10 rounds. Using the more
        stringent cutoff of more than 15 rounds, 20 incidents were known to involve LCMs.


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       Thus, LCM-involved mass shootings are known to have occurred an average of once
       per year in the United States over this 20-year period.

       How often have bystanders intervened while a mass shooter was trying to reload? How many
       times people have disrupted a mass shooting while the shooter was trying to load a
       detachable magazine into a semiautomatic gun? Note that it is irrelevant whether
       interveners have stopped a shooter while trying to reload some other type of gun,
       using other kinds of magazines, since we are addressing the potential significance of
       restrictions on the capacity of detachable magazines that are used only with semiauto-
       matic firearms. Thus, bystander intervention directed at shooters using other types of
       guns that take much longer to reload than a semiautomatic gun using detachable
       magazines could not provide any guidance as to the likelihood of bystander interven-
       tion when the shooter was using a semiautomatic gun equipped with detachable
       magazines that can be reloaded very quickly. Prospective interveners would presum-
       ably be more likely to tackle a shooter who took a long time to reload than one who
       took only 2- to 4-s to do so. Likewise, bystander interventions that occurred at a time
       when the shooter was not reloading (e.g., when he was struggling with a defective gun
       or magazine) are irrelevant, since that kind of bystander intervention could occur
       regardless of what kinds of magazines or firearms the shooter was using. It is the
       need to reload detachable magazines sooner and more often that differentiates shoo-
       ters using smaller detachable magazines from those using larger ones.
           For the period 1994–2013 inclusive, we identified three mass shooting incidents
       (with or without LCM use) in which it was claimed that interveners disrupted the
       shooting by tackling the shooter while he was trying to reload. In only one of the three
       cases, however, did interveners actually tackle the shooter while he may have been
       reloading a semiautomatic firearm. In one of the incidents, the weapon in question was
       a shotgun that had to be reloaded by inserting one shotshell at a time into the weapon
       (Knoxville News Sentinel ‘‘Takedown of Alleged Shooter Recounted’’ July 29, 2008,
       regarding a shooting in Knoxville, TN on July 27, 2008), and so the incident is
       irrelevant to the effects of detachable LCMs. In another incident, occurring in Spring-
       field, OR, on May 21, 1998, the shooter, Kip Kinkel, was using a semiautomatic gun,
       and he was tackled by bystanders, but not while he was reloading. After exhausting the
       ammunition in one gun, the shooter started firing another loaded gun, one of the three
       firearms he had with him. The first intervener was shot in the hand in the course of
       wresting this still-loaded gun away from the shooter (The (Portland) Oregonian, May
       23, 1998).
           The final case occurred in Tucson, AZ, on January 8, 2011. This is the shooting in
       which a man named Jared Loughner attempted to assassinate Representative Gabrielle
       Giffords. The shooter was using a semiautomatic firearm and was tackled by bystan-
       ders, purportedly while trying to reload a detachable magazine. Even in this case,
       however, there were important uncertainties. According to one news account, one
       bystander ‘‘grabbed a full magazine’’ that the shooter dropped, and two others helped
       subdue him (Associated Press, January 9, 2011). It is not, however, clear whether this
       bystander intervention was facilitated because (1) the shooter was reloading or


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        because (2) the shooter stopping firing when his gun or magazine failed to function
        properly. Eyewitness testimony, including that of the interveners, was inconsistent as
        to exactly why or how the intervention transpired in the Giffords shooting. One
        intervener insisted that he was sure the shooter had exhausted the ammunition in the
        first magazine (and thus was about to reload) because he saw the gun’s slide locked
        back—a condition he believed could only occur with this particular firearm after the
        last round is fired. In fact, this can also happen when the gun jams, that is, fails to
        chamber the next round (Morrill, 2014; Salzgeber, 2014).
            Complicating matters further, the New York Times reported that the spring on the
        second magazine was broken, presumably rendering it incapable of functioning. Their
        story’s headline and text characterized this mechanical failure as ‘‘perhaps the only
        fortunate event of the day’’ (New York Times ‘‘A Single, Terrifying Moment: Shots,
        Scuffle, Some Luck,’’ January 10, 2011, p. A1). If the New York Times account was
        accurate, the shooter would not have been able to continue shooting with that magazine
        even if no one had stopped him from loading it into his gun. Detachable magazines of
        any size can malfunction, which would at least temporarily stop a prospective mass
        shooter from firing, and thereby provide an opportunity for bystanders to stop the
        shooter. It is possible that the bystander intervention in the Tucson case could have
        occurred regardless of what size magazines the shooter possessed, since a shooter
        struggling with a defective small-capacity magazine would be just as vulnerable to
        disruption as one struggling with a defective LCM. Thus, it remains unclear whether
        the shooter was reloading a functioning magazine when the bystanders tackled him.
            The real significance of LCM use in the Gabrielle Giffords shooting is that the first
        magazine that the shooter used had a capacity of 33 rounds, and the shooter fired 31
        times before being tackled. Had he possessed only a 15-round magazine, and bystan-
        ders were willing to intervene when the shooter either reloaded or struggled with a
        defective magazine, he would have been able to fire at most 16 rounds (including one
        in the firing chamber)—15 fewer than the 31 he actually fired before he was stopped,
        for whatever reason. Consequently, instead of the 19 people he shot (6 fatally, 13
        nonfatally), it would be reasonable to estimate that he would have shot only about half
        as many victims. Thus, the absence of an LCM might have prevented three killings
        and six or seven nonfatal gunshot woundings in this incident.
            The bystander intervention in the Giffords shooting was, however, unique, and
        occurred only because there were extraordinarily courageous and quick-thinking
        bystanders willing and able to tackle the shooter. Over a 20-year period in the United
        States, the Tucson incident appears to be the only known instance of a mass shooter
        using a semiautomatic firearm and detachable magazines in which the shooter was
        stopped by bystanders while the shooter may have been trying to reload such a
        magazine. All other mass shootings have instead stopped only when the shooter chose
        to stop and left the scene, the shooter committed suicide, or armed police arrived and
        forced the shooter to stop (see U.S. FBI, 2014a).

        The use of multiple guns and multiple magazines. Restrictions on LCMs obviously could
        not have affected mass shootings in which no LCMs were used, so it is just those that


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       Table 2. Summary of Key Characteristics of Mass Shootings (>6 Shot) With Large-Capacity
       Magazines, United States, 1994–2013.

                                       Mass Shootings With Magazines Mass Shootings With Magazines
                                         Over 10 Rounds (n ¼ 23)       Over 15 Rounds (n ¼ 20)

       Key Characteristics of the                              Not                                    Not
       Incidents                              Yes         No Reported               Yes          No Reported

       Multiple guns                   17 (74/74%)         6         0        15 (75/75%)         5         0
       Multiple magazines              23 (100/100%)       0         0        20 (100/100%)       0         0
       Both multiple guns and          17 (74/74%)         6         0        15 (75/75%)         5         0
          multiple magazines
       Either multiple guns or         23 (100/100%)       0         0        20 (100/100%)       0         0
          multiple magazines
       Shooter reloaded                14 (88/61%)         2         7        12 (86/60%)         2         6
       Note. First number in parentheses after each frequency is the percentage of incidents with nonmissing
       information that had the indicated attribute. The second number in parentheses is the percentage of all
       incidents, including those for which the relevant information was missing, that had the indicated attribute.


       involved LCMs that are relevant to judging the benefits that might have accrued had
       LCMs been unavailable at the beginning of the study period. As previously noted,
       there is considerable evidence that people who commit large-scale shootings, unlike
       most ordinary aggressors, devote considerable advance planning to their crimes. Part
       of their preparations entails cumulating multiple guns, multiple magazines, and many
       rounds of ammunition. The significance of this is that, in cases where the shooter has
       more than one loaded gun, he can continue firing, without significant pause, even
       without LCMs, simply by switching to a loaded gun. Alternatively, if he has multiple
       small magazines rather than LCMs, the shooter can continue firing many rounds with
       only a 2- to 4-s pause between shots for switching magazines.
          Table 2 displays how often LCM-involved mass shootings involved shooters using
       either multiple guns or multiple magazines. Of 23 such incidents using the ‘‘more-
       than-10-rounds’’ criterion, the shooters possessed more than one gun in 17 incidents
       (74%), leaving six cases in which it was known that the shooter possessed just one
       gun. Of 20 incidents using the more-than-15-rounds criterion, the shooters possessed
       more than one gun in 15 incidents (75%), leaving five cases in which it was known
       that the shooter possessed just one gun.
          Of 23 mass shootings with LCMs (>10 rounds), offenders were known to possess
       multiple detachable magazines in all 23 incidents (100%). Likewise, of the 20 mass
       shootings with magazines holding over 15 rounds, all 20 involved shooters with
       multiple magazines.
          The average number of magazines in the immediate possession of offenders in
       incidents in which magazines with a capacity greater than 10 were possessed was at
       least 5.78 (Table 1). These offenders could have continued firing, even if they had
       possessed only one gun, with only the interruptions of 2–4 s that it would take for each
       magazine change.


                                                     Exhibit 8
                                                       0406
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            In sum, there were no mass shootings in the United States in 1994–2013 known to
        have involved LCMs in which the shooter did not possess either multiple guns or
        multiple detachable magazines. In all mass shootings in which the shooters were
        known to have possessed one or more LCMs, the shooters could have either continued
        firing many rounds without any interruption at all simply by switching loaded guns or
        could have fired many rounds with only very brief interruptions of 2–4 s to change
        detachable magazines.
            The offenders in LCM-involved mass shootings were also known to have reloaded
        during 14 of the 23 (61%) incidents with magazine holding over 10 rounds. The
        shooters were known to have not reloaded in another 2 of these 20 incidents, and it
        could not be determined if they reloaded in the remaining seven incidents. Thus, even
        if the shooters had been denied LCMs, we know that most of them definitely would
        have been able to reload smaller detachable magazines without interference from
        bystanders since they in fact did change magazines. The fact that this percentage is
        less than 100% should not, however, be interpreted to mean that the shooters were
        unable to reload in the other nine incidents. It is possible that the shooters could also
        have reloaded in many of these nine shootings, but chose not to do so, or did not need
        to do so in order to fire all the rounds they wanted to fire. This is consistent with the
        fact that there has been at most only one mass shooting in 20 years in which reloading
        a semiautomatic firearm might have been blocked by bystanders intervening and
        thereby stopping the shooter from doing all the shooting he wanted to do. All we
        know is that in two incidents, the shooter did not reload, and news accounts of seven
        other incidents did not mention whether the offender reloaded.

        Do more magazine changes allow more prospective victims to escape? An alternative
        rationale for why limiting aggressors to smaller magazines would result in fewer
        casualties in mass shootings is that the increased number of magazine changes
        necessitated by use of smaller magazines would create additional pauses in the
        shooting, allowing more potential victims to escape than would otherwise escape.
        For example, a story in the Hartford Courant about the Sandy Hook elementary
        school killings in 2012 was headlined ‘‘Shooter Paused, and Six Escaped,’’ the text
        asserting that as many as six children may have survived because the shooter paused
        to reload (December 23, 2012). The author of the story, however, went on to concede
        that this was just a speculation by an unnamed source, and that it was also possible
        that some children simply escaped when the killer was shooting other children.
        There was no reliable evidence that the pauses were due to the shooter reloading,
        rather than his guns jamming or the shooter simply choosing to pause his shooting
        while his gun was still loaded.
            The plausibility of the ‘‘victims escape’’ rationale depends on the average rates of
        fire that shooters in mass shootings typically maintain. If they fire very fast, the 2–4 s
        it takes to change box-type detachable magazines could produce a slowing of the rate
        of fire that the shooters otherwise would have maintained without the magazine
        changes, increasing the average time between rounds fired and potentially allowing
        more victims to escape during the between-shot intervals. On the other hand, if mass


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       Table 3. Known Rates of Fire in Mass Shootings, 1994–2013.

                                                                       Average         Average
                                                   Time of Firing       Shots          Seconds      Number
       Date of Incident          Shots Fireda        (Minutes)a       Per Minute       Per Shot     of Guns

       June 20, 1994                 >50               c. 5                >10           <6.0           2
       February 28, 1997            1,101               44                  25            2.4           4
       April 20, 1999                 188               49                  3.8           15.8          4
       September 15, 1999           >100                10               >10.0           <6.0           2
       September 2, 1999               10              <30               >0.33          <180.0          1
       May 24, 2000                   c. 7             <90               >0.08          <771.4          1
       September 22, 2000             9þ               <10                >0.9          <66.7           1
       December 26, 2000               37            5–8 (6.5)              5.7           10.5          3
       February 5, 2001          25–30 (27.5)       8–15 (11.5)             2.4           25.1          4
       March 5, 2001                 c. 24               6                c. 4.0        c. 15.0         1
       March12, 2005                   22               <1               >22.0           <2.7           1
       March 21, 2005                  45                9                  5.0           12.0          3
       March 25, 2006                 9þ               c. 5               >1.6          <33.3           2
       October 2, 2006           17–18 (17.5)          c. 2              c. 8.75         c. 6.9         2
       April 16, 2007               c. 174             156               c. 1.11        c. 53.8         2
       October 7, 2007                 30              c. 1              c. 30.0         c. 2.0         3
       December 5, 2007              >30               c. 6               >5.0          <12.0           1
       February 14, 2008               56                5                 11.1           5.4           4
       January 7, 2010                115               30                  3.8           15.7          4
       August 3, 2010                  19                3                  6.3           9.5           2
       January 8, 2011                 31              0.25                125            0.48          1
       September 6, 2011             60þ               1.42              42.3þ            1.4           3
       July 20, 2012                   76              c. 6                12.7           4.74          4
       September 27, 2012            46þ                14                >3.3          <18.3           1
       December 14, 2012            154þ                 4               38.5þ            1.6           3

       Note. c ¼ circa.
       a
        Where a range was provided in news accounts, the midpoint of the range (shown in parentheses) of shots
       fired or time of firing was used in rate-of-fire computations.



       shooters fire their guns with the average interval between shots lasting more than
       2–4 s, the pauses due to additional magazine changes would be no longer than the
       pauses the shooter typically took between shots even when not reloading. In that case,
       there would be no more opportunity for potential victims to escape than there would
       have been without the additional magazine changes.
          Table 3 displays data on rates of fire for LCM-involved mass shootings in 1994–
       2013. Information on both the duration of the firing and the number of rounds fired was
       available for 17 of the 23 incidents shown in Table 1 plus another 8 mass shootings for
       which the necessary information was available but that did not involve any known LCM
       use. Reliable information on duration of fire may well be unavailable from any source
       for many mass shootings. There are rarely audio recordings that would provide precise
       information on the duration of fire (as there were in the 2012 Aurora Colorado movie



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        theater shooting), so eyewitness estimates are usually the basis for establishing this. On
        the other hand, there is often quite reliable information on the number of rounds fired,
        since semiautomatic firearms eject an empty shell casing after each round is fired.
        When shooters use such guns, crime scene investigators can (absent removal of the
        evidence by the offender or souvenir hunters) establish the number of rounds fired by
        counting cartridge casings recovered at the scene.
            Average rate of fire was computed as the average number of seconds between
        shots. In the 25 incidents for which average rates of fire could be determined,
        shooters never maintained an average rate of fire anywhere as fast as that at which
        their firearms were capable of firing. Shooters firing as fast as the gun allows can
        easily fire three rounds per second with a typical semiautomatic firearm, that is, with
        only about one third of a second between rounds. In only three incidents were mass
        shooters known to have averaged less than 2 s between rounds. This is no more than
        one sixth of the maximum rate of fire of which semiautomatic guns are capable (see
        Table 3, incidents occurring on January 8, 2011, September 6, 2011, and December
        14, 2012). This means that taking 2 s to reload a detachable magazine would not
        have slowed the shooters’ average rate of fire at all in 22 of the 25 incidents for
        which rate of fire could be established and would have only slightly slowed the rate
        in the remaining three incidents.
            It cannot be assumed, however, that in the three incidents in which usually high
        rates of fire were maintained, use of smaller magazines would have slowed the rate of
        fire due to a need to change magazines more often. Shooters possessed multiple guns
        in two of these three relatively rapid fire incidents (those occurring on September 6,
        2011 and December 13, 2012), which means that, rather than needing to change
        magazines to continue shooting, the aggressors could simply have switched guns,
        from one firearm emptied of rounds to another loaded firearm, without pausing in
        their shooting at all. Over the 20-year study period, there was just one LCM-involved
        mass shooting incident in the United States in which a shooter maintained an average
        rate of fire with less than 2 s elapsing between shots, and possessed only a single
        gun—the shooting involving Jared Loughner (on January 8, 2011), who was stopped
        from further shooting when he was tackled by bystanders.
            In sum, in nearly all LCM-involved mass shootings, the time it takes to reload a
        detachable magazine is no greater than the average time between shots that the shooter
        takes anyway when not reloading. Consequently, there is no affirmative evidence that
        reloading detachable magazines slows mass shooters’ rates of fire, and thus no affirma-
        tive evidence that the number of victims who could escape the killers due to additional
        pauses in the shooting is increased by the shooter’s need to change magazines.


        Conclusions
        In light of the foregoing information, it is unlikely that the larger number of rounds
        fired in the average LCM-linked mass shooting found by Koper (2004) was in any
        sense caused by the use of LCMs. In all but one of such cases in the period from 1994
        through 2013, there was nothing impossible or even difficult about the shooter firing


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       equally large numbers of rounds even if he had possessed only smaller capacity
       magazines, since the same number of rounds could easily have been fired with smaller
       detachable magazines of the sort that would remain legally available under LCM bans.
       Instead, the larger number of rounds fired by LCM-using shooters is more likely to
       reflect the more lethal intentions prevailing among such shooters, just as their planned
       use of multiple guns and multiple magazines, and the unusually high fatality rate
       (deaths over total woundings) of their attacks are outward indications of a desire to
       shoot many people. Unfortunately, there are no known methods for reliably measuring
       the lethality of shooters’ intentions independent of the outcomes of their crimes,
       making it impossible to statistically control for this factor in a multivariate statistical
       analysis and thereby isolate the effects of LCM use.
          One cannot prove a negative, and it is possible that mass shooters in the future
       might be different from those in the past, and that would-be mass shooters, unlike
       those of the past, would not obtain multiple guns or multiple smaller capacity maga-
       zines as substitutes for LCMs. One might also speculate that incidents that did not end
       up with many shooting victims turned out that way because the shooter did not use an
       LCM. At this point, however, there is little sound affirmative empirical basis for
       expecting that fewer people would be killed or injured if LCM bans were enacted.
          Focusing gun control efforts on mass shootings makes sense from a political
       standpoint, since support for gun control is elevated following highly publicized gun
       crimes. Such efforts, however, are less sensible for purposes of reducing the death toll
       from gun violence, especially if they focus on technologies rarely used in gun crime as
       a whole. Controls aimed at reducing ordinary forms of firearm violence, such as
       shootings with just one or a few victims, are more likely to have large impacts on
       the aggregate gun violence death toll for the simple reason that nearly all victims of
       gun violence are hurt in incidents with a small number of victims. For example, less
       than 1% of U.S. homicide incidents in 2013 involved more than two victims killed
       (U.S. Department of Justice Federal Bureau of Investigation, 2015).
          Most types of gun control focus on preventing more dangerous people from acquir-
       ing, possessing, or using any type of gun, and therefore have potential to prevent a
       wide array of gun crimes. A prime example is a law requiring background checks on
       persons seeking to buy guns. Gun laws with a background check component, such
       owner license and purchase permit laws, have been found to be potentially effective in
       reducing homicide (Kleck & Patterson, 1993, p. 274). There is already a federal law
       requiring background checks, but it only applies to purchases from licensed gun
       dealers. Extending these checks to cover private gun transfers—that is, implementing
       a federal universal background check (Kleck, 1991, pp. 433–435)—is far more likely
       to prevent significant numbers of gun crimes than measures aimed at rarely used gun
       technologies like LCMs and extremely rare types of violent incidents like mass
       shootings.

       Declaration of Conflicting Interests
       The author(s) declared no potential conflicts of interest with respect to the research, authorship,
       and/or publication of this article.



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        Funding
        The author(s) received no financial support for the research, authorship, and/or publication of
        this article.

        Supplementary Material
        The online appendices are available at http://journals.sagepub.com/doi/suppl/10.1177/
        1525107116674926

        Note
        1. Supplementary Homicide Reports (SHR) data for 2013 indicate that there were an average of
           1.063 victims per SHR-covered homicide incident, implying 13,349 incidents.

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       and served on numerous national task forces and panels. He is currently completing a book, with
       Brion Sever, on the effects of legal punishment on crime.




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             EXHIBIT "9"




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          Applied Economics Letters




          ISSN: 1350-4851 (Print) 1466-4291 (Online) Journal homepage: https://www.tandfonline.com/loi/rael20




    An examination of the effects of concealed
    weapons laws and assault weapons bans on state-
    level murder rates

    Mark Gius

    To cite this article: Mark Gius (2014) An examination of the effects of concealed weapons laws
    and assault weapons bans on state-level murder rates, Applied Economics Letters, 21:4, 265-267,
    DOI: 10.1080/13504851.2013.854294

    To link to this article: https://doi.org/10.1080/13504851.2013.854294




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 Applied Economics Letters, 2014
 Vol. 21, No. 4, 265–267, http://dx.doi.org/10.1080/13504851.2013.854294




 An examination of the effects of
 concealed weapons laws and assault
 weapons bans on state-level murder
 rates
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 The purpose of the present study is to determine the effects of state-level assault
 weapons bans and concealed weapons laws on state-level murder rates. Using
 data for the period 1980 to 2009 and controlling for state and year ﬁxed effects,
 the results of the present study suggest that states with restrictions on the carrying
 of concealed weapons had higher gun-related murder rates than other states. It
 was also found that assault weapons bans did not signiﬁcantly affect murder rates
 at the state level. These results suggest that restrictive concealed weapons laws
 may cause an increase in gun-related murders at the state level. The results of this
 study are consistent with some prior research in this area, most notably Lott and
 Mustard (1997).
 Keywords: gun control; assault weapons; concealed weapons

 JEL Classiﬁcation: K14


 I. Introduction                                                      enacted the ﬁrst state-level ban on assault weapons.
                                                                      Several states followed suit, and shortly thereafter
 On 14 December 2012, a young man carrying a                          Connecticut, Hawaii and New Jersey enacted their own
 Bushmaster XM15-E2S (Bushmaster Firearms, Madison,                   bans. In 1994, the Federal ban was enacted, thus rendering
 NC, USA) semi-automatic riﬂe shot his way into an ele-               state laws moot. After the Federal ban expired in 2004,
 mentary school in Newtown, Connecticut, killing 26 peo-              several states enacted their own bans once again.
 ple, 20 of whom were children. Since a semi-automatic                   Of course, there are many other types of gun control
 weapon was used in the commission of this crime, there               measures, both at the state and Federal level. One state-
 have been debates both in Congress and in various state              level gun control measure that was very common years ago
 legislatures regarding the potential enactment of assault            but, in recent years, has become much less prevalent is the
 weapons bans. One of the measures that were considered               restrictive concealed carry weapons (CCW) law. These
 at the Federal level was a revival of the 1994 Federal assault       laws concern how permits are issued to individuals who
 weapons ban, which expired in 2004. This ﬁrearms ban was             want to carry concealed weapons, primarily handguns.
 part of the Violent Crime Control and Law Enforcement                There are four broad types of CCW laws. The ﬁrst is unrest-
 Act of 1994, and this act outlawed semi-automatic weapons            ricted; individuals in these states do not need a permit to
 and prohibited large capacity magazines that held more               carry a concealed handgun. For years, the only state that had
 than 10 rounds of ammunition.                                        no CCW restrictions was Vermont. The next type of CCW
    Regarding state-level bans, no state had an assault               law is a ‘shall issue’ law. In a ‘shall issue’ state, a permit is
 weapons ban before 1989. Then, in that year, California              required to carry a concealed weapon, but state and local



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 authorities must issue a permit to any qualiﬁed applicant            The present study differs from this prior research in
 who requests one. This type of CCW law is not very                several ways. First, data for the period 1980 to 2009 is
 restrictive. The third type of law is ‘may issue’. In a ‘may      examined; this is one of the longest time periods examined
 issue’ state, local and state authorities can deny requests for   in any research on assault weapons bans or CCW laws.
 concealed carry permits, even requests are from qualiﬁed          Second, the gun-related murder rate is used as the depen-
 applicants. This type of CCW law is considered restrictive.       dent variable. The use of this crime rate is important
 Finally, there some states that do not allow private citizens     because most other studies looked at violent crime rates
 to carry concealed weapons. These states are known as ‘no         or homicide rates. Violent crime rate data is not disaggre-
 issue’ or prohibited states. It is important to note that these   gated into gun-related violent crime and non gun violent
 four categories of CCW laws are rather broad, and not all         crime, and homicides include justiﬁable killings and state-
 states within a given category are equally restrictive. These     sanctioned killings; hence, an analysis using these types of
 laws vary in restrictiveness depending upon how states            crime rates may result in spurious conclusions.
 interpret and enforce their CCW statutes. In addition,
 some cities and counties have more restrictive concealed
 weapons laws than their home states.                              III. Empirical Technique and Data
    In the present study, panel data controlling for both state
 and year ﬁxed effects will be used to determine if state-         In order to determine if concealed weapons laws and
 level CCW laws and assault weapons bans had any effects           assault weapons bans had statistically-signiﬁcant effects
 on gun-related murder rates. Given that these laws are            on gun-related murder rates, a ﬁxed effects model that
 well-deﬁned at the state level, and given that many states        controls for both state-level and year effects is used. The
 have altered these laws over the past 30 years, an analysis       dependent variable used was the state-level gun-related
 of the effects of CCW laws and assault weapons bans               murder rate. The gun-related murder rate is the crime rate
 would be much more informative than an analysis of                most affected by gun control measures, and hence is the
 other types of gun control measures that few states have          most appropriate crime rate to use in an analysis of the
 ever enacted and laws for which there has been little             effectiveness of gun control measures.
 change over the past 30 years.                                       Regarding the explanatory variables, dummy variables
                                                                   for assault weapons bans and restrictive CCW laws were
                                                                   included in the regression model. For the CCW dummy
 II. Literature Review                                             variable, if a state prohibits concealed weapons or if it is
                                                                   ‘may issue’, then it is assumed to be restrictive and is
 Although there have been numerous studies on the topic            denoted by a value of one. For the assault weapons
 of gun control (Kwon et al., 1997; Kleck and Hogan,               dummy variable, if a state has an assault weapons law,
 1999; Miller et al., 2002; Moorhouse and Wanner,                  then it is denoted by a one. Although the contents of these
 2006), research on assault weapons bans and CCW laws              statutes may differ quite substantially between states, for
 have been more limited. One of the few studies that               the purposes of this study, it is assumed that states with
 examined assault weapons bans was Koper and Roth                  these laws restrict ﬁrearm possession in some way.
 (2001). Using state-level data from 1970 to 1995, the             Finally, a dummy variable that equals one for the period
 authors found that the Federal ban had little to no effect        1994 to 2004 is included in order to control for the Federal
 on homicide rates associated with ﬁrearms and on gunshot          assault weapons ban.
 wounds per victim.                                                   In addition to the gun control measures, it is assumed
    Regarding CCW laws, Lott and Mustard (1997) found              that murder rates are dependent upon state demographics
 that states with ‘shall issue’ concealed weapons laws had         and various other state-level socioeconomic factors.
 lower crime rates than states with more restrictive gun           These control variables were selected based on their use
 laws. They found that ‘shall issue’ laws resulted in a            in prior research.
 7.65% drop in murders and a 5% drop in rapes. Their                  State-level data on gun-related murder rates were
 research suggests that individuals would be less likely to        obtained from the Supplementary Homicide Reports
 commit crimes if they knew that many others may be                which are compiled by the United States Department of
 carrying concealed weapons.                                       Justice. The murder rate is in terms of murders per 100 000
    Other research on CCW laws have yielded mixed                  persons. Information on state-level assault weapons bans
 results. Three papers that corroborated the ﬁndings of            and CCW laws were obtained from Ludwig and Cook
 Lott and Mustard (1997) were Bronars and Lott (1998),             (2003), the Legal Community Against Violence, the
 Bartley and Cohen (1998) and Moody (2001). Studies that           National Riﬂe Association and the United States Bureau
 contradicted the ﬁndings of Lott of Mustard include               of Alcohol, Tobacco, Firearms and Explosives. All other
 Ludwig (1998), Dezhbakhsh and Rubin (1998) and                    state-level data were obtained from relevant Census
 Donohue (2003).                                                   Bureau reports.




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 Gun control laws and murder rates                                                                                            267
 IV. Results and Concluding Remarks                              results. Laws may be ineffective due to loopholes and
                                                                 exemptions. The most violent states may also have the
 Results are presented on Table 1. The CCW dummy                 toughest gun control measures. Further research is war-
 variable is signiﬁcant and positive, but the assault weap-      ranted in this area.
 ons ban is insigniﬁcant. Given that the average gun-
 related murder rate over the period in question was
 3.44, the results of the present study indicate that states
 with more restrictive CCW laws had gun-related murder           References
 rates that were 10% higher. In addition, the Federal            Bartley, W. and Cohen, M. (1998) The effect of concealed
 assault weapons ban is signiﬁcant and positive, indicat-             weapons laws: an extreme bound analysis, Economic
 ing that murder rates were 19.3% higher when the                     Inquiry, 36, 258–65.
                                                                 Bronars, S. and Lott, J. (1998) Criminal deterrence, geographic
 Federal ban was in effect. These results corroborate the             spillovers, and the right to carry concealed handguns, The
 ﬁndings of Lott and Mustard (1997). These results sug-               American Economic Review, 88, 475–9.
 gest that, even after controlling for unobservable state        Dezhbakhsh, H. and Rubin, P. (1998) Lives saved or lives lost?
 and year ﬁxed effects, limiting the ability to carry con-            The effects of concealed handgun laws on crime, The
 cealed weapons may cause murder rates to increase.                   American Economic Review, 88, 468–74.
                                                                 Donohue, J. (2003) The impact of concealed-carry laws, in
 There may, however, be other explanations for these                  Evaluating Gun Policy: Effects on Crime and Violence,
                                                                      Ludwig, J. and Cook, P. (Eds), The Brookings Institution,
                                                                      Washington, DC, pp. 287–341.
 Table 1. Fixed effects regression gun-related murder rate       Kleck, G. and Hogan, M. (1999) National case-control study of
                                                                      homicide offending and gun ownership, Social Problems,
 Constant                                           −3.02             46, 275–93.
                                                   (–3.20)***    Koper, C. and Roth, J. (2001) The impact of the 1994 federal
 Assault weapons ban                                −0.29             assault weapon Ban on Gun violence outcomes: an assess-
                                                   (–1.57)            ment of multiple outcome measures and some lessons for
 Federal assault weapons ban                         0.66             policy evaluation, Journal of Quantitative Criminology, 17,
                                                    (2.42)**          33–74.
 Restrictive concealed carry laws                    0.365       Kwon, I.-W., Scott, B., Safranski, S. et al. (1997) The effective-
                                                    (3.74)***         ness of gun control laws: multivariate statistical analysis,
 Proportion of population that is white              0.172            American Journal of Economics and Sociology, 56, 41–50.
                                                    (1.76)*      Lott, J. and Mustard, D. (1997) Crime, deterrence, and right-to-
 Proportion of population that is rural              1.93             carry concealed handguns, The Journal of Legal Studies,
                                                    (3.97)***         26, 1–68.
 Real per capita median income                       0.00021     Ludwig, J. (1998) Concealed-Gun-Carrying laws and violent
                                                    (6.03)***         crime: evidence from state panel data, International
 Proportion of population with college degree       −1.367            Review of Law and Economics, 18, 239–54.
                                                   (–1.20)       Ludwig, J. and Cook, P. (Eds) (2003) Evaluating Gun Policy:
 Unemployment rate                                   3.397            Effects on Crime and Violence, The Brookings Institution,
                                                    (1.34)            Washington, DC.
 Proportion of population >18 and <25               11.45        Miller, M., Azrael, D. and Hemenway, D. (2002) Rates of house-
                                                    (2.27)**          hold ﬁrearm ownership and homicide across US regions
 Proportion of population >24 and <35               −2.876            and states, 1988–1997, American Journal of Public Health,
                                                   (–0.91)            92, 1988–93.
 Per capita alcohol consumption                      0.688       Moody, C. (2001) Testing for the effects of concealed weapons
                                                    (4.05)***         laws: speciﬁcation errors and robustness, Journal of Law
                                                                      and Economics, 44, 799–813.
 Notes: R2 = 0.797.                                              Moorhouse, J. and Wanner, B. (2006) Does gun control reduce
 Test statistics in parentheses.                                      crime or does crime increase gun control?, Cato Journal,
 * 5% < p-value < 10%; ** 1% < p-value < 5%; *** p-value < 1%.        26, 103–24.




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             EXHIBIT "10"




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                                          More Guns, Less Crime




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          MORE GUNS,
               LESS CRIME
                            UNDERSTANDING CRIME
                            AND GUN-CONTROL LAWS

                            TH IRD ED I TI O N




                            JOHN R. LOTT, JR.




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          John R. Lott, Jr., is the author of five books, including
          Freedomnomics and Are Predatory Commitments Credible? Who
          Should the Courts Believe?

          The University of Chicago Press, Chicago 60637
          The University of Chicago Press, Ltd., London
          © 1998, 2000, 2010 by The University of Chicago
          All rights reserved. Published 2010
          Printed in the United States of America
          19 18 17 16 15 14 13 12 11 10           1 2 3 4 5
          ISBN-13: 978-0-226- 49366-4 (paper)
          ISBN-10: 0-226-49366-0 (paper)

          Library of Congress Cataloging-in-Publication Data

          Lott, John R.
            More guns, less crime : understanding crime and gun-control
          laws / John R. Lott, Jr.—3rd ed.
               p. cm.
            Includes bibliographical references and index.
            ISBN-13: 978-0-226-49366-4 (pbk. : alk. paper)
            ISBN-10: 0-226-49366-0 (pbk. : alk. paper)
            1. Firearms—Law and legislation—United States. 2. Firearms
          and crime—United States. I. Title.
            KF3941.L68 2010
            344.7305'33—dc22
                                      2009036622

          o The paper used in this publication meets the minimum re-
          quirements of the American National Standard for Information
          Sciences—Permanence of Paper for Printed Library Materials,
          ANSI Z39.48-1992.




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          PREFACE TO T H E T H I RD ED I T I ON


                                Ten years have passed since the last edition of this
                                book. Much has happened in those years. Now
                                thirty-nine states have right-to-carry laws, a huge
                                increase from the eighteen states with them when
                                David Mustard and I first examined the relation-
                                ship between such laws and crime. That original
                                research in this book covered the sixteen years
                                from 1977 through 1992. The second edition ex-
                                tended it by four years and covered twenty-eight
                                states. Now, this new edition covers thirty-nine
                                states and twenty-nine years from 1977 through
                                2005. That is a lot of crime data to study, especially
                                with so many more states having adopted the law
                                during the time.
                                   By now, dozens of academics have published
                                studies on right-to-carry laws using national data.
                                These studies have either confirmed the beneficial
                                link between gun ownership and crime or at least
                                not found any indication that ownership increases
                                crime. Not too surprisingly, depending on the
                                precise methods used and the exact data set, the
                                results have varied. Some claim no eﬀect from
                                these laws, but not a single refereed study finds
                                the opposite result, that right-to-carry laws have
                                a bad eﬀect on crime.
                                   Unfortunately, even normally level-headed
                                scholars can get very emotional debating guns.
                                Perhaps I am naive, but I have continued to be
                                amazed by the great lengths people can go to at-
                                tack others and to distort research. I had no idea of



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          the political intensity of the gun issue when I entered into this hornet’s nest.
              Right-to-carry laws are still the focus of this new edition, but I will ad-
          dress questions about some new laws as well. One of them is the Castle
          Doctrine, which states that it is not necessary for a would-be victim to
          retreat as far as possible before using a gun defensively. The federal assault
          weapons ban will also be studied. The federal assault weapons ban started
          in 1994 but ended in 2004. Rarely do we get a chance to look at the impact of
          gun laws when they are first passed and then when they are eliminated.
              Not only have laws changed, but also the Supreme Court has ruled
          on important gun rights cases. A case of possible historic significance was
          the Supreme Court striking down the DC handgun ban in June 2008. The
          handgun ban in Chicago is currently being challenged in the courts, and it
          is possible that the Supreme Court will review that case also. Since the DC
          ruling, there has been a lot of renewed interest in the impact of gun bans
          on crime and suicide rates, and those same questions will be brought up
          again when deciding whether the Second Amendment applies to states as
          well as to areas controlled by the federal government, such DC.
              The legal questions will also now focus on how much the government
          can regulate gun ownership and on the ability to carry guns. The courts
          will turn from the simple legal question of whether governments at any
          level can ban guns to more complicated questions of what specific regula-
          tions are to be allowed.
              Since the second edition came out in 2000, I have continued working
          on gun-control issues. The research that John Whitley and I did on gun
          storage laws was published in the Journal of Law and Economics and is extended
          and updated in the new chapter. I have also updated previous research on
          multiple victim public shootings, work originally done together with Bill
          Landes. My previous work on gun show regulations and assault weapons
          has also been extended.
              I have had a lot of help on these diﬀerent projects. Research assistants
          have been extremely helpful with the very large data sets used in these
          studies. I need to thank Brian Blasé, James Knowles, and Maxim Lott for
          putting the new data together.
              Finally, I would like to thank academics at George Mason University
          Law School, Chapman University Law School, the University of Florida,
          and the University of Miami for their helpful comments on the entirely
          new chapter added at the end of this book. I would also like to thank six
          anonymous referees for their comments.




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          PREFACE TO T H E SEC OND ED I T I ON


                              The debate set oﬀ by this book was quite aston-
                              ishing to me. Despite attacks early on when my
                              paper was published in the Journal of Legal Studies, I
                              was still rather unprepared for the publicity gen-
                              erated by the book in 1998. This expanded edition
                              not only discusses the ensuing political debate
                              and responds to the various criticisms, but also
                              extends the data set to cover additional years.
                              Replicating the results over additional years is
                              important, so as to verify the original research.
                              The new extended and broadened data set has
                              also allowed me to study new gun laws, rang-
                              ing from safe-storage provisions to one-gun-a-
                              month purchase rules. It has also allowed me to
                              extend my study of the Brady law and its impact
                              to its first three years. Other extensions of the
                              data set include entirely new city-level statistics,
                              which made it possible to account more fully for
                              policing policies.
                                 Since I finished writing the first edition of this
                              book in 1997, I have continued working on many
                              related gun and crime issues. A new section of
                              the book draws on continued research that I am
                              conducting with numerous talented coauthors:
                              William Landes on multiple-victim public shoot-
                              ings, John Whitley on safe-storage gun laws, and
                              Kevin Cremin on police policies. Other work
                              was published in the May 1998 American Economic
                              Review under the title “Criminal Deterrence,
                              Geographic Spillovers, and the Right to Carry



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          Concealed Handguns,” coauthored with Stephen Bronars. Also, an article
          of mine, “The Concealed Handgun Debate,” was published in the January
          1998 issue of the Journal of Legal Studies.
              I am grateful for the many opportunities to present my new research
          in a variety of academic forums and for the many useful comments that I
          have received. The research on guns and crime has been presented at (a par-
          tial listing) Arizona State University, Auburn University, the University of
          Chicago, Claremont Graduate School, the University of Houston, the Uni-
          versity of Illinois, the University of Kansas, the University of Miami, New
          York University, the University of Oklahoma, the University of Southern
          California, Rice University, the University of Texas at Austin, the University
          of Texas at Dallas, the University of Virginia, the College of William and
          Mary, and Yeshiva University School of Law, as well as at the “Economics
          of Law Enforcement” Conference at Harvard Law School, the Association
          of American Law Schools meetings, the American Economic Association
          meetings, the American Society of Criminology meetings, the Midwest-
          ern Economic Association meetings, the National Lawyers Conference, the
          Southern Economic Association meetings, and the Western Economic As-
          sociation meetings. Other presentations have been made at such places as
          the Chicago Crime Commission, the Kansas Koch Crime Commission, the
          American Enterprise Institute, and the Heritage Foundation.
              Finally, I must thank the Yale Law School, where I am a senior research
          scholar, for providing me with the opportunity to write the new mate-
          rial that has been added to the book. I must also especially thank George
          Priest, who made this opportunity possible. The input of my wife and sons
          has been extremely important, and its importance has only been exceeded
          by their tolerance in putting up with the long working hours required to
          finish this revision.




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          PREFACE TO T H E FI RST ED I T I ON


                               Does allowing people to own or carry guns deter
                               violent crime? Or does it simply cause more citi-
                               zens to harm each other? Using the most com-
                               prehensive data set on crime yet assembled, this
                               book examines the relationship between gun
                               laws, arrest and conviction rates, the socioeco-
                               nomic and demographic compositions of coun-
                               ties and states, and diﬀerent rates of violent crime
                               and property crime. The eﬃcacy of the Brady
                               Law, concealed-handgun laws, waiting periods,
                               and background checks is evaluated for the first
                               time using nationwide, county-level data.
                                   The book begins with a description of the ar-
                               guments for and against gun control and of how
                               the claims should be tested. A large portion of the
                               existing research is critically reviewed. Several
                               chapters then empirically examine what facts in-
                               fluence the crime rate and answer the questions
                               posed above. Finally, I respond to the political
                               and academic attacks leveled against the original
                               version of my work, which was published in the
                               January 1997 issue of the Journal of Legal Studies.
                                   I would like to thank my wife, Gertrud Frem-
                               ling, for patiently reading and commenting on
                               many early drafts of this book, and my four
                               children for sitting through more dinnertime
                               conversations on the topics covered here than
                               anyone should be forced to endure. David Mus-
                               tard also assisted me in collecting the data for the
                               original article, which serves as the basis for some



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          of the discussions in chapters 4 and 5. Ongoing research with Steve Bronars
          and William Landes has contributed to this book. Maxim Lott provided
          valuable research assistance with the polling data.
              For their comments on diﬀerent portions of the work included in this
          book, I would like to thank Gary Becker, Steve Bronars, Clayton Cramer,
          Ed Glaeser, Hide Ichimura, Jon Karpoﬀ, C. B. Kates, Gary Kleck, David Ko-
          pel, William Landes, Wally Mullin, Derek Neal, Dan Polsby, Robert Reed,
          Tom Smith, seminar participants at the University of Chicago (the Eco-
          nomics and Legal Organization, the Rational Choice, and Divinity School
          workshops), Harvard University, Yale University, Stanford University,
          Northwestern University, Emory University, Fordham University, Val-
          paraiso University, the American Law and Economics Association Meetings,
          the American Society of Criminology, the Western Economic Association
          Meetings, and the Cato Institute. I also benefited from presentations at the
          annual conventions of the Illinois Police Association and the National As-
          sociation of Treasury Agents. Further, I would like to express my apprecia-
          tion to the John M. Olin Law and Economics Program at the University of
          Chicago Law School for its generous funding (a topic dealt with at length
          in chapter 7).




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                        1       Introduction

                            American culture is a gun culture—not merely
                            in the sense that in 2009 about 124 million people
                            lived in households that owned a total of about
                            270 million guns,1 but in the broader sense that
                            guns pervade our debates on crime and are con-
                            stantly present in movies and the news. How
                            many times have we read about shootings, or
                            how many times have we heard about tragic acci-
                            dental gun deaths—bad guys shooting innocent
                            victims, bad guys shooting each other in drug
                            wars, shots fired in self-defense, police shootings
                            of criminals, let alone shooting in wars? We are
                            inundated by images through the television and
                            the press. Our kids are fascinated by computer
                            war games and toy guns.
                                So we’re obsessed with guns. But the big ques-
                            tion is: What do we really know? How many
                            times have most of us actually used a gun or seen
                            a gun being used? How many of us have ever seen
                            somebody in real life threatening somebody else
                            with a gun, witnessed a shooting, or seen people
                            defend themselves by displaying or firing guns?
                                The truth is that most of us have very little
                            firsthand experience with using guns as weap-
                            ons. Even the vast majority of police oﬃcers
                            have never exchanged shots with a suspect.2
                            Most of us receive our images of guns and their
                            use through television, film, and newspapers.
                                Unfortunately, the images from the screen
                            and the newspapers are often unrepresentative

                            1

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          or biased because of the sensationalism and exaggeration typically employed
          to sell news and entertainment. A couple of instances of news reporting are
          especially instructive in illustrating this bias. In a highly publicized incident,
          a Dallas man became the first Texas resident charged with using a permitted
          concealed weapon in a fatal shooting.3 Only long after the initial wave of
          publicity did the press report that the person had been savagely beaten and
          in fear for his life before firing the gun. In another case a Japanese student
          was shot on his way to a Halloween party in Louisiana in 1992. It made in-
          ternational headlines and showed how defensive gun use can go tragically
          wrong.4 However, this incident was a rare event: in the entire United States
          during a year, only about 30 people are accidentally killed by private citizens
          who mistakenly believe the victim to be an intruder.5 By comparison, police
          accidentally kill as many as 330 innocent individuals annually.6 In neither
          the Louisiana case nor the Texas case did the courts find the shooting to
          be criminal.
              While news stories sometimes chronicle the defensive uses of guns, such
          discussions are rare compared to those depicting violent crime committed
          with guns. Since in many defensive cases a handgun is simply brandished,
          and no one is harmed, many defensive uses are never even reported to the
          police. I believe that this underreporting of defensive gun use is large, and
          this belief has been confirmed by the many stories I received from people
          across the country after the publicity broke on my original study. On the
          roughly one hundred radio talk shows on which I discussed that study,
          many people called in to say that they believed having a gun to defend
          themselves with had saved their lives. For instance, on a Philadelphia radio
          station, a New Jersey woman told how two men simultaneously had tried
          to open both front doors of the car she was in. When she brandished her
          gun and yelled, the men backed away and fled. Given the stringent gun-
          control laws in New Jersey, the woman said she never thought seriously of
          reporting the attempted attack to the police.
              Similarly, while I was on a trip to testify before the Nebraska Senate, John
          Haxby—a television newsman for the CBS aﬃliate in Omaha—privately
          revealed to me a frightening experience that he had faced in the summer
          of 1995 while visiting in Arizona. At about 10 a.m., while riding in a car with
          his brother at the wheel, they stopped for a red light. A man appeared
          wielding a “butcher’s knife” and opened the passenger door, but just as he
          was lunging towards John, the attacker suddenly turned and ran away. As
          John turned to his brother, he saw that his brother was holding a hand-




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          gun. His brother was one of many who had acquired permits under the
          concealed-handgun law passed in Arizona the previous year.
              Philip Van Cleave, a former reserve deputy sheriﬀ in Texas, wrote me,
          “Are criminals afraid of a law-abiding citizen with a gun? You bet. Most
          cases of a criminal being scared oﬀ by an armed citizen are probably not
          reported. But I have seen a criminal who was so frightened of an armed,
          seventy-year-old woman that in his panic to get away, he turned and ran
          right into a wall! (He was busy trying to kick down her door, when she
          opened a curtain and pointed a gun at him.)”
              Such stories are not limited to the United States. On February 3, 1996,
          outside a bar in Texcoco, Mexico (a city thirty miles east of Mexico City), a
          woman used a gun to stop a man from raping her. When the man lunged
          at the woman, “ripping her clothes and trying to rape her,” she pulled a
          .22-caliber pistol from her purse and shot her attacker once in the chest,
          killing him.7 The case generated much attention in Mexico when a judge
          initially refused to dismiss murder charges against the woman because she
          was viewed as being responsible for the attempted rape, having “enticed”
          the attacker “by having a drink with him at the bar.”8
              A national survey that I conducted during 2002 indicates that about 95
          percent of the time that people use guns defensively, they merely have
          to brandish a weapon to break oﬀ an attack. Such stories are not hard to
          find: pizza deliverymen defend themselves against robbers, carjackings are
          thwarted, robberies at automatic teller machines are prevented, and nu-
          merous armed robberies on the streets and in stores are foiled,9 though
          these do not receive the national coverage of other gun crimes.10 Yet the
          cases covered by the news media are hardly typical; most encounters re-
          ported involve a shooting that ends in a fatality.11
              A typical dramatic news story involved an Atlanta woman who pre-
          vented a carjacking and the kidnapping of her child; she was forced to
          shoot her assailant:

             A College Park woman shot and killed an armed man she says was trying
             to carjack her van with her and her 1-year-old daughter inside, police
             said Monday. . . .
                 Jackson told police that the gunman accosted her as she drove into the
             parking lot of an apartment complex on Camp Creek Parkway. She had
             planned to watch a broadcast of the Evander Holyfield–Mike Tyson fight
             with friends at the complex.




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                She fired after the man pointed a revolver at her and ordered her to
             “move over,” she told police. She oﬀered to take her daughter and give
             up the van, but the man refused, police said.
                “She was pleading with the guy to let her take the baby and leave the
             van, but he blocked the door,” said College Park Detective Reed Pollard.
             “She was protecting herself and the baby.”
                Jackson, who told police she bought the .44-caliber handgun in Sep-
             tember after her home was burglarized, said she fired several shots from
             the gun, which she kept concealed in a canvas bag beside her car seat. “She
             didn’t try to remove it,” Pollard said. “She just fired.”12

              Although the mother saved herself and her baby by her quick actions,
          it was a risky situation that might have ended diﬀerently. Even though there
          was no police oﬃcer to help protect her or her child, defending herself
          was not necessarily the only alternative. She could have behaved passively,
          and the criminal might have changed his mind and simply taken the van,
          letting the mother and child go. Even if he had taken the child, he might
          later have let the baby go unharmed. Indeed, some conventional wisdom
          claims that the best approach is not to resist an attack. According to a recent
          Los Angeles Times article, “‘active compliance’ is the surest way to survive a
          robbery. Victims who engage in active resistance . . . have the best odds of
          hanging on to their property. Unfortunately, they also have much better
          odds of winding up dead.”13
              Yet the evidence suggests that the College Park woman probably en-
          gaged in the correct action. While resistance is generally associated with
          higher probabilities of serious injury to the victim, not all types of resistance
          are equally risky. By examining the data provided from 1979 to 1987 by
          the Department of Justice’s National Crime Victimization Survey,14 Law-
          rence Southwick, confirming earlier estimates by Gary Kleck, found that
          the probability of serious injury from an attack is 2.5 times greater for
          women oﬀering no resistance than for women resisting with a gun. In
          contrast, the probability of women being seriously injured was almost 4
          times greater when resisting without a gun than when resisting with a
          gun. In other words, the best advice is to resist with a gun, but if no gun is
          available, it is better to oﬀer no resistance than to fight.15
              Men also fare better with guns, but the benefits are substantially smaller.
          Behaving passively is 1.4 times more likely to result in serious injury than
          resisting with a gun. Male victims, like females, also run the greatest risk
          when they resist without a gun, yet the diﬀerence is again much smaller:



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          resistance without a gun is only 1.5 times as likely to result in serious injury
          than resistance with a gun. The much smaller diﬀerence for men reflects
          the fact that a gun produces a smaller change in a man’s ability to defend
          himself than it does for a woman.
             Although usually skewed toward the dramatic, news stories do shed
          light on how criminals think. Anecdotes about criminals who choose vic-
          tims whom they perceive as weak are the most typical. While “weak” vic-
          tims are frequently women and the elderly, this is not always the case. For
          example, in a taped conversation with police investigators reported in the
          Cincinnati Enquirer (October 9, 1996, p. B2), Darnell “Bubba” Lowery described
          how he and Walter “Fatman” Raglin robbed and murdered musician Mi-
          chael Bany on December 29, 1995:
             Mr. Lowery said on the tape that he and Walter “Fatman” Raglin, who is
             also charged with aggravated robbery and aggravated murder and is on trial
             in another courtroom, had planned to rob a cab driver or a “dope boy.”
                 He said he gave his gun and bullets to Mr. Raglin. They decided against
             robbing a cab driver or drug dealer because both sometimes carried guns,
             he said.
                 Instead, they saw a man walking across the parking lot with some kind
             of musical instrument. He said as he looked out for police, Mr. Raglin ap-
             proached the man and asked for money.
                 After getting the money, Mr. Raglin asked if the man’s car was a stick
             or an automatic shift. Then Mr. Raglin shot the man.
              Criminals are motivated by self-preservation, and handguns can there-
          fore be a deterrent. The potential defensive nature of guns is further evi-
          denced by the diﬀerent rates of so-called “hot burglaries,” where a resident
          is at home when a criminal strikes.16 In Canada and Britain, both with tough
          gun-control laws, almost half of all burglaries are “hot burglaries.” In con-
          trast, the United States, with fewer restrictions, has a “hot burglary” rate
          of only 13 percent. Criminals are not just behaving diﬀerently by accident.
          Convicted American felons reveal in surveys that they are much more wor-
          ried about armed victims than about running into the police.17 The fear of
          potentially armed victims causes American burglars to spend more time
          than their foreign counterparts “casing” a house to ensure that nobody
          is home. Felons frequently comment in these interviews that they avoid
          late-night burglaries because “that’s the way to get shot.”18
              To an economist such as myself, the notion of deterrence—which causes
          criminals to avoid cab drivers, “dope boys,” or homes where the residents



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          are in—is not too surprising. We see the same basic relationships in all
          other areas of life: when the price of apples rises relative to that of oranges,
          people buy fewer apples and more oranges. To the non-economist, it may
          appear cold to make this comparison, but just as grocery shoppers switch
          to cheaper types of produce, criminals switch to attacking more vulnerable
          prey. Economists call this, appropriately enough, “the substitution eﬀect.”
              Deterrence matters not only to those who actively take defensive ac-
          tions. People who defend themselves may indirectly benefit other citizens.
          In the Cincinnati murder case just described, cab drivers and drug dealers
          who carry guns produce a benefit for cab drivers and drug dealers with-
          out guns. In the example involving “hot burglaries,” homeowners who
          defend themselves make burglars generally wary of breaking into homes.
          These spillover eﬀects are frequently referred to as “third-party eﬀects” or
          “external benefits.” In both cases criminals cannot know in advance who
          is armed.
              The case for allowing concealed handguns—as opposed to openly car-
          ried handguns—relies on this argument. When guns are concealed, crimi-
          nals are unable to tell whether the victim is armed before striking, which
          raises the risk to criminals of committing many types of crimes. On the
          other hand, with “open-carry” handgun laws, a potential victim’s defensive
          ability is readily identified, which makes it easier for criminals to choose the
          more vulnerable prey. In interviews with felony prisoners in ten state cor-
          rectional systems, 56 percent claimed that they would not attack a potential
          victim who was known to be armed. Indeed, the criminals in states with
          high civilian gun ownership were the most worried about encountering
          armed victims.19
              Other examples suggest that more than just common crimes may be
          prevented by law-abiding citizens carrying concealed handguns. Referring
          to the July, 1984, massacre at a San Ysidro, California, McDonald’s restau-
          rant, Israeli criminologist Abraham Tennenbaum described

             what occurred at a [crowded venue in] Jerusalem some weeks before
             the California McDonald’s massacre: three terrorists who attempted to
             machine-gun the throng managed to kill only one victim before being
             shot down by handgun-carrying Israelis. Presented to the press the next
             day, the surviving terrorist complained that his group had not realized
             that Israeli civilians were armed. The terrorists had planned to machine-
             gun a succession of crowd spots, thinking that they would be able to es-
             cape before the police or army could arrive to deal with them.20



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          On March 13, 1997, seven young seventh- and eighth-grade Israeli girls
          were shot to death by a Jordanian soldier while visiting Jordan’s so-called
          Island of Peace. Reportedly, the Israelis had “complied with Jordanian re-
          quests to leave their weapons behind when they entered the border en-
          clave. Otherwise, they might have been able to stop the shooting, several
          parents said.”21
              Obviously, arming citizens has not stopped terrorism in Israel; however,
          terrorists have responded to the relatively greater cost of shooting in public
          places by resorting to more bombings. This is exactly what the substitution
          eﬀect discussed above would predict. Is Israel better oﬀ with bombings in-
          stead of mass public shootings? That is not completely clear, although one
          might point out that if the terrorists previously chose shooting attacks
          rather than bombings but now can only be eﬀective by using bombs, their
          actions are limited in a way that should make terrorist attacks less eﬀective
          (even if only slightly).22
              Substitutability means that the most obvious explanations may not
          always be correct. For example, when the February 23, 1997, shooting at
          the Empire State Building left one person dead and six injured, it was not
          New York’s gun laws but Florida’s—where the gun was sold—that came
          under attack. New York City Mayor Rudolph W. Giuliani immediately
          called for national gun-licensing laws.23 While it is possible that even stricter
          gun-sale regulations in Florida might have prevented this and other shoot-
          ings, we might ask, Why did the gunman travel to New York rather than
          remain in Florida to do the shooting? And could someone intent on com-
          mitting the crime and willing to travel to Florida still have gotten a gun
          illegally some other way? It is important to study whether states that adopt
          concealed-handgun laws similar to those in Israel experience the same vir-
          tual elimination of mass public shootings. Such states may also run the risk
          that would-be attackers will substitute bombings for shootings, though
          there is the same potential downside to successfully banning guns. The
          question still boils down to an empirical one: Which policy will save the
          largest number of lives?


          The Numbers Debate and Crime
          Unfortunately, the debate over crime involves many commonly accepted
          “facts” that simply are not true. For example, take the claim that individu-
          als are frequently killed by people they know.24 As shown in table 1.1, ac-
          cording to the FBI’s Uniform Crime Reports, 58 percent of the country’s murders



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          Table 1.1 Murderers and victims: relationship and characteristics
                                              Percent of cases involving
                                              the relationship                  Percent of victims         Percent of offenders
          Relationship                                                          —                          —
            Family                             18%
            Acquaintance (non-                 40
              friend and friend)
            Stranger                           13
            Unknown                            30
              Total                           101
          Race
            Black                                                                38%                        33%
            White                                                                54                         42
            Hispanic                                                              2                          2
            Other                                                                 5                          4
            Unknown                                                               1                         19
              Total                                                             100                        100
          Sex
            Female                                                               29                          9
            Male                                                                 71                         72
            Unknown                                                               0                         19
              Total                                                             100                        100
          Source: U.S. Dept. of Justice, FBI staﬀ, Uniform Crime Reports, (Washington, DC: U.S. Govt. Printing Oﬃce, 1992
          Note: Nonfriend acquaintances include drug pushers and buyers, gang members, prostitutes and their clients, bar
          customers, gamblers, cab drivers killed by their customers, neighbors, other nonfriend acquaintances, and friends. The
          total equals more than 100 percent because of rounding. The average age of victims was 33; that of oﬀenders was 30.




          were committed either by family members (18 percent) or by those who
          “knew” the victims (40 percent). Although the victims’ relationship to their
          attackers could not be determined in 30 percent of the cases, 13 percent of
          all murders were committed by complete strangers.25
              Surely the impression created by these numbers has been that most
          victims are murdered by close acquaintances. Yet this is far from the truth.
          In interpreting the numbers, one must understand how these classifica-
          tions are made. In this case, “murderers who know their victims” is a very
          broad category. A huge but not clearly determined portion of this category
          includes rival gang members who know each other.26 In larger urban ar-
          eas, where most murders occur, the majority of murders are due to gang-
          related turf wars over drugs.
              The Chicago Police Department, which keeps unusually detailed num-
          bers on these crimes, finds that just 5 percent of all murders in the city
          from 1990 to 1995 were committed by nonfamily friends, neighbors, or
          roommates.27 This is clearly important in understanding crime. The list
          of nonfriend acquaintance murderers is filled with cases in which the rela-
          tionships would not be regarded by most people as particularly close: for



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          example, relationships between drug pushers and buyers, gang members,
          prostitutes and their clients, bar customers, gamblers, and cabdrivers killed
          by their customers.
              While I do not wish to downplay domestic violence, most people do
          not envision gang members or drug buyers and pushers killing each other
          when they hear that 58 percent of murder victims were either relatives
          or acquaintances of their murderers.28 If family members are included, no
          more than 17 percent of all murders in Chicago for 1990–95 involved fam-
          ily members, friends, neighbors, or roommates.29 While the total number
          of murders in Chicago grew from 395 in 1965 to 814 in 1995, the number
          involving family members, friends, neighbors, or roommates remained vir-
          tually unchanged. What has grown is the number of murders by nonfriend
          acquaintances, strangers, identified gangs, and persons unknown.30
              Few murderers could be classified as previously law-abiding citizens. In
          the largest seventy-five counties in the United States in 1988, over 89 percent
          of adult murderers had criminal records as adults.31 Evidence for Boston,
          the one city where reliable data have been collected, shows that, from 1990
          to 1994, 76 percent of juvenile murder victims and 77 percent of juveniles
          who murdered other juveniles had prior criminal arraignments.32
              Claims of the large number of murders committed against acquain-
          tances also create a misleading fear of those we know. To put it bluntly,
          criminals are not typical citizens. As is well known, young males from their
          mid-teens to mid-thirties commit a disproportionate share of crime,33 but
          even this categorization can be substantially narrowed. We know that crim-
          inals tend to have low IQs as well as atypical personalities.
              For example, delinquents generally tend to be more “assertive, unafraid,
          aggressive, unconventional, extroverted, and poorly socialized,” while non-
          deliquents are “self-controlled, concerned about their relations with others,
          willing to be guided by social standards, and rich in internal feelings like in-
          security, helplessness, love (or lack of love), and anxiety.”34 Other evidence
          indicates that criminals tend to be more impulsive and put relatively little
          weight on future events.35 Finally, we cannot ignore the unfortunate fact
          that crime (particularly violent crime, and especially murder) is dispropor-
          tionately committed against blacks by blacks.36
              The news media also play an important role in shaping what we perceive
          as the greatest threats to our safety. Because we live in such a national news
          market, we learn very quickly about tragedies in other parts of the coun-
          try.37 As a result, some events appear to be much more common than they
          actually are. For instance, children are much less likely to be accidentally



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          killed by guns (particularly handguns) than most people think. Consider
          the following numbers: In 2006 there were a total of 642 accidental firearm
          deaths in the entire country. A relatively small portion of these involved
          children under age ten: 13 deaths involved children up to four years of age
          and 18 more deaths involved five- to nine-year-olds.38 In comparison, 1,305
          children died in motor-vehicle crashes and another 392 died when they
          were struck by motor vehicles, 651 died from drowning, and 348 were killed
          by fire and burns. Almost three times as many children drown in bathtubs
          each year than die from all types of firearm accidents.
              Of course, any child’s death is tragic, and it oﬀers little consolation to
          point out that common fixtures in life from pools to heaters result in even
          more deaths. Yet the very rules that seek to save lives can result in more
          deaths. For example, banning swimming pools would help prevent drown-
          ing, and banning bicycles would eliminate bicycling accidents, but if fewer
          people exercise, life spans will be shortened. Heaters may start fires, but
          they also keep people from getting sick and from freezing to death. So
          whether we want to allow pools or space heaters depends not only on
          whether some people may end up being harmed, but also on whether more
          people are helped than hurt.
              Similar trade-oﬀs exist for gun-control issues, such as gun locks. As for-
          mer president Clinton argued many times, “We protect aspirin bottles in
          this country better than we protect guns from accidents by children.”39
          Yet gun locks require that guns be unloaded, and a locked, unloaded gun
          does not oﬀer ready protection from intruders.40 The debate is not simply
          over whether one wants to save lives or not. Rather, it involves the ques-
          tion of how many of these two hundred accidental gun deaths would have
          been avoided under diﬀerent rules versus the extent to which such rules
          would have reduced the ability to defend against criminals. Without look-
          ing at data, one can only guess the net eﬀects.41 Unfortunately, despite the
          best intentions, evidence indicates that child-resistant bottle caps actually
          have resulted in “3,500 additional poisonings of children under age 5 annu-
          ally from [aspirin-related drugs] . . . [as] consumers have been lulled into a
          less-safety-conscious mode of behavior by the existence of safety caps.”42 If
          President Clinton had been aware of such research, he surely wouldn’t have
          referred to aspirin bottles when telling us how to deal with guns.43
              Another common argument made in favor of banning guns involves
          the number of people who die from guns each year: there were 17,034 ho-
          micides and 18,169 suicides in 1992 alone.44 Yet, just because a law is passed to
          ban guns, it does not automatically follow that the total number of deaths



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           will decline. Given the large stock of guns in the country and given the
           diﬃculties the government faces in preventing other illegal items, such as
           drugs, from entering the country, it is quite doubtful that the government
           would be able to eliminate most guns. This raises the important question:
           Would the law primarily reduce the number of guns held by law-abiding
           citizens? How would such a law alter the relative balance of power between
           criminals and law-abiding citizens?
               Suppose it were indeed possible to remove all guns. Other problems are
           still likely to arise. Perhaps successfully removing guns would discourage
           murders and other crimes because criminals would find knives and clubs
           poor alternatives. But on the other hand it would be easier for criminals
           to prey on the weakest citizens, who would find it more diﬃcult to de-
           fend themselves. Suicide raises other questions. It is simply not suﬃcient to
           point to the number of people who kill themselves with guns. The debate
           must be over what substitute methods are available and whether they ap-
           pear suﬃciently less attractive. Even evidence about the “success rate” of
           diﬀerent methods of suicide is not enough, because we need to ask why
           people choose the method that they do. If people who were more intent
           than others on successfully killing themselves previously chose guns, forc-
           ing them to use other methods might raise the reported “success rate” for
           these other methods. Broader concerns for the general public also arise.
           For example, even if we banned many of the obvious ways of committing
           suicide, many methods exist that we could never really control. And these
           substitute methods might endanger others in ways that shootings do not.
           For example, deliberately crashing one’s car, throwing oneself in front of a
           train, or jumping oﬀ a building.
               This book attempts to measure this trade-oﬀ for guns. Our primary
           questions are the following: Will allowing citizens to carry concealed
           handguns mean that otherwise law-abiding people will harm each other?
           Will the threat of self-defense by citizens armed with guns primarily deter
           criminals? Without a doubt, both “bad” and “good” uses of guns occur.
           The question isn’t really whether both occur; it is, rather: Which is more
           important? In general, do concealed handguns save or cost lives? Even a
           devoted believer in deterrence cannot answer this question without ex-
           amining the data, because these two diﬀerent eﬀects clearly exist, and they
           work in opposite directions.
               To some, however, the logic is fairly straightforward. Philip Cook argues
           that “if you introduce a gun into a violent encounter, it increases the chance
           that someone will die.”45 A large number of murders may arise from un-



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          intentional fits of rage that are quickly regretted, and simply keeping guns
          out of people’s reach would prevent deaths.46 Others point to the horrible
          public shootings that occur not just in the United States but in recent years
          around the world, from the two worst high school shootings in Germany
          to Mumbai, India, where 163 people were killed.
              The survey evidence of defensive gun use weighs importantly in this
          debate. At the lowest end of these estimates, the U.S. Department of Jus-
          tice’s National Crime Victimization Survey reports that each year there
          are “only” 110,000 defensive uses of guns during assaults, robberies, and
          household burglaries.47 Other national polls weight regions by population
          and thus have the advantage, unlike the National Crime Victimization Sur-
          vey, of not relying too heavily on data from urban areas.48 These national
          polls should also produce more honest answers, since a law-enforcement
          agency is not asking the questions.49 They imply much higher defensive use
          rates. Fifteen national polls, including those by organizations such as the Los
          Angeles Times, Gallup, and Peter Hart Research Associates, imply that there
          are 760,000 defensive handgun uses to 3.6 million defensive uses of any type
          of gun per year.50 Yet even if these estimates are wrong by a very large factor,
          they still suggest that defensive gun use is extremely common.
              Some evidence on whether concealed-handgun laws will lead to in-
          creased crimes is readily available. Between October 1, 1987, when Florida’s
          “concealed-carry” law took eﬀect, and the end of 1996, over 380,000 licenses
          had been issued, and only 72 had been revoked because of crimes commit-
          ted by license holders (most of which did not involve the permitted gun).51
          A statewide breakdown on the nature of those crimes is not available, but
          Dade County records indicate that four crimes involving a permitted hand-
          gun took place there between September 1987 and August 1992, and none
          of those cases resulted in injury.52 Similarly, Multnomah County, Oregon,
          issued 11,140 permits over the period from January 1990 to October 1994;
          only five permit holders were involved in shootings, three of which were
          considered justified by grand juries. Of the other two cases, one involved
          a shooting in a domestic dispute, and the other involved an accident that
          occurred while a gun was being unloaded; neither resulted in a fatality.53
              In Virginia, “Not a single Virginia permit-holder has been involved in vi-
          olent crime.”54 In the first year following the enactment of concealed-carry
          legislation in Texas, more than 114,000 licenses were issued, and only 17
          have so far been revoked by the Department of Public Safety (reasons not
          specified).55 After Nevada’s first year, “Law enforcement oﬃcials throughout




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           the state could not document one case of a fatality that resulted from irre-
           sponsible gun use by someone who obtained a permit under the new law.”56
           Speaking for the Kentucky Chiefs of Police Association, Lt. Col. Bill Dorsey,
           Covington assistant police chief, concluded that after the law had been in
           eﬀect for nine months, “We haven’t seen any cases where a [concealed-
           carry] permit holder has committed an oﬀense with a firearm,”57 In North
           Carolina, “Permit-holding gun owners have not had a single permit re-
           voked as a result of use of a gun in a crime.”58 Similarly, for South Carolina,
           “Only one person who has received a pistol permit since 1989 has been in-
           dicted on a felony charge, a comparison of permit and circuit court records
           shows. That charge, . . . for allegedly transferring stolen property last year,
           was dropped by prosecutors after evidence failed to support the charge.”59
              During state legislative hearings on concealed-handgun laws, the most
           commonly raised concerns involved fears that armed citizens would at-
           tack each other in the heat of the moment following car accidents or
           accidentally shoot a police oﬃcer. The evidence shows that such fears
           are unfounded: although thirty-one states had so-called nondiscretionary
           concealed-handgun laws when this book was first written, some of them
           decades old, there existed only one recorded incident of a permitted, con-
           cealed handgun being used in a shooting following a traﬃc accident, and
           that involved self-defense.60 No permit holder has ever shot a police oﬃcer,
           and there have been cases where permit holders have used their guns to
           save oﬃcers’ lives.
              Let us return to the fundamental issue of self-protection. For many
           people, the ultimate concern boils down to protection from violence. Un-
           fortunately, our legal system cannot provide people with all the protection
           that they desire, and yet individuals are often prevented from defending
           themselves. A particularly tragic event occurred in 1996 in Baltimore:

              Less than a year ago, James Edward Scott shot and wounded an intruder
              in the back yard of his West Baltimore home, and according to neighbors,
              authorities took away his gun.
                  Tuesday night, someone apparently broke into his three-story row
              house again. But this time the 83-year-old Scott didn’t have his .22-caliber
              rifle, and police said he was strangled when he confronted the burglar.
                  “If he would have had the gun, he would be OK,” said one neighbor
              who declined to give his name, fearing retribution from the attacker, who
              had not been arrested as of yesterday. . . .




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                Neighbors said burglars repeatedly broke into Scott’s home. Ruses [a
             neighbor] said Scott often talked about “the people who would harass him
             because he worked out back by himself.”61

              Others find themselves in a position in which either they no longer
          report attacks to the police when they have used a gun to defend them-
          selves, or they no longer carry guns for self-defense. Josie Cash learned this
          lesson the hard way, though charges against her were ultimately dropped.
          “The Rockford [Illinois] woman used her gun to scare oﬀ muggers who
          tried to take her pizza delivery money. But when she reported the incident
          to police, they filed felony charges against her for carrying a concealed
          weapon.”62
              A well-known story involved Alan Berg, a liberal Denver talk-show host
          who took great delight in provoking and insulting those he disagreed with.
          Berg attempted to obtain a permit after receiving death threats from white
          supremacists, but the police first attempted to talk him out of applying and
          then ultimately rejected his request. Shortly after his request was denied,
          Berg was murdered by members of the Aryan Nations.63
              As a Chicago cabdriver told me, “What good is a police oﬃcer going
          to do me if you pulled a knife or a gun on me right now?”64 Nor are rural,
          low-crime areas immune from these concerns. Illinois State Representative
          Terry Deering (Democrat) noted that “we live in areas where if we have a
          state trooper on duty at any given time in a whole county, we feel very for-
          tunate. Some counties in downstate rural Illinois don’t even have 24-hour
          police protection.”65 The police cannot feasibly protect everybody all the
          time, and perhaps because of this, police oﬃcers are typically sympathetic
          to law-abiding citizens who own guns.66
              Mail-in surveys are seldom accurate, because only those who feel in-
          tensely about an issue are likely to respond, but they provide the best in-
          formation that we have on police oﬃcers’ views. A 2005 mail survey of
          twenty-two thousand chiefs of police and sheriﬀs conducted by the Na-
          tional Association of Chiefs of Police found that 92 percent believed that
          law-abiding citizens should continue to be able to purchase guns for self-
          defense.67 Sixty percent thought that a national concealed-handgun permit
          law will “reduce rates of violent crime.” The Southern States Police Benevo-
          lent Association surveyed its eleven thousand members during June of 1993
          (36 percent responded) and reported similar findings: 96 percent of those
          who responded agreed with the statement, “People should have the right to
          own a gun for self-protection,” and 71 percent did not believe that stricter



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           handgun laws would reduce the number of violent crimes.68 A national
           reader survey conducted in 1991 by Law Enforcement Technology magazine found
           that 76 percent of street oﬃcers and 59 percent of managerial oﬃcers agreed
           that all trained, responsible adults should be able to obtain handgun-carry
           permits.69 By similarly overwhelming percentages, these oﬃcers and police
           chiefs rejected claims that the Brady law would lower the crime rate.
               The passage of concealed-handgun laws has also caused former op-
           ponents in law enforcement to change their positions. Recently in Texas,
           “vocal opponent” Harris County District Attorney John Holmes admitted,
           “I’m eating a lot of crow on this issue. It’s not something I necessarily like
           to do, but I’m doing it on this.”70 Soon after the implementation of the
           Florida law, the president and the executive director of the Florida Chiefs
           of Police and the head of the Florida Sheriﬀ’s Association all admitted that
           they had changed their views on the subject. They also admitted that de-
           spite their best eﬀorts to document problems arising from the law, they
           have been unable to do so.71 The experience in Kentucky has been similar;
           as Campbell County Sheriﬀ John Dunn says, “I have changed my opinion
           of this [program]. Frankly, I anticipated a certain type of people applying to
           carry firearms, people I would be uncomfortable with being able to carry a
           concealed weapon. That has not been the case. These are all just everyday
           citizens who feel they need some protection.”72
               Support among rank-and-file police oﬃcers and the general population
           for the right of individuals to carry guns for self-protection is even higher
           than it is among police chiefs. A national poll by the Lawrence Research
           group (September 21—28, 1996) found that by a margin of 69 to 28 percent,
           registered voters favor “a law allowing law-abiding citizens to be issued a
           permit to carry a firearm for personal protection outside their home.”73 A
           recent national polling by the Zogby International (July 2009) appears even
           more supportive of at least allowing some law-abiding citizens to carry con-
           cealed handguns. They found that 83 percent supported “laws that allow
           residents to carry firearms to protect themselves,” while only 11 opposed
           them.74 Perhaps just as telling, a 2008 Gallup poll found that the percent of
           people who favor a ban on handguns had fallen to a fifty-year low.75
               A National Opinion Research Center poll also provides some insights
           into who supports tighter restrictions on gun ownership; it claims that
           “the less educated and those who haven’t been threatened with a gun are
           most supportive of gun control.”76 If this is true, it appears that those most
           supportive of restrictions also tend to be those least directly threatened
           by crime.77



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             State legislators also acknowledge the inability of the police to be always
          available, even in the most public places, by voting to allow themselves un-
          usually broad rights to carry concealed handguns. During the 1996 legisla-
          tive session, for example, Georgia “state legislators quietly gave themselves
          and a few top oﬃcials the right to carry concealed guns to places most
          residents can’t: schools, churches, political rallies, and even the Capitol.”78
          Even local prosecutors in California strenuously objected to restrictions on
          their rights to carry concealed handguns.79
             Although people with concealed handgun permits must generally view
          the police as oﬀering insuﬃcient protection, it is diﬃcult to discern any
          pattern of political orientation among celebrities who have concealed-
          handgun permits: Bill Cosby, Cybill Shepherd, Howard Stern, Donald
          Trump, Arthur O. Sulzberger (chairman of the New York Times), union
          bosses, Laurence Rockefeller, Tom Selleck, and Robert De Niro. The reasons
          these people gave on their applications for permits were similar. Laurence
          Rockefeller’s reason was that he carries “large sums of money”; Arthur
          Sulzberger wrote that he carries “large sums of money, securities, etc.”; and
          William Buckley listed “protection of personal property when traveling in
          and about the city” as his reason.80 Some made their decision to carry a gun
          after being victims of crime.81
             And when the Denver Post asked Sen. Ben Nighthorse Campbell (R-Colo.)
          “how it looks for a senator to be packing heat,” he responded, “You’d be
          surprised how many senators have guns.” Campbell said that “he needed
          the gun back in the days when he exhibited his Native American jewelry
          and traveled long distances between craft shows.”82


          Emotion, Rationality, and Deterrence
          In 1995 two children, ten and eleven years old, dropped a five-year-old boy
          from the fourteenth floor of a vacant Chicago Housing Authority apart-
          ment.83 The reason? The five-year-old refused to steal candy for them. Or
          consider the case of Vincent Drost, a promising musician in the process
          of composing a symphony, who was stabbed to death immediately after
          making a call from a pay telephone to his girlfriend. The reason? Accord-
          ing to the newspapers, “His five teenage attackers told police they wanted
          to have some fun and simply wanted ‘to do’ somebody.”84 It is not diﬃcult
          to find crimes such as “the fatal beating of a school teacher” described as
          “extremely wicked, shockingly evil.” The defense attorney in this crime
          described the act as one of “insane jealousy.”85



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              The notion of “irrational” crime is enshrined by forty-seven states that
           recognize insanity defenses.86 Criminal law recognizes that emotions can
           overwhelm our normal judgments in other ways.87 For example, under the
           Model Penal Code, intentional homicide results in the penalty for man-
           slaughter when it “is committed under the influence of extreme mental
           or emotional disturbance for which there is reasonable explanation or ex-
           cuse.”88 These mitigating factors are often discussed in terms of the “heat
           of passion” or “cooling time,” the latter phrase referring to “the interval in
           which ‘blood’ can be expected ‘to cool’” or the time required for “reason
           to reassert itself.”89 Another related distinction is drawn between first- and
           second-degree murder: “The deliberate killer is guilty of first-degree mur-
           der; the impulsive killer is not.”90 In practice, the distinction between these
           two grades appears to rely less on premeditation than on whether the act
           was done without emotion or “in cold blood,” “as is the case [when] some-
           one who kills for money . . . displays calculation and greed.”91
              Some academics go beyond these cases or laws to make more general
           claims about the motives behind crime. Thomas Carroll, an associate pro-
           fessor of sociology at the University of Missouri at Kansas City, states that
           “murder is an irrational act, [and] we don’t have explanations for irrational
           behavior.”92 From this he draws the conclusion that “there’s really no statis-
           tical explanation” for what causes murder rates to fluctuate. Do criminals
           respond to disincentives? Or are emotions and attitudes the determining
           factors in crime? If violent acts occur merely because of random emotions,
           stronger penalties would only reduce crime to the extent that the people
           least able to control such violent feelings can be imprisoned.
              There are obvious diﬃculties with taking this argument against deter-
           rence to its extreme. For example, as long as “even a handful” of criminals
           respond to deterrence, increasing penalties will reduce crime. Higher prob-
           abilities of arrest or conviction as well as longer prison terms might then
           possibly “pay” for themselves. As the cases in the previous section have il-
           lustrated, criminal decisions—from when to break into a residence, whom
           to attack, or whether to attack people by using guns or bombs—appear
           diﬃcult to explain without reference to deterrence. Some researchers try
           to draw a distinction between crimes that they view as “more rational,” like
           robbery and burglary, and others, such as murder. If such a distinction is
           valid, one might argue that deterrence would then at least be eﬀective for
           the more “rational” crimes.
              Yet even if we assume that most criminals are largely irrational, deter-
           rence issues raise some tough questions about human nature, questions



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          that are at the heart of very diﬀerent views of crime and how to combat
          it. Still it is important to draw a distinction between “irrational” behavior
          and the notion that deterrence doesn’t matter. One doesn’t necessarily
          imply the other. For instance, some people may hold strange, unfathom-
          able objectives, but this does not mean that they cannot be discouraged
          from doing things that bring increasingly undesirable consequences. While
          we may not solve the deeper mysteries of how the human mind works,
          I hope that the following uncontroversial example can help show how
          deterrence works.
              Suppose that a hypothetical Mr. Smith is passed over for promotion.
          He kept a stiﬀ upper lip at work, but after he gets home, he kicks his dog.
          Now this might appear entirely irrational: the dog did not misbehave. Obvi-
          ously, Mr. Smith got angry at his boss, but he took it out on his poor dog
          instead. Could we conclude that he is an emotional, irrational individual
          not responding to incentives? Hardly. The reason that he did not respond
          forcefully to his boss is probably that he feared the consequences. Express-
          ing his anger at the boss might have resulted in being fired or passed up for
          future promotions. An alternative way to vent his frustration would have
          been to kick his co-workers or throw things around the oﬃce. But again,
          Mr. Smith chose not to engage in such behavior because of the likely con-
          sequences for his job and possible assault charges. In economic terms, the
          costs are too high. He managed to bottle up his anger until he gets home
          and kicks his dog. The dog is a “low-cost” victim.
              Here lies the perplexity: the whole act may be viewed as highly irratio-
          nal—after all, Mr. Smith doesn’t truly accomplish anything. But still he
          tries to minimize the bad consequences of venting his anger. Perhaps we
          could label Mr. Smith’s behavior as “semirational,” a mixture of seemingly
          senseless emotion and rational behavior at the same time.
              What about changing the set of punishments in the example above?
          What if Mr. Smith had a “killer dog,” that bit anyone who abused it (equiva-
          lent to arming potential victims)? Or what if Mr. Smith were likely to be
          arrested and convicted for animal abuse? Several scenarios are plausible.
          First, he might have found another victim, perhaps a family member, to
          hit or kick. Or he might have modified his outwardly aggressive acts by
          merely yelling at family and neighbors or demolishing something. Or he
          might have repressed his anger—either by bottling up his frustration or
          finding some nonviolent substitute, such as watching a video, to help him
          forget the day’s events.




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              Responding to disincentives is by no means limited to “rational” hu-
          mans. Economists have produced a large number of studies that investi-
          gate whether animals take the costs of doing things into account.93 Animal
          subjects have included both rats and pigeons, and the typical experiment
          measures the amount of some desired treat or standard laboratory food or
          fluid that is consumed in relation to the number of times the animal must
          push a lever to get the item. Other experiments alter the amount of the
          item received for a given number of lever pushes. These experiments have
          been tried in many diﬀerent contexts. For example, does an animal’s will-
          ingness to work for special treats, such as root beer or cherry cola, depend
          upon the existence of unlimited supplies of water or standard laboratory
          food? These experiments consistently show that as the “cost” of obtaining
          the food increases, the animal obtains less food. In economic terms, “De-
          mand curves are downward sloping.”
              As for human beings, a large economics literature exists that over-
          whelmingly demonstrates that people commit fewer crimes if criminal
          penalties are more severe or more certain. Whether we consider the num-
          ber of airliners hijacked in the 1970s,94 evasion of the military draft,95 or in-
          ternational data on violent and property crimes,96 stiﬀer penalties or higher
          probabilities of conviction result in fewer violations of the law. Sociologists
          are more cautious, but the National Research Council of the U.S. National
          Academy of Sciences established the Panel on Research on Deterrent and
          Incapacitative Eﬀects in 1978 to evaluate the many academic studies of de-
          terrence. The panel concluded as follows: “Taken as a whole, the evidence
          consistently finds a negative association between crime rates and the risks
          of apprehension, conviction or imprisonment. . . . the evidence certainly
          favors a proposition supporting deterrence more than it favors one assert-
          ing that deterrence is absent.”97
              This debate on incentives and how people respond to them arises repeat-
          edly in many diﬀerent contexts. Take gun-buyback programs. Surely the
          intention of such programs is good, but why should we believe that they
          will greatly influence the number of guns on the street? True, the guns
          purchased are removed from circulation, and these programs may help to
          stigmatize gun ownership. Yet if they continue, one eﬀect of such programs
          will be to increase the return to buying a gun. The price that a person is
          willing to pay for a gun today increases as the price for which it can be
          sold rises. In the extreme case, if the price oﬀered in these gun-buyback
          programs ever became suﬃciently high, people would simply buy guns




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          in order to sell them through these programs. This would hardly distress
          gun manufacturers. Empirical work on this question reveals no impact on
          crime from these programs.98
             Introspection can go only so far. Ultimately, the issue of whether sanc-
          tions or other costs deter criminals can be decided only empirically. To
          what extent will concealed-handgun laws or gun-control laws raise these
          costs? To what extent will criminals be deterred by these costs? In chapter 2
          we will consider how to test these questions.


          An Overview
          This book oﬀers a critical review of the existing evidence on gun control and
          crime. The primary focus will be on whether gun laws save or cost lives.
              To answer these questions I use a wide array of data. For instance, I have
          employed polls that allow us to track how gun ownership has changed
          over time in diﬀerent states, as well as the massive FBI yearly crime rate
          data for all 3,054 U.S. counties from 1977 to 1992. I use additional, more
          recently available data for 1993 and 1994 later to check my results. Over the
          last decade, gun ownership has been growing for virtually all demographic
          groups, though the fastest growing group of gun owners is Republican
          women, thirty to forty-four years of age, who live in rural areas. National
          crime rates have been falling at the same time as gun ownership has been
          rising. Likewise, states experiencing the greatest reductions in crime are also
          the ones with the fastest growing percentages of gun ownership.
              Overall, my conclusion is that criminals as a group tend to behave ra-
          tionally—when crime becomes more diﬃcult, less crime is committed.
          Higher arrest and conviction rates dramatically reduce crime. Criminals
          also move out of jurisdictions in which criminal deterrence increases. Yet
          criminals respond to more than just the actions taken by the police and
          the courts. Citizens can take private actions that also deter crime. Allowing
          citizens to carry concealed handguns reduces violent crimes, and the re-
          ductions coincide very closely with the number of concealed-handgun per-
          mits issued. Mass shootings in public places are reduced when law-abiding
          citizens are allowed to carry concealed handguns.
              Not all crime categories showed reductions, however. Allowing con-
          cealed handguns might cause small increases in larceny and auto theft.
          When potential victims are able to arm themselves, some criminals turn
          away from crimes like robbery that require direct attacks and turn instead




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           to such crimes as auto theft, where the probability of direct contact with
           victims is small.
               There were other surprises as well. While the support for the strictest
           gun-control laws is usually strongest in large cities, the largest drops in
           violent crime from legalized concealed handguns occurred in the most
           urban counties with the greatest populations and the highest crime rates.
           Given the limited resources available to law enforcement and our desire to
           spend those resources wisely to reduce crime, the results of my studies have
           implications for where police should concentrate their eﬀorts. For example,
           I found that increasing arrest rates in the most crime-prone areas led to the
           greatest reductions in crime. Comparisons can also be made across diﬀerent
           methods of fighting crime. Of all the methods studied so far by economists,
           the carrying of concealed handguns appears to be the most cost-eﬀective
           method for reducing crime. Accident and suicide rates were unaltered by
           the presence of concealed handguns.
               Guns also appear to be the great equalizer among the sexes. Murder rates
           decline when either more women or more men carry concealed hand-
           guns, but the eﬀect is especially pronounced for women. One additional
           woman carrying a concealed handgun reduces the murder rate for women
           by about 3–4 times more than one additional man carrying a concealed
           handgun reduces the murder rate for men. This occurs because allowing a
           woman to defend herself changes her ability to defend herself much more
           than it would for a man. After all, men are usually bigger and stronger.
               While some evidence indicates that increased penalties for using a gun in
           the commission of a crime reduce crime, the eﬀect is small. Furthermore,
           I find no crime-reduction benefits from state-mandated waiting periods
           and background checks before allowing people to purchase guns. At the
           federal level, the Brady law has proven to be no more eﬀective. Surpris-
           ingly, there is also little benefit from training requirements or age restric-
           tions for concealed-handgun permits.




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                        2    How to Test the Effects of Gun Control

                            The Existing Literature
                            Despite intense feelings on both sides of the gun
                            debate, I believe everyone is at heart motivated
                            by the same concerns: Will gun control increase
                            or decrease the number of lives lost? Will these
                            laws improve or degrade the quality of life when
                            it comes to violent crime? The common fears
                            we all share with regard to murders, rapes, rob-
                            beries, and aggravated assaults motivate this dis-
                            cussion. Even those who debate the meaning of
                            the Constitution’s Second Amendment cannot
                            help but be influenced by the answers to these
                            questions.1
                                Anecdotal evidence is undoubtedly use-
                            ful in understanding the issues at hand, but it
                            has definite limits in developing public policy.
                            Good arguments exist on both sides, and neither
                            side has a monopoly on stories of tragedies that
                            might have been avoided if the law had only
                            been diﬀerent. One side presents the details of
                            a loved one senselessly murdered in a massacre
                            like the April 2007 Virginia Tech shooting, where
                            thirty-two people were killed. The other side
                            points to an attack during a service at the New
                            Life Church in Colorado with seven thousand
                            people attending—an attack that was stopped
                            by a concealed-carry permit holder.
                                Surveys have filled many important gaps in
                            our knowledge; nevertheless, they suﬀer from
                            many inherent problems. For example, how ac-

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            curately can a person judge whether the presence of a gun actually saved
            her life or whether it really prevented a criminal from attacking? Might
            people’s policy preferences influence how they answer the pollster’s ques-
            tions? Other serious concerns arise with survey data. Does a criminal who is
            thwarted from committing one particular crime merely substitute another
            victim or another type of crime? Or might this general deterrence raise the
            costs of these undesirable activities enough so that some criminals stop com-
            mitting crimes? Survey data just has not been able to answer such questions.
                To study these issues more eﬀectively, academics have turned to statis-
            tics on crime. Depending on what one counts as academic research, there
            are at least two hundred studies on gun control. The existing work falls
            into two categories, using either “time-series” or “cross-sectional” data.
            Time-series data deal with one particular area (a city, county, or state) over
            many years; cross-sectional data look across many diﬀerent geographic
            areas within the same year. The vast majority of gun-control studies that
            examine time-series data present a comparison of the average murder rates
            before and after the change in laws; those that examine cross-sectional data
            compare murder rates across places with and without certain laws. Un-
            fortunately, these studies make no attempt to relate fluctuations in crime
            rates to changing law-enforcement factors like arrest or conviction rates,
            prison-sentence lengths, or other obvious variables.
                Both time-series and cross-sectional analyses have their limitations. Let
            us first examine the cross-sectional studies. Suppose, as happens to be true,
            that areas with the highest crime rates are the ones that most frequently
            adopt the most stringent gun-control laws. Even if restrictions on guns
            were to lower the crime rates, it might appear otherwise. Suppose crime
            rates were lowered, but not by enough to reach the level of rates in low-
            crime areas that did not adopt the laws. In that case, looking across areas
            would make it appear that stricter gun control produced higher crime.
            Would this be proof that stricter gun control caused higher crime? Hardly.
            Ideally, one should examine how the high-crime areas that adopted the
            controls changed over time—not only relative to their past levels but
            also relative to areas without the controls. Economists refer to this as an
            “endogeneity” problem. The adoption of the policy is a reaction (that is,
            “endogenous”) to other events, in this case crime.2 To correctly estimate
            the impact of a law on crime, one must be able to distinguish and isolate the
            influence of crime on the adoption of the law.
                For time-series data, other problems arise. For example, while the ideal
            study accounts for other factors that may help explain changing crime rates,



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          a pure time-series study complicates such a task. Many potential causes of
          crime might fluctuate in any one jurisdiction over time, and it is very diﬃcult
          to know which one of those changes might be responsible for the shifting
          crime rate. If two or more events occur at the same time in a particular juris-
          diction, examining only that jurisdiction will not help us distinguish which
          event was responsible for the change in crime. Evidence is usually much stron-
          ger if a law changes in many diﬀerent places at diﬀerent times, and one can
          see whether similar crime patterns exist before and after such changes.
              The solution to these problems is to combine both time-series and cross-
          sectional evidence and then allow separate variables, so that each year
          the national or regional changes in crime rates can be separated out and
          distinguished from any local deviations.3 For example, crime may have
          fallen nationally between 1991 and 1992, but this study is able to identify
          whether there exists an additional decline over and above that national
          drop for states that have adopted concealed-handgun laws. I also use a set
          of measures that control for the average diﬀerences in crime rates across
          places even after demographic, income, and other factors have been ac-
          counted for. No previous gun-control studies had taken this approach when
           the first edition of this book was written.
              The largest cross-sectional gun-control study examined 170 cities in
          1980.4 While this study controlled for many diﬀerences across cities, no
          variables were used to deal with issues of deterrence (such as arrest or con-
          viction rates or prison-sentence lengths). It also suﬀered from the bias dis-
          cussed above that these cross-sectional studies face in showing a positive
          relationship between gun control and crime.
              The time-series work on gun control that has been most heavily cited by
          the media was done by three criminologists at the University of Maryland
          who looked at five diﬀerent counties (one at a time) from three diﬀerent
          states (three counties from Florida, one county from Mississippi, and one
          from Oregon) from 1973 to 1992 (though a diﬀerent time period was used
          for Miami).5 While this study has received a great deal of media attention,
          it suﬀers from serious problems. Even though these concealed-handgun
          laws were state laws, the authors say that they were primarily interested
          in studying the eﬀect in urban areas. Yet they do not explain how they
          chose the particular counties used in their study. For example, why ex-
          amine Tampa but not Fort Lauderdale, or Jacksonville but not Orlando?
          Like most previous studies, their research does not account for any other
          variables that might also help explain the crime rates.
              Some cross-sectional studies have taken a diﬀerent approach and used



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            the types of statistical techniques found in medical case studies. Possibly
            the best known paper was done by Arthur Kellermann and his many
            coauthors,6 who purport to show that “keeping a gun in the home was
            strongly and independently associated with an increased risk of homicide.”7
            The claim is that the gun will be more likely to kill someone the gun owner
            knows than the criminal. The data for this test consists of a “case sample”
            (444 homicides that occurred in the victim’s homes in three counties) and
            a “control” group (388 “matched” individuals who lived near the deceased
            and were the same sex and race as well as the same age range). After infor-
            mation was obtained from relatives of the homicide victim or the control
            subjects regarding such things as whether they owned a gun or had a drug
            or alcohol problem, these authors attempted to see if the probability of a
            homicide was correlated with the ownership of a gun.
                There are many problems with Kellermann et al.’s paper that undercut
            the misleading impression that victims were killed by the gun in the home.
            For example, they fail to report that in only 8 of these 444 homicide cases
            could it be established that the “gun involved had been kept in the home.”8
            Counting only the deaths from defensive gun use also ignores the much
            larger number of eﬀective defensive gun uses that don’t require that the gun
            be fired. Indeed, in less than one out of every thousand defensive gun uses
            is the attacker killed. More important, the question posed by the authors
            cannot be tested properly using their chosen methodology because of the
            endogeneity problem discussed earlier with respect to cross-sectional data.
                To demonstrate this, suppose that the same statistical method—with a
            matching control group—was used to do an analogous study on the eﬃ-
            cacy of hospital care. Assume that we collected data just as these authors
            did; that is, we got a list of all the people who died in a particular county
            over the period of a year, and we asked their relatives whether they had
            been admitted to a hospital during the previous year. We would also put
            together a control sample with people of similar ages, sex, race, and neigh-
            borhoods, and ask these men and women whether they had been in a hos-
            pital during the past year. My bet is that we would find a very strong posi-
            tive relationship between those who spent time in hospitals and those who
            died, quite probably a stronger relationship than in Kellermann’s study on
            homicides and gun ownership. If so, would we take that as evidence that
            hospitals kill people? I would hope not. We would understand that, al-
            though our methods controlled for age, sex, race, and neighborhood, the
            people who had visited a hospital during the past year and the people in
            the “control” sample who did not visit a hospital were really not the same



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          types of people. The diﬀerence is pretty obvious: those hospitalized were
          undoubtedly sick, and thus it should come as no surprise that they would
          face a higher probability of dying.
              The relationship between homicides and gun ownership is no diﬀerent.
          The finding that those who are more likely to own guns suﬀer a higher ho-
          micide rate makes us ask, Why were they more likely to own guns? Could
          it be that they were at greater risk of being attacked? Is it possible that this
          diﬀerence arose because of a higher rate of illegal activities among those in
          the case study group than among those in the control group? Owning a gun
          could lower the probability of attack but still leave it higher than the prob-
          ability faced by those who never felt the need to buy a gun to begin with.
          The fact that all or virtually all the homicide victims were killed by weapons
          brought into their homes by intruders makes this all the more plausible.
              Unfortunately, the case study method was not designed for studying
          these types of social issues. Compare these endogeneity concerns with a
          laboratory experiment to test the eﬀectiveness of a new drug. Some pa-
          tients with the disease are provided with the drug, while others are given
          a placebo. The random assignment of who gets the drug and who receives
          the placebo is extremely important. A comparable approach to the link be-
          tween homicide and guns would have researchers randomly place guns in-
          side certain households and also randomly determine in which households
          guns would be forbidden. Who receives a gun would not be determined by
          other factors that might themselves be related to whether a person faces a
          high probability of being killed.
              So how does one solve this causation problem? Think for a moment
          about the preceding hospital example. One approach would be to examine
          a change in something like the cost of going to hospitals. For example, if
          the cost of going to hospitals fell, one could see whether some people who
          would otherwise not have gone to the hospital would now seek help there.
          As we observed an increase in the number of people going to hospitals, we
          could then check to see whether this was associated with an increase or
          decrease in the number of deaths. By examining changes in hospital care
          prices, we could see what happens to people who now choose to go to the
          hospital and who were otherwise similar in terms of characteristics that
          would determine their probability of living.
              Obviously, despite these concerns over previous work, only statistical
          evidence can reveal the net eﬀect of gun laws on crimes and accidental
          deaths. The laws being studied here range from those that allow concealed-
          handgun permits to those demanding waiting periods or setting mandatory



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            minimum sentences for using a gun in the commission of a crime. Instead
            of just examining how crime changes in a particular city or state, I analyze
            the first systematic national evidence for all 3,054 counties in the United
            States over the sixteen years from 1977 to 1992 and ask whether these rules
            saved or cost lives. I attempt to control for a change in the price people face
            in defending themselves by looking at the change in the laws regarding the
            carrying of concealed handguns. I will also use the data to examine why
            certain states have adopted concealed-handgun laws while others have not.
                This book is the first to study the questions of deterrence using these
            data. While many recent studies employ proxies for deterrence—such as
            police expenditures or general levels of imprisonment—I am able to use
            arrest rates by type of crime and also, for a subset of the data, conviction
            rates and sentence lengths by type of crime.9 I also attempt to analyze a
            question noted but not empirically addressed in this literature: the concern
            over causality related to increases in both handgun use and crime rates. Do
            higher crime rates lead to increased handgun ownership or the reverse? The
            issue is more complicated than simply whether carrying concealed firearms
            reduces murders, because questions arise about whether criminals might
            substitute one type of crime for another as well as the extent to which ac-
            cidental handgun deaths might increase.


            The Impact of Concealed Handguns on Crime
            Many economic studies have found evidence broadly consistent with the
            deterrent eﬀect of punishment.10 The notion is that the expected penalty
            aﬀects the prospective criminal’s desire to commit a crime. Expectations
            about the penalty include the probabilities of arrest and conviction, and the
            length of the prison sentence. It is reasonable to disentangle the probability
            of arrest from the probability of conviction, since accused individuals appear
            to suﬀer large reputational penalties simply from being arrested.11 Likewise,
            conviction also imposes many diﬀerent penalties (for example, lost licenses,
            lost voting rights, further reductions in earnings, and so on) even if the
            criminal is never sentenced to prison.12
                While these points are well understood, the net eﬀect of concealed-
            handgun laws is ambiguous and awaits testing that controls for other factors
            influencing the returns to crime. The first diﬃculty involves the availability
            of detailed county-level data on a variety of crimes in 3,054 counties during
            the period from 1977 to 1992. Unfortunately, for the time period we are study-
            ing, the FBI’s Uniform Crime Reports include arrest-rate data but not conviction



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          rates or prison sentences. While I make use of the arrest-rate information, I
          include a separate variable for each county to account for the diﬀerent average
          crime rates each county faces,13 which admittedly constitutes a rather imper-
          fect way to control for cross-county diﬀerences such as expected penalties.
              Fortunately, however, alternative variables are available to help us mea-
          sure changes in legal regimes that aﬀect the crime rate. One such method
          is to use another crime category to explain the changes in the crime rate
          being studied. Ideally, one would pick a crime rate that moves with the
          crime rate being studied (presumably because of changes in the legal system
          or other social conditions that aﬀect crime), but is unrelated to changes in
          laws regulating the right to carry firearms. Additional motivations for con-
          trolling other crime rates include James Q. Wilson’s and George Kelling’s
          “broken window” eﬀect, where less serious crimes left undeterred will lead
          to more serious ones.14 Finally, after telephoning law-enforcement oﬃcials
          in all fifty states, I was able to collect time-series, county-level conviction
          rates and mean prison-sentence lengths for three states (Arizona, Oregon,
          and Washington).
              The FBI crime reports include seven categories of crime: murder and
          non-negligent manslaughter, rape, aggravated assault, robbery, auto theft,
          burglary, and larceny.15 Two additional summary categories were included:
          violent crimes (including murder, rape, aggravated assault, and robbery)
          and property crimes (including auto theft, burglary, and larceny). Although
          they are widely reported measures in the press, these broader categories are
          somewhat problematic in that all crimes are given the same weight (for
          example, one murder equals one aggravated assault).
              The most serious crimes also make up only a very small portion of this
          index and account for very little of the variation in the total number of vio-
          lent crimes across counties (see table 2.1). For example, the average county
          has about eight murders, and counties diﬀer from this number by an average
          of twelve murders. Obviously, the number of murders cannot be less than
          zero; the average diﬀerence is greater than the average simply because while
          46 percent of the counties had no murders in 1992, some counties had a very
          large number of murders (forty-one counties had more than a hundred
          murders, and two counties had over one thousand murders). In comparison,
          the average county experienced 619 violent crimes, and counties diﬀer from
          this amount by an average of 935. Not only does the murder rate contrib-
          ute just a little more than 1 percent to the total number of violent crimes,
          but the average diﬀerence in murders across counties also explains just a
          little more than 1 percent of the diﬀerences in violent crimes across counties.



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            Table 2.1 The most common crimes and the variation in their prevalence across counties (1992)
                                                                                              Percent of
                                                                                              variation in
                                    Average number       Percent of                           general category       Number of
                                    of crimes            crime category      Dispersion       due to each crime      counties
            Violent crime             619.1                                    934.50                                2,853
              Murder                    7.8               1.3%                  11.60          1.2%                  2,954
              Rape                     35.4               5.7%                  48.96          5.2%                  2,853
              Robbery                 224.8              36.3%                 380.70         40.7%                  2,954
              Aggravated              367.5              59.4%                 534.80         57.2%                  2,954
                assault
            Property crime          4,078.2                                  5,672                                   2,954
              Auto theft              533.9              13.1%                 868            15.3%                  2,954
              Burglary                969.1              23.8%               1,331            23.4%                  2,954
              Larceny               2,575.2              63.1%                   3.516        62.0%                  2,954
            Note: Dispersion provides a measure of variation for each crime category; it is a measure of the average diﬀerence
            between the overall average and each county’s number of crimes. The total of the percents for specific crimes in the
            violent-crime category does not equal 100 percent because not all counties report consistent measures of rape. Other
            diﬀerences are due to rounding errors.



                Even the narrower categories are somewhat broad for our purposes.
            For example, robbery includes not only street robberies, which seem the
            most likely to be aﬀected by concealed-handgun laws, but also bank rob-
            beries, too. And for the bank robberies the additional return to permitting
            citizens to be armed would appear to be small because of the presence of
            armed guards.16 Likewise, larceny involves crimes of “stealth,” which in-
            cludes those committed by pickpockets, purse snatchers, shoplifters, and
            bike thieves, and such crimes as theft from buildings, coin machines, and
            motor vehicles. However, while most of these fit the categories in which
            concealed-handgun laws are likely to do little to discourage criminals, pick-
            pockets do come into direct contact with their victims.
                This aggregation of crime categories makes it diﬃcult to isolate crimes
            that might be deterred by increased handgun ownership and crimes that
            might be increasing as a result of a substitution eﬀect. Generally, the crimes
            most likely to be deterred by concealed-handgun laws are those involving
            direct contact between the victim and the criminal, especially when they
            occur in places where victims otherwise would not be allowed to carry
            firearms. Aggravated assault, murder, robbery, and rape are both confron-
            tational and likely to occur where guns were not previously allowed.
                In contrast, crimes like auto theft of unattended cars seem unlikely to be
            deterred by gun ownership. While larceny is more debatable, in general—
            to the extent that these crimes actually involve “stealth”—the probability
            that victims will notice the crime being committed seems low, and thus the
            opportunities to use a gun are relatively rare. The eﬀect on burglary is am-



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          biguous from a theoretical standpoint. It is true that if nondiscretionary laws
          cause more people to own a guns, burglars will face greater risks when break-
          ing into houses, and this should reduce the number of burglaries. However,
          if some of those who already own guns now obtain right-to-carry permits,
          the relative cost of crimes like armed street robbery and certain other types
          of robberies (where an armed patron may be present) should rise relative to
          that for burglary or residential robbery. This may cause some criminals to en-
          gage in burglaries instead of armed street robbery. Indeed, a recent Texas poll
          suggests that such substitution may be substantial: 97 percent of first-time
          applicants for concealed-handgun permits already owned a handgun.17
              Previous concealed-handgun studies that rely on state-level data suf-
          fer from an important potential problem: they ignore the heterogene-
          ity within states.18 From my telephone conversations with many law-
          enforcement oﬃcials, it has become very clear that there was a large
          variation across counties within a state in terms of how freely gun permits
          were granted to residents prior to the adoption of nondiscretionary right-
          to-carry laws.19 All those I talked to strongly indicated that the most popu-
          lous counties had previously adopted by far the most restrictive practices
          in issuing permits. The implication for existing studies is that simply using
          state-level data rather than county data will bias the results against find-
          ing any impact from passing right-to-carry provisions. Those counties that
          were unaﬀected by the law must be separated from those counties where
          the change could be quite dramatic. Even cross-sectional city data will not
          solve this problem, because without time-series data it is impossible to de-
          termine the impact of a change in the law for a particular city.20
              There are two ways of handling this problem. First, for the national
          sample, one can see whether the passage of nondiscretionary right-to-carry
          laws produces systematically diﬀerent eﬀects in the high- and low-
          population counties. Second, for three states—Arizona, Oregon, and
          Pennsylvania—I acquired time-series data on the number of right-to-carry
          permits for each county. The normal diﬃculty with using data on the
          number of permits involves the question of causality: Do more permits
          make crimes more costly, or do higher crime rates lead to more permits?
          The change in the number of permits before and after the change in the
          state laws allows us to rank the counties on the basis of how restrictive
          they had actually been in issuing permits prior to the change in the law. Of
          course there is still the question of why the state concealed-handgun law
          changed, but since we are dealing with county-level rather than state-level
          data, we benefit from the fact that those counties with the most restrictive



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            policies regarding permits were also the most likely to have the new laws
            imposed upon them by the state.
                Using county-level data also has another important advantage in that
            both crime and arrest rates vary widely within states. In fact, as indicated
            in table 2.2, the variation in both crime rates and arrest rates across states is
            almost always smaller than the average within-state variation across coun-
            ties. With the exception of the rates for robbery, the variation in crime rates


            Table 2.2 Comparing the variation in crime rates across states and across counties within states from
            1977 to 1992
                                                                                                      Percent of variation across
                                                                                                      states relative to the average
                                                                                                      variation within states
            Crime rates per 100,000 population
              Violent-crime rate                                                                      111%
                Murder rate                                                                            75
                  Murder rate with guns (from 1982 to 1991)                                            61
                Rape rate                                                                              69
                Aggravated-assault rate                                                                83
                Robbery rate                                                                          166
              Property-crime rate                                                                      66
                Auto theft rate                                                                        74
                Burglary rate                                                                          69
                Larceny rate                                                                           61
            Arrest rates (number of arrests divided by number of oﬀenses)*
              Violent crimes                                                                            21
                Murder                                                                                  21
                Rape                                                                                    17
                Robbery                                                                                 21
                Aggravated assault                                                                      32
              Property crime                                                                            18
                Burglary                                                                                23
                Larceny                                                                                 15
                Auto theft                                                                              15
            Truncating arrest rates to be no greater than one
              Violent crime                                                                             44
                Murder                                                                                  30
                Rape                                                                                    34
                Robbery                                                                                 25
                Aggravated assault                                                                      41
              Property crimes                                                                           43
                Burglary                                                                                33
                Larceny                                                                                 46
                Auto theft                                                                              31
            Note: The percents are computed as the standard deviation of state means divided by the average within-state standard
            deviations across counties.
            *Because of multiple arrests for a crime and because of the lags between the time when a crime occurs and the time
            an arrest takes place, the arrest rate for counties and states can be greater than one. This is much more likely to occur
            for counties than for states.




                                                             Exhibit 10
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          across states is from 61 to 83 percent of their average variation within states.
          (The diﬀerence in violent-crime rates arises because robberies make up such
          a large fraction of the total crimes in this category.) For arrest rates, the
          numbers are much more dramatic; the variation across states is as small as
          15 percent of the average of the variation within states.
              These results imply that it is no more accurate to view all the counties in
          the typical state as a homogenous unit than it is to view all the states in the
          United States as a homogenous unit. For example, when a state’s arrest rate
          rises, it may make a big diﬀerence whether that increase is taking place in the
          most or least crime-prone counties. Widely diﬀering estimates of the deter-
          rent eﬀect of increasing a state’s average arrest rate may be made, depending
          on which types of counties are experiencing the changes in arrest rates and
          depending on how sensitive the crime rates are to arrest-rate changes in
          those particular counties. Aggregating these data may thus make it more
          diﬃcult to discern the true relationship between deterrence and crime.
              Another way of illustrating the diﬀerences between state and county
          data is simply to compare the counties with the highest and lowest crime
          rates to the states with the highest and lowest rates. Tables 2.3 and 2.4 list


          Table 2.3 Murder rates: state and county variation in the states with the ten highest and ten lowest
          murder rates (1992)
          States ranked by level of                      County with           Highest county      Number of
          murder rate (10 highest;     Murder rate       highest murder        murder rate         counties with
          10 lowest)                   per 100,000       rate                  per 100,000         zero murder rate
          Louisiana (1)                15.3              Orleans                57                   5
          New York (2)                 13.2              Kings                  28                  13
          Texas (3)                    12.7              Delta                  64                 116
          California (4)               12.66             Los Angeles            21                   8
          Maryland (5)                 12.1              Baltimore              46                   4
          Illinois (6)                 11.21             St. Clair              31                  67
          Arkansas (7)                 10.8              Chicot                 53                  19
          Georgia (8)                  10.7              Taliaferro            224                  62
          North Carolina (9)           10.4              Graham                 56                  16
          South Carolina (10)          10.35             Jasper                 32                   4
          Nebraska (41)                 3.2              Pierce                 13                  72
          Utah (42)                     2.99             Kane                   20                  15
          Massachusetts (43)            2.97             Suﬀolk                 12                   2
          Montana (44)                  2.22             Meager                 55                  32
          North Dakota (45)             1.9              Golden Valley          53                  44
          Maine (46)                    1.7              Washington              5.5                 7
          New Hampshire (47)            1.5              Carroll                 5.5                 5
          Iowa (48)                     1.1              Wayne                  14                  71
          Vermont (49)                  0.7              Chittenden              2.2                 9
          South Dakota (50)             0.6              Bon Homme              14                  49




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            Table 2.4 Rape rates: state and county variation in the states with the ten highest and ten lowest rape
            rates (1992)
            States ranked by                                           Highest county                      Lowest county
            level of rape rate (10   Rape rate     County with         rape rate per    County with        rape rate per
            highest; 10 lowest)      per 100,000   highest rape rate   100,000          lowest rape rate   100,000
            Alaska (1)               98            North Slope         473              Matanuska-         14
                                                                                          Susitina
            Delaware (2)             86            Sussex              118              New Castle         74
            Michigan (3)             79            Branch              198              Keweenaw            0
            Washington (4)           71            Ferry               237              Garfield            0
            South Carolina (5)       59            Dillon               97              2 counties          0
            Nevada (6)               55            Washoe               82              5 counties          0
            Florida (7)              53.7          Putnam              178              3 counties          0
            Texas (8)                53.5          Rains               130              70 counties         0
            Oregon (9)               53            Multnomah            95              3 counties          0
            South Dakota (10)        50            Pennington          136              24 counties         0
            Mississippi (41)         29            Harrison            108              11 counties         0
            Pennsylvania (42)        27.4          Fulton               85              2 counties          0
            Connecticut (43)         26.8          New Haven            38              Windham             1
            Wisconsin (44)           26.4          Menominee            98              10 counties         0
            North Dakota (45)        25            Morton               81              33 counties         0
            Maine (46)               23            Franklin             41              Sagadahoc           0
            West Virginia (47)       22            Cabell               99              8 counties          0
            Montana (48)             21            Mineral             179              24 counties         0
            Iowa (49)                13            Buchanan             62              40 counties         0
            Vermont (50)             12            Chittenden           47              Orange              0




            the ten safest and ten most dangerous states by murder and rape rates,
            along with those same crime rates for the safest and most dangerous coun-
            ties in each state. (When rates were zero in more than one county, the
            number of counties is given.) Two conclusions are clear from these tables.
            First, even the states with the highest murder and rape rates have coun-
            ties with no murders or rapes, and these counties in the most dangerous
            states are much safer than the safest states, according to the average state
            crime rates for the safest states. Second, while the counties with the high-
            est murder rates tend to be well-known places like Orleans (New Orleans,
            Louisiana), Kings (Brooklyn, N.Y.), Los Angeles, and Baltimore, there are
            a few relatively small, rural counties that, for very short periods of time,
            garner the top spots in a state. The reverse is not true, however: counties
            with the lowest murder rates are always small, rural ones.
                The two exceptions to this general situation are the two states with the
            highest rape rates: Alaska and Delaware. Alaska, possibly because of the
            imbalance of men and women in the population, has high rape rates over
            the entire state.21 Even Matanuska-Susitina, which is the Alaskan borough



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          with the lowest rape rate, has a higher rape rate than either Iowa or Ver-
          mont. Delaware, which has a very narrow range between the highest and
          lowest county rape rates, is another exception. However, at least part of
          the reason for a nonzero rape rate in New Castle county (although this
          doesn’t explain the overall high rape rate in the state) is that Delaware has
          only three counties, each with a relatively large population, and these large
          numbers virtually guarantee that some rapes take place.
              Perhaps the relatively small across-state variation, as compared to
          within-state variations, is not so surprising, as states tend to average out dif-
          ferences when they include both rural and urban areas. Yet when coupled
          with the preceding discussion on the diﬀering eﬀects of concealed-handgun
          provisions on diﬀerent counties in the same state, these numbers strongly
          imply that it is risky to assume that states are homogenous units with re-
          spect either to how crimes are punished or how the laws that aﬀect gun us-
          age are changed. Unfortunately, this emphasis on state-level data pervades
          the entire crime literature, which focuses on state- or city-level data and
          fails to recognize the diﬀerences between rural and urban counties.
              However, using county-level data has some drawbacks. Because of the
          low crime rates in many low-population counties, it is quite common to
          find huge variations in the arrest and conviction rates from year to year.
          These variations arise both because the year in which the oﬀense occurs
          frequently diﬀers from the year in which the arrests and / or convictions oc-
          cur, and because an oﬀense may involve more than one oﬀender. Unfortu-
          nately, the FBI data set allows us neither to link the years in which oﬀenses
          and arrests occurred nor to link oﬀenders with a particular crime. In coun-
          ties where only a couple of murders occur annually, arrests or convictions
          can be many times higher than the number of oﬀenses in a year. This data
          problem appears especially noticeable for counties with few people and for
          crimes that are relatively infrequent, like murder and rape.
              One partial solution is to limit the sample to counties with large popula-
          tions. Counties with a large number of crimes have a significantly smoother
          flow of arrests and convictions relative to oﬀenses. An alternative solution is
          to take a moving average of the arrest or conviction rates over several years,
          though this reduces the length of the usable sample period, depending
          on how many years are used to compute this average. Furthermore, the
          moving-average solution does nothing to alleviate the eﬀect of multiple
          suspects being arrested for a single crime.
              Another concern is that otherwise law-abiding citizens may have carried
          concealed handguns even before it was legal to do so.22 If nondiscretion-



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            ary laws do not alter the total number of concealed handguns carried by
            otherwise law-abiding citizens, but merely legalize their previous actions,
            passing these laws seems unlikely to aﬀect crime rates. The only real eﬀect
            from making concealed handguns legal could arise from people being more
            willing to use them to defend themselves, though this might also imply
            that they would be more likely to make mistakes in using them.
                It is also possible that concealed-firearm laws both make individuals safer
            and increase crime rates at the same time. As Sam Peltzman has pointed
            out in the context of automobile safety regulations, increasing safety may
            lead drivers to oﬀset these gains by taking more risks as they drive.23 Indeed,
            recent studies indicate that drivers in cars equipped with air bags drive more
            recklessly and get into accidents at suﬃciently higher rates to oﬀset the
            life-saving eﬀect of air bags for the driver and actually increase the total
            risk of death for others.24 The same thing is possible with regard to crime.
            For example, allowing citizens to carry concealed firearms may encourage
            them to risk entering more dangerous neighborhoods or to begin traveling
            during times they previously avoided:
               Martha Hayden, a Dallas saleswoman, said the right-to-carry law intro-
               duced in Texas this year has turned her life around.
                  She was pistol-whipped by a thief outside her home in 1993, suﬀering
               300 stitches to the head, and said she was “terrified” of even taking out the
               garbage after the attack.
                  But now she packs a .357 Smith and Wesson. “It gives me a sense of
               security; it allows you to get on with your life,” she said.25
            Staying inside her house may have reduced Ms. Hayden’s probability of
            being assaulted again, but since her decision to engage in these riskier ac-
            tivities is a voluntary one, she at least believes that this is an acceptable risk.
            Likewise, society as a whole might be better oﬀ even if crime rates were to
            rise as a result of concealed-handgun laws.
                Finally, we must also address the issues of why certain states adopted
            concealed-handgun laws and whether higher oﬀense rates result in lower
            arrest rates. To the extent that states adopted the laws because crime was
            rising, econometric estimates that fail to account for this relationship will
            underpredict the drop in crime and perhaps improperly blame some of the
            higher crime rates on the measures taken to help solve the problem, such
            as increasing the police force. To explain this problem diﬀerently, crime
            rates may have risen even though concealed-handgun laws were passed,
            but the rates might have risen even higher if the laws had not been passed.



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          Likewise, if the laws were adopted when crime rates were falling, the bias
          would be in the opposite direction. None of the previous gun-control stud-
          ies deal with this type of potential bias.26
              The basic problem is one of causation. Does the change in the laws alter
          the crime rate, or does the change in the crime rate alter the law? Do higher
          crime rates lower the arrest rate or the reverse? Does the arrest rate really
          drive the changes in crime rates? And are any errors in measuring crime
          driving the relationship between crime and arrest rates? Fortunately, we
          can deal with these potential biases by using well-known techniques that
          let us see what relationships, if any still exist after we try to explain the
          arrest rates and the adoption of these laws. For example, we can see how
          arrest rates change in response to changes in crime rates and then examine
          to what extent the unexplained portion of the arrest rates helps explain
          the crime rate. We will find that accounting for these concerns actually
          strengthens the general initial findings. My general approach, however, is
          to examine first how concealed-handgun laws and crime rates, as well as
          arrest rates and crime rates, tend to move in comparison to one another
          before we try to deal with more complicated relationships.




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                        3    Gun Ownership, Gun Laws, and the
                             Data on Crime
                            Who Owns Guns?
                            Before studying what determines the crime rate,
                            let’s look at what types of people own guns and
                            how this has been changing over time.
                                Information on gun ownership rates is diﬃ-
                            cult to obtain, and the only way to overcome
                            this problem is to rely on surveys. The largest,
                            most extensive polls are the exit polls conducted
                            during the general elections every two years.
                            Only these surveys interview enough people
                            to get a useful estimate of gun ownership in
                            individual states. Presidential election polls for
                            1988 and 1996 included a question on whether
                            a person owned a gun, as well as information
                            on the person’s age, sex, race, income, place of
                            residence, and political views. In 2004, a ques-
                            tion on whether a person’s family owned a gun
                            was included. The available 1992, 2000, and 2008
                            survey data did not include a question on gun
                            ownership.
                                Using the individual respondent data in the
                            1988 CBS News General Election Exit Poll and the
                            1996 Voter News Service National General Elec-
                            tion Exit Poll, we can construct a very detailed
                            description of the people who own guns. The
                            Voter News Service poll collected data for a con-
                            sortium of national news bureaus (CNN, CBS,
                            ABC, NBC, Fox, and AP). I will soon discuss an
                            exit poll survey from the 2004 presidential elec-


                            37

                                 Exhibit 10
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                                              60
                                                                                     Total
                                              50                                     Men


                       Percent who own guns
                                                                                     Women
                                              40


                                              30

                                              20


                                              10

                                              0
                                                     Voters        Voters       General       General
                                                      1988          1996       population    population
                                                                                 1988          1996
                                                   Gun ownership among voters and the general population

          Figure 3.1. Percent of women and men who owned guns in 1988 and 1996: examining both voters and the
          general population


          tion, but the gun ownership question is suﬃciently diﬀerent that I want to
          treat the 2004 survery separately.
              What stands out immediately is the large increase in the number of
          people identifying themselves as gun owners (see figure 3.1). In 1988, 27.4
          percent of voters owned guns.1 By 1996, the number of voters owning
          guns had risen to 37 percent. In general, the percentages of voters and the
          general population who appear to own guns are extremely similar; among
          the general population, gun ownership rose from 26 to 39 percent,2 which
          represented 76 million adults in 1996. Perhaps in retrospect, given all the
          news media discussions about high crime rates in the last couple of decades,
          this increase is not very surprising. Just as spending on private security has
          grown dramatically—reaching $82 billion in 1996, more than twice the
          amount spent in 1980 (even after taking into account inflation)—more
          people have been obtaining guns.3 The large rise in gun sales that took
          place immediately before the Brady law went into eﬀect in 1994 accounts
          for some of the increase.4
              Three points must be made about these numbers. First, the form of the
          question changed somewhat between these two years. In 1988 people were
          asked, “Are you any of the following? (Check as many as apply),” and the list
          included “Gun Owner.” In 1996 respondents were asked to record “yes” or
          “no” to the question, “Are you a gun owner?” This diﬀerence may have ac-
          counted for part, though not all, of the change.5 Second, Tom Smith, director
          of the General Social Survey, told me he guessed that voters might own guns
          “by up to 5 percent more” than nonvoters, though this was diﬃcult to know



                                                                 Exhibit 10
                                                                   0469
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             for sure because in polls of the general population, over 60 percent of respon-
             dents claim to have voted, but we know that only around 50 percent did vote.6
             Given the size of the error in the General Social Survey regarding the percent-
             age of those surveyed who were actual voters, it is nevertheless possible that
             nonvoters own guns by a few percentage points more than voters.7
                 Finally, there is strong reason to believe that women greatly under-
             report gun ownership. The most dramatic evidence of this arises from a
             comparison of the ownership rates for married men and married women.
             If the issue is whether women have immediate access to a gun in their
             house when they are threatened with a crime, it is the presence of a gun
             that is relevant, not ownership. For example, the 1988 poll data show that
             20 percent of married women acknowledged owning a gun, which doesn’t
             come close to the 47 percent figure reported for married men. Obviously,
             some women interpret this poll question literally regarding personal own-
             ership as opposed to family ownership. If married women were assumed
             to own guns at the same rate as married men, the gun ownership rate in
             1988 would increase from 27 to 36 percent.8 Unfortunately, the 1996 data
             do not allow such a comparison, though presumably a similar eﬀect is also
             occurring. The estimates reported in the figures do not attempt to adjust
             for these three considerations.
                 The other finding that stands out is that while some types of people are
             more likely than others to own guns, large numbers of people in all groups
             own guns. Almost one in four voters who identify themselves as liberals and
             almost one in three Democrats own a gun (see figure 3.2). The most typical
             gun owner may be a rural, white male, middle-aged or older, who is a conser-
             vative Republican earning between $30,000 and $75,000. Women, however, ex-
             perienced the greatest growth in gun ownership during this eight-year period,
             with an increase of over 70 percent: between the years 1988 and 1996, women
             went from owning guns at 41 percent of the rate of men to over 53 percent.
                 High-income people are also more likely to own guns. In 1996, people
             earning over $100,000 per year were 7 percentage points more likely to
             own guns than those making less than $15,000. The gap between those
             earning $30,000 to $75,000 and those making less than $15,000 was over 10
             percentage points. These diﬀerences in gun ownership between high- and
             low-income people changed little between the two polls.
                 When comparing these poll results with the information shown in table
             1.1 on murder victims’ and oﬀenders’ race, the poll results imply that, at
             least for blacks and whites, gun ownership does not explain why blacks have
             higher murder rates. For example, while white gun ownership exceeds that



                                             Exhibit 10
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                                    50
                                    45              Voters 1988
                                                    Voters 1996
                                    40
             Percent who own guns

                                    35
                                    30
                                    25
                                    20
                                    15
                                    10
                                     5
                                     0
                                          Liberal



                                                        Moderate



                                                                   Conservative


                                                                                    Democratic
                                                                                    presidential
                                                                                      candidate

                                                                                                   Republican
                                                                                                   presidential
                                                                                                     candidate


                                                                                                                  Democrat



                                                                                                                             Republican



                                                                                                                                          Independent
                                                                     Categories of voters:
                                         political views, candidate the respondent voted for, and respondent’s party

          Figure 3.2. Percent of different groups of voters who owned guns in 1988 and 1996



          for blacks by about 40 percent in 1996 (see figure 3.3), and the vast majority
          of violent crimes are committed against members of the oﬀender’s own
          racial group, blacks are 4.6 times more likely to be murdered and 5.1 times
          more likely to be oﬀenders than are whites. Even if blacks underreported
          their gun ownership rate, it still couldn’t explain the gap in crime rates.
          Even a 100 percent gun ownership rate among blacks would still leave a gap
          in gun ownership that is smaller than the gap in crime rates.
             The polls also indicate that families that included union members
          tended to own guns at relatively high and more quickly growing rates (see
          figure 3.3). While the income categories in these polls varied across the two
          years, it is clear that gun ownership increased across all ranges of income.
          In fact, of the categories examined, only one experienced declines in gun
          ownership—people living in urban areas with a population of over 500,000
          (see figure 3.4). Not too surprisingly, while rural areas have the highest
          gun ownership rates and the lowest crime rates, cities with more than
          500,000 people have the lowest gun ownership rates and the highest crime
          rates (for example, in 1993 cities with over 500,000 people had murder rates
          that were over 60 percent higher than the rates in cities with populations
          between 50,000 and 500,000).
             For a subset of the relatively large states, the polls include enough re-
          spondents to provide a fairly accurate description of gun ownership even at
          the state level, as shown in table 3.1. The 1988 survey was extensive enough



                                                                                  Exhibit 10
                                                                                    0471
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                                 G UN OW NER SHI P, GUN LAWS , DATA ON C RIM E | 41


             to provide us with over 1,000 respondents for twenty-one states, and over
             770 respondents for three other states. The 1996 survey was less extensive,
             with only fourteen of the states surveyed having at least 100 respondents.
             Since these fourteen states were relatively more urban, they tended to have
             lower gun ownership rates than the nation as a whole.
                The polls show that the increase in gun ownership was nationwide and
             not limited to any particular group. Of the fourteen states with enough
             respondents to make state-level comparisons, thirteen states had more
             people owning guns in 1996 than 1988. Six states each had over a million

                                                                     45
                                                                     40                                              General population, 1988
                                             Percent who own guns




                                                                                                                     General population, 1996
                                                                     35
                                                                     30
                                                                     25
                                                                     20
                                                                     15
                                                                     10
                                                                        5
                                                                        0
                                                                                       White                              Black                       Union             No union
                                                                                                                                                    member              member
                                                                                                                                                    in family           in family

                                                                                                                     Race and union membership

             Figure 3.3. Percent of people by race and by union membership who own guns



                                        70
                 Percent who own guns




                                        60                                                                                                                General population, 1988
                                        50                                                                                                                General population, 1996

                                        40
                                        30
                                        20
                                        10
                                         0
                                                                    Over 500,000
                                                                          people


                                                                                   50,000 to 500,000
                                                                                              people


                                                                                                           Suburbs


                                                                                                                         10,000 to 50,000
                                                                                                                                  people


                                                                                                                                            Rural



                                                                                                                                                      18–29



                                                                                                                                                                30–44



                                                                                                                                                                           45–59



                                                                                                                                                                                    60 and over




                                                                                                       Gun ownership by size of community and by age

             Figure 3.4. Percent of people living in different-size communities and in different age groups who owned
             guns in 1988 and 1996




                                                                                                                       Exhibit 10
                                                                                                                         0472
             Table 3.1 Gun-ownership rates by state
                                   CBS General Election Exit Poll (November 8, 1988) surveyed   Voter News Service General Election Exit Poll (November 5,
                                   34,245 people                                                1996) surveyed 3,818 people                                   Estimated change in states over time
                                   Percent                                   Estimated number   Percent                                    Estimated number
                                   of voting            Percent of           of adults owning   of voting           Percent of             of adults owning   Change in              Change in the
                                   population           state’s adults       a gun, using       population          state’s adults         a gun, using       percent of adults      number of adults
                                                1                      1                                    2                      2
                                   owning a gun         owning a gun         column 2           owning a gun        owning a gun           column 5           owning a gun           owning a gun
             State                 (1)                  (2)                  (3)                (4)                 (5)                    (6)                (7)                    (8)
             United States         27.4%               26%                 47.3 million         37%                 38.9%                76.7 million         12.9%                  29.4 million
             California            23%                 21%                 6 million            33%                 32%                  10 million           11%                    4 million
             Connecticut           14%                 10%                 337,000              10%                 12%                  377,000               2%                    40,000
             Florida               28%                 29%                 3.6 million          35%                 31%                  4.4 million           2%                    800,000




  0473
                                                                                                                                                                                                                                        1057




             Illinois              19%                 17%                 1.9 million          34%                 36%                  4.3 million          19%                    2.4 million




Exhibit 10
             Indiana               29%                 32%                 1.74 million         32%                 31%                  1.8 million          –1%                    60,000
             Iowa                  29%                 31%                 847,000              —                   —                    —                    —                      —
             Maryland              23%                 22%                 1 million            —                   —                    —                    —                      —
             Massachusetts         15%                 16%                 951,000              12%                 11%                  638,000              –5%                    –313,000
             Michigan              27%                 28%                 2.5 million          38%                 37%                  3.5 million           9%                    1 million
             Minnesota             33%                 28%                 1.2 million          —                   —                    —                    —                      —
             Mississippi           40%                 40%                 1 million            —                   —                    —                    —                      —
             Missouri              37%                 31%                 1.6 million          —                   —                    —                    —                      —
                                                                                                                                                                                                        3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1485 Page
             Nevada                   30%                   38%                  404,000                  —                    —                    —                        —                       —
             New Jersey               12%                   11%                  810,000                  14%                  13%                  1.04 million              2%                     230,000
             New Mexico               38%                   41%                  608,000                  —                    —                    —                        —                       —
             New York                 13%                   11%                  2 million                20%                  18%                  3.3 million               7%                     1.3 million
             North Carolina           35%                   32%                  2.1 million              45%                  43%                  4.8 million              11%                     2.7 million
             Ohio                     25%                   28%                  2.97 million             32%                  32%                  3.57 million              4%                     600,000
             Oregon                   40%                   36%                  996,000                  —                    —                    —                        —                       —
             Pennsylvania             24%                   19%                  2.2 million              30%                  29%                  3.5 million              10%                     1.3 million
             Texas                    38%                   37%                  6.1 million              34%                  34%                  6.4 million              –3%                     300,000
             Vermont                  34%                   35%                  193,000                  —                    —                    —                        —                       —




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                                                                                                                                                                                                                                                          1057




             Washington               33%                   31%                  1.5 million              —                    —                    —                        —                       —




Exhibit 10
             Wisconsin                29%                   29%                  1.4 million              43%                  45%                  2.3 million              16%                     900,000
             Source: The polls used are the General Election Exit Polls from CBS (1988) and Voter News Service (1996). The estimated percent of the voting population owning a gun is obtained by using the weighting
             of responses supplied by the polling organizations. The estimated percent of the general population owning a gun uses a weight that I constructed from the census to account for the diﬀerence between
             the percentage of males and females; whites, blacks, Hispanics and others; and these groups by age categories that are in the voting population relative to the actual state-level populations recorded by
             the census.
             1
               State poll numbers based upon at least 770 respondents per state.
             2
               State poll numbers based upon at least one hundred respondents per state. Other states were surveyed, but the number of respondents in each state was too small to provide an accurate measure of gun
             ownership. These responses were still useful in determining the national ownership rate, even if they were not suﬃcient to help determine the rate in an individual state.
                                                                                                                                                                                                                          3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1486 Page
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          more people owning guns. Only Massachusetts saw a decline in gun own-
          ership.
              States diﬀer significantly in the percentage of people who own guns.
          On the lower end in 1988, in states like New York, New Jersey, and Con-
          necticut, only 10 or 11 percent of the population owned guns. Despite its
          reputation, Texas no longer ranks first in gun ownership; California cur-
          rently takes that title—approximately 10 million of its citizens own guns.
          In fact, the percentage of people who own guns in Texas is now below the
          national average.
              National Election Pool survey data are available for the 2004 presiden-
          tial election,9 but there are two problems. First, the gun ownership survey
          question changes significantly. Instead of asking whether an individual
          personally owns a gun, the question is now “Do you or does someone else
          in your household own a gun?” As noted previously, many respondents
          in the earlier surveys may have indicated that they owned a gun simply
          because there was a gun in the home even if the gun was technically owned
          by another person in the household. Presumably asking if a gun is owned
          in the household will cause more people to answer “yes” than they had
          to the question of whether they personally own a gun, but how large the
          eﬀect is remains an empirical question.
              Just as important, there is strong evidence that Republicans and con-
          servatives “refused to be interviewed [by the exit pollsters] in dispropor-
          tionately higher numbers, thus skewing the results.”10 A similar problem
          appears to have occurred with the 2000 general voter exit poll, but a study
          by those who conducted the exit poll concluded: “[This systematic refusal]
          was higher in 2004 than in previous years for which we have data.”11 This
          skewness in the survey data generated quite a controversy after the 2004
          presidential election, as John Kerry supporters argued that the diﬀerence
          between the actual vote totals for their candidate and what had been pre-
          dicted by the exit poll survey implied some type of fraud had occurred.
          Since Republicans and conservatives are much more likely to own guns
          than the general population, this last bias works to understate the percent
          of the overall population that owns guns.12
              There is some evidence that changing questions on gun ownership sig-
          nificantly aﬀected the rate that people say that they own a gun. If the diﬀer-
          ence between married men and married women had remained unchanged,
          it would suggest that the results are not greatly aﬀected. While there is still a
          ten-percentage-point gap between the rates that married men and women
          report that there are guns in their household (53 to 43 percent), it is quite



                                          Exhibit 10
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             a bit smaller than the twenty-seven-percentage point gap (a diﬀerence of
             more than 2 to 1) shown for 1988. I would have greatly preferred making
             this comparison to 1996, where the overall poll results are more compa-
             rable, but it still seems likely that changing the question did cause more
             people (primarily women) to answer “yes” to the survey question in 2004.
                 In any case, both the change in questions and the higher rate at which
             Republicans and conservatives refused to answer survey questions make it
             diﬃcult to directly compare the 2004 exit polls with those from 1988 and
             1996. However, since one error works to overstate gun ownership while
             another works to understate it, without additional information it is not
             clear whether these errors work to overstate or understate the true gun
             ownership rate. With that in mind, it makes more sense to limit the 2004
             survey results to making comparisons between diﬀerent groups in the 2004
             sample than to compare the changes between 1996 and 2004.
                 Given these caveats, the poll results shown in figures 3.5a and 3.5b in-
             dicate that 41 percent of Americans live in households with guns (this is
             slightly higher than the 37 percent who reported owning a gun in 1996).
             The demographic patterns are very similar to patterns shown for 1988 and
             1996. For all the categories, the relative gun ownership rankings of the
             diﬀerent groups in 2004 are exactly the same as they were in 1996. Men are
             more likely than women to say that they live in a household with guns.
             Conservatives are more likely than moderates to own guns and moderates
             more likely than liberals, and the same pattern occurs whether they voted
             for the Democratic or Republican presidential candidate and regardless of
             political aﬃliation.
                 The male / female ratio of gun ownership in 2004 remains virtually the
             same as in 1996. The percent of married women with guns rose at the same
             time that it fell for single women. Gun ownership in the most urbanized
             areas has increased relative to ownership in rural areas (urban areas in-
             creased from being 32 percent of the level of rural areas to 41 percent), and
             white gun ownership has increased slightly relative to black ownership
             (from 40 percent more to 49 percent more).
                 The one category of comparisons used earlier that cannot be made
             here involves gun ownership in union households. Not all respondents
             were asked whether their household owned guns or whether someone in
             their household belonged to a union, and there was no overlap between
             the two samples.
                 Table 3.2 shows the breakdown in gun ownership rates by state for
             the thirty-eight states where at least 100 people were asked whether their



                                            Exhibit 10
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          Figure 3.5a. Percent of voters who own guns by gender and political views




          Figure 3.5b. Percent of voters who own guns by race, size of community, and age


          household owns a gun. The results show a much wider range of gun own-
          ership than was observed in either of the two previous surveys—ranging
          from 87 percent in Nebraska to 13 percent in Rhode Island. The seven states
          with the highest gun ownership rates and the two states with the lowest
          rates in 2004 had samples that were too small to be included in either of the
          two previous years. With the exception of slight drops in gun ownership
          rates in California, Illinois, and New York, all the other states showed an
          increase from 1996 to 2004.



                                                     Exhibit 10
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                       Table 3.2 Gun ownership rate by state in 2004,
                       using the question in the 2004 presidential
                       exit poll survey “Do you or does someone else
                       in your household own a gun?”
                       State                       Gun ownership rate
                       Alabama                     58%
                       Arizona                     40%
                       California                  31%
                       Colorado                    33%
                       Connecticut                 27%
                       Delaware                    16%
                       Florida                     39%
                       Georgia                     50%
                       Idaho                       47%
                       Illinois                    30%
                       Indiana                     60%
                       Iowa                        59%
                       Kansas                      62%
                       Louisana                    65%
                       Maine                       32%
                       Maryland                    34%
                       Massachusetts               22%
                       Michigan                    56%
                       Minnesota                   44%
                       Missouri                    45%
                       Montana                     84%
                       Nebraska                    87%
                       New Hampshire               37%
                       New Jersey                  30%
                       New York                    18%
                       North Carolina              56%
                       Ohio                        35%
                       Oklahoma                    71%
                       Oregon                      44%
                       Pennsylvania                33%
                       Rhode Island                13%
                       South Carolina              34%
                       Tennessee                   49%
                       Texas                       48%
                       Utah                        69%
                       Virginia                    32%
                       Washington                  56%
                       Wisconsin                   44%
                          All States               41%




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          Understanding Different Gun Laws and Crime Rate Data
          While murder rates have exhibited no clear trend over the last twenty years,
          they are currently 60 percent higher than in 1965.13 Driven by substantial
          increases in rapes, robberies, and aggravated assaults, violent crime was 46
          percent higher in 1995 than in 1976 and 240 percent higher than in 1965.
          As shown in figure 3.6, violent-crime rates peaked in 1991, but, with the
          exception of murder, they are still substantially above the rates in previous
          decades.
             Such high violent-crime rates make people quite concerned about
          crime, and even the recent declines have not allayed their fears. By 2007,
          stories of people who had used guns to defend themselves had helped moti-
          vate thirty-nine states to adopt nondiscretionary (also referred to as “shall-
          issue,” “right-to-carry,” or “do-issue”) concealed-handgun laws, which
          require law-enforcement oﬃcials or a licensing agency to issue, without
          subjective discretion, concealed-weapons permits to all qualified applicants
          (see figures 3.7a and 3.7b for the state laws in 1996 and 2007). This constitutes
          a dramatic increase from the eight states that had enacted nondiscretion-
          ary concealed-weapons laws prior to 1985. The requirements that must be
          met vary by state, and generally include the following: lack of a significant
          criminal record, an age restriction of either 18 or 21, various fees, training,
          and a lack of significant mental illness. The first three requirements, regard-
          ing criminal record, age, and payment of a fee, are the most common. Two
          states, Vermont and Idaho (with the exception of Boise), do not require per-
          mits, though the laws against convicted felons carrying guns still apply. In
          contrast, discretionary laws allow local law-enforcement oﬃcials or judges
          to make case-by-case decisions about whether to grant permits, based on
          the applicant’s ability to prove a “compelling need.”
             When the data set used in this book was originally put together, county-
          level crime data was available for the period between 1977 and 1992. During
          that time, ten states—Florida (1987), Georgia (1989), Idaho (1990), Maine
          (1985),14 Mississippi (1990), Montana (1991), Oregon (1990), Pennsylvania
          (1989), Virginia (1988),15 and West Virginia (1989)—adopted nondiscre-
          tionary right-to-carry firearm laws. Pennsylvania is a special case because
          Philadelphia was exempted from the state law during the sample period,
          though people with permits from the surrounding Pennsylvania counties
          were allowed to carry concealed handguns into the city. Eight other states
          (Alabama, Connecticut, Indiana, New Hampshire, North Dakota, South
          Dakota, Vermont, and Washington) have had right-to-carry laws on the




                                          Exhibit 10
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             books for decades.16 Between 1993 and 2007, twenty-one additional states
             adopted shall-issue laws. The last two chapters of this book will analyze
             later changes.
                 Keeping in mind all the serious causation problems discussed earlier
             for cross-sectional data, table 3.3 provides a first and very superficial look
             at the data for the last year originally examined in this book (1992) as well
             as the last year that FBI crime rate data are available. The table shows how
             crime rates varied with the type of concealed-handgun law. Despite the
             problem with cross-sectional data, according to the data presented in the
             table for 1992, the diﬀerence is quite suggestive: violent crimes are 81 per-
             cent higher in states without nondiscretionary laws. For murder, states that
             ban the concealed carrying of guns have murder rates 127 percent higher
             than states with the most liberal concealed-carry laws. After almost all the
             states have adopted these laws in 2007, the diﬀerence is much smaller: just
             25 percent for violent crime and 28 percent for murder. States with non-
             discretionary laws have less violent crime, but the diﬀerences for property
             crimes are smaller and less consistent.
                 Since the primary data that we will focus on are at the county level,
             we are asking whether crime rates change in counties whose states adopt
             nondiscretionary concealed-handgun laws. We are also asking whether the
             crime rates change relative to other changes in counties located in states
             without such laws. Using a reference library (Lexis / Nexis) that contains
             an extensive collection of news stories and state laws, I conducted a search
             to determine the exact dates on which these laws took eﬀect. Because of
             delays in implementing the laws even after they went into eﬀect, I defined
             counties in states with nondiscretionary laws as being subject to these laws
             beginning with the first full year for which the law was in eﬀect. While
             all the tables shown in this book use the second measure, both measures
             produced similar results.
                 The number of arrests and oﬀenses for each type of crime in every
             county from 1977 to 1992 was provided by the FBI’s Uniform Crime Reports; in
             addition, however, I contacted the state department of corrections, attor-
             ney general, secretary of state, and state police oﬃces in every state in an
             eﬀort to compile data on conviction rates, sentence lengths, and concealed-
             weapons permits by county. The Bureau of Justice Statistics also released a
             list of contacts in every state that might provide state-level criminal justice
             data. Unfortunately, county data on the total number of outstanding
             concealed-carry pistol permits were available only for Arizona, California,




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          Figure 3.6. U.S. Crime rates from 1960 to 2006 (from FBI’s Uniform Crime Reports)



                                                     Exhibit 10
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                         WA
                                           MT                                                         VT        ME
                                                     ND
                       OR
                                                               MN                                                    NH
                                 ID                                    WI
                                                     SD                                               NY             MA
                                            WY                                    MI                                 RI
                                                                 IA                              PA                  CT
                                                     NE
                                                                                       OH                            NJ
                            NV        UT                                   IL    IN
                    CA                          CO                                                                   DE
                                                       KN                                  WV VA
                                                                 MO                   KY                             MD
                                                                                                 NC                  D.C.
                                                                                 TN
                                  AZ                      OK
                                            NM                      AR                          SC
                                                                                           GA
                                                                           MS AL
                                                     TX             LA

                                                                                                FL




                             States with nondiscretionary rules or no permit requirements
                             States with discretionary rules
                             States forbidding concealed handguns

          Figure 3.7a. State concealed-handgun laws as of 1996




                       WA
                                           MT                                                              VT    ME
                                                     ND
                     OR
                                                               MN                                                      NH
                                 ID                                      WI
                                                     SD                                                   NY           MA
                                            WY                                        MI                               RI
                                                                 IA                                  PA                CT
                                                     NE
                                                                                           OH                          NJ
                          NV      UT                                        IL   IN
                  CA                            CO                                                                     DE
                                                       KN                                   WV VA
                                                                    MO                KY                               MD
                                                                                                     NC                D.C.
                                                                                  TN
                                 AZ                       OK
                                            NM                        AR                         SC
                                                                                           GA
                                                                           MS AL
                                                     TX               LA

                                                                                                 FL




                            States with nondiscretionary rules or no permit requirements
                            States with discretionary rules
                            States forbidding concealed handguns

          Figure 3.7b. State concealed-handgun laws as of 2007




                                                     Exhibit 10
                                                       0483
             Table 3.3 Crime rates in states and the District of Columbia that are shall-issue and are more restrictive in letting citizens carry concealed handguns
                                           1992                                                                            2007
                                           Crime rate per 100,000 people                                                   Crime rate per 100,000 people
                                           States with                                        Percentage higher crime      States with                                      Percentage higher crime
                                           nondiscretionary                                   rate in states without       nondiscretionary                                 rate in states without
             Type of crime                 concealed handgun laws        All other states     nondiscretionary laws        concealed handgun laws        All other states   nondiscretionary laws
             Violent crime                   378.8                          684.5              81                            403.2                          505.2            25
               Murder                          5.1                            9.5              86                              5                              6.4            28
               Rape                           35                             43.6              25                             34.7                           25.3           –27




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               Aggravated assault            339.9                          417.4              23                            262                            286.6             9




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               Robbery                       108.8                          222.6             105                            101.5                          186.9            84
             Property crime                3,786.3                        4,696.8              24                           3244                          3,047.4            –6
               Auto theft                    334.2                          533.4              60                            314.1                          399.2            27
               Burglary                      840.3                        1,074.7              28                            714.4                          573.8           –20
               Larceny                     2,611.8                        3,088.7              18                          2,215.4                        2,074.4            –6
                                                                                                                                                                                                      3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1496 Page
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          Florida, Oregon, Pennsylvania, and Washington, and time-series county
          data before and after a change in the law were only available for Arizona
          (1994–96), Oregon (1990–92), and Pennsylvania (1986–92). Since the Or-
          egon nondiscretionary law was passed in 1990, I sought data on the number
          of permits in 1989 by calling up every county sheriﬀ in Oregon, and 25 of the
          36 counties provided that information. (The remaining counties stated that
          records had not been kept.)17 For Oregon, data on county-level conviction
          rates and sentence lengths were also available from 1977 to 1992.
              One diﬃculty with the sentence-length data is that Oregon passed a
          sentencing-reform act that took eﬀect in November 1989 and required
          criminals to serve at least 85 percent of their sentences; thus, judges may
          have correspondingly altered their sentencing practices. This change was
          phased in over time because the law only applied to crimes committed af-
          ter it went into eﬀect in 1989. In addition, the Oregon system did not keep
          complete records prior to 1987, and the percentage recorded decreased as
          one looked further into the past. One solution to both of these problems is
          to allow the sentence-length variable to have diﬀerent eﬀects in each year.18
          A similar problem exists for Arizona, which adopted a truth-in-sentencing
          reform in the fall of 1994. We must note, finally, that Arizona diﬀers from
          Oregon and Pennsylvania in that it already allowed handguns to be carried
          openly before passing its concealed-handgun law; thus, one might expect to
          find a somewhat smaller response to adopting a concealed-handgun law.
              In addition to using separate variables to measure the average crime
          rate in each county,19 I collected data from the Bureau of the Census to try
          to control for other demographic characteristics that might influence the
          crime rate. These data included information on the population density per
          square mile, total county population, and detailed information on the ra-
          cial and age breakdown of the county (percent of population by each racial
          group and by sex between 10 and 19 years of age, between 20 and 29, between
          30 and 39, between 40 and 49, between 50 and 64, and 65 and over).20 While
          a large literature discusses the likelihood that younger males will engage
          in crime,21 controlling for these other categories allows us to account for
          the groups considered most vulnerable (for example, females in the case
          of rape).22 Evidence reported by Glaeser and Sacerdote confirms the higher
          crime rates experienced in cities and examines the eﬀects on these rates
          of social and family influences as well as the changing pecuniary benefits
          from crime;23 the present study, however, is the first to explicitly control
          for population density (see appendix 3 for a more complete discussion of
          the data).



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                                 G U N OW NERSHI P, GUN LAWS , DATA ON C RIM E | 55


                An additional set of income data was also used. These included real per-
             capita personal income, real per-capita unemployment insurance pay-
             ments, real per-capita income-maintenance payments, and real per-capita
             retirement payments per person over 65 years of age.24 Unemployment
             insurance and income-maintenance payments from the Commerce De-
             partment’s Regional Economic Information System (REIS) data set were
             included in an attempt to provide annual, county-level measures of unem-
             ployment and the distribution of income.
                Finally, I recognize that other legal changes regarding how guns are used
             and when they can be obtained can alter the levels of crime. For example,
             penalties involving improper gun use might also have been changing simul-
             taneously with changes in the requirements for obtaining permits to carry
             concealed handguns. In order to see whether such changes might confound
             my ability to infer the causes of any observed changes in crime rates, I
             read through various editions of State Laws and Published Ordinances—Firearms
             (published by the Bureau of Alcohol, Tobacco, and Firearms: 1976, 1986,
             1989, and 1994). Except for the laws regarding machine guns and sawed-oﬀ
             shotguns, the laws involving the use of guns did not change significantly
             when the rules regarding concealed-handgun permits were changed.25 A
             survey by Marvell and Moody that addresses the somewhat broader ques-
             tion of sentencing-enhancement laws for felonies committed with deadly
             weapons (firearms, explosives, and knives) from 1970 to 1992 also confirms
             this general finding.26 Yet Marvell and Moody’s dates still allow us to ex-
             amine the deterrent eﬀect of criminal penalties specifically targeted at the
             use of deadly weapons during this earlier period.27
                States also diﬀer in terms of their required waiting periods for handgun
             purchases. Again using the Bureau of Alcohol, Tobacco, and Firearms’ State
             Laws and Published Ordinances—Firearms, I identified states with waiting periods
             and conducted a Lexis search on the ordinances to determine exactly when
             those laws went into eﬀect. Thirteen of the nineteen states with waiting
             periods instituted them prior to the beginning of the sample period.28




                                             Exhibit 10
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                        4    Concealed-Handgun Laws and Crime
                             Rates: The Empirical Evidence
                            While our initial comparison of crime rates in
                            states with and without concealed-handgun
                            laws was suggestive, obviously many other fac-
                            tors must be accounted for. The next three chap-
                            ters use common statistical techniques known as
                            regression analysis to control for these factors.
                            (For those who are interested, a more complete
                            discussion of regressions and statistical signifi-
                            cance is provided in appendix 1.) The following
                            discussion provides information on a wide range
                            of law-enforcement activities, but the primary
                            focus is on the link between the private own-
                            ership of guns and crime. What gun laws aﬀect
                            crime? Does increased gun ownership increase
                            or decrease murders? How do more lenient gun
                            ownership laws aﬀect accidental deaths and
                            suicide?
                               The analysis begins by examining both
                            county- and state-level crime data. We then
                            examine how gun ownership benefits diﬀerent
                            groups, such as women and minorities. To test
                            whether crime-rate changes are a result of
                            concealed-handgun laws, it is not enough simply
                            to see whether these laws lower crime rates; any
                            changes in crime rates must also be linked to the
                            changes in the number of concealed-handgun
                            permits. We must also remember that the laws
                            are not all the same: diﬀerent states adopt diﬀer-
                            ent training and age requirements for obtaining
                            a permit. These diﬀerences allow us to investi-

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            gate whether the form of the concealed-handgun law matters as well as to
            test the importance of other gun-control laws. Finally, evidence is provided
            on whether criminals move to other places when concealed-handgun laws
            are passed.
                The book is organized to examine the simplest evidence first and then
            gradually considers more complicated issues. The first estimates mea-
            sure whether the average crime rate falls in counties when they adopt
            concealed-handgun laws. By looking across counties or states at the same
            time that we examine them over time, we can test not only whether
            places with the most permits have the greatest reductions in crime, but
            also whether those with the greatest increases in permits have the greatest
            reductions in crime. Similarly, we can investigate how total gun ownership
            is related to the level of crime. Tracking gun ownership in individual states
            over time allows us to investigate how a crime in a state changes as its gun
            ownership rates change.


            Using County and State Data for the United States
            The first group of estimates reported in table 4.1 attempts to explain crime
            rates. There are nine diﬀerent categories of crime. Each column in the table
            presents the changes in the crime rate for the crime in the column heading.
            The numbers in each row represent the impact that a particular explana-
            tory variable has on each crime rate. There are three pieces of information
            for most of the explanatory variables: (1) the percent change in the crime
            rate attributed to a particular change in the explanatory variable; (2) the
            percentage of the variation in the crime rate that can be explained by the
            variation in the explanatory variable;1 and (3) one, two, or three asterisks
            denote whether a particular eﬀect is statistically significant at least at the
            1, 5, or 10 percent level, where the 1 percent level represents the most reli-
            able result.2
                While I am primarily interested in nondiscretionary laws, the estimates
            also account for many other variables: the arrest rate for each type of crime;
            population density and the number of people living in a county; measures
            of income, unemployment, and poverty; the percentage of the population
            that is a certain sex and race by ten-year age groupings (10 to 19 years of
            age, 20 to 29 years of age); and the set of variables described in the previous
            section to control for other county and year diﬀerences. The results clearly
            imply that nondiscretionary laws coincide with fewer murders, aggravated
            assaults, and rapes.3 On the other hand, auto-theft and larceny rates rise.



                                            Exhibit 10
                                              0488
             Table 4.1 The effect of nondiscretionary concealed-handgun laws on crime rates: National, County-Level, Cross-Sectional, Time-Series Evidence
                                                                                  Percent change in various crime rates for changes in explanatory variables
                                                                                  Violent                                       Aggravated                     Property
             Change in explanatory variable                                       crime         Murder         Rape             assault         Robbery        crime         Burglary       Larceny       Auto theft
             Nondiscretionary law adopted                                         –4.9%*         –7.7%*        –5.3%*          –7.01%*         –2.2%***          2.7%*          .05%         3.3%*          7.1%*
                                                                                  (1%)           (2%)          (1%)            (1%)              (.3%)          (1%)           (.02%)       (1%)           (1%)
             Arrest rate for the crime category (e.g., violent crime              –0.48%         –1.39%*       –0.81%*         –0.896%*        –0.57%*         –0.76%*       –2.4%*         –0.18%*       –0.18%*
               murder, etc.) increased by 100 percentage points                   (9%)           (7%)          (4%)            (9%)             (4%)           (10%)         (11%)          (4%)           (3%)
             Population per square mile increased by 1,000                         6%*           –2%           –2%              0.58%          31.6%*            0.48%       –7%*            3.7%*        48%*
                                                                                  (5%)           (1%)          (1%)             (.4%)          (17%)            (1%)          (9%)          (4%)          (36%)
             Real per-capita personal income increased by $1,000                   0.79%*         1.63%*       –0.59%***        0.47%            0.47%         –1.02%*       –1.84%*        –1.23%*         1.5%*
                                                                                  (1%)           (2%)          (1%)            (1%)             (1%)            (3%)          (4%)          (2%)           (2%)
             Real per-capita unemployment Ins. increased by $100                  –2.2%*         –4.6%*        –4.7%*          –1.9%*            0.7%            3.8%*         6.0%*         1.9%*          2.1%*
                                                                                   (.07%)        (1%)          (1%)             (.05%)           (.01%)         (2%)          (3%)           (.08%)         (.06%)




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                                                                                                                                                                                                                                                       1057




             Real per-capita income maintenance increased by $100                 –0.7%           2.5%**       –1.7%            1.39%          –3.2%*            1.9%*         3.9%*         0.2%           3.3%*




Exhibit 10
                                                                                   (.3%)         (1%)           (.7%)           (.7%)           (1%)            (2%)          (4%)           (.1%)         (2%)
             Real per-capita retirement payments per person over                  –0.197%        –1.3%         –0.24%          –0.68%          –0.55%          –0.87%        –1.06%         –0.63%        –0.93%
               65 increased by $1,000                                              (.5%)         (3%)           (.4%)          (2%)             (1%)            (4%)          (7%)          (2%)           (2%)
             Population increased by 100,000                                       0.86%         –0.34%*       –2.94%           0.45%*         –0.61%***       –2.18%*       –2.14%*        –3.10%*       –0.04%*
                                                                                  (1%)            (.4%)        (3%)             (.06%)           (.06%)         (6%)          (5%)          (6%)            (.05%)
             Note: The percentage reported in parentheses is the percent of a standard deviation change in the endogenous variable that can be explained by one-standard-deviation change in the exogenous variable.
             Year and county dummies are not shown, and the results for demographic variables are shown in appendix. All regressions use weighted least squares, where the weighting is each county’s population.
             Entire sample used for all counties over the 1977–1992 period.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             **The result is statistically significant at the 5 percent level for a two-tailed t-test.
             ***The result is statistically significant at the 10 percent level for a two-tailed t-test.
                                                                                                                                                                                                                       3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1501 Page
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            Both changes are consistent with my discussion of the direct and substitu-
            tion eﬀects produced by concealed weapons.4
                The results are also large, indicating how important the laws can be.
            When state concealed-handgun laws went into eﬀect in a county, murders
            fell by about 8 percent, rapes fell by 5 percent, and aggravated assaults fell
            by 7 percent.5 In 1992 the following numbers were reported: 18,469 murders;
            79,272 rapes; 538,368 robberies; and 861,103 aggravated assaults in counties
            without nondiscretionary laws. The estimated coeﬃcients suggest that if
            these counties had been subject to state concealed-handgun laws and had
            thus been forced to issue handgun permits, murders in the United States
            would have declined by about 1,400.
                What about increased accidental deaths from concealed weapons? The
            entire number of accidental handgun deaths in the United States in 1988
            was only 200 (the last year for which these data are available for the en-
            tire United States).6 Of this total, 22 accidental deaths were in states with
            concealed-handgun laws, while 178 occurred in states without these laws.
            The reduction in murders is as much as eight times greater than the total
            number of accidental deaths in concealed-handgun states. We will revisit
            the impact of concealed-handgun laws on accidental deaths in chapter 5,
            but if these initial results are accurate, the net eﬀect of allowing concealed
            handguns is clearly to save lives, even if concealed handguns were some-
            how responsible for all accidental handgun deaths.7
                As with murders, the results indicate that the number of rapes in states
            without nondiscretionary laws would have declined by 4,200. Aggravated
            assaults would have declined by 60,000, and robberies by 12,000.8
                On the other hand, property-crime rates increased after nondiscretion-
            ary laws were implemented. If states without concealed-handgun laws had
            passed such laws, there would have been 247,000 more property crimes in
            1992 (a 2.7 percent increase). The increase is small compared to the changes
            that we observed for murder, rape, and aggravated assault, though it is about
            the same size as the change for robbery. Criminals respond to the threat of
            being shot while committing such crimes as robbery by choosing to commit
            less risky crimes that involve minimal contact with the victim.9
                It is possible to put a rough dollar value on the losses from crime in the
            United States and thus on the potential gains from nondiscretionary laws.
            A recent National Institute of Justice study estimates the costs to victims
            of diﬀerent types of crime by measuring lost productivity; out-of-pocket
            expenses, such as those for medical bills and property losses; and losses from
            fear, pain, suﬀering, and lost quality of life.10 While the use of jury awards



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          to measure losses such as fear, pain, suﬀering, and lost quality of life may
          be questioned, such estimates allow us to compare the reduction in violent
          crimes with the increase in property crimes.
             By combining the estimated reduction in crime from table 4.1 with the
          National Institute of Justice’s estimates of what these crimes would have
          cost victims had they occurred, table 4.2 reports the gain from allowing
          concealed handguns to be $5.7 billion in 1992 dollars. The reduction in
          violent crimes represents a gain of $6.2 billion ($4.2 billion from murder,
          $1.4 billion from aggravated assault, $374 million from rape, and $98 mil-
          lion from robbery), while the increase in property crimes represents a loss
          of $417 million ($343 million from auto theft, $73 million from larceny,
          and $1.5 million from burglary). However, while $5.7 billion is substantial,
          to put it into perspective, it still equals only about 1.23 percent of the total
          losses to victims from these crime categories. These estimates are prob-
          ably most sensitive to the value of life used (in the National Institute of
          Justice Study this was set at $1.84 million in 1992 dollars). Higher estimated
          values of life would obviously increase the net gains from the passage of
          concealed-handgun laws, while lower values would reduce the gains. To
          the extent that people are taking greater risks regarding crime because of
          any increased sense of safety produced by concealed-handgun laws,11 the
          preceding numbers underestimate the total savings from allowing con-
          cealed handguns.
             The arrest rate produces the most consistent eﬀect on crime. Higher
          arrest rates are associated with lower crime rates for all categories of crime.
          Variation in the probability of arrest accounts for 3 to 11 percent of the
          variation in the various crime rates.12 Again, the way to think about this is
          that the typical observed change in the arrest rate explains up to about 11
          percent of the typical change in the crime rate. The crime most responsive
          to the arrest rate is burglary (11 percent), followed by property crimes (10
          percent); aggravated assault and violent crimes more generally (9 percent);
          murder (7 percent); rape, robbery, and larceny (4 percent); and auto theft
          (3 percent).
             For property crimes, the variation in the percentage of the population
          that is black, male, and between 10 and 19 years of age explains 22 percent
          of the ups and downs in the property-crime rate.13 For violent crimes, the
          same number is 5 percent (see appendix 5). Other patterns also show up
          in the data. Not surprisingly, a higher percentage of young females is posi-
          tively and significantly associated with the occurrence of a greater number
          of rapes.14 Population density appears to be most important in explaining



                                          Exhibit 10
                                            0491
             Table 4.2 The effect of nondiscretionary concealed-handgun laws on victims’ costs: What if all states had adopted nondiscretionary laws?
                                                Change in number of crimes if states without nondiscretionary laws in 1992     Change in victims’ costs if states without nondiscretionary laws in 1992 had
                                                had adopted them                                                               adopted them
                                                                            Estimates using                                                                    Estimates using
                                                Estimates using             county-level data               Estimates using    Estimates using                 county-level data              Estimates using
             Crime category                     county-level data           and state time trends           state-level data   county-level data               and state time trends          state-level data
             Murder                              –1,410                         –1,840                           –1,590          –$4.2 billion                  –5.57 billion                  –$4.8 billion
             Rape                                –4,200                         –3,700                           –4,800        –$374 million                 –$334 million                   –$431 million
             Aggravated assault                 –60,400                        –61,100                          –93,900          –$1.4 billion                 –$1.4 billion                   –$2.2 billion




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             Robbery                            –11,900                        –10,990                          –62,900         –$98 million                  –$90 million                   –$518 million
             Burglary                             1,100                       –112,700                         –180,800           $1.5 million               –$162 million                   –$261 million




Exhibit 10
             Larceny                            191,700                        –93,300                         –180,300          $73 million                  –$35 million                    –$69 million
             Auto theft                          89,900                        –41,500                          –11,100         $343 million                   –$2 million                    –$42 million
               Total change in                                                                                                   –$5.7 billion                 –$7.6 billion                   –$8.3 billion
                 victims’ costs
             Note: Estimates of the costs of crime are in 1992 dollars, from the National Institute of Justice’s study.
                                                                                                                                                                                                                 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1504 Page
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          robbery, burglary, and auto-theft rates, with the typical variation in popula-
          tion density explaining 36 percent of the typical change across observations
          in auto theft.
             Perhaps most surprising is the relatively small, even if frequently signifi-
          cant, eﬀect of a county’s per-capita income on crime rates. Changes in real
          per-capita income account for no more than 4 percent of the changes in
          crime, and in seven of the specifications it explains at most 2 percent of the
          change. It is not safer to live in a high-income neighborhood if other charac-
          teristics (for example, demographics) are the same. Generally, high-income
          areas experience more violent crimes but fewer property crimes. The two
          notable exceptions to this rule are rape and auto theft: high-income ar-
          eas experience fewer rapes and more auto theft. If the race, sex, and age
          variables are replaced with separate variables showing the percentage of
          the population that is black and white, 50 percent of the variation in the
          murder rate is explained by variations in the percentage of the population
          that is black. Yet because of the high rates at which blacks are arrested and
          incarcerated or are victims of crimes (for example, 38 percent of all murder
          victims in 1992 were black; see table 1.1), this is not unexpected.
             One general caveat should be made in evaluating the coeﬃcients involv-
          ing the demographic variables. Given the very small portions of the total
          populations that fall into some of these narrow categories (this is particu-
          larly true for minority populations), the eﬀect on the crime rate from a
          one-percentage-point increase in the percentage of the population in that
          category greatly overstates the true importance of that age, sex, or race
          grouping. The assumption of a one-percentage-point change is arbitrary
          and is only provided to give the reader a rough idea of what these coeﬃ-
          cients mean. For a better understanding of these variables’ impact, rela-
          tively more weight should be placed on the second number, which shows
          how much of the variation in the various crime rates can be explained by
          the normal changes in each explanatory variable.15
             We can take another look at how sensitive the results from table 4.1 are
          and examine how they vary with diﬀerent subsets of the following vari-
          ables: the nondiscretionary law, the nondiscretionary law and the arrest
          rates, and the nondiscretionary law and the variables that account for the
          national changes in crime rates across years. Each specification yields re-
          sults that show even more significant eﬀects from the nondiscretionary law,
          though when results exclude variables that measure how crime rates diﬀer
          across counties, they are likely to tell us more about which states adopt
          these laws than about the impact of these laws on crime.16 The low-crime



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            states are the most likely to pass these laws, and their crime rates become
            even lower after their passage. I will attempt to account for this fact later
            in chapter 6.
               To further test the sensitivity of the results to the various control vari-
            ables used, I reestimated the specifications in table 4.1 without using either
            the percentages of the populations that fall into the diﬀerent sex, race, and
            age categories or the measures of income; this tended to produce simi-
            lar though somewhat more significant results with respect to concealed-
            handgun laws. And the estimated gains from passing concealed-handgun
            laws were also larger.
               While these regressions account for nationwide changes in crime rates
            on average over time, one concern is that individual states are likely to
            have their own unique time trends. The question here is whether the states
            adopting nondiscretionary concealed-handgun laws experienced falling
            crime rates over the entire time period. This cannot be true for all states as
            a whole, because as figure 3.5 shows, violent crimes have definitely not been
            diminishing during the entire period. However, if this downward trend
            existed for the states that adopted nondiscretionary laws, the variables
            shown in table 4.1 could indicate that the average crime rate was lower
            after the laws were passed, even though the drop in the average level was
            due merely to a continuation of a downward trend that began before the
            law took eﬀect. To address this issue, I reestimated the specifications shown
            in table 4.1 by including state dummy variables that were each interacted
            with a time-trend variable.17 This makes it possible to account not only for
            the national changes in crime rates with the individual year variables but
            also for any diﬀerences in state-specific trends.
               When these individual state time trends were included, all results indi-
            cated that the concealed-handgun laws lowered crime, though the coeﬃ-
            cients were not statistically significant for aggravated assault and larceny.
            Under this specification, the passage of nondiscretionary concealed-
            handgun laws in states that did not have them in 1992 would have reduced
            murders in that year by 1,839; rapes by 3,727; aggravated assaults by 10,990;
            robberies by 61,064; burglaries by 112,665; larcenies by 93,274; and auto thefts
            by 41,512. The total value of this reduction in crime in 1992 dollars would
            have been $7.6 billion. With the exceptions of aggravated assault and bur-
            glary, violent-crime rates still experienced larger drops from the adoption
            of concealed-handgun laws than did property crimes.
               Despite the concerns over the aggregation issues discussed earlier, econ-
            omists have relied on state-level data in analyzing crime primarily because



                                            Exhibit 10
                                              0494
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          of the diﬃculty and extra time required to assemble county-level data. As
          shown in tables 2.2–2.4, the large within-state heterogeneity raises signifi-
          cant concerns about relying too heavily on state-level data.
             To provide a comparison with other crime studies relying on state-level
          data, table 4.3 reestimates the specifications reported in table 4.1 using
          state-level rather than county-level data. While the results in these two
          tables are generally similar, two diﬀerences immediately manifest them-
          selves: (1) the specifications now imply that nondiscretionary concealed-
          handgun laws lower all types of crime, and (2) concealed-handgun laws
          explain much more of the variation in crime rates, while arrest rates (with
          the exception of robbery) explain much less of the variation.18 Concealed-
          handgun laws lower both violent- and property-crime rates, but violent
          crimes are more aﬀected by concealed handguns, falling two-and-one-half
          times more than those for property crimes.
             Suppose we rely on the state-level results rather than the county-level
          estimates. We would then conclude that if all states had adopted nondis-
          cretionary concealed-handgun laws in 1992, about 1,600 fewer murders and
          4,800 fewer rapes would have been committed.19 Overall, table 4.3 allows
          us to calculate that the estimated monetary gain from reductions in crime
          produced by nondiscretionary concealed-handgun laws was $8.3 billion in
          1992 dollars (again, see table 4.2 for the precise breakdown). Yet, at least in
          the case of property crimes, the concealed-handgun law coeﬃcients are
          sensitive to whether the regressions are run at the state or county level.
          This suggests that aggregating observations into units as large as states is
          a bad idea.20


          Differential Effects across Counties, between Men and Women, and by Race
          and Income
          Let us now return to other issues concerning the county-level data. Crim-
          inal deterrence is unlikely to have the same impact across all counties.
          For instance, increasing the number of arrests can have diﬀerent eﬀects
          on crime in diﬀerent areas, depending on the stigma attached to arrest. In
          areas where crime is rampant, the stigma of being arrested may be small,
          and that means that an increase in arrest rates has a correspondingly small
          eﬀect.21 To test this, the specifications shown in table 4.1 were reestimated
          by breaking down the sample into two groups: (1) counties with above-
          median crime rates and (2) counties with below-median crime rates. Each
          set of data was reexamined separately.



                                          Exhibit 10
                                            0495
             Table 4.3 Aggregating the data: state-level, cross-sectional, time-series evidence
                                                                           Percent change in various crime rates for changes in explanatory variables
                                                                           Violent                                         Aggravated                      Property
             Change in explanatory variable                                crime          Murder          Rape             assault          Robbery        crime            Burglary        Larceny        Auto theft
             Nondiscretionary law adopted                                  –10.1%          –8.62%**       –6.07%**         –10.9%*         –14.21%*         –4.19%**         –0.88%          –8.25%*        –3.14%
                                                                            (5.8%)         (5%)           (4.7%)            (6.5%)          (5.7%)          (4.8%)            (.43%)         (7.6%)         (3.8%)
             Arrest rate for the crime category increased by                –8.02%*        –7.3%*         –2.05%***        –15.3%*         –10.5%*         –59.9%           –14.5%*         –71.5%*        –65.7%*




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              100 percentage points                                         (1.5%)         (5.3%)          (.69%)           (3.9%)         (14.4%)          (8.1%)           (6.5%)          (7.6%)        (10.4%)
                                                                                                                                                                                                                                                         1057




             Note: Except for the use of state dummies in place of county dummies, the control variables are the same as those used in table 4.1 including year dummies, though they are not all reported. The percent




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             reported in parentheses is the percent of a standard deviation change in the endogenous variable that can be explained by a one-standard-deviation change in the exogenous variable. All regressions use
             weighted least squares, where the weighting is according to each state’s population. Entire sample used over the 1977 to 1992 period.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             **The result is statistically significant at the 5 percent level for a two-tailed t-test.
             ***The result is statistically significant at the 10 percent level for a two-tailed t-test.
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              As table 4.4 shows, concealed-handgun laws do indeed aﬀect high- and
          low-crime counties similarly. The coeﬃcient signs are consistently the same
          for both low- and high-crime counties, though for two of the crime catego-
          ries—rape and aggravated assault—concealed-handgun laws have statisti-
          cally significant eﬀects only in the relatively high-crime counties. For most
          violent crimes—such as murder, rape, and aggravated assault—concealed-
          weapons laws have much greater deterrent eﬀects in high-crime counties.
          In contrast, for robbery, property crimes, auto theft, burglary, and larceny,
          the eﬀect appears to be greatest in low-crime counties.
              Table 4.4 also shows that the deterrent eﬀect of arrests is significantly
          diﬀerent, at least at the 5 percent level, between high- and low-crime coun-
          ties for eight of the nine crime categories (the one exception being violent
          crimes). The results further reject the hypothesis that arrests would be
          associated with greater stigma in low-crime areas. Additional arrests in low-
          and high-crime counties generate extremely similar changes in the aggre-
          gate category of violent crime, but the arrest-rate coeﬃcient for murder
          is almost three times greater in high-crime counties than in low-crime
          counties. If these results suggest any conclusion, it is that for most crimes,
          tougher measures have more of an impact in high-crime areas.
              The eﬀect of gun ownership by women deserves a special comment.
          Despite the relatively small number of women who obtain concealed-
          handgun permits, the concealed-handgun coeﬃcient for explaining rapes
          in the first three sets of results is consistently similar in size to the eﬀect
          that this variable has on other violent crime. January 1996 data for Wash-
          ington and Oregon reveal that women constituted 18.6 and 22.9 percent,
          respectively, of those with concealed-handgun permits.22 The set of women
          who were the most likely targets of rape probably chose to carry concealed
          handguns at much higher rates than women in general. The preceding
          results show that rapists are particularly deterred by handguns. As men-
          tioned earlier, the National Crime Victimization Survey data show that
          providing a woman with a gun has a much greater eﬀect on her ability to
          defend herself against a crime than providing a gun to a man. Thus even if
          few women carry handguns, the change in the “cost” of attacking women
          could still be as great as the change in the “cost” of attacking men, despite
          the much higher number of men who are becoming armed. To phrase this
          diﬀerently, if one more woman carries a handgun, the extra protection for
          women in general is greater than the extra protection for men if one more
          man carries a handgun.23
              These results raise a possible concern as to whether women have the



                                          Exhibit 10
                                            0497
             Table 4.4 Aggregating the data: Do law-enforcement and nondiscretionary laws have the same effects in high- and low-crime areas?
                                                                                       Percent change in various crime rates for changes in explanatory variables
                                                                                       Violent                                     Aggravated                     Property
             Change in explanatory variable                                            crime        Murder           Rape          assault         Robbery        crime       Burglary      Larceny        Auto theft
                                                                                       Sample where county crime rates are above the median
             Nondiscretionary law adopted                                              –6.0%*         –9.9%*         –7.2%*       –4.5%*           –3.4%*          1.6%*        0.4%          3.0%*          5.2%*
             Arrest rate for the crime category increased by 100                       –5.2%*        –12.3%*         –3.3%*       –6.3%*          –29.4%*        –53.5%*      –56.5%*       –59.6%*        –13.3%*
              percentage points
                                                                                       Sample where county crime rates are below the median




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             Nondiscretionary law adopted                                              –3.7%**        –4.4%**        –3.0%        –0.3%             –7.9%*         8.8%*        3%**          8.7%*          7.2%*




Exhibit 10
             Arrest rate for the crime category increased by 100                       –5.2%*         –4.9%*         –6.6%*       –6.8%*            –3.7%*       –13.5%*      –27.1%*       –10%*           –1.4%*
              percentage points
             Note: The control variables are the same as those used in table 4.1, including year and county dummies, though they are not reported. All regressions use weighted least squares, where the weighting is
             each county’s population. Entire sample used over the 1977 to 1992 period.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             **The result is statistically significant at the 5 percent level for a two-tailed t-test.
                                                                                                                                                                                                                        3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1510 Page
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          right incentive to carry concealed handguns. Despite the fact that women
          who carry concealed handguns make other women so much safer, it is
          possible that women might decide not to carry them because they see their
          own personal gain as much smaller than the total benefit to all women.
          While the problem is particularly pronounced for women, people in gen-
          eral often take into account only the benefits that they individually receive
          from carrying a gun and not the crime-reduction benefits that they are
          generating for others.24
              As mentioned in chapter 2, an important concern is that passing a non-
          discretionary concealed-handgun law should not aﬀect all counties equally.
          In particular, when states had discretionary laws, counties with the highest
          populations were also those that most severely restricted people’s ability to
          carry concealed weapons. Adopting nondiscretionary laws therefore pro-
          duced the greatest change in the number of permits in the more populous
          counties. Thus, a significant advantage of using this county data is that it
          allows us to take advantage of county-level variation in the impact of non-
          discretionary concealed-handgun laws. To test this variation across coun-
          ties, figures 4.1 and 4.2 repeat all the specifications in table 4.1 but examine
          instead whether the eﬀect of the nondiscretionary law varies with county
          population or population density. (The simplest way to do this is to mul-
          tiply the nondiscretionary-law variable by either the county population
          or population density.) While all the other coeﬃcients remain virtually
          unchanged, this new interaction implies the same crime-reducing eﬀects
          from the nondiscretionary law as reported earlier. In all but one case the
          coeﬃcients are more significant and larger.
              The coeﬃcients are consistent with the hypothesis that the new laws
          induce the greatest changes in the largest counties, which have a much
          greater response in both directions to changes in the laws. Violent crimes
          fall more and property crimes rise more in the largest counties. The figures
          indicate how eﬀects vary for counties of diﬀerent sizes. For example, when
          counties with almost 600,000 people (two standard deviations above the
          mean population) pass a concealed-handgun law, the murder rate falls by
          12 percent. That is reduced 7.4 times more than for the average county
          (75,773 people).
              Although the law-enforcement oﬃcials that I talked to continually
          mentioned population as being the key variable, I also reexamined whether
          the laws had diﬀerent eﬀects in more densely populated counties. Given
          the close relationship between county population and population density,
          it is not too surprising to find that the impact of concealed handguns in



                                          Exhibit 10
                                            0499
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                       Percent change in crime rate with respect
                                                                              0




                        to differences in a county’s population
                                                                    –2

                                                                    –4

                                                                    –6

                                                                    –8

                                                                   –10

                                                                   –12
                                                                                                                    Violent-    Murder           Rape     Aggravated-        Robbery
                                                                                                                   crime rate    rate            rate     assault rate         rate

                                                                                                                                    A. Violent-crime categories

                                                                                                                           1/2 Mean population      Mean population plus one
                                                                                                                           (37,887)                  standard deviation (326,123)
                                                                                                                           Mean population          Mean population plus two
                                                                                                                           (75,773)                  standard deviations (576,474)
                                                                    Percent change in crime rate with respect to




                                                                                                                   9
                                                                        differences in a county’s population




                                                                                                                   8

                                                                                                                   7

                                                                                                                   6

                                                                                                                   5

                                                                                                                   4

                                                                                                                   3

                                                                                                                   2

                                                                                                                   1

                                                                                                                   0
                                                                                                                         Property- Auto-theft Burglary       Larceny
                                                                                                                           crime       rate        rate        rate
                                                                                                                            rate
                                                                                                                                 B. Property-crime categories

                                                                                                                         1/2 Mean population      Mean population plus one
                                                                                                                         (37,887)                  standard deviation (326,123)
                                                                                                                         Mean population          Mean population plus two
                                                                                                                         (75,773)                  standard deviations (576,474)


          Figure 4.1. Do larger changes in crime rates from nondiscretionary concealed-handgun laws occur in more
          populous counties?




                                                                                                                                  Exhibit 10
                                                                                                                                    0500
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                                                                                     0




                     respect to differences in a county’s
                      Percent change in crime rate with
                                                                           –1
                                                                           –2



                             population density
                                                                           –3
                                                                           –4
                                                                           –5
                                                                           –6
                                                                           –7
                                                                           –8
                                                                           –9
                                                                –10
                                                                                                          Violent-     Murder          Rape     Aggravated-        Robbery
                                                                                                         crime rate     rate           rate     assault rate         rate

                                                                                                                          A. Violent-crime categories

                                                                                                                 1/2 Mean population      Mean population plus one
                                                                                                                 (107.2)                   standard deviation (1,635.6)
                                                                                                                 Mean population          Mean population plus two
                                                                                                                 (214.3)                   standard deviations (3,056.8)




                                                                                                        20
                                                            Percent change in crime rate with respect
                                                             to differences in a county’s population




                                                                                                        15


                                                                                                        10


                                                                                                         5


                                                                                                         0


                                                                                                         –5


                                                                                                        –10
                                                                                                              Property- Auto-theft Burglary       Larceny
                                                                                                                crime       rate        rate        rate
                                                                                                                 rate
                                                                                                                      B. Property-crime categories

                                                                                                              1/2 Mean population      Mean population plus one
                                                                                                              (107.2)                   standard deviation (1,635.6)
                                                                                                              Mean population          Mean population plus two
                                                                                                              (214.3)                   standard deviations (3,056.8)


          Figure 4.2. Do larger changes in crime rates from nondiscretionary concealed-handgun laws occur in more
          densely populated counties?




                                                                                                                       Exhibit 10
                                                                                                                         0501
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            more densely populated areas is greater than in sparsely populated coun-
            ties. Passing a concealed-handgun law lowers the murder rate in coun-
            ties with about 3,000 people per square mile (the levels found in Fairfax,
            Virginia; Orleans, Louisiana, which contains New Orleans; and Ramsey,
            Minnesota, which contains St. Paul) by 8.5 percent, 12 times more than it
            lowers murders in the average county. The only real diﬀerence between
            the results for population and population density occur for the burglary
            rate, where concealed-handgun laws are associated with a small reduction
            in burglaries for the most densely populated areas.
                Figures 4.3 and 4.4 provide a similar breakdown by income and by the
            percentage of the population that is black. Higher-income areas and coun-
            ties with relatively more blacks both have particularly large drops in crime
            associated with concealed-handgun laws. Counties with a 37 percent black
            population experienced 11 percent declines in both murder and aggravated
            assaults. The diﬀerences with respect to income were not as large.25
                With the extremely high rates of murder and other crimes committed
            against blacks, it is understandable why so many blacks are concerned about
            gun control. University of Florida criminologist Gary Kleck says, “Blacks
            are more likely to have been victims of crime or to live in neighborhoods
            where there’s a lot of crime involving guns. So, generally, blacks are more
            pro-control than whites are.” Nationally, polls indicate that 83 percent of
            blacks support police permits for all gun purchases.26 While many blacks
            want to make guns harder to get, the irony is that blacks actually benefit
            more than other groups from concealed-handgun laws. Allowing potential
            victims a means for self-defense is more important in crime-prone neigh-
            borhoods. Even more strikingly, the history of gun control in the United
            States has often been a series of attempts to disarm blacks.27 In explaining
            the urgency of adopting the U.S. Constitution’s Fourteenth Amendment,
            Duke University Law Professor William Van Alstyne writes,
               It was, after all, the defenselessness of the Negroes (denied legal rights to
               keep and bear arms by state law) from attack by night riders—even to
               protect their own lives, their own families, and their own homes—that
               made it imperative that they, as citizens, could no longer be kept defense-
               less by a regime of state law denying them the common right to keep and
               bear arms.28
            Indeed, even in the 1960s, much of the increased regulation of firearms
            stemmed from the fear generated by Black Panthers who openly car-
            ried guns.



                                             Exhibit 10
                                               0502
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                       to differences in county per-capita income
                       Percent change in crime rate with respect
                                                                              0
                                                                      -1
                                                                      -2
                                                                      -3
                                                                      -4
                                                                      -5
                                                                      -6
                                                                      -7
                                                                      -8
                                                                      -9
                                                                                                                    Violent-       Murder        Rape      Aggravated-       Robbery
                                                                                                                   crime rate       rate         rate      assault rate        rate

                                                                                                                                      A. Violent-crime categories

                                                                                                                           1/2 Mean per-capita      Mean per-capita income plus one
                                                                                                                           income ($5,277)           standard deviation ($13,052)
                                                                                                                           Mean per-capita          Mean per-capita income plus two
                                                                                                                           income ($10,554)          standard deviations ($15,550)
                                                                    Percent change in crime rate with respect to




                                                                                                                    7
                                                                      differences in county per-capita income




                                                                                                                    6

                                                                                                                    5

                                                                                                                    4

                                                                                                                    3

                                                                                                                    2

                                                                                                                    1

                                                                                                                    0
                                                                                                                         Property- Auto-theft         Burglary       Larceny
                                                                                                                         crime rate  rate               rate           rate

                                                                                                                                    B. Property-crime categories

                                                                                                                        1/2 Mean per-capita      Mean per-capita income plus one
                                                                                                                        income ($5,277)           standard deviation ($13,052)
                                                                                                                        Mean per-capita          Mean per-capita income plus two
                                                                                                                        income ($10,554)          standard deviations ($15,550)


          Figure 4.3. How does the change in crime from nondiscretionary concealed-handgun laws vary with county
          per-capita income?




                                                                                                                                    Exhibit 10
                                                                                                                                      0503
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                     Percent change in crime rate with respect to
                       differences in the percent of a county’s
                                                                                      0

                                                                               –2



                               population that is black
                                                                               –4

                                                                               –6

                                                                               –8

                                                                       –10

                                                                       –12
                                                                                                             Violent-         Murder        Rape       Aggravated-        Robbery
                                                                                                            crime rate         rate         rate       assault rate         rate

                                                                                                                                  A. Violent-crime categories

                                                                                                                    1/2 Mean population      Mean population that is black
                                                                                                                    that is black (4.3)      plus one standard deviation (23)
                                                                                                                    Mean population          Mean population that is black
                                                                                                                    that is black (8.63)     plus two standard deviations (37.4)
                                                             Percent change in crime rate with respect to




                                                                                                            12
                                                               differences in the percent of a county’s




                                                                                                            10
                                                                       population that is black




                                                                                                             8

                                                                                                             6

                                                                                                             4

                                                                                                             2

                                                                                                             0

                                                                                                            -2
                                                                                                                    Property- Auto-theft          Burglary       Larceny
                                                                                                                    crime rate  rate                rate           rate

                                                                                                                                B. Property-crime categories

                                                                                                                 1/2 Mean population       Mean population that is black
                                                                                                                 that is black (4.3)       plus one standard deviation (23)
                                                                                                                 Mean population           Mean population that is black
                                                                                                                 that is black (8.63)      plus two standard deviations (37.4)


          Figure 4.4. How does the change in crime from nondiscretionary concealed-handgun laws vary with the
          percent of a county’s population that is black?




                                                                                                                              Exhibit 10
                                                                                                                                0504
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             Alexis Herman, the current Secretary of Labor, experienced firsthand
          the physical risks of growing up black in Alabama. Describing her diﬃcult
          confirmation hearings, an Associated Press story included the follow-
          ing story:
             Anyone who thought the frustrations of waiting for confirmation would
             discourage her knew nothing about the lessons Herman learned from
             her father. They forgot that he sued to integrate the Democratic Party in
             Alabama, and later became the state’s first black ward leader. They never
             heard about the night he put a pistol in his young daughter’s hands and
             stepped out of the car to confront the Ku Klux Klan.
                 “He taught me that you have to face adversity. He taught me to stand
             by my principles,” Herman said in the interview. “He also taught me how
             to work within the system for change.”
                 Herman said her father never raised his voice, but he always kept a
             small silver pistol under the driver’s seat of his DeSoto as he drove from
             community meeting to community meeting around Mobile. She always
             sat close by his side, unless the pistol was out. “The only way that I ever
             knew trouble was around was that the gun would come out from under
             the driver’s seat and he’d put it by his side,” she said.
                 As they left the home of a minister one Christmas Eve, the pistol was
             on the car seat. She was 5. “It was a dark road, a dirt road to get back to
             the main highway,” she recalled. “We were driven oﬀ the road by another
             car, and they were Klansmen.”
                 She hid on the floor and her father pressed the pistol’s white handle
             into her palm. “He told me, ‘If anybody opens this door, I want you to
             pull this trigger.’” He locked the door behind him and walked ahead to
             keep them away from the car. She crouched in the dark, listening until
             the shouts and scuﬄing died down.
                 Eventually, the minister came to the car to drive Herman home. Her
             father, who had been beaten, rode in another car.29
             Recently, after testifying before the Illinois state House of Representa-
          tives on whether to pass a concealed-handgun bill, I was approached by a
          black representative from Chicago who supported the bill.30 He told me
          that, at least for Illinois, he was not surprised by my finding that areas
          with large minority populations gained the most from these laws. Noting
          the high rate at which young, black males are stopped by police and the
          fact that it is currently a felony to possess a concealed handgun, he said




                                          Exhibit 10
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            that an honest, law-abiding, young, black male would be “nuts” to carry a
            concealed handgun in Illinois. He mentioned a case that had occurred just
            a week earlier: Alonzo Spellman—a black professional football player for
            the Chicago Bears—had been arrested in Chicago after a routine traﬃc
            violation revealed that he had a handgun in his car.31 Noting the inability
            of the police to protect people in heavily black areas when “bad guys” al-
            ready had illegal guns, the representative said he believed that the current
            power imbalance between law-abiding people and criminals was greatest
            in black areas.
                Perhaps it is not too surprising that blacks and those living in urban areas
            gain the most from being able to defend themselves with concealed hand-
            guns, since the absence of police appears most acute in black, central-city
            neighborhoods. Until 1983, the American Housing Survey annually asked
            sixty thousand households whether their neighborhoods had adequate po-
            lice protection. Black, central-city residents were about twice as likely as
            whites generally to report that they did not have adequate protection, and
            six times more likely to say that they had considered moving because of an
            insuﬃcient police presence in their neighborhoods.32
                These results should at least give pause to the frequent attempts to pass
            city ordinances and state laws banning low-cost, “Saturday night specials.”
            Indeed, the results have implications for many gun-control rules that raise
            gun prices. Law-abiding minorities in the most crime-prone areas produced
            the greatest crime reductions from being able to defend themselves. Unfor-
            tunately, however unintentionally, these new laws risk disarming precisely
            these poor minorities.


            Using Other Crime Rates to Explain the Changes in the Crime Rates Being Studied
            Other concerns still exist regarding the specifications employed here.
            Admittedly, although arrest rates and average diﬀerences in individual
            counties are controlled for, more can be done to account for the chang-
            ing environments that determine the level of crime. One method is to
            use changes in other crime rates to help us understand why the crime
            rates that we are studying are changing over time. Table 4.5 reruns the
            specifications used to generate figure 4.1A but includes either the burglary
            or robbery rates as proxies for other changes in the criminal justice sys-
            tem. Robbery and burglary are the violent- and property-crime catego-
            ries that are the least related to changes in concealed-handgun laws, but




                                            Exhibit 10
                                              0506
             Table 4.5 Using crime rates that are relatively unrelated to changes in nondiscretionary laws as a method of controlling for other changes in the legal environment: controlling for
             robbery and burglary rates
                                                                                             Percent change in various crime rates for changes in explanatory variables
                                                                                             Violent                                  Aggravated                    Property
             Change in the explanatory variable                                              crime         Murder        Rape         assault         Robbery       crime          Burglary      Larceny       Auto theft
                                                                                             Controlling for robbery rates
             Nondiscretionary law adopted multiplied by county popu-                         –2.6%*         –4.3%*       –1.9%*       –2.6%*           —              1.4%*         0.08%         1.3%*         3.7%*
              lation (evaluated at mean county population)                                    1%             1.1%         0.4%         0.4%                           0.5%          0.04%         0.4%          0.5%
             Arrest rate for the crime category increased by 100 percent-                    –0.038*        –0.13*       –0.07*       –0.08*           —             –0.06*        –0.20*        –0.015*       –0.014*
              age points                                                                      7%             7%           4%           8%                             8%            9%            3%            2%




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                                                                                             Controlling for burglary rates
             Nondiscretionary law adopted multiplied by *county popu-                        –2.4%*         –4.3%*       –2.0%*       –2.6%*            0.4%          1.8%*        —              1.4%*         3.6%*




Exhibit 10
              lation (evaluated at mean county population)                                    1%             1.1%         0.4%         0.4%             0.04%         0.7%                        0.4%          0.5%
             Arrest rate for the crime category increased by 100 percent-                    –0.026*        –0.13*       –0.05*       –0.05*           –0.043*       –0.05*        —             –0.01*        –0.01*
              age points                                                                      5%             6%           3%           5%               3%            6%                          2%            2%
             Note: While not all the coeﬃcient estimates are reported, all the control variables are the same as those used in table 4.1, including year and county dummies. All regressions use weighted least squares,
             where the weighting is each county’s population. Net violent and property-crime rates are respectively net of robbery and burglary rates to avoid producing any artificial collinearity. Likewise, the arrest
             rates for those values omit the portion of the corresponding arrest rates due to arrests for robbery and burglary. While not reported, the coeﬃcients for the robbery and burglary rates were extremely
             statistically significant and positive. Entire sample used over the 1977 to 1992 period.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
                                                                                                                                                                                                                             3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1519 Page
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            they still tend to move up and down together with all the other types
            of crimes.33
                There is some evidence that changes in burglary or robbery rates reflect
            other changes in the criminal justice system that are omitted by the other
            factors already accounted for. This is suggested by their very high correla-
            tions with other crime categories.34 The two sets of specifications reported
            in table 4.5 closely bound the earlier estimates, and the estimates continue
            to imply that the introduction of concealed-handgun laws coincided with
            similarly large drops in violent crimes and increases in property crimes.
            These results diﬀer from the preceding results in that the nondiscretion-
            ary laws are not significant related to robberies. The estimates on the other
            control variables also remain essentially unchanged.35


            Crime: Changes in Levels Versus Changes in Trends
            The preceding results in this chapter examined whether the average crime
            rate fell after the nondiscretionary laws went into eﬀect. If changes in the law
            aﬀect behavior with a lag, changes in the trend are probably more relevant.
            Therefore, a more important question is: How has the crime trend changed
            with the change in laws? Examining whether there is a change in levels or a
            change in whether the crime rate is rising or falling could yield very diﬀerent
            results. For example, if the crime rate was rising right up until the law was
            adopted but falling thereafter, some values that appeared while crime rate was
            rising could equal some that appeared as it was falling. In other words, decep-
            tively similar levels can represent dramatically diﬀerent trends over time.
                I used several methods to examine changes in the trends exhibited over
            time in crime rates. First, I reestimated the regressions in table 4.1, using
            year-to-year changes on all explanatory variables (see table 4.6). These
            regressions were run using both a variable that equals 1 when a nondis-
            cretionary law is in eﬀect as well as the change in that variable (called
            “diﬀerencing” the variable) to see if the initial passage of the law had an im-
            pact. The results consistently indicate that the law lowered the rates of vio-
            lent crime, rape, and aggravated assault. Nondiscretionary laws discourage
            murder in both specifications, but the eﬀect is only statistically significant
            when the nondiscretionary variable is also diﬀerenced. The property-crime
            results are in line with those of earlier tables, showing that nondiscretion-
            ary laws produce increases in property crime. Violent crimes decreased by
            an average of about 2 percent annually, whereas property crimes increased
            by an average of about 5 percent.



                                            Exhibit 10
                                              0508
             Table 4.6 Results of rerunning the regressions on differences
                                                                Endogenous variables in terms of ﬁrst differences of the natural logarithm of the crime rate
                                                                Δln(Violent-      Δln(Murder        Δln(Rape     Δln(Aggravated-        Δln(Robbery       Δln(Property-        Δln(Burglary       Δln(Larceny      Δln(Auto-
             Exogenous variables                                crime rate)       rate)             rate)        assault rate)          rate)             crime rate)          rate)              rate)            theft rate)
                                                                All variables except for the nondiscretionary dummy differenced
             Nondiscretionary law adopted                       –2.2%***          –2.6%            –5.2%*         –4.6%*                 –3.3%****          5.2%*               3.5%*              5.2%*           12.8%*
             First diﬀerences in the arrest rate for            –0.05%*           –0.15%*          –0.09%*        –0.09%*                –0.06%*           –0.08%*             –0.24%*            –0.02%*          –0.02%*
               the crime category
                                                                All variables differenced
             First diﬀerences in the dummy for                  –2.7%*            –3.6%***         –3.9%*         –5.4%*                 –0.7%               4.8%*               0.7%               6.2%*           24.2%*




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               nondiscretionary law adopted




Exhibit 10
             First diﬀerences in the arrest rate for            –0.05%*           –0.15%*          –0.09%*        –0.09%*                –0.06%*           –0.08%*               –.24%*           –0.02%*          –0.02%*
               the crime category
             Note: The variables for income; population; race, sex, and age of the population; and density are all in terms of first diﬀerences. While not all the coeﬃcient estimates are reported, all the control variables
             used in Table 4.1 are used here, including year and county dummies. All regressions use weighted least squares, where the weighting is each county’s population. Entire sample used over the 1977 to 1992
             period.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             ***The result is statistically significant at the 10 percent level for a two-tailed t-test.
             ****The result is statistically significant at the 11 percent level for a two-tailed t-test.
                                                                                                                                                                                                                                 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1521 Page
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            Table 4.7 Permits granted by state: Florida, Oregon, and Pennsylvania
            Year                        Florida                     Oregon                      Pennsylvania
            1987                         17,000a                    N.A.                        N.A.
            1988                         33,451                     N.A.                        267,335c
            1989                         51,335                     N.A.                        314,925
            1990                         65,636                     N.A.                        360,649
            1991                         67,043                     N.A.                        399,428
            1992                         75,578                     22,197b                     360,919
            1993                         95,187                     32,049                      426,011
            1994                        134,008                     43,216                      492,421
            1995                        163,757                     65,394                      571,208
            1996                        192,016                     78,258                      N.A.
            a
             Estimate of the number of concealed-handgun permits issued immediately before Florida’s law went into eﬀect from
            David McDowall, Colin Loftin, and Brian Wiersema, “Easing Concealed Firearms Laws: Eﬀects on Homicide in Three
            States,” Journal of Criminal Law and Criminology, 86 (Fall 1995): 194.
            b
              December 31, 1991.
            c
             Number of permits issued under discretionary law.



                As one might expect, the nondiscretionary laws aﬀected crime imme-
            diately, with an additional change spread out over time. Why would the
            entire eﬀect not be immediate? An obvious explanation is that not everyone
            who would eventually obtain a permit to carry a concealed handgun did so
            right away. For instance, as shown by the data in table 4.7, the number of
            permits granted in Florida, Oregon, and Pennsylvania was still increasing
            substantially long after the nondiscretionary law was put into eﬀect. Flori-
            da’s law was passed in 1987, Oregon’s in 1990, and Pennsylvania’s in 1989.
                Reestimating the regression results from table 4.1 to account for diﬀer-
            ent time trends in the crime rates before and after the passage of the law
            provides consistent strong evidence that the deterrent impact of concealed
            handguns increases with time. For most violent crimes, the time trend
            prior to the passage of the law indicates that crime was rising. The results
            using the simple time trends for these violent-crime categories are reported
            in table 4.8. Figures 4.5 through 4.9 illustrate how the violent-crime rate
            varies before and after the implementation of nondiscretionary concealed-
            handgun laws when both the linear and squared time trends are employed.
            Comparing the slopes of the crime trends before and after the enactment
            of the laws shows that the trends become more negative to a degree that is
            statistically significant after the laws were passed.36
                These results answer another possible objection: whether the findings
            are simply a result of so-called crime cycles. Crime rates rise or fall over
            time. If concealed-handgun laws were adopted at the peaks of these cycles
            (say, because concern over crime is great), the ensuing decline in crime
            might have occurred anyway without any help from the new laws. To deal



                                                         Exhibit 10
                                                           0510
             Table 4.8 Change in time trends for crime rates before and after the adoption of nondiscretionary laws
                                                                                                 Percent change in various crime rates for change in explanatory variable
                                                                                                 Violent                                Aggravated                   Property
                                                                                                 crime       Murder       Rape          assault         Robbery      crime       Auto theft    Burglary      Larceny
             Change in the crime rate from the diﬀerence in the annual                           –0.9%*       –3%*        –1.4%*       –0.5%*          –2.7%*       –0.6%*       –0.3%**       –1.5%*        –0.1%
              change in crime rates in the years before and after the change in




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              the law (annual rate after the law – annual rate before the law)
             Note: The control variables are the same as those used in table 4.1, including year and county dummies, though they are not reported, because the coeﬃcient estimates are very similar to those reported




Exhibit 10
             earlier. All regressions use weighted least squares, where the weighting is each county’s population. Entire sample used over the 1977 to 1992 period.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             **The result is statistically significant at the 5 percent level for a two-tailed t-test.
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            with this, I controlled not only for national crime patterns but also for in-
            dividual county patterns by using burglary or robbery rates to explain the
            movement in the other crime rates. I even tried to control for individual
            state trends. Yet the simplest way of concisely illustrating that my results
            are not merely a product of the “normal” ups and downs in crime rates
            is to look again at the graphs in figures 4.5–4.9. With the exception of ag-
            gravated assault, the drops not only begin right when the laws pass but also
            take the crime rates well below what they had been before the passage of
            the laws. It is diﬃcult to believe that, on the average, state legislatures could
            have timed the passage of these laws so accurately as to coincide with the
            peaks of crime waves; nor can the resulting declines be explained simply as
            reversions to normal levels.


            Was the Impact of Nondiscretionary Concealed-Handgun Laws the Same Everywhere?
            Just as we found that the impact of nondiscretionary laws changed over
            time, we expect to find diﬀerences across states. The reason is the same in
            both cases: deterrence increases with the number of permits. While the
            information obtained from state government oﬃcials only pertained to
            why permits were issued at diﬀerent rates across counties within a given
            state, the rate at which new permits are issued at the state level may also
            vary based upon population and population density. If this is true, then it
            should be possible to explain the diﬀerential eﬀect that non-discretionary
            laws have on crime in each of the states that passed such laws in the same
            way that we examined diﬀerences across counties.
               Table 4.9 reexamines my earlier regressions, where I took into account
            that concealed-handgun laws have diﬀerent eﬀects across counties, de-
            pending upon how lenient oﬃcials had been in issuing permits under
            a previously discretionary system. The one change from earlier tables is
            that a diﬀerent coeﬃcient is used for the counties in each of the ten states
            that changed their laws during the 1977 to 1992 period. At least for vio-
            lent crimes, the results indicate a very consistent eﬀect of nondiscretionary
            concealed-handgun laws across states. Nine of the ten states experienced
            declines in violent-crime rates as a result of these laws, and eight of the
            ten states experienced declines in murder rates; in the states where violent
            crimes, murders, or robberies rose, the increases were very small. In fact,
            the largest increases were smaller than the smallest declines in the states
            where those crime rates fell.
               Generally, the states with the largest decreases in any one category



                                            Exhibit 10
                                              0512
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          Figure 4.5. The effect of concealed-handgun laws on violent crimes




          Figure 4.6. The effect of concealed-handgun laws on murders




                                                     Exhibit 10
                                                       0513
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          Figure 4.7. The effect of concealed-handgun laws on rapes




          Figure 4.8. The effect of concealed-handgun laws on robberies




                                                     Exhibit 10
                                                       0514
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          Figure 4.9. The effect of concealed-handgun laws on aggravated assaults



          tended to have relatively large decreases across all the violent-crime cat-
          egories, although the “leader” in each category varied across all the violent-
          crime categories.37 Likewise, the states with relatively small crime decreases
          (for example, Georgia, Oregon, Pennsylvania, and Virginia) tended to ex-
          hibit little change across all the categories.
             Property crimes, on the other hand, exhibited no clear pattern. Prop-
          erty crimes fell in five states and increased in five states, and the size of any
          decrease or increase was quite small and unsystematic.
             Ideally, any comparison across states would be based on changes in the
          number of permits issued rather than simply the enactment of the non-
          discretionary law. States with the largest increases in permits should show
          the largest decreases in crime rates. Unfortunately, only a few states have
          recorded time-series data on the number of permits issued. I will use such
          data in chapter 5. For the moment, it is still useful to see whether the pat-
          terns in crime-rate changes found earlier across counties are also found
          across states. In particular, we would like to know whether the largest de-
          clines occurred in states with the largest or most dense populations, which
          we believed had the greatest increase in permits. The justification for the
          county-level diﬀerences was very strong because it was based on conversa-
          tions with individual state oﬃcials, but those oﬃcials were not asked to




                                                    Exhibit 10
                                                      0515
             Table 4.9 State-speciﬁc impact of nondiscretionary concealed-handgun laws
                                               Violent                                              Aggravated                               Property
                                               crime             Murder            Rape             assault               Robbery            crime              Auto theft           Burglary           Larceny
             Florida                            –4%              –10%               –8%              –4%                   0.3%               1%                 2%                   0.3%               2%
             Georgia                             0.2              –2                 0.5             –0.2                  0                  1                  1                    1                  1
             Idaho                              –3                –1                 0.1             –3                   –7                 –1                 –3                   –3                 –1
             Maine                             –17                –5                 1              –24                   –8                  1                 –4                   –2                  2
             Mississippi                        –3                 0.6               3               –8                    0                 –0.2                3                    2                 –1
             Montana                           –10                –5               –10              –12                   –6                 –4                 –5                    5                 –4
             Oregon                             –3                –1                –1               –3                   –4                 –2                  3                   –4                 –2
             Pennsylvania                       –1                –3                –1                1                   –2                  1                  3                   –1                  3




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             Virginia                           –2                 1                –1               –2                   –2                 –1                 –2                   –2                 –1




Exhibit 10
             West Virginia                      –1               –11                –5               –1                    1                  3                  0                    4                  2
             Summary of the
               coeﬃcients’ signs
               Negative                           9                 8                 6                9                    6                  5                  4                    5                  5
               Positive                           1                 2                 4                1                    4                  5                  6                    5                  5
             Note: The table uses arrest rates adjusted for counties wherein the adoption of nondiscretionary concealed-handgun laws was most likely to represent a real change from past practice by multiplying
             the nondiscretionary-law variables by the population in each county. The percents are evaluated at the mean county population.
                                                                                                                                                                                                                    3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1528 Page
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          make judgments across states (nor was it likely that they could do so).
          Further, there is much more heterogeneity across counties, and a greater
          number of observations. The relationship posited earlier for county popu-
          lations also seems particularly tenuous when dealing with state-level data
          because a state with a large population could be made up of a large number
          of counties with small populations.
              With this list of reservations in mind, let us look at the results we get
          by using state-level density data. Table 4.10 provides the results with re-
          spect to population density, and we find that, just as in the case of coun-
          ties, larger declines in crime were recorded in the most densely populated
          states. The diﬀerences are quite large: the most densely populated states
          experienced decreases in violent crimes that were about three times greater
          than the decreases in states with the average density. The results were simi-
          lar when state populations were taken into account.


          Other Gun-Control Laws and Different Types of Concealed-Handgun Laws
          Two common restrictions on handguns arise from (1) increased sentenc-
          ing penalties for crimes involving the use of a gun and (2) waiting periods
          required before a citizen can obtain a permit for a gun. How did these two
          types of laws aﬀect crime rates? Could it be that these laws—rather than
          concealed-handgun laws—explain the deterrent eﬀects? To answer this
          question, I reestimated the regressions in tables 4.1 and 4.3 by (1) adding a
          variable to control for state laws that increase sentencing penalties when
          crimes involve guns and (2) adding variables to measure the impact of wait-
          ing periods.38 It is not clear whether adding an extra day to a waiting period
          had much of an eﬀect; therefore, I included a variable for when the waiting
          period went into eﬀect along with variables for the length of the waiting
          period in days and the length in days squared to pick up any diﬀerential
          impact from longer lengths. In both sets of regressions, the variable for
          nondiscretionary concealed-handgun laws remains generally consistent
          with the earlier results.39 While the coeﬃcients for arrest rates are not re-
          ported here, they also remain very similar to those shown previously.
             So what about these other gun laws? The pattern that emerges from
          table 4.11 is much more ambiguous. The results for county-level data sug-
          gest that harsher sentences for the use of deadly weapons reduce violent
          crimes, especially crimes of aggravated assault and robbery. While the same
          county-level data frequently imply an impact on murder, rape, aggravated




                                         Exhibit 10
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             Table 4.10 Effects of concealed-handgun laws across states related to differences in state population density
                                                      Violent                                                Aggravated                               Property
             State population density                 crimes             Murder             Rape             assault               Robbery            crimes             Auto theft          Burglary            Larceny
             1 / 2 Mean                                 –2.7%              –3.2%             –5%             –1%                    –7%               –1%                 3%                   –5%               1%
             179 per square mile
             Mean                                       –5.4               –6.3             –10              –2                    –14                –1                  6                  –10                 2
             358 per square mile
             Plus 1 standard deviation                –11.8              –13.7              –21              –4                    –29                –3                 12                  –22                 4




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             778 per square mile




Exhibit 10
             Plus 2 standard deviations               –18.2              –21.1              –32              –6                    –45                –5                 19                  –33                 7
             1,197 per square mile
             Note: The regressions used for this table multiplied the variable for whether the law was enacted by that state’s population density. The control variables used to generate these estimates are the same as
             those used in table 4.1, including year and county dummies, though they are not reported, because the coeﬃcient estimates are very similar to those reported earlier. All regressions use weighted least
             squares, where the weighting is each state’s population.
                                                                                                                                                                                                                            3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1530 Page
             Table 4.11 Controlling for other gun laws
                                                                               Violent                                      Aggravated                        Property
             Exogenous variables                                               crime         Murder         Rape            assault          Robbery          crime          Burglary      Larceny         Auto theft
                                                                               County-level regressions
             Nondiscretionary law adopted                                       –4.2%*       –8.7%*          –6%*            –5.5%*           –2%              3.6%*          1%            4.5%*           8.2%*
             Enhanced sentencing law adopted                                    –4%          –0.3%            1.1%           –1.5%***         –2.9%***        –0.001%        –2%            1.2%***        –1.8%**
             Waiting law adopted                                                 2.3%        23%*            25%*            –9.4%**          –9%***           2%             2%           –0.3%           –8%**
             Percent change in crime by increasing the waiting                  –0.08%       –9.4%*         –13.6%*           6.5%*          –11%*            –1.5%***       –4.5%*         1.2%           –1%
               period by one day: linear eﬀect
             Percent change in crime by increasing the waiting                  –0.08%         0.55%*          0.8%*         –0.5%*             0.73%*         0.019%          0.23%*      –0.17%*          0.099%
               period by one day: squared eﬀect
                                                                               State-level regressions




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             Nondiscretionary law adopted                                      –10.1%*       –8.1%**         –5.7%***       –10.2%*          –13.3%*          –3.4%          –7.6%*        –2.2%           –1%
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             Enhanced sentencing law adopted                                     3.5%         3%              3%             –2.8%             1%              3%***          0.5%          3.7%**          2%




Exhibit 10
             Waiting law adopted                                                10%           6.8%           22%*             2.6%            15%              3.3%           6.5%          2.3%           –3.1%
             Percent change in crime by increasing the waiting                  –3%          –3%            –10%*            –0.65%          –10%**           –0.95%         –2.2%         –0.53%          –2.4%
               period by one day: linear eﬀect
             Percent change in crime by increasing the waiting                    0.12%      –0.13%            0.59%*        –0.041%            0.59%**       –0.021%          0.05%       –0.06%          –0.25%
               period by one day: squared eﬀect
             Note: The control variables are the same as those used in table 4.1, including year and county dummies, though they are not reported, because the coeﬃcient estimates are very similar to those reported
             earlier. All regressions use weighted least squares, where the weighting is each county’s population.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             **The result is statistically significant at the 5 percent level for a two-tailed t-test.
             ***The result is statistically significant at the 10 percent level for a two-tailed .
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            assault, and robbery, the eﬀects are quite inconsistent. For example, simply
            requiring the waiting period appears to raise murder and rape rates but
            lower the rates for aggravated assault and robbery. The lengths of waiting
            periods also result in inconsistent patterns: longer periods at first lower
            and then raise the murder and rape rates, with the reverse occurring for
            aggravated assault. Using state level data fails to confirm any statistically
            significant eﬀects for the violent-crime categories. First, it reveals no statis-
            tically significant or economically consistent relationship between either
            the presence of waiting periods or their length and violent-crime rates.
            The directions of the eﬀects also diﬀer from those found using county data.
            Taken together, the results make it very diﬃcult to argue that waiting
            periods (particularly long ones) have an overall beneficial eﬀect on crime
            rates. In addition, one other finding is clear: laws involving sentence length
            and waiting periods do not alter my earlier findings with respect to nondis-
            cretionary laws; that is, the earlier results for nondiscretionary laws cannot
            merely be reflecting the impact of other gun laws.


            The Importance of the Types of Concealed-Handgun Laws Adopted: Training and
            Age Requirements
            Finally, we need to consider how concealed-handgun laws vary across states
            and whether the exact rules matter much. Several obvious diﬀerences ex-
            ist: whether a training period is required, and if so, how long that period
            is; whether any minimum age limits are imposed; the number of years for
            which the permit is valid; where people are allowed to carry the gun (for
            example, whether schools, bars, and government buildings are excluded);
            residency requirements; and how much the permit costs. Six of these char-
            acteristics are reported in table 4.12 for the thirty-seven states with nondis-
            cretionary laws in 2005.
                A major issue in legislative debates on concealed-handgun laws is
            whether citizens will receive suﬃcient training to cope with situations
            that can require diﬃcult, split-second decisions. Steve Grabowski, president
            of the Nebraska state chapter of the Fraternal Order of Police, notes that
            “police training is much more extensive than that required for concealed-
            handgun permits. The few hours of firearms instruction won’t prepare a
            citizen to use the gun eﬃciently in a stress situation, which is a challenge
            even for professionals.”40 Others respond that significantly more training
            is required to use a gun oﬀensively, as a police oﬃcer may be called on to
            do, than defensively. Law-abiding citizens appear reticent to use their guns



                                            Exhibit 10
                                              0520
             Table 4.12 Characteristics of different nondiscretionary concealed-handgun laws as of 2005
             State                 Last major change    Permit duration (years)   Training hours (length)   Age requirement   Initial permit fee   Renewal fee   Issuing agency
             Alabama               1936                 1                          0                        18                 15                   15           Sheriﬀ
             Alaska                2003                 None                      None                      None              None                 None          None
             Arizona               2004                 5                          8                        21                 60                   60           Dept. of Public Safety
             Arkansas              1995                 4                          5                        21                144.25                50           State Police
             Colorado              2003                 5                          8                        21                 52.5                 25           Sheriﬀ
             Connecticut           1986                 5                          5                        21                 35                   35           State Police
             Florida               1995                 5                          2                        21                117                   65           Dept. of State
             Georgia               1996                 5                          0                        21                 50                   50           Judge of probate court
             Idaho                 1996                 4                          7                        21                 56                   48           Sheriﬀ




  0521
             Indiana               1980                 4                          0                        18                 10                   10           Chief of police or sheriﬀ
                                                                                                                                                                                                                             1057




             Kentucky              1996                 5                          8                        21                 60                   60           Sheriﬀ




Exhibit 10
             Louisiana             1996                 4                          9                        21                100                  100           Dept. of Public Safety
             Maine                 1985                 4                          5                        18                 35                   20           Chief of police or sheriﬀ
             Michigan              2000                 5                          8                        21                105                  105           State Police
             Minnesota             2003                 5                          6                        21                100                   75           Sheriﬀ
             Mississippi           1990                 4                          0                        21                124                   74           Dept. of Public Safety
             Missouri              2003                 3                          8                        23                100                   50           Sheriﬀ
             Montanaa              1991                 4                          4                        18                 55                   25           Sheriﬀ
             Nevada                1995                 5                          8                        21                 50                   25           Sheriﬀ
                                                                                                                                                                                             3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1533 Page
             New Hampshire                 1923                     4                              0     21      10     10    Chief of police
             New Mexico                    2004                     0                             15     18     100    100    Dept. of Public Safety
             North Carolina                2002                     5                              8     21      90     75    Sheriﬀ
             North Dakota                  1985                     3                              0     18      25     25    Bureau of Criminal
                                                                                                                                Investigation
             Ohio                          2004                     5                             12     21      69     55    Sheriﬀ
             Oklahoma                      1995                     5                              8     23     125     85    State Bureau of Criminal
                                                                                                                                Investigation
             Oregon                        1993                     4                               5    21      65     50    Sheriﬀ
             Pennsylvania                  1995                     5                               0    21      19     19    Chief of police or sheriﬀ
             South Carolina                1996                     4                               6    21      55     55    State Law Enforcement
                                                                                                                                Division




  0522
             South Dakota                  1986                     4                              0     18      10     10    Chief of police or sheriﬀ
                                                                                                                                                                                           1057




             Tennessee                     1996                     4                              9     21     115     50    Dept. of Public Safety




Exhibit 10
             Texas                         1995                     4                             10     21     140    140    Dept. of Public Safety
             Utah                          1995                     5                              4     21      64     10    Dept. of Public Safety
             Vermont                       None                     None                          None   None   None   None   None
             Virginia                      1995                     5                              5     21      50     50    Clerk of circuit court
             Washington                    1995                     5                              0     21      60     32    Judge, chief of police, or
                                                                                                                                sheriﬀ
             West Virginia                 1996                     5                               5    18     90     90     Sheriﬀ
             Wyoming                       1994                     5                               5    18     50     50     Attorney general
             a
                 Montana does not require a permit outside the city limits for the largest six cities.
                                                                                                                                                           3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1534 Page
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                                   1057

          and, as noted earlier, in the majority of cases simply brandishing the gun is
          suﬃcient to deter an attack.
             Reestimating the earlier regressions, I included measures for whether a
          training period was required, for the length of the training period, and for
          the age limit.41 The presence or length of the training periods typically show
          no eﬀect on crime, and although the eﬀects are significant for robbery, the
          size of the eﬀect is very small. On the other hand, age limits display quite
          diﬀerent and statistically significant coeﬃcients for diﬀerent crimes. The
          21-year-old age limit appears to lower murder rates, but it tends to reduce
          the decline in rape and overall violent-crime rates that is normally asso-
          ciated with nondiscretionary concealed-handgun laws. Because of these
          diﬀerent eﬀects, it is diﬃcult to draw firm conclusions regarding the eﬀect
          of age limits.


          Additional Data on Crime Rates
          After I originally put the data together for this study, and indeed after I had
          written virtually all the first edition of this book, additional county-level
          data became available for 1993 and 1994 from the FBI’s Uniform Crime Reports.
          These data allow us to evaluate the impact of the Brady law, which went
          into eﬀect in 1994. Four additional states (Alaska, Arizona, Tennessee, and
          Wyoming) also had right-to-carry laws in eﬀect for at least part of the year.
          The new information allows us to double-check whether the results shown
          earlier were mere aberrations.
             Table 4.13 reexamines the results from tables 4.1, 4.8, and 4.11 with these
          new data, and the findings are generally very similar to those already re-
          ported. The results in section A that correspond to table 4.1 imply an even
          larger drop in murder rates related to the passage of concealed-handgun
          laws (10 percent versus 7.7 percent previously), though the declines in the
          rates for overall violent crime as well as rape and aggravated assault are
          smaller. Robbery is also no longer statistically significant, and the point
          estimate is even positive. As noted earlier, given the inverted V shape of
          crime-rate trends over time, comparing the average crime rates before and
          after the passage of these laws is not enough, since crime rates that are rising
          before the law and falling afterward can produce similar average crime rates
          in the two periods. To deal with this, section B of table 4.13 corresponds to
          the results reported earlier in table 4.8. The estimates are again quite similar
          to those reported earlier. The eﬀect on rape is larger than those previously




                                          Exhibit 10
                                            0523
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            Table 4.13 Earlier results reexamined using additional data for 1993 and 1994
                                                     Percent change in various crime rates for changes in explanatory variables
            Change in explanatory variable           Violent crime Murder          Rape            Aggravated assault Robbery
            Section A: Nondiscretionary              –4.4%*            –10.0%*       –3.0%*         –5.7%*                    0.6%
              law adopted
            Section B: The diﬀerence                 –0.5%*             –2.9%*       –1.7%*         –0.3%*                  –2.2%*
              in the annual change in
              crime rates in the years
              before and after the change
              in the law (annual rate
              after the law minus annual
              rate before the law)
            Section C: Brady law adopted               3%               –2.3%          3.9%***        3.7%***               –3.9%
            Note: This table uses county-level, violent-crime data from the Uniform Crime Report that were not available until the
            rest of the book was written. Here I was not able to control for all the variables used in table 4.1. All regressions use
            weighted least squares, where the weighting is each county’s population. Section C also controls for the other variables
            that were included in Table 4.11 to account for changes in other gun laws. Section A corresponds to the regressions
            in table 4.1, section B to those in table 4.8, and section C to those in table 4.11, except that a dummy variable for the
            Brady law was added for those states that did not previously have at least a five-day waiting period.
            *The result is statistically significant at the 1 percent level for a two-tailed t-test.
            ***The result is statistically significant at the 10 percent level for a two-tailed t-test.



            reported, while the eﬀects for aggravated assault and robbery are somewhat
            smaller. All the results indicate that concealed-handgun laws reduce crime,
            and all the findings are statistically significant.
               Finally, section C of table 4.13 provides some very interesting estimates
            of the Brady law’s impact by using a variable that equals 1 only for those
            states that did not previously have at least a five-day waiting period. The
            claims about the criminals who have been denied access to guns as a result
            of this law are not necessarily evidence that the Brady law lowers crime
            rates. Unfortunately, these claims tell us nothing about whether criminals
            are ultimately able to obtain guns illegally. In addition, to the extent that
            law-abiding citizens find it more diﬃcult to obtain guns, they may be less
            able to defend themselves. For example, a woman who is being stalked may
            no longer be able to obtain a gun quickly to scare oﬀ an attacker. Numer-
            ous newspaper accounts tell of women who were attempting to buy guns
            because of threats by former lovers and were murdered or raped during
            the required waiting period.42
               The evidence from 1994 indicates that the Brady law has been associ-
            ated with significant increases in rapes and aggravated assaults, and the
            declines in murder and robbery have been statistically insignificant. All
            the other gun-control laws examined in table 4.11 were also controlled
            for here, but because their estimated impacts were essentially unchanged,
            they are not reported.




                                                             Exhibit 10
                                                               0524
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          What Happens to Neighboring Counties in Adjacent States When Nondiscretionary
          Handgun Laws are Adopted?
          If you put more resources in one place, it will displace some of the crime.
          —Al L’Ecuyer, West Boylston
          (Massachusetts) Police Chief 43

          Up to this point we have asked what happens to crime rates in places that
          have adopted nondiscretionary laws. If these laws do discourage criminals,
          however, they may react in several ways. We already have discussed two:
          criminals could stop committing crimes, or they could commit other,
          less dangerous crimes, such as those involving property, where the prob-
          ability of contact with armed victims is low. Yet, as the epigraph for this
          section notes, a third possibility is that criminals may commit crimes in
          other areas where potential victims are not armed. A fourth outcome is
          also possible: eliminating crime in one area can help eliminate crime in
          other areas as well. This last outcome may occur if criminals had been using
          the county that adopted the law as a staging area. Crime-prone, poverty-
          stricken areas of cities may find that some of their crime spills over to ad-
          jacent areas.
              This section seeks to test what eﬀect concealed-handgun laws and higher
          arrest rates have on crime rates in adjacent counties in neighboring states.
          Since concealed-handgun laws are almost always passed at the state level,
          comparing adjacent counties in neighboring states allows us to examine
          the diﬀerential eﬀect of concealed-handgun laws. Evidence that changes
          in a state’s laws coincide with changes in crime rates in neighboring states
          will support the claim that the laws aﬀect criminals. If these laws do not
          aﬀect criminals, neighboring states should experience no changes in their
          crime rates.
              Although any findings that nondiscretionary concealed-handgun laws
          cause criminals to leave the jurisdictions that adopt these laws would pro-
          vide additional evidence of deterrence, such findings would also imply that
          simply looking at the direct eﬀect of concealed-handgun laws on crime
          overestimates the total gain to society from these laws. In the extreme, if
          the entire reduction in crime from concealed-handgun laws was simply
          transferred to other areas, society as a whole would be no better oﬀ with
          these laws, even though individual jurisdictions benefited. While the evi-
          dence would confirm the importance of deterrence, adopting such a law
          in a single state might have a greater deterrent impact than if the entire
          nation adopted the law. The deterrent eﬀect of adopting nondiscretionary



                                              Exhibit 10
                                                0525
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            Table 4.14 Estimates of the impact of nondiscretionary concealed-handgun laws on neighboring
            counties
                                       Percent change in own crime rate
                                                                                          Average neighbor
                                       Own county has              Average neighbor has   and own county have
            Type of crime              nondiscretionary law        nondiscretionary law   nondiscretionary law
            Violent crime              –5.5%                        0                      –5.7%
              Murder                   –7.6%                        3.5%                   –4.1%
              Rape                     –6.2%                        6%                      0
              Robbery                  –4%                          2.8%                   –1.1%
              Aggravated assault       –7.4%                       –3.3%                  –10.7%
            Property crime              1%                          1%                      2%
              Auto theft               –1.3%                        2%                      3.4%
              Burglary                  1%                          4.7%                   –1%
              Larceny                   9%                         –2%                     10.8%



            concealed-handgun laws in additional states could also decline as more
            states adopted the laws.
               To investigate these issues, I reran the regressions reported in table 4.1,
            using only those counties that were within fifty miles of counties in neigh-
            boring states. In addition to the variable that examines whether your own
            state has a nondiscretionary concealed-handgun law, I added three new
            variables. One variable averages the dummy variables for whether adjacent
            counties in neighboring counties have such laws. A second variable exam-
            ines what happens when your county and your neighboring county adopt
            these laws. Finally, the neighboring counties’ arrest rates are added, though
            I do not bother reporting them, because the evidence indicates that only
            the arrest rates in your own county, not your neighboring counties, matter
            in determining your crime rate.
               The results reported in table 4.14 confirm that deterrent eﬀects do spill
            over into neighboring areas. For all the violent-crime categories, adopting
            a concealed-handgun law reduces the number of violent crimes in your
            county, but these results also show that criminals who commit murder,
            rape, and robbery apparently move to adjacent states without the laws.
            The one violent-crime category that does not fit this pattern is aggravated
            assault: adopting a nondiscretionary concealed-handgun law lowers the
            number of aggravated assaults in neighboring counties. With respect to the
            benefits of all counties adopting the laws, the last column shows that all
            categories of violent crime are reduced the most when all counties adopt
            such laws. The results imply that murder rates decline by over 8 percent
            and aggravated assaults by around 21 percent when a county and its neigh-
            bors adopt concealed-handgun laws.



                                                     Exhibit 10
                                                       0526
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             As a final test, I generated the figures showing crime trends before and
          after a neighbor’s adoption of the law by the method previously used, in
          addition to the time trends for before and after one’s own adoption of the
          concealed-handgun laws. The use of an additional squared term allows us
          to see if the eﬀect on crime is not linear. Figures 4.10–4.13 provide a graphic
          display of the findings for the diﬀerent violent-crime categories, though
          the results for the individual violent-crime categories are equally dramatic.
          In all violent-crime categories, the adoption of concealed-handgun laws
          produces an immediate and large increase in violent-crime rates in neigh-
          boring counties. And in all the categories except aggravated assaults the
          spillover increases over time just as the counties with the nondiscretion-
          ary law see their own crime rates continue to to fall. The symmetry and
          timing between the reduction in counties with non-discretionary laws and
          increases in neighboring counties without the laws is striking.
             Overall, these results provide strong additional evidence for the deter-
                                Murders per 100,000 population




                                                                                9.75


                                                                                 9.5


                                                                                9.25


                                                                                   9


                                                                                8.75

                                                                   -2       -1        0        1         2       3         4
                                                                   Years before and after the neighbor's adoption of the law

          Figure 4.10. Impact on murder rate from a neighbor’s adoption of nondiscretionary concealed-handgun law
                                Robberies per 100,000 population




                                                                                 280

                                                                                 270

                                                                                 260

                                                                                 250

                                                                                 240

                                                                                 230
                                                                   -2       -1        0        1         2       3         4
                                                                   Years before and after the neighbor's adoption of the law

          Figure 4.11. Impact on robbery rate from a neighbor’s adoption of nondiscretionary concealed-handgun law




                                                                                    Exhibit 10
                                                                                      0527
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                                                                                 39.5




                                  Rapes per 100,000 population
                                                                                   39

                                                                                 38.5

                                                                                   38

                                                                                 37.5

                                                                                   37

                                                                                 36.5
                                                                    -2       -1        0        1         2       3         4
                                                                    Years before and after the neighbor's adoption of the law

            Figure 4.12. Impact on rape rate from a neighbor’s adoption of nondiscretionary concealed-handgun law



                                                                                  360
                                  Assaults per 100,000 population




                                                                                  350


                                                                                  340


                                                                                  330


                                                                                  320


                                                                    -2       -1       0         1         2       3         4
                                                                    Years before and after the neighbor's adoption of the law

            Figure 4.13. Impact on aggravated-assault rate from a neighbor’s adoption of nondiscretionary concealed-
            handgun law



            rent eﬀect of nondiscretionary concealed-handgun laws. They imply that
            the earlier estimate of the total social benefit from these laws may have
            overestimated the initial benefits, but underestimated the long-term ben-
            efits as more states adopt these laws. In the long run, the negative spillover
            eﬀect subsides, and the adoption of these laws in all neighboring states has
            the greatest deterrent eﬀect on crime.


            Conclusions
            The empirical work provides strong evidence that concealed-handgun laws
            reduce violent crime and that higher arrest rates deter all types of crime.
            The results confirm what law-enforcement oﬃcials have said—that non-
            discretionary laws cause a greatest change in the number of permits is-
            sued for concealed handguns in the most populous, urbanized counties.



                                                                                     Exhibit 10
                                                                                       0528
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          This provides additional support for the claim that the greatest declines
          in crime rates are related to the greatest increases in concealed-handgun
          permits. The impact of concealed-handgun laws varies with a county’s level
          of crime, its population and population density, its per-capita income, and
          the percentage of the population that is black. Despite the opposition to
          these laws in large, urban, densely populated areas, those are the areas that
          benefit the most from the laws. Minorities and women tend to be the ones
          with the most to gain from being allowed to protect themselves.
              Some of the broader issues concerning criminal deterrence discussed in
          chapter 1 were evaluated, and the hypotheses used produced information
          about the locations where increased police eﬀorts had the most significant
          deterrent eﬀects on crime. Splitting the data set into high-and low-crime
          counties shows that arrest rates do not aﬀect crime rates equally in all
          counties: the greatest return to increasing arrest rates is in the most crime-
          prone areas.
              The results also confirm some of the potential aggregation problems
          with state-level data. The county-level data explain about six times more
          variation in violent-crime rates and eight times more variation in property-
          crime rates than do state-level data. Generally, the eﬀect of concealed-
          handgun laws on crime appeared much greater when state-level regres-
          sions were estimated. However, one conclusion is clear: the very diﬀerent
          results for state- and county-level data should make us very cautious in
          aggregating crime data. The diﬀerences in county characteristics show that
          dramatically greater diﬀerences exist among counties within any state than
          among diﬀerent states. Whether increased arrest rates are concentrated in
          the highest-crime counties in a state or spread out equally across all coun-
          ties makes a big diﬀerence in their impact on crime. Likewise, it is a mistake
          to think that concealed-handgun laws change crime rates in all counties
          in a state equally. The data should definitely remain as disaggregated as
          possible.
              The three sets of estimates that rely on county-level data, state-level
          data, or county-level data that accounts for how the law aﬀected diﬀerent
          counties have their own strengths and weaknesses. While using county-
          level data avoids the aggregation problems present with state-level data,
          the initial county-level regressions rely heavily on variation in state laws
          and thus are limited to comparing the variation in these fifty jurisdic-
          tions. If weight is thus given to any of the results, it would appear that
          the greatest weight should be given to the county-level regressions that
          interact the nondiscretionary-law variable with measures of how liber-



                                         Exhibit 10
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            ally diﬀerent counties issued permits under the preexisting discretionary
            systems. These regressions not only avoid the aggregation problems but
            also take fullest advantage of the relationship between county-level varia-
            tions in crime rates and the impact of nondiscretionary laws. They provide
            the strongest evidence that concealed-handgun laws reduce all types of
            crime. Despite these diﬀerent approaches, one point is clear: the results
            are remarkably consistent with respect to the deterrent eﬀect of nondis-
            cretionary concealed-handgun laws on violent crime. Two of these three
            sets of estimates imply that concealed-handgun laws also result in lower
            property-crime rates, although these rates decline less than the rates for
            violent crimes.
               This study represents a significant change in the general approach to
            crime studies. This is the first study to use cross-sectional time-series evi-
            dence at both the county and state levels. Instead of simply using either
            cross-sectional state- or city-level data, this study has made use of the
            much larger variations in arrest rates and crime rates between rural and
            urban areas, and it has been possible to control for whether the lower crime
            rates resulted from the gun laws themselves or from other diﬀerences in
            these areas (for example, low crime rates) that lead to the adoption of
            these laws.




                                           Exhibit 10
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                        5    The Victims and the Beneﬁts
                             from Protection
                            Concealed-Handgun Laws, the Method of Murder, and
                            the Choice of Murder Victims
                            Do laws allowing individuals to carry con-
                            cealed handguns cause criminals to change
                            the methods they use to commit murders? For
                            example, the number of murders perpetrated
                            with guns may rise after such laws are passed,
                            even though the total number of murders falls.
                            While concealed-handgun laws raise the risk of
                            committing murders with guns, murderers may
                            also find it relatively more dangerous to kill us-
                            ing other methods once people start carrying
                            concealed handguns, and they may therefore
                            choose to use guns to put themselves on a more
                            even basis with their potential prey. Using data
                            on the methods of murder from the Mortality
                            Detail Records provided by the U.S. Depart-
                            ment of Health and Human Services, I reran
                            the murder-rate regression from table 4.1 on
                            counties with populations over 100,000 during
                            the period from 1982 to 1991. I then separated
                            murders committed with guns from all other
                            murders. Table 5.1 shows that carrying concealed
                            handguns appears to have been associated with
                            approximately equal drops in both categories
                            of murders. Carrying concealed handguns ap-
                            pears to make all types of murders relatively less
                            attractive.
                               We may also wonder whether concealed-
                            handgun laws have any eﬀect on the types of

                            100

                                  Exhibit 10
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                                 1057
                                VICTIMS AND THE BENEFITS FROM PROTECTION | 101


            Table 5.1 Do concealed-handgun laws inﬂuence whether murders are committed with or without guns?
            Murder methods for counties with more than 100,000 people from 1982 to 1991
                                                                                                                ln(Murders by
            Exogenous variables                            ln(Total murders)        ln(Murder with guns)        nongun methods)
            Nondiscretionary law adopted                   –9.7%*                   –9.0%***                    –8.9%***
            Arrest rate for murder increased               –0.15%*                  –0.10%*                     –0.14%*
             by 100 percentage points
            Note: While not all the coeﬃcient estimates are reported, all the control variables are the same as those used in table
            4.1, including the year and county dummies. All regressions use weighted least squares, where the weighting is each
            county’s population. The first column uses the UCR numbers for counties with more than 100,000 people. The second
            column uses the numbers on total gun deaths available from the Mortality Detail Records, and the third column takes
            the diﬀerence between the UCR numbers for total murders and Mortality Detail Records of gun deaths. Endogenous
            variables are in murders per 100,000 population.
            *The result is statistically significant at the 1 percent level for a two-tailed t-test.
            ***The result is statistically significant at the 10 percent level for a two-tailed t-test.



            people who are likely to be murdered. The Supplementary Homicide Reports of
            the FBI’s Uniform Crime Reports contain annual, state-level data from 1977
            to 1992 on the percent of victims by sex, race, and age, as well as infor-
            mation on the whether the victims and the oﬀenders knew each other
            (whether they were members of the same family, knew each other but
            were not members of the same family, were strangers, or no relationship
            was known).1 Table 5.2, which uses the same setup as in table 4.1, is intended
            to explain these characteristics of the victims. The regressions indicate
            no statistically significant relationship between the concealed-handgun
            law and a victim’s sex, race, relationships with oﬀenders, or age (the last
            is not shown). However, while they are not quite statistically significant,
            two of the estimates appear important and imply that in states with
            concealed-handgun laws victims know their nonfamily oﬀenders 2.6 per-
            centage points more frequently than not, and that the number of victims
            for whom it was not possible to determine whether a relationship existed
            declined by 2.9 percentage points.
                This raises the question of whether the possible presence of concealed
            handguns causes criminals to prefer committing crimes against people
            they know, since presumably they would be more likely to know if an
            acquaintance carried a concealed handgun. The principal relationship
            between age and concealed handguns is that the concealed weapon de-
            ters crime against adults more than against young people—because only
            adults can legally carry concealed handguns—but the eﬀect is statisti-
            cally insignificant.2 Some of the benefits from allowing adults to carry
            concealed handguns may be conferred on younger people whom these
            adults protect. In addition, when criminals who attack adults leave states
            that pass concealed-handgun laws, there might also be fewer criminals left



                                                            Exhibit 10
                                                              0532
             Table 5.2 Changes in characteristics of murder victims: annual, state-level data from the Uniform Crime Reports, Supplementary Homicide Reports, from 1977 to 1992
                                               Percent change in various endogenous variables for changes in explanatory variables
                                               By victim’s sex                                  By victim’s race                                 By victim’s relationship to offender
                                                                                                                                                 Percent of
                                                                                                                                                 victims where the Percent of            Percent of        Percent victims
                                                                                   Percent of     Percent of     Percent of      Percent of      offender is known victims where         victims where     where the
                                               Percent of       Percent of         victims, sex   victims that   victims that    victims that    to victim but is      the offender is   the offender      relationship is
             Change in explanatory variable    male victims     female victims     unknown        are white      are black       are Hispanic    not in family         in the family     is a stranger     unknown
             Nondiscretionary law              0.39             –0.44              0.05             0.01         0.70            –0.87           2.58                  –0.25             0.54              –2.88
              adopted




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             Arrest rate for murder            0.068            –0.14              0.07           –2.02**        1.32**            0.33          1.74**                –1.45*            0.79              –1.08




Exhibit 10
              increased by 100
              percentage points
             To interpret this table, the first coeﬃcient (0.39) implies that the percent of male victims increases by 0.39 percentage points if a state adopts a nondiscretionary concealed-handgun law. While not all the
             coeﬃcient estimates are reported, all the control variables are the same as those used in table 2.3, including the year and state dummies. All regressions use weighted least squares, where the weighting
             is each state’s population.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             **The result is statistically significant at the 5 percent level for a two-tailed t-test.
                                                                                                                                                                                                                              3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1545 Page
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            to attack the children. The earlier evidence from figures 4.10–4.13 indi-
            cates that concealed-handgun laws actually drive criminals away, leaving
            fewer criminals to attack either adults or those under eighteen. Younger
            people may also benefit from concealed-carry laws simply because crimi-
            nals cannot always easily determine who is eligible to carry a concealed
            handgun. Attackers may find seventeen-year-olds diﬃcult to distinguish
            from eighteen-year-olds.
               The arrest rates for murder produce more interesting results. The per-
            cent of white victims and the percent of victims killed by family members
            both declined when arrest rates were increased, while the percent of black
            victims and the percent killed by non–family members whom they knew
            both increased. The results imply that higher arrest rates have a much
            greater deterrent eﬀect on murders involving whites and family members.
            One explanation is that whites with higher incomes face a greater increase
            in expected penalties for any given increase in the probability of arrest.


            Mass Public Shootings
            Chapter 1 noted the understandable fear that people have of mass public
            shootings like the one at Virginia Tech University. To record the number
            of mass public shootings by state from 1977 to 1992, a search was done of
            news-article databases (Nexis) for the same period examined in the rest
            of this study. A mass public shooting is defined as one that occurred in
            a public place and involved two or more people either killed or injured
            by the shooting. The crimes excluded involved gang activity; drug deal-
            ing; a holdup or a robbery; drive-by shootings that explicitly or implic-
            itly involved gang activity, organized crime, or professional hits; and serial
            killings, or killings that took place over the span of more than one day.
            The places where public shootings occurred included such sites as schools,
            churches, businesses, bars, streets, government buildings, public transit
            facilities, places of employment, parks, health care facilities, malls, and
            restaurants.
                Unlike the crime data we have been using, these data are available
            only at the state level. Table 5.3 shows the mean rate at which such kill-
            ings occurred both before and after the adoption of the nondiscretionary
            concealed-handgun laws in the ten states that changed their laws during
            the 1977 to 1992 period and, more broadly, for all states that either did or
            did not have such laws during the period. In each case the before-and-after
            means are quite statistically significantly diﬀerent at least at the 1 percent



                                           Exhibit 10
                                             0534
             Table 5.3 Mass shooting deaths and injuries
                                                                                               Mean death and injury rate per year for years in which the    Mean death and injury rate per year for years in which the
                                                                                               states do not have nondiscretionary concealed-handgun laws    states do have nondiscretionary concealed-handgun laws
                                                                                               (1)                                                           (2)
                                                                                               A. Comparing the before-and-after mean mass shooting deaths and injuries for states that changed their concealed-
                                                                                               handgun laws during the 1977–1992 period1
             Number of mass shooting deaths and injuries for the ten                           1.63                                                           1.19
              states that changed their laws during the 1977–1992 period
             Mass shooting deaths and injuries per 100,000 population                          0.039                                                          0.012
              for the ten states that changed their laws during the




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              1977–1992 period




Exhibit 10
                                                                                               B. Comparing the mean mass shooting deaths and injuries for all states with nondiscretionary concealed-handgun laws and
                                                                                               those without such laws2
             Number of mass shooting deaths and injuries                                       2.09                                                           0.89
             Mass shooting deaths and injuries per 100,000 population                          0.041                                                          0.037
             1
                 Column 1 for section A has 128 observations; column 2 has 32 observations.
             2
                 Column 1 for section B has 656 observations; column 2 has 160 observations.
                                                                                                                                                                                                                          3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1547 Page
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            level,3 with the rates being dramatically lower when nondiscretionary
            concealed-handgun laws were in eﬀect. For those states from which data
            are available before and after the passage of such laws, the mean per-capita
            death rate from mass shootings in those states plummets by 69 percent.4
                To make sure that these diﬀerences were not due to some other factor,
            I reestimated the specifications used earlier to explain murder rates for the
            state-level regressions with time trends before and after the adoption of the
            nondiscretionary concealed-handgun laws. The variable being explained is
            now the total number of deaths or injuries due to mass public shootings
            in a state.5
                Figure 5.1 shows that although the total number of deaths and inju-
            ries from mass public shootings actually rises slightly immediately after a
            nondiscretionary concealed-handgun law is implemented, it quickly falls
            after that, with the rate reaching zero five years after the law is enacted.6
            Why there is an initial increase is not immediately obvious, though during
            this early period relatively few people have concealed-handgun permits.
            Perhaps those planning such shootings do them sooner than they oth-
            erwise would have, before too many citizens acquire concealed-handgun



                                                                                                                80%
                           Probability that a state will experience deaths or injuries




                                                                                                                70%


                                                                                                                60%


                                                                                                                50%


                                                                                                                40%


                                                                                                                30%


                                                                                                                20%


                                                                                                                10%



                                                                                         –8   –6    –4      –2      0        2       4      6   8
                                                                                                   Years before and after the adoption of
                                                                                                         concealed-handgun laws

            Figure 5.1. Probability that the ten states that adopted concealed-handgun laws during the 1977–1992
            period experienced deaths or injuries from a shooting spree in a public place




                                                                                                           Exhibit 10
                                                                                                             0536
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          permits. One additional qualification should also be made. While nondis-
          cretionary concealed-handgun laws reduced deaths and injuries from mass
          public shootings to zero after five years in the ten states that changed their
          laws during the 1977 to 1992 period, a look at the mean death and injury
          rates from mass public shootings in the eight states that passed such laws
          before 1977 shows that these rates were quite low but definitely not zero.
          This tempers the conclusion here and implies that while deaths and inju-
          ries from mass public shootings fall dramatically after nondiscretionary
          concealed-handgun laws are passed, it is unlikely that the true rate will
          drop to zero for the average state that adopts these laws.


          County Data for Arizona, Pennsylvania, and Oregon, and State Data for Florida
          One problem with the preceding results was the use of county population
          as a proxy for how restrictive counties were in allowing concealed-handgun
          permits before the passage of nondiscretionary laws. Since I am still go-
          ing to control for county-specific levels of crime with county dummies,
          a better measure would have been to use the actual change in the num-
          ber of gun permits before and after the adoption of a concealed-handgun
          law. The per-capita number of permits provides a more direct measure of
          the expected costs that criminals face in attacking people. Knowing the
          number of permits also allows us to calculate the benefit from issuing an
          additional permit.
              Fortunately, the information on the number of permits issued by
          county is available for three states: Arizona, Oregon, and Pennsylvania.
          Florida also provides yearly permit data at the state level. Arizona and Or-
          egon also provided additional information on the conviction rate and the
          mean prison-sentence length. However, for Oregon, because the sentence-
          length variable is not directly comparable over time, it is interacted with all
          the individual year variables, so that we can still retain any cross-sectional
          information in the data. One diﬃculty with the Arizona sentence-length
          and conviction data is that they are available only from 1990 to 1995, and
          since the nondiscretionary concealed-handgun law did not take eﬀect until
          July 1994, we cannot control for all the other variables that we control for
          in the other regressions.
              Unlike Oregon and Pennsylvania, Arizona did not allow private citizens
          to carry concealed handguns prior to July 1994 (and permits were not actu-
          ally issued until the end of the year), so the value of concealed-handgun




                                          Exhibit 10
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            permits equals zero for this earlier period. Unfortunately, however, because
            Arizona changed its law so near the end of this period, I cannot control for
            all the variables that I controlled for in the other regressions. Florida’s data
            are even more limited, but they allow the study of the simple relationship
            between crime and permits at the state level for a relatively long period
            of time.
                The results in table 5.4 for Pennsylvania and table 5.5 for Oregon provide
            a couple of consistent patterns.7 The most economically and statistically
            important relationship involves the arrest rate: higher arrest rates consis-
            tently imply lower crime rates, and in twelve of the sixteen regressions the
            eﬀect is statistically significant. Five cases for Pennsylvania (violent crime,
            murder, aggravated assault, robbery, and burglary) show that arrest rates ex-
            plain more than 15 percent of the change in crime rates.8 Automobile theft
            is the only crime for which the arrest rate is insignificant in both tables.
                For Pennsylvania, murder and rape are the only crimes for which per-
            capita concealed-handgun permits explain a greater percentage of the
            variation in crime rates than does the arrest rate. However, increased
            concealed-handgun licensing explains more than 10 percent of the varia-
            tion in murder, rape, aggravated assault, and burglary rates. Violent crimes,
            with the exception of robbery, show that greater numbers of concealed-
            handgun permits lower violent crime rates, while property crimes exhibit
            very little relationship. The portion of the variation for property crimes
            that is explained by concealed-handgun licensing is only about one-tenth
            as large as the variation for violent crimes that is explained by such licens-
            ing, which is not too surprising, given the much more direct impact that
            concealed handguns have on violent crime.9 The regressions for Oregon
            weakly imply a similar relationship between concealed-handgun use and
            crime, but the eﬀect is only strongly statistically significant for larceny; it
            is weakly significant for murder.
                The Oregon data also show that higher conviction rates consistently
            result in significantly lower crime rates. The change in conviction rates ex-
            plains 4 to 20 percent of the change in the corresponding crime rates;10 how-
            ever, for five of the seven crime categories, increases in conviction rates
            appear to produce a smaller deterrent eﬀect than increases in arrest rates.11
            The greatest diﬀerences between the deterrent eﬀects of arrest and convic-
            tion rates produce an interesting pattern. For rape, increasing the arrest
            rate by 1 percent produces more than ten times the deterrent eﬀect of in-
            creasing the conviction rate for those who have been arrested by 1 percent.




                                            Exhibit 10
                                              0538
             Table 5.4 Crime and county data on concealed-handgun permits: Pennsylvania counties with populations greater than 200,000
                                                                                         Crimes per 100,000 population
                                                                                         Violent                                      Aggravated                    Property
             Percent change in the crime rate                                            crime         Murder         Rape            assault         Robbery       crime           Auto theft     Burglary     Larceny
             Due to a 1 percent change in the number of right-to-carry                   –5.3%***       –26.7%*        –5.7%***       –4.8%***          1.2%        –0.12%            1.5%         –1.4%        0.7%
              pistol permits / population over 21 between 1988 and each
              year since the law was implemented
             Due to a 1 percent change in the arrest rate for the crime                  –0.79%*         –0.37%*       –0.08%         –0.76%*         –0.84%*       –0.41%***       –0.065%        –1.1%*       0.13%




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              category




Exhibit 10
             Note: While not all the coeﬃcient estimates are reported, all the control variables are the same as those used in table 4.1, including year and county dummies. All regressions use weighted least squares,
             where the weighting is each county’s population. The nondiscretionary-law-times-county-population variable that was used in the earlier regressions instead of the variable for change in right-to-carry
             permits was tried here and produced very similar results. I also tried controlling for either the robbery or burglary rates, but I obtained very similar results.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             ***The result is statistically significant at the 10 percent level for a two-tailed t-test.
                                                                                                                                                                                                                           3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1551 Page
             Table 5.5 Crime and county data on concealed-handgun permits: Oregon data
                                                                                                                       Crimes per 100,000 population
                                                                                                                                                    Aggravated
             Percent change in the crime rate                                                                          Murder         Rape          assault             Robbery        Auto theft     Burglary       Larceny
             Due to a 1 percent change in the number of right-to-carry pistol permits / popu-                          –37%****         –6.7%          –4.8%            –4.7%          12%              2.7%         –9%**
              lation over 21 between 1988 and each year since the law was implemented
             Due to a 1 percent change in the arrest rate for the crime category                                         –0.34%*        –1%*           –0.4%*           –0.4%*          –.04%*        –0.7%*         –0.9%*
             Due to a 1 percent change in the conviction rate for the crime category                                     –0.2%*         –0.09%*        –1.5%***         –0.19%*        –0.37%*        –0.27%*        –0.86%*




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             Note: While not all the coeﬃcient estimates are reported, all the control variables are the same as those used in table 4.1, including year and county dummies. I also controlled for sentence length, but
             the diﬀerent reporting practices used by Oregon over this period make its use somewhat problematic. To deal with this problem, the sentence-length variable was interacted with year-dummy variables.




Exhibit 10
             Thus, while the variable is not consistent over time, it is still valuable in distinguishing penalties across counties at a particular point in time. The categories for violent and property crimes are eliminated
             because the mean sentence-length data supplied by Oregon did not allow us to use these two categories. All regressions use weighted least squares, where the weighting is each county’s population.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             **The result is statistically significant at the 5 percent level for a two-tailed t-test.
             ***The result is statistically significant at the 10 percent level for a two-tailed t-test.
             ****The result is statistically significant at the 11 percent level for a two-tailed t-test.
                                                                                                                                                                                                                                   3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1552 Page
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          For auto theft, arrest seems more important than conviction: a 1 percent
          increase in the arrest rate reduces crime by about ten times more than
          the same increase in convictions. These results are consistent with the as-
          sumption that arrests produce large penalties in terms of shame or negative
          reputation.12 In fact, the existing evidence shows that the reputational pen-
          alties from arrest and conviction can dwarf the legally imposed penalties.13
          This is some of the first evidence that the reputational penalties from arrests
          alone provide significant deterrence for some crimes.
              One possible explanation for these results is that Oregon simultaneously
          passed both the nondiscretionary concealed-handgun law and a waiting
          period. The statistics in table 4.11 suggest that the long waiting period im-
          posed by the Oregon law (fifteen days) increased murder by 5 percent, rape
          by 2 percent, and robbery by 6 percent. At least in the case of murder, which
          is weakly statistically significant in any case, the estimates from tables 4.11
          and 5.5 together indicate that if Oregon had not adopted its waiting period,
          the drop in murder resulting from the concealed-handgun law would have
          been statistically significant at the 5 percent level.
              The results for sentence length are not shown, but the t-statistics are
          frequently near zero, and the coeﬃcients indicate no clear pattern. One
          possible explanation for this result is that all the changes in sentencing rules
          produced a great deal of noise in this variable, not only over time but also
          across counties. For example, after 1989, whether a crime was prosecuted
          under the pre- or post-1989 rules depended on when the crime took place.
          If the average time between when the oﬀense occurred and when the pros-
          ecution took place diﬀered across counties, the recorded sentence length
          could vary even if the actual time served was the same.
              Florida’s state-level data showing the changes in crime rates and
          changes in the number of concealed-handgun permits are quite sugges-
          tive (see figure 5.2). Cuba’s Mariel Boat Lift created a sudden upsurge in
          Florida’s murder rate from 1980 through 1982. By 1983 the murder rate
          had return to its pre-Mariel level, and it remained relatively constant or
          exhibited a slight upward trend until the state adopted its nondiscretionary
          concealed-handgun law in 1987. Murder-rate data are not available for 1988
          because of changes in the reporting process, but the available evidence in-
          dicates that the murder rate began to drop when the law was adopted, and
          the size of the drop corresponded with the number of concealed-handgun
          permits outstanding. Ironically, the first post-1987 upward movement in
          murder rates occurred in 1992, when Florida began to require a waiting
          period and background check before issuing permits.



                                          Exhibit 10
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                                                                        A. Murder rates
                                                                       –6     –4        –2                        2       4          6
                                                                                                           0




                                 Cumulative percent change in murder rate
                                                                                                   –0.05

                                                                                                   –0.10

                                                                                                   –0.15

                                                                                                   –0.20

                                                                                                   –0.25

                                                                                                   –0.30

                                                                                                   –0.35

                                                                                                   –0.40

                                                                                  Years before and after implementation of the law

            Figure 5.2A. Cumulative percent change in Florida’s murder rate



                                                                                B. Number of permits
                                   Number of active concealed-handgun permits




                                                                                                 80,000

                                                                                                 70,000

                                                                                                 60,000

                                                                                                 50,000

                                                                                                 40,000

                                                                                                 30,000

                                                                                                 20,000

                                                                                                 10,000


                                                                    –6                –4        –2       0       2         4       6
                                                                                  Years before and after implementation of the law

            Figure 5.2B. Concealed-handgun permits after implementation of the law in Florida




               Finally, a very limited data set for Arizona produces no significant
            relationship between the change in concealed-handgun permits and the
            various measures of crime rates. In fact, the coeﬃcient signs themselves
            indicate no consistent pattern; the fourteen coeﬃcients are equally divided
            between negative and positive signs, though six of the specifications imply



                                                                                               Exhibit 10
                                                                                                 0542
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          that the variation in the number of concealed-handgun permits explains
          at least 8 percent of the variation in the corresponding crime rates.14 This
          is likely to occur for several reasons. The sample is extremely small (only
          64–89 observations, depending on which specification), and we have only
          a year and a half over which to observe the eﬀect of the law. In addition, if
          Arizona holds true to the pattern observed in other states, the impact of
          these laws is smallest right after the law passes.
              The results involving either the mean sentence length for those sen-
          tenced in a particular year or the actual time served for those ending their
          sentences also imply no consistent relationship between sentence length
          and crime rates. While the coeﬃcients are negative in eleven of the four-
          teen specifications, they provide weak evidence of the deterrent eﬀect
          of longer prison terms: only two coeﬃcients are negative and statisti-
          cally significant.
              The Brady law also went into eﬀect during this period.15 Using the Ari-
          zona data to investigate the impact of the Brady law indicates that its only
          discernible eﬀect was in the category of aggravated assault, where the statis-
          tics imply that it increased the number of aggravated assaults by 24 percent
          and the number of rapes by 3 percent. Yet it is important to remember that
          the data for Arizona covered only a very short period of time when this law
          was in eﬀect, and other factors influencing crime could not be taken into
          account. While I do not believe that the Brady law was responsible for this
          large increase in assaults, I at least take this as evidence that the law did not
          reduce aggravated assaults and as confirmation of the belief that relying on
          this small sample for Arizona is problematic.
              Overall, Pennsylvania’s results provide more evidence that concealed-
          handgun ownership reduces violent crime, murder, rape, aggravated as-
          sault, and burglary. For Oregon, the evidence implies that murder and
          larceny decrease. While the Oregon data imply that the eﬀect of hand-
          gun permits on murder is only marginally statistically significant, the
          point estimate is extremely large economically, implying that a doubling
          of permits reduces murder rates by 37 percent. The other coeﬃcients for
          Pennsylvania and Oregon imply no significant relationship between the
          change in concealed-handgun ownership and crime rates. The evidence
          from the small sample for Arizona implies no relationship between crime
          and concealed-handgun ownership. All the results also support the claim
          that higher arrest and conviction rates deter crime, although—perhaps
          partly because of the relatively poor quality of the data—no systematic
          eﬀect appears to arise from longer prison sentences.



                                          Exhibit 10
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            Putting Dollar Values on the Crime-Reduction Beneﬁts and Private Costs of
            Additional Concealed-Handgun Permits
            By combining evidence that additional concealed handguns reduce crime
            with the monetary estimates of victim losses from crime produced by the
            National Institute of Justice, it is possible to attach a monetary value to
            the benefits of additional concealed-handgun permits. While the results
            for Arizona imply no real savings from reduced crime, the estimates for
            Pennsylvania indicate that potential costs to victims are reduced by $5,079
            for each additional concealed-handgun permit, and for Oregon, the savings
            are $3,439 per permit. As noted in the discussion of table 4.2, the results are
            largely driven by the eﬀect of concealed handguns in lowering murder rates
            (with savings of $4,986 for Pennsylvania and $3,202 for Oregon).16
               These estimated gains appear to far exceed the private costs of owning a
            concealed handgun. The purchase price of handguns ranges from $100 or
            less for the least-expensive .25-caliber pistols to over $700 for the newest,
            ultracompact, 9-millimeter models.17 The permit-filing fees can range from
            $19 every five years in Pennsylvania to a first-time, $65 fee with subsequent
            five-year renewals at $50 in Oregon, which also requires several hours of
            supervised safety training. Assuming a 5 percent real interest rate and the
            ability to amortize payments over ten years, purchasing a $300 handgun
            and paying the licensing fees every five years in Pennsylvania implies a
            yearly cost of only $43, excluding the time costs incurred. The estimated
            expenses are higher for Oregon, because of the higher fees and the costs
            in time and money of obtaining certified safety instruction. Even if these
            annual costs double, however, they are still quite small compared to the
            social benefits. While ammunition purchases and additional annual train-
            ing would increase annualized costs, the long life span of guns and their
            resale value work to reduce the above estimates.
               The results imply that handgun permits are being issued at much lower
            than optimal rates, perhaps because of the important externalities not
            directly captured by the handgun owners themselves. While the crime-
            reducing benefits of concealed handguns are shared by all those who are
            spared being attacked, the costs of providing this protection are borne ex-
            clusively by permit holders.


            Accidental Deaths and Suicides
            Even if nondiscretionary handgun permits reduce murder rates, we are still
            left with the question of what happens to the rates for accidental death.



                                            Exhibit 10
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          As more people carry handguns, accidents may be more likely. Earlier, we
          saw that the number of murders prevented exceeded the entire number
          of accidental deaths. In the case of suicide, the nondiscretionary laws in-
          crease the probability that a gun will be available when an individual feels
          particularly depressed; thus, they could conceivably lead to an increase in
          the number of suicides. While only a small portion of accidental deaths
          are attributable to guns (see appendix 4), the question remains whether
          concealed-handgun laws aﬀect the total number of deaths through their
          eﬀect on accidental deaths.
             To get a more precise answer to this question, I used county-level data
          from 1982 to 1991 in table 5.6 to test whether allowing concealed hand-
          guns increased accidental deaths. Data are available from the Mortality
          Detail Records (provided by the U.S. Department of Health and Human
          Services) for all counties from 1982 to 1988 and for counties with popu-
          lations over 100,000 from 1989 to 1991. The specifications are identical to
          those shown in all the previous tables, with the exceptions that they no
          longer include variables related to arrest or conviction rates and that the
          variables to be explained are either measures of the number of accidental
          deaths from handguns or measures of accidental deaths from all other
          nonhandgun sources.
             While there is some evidence that the racial composition of the popula-
          tion and the level of welfare payments aﬀect accident rates, the impact of
          nondiscretionary concealed-handgun laws is consistently both quite small
          economically and insignificant statistically. The first estimate in column 1
          implies that accidental deaths from handguns rose by about 0.5 percent
          when concealed-handgun laws were passed. With only 200 accidental
          handgun deaths nationwide during 1988 (22 accidental handgun deaths
          occurred in states with nondiscretionary laws), the implication is that en-
          acting concealed-handgun laws in states that currently do not have them
          would increase the number of deaths by less than one (.851 deaths). Re-
          doing these tests by adding together accidental handgun deaths and deaths
          from “unknown” types of guns produces similar results.
             With 186 million people living in states without concealed-handgun
          laws in 1992,18 the third specification implies that implementing such laws
          across those remaining states would have resulted in about nine more ac-
          cidental handgun deaths.19 Combining this finding with earlier estimates
          from table 4.1, we find that if the rest of the country had adopted concealed-
          handgun laws in 1992, the net reduction in total deaths would have been
          approximately 1,405 to 1,583.



                                         Exhibit 10
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             Table 5.6 Did nondiscretionary concealed-handgun laws increase the number of accidental deaths? (1982–91 county-level data)
                                                                                         Deaths per 100,000 population
                                                                                         Ordinary least squares, natural logarithm of endogenous
                                                                                         variable                                                          Tobit
                                                                                                                                Accidental deaths from                                           Accidental deaths from
             Change in explanatory variable                                              Accidental deaths from handguns        nonhandgun sources         Accidental deaths from handguns       nonhandgun sources
             Nondiscretionary law adopted                                                 0.48%                                  9.9%***                    0.574 more deaths                     1.331 more deaths
             Percent change in crime (for Tobit number of deaths per                     –0.07%*                                 0.09%*                    –0.004%                               –0.016%
               100,000) for an increase in population of one person per




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               square mile
             Percent change in crime (for Tobit number of deaths                          2.67%                                –5.7%*                        4.4%                                –9%*




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               per 100,000) for an increase in $1,000 of real per-capita
               personal income
             Note: While not all the coeﬃcient estimates are reported, all the control variables are the same as those used in table 4.1, including year and county dummies. Absolute t-statistics are in parentheses. All
             regressions weight the data by each county’s population.
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             ***The result is statistically significant at the 10 percent level for a two-tailed t-test.
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             One caveat should be added to these numbers, however: both columns
          2 and 4 indicate that accidental deaths from nonhandgun sources increased
          by more than accidental deaths from handguns after the nondiscretionary
          concealed-handgun laws were implemented. To the extent that the for-
          mer category increased because of uncontrolled factors that also increase
          accidental deaths from handguns, the results presented here are biased
          toward finding that concealed-handgun laws have increased accidental
          deaths from handguns.
             Finally, I examined similar specifications using data on suicide rates.
          The possibility exists that if a person becomes depressed while away from
          home, the presence of a concealed handgun might encourage that person
          to act impulsively, whereas an enforced delay might ultimately prevent a
          suicide. If anything, the results implied a statistically insignificant and small
          increase in suicides (less than one-tenth of 1 percent). Hence it is reasonable
          to conclude that no relationship exists between concealed-handgun laws
          and suicide rates.


          Total Gun Ownership and Crime
          Traditionally, people have tried to use cross-country comparisons of gun
          ownership and crime rates to determine whether gun ownership enhances
          or detracts from safety.20 Worldwide, there is no relationship between gun
          ownership and crime rates. Many countries, such as Switzerland, Finland,
          New Zealand, and Israel, have high gun ownership rates and low crime
          rates, while many other countries have both low gun ownership rates and
          either high or low crime rates. For example, in 1995 Switzerland’s murder
          rate was 40 percent lower than Germany’s despite having a three-times
          higher gun-ownership rate. Yet, making a reliable comparison across
          countries is an arduous task simply because it is diﬃcult to obtain gun
          ownership data both over time and across countries, and to control for all
          the other diﬀerences across the legal systems and cultures across coun-
          tries. International comparisons are also risky because polls underreport
          ownership in countries where gun ownership is illegal, and the polls are
          conducted by diﬀerent polling organizations that ask questions in widely
          diﬀering ways. How crime is measured also varies across countries.
              Fortunately, more consistent data are available to investigate the rela-
          tionship between total gun ownership in the United States and crime. In
          chapter 3, I presented poll data from general-election surveys that oﬀer
          consistent polling across states, showing how gun ownership varied across



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            states for 1988 and 1996. There is broad variation in gun ownership across
            states, and the crime rates also vary across states and over time. Even with
            rather few observations, however, these data suggest that we may be able
            to answer an obvious question: Is the crime rate higher in states with
            more guns?
               To test the relationship between gun ownership and crime, I attempted
            to examine the relationship between the percentage of the adult popula-
            tion owning guns and the crime rate after accounting for the arrest rate,
            real personal income, population per square mile, state dummy variables,
            the percentage of blacks among each state’s population, and a variable to
            pick up the average change in crime rates between 1988 and 1995. This last
            variable was also intended to help pick up any diﬀerences in the results
            that arise from the slightly diﬀerent poll methods in the two years. Ideally,
            one would want to construct the same type of cross-sectional, time-series
            data set over many years and states that was used in the earlier discussions;
            unfortunately, however, such extensive poll data on gun ownership are
            not available. Because we lack the most recent data for the above-named
            variables, all the variables except for the percentage of the state’s adult
            population that owns guns is for 1995.
               As table 5.7 shows, a strong negative relationship exists between gun
            ownership and all of the crime rates except for rape, and the results are
            statistically significant for seven of the nine categories. Indeed, the eﬀect of


            Table 5.7 The relationship between state crime rates and the general election poll data on the percent
            of the state’s adult population owning guns
                                           Percent change in the crime rate from a        Estimated change in victim costs from a
                                           1 percentage point increase in a state’s       1 percent increase in the number of guns
            Crime rates                    gun ownership rate                             nationwide
            Violent crime                  –4.1*
              Murder                       –3.3*                                            $2.7 billion
              Rape                          0
              Aggravated assault           –4.3*                                           $44 million
              Robbery                      –4.3*                                          $200 million
            Property crime                 –1.5**
              Burglary                     –1.6*                                           $54 million
              Larceny                      –1.3                                            $38 million
              Auto theft                   –3.2*                                           $17 million
              Total savings                                                                 $3.1 billion
            Note: While the other coeﬃcient values are not reported here, these regression results control for the arrest rate, real
            personal income, population per square mile, state dummy variables, the percent of the state’s population that is black,
            and a year-dummy variable for 1996 to pick up the average change in crime rate between the years. All regressions use
            weighted least squares, where the regressions are weighted by the state populations.
            *The result is statistically significant at the 1 percent level for a two-tailed t-test.
            **The result is statistically significant at the 5 percent level for a two-tailed t-test.




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          gun ownership on crime is quite large: a 1 percent increase in gun owner-
          ship reduces violent crime by 4.1 percent. The estimates from the National
          Institute of Justice of the costs to victims of crime imply that increasing
          gun ownership nationwide by 1 percent would reduce victim costs by $3.1
          billion, though we must bear in mind that these conclusions are based on
          a relatively small sample. Similar estimates for accidental gun deaths or
          suicides reveal no significant relationships.


          Conclusion
          Nondiscretionary concealed-handgun laws have equal deterrent eﬀects on
          murders committed both with and without guns. Despite diﬀerences in the
          rates at which women and men carry guns, no diﬀerence exists in the total
          benefit the two sexes derive in terms of reduced murder rates. The evidence
          strongly rejects claims that criminals will be more likely to use firearms
          when their potential victims are armed. Furthermore, the increased pres-
          ence of concealed handguns under nondiscretionary laws does not raise the
          number of accidental deaths or suicides from handguns.
             As in other countries, people who engage in mass public shootings are
          deterred by the possibility that law-abiding citizens may be carrying guns.
          Such people may be deranged, but they still appear to care whether they
          will themselves be shot as they attempt to kill others. The results presented
          here are dramatic: states that adopted nondiscretionary laws during the
          1977–1992 period virtually eliminated mass public shootings after four or
          five years. These results raise serious concerns over state and federal laws
          banning all guns from schools and the surrounding area. At least permit-
          ting school employees access to guns would seem to make schools less
          vulnerable to mass shootings.
             One prominent concern about leniency in permitting people to carry
          concealed handguns is that the number of accidental deaths might rise,
          but I can find no statistically significant evidence that this occurs. Even the
          largest estimate of nine more accidental deaths per year is extremely small
          in comparison to the number of lives saved from fewer murders.
             The evidence for Pennsylvania and Oregon also provides the first esti-
          mates of the annual social benefits that accrue from private expenditures
          on crime reduction. Each additional concealed-handgun permit reduces
          total losses to victims by between three and five thousand dollars. The
          results imply that handgun permits are being obtained at much lower
          than optimal rates in two of the three states for which I had the relevant



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            data, perhaps because the individual owners bear all the costs of owning
            their handguns but receive only a small fraction of the total benefits. The
            evidence implies that concealed handguns are the most cost-eﬀective
            method of reducing crime that has been analyzed by economists; they
            provide a higher return than increased law enforcement or incarcera-
            tion, other private security devices, or social programs like early educa-
            tional intervention.21
               The general-election exit-poll data may also be used to calculate the
            change in total costs to crime victims when more people own guns. These
            preliminary estimates are quite dramatic, indicating that, nationwide, each
            1 percent increase in the number of people owning guns reduces victim
            costs by over 3 billion dollars.
               The data continue to supply strong evidence supporting the economic
            notion of deterrence. Higher arrest and conviction rates consistently and
            dramatically reduce the crime rate. Consistent with other recent work,22
            the results imply that increasing the arrest rate, independent of the prob-
            ability of eventual conviction, imposes a significant penalty on criminals.
            Perhaps the most surprising result is that the deterrent eﬀect of a 1 percent
            increase in arrest rates is much larger than the same increase in the prob-
            ability of conviction. It was also surprising that while longer prison terms
            usually implied lower crime rates, the results were normally not statisti-
            cally significant.




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                        6    What Determines Arrest Rates and the
                             Passage of Concealed-Handgun Laws?
                            The regressions used in previous chapters took
                            both the arrest rate and the passage of nondiscre-
                            tionary concealed-handgun laws as given. This
                            chapter deals with the unavoidably complicated
                            issue of determining whether the variables I am
                            using to explain the crime rate are in themselves
                            determined by other variables. Essentially, the
                            findings here confirm the deterrence eﬀect of
                            concealed-handgun laws and arrest rates.
                                Following the work of Isaac Ehrlich, I now let
                            the arrest rate depend on crime rates as well as
                            on population measures and the resources in-
                            vested in police.1 The following crime and po-
                            lice measures were used: the lagged crime rates;
                            measures of police employment and payroll
                            per capita, per violent crime, and per property
                            crime at the state level (these three measures of
                            employment are also broken down by whether
                            police oﬃcers have the power to make arrests).
                            The population measures were as follows: in-
                            come; unemployment insurance payments; the
                            percentages of county population by age, sex,
                            and race (already used in table 4.1); and county
                            and year dummy variables.2 In an attempt to ac-
                            count for political influences, I further included
                            the percentage of a state’s population belonging
                            to the National Rifle Association, along with the
                            percentage voting for the Republican presiden-
                            tial candidate.3
                                Because presidential candidates and political

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            issues vary from election to election, the variables for the percentage voting
            Republican are not perfectly comparable across years. To account for these
            diﬀerences across elections, I used the variable for the percentage voting
            Republican in a presidential election for the years closest to that election.
            Thus, the percent of the vote obtained in 1980 was multiplied by the in-
            dividual year variables for the years from 1979 to 1982, the percent of the
            vote obtained in 1984 was multiplied by the individual year variables for the
            years from 1983 to 1986, and so on through the 1992 election. A second set of
            regressions explaining the arrest rate also includes the change in the log of
            the crime rates as a proxy for the diﬃculties that police forces may face in
            adjusting to changing circumstances.4 The time period studied in all these
            regressions, however, is more limited than in the previous tables because
            the state-level data on police employment and payroll available from the
            U.S. Department of Justices’ Expenditure and Employment data set for the
            criminal justice system covered only the years from 1982 to 1992.
               Aside from the concern over what determines the arrest rate, we want
            to answer another question: Why did some states adopt nondiscretionary
            concealed-handgun laws while others did not? As noted earlier, if states
            adopted such laws because crime rates were either rising or expected to rise,
            our preceding regression estimates (using ordinary least-squares) will un-
            derestimate the drop in crime. Similarly, if such laws were adopted because
            crime rates were falling, the bias is in the opposite direction—the regres-
            sion will overestimate the drop in crime. Thus, in order to explain whether
            a county was likely to be in a state that had adopted concealed-handgun
            laws, I used the rates for both violent crime and property crime, along with
            the change in those crime rates.5 To control for general political diﬀerences
            that might aﬀect the chances for the passage of these laws, I also included
            the percentage of a state’s population that belonged to the National Rifle
            Association; the Republican presidential candidate’s percentage of the state-
            wide vote; the percentage of blacks and whites in a state’s population; the
            total population in the state; regional dummy variables for whether the
            state is in the South, Northeast, or Midwest; and year dummy variables.
               The regressions reported here are diﬀerent from those reported earlier
            because they allow us to let the crime rate depend on the variables for the
            concealed-handgun law and the arrest rate, as well as on other variables, but
            the variables for the concealed-handgun law and the arrest rate are in turn
            dependent on other variables.6 While these estimates use the same set of con-
            trol variables employed in the preceding tables, the results diﬀer from all my
            previous estimates in one important respect: nondiscretionary concealed-



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          handgun laws are associated with large, significant declines in all nine crime
          categories. I tried estimating a specification that mimicked the regressions
          in Ehrlich’s study. Five of the nine crime categories implied that a change of
          one standard deviation in the predicted value of the nondiscretionary-law
          variable explains at least 10 percent of a change of one standard deviation
          in the corresponding crime rates. Nondiscretionary concealed-handgun
          laws explain 11 percent of the variation in violent crime, 7.5 percent of the
          variation in murder, 6 percent for rape, 10 percent for aggravated assault,
          and 5 percent for robbery. In fact, concealed-handgun laws explain a greater
          percentage of the change in murder rates than do arrest rates.
              A second approach examined what happened to the results when the
          arrest rate was determined not only by past crime rates but also by the
          change in the crime rate in the previous year. The concern here is that
          rapid changes in crime rates make it more diﬃcult for police agencies to
          maintain the arrest rates they had in the past. With the exception of rob-
          bery, the new set of estimates using the change in crime rates to explain
          arrest rates indicated that the eﬀect of concealed-handgun laws was usu-
          ally more statistically significant but economically smaller. For example,
          in the new set of estimates, concealed-handgun laws explained 3.9 percent
          of the variation in murder rates compared to 7.5 percent for the preceding
          estimates. While these results imply that even crimes involving relatively
          little contact between victims and criminals experienced declines, nondis-
          cretionary concealed-handgun laws reduced violent crimes by more than
          they reduced property crimes.
              Both sets of estimates provide strong evidence that higher arrest rates
          reduce crime rates. Among violent crimes, rape consistently appears to be
          the most sensitive to higher arrest rates. Among property crimes, larceny
          is the most sensitive to higher arrest rates.
              The estimates explaining which states adopt concealed-handgun laws
          show that the states adopting these laws are relatively Republican with
          large National Rifle Association memberships and low but rising rates of
          violent crime and property crime. The set of regressions used to explain the
          arrest rate shows that arrest rates are lower in high-income, sparsely popu-
          lated, Republican areas where crime rates are increasing. This evidence calls
          into question claims that police forces are not catching criminals in high-
          crime, densely populated areas.
              I reestimated the state-level data using similar specifications. The co-
          eﬃcients on the variables for both arrest rates and concealed-handgun laws
          remained consistently negative and statistically significant. The state-level



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            data again implied a much stronger eﬀect from the passage of concealed-
            handgun laws and a much weaker eﬀect from higher arrest rates. In order
            to use the longer data series available for the nonpolice employment and
            payroll variables, I even reestimated the regressions without those variables.
            This produced similar results.7
               Finally, using the predicted values for the arrest rates allows us to in-
            vestigate the significance of another weakness of the data. The arrest-rate
            data suﬀers not only from some missing observations but also from some
            instances where it is undefined when the crime rate in a county equals zero.
            This last issue is problematic only for murders and rapes in low-population
            counties. In these cases, both the numerator and denominator in the ar-
            rest rate equal zero, and it is not clear whether I should count this as an
            arrest rate equal to 100 or 0 percent, neither of which is correct, as it is truly
            undefined. The previously reported evidence arising from regressions that
            were run only on the larger counties (population over 10,000) sheds some
            light on this question, since these counties have fewer observations with
            undefined arrest rates. In addition, if the earlier reported evidence that
            adopting nondiscretionary concealed-handgun laws changed the number
            of permits the least in the lower-population counties, one would expect
            relatively little change in counties with missing observations.
               The analysis presented in this section allowed us to try another, more
            appropriate approach to deal with this issue.8 I created predicted arrest rates
            for these observations using the regressions that explain the arrest rate, and
            then I reestimated the regressions with the new, larger samples. While the
            coeﬃcient for murder declined, implying a 5 percent drop when nondiscre-
            tionary laws are adopted, the coeﬃcient for rape increased, implying a drop
            of more than 10 percent. Only very small changes appeared in the other
            estimates. All coeﬃcients were statistically significant. The eﬀect of arrest
            rates also remained negative and statistically significant. As one final test to
            deal with the problems that arise from using the arrest rates, I reestimated
            the regressions using only the predicted values for the nondiscretionary-law
            variable. In this case the coeﬃcients were always negative and statistically
            significant, and they indicate that these laws produce an even larger nega-
            tive eﬀect on crime than the eﬀect shown in the results already reported.


            Conclusion
            Explicitly accounting for the factors that influence a state’s decision to
            adopt a nondiscretionary concealed-handgun law and that determine the



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          arrest rate only serves to strengthen the earlier results: with this approach,
          both concealed-handgun laws and arrest rates explain much larger per-
          centages of the changes in the crime rate than they did earlier. Several
          other facts are clear. Up through the early 1990s, nondiscretionary laws
          were adopted by relatively low-crime states in which the crime rate is rising.
          These states have also tended to vote Republican and to have high percent-
          ages of their populations enrolled in the National Rifle Association.
              For studies that use the number of police oﬃcers as a proxy for the level
          of law enforcement, these results suggest some caution. Property-crime
          rates appear to have no systematic relationship to the number of police
          oﬃcers either with or without the power to make arrests. For violent
          crime, the presence of more police oﬃcers with arrest powers lowers the
          arrest rate, while a greater number of police oﬃcers without arrest powers
          raises the arrest rate.
              Neither of these results alone is particularly troubling, because increas-
          ing the number of police oﬃcers could reduce the crime rate enough so
          that the arrest rate could fall even if the oﬃcers did not slack oﬀ. Theoreti-
          cally, the relationship between the number of police oﬃcers and the arrest
          rate could go either way. Yet in the case of violent crimes, the drop in arrest
          rates associated with more police oﬃcers is too large to be explained by a
          drop in the crime rate. In fact, the direct relationship between the number
          of police oﬃcers and violent crime implies a positive relationship. There
          are many possible explanations for this. Quite plausibly, the presence of
          more police oﬃcers encourages people to come forward to report crime.
          Another possibility is that relatively large police forces tend to be unionized
          and have managed to require less work from their oﬃcers. The bottom line
          is that using the number of police oﬃcers directly as a proxy for the level
          of law enforcement is at best a risky proposition. We must control for many
          other factors before we know exactly what we are measuring.




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                        7    The Political and Academic Debate
                             by 1998
                            The Political Process
                            When my original study was released in 1996,
                            many commentators were ready to attack it.
                            Anyone who had shown any interest in look-
                            ing at the article was given a copy while I was
                            in the process of revising it for the Journal of Legal
                            Studies, although I quickly learned that it was not
                            common practice to circulate studies to groups
                            on both sides of the gun debate. Few comments
                            were oﬀered privately, but once the paper began
                            to receive national press coverage, the attacks
                            came very quickly.
                               Before the press coverage started, it was ex-
                            tremely diﬃcult to get even a proponent of gun
                            control to provide critical comments on the
                            paper when I presented it at the Cato Institute
                            in early August 1996. I approached twenty-two
                            pro-control people before Jens Ludwig, a young
                            assistant professor at Georgetown University, ac-
                            cepted my request to comment on the paper.
                               One of the more interesting experiences oc-
                            curred when I asked Susan Glick, of the Violence
                            Policy Center, to participate.1 Glick, whom I
                            called during June 1996, was one of the last
                            people that I approached. She was unwilling to
                            comment on my talk at Cato because she didn’t
                            want to “help give any publicity to the paper.”
                            Glick said that her appearance might help bring
                            media attention to the paper that it wouldn’t
                            otherwise have gotten. When I pointed out that

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          C-SPAN was likely to cover the event, she said she didn’t care because “we
          can get good media whenever we want.” When I asked her if I could at least
          send her a copy of the paper because I would appreciate any comments that
          she might have, she said, “Forget it, there is no way that I am going to look
          at it. Don’t send it.”2
              However, when the publicity broke on the story with an article in USA
          Today on August 2, she was among the many people who left telephone
          messages immediately asking for a copy of the paper. In her case, the media
          were calling, and she “need[ed] [my] paper to be able to criticize it.” Because
          of all the commotion that day, I was unable to get back to her right away.
          ABC National Television News was doing a story on my study for that day,
          and when at around 3:00 p.m. the ABC reporter doing the story, Barry Sera-
          fin, called saying that certain objections had been raised about my paper,
          he mentioned that one of those who had criticized it was Ms. Glick. After
          talking to Mr. Serafin, I gave Glick a call to ask her if she still wanted a copy
          of my paper. She said that she wanted it sent to her right away and won-
          dered if I could fax it to her. I then noted that her request seemed strange
          because I had just gotten oﬀ the telephone with Mr. Serafin at ABC News,
          who had told me that she had been very critical of the study, saying that it
          was “flawed.” I asked how she could have said that there were flaws in the
          paper without even having looked at it yet. At that point Ms. Glick hung
          up the telephone.3
              Many of the attacks from groups like Handgun Control, Inc. and the
          Violence Policy Center focused on claims that my study had been paid for by
          gun manufacturers or that the Journal of Legal Studies was not a peer-reviewed
          journal and that I had chosen to publish the study in a “student-edited jour-
          nal” to avoid the close scrutiny that such a review would provide.4 These
          attacks were completely false, and I believe that those making the charges
          knew them to be false. At least they had been told by all the relevant par-
          ties here at the University of Chicago and at the Olin Foundation that the
          funding issues were false, and the questions about publishing in a “student-
          edited journal” or one that was not peer-reviewed were well known to be
          false because of the prominence of the journal. Some statements involved
          claims that my work was inferior to an earlier study by three criminologists
          at the University of Maryland who had examined five counties.
              Other statements, like those in the Los Angeles Times, tried to discredit the
          scholarliness of the study by claiming that “in academic circles, meanwhile,
          scholars found it curious that he would publicize his findings before they




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             were subjected to peer review.”5 In fact, the paper was reviewed and ac-
             cepted months before media stories started discussing it in August 1996.
                 The attacks claiming that this work had been paid for by gun manufac-
             turers have been unrelenting. Congressman Charles Schumer (D-N.Y.)
             wrote as follows in the Wall Street Journal: “I’d like to point out one other
             ‘association.’ The Associated Press reports that Prof. Lott’s fellowship at the
             University of Chicago is funded by the Olin Foundation, which is ‘associ-
             ated with the Olin Corporation,’ one of the nation’s largest gun manufac-
             turers. Maybe that’s a coincidence, too. But it’s also a fact.”6 Others were
             even more direct. In a letter that the Violence Policy Center mass-mailed
             to newspapers around the country, M. Kristen Rand, the Center’s federal
             policy director, wrote,
                Lott’s work was, in essence, funded by the firearms industry—the pri-
                mary beneficiary of increased handgun sales. Lott is the John M. Olin fel-
                low at the University of Chicago law school, a position founded by the
                Olin Foundation. The foundation was established by John Olin of the Olin
                Corp., manufacturer of Winchester ammunition and maker of the infa-
                mous “Black Talon” bullet. Lott’s study of concealed handgun laws is the
                product of gun-industry funding. . . . (See, as one of many examples, “Gun
                Industry Paid,” Omaha World Herald, March 10, 1997, p. 8.)7
             Dan Kotowski, executive director of the Illinois Council Against Handgun
             Violence, said that “the study was biased because it was funded by the par-
             ent company of Winchester, Inc., a firearms manufacturer.”8 Kotowski is
             also quoted as saying that the claimed link between Winchester and my
             study’s conclusions was “enough to call into question the study’s legiti-
             macy. It’s more than a coincidence.”9 Similar claims have been made by em-
             ployees of Handgun Control, Inc. and other gun-control organizations.
                Indeed, gun-control groups that were unwilling to comment publicly
             on my study at the Cato Institute forum had time to arrange press confer-
             ences that were held exactly at the time that I was presenting my paper in
             Washington. Their claims were widely reported by the press in the initial
             news reports on my findings. A typical story stated that “Lott’s academic
             position is funded by a grant from the Olin Foundation, which is associ-
             ated with the Olin Corp. Olin’s Winchester division manufactures rifles and
             bullets,”10 and it was covered in newspapers from the Chicago Tribune to the
             Houston Chronicle and the Des Moines Register, as well as in “highbrow” publica-
             tions like The National Journal. The Associated Press released a partial correc-




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          tion stating that the Olin Foundation and Olin Corporation are separate
          organizations and that the Winchester subsidiary of the Olin Corporation
          makes ammunition, not guns, but a Nexis search of news stories revealed
          that only one newspaper in the entire country that had published the origi-
          nal report carried the Associated Press correction.11
             Congressman Schumer’s letter did produce a strong response from Wil-
          liam Simon, the Olin Foundation’s president and former U.S. Secretary of
          the Treasury, in the Wall Street Journal for September 6, 1996:

             An Insult to Our Foundation
             As president of the John M. Olin Foundation, I take great umbrage at Rep.
             Charles Schumer’s scurrilous charge (Letters to the Editor, Sept. 4) that
             our foundation underwrites bogus research to advance the interests of
             companies that manufacture guns and ammunition. He asserts (falsely)
             that the John M. Olin Foundation is “associated” with the Olin Corp. and
             (falsely again) that the Olin Corp. is one of the nation’s largest gun manu-
             facturers. Mr. Schumer then suggests on the basis of these premises that
             Prof. John Lott’s article on gun-control legislation (editorial page, Aug. 28)
             must have been fabricated because his research fellowship at the University
             of Chicago was funded by the John M. Olin Foundation.
                 This is an outrageous slander against our foundation, the Olin Corp.,
             and the scholarly integrity of Prof. Lott. Mr. Schumer would have known
             that his charges were false if he had taken a little time to check his facts
             before rushing into print. Others have taken the trouble to do so. For
             example, Stephen Chapman of the Chicago Tribune looked into the charges
             surrounding Mr. Lott’s study, and published an informative story in the
             Aug. 15 issue of that paper, which concluded that, in conducting his re-
             search, Prof. Lott was not influenced either by the John M. Olin Founda-
             tion or by the Olin Corp. Anyone wishing to comment on this contro-
             versy ought first to consult Mr. Chapman’s article and, more importantly,
             should follow his example of sifting the facts before reaching a conclusion.
             For readers of the Journal, here are the key facts.
                 The John M. Olin Foundation, of which I have been president for nearly
             20 years, is an independent foundation whose purpose is to support indi-
             viduals and institutions working to strengthen the free enterprise system.
             We support academic programs at the finest institutions in the nation,
             including the University of Chicago, Harvard, Yale, Stanford, Columbia,
             the University of Virginia, and many others. We do not tell scholars what
             to write or what to say.



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                    The foundation was created by the personal fortune of the late John M.
                Olin, and is not associated with the Olin Corp. The Olin Corp. has never
                sought to influence our deliberations. Our trustees have never taken into
                account the corporate interests of the Olin Corp. or any other company
                when reviewing grant proposals. We are as independent of the Olin Corp.
                as the Ford Foundation is of the Ford Motor Co.
                    The John M. Olin Foundation has supported for many years a program
                in law and economics at the University of Chicago Law School. This pro-
                gram is administered and directed by a committee of faculty members in
                the law school. This committee, after reviewing many applications in a
                very competitive process, awarded a research fellowship to Mr. Lott. We
                at the foundation had no knowledge of who applied for these fellowships,
                nor did we ever suggest that Mr. Lott should be awarded one of them. We
                did not commission his study, nor, indeed, did we even know of it until last
                month, when Mr. Lott presented his findings at a conference sponsored
                by a Washington think tank.
                    As a general rule, criticism of research studies should be based on fac-
                tual grounds rather than on careless and irresponsible charges about the
                motives of the researcher. Mr. Lott’s study should be evaluated on its own
                merits without imputing motives to him that do not exist. I urge Mr.
                Schumer to check his facts more carefully in the future.
                    Finally, it was incorrectly reported in the Journal (Sept. 5) that the John
                M. Olin Foundation is ‘headed by members of the family that founded the
                Olin Corp.’ This is untrue. The trustees and oﬃcers of the foundation have
                been selected by virtue of their devotion to John Olin’s principles, not by
                virtue of family connections. Of our seven board members, only one is a
                member of the Olin family. None of our oﬃcers is a member of the Olin
                family—neither myself as president, nor our secretary-treasurer, nor our
                executive director.

                This letter, I think, clarifies the funding issue, and I would only like to
             add that while the faculty at the Law School chose to award me this fel-
             lowship, even they did not inquire into the specific research I planned to
             undertake.12 The judgment was made solely on the quality and quantity of
             my past research, and while much of my work has dealt with crime, this
             was my first project involving gun control. No one other than myself had
             any idea what research I was planning to do. However, even if one somehow
             believed that Olin were trying to buy research, it must be getting a very
             poor return on its money. Given the hundreds of people at the diﬀerent



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          universities who have received the same type of fellowship, I have been the
          only one to work on the issue of gun control.
              Unfortunately, as the quote from Ms. Rand’s letter and statements by
          many other gun-control advocates—made long after Simon’s explana-
          tion—indicates, the facts about funding did little to curtail the comments
          of those spreading the false rumors.13
              After these attacks on my funding, the gun-control organizations
          brought up new issues. For example, during the spring of 1997 the Vio-
          lence Policy Center sent out a press release entitled “Who Is John Lott?”
          that claimed, among other things, “Lott believes that some crime is good
          for society, that wealthy criminals should not be punished as harshly as
          poor convicts.” I had in fact been arguing that “individuals guilty of the
          same crime should face the same expected level of punishment” and that
          with limited resources to fight crime, it is not possible to eliminate all of
          it.14 I would have thought that most people would recognize these silly
          assertions for what they were, but they were picked up and republished by
          publications such as the New Republic.15
              The aversion to honest public debate has been demonstrated to me over
          and over again since my study first received attention. Recently, for ex-
          ample, Randy Roth, a visiting colleague at the University of Chicago Law
          School, asked me to appear on a radio program that he does from the Uni-
          versity of Hawaii on a public radio station. I had almost completely stopped
          doing radio interviews a few months before because they were too much
          of an interruption to my work, but Randy, whom I have known only very
          briefly from lunch-table conversation, seemed like a very interesting per-
          son, and I thought that it would be fun to do the show with him. I can only
          trust that he doesn’t normally have as much trouble as he had this time in
          getting an opposing viewpoint for his program. In a note that Randy shared
          with me, he described a conversation that he had with Brandon Stone, of
          the Honolulu Police Department, whom he had been trying for a while to
          get to participate. Randy wrote as follows on March 3, 1997:

             Brandon called to say he had not changed his mind—he will not partici-
             pate in any gun-control radio show involving John Lott. Furthermore, he
             said he had discussed this with all the others who are active in this area
             (the Hawaii Firearms Coalition, I think he called it), and that they have
             “banded together”—none will participate in such a show.
                 He said he didn’t want to “impugn” John’s character . . . [and] then he
             went on to talk about all the money involved in this issue, the fact that



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                [the] Olin Corp. is in the firearm business and financing John’s chair, etc.
                He said John’s study had been given to the media before experts first could
                discredit it, implying that this “tactic” was used because the study could
                not withstand the scrutiny of objective scholars.
                    He said the ideas promoted by John’s study are “fringe ideas” and that
                they are “dangerous.” When I pointed out that such ideas not only have
                been publicly debated in other states, but that some of those states actually
                have enacted legislation, he basically just said that Hawaii is a special place
                and other states have sometimes been adversely aﬀected by unfair tactics
                by the pro-gun lobby.
                    I kept coming back to my belief that public debate is good and that my
                show would give him an opportunity to point out anything about John’s
                study that he believes to be incorrect, irrelevant, distorted, or whatever.
                He kept saying that public debate does more harm than good when oth-
                ers misuse the forum. When he specifically mentions the firearm industry
                (“follow the money” was his suggestion, to understand what John’s study
                is all about), I reminded him of John’s association with the University of
                Chicago and his outstanding reputation, both for scholarship and integ-
                rity. He then said he realized John was “my friend,” as though I couldn’t
                be expected to be objective. He also said that John was “out of his field”
                in this area.
                    My hunch is that it’s going to be extremely diﬃcult finding a studio
                guest with the credentials and ability to do a good job on the pro-gun-
                control side.

                After talking with Randy and in an attempt to create a balanced pro-
             gram, I also telephoned Mr. Stone. While we did not get into the detail that
             he went into with Randy, I did try to address his concerns over my funding
             and my own background in criminal justice as chief economist at the U.S.
             Sentencing Commission during the late 1980s. Stone also expressed his con-
             cerns to me that Hawaiians would not be best served by our debating the
             issue and that Hawaiians had already made up their minds on this topic. I
             said that he seemed like an articulate person and that it would be good to
             have a lively discussion on the subject, but he said that the program “could
             only do more harm than good” and that any pro-gun-control participation
             would only lend “credibility” to the discussion.16
                Before I did my original study, I would never have expected it to re-
             ceive the attention that it did. None of the refereed journal articles that I
             had produced had received so much attention. Many people have told me



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          that this was politically naive. That may be, but this much is clear: I never
          would have guessed how much people fear discussion of these issues. I
          never would have known how much eﬀort goes into deliberately ignoring
          certain findings in order to deny them news coverage. Nor would I have
          seen, after news coverage did occur, how much energy goes into attacking
          the integrity of those who present such findings, with such slight refer-
          ence—or no reference at all—to the actual merits of the research. I was
          also surprised by the absolute confidence shown by gun-control advocates
          that they could garner extensive news coverage whenever they wanted.


          Criticisms of the Original Study
          A second line of attack came from academic, quasi-academic, and gun-
          control advocacy groups concerning the competence with which the study
          was conducted. Many of these objections were dealt with somewhere in the
          original study, which admittedly is very long. Yet it should have been easy
          enough for critics—especially academics—to check.
              The attacks were fairly harsh, especially by the standards of academic
          discourse. For example,
             “They highlight things that support their hypothesis while they ignore
             things contrary to their hypothesis,” said Daniel Webster, an assistant pro-
             fessor at Johns Hopkins University Center for Gun Policy and Research.
                 “We think the study falls far short of any reasonable standard of good
             social science research in making [their] case,” said economist Daniel Nagin
             of Carnegie-Mellon University, who has analyzed Lott’s data with col-
             league Dan Black.17
          I have made the data I used available to all academics who have requested
          them, and professors at twenty-four universities took advantage of that. Of
          those who have made the eﬀort to use the extensive data set, Dan Black and
          Daniel Nagin have been the only ones to publicly criticize the study.
              The response from some academics, particularly those at the Johns Hop-
          kins Center for Gun Policy and Research, was highly unusual in many
          ways. For instance, who ever heard of academics mounting an attack on a
          scholarly study by engaging in a systematic letter-writing campaign to local
          newspapers around the country?18 One letter from a citizen to the Springfield
          (Illinois) State Journal-Register noted, “Dear Editor: Golly, I’m impressed that
          the staﬀ at Johns Hopkins University reads our local State Journal-Register. I
          wonder if they subscribe to it.”19



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                The rest of this chapter briefly reviews the critiques and then provides
             my responses to their concerns. I discuss a number of issues below that
             represent criticisms raised in a variety of published or unpublished research
             papers as well as in the popular press:

             1 Is the scale of the effect realistic?

                 Large reductions in violence are quite unlikely because they would be
                 out of proportion to the small scale of the change in carrying firearms
                 that the legislation produced. (Franklin Zimring and Gordon Hawkins,
                 “Concealed-Handgun Permits: The Case of the Counterfeit Deterrent,”
                 The Responsive Community [Spring 1997]: 59, cited hereafter as Zimring and
                 Hawkins, “Counterfeit Deterrent”)
             In some states, like Pennsylvania in 1996, almost 5 percent of the popula-
             tion has concealed-handgun permits. In others, like Florida, the portion is
             about 2 percent and growing quickly. The question here is whether these
             percentages of the population are suﬃcient to generate 8 percent reduc-
             tions in murders or 5 percent reductions in rapes. One important point to
             take into account is that applicants for permits do not constitute a random
             sample of the population. Applicants are likely to be those most at risk. The
             relevant comparison is not between the percentage of the population being
             attacked and the percentage of the entire population holding permits, but
             between the percentage of the population most vulnerable to attack and
             the percentage of that population holding permits.
                 Let us consider some numbers from the sample to see how believable
             these results are. The yearly murder rate for the average county is 5.65 mur-
             ders per 100,000 people, that is, .00565 percent of the people in the average
             county are murdered each year. An 8 percent change in this murder rate
             amounts to a reduction of 0.0005 percent. Obviously, even if only 2 percent
             of the population have handgun permits, that 2 percent is a huge number
             relative to the 0.0005 percent reduction in the murder rate. Even the largest
             category of violent crimes, aggravated assault, involves 180 cases per 100,000
             people in the average county per year (that is, 0.18 percent of the people are
             victims of this crime in the typical year). A 7 percent change in this number
             implies that the assault rate declines from 0.18 percent of the population
             to 0.167 percent of the population. Again, this 0.013 percent change in the
             assault rate is quite small compared to the observed changes in the number
             of concealed-handgun permits.
                 Even if those who carry concealed handguns face exactly the same risk



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          of being attacked as everyone else, a 2 percent increase in the portion of
          the population carrying concealed handguns seems comparable to the
          percentage-point reductions in crime. Bearing in mind that those carry-
          ing guns are most likely to be at risk, the drop in crime rates correlated
          with the presence of these guns even begins to seem relatively small. As-
          suming that just 2 percent of the population carries concealed handguns,
          the drop in the murder rate only requires that 0.025 percent of those with
          concealed-handgun permits successfully ward oﬀ a life-threatening attack
          to achieve the 0.0005 percent reduction in the murder rate. The analogous
          percentage for aggravated assaults is only 0.65 percent. In other words, if
          less than seven-tenths of one percent of those with concealed handguns
          successfully ward oﬀ an assault, that would account for the observed drop
          in the assault rate.

          2 The importance of “crime cycles”

             Crime rates tend to be cyclical with somewhat predictable declines fol-
             lowing several years of increases. . . . Shall-issue laws, as well as a number
             of other measures intended to reduce crime, tend to be enacted during
             periods of rising crime. Therefore, the reductions in violent crime . . .
             attribute[d] to the implementation of shall-issue laws may be due to the
             variety of other crime-fighting measures, or to a commonly observed
             downward drift in crime levels towards some long-term average. (Dan-
             iel W. Webster, “The Claims That Right-to-Carry Laws Reduce Violent
             Crime Are Unsubstantiated,” The Johns Hopkins Center for Gun Policy
             and Research, copy obtained March 6, 1997, p. 1; cited hereafter as Webster,
             “Claims”)
          Despite claims to the contrary, the regressions do control for national and
          state crime trends in several diﬀerent ways. At the national level, I use a
          separate variable for each year, a technique that allows me to account for
          the changes in average national crime rates from one year to another. Any
          national cycles in crime rates should be accounted for by this method. At
          the state level, some of the estimates use a separate time trend for each
          state, and the results with this method generally yielded even larger drops
          in violent-crime rates associated with nondiscretionary (shall-issue) laws.
             To illustrate that the results are not merely due to the “normal” ups
          and downs for crime, we can look again at the diagrams in chapter 4 show-
          ing crime patterns before and after the adoption of the nondiscretionary
          laws. The declines not only begin right when the concealed-handgun



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             laws pass, but the crime rates end up well below their levels prior to the
             law. Even if laws to combat crime are passed when crime is rising, why
             would one believe that they happened to be passed right at the peak of any
             crime cycle?
                As to the concern that other changes in law enforcement may have been
             occurring at the same time, the estimates account for changes in other
             gun-control laws and changes in law enforcement as measured by arrest
             and conviction rates as well as by prison terms. No previous study of crime
             has attempted to control for as many diﬀerent factors that might explain
             changes in the crime rate.

             3 Did I assume that there was an immediate and constant effect from these laws and that the
             effect should be the same everywhere?

                The “statistical models assumed: (1) an immediate and constant eﬀect of
                shall-issue laws, and (2) similar eﬀects across diﬀerent states and coun-
                ties.” (Webster, “Claims,” p. 2; see also Dan Black and Daniel Nagin, “Do
                ‘Right-to-Carry’ Laws Deter Violent Crime?” Journal of Legal Studies 27 [Janu-
                ary 1998], p. 213.)
             One of the central arguments both in the original paper and in this book
             is that the size of the deterrent eﬀect is related to the number of permits
             issued, and it takes many years before states reach their long-run level of
             permits. Again, the figures in chapter 4 illustrate this quite clearly.
                 I did not expect the number of permits to change equally across either
             counties or states. A major reason for the larger eﬀect on crime in the
             more urban counties was that in rural areas, permit requests already were
             being approved; hence it was in urban areas that the number of permitted
             concealed handguns increased the most.
                 A week later, in response to a column that I published in the Omaha World-
             Herald,20 Mr. Webster modified this claim somewhat:
                Lott claims that his analysis did not assume an immediate and constant
                eﬀect, but that is contrary to his published article, in which the vast ma-
                jority of the statistical models assume such an eﬀect. (Daniel W. Webster,
                “Concealed-Gun Research Flawed,” Omaha World-Herald, March 12, 1997;
                emphasis added.)
                When one does research, it is most appropriate to take the simplest
             specifications first and then gradually make things more complicated. The
             simplest way of doing this is to examine the mean crime rates before and



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          after the change in a law. Then one would examine the trends that existed
          before and after the law. This is the pattern that I followed in my earlier
          work, and I have followed the same pattern here. The bottom line should
          be, How did the diﬀerent ways of examining the data aﬀect the results?
          What occurs here is that (1) the average crime rate falls after the nondis-
          cretionary concealed-handgun laws are adopted; (2) violent-crime rates
          were rising until these laws were adopted, and they fell dramatically after
          that; and (3) the magnitude of the drops, both across counties and states
          and over time, corresponds to the number of permits issued.

          4 When were these concealed-handgun laws adopted in different states?

             Lott and Mustard also use incorrect dates of shall-issue law implementa-
             tion in their analyses. For example, they claim that Virginia adopted its
             shall-issue law in 1988. . . . Some populous counties in Virginia continued
             to issue very few permits until 1995 (after the study period), when the state
             eliminated this discretion. Lott and Mustard identify 1985 as the year in
             which Maine liberalized its concealed-carry policy. It is unclear why they
             chose 1985 as the year of policy intervention, because the state changed its
             concealed-carry law in 1981, 1983, 1985, 1989, and 1991. (Webster, “Claims,”
             p. 3; see also Daniel W. Webster, “Concealed-Gun Research Flawed,” Omaha
             World-Herald, March 12, 1997; cited hereafter as Webster, “Flawed.”)
          I do think that Virginia’s 1988 law clearly attempted to take away local dis-
          cretion in issuing permits, and, indeed, all but three counties clearly com-
          plied with the intent of the law. However, to satisfy any skeptics, I examined
          whether reclassifying Virginia aﬀected the results: it did not. The 1988 law
          read as follows:
             The court, after consulting the law-enforcement authorities of the county
             or city and receiving a report from the Central Criminal Records Ex-
             change, shall issue such permit if the applicant is of good character, has dem-
             onstrated a need to carry such concealed weapon, which need may include
             but is not limited to lawful defense and security, is physically and mentally
             competent to carry such weapon, and is not prohibited by law from receiv-
             ing, possessing, or transporting such weapon [emphasis added].21
          As with Virginia, I relied on a study by Clayton Cramer and David Kopel to
          determine when Maine changed its law to a nondiscretionary law. Maine
          enacted a series of changes in its law in 1981, 1983, 1985, and 1991. The 1985
          law did not completely eliminate discretion, but it provided the founda-



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             tion for what they then considered to be a switch to a de facto shall-issue
             regime, which was upheld in a number of important state court decisions.22
             The bottom line, however (again, as with Virginia), is that reclassifying
             Maine (or even eliminating it from the data set) does not change the re-
             sults much.

             5 Should robbery be the crime most affected by the adoption of the nondiscretionary law?

                Shall-issue laws were adopted principally to deter predatory street crime,
                the most common example of which is robbery by a stranger. But [the]
                results indicate that shall-issue laws had little or no eﬀect on robbery rates.
                Instead the strongest deterrent eﬀects estimated were for rape, aggravated
                assault, and murder. (Webster, “Claims,” p. 3)
                Is it credible that laws that allow citizens to carry guns in public appear to
                have almost no eﬀect on robberies, most of which occur in public spaces,
                yet do reduce the number of rapes, most of which occur outside of public
                spaces within someone’s home. (Jens Ludwig, speaking on Morning Edition,
                National Public Radio, 10:00 a.m. ET December 10, 1996.)

             I have two responses. First, as anyone who has carefully read this book
             will know, it is simply not true that the results show “little or no eﬀect on
             robbery rates.” Whether the eﬀect was greater for robbery or other violent
             crimes depends on whether one simply compares the mean crime rates
             before and after the laws (in which case the eﬀect is relatively small for
             robbery) or compares the slopes before and after the law (in which case the
             eﬀect for robbery is the largest).
                Second, it is not clear that robbery should exhibit the largest impacts,
             primarily because the term robbery encompasses many crimes that are not
             street robberies. For instance, we do not expect bank or residential robberies
             to decrease; in fact, they could even rise. Allowing law-abiding citizens to
             carry concealed handguns makes street robberies more diﬃcult, and thus
             may make other crimes like residential robbery relatively more attractive. Yet
             not only is it possible that these two diﬀerent components of robbery could
             move in opposite directions, but to rank some of these diﬀerent crimes,
             one requires information on how sensitive diﬀerent types of criminals are
             to the increased threat.
                Making claims about what will happen to diﬀerent types of violent
             crimes is much more diﬃcult than predicting the relative diﬀerences be-
             tween, say, crimes that involve no contact with victims and crimes that



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          do. Even here, however, some of these questions cannot be settled a priori.
          For example, when violent crimes decline, more people may feel free to
          walk around in neighborhoods, which implies that they are more likely
          to observe the illegal actions of strangers.23 Criminals who commit violent
          crimes are also likely to commit some property crimes, and anything that
          can make an area unattractive to them will reduce both types of crime.

          6 Do concealed-handgun laws cause criminals to substitute property crimes for rape?

             Lott and Mustard argue that criminals, in response to shall-issue laws,
             substitute property crimes unlikely to involve contact with victims. But
             their theory and findings do not comport with any credible criminological
             theory because theft is the motive for only a small fraction of the violent
             crimes for which Lott and Mustard find shall-issue eﬀects. It is diﬃcult to
             rationalize why a criminal would, for example, steal a car because he felt
             deterred from raping or assaulting someone. (Webster, “Claims,” p. 4. See
             also Jens Ludwig, “Do Permissive Concealed-Carry Laws Reduce Violent
             Crime?” Georgetown University working paper, October 8, 1996, p. 19,
             hereafter cited as Ludwig, “Permissive Concealed-Carry Laws.”)

          No one believes that hard-core rapists who are committing their crimes
          only for sexual gratification will turn into auto thieves, though some thefts
          do also involve aggravated assault, rape, or murder.24 Indeed, 16 percent
          of murders in Chicago from 1990 to 1995 occurred in the process of a rob-
          bery.25 What is most likely to happen, however, is that robbers will try to
          obtain money by other means such as auto theft or larceny. Although it is
          not unusual for rape victims to be robbed, the decline in rape most likely
          reflects the would-be rapist’s fear of being shot.
             I am also not completely clear on what Webster means when he says
          that “theft is the motive for only a small fraction of violent crimes,” since
          robbery accounted for as much as 34 percent of all violent crimes com-
          mitted during the sample between 1977 and 1992 (and this excludes rob-
          beries that were committed when other more serious crimes like murder
          or rape occurred in connection with the robbery).

          7 Comparing crime rates for two to three years before nondiscretionary laws go into effect
          with crime rates for two to three years after the passage of such laws

             If right-to-carry laws have an immediate, substantial impact on the crime
             rates, the coeﬃcients on the right-to-carry laws immediately after the



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                enactment of the law should be substantially diﬀerent from those im-
                mediately preceding the law’s enactment. To test formally for the im-
                pact of right-to-carry laws, we see if the sum of the coeﬃcients for two
                to three years prior to adoption is significantly diﬀerent from the sum for
                two and three years following adoption. . . . Only in the murder equa-
                tion do our findings agree with Lott and Mustard. In contrast to Lott and
                Mustard, we find evidence that robberies and larcenies are reduced when
                right-to-carry laws are passed and no evidence of an impact on rape and
                aggravated assaults. (Dan Black and Daniel Nagin, “Do ‘Right-to-Carry’
                Laws Deter Violent Crime?” Carnegie-Mellon University working paper,
                October 16, 1996, p. 7)

             Instead of the approach used earlier in this book (a simple time trend and
             time trend squared for the number of years before and after the concealed-
             handgun laws) Black and Nagin used ten diﬀerent variables to examine
             these trends. Separate variables were used for the first year after the law,
             the second year after the law, the third year after the law, the fourth year
             after the law, and five or more years after the law. Similarly, five diﬀerent
             variables were used to measure the eﬀects for the five years leading up to
             the adoption of the law. They then compared the average coeﬃcient values
             for the variables measuring the eﬀects two to three years before the law
             with the average eﬀect for the variables two to three years after the law.
                A quick glance at figures 7.1–7.5, which plot their results, explains their
             findings. Generally, the pattern is very similar to what we reported earlier.
             In addition, as crime is rising right up until the law is adopted and falling
             thereafter, it is not surprising that some values when the crime rate is going
             down are equal to those when it was going up. It is the slopes of the lines
             and not simply their levels that matter. But more generally, why choose
             to compare only two to three years before and after to look for changes
             created by the law. Why not use all the data available?
                Examining the entire period before the law versus the entire period after
             produces the significant results that I reported earlier in the book. Alter-
             natively, one could have chosen to analyze the diﬀerences in crime rates
             between the year before the law went into eﬀect and the year after, but
             one would hope that if deviations are made from any simple rule, some
             rationale for doing so would be given.
                They claim that their results diﬀer from ours because they find a statisti-
             cally significant decline. This is puzzling; it is diﬃcult to see why their re-
             sults would be viewed as inconsistent with my argument. I had indeed also



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                                                                                                                                                                    0.2




                           Percent change in violent crimes per 100,000 population
                                                                                                                                                                    0.1



                                                                                                                                                                      0
                                                                                     –5                                                      –4   –3     –2    –1         00   1       2       3   4   5

                                                                                                                                                                   –0.1



                                                                                                                                                                   –0.2



                                                                                                                                                                   –0.3



                                                                                                                                                                   –0.4



                                                                                                                                                                   –0.5

                                                                                      Years before and after the adoption of nondiscretionary
                                                                                                     concealed-handgun law

          Figure 7.1. Average year-dummy effects for violent crimes, using Black’s and Nagin’s “full sample”



                                                                                                                                                                   0.15
                                                                                          Percent change in murders per 100,000 population




                                                                                                                                                                   0.10


                                                                                                                                                                   0.05


                                                                                                                                                                     0
                                                                                                                                             –6     –4        –2          0        2       4       6

                                                                                                                                                               –0.05


                                                                                                                                                               –0.10


                                                                                                                                                               –0.15


                                                                                                                                                               –0.20
                                                                                                                                              Years before and after the adoption of the law

          Figure 7.2. The effect of concealed-handgun laws on murder, using Black’s and Nagin’s “full sample”




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                                                                                                          0.06

                                                                                                          0.04




                                                           Percent change in rapes per
                                                                                                          0.02




                                                               100,000 population
                                                                                                             0
                                                                                                                 0
                                                                                         –6    –4      –2            0   2    4      6
                                                                                                         –0.02

                                                                                                         –0.04

                                                                                                         –0.06

                                                                                                         –0.08

                                                                                                         –0.10

                                                                                                         –0.12
                                                                                         Years before and after the adoption of the law

          Figure 7.3. The effect of concealed-handgun laws on rapes, using Black’s and Nagin’s “full sample”

                                                                                                          0.16
                                                                                                          0.14
                                                                                                          0.12
                                                          Percent change in robberies
                                                            per 100,000 population




                                                                                                          0.10
                                                                                                          0.08
                                                                                                          0.06
                                                                                                          0.04
                                                                                                           0.02
                                                                                                              0
                                                                                         –6    –4      –2      0         2    4      6
                                                                                                          –0.02
                                                                                                         –0.04
                                                                                                         –0.06
                                                                                         Years before and after the adoption of the law

          Figure 7.4. The effect of concealed-handgun laws on robbery, using Black’s and Nagin’s “full sample”

                                                                                         Years before and after the adoption of the law
                                                                  –6                        –4       –2       0         2         4       6


                                                                                                         –0.02
                                 Percent change in aggravated assaults




                                                                                                         –0.04

                                                                                                         –0.06
                                        per 100,000 population




                                                                                                         –0.08

                                                                                                         –0.10

                                                                                                         –0.12

                                                                                                         –0.14

                                                                                                         –0.16

                                                                                                         –0.18

                                                                                                         –0.20

          Figure 7.5. The effect of concealed-handgun laws on aggravated assaults, using Black’s and Nagin’s “full
          sample”


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          found some evidence that larcenies were reduced by nondiscretionary laws
          (for example, see the results using the state-level data or the results using
          two-stage least squares), but I chose to emphasize those results implying the
          smallest possible positive benefits from concealed-handgun laws.
             The bottom line—even using their choice of the dates that they deem
          most appropriate—is that murder and robbery rates fall after the passage of
          the laws and that none of the other violent-crime categories experienced an
          increase. Looking further at whether violent-crime rates were rising or falling
          before and after these laws, one finds that violent-crime rates were almost
          always rising prior to the passage of the law and always falling after it.

          8 The impact of including Florida in the sample

             Our concern is particularly severe for the state of Florida. With the Mariel
             boat lift of 1980 and the thriving drug trade, Florida’s crime rates are quite
             volatile. Moreover, four years after the passage of the right-to-carry law in
             1987, Florida passed several gun-related measures, including background
             checks of handgun buyers and a waiting period for handgun purchases. To
             test the sensitivity of the results to the inclusion of Florida, we reestimated
             the model . . . without Florida. Only in the robbery equation can we reject
             the hypothesis that the crime rate two and three years after adoptions is
             diﬀerent than the crime rate two and three years prior to adoption. (Dan
             Black and Daniel Nagin, “Do ‘Right-to-Carry’ Laws Deter Violent Crime?”
             Carnegie-Mellon University working paper, October 16, 1996, p. 9)
             In fact, Nagin and Black said they found that virtually all of the claimed
             benefits of carry laws were attributable to changes in the crime rate in
             just one state: Florida. (Richard Morin, “Unconventional Wisdom: New
             facts and Hot Stats from the Social Sciences,” Washington Post, March 23,
             1997, p. C5)

          This particular suggestion—that we should throw out the data for Florida
          because the drop in violent crimes is so large that it aﬀects the results—is
          very ironic. Well after my work in 1996 got attention, Handgun Control,
          Inc., and other gun-control groups continued to cite the 1995 University
          of Maryland study, which claimed that if evidence existed of a detrimental
          impact of concealed handguns, it was for Florida.26 If the Maryland study is
          to be believed, the inclusion of Florida must have biased my results in the
          opposite direction.27




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                                                                       –6         –4       –2           0     2       4          6




                                   Cumulative percent change in murder rate
                                                                                                –0.05

                                                                                                –0.10

                                                                                                –0.15

                                                                                                –0.20

                                                                                                –0.25

                                                                                                –0.30

                                                                                                –0.35

                                                                                                –0.40

                                                                              Years before and after implementation of the law

             Figure 7.6. Florida’s murder rates


                 More important, as we shall see below, the reasons given by Black and
             Nagin for dropping Florida from the sample are simply not valid. Fur-
             thermore, the impact of excluding Florida is diﬀerent from what they
             claim. Figure 7.6 shows the murder rate in Florida from the early 1980s
             until 1992. The Mariel boat lift did dramatically raise violent-crime rates
             like murder, but these rates had returned to their pre-Mariel levels by
             1982. For murder, the rate was extremely stable until the nondiscretion-
             ary concealed-handgun law passed there in 1987, when it began to drop
             dramatically.
                 The claim that Florida should be removed from the data because a wait-
             ing period and a background check went into eﬀect in 1992 is even weaker.
             If this were a valid reason for exclusion, why not exclude other states with
             these laws as well? Why only remove Florida? Seventeen other states had
             waiting periods in 1992. A more valid response would be to try to account
             for the impact of these other laws—as I did in chapter 4. Indeed, account-
             ing for these other laws slightly strengthens the evidence that concealed
             handguns deter crime.
                 The graph for Florida in figure 7.6 produces other interesting results.
             The murder rate declined in each consecutive year following the imple-
             mentation of the concealed-handgun law until 1992, the first year that
             these other, much-touted, gun-control laws went into eﬀect. I am not
             claiming that these laws caused murder rates to rise, but this graph surely




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                                                                                                     325




                               Number of violent crimes per 100,000 population
                                                                                                     300




                                                                                                     275




                                                                                                     250




                                                                                                     225

                                                                                 –6        –4     –2      0      2      4       6
                                                                                      Years before and after adoption of the law

          Figure 7.7. The effect of concealed-handgun laws on violent crimes, excluding Florida


          makes it more diﬃcult to argue that laws restricting the ability of law-
          abiding citizens to obtain guns would reduce crime.
             While Black’s and Nagin’s explanations for dropping Florida from the
          data set are invalid, there is some justification for concern that results are
          being driven by a few unusual observations. Figure 7.7 shows the relation-
          ship between violent-crime rates and concealed-handgun laws when Flor-
          ida is excluded. A careful comparison of this graph with that of figure 4.5,
          which includes Florida, reveals only a few very small diﬀerences.
             As a more systematic response to this concern, I excluded Florida and
          reestimated all the regressions shown in this book. Indeed, there were eight
          regressions out of the more than one thousand discussed in which the ex-
          clusion of Florida did cause the coeﬃcient for the nondiscretionary vari-
          able to lose its statistical significance, although it remained negative. The
          rest of the regression estimates either remained unchanged or (especially
          for aggravated assault and robbery) became larger and more statistically
          significant.
             Black and Nagin seem to feel that their role in this debate is to see if they
          can find some specification using any combination of the data that weak-
          ens the results.28 But traditional statistical tests of significance are based on
          the assumption that the researcher is not deliberately choosing which re-



                                                                                                Exhibit 10
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             sults to present. Even if a result is statistically significant at the 1 percent
             level, one would expect that one out of every one hundred regressions
             would not yield a statistically significant result; in other words, out of one
             thousand regressions, one would expect to find at least ten for which the
             impact of nondiscretionary concealed-handgun laws was not statistically
             significant.
                Lott’s claims that Florida’s concealed-carry law was responsible for lower
                murder rates in that state is questionable. Florida did not experience re-
                ductions in murders and rapes until four or five years after the law was
                liberalized. Lott attributes this “delayed eﬀect” to the cumulative influ-
                ence of increases in carrying permits. Other research attributes Florida’s
                declines in murders in the 1990s to laws requiring background checks and
                waiting periods for handgun purchases that were implemented several
                years after gun-carrying laws were liberalized. (Webster, “Flawed”)
                Much of Webster’s comment echoes the issues raised previously by Black
             and Nagin—indeed, I assume that he is referring to their piece when he
             mentions “other research.” However, while I have tested whether other
             gun-control laws might explain these declines in crime (see table 4.11),
             Black and Nagin did not do so, but merely appealed to “other research” to
             support their aﬃrmation. The preceding quotation seems to imply that my
             argument involved some sort of “tipping” point: as the number of permits
             rose, the murder rate eventually declined. As figure 7.6 illustrates, how-
             ever, Florida’s decline in murder rates corresponded closely with the rise
             in concealed-handgun permits: no lag appears in the decline; rather, the
             decline begins as soon as the law goes into eﬀect.

             9 The impact of including Maine in the sample

                One should also be wary of the impact that Maine has on Lott’s graphs. . . .
                When Maine was removed from the analyses, the suggested delayed
                [eﬀects of the law] on robberies and aggravated assaults vanished. (Webster,
                “Flawed”)
             This comment is curious not only because Mr. Webster does not cite a study
             to justify this claim but also because he has never asked for the data to ex-
             amine these questions himself. Thus it is diﬃcult to know how he arrived
             at this conclusion. A more direct response, however, is simply to show how
             the graphs change when Maine is excluded from the sample. As figures 7.8
             and 7.9 show, the exclusion of Maine has very little eﬀect.



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                                                                                                                     130
                                                                                                                     128




                                                                      Number of robberies per
                                                                        100,000 population
                                                                                                                     126
                                                                                                                     124
                                                                                                                     122
                                                                                                                     120
                                                                                                                     118
                                                                                                                     116
                                                                                                                     114

                                                                                                –6        –4    –2       0      2      4       6
                                                                                                     Years before and after adoption of the law

          Figure 7.8. The effect of concealed-handgun laws on robberies, excluding Maine
                                Number of aggravated assaults per 100,000 population




                                                                                                                    92


                                                                                                                    91


                                                                                                                    90


                                                                                                                    89


                                                                                                                    88


                                                                                                                    87


                                                                                                                    86


                                                                                                                    85


                                                                            –8                  –6    –4     –2     0     2     4       6          8
                                                                                                Years before and after adoption of the law

          Figure 7.9. The effect of concealed-handgun laws on aggravated assaults, excluding Maine




          10 How much does the impact of these laws vary across states?

              [Dan Black and Dan Nagin] found the annual murder rate did go down in
              six of the ten states—but it went up in the other four, including a 100 per-
              cent increase in West Virginia. Rape dropped in five states—but increased
              in the other five. And the robbery rate went down in six states—but went
              up in four. “That’s curious,” Black said. If concealed weapons laws were
              really so beneficial, their impact should not be so “wildly” diﬀerent from



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                state to state. (Richard Morin, “Unconventional Wisdom: New Facts and
                Hot Stats from the Social Sciences,” Washington Post, March 23, 1997, p. C5)

             Unfortunately, Black’s and Nagin’s evidence was not based on statewide crime
             rates but on the crime rates for counties with over 100,000 people. This fact
             is important, for instance, in West Virginia, where it means that only one single
             county—Kanawha—was examined. The other fifty-four counties in West
             Virginia, which include 89 percent of the state’s population, were excluded
             from their estimates. They used only one county for three of the ten states,
             and only three counties for another state. In fact, Black and Nagin managed
             to eliminate 85 percent of all counties in the nation in their analysis.
                 As shown in table 4.9 (see chapter 4), my estimates using all the counties
             certainly did not yield “wildly” diﬀerent estimates across states. Violent-
             crime rates fell in nine of the ten states enacting new nondiscretionary
             concealed-handgun laws between 1977 and 1992. The diﬀerences that did
             exist across states can be explained by diﬀerences in the rates at which
             concealed-handgun permits were issued. Table 4.10 also provides evidence that
             the states that issued more permits experienced greater reductions in crime.

             11 Do the coefﬁcient estimates for the demographic variables make sense?

                Perhaps even more surprising are the coeﬃcient estimates for measures
                of a county’s population that is black, female, and between the ages of 40
                and 49 or over the age of 65. [Lott and Mustard find] evidence to suggest
                that these variables have a statistically significant, positive correlation with
                murder rates . . . and that black females ages 40 to 49 have a statistically
                significant positive correlation with the aggravated assault rate. . . . There
                remain two competing explanations for [these] findings. First, middle-aged
                and elderly African-American women could be actively [engaged] in the
                commission of car thefts, assaults, and murders across the United States.
                The more likely explanation is that [their results] are misspecified and,
                as a result, their coeﬃcient estimates are biased. (Ludwig, “Permissive
                Concealed-Carry Laws,” pp. 20–21. See also Albert W. Alschuler, “Two
                Guns, Four Guns, Six Guns, More: Does Arming the Pubic Reduce
                Crime?” Valparaiso University Law Review 31 (Spring 1997): 367.)

             No, black females ages 40 to 49 are not responsible for a crime wave. Other
             results in the regressions that were not mentioned in this quotation in-
             dicate that the greater the percentage of women between the ages of 10
             and 29, the greater the rape rate—but these estimates do not imply that



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          young women are going out and committing rapes. To show that crime
          rates are higher where greater percentages of the population are of a certain
          demographic age group does not imply that the people in that group are
          committing the crimes. The positive relationship may exist because these
          people are relatively easy or attractive victims.
              If such an objection were valid, it should also apply to my finding that
          in areas where personal incomes are high, auto-theft rates are also high.
          Should we infer from this that high-income individuals are more likely to
          steal cars? Presumably not. What is most likely is that wealthy individuals
          own cars that are attractive targets for auto thieves.
              It is also important to note that the diﬀerent demographic variables are
          very highly correlated with each other. The percentage of the population
          that is male and within a particular race and age grouping is very similar to
          the percentage that is female within that race and age group. Similar high
          correlations exist within racial groups across age groups. With thirty-six
          diﬀerent demographic categories, determining whether an eﬀect is specifi-
          cally related to an individual category or simply arises because that category
          is correlated (whether negatively or positively) with another demographic
          group is diﬃcult and not the object of this book. What I have tried to do is
          “overcontrol” for all possible demographic factors to make sure that any
          eﬀects attributed to the right-to-carry law are not arising because I have
          accidentally left out some other factor.

          12 Can we compare counties with discretionary and nondiscretionary concealed-handgun laws?

             Many counties with very permissive permit systems can be found in states
             with no shall-issue laws, such as Louisiana and California. For example, in
             El Dorado county in California, 1,289 concealed-carry permits were issued
             in 1995. With a population of 148,600, this implies that 0.87 percent of this
             county’s population received concealed-carry permits in one year alone. In
             contrast, a total of 186,000 people in Florida had concealed-carry permits
             in 1996 out of a total state population of 13,958,000; that is, 1.33 percent of
             the population was licensed to carry concealed [guns]. Yet under [the] clas-
             sification scheme used in most of their results, El Dorado county would
             not be classified as shall-issue, while every county in Florida would be so
             classified. (Jens Ludwig, “Permissive Concealed-Carry Laws,” pp. 20–21.)
          The simplest question that we are asking is, What happens to the crime
          rate when nondiscretionary laws are passed allowing law-abiding citizens
          to carry concealed handguns? The key here is the change in the leniency of



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             the laws. The regressions have individual variables for each county that
             allow us to account for diﬀerences in the mean crime rate. The purpose of
             all the other variables is to explain why crime rates diﬀer from this average.
             Under discretionary laws some counties are extremely liberal in granting
             permits—essentially behaving as if they had nondiscretionary laws. In the
             regressions, diﬀerences between counties with discretionary laws (including
             diﬀerences in how liberally they issued concealed-handgun permits) are
             already being partly “picked up” by these individual county variables. For
             my test to work, it is only necessary for nondiscretionary laws on average to
             increase the number of concealed-handgun permits.
                 True, the amount of change in the number of permits does vary across
             counties. As this book has documented, law oﬃcials in discretionary states
             across the country have said that the more rural counties with relatively
             low populations were much more liberal in granting permits under dis-
             cretionary laws. Since no usable statistics are available regarding how easily
             permits are granted, I tested whether nondiscretionary laws changed the
             crime rates the most in counties with the largest or densest populations.
             The results confirmed that this was the case (see figure 4.1).
                 We also tried another approach to deal with this question. A few states
             did keep good records on the number of concealed-handgun permits is-
             sued at either the county or the state level. We reported earlier the results
             for Pennsylvania and Oregon (see tables 5.4 and 5.5 in chapter 5). Despite
             the small samples, we accounted for all the variables controlled for in the
             larger regressions, and the results confirmed that murder rates decline as
             the number of a permits issued in a county rises.

             13 Should changes in the arrest rate be accounted for when explaining changes in the
             crime rate?

                The use of arrest rates as an explanatory variable is itself quite problem-
                atic. . . . Since the arrest rate is calculated as the number of arrests for a
                particular crime divided by the number of crimes committed, unobserved
                determinants of the crime rate will by construction also influence the
                arrest rate. When the arrest rate is included as an explanatory variable in
                a regression equation, this leads to the statistical problem known as “endo-
                geneity,” or “simultaneity bias.” (Jens Ludwig, “Permissive Concealed-Carry
                Laws,” pp. 7–8)
             True, there is an endogeneity “problem.” However, on theoretical grounds,
             the inclusion of the arrest rate is highly desirable. There is strong reason to



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          believe that crime rates depend on the probability of punishment. In addi-
          tion, to exclude variables that obviously should be included in the analysis
          would create even more important potential bias problems. Furthermore,
          the endogeneity problem was dealt with in the original paper: it was pre-
          cisely our awareness of that problem that led us to use two-stage least
          squares to estimate the set of regressions, which is the recognized method
          of dealing with such a problem. As reported in chapter 6, the two-stage
          least-squares estimate provided even stronger evidence that concealed
          handguns deter crime.
             The simplest point to make, however, is that excluding the arrest rate
          does not alter the findings regarding concealed handguns. Reestimating
          the regressions in tables 4.1 and 4.3 for the same samples and control vari-
          ables produces virtually identical results. Ironically, two of my strongest
          critics, Dan Black and Dan Nagin, also tried excluding the arrest rates, and
          they admitted in early drafts of their paper that their results agreed with
          ours: “The inclusion of the arrest-rate variable has very little impact on the
          coeﬃcient estimates of the right-to-carry laws.”29

          14 Are the graphs in this book misleading?

             Lott rebuts many of the criticisms of his study by pointing to his simple
             but misleading graphs. The graphs are visually compelling yet very decep-
             tive. What is not obvious to the casual observer of the graphs is that each
             data point represents an aggregate average for states that liberalized their
             gun-carrying laws, but the states that make up the average are not the
             same each year. Lott examined 10 states he claims adopted “shall-issue”
             concealed-gun-carrying laws during his sample period. For many of the
             states studied, data were available for only one to three years after the laws
             were implemented. (Webster, “Flawed”)
          The graphs presented in the paper do indeed represent the average changes
          in crime rates before and after the implementation of these laws. The
          graphs consistently show that violent-crime rates are rising before these
          laws go into eﬀect and falling afterward. Since some states only adopted
          nondiscretionary, “shall-issue” laws toward the end of the sample period,
          it was not possible to examine all the states for the same number of years
          after the laws were implemented. I disagree that this is “misleading” or
          “deceptive.” The results were by no means generated by the aggregation
          itself, and anybody doubting the meaning of the graph can examine the
          regression results. Since the regressions already control for each county’s



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             average crime rate, any changes refer to deviations from that county’s aver-
             age crime rate.30
                 Ian Ayres and Steven Levitt use similar graphs and find similar results
             when they look at the deterrent eﬀect of Lojack antitheft devices on cars
             (these are radio tracking devices that can be activated by police when a car
             is stolen).31 In many ways, the theoretical deterrent eﬀect of these devices
             is the same as that of concealed handguns: because the device is small and
             easy to hide, a criminal cannot easily know whether a car has the tracking
             device until the police arrive.
                 Future studies will be able to track these changes in crime over longer
             periods of time because more states will have had right-to-carry laws for
             longer periods of time. Such studies will ultimately help to test my findings.
             I have used all the data that was available at the time that David Mustard
             and I put this data set together. With 54,000 observations and hundreds of
             variables available over the 1977 to 1994 period, it is also by far the largest
             data set that has ever been put together for any study of crime, let alone
             for the study of gun control.32 I find it ironic that my study is attacked for
             not having enough data when these same researchers have praised pre-
             vious studies that relied on much shorter time periods for a single state
             or a few counties. For example, Mr. Webster expresses no such criticism
             when referring to a study conducted by the University of Maryland. Yet
             that study analyzed merely five counties and covered a shorter period of
             time after the law was enacted.33

             15 Should concealed-handgun laws have differential effects on the murder rates of youths
             and adults?

                Ludwig points out that in many states only adults may carry concealed
                weapons. So, according to Lott’s deterrence theory, adults should be safer
                than young people. But this hasn’t happened, Ludwig says. (Kathleen
                Schalch describing Jens Ludwig’s arguments on Morning Edition, National
                Public Radio, 10:00 a.m. ET Tuesday, December 10, 1996.)
             As noted in chapter 4, I tested the hypothesis that murder rates would be
             lower for adults than for adolescents under nondiscretionary concealed-
             handgun laws, and reported the results in the original paper. However,
             the results did not bear out this possibility. Concealed-handgun laws re-
             duce murder rates for both adults and for adolescents. One explanation
             may simply be that young people also benefited from the carrying of con-
             cealed handguns by adults. Several plausible scenarios may explain this.



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          First, criminals may well tend to leave an area where law-abiding adults
          carry concealed handguns, and since all age groups live in the same neigh-
          borhood, this lowers crime rates for all population groups. Second, when
          gun-carrying adults are physically present, they may able to protect some
          youngsters in threatening situations.
             Could some other factor be lowering the juvenile murder rate—some-
          thing that is unrelated to concealed handguns? Perhaps, despite all the fac-
          tors accounted for, the results of any research may be aﬀected by unknown
          factors. But it is wrong to conclude, as Ludwig does, that “these findings
          are not consistent with the hypothesis that shall-issue laws decrease crime
          through a deterrence eﬀect.”34

          16 Are changes in the characteristics of victims consistent with the theory?

             Lott and Mustard oﬀer data on the character of victims in homicide cases.
             They report (astonishingly) that the proportion of stranger killings in-
             creases following the enactment of right-to-carry laws, while the pro-
             portion of intrafamily killings declines. That right-to-carry laws deter
             intrafamily homicides more than they deter stranger homicides is incon-
             ceivable. (Albert W. Alschuler, “Two Guns, Four Guns, Six Guns, More:
             Does Arming the Public Reduce Crime?” Valparaiso University Law Review 31
             (1997): 369)
             Josh Sugarmann of the Violence Policy Center noted that most murders
             are committed by people who know each other. “Concealed-weapons laws
             are not passed to protect people from people they know,” Sugarmann
             said. (Doug Finke, “Sides Stick to Their Guns, Concealed-Carry Bill Set for
             Showdown in General Assembly,” Springfield State Journal-Register, March 31,
             1997, p. 1)

          As noted in the first chapter, the category of acquaintance murder is ex-
          tremely broad (encompassing shootings of cab drivers, gang members,
          drug dealers or buyers, and prostitutes or their clients). For the Chicago
          data that we discussed, the number of acquaintance murders involving
          friends was actually only a small percentage of the total number of ac-
          quaintance murders. If the breakdown found for Chicago provides even the
          remotest proxy for the national data, it is not particularly surprising that
          the relative share of acquaintance murders involving friends should rise,
          because we expect that many of the murders in this category are unlikely
          to be aﬀected by law-abiding citizens carrying concealed handguns. Fam-



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             ily members may also find that concealed handguns protect them from
             other estranged family members. A wife seeking a divorce may find that
             a concealed handgun provides her protection against a husband who is
             unwilling to let go of the relationship, and attacks by such people do not
             always take place in a home. Surely there are many cases of spousal abuse
             where women fear for their lives and find that a handgun provides them
             with a significant degree of protection.
                 A recent case involving a woman who used a handgun to protect herself
             from an abusive husband created an important new legal precedent in Cali-
             fornia: for the first time, women are now allowed to use self-defense before
             they suﬀer serious blows. The San Francisco Examiner reported as follows:
                [Fay] Johnson, a 47-year-old mother of four, said that on July 2, 1995, she
                feared her 62-year-old husband, Clarence, would beat her as he always
                did after a weekend of drinking and hanging out with his motorcycle
                buddies.
                   She had overspent her budget on supplies for a Fourth of July barbecue
                and didn’t have dinner ready, and the house was not clean—so when she
                heard her husband’s motorcycle pull into the driveway, she decided to
                take matters into her own hands.
                   Johnson said she grabbed a loaded gun . . . [and fired, ] hitting her hus-
                band five times. He survived and testified against her. She was arrested and
                spent 21 months in prison until her acquittal.
                   “I regret being in jail, but I just wouldn’t tolerate it anymore,” said
                Johnson, a friendly, articulate woman who is celebrating her freedom with
                her children and six grandchildren. “It would have been suicide.”
                   Johnson said she had endured nearly 25 years of mental and physical
                abuse at the hands of her husband, whose usual form of punishment was
                slamming her head into a wall. The beatings got so bad, she said, that she
                had to be hospitalized twice and tried getting counseling until he found
                out and forced her to stop. She said the pressure of the abuse had culmi-
                nated that fateful day.35
             Pointing to women who use handguns to protect themselves from abu-
             sive husbands or boyfriends in no way proves that the primary eﬀects of
             concealed-handgun laws will involve such uses of guns, but these cases
             should keep us from concluding that significant benefits for these women
             are “inconceivable.”
                With reference to Alschuler’s discussion, however, two points must be
             made clear. First, the diverse breakdown of these groupings makes it diﬃ-



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          cult to predict on theoretical grounds how the number of murders among
          family members, acquaintances, strangers, or unknown cases should nec-
          essarily change relative to each other. Second, as Alschuler himself has
          noted, these estimates are suggestive; they are not statistically significant,
          in that we cannot say with much certainty how concealed-handgun laws
          have aﬀected the proportions of victims across the categories mentioned
          above.
             An additional response should be made to Sugarmann’s claims. Even if
          one accepts the claim that nondiscretionary concealed-handgun laws do
          not reduce the number of murders against people who know each other
          (and I do not concede this), what about other types of murders, such as
          those arising from street robbery? For Chicago during the period from
          1990 to 1995, 16 percent of all murders involved nonacquaintance robbery.
          Moreover, one must ask about nonfriend acquaintance murders (excluding
          prostitution, gang, and drug cases), murders by complete strangers, and
          at least some of those murders still classified as mysteries (an additional
          22 to 46 percent of all murders). Since permitted handguns are virtually
          never used in crimes against others and they do not produce accidental
          deaths, should not the reduction of these other types of murders still be
          deemed important?36

          17 Do nondiscretionary concealed-handgun laws only affect crimes that occur in public places?

             Handguns were freely available for home and business use in all the “shall-
             issue” jurisdictions prior to the new laws. The new carrying privilege
             would thus not aﬀect home or business self-defense but should have most
             of its preventive impact on street crime and oﬀenses occurring in other
             public places. But the study contains no qualitative analysis of diﬀerent
             patterns within crime categories to corroborate the right-to-carry preven-
             tion hypothesis. (Zimring and Hawkins, “Counterfeit Deterrent,” p. 54)
          Contrary to the claim of Zimring and Hawkins, concealed handguns may
          very well aﬀect crime in homes and businesses in several ways. First, being
          allowed to carry a concealed gun outside is likely to increase the number
          of guns owned by law-abiding citizens. Since these guns will be kept at least
          part of the time in the home, this should have a deterrent eﬀect on crimes
          committed at home and also at one’s business. Second, as some of the evi-
          dence suggests, nondiscretionary laws could even increase the number of
          crimes that occur in the home as criminals turn away from other crimes,
          like street robbery, for which the risks that criminals face have gone up.



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             These two eﬀects would thus work in opposite directions. Finally, to the
             extent that nondiscretionary handgun laws drive criminals out of a certain
             geographical area, rates for all types of crimes could fall.
                 Aggregation of the crime categories makes it diﬃcult to separate all the
             diﬀerent substitution eﬀects. Still, the results presented here are very con-
             sistent with the two primary dimensions that we focused on: whether there
             is contact between the criminal and the victim, and whether the crime oc-
             curs where law-abiding citizens could already legally carry a gun.

             18 Is it reasonable to make comparisons across states?

                The sort of state that passes a “shall-issue” law in the 1980s is apt to be
                the same kind of place where ordinary citizens carrying concealed fire-
                arms might not be regarded as a major problem even before the law
                changed. . . . Idaho is not the same sort of place that New York is, and there
                seem to be systematic diﬀerences between states that change standards for
                concealed weapons and those that do not. (Zimring and Hawkins, “Coun-
                terfeit Deterrent,” pp. 50–51)
             The observed drop in crime rates in states that have enacted nondiscretion-
             ary concealed-handgun laws does not by itself imply that we will observe
             the same eﬀect in other states that adopt such laws later. Several diﬀerent
             issues arise here. First, the regressions used in this book have attempted
             to control for many diﬀerences that can explain the level of crime (for
             example, income, poverty, unemployment, population and population
             density, demographic characteristics, law enforcement, other gun laws).
             Admittedly, even my long list of variables does not pick up all the diﬀer-
             ences between states, which is the reason that a variable is added for each
             county or state to pick up the average diﬀerences in crime rates across
             places. Individual time trends are also allowed for each state.
                 Yet despite all these attempts to control for variables, some caution is
             still in order—especially when dealing with areas that are particularly
             extreme along dimensions that do not have obvious counterparts in ar-
             eas with nondiscretionary laws. One obvious example would be New York
             City. While the regression results show that areas with the largest and most
             dense populations gain the most from nondiscretionary laws, there is al-
             ways the possibility that the relationship changes for values of population
             and density that are diﬀerent from those in places where we have been
             able to study the eﬀects of these laws. To date, the fourth and fifth larg-
             est cities in the country have passed nondiscretionary laws (Houston and



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          Philadelphia), and additional experience with large cities may help deter-
          mine whether these laws would be equally useful in a city like New York. If
          one were skeptical about the eﬀects in large cities, the laws should first be
          changed in Los Angeles and Chicago.
             A second issue is whether there is something unique about states that
          have adopted nondiscretionary laws, and whether that characteristic
          caused them not only to adopt the laws but also reduced the potential
          problems resulting from adoption. For example, if local legislators in a few
          states had special information confirming that the citizens in their state
          were uniquely trustworthy with regard to concealed handguns, that might
          have led these few states to pass the laws and have little diﬃculty with
          them. It could then “falsely” appear that nondiscretionary laws are gener-
          ally successful. Such an argument may have been plausible at one time,
          but its force has declined as larger and more varied areas have been covered
          by these laws. Equally important is the fact that not all jurisdictions have
          willingly adopted these laws. Many urban areas, such as Atlanta and Phila-
          delphia, fought strongly against them, but lost out to coalitions of rural
          and suburban representatives. Philadelphia’s opposition was so strong that
          when Pennsylvania’s nondiscretionary law was first passed, Philadelphia
          was partially exempted.

          19 Does my discussion provide a “theory” linking concealed-handgun ownership to reductions
          in crime? Do the data allow me to link the passage of these laws with the reduction in crime?

             Two idiosyncratic aspects of the Lott and Mustard analysis deserve special
             mention. . . . In the first place, there is very little in the way of explicit
             theory advanced to explain where and when right-to-carry laws should
             operate as deterrents to the types of crime that can be frustrated by citi-
             zens carrying concealed handguns. . . . They have no data to measure the
             critical intermediate steps between passing the legislation and reductions
             in crime rates. This is the second important failing . . . that is not a recur-
             rent feature in econometric studies. (Zimring and Hawkins, “Counterfeit
             Deterrent,” pp. 52, 54)
          This set of complaints is diﬃcult to understand. The theory is obvious: A
          would-be criminal act is deterred by the risk of being shot. Many diﬀerent
          tests described in this book support this theory. Not only does the drop
          in crime begin when nondiscretionary laws are adopted, but the extent of
          the decline is related to the number of permits issued in a state. Nondis-
          cretionary laws reduce crime the most in areas with the greatest increases



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             in the number of permits. As expected, crimes that involve criminals and
             victims in direct contact and crimes occurring in places where the victim
             was previously unable to carry a gun are the ones that consistently decrease
             the most.

             20 What can we infer about causality?

                Anyone who has taken a course in logical thinking has been exposed to
                the fallacy of arguing that because A happened (in this case, passage of
                a concealed-weapon law) and then B happened (the slowing of the rate
                of violent crime), A must surely have caused B. You can speculate that
                the passage of concealed-gun legislation caused a subsequent slowing of
                the rate of violent crime in various states, but you certainly can’t prove
                it, despite the repeated claims that a University of Chicago law profes-
                sor’s “study” has oﬀered “definitive scholarly proof.” (Harold W. Ander-
                sen, “Gun Study Akin to Numbers Game,” Omaha World Herald, April 3,
                1997, p. 15)
             An obvious danger arises in inferring causality because two events may co-
             incide in time simply by chance, or some unknown factor may be the cause
             of both events. Random chance is a frequent concern with pure time-series
             data when there is just one change in a law. It is not hard to believe that
             when one is examining a single state, unrelated events A and B just hap-
             pened to occur at the same time. Yet the data examined here involve many
             diﬀerent states that changed their laws in many diﬀerent years. The odds
             that one might falsely attribute the changes in the crime rate to changes
             in the concealed-handgun laws decline as one examines more experiences.
             The measures of statistical significance are in fact designed to tell us the
             likelihood that two events may have occurred randomly together.
                  The more serious possibility is that some other factor may have caused
             both the reduction in crime rates and the passage of the law to occur at the
             same time. For example, concern over crime might result in the passage
             of both concealed-handgun laws and tougher law-enforcement measures.
             Thus, if the arrest rate rose at the same time that the concealed-handgun
             law passed, not accounting for changes in the arrest rate might result in
             falsely attributing some of the reduction in crime rates to the concealed-
             handgun law. For a critic to attack the paper, the correct approach would
             have been to state what variables were not included in the analysis. Indeed,
             it is possible that the regressions do not control for some important factor.
             However, this study uses the most comprehensive set of control variables



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          yet used in a study of crime, let alone any previous study on gun control.
          As noted in the introduction, the vast majority of gun-control studies do
          not take any other factors that may influence crime into account, and no
          previous study has included such variables as the arrest or conviction rate
          or sentence length.
              Other pieces of evidence also help to tie together cause and eﬀect. For
          example, the adoption of nondiscretionary concealed-handgun laws has
          not produced equal eﬀects in all counties in a state. Since counties with eas-
          ily identifiable characteristics (such as rural location and small population)
          tended to be much more liberal in granting permits prior to the change
          in the law, we would expect them to experience the smallest changes in
          crime rates, and this is in fact what we observe. States that were expected
          to issue the greatest number of new permits and did so after passing non-
          discretionary laws observed the largest declines in crime. We know that
          the number of concealed-handgun permits in a state rises over time, so we
          expect to see a greater reduction in crime after a nondiscretionary law has
          been in eﬀect for several years than right after it has passed. Again, this is
          what we observe. Finally, where data on the actual number of permits at
          the county level are available, we find that the number of murders declines
          as the number of permits increases.
              The notion of statistical significance and the number of diﬀerent speci-
          fications examined in this book are also important. Even if a relationship is
          false, it might be possible to find a few specifications out of a hundred that
          show a statistically significant relationship. Here we have presented over a
          thousand specifications that together provide an extremely consistent and
          statistically significant pattern about the relationship between nondiscre-
          tionary concealed-handgun laws and crime.

          21 Concerns about the arrest rates due to missing observations

             To control for variation in the probability of apprehension, the [Lott and
             Mustard] model specification includes the arrest ratio, which is the num-
             ber of arrests per reported crime. Our replication analysis shows that the
             inclusion of this variable materially aﬀects the size and composition of
             the estimation data set. Specifically, division by zero forces all counties
             with no reported crimes of a particular type in a given year to be dropped
             from the sample for that year. [Lott’s and Mustard’s] sample contains all
             counties, regardless of size, and this problem of dropping counties with no
             reported crimes is particularly severe in small counties with few crimes.




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                The frequencies of missing data are 46.6% for homicide, 30.5% for rape,
                12.2% for aggravated assault, and 29.5% for robbery. Thus, the [Lott and
                Mustard] model excludes observations based on the realization of the
                dependent variable, potentially creating a substantial selection bias. Our
                strategy for finessing the missing data problem is to analyze only coun-
                ties maintaining populations of at least 100,000 during the period 1977 to
                1992. . . . Compared to the sample [comprising] all counties, the missing
                data rate in the large-county sample is low: 3.82% for homicide, 1.08% for
                rape, 1.18% for assault, and 1.09% for robberies. (Dan Black and Daniel
                Nagin, “Do ‘Right-to-Carry’ Laws Deter Violent Crime?” Journal of Legal
                Studies 27 [January 1998], forthcoming)
             The arguments made by Black and Nagin have changed over time, and
             some of their statements are not consistent.37 In part because of the public
             nature of their attacks, I have tried to deal with all of the diﬀerent attacks,
             so that those who have heard them may hear my responses. The problem
             described immediately above by Black and Nagin is indeed something one
             should be concerned about, but I had already dealt with the problem of
             missing observations in the original paper, and I discuss it again here at the
             end of chapter 6. My original paper and chapter 4 also reported the results
             when the arrest rate was removed entirely from the regressions. The dis-
             cussion by Black and Nagin exaggerates the extent of the problem and, de-
             pending on the crime category being examined, quite amazingly proposes
             to solve the missing data problem by throwing out data for between 77 and
             87 percent of the counties.
                 Black and Nagin present a very misleading picture of the trade-oﬀs in-
             volved with the solution that examined the more populous counties.38 The
             relevant comparison is between weighted numbers of missing observations,
             not the total number of missing observations, since the regressions are
             weighted by county population and the missing observations tend to be
             from relatively small counties, which are given a smaller weight.39 When
             this is done, the benefits obtained by excluding all counties with fewer than
             100,000 people become much more questionable. The most extreme case
             is for aggravated assault, where Black and Nagin eliminate 86 percent of
             the sample (a 29 percent drop in the weighted frequency) in order to re-
             duce weighted missing values from 2.8 to 1.5 percent. Even for murder,
             77 percent of the sample is dropped, so that the weighted missing data
             declines from 11.7 to 1.9 percent. The rape and robbery categories lie be-
             tween these two cases, both in terms of the number of counties with fewer



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          than 100,000 people and in terms of the change in the amount of weighted
          missing data.40
              Why they choose to emphasize the cut-oﬀ that they did is neither ex-
          plained nor obvious. The current cost-benefit ratio is rather lopsided. For
          example, eliminating counties with fewer than 20,000 people would have
          removed 70 percent of the missing arrest ratios for murder and lost only
          20 percent of the observations (the weighted frequencies are 23 and 6 per-
          cent respectively). There is nothing wrong with seeing whether the esti-
          mates provide the same results over counties of various sizes, but if that
          is their true motivation for excluding portions of the data, it should be
          clearly stated.
              Despite ignoring all these observations, it is only when they also remove
          the data for Florida that they weaken my results for murder and rape
          (though the results for aggravated assault and robbery are even larger and
          more statistically significant). Only eighty-six counties with more than
          100,000 people adopted nondiscretionary concealed-handgun laws between
          1977 and 1992, and twenty of these counties are in Florida. Yet after all this
          exclusion of data, Black and Nagin still find no evidence that allowing law-
          abiding citizens to carry concealed handguns increases crime, and two
          violent-crime categories show a statistically significant drop in crime. The
          diﬀerence between their approach and mine is rather stark: I did not select
          which observations to include; I used all the data for all the counties over
          the entire period for which observations were available. When updated data
          have been available, they have all been used.

          22 What can we learn about the deterrent effect of concealed handguns from this study?

             The regression study [that Lott and Mustard] report is an all-or-nothing
             proposition as far as knowledge of legal impact is concerned. If the model
             is wrong, if their bottom-line estimates of impact cannot withstand scru-
             tiny, there is no intermediate knowledge of the law’s eﬀects on behavior
             that can help us sort out the manifold eﬀects of such legislation. As soon
             as we find flaws in the major conclusions, the regression analyses tell us
             nothing. What we know from this study about the eﬀects of “shall-carry”
             laws is, therefore, nothing at all. (Zimring and Hawkins, “Counterfeit
             Deterrent,” p. 59)
          Academics can reasonably diﬀer about what factors account for changes
          in crime. Sociologists and criminologists, for example, have examined
          gun control without trying to control for changes in arrest or conviction



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             rates. Others might be particularly concerned about the impact of drugs
             on crime. Economists such as myself try to include measures of deterrence,
             though I am also sympathetic to other concerns. In this book and my other
             research, my approach has not been to say that only one set of variables
             or even one specification can explain the crime rate. My attitude has been
             that if someone believes that a variable is important and has any plausible
             reason for including it, I have made an eﬀort to include it. This book reports
             many diﬀerent approaches and specifications—all of which support the
             conclusion that allowing law-abiding citizens to carry concealed handguns
             reduces crime. With each update of this research, I believe that no other
             study on crime has used as extensive a data set as used here.

             23 Summarizing the concerns about the evidence that concealed-handgun laws deter crime

                The gun lobby claims to have a new weapon in its arsenal this year—a
                study by economist John Lott. But the Lott study shoots blanks. In review-
                ing Lott’s research and methodology, Carnegie-Mellon University Profs.
                Daniel Nagin and Dan Black, and Georgetown University’s Prof. Jens Lud-
                wig corrected for the many fatal flaws in Lott’s original analysis and found
                no evidence of his claim that easing restrictions on carrying concealed
                handguns leads to a decrease in violent crime. Nagin, Black, and Ludwig
                recently concluded in a televised debate with Lott that “there is absolutely
                no credible evidence to support the idea that permissive concealed-carry
                laws reduce violent crime,” and that “it would be a mistake to formulate
                policy based on the findings from Dr. Lott’s study.” (James Brady, “Con-
                cealed Handguns; Putting More Guns on Streets Won’t Make America
                Safer,” Minneapolis Star Tribune, March 21, 1997, p. 21A)
             Unlike the authors of past papers on gun control such as Arthur Keller-
             mann and the authors of the 1995 University of Maryland study, I imme-
             diately made my data available to all academics who requested it.41 To date,
             my data have been supplied to academics at twenty-four universities, in-
             cluding Harvard, Stanford, the University of Pennsylvania, Emory, Vander-
             bilt, Louisiana State, Michigan State, Florida State, the University of Texas,
             the University of Houston, the University of Maryland, Georgetown, and
             the College of William and Mary.
                 James Brady’s op-ed piece ignores the fact that some of these academics
             from Vanderbilt, Emory, and Texas paid their own way to attend the De-
             cember 9, 1996, debate sponsored by his organization—Handgun Control.
             While Handgun Control insisted on rules that did not allow these academ-



                                                 Exhibit 10
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          ics to participate, I am sure that they would have spoken out to support the
          integrity of my original study.
              Those who have attempted to replicate the findings in the original Jour-
          nal of Legal Studies paper have been able to do so, and many have gone be-
          yond this to provide additional support for the basic findings. For example,
          economists at Vanderbilt University have estimated over 10,000 regressions
          attempting to see whether the deterrent eﬀects of nondiscretionary laws
          are at all sensitive to all possible combinations of the various data sets on
          demographics, income, population, arrest rates, and so on. Their results
          are quite consistent with those reported in this book.42
              I have tried in this chapter to examine the critiques leveled against my
          work. In many cases, the concerns they describe were addressed in the origi-
          nal paper. In others, I believe that relatively simple responses exist to the
          complaints. However, even taking these critics at their worst, I still believe
          that a comment that I made at the December 9 discussion sponsored by
          Handgun Control still holds:
             Six months ago, who would have thought that Handgun Control would
             be rushing out studies to argue that allowing law-abiding citizens to carry
             concealed handguns would have no eﬀect, or might have a delayed im-
             pact, in terms of dropping crimes? (Morning Edition, National Public Radio,
             10:00 a.m. ET, December 10, 1996.




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                        8    Some Final Thoughts (1998)

                            As more than 30 diners sat in Sam’s St. John’s Seafood [in
                            Jacksonville, Florida] about 7:20 p.m., a masked man entered
                            the eatery and ordered everyone to the floor, said co-owner
                            Sam Bajalia. The man grabbed waitress Amy Norton from
                            where she and another waitress were huddled on the floor
                            and tried to get her to open the cash register.
                                At that point, [Oscar] Moore stood up and shot him.
                            Another diner . . . pulled out a .22-caliber derringer and
                            fired at the man as he ran out of the restaurant. At least
                            one shot hit the fleeing robber.
                                [The robber was later arrested when he sought medical
                            care for his wound.] . . .
                                “I’m glad they were here because if that girl couldn’t
                            open the register, and he didn’t get [any] money, he might
                            have started shooting,” Bajalia said.1

                            [It was] 1:30 a.m. when Angelic Nichole Hite, 26, the night
                            manager, and Victoria Elizabeth Shaver, 20, the assistant
                            manager at the Pizza Hut at 4450 Creedmoor Road, were
                            leaving the restaurant with Marty Lee Hite, 39, the man-
                            ager’s husband. He had come to pick her up after work.
                                They saw a man wearing a ski mask, dark clothes,
                            gloves, and holding a pistol walking toward them, and
                            the Hites ran back inside the restaurant. Shaver appar-
                            ently had reached her car already. . . . The couple couldn’t
                            close the door behind them because the robber ran up
                            and wedged the barrel of his handgun in the opening. As
                            they struggled to get the door closed, . . . the masked man
                            twice said he would kill them if they didn’t open it.
                                Marty Hite, who carried a .38-caliber handgun, pulled

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          out his weapon and fired three times through the opening, striking the robber in the
          abdomen and upper chest. The would-be bandit staggered away, and the Hites locked
          the door and called police.
               The Wake County district attorney will review the shooting, but Raleigh police did not
          file charges against the manager’s husband. Police said it appeared the couple retreated as
          far as they could and feared for their lives, which would make it a justified shooting.2

          Many factors influence crime, with arrest and conviction rates being the
          most important. However, nondiscretionary concealed-handgun laws are
          also important, and they are the most cost-eﬀective means of reducing
          crime. The cost of hiring more police in order to change arrest and convic-
          tion rates is much higher, and the net benefits per dollar spent are only
          at most a quarter as large as the benefits from concealed-handgun laws.3
          Even private, medium-security prisons cost state governments about $34
          a day per prisoner ($12,267 per year).4 For concealed handguns, the permit
          fees are usually the largest costs borne by private citizens. The durability
          of guns allows owners to recoup their investments over many years. Us-
          ing my yearly cost estimate of $43 per concealed handgun for Pennsylva-
          nians, concealed handguns pay for themselves if they have only 1 / 285 of
          the deterrent impact of an additional year in prison. This calculation even
          ignores the other costs of the legal system, such as prosecution and defense
          costs—criminals will expend greater eﬀort to fight longer prison sentences
          in court. No other government policy appears to have anywhere near the
          same cost-benefit ratio as concealed-handgun laws.
             Allowing citizens without criminal records or histories of significant
          mental illness to carry concealed handguns deters violent crimes and ap-
          pears to produce an extremely small and statistically insignificant change
          in accidental deaths. If the rest of the country had adopted right-to-carry
          concealed-handgun provisions in 1992, about 1,500 murders and 4,000 rapes
          would have been avoided. On the other hand, consistent with the notion
          that criminals respond to incentives, county-level data provide some evi-
          dence that concealed-handgun laws are associated with increases in prop-
          erty crimes involving stealth and in crimes that involve minimal probability
          of contact between the criminal and the victim. Even though both the
          state-level data and the estimates that attempt to explain why the law and
          the arrest rates change indicate that crime in all the categories declines,
          the deterrent eﬀect of nondiscretionary handgun laws is largest for vio-
          lent crimes. Counties with the largest populations, where the deterrence




                                              Exhibit 10
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          of violent crimes is the greatest, are also the counties where the substitu-
          tion of property crimes for violent crimes by criminals is the highest. The
          estimated annual gain in 1992 from allowing concealed handguns was over
          $5.74 billion.
              Many commonly accepted notions are challenged by these findings.
          Urban areas tend to have the most restrictive gun-control rules and have
          fought the hardest against nondiscretionary concealed-handgun laws,
          yet they are the very places that benefit the most from nondiscretionary
          concealed-handgun laws. Not only do urban areas tend to gain in their
          fight against crime, but reductions in crime rates are greatest precisely in
          those urban areas that have the highest crime rates, largest and most dense
          populations, and greatest concentrations of minorities. To some this might
          not be too surprising. After all, law-abiding citizens in these areas must de-
          pend on themselves to a great extent for protection. Even if self-protection
          were accepted, concerns would still arise over whether these law-abiding
          citizens would use guns properly. This study provides a very strong answer:
          a few people do and will use permitted concealed handguns improperly,
          but the gains completely overwhelm these concerns.
              Another surprise involves women and blacks. Both tend to be the stron-
          gest supporters of gun control, yet both obtain the largest benefits from
          nondiscretionary concealed-handgun laws in terms of reduced rates of
          murder and other crimes. Concealed handguns also appear to be the great
          equalizer among the sexes. Murder rates decline when either more women
          or more men carry concealed handguns, but the eﬀect is especially pro-
          nounced for women. An additional woman carrying a concealed handgun
          reduces the murder rate for women by about three to four times more than
          an additional man carrying a concealed handgun reduces the murder rate
          for men. Providing a woman with a concealed handgun represents a much
          larger change in her ability to defend herself than it does for a man.
              The benefits of concealed handguns are not limited to those who use
          them in self-defense. Because the guns may be concealed, criminals are un-
          able to tell whether potential victims are carrying guns until they attack,
          thus making it less attractive for criminals to commit crimes that involve
          direct contact with victims. Citizens who have no intention of ever carry-
          ing concealed handguns in a sense get a “free ride” from the crime-fighting
          eﬀorts of their fellow citizens. However, the “halo” eﬀect created by these
          laws is apparently not limited to people who share the characteristics of
          those who carry the guns. The most obvious example is the drop in mur-




                                         Exhibit 10
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          ders of children following the adoption of nondiscretionary laws. Arming
          older people not only may provide direct protection to these children, but
          also causes criminals to leave the area.
             Nor is the “halo” eﬀect limited to those who live in areas where people
          are allowed to carry guns. The violent-crime reduction from one’s own
          state’s adopting the law is in fact greatest when neighboring states also al-
          low law-abiding citizens to carry concealed handguns. The evidence also
          indicates that the states with the most guns have the lowest crime rates.
          Urban areas may experience the most violent crime, but they also have the
          smallest number of guns. Blacks may be the racial group most vulnerable to
          violent crime, but they are also much less likely than whites to own guns.
             These estimates make one wonder about all the attention given to other
          types of gun legislation. My estimates indicate that waiting periods and
          background checks appear to produce little if any crime deterrence. Dur-
          ing the 1990s former president Clinton credited the Brady law with lower-
          ing crime because it had, according to him, been “taking guns out of the
          hands of criminals.”5 During the 1996 Democratic National Convention,
          Sarah Brady, after whose husband the bill was named, boasted that it “has
          helped keep more than 100,000 felons and other prohibited purchasers
          from buying handguns.”6 From 1994 until the Supreme Court’s decision
          in 1997, backers of the Brady law focused almost exclusively on the value
          of background checks, the one part of the law that the Supreme Court
          specifically struck down.7
             Actually, the downward crime trend started in 1991, well before the
          Brady law became eﬀective in March 1994. With a national law that goes
          into eﬀect only once, it is diﬃcult to prove empirically that the law was
          what altered crime rates, because so many other events are likely to have
          occurred at that same time. One of the major advantages of the large data
          set examined in this book is that it includes data from many diﬀerent states
          that have adopted nondiscretionary laws in many diﬀerent years.
             Others estimate a much smaller eﬀect of the Brady law on gun sales. In
          1996 the General Accounting Oﬃce reported that initial rejections based
          on background checks numbered about 60,000, of which over half were for
          purely technical reasons, mostly paperwork errors that were eventually
          corrected.8 A much smaller number of rejections, 3,000, was due to con-
          victions for violent crimes, and undoubtedly many of the people rejected
          proceeded to buy guns on the street. By the time the background-check
          provision was found unconstitutional, in June 1997, only four people had
          gone to jail for violations.



                                         Exhibit 10
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              Presumably, no one would argue that rejected permits are meaningful
          by themselves. They merely proxy for what might happen to crime rates,
          provided that the law really stops criminals from getting guns. Do crimi-
          nals simply get them from other sources? Or do the restrictions primarily
          inconvenience law-abiding citizens who want guns for self-defense? The
          results presented in this book are the first systematic national look at such
          gun laws, and if the national Uniform Crime Report data through 1994 or state
          waiting periods and background checks are any indication, the empirical
          evidence does not bode well for the Brady law. No statistically significant
          evidence has appeared that the Brady law has reduced crime, and there is
          some statistically significant evidence that rates for rape and aggravated
          assault have actually risen by about 4 percent relative to what they would
          have been without the law.
              Yet research does not convince everybody. Perhaps the Supreme Court’s
          June 1997 decision on the constitutionality of the Brady law’s national back-
          ground checks will shed light on how eﬀective the Brady law was. The point
          of making the scope of the background check national was that without it,
          criminals would buy guns from jurisdictions without the checks and use
          them to commit crimes in the rest of the country. As these national stan-
          dards are eliminated, and states and local jurisdictions discontinue their
          background checks,9 will crime rates rise as quickly without this provision
          of the law as gun-control advocates claimed they fell because of it? My
          bet is no, they will not. If President Clinton and gun-control advocates
          are correct, a new crime wave should be evident by the time this book
          is published.
              Since 1994, aside from required waiting periods, many new rules mak-
          ing gun ownership by law-abiding citizens more diﬃcult have come into
          existence. There were 279,401 active, federal gun-dealer licenses in the na-
          tion when the new licensing regulations went fully into eﬀect in April 1994.
          By 2000 there were 100,000, a decline of 64 percent, and by September 2009
          it had fallen to 50,630.10 This has undoubtedly made purchasing guns less
          convenient. Besides increasing licensing fees from $30 to $200 for first-time
          licenses and imposing renewal fees of $90, the 1994 Violent Crime Control
          and Law Enforcement Act imposed significant new regulatory require-
          ments that were probably much more important in reducing the number
          of licensees.11
              The Bureau of Alcohol, Tobacco, and Firearms (BATF) supports this
          decrease largely because it believes that it aﬀects federal license holders who
          are illegally selling guns. The BATF’s own (undoubtedly high) estimate is



                                          Exhibit 10
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          that about 1 percent of federal license holders illegally sell guns, and that
          this percentage has remained constant with the decline in licensed deal-
          ers.12 If so, 155,115 licensees have lost their licenses in order to eliminate
          1,551 illegal traﬃckers. Whether this lopsided trade-oﬀ justifies stiﬀer fed-
          eral regulation is unclear, but other than simply pointing to the fact that
          crime continued on its downward course nationally during this period, no
          evidence has been oﬀered. No attempt has been made to isolate this eﬀect
          from many other changes that occurred over the same period of time.13
              Changes in the law will also continue to have an impact. Proposals are
          being made by the U.S. Department of Justice to “require owners of fire-
          arms ‘arsenals’ to provide notice to law enforcement,” where the defini-
          tion of what constitutes an “arsenal” seems to be fairly subjective, and to
          “require gun owners to record the make, model, and serial number of their
          firearms as a condition of obtaining gun insurance.” Other proposals would
          essentially make it impossible for private individuals to transfer firearms
          among themselves.
              What implications does this study have for banning guns altogether?
          This book has not examined evidence on what the crime rate would be if
          all guns could be eliminated from society—no data were present in the
          data set for areas where guns were completely absent for any period of
          time, but the findings do suggest how costly the transition to that gun-free
          goal would be. If outlawing guns would primarily aﬀect their ownership
          by law-abiding citizens, this research indicates that at least in the short
          run, we would expect crime rates to rise. The discussion is very similar to
          the debate over nuclear disarmament. A world without nuclear weapons
          might be better oﬀ, but unilateral disarmament may not be the best way to
          accomplish that goal. The large stock of guns in the United States, as well as
          the ease with which illegal items such as drugs find their way across borders
          implies that not only might the transition to a gun-free world be costly (if
          not impossible), but the transition might also take a long time.
              Further, not everyone will benefit equally from the abolition of guns.
          For example, criminals will still maintain a large strength advantage over
          many of their victims (such as women and the elderly). To the extent that
          guns are an equalizer, their elimination will strengthen criminals relative to
          physically weak victims. As we have seen in discussing international crime
          data, eliminating guns alters criminals’ behavior in other ways, such as
          reducing their fear of breaking into homes while the residents are there.
              All these discussions, of course, ignore the issues that led the found-
          ing fathers to put the Second Amendment in the Constitution in the first



                                         Exhibit 10
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          place—important issues that are beyond the scope of this book.14 They
          believed that an armed citizenry is the ultimate bulwark against tyrannical
          government. Possibly our trust in government has risen so much that we
          no longer fear what future governments might do. Having just fought a
          war for their independence against a government that had tried to confis-
          cate their guns, the founding fathers felt very strongly about this issue.


          What Can We Conclude?
          How much confidence do I have in these results? The largest previous study
          on gun control produced findings similar to those reported here but exam-
          ined only 170 cities within a single year. This book has examined over 54,000
          observations (across 3,000 counties for eighteen years) and has controlled
          for a range of other factors never accounted for in previous crime studies.
          I have attempted to answer numerous questions. For example, do higher
          arrest or conviction rates reduce crime? What about changes in other hand-
          gun laws, such as penalizing the use of a gun in the commission of a crime,
          or the well-known waiting periods? Do income, poverty, unemployment,
          drug prices, or demographic changes matter? All these factors were found
          to influence crime rates, but no previous gun study had accounted for
          changing criminal penalties, and this study is the first to look at more than
          a few of any of these other considerations.
              Preventing law-abiding citizens from carrying handguns does not end
          violence; it merely makes victims more vulnerable to attack. While people
          have strong views on either side of this debate, and one study is unlikely to
          end this discussion, the size and strength of my deterrence results and the
          lack of evidence that holders of permits for concealed handguns commit
          crimes should at least give pause to those who oppose concealed handguns.
          In the final analysis, one concern unites us all: Will allowing law-abiding
          citizens to carry concealed handguns save lives? The answer is yes, it will.




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                        9    Updating the Results in 2000

                            Updating the Basic Results
                            I started this research several years ago with
                            data from 1977 to 1992, all the county data that
                            were available at that time. When the book was
                            first published, I had updated the data through
                            1994. It is now possible to expand the data even
                            further, through 1996. This is quite important,
                            since so many states very recently have passed
                            right-to-carry laws. During 1994, Alaska, Ari-
                            zona, Tennessee, and Wyoming enacted new
                            right-to-carry laws, and during 1995, Arkansas,
                            Nevada, North Carolina, Oklahoma, Texas, and
                            Utah followed suit.1 Between 1977 and 1996 a to-
                            tal of twenty states had changed their laws and
                            had them in eﬀect for at least one full year.2
                                Some commentators complained that even
                            though my study was by far the largest statistical
                            crime study ever, there were simply not enough
                            data to properly evaluate the impact of the laws.
                            Others suspected that the findings were simply a
                            result of studying relatively unusual states.3 An-
                            other criticism was that poverty was not prop-
                            erly accounted for.4
                                While the methods I used in the 1998 edition
                            were by far the most comprehensive that I know
                            of, I have continued to look into other methods.
                            By putting together an entirely new data set—
                            using city-level information—it is possible to go
                            beyond my previous eﬀorts and to also control
                            for policing-policy variables such as arrest and

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                                1057 UPDATING THE RESULTS IN 2000 | 171

           conviction rates, number of police per-capita, expenditures on police per
           capita, and a proxy for the so-called broken-windows policing policy. The
           city-level data that I have now compiled include direct information on
           whether a city has adopted community policing, problem-oriented polic-
           ing, and / or the broken-windows approach.
              One of the commentators on my book suggested that in addition to
           year-to-year changes in the national crime rate as well as state and county
           crime trends, another way to account for crime cycles is by measuring
           whether the crime rates are falling faster in right-to-carry states than
           in other states in their region rather than compared to just the nation
           as a whole. While it is impossible to use a separate variable for each year
           for each individual state, because that would falsely appear to explain all
           the year-to-year changes in average crime rates in a state, it is possible to
           group states together. This new set of estimates would account not only for
           whether the crime rates in concealed-handgun states are falling relative to
           the national crime rate but now also for whether they are falling relative
           to the crime rates in their region. To do this, the country is divided into
           five regions (Northeast, South, Midwest, Rocky Mountains, and Pacific)
           and variables are added to measure the year-to-year changes in crime by
           region.5 All county- and city-level regressions will employ these additional
           control variables.
              Some have criticized my earlier work for not doing enough to account
           for poverty rates. As a response, I have incorporated in this section of the
           book state-level measures of poverty and unemployment rates in addition
           to all the county-level variables that accounted for these factors earlier in
           this book. The execution rates for murders in each state are now included
           in estimates to explain the murder rate. Finally, new data on the number
           of permits granted in diﬀerent states make it easier to link crime rates to
           the number of permits granted.


           Reviewing the Basic Results
           The central question is, How did crime rates change before and after the
           right-to-carry laws went into eﬀect? The test used earlier in this book ex-
           amined the diﬀerence in the time trends before and after the laws were
           enacted.6 With the extended data and the additional variables for the year-
           to-year changes in crime by region (so-called regional fixed year eﬀects),
           state poverty, unemployment, and death-penalty execution rates, table 9.1
           shows that this pattern closely resembles the pattern found earlier in the



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          book: violent-crime rates were rising consistently before the right-to-carry
          laws and falling thereafter.7 The change in these before-and-after trends was
          always extremely significant—at least at the 0.1 percent level. Compared
          to the results for tables 4.8 or 4.13, the eﬀects were larger for overall violent
          crimes, rape, robbery, and aggravated assaults and smaller for murder. For
          each additional year that the laws were in eﬀect, murders fell by an ad-
          ditional 1.5 percent, while rape, robbery, and aggravated assaults all fell by
          about by 3 percent each year. The other variables continued to produce
          results similar to those that were found earlier.8
              While no previous crime study accounts for year-to-year changes in
          regional crime rates, it is possible to go even beyond that and combine
          diﬀerent approaches. Including not only the factors accounted for in ta-
          ble 9.1 but also individual state time trends produces similar results. The
          annual declines in crime from right-to-carry laws are greater for murder
          (2.2 percent), rape (3.9 percent), and robbery rates (4.9 percent), while the
          impact on aggravated assaults (0.8 percent) and the property-crime rates
          (0.9 percent) is smaller.
              Figures 9.1–9.5 illustrate how the violent-crime rates vary before and
          after the implementation of right-to-carry laws when both the linear and
          squared time trends are employed. Despite expanding the data through
          1996 so that the legal changes in ten additional states could be examined,
          the results are similar to those previously shown in figures 4.5–4.9.9 As in
          the earlier results, the longer the laws are in eﬀect, the larger the decline
          in violent crime. The most dramatic results are again for rape and rob-
          bery rates, which were rising before the right-to-carry law was passed and
          falling thereafter. Robbery rates continued rising during the first full year
          that the law was in eﬀect, but the rate of increase slowed and began to
          fall by the second year. It is this continued increase in robbery rates which
          kept the violent crimes as a whole from immediately declining. While ag-
          gravated assaults were falling on average before the right-to-carry law was
          adopted, figure 9.5 shows that the rate of decline accelerated after the law
          went into eﬀect.

          What Determines the Number of Permits Issued and What Is the Net Beneﬁt from
          Issuing Another Permit?
          The Number of Permits
          The relationship between the percentage of the population with permits
          and the changes in crime rates is central to much of the debate over the
          right to carry. My previous work was based on the number of permits



                                          Exhibit 10
                                            0603
             Table 9.1 Reexamining the change in time trends before and after the adoption of nondiscretionary laws, using additional data for 1995 and 1996
                                                                                             Percent change in various crime rates for changes in explanatory variables
                                                                                             Violent                                                Aggravated       Property
                                                                                             crime        Murder        Rape           Robbery      assault          crime         Burglary      Larceny      Auto theft
             Change in the crime rate from the diﬀerence in the annual                       –2.3%*        –1.5%*       –3.2%*        –2.9%*        –3.0%*           –1.6%*        –2.5%*        –0.9%*       –2.1%*
              change in crime rates in the years before and after the




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              adoption of the right-to-carry law (annual rate of change
              after the law – annual rate of change before the law)




Exhibit 10
             Note: This table uses county-level violent and property-crime data from the Uniform Crime Report that were not available when I originally wrote the book. All regressions use weighted least squares, where
             the weighting is each county’s population. The regressions correspond to those in tables 4.8 and 4.13. The one diﬀerence from the earlier estimates is that these regressions now also allow the regional
             fixed eﬀects to vary by year.
             *The result is significant at the 1 percent level for a two-tailed t-test.
                                                                                                                                                                                                                            3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1616 Page
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                                                                                                             600




                             Number of violent crimes per 100,000 population
                                                                                                             500




                                                                                                             400




                                                                                                             300




                                                                               -10     -8    -6    -4   -2         0       2   4       6   8   10
                                                                                            Years before and after the adoption
                                                                                               of concealed-handgun laws

          Figure 9.1. The effect of concealed-handgun laws on violent crimes


                                                                                                               8




                                                                                                               7
                               Number of murders per 100,000 population




                                                                                                               6




                                                                                                               5




                                                                                                               4




                                                                                                               3




                                                                                 -10              -5                   0           5           10
                                                                                            Years before and after the adoption
                                                                                               of concealed-handgun laws

          Figure 9.2. The effect of concealed-handgun laws on murders




                                                                                                   Exhibit 10
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                                                                                                           40




                             Number of rapes per 100,000 population
                                                                                                           35




                                                                                                           30




                                                                                                           25

                                                                                     -10        -5              0          5       10
                                                                                             Years before and after the adoption
                                                                                                of concealed-handgun laws

          Figure 9.3. The effect of concealed-handgun laws on rapes


                                                                                                          140
                                        Number of robberies per 100,000 population




                                                                                                          120




                                                                                                          100




                                                                                                           80

                                                                                       -10       -5             0          5       10
                                                                                             Years before and after the adoption
                                                                                                of concealed-handgun laws

          Figure 9.4. The effect of concealed-handgun laws on robberies




                                                                                                      Exhibit 10
                                                                                                        0606
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                                                                                                        350




                              Number of aggravated assaults per 100,000 population
                                                                                                        300




                                                                                                        250




                                                                                                        200




                                                                                                        150


                                                                                     -10      -5              0         5        10
                                                                                           Years before and after the adoption
                                                                                              of concealed-handgun laws

          Figure 9.5. The effect of concealed-handgun laws on aggravated assaults



          issued for counties in Oregon and Pennsylvania as well as on discussions
          with various government oﬃcials on what types of counties issued the
          most permits. The comparison across states assumed that what created
          the diﬀerence in permit rates across counties also applied across states.
          Some more state-level data have now become available on permit rates,
          but such data are still relatively scarce. In addition to Florida, Oregon,
          and Pennsylvania, I have also acquired some annual permit-rate data up
          to 1996 for Alaska, Arizona, Oklahoma, South Carolina, Texas, Utah, and
          Wyoming, though these states had these rules in eﬀect for no more than a
          few years.
             While these data are limited on the number of permit holders, they
          allow us to examine what factors determine permitting rates, which in
          turn lets us link the permitting rate to changes in crime. Permit prices,
          the amount of training required to get a permit, the length of time that
          permitting rules have been in eﬀect, and the crime rate are all important
          factors in determining how many people will get permits. Permitting fees
          and prices charged for training courses are expected to reduce the number
          of permits issued, but another important cost of getting a permit is the time
          spent meeting the requirements. This is not to say that there are not also
          benefits from training (that is a separate issue), but in the narrow issue of



                                                                                                   Exhibit 10
                                                                                                     0607
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           how many permits will be issued, there is no doubt that longer training
           requirements discourage some people from getting permits.
               What permitting rules are in place largely depends upon when the laws
           were first enacted. States that adopted right-to-carry laws more recently
           tend to have more restrictive licensing requirements. For example, the
           three states (Alaska, Arizona, and Texas) requiring at least ten hours of
           training adopted their rules during the last few years of the sample, and
           Arizona is the only right-to-carry state that requires additional training
           when permits are renewed. Six of the eight states with permitting fees of
           at least $100 have also enacted the law during the last few years. This raises
           the concern that the drops in crime from the passage of right-to-carry laws
           may be smaller in the states that have most recently adopted these laws
           simply because they have issued fewer permits.
               Based on state-level data, table 9.2 shows the impact of permit fees,
           training requirements, and how long (in years) the law has been in eﬀect.
           Because the evidence indicates that the number of new permits is likely
           to trail oﬀ over time, the estimates include both the number of years the
           law has been in eﬀect and the number of years squared. Fees and training
           requirements were first investigated without square terms. Notice that only
           a small fraction of the population gets permits, ranging from less than
           1 percent to 6 percent. With that in mind, the regression results show that
           for each $10 increase in fees, the population getting permits is reduced by
           about one half of a percentage point. And requiring five hours of training
           (rather than none) reduces the number of permits by about two-thirds of
           a percentage point. In a typical state without any fees or training require-
           ments, the percentage of the population with permits would grow from
           about 3 percent to a little less than 6 percent after a decade.
               I also ran more complicated specifications including squared terms for
           fees and training requirements. They gave similar results: fees discourage
           people from obtaining permits over almost the entire range (until fees go
           over $130, which is near the highest fee in the sample—$140 for Texas).

           Table 9.2 What determines the rate at which people obtain permits?
                                                                                             5 years after the   10 years after the
                                                                               5-hour        law has passed,     law has passed,
                                                                               increase      assuming no         assuming no
                                                            $10 increase       in training   fee or training     fee or training
                                                            in permit fee      requirement   requirement         requirement
           Percentage of the state population               –.5%*              –.6%*         4.8%*               6.1%*
             with permits
           *The result is significant at the 1 percent level for a two-tailed t-test.




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          Anecdotal evidence from newspapers indicates that yet another factor is
          important: the fear of an attack. Thus, crime and multiple-victim public
          shootings increase gun sales and concealed-handgun permits.10 Other vari-
          ables, such as violent-crime rates, murder rates, the number of multiple-
          victim public shootings, or the death rate from those attacks, are also im-
          portant for determining how many people get permits, but they do not
          alter the impact of the previously mentioned variables. Each additional
          multiple-victim public shooting increases a state’s number of permits by
          about two-tenths of a percentage point, and each additional person who
          is killed in such a shooting per 1 million people living in a state increases
          handgun permits by one-tenth of a percentage point.

          The Crime Rate and the Estimated Number of Concealed Handguns
          The above estimates allow us to revisit the impact of permits and crime
          rates. While the time-series data on permits issued in diﬀerent states cov-
          ers a relatively limited number of years, we do have detailed information
          on the factors that help determine the number of permits (the fees, train-
          ing requirements, and how long the law has been in eﬀect). The results
          from the specification shown in table 9.2 were used to construct “predicted
          values.” Constructing a predicted percentage of a state’s population with
          permits allows us to do more than relying on how crime rates change over
          time or on the anecdotal evidence I obtained from surveying diﬀerent state
          permitting agencies.
             These new results using state-level data, shown in table 9.3, indicate that
          violent-crime rates fell across the board as more permits were issued, with
          the largest drop occurring for robberies. These results correspond closely
          to the diagrams reported in figures 4.6–4.9 and 7.1–7.4, which indicate that
          robberies and rapes are most dramatically aﬀected by the number of years
          that right-to-carry laws are in eﬀect. The coeﬃcients imply that for every
          1,000 additional people with permits, there are 0.3 fewer murders, 2.4 fewer
          rapes, 21 fewer robberies, and 14.1 fewer aggravated assaults.11 On the other
          hand, with the exception of burglary, property crime remained statistically
          unchanged as more people obtained permits.
             Would society benefit from more people getting permits? As already
          noted, obtaining a permit costs money and takes time. Carrying around a
          gun is also inconvenient, and many states impose penalties if the gun does not
          remain concealed.12 On the positive side, permit holders benefit from hav-
          ing the gun for protection and might also come to the rescue of others. But
          perhaps just as important are the benefits to general crime deterrence pro-



                                           Exhibit 10
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           duced by concealed-carry laws, for they also help protect others indirectly,
           as criminals do not know which people can defend themselves until they
           attack. This raises the real risk that too few people will get permits, as permit
           holders personally bear all these costs but produce large benefits for others.
               Whether too few permits are being issued depends on how the crime
           rate changes as more and more permits are issued and whether it is the
           permit holder or the general public who primarily reaps the benefit from
           more concealed carry.
               The impact of increasing the number of permits on crime is shown in
           table 9.3, column 1. However, the impact does not need to be constant as
           more people get permits. Indeed, there may well exist what economists call
           “diminishing returns”—that is, the crime-reducing benefits from another
           person getting a permit falls as more people get permits. The reason behind
           this is twofold: first, those most at risk could be the first to get permits;
           second, once one adult in a public setting (e.g., a store) has a concealed
           handgun, the additional benefit from a second or third person being armed
           should be relatively smaller.
               But it is also conceivable that the probability that a victim can defend
           herself must rise above a certain threshold before it does much to discourage
           criminals. For instance, if only a few women brandish guns, a would-be rapist
           may believe that a defensive use is simply an exception and go after another
           woman. Perhaps if a large enough percentage of women defend themselves,
           the would-be rapist would decide that the risk to himself is too high.
               One can test for diminishing returns from more permits by using a
           squared term for the percentage of the population with permits. The re-
           sults (shown in column 2) indicate that right-to-carry states experience
           additional drops in all the violent-crime categories when more permits
           are issued. For murder, rape, and robbery, all states experience further re-
           ductions in crime from issuing more permits, though diminishing returns
           appear for murder and aggravated assault. (Only one state—Pennsylva-
           nia—approaches the number of permits beyond which there would be
           little further reduction in aggravated assaults from issuing more permits.)
           An important word of caution is in order here. These particular estimates
           of the percentage of the population that minimizes crime are rather specu-
           lative, because they represent predictions outside the range for which ob-
           served permit levels are available. (We thus cannot use these results to pre-
           dict with confidence what would happen if a state got up to, say, 8 percent
           having permits.) Still, there is little doubt that issuing additional permits
           beyond what we have today lowers crime.



                                           Exhibit 10
                                             0610
             Table 9.3 Using the predicted percent of the population with permits to explain the changes in different crime rates for state data
                                                                                                                                                                Number by which total crimes are reduced when an
                                               One-percentage-point change                                                                                      additional 1 percent of the population obtains permits
                                               in the share of the state                Pattern when a quadratic term is added for the percent of the           in 1996, using the estimates from column 1 for states
                                               population with permits                  population with permits                                                 that had a right-to-carry law in effect by that year
                                               (1)                                      (2)                                                                     (3)
             Violent crime                     –7%*                                     Drop reaches its maximum when 23% of the
                                                                                         population has permits
             Murder                            –4%****                                  Drop reaches its maximum when 8% of the                                 432 lives saved
                                                                                         population has permits
             Rape                              –7%*                                     Drop is increasing at an increasing rate as more                        3,862 fewer rapes
                                                                                         people get permits
             Robbery                           –13.6%*                                  Drop tapers oﬀ, but so slowly that it is still falling                  35,014 fewer robberies
                                                                                         when 100 percent of the population has permits




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             Aggravated assault                –5%**                                    Drop reaches its maximum when 6 percent of the                          28,562 fewer aggravated assaults
                                                                                                                                                                                                                                                         1057




                                                                                         population has permits




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             Property crime                    –2.6%****                                Drop continues at a constant rate
             Burglary                          –10%*                                    Drop is increasing at an increasing rate as more                        144,227 fewer burglaries
                                                                                         people get permits
             Larceny                          –.6%                                      No significant pattern                                                  27,922 fewer larcenies
             Auto theft                       –3%                                       Drop reaches its maximum when 3 percent of the                          21,254 fewer auto thefts
                                                                                         population has permits
             Note: Using the National Institute of Justice estimates of what crime costs victims to estimate the net savings from 1 percent more of the population obtaining permits (or of each additional permit) in
             1998 dollars, the cost is reduced by $3.45 billion ($2,516 per permit).
             *The result is significant at the 1 percent level for a two-tailed t-test.
             **The result is significant at the 5 percent level for a two-tailed t-test.
             ****The result is significant at the 15 percent level for a two-tailed t-test.
                                                                                                                                                                                                                         3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1623 Page
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               Chapter 5 employed county-level permit data from Oregon and Penn-
           sylvania and used the estimated victimization costs from the National In-
           stitute of Justice to determine the net benefit to society from issuing an
           additional permit. Similar estimates can be made for the thirty-one states
           issuing permits in 1996: each one-percentage-point increase in the popula-
           tion obtaining permits is associated with a $3.45 billion annual net saving
           to crime victims (in 1998 dollars). Each additional permit produces a total
           societal benefit of $2,500 per year. While this estimate is smaller than my
           earlier figures for Oregon and Pennsylvania, the total benefits greatly ex-
           ceed the total costs of getting a permit. In other words, the numbers suggest
           that not enough permits are being issued.
               The results also indicate that permitting fees are highly detrimental.
           For each $10 increase in fees, the percentage of the population with per-
           mits falls by one half of one percentage point. For the thirty-one states
           with right-to-carry laws, this increases victimization costs by $1.7 billion.
           The large eﬀect from higher permitting fees might be due to the poorest
           and most vulnerable being especially discouraged from obtaining a permit.
           Blacks living in higher-crime urban areas benefit disproportionately from
           concealed-handgun permits. High fees are more likely to deter individuals
           from carrying guns when those individuals are poor. When fees are high,
           there may be a smaller crime-reduction benefit from right-to-carry laws
           even if the same percentage of the population were to obtain permits.
               To test this, I reestimated the relationship between predicted permits
           and crime by also including the direct impact of permit fees on the crime
           rate.13 The regressions for violent crime, murder, robbery, and aggravated
           assault all indicate that, holding constant the percentage of the population
           with permits, higher fees greatly reduce the benefit from right-to-carry
           laws. For example, the drop in robberies from one percent of the popula-
           tion having permits is about two percentage points smaller when the fee is
           raised from $10 to $50.


           Updating the Evidence on Who Beneﬁts from Permits
           While the preceding results relied on state-level data, we know from pre-
           vious work (already presented in this book) that diﬀerent parts of states
           obtained greatly varying benefits from issuing permits. This finding is con-
           firmed with the new, updated data. But I will here discuss a somewhat
           diﬀerent specification, linking the changes in crime more closely to the
           issuing of more permits. The percentage of the population with permits



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                                                                Violent   Murder      Rape      Robbery   Aggravated
            Percent change in crime rate with respect            crime                                      assault
             to differences in the percent of a county     0                                                           1/2 Mean population that is
                 that is older than 64 years of age                                                                    over 64 years old (0.071535)
                                                          –2                                                           Mean population that is
                                                                                                                       over 64 years old (0.14307)
                                                          –4
                                                                                                                       Mean population that is
                                                                                                                       over 64 years old plus one
                                                          –6
                                                                                                                       standard deviation (0.1842)

                                                          –8                                                           Mean population that is
                                                                                                                       over 64 years old plus two
                                                                                                                       standard deviations (0.2254)
                                                         –10

                                                         –12

                                                         -14

                                                          16
                                                                             Violent-crime categories

          Figure 9.6. How does the change in crime from nondiscretionary concealed-handgun laws occur in counties
          with relatively more people over age sixty-four?



                                                                Violent   Murder     Rape       Robbery   Aggravated
                                                                 crime                                      assault
                                                           0                                                           1/2 Mean population density
           respect to differences in a county’s




                                                                                                                       per square mile (82)
                                                         –0.5
            Percent change in crime rate with




                                                                                                                       Mean population density
                                                          –1                                                           per square mile (163.9)

                                                         –1.5                                                          Mean population density
                   population density




                                                                                                                       per square mile plus one
                                                          –2                                                           standard deviation (703)

                                                         –2.5                                                          Mean population density
                                                                                                                       per square mile plus two
                                                          –3                                                           standard deviations (1,242)

                                                         -3.5
                                                           -4
                                                         -4.5
                                                           -5
                                                                             Violent-crime categories

          Figure 9.7. How does the change in crime from nondiscretionary concealed-handgun laws occur in the most
          densely populated counties?



          is interacted with the percentage of the adult population in a county that
          is over sixty-four years of age, the population density per square mile, the
          percentage that is black, the percentage that is female, and per-capita per-
          sonal income. The earlier interactions in chapter 4, reported with county
          population, are skipped over here because they again produce results that
          are extremely similar to the regressions with an interaction for popula-
          tion density.14
              The results reported in figures 9.6–9.9 are all quite statistically signif-
          icant and imply the same pattern reported earlier when using the data
          through 1992. The benefits of right-to-carry laws are not uniform across
          counties. Counties with a high portion of elderly people, blacks, and



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                                                                                       0613
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                                                                      Violent     Murder     Rape       Robbery     Aggravated
                                                                       crime                                          assault
                                                             0                                                                     1/2 Mean population

             of a county’s population that is black
             respect to differences in the percent                                                                                 that is black (4.4)
              Percent change in crime rate with

                                                         -2                                                                        Mean population
                                                                                                                                   that is black (8.8)
                                                                                                                                   Mean population
                                                         -4                                                                        that is black plus one
                                                                                                                                   standard deviation (23)

                                                         -6                                                                        Mean population
                                                                                                                                   that is black plus two
                                                                                                                                   standard deviations (37.2)
                                                         -8

                                                      -10

                                                      -12
                                                                                     Violent-crime categories

           Figure 9.8. How does the change in crime from nondiscretionary concealed-handgun laws vary with the
           percentage of a county’s population that is black?



                                                                        Violent    Murder       Rape      Robbery     Aggravated
                                                                         crime                                          assault
                                                                 0                                                                    1/2 Mean per-capita
                                                                                                                                      income ($5,605)
                         Percent change in crime rate with
                          respect to differences in county




                                                                 -2                                                                   Mean per-capita
                                                                                                                                      income ($11,210)
                                                                 -4                                                                   Mean per-capita
                                 per-capita income




                                                                                                                                      income plus one
                                                                 -6                                                                   standard deviation
                                                                                                                                      ($13,787)
                                                                                                                                      Mean per-capita
                                                                 -8
                                                                                                                                      income plus two
                                                                                                                                      standard deviations
                                                             -10                                                                      ($16,364)


                                                             -12

                                                             -14
                                                                                       Violent-crime categories

           Figure 9.9. How does the change in crime from nondiscretionary concealed-handgun laws vary with county
           per-capita income?



           females—the most vulnerable victims—all benefit disproportionately
           more from concealed-handgun laws. So do those living in counties that
           are densely populated.
              Certain crime patterns do emerge. For example, in counties with many
           elderly people (23 percent of the population over age sixty-four) right-
           to-carry laws have a large deterrent eﬀect against aggravated assaults and
           robberies but seem to have a relatively small eﬀect on rapes. In contrast,
           counties with few elderly individuals (7 percent of their population over
           sixty-four years of age) have only about a third of the drop in violent crime
           that counties with many elderly people have. Heavily black areas benefit the
           most through reductions in robberies and rapes, while areas where women



                                                                                             Exhibit 10
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          make up a larger share of the population and those living in the wealthiest
          areas obtain the largest benefits from drops in aggravated assaults and rapes.
          The benefit for blacks is very large. Increasing the percentage of the black
          population in a county from half the mean (4.4 percent) to two standard
          deviations above the mean (37 percent) increases the reduction in violent
          crime from right-to-carry laws from about one percentage point to over
          seven percentage points.
              Unlike the earlier data presented in chapter 4, which represented crime
          through 1992, not all the states adopting right-to-carry laws during 1993–
          1996 moved from a discretionary to a nondiscretionary law. Some states had
          previously prohibited the carrying of concealed handguns. This is important
          because one of the reasons that I examined the interactions of population
          or population density with right-to-carry laws was that state government
          oﬃcials had told me that under a discretionary system lower-population
          counties had already tended to be more liberal in granting permits. Higher-
          population counties were thus expected to experience the largest increase
          in issuing permits and thus the largest drops in violent crime after a non-
          discretionary system was adopted. In fact, I find that the more populous
          counties in states changing from discretionary to nondiscretionary laws
          had a statistically bigger relative drop in violent-crime rates than states that
          changed from banning concealed handguns to nondiscretionary laws.
              These updated results confirm my earlier findings that those who are
          relatively weaker physically (women and the elderly) and those who are
          most likely to be crime victims (blacks and those living in urban areas)
          tend to benefit the most from the passage of right-to-carry laws. Taken
          together, these results indicate that legislators should be sensitive not only
          to the costs of running the permitting program, but also to how the rules
          aﬀect the number and types of people who get permits. Focusing only on
          setting fees to recoup the costs of the permitting system will end up being
          financially short sighted.


          How Sensitive Are the Results to Different Speciﬁcations?
          While I have tried to control for all sorts of factors that might explain
          changes in crime over time, it is indeed possible to get overzealous and
          account for too many variables. Including variables that do not really aﬀect
          crime can actually create problems similar to excluding factors that should
          be included. Take a simple example of explaining how the stock market,
          say the Dow Jones industrials, changes over time. Obvious variables to in-



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           clude would be the interest rate and the expected growth in the economy,
           but many other variables—many of dubious importance—could possibly
           also be included. The problem arises when such variables are correlated
           to changes in stock prices merely by chance. An extreme case would be
           including the prices of various grocery store products. A store might sell
           thousands of items, and one—say, the price of peanut butter—might hap-
           pen to be highly correlated with the stock prices over the particular period
           examined. We know that peanut butter has little to do with explaining
           overall stock prices, but if it just accidentally happens to move up and down
           with the movements in the stock market, other variables (like the interest
           rate) may no longer prove to be statistically significant.
               There are ways to protect against this “dubious variable” problem. One
           is to expand the sample period. If no true causal relationship exists between
           the two variables, the probability that this coincidence will continue to oc-
           cur during future years is low. And this is exactly what I have done as more
           data have become available: first by looking at data through 1992, then ex-
           tending them to 1994, and in the second edition up until 1996. Another ap-
           proach guarding against the “dubious variable” problem is to replicate the
           same test in many diﬀerent places. Again, this is exactly what I have done
           here: I have studied the impact of right-to-carry laws in diﬀerent states at
           diﬀerent times. As charged by many a critic, it is still conceivable that some
           other factor just happened to occur also when an individual state passed
           the law, but the probability of mere coincidence falls as the experiences of
           more and more states are examined. It is also possible that adding variables
           that don’t belong can cause you to get a more significant result for other
           factors than is warranted.
               Generally, excluding variables that should be included is a more signifi-
           cant problem than including variables that should not be included, and in
           general I have tried to err on the side of including whatever possible factors
           can be included. Indeed, a strong case can be made that one must be care-
           ful not to include too many variables like state time trends, which can be
           endlessly added on and have little theoretical justification. Still, I do not
           consider any of these variables to be similar to the price of peanut butter
           at the local grocery store in the previous discussion, but obviously some
           researchers might believe that some variables should not be included. One
           way to investigate this issue is to include only those variables that diﬀer-
           ent investigators view as relevant. In the early stages of my research, when
           I presented my original research as a working paper at seminars, I asked
           participants for other factors that should be included, and some of their



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          comments were very helpful. I also tried in vain to ask pro-gun-control
          researchers what variables they wanted me to include in the regressions,
          but (as discussed in chapter 7) they did not make any suggestions when my
          initial research was circulated for comments. What comments they made
          after the publicity broke claimed that I had not controlled for factors that
          I had indeed accounted for.
             Since the original research immediately received a lot of attention, I
          have let my critics decide for themselves what variables should be included
          by simply giving them complete access to the data. I know from personal
          communication that some critics (such as Black and Nagin) did indeed
          examine numerous diﬀerent specifications.15
             A more systematic, if time-consuming, approach is to try all possible
          combinations of these so-called control variables—factors which may be
          interesting but are included so that we can be sure of the importance of
          some other “focus” variables.16 In my regressions to explain crime rates
          there are at least nine groups of control variables—population density,
          waiting periods and background checks, penalties for using guns in the
          commission of a crime, per-capita income, per-capita unemployment in-
          surance payments, per-capita income maintenance payments, retirement
          payments per person for those over sixty-five, state poverty rate, and state
          unemployment rate.17 To run all possible combinations of these nine
          groups of control variables requires 512 regressions. The regressions for
          murder rates also require a tenth control variable for the death-penalty
          execution rate and thus results in 1,024 combinations of control variables.
          Given the nine diﬀerent crime categories, this amounts to 5,120 regressions.
             This approach is decidedly biased toward not finding a consistent eﬀect
          of the right-to-carry laws, because it includes many combinations of con-
          trol variables that no researcher thinks are correct specifications. Indeed,
          even the strongest, best-accepted empirical relationships usually fail this
          test.18 Since diﬀerent people will have diﬀerent preferences for what vari-
          ables should be included, this massive set of results makes sense only if
          one knows what variables produce what results. If a range of conflicting
          estimates are then produced, people can judge for themselves what they
          think the “true” range of the estimates is.
             Two sets of variables have been primarily used to test the impact of right-
          to-carry laws: crime trends before and after the adoption of right-to-carry
          laws and the percentage of people with permits. Yet another division is
          possible by focusing on counties with a large number of people to avoid
          the diﬃculty that low-population counties frequently have zero murder



                                         Exhibit 10
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           or rape rates and thus have “undefined” arrest rates.19 Eliminating counties
           with fewer than 20,000 people removes about 70 percent of the missing ar-
           rest ratios for murder while sacrificing 20 percent of the observations (the
           population-weighted frequencies are 23 and 6 percent, respectively). Drop-
           ping out more populous counties reduces the sample size but has virtually
           no impact on further reducing the frequency of missing arrest rates. Even if
           I limit the estimates to the full sample and counties with more than 20,000
           people, combining that with the two other types of specifications results in
           20,480 regressions. Because of all the concerns over possible crime trends,
           all estimates include variables to account for the average diﬀerences across
           counties and years as well as by year within region as well as the thirty-six
           demographic variables.20
               Figures 9.10–9.13 present the range of estimates associated with these
           diﬀerent combinations of variables and specifications, both in terms of
           their extreme bounds and their median value. What immediately stands
           out when one examines all these estimates is how extremely consistent the
           violent-crime results are. For example, take figure 9.10. A one-percentage-
           point change in people with permits lowers violent-crime rates by 4.5–7.2
           percent. Indeed, all the estimates (over two thousand of them) for overall
           violent crime, murder, rape, robbery, and aggravated assault indicate that
           increases in permits reduce crime. All the combinations of the other ten
           sets of control variables imply that a one-percentage-point increase in the
           population holding permits reduces murder rates by 2–3.9 percent annu-
           ally. Compared to the state-level data, the benefits from right-to-carry laws
           are much smaller for robbery and much larger for aggravated assaults.
               Figure 9.11 uses the simple before-and-after trends to examine the im-
           pact of the right-to-carry laws, and the results for the violent-crime rates
           are generally consistent with those shown in figure 9.10. Again, all the
           violent-crime-rate regressions show the same direction of impact from the
           concealed-handgun law. The median estimated declines in violent-crime
           rates are quite similar to those initially reported in table 9. 1. For each ad-
           ditional year that the right-to-carry laws are in eﬀect, violent crimes decline
           by 2.4 percent, murders by 1.6 percent, rapes and aggravated assaults by over
           3 percent, and robberies by 2.7 percent.
               With the notable exception of burglaries, which consistently decline,
           figures 9.10 and 9.11 provide mixed evidence for whether right-to-carry
           laws increase or decrease other property crimes. Even when one focuses on
           estimates of one type, such as those using the percentage of the population
           with permits, the county- and state-level data yield inconsistent results. Yet,



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          Figure 9.10. Sensitivity of the relationship between the percentage of the population with permits and an-
          nual changes in crime rates: data for all counties




          Figure 9.11. Sensitivity of the relationship between right-to-carry laws and annual changes in crime rates:
          data for all counties




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          Figure 9.12. Sensitivity of the relationship between the percentage of the population with permits and
          annual changes in crime rates: data for counties with either more than 20,000 people or more than 100,000
          people (all individual crime categories—that is, all categories except “violent crime”—are for counties with
          more than 20,000 people)




          Figure 9.13. Sensitivity of the relationship between right-to-carry laws and annual changes in crime rates:
          data for counties with either more than 20,000 people or more than 100,000 people (all individual crime
          categories—that is, all categories except “violent crime”—are for counties with more than 20,000 people)


                                                      Exhibit 10
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          while the net eﬀect of right-to-carry laws on larceny and auto theft is not
          clear, one conclusion can be drawn: the passage of right-to-carry laws has
          a consistently larger deterrent eﬀect against violent crimes than property
          crimes and may even be associated with increases in property crimes.
              Figures 9.12 and 9.13 limit the sample to the more populous counties and
          continue reaching very similar results. For counties with more than 20,000
          people, the estimate ranges are always of the same sign and have magni-
          tudes similar to those results which examined all the counties. Both figures
          also looked at the sensitivity of the overall violent-crime rate for counties
          over 100,000. The range of estimates was again very similar, though they
          implied a slightly larger benefit than for the more populous counties. For
          example, figure 9.12 shows that in counties with more than 20,000 people,
          violent crime declines by between 5.4 and 7.4 percentage points for each
          additional 1 percent of the population with permits, while the analogous
          drop for counties with more than 100,000 people is between 5.8 and 8.7
          percentage points.
              A total of 13,312 regressions for the various violent-crime categories are
          reported in this section. The evidence clearly indicates that right-to-carry
          laws are always associated with reductions in violent crime, and 89 percent
          of the results are statistically significant at least at the 1 percent level. The
          results are not sensitive to including particular control variables and always
          show that the benefits from these laws increase over time as more people
          obtain permits. The 8,192 regressions for property crime imply a less con-
          sistent relationship between right-to-carry laws and property crime, but
          even when drops in property crime are observed, the declines are smaller
          than the decrease in violent crime.
              While limiting the sample size to only larger-population counties pro-
          vides one possible method of dealing with “undefined” arrest rates, it has
          a serious drawback—information is lost by throwing out those counties
          with fewer than 20,000 people. Another approach is to control for either the
          violent- or property-crime arrest rate depending upon whether the crime
          rate being studied is that of violent or property crime. Even if a county has
          zero murders or rapes in a particular year, virtually all counties have at least
          some violent or property crime, thus eliminating the “undefined” arrest
          rate problem and still allowing us to account for county-level changes over
          time in the eﬀectiveness of law enforcement. This approach also helps miti-
          gate any spurious relationship between crime and arrest rates that might
          arise because the arrest rate is a function of the crime rate. Reestimating
          the 4,096 regressions in figure 9.10 for murder, rape, robbery, aggravated



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           assault, auto theft, burglary, and larceny with this new measure of arrest
           rates again produces very similar results.


           City Crime Data
           County data, rather than city data, allow the entire country to be exam-
           ined. This is important, since, obviously, not everyone lives in cities. Such
           data further allow us to deal with diﬀerences in how permits are issued,
           such as the discretion states grant to local law enforcement. Relying on
           county data allows a detailed analysis of many important factors, such as
           arrest and conviction rates, the number of police, expenditures on police,
           (sometimes) prison sentences, and proxies for policing policies like the so-
           called broken-windows strategy (according to which police focus on less
           serious property crimes as a means of reducing overall violent crime). Yet
           a drawback with county data is that policing policies cannot be dealt with
           well, for such policy decisions are made at the level of individual police
           departments—not at the county level.21 With a few exceptions such as San
           Francisco, Philadelphia, and New York, where county and city boundaries
           coincide, only city-level data can be used to study these issues.
               The focus of my research is guns and crime, but I had to make sure
           that I accounted for whatever policing policies are being employed.22
           Three policing strategies dominate the discussion: community-oriented
           policing, problem-oriented policing, and the broken-windows approach.
           While community-oriented policing is said to involve local community
           organizations directly in the policing eﬀort, problem-oriented policing is
           sometimes viewed as a less intrusive version of the broken-windows policy.
           Problem-oriented policing began as directing patrols on the basis of identi-
           fied crime patterns but nowadays involves the police in everything from
           cleaning housing projects and surveying their tenants to helping citizens
           design parking garages to reduce auto theft.23 An extensive Westlaw data-
           base search was conducted to categorize which cities adopted which polic-
           ing strategies as well as their adoption and rescission dates.24
               Other recent research of mine demonstrates the importance of racial and
           gender hiring decrees on the eﬀectiveness of police departments.25 When
           hiring rules are changed so as to create equal pass rates on hiring exams
           across diﬀerent racial groups—typically by replacing intelligence tests with
           what some claim are arbitrary psychological tests—the evidence indicates
           that the quality of new hires falls across the board. And the longer these new
           hiring policies are in place, the more detrimental the eﬀect on police de-



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          partments. As with the right-to-carry laws, simple before-and-after trends
          were included to measure the changing impact of these rules over time.
              Let us return to the main focus, guns and crime. To examine the impact
          of right-to-carry laws, the following list of variables has been accounted
          for: city population, arrest rate by type of crime, unemployment rate,
          percentage of families headed by females, family poverty rate, median
          family income, per-capita income, percentage of the population living be-
          low poverty, percentage of the population that is white, percentage that
          is black, percentage that is Hispanic, percentage that is female, percent-
          age that is less than five years of age, percentage that is between five and
          seventeen, percentage that is between eighteen and twenty-five, percent-
          age that is between twenty-six and sixty-four, percentage that is sixty-five
          and older, median population age, percentage of the population over age
          twenty-five with a high school diploma, percentage of the population
          over age twenty-five with a college degree, and other types of gun-control
          laws (waiting periods, background checks, and additional penalties for us-
          ing guns in the commission of a crime). As with the earlier county- and
          state-level data, variables are included to measure the length of state wait-
          ing periods, as well as the change in average crime rates from state waiting
          periods, background checks, penalties for using a gun in the commission of
          crime, and whether the federal Brady law altered existing state rules. Again,
          all estimates include variables to account for the average diﬀerences across
          counties and years as well as by year within region.
              Table 9.4 provides strong evidence that even when detailed informa-
          tion on policing policies is taken into account, passing concealed-handgun
          laws deters violent crime. The benefit in terms of reduced murder rates is
          particularly large, with a drop of 2.7 percent each additional year that the
          right-to-carry law is in eﬀect. The drop experienced for rapes is 1.5 percent
          per year. The one violent crime for which the decline is not statistically
          significant is aggravated assault. On the other hand, property crimes in-
          crease after the adoption of right-to-carry laws, confirming some of the
          earlier findings.
              Consent decrees—which mandate police hiring rules that ensure equal
          pass rates by race and sex—significantly and adversely aﬀect all crime cat-
          egories but rape. For each additional year that the consent decree is in
          eﬀect, overall violent crimes rise by 2.4 percent and property crimes rise
          by 1.9 percent.
              The evidence for the before-and-after average crime rates for the diﬀer-
          ent types of policing policies is more mixed, and my research does not



                                         Exhibit 10
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             Table 9.4 Accounting for policing policies using city-level data
                                                                                            Percent change in various crime rates for changes in explanatory variables
                                                                                            Violent                                                    Aggravated      Property
                                                                                            crime        Murder           Rape            Robbery      assault         crime      Burglary   Larceny    Auto theft
             Change in the crime rate from the diﬀerence in the                             –1.2%**       –2.7%*           –1.5%**       –1.0%*       –0.6%             0.92%**    1.0%*       0.7%**    1.2%**
              annual change in crime rates in the years before and
              after the adoption of a right-to-carry law (annual
              rate of change after the law – annual rate of change
              before the law)
             Change in the crime rate after imposition of a consent                          2.4%*          0.4%***        –0.27%          3.5%*        1.4%*           1.9%*      2.4%*       2.0%*     0.5%**
              decree regarding the hiring of police oﬃcers
             Change in the average crime rate after implementation                          –3.3%a          2.2%           –4.9%a        –1.7%b       –2.5%b            1.6%a     –1.2%c       2.5%a     7.7%a
              of community policing
             Change in the average crime rate after implementation                           2.4%         –4.1%            –4.5%           3.6%         2.6%            1.8%      –1.8%       –2.7%     24.9%a
              of problem-oriented policing




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             Change in the average crime rate after implementation                          –0.8%           6.7%c        –10.1%a         –3.8%          2.3%          –6.4%a      –5.6%a     –12.3%a    18.2%a




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              of broken-window policing
             Average crime rate after adoption of one-gun-a-month                            9.3%         14.7%d            6.8%           7.9%d      15.8%c          –0.6%        2.7%       –4.9%     11%
              purchase rule
             Change in the average crime rate in a state after a                             9.6%a        18.4%a           11.9%           4.1%       17.2%a          13%a        10.6%b      14.3%c    11%c
              neighboring state adopts a one-gun-a-month rule
             a
              The result is significant at the 1 percent level for a two-tailed t-test.
             b
              The result is significant at the 5 percent level for a two-tailed t-test.
             c
              The result is significant at the 10 percent level for a two-tailed t-test.
             d
               The result is significant at the 12 percent level for a two-tailed t-test.
             *The F-test is significant at the 1 percent level.
             **The F-test is significant at the 5 percent level.
             ***The F-test is significant at the 10 percent level.
                                                                                                                                                                                                                     3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1636 Page
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          attempt to deal with issues of why the diﬀerent rules were adopted to be-
          gin with.26 In ten cases, the policing policies produce significant reductions
          in crime, but in six cases there are significant increases in crime. Including
          cases that are not statistically significant still produces no consistent pat-
          tern: the policing policies are associated with declines in crime in fifteen
          cases and increases in twelve cases. A possible explanation for such results
          might be that adopting new policing policies reallocates resources within
          the police department, causing some crime rates to go down while others
          go up. Indeed, each of the three policing policies is associated with increases
          in some categories of crime and decreases in others. It is diﬃcult to pick
          out many patterns, but community policing reduces violent crimes at the
          expense of increased property crimes.


          Revisiting Multiple-Victim Public Shootings
          Student eyewitnesses and shooting victims of the Pearl High School (Mississippi) rampage
          used phrases like “unreal” and “like a horror movie” as they testified Wednesday about
          seeing Luke Woodham methodically point his deer rifle at them and pull the trigger at
          least six times. . . . The day’s most vivid testimony came from a gutsy hero of the day. As-
          sistant principal Joel Myrick heard the initial shot and watched Woodham choosing his
          victims. When Woodham appeared headed for a science wing where early classes were al-
          ready under way, Myrick ran for his pickup and grabbed his .45-caliber pistol. He rounded
          the school building in time to see Woodham leaving the school and getting into his moth-
          er’s white Chevy Corsica. He watched its back tires smoke from Woodham’s failure to
          remove the parking brake. Then he ordered him to stop. “I had my pistol’s sights on him.
          I could see the whites of his knuckles” on the steering wheel, Myrick said. He reached into
          the car and opened the driver-side door, then ordered Woodham to lie on the ground. “I
          put my foot on his back area and pointed my pistol at him,” Myrick testified.27

          Multiple-victim public shootings were not a central issue in the gun de-
          bate when I originally finished writing this book in the spring of 1997. My
          results on multiple-victim public shootings, presented in chapter 5, were
          obtained long before the first public school attacks occurred in October
          1997. Since that time, two of the eight public school shootings (Pearl, Mis-
          sissippi, and Edinboro, Pennsylvania) were stopped only when citizens with
          guns interceded.28 In the Pearl, Mississippi, case, Myrick stopped the killer
          from proceeding to the nearby junior high school and continuing his at-
          tack there. These two cases also involved the fewest people harmed in any
          of the attacks. The armed citizens managed to stop the attackers well before



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           the police even had arrived at the scene—4½ minutes before in the Pearl,
           Mississippi, case and 11 minutes before in Edinboro.
               In a third instance, at Columbine High School in Littleton, Colorado,
           an armed guard was able to delay the attackers and allow many students
           to escape the building, even though he was assigned to the school because
           he had failed to pass his shooting proficiency test. The use of homemade
           grenades, however, prevented the guard from fighting longer. There is
           some irony in Dylan Klebold, one of the two killers, strongly opposing the
           proposed right-to-carry law that was being considered in Colorado at the
           time of the massacre.29 In the attack on the Jewish community center in Los
           Angeles in which five people were wounded, the attacker had apparently
           “scouted three of the West Coast’s most prominent Jewish institutions—
           the Museum of Tolerance, the Skirball Cultural Center and the University
           of Judaism—but found security too tight.”30
               It is remarkable how little public discussion there has been on the topic
           of allowing people to defend themselves. It has only been since 1995 that
           we have had a federal law banning guns by people other than police within
           one thousand feet of a school.31
               Together with my colleague William Landes, I compiled data on all the
           multiple-victim public shootings occurring in the United States from 1977
           to 1999, during which time twenty-three states adopted right-to-carry
           laws. As with earlier numbers reported in this book, the incidents we con-
           sidered were cases with at least two people killed or injured in a public
           place. We excluded gang wars or shootings that were by-products of an-
           other crime, such as robbery. The United States averaged twenty-nine such
           shootings annually, with an average of 1.5 people killed and 2.5 wounded
           in each incident.
               What can stop these attacks? We examined a range of diﬀerent gun laws,
           including waiting periods, as well the frequency and level of punishment.
           However, while arrest and conviction rates, prison sentences, and the death
           penalty reduce murders generally, they have no significant eﬀect on pub-
           lic shootings. There is a simple reason for this: Those who commit these
           crimes usually die in the attack. They are killed in the attack or, as in the
           Colorado shooting, they commit suicide. The normal penalties simply do
           not apply.
               In the deranged minds of the attackers, their goal is to kill and injure
           as many people as possible. Some appear to do it for the publicity, which
           is related to the harm inflicted. Some may do it only because they value
           harming others. The best way to prevent these attacks might therefore be



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          to limit the carnage they can cause if they do attack. We find only one policy
          that eﬀectively accomplishes this: the passage of right-to-carry laws.
              Even after accounting for the factors that we have used in the other esti-
          mates, when diﬀerent states passed right-to-carry laws during the twenty-
          three years we studied, the number of multiple-victim public shootings
          declined by a whopping 67 percent. Deaths from all these shootings plum-
          meted by 75 percent, and injuries by 81 percent. Figure 9.14 demonstrates
          how the raw number of attacks changes before and after the passage of
          right-to-carry laws. The extensive research that we have done indicates that
          these results hold up very well when the long list of factors discussed in this
          book is taken into account. The very few attacks that still occur in states
          after enactment of right-to-carry laws tend to occur in particular places
          where concealed handguns are forbidden, such as schools.
              Concealed-handgun laws significantly reduce multiple-victim public
          shootings in public places (but have no systematic eﬀects on bombings).
          The estimates imply that the average state passing these laws reduces the
          total number of murders and injuries per year from 1.91 to .42 and the
          number of shootings from .42 to .14. Despite expecting a deterrent eﬀect
          from these laws because of the high probability that one or more potential
          victims or bystanders will be armed, the drop in murders and injuries is still
          surprisingly large. And as we shall see, alternative measures of shootings


                                                                      0.06



                                                                      0.05



                                                                      0.04
                                  Murder rate




                                                                      0.03



                                                                      0.02



                                                                      0.01



                                                                         0
                                                -8 -7 -6 -5 -4 -3 -2 -1 0 1 2 3 4 5 6 7 8
                                                    Years before and after the adoption
                                                           of right-to-carry law


          Figure 9.14. Murders from multiple-victim public shootings per 100,000 people: data from 1977 to 1995




                                                        Exhibit 10
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           and adding other factors that might explain the drop do not seem to reduce
           the magnitude of the law’s eﬀect.32
               The reason why the deterrent eﬀect on multiple-victim public attacks
           is greater than on attacks on individual victims is fairly straightforward.
           Say the probability that a victim has a permitted concealed handgun is
           5 percent. That will raise the expected costs to the criminal and produce
           some deterrence. Yet if one hundred adults are present on a train or in
           a restaurant, even if the probability that any one of them will be able to
           oﬀer a defense is only 5 percent, the probability that at least someone there
           has a permitted concealed handgun is near 100 percent.33 The results for
           multiple-victim public shootings are consistent with the central findings
           of this book: as the probability that victims are going to be able to defend
           themselves increases, the level of deterrence increases.
               Concealed-handgun laws also have an important advantage over uni-
           formed police, for would-be attackers can aim their initial assault at a single
           oﬃcer, or alternatively wait until he leaves the area. With concealed car-
           rying by ordinary citizens, it is not known who is armed until the criminal
           actually attacks. Concealed-handgun laws might therefore also require
           fewer people carrying weapons. Some school systems (such as Baltimore)
           have recognized this problem and made nonuniformed police oﬃcers “part
           of the faculty at each school.”34
               Despite all the debate about criminals behaving irrationally, reducing
           their ability to accomplish their warped goals reduces their willingness to
           attack. Yet even if mass murder is the only goal, the possibility of a law-
           abiding citizen carrying a concealed handgun in a restaurant or on a train
           is apparently enough to convince many would-be killers that they will not
           be successful. Unfortunately, without concealed carry, ordinary citizens
           are sitting ducks, waiting to be victimized.


           Other Gun-Control Laws
           “Gun control? It’s the best thing you can do for crooks and gangsters,” Gravano said. “I
           want you to have nothing. If I’m a bad guy, I’m always gonna have a gun. Safety locks? You
           will pull the trigger with a lock on, and I’ll pull the trigger. We’ll see who wins.”35
           —Sammy “the Bull” Gravano, the Mafia turncoat, when asked about gun control

           Every couple of years we see a big push for new gun-control laws. Unfortu-
           nately, the discussion focuses on only the possible benefits and ignores any
           costs. Waiting periods may allow for a “cooling-oﬀ period,” but they may



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          also make it diﬃcult for people to obtain a gun quickly for self-defense.
          Gun locks may prevent accidental gun deaths involving young children,
          but they may also make it diﬃcult for people to use a gun quickly for self-
          defense.36 The exaggerated stories about accidental gun deaths, particularly
          those involving young children, might scare people into not owning guns
          for protection, even though guns oﬀer by far the most eﬀective means of
          defending oneself and one’s family.
              Some laws, such as the Brady law, may prevent some criminals from
          buying guns through legal channels, such as regular gun stores. Never-
          theless, such laws are not going to prevent criminals from obtaining guns
          through other means, including theft. Just as the government has had diﬃ-
          culty in stopping gangs from getting drugs to sell, it is dubious that the
          government would succeed in stopping criminals from acquiring guns to
          defend their drug turf.
              Similar points can be made about one-gun-a-month rules. The cost
          that they impose upon the law abiding may be small. Yet there is still a
          security issue here: someone being threatened might immediately want
          to store guns at several places so that one is always easily within reach. The
          one-gun-a-month rule makes that impossible. Besides this issue, the rule
          is primarily an inconvenience for those who buy guns as gifts or who want
          to take their families hunting.
              The enactment dates for the safe-storage laws and one-gun-a-month
          rules are shown in table 9.5.37 For the implementation dates of safe-storage
          laws, I relied primarily on an article published in the Journal of the American
          Medical Association, though this contained only laws passed up through the
          end of 1993.38 Handgun Control’s Web site provided information on the
          three states that passed laws after this date. The laws share certain com-
          mon features, such as making it a crime to store firearms in a way that a
          reasonable person would know allows a child to gain use of a weapon. The
          primary diﬀerences involve exactly what penalties are imposed and the age
          at which a child’s access becomes allowed. While Connecticut, California,
          and Florida classify such violations as felonies, other states classify them as
          misdemeanors. The age at which children’s access is permitted also varies
          across states, ranging from twelve in Virginia to eighteen in North Carolina
          and Delaware. Most state rules protect owners from liability if firearms are
          stored in a locked box, secured with a trigger lock, or obtained through
          unlawful entry.
              The state-level estimates are shown in table 9.6. Only the right-to-carry




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                        Table 9.5 Enactment dates of other gun control laws
                        State                                               Date law went into effect
                        Safe-storage laws:a
                          Florida                                           10 / 1 / 89
                          Iowa                                              4 / 5 / 90
                          Connecticut                                       10 / 1 / 90
                          Nevada                                            10 / 1 / 91
                          California                                        1 / 1 / 92
                          New Jersey                                        1 / 17 / 92
                          Wisconsin                                         4 / 16 / 92
                          Hawaii                                            6 / 29 / 92
                          Virginia                                          7 / 1 / 92
                          Maryland                                          10 / 1 / 92
                          Minnesota                                         8 / 1 / 93
                          North Carolina                                    12 / 1 / 93
                          Delaware                                          10 / 1 / 94
                          Rhode Island                                      9 / 15 / 95
                          Texas                                             1 / 1 / 96
                        One-gun-a-month laws:b
                          South Carolina                                    1976
                          Virginia                                          7 / 93
                          Maryland                                          10 / 1 / 96
                        a
                          Source for the dates of enactment of safe-storage laws through the end
                        of 1993 is Peter Cummings, David C. Grossman, Frederick P. Rivara, and
                        Thomas D. Koepsell, “State Gun Safe Storage Laws and Child Mortality Due
                        to Firearms,” Journal of the American Medical Association, 278 (October 1, 1997):
                        1084–86. The other dates were obtained from the Handgun Control Web site
                        at http: // www.handguncontrol.org / caplaws.htm.
                        b
                          Data were obtained through a Nexis / Lexis search. Lynn Waltz, “Virginia Law
                        Cuts Gun Pipeline to Capital’s Criminals,” Norfolk Virginian-Pilot, September 8,
                        1996, p. A7.



           laws are associated with significant reductions in crime rates. Among the
           violent-crime categories, the Brady law is only significantly related to rape,
           which increased by 3.6 percent after the law passed. (While the coeﬃcients
           indicate that the law resulted in more murders and robberies but fewer ag-
           gravated assaults and as a consequence fewer overall violent crimes, none
           of those eﬀects are even close to being statistically significant.) Only the
           impact of the Brady law on rape rates is consistent with the earlier results
           that we found for the data up through 1994.
              Safe-storage rules also seem to cause some real problems. Passage of
           these laws is significantly related to almost 9 percent more rapes and rob-
           beries and 5.6 percent more burglaries. In terms of total crime in 1996, the
           presence of the law in just these fifteen states was associated with 3,600
           more rapes, 22,500 more robberies, and 64,000 more burglaries. These in-
           creases might reflect the increased diﬃculty victims have in reaching a




                                                    Exhibit 10
                                                      0630
             Table 9.6 Evaluating other gun-control laws using state-level data
                                                                                          Percent change in various crime rates for changes in explanatory variables
                                                                                          Violent                                                Aggravated       Property
                                                                                          crime        Murder        Rape           Robbery      assault          crime      Burglary   Larceny    Auto theft
             Change in the crime rate from the diﬀerence in the annual                    –2.0%*       –3.2%*        –1.4%*       –3.8%*        –2.3%*           –1.3%*      –2.9%*     –0.8%***    0.06%
              change in crime rates in the years before and after the
              adoption of the right-to-carry law (annual rate of change
              after the law – annual rate of change before the law)
             Change in the average crime rate after the adoption of                       –2.4%          3.6%          3.6%a        0.02%       –4.2%            –0.6%        0.7%      –0.6%       2.5%
              Brady law
             Change in the average crime rate after the adoption of                        0.04%         1.3%          8.9%a        8.9%a       –4.4%              2.5%       5.6%b      2.0%      –0.6%




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              safe-storage rules




Exhibit 10
             a
              The result is significant at the 1 percent level for a two-tailed t-test.
             b
              The result is significant at the 5 percent level for a two-tailed t-test.
             *The F-test is significant at the 1 percent level.
             ***The F-test is significant at the 10 percent level.
                                                                                                                                                                                                                3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1643 Page
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           gun to protect themselves. However, a contributing factor might be the
           horror stories that often accompany the passage of these laws, reducing
           people’s desire to own a gun in the first place. The increase in burglaries is
           particularly notable. Burglars appeared to be less afraid of entering homes
           after these laws were passed. Additional state data would be required to
           answer the question of whether “hot burglaries”—burglaries occurring
           while the residents are in the dwelling—increased and whether burglars
           spent less time casing dwellings after these laws were passed. Evidence of
           these other changes would help confirm that these laws have emboldened
           criminals.
               On the other side of this question is the number of accidental gun deaths
           that will be prevented. The General Accounting Oﬃce reported in 1991 that
           mechanical safety locks are unreliable in preventing children over six years
           of age from using a gun,39 but there is still the question of how many of
           these children’s lives might have been saved, and even if locks are unreliable
           for older children, some deaths may be prevented. Even if one believes that
           the high-end estimated benefits are correct, that as many as 31 of the 136
           children under age fifteen who had died from accidental gunshots in 1996
           would have been saved by nationwide safe-storage laws, table 9.6 implies
           some caution.40 The eﬀect for murders was not statistically significant, but
           it still provides the best estimate that we have and the size of the eﬀect is
           still instructive. It indicates that in just these fifteen states, 109 lives would
           be lost from this law. If the entire country had these safe-storage laws, the
           total lost lives would have risen to 255.
               Yet other research that I have done with John Whitley indicates that this
           is the most optimistic possible outcome from safe-storage laws. We find no
           support for the theory that safe-storage laws reduce either juvenile acci-
           dental gun deaths or suicides. Instead, these storage requirements appear
           to impair people’s ability to use guns defensively. Because accidental shoot-
           ers also tend to be the ones most likely to violate the new law, safe-storage
           laws increase violent and property crimes against low-risk citizens with
           no observable oﬀsetting benefit in terms of reduced accidents or suicides.
           Just as important, we found that examining the simple before-and-after
           average eﬀects of the law underestimates the increases in crime that result
           from safe-storage laws. When the before-and-after trends are accounted for,
           the group of fifteen states that adopted these laws faced an annual average
           increase of over 300 more murders, 3,860 more rapes, 24,650 more robberies,
           and over 25,000 more aggravated assaults during the first five full years after
           the passage of the safe-storage laws. Using the National Institute of Justice



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          estimates of victim costs from crime indicates that the average annual costs
          borne by victims averaged over $2.6 billion.
             The one-gun-a-month rule seems to have negative consequences, too.
          But only three states passed these laws during the twenty years studied, so
          there is always the issue of whether enough data exist and whether other
          factors might have played a role. Nevertheless, the passage of these laws
          was associated with more murders, more robberies, and more aggravated
          assaults, and the eﬀects appear to be quite large.
             One possible suspicion, however, is that the large eﬀect of one-gun-a-
          month rules merely reflects some regional crime increases, increases that
          just happen to coincide with the adoption of these laws. To counter this
          potential problem, I again allowed year-to-year average diﬀerences to vary
          by region, as I had done for the county- and city-level data. The results for
          right-to-carry laws were essentially unchanged, and the pattern for other
          gun-control laws remained very similar, though some of the statistical sig-
          nificance declined. The Brady law was still associated with a statistically
          significant increase in rapes. Using the simple before-and-after averages,
          safe-storage laws were still associated with statistically significant increases
          in rape, robbery, and burglary. Indeed, not only did the coeﬃcients remain
          significant at the 1 percent level, but the results actually implied slightly
          larger increases in these crime categories, with the eﬀect from state storage
          laws on rape now increasing to 9 percent, on robbery to 9.9 percent, and on
          burglary to 6.8 percent.

          The Political and Academic Debate Continued
          Attacking the Messenger
          David Yassky [member of the board of directors of Handgun Control, Inc.]: The people who
            fund your studies are gun manufacturers.
          Lott: That is a lie.
          Yassky: That is not a lie. That is not a lie.
          Lott: That is a lie.
          Yassky: It is paid for by gun manufacturers who manufacture firearms.
          —From Debates / Debates, a nationally syndicated program on public television that was
          broadcast during the week of April 22, 1999

          Michael Beard [president of the Coalition to Stop Gun Violence]: Yes, and you’re unbiased.
            You work for, what, the Olin Foundation, which manufactures firearms . . .
          Lott: No I don’t. I work for the University of Chicago.
          Beard: Who pays your salary?



                                              Exhibit 10
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           Lott: The University of Chicago pays my salary.
           Beard: Through the Olin Foundation.
           Lott: No, that’s not true.
           —From CNN Today, June 18, 1999; 1:29 P.M. Eastern Time

           Gun-control advocates all too frequently use these types of arguments in
           debates. Often callers on radio shows make similar claims. Even if the claim
           merely diverts the discussion away from whether guns save more lives than
           they cost, my guess is that the gun-control organizations view the personal
           attack as a success.41 Unfortunately, no matter how many times I deny the
           charge or explain that no, I did not apply for money from the Olin Founda-
           tion; no, I was paid by the University of Chicago; no, the Olin Foundation
           and the Olin Corporation are separate entities; and no, it was the faculty at
           the University of Chicago who decided on my appointment and they asked
           no questions about my future research topics, many people still tune out
           after these charges are raised.
               During 1999, numerous newspaper columns also made similar claims,
           for instance: “John R. Lott Jr., the latest darling of gun advocates every-
           where. He’s the Olin Fellow of Law and Economics at the University of
           Chicago School of Law. (That’s ‘Olin’ as in Olin-Winchester, one of the
           world’s leading manufacturers of ammunition).”42 Or “They fail to men-
           tion that Lott is a John M. Olin fellow. This Olin Foundation is funded
           through the Olin Corp., the parent company of Winchester Ammunition.
           Winchester makes more money as the sale of handguns goes up.”43 Letter
           writers to newspapers have also chimed in: “It was particularly helpful that
           he exposed Professor John R. Lott Jr. as an intellectually dishonest toady
           of the bullet manufacturing industry.”44 Even after being given facts to the
           contrary, some state legislators have continued making claims like “The
           Lott study’s been thrown out. . . . It’s a joke. . . . Professor Lott is funded by
           the Olin Corporation which is funded by Winchester.”45 And, of course, In-
           ternet news-group discussions are filled with such assertions.46 Others bring
           up the topic only to point out that while others believe it to be important,
           they do not personally believe that it is relevant.47
               Gun-control groups have repeatedly attacked me rather than my find-
           ings and distorted the research I have done in other areas. State legislators
           in Michigan, Missouri, Nebraska, and Maryland have begun calling me up
           to ask whether it is true that I don’t think that police departments should
           hire black or female police oﬃcers. Handgun Control and the Violence
           Policy Center spread claims such as “Lott has argued that the hiring of more



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          women and minorities in law enforcement has actually increased crime
          rates.”48 They have made this claim on their Web sites, in debates, and on
          radio programs.49 In fact, I had stated that this would be the wrong conclu-
          sion to reach. The paper argued: “But it would be a serious mistake not to
          realize that this simple relationship is masking that the new rules reduce
          the quality of new hires from other groups.”50 The aﬃrmative action rules
          which changed the testing standards lowered the quality of new police hires
          across the board, and that was showing itself in the simple relationship
          between minority hires and crime.51
             On the upside, many have come to my defense. One academic review of
          my book noted, “The personal (and, to those who know him, completely
          unfounded) attacks on John Lott’s integrity were made with such ferocity
          and in so many media outlets nationwide that one can only conclude that
          Lott was, with apologies to our gracious First Lady [Hillary Clinton], the
          target of a vast left-wing conspiracy to discredit his politically incorrect
          findings.”52 Another academic review wrote: “the ease with which gun-
          control advocates could get misleading and even false claims published by
          the press raises important public choice questions. Many of these claims
          were highly personal and vicious, including outright lies about alleged
          funding of Lott’s research by the firearms industry . . . , about the outlet for
          his then forthcoming work . . . , about Lott’s fringe ideas . . . , and about his
          lack of qualifications. . . . Most academics probably would have withdrawn
          back into the sheltered halls of their universities rather than expose them-
          selves to the vicious public attacks that John Lott faced.”53 Other academics
          have written that “gun control groups attempted to discredit his work by
          smearing him with accusations that they had to know were patently false”54
          and about the “vicious campaign of lies and distortions.”55 Publications for
          police oﬃcer associations have also been very supportive.56
             Once in a while, I have come to feel that there is a well-organized
          campaign to impugn my findings, especially on days when I have done
          radio talk shows for stations based in diﬀerent parts of the country and
          callers state word for word the exact same charge that I have been paid
          to do my research by gun makers. Originally, I had thought that these
          personal attacks would fade away after a year or so, but they have now
          continued for three years, so unfortunately they will probably continue.
          The most disconcerting aspect of this, especially for my family, has been
          the numerous physical threats, including an instance of a note on our
          apartment door.57




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               Yet the gun-control organizations still realized that they had to do more
           to counter my work. In December 1996, Handgun Control had organized
           a debate that was broadcast on C-SPAN between myself and three critics:
           Dan Black, Dan Nagin, and Jens Ludwig. However, none of the researchers
           that they invited were able to claim that concealed-handgun laws increased
           crime. I can only imagine that this put Handgun Control in a bind. It is hard
           to oppose legislation or a referendum by arguing that concealed-handgun
           laws do no harm. Not being able to find support from the researchers that
           they work closely with, Handgun Control finally came out with its own
           numbers in a press release on January 18, 1999, arguing that between 1992
           and 1997 violent-crime rates were falling more quickly in the states that
           most restricted concealed handguns than in the states with more lib-
           eral rules.
               Their claim was widely and uncritically reported in publications from
           Newsweek to USA Today, as well as during the spring 1999 campaign to pass a
           concealed-handgun law in Missouri.58 Press coverage and Handgun Control
           itself usually referred to this contention as coming from the FBI.59
               Handgun Control examined the change in violent crime between only
           two years, 1992 and 1997, and strangely enough they chose to classify states
           according to what their laws were in 1997, at the end of the period. This
           odd classification makes a considerable diﬀerence, for some states’ right-to-
           carry laws did not even go into eﬀect until late 1996, with few permits is-
           sued until 1997. It makes no sense to attribute the increase in crime to a law
           for the five years before the law goes into eﬀect. A third of the states with
           right-to-carry laws did not enact them until after late 1995. Of course, the
           way any trained researcher would approach the question is to separate the
           change in crime rates before and after the diﬀerent states changed their
           laws. That is only common sense. Only changes in crime after the law goes
           into eﬀect can be attributed to the passage of the law.
               Given the evidence in this book, I would also argue that since one is
           examining the change in crime rates, it is important to separate out those
           states that have had changes in permits and those that have not. If a state
           has had its right-to-carry law in place for decades, it is extremely unlikely
           that it will be experiencing any additional growth in permits and thus it
           should not be expecting any additional changes in its crime rates from this
           law. Handgun Control also did not account for any other factors that could
           have influenced crime. Nor did they even classify states consistently across
           their own press releases issued within months of each other.60




                                          Exhibit 10
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              During the Missouri campaign, many reporters called me up to com-
          ment about the “FBI numbers” on crime rates.61 When I would point
          out that the claim was actually based on a report produced by Handgun
          Control, they said that they didn’t know what to do with the conflicting
          claims. Editorials and news stories in the St. Louis Post-Dispatch and the Kansas
          City Star normally just accepted the Handgun Control assertion as estab-
          lished truth.
              After repeatedly encountering this response from reporters, I started
          suggesting to reporters that they ask some local academic (a statistician,
          criminologist, or economist) to evaluate the two conflicting claims. One
          reporter with the St. Louis Post-Dispatch, Kim Bell, expressed the concern that
          they might run into a professor with a preconceived bias and that would
          make the test unfair. I told her that I was willing to take that risk, but that
          if she were concerned about that problem, she could always approach a few
          diﬀerent academics. Others who refused to take me up on this challenge
          included Bill Freivogel, deputy editor at the Post-Dispatch, and Rich Hood,
          an editor at the Kansas City Star. Rather, their newspapers simply presented
          Handgun Control’s claims as fact.

          Criticisms of the Book
          Some reviewers clearly have not even bothered to read my book, or at least
          it didn’t matter to them whether they read it. A review in the British Journal
          of Criminology claimed that “there is nothing in Lott’s study to connect this
          more general information to the specific county-based data on the issuing
          of concealed-carry permits,” “Lott is dealing with a time frame entirely
          prior to the introduction of the non-discretionary concealed-carry laws
          in most of the states which now have them,” and “he has pre-occupied
          himself exclusively with ‘good guns’ owned by ‘good people.’”62 Another
          book review, in the New England Journal of Medicine, starts oﬀ by falsely claim-
          ing that I “approvingly” quote Archie Bunker’s suggestion to stop airplane
          hijacking by arming “all the passengers.”63
              As of this writing (September 1999), Handgun Control’s Web site still
          continues to assert the same “major criticisms” of my research—“where
          are the robbery eﬀects?” “auto theft as a substitute for rape,” “Lott fails to
          account for other initiatives—including other gun control laws,” “Lott
          fails to account for cyclical changes in crime rates”—and the same claims
          about misclassifying state laws.64 Ironically, they also continue citing the
          McDowall et. al. (1995) study that we discussed in chapter 2, which exam-
          ined a total of only five counties picked from three states, attempted to



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           account for no other factors that might be changing over the same period
           of time, and examined only murders with guns.65
              Time magazine reported that “Other critics raise questions about whether
           Lott massaged the numbers. One arcane quarrel: for statistical purposes,
           Lott dropped from his study sample any counties that had no reported
           murders or assaults for a given year.”66 It also said that “the book does not
           account for fluctuating factors like poverty levels and policing techniques.”
           After the story on my book ran, I called up the reporter, Romesh Ratnesar,
           and said that I knew that he had read the book carefully, so I was surprised
           that he would write these claims as if they were true. I, as well as critics like
           Black and Nagin, had looked at the evidence once arrest rates were excluded
           so as to include those counties with zero arrest rates. What was particularly
           disappointing was that I had spent the time to obtain all the data that were
           available. The county-level data were used for all the years and for all the
           counties for which they were available, both when I did the original paper
           and when I wrote the book. As to the other claim, I had measures of poverty
           and policing techniques like the broken-window strategy included.
              While I appreciated that the Time magazine piece was published, claims
           that “the book does not account” for these factors are clearly wrong.
           Ratnesar agreed that these issues were dealt with in the book, but that his
           role was not to serve as a “referee” between the two sides. His job was to
           report what the claims were.67
              I keep on being amazed at the absolute faith that so many news media
           people place in the gun-control organizations and the “facts” issued by
           them. Take another example: Molly Ivins, a syndicated columnist, asserted
           that “[Lott] himself admits, he didn’t look at any other causative factors—
           no other variables, as they say.”68 She also argued that “Lott’s study sup-
           posedly showed that when 10 Western states passed ‘right-to-carry’ laws
           between 1985 and 1992, they had less violent crime” and that “according
           to the author’s research, getting rid of black women older than 40 would
           do more to stop murder than anything else we could try.” Syndicated col-
           umnist Tom Teepen wrote a very similar column a year earlier in which he
           also claimed that this book “failed to consider other anti-crime variables in
           making its cause-and-eﬀect claims, a fundamental gaﬀe.”69
              I did get a chance to talk with Mr. Teepen, and he told me that he wrote
           his review without even reading the book. He apparently relied on con-
           versations that he had with people at Handgun Control and the Violence
           Policy Center. When I talked to Cynthia Tucker, an editor at the Atlanta
           Journal-Constitution, where Mr. Teepen is based, about having a letter respond-



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          ing to the charges Mr. Teepen made, she found it “unbelievable” that he
          would have written the review without first looking at the book. She
          grudgingly said that if it were true, they would publish as a response a
          short letter, but that she would have to check into it first. Needless to say,
          the newspaper published my letter the following Sunday.70 In contrast,
          unfortunately, Ms. Ivins never returned my telephone calls or responded
          to my e-mail messages and never corrected her claims.71
              Undoubtedly, some of the claims constitute simple mistakes, but more
          than a few reflect columnists and others being too quick to accept whatever
          gun-control groups tell them. I will spare the reader the long list of other
          false claims reported in the press.72 Yet, obviously, many people, particu-
          larly those with gun-control organizations, continually make statements
          that they know are false—safe in the knowledge that only a tiny fraction
          of readers or listeners ever check the assertions. Unfortunately, the gun-
          control organizations risk losing significant credibility only with the few
          who read the book.73
              Other critiques by academics and the media—some old, some new—
          require more in-depth discussions. The rest of this section reviews the cri-
          tiques and then provides my responses.

          1 How do we know that these ﬁndings are not a result of the normal ups and downs in
          crime rates?

             The central problem is that crime moves in waves, yet Lott’s analysis does
             not include variables that can explain these cycles. (David Hemenway,
             “Book Review of More Guns, Less Crime,” New England Journal of Medicine, De-
             cember 31, 1998)
             Jens Ludwig, assistant professor of public policy at Georgetown Univer-
             sity, argued that Lott’s data don’t prove “anything about what laws do to
             crime.” He noted that crime rates, including homicide, are cyclical: They
             rise and fall every five to 10 years or so in response to forces that are not
             well understood. Ludwig suggested that this pattern explains the apparent
             eﬀectiveness of concealed weapons laws. Imagine, he said, a state where the
             murder cycle is on the upswing and approaching its peak and public con-
             cern is correspondingly high. Then a particularly ghastly mass shooting
             occurs. Panicked legislators respond by passing a law that allows equally
             panicked citizens to carry concealed weapons. A year or two later, the
             murder rate goes down, as Lott’s study found. (Richard Morin, “Guns and
             Gun Massacres: A Contrary View,” Washington Post, May 30, 1999, p. B5)



                                               Exhibit 10
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              Lott’s variables are not good predictors of crime waves. Nor does he provide
              for any eﬀect of history in the way he models crime. For example, the year
              1982 could as well follow 1991 as 1981 in his analyses. (David Hemenway,
              “More Guns, Less Crime,” New England Journal of Medicine, May 20, 1999)

           Even my most determined critics concede one point: violent-crime rates
           fell at the point in time that the right-to-carry laws went into eﬀect. The
           real question is: Why did the crime rates fall? Do these laws simply happen
           to get passed right when crime rates hit their peaks? Why don’t we observe
           this coincidence of timing for other gun-control laws?
               It is logically possible that such coincidental timing could take place.
           But there is more evidence besides decreases in crime after right-to-carry
           laws are adopted. First, the size of the drop is closely related to the number
           of permits issued (as indicated in the first edition and confirmed by the
           additional data shown here). Second, the additional evidence presented
           here goes even further: it is not just the number of permits, but also the
           type of people who obtain permits that is important. For example, high
           fees discourage the poor, the very people who are most vulnerable to
           crime, from getting permits. Third, if it is merely coincidental timing, why
           do violent-crime rates start rising in adjacent counties in states without
           right-to-carry laws exactly when states that have adopted right-to-carry
           laws are experiencing a drop in violent crime?
               Finally, as the period of time studied gets progressively longer, the
           results are less likely to be due to crime cycles, since any possible crime
           “cycles” involve crime not only going down but also “up.” If crime hap-
           pened to hit a peak, say, every ten years, and right-to-carry laws tended
           to be passed right at the peak, then the reported eﬀect of the law would
           spuriously show a negative impact right after the enactment. However,
           five years after that an equally large positive spurious eﬀect on crime would
           have to show up. Instead, my results reveal permanent reductions in crime
           that only become larger with time, as more people acquire concealed-
           carry permits.
               Furthermore, my study accounted for possible crime cycles in many
           ways: individual year variables accounted for average national changes in
           crime rates, and diﬀerent approaches in chapter 4 controlled for individual
           state and county time trends and did not take away the eﬀects of concealed
           carry. To the contrary, they resulted in similar or even stronger estimates
           for the deterrence eﬀect. Other estimates used robbery or burglary rates to
           help account for any left-out factors in explaining other crime rates. Since



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          crime rates generally tend to move together, this method also allows one
          to detect individual county trends. In updating the book, I have included
          estimates that account for the separate average year-to-year changes in five
          diﬀerent regions in the country. Despite all these additional controls the
          deterrence eﬀect continues to show up strongly.
              It is simply false to claim, “nor does he provide for any eﬀect of history,”
          as I have variables that account for “changes” in crime rates from previous
          years. I have variables that measure explicitly the number of years that the
          law has been in eﬀect as well as the number of years until it goes into eﬀect.
          In addition, I have used individual state linear time trends that explicitly
          allow crime rates to change systematically over time.
              Earlier discussions in chapter 7 on crime cycles (pp. 134–35) and causal-
          ity (pp. 157–58) also explain why these concerns are misplaced.

          2 Does it make sense to control for nonlinear time trends for each state?

             The results suggest that the Lott and Mustard model, which includes only
             a single national trend, does not adequately capture local time trends in
             crime rates. To test for this possibility, we generalized the Lott and Mus-
             tard model to include state-specific trends in an eﬀort to control for these
             unobserved factors. . . . we report the results for models with a quadratic
             time trend. The only significant impact estimate is for assaults, and its sign
             is positive, not negative. (Dan Black and Dan Nagin, “Do Right-to-Carry
             Laws Deter Violent Crime?” Journal of Legal Studies, January 1998, p. 218)
          Much more was controlled for than “a single national trend” in my study
          (e.g., as just mentioned above, state and county trends as well as other
          crime rates). While it is reasonable to include individual linear state trends
          or nonlinear trends for regions, including nonlinear trends for individual
          states makes no sense. The approach by Black and Nagin is particularly
          noteworthy because it is the one case in which an academic study has
          claimed that a statistically significant, even if small, increase in any type of
          violent crime (aggravated assault) occurs after the law.
             Consider a hypothetical case in which the crime rate for each and ev-
          ery state follows the pattern that Black and Nagin found in their earlier
          paper and that I showed in this book (discussed in chapter 7, pp. 134–38):
          crime rates were rising up until the law went into eﬀect and falling there-
          after. Allowing a separate quadratic time trend for each state results in the
          time trend picking up both the upward path before the law and the down-
          ward path thereafter. If the diﬀerent state crime patterns all peaked in the



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           year in which their state law went into eﬀect, the state-specific quadratic
           trends would account for all the impact of the law. A variable measuring
           the average crime rates before and after the law would then no longer
           reflect whether the law raised or lowered the crime rate.74 This is analo-
           gous to the “dubious variable” problem discussed earlier. If enough state-
           specific trends are included, there will be nothing left for the other variables
           to explain.
               If shall-issue laws deter crime, we would expect crime rates to rise un-
           til the law was passed and then to rise more slowly or to fall. The eﬀect
           should increase over time as more permits are issued and more criminals
           adjust to the increased risks that they face. But the quadratic specification
           used by Black and Nagin replicates that pattern, state by state. Their results
           show not that the eﬀect from the quadratic curve is insignificant, but that
           the deviation of the law’s eﬀect from a quadratic curve over time is gener-
           ally insignificant.
               To see this more clearly, take the hypothetical case illustrated in figure
           9.15, in which a state faced rising crime rates.75 The figure shows imaginary
           data for crime in a state that passed its shall-issue law in 1991. (The dots
           in the figure display what the crime rate was in diﬀerent years.) The pat-
           tern would clearly support the hypothesis that concealed-handgun laws
           deter violent crime, but the pattern can easily be fitted with a quadratic
           curve, as demonstrated with the curved line. There is no systematic drop
           left over for any measure of the right-to-carry law to detect—in terms of
           the figure, the diﬀerence between the dots and the curved line shows no
           particular pattern.
               Phrased diﬀerently, the deterrence hypothesis implies a state-specific
           time pattern in crime rates (because diﬀerent states did or did not pass
           shall-issue laws, or passed them at diﬀerent dates). All Black and Nagin have
           shown is that they can fit such a state-specific pattern with a state-specific

                                                             Crime
                                                              rate




                                                                                    Year
                                               83 85 87 89 91 93 95 97

                                                Right-to-carry law passes in 1991

           Figure 9.15. Fitting a nonlinear trend to individual states




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          quadratic time trend, and do this well enough that the residuals no longer
          show a pattern.

          3 Should one expect an immediate and constant effect from right-to-carry laws with the same
          effect everywhere?

             While he includes a chapter that contains replies to his critics, unfortu-
             nately he doesn’t directly respond to the key Black and Nagin finding that
             formal statistical tests reject his methods. The closest he gets to address-
             ing this point is to acknowledge “the more serious possibility is that some
             other factor may have caused both the reduction in crime rates and the
             passage of the law to occur at the same time,” but then goes on to say that
             he has “presented over a thousand [statistical model] specifications” that
             reveal “an extremely consistent pattern” that right-to-carry laws reduce
             crime. Another view would be that a thousand versions of a demonstra-
             bly invalid analytical approach produce boxes full of invalid results. (Jens
             Ludwig, “Guns and Numbers,” Washington Monthly, June 1998, p. 51)76
             We applied a number of specification tests suggested by James J. Heckman
             and V. Joseph Hotz. The results are available from us on request. The specif-
             ics of the findings, however, are less important than the overall conclusion
             that is implied. The results show that commonly the model either over-
             estimates or underestimates the crime rate of adopting states in the years
             prior to adoption. (Dan Black and Dan Nagin, “Do Right-to-Carry Laws
             Deter Violent Crime?” Journal of Legal Studies, January 1998, p. 218)

          Black and Nagin actually spent only a few brief sentences on this issue at
          the very end of their paper. Nevertheless, I did respond to this general point
          in the original book. Their test is based upon the claim that I believe “that
          [right-to-carry] laws have an impact on crime rates that is constant over
          time.”77 True, when one looks at the simple before-and-after average crime
          rates, as in the first test presented in table 4.1 and a corresponding table in
          my original work with Mustard, this was the assumption that was being
          made.78 Figure 9.16 illustrates the crime pattern assumed by that test. But
          I emphasized that looking at the before-and-after averages was not a very
          good way to test the impact of the right-to-carry laws (e.g., see p. 92), and I
          presented better, more complicated specifications, and these showed even
          larger benefits from these laws. Black and Nagin’s test confirms the very
          criticisms that I was making of these initial simplifying assumptions.




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                                         Crime rate before law



                                                                    Crime rate after law




                                         -5 -4 -3 -2 -1         0     1   2   3    4   5
                                       Years before and after implementation of the law

           Figure 9.16. What was the crime pattern being assumed in the simple test provided in table 4.1?



               Looking at the before-and-after averages merely provides a simpli-
           fied starting point. If criminals respond to the risk of meeting a poten-
           tial victim who is carrying a concealed handgun, the deterrent eﬀect of
           a concealed-handgun law should be related to the number of concealed
           handguns being carried and that should rise gradually over time. It was
           precisely because of these concerns that I included a variable for the num-
           ber of years since the law had been in eﬀect. As consistently demonstrated
           in figure 1 in my original paper as well as the figures in this book (e.g.,
           pp. 82–83), these estimated time trends confirm that crime rates were ris-
           ing before the law went into eﬀect and falling afterward, with the eﬀect
           increasing as more years went by.
               As already discussed in the book, I did not expect the impact to be the
           same across all states, for obviously all states cannot be expected to issue
           permits at the same rate (see the response to point 3 on pp. 135–36). Indeed,
           this is one of the reasons why I examined whether the drops in crime rates
           were greatest in urban, high-population areas.
               On this issue David Friedman, a professor at the University of Santa
           Clara Law School, wrote that “The simplifying assumptions used in one of
           the regressions reported in the Lott and Mustard paper (Table 3) are not
           true—something that should be obvious to anyone who has read Lott and
           Mustard’s original article, which included a variety of other regressions
           designed to deal with the complications assumed away in that one. Black
           and Nagin simply applied tests of the specification to demonstrate that they
           were not true.”79 Similar points have also been raised in academic reviews of
           the book: “Another tactic was to criticize one part of the research by raising
           issues that Lott actually raised and addressed in another part of the study.
           Those criticisms that were not uninformed or misleading were generally




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          irrelevant since taking them into account did not change his empirical re-
          sults. Nonetheless, they were widely cited by an unquestioning press.”80

          4 Do right-to-carry laws signiﬁcantly reduce the robbery rate?

             Q. What’s your take on John Lott’s study and subsequent book that con-
                cludes concealed weapon laws lower the crime rate? (Lott’s book is
                titled “More Guns, Less Crime,” University of Chicago Press, 1998.)
             A. His basic premise in his study is that these laws encourage private citi-
                zens to carry guns and therefore discourage criminal attacks, like ho-
                micides and rapes. Think for a second. Most murders and rapes occur
                in homes. So where would you see the greatest impact if his premise
                were true? You would see it in armed robbery. But there’s no eﬀect on
                armed robbery. His study is flawed, but it’s costing us enormous prob-
                lems. People are citing it everywhere. (Quote in the St. Paul, Minnesota,
                newspaper the Pioneer Planet, August 3, 1998, from an interview with Bob
                Walker, president of Handgun Control, Inc.)
          Both the preceding quotes and many other criticisms are based on not
          recognizing that a law can be associated with reduced crime even when
          the average crime rate in the period after the law is the same as or higher
          than the average crime rate before the law.81 For example, look at the four
          diagrams in figure 9.17. The first two diagrams show dramatic changes in
          crime rates from the law, but very diﬀerent before-and-after average crime
          rates. In the first diagram (17a), the average crime rate after the law is lower
          than the average crime rate before it, while the reverse is true in the second
          diagram. The second diagram (17b) corresponds to an example in which
          the simple variable measuring the average eﬀect from the law would have
          falsely indicated that the law actually “increased” the average crime rate,
          while in actual fact the crime rate was rising right up until the law passed
          and falling thereafter. If I had another figure where the inverted V shape
          was perfectly symmetrical, the before-and-after averages would have been
          the same. (With this in mind, it would be useful to reexamine the earlier
          estimates for robbery shown in figures 4.8 and 7.4.)
              The third diagram (17c) illustrates the importance of looking at more
          than simple before-and-after averages in another way. A simple variable
          measuring the before-and-after averages would indicate that the average
          crime rate “fell” after the law was adopted, yet once one graphs out the
          before-and-after trends it is clear that this average eﬀect is quite mislead-
          ing—the crime rate was falling until the law went into eﬀect and rising



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                                        Crime rate                             Crime rate




                                 Years before and after the             Years before and after the
                                    adoption of the law                    adoption of the law
                                             a                                      b


                                        Crime rate                             Crime rate




                                 Years before and after the             Years before and after the
                                    adoption of the law                    adoption of the law
                                             c                                      d

           Figure 9.17. Why looking at only the before-and-after average crime rates is so misleading



           thereafter. Finally, the fourth diagram (17d) shows a case in which the av-
           erage crime rate is obviously lower after the law than beforehand but the
           drop is merely a continuation of an existing trend. Indeed, if anything, the
           rate of decline in crime rates appears to have slowed down after the law.
           Looking at the simple before-and-after averages provides a very misleading
           picture of the changing trends in crime rates.

           5 Is the way criminals learn about victims’ ability to defend themselves inconsistent with
           the results?

               Zimring and Hawkins observe that there are two potential transmission
               mechanisms by which potential criminals respond to the passage of a shall
               issue law. The first, which they term the announcement eﬀect, changes
               the conduct of potential criminals because the publicity attendant to the
               enactment of the law makes them fear the prospect of encountering an
               armed victim. The second, which they call the crime hazard model, im-
               plies that potential criminals will respond to the actual increased risk they
               face from the increased arming of the citizenry. Lott adheres to the stan-
               dard economist’s view that the latter mechanism is the more important of
               the two—but he doesn’t fully probe its implications. Recidivists and indi-
               viduals closely tied to criminal enterprises are likely to learn more quickly
               than non-repeat criminals about the actual probability of encountering
               a concealed weapon in a particular situation. Therefore, we suspect that



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             shall issue laws are more likely to deter recidivists. . . . Thus, if Lott’s theory
             were true, we would also suspect that the proportion of crime committed
             by recidivists should be decreasing and that crime categories with higher
             proportions of recidivism—and robbery is likely in this category—should
             exhibit the highest reductions. Once again, though, the lack of a strong
             observed eﬀect for robbery raises tensions between the theoretical predic-
             tions and Lott’s evidence. (Ian Ayres and John J. Donohue III, “Nondiscre-
             tionary Concealed Weapons Laws: A Case Study of Statistics, Standards
             of Proof, and Public Policy,” American Law and Economics Review 1, nos. 1–2
             [Fall 1999]: 458–59)

          I have always viewed both the mentioned mechanisms as plausible. Yet
          the question of emphasis is an empirical issue. Was there a once-and-for-
          all drop in violent crimes when the law passed? Did the drop in violent
          crimes increase over time as more people obtained permits? Or was there
          some combination of these two influences? The data strongly suggest that
          criminals respond more to the actual increased risk, rather than the an-
          nouncement per se. Indeed, all the data support this conclusion: table 4.6,
          the before- and after-law time trends, the county-level permit data for
          Oregon and Pennsylvania, and the new results focusing on the predicted
          percentage of the population with permits. The deterrence eﬀect is closely
          related to the percentage of the population with permits.
              I have no problem with Ayres and Donohue’s hypothesis that criminals
          who keep on committing a particular crime will learn the new risks faster
          than will criminals who only commit crimes occasionally.82 However, that
          hypothesis will be diﬃcult to evaluate, for data on the number and types
          of crimes committed by criminals are known to be notoriously suspect, as
          they come from surveys of criminals themselves. Some of the criminals
          appear to be bragging to surveyors and claim many thousands of crimes
          each year. But one thing is clear from these surveys: criminals often com-
          mit many diﬀerent types of crimes, and hence it is generally incorrect to
          say that criminals only learn from one type of crime. In any case, even if
          Ayres and Donohue believe that robbers are more likely to learn from their
          crimes, the estimated deterrent eﬀect on robbery turns out to be very large
          when the before-and-after trends are compared.83
              It is interesting that one set of critiques attacks me for allegedly assum-
          ing a once-and-for-all drop in crime from right-to-carry laws (see point 3
          above), while at the same time I am attacked for assuming that the drop
          can be related only to the number of permits issued.



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           6 Have prominent “pro-gun” researchers questioned the ﬁndings in my book?

              To dispel the notion that Lott is simply being victimized by the “PC
              crowd,” it may be helpful to mention the reaction of Gary Kleck, a Florida
              State criminologist known for his generally “pro-gun” views. . . . Kleck
              argues in his recent book that it is “more likely [that] the declines in crime
              coinciding with relaxation of carry laws were largely attributable to other
              factors not controlled in the Lott and Mustard analysis.” (Jens Ludwig,
              “Guns and Numbers,” Washington Monthly, June 1998, p. 51)
              Even Gary Kleck, a researcher long praised by the NRA and identified as
              an authority on gun-violence prevention by Lott himself, has dismissed
              the findings. (Sarah Brady, “Q: Would New Requirements for Gun Buyers
              Save Lives? Yes: Stop Deadly, Unregulated Sales to Minors, at Gun Shows
              and on the Internet,” Insight, June 21, 1999, p. 24)

           The quote by Kleck has frequently been mentioned by Jim and Sarah Brady
           and other members of Handgun Control and the Violence Policy Center.84
           However, it is a rather selective reading of what he wrote. Their claim that
           Kleck “dismissed the findings” is hard to reconcile with Kleck’s comment
           in the very same piece that my research “represents the most authoritative
           study” on these issues.85
               Let me try to explain the meaning of Kleck’s quote. I have talked to Gary
           on several occasions about what additional variables I should control for,
           but he has been unable to concretely suggest anything; it rather seemed
           to be more a “feeling” of his that there might be other factors out there.
           But the issue is more complicated than simply stating that something else
           should be accounted for: there must exist some left-out factor that just
           happened to be changing in all the twenty states that had enacted right-
           to-carry laws for at least a year between 1977 and 1996. Perhaps one can find
           some left-out national change in some specific year, yet this would not have
           much of an eﬀect on the regression results.
               Gary Kleck has long felt strongly that guns have no net eﬀect on the
           crime rate. Why he has felt that way has never been clear to me (though
           I have asked), especially considering his own survey results, which indi-
           cate that citizens use guns to stop violent crime about 2.5 million times
           each year—a large order of magnitude bigger than the reported number
           of crimes committed with guns.86 Thus, the couple of sentences that gun-
           control advocates refer to from what Gary has written about my research
           did not totally surprise me. Gary told me that he thought it was “quite



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          amusing” that people from Handgun Control and other gun-control or-
          ganizations were now starting to cite him as an expert. He also said that
          he thought that the quotes were being misused, and that he still stood by
          the blurb for my book—the blurb stating that my research represented
          “the most extensive, thorough, and sophisticated study we have on the
          eﬀects of loosening gun control laws.”

          7 Are the CBS and Voter News Service polls accurately reﬂecting how gun ownership rates vary
          across states?

             Douglas Weil: But the most important information is that the Voter News
             Service, which conducted the 1996 poll has said the poll cannot be used in
             the manner Dr. Lott used it. It cannot be used to say anything about gun
             ownership in any state, and it cannot be used to compare gun ownership
             to the earlier 1988 voter poll. (“More Guns, Less Crime? A Debate between
             John Lott, Author of More Guns, Less Crime, and Douglas Weil, Research Di-
             rector of Handgun Control, Inc.,” an on-line debate sponsored by Time
             magazine, transcript from July 1, 1998)
          Statistics from the CBS and Voter News Service exit polls (discussed in chap-
          ters 3 and 5) were originally “weighted” by these organizations to reflect
          the share of diﬀerent racial, sex, and age groups in the national population.
          For example, white females between thirty and thirty-nine make up 6 per-
          cent of the population but may end up accounting for a larger percentage
          of those surveyed in a poll. If white females in that age group are over-
          represented in the calculations made to determine what voters support,
          the poll will not accurately reflect how voters as a whole will vote in an
          election. To correct this, polls were adjusted so that diﬀerent groups are
          weighted according to their actual shares of either the voting or the gen-
          eral population. It is therefore necessary for the researcher to use a state’s
          demographics to adjust that state’s poll results himself, because the shares
          that diﬀerent groups make of state populations diﬀer from their shares of
          the national population. That is precisely what I did.
             There were also diﬀerences in how the 1988 and 1996 surveys were
          phrased, and I already discussed those biases right at the beginning of chap-
          ter 3. In the notes accompanying that discussion, I mentioned that these
          biases do not appreciably aﬀect changes in survey results between these
          two years. The important point is that the changes in how the questions
          were worded should not alter the relative ranking of states or what types of




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           people are more likely to own guns. Regressions using data from the two
           years used variables that account for the average diﬀerence across years as
           well as the average diﬀerences across states to account for any biases.

           8 Have I ignored the costs of gun violence?

              He ignores the huge cost on medical systems that gun violence causes.
              (Steve Young of the Bell Campaign, an anti-gun group, as quoted in
              Frank Main, “Economist Says Guns Fight Crime,” Chicago Sun-Times, July 8,
              1999, p. 6)
           The costs of crime include medical or other costs of crime, such as lost
           time from a job or replacement costs for damage and replacement costs for
           items taken or destroyed. I do not ignore such costs. But unlike my critics,
           neither do I ignore the crimes that are stopped because people are able to
           defend themselves. The net eﬀect is what is relevant, and that is directly
           measured by what happens to the number of crimes. To the extent that
           people commit crimes with permitted concealed handguns, the number
           of crimes will rise. To the extent that such handguns deter criminals, the
           number of crimes will decline. When criminals substitute diﬀerent types
           of crimes, the issue then is how the medical and other costs of those diﬀer-
           ent crimes compare. As to the costs of diﬀerent crimes, I relied on a study
           produced the National Institute of Justice, rather than produce my own
           independent numbers.
               An interesting contrast to my work is a recent paper published in the
           Journal of the American Medical Association which claimed to show that there
           were “$2.3 billion in lifetime medical costs for people shot in 1994.” Jens
           Ludwig, one of the authors of the study, argues that “cities such as Chicago
           could use the study in their lawsuits against the gun industry.”87 But the
           correct question is not whether guns involve medical costs but whether
           total medical costs are greater with or without guns. The logic is akin to
           determining whether police should be allowed to carry guns only by look-
           ing at the number of wrongful shootings, and not the times that guns
           are used to protect oﬃcers or deter criminals. Eliminating guns will not
           eliminate violence and the costs associated with those attacks. Indeed, from
           a historical perspective, murder rates were higher in England before guns
           were invented. Medical costs also include costs from suicides and attempted
           suicides, and the evidence discussed in chapter 5 indicates that suicides will
           still occur at pretty much the same rate even if guns are not present. For




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          example, crashing one’s car in an attempt to kill oneself can produce sub-
          stantial medical costs, but even methods like overdosing on sleeping pills
          or slitting one’s wrists with a knife involve medical costs.

          9 What happens to the evidence when Florida and counties with fewer than 100,000 people
          are removed from the sample?

             Lott does not respond to Black and Nagin’s finding that excluding Florida
             and small counties (with population less than 100,000) from his samples
             destroys the statistical significance of all of the violent-crime categories ex-
             cept assault. This suggests that Lott’s results are not as robust as he claims.
             True, Lott’s thesis is not embarrassed by varying degrees of deterrence
             across states (especially since he shows that this variance may be related to
             the number of permits issued). However, his thesis is shaken by the consid-
             erable number of state specific crime categories where concealed-handgun
             laws are associated with an increase in crime and where the overall signifi-
             cance of his results is undermined by the exclusion of Florida and small
             counties. (Ian Ayres and John J. Donohue III, “Nondiscretionary Concealed
             Weapons Laws: A Case Study of Statistics, Standards of Proof, and Public
             Policy,” American Law and Economics Review 1, nos. 1–2 [Fall 1999]: 463)
          I had clearly dealt with this issue in the first edition of the book. Dropping
          all counties with fewer than 100,000 people plus Florida reduces the sig-
          nificance in regressions that examine only the average crime rates before
          and after the law is adopted. Making these changes increases the impact
          of the law when one examines the before-and-after trends. As the care-
          ful reader might guess, the reason that the before-and-after average is not
          significant for some crimes is that dropping all these observations actu-
          ally causes the changes to look more like the inverted V that we have so
          frequently discussed. Picking and choosing which observations to include,
          which single specification to report, and even which crime categories to
          report (Black and Nagin do not report the overall violent-crime rates) al-
          lows them to knock down the significance of two of the crime categories.
          (By any standards that I know, a t-statistic of 1.9 for robberies is still statis-
          tically significant at better than the 5 percent level, and their coeﬃcient
          still implies a drop in before-and-after averages of 4.6 percent.) Dropping
          87 percent of the sample and reporting only the specifications examining
          the before-and-after averages may be Black and Nagin’s preferred sample
          and specification, but even these results imply significant benefits and no




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           cost from passing right-to-carry laws. If they had reported the overall
           violent-crime rate, they would have shown that overall violent crime fell
           after the right-to-carry laws were passed.
               Table 9.7 uses the updated data to examine the importance of dropping
           out counties with fewer than 100,000 people as well as Florida. The impact
           of the law is greater for overall violent-crime rates and aggravated assaults
           and smaller for the other three violent-crime categories. Each additional
           year after the law goes into eﬀect produces an additional 3 percent drop in
           violent-crime rates.
               When Black and Nagin break down the diﬀerences by individual states,
           they claim to find three crime categories in which one of the ten states had
           a statistically significant increase in crime rates (West Virginia for murder,
           Mississippi for rape, and Pennsylvania for robbery). But their results do
           not show the variation across states, for they are derived from only a small
           subset of observations from those states. The West Virginia sample included
           only one of its fifty-five counties, as it was the only one with more than
           100,000 people. The Mississippi data included just three of its eighty-two
           counties. The results reported earlier in table 4.9 provide the information
           on how the right-to-carry laws aﬀected the crime rates across states.

           10 Are the results valid only when Maine and Florida are included?

              I will try to summarize the argument here. Ian Ayres and John Donohue
              are concerned about the inclusion of Maine and Florida for several rea-
              sons: (1) the results discussed by Black and Nagin, (2) the issue of whether
              the crack epidemic might have just happened to cause the relative crime
              rates to rise in non-right-to-carry states in the late 1980s, and (3) objec-
              tions to whether Cramer and Kopel were correct in classifying Maine as
              a right-to-carry state. To satisfy their concerns, Ayres and Donohue use
              several diﬀerent approaches, such as dropping both Maine and Florida
              out of the sample. They also divide the shall-issue dummy variable into
              two separate variables: a variable to measure the average before-and-after
              crime rates for those states that adopted their right-to carry laws before
              December 1987 (Maine and Florida) and a similar variable to measure the
              average before-and-after crime rates for those states that adopted their
              crime rates after December 1987.
           Ayres and Donohue find that violent-crime rates consistently fall in states
           adopting right-to-carry laws after 1987, but the eﬀect is often statistically




                                                Exhibit 10
                                                  0652
             Table 9.7 What is the impact of removing both counties with fewer than 100,000 people and Florida from the sample?
                                                                               Percent change in various crime rates for changes in explanatory variables
                                                                               Violent                                                    Aggravated      Property
                                                                               crime       Murder            Rape            Robbery      assault         crime      Burglary   Larceny   Auto theft
             Change in the crime rate from the diﬀerence in the annual         –3.3%*       –0.45%****       –2.6%**        –3.0%*       –4.7%*          –0.8%       –2.1%**    –0.24%    –1.8%**
              change in crime rates in the years before and after the
              adoption of the right-to-carry law (annual rate of change




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              after the law – annual rate of change before the law)




Exhibit 10
             *The F-test is significant at the 1 percent level.
             **The F-test is significant at the 5 percent level.
             ****The F-test is significant at the 15 percent level.
                                                                                                                                                                                                       3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1665 Page
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           insignificant. The drops in violent crime appear much larger and more sig-
           nificant for the earlier states. Indeed, as reported earlier in this book, Maine
           and Florida experience two of the three largest overall drops in violent
           crime (see table 4.9). Yet the focus on the before-and-after averages again
           obscures the benefits from right-to-carry laws.
              The results presented in table 9.8 take the two approaches that I have
           been using: the estimated number of permits issued in a state and the
           diﬀerences between the trends in crime rates before and after the adop-
           tion of the right-to-carry laws. With the exception of rape, Maine and
           Florida experience greater drops in all violent-crime categories, but all the
           violent-crime rates decline for states adopting right-to-carry laws during
           the post-1987 period and all but two of these declines are statistically signifi-
           cant at least at the 10 percent level. The estimates using the percentage of
           the population with permits imply that there were no statistically diﬀerent
           eﬀects for the two sets of states for murder and rape.

           11 Was it proper to assume that more permits were issued in the more populous counties after
           right-to-carry laws were adopted?

              Since the links between the issuance of permits and the crime reduction
              that Lott attributes to the shall issue laws is so crucial to establishing cau-
              sality, more research on this issue is needed. Lott’s county population
              proxies rely on his assumption that population density is a good predictor
              of the diﬃculty in obtaining permits under discretionary laws. However, if
              many states went directly from prohibiting concealed weapons to a non-
              discretionary law (like Arizona), Lott’s assumed relationship between per-
              mits and density would break down. (Ian Ayres and John J. Donohue III,
              “Nondiscretionary Concealed Weapons Laws: A Case Study of Statistics,
              Standards of Proof, and Public Policy,” American Law and Economics Review 1,
              nos. 1–2 [Fall 1999]: 446)
           The original tests shown in figures 4.1 and 4.2 were based upon conversa-
           tions that I had had with state oﬃcials in nondiscretionary states. If the state
           oﬃcials’ claims were correct that high-population counties had been much
           more restrictive in issuing permits than low-population counties, adoption
           of right-to-carry laws would have seen the biggest issuance of permits in
           these counties and thus the biggest drops in crime. The results confirmed
           this prediction. Obviously, this claim depends upon all the states switch-
           ing from discretionary to nondiscretionary laws, and indeed all the states
           examined for the tests shown in these earlier figures did make that change.



                                                Exhibit 10
                                                  0654
             Table 9.8 Reexamining the claim that states adopting the law before and after December 1987 were differently affected by right-to-carry laws
                                                                                           Percent change in various crime rates for changes in explanatory variables
                                                                                           Violent                                                  Aggravated      Property
                                                                                           crime        Murder           Rape          Robbery      assault         crime      Burglary   Larceny   Auto theft
             States adopting law prior to December 1987: one-                              –15.8%a       –5.4%b         –3.9%d       –9.7%a        –19.1%a         –15.5%a     –6.1%a     –22.6%a   –8.9%a
               percentage-point change in the share of the state popu-
               lation with permits to carry concealed handguns
             States adopting law after December 1987: one-percentage-                       –4.1%a       –2.7%a         –5.0a        –1.0%          –7.8%a            4.8%a    –2.0%a       8.7%a    0.34%
               point change in the share of the state population with
               permits to carry concealed handguns
             States adopting law prior to December 1987: change in the                      –7.2%*       –9.2%*         –0.9%        –7.1%*         –5.7%*          –2.4%*     –1.1%       –4.1%*   –4.1%*
               crime rate from the diﬀerence in the annual change in
               crime rates in the years before and after the adoption of
               the right-to-carry law (annual rate of change after the




  0655
               law – annual rate of change before the law)
                                                                                                                                                                                                                                                 1057




             States adopting law after December 1987: change in the                         –1.7%*       –0.7%***       –3.3%*       –2.9%*         –2.4%*          –0.7%*     –2.4%*       0.5%*   –1.4%*




Exhibit 10
               crime rate from the diﬀerence in the annual change in
               crime rates in the years before and after the adoption of
               the right-to-carry law (annual rate of change after the
               law – annual rate of change before the law)
             a
              The result is significant at the 1 percent level for a two-tailed t-test.
             b
              The result is significant at the 5 percent level for a two-tailed t-test.
             d
              The result is significant at the 12 percent level for a two-tailed t-test.
             *The F-test is significant at the 1 percent level.
             ***The F-test is significant at the 10 percent level.
                                                                                                                                                                                                                 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1667 Page
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           None of the states during 1977–1992 switched from not issuing any permits
           to nondiscretionary rules. Arizona made its change in late 1994.
              The updated results in this chapter have continued to remain conscious
           of this issue, and I found that the more populous counties in states that
           changed from discretionary to nondiscretionary laws had bigger relative
           drops in violent-crime rates than states that changed from banning con-
           cealed handguns to nondiscretionary laws.

           12 Did the passage of right-to-carry laws result in more guns being carried in public places?

              Perhaps by “more guns,” Lott means more guns carried in public places.
              However, surveys indicate that 5–11% of US adults admit to carrying guns,
              dwarfing the 1% or so of the population that obtained concealed-weapon
              permits. . . . And if those who got permits were merely legitimating what
              they were already doing before the new laws, it would mean there was
              no increase at all in carrying or in actual risks to criminals. One can al-
              ways speculate that criminals’ perceptions of risk outran reality, but that
              is all this is—a speculation. More likely, the declines in crime coinciding
              with relaxation of carry laws were largely attributable to other factors
              not controlled in the Lott and Mustard analysis. (Tim Lambert, “Do More
              Guns Cause Less Crime?” from his posting on his Web site at the School
              of Computer Science and Engineering, University of New South Wales
              [http: // www.cse.unsw.EDU.AU / ~lambert / guns / lott / ])
           The survey results mentioned by Lambert refer to all transportation or
           carrying of guns by Americans. They include not only carrying concealed
           handguns (whether legally or illegally) but also people who have guns with
           them to go hunting or who may simply be transporting guns between resi-
           dences.88 On the other hand, any survey that focused solely on the illegal
           carrying of concealed handguns prior to the adoption of the law would find
           it diﬃcult to get people to admit that they had been violating the law.
               The 1 percent figure Lambert picks for carrying concealed handguns is
           also very misleadingly low. As I have shown in this book, permitting rates
           depend upon many factors (such as the level of fees and the amount of
           training required), but they also depend crucially on the number of years
           that the permitting rules have been in eﬀect. The longer the amount of
           time that the rules are in eﬀect, the more people who obtain permits. Not
           everyone who will eventually obtain a permit will apply for it immediately.
           With the large number of states that have only recently granted permits
           to people it is misleading to think that the current permit rate tells us the



                                                 Exhibit 10
                                                   0656
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          rate at which people in those states will be carrying concealed handguns
          even a few years from now.
             Given how extremely law abiding these permit holders tend to be, it
          seems doubtful that most people carrying concealed handguns with per-
          mits were illegally carrying concealed handguns before the passage of the
          right-to-carry law. In many states, illegally carrying a concealed weapon
          would be the type of violation that would prevent people from ever even
          getting a permit. There is no evidence that these permit holders have vio-
          lated this particular law. Yet even if as many as 10 percent of permit holders
          had previously been illegally carrying a concealed handgun, the coeﬃcients
          from table 9.3 would still imply that for every 900 additional people with
          permits there are 0.3 fewer murders and 2.4 fewer rapes.
             Finally, while the evidence linking the rate at which permits are issued
          and the drops in crime rates is important, it is only one portion of the
          evidence. For example, if there was no change in the number of people
          carrying concealed handguns, why did violent-crime rates in neighboring
          counties without the law increase at the same time that they were falling
          in neighboring counties with the right-to-carry law?

          13 Shouldn’t permit holders be required to have the same type of training as police ofﬁcers?

             Proponents of [right-to-carry] legislation contend that citizens will be ad-
             equately trained to handle firearms responsibly, but this is rarely true.
             Police departments require oﬃcers to go through a great deal of safety and
             proficiency training before issued a gun—followed by regular refresher
             courses and qualifications throughout the oﬃcer’s career. Citizens armed
             under the provisions of non-discretionary carry laws are not so highly
             trained, and frequently not trained at all, thereby further increasing the
             risk of injury and death with a firearm. (From the Web page of Handgun
             Control, Inc., entitled “Will the Real John Lott Please Stand Up?”)
          Police oﬃcers face a much more diﬃcult job than citizens with concealed
          handguns. An oﬃcer cannot be satisfied if the criminal runs away after
          he brandishes a gun. Instead, police must act oﬀensively, which is much
          more dangerous. Citizens are rarely put in situations that require the skill
          of pursuing an attacker.
             There are both costs and benefits to training. Yet the question is ulti-
          mately an empirical one. Training requirements improve the deterrence
          eﬀect for concealed-handgun laws, but the eﬀects are small. What I do
          find is that longer training periods reduce the number of people obtaining



                                                Exhibit 10
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           permits, and the net eﬀect of increased training is clearly to reduce the
           deterrent eﬀect of adopting right-to-carry laws.


           Conclusion
           The noise came suddenly from behind early Tuesday—feet rapidly pounding the pave-
           ment, voices cursing. Before Jim Shaver could turn around, he was knocked to the ground
           at East 13th Avenue and Mill Street, fighting oﬀ punches from two young men. Police
           said the assailants figured they’d found a drug dealer to rob, someone who’d have both
           drugs and money. They couldn’t have been more wrong. Their victim was a 49-year-old
           nurse on his way to work—a nurse with a concealed weapons permit. The fists kept fly-
           ing, even as Shaver told them—twice, he said—that he had a gun. Fearing for his life,
           Shaver pulled a .22-caliber revolver out of his coat pocket and fired several shots. One of
           them hit 19-year-old Damien Alexander Long in the right hip. Long’s alleged accomplice,
           Brandon Heath Durrett, 20, wasn’t injured. The pair ran oﬀ.89

           A man who police said kidnapped a 2-year-old child and robbed a disabled elderly woman
           of a medical monitor was in jail Friday after he was captured and held at gun point by
           a man with a license to carry a concealed handgun. . . . “I have never pulled a gun on
           anyone before, and I wouldn’t have pulled a gun on this man if he had not run oﬀ with
           that little girl,” [the man who stopped the crime] said. “That mother was screaming for
           her child. She was quite upset.”90

           Awe-struck Phoenix police declared Mr. Vertigan a hero and gave him $500 and a new
           pistol for catching a cop killer after running out of ammunition in a gunfight with three
           heavily armed men. Mr. Vertigan . . . came upon three armed Mexican drug-traﬃckers
           fatally ambushing a uniformed Phoenix policeman who was patrolling alone in Phoenix’s
           tough Maryvale precinct. Firing 14 shots with his left hand during a slam-and-bump car
           chase that left the killers’ license number imprinted on the front of his own car, Mr. Ver-
           tigan emptied his Glock 31 .357 Sig. He wounded the shooter, who was firing at him, and
           forced the getaway car to crash, slowing the shooter’s partners long enough for pursuing
           police to seize them, as well as a pound of cocaine “eight balls” they were dealing from
           their white Lincoln. “I always felt that if my life was in danger or anyone around me was
           in immediate danger I never would hesitate to use that gun. Unfortunately, that day
           came,” Mr. Vertigan said.91

           A man who tried to commit an armed robbery at a Bensalem convenience store Friday
           morning was thwarted by a customer who pulled out his own gun and fired five shots
           at the crook. . . . Fearing he would be killed, police said, the customer began shooting
           at the suspect. . . . Police said the clerks were “a little shaken up” after the attempted



                                               Exhibit 10
                                                 0658
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          robbery—but they guessed that the would-be robber was probably just as shocked. “I’ll
          bet he never expected that to happen,” said Fred Harran, Bensalem’s deputy director of
          public safety.92

          All these recent cases involved individuals with permitted concealed hand-
          guns. During 1999 concealed permit holders have prevented bank robber-
          ies, stopped what could have been a bloody attack by gang members at
          a teenage girl’s high school graduation party, and stopped carjackings.93
          In the couple of months during which I was updating this book, armed
          citizens have helped capture murderers who had escaped prison; stopped
          hostage taking at a business, a situation that otherwise surely would have
          resulted in multiple deaths; and prevented robberies and rapes.94 Residen-
          tial attacks that were stopped by citizens with guns during 1999 were ex-
          tremely common.95
              One of the bigger puzzles to me has been the news coverage on guns.
          Admittedly, some of it is easy to explain. Suppose a media outlet has two
          stories to choose from: one in which there is a dead body on the ground
          and it is a sympathetic person like a victim, another in which a woman
          brandishes a gun and the attacker runs away, no shots are fired, no dead
          bodies are on the ground, and no crime is actually consummated. It seems
          pretty obvious which story is going to get the news coverage. Yet if we re-
          ally want to answer the question of which policies will save lives, we must
          take into consideration not only the newsworthy bad events but also the
          bad events that never happen because people are able to defend themselves.
          Unfortunately, the newsworthy bad events give people a warped impres-
          sion of the costs and benefits from having guns around.
              Even when defensive gun uses are mentioned in the press, those men-
          tions do not focus on typical defensive gun uses. The news stories focus
          primarily on the extremely rare cases in which the attacker is killed, though
          a few times press stories do mention cases of a gun being used to seri-
          ously wound an attacker. News coverage of defensive gun uses in which a
          would-be victim simply brandished a gun are essentially unheard-of. I don’t
          think one has to rely on a conspiracy explanation to understand why this
          type of news coverage occurs, for it is not that surprising that dead attackers
          are considered more newsworthy than prevented attacks in which nobody
          was harmed. Even so, it is still important to recognize how this coverage
          can color people’s perspective on how guns are used defensively. Since most
          people probably are very reticent to take a life, if they believe that defensive




                                            Exhibit 10
                                              0659
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           gun use almost always results in the death of an attacker, they will become
           more uncomfortable with guns.
               While these examples are easily understood, some other news coverage
           is not as obvious. Take the case of accidental gun deaths involving young
           children, which we discussed in chapter 1. My guess is that people believe
           these events to be much more frequent than they actually are. When I
           have given talks, I have sometimes asked the audience how many children
           under age five or ten die from accidental gun shots each year; the answers
           are frequently in the thousand-plus range. A few answers might mention
           only hundreds of deaths per year. No one comes close to the Centers for
           Disease Control numbers: seventeen accidental gun deaths for children
           under age five and forty-two for children under ten in 1996. The informa-
           tion that forty children under age five drown each year in five-gallon water
           buckets or that eighty drown in bathtubs always astounds the audience.
           People remember national news reports of young children dying from ac-
           cidental handgun shots in the home. In contrast, when was the last time
           that you heard on the national news of a child drowning in a five-gallon
           water bucket?96
               As a father of four boys and one daughter, I can’t imagine what life would
           be like if one of my children died for any reason, including guns. But why
           so much more attention is given to guns when so many other risks pose a
           greater threat to our children is not immediately obvious to me. Indeed, it
           is diﬃcult to think of anything other than guns that is as prevalent around
           American homes, and that is anywhere near as potentially dangerous, yet is
           responsible for as low an accidental death rate. With around 80 million people
           owning a total of 200–240 million guns, the vast majority of gun owners must
           be extremely careful or such gun accidents would be much more frequent.
               I have asked some reporters why they think accidental gun deaths re-
           ceive so much coverage, and the only answer seems to be that these events
           get coverage because they are so rare. Dog bites man is simply not news-
           worthy because it is so common, but man bites dog, well, that is news. Yet
           this explanation still troubles me, for there are other equally rare deaths
           involving children that get very little news coverage.
               Another puzzle is the lack of coverage given to cases in which citizens
           with guns have prevented multiple-victim public shootings from occur-
           ring. Given the intense concern generated by these attacks, one would
           think that people would be interested in knowing how these attacks were
           stopped.




                                          Exhibit 10
                                            0660
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              For a simple comparison, take the justified news coverage accorded the
          heroic actions of Dave Sanders, the Columbine High School teacher who
          helped protect some of the students and was killed in the process. By the
          Sunday morning five days after the incident, a Lexis-Nexis search (a type
          of on-line computer search that includes news media databases) indicates
          that over 250 of the slightly over 1,000 news stories around the country on
          this tragedy had mentioned this hero.
              Contrast this with other school attacks in which the crimes were stopped
          well before the police were able to arrive. Take, for example, the October
          1997 shooting spree at a high school in Pearl, Mississippi, described at the
          beginning of this section, which left two students dead. It was stopped by
          Joel Myrick, an assistant principal. He retrieved his permitted concealed
          handgun from his car and physically immobilized the shooter for about
          five minutes before police arrived.
              A Lexis-Nexis search indicates that 687 articles appeared in the first
          month after the attack. Only 19 stories mentioned Myrick in any way. Only
          a little more than half of these mentioned he used a gun to stop the at-
          tack. Some stories simply stated Myrick was “credited by police with help-
          ing capture the boy” or that “Myrick disarmed the shooter.” A later story
          reported by Dan Rather on CBS noted that “Myrick eventually subdued
          the young gunman.” Such stories provide no explanation of how Myrick
          accomplished this feat.
              The school-related shooting in Edinboro, Pennsylvania, which left one
          teacher dead, was stopped only after James Strand, the owner of a nearby
          restaurant, pointed a shotgun at the shooter when he was finishing reload-
          ing his gun. The police did not arrive until eleven minutes later. At least
          596 news stories discussed this crime during the next month, yet only 35
          mentioned Strand. Once again, the media ignored that a gun was used to
          stop the crime. The New York Daily News explained that Strand “persuaded
          [the killer] to surrender,” while the Atlanta Journal wrote how he “chased
          [the killer] down and held him until police came.” Saying that Strand
          “persuaded” the attacker makes it sound as if Strand were simply an eﬀec-
          tive speaker.
              Neither Myrick nor Strand was killed during their heroics. That might
          explain why they were ignored to a greater degree than Dave Sanders in
          the Columbine attack. Yet one suspects a more politically correct explana-
          tion—especially when the media generally ignore defensive gun use. With
          five public-school-related shootings occurring during the 1997–1998 school




                                        Exhibit 10
                                          0661
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           year, one might have thought that the fact that two of them were stopped
           by guns would register in the public debate over such shootings.
              The media bias can be amply illustrated by other examples as well. Take
           the example of the July attack in Atlanta, which left nine people dead. Mark
           Barton killed people working at two stock brokerages.97 It did deserve the
           extensive news coverage that it received. Yet, within the next week and a
           half, there were three cases around Atlanta in which citizens with guns
           stopped similar attacks from occurring, and these incidents were given vir-
           tually no news coverage. They were an attack at a Lavonia, Georgia, store
           by a fired worker; an attack by a mental patient at an Atlanta hospital; and
           an Atlanta truckjacking.98 The last two incidents were stopped by citizens
           with permitted concealed handguns. The first was stopped by someone
           who had only been allowed to buy a gun hours before the attack because
           of Georgia’s instant background check system. Meanwhile, a week after the
           Atlanta massacre, another attack, which left three people dead at a busi-
           ness in Birmingham, Alabama, again generated national television news
           coverage on all the networks and was the lead story on the CBS and NBC
           evening news.99
              Again, I can see that bad events that never occur are not nearly as
           newsworthy as actual bad events. Yet multiple-victim attacks using
           methods other than guns are frequently ignored. On May 3, 1999, Steve
           Abrams drove his Cadillac into a crowded preschool playground because
           he “wanted to execute innocent children.”100 Two children died horrible
           deaths as one was mangled under the wheels and the other pinned to a
           tree by the car, and another five were badly injured. One woman’s son was
           so badly mauled that “teachers and other parents stepped between [her]
           and the Cadillac to prevent her from seeing her son’s battered body” even
           though he was still alive. Yet only one television network provided even a
           passing reference to this attack.101 One very obvious news angle, it seems
           to me, would be to link this attack to the various public school attacks.
           Compare this news coverage with the attention generated by Buford Fur-
           row’s August 10, 1999, assault on a Jewish community center, which left
           five people wounded, three of them young boys.102 Multiple-victim knife
           attacks have been ignored by the national media, and few people would
           realize that there were 1,884 bombing incidents in the United States in 1996,
           which left a total of 34 people dead and 365 people injured.103
              The news coverage is also constantly framed as, “Is more gun control
           the answer?”104 The question is never asked, “Have increased regulations




                                          Exhibit 10
                                            0662
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          encouraged these attacks by making potential victims more vulnerable?
          Do these attacks demonstrate the importance of letting people be able to
          defend themselves?”
              We are constantly bombarded with pro-gun-control claims. While my
          research, when it is referred to in the press, is labeled as “controversial” or
          worse, the claims from the Clinton administration and Handgun Control,
          Inc., are reported without reference to any academics who might object to
          them. For years the Clinton administration has been placing public service
          ads claiming that “thirteen children die every day from guns,” linking this
          claim with elementary school children’s voices or pictures. But few of these
          thirteen deaths fit the image of innocent young children. Nine of these
          deaths per day involve “children” between seventeen and nineteen years
          old, primarily homicides involving gang members. Eleven of the deaths
          per day involved fifteen- to nineteen-year olds. This does not alleviate the
          sorrow created by these deaths or the 1.9 children under age fifteen that
          die from guns every day, but it strains credulity to have this number men-
          tioned as evidence justifying the importance of trigger locks.
              Much of the debate today is framed so as to blame the greater acces-
          sibility of guns in America for the recent school violence. Gun-control
          groups claim that today “guns are less regulated than toasters or teddy
          bears.”105 The solutions range from banning gun possession for those un-
          der twenty-one to imprisoning adults whose guns are misused by minors
          under eighteen.
              Yet, to the contrary, gun availability has never before been as restricted
          as it is now. As late as 1967, it was possible for a thirteen-year-old virtually
          anywhere in the United States to walk into a hardware store and buy a rifle.
          Relatively few states even had age restrictions for buying handguns from a
          store. Buying a rifle through the mail was easy. Private transfers of guns to
          juveniles were also unrestricted.
              It was common for schools to have shooting clubs. Even in New York
          City, virtually every public high school had a shooting club up until 1969.
          It was common for high school students to take their guns with them to
          school on the subways in the morning and turn them over to their home-
          room teacher or the gym coach so the heavy guns would simply be out of
          the way. After school, students would pick up their guns when it was time
          for practice. The federal government would even give students rifles and
          pay for their ammunition. Students regularly competed in citywide shoot-
          ing contests, with the winners being awarded university scholarships.




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               Contrast those days with regulations today. College or elementary
           students are now expelled from school for even accidentally bringing a
           water pistol. Schools prohibit images of guns, knives, or other weapons
           on shirts, on hats, or in pictures. Elementary school students have been
           suspended for carrying around a mere picture of a gun. High schools have
           refused to publish yearbook pictures of students sitting on howitzers, even
           when the picture shows graduating students who are joining the military.
           School superintendents have lost their jobs for even raising the question of
           whether someone at a school should have a gun for protection.106
               Since the 1960s, the growth of federal gun control has been dramatic. Be-
           fore the Brady law in 1994, background checks and waiting periods were not
           required in most states. It was not a federal crime for those under eighteen
           to possess a handgun until 1994. The 1990s saw dramatically higher fees for
           registered dealers as well as many added paperwork requirements. Federal
           gun laws in 1930 amounted to only 3,571 words. They expanded to 19,907
           words in 1960 and then more than quadrupled to 88,413 words in 1999.107
               The growth in state laws has kept pace. By 1997, California’s gun-
           control statutes contained an incredible 158,643 words, nearly the length
           of the King James Version of the New Testament. And in 1999, at least four
           new gun laws have already been signed into law by the governor. Even
           a “gun-friendly” state government such as Texas has gun-control provi-
           sions containing over 41,000 words. None of this even begins to include the
           burgeoning local regulations on everything from licensing to mandatory
           gun locks.
               Yet without academic evidence that existing regulations such as gun-
           free zones, the Brady law, and gun locks produce desirable results, it is
           surprising that in 2000 we are now debating what new gun-control laws to
           pass. With that in mind, 294 academics from institutions as diverse as Har-
           vard, Stanford, Northwestern, the University of Pennsylvania, and UCLA
           released an open letter to Congress during 1999 stating that the proposed
           new gun laws are “ill advised.” They wrote that “With the 20,000 gun laws
           already on the books, we advise Congress, before enacting yet more new
           laws, to investigate whether many of the existing laws may have contrib-
           uted to the problems we currently face.”108
               An eﬀective as well as moving piece I recently read was written by Dale
           Anema, a father whose son was trapped for hours inside the Columbine
           High School building during the April 1999 attack. His agony while waiting
           to hear what happened to his son touches any parent’s worst fears. Because




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          he had witnessed this tragedy, he described his disbelief over the policy
          debate:
            Two pending gun bills are immediately dropped by the Colorado legisla-
            ture. One is a proposal to make it easier for law-abiding citizens to carry
            concealed weapons; the other is a measure to prohibit municipalities from
            suing gun manufacturers. I wonder: If two crazy hoodlums can walk into
            a “gun-free” zone full of our kids, and police are totally incapable of de-
            fending the children, why would anyone want to make it harder for law-
            abiding adults to defend themselves and others? . . . Of course, nobody
            on TV mentions that perhaps gun-free zones are potential magnets to
            crazed killers.109




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                        10    A Decade Later: Nine More Years of
                              Data and Nine More States
                             Introduction
                             Ten years have passed since the second edition of
                             this book. During that time, both the argument
                             and the data have been hotly debated. This debate
                             has often been unpleasant, vociferous, and even
                             disingenuous. To say that my career has suﬀered
                             as a result is something of an understatement
                             and, alas, an unpleasant warning to other schol-
                             ars who dare to go against the academic grain.
                             And yet, as this chapter will document, within
                             the scholarly community the research has with-
                             stood criticism and remains sound. Further, the
                             additional ten years of data provide continued
                             strong support for the arguments I initially put
                             forward on right-to-carry and other gun-control
                             laws.
                                 I would never have predicted that I would
                             still be working on gun control a decade and a
                             half after I started thinking about the issue. Back
                             in 1993, I had done extensive research on crime,
                             having served as chief economist at the United
                             States Sentencing Commission, but the issues I
                             was interested in were corporate and white-collar
                             crime. I had little interest in the gun-control
                             issue, and I rarely read academic papers on the
                             topic. It is strange how seemingly small decisions
                             can cascade into results that one would never
                             guess. In my case, the impetus came when I was
                             teaching at the Wharton Business School from
                             a couple students asking if I could spend a little

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                                   Exhibit 10
                                     0666
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          bit of one class talking about gun control and crime. That simple request
          made me sit down and read many of the existing academic papers. It made
          me realize how incredibly poorly done the research had been.
              Generally, one tries to do work that matters to society, but one is rarely
          successful. Still, I frequently doubt that the research was personally worth
          it. The personal attacks and misstatements about my work and other as-
          pects of my life have come fast and furious for years. As Matt Bai, then
          of Newsweek, wrote in 2001, “Lott may be brilliant, but his theories are so
          controversial that some academics won’t so much as look at him when
          he’s standing in a room.”1 One academic paper in 2003 by law professor
          John Donohue suggested that there could be “blood on Lott and Mustard’s
          hands” because our research may have caused states to adopt right-to-carry
          laws. Donohue used terms such as “now discredited work,” “fraud,” and
          “blight on democracy,” and warned I was causing “harm to the democratic
          process” by “encouraging the adoption of laws on false pretenses.”2 He was
          still making similar claims in academic seminars five years later.3
              Others impugned my methodology, insisting that researchers could not
          replicate my results showing that right-to-carry laws reduce crime. One
          even alleged that I paid oﬀ editors at the University of Chicago Press to
          publish other research that supported my findings.4
              Obviously, though, there is much more to this debate than the personal
          attacks, and we will turn to those empirical issues first. The following sec-
          tions will revisit the risks and benefits of letting law-abiding people carry
          concealed handguns. Do bans on concealed handguns make people safer?
          Do those who carry concealed handguns represent a threat to others? Do
          they use their guns to commit crime? To look at the impact of right-to-
          carry laws on crime rates, I will update the data previously examined in
          this book by nine years—through 2005—to see if it alters the relationship
          between right-to-carry laws and crime rates.
              The more-guns-less-crime thesis will be examined by looking at what
          happens to crime rates when cities or countries ban guns. The evidence
          should make gun-control advocates pause, as all the gun bans that I have
          studied show that murder rates increase after the ban is enacted.
              The chapter will then summarize the conclusions that other published
          studies have reached, and I will discuss the objections raised against my
          research, including which type of data is best, county- or state-level data.
          Finally, the impact of other gun-control laws, such as assault weapons bans,
          gun show regulations, safe-storage rules, and the Castle Doctrine, will be
          examined. This is the first study to look at the Castle Doctrine, which elimi-



                                         Exhibit 10
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          nates the requirement that people in their own home have to retreat as far
          as possible before defending themselves.


          The Continuing Debate
          Del. Eleanor Holmes Norton (D-D.C.) and gun control groups are concerned that some
          visitors attending President-elect Obama’s inauguration may try to pack heat because of
          a rule allowing concealed weapons in national parks.
            The Bush administration recently altered federal regulations to allow people with per-
          mits to carry concealed firearms while in national parks if the park falls within a state or
          district that allows concealed weapons.
            Washington D.C. does not allow concealed weapons, but Norton and others think con-
          fusion over the rule could lead visitors to bring guns to Obama’s Jan. 20 inauguration,
          which will be held on two miles of National Park land.
          —The Hill, December 27, 20085

          On January 9, 2009, the National Park Service was tasked to live by the same rules that the
          Bureau of Land Management and the U.S. Forest Service and the rest of the nation use
          [and apply each state’s right-to-carry laws to the national parks in that state]. On Janu-
          ary 10, 2009, the earth rotated. The sun rose. The Constitution still worked. Law-abiding
          citizens were still, well, law-abiding. Apparently, we all survived.
          —Representative Rob Bishop (R-UT), January 15, 20096


          Despite all our experience with permitted concealed handguns, the debate
          continues. There are always fears about what might happen. Whether it
          is concealed-handgun laws, assault weapons bans, gun shows, one-gun-
          a-month rules, banning inexpensive guns, or safe-storage laws, the same
          issues always reappear. Do guns on balance save lives or cost lives? Will gun-
          control laws primarily disarm law-abiding citizens or criminals?
              In the United States, we have a lot of experience with concealed-
          handgun permit holders. In 2007, there were about 5 million Americans
          permitted to carry concealed handguns (see table 10.1). Thirty-nine states
          have right-to-carry laws and nine have may-issue laws. Only two states,
          Illinois and Wisconsin, still completely ban people from carrying con-
          cealed handguns.7 That is a big change from just the eight states that had
          right-to-carry laws in the early 1980s.
              The precise number of people legally carrying concealed guns isn’t
          known, because three of the right-to-carry states (Alaska, Montana, and
          Vermont) do not require permits to carry a concealed handgun in all or



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          Table 10.1 Permits and percent of adult population with permits by state in 2007
                                                                                             Percent of adults
          State                                                         Number of permits    with permits
                               a
          Alabama (estimate)                                             >281,000            >8%
          Alaska (no permit required—permits acquired to                    9,547             1.91%
             carry gun in other states)
          Arizona                                                            99,370            2.12%
          Arkansas                                                           54,919            2.58%
          California                                                                  ?
          Colorado                                                          28,454             0.78%
          Connecticut                                                      133,252             4.94%
          Delaware                                                                 ?
          Florida                                                          445,038            3.13%
          Georgia                                                        >300,000            >4.31%
          Hawaii                                                                 0            0%
          Idaho                                                             48,364            4.42%
          Illinois                                                      Banned                0%
          Indiana                                                          295,643            6.21%
          Iowa                                                              28,383            1.25%
          Kansas                                                             8,958            0.43%
          Kentucky                                                          95,638            2.97%
          Louisiana                                                         14,084            0.44%
          Maine                                                                    ?
          Maryland (Feb. 2006)                                              36,755            0.86%
          Massachusetts (fall 2006)b                                     <203,302            <4.04%
          Michigan                                                         155,000            2.02%
          Minnesota                                                         50,777            1.29%
          Mississippi                                                       47,500            2.20%
          Missouri                                                          36,105            0.81%
          Montana (Dec. 2008); no permit required in 98%                    17,974            2.44%
             of state
          Nebraska                                                            2,109            0.16%
          Nevada                                                                      ?
          New Hampshire (nonresidents only; state does not                   29,609            2.92%
             collect county info for residents)
          New Jersey (Jan. 13, 2009)c                                       10,821             0.17%
          New Mexico                                                        10,566             0.72%
          New York City only                                                 2,555             0.02%
          North Carolina                                                    95,502             1.39%
          North Dakota                                                       8,364             1.68%
          Ohio                                                              97,912             1.12%
          Oklahoma                                                          57,540             2.12%
          Oregon                                                            96,005             3.33%
          Pennsylvania                                                     668,372             6.89%
          Rhode Island                                                                ?




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          Table 10.1 (continued)
                                                                                                                    Percent of adults
          State                                                                      Number of permits              with permits
          South Carolina                                                                 56,715                        1.69
          South Dakota                                                                   41,000                        6.87
          Tennessee                                                                     179,356                        3.83
          Texas                                                                         288,909                        1.68
          Utah                                                                          108,100                        5.92
          Vermont                                                                    No permit required
          Virginia                                                                      146,874                        2.51
          Washington                                                                    236,975                        4.82
          West Virginia                                                                  82,000                        5.73
          Wisconsin                                                                  Concealed carry
                                                                                      banned
          Wyoming                                                                        12,278                      3.09
           Total                                                                     >4,621,625                     >2.03
          Note: Many of these data were collected by Chris Bird, and I appreciate his sharing this with me. Sources for active
          concealed-carry permits as of the following dates: Alaska Department of Public Safety as of Aug. 17, 2007; Donna J.
          Street, administrative supervisor, Arizona Department of Public Safety, Dec. 2007; Arkansas State Police, Aug. 20,
          2007; Colorado Sheriﬀs Association, Dec. 31, 2006; Connecticut State Police, Sept. 6, 2007; Florida Department of Agri-
          culture and Consumer Services, July 31, 2007; Hawaii state senator Sam Slom, Jan. 18, 2009; Sam Knowles, Program
          Services Bureau, Iowa Department of Public Safety, Dec. 2007; Idaho State Police, Aug. 22, 2007; Kansas Attorney
          General’s Oﬃce, Aug. 1, 2007; Kentucky State Police, Aug. 1, 2007; Louisiana State Police, Aug. 28, 2007; for Maryland,
          http: // www.marylandshallissue.org / ccwdata.html; Mississippi Department of Public Safety, Aug. 29, 2007; Missouri
          Highway Patrol, Aug. 3, 2007; Nebraska State Patrol, Aug. 30, 2007; New Jersey state assemblyman Michael Carroll;
          New Mexico Department of Public Safety, Aug. 14, 2007; North Carolina Department of Justice, Sept. 12, 2007; Oﬃce
          of North Dakota Attorney General, Bureau of Criminal Investigation, Aug. 30, 2007; Ohio Attorney General’s Oﬃce,
          June 30, 2007; Oklahoma State Bureau of Investigation, July 17, 2007; Oregon State Police, Sept. 4, 2007; Pennsylvania
          State Police, Apr. 27, 2007; South Carolina Law Enforcement Division, Sept. 5, 2007; Tennessee Department of Safety,
          May 8, 2007; Virginia State Police, Aug. 5, 2007; State of Washington, Department of Licensing, Sept. 5, 2007. Other
          information: Alabama (Stan Diel, “Metro Zarea Loaded with Concealed Guns Records Show More than 1 in 10 Adults
          May Have Carry Permits; For Many, ‘It’s an Insurance Policy,’” Birmingham News, Feb. 18, 2007, p. A1; and Christopher
          Pelton, “Packing Heat, Discretely,” Florence Times Daily, Aug. 6, 2008), Georgia (“Gun Permit Holders Praise New Georgia
          Law,” WALB News, May 15, 2008 [http: // www.walb.com / Global / story.asp?S=8331521&nav=5kZQ]; this information
          was also confirmed by Ed Stone with GeorgiaCarry.org), Indiana (Lt. Jerry Berkey, Indiana State Police, 317–232–8263),
          Massachusetts (Bob Hohler, “Many Players Regard Firearm as a Necessity,” Boston Globe, Nov. 10, 2006 [unable to verify
          independently]), Michigan (Dawson Bell, “Michigan Sees Fewer Gun Deaths—with More Permits,” Detroit Free Press,
          Jan. 6, 2008), Minnesota (http: // www.madfi.org / permitcount.asp), Montana (Ted Richardson, customer support tech-
          nician, Montana Department of Justice; permits as of Dec. 12, 2008), New Hampshire (Rosemary Ruby, counter clerk
          4, New Hampshire State Police, Permits and Licenses Unit), New York City (Chris Faherty, “Concealed Pistols Permits
          Drop in City,” New York Sun, Aug. 29, 2007 ), South Dakota (Ben Shouse, “South Dakotans No. 1 in Permits to Conceal
          Guns,” Argus Leader, Dec. 17, 2006), Texas (Texas Department of Public Safety, Dec. 31, 2007 [http: // www.txdps.state.tx
          .us / administration / crime_records / chl / PDF / ActLicAndInstr / ActiveLicandInstr2007.pdf ]), Utah (Utah Department of
          Public Safety [http: // www.des.utah.gov / bci / brady_statistics.html#]), and West Virginia (“West Virginia Reciprocity
          Started,” Centre Daily Times [State College, PA], Aug. 30, 2007).
          a
            The estimate for Alabama was obtained from the six counties for which permit information was available. Data were
          available for six counties. The state rate was obtained assuming that the entire state averaged the lowest rate shown
          for these counties. One of these counties is Jeﬀerson County, the most densely populated county in the state, where
          Birmingham is located. Even though urban counties generally tend to have lower rates of permit holding in Jeﬀerson
          County, 11 percent of adults have permits. If that rate holds for the rest of the state, about 387,000 Alabamans would
          have permits.
          b
            While a class A license to carry firearms is required in order to carry, some licenses are restricted by the issuing police
          department to prohibit carrying.
          c
            9,798 of these were for retired police oﬃcers; 1,023 were for private citizens.




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          virtually all areas in those states. Alaska and Montana grant permits so that
          their residents can carry concealed handguns in other states, and Mon-
          tana residents need permits to carry guns only within the city limits of
          Montana’s six largest cities. Vermont doesn’t require or grant any permits.
          In addition, the figures are diﬃcult to determine precisely in states like Ala-
          bama, where the permits are issued by the sixty-four local sheriﬀs’ oﬃces
          and can only be obtained by contacting each office.8
               Interestingly, no state that has adopted a right-to-carry law has ever
          rescinded it or even held a state legislative hearing to consider rescinding
          it.9 In some states the adoption of right-to-carry laws was controversial, but
          there seems to be no buyer’s remorse. In fact, the only changes that have
          been made to right-to-carry laws have been to loosen the requirements
          for getting a permit.
               One particularly surprising fact is the high rate at which state legislators
          seem to have concealed-handgun permits.10 In South Carolina, 20 percent
          of the state legislature had permits in early 2008. In Tennessee, 25 percent
          have permits.11 Exactly a third of the twenty-four Virginia state legislators
          from the area around Norfolk, Virginia, have permits.12
               The debate over concealed-handgun laws has implications for gun-
          control regulations generally. If permit holders can actually be trusted to
          carry their guns in public—in restaurants or bars, on buses, at sports sta-
          diums—it is hard to imagine where law-abiding citizens cannot be trusted
          with guns. The evidence on concealed-handgun laws is also relevant for
          debates over banning handguns in general—concealed-handgun laws may
          provide us with the best direct evidence of the costs and benefits of own-
          ing handguns.
               Even with this level of satisfaction among voters and state legislators,
          gun-control groups and some liberal academics still strongly advocate
          more restrictions. The following sections will first examine whether law-
          abiding concealed-handgun permit holders follow the law and do not pose
          a threat to others. Then I will present the latest data on how gun-control
          laws aﬀect crime. I will discuss recent major court cases, including the
          U.S. Supreme Court 2008 decision to overturn the District of Columbia’s
          handgun ban as well as ongoing legal attempts to overturn the Chicago
          handgun ban and bans in public housing. As the court cases often turn
          on the question of whether handgun bans reduce crime, I will discuss this
          issue at length. I will then turn to answering objections that have been
          raised against my work and critically discuss some of the recent literature
          on gun control.



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          Concealed-Carry Permit Holders: Villains or Saints?
          [Obama] diﬀers with McCain and Clinton about whether people should be allowed to
          carry concealed guns. Clinton and McCain oppose outlawing it.
            “I am not in favor of concealed weapons,” Obama said. “I think that creates a potential
          atmosphere where more innocent people could (get shot during) altercations.”
          —Mike Wereschagin and David M. Brown, “Candidates’ Gun Control Positions May
          Figure in Pa. Vote,” Pittsburgh Tribune-Review, Apr. 2, 2008

          [State Representative Michael] DeBose [a Southside Cleveland Democrat] twice voted
          against a measure to allow Ohioans to carry concealed weapons. It became law in 2004.
            DeBose voted his conscience. He feared that [concealed-handgun] permits would lead
          to a massive influx of new guns in the streets and a jump in gun violence. He feared that
          Cleveland would become the O.K. Corral, patrolled by legions of freshly minted permit
          holders.
            “I was wrong,” he said Friday.
            “I’m going to get a permit and so is my wife.
            “I’ve changed my mind. You need a way to protect yourself and your family.”
          —Cleveland Plain Dealer, May 15, 200713


          The gun-control debate largely focuses on what might go wrong, rather than
          evidence on what actually happens. For example, after 9 / 11, many were
          fearful that letting pilots carry guns on planes would endanger passen-
          gers’ safety. Some worried that a gun being accidentally discharged would
          lead to an explosive depressurization, causing a plane to crash.14 Yet Boe-
          ing and other airplane manufacturers testified that bullet holes in the air-
          plane’s skin would have little eﬀect on cabin pressure and would not cause
          a crash.15 Still, the Bush Administration strongly fought against allowing
          pilots to carry guns.16
             The debate implies that arming pilots is either something that has not
          been tried before or that it has been tried and failed. But arming pilots is
          actually nothing new. Until 1963, American commercial passenger pilots
          on any flight carrying U.S. mail were required to carry handguns.17 The prac-
          tice was mandated during the 1920s because the federal government wanted
          to insure that the U.S. mail would be protected if a plane were forced to
          land away from an airport. Pilots were still allowed to carry guns as recently
          as 1987, and the pilots’ union for American Airlines and the Airline Pilots
          Security Alliance claim that up to 10 percent of pilots regularly continued
          to do so up to that time.18 Most significantly, there are no recorded instances
          of any significant gun-related problem arising from a legally armed pilot.19



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             Since 2003, pilots have again been allowed to carry guns on planes, provid-
          ing they now go through an extensive training and psychological evaluation
          program.20 In March 2008, there was one case where a pilot accidentally dis-
          charged his gun on a U.S. Airways flight from Denver to Charlotte.21 The
          plane experienced no problems and landed safely. Ironically, the accident
          was caused by federal regulations that require a pilot to put a trigger lock
          on a loaded gun as the plane was landing.22 But some academics have used
          this incident to argue that armed pilots should no longer be countenanced.23
             Similar fears are expressed over what might happen with guns in school.
          But many are unaware of the long history of schools permitting concealed
          handguns. Prior to 1995, when the Federal Safe School Zone Act was passed,
          many states had allowed concealed-handgun permit holders to carry guns
          on school property.24 And even since 1995, Oregon, New Hampshire, and
          Utah have continued to let permit holders carry guns at school. Many
          other states adopted limited restrictions, such as allowing a gun only in the
          school parking lot or when someone is picking up a student.
             Yet, over all this time, there has not been a single example of an im-
          proper use of a permitted concealed handgun at a school, not even the
          improper exposure of the gun or an accidental gunshot.25
             Ignoring this evidence, however, critics continue to argue that permitted
          concealed handguns make people less safe. Take, for example, the following
          argument from Brady Campaign president Paul Helmke:

             But the Sun-Sentinel found 216 [concealed permit holders] with active war-
             rants, 128 with domestic violence restraining orders, nine people charged
             with felonies or reckless—or violent reckless demeanors, six red—reg-
             istered sex oﬀenders, at least one prison inmate, and another 1400 people
             who had pled guilty or no-contest to felony charges, all had concealed-
             carry permits in the state of Florida.26

          Also consider this rather simplified account from John Donohue of our
          positions on the issue:

             Now, John [Lott] and I have debated on the issue of right to carry laws,
             laws that say citizens who have not yet been convicted of a felony, or not
             yet been involuntarily committed to a mental hospital should be allowed
             to carry a gun wherever they want. John thinks this is a great idea, oﬀers
             statistics to prove it. Let me just mention that in Texas, even if you have
             been committed to a mental hospital, if you can get a note from your doc-
             tor, they’ll give you that concealed handgun permit. North Dakota really



                                          Exhibit 10
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             set a new low. They actually gave one of these permits to a blind permit
             holder. This is, to be frank, insanity.27

          These arguments both ignore a crucial question: Did these permit holders
          actually harm others? I asked Megan O’Matz and John Maines, the report-
          ers who wrote the South Florida Sun-Sentinel piece that Helmke refers to, if
          they had any evidence that any of the individuals they had flagged had
          committed any crimes while they had a concealed-handgun permit.28 The
          newspaper would not allow the reporters to respond directly, but Sally
          Kestin, their editor, confirmed that there were no examples of these per-
          mit holders committing crimes or using their guns improperly while they
          had permits.29
             The numbers the Sun-Sentinel presented are also somewhat misleading.
          The 1,400 people referred to who had pleaded guilty or no contest to fel-
          ony charges had their criminal records expunged by a judge. Presumably,
          judges only expunge criminal records when they are convinced that there
          were special circumstances in their cases and that the individuals did not
          represent a threat to others. Thus, it is not too surprising that these indi-
          viduals have not committed any crimes. Gun-control groups and these
          reporters instead claim that a “loophole” allowed those permits to be
          granted. But the Florida legislature apparently doesn’t agree—since the
          Sun-Sentinel article was run in January 28, 2007, no changes have been made to
          the law. Indeed, no serious discussion even took place in the legislature.
             True, some of Florida’s then 410,000 permit holders may indeed have
          been granted permits improperly. But if O’Matz and Maines are correct,
          those 344 errors amount to merely 0.08 percent of the permits issued. Again,
          none of those improperly granted permits led to any problems.
             As for Donohue’s statement, it inaccurately describes the Texas
          concealed-handgun law.30 It is simply not true that people are forbidden to
          obtain a concealed-handgun permit only if they have a felony. It is stricter
          than that, as one misdemeanor is suﬃcient for denial. To be eligible for a
          permit in Texas, a person must not (1) have been convicted of a felony, (2)
          have been charged with a class A or class B misdemeanor or convicted of
          such a crime during the previous five years, (3) have been disqualified under
          federal or state law from purchasing a handgun, (4) have been delinquent
          in making child support payments or taxes, (5) have been in default on stu-
          dent loans, (6) be chemically dependent, or (7) be under a court protective
          order or subject to a restraining order. The applicant must also have lived
          in Texas for at least six months and be at least 21 years old.



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              The prohibitions on individuals with a history of mental illness are also
          much more restrictive than Donohue implies. The prohibition applies
          not only to those involuntarily committed, but also to those who have
          voluntarily sought psychiatric hospitalization in the preceding two years
          and to those who have ever been diagnosed “by a licensed physician that
          the person suﬀers or has suﬀered from a psychiatric disorder” related to
          schizophrenia or delusional disorder, bipolar disorder, chronic dementia,
          dissociative identity disorder, intermittent explosive disorder, or antisocial
          personality disorder.
              Furthermore, somebody can’t simply “get a note from your doctor” to
          get a permit. The doctor must have his primary practice in psychiatry and
          must state that the specific “condition is in remission and not reasonably
          likely to develop at a future time.”
              Donohue’s discussion of the “new low” in North Dakota is also mislead-
          ing. It is surely easy to ridicule the notion of a legally blind person using
          a gun for self-defense. Carey McWilliams, the blind permit holder, noted,
          “A lot of people thought a blind guy with a gun was a funny story. They
          didn’t know the facts or that I’ve had legitimate training.”31 McWilliams
          is legally blind, but he has some minimal sight and can diﬀerentiate light
          from darkness. Even with his longtime poor vision, he was able to take
          target-shooting courses in college. Yet McWilliams only planned for a very
          limited role in using the gun—“The person would have to actually be at-
          tacking me. Then I would put the gun right up against the attacker’s body
          and fire the gun so I wouldn’t hit anyone else.”
              So if McWilliams is denied a gun, how should he defend himself if he’s
          attacked? As McWilliams notes, “It’s much easier to attack a blind person
          than other people.”
              More important, there have been no problems with McWilliams or with
          any other legally blind persons with permits, be it in North Dakota or any
          other state. And there has been no move in the North Dakota legislature
          to change the law.
              We have gone through the numbers before on how law-abiding per-
          mit holders are, but given the continued concerns, here are some updated
          numbers:

          ARIZONA. There were 99,370 active permits as of December 1, 2007. During
          2007, 33 permits were revoked for any reason—a 0.03 percent rate.32 There
          was one case where a permit holder committed murder with a gun in
          2002.33



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          FLORIDA. Between, October 1, 1987, and November 30, 2008, Florida issued
          permits to 1,439,446 people, many of whom have had their permits renewed
          multiple times. Only 166 had their permits revoked for any type of firearms
          related violation—about 0.01 percent.34 These revocations overwhelm-
          ingly involved individuals accidentally carrying concealed handguns into
          restricted areas.

          INDIANA. In 2007, there were approximately 300,000 active permits, and 744
          were revoked—just under 0.25 percent. According to Indiana State Police
          Lt. Jerry Berkey, who oversees permit revocations, revocations “rarely” in-
          volve the use of a gun. “I have heard of a couple being revoked over the years
          for improperly discharging their weapons, one involved a player on the Pac-
          ers, but I can’t think of one involving murder or other violent crime.”35

          KENTUCKY. During 2000, 74 of the 66,000 permits were revoked for any rea-
          son—about 0.1 percent. No permit holder was convicted of a violent
          crime.36 The most common charge against permit holders, accounting for
          20 of the 74 revocations, was a lack of vehicle insurance.

          MICHIGAN. During 2007, there were over 155,000 licensed permit holders and
          163 revocations—about 0.1 percent.37 Over the period from July 1, 2001,
          to June 30, 2007, there was one permit holder convicted of manslaugh-
          ter, though it did not involve the use of a gun.38 Three other people were
          also convicted of “intentionally discharging a firearm at a dwelling.” No
          one was convicted of “intentionally discharging a firearm at or towards
          another person.”

          MISSOURI. Ninety-six of the 50,507 permit holders had their permits revoked
          in 2008—a 0.19 percent rate.39

          MONTANA. As of December 12, 2008, Montana had 17,974 active permits, and
          during 2008 there were 20 revocations—0.1 percent. Ted Richardson, who
          handles the revocation records, commented, “Revocations almost never
          involve the use of a gun.”40 When asked if any violent crimes were commit-
          ted by permit holders, Richardson replied, “Not that I have seen.”

          NEW HAMPSHIRE. Local sheriﬀs handle permits for New Hampshire residents,
          so systematic statewide information is only available for nonresident per-
          mits. As of December 31, 2007, there were 29,609 active permits held by
          nonresidents. Rosemary Ruby with the New Hampshire State Police Per-
          mits and Licenses Unit said, “The number of revocations is in the range of



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          2 to 5 per year, never more than five permits.” That is a revocation rate of
          between 0.007 and 0.017 percent per year. She stated that she had “no recol-
          lection of revocation for murder or other serious crimes. Simple assault is
          the worst, nothing even major sticks out.”41

          NORTH CAROLINA. With 246,243 permits issued and 789 revocations, about 0.3
          percent of North Carolina permit holders have had their permits revoked
          over the twelve years from when permits started being issued in Decem-
          ber 1, 1995, and December 31, 2008.42 Local sheriﬀs revoke the permits and
          the state only collects the total number of revocations reported to them by
          the sheriﬀs. To check the reasons for revocations, I called the sheriﬀ’s oﬃce
          for several counties. Tamara Road, an administration support supervisor
          in Mecklenburg County, the county for Charlotte, reported there were
          8,200 permit holders as of December 2008. She said that “no one has had
          their permit revoked for violent crime. . . . I don’t know of any cases where
          someone has had their permit revoked for improperly using their gun.”43
             Sergeant Bum Gardiner, with the Wake County Sheriﬀ’s Oﬃce (the
          county for the state capitol of Raleigh and home of North Carolina State
          University), has overseen the permit division for seven years and said, “I
          don’t know of one revocation involving the use of a gun. . . . One frequent
          reason [for revocation] is when the police pull someone over for a traﬃc
          violation, [permit holders] fail to tell them that they are a CCW holder.”
          When he was asked why he thought permit holders would forget this, Gar-
          diner said that he couldn’t really think of a reason other than they simply
          forgot they were required to do so. Sheriﬀs in smaller counties, such as
          Johnson County, gave similar answers.44

          OHIO. From April 2004 to the beginning of August 2006, 73,530 permits were
          issued in Ohio. There were 217 revocations, but 69 of these came from the
          Cuyahoga County Sheriﬀ’s Oﬃce after a weapons instructor was accused
          of not providing the training required by state law.45 Excluding revocations
          due to improper training, about 0.2 percent of permit holders had their
          permits revoked. There were no reported incidents of any permit holder
          having his permit revoked for committing a violent crime. In 2007, there
          were 108,386 permits and 171 were revoked—a rate of 0.16 percent. A major
          reason for revocations was that a licensee moves out of state or dies.46 The
          Cincinnati Post wrote about the behavior of permit holders, “Toby Hoover of
          Toledo, director of the Ohio Coalition Against Guns . . . whose group op-
          poses the law, conceded, ‘There’s been no increase in violence.’”47



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          PENNSYLVANIA. Pennsylvania has more active permits issued than any other
          state. In April 2007, there were 668,372 permits. The state also had by far
          the most permit revocations that year: 2,318, translating into a rate of 0.345
          percent.48 However, this was an unusually high year, with the revocation
          rates during 2003 to 2005 running from 0.23 percent to 0.26 percent.49
              Interestingly, while Philadelphia accounted for only about 4 percent of
          the permits issued in the state during 2007, it accounted for 32 percent (744)
          of all revocations. Philadelphia is the only county in the state that regularly
          revokes permits for such trivial reasons as parking tickets, notifications to
          the sheriﬀ’s oﬃce by the permit holder that he is moving to another ad-
          dress in the city, failure to pay child support, and a host of other, similar
          reasons.50 Going to court can usually overturn these revocations, but the
          process is costly and time-consuming. The easier alternative is to wait one
          year and then reapply for a new permit.
              Still Philadelphia’s share of revocations in the state has gone down some-
          what over time. In 2000, 40 percent of all revocations in Pennsylvania had
          taken place in Philadelphia.51 As noted, by 2007 that share had dropped to
          32 percent.
              Excluding Philadelphia from the calculation, the revocation rate in
          2007 for any reason was 0.25 percent (for the years 2003–2005 the number
          ranges from 0.15 percent to 0.17 percent). Over half these revocations result
          from “Protection from Abuse” orders, the vast majority apparently filed
          in divorce proceedings.52 Kim Stolfer, chairman of the Pennsylvania-based
          Firearm Owners Against Crime, states that “a large number of these filings
          are to obtain concessions in divorce proceedings.”53

          TEXAS. In 2006, there were 258,162 active permit holders. Out of these, 140
          were convicted of either a misdemeanor or a felony, a rate of 0.05 percent.
          That is about one-seventh the conviction rate in the general adult popu-
          lation, and the convictions among permit holders tend to be for much less
          serious oﬀenses.54 The most frequent type of revocation, with 33 cases, in-
          volved carrying a weapon without their license with them. The next largest
          category involved domestic violence, with 23 cases.
              Similar numbers have been reported in Texas every year. Over the pre-
          ceding four years, from 2002 to 2005, the average rate at which permit hold-
          ers were convicted of a misdemeanor or a felony was 0.04 percent.55

          UTAH. With 134,398 active concealed-handgun permits as of December 1,
          2008, there were 12 revocations for any type of violent crime over the pre-



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          ceding twelve months—a 0.009 percent rate. None of those involved any
          use of a gun. Thirteen revocations involved any type of firearms-related
          oﬀense, a revocation rate of less than 0.01 percent. Clark Aposhian, chair-
          man of the State of Utah Concealed Weapon Hearing / Licensing Board, said,
          “Typically if they just list it as a firearms oﬀense, it is just a more minor
          oﬀense like carrying a gun into a secure area. The Salt Lake police at the
          airport handled some of those. If it was intentional, it would have been
          handled by Homeland Security.” In total, 0.22 percent of permit holders
          had their permits revoked for any reason, and by far the most common
          reason for revocations involved “alcohol violations.”56
             Since 1994, two permit holders have been convicted of murder, including
          a police oﬃcer who shot his wife.57 The other murder was not committed
          with a gun.

          WYOMING. Over the four years from 2005 to 2008, 31 permits were revoked.
          The average yearly revocation rate was 0.06 percent. When asked about
          the reasons for the revocations, Chris Lynch, a records analyst with the
          Wyoming Division of Criminal Investigations, noted, “The biggest one that
          I remember is an individual whose permit was revoked for tax evasion.”58
          None of the cases involved a violent crime or the improper use of a gun.

          The information that I have collected for other states is more anecdotal
          and frequently required contacting individual county sheriﬀs’ oﬃces,59 but
          the general impression is that their permit holders behave similarly to the
          permit holders in the states listed above.
              With about 5 million people with concealed-handgun permits in the
          United States in 2007, it is hard to look at these revocation rates and not
          realize how incredibly law abiding permit holders really are. While all states
          don’t provide detailed records of the reasons that permit are revoked, when
          a licensee kills someone, it gets extensive news coverage. From 1990 through
          July 2008, I found twenty-three cases where a permit holder committed
          murder with a gun (twenty of those cases resulted in convictions, and in
          the other three murderers died at the scene). Seven permit holders com-
          mitted murder in Texas; three in Ohio; two in Florida, Pennsylvania, and
          Utah; and one permit holder committed a murder with a gun in each of
          the following states: Arizona, Alabama, Indiana, Maine, North Carolina,
          Tennessee, and Virginia.60
              Beyond these twenty-three murder cases, one permit holder was con-
          victed of negligent homicide (a misdemeanor), and two cases resulted in con-



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          victions but no prison time served. These three cases are interesting, showing
          how even obviously defensive gun uses can result in criminal charges:
             Clay Wallace (February 1999)—Wallace, 75 years old, and his friend, Rob-
                ert Qualls, 65, got into a fight in Black Oak, Arkansas.61 Qualls knocked
                Wallace down twice,62 punching and kicking him.63 When Wallace was
                on the ground the second time he pulled out his revolver and shot
                Qualls once in the chest.64 Jurors were initially deadlocked on the case,
                but the judge ordered them back to deliberations, and they came back
                with a guilty verdict on the misdemeanor charge of negligent homi-
                cide.65 Wallace was sentenced to one year in county jail.
             Kenneth Ray Gumm (September 2007)—Gumm, a 67-year-old retired
                certified security guard with law enforcement education and training,
                was attacked by Dale Turney, 47, who had a blood alcohol level of .08
                and had taken methamphetamines.66 Turney was angry because he felt
                that Gumm had cut in front of him in traﬃc. Turney followed Gumm
                into a parking lot, where Turney’s car blocked Gumm’s, preventing
                him from driving. Turney screamed at Gumm, saying, “You’re history,”
                and he chased Gumm around his car. Gumm has “health problems
                [and] couldn’t run away or fight him” and “‘backed away from Tur-
                ney approximately two times around his (Gumm’s) car before Turney
                pushed his shoulder.” Claiming, “I thought my life was going to end,”
                Gumm then shot Turney once in his chest. The prosecutor argued that
                Gumm “was not justified, in the circumstances that existed, to use
                deadly force in defense of a misdemeanor assault and battery.”67 Con-
                victed of manslaughter, Gumm received a suspended sentence and was
                placed on probation. No prison time was served and no fine imposed.
             Esteban Garza (April 2006)—While eating breakfast at a cafe with his
                brother-in-law, Garza, 50, argued with others at another table.68 Fer-
                nando Gutierrez, 43, attacked Garza, pushing him to the ground and
                then shoving him through the glass in the front door.69 Garza then
                fatally shot Gutierrez and wounded two bystanders (though no ad-
                ditional charges were ever prosecuted). The prosecutor argued that
                the response against Gutierrez was excessive. Garza was convicted of
                second-degree murder and received ten years probation. No prison
                time was served.70
          The courts’ convictions of Gumm and Garza but refusal to sentence them
          to jail perhaps indicates the courts’ desire not to punish either man seri-
          ously, while also discouraging such ready use of a weapon.



                                           Exhibit 10
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             The Brady Campaign and other gun-control organizations cherry-pick
          a few cases, while omitting important facts, such as whether the permit
          holder was found to have used justifiable force. For instance, in its account
          of a Texas case from 1997, the Brady Campaign makes it appear as if the
          permit holder, Pete Kanakidis, shot an innocent bystander named Arroyo:
          “Arroyo was not involved in the argument and was sitting alone in the
          driver’s seat of a truck.”71
             The Associated Press provided some important details that the jury
          apparently thought were important about Arroyo’s not being a passive
          bystander:72
             Mr. Arroyo drove two other men to Mr. Kanakidis’ repair shop in River
             Oaks on May 30. Mr. Kanakidis had fired one of the men and reportedly
             planned to fire the other man that day.
                Police said the two men beat up Mr. Kanakidis and ran from the shop.
             Mr. Kanakidis then got his gun from his truck and shot Mr. Arroyo, who
             was backing up his vehicle. Mr. Kanakidis told police he thought Mr. Ar-
             royo was going to run over him.
          The San Antonio Express-News described how “[Kanakidis] said his nose was
          broken, he was knocked to the ground and was choked as the men repeat-
          edly attacked him.”73
              Or take the case of Harold Glover in Tulsa, Oklahoma, in 1997. While
          the Brady Campaign notes that the person who was shot, Cecil Herndon,
          had a pocketknife, he is described as just “standing outside the vehicle”
          and “not acting in a ‘life-threatening’ manner,” and Glover is said to have
          “acted without cause.”74 Left out of the discussion is that Glover was ac-
          quitted, that Herndon had “verbally threatened to cut him with a knife,”
          and that Glover was cleared of acting improperly.75
              In yet another example, in Austin, Texas, a taxi driver named Wayne
          Lambert shot two men. The Brady Campaign version of the story fails to
          note that Lambert suﬀered a gash over his left eye that required eighteen
          stitches and that he claimed he fired in self-defense.76 There was no jury
          verdict, because Lambert died before trial.
              Possibly most telling is that the Brady Campaign and the Violence Policy
          Center keep track of arrests of permit holders, not convictions—ignoring
          that defensive gun uses frequently result in arrests simply because a police
          oﬃcer can’t be sure what happened.77 But accurate accounts of these cases
          are important, because they really demonstrate the exact opposite point
          that the Brady Campaign is making—that permitted concealed handguns,
          in fact, help to protect people from getting killed when attacked.

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              Overall, from 1990 through July 2008, the twenty cases where someone
          has been convicted of murder with a gun and the three other cases where
          the killers died at the scene amount to slightly more than one murder per
          year. Permit holders committed murder at 1 / 182nd the rate of the general
          public.78 This is an amazing diﬀerence.
              Comparing the states provides some interesting lessons. The variation
          in state revocation rates is primarily related to the possible reasons that
          one can have his permit revoked, rather than diﬀerences in the rates at
          which permit holders commit violent crime. Murder and violent crime
          rates by permit holders are essentially zero whether there are many or a
          few reasons for screening if someone can get a permit. For example, no
          permit holder has killed a spouse during divorce proceedings, thus indicat-
          ing that even if the rules in Pennsylvania could be extended to other states,
          it clearly wouldn’t reduce the number of spousal murders—the number
          is already zero.
              Since permit holders are so very law-abiding and so rarely use their guns
          to cause harm, it doesn’t take many examples of defensive gun use by per-
          mit holders to imply there are net benefits. A quick review of news stories
          over just the month from December 14, 2008, to January 11, 2009, yields
          articles on ten cases where permitted concealed-handgun holders stopped
          violent crimes. Here are some of the cases:79
             Hammond, Indiana (January 11, 2009)—“An attempted robbery early
             Sunday morning turned fatal for one of the suspects, police said. A
             38-year-old man and his girlfriend were exiting their sport-utility vehicle
             in the parking lot of McTavern’s bar in the 7400 block of Indianapolis
             Boulevard when two people attempted to rob the couple, according to a
             Hammond police news release.”80 “Hammond police believe a man who
             shot and killed a would-be robber outside of a bar there early Sunday le-
             gitimately acted in self defense. . . . ‘We do believe that his version of the
             story is true and credible,’ Miller said, adding that the man had a valid
             license to carry the weapon and purchased it legally.”81
             Orlando, Florida (January 9, 2009)—“Orange County sheriﬀ’s deputies
             said two men with a sawed-oﬀ shotgun tried to rob a man at a car wash
             on Orange Blossom Trail Friday night.”82 “‘During this attempted robbery,
             the victim, who holds a concealed weapons permit, pulled out his weapon
             and fired shots into the bad guy,’ said Orange County Sheriﬀ’s Oﬃce Com-
             mander Paul Hopkins. . . . For the bad guys out there, you never know
             who you’re dealing with,’ Hopkins said. ‘When you go out to commit this
             crime, you might be the one who’s lying dead in the parking lot.’”83


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            Ocoee, Florida (January 5, 2009)—“A convenience store customer in Ocoee
            turned the tables on suspected robbers Monday night, and authorities con-
            tinued to search for two people Tuesday evening. . . . The customer . . .
            grabbed his gun and went back inside and saw the suspected robber beating
            a female clerk with a beer bottle. The customer said he told the assailant
            he had a gun, but the man turned toward him and the customer fired two
            shots, killing the suspect. . . . The customer was asked whether he had a
            permit to carry a concealed weapon, and he responded that he did.”84

            West Park, Florida (December 26, 2008)—“An armed robber who held a
            West Park man at gunpoint outside his home early this morning was killed
            when his victim pulled out a gun and fired first, the Broward County
            Sheriﬀ’s Oﬃce said. Brian Kelley, 22, was returning to his apartment in the
            4100 block of Southwest 19th Street about 4:39 a.m. when he said Kenneth
            Nelson, 42, came up from behind him and put a gun to his head, accord-
            ing to sheriﬀ’s oﬃce spokesman Mike Jachles. Kelley pulled out his own
            handgun and fired, striking and killing Nelson, of Hollywood. Homicides
            detectives questioned Kelley after the shooting but did not take him into
            custody. Kelley acted in self-defense, investigators believe.”85

            Terrel, Texas (December 17, 2008)—“A man walking his dog in Terrell
            on Wednesday fatally shot an armed 17-year-old robber, police said. The
            incident happened at about 10:20 p.m. . . . Police said, a group of teen
            robbers surrounded the man. According to investigators, Markee Lamar
            Johnson pulled out a gun and the 47-year-old man, a licensed concealed
            handgun owner, fired shots. . . . ‘It would be a clear example of someone
            exercising their rights to protect themselves under the law,’ Capt. A. D.
            Sanson said.”86

            Fort Smith, Arkansas (December 14, 2008)—“She’s a woman who knows
            how to protect herself as two men who tried to rob her found out.
            What they didn’t know was the woman is licensed to carry a concealed
            weapon . . . and yes, she was packing heat. . . . [Police said] ‘When she
            pulled over to check her tires one of those persons in that other car got
            out and attempted to rob her at knife point. She pointed that [handgun] at
            her attacker and he backed away, got in the car and they fled.’”87

          Obviously, on top of this should be included the crimes that never occured
          because would-be attackers decided it was too risky to attack in the first
          place.



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          So What Has Happened over the Last Decade?
          Six years after new rules made it much easier to get a license to carry concealed weapons,
          the number of Michiganders legally packing heat has increased more than six-fold.
             But dire predictions about increased violence and bloodshed have largely gone unful-
          filled, according to law enforcement oﬃcials and, to the extent they can be measured,
          crime statistics.
             The incidence of violent crime in Michigan in the six years since the law went into eﬀect
          has been, on average, below the rate of the previous six years. The overall incidence of
          death from firearms, including suicide and accidents, also has declined.
             More than 155,000 Michiganders—about one in every 65—are now authorized to carry
          loaded guns as they go about their everyday aﬀairs, according to Michigan State Police
          records.
             About 25,000 people had CCW permits in Michigan before the law changed in 2001.
          —“Michigan Sees Fewer Gun Deaths—with More Permits,” Detroit Free Press, Janu-
          ary 6, 2008

          The first edition of this book studied data up to 1994. The second edition
          expanded the data up to 1996. Since then a lot has changed. Kentucky, Loui-
          siana, and South Carolina’s right-to-carry laws were in eﬀect for their first
          full year in 1997. There was a four-year hiatus before Michigan adopted its
          right-to-carry law in 2001, followed by Colorado, Minnesota, and Missouri
          in 2003 and New Mexico and Ohio in 2004. I have now extended the county-
          and state-level data up through 2005.88 Kansas and Nebraska adopted
          right-to-carry laws the next year. Twenty-nine states that have now ad-
          opted right-to-carry laws did so at some point during the twenty-nine-year
          period I have data for, from 1977 to 2005. On average, states had their laws
          in eﬀect for just over ten years, with 86 percent of the states having had the
          laws in eﬀect for at least nine years.
              This update will focus heavily on state-level data where the change in
          crime rates is broken down in yearly intervals. There are several reasons for
          this. Regardless of which data set is used, the results are similar for both
          county- and state-level data. Results from the state-level data show smaller
          estimated benefits from right-to-carry laws. They should not be seen as
          “the” estimate but rather as a lower bound on the benefits. Nevertheless,
          as we will see, these estimated benefits are still very large. Some of my crit-
          ics (e.g., criminologists Michael D. Maltz and Joseph Targonski as well as
          economists Ian Ayres and John Donohue) insist that they are much more
          likely to accept state-level than county-level results. Although I disagree
          with their claims, I will present the data that they believe are best.



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              It’s necessary to look at the year-by-year changes in the crime rates be-
          fore and after the adoption of right-to-carry laws, especially due to the way
          some summary statistics have been misused by critics. The bottom line is
          this: if you see a pattern using trends that you don’t observe with the year-
          by-year breakdowns, it means that there is something wrong with your use
          of trends. Trends are supposed to help summarize the changes in crime,
          but if they don’t do a good job summarizing more complex relationships,
          there is a problem. Just as I explained earlier how simple before-and-after
          averages can hide what is going on with changes in crime rates, some set-
          ups with a before-and-after average and even a before-and-after trend can
          also be misleading. We will get deeper into this statistical issue later, but I
          want to provide some explanation up front, because presenting these more
          disaggregated changes before and after the right-to-carry laws will take up
          a lot more space.
              One other note should be made before proceeding. Just as was done
          in the previous chapters, the estimates are going to account for not only
          all the law enforcement variables (arrest, execution, and imprisonment
          rates), income and poverty measures (poverty and unemployment rates,
          per capita real income, as well as income maintenance, retirement, and un-
          employment payments), the thirty-six measures of demographic changes,
          and the national average changes in crime rates from year to year and aver-
          age diﬀerences across states (the fixed year and state eﬀects).89 In addition,
          the estimates account for the diﬀerences in various concealed-handgun
          laws and other types of gun-control laws. The law enforcement, income
          and poverty measures, and demographics are exactly the same as described
          in previous chapters.
              Other gun laws besides right-to-carry laws might also aﬀect crime, and
          the estimates therefore take into account one-gun-a-month regulations,
          assault weapons bans (whether there are state bans when the federal ban
          is not enforced), background checks on the private transfer of guns (es-
          sentially “closing” the so-called gun show loophole), the Castle Doctrine
          (which absolves people of having to retreat when they are being threatened
          with deadly force), one-gun-a-month rules, and bans on relatively inexpen-
          sive guns (so-called Saturday night specials).
              These gun laws may be important for explaining changes in crime rates.
          But, perhaps more important, these other gun-control laws appear likely
          to be hot topics in the near future. Shortly after the November 2008 elec-
          tion, Barack Obama’s transition Web site noted that Obama and Joe Biden
          “support closing the gun show loophole and making guns in this country



                                          Exhibit 10
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          childproof. They also support making the federal Assault Weapons Ban that
          expired in 2004 permanent.”90
              Due to the big diﬀerences between concealed-carry laws in diﬀerent
          states, as well as diﬀerences in the percentages actually getting permits,
          I also account for the diﬀerent permit requirements in the estimates.
          They include the state’s permit fee, the number of hours of training re-
          quired to get the permit, how long the permit lasts, and the minimum age
          requirement.
              Some examples of diﬀerences across states help illustrate the need to
          control for these variables. For example, today in Alaska there are no lon-
          ger any fees or training requirements (see table 10.2). Yet, in the beginning
          of this decade Alaska charged fees of over $100 and training took sixteen
          hours. In 2005, Texas had fees well over $140 with a ten-hour training re-
          quirement, but Pennsylvania had a $19 fee and no training requirement.
          Given those diﬀerences, it is not too surprising that Pennsylvania had is-
          sued more than twice as many permits as Texas despite a population half
          the size. And Indiana, with about a quarter of Texas’s adult population, has
          virtually the same rules as Pennsylvania and also has more permit holders
          than Texas.
              As we demonstrated in chapter 9, the rules to get permits do matter.
          One important pattern stands out. As table 10.3 shows, the states that have
          passed concealed-handgun permits most recently have made it much more
          diﬃcult to obtain a permit, and therefore should issue fewer permits overall
          than states that passed the laws earlier. Later-adopting states had, on aver-
          age, higher fees for getting a permit (even adjusted for inflation), longer
          training hours, and older minimum required ages. From the 1980s on, the
          late-adopting states also have permits with shorter durations.
              Further, the most recent right-to-carry states have tended to impose
          more restrictions on where concealed handguns can be carried. For ex-
          ample, later states more frequently prohibit concealed handguns in res-
          taurants or schools or at amusement parks. Some states allow businesses
          to prohibit customers from carrying guns on their premises. Such prohi-
          bitions make carrying a gun very inconvenient and should further reduce
          the rate at which people get permits.91 In sum, the more “reluctant” states
          have not only waited longer to allow concealed carry, but have also, when
          finally passing the law, imposed more restrictions.
              Permit holders are often still prohibited from carrying a gun in many
          public places. In Kansas, for example, prosecutors are forbidden to carry
          their concealed handguns in court. This has further repercussions. If they



                                         Exhibit 10
                                           0686
             Table 10.2 Criteria for concealed-handgun permits in right-to-carry states in 2005
                                    Last major     Permit duration     Training length
             State                  change         (years)             (hours)            Age requirement   Initial permit fee   Renewal fee   Issuing agency
             Alabama                1936           1                    0                 18                 15                   15           Sheriﬀ
             Alaska                 2003           None                None               None              None                 None          None
             Arizona                2004           5                    8                 21                 60                   60           Dept. of Public Safety
             Arkansas               1995           4                    5                 21                144.25                50           State Police
             Colorado               2003           5                    8                 21                 52.5                 25           Sheriﬀ
             Connecticut            1986           5                    5                 21                 35                   35           State Police
             Florida                1995           5                    2                 21                117                   65           Dept. of State
             Georgia                1996           5                    0                 21                 50                   50           Judge of probate court




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             Idaho                  1996           4                    7                 21                 56                   48           Sheriﬀ




Exhibit 10
             Indiana                1980           4                    0                 18                 10                   10           Chief of police or sheriﬀ
             Kentucky               1996           5                    8                 21                 60                   60           Sheriﬀ
             Louisiana              1996           4                    9                 21                100                  100           Dept. of Public Safety
             Maine                  1985           4                    5                 18                 35                   20           Chief of police or sheriﬀ
             Michigan               2000           5                    8                 21                105                  105           State police
             Minnesota              2003           5                    6                 21                100                   75           Sheriﬀ
             Mississippi            1990           4                    0                 21                124                   74           Dept. of Public Safety
             Missouri               2003           3                    8                 23                100                   50           Sheriﬀ
                                                                                                                                                                           3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1699 Page
             Montana          1991   4       4     18      55     25    Sheriﬀ
             Nevada           1995   5       8     21      50     25    Sheriﬀ
             New Hampshire    1923   4       0     21      10     10    Chief of police
             New Mexico       2004   0      15     18     100    100    Dept. of Public Safety
             North Carolina   2002   5       8     21      90     75    Sheriﬀ
             North Dakota     1985   3       0     18      25     25    Bureau of Criminal Investigation
             Ohio             2004   5      12     21      69     55    Sheriﬀ
             Oklahoma         1995   5       8     23     125     85    State Bureau of Criminal Investigation
             Oregon           1993   4       5     21      65     50    Sheriﬀ
             Pennsylvania     1995   5       0     21      19     19    Chief of police or sheriﬀ
             South Carolina   1996   4       6     21      55     55    State Law Enforcement Division




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             South Dakota     1986   4       0     18      10     10    Chief of police or sheriﬀ




Exhibit 10
             Tennessee        1996   4       9     21     115     50    Dept. of Public Safety
             Texas            1995   4      10     21     140    140    Dept. of Public Safety
             Utah             1995   5       4     21      64     10    Dept. of Public Safety
             Vermont          None   None   None   None   None   None   None
             Virginia         1995   5       5     21      50     50    Clerk of circuit court
             Washington       1995   5       0     21      60     32    Judge, chief of police, or sheriﬀ
             West Virginia    1996   5       5     18      90     90    Sheriﬀ
             Wyoming          1994   5       5     18      50     50    Attorney general
                                                                                                                 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1700 Page
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          Table 10.3 Criteria for permits based on when the right-to-carry laws went into effect
                                                                               Average training
          First full year that the                                             time to qualify
          state’s right-to-carry     Average permit fee      Permit duration   for a permit       Average age at which
          law went into effect       (real 2007 dollars)     (years)a          (hours)            one can get a permitb
          Prior to 1977              $21.90                  3.71              0.7                19.3
          1980s                      $71.49                  4.67              4.0                20.0
          1990s                      $80.27                  4.3               5.45               20.5
          2000s                      $93.16                  4.17              9.5                20.8
          Note: Values are for 2005.
          a
           Excluding Vermont, which had no permits.
          b
            Excluding Vermont, which had no age requirements.



          can’t take a gun into court, it prevents them from carrying a gun when
          they enter or leave the building. One prosecutor explained the problem
          this way:92

               [Wyandotte County District Attorney Jerome] Gorman, who has received
               several written death threats over the years, said he works in two court-
               house buildings and he and his staﬀ often walk between them.
                   “We’re out in exposed areas, not behind a locked door,” he said.
                   He recalled that several years ago, he was standing in line at a mall with
               his wife and daughter waiting to see Santa Claus when he spotted the fam-
               ily of a man he convicted of involuntary manslaughter. When Gorman
               saw them talking among themselves, he left with his family.
                   “It was time to get away, but I could have been in a position where they
               saw me before I saw them,” he said.

             These restrictions appear to have a large eﬀect on permit-issuing rates.
          In 2008, applications for permits in Georgia soared by 79 percent, a much
          larger increase than seen in other states after Obama’s election.93 One of the
          most prominent reasons given for the increase was “a law change last year
          that opened up the places where a concealed weapon is allowed.”
             The fees, training requirements, permit duration, and number of pro-
          hibited places all have important implications for studying right-to-carry
          laws. If criminals are indeed discouraged by a higher probability of a po-
          tential victim being able to defend herself, then states that only recently
          adopted right-to-carry laws should have fewer permit holders and a smaller
          reduction in crime rates.
             A problem of growing inconvenience for future research involves the in-
          creasing issuance of nonresidential permits. Two states in particular (Florida
          and Utah) are giving out a large number of permits to out-of-state residents.



                                                           Exhibit 10
                                                             0689
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          Utah’s permits for out-of-state residents are honored in twenty-eight states,
          while Florida’s are honored in twenty-seven states. The changes have been
          particularly significant during the last few years, and over 100,000 permits in
          these two states are now held by out-of-state residents.94 Over time, permits
          issued by Florida and Utah will have a great impact on researchers knowing
          how may people in other states possess concealed-handgun permits.

          The Results
          My primary approach here is to let the estimated changes in crime rates
          “take their own shape” rather than assume that they fit a straight line or
          some other particular shape.
              As a first pass, the regressions account for all the possible influences and
          consider the year-by-year eﬀects by two-year intervals, from nine years
          before the right-to-carry law is passed until fourteen years after the law.95
          Two other variables measure the crime rates ten or more years before the
          law goes into eﬀect and fifteen or more years afterward. Thus, rather than
          a before-and-after trend and possibly also a variable to measure any changes
          in the before-and-after averages, this approach has fourteen variables to
          measure more precisely how crime rates are changing before and after
          right-to-carry laws are adopted. Only for 2.6 percent of the sample do states
          that have adopted a right-to-carry law have their laws in eﬀect for at least
          fifteen or more complete years. Any changes in crime rates for these right-
          to-carry states are relative to the changes in crime rates for the states with-
          out these laws.
              Figures 10.1a–10.1i show some dramatic results. There are large drops
          in overall violent crime, murder, rape, and aggravated assault that begin
          right after the right-to-carry laws have gone into eﬀect. In all those crime
          categories, the crime rates consistently stay much lower than they were
          before the law.
              The murder rate for these right-to-carry states fell consistently every
          year relative to non-right-to-carry states. When the laws were passed, the
          average murder rate in right-to-carry states was 6.3 per 100,000 people. By
          the first and second full years of the law it had fallen to 5.9. And by nine
          to ten years after the law, it had declined to 5.2. That averages to about a
          1.7 percent drop in murder rates per year for ten years. The drops were
          statistically significant by years 5 and 6.96 The detailed estimates are shown
          in appendix 6.
              Overall violent crime rates also dropped. On average, states with right-
          to-carry laws start out at 475 crimes per 100,000 people, then fall to to 436



                                          Exhibit 10
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                                                  500

                                                  490

                                                  480
                  Crime rate per 100,000 people




                                                  470

                                                  460

                                                  450

                                                  440

                                                  430

                                                  420

                                                  410

                                                  400
                                                        10       8-9   6-7   4-5   2-3   0-1       1-2     3-4     5-6      7-8   9-10   11-12   13-14   15
                                                        years                                      years                                                 or
                                                        before                                     after                                                 more



                                                                                               Years before and after law

          Figure 10.1a. Violent-crime rates before and after adoption of right-to-carry laws

                                                  6.5

                                                  6.3

                                                  6.1
           Crime rate per 100,000 people




                                                  5.9

                                                  5.7

                                                  5.5

                                                  5.3

                                                  5.1

                                                  4.9

                                                  4.7

                                                  4.5
                                                        10       8-9   6-7   4-5   2-3   0-1       1-2     3-4     5-6      7-8   9-10   11-12   13-14   15
                                                        years                                      years                                                 or
                                                        before                                     after                                                 more


                                                                                               Years before and after law

          Figure 10.1b. Murder rates before and after adoption of right-to-carry laws


          by the first and second full years of the law, and stay down in the 415–40
          range after that.97 A similar pattern holds for rape and aggravated assault.
          Rape was on average at 40.2 per 100,000 people when the law was passed and
          ended up at 35.7 (a 12 percent drop) by nine to ten years later.98
             The story is somewhat more complicated for aggravated assault. While
          there are large, statistically significant drops in crime as soon as one to
          two years after the law, assault rates were already declining in the years
          before the law. If that trend were to have continued in the absence of a



                                                                                         Exhibit 10
                                                                                           0691
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                                                       43



                                                       41
           Crime rate per 100,000 people




                                                       39



                                                       37



                                                       35



                                                       33



                                                       31
                                                                            10             8-9         6-7     4-5     2-3    0-1       1-2      3-4    5-6      7-8    9-10    11-12     13-14     15
                                                                            years                                                       years                                                       or
                                                                            before                                                      after                                                       more


                                                                                                                                    Years before and after law

          Figure 10.1c. Rape rates before and after adoption of right-to-carry laws


                                                                            104

                                                                            102


                                                                            100
                                           Crime rates per 100,000 people




                                                                            98

                                                                            96

                                                                            94


                                                                            92

                                                                            90

                                                                            88


                                                                            86

                                                                            84
                                                                                  10             8-9     6-7     4-5    2-3    0-1       1-2     3-4    5-6      7-8   9-10    11-12    13-14     15
                                                                                  years                                                  years                                                    or
                                                                                  before                                                 after                                                    more


                                                                                                                                    Years before and after law

          Figure 10.1d. Robbery rates before and after adoption of right-to-carry laws



          right-to-carry law, the drop would have finally caught up with the crime
          rates that we observe by years 11 to 12 after the law. Still, even under that
          assumption, a right-to-carry law appears to have lowered the number of
          assaults for ten years.
              For robbery, the drop isn’t as obvious or as immediate. There are two
          sets of years in the figure after the law is passed where the robbery rate was
          slightly higher than it was immediately before the law (years 1 and 2, and



                                                                                                                              Exhibit 10
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                                                   350

                   Crime rate per 100,000 people
                                                   330


                                                   310



                                                   290


                                                   270



                                                   250


                                                   230
                                                          10       8-9    6-7    4-5    2-3    0-1    1-2     3-4    5-6      7-8   9-10   11-12   13-14   15
                                                          years                                       years                                                or
                                                          before                                      after                                                more


                                                                                                 Years before and after law

          Figure 10.1e. Aggravated-assault rates before and after adoption of right-to-carry laws



                                                   4600



                                                   4400
           Crime rate per 100,000 people




                                                   4200



                                                   4000



                                                   3800



                                                   3600



                                                   3400



                                                   3200
                                                          10        8-9    6-7    4-5    2-3    0-1   1-2     3-4     5-6     7-8   9-10   11-12   13-14   15
                                                          years                                       years                                                or
                                                          before                                      after                                                more


                                                                                                 Years before and after law

          Figure 10.1f. Property-crime rates before and after adoption of right-to-carry laws



          years 7 and 8), and there are six observations where it was lower. Robbery
          is one case where simple before-and-after trends would indicate a much
          more statistically significant drop in crime rates than is observed for the
          method being used here. But this disaggregated way provides a more ac-
          curate picture, and we have to accept that the results for robbery are not
          extremely strong.
              Consistent with the previously reported research in this book, violent



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                                                                                                 0693
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                                                     950




                                                     900
           Crime rate per 100,000 people




                                                     850




                                                     800




                                                     750




                                                     700
                                                           10           8-9    6-7    4-5    2-3    0-1       1-2      3-4   5-6       7-8   9-10   11-12   13-14   15
                                                           years                                              years                                                 or
                                                                                                              after                                                 more
                                                           before


                                                                                                          Years before and after law

          Figure 10.1g. Burglary rates before and after adoption of right-to-carry laws


                                                     3500



                                                     3000
                     Crime rate per 100,000 people




                                                     2500



                                                     2000



                                                     1500



                                                     1000



                                                      500



                                                           0
                                                               10        8-9    6-7    4-5    2-3    0-1       1-2     3-4   5-6       7-8   9-10   11-12   13-14   15
                                                               years                                           years                                                or
                                                               before                                          after                                                more


                                                                                                          Years before and after law

          Figure 10.1h. Larceny rates before and after adoption of right-to-carry laws




          crime rates are improving relative to property-crime rates, at least lar-
          ceny and auto theft. If anything, larceny and auto theft keep rising after
          right-to-carry laws are passed. However, burglary rates go from increasing
          before the law to generally falling afterward. And indeed, right-to-carry
          laws should have a bigger impact on violent crimes where victims and
          criminals come into direct contact.
             While we will continue to focus on the year-by-year estimates, the mea-



                                                                                                    Exhibit 10
                                                                                                      0694
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                                            450


                                            400


                                            350
            Crime rate per 100,000 people




                                            300


                                            250


                                            200


                                            150


                                            100


                                            50


                                             0
                                                  10       8-9   6-7   4-5   2-3   0-1       1-2     3-4   5-6    7-8   9-10   11-12   13-14   15
                                                  years                                      years                                             or
                                                  before                                     after                                             more


                                                                                         Years before and after law

          Figure 10.1i. Auto-theft rates before and after adoption of right-to-carry laws


          sures used earlier in this book are provided here. For comparison, estimates
          that do not account for differences in right-to-carry laws are also provided.
          Table 10.4 generally confirms these previous results for earlier periods by
          looking at the more restrictive, simple before-and-after average crime rates
          (with their obvious limitations), the change in the before-and-after crime
          rate trends, and the combined before-and-after averages and trends. All the
          results indicate that violent crime falls after right-to-carry laws are passed,
          but the results vary based on whether one analyzes before-and-after aver-
          ages or trends. There is a large, statistically significant drop in murder rates
          across all specifications. The before-and-after average comparison implies
          that right-to-carry laws reduce murder by roughly 20 percent. In all cases,
          right-to-carry laws cause the trends in murder, rape, and robbery rates to
          fall. For each additional year that the law is in eﬀect, the murder rate falls
          by about 2 percent and the rape and robbery rates fall by about 1 percent
          relative to states without the law.
              An alternative way of asking whether concealed-carry laws reduce crime
          is to see how crime rate changes vary across diﬀerent states. (We provided
          a much simpler version of this previously in table 4.9 on page 80.) These
          estimates let us check how many states benefit from letting individuals
          defend themselves.
              Tables 10.5a–10.5d show this breakdown using all the control variables
          for the four violent crime categories for all twenty-nine states that enacted
          right-to-carry laws between 1977 and 2005. The year-by-year breakdowns for



                                                                                   Exhibit 10
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          Table 10.4 The impact of right-to-carry laws on violent crime rates, 1977–2005
                                                                                                               Aggravated
                                                                             Murder      Rape       Robbery    assault
          Estimates accounting for everything but
            differences in right-to-carry laws:
            Simple before-and-after averages                                  –4.5%b      –5.7%a     –1%        –5.9%a
            Change in before-and-after crime trends:
              Change in crime rate trend (annual rate                         –1.54%*     –1.2%*     –0.6%      –0.7%
                of change after the law minus annual
                rate of change before the law)
            Combination of before-and-after averages
              and trends:
              Shift in crime rates after the law                              –0.4%       –8.3%      –0.6%      –3.3%
              Change in crime rate trend (annual rate                         –1.52%*     –0.7%**    –0.7%       0.15%
                of change after the law minus annual
                rate of change before the law)
          Estimates accounting for everything including
            differences in right-to-carry laws:
            Simple before-and-after averages                                 –20.3%c     –14%       –5.7%      –12.9%
            Change in before-and-after crime trends:
              Change in crime rate trend (annual rate                         –2%*        –1%*      –0.8%***     0.5%
                of change after the law minus annual
                rate of change before the law)
            Combination of before-and-after averages
              and trends:
              Shift in crime rates after the law                             –12.4%      –12.2%     –2.1%      –13.6%
              Change in crime rate trend (annual rate                         –2%*        –1%*      –1%***       0.55%
                of change after the law minus annual
                rate of change before the law)
          * Statistically significant at the 1 percent level for an F-test.
          ** Statistically significant at the 5 percent level for an F-test.
          *** Statistically significant at the 10 percent level for an F-test.
          a
            Statistically significant at the 1 percent level for a two-tailed t-test.
          b
            Statistically significant at the 5 percent level for a two-tailed t-test.
          c
            Statistically significant at the 10 percent level for a two-tailed t-test.



          crime rates do not show the results for as many years as in the figures because
          the tables would prove too large. Instead, I simply put together the year-
          by-year changes after year 10 after the law into one 10+ year category.
              Two important questions can be answered from using this state-by-state
          breakdown. The first is: following concealed-carry laws being passed, how
          many states experience a drop versus an increase in crime? Because of
          random events, one doesn’t expect crime in every state to fall. This is likely
          true even after an extremely eﬀective law is adopted. But what we can do
          is see if the percentage of states where crime rates fell after the law is large
          compared to the percentage in states where crime remained the same or
          increased so that we can rule out randomness as a cause. Secondly, we can
          study how large the increases or decreases are.
              The odds that a typical state experiences a drop in murder or rape after



                                                              Exhibit 10
                                                                0696
             Table 10.5a Changes in murder rates by state over time
                                       Years before law in effect                        Years after law in effect                          Change in murder rates
                                                                                                                                            Average yearly
                                       10 or                                                                                        11 or   change before       Net impact   Net impact
                                       more      9–8        7–6     5–4    3–2    1–0    1–2       3–4        5–6     7–8    9–10   more    and after law       by year 6    by year 10
             Alaska                    11.7       9.9        9.5    10.7    7.0    9.3    9.1        8.3        7.5    7.4    6.6            –1.91               –9.0         –23.1
             Arizona                    9.8      11.0       10.6    10.0    7.8    9.0   10.4        8.9        7.6    7.5    8.9            –1.03               –0.4          –5.1
             Arkansas                  12.7                 15.2    16.3   14.8   16.4    8.7        7.6        7.8    8.0    9.6            –6.73              –74.8        –120.3
             Colorado                   4.7       4.1        4.7     5.5    3.4    4.3
             Florida                   19.8      22.4       27.6    27.4   29.2   27.0             10.5       10.7    11.1   11.4   14.2    –14.01              –98.8        –193.5
             Georgia                   13.9                 12.1    13.6   14.3   15.8   11.6      10.3        9.6     9.2   10.6   12.3     –3.36              –47.7         –83.4
             Idaho                      3.0        1.9       2.3     1.8    2.5    1.8    1.7       1.8        2.6            1.6    1.6     –0.37                2.1           1.5




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                                                                                                                                                                                                                          1057




             Kentucky                  11.4                  8.8     7.7    6.1    6.7    5.8       6.4        6.4     7.3    6.9            –1.56               –4.2          –1.8
             Louisiana                 15.2      12.6       14.0    14.1   18.5   18.7   15.7      14.5       15.2    16.5                   –0.03              –32.4         –95.1




Exhibit 10
             Maine                                2.5        2.7            2.5    2.5    2.0       2.5        1.4     1.3    1.7    1.6     –0.79               –4.8         –10.8
             Michigan                  8.5        7.1        7.0     7.1    7.7    7.4              5.8                                      –1.66               –4.9          –4.8
             Minnesota                 3.3                   4.5     4.3    3.6    2.8    2.2                                                –1.51               –1.9          –1.8
             Mississippi              17.4                  18.7    17.9   15.8   15.9    8.5      14.6       15.3    19.3   16.1   19.4     –1.63              –28.3         –17.7
             Missouri                  5.5        6.2        6.5     6.5    6.2    6.2
             Montana                   4.4        3.4        4.2     3.0    3.1    2.8    2.2                          3.2    2.5    2.5     –0.88               –1.9          –1.8
             Nevada                   14.3       10.6       10.0    10.4   10.8   12.7   13.7      11.9         7.0           7.1            –1.57              –16.8         –33.6
             New Mexico                7.2        8.9        9.8     7.5    5.9    6.4    7.4                                                –0.24                2.9           3
                                                                                                                                                                                          3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1709 Page
             North Carolina                6.3        5.8       6.0       7.6        8.2       9.8       8.5       8.6           9.4   10.6           1.99     –7.6     –6.3
             Ohio                          3.7        3.2                 3.4        4.1       4.5       5.1                                          1.31      1.8      1.8
             Oklahoma                     11.1       11.4      10.5      10.0        9.0      12.3       6.8              5.1    5.0    5.1          –5.2     –37.8    –81.3
             Oregon                        5.8                  6.9       8.1        7.2       5.4       4.5       4.3    4.1    4.2    2.9    3.5   –2.76     –9.8    –21
             Pennsylvania                  7.1        7.4       7.5       7.7        8.0       8.5       6.8       6.5           8.3    7.4    8.1   –0.32    –11.5    –15.9
             South Carolina                9.8        9.5      10.1       9.1        8.9       8.5       8.4       8.4   10.2   11.8                  0.4       4.9     15
             Tennessee                    14.9       16.5      15.5                 14.8      12.4      10.6      10.7   10     12.1   11.9   12.8   –3.47    –17.7    –20.1
             Texas                        16.1       15.7      15.2      16         12.6      11.1                 5.3    5.9    6.3    6.1          –8.56    –33.1    –62.7
             Utah                          3.6        4.4       3.9       4.0        3.8       3.6       3.2       3.3    3.3    3.0                 –0.7      –3.3     –5.4
             Virginia                                 9.5       9.4       9.7        9         9.1       7.9       7.9    6.6    7.1    7.4    6.0   –2.19    –14.6    –25.5
             West Virginia                  5.4       5.8       5.8       5.6        6.5       6.8       5.7       6.4    4.4    3.9           4.1   –1.11    –11.9    –20.7
             Wyoming                        4.1       4.0       2.1       4.0        2.9       2.5       2.1       3.7    2.0    2.4    2.8          –0.64      1.1      1.8




  0698
                                                                                                                                                                                                                1057




             Percentage of states                                                                                                                    89%       82%      82%




Exhibit 10
               where crime fell
             Drop in murders                                                                                                                         –62.25   –473.1   –794.4
               per 100,000 people
               for states where
               murder rates fell
             Increase in murders                                                                                                                       3.71     12.9     21.6
               per 100,000 people
               for states where
               murder rates rose
             Note: Blanks indicate that not enough information was available to calculate an estimate for those years.
                                                                                                                                                                                3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1710 Page
             Table 10.5b Changes in rape rates by state over time
                                      Years before law in effect                             Years after law in effect                         Change in rape rates
                                                                                                                                                 Average yearly
                                      10 or                                                                                              11 or   change before      Net impact   Net impact
                                      more       9–8         7–6     5–4     3–2     1–0       1–2       3–4        5–6    7–8    9–10   more    and after law      by year 6    by year 10
             Alaska                   153.8      221.7       190.2   159.9   217.8   218.0     80.3      69.8       77.1   44.9   43.3            –130.5              –426.8      –774.6
             Arizona                   64.0       61.2        54.2    46.9    35.5    35.6     33.6                 29.5   28.3   34.3   34.7      –17.5                –8.1       –16.7
             Arkansas                 100.8      105.6               127.2   110.0   105.3     41.7      33.8       41.8   39.5   59.2             –66.6              –198.5      –310.4
             Colorado                  26.7       25.1        38.0    39.5    32.6    41.3
             Florida                             217.3       228.3   224.9   215.4   213.1     50.3      58.5       69.3   86.9          93.4     –148.1              –461.1      –587.2
             Georgia                   41.3       45.8        43.6    47.2    51.5    61.9               43.6       43.4   41.4   44.6   44.5       –5.0               –36.9       –74.7
             Idaho                     18.3       16.4        17.7    20.3            29.1     29.1      27.0       24.7   26.3   27.2   27.9        6.7                –6.6       –11.4




  0699
                                                                                                                                                                                                                              1057




             Kentucky                  44.2       43.5        35.1    41.1    36.0    33.8     33.4      31.5       33.4   33.5                     –6.0                –3.1        –3.4
             Louisiana                 70.0       64.6        55.5    49.3    60.0    61.9     41.3      38.1       37.1   45.2                    –19.8               –69.1       –85.7




Exhibit 10
             Maine                                12.1         8.5             9.9     8.4     14.9      18.9       18.3   18.6   17.5   15.3        7.5                26.8        46.0
             Michigan                 103.0      101.2       100.0    94.1    96.4   104.4
             Minnesota                 42.5                   64.3    61.8    61.3    55.6     41.6                                                –15.5               –14.0       –14.0
             Mississippi               57.3       67.4        72.8    63.5    74.1    88.2               51.2       55.1   61.1   74.5   69.8       –8.2               –70.1      –110.8
             Missouri                  29.3       30.8        31.3    33.9    24.4    28.4
             Montana                   30.1       22.9        25.9    18.2    19.0    17.6     21.4                        15.7   16.9   18.9       –4.1                 3.8         1.2
             Nevada                    47.0                   44.6    40.0    41.1    57.2     53.4      44.1       26.8   24.1   22.4             –11.8               –47.2      –115.1
             New Mexico               141.7      184.1       142.9    78.3    66.9    59.3     54.1                                                –58.1                –5.2        –5.2
                                                                                                                                                                                              3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1711 Page
             North Carolina                18.3       22.5       23.5       26.1       31.7       39.6       31.3        28.6   27.0   28.5   31.2             2.4     –31.9     –51.3
             Ohio                          39.0       37.4                  42.6       45.0       42.6       39.8                                             –1.5      –2.8      –2.8
             Oklahoma                     101.3      101.6       97.8      108.5       99.2      103.1       46.8               35.0   33.9   34.7           –64.3    –124.5    –262.1
             Oregon                        73.2                  63.4       63.3       50.4       51.1       53.2        43.9   37.5   41.2   37.2   45.1    –17.3     –18.7     –42.4
             Pennsylvania                  29.7                  28.9       29.3       28.2       26.0       26.4        24.5   24.3   27.7   25.9            –2.7      –2.7      –1.0
             South Carolina                50.7       56.4                  68.2       60.8       54.5       48.9        42.4   42.1   42.0   35.1           –16.0     –30.1     –61.9
             Tennessee                     83.4       91.5       90.5       89.5       75.6       80.3       47.1        47.6   44.7   47.9   46.9           –38.3    –101.5    –167.3
             Texas                        163.8      181.5                 159.7      145.7      140.0       43.8        45.3                               –113.6    –190.9    –190.9
             Utah                          39.7       36.0                  52.4       47.6       42.0       41.8        40.8   52.1   55.3   65.5             7.6       8.8      45.6
             Virginia                      23.4       23.3       23.9       22.8       22.7       22.8       27.0        26.6   32.0          28.3   22.3      4.1      17.4      22.9
             West Virginia                 39.0       37.6       37.2       36.5       36.9       29.2       23.4        20.7   20.4   20.5   20.4   18.3    –15.4     –23.1     –40.6
             Wyoming                       58.3       41.8       46.1       40.3       32.9       38.9       34.4        32.1   28.8   27.2   21.5   19.6    –15.8     –21.5     –50.7




  0700
                                                                                                                                                                                                                         1057




             Percentage of states                                                                                                                             81%       85%       85%




Exhibit 10
               where crime fell
             Drop in rapes per                                                                                                                              –776.0   –1,894    –2,980
               100,000 people for
               states where rape
               rates fell
             Increase in rapes                                                                                                                                28.2      52.9     115.6
               per 100,000 people
               for states where
               rape rates rose
             Note: Blanks indicate that not enough information was available to calculate an estimate for those years.
                                                                                                                                                                                         3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1712 Page
             Table 10.5c Changes in robbery rates by state over time
                                      Years before law in effect                           Years after law in effect                                   Change in robbery rates
                                                                                                                                                         Average yearly
                                      10 or                                                                                                    11 or     change before      Net impact   Net impact
                                      more      9–8        7–6     5–4     3–2     1–0       1–2        3–4            5–6     7–8     9–10    more      and after law      by year 6    by year 10
             Alaska                   130.4     160.3      162.1   134     160.8   194.7     155.1      141.1          112.9    83.5    50.4                –48.4             –525        –1,292
             Arizona                  189.7     201.0      185.9   176.8   124.4   139.1     173.8      188.9          178.1   194.4   189.2                 15.4               371          687
             Arkansas                 167.9                244.3   253.9   224.6   233.5     114.1      119.6          116.3   148.2   166.5                –91.9            –1,051       –1,508
             Colorado                  80.7      59.4       72.0    69.3    53.2    70.6
             Florida                            617.8      892.8   701.2   810.4   970.5     357.3      398.7          375.2   389.9           425.6       –409.2           –5,341        –7,083
             Georgia                  197.9                146.7   169.8   225.7   289.3     257.2      225.6          209.6   224.7   248.8   218.6         24.9            –526          –841
             Idaho                     40.9      27.6       24.7    21.8            13.8      20.5       14.9           22.0    24.0    23.1    18.4         –5.3               48           106




  0701
                                                                                                                                                                                                                                      1057




             Kentucky                  91.9     117.8       72.9    76.3    70.4    84.3      90.7      103.7          100.9   107.8                         15.2              127           198
             Louisiana                233.6     235        229.1   223.8   260.2   299.2     239.1      244            238.1   201                          –16.2            –529          –824




Exhibit 10
             Maine                               65.2       46.5            35.9    36.3      28.0       26.1           23.3    22.6    27.0    28.9        –20               –94          –163
             Michigan                 234.7     194.5      191.5   158.1           191.5     117.9      113.9                                               –78.2            –454          –454
             Minnesota                102.3     118.5      127.2   115.3    84.7    82.6
             Mississippi              159.3     142.4      135.6   125     140.6   159.2                158.3          185     224.9   186.3   226.2         52.5                74          353
             Missouri                 121.8     136.8      124.5           129.1   114.0     114.0                                                          –11.2
             Montana                   34.7                 26.5    19.3    22.2    22.2      25.3                      22.2    19.5    20.9    27.1         –2                 10            –2
             Nevada                   365.1     337.7      312.8   284.7   325.1   316.2     307.6      269.2          191.8           151.2                –93.7             –541        –1,036
             New Mexico               123.6     123.6      149.1   104.5    95.4    80.7
                                                                                                                                                                                                      3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1713 Page
             North Carolina                51.1      65.2       87.7     111.9      131.6     150.9      163.9     191.5           200.7   217.7               93.7      161        511
             Ohio                         103.4     104.8      105.1     120.7      133.5     139.2
             Oklahoma                     160.1     206.8      221.1     196.3      177.3     183.1      106.6              78.2    85.1    97.7             –98.9      –544      –1,095
             Oregon                       161.5     193.3      227.8     246.6      242       169.7                119.6   124.1   129.2   104.7   136.9     –83.9      –287       –604
             Pennsylvania                 165.2                196.4     193        178.9     172.6      174.3     158.9   171.7   225.6   201.4   184.0       4.8       –38         207
             South Carolina                89.4     104.5                133.1      155.8     161.7      176.2     179.6   186.8   204.4   192.4              59          172        300
             Tennessee                    264.9     320.2      318.4                286.5     251.9      223.2     210.8   217.1   256.3   266.1   307.1     –41.6      –314       –258
             Texas                        344.7                474.1     460.8      390.1     354.2      171.5     174.8   200.6   250.7   246.9            –195.9     –1,547     –2,180
             Utah                          65.1      63.4                 54.2       46.5      55.5       68.9      69.2    76.1    69.6    55.0              10.8        143        185
             Virginia                     101.2     109.7      106.3      97.1       94.9     103.6      107.2     111.8   124.1           134.9    98.1      13.1         97        191
             West Virginia                 41.5      48.5       51.3      48.9       44.0      45.5       37.7      40.3    36.1    40.6            50.0      –5.7       –68        –83
             Wyoming                       33.8      27.2       24.4      20.1       16.8      16.4       17.9      18.8    12.1    16.1    15.6              –7           –1         –4




  0702
                                                                                                                                                                                                                            1057




             Percentage of states                                                                                                                             64%          64%        64%




Exhibit 10
               where crime fell
             Drop in robberies                                                                                                                             –1,209.2   –11,861    –1,7426
               per 100,000 people
               for states where
               robbery rates fell
             Increase in robberies                                                                                                                            289.3     1,203      2,738
               per 100,000 people
               for states where
               robbery rates rose
             Note: Blanks indicate that not enough information was available to calculate an estimate for those years.
                                                                                                                                                                                            3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1714 Page
             Table 10.5d Changes in aggravated assault rates by state over time
                                        Years before law in effect                           Years after law in effect                               Change in aggravated assault rates
                                                                                                                                                       Average yearly
                                        10 or                                                                                                11 or     change before     Net impact Net impact
                                        more      9–8        7–6     5–4     3–2     1–0       1–2        3–4        5–6     7–8     9–10    more      and after law     by year 6      by year 10
             Alaska                     333.9     449.8      423.9   351.5   348.1   457.7     526.3      484.2      574.5   414.8   272.7                 60.3             635            –48
             Arizona                    684.5     719.4      680.2   619.6   523.1   538.4     495.7                 381.7   417.1   463.2   509.6       –174              –599          –1,188
             Arkansas                   332.6                368.6   390.9   394.6   354.7     359.8      344.0      362.9   375.7   449.0                 10                 8             354
             Colorado                   285.7     221.2      187.5   184.1   184.8   197.4
             Florida                    711.0     665.0      686.9   676.8   675.1   613.3                602.4      626.4   635.4           689.7        –32.9               7             73
             Georgia                    353       378.4      344.4   354.3   317.7   390.6                413.6      373.8   376.4   337.2   295.9          3                19           –184
             Idaho                      303       323.9      289.9   220.5   211.9   221.5     227.5      207.2      238.9           244.9   209.4        –36.2              27             97




  0703
                                                                                                                                                                                                                                     1057




             Kentucky                   321.9     339.1      363.3   506.3   415.2   216.7     187        221.5      230.6   214.4                       –147               –33            –41
             Louisiana                  471.3                347.7   381.0   507.8   517.9     559.7      612.5      614.7   470.7   612.5                128.9             700            842




Exhibit 10
             Maine                                322.5      262.5           157.3   143.7     102.6       95.6       79.7    74.6    69.0    72.6       –139.2            –460           –892
             Michigan                   375.5     362.6      315.2   269.6           313.9     362.3      371.7                                            39.6             319            319
             Minnesota                  112.1     113.5      112.0   122.2   130.6   127.6
             Mississippi                204.0                183.4   146.0   133.9   121.5     128.6      221.4      303.6   386.2   198.6   183.5          79.2             867          1,893
             Missouri                   277.3     308.4      285.4   281.7   315.6   366.6
             Montana                    208.9                218.9    88.1    85.6    76.5      99.0                  76.2    98.8   180.0   237.2          2.7              67             444
             Nevada                     484.7                369.3   278.9   380.4   587.5     436.6      362.1      304.2   381.8   421.5                –38.9          –1,979          –3,094
             New Mexico                 752.3                819.1   649.7   641.0   576.6     541.9                                                     –145.8           –104            –104
                                                                                                                                                                                                     3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1715 Page
             North Carolina                 370.7     305.8      298.2               364.2      363.2     384.5     362.3   270.3   289.3   301.8             –18.8     –218      –623
             Ohio                           180.7     168.9                139.3     145.0      137.4     143.4                                               –10.9        18        18
             Oklahoma                       402.7     366.0      383.5     418.1     461.1      476.9     436.9             414.7   414.0   405.3              –0.3     –307      –710
             Oregon                         609.8                588.4     470.6     417.3      371.2     297       311.2   117.7   330.5   316.4   268.4    –217.9    –1,163    –1,450
             Pennsylvania                   206.9     210.5      219.3     219.4     216.7      221.6     223.1     204.8           266.9   288.5   341.8      49.3      –46        291
             South Carolina                 772.9     667.2      877.5     777.6     822.1      804.7     756.9     616.2   564.5   628.5                    –145.5    –1430     –1958
             Tennessee                      352       355.3      365.2     406.5     473.6      466.8     490.5     544     542.7   613.5   627.9             160.5       530     1,453
             Texas                          402.2                431.5     479.6     487.1      420.3     421.4     405.3   395.7   428.4   397.1             –34.6     –116      –161
             Utah                           279       231.9      216.4     227.0     214.3      210.4     218.1     245.6   240.4   247.0                       8         218       328
             Virginia                       269.8     231.3      239.6     233.5     218.4      183.8     172.4     177.5   179.1           231.2   194.5     –38.5      –68         74
             West Virginia                  101.5     110.2      116.7     119.0      82.4                101.5     125.3   104.9   112.4   197.6   187.7      32.3
             Wyoming                        305.7     264.6      277.7     243.7     265.3      201.0     199.8     217.1   203.0   232.5   205.1             –48.2       51       158
             Percentage of states                                                                                                                              58%        48%       48%




  0704
                                                                                                                                                                                                                          1057




               where crime fell




Exhibit 10
             Drop in aggravated                                                                                                                             –1,228.7   –6,522   –10,452
               assaults per 100,000
               people for states
               where aggravated
               assault rates fell
             Increase in aggravated                                                                                                                            573.7    3,465     6,345
               assaults per 100,000
               people for states
               where aggravated
               assault rates rose
             Note: Blanks indicate that not enough information was available to calculate an estimate for those years.
                                                                                                                                                                                          3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1716 Page
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                                     1057

          a right-to-carry law is passed merely due to randomness is far less than 0.1
          percent—more than 1,000 to 1 odds. The odds that these drops in robbery
          rates are random are also somewhat long—about 11 to 1. For aggravated
          assault, while the laws still indicate a small overall reduction in crime, the
          impact on particular states is essentially random. These odds are similar to
          testing whether a coin is fair. If you flip a coin twenty times and 70 or 80
          percent of your tosses come up heads, you would be very foolish not to bet
          heads for the next coin flip.
              The results are again very similar to those provided in figures 10.1b–10.1e,
          with murder and rape showing the most dramatic reductions. The aver-
          age murder rate dropped in 89 percent of the states after the right-to-carry
          law was passed. Over the first six years after the law, 82 percent of the states
          experienced a net reduction in murders. Over the first ten years after the
          law, 85 percent saw a drop. Even in the three states where the average rate
          went up, the increase was very small, averaging just one percentage point,
          and statistically insignificant.
              There was a similar decline in rape rates. While rape rates didn’t compare
          quite as well in terms of the before-and-after averages (81 percent of the
          states showed declines, compared to 89 percent for murder). Neverthe-
          less, rape rates showed a slightly more consistent drop across states than
          murder rates when you compare the crime rates after the law to the rates
          right before the law went into eﬀect (85 percent for both the six- and ten-
          year comparisons compared to 82 percent). The average drop for the states
          whose rape rates fell was over twenty-seven times larger than the average
          increase for the states that experienced an increase in rape.
              While the results for robbery are not anywhere near as overwhelming
          as for murder and rape, states still experienced a drop in robbery rates by
          almost a two-to-one ratio. Once again, the drops are much larger than the
          increases—with the average drops in robbery rates being between 4.4 and
          9.9 times larger than the average increases. In fact, as we have pointed out
          many times in this book, the comparison in this case might underestimate
          the benefit of right-to-carry laws, because robbery rates were rising before
          the law and falling afterward. If you concentrate on the changes in robbery
          rates between the period immediately before the law and up to six or ten
          years afterward, the average drop experienced by states where robbery rates
          declined is between 6.4 and 9.9 times bigger than the average increase in the
          states where robbery rates rose.
              Victims face real costs from crime. Although the loss of life and physical
          and psychological damage are the most important, there are lost earnings,



                                          Exhibit 10
                                            0705
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          medical care, and the destruction of property that should be included in
          adding up the costs. Not too surprisingly, murder imposes by far the big-
          gest cost. The estimated total loss from a murder—$3.9 million in 2007
          dollars—is far greater than the $115,260 average loss from rape and the
          $10,758 average loss from robbery. These victimization costs were developed
          by the National Institute of Justice. If we use these figures, the twenty-
          nine states that we study save over $30 billion a year, with over half of
          that coming just from the reduction in murder rates. To put it diﬀerently,
          the average citizen in those states saved $221 each year from other law-
          abiding citizens carrying concealed handguns. Excluding property crimes,
          where our results are the least certain, the average citizen still saved $183.
          Since criminals don’t know which people are going to be able to protect
          themselves from an attack, even those who would never even consider
          owning a gun, let alone carrying one, benefit from others willing to bear
          these costs.
              The costs are borne by individual gun carriers, who have to pay the
          price of the gun, licensing fees, and training. These individuals also have
          to deal with the inconvenience of carrying a gun. It is important to note
          that higher fees mean that fewer people will carry guns, which reduces
          the total benefit.99
              All these tables make another point quite clear. When accounting for
          the diﬀerences in the laws, there is no evidence that states that adopted
          right-to-carry laws later than others had a diﬀerent experience. Florida,
          Maine, and Virginia had the first full year of their laws during the 1980s,
          but there is little diﬀerence in how murder, rape, or robbery rates changed
          compared with states such as Louisiana, Nevada, and Oklahoma, whose
          right-to-carry laws started in the 1990s. Even Michigan, whose right-to-
          carry law was adopted after 2000, experienced substantial benefits.
              For example, two-thirds of the states whose right-to-carry laws went
          into eﬀect during either the 1980s or 1990s saw drops in robbery rates. One
          of the two states whose laws went into eﬀect after 2000 also showed a drop,
          while the other, Missouri, showed no change. This pattern casts doubt on
          the claim that the crack cocaine epidemic during the late 1980s and early
          1990s is driving the results, because these results show drops in crime rates
          whether the right-to-carry laws went into eﬀect before, during, or after
          the crack epidemic.
              Figure 10.2 shows the pattern for murder rates by the decade that
          the right-to-carry law went into eﬀect. It graphs out what was shown in
          table 10.5a. Clearly, the murder rates start falling after the law, though



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                                           0706
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          Table 10.6 The impact of right-to-carry laws on victimization costs (millions of 2007 dollars)
                                      Murder             Rape             Robbery          Aggravated assault      Property crime
          Alaska                          –$36.91          –$110.29          –$28.61         –$1.26                   –$42.19
          Arizona                         –$67.35           –$19.85          $127.33       –$258.63                   $104.84
          Arkansas                       –$795.17          –$182.53         –$137.97         $38.05                  –$264.70
          Colorado
          Florida                      –$6,652.83        –$1,795.62       –$3,368.81          $40.88               –$2,834.34
          Georgia                      –$1,490.79         –$118.89         –$208.35          –$53.45                  –$0.63
          Idaho                             $3.50           –$2.61             $3.78           $4.06                    $6.84
          Kentucky                       –$18.56            –$3.15            $28.72          –$6.90                   $10.73
          Louisiana                     –$547.55          –$107.19         –$128.08          $153.92                 –$70.19
          Maine                          –$31.41             $11.93          –$6.57          –$42.26                  –$1.13
          Michigan                      –$289.53                           –$149.53          $123.29                –$153.37
          Minnesota                     –$127.05            –$82.40                            $0.00                    $0.00
          Mississippi                   –$122.11            –$68.16           $33.72         $212.79                 –$12.96
          Missouri                                                            –$0.01
          Montana                         –$4.33              $0.24           –$0.08         $16.46                    $14.10
          Nevada                        –$158.07           –$48.00           –$67.20       –$235.82                  –$48.57
          New Mexico                       $70.39          –$11.31                           –$8.33                     $8.13
          North Carolina                –$126.29           –$90.48            $140.17      –$200.92                 –$106.80
          Ohio                           $270.82           –$37.24                            $8.73                   –$2.81
          Oklahoma                      –$707.18          –$202.90         –$131.82        –$100.52                 –$316.14
          Oregon                        –$168.72           –$30.24          –$67.03        –$189.06                    $38.63
          Pennsylvania                  –$492.25            –$2.71            $89.37        $147.51                    $61.49
          South Carolina                 $195.55           –$71.77            $43.31       –$332.01                  –$42.53
          Tennessee                     –$282.37          –$209.50          –$50.29         $332.65                 –$132.71
          Texas                        –$3,263.15         –$882.25        –$1,566.65       –$135.67                –$1,619.63
          Utah                           –$37.02             $27.97           $14.15         $29.44                   –$3.00
          Virginia                      –$421.56             $33.52           $43.51         $19.91                    $40.54
          West Virginia                 –$122.35           –$21.28           –$5.37           $0.00                   –$8.16
          Wyoming                           $2.39           –$5.69           –$0.07           $3.23                     $0.17
          Total                       –$15,419.92        –$4,030.40       –$5,392.38       –$433.91                –$5,374.38
          Average per state             –$571.11          –$155.02         –$215.70         –$14.96                 –$185.32
          Per capita                    –$111.38           –$29.11          –$38.95          –$3.13                  –$38.82
          Excluding Florida:
            Total                      –$8,767.10        –$2,234.78       –$2,023.58       –$474.78                –$2,540.04
            Average per state           –$337.20           –$89.39          –$84.32         –$16.96                  –$90.72
            Per capita                   –$63.33           –$16.14          –$14.62          –$3.43                  –$18.35
          Note: Except for the per capita estimates, all dollar amounts are in millions of dollars.
          Source: The estimated victimization costs from crime are from Ted R. Miller, Mark Cohen, and Brian Wiersema,
          “Victim Costs and Consequences: A New Look,” Oﬃce of Justice Programs, National Institute of Justice, 1996.
          Note: Except for the per capita estimates, all amounts are in millions of dollars. All estimates are in 2007 dollars. The
          victimization costs for the diﬀerent crime categories are $3,887,200 for murder, $115,260 for rape, $10,758 for robbery,
          and $12,640 for aggravated assault.


          the drop is greater in those states whose laws went into eﬀect in the 1980s
          than the 1990s. And states that adopted the law after 2000 display a similar
          pattern—murder rates were rising consistently over the preceding eight
          years and declined for the first time right after the law went into eﬀect.
          However, for this last set of states too little time has elapsed to reach any
          overall conclusion.

                                                           Exhibit 10
                                                             0707
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                                            8



                                           7.5
          Murder rate per 100,000 people




                                            7



                                           6.5

                                                                                                                                    adopted
                                            6                                                                                       during the
                                                                                                                                    1980s

                                                                                                                                    adopted
                                           5.5                                                                                      during the
                                                                                                                                    1990s

                                                                                                                                    adopted
                                            5                                                                                       during the
                                                                                                                                    2000s


                                           4.5



                                            4
                                                 10       8-9   6-7   4-5   2-3   0-1    1-2    3-4       5-6   7-8   9-10   11
                                                 years                                                                       or
                                                 before                                                                      more
                                                                             Years before and after law

                    Figure 10.2. Changes in murder rates after adoption of right-to-carry laws by decade of adoption


                        Obviously, there can be some debate over what factors cause changes
                    in crime rates. Take our graphs for murder. In the nine alternative graphs
                    that follow, I look at many combinations of factors that can explain crime:
                    (a) using the arrest rate in the preceding year; (b) excluding changes in
                    all the other gun-control laws, but keeping everything else; (c) exclud-
                    ing all the measures of demographic change, but keeping everything else;
                    (d) dropping all the measures of income, poverty, unemployment, and
                    population, but keeping everything else; (e) dropping the gun-control laws
                    except the right-to-carry law and dropping all measures of demographics
                    but keeping everything else; (f ) dropping the gun-control laws as well as the
                    income, poverty, unemployment, and population variables; (g) dropping
                    the particular demographic variable for the percentage of the population
                    that is neither white nor black males 20–29 years of age; (h) eliminating
                    all control variables but fixed eﬀects; and (i) including crack cocaine use
                    for the 1980–2000 period (see figures 10.3a–10.3i). These diﬀerent estimates
                    examine how sensitive the results are to the specifications that are used.
                    While I think that most people would accept that the procedures used in
                    the earlier estimates are important in explaining crime rates, all readers
                    might not share that feeling.
                        The nine figures consistently show that right-to-carry laws reduce mur-
                    der rates. Given the frequent claims made by critics about cocaine’s impact

                                                                                  Exhibit 10
                                                                                    0708
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                                               7



                                             6.5
            Murder rate per 100,000 people




                                               6



                                             5.5



                                               5



                                             4.5



                                               4
                                                    10        8-9    6-7    4-5    2-3         0-1       1-2          3-4    5-6    7-8    9-10    10
                                                    years                                                years                                     or
                                                    before                                               after                                     more


                                                                                    Years before and after law

          Figure 10.3a. Murder rates before and after right-to-carry law: using the lagged arrest rate



                                             6.1


                                              6


                                             5.9
           Murder rate per 100,000




                                             5.8


                                             5.7


                                             5.6


                                             5.5


                                             5.4


                                             5.3


                                             5.2
                                                   10        8-9    6-7    4-5    2-3         0-1       1-2       3-4       5-6    7-8    9-10    10
                                                   years                                                years                                     or
                                                   before                                               after                                     more


                                                                                         Years before and after law

          Figure 10.3b. Murder rates before and after right-to-carry law: without gun-control variables



          on the measured benefits of right-to-carry laws, it is interesting how large
          the drop in crime is even when the measure of cocaine use is included. As
          in the results reported in previous chapters, per capita income and poverty
          measures have very small and statistically insignificant impacts on crime
          rates.
              Generally, the regulations to obtain permits have eﬀects similar to those




                                                                                   Exhibit 10
                                                                                     0709
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                                                             6.2

                                                              6
           Murder rate per 100,000 people


                                                             5.8

                                                             5.6

                                                             5.4

                                                             5.2

                                                              5

                                                             4.8

                                                             4.6

                                                             4.4
                                                                   10           8-9         6-7         4-5     2-3         0-1         1-2       3-4     5-6     7-8     9-10     10
                                                                   years                                                                years                                      or
                                                                   before                                                               after                                      more


                                                                                                                        Years before and after law

          Figure 10.3c. Murder rates before and after right-to-carry law: without demographic control variables


                                                                   7




                                                               6.5
                            Murder rate per 100,000 people




                                                                   6




                                                               5.5




                                                                   5




                                                               4.5




                                                                   4
                                                                       10             8-9         6-7     4-5     2-3             0-1     1-2       3-4     5-6     7-8     9-10     10
                                                                       years                                                              years                                      or
                                                                       before                                                             after                                      more


                                                                                                                          Years before and after law

          Figure 10.3d. Murder rates before and after right-to-carry law: without the income, poverty, unemployment,
          and population variables



          found in chapter 9. Longer training requirements imply a larger reduction
          in crime from right-to-carry laws, but the eﬀect drops oﬀ at a diminish-
          ing rate. There also seems to be an increase in crime when the length of
          the training requirement is greater than eight hours. Requiring people to
          train for more than eight hours means that they must attend training for




                                                                                                                      Exhibit 10
                                                                                                                        0710
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                                                      6.3


                                                      6.1
           Murder rate per 100,000 people


                                                      5.9


                                                      5.7


                                                      5.5


                                                      5.3


                                                      5.1


                                                      4.9


                                                      4.7


                                                      4.5
                                                             10        8-9    6-7   4-5   2-3      0-1      1-2      3-4     5-6   7-8    9-10   10
                                                             years                                          years                                or
                                                             before                                         after                                more



                                                                                                Years before and after law

          Figure 10.3e. Murder rates before and after right-to-carry law: without the gun-control variables and
          demographic variables


                                                       6.2

                                                       6.1

                                                       6.0
                     Murder Rate per 100,000 People




                                                       5.9

                                                       5.8

                                                       5.7

                                                       5.6

                                                       5.5

                                                       5.4

                                                       5.3

                                                       5.2

                                                       5.1
                                                              10        8-9   6-7   4-5   2-3      0-1     1-2      3-4      5-6   7-8   9-10    10
                                                              years                                        years                                 or
                                                              before                                       after                                 more

                                                                                            Years before and after law

          Figure 10.3f. Murder rates before and after right-to-carry law: without the income, poverty, unemployment,
          population, and gun-control variables


          more than one day, and that greatly reduces the number of people who
          get a permit. The more years a permit lasts, the larger reduction in crime,
          though the eﬀect is small. Finally, higher age limits before one can obtain a
          permit appear to be related to more crime, but the eﬀect is only statistically
          significant for overall violent crime and aggravated assault.
             We will discuss these regressions more later in the context of other
          gun laws.




                                                                                           Exhibit 10
                                                                                             0711
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                                                      6.5

                     Murder rate per 100,000 people   6.3

                                                      6.1

                                                      5.9

                                                      5.7

                                                      5.5

                                                      5.3

                                                      5.1

                                                      4.9

                                                      4.7

                                                      4.5
                                                            10       8-9   6-7   4-5   2-3       0-1      1-2      3-4    5-6    7-8   9-10   10
                                                            years                                         years                               or
                                                            before                                        after                               more


                                                                                             Years before and after law

          Figure 10.3g: Murder rates before and after right-to-carry law: dropping “percentage of population that is
          neither white nor black males 20–29 years of age”


                                                      6.1



                                                       6
           Murder rate per 100,000 people




                                                      5.9



                                                      5.8



                                                      5.7



                                                      5.6



                                                      5.5



                                                      5.4
                                                            10       8-9   6-7   4-5   2-3       0-1      1-2      3-4    5 -6   7-8   9-10   10
                                                            years                                         years                               or
                                                            before                                        after                               more


                                                                                             Years before and after law

          Figure 10.3h. Murder rates before and after right-to-carry law: only accounting for average differences by
          state and year, no other factors taken into account




                                                                                        Exhibit 10
                                                                                          0712
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                                             7


                                            6.8


                                            6.6
           Murder rate per 100,000 people




                                            6.4


                                            6.2


                                             6


                                            5.8


                                            5.6


                                            5.4


                                            5.2


                                             5
                                                  10       8-9   6-7   4-5   2-3       0-1     1-2      3-4     5-6   7-8   9-10   10
                                                  years                                        years                               or
                                                  before                                       after                               more


                                                                                   Years before and after law

          Figure 10.3i. Murder rates before and after right-to-carry law: including crack cocaine, data only available
          for 1980–2000



          Other Research on Guns and Crime
          When other scholars have tried to replicate [Lott’s] results, they found that the right-
          to-carry laws simply don’t bring down crime.
          —Steven Levitt and Stephen Dubner, Freakonomics (2005), pp. 133–34

          The Numbers
          After More Guns, Less Crime first appeared in 1998 (with the second edition
          in 2000), a host of new empirical research was undertaken on the eﬀect of
          right-to-carry laws.100 The most recent research continues the earlier pat-
          tern of finding reductions in crime, with twelve new refereed studies by
          economists and criminologists finding reductions in violent crime of vari-
          ous magnitudes. On the other side, one new refereed piece claims that the
          benefits are small or nonexistent. Weak evidence that concealed handguns
          may increase crime has been put forward in two nonrefereed publications
          by Ayres and Donohue.
             Here are the results from nine of the twelve studies finding a benefit
          from right-to-carry laws published since the last edition of this book (see
          table 10.7; my three articles are excluded from this list):

                                            —Florenz Plassmann and Nicolaus Tideman conclude that “right-to-carry
                                             laws do help on average to reduce the number of these crimes.”101



                                                                              Exhibit 10
                                                                                0713
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             —Carl Moody states that his findings “confirm and reinforce the basic
              findings of the original Lott and Mustard study.”102
             —In another paper that Moody coauthored with Thomas Marvell, which
              studies county crime rates from 1977 to 2000, the authors write that
              “the evidence, such as it is, seems to support the hypothesis that the
              shall-issue law is generally beneficial with respect to its overall long
              run eﬀect on crime.”103
             —Eric Helland and Alex Tabarrok used county crime rates from 1977 to
              2000 to find that “shall-issue laws cause a large and significant drop in
              the murder trend rate” and that “there is considerable support for the
              hypothesis that shall-issue laws cause criminals to substitute away from
              crimes against persons and towards crimes against property.”104
             —While calling for more research, David Olsen and Michael Maltz found
              “a decrease in total homicides,” though the diﬀerent data set they use indi-
              cates that the decline was driven entirely by a drop in gun homicides.105
             —Bruce Benson and Brent Mast argue that their results “are virtually
              identical to those in [Lott and Mustard]. Therefore, the hypothesis that
              the [Lott and Mustard estimates] suﬀer from missing-variable bias owing
              to the lack of control for the private security industry is rejected.”106
             —David Mustard provides evidence that “after enactment of the
              right-to-carry laws, states exhibit a reduced likelihood of having feloni-
              ous police deaths.”107
             —James Q. Wilson, often mentioned as the preeminent criminologist in
              the United States, reviewed the National Academy of Sciences report
              on Firearms and Violence and notes that while there might be some
              debate over some types of violent crime, “I find that the evidence pre-
              sented by Lott and his supporters suggests that RTC laws do in fact help
              drive down the murder rate.”108
             —My work with John Whitley concludes that “the longer a right-to-carry
              law is in eﬀect, the greater the drop in crime.”109

             Diﬀerent researchers approach the problem from a variety of perspec-
          tives by using new statistical techniques, diﬀerent data sets, or diﬀerent
          control variables or by examining a variety of specifications. Despite these
          diﬀerences, the consensus is the same: right-to-carry laws reduce vio-
          lent crime.110
             Plassmann and Tideman break down the impact of concealed-handgun
          laws not only across states but also by each year before and after the law for
          the years 1977–1992. Their big innovation involves solving what is called



                                           Exhibit 10
                                             0714
             Table 10.7 Modern statistical research on right-to-carry laws and crime by academic economists and criminologists using national panel data
                                                                                                           Studies that claim to ﬁnd that right-to-carry laws have         Studies that found right-to-carry
                                          Studies that found right-to-carry laws reduced violent crime     no discernable effect on violent crime                          laws increased violent crime
             Refereed academic            1. Lott and Mustard, Journal of Legal Studies, 1997              1. Black and Nagin, Journal of Legal Studies, 1998              None
              publications                2. Bartley and Cohen, Economic Inquiry, 1998                     2. Ludwig, International Review of Law and Economics,
                                          3. Lott, Journal of Legal Studies, 1998                            1998
                                          4. Bartley, Economics Letters, 1999                              3. Donohue and Levitt, Quarterly Journal of Econom-
                                          5. Benson and Mast, Journal of Law and Economics,                  ics, 1999
                                            2001                                                           4. Hood and Neeley, Social Science Quarterly, 2000
                                          6. Moody, Journal of Law and Economics, 2001                     5. Duggan, Journal of Political Economy, 2001
                                          7. Mustard, Journal of Law and Economics, 2001                   6. Duwe, Kovandzic, and Moody, Homicide Studies,
                                          8. Olsen and Maltz, Journal of Law and Economics, 2001             2002
                                          9. Plassmann and Tideman, Journal of Law and                     7. Kovandzic and Marvell, Criminology and Public
                                            Economics, 2001                                                  Policy, 2003
                                          10. Marvel, Journal of Law and Economics, 2001                   8. Dezhbakhsh and Rubin, International Review of
                                          11. Lott and Whitley, Journal of Law and Economics,                Law and Economics, 2003
                                            2001                                                           9. National Research Council, National Academies




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                                          12. Lott and Whitley, Journal of Quantitative Criminol-            Press, 2005
                                                                                                           10. Kovandzic, Marvell, and Vieraiis, Homicide




Exhibit 10
                                            ogy, 2003
                                          13. Helland and Tabarrok, Advances in Economic                     Studies, 2005
                                            Analysis and Policy, 2004
                                          14. Wilson, National Academies Press, 2005
                                          15. Lott and Whitley, Economic Inquiry, 2007
                                          16. Moody and Marvel, Econ Watch, 2008
             Nonrefereed                  1. Bronars and Lott, American Economic Review, 1998              1. Ayres and Donohue, American Law and Economics                1. Ayres and Donohue, Stanford
              publications by             2. Plassmann and Whitley, Stanford Law Review, 2003                Review, 1999 (book reviews, unlike papers in                    Law Review, 2003; see also
              academics                   3. Lott and Landes, The Bias Against Guns, 2003                    this journal, are not refereed)                                 Donohue, “The Impact of
                                                                                                                                                                             Concealed-Carry Laws,” 2003
                                                                                                                                                                           2. Ayres and Donohue, Econ
                                                                                                                                                                             Watch, 2009a
             a
               Just the original paper by Carl Moody and Teb Marvell was refereed by Econ Watch. Correspondence with the editor indicates the comment by Ayres and Donohue was published as it was sent into the
             journal: no refereeing or editing was done for their piece.
                                                                                                                                                                                                                   3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1727 Page
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          the “truncation problem,” which occurs in county-level data sets because
          in some years many counties do not experience certain types of crimes
          at all—80 percent have no murders, for instance. If the murder rate in a
          county is zero before the law goes into eﬀect, simple randomness means
          that sometimes the crime rate will go up, but the reverse cannot happen—
          crime rates cannot fall below zero. This could bias results for these regres-
          sions toward finding an increase in crime from the law. To avoid that, they
          exclude counties where there were no crimes committed.
             Figure 10.4 graphs the regression results that Plassmann and Tideman
          obtained for murder. Their results are striking. For the ten states that ad-
          opted concealed-handgun laws during the period they studied, murder
          rates were rising or constant prior to the law. After the law was passed, they
          were all falling. Indeed, with one exception, all Plassmann and Tideman’s
          estimates for murder, rape, and robbery for the ten states that enacted the
          law from 1977 through 1992 show that crime rates fell during the first full
          year that the laws were in eﬀect. Even in the one exception (Oregon for
          robbery), the robbery rates still were much lower in the first three full years
          after enactment than in any of the five years before the law. Robbery rates
          (again with the exception of the single year for Oregon) indicate a bigger
          drop for each additional year that the law is in eﬀect.
             David Olsen and Michael Maltz use county-level data from the Supple-
          mental Homicide Report (SHR). At the time of my initial research with
          David Mustard, the SHR only provided data at the state level, so we could
          not use it. Fortunately, the SHR data set has since been improved. The
          SHR is remarkably rich and includes much more detailed characteristics
          of the victims and murderers than the FBI’s Uniform Crime Reports (UCR).
          Further, county-level data are generally preferable to state level data. When
          you examine changes in crime rates solely at the state level, you likely miss
          much of what may be happening within a state.111 There is no reason to
          expect that changes in law enforcement or other factors are going to have
          the same impact on crime in all counties within a state.
             The overall drop in homicides that Olsen and Maltz find is roughly
          similar to what I originally reported using county level UCR data. How-
          ever, the county level SHR data set does produce diﬀerent results in terms
          of how murders are committed and who benefits from gun ownership.
          Olsen and Maltz’s results show that after the passage of concealed-handgun
          laws, murderers rely much less frequently upon guns to kill people. The results
          are striking and important: murders with guns fall by 21 percent while non-
          gun murders actually rise by 10 percent, though this rise is not statistically



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                                                   Florida                                     Georgia
                                                                                             0.1
                                                  0.2
                                                                                             .0
                                                                                            0.05
                                                  0
                                                  0.1                                          0
                                                                         -5
                                                                          5   -4
                                                                               4   -3
                                                                                    3   -2
                                                                                         2 -1 0          1   2   3
                                                    0                                      -0.05
                          -5    -4    -3    -2   -1 0        1   2   3
                                                 -0.1                                       -0.1
                                                                                           -0.15
                                                  -0.2
                                                                                            -0.2
                                                  -0.3                                     -0.25
                                                  -0.4                                      -0.3


                                                   Idaho                                        Maine
                                                  0.1                                          0.6
                                                    0                                          0.5
                          -5    -4    -3    -2   -1 0    1       2   3
                                                 -0.1
                                                  0                                            0.4
                                                 -0.2
                                                  0.2
                                                  0                                            0.3
                                                 -0.3
                                                    3                                          0.2
                                                                                                 1
                                                                                               0.1
                                                 -0.4
                                                                                                 0
                                                 -0.5                    -5
                                                                          5   -4
                                                                               4   -3
                                                                                    3   -2
                                                                                         2    -0.1 0
                                                                                              -1
                                                                                               1         1   2   3
                                                 -0.6                                         -0.2
                                                 -0.7                                         -0.3
                                                 -0.8                                         -0.4


                                                 Mississippi                                   Montana
                                                    0.1                                        0.2
                                                  0.05                                           0
                                                      0                  -5
                                                                          5   -4
                                                                               4   -3
                                                                                    3   -2
                                                                                         2    -1
                                                                                               1 0       1   2   3
                    -6   -5    -4    -3    -2    -1
                                                  1 0 1          2                             0.
                                                                                               0
                                                                                              -0.2
                                                 -0.05
                                                  0
                                                  -0.1                                            4
                                                                                               -0.4
                                                 -0.15                                            6
                                                                                               -0.6
                                                  -0.2                                         -0.8
                                                 -0.25
                                                                                                -1
                                                  -0.3
                                                 -0.35                                         -1.2


                                                  Oregon                                     Pennsylvania
                                                   0.5                                        0.25
                                                   0.4                                         0.2
                                                   0
                                                   0.3                                           5
                                                                                              0.15
                                                   0.
                                                   0.2
                                                                                                 1
                                                                                               0.1
                                                     1
                                                   0.1
                                                                                               0.0
                                                                                                 .0
                                                                                                  0
                                                                                               0.05
                                                     0
                          -5    -4    -3    -2   -1 0        1   2   3                             0
                                                  -0.1                   -5
                                                                          5   -4
                                                                               4   -3   -2
                                                                                         2     -1 0      1   2   3
                                                  -0.2                                        -0.05
                                                  -0.3                                          -0.1
                                                  -0.4                                        -0.15


                                                  Virginia                                   West Virginia
                                                  0.3                                           0.4
                                                 0.25
                                                                                                0.3
                                                  0.2
                                                 0.155                                            2
                                                                                                0.2
                                                    .1
                                                  0.1                                            .1
                                                                                                0.1
                                                0.0
                                                0.05
                                                                                                  0
                                                   0                     -5
                                                                          5   -4
                                                                               4   -3
                                                                                    3   -2
                                                                                         2    -1 0       1   2   3
                          -5    -4    -3    -2 -1 0          1   2   3                         -0.1
                                               -0.05
                                                -0.1                                           -0.2
                                    Years before and after adoption            Years before and after adoption
                                               of the law                                 of the law

          Figure 10.4. Before-and-after trends for murder using Plassmann and Tideman’s results




                                                               Exhibit 10
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          significant. In total, they find that concealed-carry laws lower murder by
          7 percent.
             Another study presents the eﬀect of right-to-carry laws on police kill-
          ings. Using data from 1984 to 1996, David Mustard finds that while waiting
          periods rarely have a significant eﬀect on police deaths, concealed-handgun
          laws are consistently and significantly related to fewer killings of police.
          Olsen and Maltz’s work dovetails well with Mustard’s. If right-to-carry laws
          result in fewer criminals carrying guns, this might explain why fewer police
          are murdered.
             My paper with John Whitley in 2007 takes into account whether the
          impact of legalizing abortion on crime altered our results for right-to-carry
          laws. Using the SHR data from 1980 to 1998, we also find that each addi-
          tional year that a right-to-carry law was in eﬀect, the murder rate dropped
          by between 1 and 2.5 percent (with most of the estimates between about
          1.9 and 2.5 percent). We also found that legalized abortion led to more
          single-parent families, which in turn is a well-known cause of delinquent
          and criminal behavior in children.

          The Critics
          A number of critics claim that right-to-carry laws have no impact on vio-
          lent crime. However, there is very little in peer-reviewed professional jour-
          nals to point to. Even the results that they point to actually hold more
          evidence that right-to-carry laws reduce crime.
             For instance, Mark Duggan claims that my statistically significant results
          on concealed handguns disappear for several of the violent crime categories
          when one correctly calculates the statistical significance. However, Duggan
          has simply misreported his own results and recorded some of his estimated
          drops in crime as not being statistically significant when in fact they are
          significant.112 After those mistakes are corrected, fifteen of his thirty esti-
          mates show statistically significant drops in crime, while only one shows a
          significant increase.
             Indeed, all six of his estimates show that right-to-carry laws reduce mur-
          der rates, and the results are statistically significant for four of them. These
          significant reductions occur despite his leaving out all the normal factors
          that are well known to aﬀect crime rates, such as the arrest rate, the death
          penalty, prison incarceration rate, poverty, or anything else. These factors are
          routinely included when economists study crime. In a few estimates, he only
          accounts for the year-to-year and average county diﬀerences in crime rates.
             His two estimates that did not yield statistically significant reductions



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          in murder rates are particularly problematic.113 In one of them, Duggan
          compares the murder rate the year before the law with the murder rate
          the year afterward. However, as shown in previous editions of this book,
          such an approach gives a very misleading result when crime rates are rising
          before a law and falling afterward. Obviously, this change in trends, from
          crime going up to going down, would be consistent with the law’s being
          eﬀective in combating crime. But the before-and-after averages would be
          the same, meaning that Duggan’s calculations would falsely imply the law
          didn’t matter. (Recall the earlier discussion and graphs in chapter 9, critique
          4, “Do right-to-carry laws significantly reduce the robbery rate?”)
              Duggan’s second estimate without a statistically significant result stems
          from his ignoring the “truncation problem,” noted above by Plassmann
          and Tideman, and thus treating counties with no reported murders the
          same as the others. For example, when most counties have zero murders
          in any given year, no matter how good the law is, murder rates can’t fall
          any further. But simple randomness can mean that sometimes you will
          see the crime rate rise from zero even though it had no connection with
          the right-to-carry laws. In his last set of estimates, his analysis of the diﬀer-
          ent violent crime categories included counties with zero crimes. There are
          a number of ways to statistically adjust for this problem (Tobit, negative
          binomials, etc.), but Duggan didn’t bother to use these techniques—thus
          biasing his results against finding a drop in crime.
              Let’s break down the results from five of the more prominent critical
          papers. Besides Duggan’s work, there are papers by Black and Nagin, Ayres
          and Donohue (1999), Ludwig, and a book chapter by Donohue (2003) that
          reproduces the regressions shown in Ayres and Donohue (2003), plus a
          few more. The results are summarized in table 10.8. Out of 177 estimates
          reported by these critics, only 7 imply a statistically significant increase in
          crime after the passage of the law. In contrast, 80 imply no statistically sig-
          nificant change, and 90 imply a statistically significant decline in crime.
          In other words, half the time these critical studies confirm my results. In
          only 4 percent of the estimates are the results reversed. And those 4 percent
          contain numerous problems with their regressions, problems that tend to
          bias their results against finding a beneficial aﬀect.114
              Take Black and Nagin’s state-by-state breakdown. At the 10 percent
          level, merely three of their estimates imply a statistically significant increase
          in crime, twenty-two imply no significant change, and fifteen imply a statis-
          tically significant decline.115 And again, as just mentioned, examining only




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          Table 10.8 Results on violent crime rates from studies critical of my work
                                                                                         Finding of                         Finding of
                                                                                         reduced          Finding of        increased
          Study                                 Tables in the study                      crimea           no change         crime
          Estimates where there is
            enough information
            provided to determine
            statistical significance:
            Black and Nagin                     Tables 1 and 2, national                 12               8                 1
                                                 eﬀects
            Duggan                              Table 12                                 14b              15b               1
            Ludwig                              Tables 4 and 5                            0               19                0
            Ayres and Donohue                   Table 1                                  30 (27)c         13 (16)c          0
            Donohue                             Tables 1–4, examining the                34               25                5
                                                 period from 1977 to 1997,
                                                 estimates looking at the
                                                 average drop in crime or
                                                 the change in trends
               Total                                                                     90 (87)          80 (83)           7
                                                                                              Net beneﬁt from          Net cost from
                                                 Tables in the study                          reduced crime            increased crime
          Estimates where there is
            not enough information
            provided to determine
            statistical significance:d
            Donohuee                             Tables 1–4, net benefit or cost              4                        0
                                                  estimated by combining
                                                  both average drop and
                                                  trends together
                                                 Tables 5–8, examining the                    4                        0
                                                  impacts year by year after
                                                  the law
               Total                                                                          8                        0
          Sources: D. A. Black and D. S. Nagin, “Do Right-to-Carry Laws Deter Violent Crime?” Journal of Legal Studies 27 (1998):
          209–19; Ian Ayres and John J. Donohue III, “Nondiscretionary Concealed Weapons Laws: A Case Study of Statistics,
          Standards of Proof, and Public Policy,” American Law and Economics Review 1 (1999): 436; Mark Duggan, “More Guns,
          More Crime,” Journal of Political Economy 109 (2001): 1086; J. Ludwig, “Concealed-Gun-Carrying Laws and Violent Crime:
          Evidence from State Panel Data,” International Review of Law and Economics 18 (1998): 239–54; J. J. Donohue, “The Impact of
          Concealed Carry Laws,” in Evaluating Gun Policy, ed. J. Ludwig and P. J. Cook (Washington, DC: Brookings Institution,
          2003), 287–325.
          Note: Values are the national coeﬃcients from the most critical studies listed in footnote 17 of the report.
          a
           Some of these negative significant coeﬃcients are a result of the authors’ replicating my earlier work. If these were
          removed, the numbers for negative significant coeﬃcients would be as follows: Black and Nagin, 8; Duggan, 9; Ayres
          and Donohue, 25 (22); and totals, 42 (39).
          b
            Duggan’s study has typos mislabeling the statistical significance of two of his results. See column 2 in table 12 (p. 1110)
          and the results for rape and aggravated assault. For rape a coeﬃcient of –.052 and a standard error of .0232 produce a
          t-statistic of 2.24. For aggravated assault a coeﬃcient of –.0699 and a standard error of .0277 produce a t-statistic
          of 2.52.
          c
           Because of downward rounding to 1.6, it is not possible to tell whether the t-statistics reported by Ayres and Donohue
          are statistically significant at the 10 percent level. The values in parentheses assume that a t-statistic of 1.6 is not
          significant at the 10 percent level, while the first values assume that a t-statistic rounded oﬀ to 1.6 is significant at
          that level.
          d
            Examines the net eﬀect over five years after the right-to-carry law is in eﬀect, for estimates that simultaneously use
          both a law dummy and trend for the years that the law is in eﬀect.
          e
           Calculations taken from Plassmann and Whitley (2003).
          Examining the net eﬀect over five years after the right-to-carry law is in eﬀect, for estimates that simultaneously use
          both a law dummy and trend for the years that the law is in eﬀect.




                                                            Exhibit 10
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          simple before-and-after averages can be quite misleading, and Black and
          Nagin, Duggan, Ludwig, and Ayres and Donohue (1999) limit their studies
          to those averages.
              Finally, in a series of papers, none of them peer refereed, Ian Ayres and
          John Donohue claim that crime rates may possibly rise with the passage of
          right-to-carry laws. (The book chapter discussed here by Donohue [2003] du-
          plicates the same data and the same regressions.) They provide results for a va-
          riety of specifications using data from 1977 to 1997. Their most general results
          report the relative crime rates by year before and after the adoption of the law
          and show significant declines in all violent crime categories with patterns
          that are very similar to those just shown for Plassmann and Tideman.
              Nevertheless, Donohue argues that these results provide no evidence that
          right-to-carry laws reduce violent crime, as the coeﬃcients for crimes like
          robbery are positive for up to 6 to 7 years after the enactment of the law.116
          But he completely misinterprets his own results. A positive coeﬃcient im-
          plies that the crime rates in right-to-carry states are higher than in non-
          right-to-carry states. But if the coeﬃcient becomes smaller after the pas-
          sage of the law, as is true here, that means the crime rates in right-to-carry
          states are falling relative to the crime rates in non-right-to-carry states. The
          crime rate in right-to-carry states is still higher than in other states, but
          not by as much as before. Thus, contrary to his own statements, Donohue’s
          study showed that concealed-carry laws actually reduced crime. Figure 10.5
          provides fairly dramatic evidence that even Ayres and Donohue’s own re-
          sults show that violent crime rates fall after right-to-carry laws are ad-
          opted, and that the drops over the entire period are larger for county- than
          state-level data. Their results generate similar graphs for the other violent
          crime categories.
              Donohue explains his results this way (pp. 312–13, emphasis added):

             A supporter of the Lott thesis might note that the dummies for the periods
             more than three years after passage tend to become negative and statistically
             significant, but in my opinion the coeﬃcient estimates for the dummies
             lagged beyond three years tend to weaken Lott’s case rather than buttress
             it. . . . The ostensibly growing eﬀect on crime—see the increasingly larger
             negative numbers after passage in table 8–5—are taken by Lott as evidence
             that shall-issue laws become more beneficial over time, but something
             very diﬀerent is at work. The observed pattern again shows that numerous
             states experiencing increases in crime after passage drop out of the analysis be-




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                                                0.2



                                                0.1                                                                  8 or
                                                                                                   4 to 5
                                                                                                   years             more
                                                                                                   after             years
                                                                                                                     after
                                                 0
                                                      5 to 6   3 to 4            Year                       6 to 7
           Estimated impact on mur der rates




                                                      years    years    1 to 2   law                        years
                                                      before   before   years    passed                     after
                                               -0.1                     before                                               Results from John Donohue,
                                                                                 and      2 to 3
                                                                                                                             County Results, Table 8-5
                                                                                 first    years                              to 1992–1977
                                                                                 year     after
                                                                                                                             Results from John Donohue,
                                               -0.2                                                                          County Results, Table 8-5
                                                                                                                             to 1997–1977

                                                                                                                             Results from John Donohue,
                                               -0.3                                                                          State Level Results, Table 8
                                                                                                                             to 1992–1977, 6

                                                                                                                             Results from John Donohue,
                                               -0.4                                                                          State Level Results, Table 8
                                                                                                                             to 1997–1977, 6



                                               -0.5



                                               -0.6



                                               -0.7
                                                      Years before and after the passage of right-to-carry laws

          Figure 10.5. Donohue’s (2003) estimated impact of right-to-carry laws on murder. From John Donohue, “The
          Impact of Concealed-Carry Laws,” in Evaluating Gun Policy, ed. Jens Ludwig (Washington, DC: Brookings
          Institution Press, 2003), 287–323.


                                               cause these states’ laws were adopted too close to 1997 to be included
                                               in the estimate for beyond three years. (Indeed, none of the fourteen
                                               shall-issue laws that were adopted after the period for inclusion in Lott’s
                                               original work aﬀect the estimates of these “after three years” dummies).

          As mentioned, Donohue makes a significant mistake here when interpret-
          ing his own results. True, the coeﬃcients were positive for some of these
          estimates in the years immediately after passage of right-to-carry laws. As
          I explained, however, this simply means that the states that passed right-
          to-carry laws tended to be states with high crime rates. The crucial point here
          is that the number of crimes still fell—that immediately after the law was
          passed, crime rates in right-to-carry states were still higher than in other states
          but by a smaller amount. As the crime rates in right-to-carry states contin-
          ued to fall, they eventually fell below the crime rates in non-right-to-carry
          states, and that is when the coeﬃcients become negative. Thus, Donohue’s
          own results clearly show that right-to-carry laws reduce crime.




                                                                                      Exhibit 10
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          Is There an Initial Increase in Crime? How Not to Fit a Line to a Curve
          While we do not want to overstate the strength of the conclusions that can be drawn from
          the extremely variable results emerging from the statistical analysis, if anything, there is
          stronger evidence for the conclusion that these laws increase crime than there is for the
          conclusion that they decrease it.
          —Ian Ayres and John Donohue, Stanford Law Review, 2003, p. 1202

          Only one article, by Ayres and Donohue who employ a model that combines a dummy
          variable with a post-law trend, claims to find that shall-issue laws increase crime. How-
          ever, the only way that they can produce the result that shall-issue laws increase crime
          is to confine the span of analysis to five years. We show, using their own estimates, that
          if they had extended their analysis by one more year, they would have concluded that
          these laws reduce crime.
          —Carl Moody and Thomas Marvell, Econ Journal Watch, September 2008, p. 291


          The above quotes speak for themselves. Donohue’s claim that crime rates
          initially spike up after right-to-carry laws are adopted is made frequently
          in Ayres and Donohue’s research. We have already discussed many issues
          such as why looking at simple average crime rates before and after the
          right-to-carry laws go into eﬀect can lead to highly misleading conclusions
          on how crime rates are changing over time (p. 216). But there is nothing
          magical about adding simple before-and-after crime rate trends to these
          before-and-after averages. Indeed, the best way of analyzing the data is to
          simply look at how the crime rates change year by year. The reason to look
          at trends is to allow a simple statistical test to see if the before-and-after
          trends diﬀer from each other.
              Ayres and Donohue added a twist to their tests by combining the
          before-and-after averages with the before-and-after trends, what they call
          their “hybrid” estimate. There is nothing inherently wrong with this—
          after all, it is just another way of summarizing the patterns in the data.
          Nevertheless, one has to be careful that the actual changes in crime rates
          fit the pattern implied by whatever approach we are using.
              Ayres and Donohue argue that when right-to-carry laws are adopted,
          there is an initial increase in crime and then a gradual decrease. But since
          none of the year-by-year estimates for violent crime show this initial jump
          in crime when the law starts, how do Ayres and Donohue reach this con-
          clusion? The answer: It is really just an artifact of how they tried to fit a
          straight line to a curve.
              Take a look at figure 10.6. Ayres and Donohue claim that crime rates are



                                               Exhibit 10
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                        8


                               Regression line over period before the law
                        7
                                                                                                        Estimated crime rate is below
                                                                                                        the actual crime rate

                        6

                                          Estimated crime rate is above
                                          the actual crime rate
                        5
           Crime rate




                        4

                                 Regression line over period after the law
                        3



                        2



                        1



                        0
                            Greater   8 to 9   6 to 7   4 to 5    2 to 3     0 to 1   1 to 2   3 to 4    5 to 6   7 to 8   9 to 10      10 or
                             than     years    years    years     years      years    years    years     years    years     years       more
                               or     before   before   before    before     before   after    after     after    after     after       years
                             equal     law      law      law       law        law      law      law       law      law       law        after
                             to 10                                                                                                       the
                             years                                                                                                       law
                            before
                              law               Years before and after the passage of right-to-carry laws

          Figure 10.6. Fitting a line to crime rates that are nonlinear


          very slightly declining up until the right-to-carry law is passed and then they
          start to fall much more dramatically. Suppose that you wanted to fit two
          lines to the figure (say, the two dashed regression lines in the diagram). One
          straight line shows how the crime rate changes in the years before the law,
          and one straight line shows how it changes after the law. The first line is very
          easy to fit. The second one requires some arbitrary choices. The way Ayres
          and Donohue choose to position this line is so that it goes right through
          the middle of the curve for the after-law crime rates. An alternative would
          have been to have this second line start where the first one had finished
          (the approach that I had taken in the first and second editions in looking at
          before-and-after trends). This “predicted” crime rate line for the after-law
          period thus lies above the true crime rate immediately after the law, falls
          below the actual crime rate when you get out to year 4 after the law, and
          then again lies above the actual crime rate when you get out past year 9.
             The key is that this “predicted” crime rate does not remotely resemble



                                                                    Exhibit 10
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          how the actual crime rate is changing. All this might not have been much
          of a problem if Ayres and Donohue had tried to reconcile these results with
          their reported year-by-year estimates (as I discussed at the end of the sec-
          tion “Other Research on Guns and Crime”). But they also made another
          mistake. Oddly, they used data for states that had these laws in eﬀect for
          over a decade in order to estimate this after-law regression line, but then
          they only looked at the net change in crime rates for the first five years that
          the law was in eﬀect. This only matters because for three of those first five
          years they are overpredicting the crime rate. Limiting the time that you
          examine to a period when you are greatly overpredicting the crime rate is
          what causes the large upward bias in their estimates of how right-to-carry
          laws alter crime rates.
              Steve Levitt has claimed: “When the original Lott and Mustard (1997)
          data set is extended forward in time to encompass a large number of addi-
          tional law enactments, the results disappear (Ayres and Donohue, 2003).”117
          That is wrong. It was not because they added additional years of data that
          these results disappear. The second edition of this book examined crime
          rates from 1977 to 1996, and the Ayres and Donohue paper added only one
          year, 1997, to the data set that I had given them. Adding one year of data
          onto twenty years didn’t make a diﬀerence in the results. The issue is how
          they fitted a straight line to crime rate data that weren’t straight.
              This is where Carl Moody and Ted Marvell enter the debate. Moody and
          Marvell point out that even using Ayres and Donohue’s own estimation
          over the period of time that they chose, summing the net eﬀects over the
          first six years shows an overall benefit from the law.
              So what is the moral of the story? When you know that the underlying
          data don’t show an initial increase in crime but the simplified method that
          you are using to test the changes in crime rates implies there is, you had
          better go back and figure out what you did wrong.

          Multiple-Victim Public Shootings
          Finally, we should discuss the research by Grant Duwe, Tom Kovandzic,
          and Carl Moody on multiple-victim public shootings.118 The three authors
          claim that the drop in multiple-victim public shootings after right-to-carry
          laws are adopted is not statistically significant. The problem is that they
          only looked at a very small subset of attacks, those that left four or more
          victims killed. Indeed, my earlier work with Bill Landes had also not found
          a statistically significant result for that one type of attack, but the reason is
          simple—this way of defining the dependent variable greatly reduces the



                                             Exhibit 10
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          number of public shootings to just thirty-six incidents over the entire 1977
          to 1995 period.119 Landes and I had examined a range of diﬀerent types of at-
          tacks: two or more murders, three or more murders, two or more injuries
          or murders, three or more injuries or murders, and four or more injuries
          or murders. And the results consistently found that right-to-carry laws
          reduced the number of attacks and the number killed or injured.

          Conclusion
          In light of all the studies of right-to-carry laws, it is remarkable that not a
          single refereed academic study by economists or criminologists has found a bad eﬀect
          from these laws. It’s also noteworthy that no one has challenged the results
          that I have gotten for all the other gun-control laws that I have studied in
          this book.


          The Continuing Debate
          Clearly, the weight of research in refereed scholarly journals indicates that
          the basic results have been replicated, which is a central scientific criterion
          for evaluating an argument. Critics of the more-guns-less-crime thesis have
          not been content, however, to limit themselves to whether the basic find-
          ings stand up against legitimate examinations by others. Instead, they have
          sought to find chinks in the armor. When even that has not succeeded,
          they have engaged in misrepresentations and the casting of aspersions. To
          be blunt, the debate, such as it is, has unfortunately become personalized
          rather than sticking to the merits of the case—on which my opponents
          have no case to make. This section will take up some of the issues raised
          by critics seeking any way they can to call into question the findings both
          I and others have made.

          Can We Trust the Data? Are the County-Level Crime Data Unusable?
          Due to problems in the reporting of [county] crime data there are many gaps that need
          to be filled. The organization that prepared the data filled these gaps using two diﬀerent
          estimation (i.e., imputation) procedures; moreover, the change in these procedures was
          not recognized by and incorporated into the MGLC analysis. Thus, there are so many
          problems with the county- level crime data sets used in MGLC that its analyses are called
          into question. We note, however, that the second edition of More Guns, Less Crime (Lott, 2000)
          includes state- and city-level analyses, which are not subject to this particular problem. . . .
          Not all police agencies provide 12 months of crime data to the FBI . . . And some agencies
          may not fill out crime reports simply because they rarely have any crime to report. [The



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          FBI only tries to fill in these gaps for data at the] state, regional, and national level. . . . At
          this point, county-level crime data cannot be used with any degree of confidence.
          —Michael D. Maltz and Joseph Targonski, “A Note on the Use of County-Level UCR
          Data,” Journal of Quantitative Criminology, September 2002, pp. 298–99

          Maltz and Targonski have a point—there is missing information in the
          county level-data. But their conclusion “that county-level crime data, as
          they are currently constituted, should not be used, especially in policy
          studies” is unjustified. While people who work with data might not want
          to admit it, all data have errors in them. For example, per capita income
          in a regression doesn’t perfectly measure people’s income; people do not
          report all their income to the government, and there are often typos in
          the recording of various numbers. These figures are useful, but they are
          not a perfect measure. Nor does the measure of poverty perfectly evaluate
          poverty. This is true for every factor that we examine.
             Thus, pointing out the mere existence of measurement errors isn’t
          enough. Errors can work to artificially weaken or strengthen results, but
          normally, if they are random, they simply make it diﬃcult to find any
          relationship that might exist. But Maltz and Targonski do not ask whether
          any errors actually aﬀected my results, and that is the key question. The
          fact that similar results are obtained for city and state data should provide
          confidence that any problems are minimal. Maltz and Targonski do ac-
          knowledge in their article that the “state- and city-level analyses . . . are
          not subject to [the problem]” for counties.120 Indeed, one reason why I used
          city-, county-, and state-level data in the second edition of the book was
          specifically to double-check that the results are not sensitive to any par-
          ticular errors in the data.
             Fortunately, for each county the FBI provides information on the size
          of this recording error. Perhaps unsurprisingly, rural counties with few
          people and small police departments tend to have the most problems re-
          porting their crime numbers accurately. Research that John Whitley and I
          published found that studying only the counties with the fewest errors pro-
          duced stronger evidence that right-to-carry laws reduce violent crime.
             For example, eliminating those states where at least 20 percent of their
          counties have unreported crime numbers for cities with at least 30 percent
          of those county’s populations implied that for each additional year after
          right-to-carry laws were introduced all the violent crime rates fell: murder
          by 4.8 percent, rape by 1 percent, robbery by 3.5 percent, and aggravated as-
          sault by 0.5 percent. The drops for murder, rape, and robbery are statistically



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          significant.121 Eliminating those states with even smaller levels of error also
          continued to imply similar drops in violent crime.
             Even if county-level data have more errors, there are still trade-oﬀs. For
          example, Maltz and Targonski acknowledge the point first made in this
          book, that “aggregating statistics over an entire state can mislead the true
          nature of a state’s population characteristics.”
             Unfortunately, my other critics have completely ignored the strong results
          that I obtained from the city-level data that were shown in chapter 9.122

          Do the Sales of the Fourth-Largest Gun Magazine Accurately Measure Gun Ownership?
          My findings demonstrate that changes in gun ownership are significantly positively re-
          lated to changes in the homicide rate, with this relationship driven almost entirely by an
          impact of gun ownership on murders in which a gun is used. The eﬀect of gun ownership
          on all other crime categories is much less marked.
          —Mark Duggan, “More Guns, More Crime,” October 2001123

          Other critics have sought other sources of data to test my findings. Mark
          Duggan’s argument would be troubling were it based on gun survey
          data or actual gun ownership. But Duggan simply relies on sales of the
          fourth-largest gun magazine, Guns and Ammo, as a proxy for ownership—
          that is, he assumes that sales are connected to gun ownership—and finds
          that when magazine sales change, murder rates change. The magazine that
          he used happens to be the only one for which increased sales correspond to
          increased crime (see table A7.1).
              Duggan claimed that he focused on this one magazine for two rea-
          sons: “Guns & Ammo is focused relatively more on handguns than [American
          Rifleman, American Hunter, and North American Hunters],” and “sales data for this
          magazine are available annually at both the state and the county levels.”
          But other magazines better meet those criteria, such as the two largest
          exclusively handgun-oriented magazines, Handguns Magazine and American
          Handgunner. These magazines also have county and state sales figures.
              There is a simple reason why Guns and Ammo gives such a diﬀerent result from
          other gun magazines. It was the only one of the top seven largest gun magazines
          that experienced a drop in sales during the 1990s.124 Its drop was smaller than the
          increase in the other six magazines. During 2001, Skip Johnson, a vice president
          for Guns and Ammo’s parent company, Primedia, told me that in the 1990s anywhere
          from 5 to 20 percent of its national sales in a particular year were purchased
          by the magazine itself in order to meet its guaranteed sales to advertisers.125
          The copies were then given away for free to dentists’ and doctors’ oﬃces.



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              But importantly, Johnson noted that these magazine self-purchases were
          not distributed in all states or counties, nor were they done randomly. These
          self-purchased copies were distributed in areas where the magazine thought
          that gun purchases were going to increase, and this included areas where
          they thought that crime rates were going up. Thus, it is not very surprising
          that Guns and Ammo is the one magazine whose sales are associated with more
          homicides. In statistical language this is known as a spurious relationship.

          Did Crack Cocaine Confound the Results?
          But an alternative explanation is that the crack cocaine problem drove up crime. . . . The
          regression would identify a relationship between higher crime and the failure to adopt a
          shall-issue law when the real cause would have been the influence of crack.
          —Ian Ayres and John Donohue, Stanford Law Review, 2003126

          One of Ayres and Donohue’s greatest concerns is the apparent failure of previous research
          to account for the diﬀerential geographic impact of cocaine on crime. Lott’s book (and
          the Lott and Mustard paper) reported that including price data for cocaine did not alter
          the results. Using yearly county-level pricing data (as opposed to short-run changes in
          prices) has the advantage of picking up cost but not demand diﬀerences between coun-
          ties, thus measuring the diﬀerences in availability across counties. Research conducted
          by Steve Bronars and John Lott examined the crime rates for neighboring counties . . .
          on either side of a state border. When the counties adopting the law experienced a drop
          in violent crime, neighboring counties directly on the other side of the border without
          right-to-carry laws experienced an increase. . . . Ayres and Donohue argue that diﬀerent
          parts of the country may have experienced diﬀerential impacts from the crack epidemic.
          Yet, if there are two urban counties next to each other, how can the crack cocaine hypoth-
          esis explain why one urban county faces a crime increase from drugs, when the neighbor-
          ing urban county is experiencing a drop? Such isolation would be particularly surprising
          as criminals can easily move between these counties. . . . Even though Lott gave Ayres and
          Donohue the cocaine price data from 1977 to 1992, they have never reported using it.
          —Florenz Plassmann and John Whitley, Stanford Law Review, 2003

          The elephant in the room was crack cocaine. The states that did not pass the right-to-
          carry laws were states that had a big problem with crack-cocaine which had an enormous
          influence in running up crime.
          —John Donohue, “Do Guns Reduce Crime?” debate on National Public Radio,
          November 5, 2008127

          One persistent criticism of my work has been that it did not account for
          an alternative explanation, namely, that crack cocaine explains increases



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          and variation in crime rates, especially murder. Alas, as Plassmann and
          Whitley note, my critics fail to discuss or even recognize the eﬀorts that
          David Mustard, others, and I have made to address the drug question. In
          my own mind, those who have found that right-to-carry laws lower crime
          rates have shown that the results are not aﬀected by the impact of crack
          cocaine. The critics have also not done anything themselves to try to show
          how crack cocaine might explain the results. It is one thing to say that they
          disagree with how I have dealt with the issue, but to keep asserting that the
          drug problem has not been accounted for is annoying.
             This chapter adds new material to our argument, using new data from
          Steven Levitt and other academics that purports to measure crack cocaine
          use.128 There are some serious questions regarding whether the data actually
          measure cocaine use. Given how much Levitt’s coauthors emphasizes DC’s
          crime problems, it is also surprising that their data ignore DC. (DC’s crime
          problems will be discussed in the next section.) The data are also unexplain-
          ably limited to the period from 1980 to 2000. Nevertheless, accounting for
          their measure of crack cocaine use does not reduce the estimated benefits
          of right-to-carry laws on crime.

          Sensitivity of the Results
          The results of the state data regressions were incredibly contingent on an array of fac-
          tors, such as the inclusion or omission of rather innocuous right-hand side controls. We
          found a similar fragility with regard to these county data regressions. Indeed, as we were
          double-checking our results, we discovered that we had omitted one of Lott’s original
          controls: Percentage of County Population That Was Not Black or White but Was Male
          and Aged 20–29; and we were surprised to find that adding this extremely innocuous
          demographic variable decreased our estimate of the dollar impact that the law’s passage
          had on crime (that we are about to report) by more than twenty percent.
          —Ayres and Donohue, Stanford Law Review, 2003, p. 1281

          “Using a more customary set of demographic controls would have reversed Lott’s
          results.”
          —John Donohue, “Can You Believe Econometric Evaluations of Law, Policy, and Medi-
          cine?” October 16, 2008


          How sensitive the results are to the inclusion or exclusion of specific vari-
          ables or changes in the values of certain variables is important. For were it
          the case that reasonable changes in the specifications reversed or eliminated
          the findings presented in this book and elsewhere, it would undermine the



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          argument that more guns lead to less crime. However, the earlier editions
          of this book have run thousands of estimates to see if the results change
          with diﬀerent combinations of control variables. For example, figure 9.11
          on page 188 summarizes the results of 20,480 regressions, which took sev-
          eral months to estimate. The results for murder demonstrate that passing
          right-to-carry laws causes drops in that crime ranging from about 5 to 7.5
          percent, a substantial 40 percent range. There should be nothing surprising
          or troubling about the 20 percent variation that Ayres and Donohue point
          to, and it is smaller than the range that I show.
              The debate really shouldn’t be whether right-to-carry laws reduce crime
          rates by 4 or 5 or 6 or 7 percent. The debate should be over whether the laws
          reduce or increase crime. Of course, it is better to have larger drops, but as
          long as crime rates decline, right-to-carry laws protect potential victims.
              It makes little sense to study crime rates without trying to account for
          the many factors already known to aﬀect crime. But as we showed earlier,
          the empirical results for murder, even those using state-level data, are not
          sensitive (when properly analyzed) to eliminating even factors that should
          obviously be included, such as demographics or law enforcement.
              Perhaps not too surprisingly, I can’t find any work by Ayres, Donohue,
          or Levitt that subjects their own work to the types of specification searches
          that they require my work to stand up to. In none of their papers has any
          of them tried to run all possible combinations of the diﬀerent factors that
          might explain crime rates.
              But others beside myself have looked at the sensitivity of my results,
          too. William Bartley and Mark Cohen examine well over sixteen thousand
          possible combinations of the control variables. Later works by Bruce Ben-
          son and Brent Mast, Carl Moody, and Eric Helland and Alex Tabarrok have
          attempted to test how sensitive the results are in many diﬀerent ways. Like
          myself, they have found the results remarkably consistent. As shown ear-
          lier in figures 10.3a–10.3i, redoing the possible combinations of the control
          variables with the data from 1977 through 2005 proved no diﬀerent.

          The National Academy of Sciences Report
          So far the debate has focused on technical issues, including the reliability
          of the data and the sensitivity of the statistical analysis. But there is also a
          political side. The importance of the right-to-carry debate eventually led
          the Clinton administration to set up a National Academy of Sciences panel
          to investigate the relationship between firearms and violence. When the
          NAS undertakes an examination of a pressing issue, its findings have an



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          authority that is distinctive—based on perceptions of unbiased and fair
          evaluation of all sides of an issue leading to a consensus among leading ex-
          perts. Unfortunately, the 2004 National Academy of Sciences (NAS) report
          on Firearms and Violence129 has been misrepresented.
             Consider the following radio debate:
             John Donohue (Yale University): The National Academy of Sciences
                convened a panel of talented experts who spent two years looking at
                John Lott’s work, Gary Kleck’s work. . . . They concluded the scien-
                tific evidence does not support the more guns, less crime proposition.
                The lone dissenter was someone who was not an econometrician, who
                admitted in his dissent that he wished he knew more econometrics,
                and who had previously testified as an expert witness on behalf of the
                execrable NRA. . . . But, again, this is exactly what the National Academy
                of Sciences looked at. And, they concluded the opposite, that the data
                did not—
             Gary Kleck (Florida State): They did not conclude the opposite.
             John Donohue: They concluded that the data does not support the propo-
                sition that we’re debating today which is that guns reduce crime.
             Gary Kleck: No, actually what that report persistently said was, we don’t
                have strong enough evidence to draw firm conclusions about virtually
                every issue they addressed, so, that was more of a no-decision decision
                than it was reaching the opposite conclusion, they did not reach the
                conclusion that making it easy to get a carry permit increases crime.
                They did not conclude that John Lott was wrong, and basically, you
                know, you learn nothing from what that particular panel said.
             John Donvan (ABC News): I’ve read the same report and I have to say,
                Gary, that I read it the same way, actually, it was a bit of a Pontius Pilate
                moment that didn’t know who was right or who was wrong.130
          Kleck and Donvan were correct that Donohue mischaracterized the 2004
          NAS report on firearms and violence.131 Contrary to Donohue’s account,
          the report actually concluded, “The data available on these questions are
          too weak to support unambiguous conclusions or strong policy state-
          ments.” The majority of the panel advocated that more money be available
          to academics to fund additional research.
             James Q. Wilson, the panel’s “dissenter,” is possibly America’s most pre-
          eminent criminologist, and he vigorously denies the claim that the NRA
          ever hired him as an expert witness.132 Wilson, who had previously served
          on four similar panels, concluded: “I find that the evidence presented by Lott



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          and his supporters suggests that [right-to-carry] laws do in fact help drive
          down the murder rate.” He argued that the NAS panel simply “show[ed]
          that diﬀerent authors have reached diﬀerent conclusions.” Wilson wanted
          a more critical inquiry, one “to analyze carefully not only the studies by
          John Lott but those done by both his supporters and his critics. Here, only
          the work by Lott and his coauthors is subject to close analysis.”133

          Are Those Who Possess a Gun More Likely to Be Shot in an Assault Than Those Not
          Having a Gun?
          People who carry guns are far likelier to get shot—and killed—than those who are un-
          armed, a study of shooting victims in Philadelphia, Pennsylvania, has found.
          —Ewen Callaway, “Carrying a Gun Increases Risk of Getting Shot and Killed,” New
          Scientist, October 6, 2009

          A study by Charles Branas and coauthors looked at people who had been
          shot during assaults in Philadelphia between October 15, 2003, and April 16,
          2006.134 The data for this test consists of a “case sample” (677 victims who
          had been shot in an assault) and a “control” group (684 “matched” individu-
          als who were the same sex, race, and age as those assaulted). The authors
          conclude that “on average, guns did not protect those who possessed them
          from being shot in an assault” and that successful defensive gun uses are
          unlikely. The study, though, suﬀers from the exact same problems that
          plagued Arthur Kellermann’s work, as we noted early in chapter 2. It is
          analogous to the hypothetical test we discussed there of whether sick
          people who have been to a hospital are more likely to die than healthy in-
          dividuals who never felt the need to go to a hospital to begin with. Presum-
          ably that wouldn’t be taken as evidence that going to a hospital increases
          the probability of death. If those who are most likely to be assaulted are
          more likely to own a gun, it also explains the Branas claim. Guns could
          make those who own them safer, but not as safe as those who weren’t and
          didn’t feel the need to own a gun to begin with.
              The “case study” approach makes sense for testing the eﬃcacy of drugs
          where you are able to randomly determine which patients receive the drug
          and which receive the placebo. But gun ownership isn’t detemined ran-
          domly. It is the reason why economists look at changes in people’s behavior
          that occur because of forces beyond their direct control, such as the costs
          of obtaining a gun. For example, if you institute a ban on handguns, some
          people who would have owned a gun no longer do so, and researchers can
          examine the impact that such a change has on crime rates.



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             As to the claim that successful defensive gun uses are unlikely, the study
          really provides no evidence on that, because “successful” defensive gun us-
          ers may completely avoid having to go to police as assault victims. If crimi-
          nals run away after potential victim brandish their handguns, the events
          would never be included among their sample of gunshot victims. What one
          needs to answer this question are surveys on defensive gun use that attempt
          to identify people who were threatened with crime (not necessarily that
          they were victims) and that their response protected them. Indeed, the
          published academic refereed research to make such direct comparisons
          has found that victims who resisted with guns were less likely to be injured
          that those who did not.135

          Data and the Truth
          Fundamentally, any academic debate boils down to two issues: how good
          the data are and whether the tests were done correctly. In capsule form,
          these issues have been succinctly stated by Steven Levitt and Stephen Dub-
          ner in their best-selling Freakonomics:
             Then there was the troubling allegation that Lott actually invented some
             of the survey data that support his more-guns / less-crime theory. Regard-
             less of whether the data were faked, Lott’s admittedly intriguing hypoth-
             esis doesn’t seem to be true. When other scholars have tried to replicate
             [Lott’s] results, they found that the right-to-carry laws simply don’t bring
             down crime. (Pp. 133–34)
          As noted above, Levitt’s suggestion that my work has not been replicated
          is totally wrong. Survey data were not even used in my regressions and
          thus could not have aﬀected the results. In any case, the fact that results
          have been replicated by those who have put the data together themselves
          indicates that data could not have been faked. Unfortunately the debate
          has not stayed on the merits.
              Steven Levitt has been one of my most fervent critics for some time,
          and the above quote from his book was just one of his many attacks on my
          work. As a result of these allegations, I filed a defamation lawsuit against Lev-
          itt and his publishers. The evidence in the lawsuit included a series of e-mail
          messages exchanged between Levitt and economist John McCall, during
          which Levitt incorrectly stated that I had “stocked” with only my support-
          ers a conference examining the more-guns-less-crime thesis, that I then had
          to “buy an issue” of the highly prestigious Journal of Law and Economics to pub-
          lish the results of the conference, and that there was no peer review.136



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              As a result of this litigation, however, Levitt was required to release a
          letter retracting and clarifying the allegations he made. In what the Chronicle
          of Higher Education called “a doozy of a concession,” Levitt conceded that he
          “knew that scholars with varying opinions had been invited to participate”
          in the conference because “I received an email from Dr. Lott inviting my
          own participation.” In addition, Levitt acknowledged that I did not engage
          in “bribery or otherwise exercised improper influence on the editorial pro-
          cess” in the special issue and that “the articles that were published in the
          Conference Issue were reviewed by referees engaged by the editors of the
          JLE [ Journal of Law and Economics]. In fact, I was one of the peer referees.”137
              Nonetheless, charges of faulty data have continued to be made. For ex-
          ample, in his recent book, a coauthor of Levitt’s, Ian Ayres, writes that
          “we found that Lott had made a computer mistake in creating some of
          his underlying data. For example, in many of his regressions, Lott tried to
          control for whether the crime took place in a particular region (say, the
          Northeast) in a particular year (say, 1988). But when we looked at his data,
          many of these variables were mistakenly set to zero. When we estimated his
          formula on the corrected data, we again found that these laws were more
          likely to increase the rate of crime.”
              One might think from Ayres’s comment that there is a mistake in my
          work with David Mustard or in the earlier editions of this book. However,
          the research that Ayres is really discussing was not a paper of mine, but a
          paper published by Florenz Plassmann and John Whitley in the Stanford Law
          Review. Plassmann and Whitley thank me for helping them with their study
          (“We thank John Lott for his support, comments and discussion”), but this
          is their own paper, published under their own names.
              As to the data mistake, Plassmann and Whitley used the data presented
          in the second edition of this book, covering the years from 1977 to 1996.
          There was nothing wrong with those data. The data entry mistakes for their
          paper arose in the years that were added when they extended the data from
          1997 to 2000. Out of over 7 million data entries, about 180 had accidentally
          been left blank. The significance of some results in one of their tables (table
          10.3A) was decreased. Despite the tenor of the critics, this data error was
          not even crucial for their findings. Further, Plassmann and Whitley had
          explicitly noted the results in that particular table were biased against find-
          ing a decrease in crime, and they had argued that those results should not
          be given much weight.
              Correcting the small data entry errors did not alter the results that Plass-
          mann and Whitley said were the focus of their paper, and their conclu-



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          sion was still the same: more concealed-handgun permits reduce crime.
          And Plassmann and Whitley had excellent reasons for the estimates that
          they thought should be used: “Including all counties with zero crime
          rates [with the statistical test that Ayres and Donohue use] will bias the
          estimated benefit of the concealed handgun law towards finding an in-
          crease in crime, because no matter how good the law is, it cannot lower
          the crime rate below zero.” Unfortunately, Ian Ayres and John Donohue’s
          responses to Plassmann and Whitely completely ignore these arguments
          on the proper test as well as the estimates they provide.
             This is not the only incorrect claim that Ayres and Donohue make.
          They have—repeatedly—falsely asserted that I withdrew from coauthor-
          ship with Plassmann and Whitley once I saw their criticism.138 Ayres and
          Donohue claimed that “we hope that this indicates that the arguments in
          our Reply have caused the primary proponent of the more guns, less crime
          hypothesis to at least partially amend his views.” It is quite an amazing slur
          against Plassmann and Whitley to claim that they insisted on publishing
          research despite a coauthor’s withdrawing from the paper over errors.
             The inaccuracy of Ayres and Donohue’s claim was such that the Stanford
          Law Review felt it necessary to run a very unusual “Clarification,” where the
          editors said that they might not have originally made things suﬃciently
          clear to Ayres and Donohue and noted that “the Editors feel that the im-
          pression that some have gotten from Ayres and Donohue’s Reply piece is
          incorrect, unfortunate, and unwarranted.”139
             Being a target of inaccurate accusations has been an unfortunate and
          unpleasant experience. It certainly would have been preferable if the debate
          had stuck to the data and their analysis. The hypothesis that more guns
          connects to less crime has stood up against massive eﬀorts to criticize it.


          Fewer Guns, More Crime
          If a resident has a handgun in the home that he can use for self-defense, then he has a
          handgun in the home that he can use to commit suicide or engage in acts of domestic
          violence. If it is indeed the case, as the District believes, that the number of guns contrib-
          utes to the number of gun-related crimes, accidents, and deaths, then, although there
          may be less restrictive, less eﬀective substitutes for an outright ban, there is no less re-
          strictive equivalent of an outright ban. . . . In my view, there simply is no untouchable
          constitutional right guaranteed by the Second Amendment to keep loaded handguns in
          the house in crime-ridden urban areas.
          —Justice Stephen Breyer, dissenting in District of Columbia v. Heller, June 26, 2008140



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          The Supreme Court was sharply divided in its recent 5–4 decision striking
          down DC’s handgun ban as unconstitutional. While in the minority, Justice
          Breyer’s strongly worded dissent represented many people’s concern about
          guns. To him, the Second Amendment to the Constitution did not guar-
          antee an individual’s right to own a handgun, but even if it did, he believes
          that such a right could be overridden by the public interest of reducing gun
          crimes and suicides. The possible harm from guns was central to his dissent,
          and the words “crime,” “criminal,” “criminologist,” “homicide,” “murder,”
          “rape,” “robbery,” and “victim” were used a total of 109 times in forty-four
          pages. The term “suicide” was used thirteen times.
              Despite the Supreme Court’s decision, DC is still fighting to make it
          extremely diﬃcult for people to own handguns.141 Nor is the court’s deci-
          sion just one of historical curiosity. As of this writing, the gun ban litiga-
          tion question has moved on to Chicago and its ban on handguns. A federal
          district court has upheld Chicago’s ban, and an appeals court will next look
          at the case.142 When the Chicago case eventually goes before the Supreme
          Court, it is going to be important whether gun bans are linked to crime
          and suicides. Studying the eﬀects of recent bans is also useful because it
          represents the simplest test for the more-guns-less-crime hypothesis.
              Gun bans are not imposed just on cities or nations. There are bans for
          everything from public housing to city parks or schools and universities.
          Seattle Mayor Greg Nickles announced late in 2008 that he was moving
          to ban guns on city property, at sporting events, and street fairs.143 Court
          cases have recently been filed over gun bans in places from Western Oregon
          University to public housing in San Francisco.144 Given all these pushes for
          gun bans, a systematic discussion across many places that have instituted
          them seems long overdue.

          Comparing DC’s Murder Rate to Other Places
          So what is the evidence? DC’s handgun ban policy has had ample time
          in the thirty years since it became eﬀective in February 1977 to reveal any
          beneficial eﬀects. Yet, looking at the data, there is absolutely no evidence
          that DC’s gun ban reduced murder rates.145 Indeed, there is only one single
          year after the ban started that the murder rate is below what it was in 1976.
          The bad crime figures after 1977 cannot be explained away by any general
          increase that has been occurring in other large cities, the neighboring states
          of Virginia and Maryland, or the United States generally.
             In 1976, DC’s murder rate was fifteenth among America’s fifty most pop-
          ulous cities. In only one of the years after the ban (1985) did DC rank as low



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          as fifteenth. In fifteen out of the next twenty-nine years after the ban, DC’s
          murder rate had risen to first or second place; in another four years it was
          fourth. DC’s murder rate rose relative to the average city murder rate.
              Of course, there are many reasons for crime rates to change. For ex-
          ample, DC’s police department underwent many changes, and some were
          likely detrimental, such as instituting new rules for hiring and promo-
          tion.146 Changes in income and poverty can also matter. It is simple enough
          to see how DC’s crime rates change over time relative to the rest of the
          country in our regression analysis, with all the factors that we have al-
          ready talked about accounted for. This is particularly important given the
          demographic and income changes that were occurring in DC. Running a
          regression accounting for all these other factors, including demographics,
          reveals that each additional year that the DC ban was in eﬀect saw DC’s
          relative murder rate rise by 6 percent, and the eﬀect is statistically significant
          at better than the 1 percent level.
              Three simple graphic comparisons show how DC’s murder rate rose:
          DC’s murder rate relative to other large cities, as just mentioned, DC’s mur-
          der rate relative to neighboring Maryland and Virginia, and DC’s murder
          rate relative to the rest of the United States.
              Justice Breyer’s dissent put a great deal of emphasis on a study published
          seventeen years earlier in the New England Journal of Medicine. This study by
          Colin Loftin, David McDowall, Brian Wiersema, and Talbert Cottey com-
          pared the mean homicide rates before and after the ban.147 They looked
          at the period from 1968 through 1987 and claimed that the handgun ban
          lowered homicide and suicide rates. But there are real questions about how
          they did their analysis, and we are now fortunate enough to have more and
          better evidence of what happened after the ban.
              Our primary focus will be on murders, not homicides, since homicides
          include justifiable killings by police and civilians. A drop in civilian justifi-
          able homicides after the handgun ban should actually be viewed as a bad
          sign because fewer crimes would have been prevented.

          THE FIFTY LARGEST CITIES. Figure 10.7 shows how DC’s murder rate changed over
          time relative to the other forty-eight largest cities without a ban on hand-
          guns. (Chicago was thus excluded because it was the only other major city
          among the fifty most populous cities that also banned handguns starting
          in 1983, and we want to compare cities with a ban to cities without a ban.)
          City-level data from the FBI are only readily available from 1974 on, so that
          is the period we start with. During the three years from 1974 to 1976, DC’s



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          murder rate averaged 28.5 percent more than the other cities. In 1976, the
          last year before the ban, its murder rate was not nearly as high, 16 percent
          greater than the average murder rate for the other large cities. The vertical
          line in the diagram shows the point at which the ban went into eﬀect, at
          the beginning of 1977. After the ban, DC’s murder rate between 1977 and
          1987 averaged 55 percent greater than the average for these other cities,
          immediately rising to 50 percent above the average and only getting as low
          as 29.4 percent greater once, in 1985—there is not one single year after the
          ban when the ratio of DC’s murder rate to the average for other cities fell
          below the preban ratio. Even if we limit ourselves to the period studied by
          Loftin and his coauthors, it is clear that murder rates rose after the ban.
              Extending the data out past 1987 shows how DC’s murder rate explodes
          above the rate in the rest of the cities (figure 10.8). After the ban from 1977
          to 2005, the murder rate in DC was on average 91 percent greater than in
          the other cities. But two criminology professors, James Alan Fox and David
          McDowall, state:148
             [Others have] argued that the rise in violent crimes in the District from
             1980 to 1997 establishes that the DC Gun Control Law was ineﬀective.
             However, the entire nation experienced an increase in violent crimes dur-
             ing this period because of the emergence of the crack cocaine market and
             related gang activity.
          This is hardly a unique perspective. John Donohue recently claimed:149
             John [Lott] mentions what happened in the District of Columbia and it is
             true that DC did have quite a problem with crime in the late 1980s as did
             almost all urban areas in the United States because of the crack cocaine
             problem. Nobody thinks that the crack cocaine problem was a problem
             caused by a lack of guns, and simply as John does so much in his work
             where he is a—looking at data in a way that can support a very tenden-
             tious conclusion.
          Yet DC’s murder rate increased relative to other cities even before crack
          cocaine became an issue in the last half of the 1980s. In addition, crack
          cocaine aﬀected cities nationwide, and, after 1987, DC’s murder rate still
          increased dramatically relative to the murder rate in other cities. While the
          crack cocaine epidemic clearly increased DC’s murder rate, it is hard to see
          how cocaine can explain DC’s increase in murder rates relative to all other
          cities either any time from 1977 to 1987 or afterward. DC has continued to




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                                                                      2
          DC's Murder Rate/Murder Rate in Other Large Cities
                                                                     1.8


                                                                     1.6


                                                                     1.4


                                                                     1.2


                                                                      1


                                                                     0.8


                                                                     0.6


                                                                     0.4


                                                                     0.2


                                                                      0
                                                                             1974 1975                   1976           1977              1978           1979           1980           1981              1982          1983            1984          1985           1986              1987

                                                                                                                                                                               Year

                   Figure 10.7. Changes in DC’s murder rate relative to the other forty-eight largest cities (excluding Chicago
                   from top ﬁfty list, weighted by population)



                                                                     4.5
                DC's Murder Rate/Murder Rate in Other Large Cities




                                                                      4

                                                                     3.5

                                                                      3

                                                                     2.5

                                                                      2

                                                                     1.5

                                                                      1

                                                                     0.5

                                                                      0
                                                                           1974
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                   Figure 10.8. Changes in DC’s murder rate relative to the other forty-eight largest cities (excluding Chicago
                   from top ﬁfty list, weighted by population)




                                                                                                                                                    Exhibit 10
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          get worse and worse relative to other cities even since the crack epidemic
          abated in the early 1990s. DC’s murder rate fell much more slowly than
          other cities. As late as 2007, it was still almost two times that of the average
          of other large cities.
             But to be careful to avoid other possible explanations for DC’s rise in
          murder rates, including crack cocaine, we can re-examine the murder rate
          regressions and limit the period studied to 1977 to 1987. Would doing so
          alter our results of the handgun ban’s detrimental eﬀects? No, actually the
          results become even more dramatic—implying that each additional year
          that the ban was in eﬀect DC’s murder rate rose relative to the rest of the
          United States by 29.9 percent.
             If crack was the cause of DC’s higher murder rate after 1987, it was a
          problem that seems to have aﬀected DC dramatically more than other
          large cities. DC’s murder rate not only rose relative to other cities in the
          late 1980s, but also stayed much higher. How can the crack cocaine prob-
          lem, which was a national problem aﬀecting many cities, explain DC rising
          from having the fifteenth highest murder rate in 1976 to place number 1
          almost continually from 1988 to 1999 (the exception was only three years
          from 1993 to 1995, when placed second)? Even if we only concentrated on
          this later period, their argument would have us believe that crack cocaine
          dramatically changed DC in a way that it changed no other city.

          COMPARISON TO MARYLAND AND VIRGINIA. Perhaps there were regional eﬀects
          of some nature that influenced crime generally around the DC or mid-
          Atlantic area. In such a case, the worsening ranking for DC might not be
          due to gun control, but to the general regional decline. To examine this,
          we can compare DC and the two states that surround it, Maryland and
          Virginia. Figure 10.9 examines the period from 1968 through 1987. In the
          last year before the 1977 ban, DC’s murder rate was 197 percent greater than
          the average murder rate in Maryland and Virginia. Indeed, there was not
          one single year after the ban was in place when DC’s murder rate relative
          to Maryland and Virginia was as low as it was in 1976.150 The average murder
          rate in DC from 1977 to 1987, the period when the ban was in eﬀect, was 257
          percent greater than the average for these two states.151
             Including data past 1987 shows a dramatic additional increase in DC’s
          murder rate relative to Maryland and Virginia (figure 10.10). DC’s murder
          rate averaged 450 percent more than Maryland and Virginia’s from 1977
          to 2006 (figure 10.10), over twice the ratio of DC to Maryland and Virginia
          from 1968 to 1976.



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                                                            4.5
           Ratio of DC’s murder rate to the average


                                                             4
                   for Maryland and Virginia



                                                            3.5

                                                             3

                                                            2.5

                                                             2

                                                            1.5

                                                             1

                                                            0.5

                                                             0
                                                                  1968 1969 1970 1971 1972 1973 1974 1975 1976 1977 1978 1979 1980 1981 1982 1983 1984 1985 1986 1987

                                                                                                                 Year

          Figure 10.9. Ratio of DC’s murder rate to the average for Maryland and Virginia from 1968 to 1987



                                                             9

                                                             8
                 Ratio of DC’s murder rate to the average




                                                             7
                         for Maryland and Virginia




                                                             6

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                                                                  1968 1970 1972 1974 1976 1978 1980 1982 1984 1986 1988 1990 1992 1994 1996 1998 2000 2002 2004 2006

                                                                                                                Year

          Figure 10.10. Ratio of DC’s murder rate to the average for Maryland and Virginia from 1968 to 2006



             Again, comparing DC to Maryland and Virginia provides no evidence
          that the ban reduced DC’s murder rate. If anything, DC’s murder rate in-
          creased after the ban.

          COMPARING DC’S MURDER RATE TO THAT FOR THE UNITED STATES. Examining DC’s
          murder rate relative to the United States’ from 1968 to 1987 shows that



                                                                                                    Exhibit 10
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          DC’s murder rate was declining before the ban and rising afterward (fig-
          ure 10.11). The ban seems to be associated with this adverse change in DC’s
          murder rate relative to the rest of the country. By 1976, DC’s murder had
          fallen to being 3.08 times greater than the United States’. There are only
          two years after that (1979 and 1985) when the ratio of DC’s to the United
          States’ murder rate fell below what it was in 1976. Expanding the data to
          include the period after 1987 (figure 10.12) continues to show the increase
          in DC’s murder rate relative to the United States’ that we observed in fig-
          ures 10.8 and 10.10. Whether one is looking at the period from 1968 to 1987
          or including the later period, there is no evidence that the DC gun ban
          reduced DC’s murder rates.

          Comparing Murder Rates to the Number of Murders
          The New England Journal of Medicine study that Justice Breyer cites didn’t look
          at crime rates; it looked at the number of crimes. That is an important dis-
          tinction. Imagine a city where the number of murders falls by 10 percent
          but its population declines by 50 percent. Does that demonstrate that crime
          conditions are improving? Of course not. The crime rate is usually a much
          better measure of safety than the number of murders.
              Yet, not everyone agrees. John Donohue defended the New England Journal
          of Medicine study’s approach:152
             If you look at the numbers that John [Lott] had put up, which was inter-
             esting, if he had actually showed you the number of murders in DC, they
             had actually dropped. He showed you the rate. And what was interesting
             about that was, DC was de-populating tremendously in the seventies, and
             it was largely the flight of the aﬄuent. So, the group that had the lowest
             likelihood of engaging in crime. So, crime was going to be, if you used
             the rates that John showed, it was going to be trending up, because the
             people remaining in the city had a much, much higher risk of crime. And
             so, when you make those adjustments, the conclusions are opposite to
             what John suggested.
              There are two responses. One is purely factual. The number of murders
          didn’t “drop” after the handgun ban. You don’t get the “opposite” of what
          I argued. During the first six years after the gun ban went into eﬀect, de-
          spite a large drop in population, there was only one year when the absolute
          number of murders fell below what it was in 1976 (and even then it was
          drop of only eight murders, a drop of 4 percent). Indeed between 1977 and




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                                     Ratio of DC's Murder Rate to the   5
                                              US Murder Rate
                                                                        4

                                                                        3

                                                                        2

                                                                        1

                                                                        0
                                                                            1968
                                                                                   1969
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                                                                                                                                               Year
             Figure 10.11. Ratio of DC’s murder rate to the U.S. murder rate from 1968 to 1987. The dotted line is a simple
             polynomial curve ﬁtted to these data.


                                              12
          Ratio of DC's Murder Rate to the




                                              10
                   US Murder Rate




                                                  8


                                                  6


                                                  4


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                                                            1968

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                                                                                                                                               Year
             Figure 10.12. Ratio of DC’s murder rate to the U.S. murder rate from 1968 to 2006


             2005, despite a 20 percent drop in population, there were only four years
             when the total number of murders was lower than it was in 1976.
                The second point concerns demographics. Does the composition of the
             population matter? Sure it does. And the first and second editions of this
             book have actually spent a lot of time—more than any previous study—
             evaluating demographic changes when studying crime. We know that
             young males commit more crime than other groups. There is more crime
             in heavily African-American areas. But those concerns are the reason why
             you look at regressions that account for these changes. As we have already




                                                                                                                        Exhibit 10
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                                                    300
          Percent Change in the Number of Murders
            and Population (Base Year 1976 = 100)
                                                    250


                                                    200


                                                    150
                                                                                                                                                                    Percent
                                                                                                                                                                    Change in
                                                    100                                                                                                             Murder
                                                                                                                                                                    Percent
                                                                                                                                                                    Change in
                                                    50
                                                                                                                                                                    Population


                                                     0
                                                          1976

                                                                 1977

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                                                                                                            Year
          Figure 10.13. Comparison of the change in the number of murders in DC to the change in the number of
          people living in the city prior to the crack cocaine problem



          reported above, DC’s murder rates rose relative to the rest of the coun-
          try even after all the factors—from law enforcement to income and pov-
          erty to demographics—have been accounted for.

          It Is Not Just DC
          The statistics do show a soaring District crime rate. And the District’s crime rate went up
          after the District adopted its handgun ban. But, as students of elementary logic know,
          after it does not mean because of it. What would the District’s crime rate have looked
          like without the ban? Higher? Lower? The same? Experts diﬀer; and we, as judges, can-
          not say.
          —Justice Stephen Breyer, dissenting in District of Columbia v. Heller, June 26, 2008153

          Justice Breyer is exactly right. DC’s crime rates rose after the ban doesn’t
          necessarily mean that the ban caused the increase. Even if the increase
          wasn’t caused by crack cocaine, there could be some other left-out factor
          that just happened to change at the same time. This is true even though
          we have run regressions that have attempted to take these diﬀerent factors
          into account. One big diﬀerence between the earlier work on right-to-carry
          laws and the current discussion on gun bans is that with thirty-nine states
          passing right-to-carry laws we have had the same experiment over and
          over again in many diﬀerent years in many diﬀerent places. While it is pos-
          sible that some left-out factor explains the results in one state or even a
          few states, the odds that that left-out factor occurred again and again be-



                                                                                                    Exhibit 10
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          come progressively remote. Of course, there is lots of other evidence for
          right-to-carry laws: the predicted diﬀerent eﬀects across diﬀerent types of
          crime (multiple-victim shootings should decline more than simple mur-
          der), that the size of the drop increases with the percentage of the popu-
          lation with concealed-handgun permits, the comparison of adjacent coun-
          ties, and so on.
              Yet the phenomenon of bans resulting in more crime isn’t unique to
          DC. Every place around the world that has banned guns appears to have
          experienced an increase in murder and violent crime rates.
              Surely DC has had many problems that contribute to crime, but even
          cities with far better police departments have seen murder and violent
          crime soar in the wake of handgun bans. Chicago has banned virtually all
          new handguns since the beginning of 1983 and it now also faces a Supreme
          Court case challenging its ban.154 But that handgun ban didn’t work at all
          when it came to reducing violence. Chicago’s murder rate fell from 39 to 22
          per 100,000 in the eight years before the law and then rose slightly to 23.155
          During the seventeen years from 1983 through 1999, there has been only
          one year when Chicago’s murder rate fell below what it was in 1982, the last
          year before the ban. Over that same time, the U.S. murder rate fell by 31
          percent, from 8.3 to 5.7, and the murder rate for the other nine largest cities
          dropped by 34 percent, from 17.8 to 11.7 (figure 10.14). Chicago’s murder
          rate doesn’t fall below its 1982 murder rate until 2002. It is hard to attribute
          this eventual drop to the ban, which went into eﬀect twenty years earlier.
              Just as it was possible to compare DC’s murder rate to other cities, neigh-
          boring jurisdictions, and the United States as a whole, one can make the
          same comparisons for Chicago. Compare Chicago’s murder rate to those in
          other cities among the ten largest or the fifty largest (DC is excluded from
          this comparison). In both cases, Chicago’s murder rate falls relative to the
          murder rate in other cities up until 1982, when it falls to its lowest value
          relative to other cities and then rises after that (figure 10.15).
              There is a similar relationship when one compares Chicago’s mur-
          der either to its neighboring counties or to the United States as a whole
          (figures 10.16, 10.17).156 If anything, Chicago’s murder rate exploded even
          faster relative to the murder rates in adjacent counties than relative to any
          of the other comparisons. It is very diﬃcult to see how there is any com-
          parison that can be made that shows that Chicago’s murder rate fell after
          the ban started at the beginning of 1983.
              In addition, the experience in other countries is the same, even for island
          nations that have banned handguns and where borders are easy to moni-



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              Murder Rate in Other Large Top 10 Cities
               Ratio of Chicago's Murder Rate to the     2.5


                                                           2


                                                         1.5


                                                           1


                                                         0.5


                                                           0
                                                                1974

                                                                        1976

                                                                                1978

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                                                                                                                                   Year
          Figure 10.14. Chicago’s murder rate relative to the other nine largest cities (weighted by population)


                                                         2.5
          Chicago's Murder Rate/Murder Rate




                                                          2
                 in Other Large Cities




                                                         1.5




                                                          1




                                                         0.5




                                                          0
                                                               1974

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                                                                                                                                   Year

          Figure 10.15. Changes in Chicago’s murder rate relative to the other forty-eight largest cities (excluding DC
          from the top ﬁfty list, weighted by population)


          tor. These are places that just can’t blame the United States or neighboring
          states for the failure of their gun-control laws. Not only did violent crime
          and murder not decline as promised; they actually increased.
             Great Britain banned handguns in January 1997. But the number of
          deaths and injuries from gun crime in England and Wales increased an in-
          credible 340 percent in the seven years from 1998 to 2005.157 The rates of seri-
          ous violent crime, armed robberies, rapes, and homicide have soared.158
             The Republic of Ireland and Jamaica also experienced large increases in
          murder rates after enacting handgun bans in 1972 and 1974, respectively



                                                                                                               Exhibit 10
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                                                   9

                                                   8
           Chicago's Murder Rate/Murder Rates


                                                   7
                  in Adjacent Counties




                                                   6

                                                   5

                                                   4

                                                   3

                                                   2

                                                   1

                                                   0
                                                       1977 1978 1979 1980 1981 1982 1983 1984 1985 1986 1987 1988 1989 1990 1991 1992
                                                                                                               Year

           Figure 10.16. Comparison of Chicago’s murder rate to the murder rate in adjacent counties (weighted by
           population)



                                                   6
          Ratio of Chicago's Mur der Rate to the
                Mur der Rate in the Rest of




                                                   5
                     the United States




                                                   4


                                                   3


                                                   2


                                                   1


                                                   0
                                                       1974


                                                              1976


                                                                     1978


                                                                            1980


                                                                                   1982


                                                                                          1984


                                                                                                 1986


                                                                                                        1988


                                                                                                                 1990


                                                                                                                        1992


                                                                                                                               1994


                                                                                                                                      1996


                                                                                                                                             1998


                                                                                                                                                    2000


                                                                                                                                                           2002


                                                                                                                                                                  2004




                                                                                                               Year

           Figure 10.17. Chicago’s murder rate relative to the U.S. murder rate



           (figures 10.18, 10.19).159 Since the gun ban, Jamaica’s murder rate has soared
           to become one of the highest in the world, currently at least double that in
           other Caribbean countries.160 Jamaica’s murder rate hasn’t been below 10
           murders per 100,000 people since before the gun ban went into eﬀect.161
               Enforcement eﬀorts have been largely futile. For instance, the weapons
           the Canadian border guards seize at the U.S. border are overwhelmingly
           from unwitting U.S. tourists.162 Few criminals smuggling guns are caught.
           Jamaica clearly shows that just as drug gangs can bring drugs into a coun-
           try, they can bring in the guns necessary to protect that valuable property.



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          The irony is that as drug enforcement increases, the inelastic demand for
          illegal drugs means that the value gangs attach to protecting their drug
          turf rises. The same is true in other countries. With recent estimates that
          up to 80 percent of U.S. crime is gang related—and that, primarily drug
          gang related—it is likely to be as diﬃcult to remove guns as drugs from
          these gangs.163

          Suicides and Guns
          One would think that a ban on guns would surely cause a drop in gun
          suicides. But a graph of the percentage of suicides committed with guns
          shows no obvious consistent change in the share of suicides committed with
          guns (figure 10.20).164 Gun suicides started falling in DC in the early1970s, a
          couple of years before the gun ban, but so did nongun suicides (figure 10.21).
          It is diﬃcult to see any benefit as the drop was virtually identical for both
          gun and nongun suicides.
              What makes these graphs particularly surprising is that a gun ban
          should, everything else equal, actually cause nongun suicides to rise simply
          because at least some (if not all) of those who would use guns to commit
          suicide would use some other way of doing so. After all, the ultimate public
          policy goal would seem to be to reduce overall suicides and not just one
          method of committing suicide.
              Yet even more perverse results have been obtained. David Cutler, Ed-
          ward Glaeser, and Karen Norberg have conducted by far the largest study
          on what factors are related to suicides by juveniles.165 They find some evi-
          dence of a relationship between higher gun ownership and suicide, but that
          relationship not only disappears but is in fact reversed when they include
          a variable for the rate at which people go hunting. The higher suicide rate
          is in fact related to the higher rates at which people in certain counties
          go hunting, not whether people own a gun. They are unable to discern
          whether the eﬀect is due to something that arises in areas with a lot of
          hunters or some other factor, but the evidence clearly indicates that suicide
          rates are actually lower when gun ownership rates are higher.

          Conclusion
          Everyone wants to take guns away from criminals. However, the problem
          with bans is who is most likely to obey them. If the ban primarily disarms
          law-abiding citizens and not criminals, the ban can have the opposite eﬀect
          of what was intended.




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                                           1.8


                                           1.6


                                           1.4
          Murders per 100,000 People




                                           1.2


                                            1


                                           0.8


                                           0.6


                                           0.4


                                           0.2
                                                                                                                                               Gun Ban Goes into Effect
                                            0
                                                  1945

                                                            1948

                                                                          1951

                                                                                    1954

                                                                                             1957

                                                                                                     1960

                                                                                                             1963

                                                                                                                      1966

                                                                                                                                1969

                                                                                                                                              1972

                                                                                                                                                        1975

                                                                                                                                                                 1978

                                                                                                                                                                        1981

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                                                                                                                                                                                                                                        1999

                                                                                                                                                                                                                                               2002

                                                                                                                                                                                                                                                       2005
                                                                                                                                                         Year
           Figure 10.18. Ireland’s murder rate. While murder rates in the United States and Jamaica include both
           murders and manslaughter, Ireland’s numbers include only murder. Including manslaughter would probably
           roughly double the measured murder rate for Ireland for most years. (Murder rate data are not available
           for 1996.)

                                           70



                                           60



                                           50
              Murders per 100,000 people




                                           40



                                           30



                                           20



                                           10



                                           0
                                                1960

                                                         1962
                                                                   1964

                                                                             1966

                                                                                      1968
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                                                                                                            1974

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                                                                                                                                                                                                                                        2002
                                                                                                                                                                                                                                               2004
                                                                                                                                                                                                                                                      2006




                                                                                                                                                        Year

           Figure 10.19. Jamaica’s murder rate. (Murder rate data are not available for 1968 and 1969.)




                                                                                                                             Exhibit 10
                                                                                                                               0750
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          Figure 10.20. Percentage of suicides with guns from 1960 to 2004 for DC


                                                   10
                Suicide Rates per 100,000 People




                                                   9

                                                   8

                                                   7

                                                   6                                                                                                              Non-gun
                                                                                                                                                                  Suicides
                                                   5                                                                                                              Rate

                                                   4                                                                                                              Gun
                                                                                                                                                                  Suicides
                                                   3                                                                                                              Rate

                                                   2

                                                                                                                                                                 DC Gun
                                                   1
                                                                                                                                                                 Ban goes
                                                                                                                                                                 into effect
                                                   0                                                                                                             in early
                                                        1960

                                                               1963

                                                                      1966

                                                                             1969

                                                                                    1972

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                                                                                                                                     1993

                                                                                                                                            1996

                                                                                                                                                   1999

                                                                                                                                                          2002




                                                                                                                                                                 1977

                                                                                                          Year
          Figure 10.21. Gun and nongun suicide rates in DC from 1960 to 2004


              Whether one examines murder rates in DC or Chicago or other coun-
          tries around the world, there is no evidence that a gun ban reduces murder.
          Indeed, if anything, the evidence points to the opposite conclusion. DC’s
          rising murder rate cannot be explained as a result of the crack cocaine
          epidemic during the late 1980s, because this increase started right after the
          ban was instituted, long before crack cocaine became an issue. Nor can



                                                                                                   Exhibit 10
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          crack cocaine explain why DC’s or Chicago’s murder rates rose relative to
          other large cities.
             For those interested in evaluating these crime numbers themselves,
          many of the data can be easily accessed here:

             http: // www.disastercenter.com / crime / dccrime.htm
             http: // www.disastercenter.com / crime / mdcrime.htm
             http: // www.disastercenter.com / crime / vacrime.htm
             http: // www.disastercenter.com / crime / uscrime.htm
             http: // johnrlott.tripod.com / Data_for_Graphs.xls


          Gun-Free Zones and Permitted Concealed Handguns
          In Mumbai, India, on November 26, 2008, cowering armed policemen failed
          to fire back at terrorists who were attacking the city. A photographer at the
          scene described his frustration: “There were armed policemen hiding all
          around the station but none of them did anything. At one point, I ran up
          to them and told them to use their weapons. I said, ‘Shoot them, they’re
          sitting ducks!’ but they just didn’t shoot back.”166 Unfortunately, only those
          police who were directly being threatened by the terrorists chose to fire
          back. At the hotels targeted by the terrorists, security was equally ineﬀec-
          tive; while the hotels “had metal detectors . . . none of its security personnel
          carried weapons because of the diﬃculties in obtaining gun permits from
          the Indian government.”167 India has extremely strict gun-control laws, and
          citizens are eﬀectively banned from being able to carry guns.168
              Thus, we see that what holds true in America holds true in other coun-
          tries as well: that law-abiding citizens, not terrorists and criminals, obey
          gun-control laws.
              Israel provides another quite diﬀerent example. Up until the early 1970s,
          the Jewish state had to deal with the cold reality of terrorists who would
          take machine guns into shopping malls, schools, and synagogues and open
          fire. That type of attack doesn’t occur anymore. Why? Israelis realized that
          armed citizens could stop such attackers before the attackers could shoot
          many people. Previously, even large numbers of armed soldiers and police
          had failed to stop the attacks for a simple reason: terrorists have the option
          of deciding when to attack and whom to attack first. They would either wait
          for the police and soldiers to leave the area or shoot them first.
              Currently, about 10 percent of Jewish Israeli adults are licensed to carry
          weapons, so determined terrorists have to resort to less eﬀective, secretive



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          routes of attack, such as bombings.169 Prior to letting citizens carry con-
          cealed handguns, terrorist attacks in Israel were committed almost entirely
          with machine guns. Afterward, bombs were almost always used. The reason
          for the change was simple. Armed citizens can quickly immobilize a gun-
          wielding attacker, but no one can respond to a bomber once the bomb
          explodes. Nevertheless, armed citizens do still stop some bombings before
          the bombs go oﬀ.170 During waves of terror attacks, Israel’s national police
          chief will call on all permitted citizens to carry their firearms at all times.
              Multiple-victim public shooters, like terrorists generally, are kamikaze-
          like killers who seek to maximize carnage. Even if the killers expect to die
          anyway (and the vast majority of multiple-victim public shooters do),
          letting potential victims carry guns can help deter these crimes in the
          first place simply by reducing the level of carnage the killers believe they
          can inflict.
              Americans have learned this lesson the hard way. Consider the disturbed
          lone shooter who committed the Northern Illinois University attack in
          February 2008. One thing was clear: Six minutes proved too long.171 That’s
          how long it took before police oﬃcers were able to enter the classroom. In
          those short six minutes, five people were murdered, and sixteen wounded.
          And six minutes is actually record-breaking speed for the police arriving at
          such an attack. At the Virginia Tech massacre the previous year, hours went
          by between the first attack and the killer’s eventual suicide.172
              Shortly after the Northern Illinois University attack, five people were
          killed in the city council chambers in Kirkwood, Missouri. This was despite
          a police oﬃcer being present.173 In Kirkwood, as often happens in these
          kinds of attacks, the police oﬃcer was the one killed first when the attack
          started.174 People cowered or were reduced to futilely throwing chairs at
          the killer.
              Over the last three years there have been shootings at the Westroads
          Mall in Omaha,175 the Trolley Square Mall in Salt Lake City,176 and the Tinley
          Park Mall in Illinois.177 These tragedies have one thing in common: they
          took place in “gun-free zones” where private citizens are not allowed to
          carry guns.
              The malls in Omaha and Salt Lake City were in states that, in prin-
          ciple, let people carry concealed handguns. However, these states let pri-
          vate property owners ban guns provided they post clear signs. These malls
          were among the very few places in their states that posted such bans.178
          Likewise, the slaughter at Virginia Tech and the other public schools oc-




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          curred in some of the few areas within their states where people were not
          allowed to carry concealed handguns. Notably, in the Trolley Square attack,
          an oﬀ-duty police oﬃcer fortunately carried a handgun—in violation of
          the ban—and shot the attacker before other oﬃcers arrived.
              Just as we found in chapter 9, extending the results up through 1999
          showed that when states passed right-to-carry laws, the rate of multiple-
          victim public shootings fell by 60 percent. Deaths and injuries from
          multiple-victim public shootings fell even further, on average by 78 percent,
          as the remaining incidents tended to involve fewer victims per attack.179
              That killers often choose gun-free zones for their attacks is not a new
          phenomenon. Thirteen were killed in the Columbine High School shoot-
          ing in 1999; twenty-three were shot dead at Luby’s Cafeteria in Killeen,
          Texas, in 1991; and twenty-one were slain at a McDonald’s in Southern
          California in 1984.180
              Similar horrible incidents occur in other gun-free zones around the
          world. The Mumbai massacre left 165 victims dead.181 Since 2001, many
          European countries—including Finland, France, Germany, and Switzer-
          land—have each suﬀered at least two major multiple-victim shootings.
          The worst school shooting in Germany resulted in seventeen killed (four
          more than were killed at the Columbine High School attack); in Switzer-
          land, one attacker fatally shot fourteen legislators in a regional parliament
          building; in Finland in 2008, an attack took the lives of ten victims.182 During
          a period of just a couple of weeks in April 2009, there were multiple-victim
          public shootings at a college in Athens, a crowded café in Rotterdam, and
          a supermarket in Moscow.183
              Overall, the problem with gun-control laws is not too little regulation,
          but rather that the regulations disarm law-abiding citizens. Consider a
          criminal who is intent on massacring people and then planning on taking
          his own life. He would unlikely be deterred by any penalties for violating
          gun regulations. For example, expelling students or firing professors for
          violating campus gun-free zones represent a real life-changing experience
          for law-abiding citizens—especially since other academic institutions will
          not admit or hire people who have such gun oﬀenses on their records.
          But even assuming the killer survives the attack, it is absurd to imagine
          that after facing multiple life prison sentences or death penalties for kill-
          ing people, the threat of expulsion from school will be the penalty that
          ultimately deters the attack.
              But citizens and police who pack heat do help, because they can stop a




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          shooting while it is happening. Nevertheless, opposition to guns on cam-
          puses is so extreme that some universities even oppose having armed po-
          lice oﬃcers on campus. In the wake of the Virginia Tech shooting, campus
          police at Brandeis University asked that they be armed to prevent similar
          tragedies. But the president of the Brandeis Student Union retorted that
          “the sense of community and the sense of safety would be disturbed very
          much by having guns on campus.”184 Similarly, Columbus (Ohio) State
          Community College president Val Moeller worried that “when someone
          comes on campus and sees armed public safety oﬃcers, it indicates that
          the campus is not safe.”185 Similar objections have been voiced on other
          campuses.186
              On or oﬀ campus, police with guns are certainly helpful in catching
          criminals, but there are limits to what we should expect them to accom-
          plish. For example, during the attack at Virginia Tech, each oﬃcer on duty
          had to patrol, on average, well over 250 acres.187
              Passing right-to-carry laws is only one way to utilize guns to help fight
          terrorism and other violent crime. President Bush’s revival of the Federal
          Air Marshal Program on airplanes is another. This program for domestic
          flights started in 1970, but ended in the early 1990s.188 Evidence indicates that
          it worked well. There were thirty-eight hijackings in America in 1969, but
          in 1970—as the marshals were employed—the number of hijackings fell
          into the twenties for each of the next three years, before finally declining to
          low single digits. Empirical research by Bill Landes suggests that the marshal
          program substantially contributed to this drop.189
              While right-to-carry laws—now operating in thirty-nine states—do
          reduce violent crime generally, the eﬀect is much larger for multiple-
          victim shootings. Normally about 2–7 percent of adults in any state have
          permits, and for most crimes, that means some deterrence. But for a shoot-
          ing in a public place, where there might be dozens or even hundreds of
          people present, it will almost ensure that at least someone—someone who
          is unknown to the attacker—will be able to stop the attacker.
              Even when an attack begins, civilians with concealed handguns help
          limit the carnage. A major factor in how many people are killed or in-
          jured is how much time elapses between when the attack starts and when
          someone—be it citizen or police—arrives on the scene with a gun.190
              Take the Colorado Springs church shooting in December 2007. A pa-
          rishioner who had the minister’s permission to carry her concealed gun
          into the church quickly stopped the slaughter before the killer was able to




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          enter the area where thousands of members of the congregation sat.191 Or
          take an attack earlier that year on a busy street in downtown Memphis.192
          Or attacks at the Appalachian Law School or high schools in such places as
          Pearl, Mississippi.193 In all these incidents, concealed-handgun permit hold-
          ers stopped what would have clearly escalated into multiple-victim public
          shootings well before uniformed police could arrive. During 2008, at Israeli
          schools, armed teachers stopped one terrorist attack and an armed student
          stopped yet another.194
             There has been much fear about concealed-handgun permit holders
          accidentally shooting an innocent bystander when they stop these attacks.
          This is a legitimate concern. Yet the evidence clearly demonstrates that in
          practice this is not a problem. Out of all the multiple-victim public shoot-
          ings that have been stopped by permit holders, no one has indentified a
          single such incident.195
             We also have a lot of experience with permitted concealed handguns in
          schools. Prior to the 1995 Safe School Zone Act, states with right-to-carry
          laws let teachers and others carry concealed handguns at school. I have not
          found a single instance when a permitted concealed handgun was improp-
          erly used at a school. And neither the National Education Association nor
          the American Federation of Teachers has been able to point to a problem.
             Though in a minority, a number of universities—large public schools
          such as Colorado State and the University of Utah—let permit holders
          (both faculty and students) carry concealed handguns on school prop-
          erty.196 Some other schools, from Dartmouth College to Boise State Uni-
          versity, let professors carry concealed handguns.197 Most of the prohibitions
          on firearms on college campuses appear to have gone into eﬀect during the
          early 1990s.198 Again, no problems have been reported.
             Gun-free zones are a magnet for deadly attacks. This applies not only
          to terrorist attacks, but to crimes generally. Here is one question to think
          about: If a killer were stalking your family, would you feel safer putting a
          sign out front announcing, “This home is a gun-free zone”? Probably not,
          but that is eﬀectively what many places do.


          Other Gun-Control Laws
          Except for one single study that looks at the Brady Act, researchers follow-
          ing my work have focused exclusively on the impact of concealed hand-
          guns. Unfortunately, the work that I did that simultaneously accounted




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          for many gun-control laws—such as state waiting periods and background
          checks, one-gun-a-month rules, and penalties for using guns in the com-
          mission of a crime—has so far been ignored.
             But diﬀerent gun policies all fit together, and it is hardly obvious that
          one can properly test the impact of right-to-carry laws without attempting
          to account for these other laws. Since diﬀerent gun-control laws some-
          times get passed at the same time as right-to-carry laws, inclusion of these
          other laws is the only way to separate out which law is causing the change
          in crime rates. The singular focus on right-to-carry laws in so many of
          these studies suggests that these authors don’t believe that these other gun-
          control laws matter. I have made available the data that David Mustard and
          I put together as well as the later data in this book on the subject so others
          could without much eﬀort examine the impact of these other laws.
             The other major gun-control laws that we will turn our attention to
          are gun show regulations, bans on so-called Saturday night specials (inex-
          pensive guns), the assault weapons ban, and the Castle Doctrine. In each
          section below, I will report the results that were obtained from accounting
          for these laws in the regressions used to produce figures 10.1a–10.1i. Those
          figures factored in the impact of all these other gun control laws on the
          crime rate.

          Assault Weapons Ban
          Despite many studies of bans on so-called assault weapons, economists and
          criminologists have yet to find any benefit from either state or federal bans.
          Analyzing the impact of the 1994 federal ban during its first seven years,
          Christopher Koper, Daniel Woods, and Jeﬀrey Roth wrote:
             We cannot clearly credit the ban with any of the nation’s recent drop in
             gun violence. And, indeed, there has been no discernible reduction in the
             lethality and injuriousness of gun violence, based on indicators like the
             percentage of gun crimes resulting in death or the share of gunfire inci-
             dents resulting in injury, as we might have expected had the ban reduced
             crimes with both [assault weapons] and [large capacity clips].199
            Banning some semiautomatic guns when there exist other semiauto-
          matic guns that fire the same bullets at the same rapidity and do the same
          damage cannot be expected to have much of an impact.
            During the 2004 presidential campaign, Senator John Kerry would
          remark: “I never contemplated hunting deer or anything else with an
          AK-47.”200 Governor Howard Dean explained his support for extending



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          the assault weapons ban the same way: “Deer hunters don’t need to have
          assault weapons.”201 The assault weapons ban unfortunately conjures up
          images of machine guns used by the military. Such weapons are surely not
          very useful in hunting deer. Yet the 1994 federal assault weapons ban had
          nothing to do with machine guns, only semiautomatics, which fire one
          bullet per pull of the trigger. The AK-47s banned by the assaults weapons
          ban were civilian, semiautomatic versions of the gun. The firing mecha-
          nisms in semiautomatics and machine guns are completely diﬀerent. The
          entire firing mechanism of a semi-automatic gun has to be gutted and re-
          placed to turn it into a military AK-47.
             Does the assault weapons ban have any impact on crime after all? I used
          two diﬀerent ways to estimate the impact of both the state and federal
          assault weapons bans on crime rates (tables 10.9, 10.10). One measures
          the simple before-and-after average crime rate and the other measures the
          before-and-after crime rate trends. The simple averages were used in the
          results shown in figures 10.1a–10.1i. Only using trends shows a significant
          impact of the law on crime rates, and the longer the ban has been in eﬀect,
          the greater the increase in murder and robbery. The eﬀects are actually
          quite large, indicating that each additional year the ban remains in eﬀect
          raises both murder and robbery rates by around 3 percent. Rape also rises,
          but only slightly.
             Presumably if assault weapons are to be used in committing any particu-
          lar crime, they will be used for murder and robbery, but the data appear
          more supportive of an adverse eﬀect of assault weapons bans on murder
          and robbery rates.

          Gun Show Regulations
          Despite the impression created by the term gun show “loophole,” there are
          no diﬀerent rules for buying a gun at a gun show than anywhere else.202
          Gun-control groups, such as Third Way (formerly Americans for Gun
          Safety) identify eighteen states that have closed the loophole, but interest-
          ingly, prior to 2000, only three of these states had laws that even mentioned
          gun shows.
             So how can a state close a gun show loophole if the laws didn’t even
          mention the term “gun show”? The issue is really private handgun trans-
          fers. What usually constitutes “closing the loophole” is mandating back-
          ground checks for private transfers of handguns. Since 1994, federal law has
          required background checks for all handguns purchased through dealers.
          The checks were extended to long guns in 1998. But regulating transfers



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          Table 10.9 Enactment dates of state assault weapons bans
          State                              Date law went into effect               Penalty for violation
          California                         Jan. 1, 1990                            Felony: 4–8 years in prison
          California                         Mar. 4, 1998—state appellate
                                               court ruled that the 1990
                                               ban was unconstitutional
          California                         Jan. 1, 2000—a new assault              Felony: 4–8 years in prison
                                               weapons bill went into eﬀect
          Hawaii                             July 1, 1992                            Class C felony: 5 years in prison
          Maryland                           June 1, 1994                            Fine of $1,000–10,000 and / or
                                                                                       1–10 years imprisonment
          Massachusetts                      Oct. 21, 1998                           Felony: not more that 3 years
                                                                                       or $5,000 or both
          New Jersey                         May 30, 1990                            Crime of the 3rd degree, know-
                                                                                       ingly violating regulatory
                                                                                       provisions is a crime of the
                                                                                       4th degree
          New York                           Nov. 1, 2000                            Class D violent felony: criminal
                                                                                       possession of a weapon in the
                                                                                       3rd degree
          Federal assault weapon ban         Sept. 13, 1994, through
                                               Sept. 13, 2004



          Table 10.10 Two simple ways of looking at the impact of the assault weapons bans
                                                                  Murder      Rape         Robbery       Aggravated assault
          Change in the average crime rate when the               0.4%        –3.0%        3.0%          –2.1%
           ban goes into eﬀect
          Change in the crime rate calculated from                3.2%*         1%**       2.7%*             0.1%
           the diﬀerence in the annual change in
           crime rates in the years before and after
           adoption of an assault weapon ban
          Note: The specifications reported earlier for figures 10.1a–10.1i use the simple dummy variable approach reported
          here, but using the before-and-after trends does not alter the earlier results.
          * Statistically significant at least at the 1 percent level for an F-test.
          ** Statistically significant at least at the 5 percent level for an F-test.



          by private individuals—such as those occurring at gun shows—has been
          left to the states (see table 10.11).
              The theory linking “gun show loopholes” and crime is fairly straight-
          forward. To the extent that background checks on private transfers prevent
          criminals from getting guns, crime rates will be reduced. But its impact
          depends upon two factors: how many criminals actually get guns from
          gun shows and the ability of criminals to get guns from substitute sources.
          There is also a trade-oﬀ: Increased regulations on private transfers can reduce
          the number of gun shows and make it more diﬃcult for law-abiding citizens
          to get guns—guns that could have been used to protect against crime.
              To help determine where criminals obtained their firearms, the Bureau



                                                       Exhibit 10
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          Table 10.11 Enactment dates of state laws requiring background checks on the private transfer of
          handguns
                                                       Type of penalty for not        Type of penalty for providing
          State               Date enacted             conducting check               false information
          California          Jan. 1, 1991             Misdemeanor                    Misdemeanor
          Colorado            Mar. 31, 2001            Class 1 misdemeanor            Class 1 misdemeanor
          Connecticut         Oct. 1, 1994             Class D felony                 Fine of not more than
                                                                                        $500 and / or impris-
                                                                                        onment for not more
                                                                                        than 3 years
          Hawaii              Before 1977              Misdemeanor                    Class C felony
          Illinois            Before 1977              Class A misdemeanor            Perjury
          Indiana             Until Nov. 11, 1998      Class B misdemeanor            Class C felony
          Iowa                July 1, 1991             Simple misdemeanor             Class D felony
          Maryland            Oct. 1, 1996             Misdemeanor                    Misdemeanor
          Massachusetts       Before 1977              Felony                         Fine of $500–$1,000
                                                                                        and / or 6 months to 2
                                                                                        years imprisonment
           Michigan           Before 1977              Felony                         Felony
           Missouri           Sept. 28, 1981           Class A misdemeanor            Class A misdemeanor
           Nebraska           Sept. 6, 1991            Class 1 misdemeanor            Class 4 felony
           New Jersey         Before 1977              Crime of the 4th degree        Crime of the 3rd degree
           New York           Before 1977              Class A misdemeanor            Class A misdemeanor
           North Carolina     Dec. 1, 1995             Class 2 misdemeanor            Class H felony
           Oregon             Dec. 7, 2000             Class A misdemeanor            Class A misdemeanor
           Pennsylvania       Oct. 11, 1995            Misdemeanor of the 2nd         Felony of the 3rd
                                                         degree                         degree
           Rhode Island       Before 1977              Fine of not more than          Imprisonment of up to
                                                         $1,000 and / or impris-        5 years
                                                         onment of up to 5 years
          Tennessee           Until Nov. 11, 1998      Class A misdemeanor            Class A misdemeanor



          of Justice Statistics conducted a survey of eighteen thousand state prison
          inmates in 1997, the largest survey of inmates ever conducted.203 Fewer than
          1 percent of inmates (0.7 percent) who possessed a gun indicated that they
          obtained it at a gun show. When combined with guns obtained from flea
          markets, the total rises to 1.7 percent. These numbers are dwarfed by the 40
          percent who obtained their guns from friends or family and the 39 percent
          who obtained them on the street or from illegal sources. These numbers
          are also very similar to a 1991 survey, a survey that indicated that only 0.6
          percent of inmates had obtained their guns from guns shows and 1.3 per-
          cent from flea markets. Other surveys of criminals report a similar range of
          estimates.204 A detailed discussion of the research on gun show regulations
          as well as the costs that background checks impose on gun sales is provided
          in chapter 8 of my book The Bias Against Guns.
             Despite all the emphasis on gun shows, there is no empirical research



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          linking gun show regulations to decreased crime rates. If anything, the
          evidence points in the other direction. Earlier work that I have done using
          state-level data from 1977 to 2000 implies that gun show regulations not
          only significantly reduce the number of gun shows by up to 24 percent, but
          also increase murder and robbery rates. I found no statistically significant
          impact of background checks for handguns purchased through dealers, a
          result also found consistently in research by others. Enacting the assault
          weapons ban and instituting waiting periods did have one eﬀect in my re-
          search: it significantly reduced the number of gun shows.205
              The number of gun shows in the United States peaked in 1996 at 2,907
          and has continually fallen since then under both the rest of the Clinton
          administration and the Bush administration.206 By 2005, there were 1,792
          gun shows, a drop of 38 percent from the peak and just slightly below the
          1,800 gun shows that took place in 1990.
              Mark Duggan, Randi Hjalmarsson, and Brian Jacob have conducted
          more recent work. They find that gun shows modestly reduce homicides
          and have no impact on suicides within twenty-five miles of the gun show.207
          If their result is correct, the reduction in gun shows that I find from clos-
          ing the gun show loophole may explain why closing the loophole could
          increase murder and robbery rates. Closing down gun shows is more likely
          to deprive law-abiding citizens of a relatively inexpensive source of guns
          than to prevent criminals from getting guns.
              The results in table 10.12 imply little impact from closing the gun show
          loophole. While murder and robbery rates appear to rise, neither increase is
          statistically significant. Nor is the change in aggravated assaults significant.
          Although rape is reduced and the reduction is significant, it is unclear how
          to interpret this lone result, since guns are very rarely used in the com-
          mission of rape. In fact, unlike the other violent crime categories, the FBI
          Uniform Crime Reports don’t even list how many rapes are committed with
          guns. What is probably most clear from this result is that closing the gun
          show loophole does not reduce defensive gun uses that stop rapes.

          Castle Laws
          Fourteen states adopted Castle Laws in just 2006 alone. It is hard to think of
          any gun-control law that has been adopted in so many states in just a single
          year. Yet, this book represents the first research on the impact that the so-
          called Castle Doctrine, or Castle Law, has on crime rates. These Castle Laws
          eliminate the requirement that people in their own homes retreat as far




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          Table 10.12 The impact of “closing” the gun show loophole on violent crime rates
                                                            Murder       Rape            Robbery       Aggravated assault
          Change in the average crime rate after            2%           –3.0%***        3.0%          –2.1%
           the gun show loophole is closed (%)
          Note: Examining the before-and-after average crime rates from closing this loophole was accounted for in figures
          10.1a–10.1i.
          ***Statistically significant at least at the 10 percent level for two-tailed t-test.




          as possible before defending themselves. By removing this requirement,
          victims do not risk misjudging how far they should retreat. As a result,
          committing crimes in a home becomes more risky for the criminal. Castle
          Laws take away worries for a law-abiding citizen about breaking the law by
          not retreating as far as possible, a delay that might be potentially harmful.
          Indeed, three of the cases discussed earlier in the section on prosecutions
          of concealed-handgun permit holders (“Concealed-Carry Permit Holders:
          Villains or Saints?”) noted judgment calls where prosecutors apparently
          didn’t believe that the victims had done enough to avert the attack prior
          to firing their guns.
              On the other hand, there could be some unintended consequences where
          gun owners might shoot too quickly—leading to the shooting being classi-
          fied as either murder or manslaughter and thus potentially increasing crime
          rates. One recent case in Colorado Springs during the end of December 2008
          has been pointed to as the type of tragedy that might arise from the Castle
          Doctrine, and it received widespread international attention.208 As initially
          reported, 22-year-old Sean Kennedy had been drinking heavily; he had got-
          ten lost and knocked on the back door of the wrong house and got shot.
              But later reports indicated that the residents might have had some jus-
          tification for their shooting, noting that Kennedy “had broken a window
          and was trying to get inside a back door when he was shot and killed by
          the homeowner Sunday night” while those inside were screaming at him
          to leave.209 The residents had also reportedly called 911 and “reported that
          someone was trying to break into the house” before they fired their gun.210
          There is also a mention that Kennedy had “broken” the door. In any case,
          it appears that the improper actions with guns that many feared would
          happen after the law are quite rare.
              While thirty states have now passed Castle Laws, there are not yet many
          changes in the law to study. Only seven states enacted such laws during our
          sample period, between 1977 and the end of 2005, and three of the seven ad-
          opted the laws between 2003 and 2005 (table 10.13). While the results (table




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                          Table 10.13 Enactment dates of Castle Doctrine laws
                          State                                 Date law went into effect
                          Alabama                               June 1, 2006
                          Alaska                                June 20, 2006
                          Arizona                               Apr. 24, 2006
                          California                            Before 1977
                          Colorado                              June 6, 1995
                          Connecticut                           1973
                          Delaware                              Before 1977
                          Florida                               Oct. 1, 2005
                          Georgia                               July 1, 2006
                          Hawaii                                Before 1977
                          Idaho                                 Oct. 1, 2006
                          Illinois                              July 28, 2004
                          Indiana                               July 1, 2006
                          Kansas                                May 26, 2006
                          Kentucky                              July 12, 2006
                          Louisiana                             Aug. 15, 2006
                          Massachusetts                         Before 1977
                          Michigan                              July 26, 2006
                          Minnesota                             Before 1977
                          Mississippi                           July 1, 2006
                          Montana                               Before 1977
                          New Mexico                            1978
                          North Carolina                        1993
                          Oklahoma                              Oct. 1, 2006
                          Rhode Island                          Before 1977
                          South Carolina                        June 9, 2006
                          South Dakota                          July 1, 2006
                          Utah                                  2003
                          Virginia                              Before 1977
                          Washington                            1999a
                          Source: Information from “Summary Of ‘Duty to Retreat’ Law in All 50
                          States” (NRA / ILA Oﬃce of Legislative Counsel, Fairfax, VA, 2008) and fac-
                          tiva searches.
                          a
                           No law; legal precedent only: “The law is well settled that there is no duty
                          to retreat when a person is assaulted in a place where he or she has a right
                          to be”(Washington State Supreme Court, citing a 1999 ruling; http: // www
                          .washapp.org / Opinion.aspx?id=16).




          10.14) suggest an overall reduction in violent and property crimes, too few
          years with the law in place are available to examine the before-and-after
          trends in crime rates.


          Conclusion
          Only rarely does a man of ideas witness in his own lifetime, the opportunity to actu-
          ally see one of his ideas change history. For a scholar who wrote a controversial book in



                                                     Exhibit 10
                                                       0763
             Table 10.14 The impact of the Castle Doctrine on violent crime rates
                                                                                                                                Aggravated   Property
                                                                                   Murder           Rape             Robbery    assault      crime      Burglary   Larceny   Auto theft
             Change in the average crime rate after adoption of                    –9%*             –18%*            6.7%***    –14.1%*      –6%*       –3.5%      –8.8%*    13%*
              Castle Doctrine




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             Note: The before-and-after average crime rates from enacting this law were accounted for in figures 10.1a–10.1i.
             * Statistically significant at least at the 1 percent level for two-tailed t-test.




Exhibit 10
             *** Statistically significant at least at the 10 percent level for two-tailed t-test.
                                                                                                                                                                                          3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1776 Page
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          the 1990s, arguing that, where there is more gun ownership there is actually less crime,
          that history-making experience took place. Legislatures across the country took hold
          of the ideas in that book, and passed laws allowing for the carrying of concealed weap-
          ons, that indeed was history-making. The author of that idea and of the book that con-
          tained those ideas, is our first debater tonight, speaking for the motion, “Guns reduce
          crime,” John Lott.
          —John Donvan of ABC News Nightline giving the introduction to the Intelligence
          Squared U.S. debate on October 28, 2008211

          John Donvan’s judgment in the above quote is extremely generous—in-
          deed, probably too generous. There are lots of factors that went into this
          debate, and it is hard to evaluate how important each one was. The most
          crucial thing, though, is clear: if permit holders weren’t extremely law
          abiding and if there were problems with right-to-carry laws, most states
          would not have adopted them. It would also have sparked calls for repeal-
          ing concealed-handgun laws that had already been adopted, but no state
          has even held a legislative hearing on doing that. The lack of serious politi-
          cal debate on these points reflects that the evidence has been so clear. David
          Mustard and I may have noticed the facts before others, but the evidence
          has also spoken for itself.
              It is easy to see why some people think that banning guns will make
          others safer, but gun-free zones, whether on college campuses or at the city
          or country level, have not disarmed criminals. Everyone wants to disarm
          criminals, but the problem we face is one faced with all types of gun-control
          laws: who is most likely to obey the law? Time after time, it is the most law-
          abiding citizens, the people who we don’t have anything to worry about,
          who are disarmed and made vulnerable, not the criminals. However well
          meaning, banning guns only makes the lives of criminals easier.
              During the past year, gun control has become a heated issue again. Calls
          for rebanning so-called assault weapons and regulating gun shows are again
          all the rage. The media have also gotten desperate trying to promote gun
          control. Take an ABC show from April, 2009. The network aired a heavily
          promoted, hour-long 20 / 20 special called “If I Only Had a Gun.” It is ABC’s
          equivalent of NBC’s infamous exploding gas tanks in General Motors pick-
          ups, where NBC rigged the truck to explode. With states debating whether
          to eliminate gun-free zones at universities, there are few sacred cows in the
          gun-control debate that are not being questioned.
              The show started and ended by claiming that allowing potential vic-




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          tims to carry guns would not help keep them safe—not even with hun-
          dreds of hours of practice firing guns. No mention was made of the actual
          multiple-victim public shootings stopped by people with concealed hand-
          guns, nor did the reporters describe who actually carried out such shoot-
          ings. Instead, ABC presented a rigged experiment where one student in a
          classroom had a gun.
              But sometimes even the best editors can’t hide everything the camera
          sees. The experiment was set up to make the student fail. It did not resemble
          a real-world shooting. The same scenario is shown three times, but in each
          case the student with the gun is seated in the same seat—the center seat
          in the front row. The attacker not only is a top-notch shooter—a firearms
          expert who teaches firearms tactics and strategy to police—but also obvi-
          ously knows precisely where the student with the gun is sitting.
              Each time the experiment is run, the attacker first fires two shots at the
          teacher in the front of the class and then turns his gun directly on the very
          student with the gun. The attacker wastes no time trying to gun down any
          of the unarmed students. Thus, very unrealistically, between the very first
          shot setting the armed student on notice and the shots at the armed stu-
          dent, there is at most two seconds. The armed student is allowed virtually
          no time to react and, unsurprisingly, fails under the same circumstances
          that would have led even experienced police oﬃcers to fare poorly.
              But in the real world, a typical shooter is not a top-notch firearms expert
          and has no clue about whether or not anyone might be armed and, if so,
          where that person is seated. If you have fifty people—a pretty typical col-
          lege classroom—and the armed student is unknown to the attacker, he
          or she is given a tremendous advantage. Actually, if the experiment run by
          20 / 20 seriously demonstrated anything, it was the problem of relying on
          uniformed police or security guards for safety: the killer instantly knows
          whom to shoot first.
              Yet, in the ABC experiment, the purposefully disadvantaged students
          are not just identified and facing (within less than two seconds) an attacker
          whose gun is already drawn. They are also forced to wear unfamiliar gloves,
          a helmet, and a holster. This only adds to the diﬃculties the students face
          in handling their guns.
              Given this odd setup, the second student, Danielle, performed admi-
          rably well. She shot the firearms expert in his left leg near the groin. If real
          bullets had been used, that might well have disabled the attacker and cut
          short his shooting spree.




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             What this book has tried to do is describe real-world cases where people
          have used guns to defend themselves and others. We have tried to use hard
          data to answer questions about what rules and regulations will save lives.
          Ten years have passed since this book was first written. While the previous
          editions involved the largest studies of crime at that time, even more data
          are now available, and many more states have adopted right-to-carry laws.
          A lot more work by many academics has been done on gun-control regula-
          tions. There are certain points that are beyond dispute.
             1. By any measure, concealed-handgun permit holders are extremely law
             abiding.
             2. Even the number of anecdotal news stories of defensive gun uses com-
             pletely dwarfs any possible bad actions by permit holders with their con-
             cealed handguns.
             3. No refereed academic articles by economists or criminologists claim that
             right-to-carry laws have a significant bad eﬀect on crime rates.
             Regarding the academic debate, it is obvious that a nerve has been
          struck. The language and accusations used by some can be distracting and
          disturbing, but the strongest opponents of allowing people to defend them-
          selves have made what are at best simple mistakes that, when corrected,
          show the opposite of what they claim.
             Refereed academic journal articles by economists and criminologists
          continue to show estimates that range from indicating large benefits from
          right-to-carry laws to claiming to show no change in crime rates. Yet, even
          those studies that claim that there is no benefit provide more evidence of
          benefits than no eﬀect and much more evidence of benefits than costs.
             At some point the risk of gun-free zones is going to have to be seriously
          discussed. Whether one looks at city or country gun bans or even smaller
          gun bans involving malls or schools, bans increase violence and murder.
             The gun-control debate has changed dramatically over the last decade.
          In the past the question was how much guns caused crime. The debate
          now is over whether there are benefits from gun ownership and how large
          those benefits are.




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          APPENDIX ONE     How to Account for the Different Factors
                           That Affect Crime and How to Evaluate
                           the Importance of the Results

                           The research in this book relies on what is known
                           as regression analysis, a statistical technique that es-
                           sentially lets us “fit a line” to a data set. Take
                           a two-variable case involving arrest rates and
                           crime rates. One could simply plot the data and
                           draw the line somewhere in the middle, so that
                           the deviations from the line would be small, but
                           each person would probably draw the line a little
                           diﬀerently. Regression analysis is largely a set of
                           conventions for determining exactly how the
                           line should be drawn. In the simplest and most
                           common approach—ordinary least squares
                           (OLS)—the line chosen minimizes the sum of
                           the squared diﬀerences between the observations
                           and the regression line. Where the relationship
                           between only two variables is being examined,
                           regression analysis is not much more sophisti-
                           cated than determining the correlation.
                               The regression coeﬃcients tell us the relation-
                           ship between the two variables. The diagram in
                           figure A1.1 indicates that increasing arrest rates
                           decreases crime rates, and the slope of the line
                           tells us how much crime rates will fall if we
                           increase arrest rates by a certain amount. For
                           example, in terms of figure Al, if the regression
                           coeﬃcient were equal to –1, lowering the arrest
                           rate by one percentage point would produce a
                           similar percentage-point increase in the crime
                           rate. Obviously, many factors account for how



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                                                 100%




                                   Arrest rate
                                                 50%



                                                                           “Best-fit” line


                                                  0%
                                                        0%       50%         100%
                                                              Crime rate
          Figure A1.1. Fitting a regression into a scatter diagram



          crime changes over time. To deal with these, we use what is called multiple
          regression analysis. In such an analysis, as the name suggests, many explana-
          tory (or exogenous) variables are used to explain how the endogenous (or
          dependent) variable moves. This allows us to determine whether a relation-
          ship exits between diﬀerent variables after other eﬀects have already been
          taken into consideration. Instead of merely drawing a line that best fits
          a two-dimensional plot of data points, as shown in figure A1.1, multiple
          regression analysis fits the best line through an n-dimensional data plot,
          where n is the number of variables being examined.
              A more complicated regression technique is called two-stage least squares.
          We use this technique when two variables are both dependent on each
          other and we want to try to separate the influence of one variable from
          the influence of the other. In our case, this arises because crime rates influ-
          ence whether the nondiscretionary concealed-handgun laws are adopted
          at the same time as the laws aﬀect crime rates. Similar issues arise with ar-
          rest rates. Not only are crime rates influenced by arrest rates, but since an
          arrest rate is the number of arrests divided by the number of crimes, the
          reverse also holds true. As is evident from its name, the method of two-
          stage least squares is similar to the method of ordinary least squares in how
          it determines the line of best fit—by minimizing the sum of the squared
          diﬀerences from that line. Mathematically, however, the calculations are
          more complicated, and the computer has to go through the estimation in
          two stages.
              The following is an awkward phrase used for presenting regression re-
          sults: “a one-standard-deviation change in an explanatory variable explains
          a certain percentage of a one-standard-deviation change in the various



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          crime rates.” This is a typical way of evaluating the importance of statistical
          results. In the text I have adopted a less stilted, though less precise formula-
          tion: for example, “variations in the probability of arrest account for 3 to 11
          percent of the variation in the various crime rates.” As I will explain below,
          standard deviations are a measure of how much variation a given variable
          displays. While it is possible to say that a one-percentage-point change
          in an explanatory variable will aﬀect the crime rate by a certain amount
          (and, for simplicity, many tables use such phrasing whenever possible),
          this approach has its limitations. The reason is that a 1 percent change in
          the explanatory variable may sometimes be very unlikely: some variables
          may typically change by only a fraction of a percent, so assuming a one-
          percentage-point change would imply a much larger impact than could
          possibly be accounted for by that factor. Likewise, if the typical change in
          an explanatory variable is much greater than 1 percent, assuming a one-
          percentage-point change would make its impact appear too small.
             The convention described above—that is, measuring the percent of a
          one-standard-deviation change in the endogenous variable explained by
          a one-standard-deviation change in the explanatory variable—solves the
          problem by essentially normalizing both variables so that they are in the
          same units. Standard deviations are a way of measuring the typical change
          that occurs in a variable. For example, for symmetric distributions, 68 per-
          cent of the data is within one standard deviation of either side of the mean,
          and 95 percent of the data is within two standard deviations of the mean.
          Thus, by comparing a one-standard-deviation change in both variables, we
          are comparing equal percentages of the typical changes in both variables.1
             The regressions in this book are also “weighted by the population” in the
          counties or states being studied. This is necessitated by the very high level
          of “noise” in a particular year’s measure of crime rates for low-population
          areas. A county with only one thousand people may go through many years
          with no murders, but when even one murder occurs, the murder rate (the
          number of murders divided by the county’s population) is extremely high.
          Presumably, no one would believe that this small county has suddenly
          become as dangerous as New York City. More populous areas experience
          much more stable crime rates over time. Because of this diﬃculty in consis-
          tently measuring the risk of murder in low-population counties, we do not
          want to put as much emphasis on any one year’s observed murder rate, and
          this is exactly what weighting the regressions by county population does.
             Several other general concerns may be anticipated in setting up the re-
          gression specification. What happens if concealed-handgun laws just hap-



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          pen to be adopted at the same time that there is a downward national trend
          in crime rates? The solution is to use separate variables for the diﬀerent
          years in the sample: one variable equals 1 for all observations during 1978
          and zero for all other times, another equals 1 for all observations during
          1979 and zero otherwise, and so on. These “year-dummy” variables thus
          capture the change in crime from one year to another that can only be
          attributed to time itself. Thus if the murder rate declines nationally from
          1991 to 1992, the year-dummy variables will measure the average decline
          in murder rates between those two years and allow us to ask if there was
          an additional drop, even after accounting for this national decline, in states
          that adopted nondiscretionary concealed-handgun laws.
              A similar set of “dummy” variables is used for each county in the United
          States, and they measure deviations in the average crime rate across coun-
          ties. Thus we avoid the possibility that our findings may show that nondis-
          cretionary concealed-handgun laws appear to reduce crime rates simply
          because the counties with these laws happened to have low crime rates
          to begin with. Instead, our findings should show whether there is an ad-
          ditional drop in crime rates after the adoption of these laws.
              The only way to properly account for these year and county eﬀects, as
          well as the influences on crime from factors like arrest rates, poverty, and
          demographic changes, is to use a multiple-regression framework that al-
          lows us to directly control for these influences.
              Unless we specifically state otherwise, the regressions reported in the
          tables attempt to explain the natural logarithms of the crime rates for
          the diﬀerent categories of crime. Converting into “logs” is a conven-
          tional method of rescaling a variable so that a given absolute numerical
          change represents a given percentage change. (The familiar Richter scale
          for measuring earthquakes is an example of a base-10 logarithmic scale,
          where a tremor that registers 8 on the scale is ten times as powerful as one
          that registers 7, and one that registers 7 is ten times as powerful as one that
          registers 6.) The reason for using logarithms of the endogenous variable
          rather than their simple values is twofold. First, using logs avoids giving
          undue importance to a few, very large, “outlying” observations. Second,
          the regression coeﬃcient can easily be interpreted as the percent change
          in the endogenous variable for every one-point change in the particular
          explanatory variable examined.
              Finally, there is the issue of statistical significance. When we estimate coeﬃ-
          cients in a regression, they take on some value, positive or negative. Even if
          we were to take two completely unrelated variables—say, sunspot activity



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          and the number of gun permits—a regression would almost certainly yield
          a coeﬃcient estimate other than zero. However, we cannot conclude that
          any positive or negative regression coeﬃcient really implies a true relation-
          ship between the variables. We must have some measure of how certain
          the coeﬃcient estimate is. The size of the coeﬃcient does not really help
          here—even a large coeﬃcient could have been generated by chance.
              This is where statistical significance enters in. The measure of statistical
          significance is the conventional way of reporting how certain we can be
          that the impact is diﬀerent from zero. If we say that the reported number
          is “positive and statistically significant at the 5 percent level,” we mean that
          there is only a 5 percent chance that the coeﬃcient happened to take on
          a positive value when the true relationship in fact was zero or negative.2
          To say that a number is statistically significant at the 1 percent level repre-
          sents even greater certainty. The convention among many social scientists
          is usually not to aﬃrm conclusions unless the level of significance reaches
          10 percent or lower; thus, someone who says that a result is “not signifi-
          cant” most likely means that the level of significance failed to be as low as
          10 percent.
              These simple conventions are, however, fairly arbitrary, and it would
          be wrong to think that we learn nothing from a value that is significant at
          “only” the 11 percent level, while attaching a great deal of weight to one
          that is significant at the 10 percent level. The true connection between the
          significance level and what we learn involves a much more continuous
          relationship. We are more certain of a result when it is significant at the 10
          percent level rather than at the 15 percent level, and we are more certain
          of a result at the 1 percent level than at the 5 percent level.




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          APPENDIX T W O   Explanations of Frequently Used Terms



                           ARREST RATE: The number of arrests per crime.
                           CRIME RATE: The number of crimes per 100,000
                              people.
                           CROSS-SECTIONAL DATA: Data that provide informa-
                              tion across geographic areas (cities, counties,
                              or states) within a single period of time.
                           DISCRETIONARY CONCEALED-HANDGUN LAW: Also known
                              as a “may-issue” law; the term discretionary
                              means that whether a person is ultimately
                              allowed to obtain a concealed-handgun per-
                              mit is up to the discretion of either the sheriﬀ
                              or judge who has the authority to grant the
                              permit. The person applying for the permit
                              must frequently show a “need” to carry the
                              gun, though many rural jurisdictions auto-
                              matically grant these requests.
                           ENDOGENOUS: A variable is endogenous when
                              changes in the variable are assumed to
                              caused by changes in other variables.
                           EXOGENOUS: A variable is exogenous when its values
                              are as given, and no attempt is made to explain
                              how that variable’s values change over time.
                           EXTERNALITY: The costs of or benefits from one’s
                              actions may accrue to other people. External
                              benefits occur when people cannot capture
                              the beneficial eﬀects that their actions pro-
                              duce. External costs arise when people are
                              not made to bear the costs that their actions
                              impose on others.
                           NONDISCRETIONARY CONCEALED-HANDGUN LAW: Also



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             known as a “shall-issue” or “do-issue” law; the term nondiscretionary
             means that once a person meets certain well-specified criteria for
             obtaining a concealed-handgun permit, no discretion is involved in
             granting the permit—it must be issued.
          POOLED, CROSS-SECTIONAL, TIME-SERIES DATA: Data that allow the researcher not
             only to compare diﬀerences across geographic areas, but also to see
             how these diﬀerences change across geographic areas over time.
          REGRESSION: A statistical technique that essentially lets us fit a line to a data
             set to determine the relationship between variables.
          STATISTICAL SIGNIFICANCE: A measure used to indicate how certain we can be
             that the impact of a variable is diﬀerent from some value (usually
             whether it is diﬀerent from zero).
          TIME-SERIES DATA: Data that provide information about a particular place
             over time. For example, time-series data might examine the change
             in the crime rate for a city over many years.




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          APPENDIX T H REE   Description of the Data



                             This appendix provides a detailed discussion of
                             the variables used in this study and their sources.
                             The number of arrests and oﬀenses for each
                             crime in every county from 1977 to 1992 were
                             provided by the FBI’s Uniform Crime Reports (UCR).
                             The UCR program is a nationwide, cooperative
                             statistical eﬀort by over 16,000 city, county, and
                             state law-enforcement agencies to compile data
                             on crimes that are reported to them. During
                             1993, law-enforcement agencies active in the
                             UCR program represented over 245 million U.S.
                             inhabitants, or 95 percent of the total popula-
                             tion. The coverage amounted to 97 percent of
                             the U.S. population living in Metropolitan Sta-
                             tistical Areas (MSAs) and 86 percent of the popu-
                             lation in non-MSA cities and in rural counties.1
                             The Supplementary Homicide Reports of the UCR sup-
                             plied the data on the sex and race of victims and
                             on whatever relationship might have existed
                             between victim and oﬀender.2
                                 The regressions report results from a subset of
                             the UCR data set, though we also ran the regres-
                             sions with the entire data set. The main diﬀerences
                             were that the eﬀect of concealed-handgun laws
                             on murder was greater than what is reported in
                             this study, and the eﬀects on rape and aggravated
                             assault were smaller. Observations were elimi-
                             nated because of changes in reporting practices
                             or definitions of crimes; see Crime in the United States
                             for the years 1977 to 1992. For example, from 1985



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          to 1994, Illinois operated under a unique, “gender-neutral” definition of sex
          oﬀenses. Another example involves Cook County, Illinois, from 1981 to
          1984, which experienced a large jump in reported crime because of a change
          in the way oﬃcers were trained to report crime.
              The additional observations that were either never provided or were
          dropped from the data set include those from Arizona (1980), Florida (1988),
          Georgia (1980), Kentucky (1988), and Iowa (1991). Data for counties con-
          taining the following cities were also eliminated for the crime rates listed:
          violent crime and aggravated assault for Steubenville, Ohio (1977–89); vio-
          lent crime and aggravated assault for Youngstown, Ohio (1977–87); violent
          crime, aggravated assault, and burglary for Mobile, Alabama (1977–85); vio-
          lent crime and aggravated assault for Oakland, California (1977–90); vio-
          lent crime and aggravated assault for Milwaukee, Wisconsin (1977–85); all
          crime categories for Glendale, Arizona (1977–84); violent crime and aggra-
          vated assault for Jackson, Mississippi (1977 and 1982); violent crime and ag-
          gravated assault for Aurora, Colorado (1977 and 1982); violent crime and
          aggravated assault for Beaumont, Texas (1977 and 1982); violent crime and
          aggravated assault for Corpus Christi, Texas (1977 and 1982); violent crime
          and rape for Macon, Georgia (1977–81); violent crime, property crime, rob-
          bery, and larceny for Cleveland, Ohio (1977–81); violent crime and aggra-
          vated assault for Omaha, Nebraska (1977–81); all crime categories for Eau
          Claire, Wisconsin (1977–78); all crime categories for Green Bay, Wisconsin
          (1977); and all crime categories for Little Rock, Arkansas (1977–79).
              The original Uniform Crime Report data set did not have arrest data for
          Hawaii in 1982. These missing observations were supplied to us by the Ha-
          waii UCR program. In the original data set several observations included
          two observations for the same county and year identifiers. The incorrect
          observations were deleted from the data.
              For all of the diﬀerent crime rates, if the true rate was zero, we added 0.1
          before we took the natural log of those values. It is not possible to take the
          natural log of zero, because any change from zero is an infinite percent-
          age change. For the accident rates and the supplementary homicide data,
          if the true rate was zero, we added 0.01 before we took the natural logs of
          those values.3
              The number of police in a state, the number of oﬃcers who have the
          power to make arrests, and police payrolls for each state by type of oﬃcer
          are available for 1982 to 1992 from the U.S. Department of Justice’s Expenditure
          and Employment Data for the Criminal Justice System.
              The data on age, sex, and racial distributions estimate the population



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          in each county on July 1 of the respective years. The population is divided
          into five-year age segments, and race is categorized as white, black, and
          neither white nor black. The population data, with the exception of 1990
          and 1992, were obtained from the U.S. Bureau of the Census.4 The estimates
          use modified census data as anchor points and then employ an iterative
          proportional-fitting technique to estimate intercensal populations. The
          process ensures that the county-level estimates are consistent with esti-
          mates of July 1 national and state populations by age, sex, and race. The age
          distributions of large military installations, colleges, and institutions were
          estimated by a separate procedure. The counties for which special adjust-
          ments were made are listed in the report.5 The 1990 and 1992 estimates have
          not yet been completed by the Bureau of the Census and made available for
          distribution. We estimated the 1990 data by taking an average of the 1989 and
          1991 data. We estimated the 1992 data by multiplying the 1991 populations
          by the 1990–91 growth rate of each county’s population.
             Data on income, unemployment, income maintenance, and retirement
          were obtained by the Regional Economic Information System (REIS). In-
          come maintenance includes Supplemental Security Insurance (SSI), Aid
          to Families with Dependent Children (AFDC), and food stamps. Unem-
          ployment benefits include state unemployment insurance compensation,
          Unemployment for federal employees, unemployment for railroad em-
          ployees, and unemployment for veterans. Retirement payments include
          old-age survivor and disability payments, federal civil employee retirement
          payments, military retirement payments, state and local government em-
          ployee retirement payments, and workers compensation payments (both
          federal and state). Nominal values were converted to real values by using
          the consumer price index.6 The index uses the average consumer price in-
          dex for July 1983 as the base period. County codes for twenty-five observa-
          tions did not match any of the county codes listed in the ICPSR codebook.
          Those observations were deleted from the sample.
             Data concerning the number of concealed-weapons permits for each
          county were obtained from a variety of sources. Mike Woodward, of the Or-
          egon Law Enforcement and Data System, provided the Oregon data for 1991
          and after. The number of permits available for Oregon by county in 1989
          was provided by the sheriﬀ’s departments of the individual counties. Cari
          Gerchick, Deputy County Attorney for Maricopa County in Arizona, pro-
          vided us with the Arizona county-level conviction rates, prison-sentence
          lengths, and concealed-handgun permits from 1990 to 1995. The Penn-
          sylvania data were obtained from Alan Krug. The National Rifle Associa-



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          tion provided data on NRA membership by state from 1977 to 1992. The
          dates on which states enacted enhanced-sentencing provisions for crimes
          committed with deadly weapons were obtained from a study by Marvell
          and Moody.7 The first year for which the enhanced-sentencing variable
          equals 1 is weighted by the portion of that first year during which the law
          was in eﬀect.
             For the Arizona regressions, the Brady-law variable is weighted for 1994
          by the percentage of the year for which it was in eﬀect (83 percent).
             The Bureau of the Census provided data on the area in square miles of
          each county. Both the total number of unintentional-injury deaths and the
          number of those involving firearms were obtained from annual issues of
          Accident Facts and The Vital Statistics of the United States. The classification of types
          of weapons is from International Statistical Classification of Diseases and Related Health
          Problems, vol. 1, 10th ed. The handgun category includes guns for single-hand
          use, pistols, and revolvers. The total includes all other types of firearms.
             The means and standard deviations of the variables are reported in ap-
          pendix 4.




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          APPENDIX FOUR                      National Sample Means and
                                             Standard Deviations

          Table A4.1 National Sample Means and Standard Deviations
          Variable                                      Observations   Mean               Standard deviation
          Gun ownership information:
           Nondiscretionary law dummy                   50,056                 0.16               0.368
          Arrests rates (ratio of arrests to oﬀenses)
           Index crimesa                                45,108                27.43             126.73
           Violent crimes                               43,479                71.31             327.25
           Property crimes                              45,978                24.03             120.87
           Murder                                       26,472                98.05             109.78
           Rape                                         33,887                57.83             132.80
           Aggravated assault                           43,472                71.37             187.35
           Robbery                                      34,966                61.62             189.50
           Burglary                                     45,801                21.51              47.299
           Larceny                                      45,776                25.57             263.71
           Auto theft                                   43,616                44.82             307.54
          Crime rates (per 100,000 people)
           Index crimes                                 46,999            2,984.99            3,368.85
           Violent crimes                               47,001              249.08              388.72
           Property crimes                              46,999            2,736.59            3,178.41
           Murder                                       47,001                5.65               10.63
             Murder rate with guns (from 1982 to        12,759                3.92                6.48
               1991 in counties with more than
               100,000 people)
           Rape                                         47,001               18.78               32.39
           Robbery                                      47,001               44.69              149.21
           Aggravated assault                           47,001              180.05              243.26
           Burglary                                     47,001              811.8642          1,190.23
           Larceny                                      47,000            1,764.37            2,036.03
           Auto theft                                   47,000              160.42              284.60
          Causes of accidental deaths and murders
           (per 100,000 people)
           Rate of accidental deaths from guns          23,278                 0.151              1.216175
           Rate of accidental deaths from causes        23,278                 1.165152           4.342401
             other than guns
           Rate of total accidental deaths              23,278                51.95              32.13482
           Rate of murders (handguns)                   23,278                 0.44               1.930975
           Rate of murders (other guns)                 23,278                 3.478              6.115275




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          Table A4.1 (continued)
          Variable                                                Observations    Mean               Standard deviation
          Income data (all values in real 1983
            dollars)
            Real per-capita personal income                       50,011            10,554.21             2,498.07
            Real per-capita unemployment                          50,011                67.58                53.10
              insurance
            Real per-capita income maintenance                    50,011               157.23                97.61
            Real per-capita retirement (over                      49,998            12,328.5              4,397.49
              age 65)
          Population characteristics
            County population                                     50,023             75,772.78         250,350.4
            County population per square mile                     50,023                214.33            1421.25
            State population                                      50,056          6,199,949          5,342,068
            State NRA membership (per 100,000                     50,056               1098.11             516.0701
              people)
            Percent voting Republican in presiden-                50,056                 52.89                8.41
              tial election
          a
           Index crimes represent the total of all violent and property crimes.




          Table A4.2 Average percent of the total population in U.S. counties in each age, sex, and race cohort
          from 1977 to 1992 (50,023 observations)
                                    10–19            20–29            30–39         40–49        50–64          Over 65
                                    years            years            years         years        years          years
                                    of age           of age           of age        of age       of age         of age
          Black male                0.9%             0.8%             0.5%          0.4%         0.4%           0.4%
          Black female              0.9%             0.8%             0.6%          0.4%         0.5%           0.6%
          White male                7.3%             6.8%             6.4%          4.9%         6.5%           5.4%
          White female              6.8%             6.6%             6.3%          5.0%         6.9%           7.5%
          Other male                0.2%             0.2%             0.2%          0.1%         0.1%           0.1%
          Other female              0.2%             0.2%             0.2%          0.1%         0.1%           0.1%




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          APPENDIX FI V E   Continuation of the Results from Table 4.2:
                            The Effect of Demographic Characteristics
                            on Crime




                                Exhibit 10
                                  0781
             Table A5.1 The effect of demographic characteristics on crime
             The following assume a 1 percent
             change in the portion of the           Violent-        Murder               Aggravated     Robbery   Property-    Burlgary   Larceny   Auto-theft
             population in each category            crime rate      rate     Rape rate   assault rate   rate      crime rate   rate       rate      rate
             Percent of population that
               is black, male, and in the
               following age ranges:
               10–19                                  6%             11%       4%          9%***        11%***     13%*          7%**      17%*       5%
                                                     (5%)            (8%)     (3%)        (7%)          (6%)      (22%)         (7%)      (25%)      (6%)
               20–29                                  0%              7%       8%**       –5%*          –1%        –1%          –2%        –1%        1%
                                                     (0%)            (4%)     (4%)        (3%)          (0%)       (2%)         (2%)       (1%)      (1%)
               30–39                                  4%             11%**    –8%*        20%*           1%         4%          –1%         0%       15%*
                                                     (2%)            (4%)     (3%)        (9%)          (0%)       (4%)         (0%)       (0%)     (11%)
               40–49                                 –2%            –34%*     90%*       –37%*          –1%        –2%          –3%        19%*     –68%*
                                                     (1%)            (9%)    (22%)       (11%)          (0%)       (1%)         (1%)      (10%)     (32%)




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               50–64                                 18%**          –35%*    –15%         29%*          –1%        –5%           9%       –13%***     6%
                                                     (7%)           (11%)     (4%)       (10%)          (0%)       (4%)         (4%)       (9%)      (3%)




Exhibit 10
               65 and over                           12%            –14%      44%*        11%           17%        –4%           6%       –10%      –34%*
                                                     (5%)            (4%)    (12%)        (4%)          (4%)       (3%)         (3%)       (6%)     (18%)
             Percent of population that
               is black, female, and in the
               following age ranges:
               10–19                                  0%              4%       4%         –7%           –18%*       8%*          2%        16%*     –18%*
                                                     (0%)            (3%)     (2%)        (6%)          (11%)     (14%)         (2%)      (23%)     (22%)
               20–29                                –10%*           –22%*     18%*       –19%*          –22%*     –10%*        –17%*       –1%      –25%*
                                                     (7%)           (13%)     (9%)       (13%)          (11%)     (14%)        (13%)       (1%)     (26%)
               30–39                                 12%*            –8%      15%*         9%*           38%*      13%*         27%*        9%*      17%*
                                                     (7%)            (4%)     (6%)        (5%)          (14%)     (14%)        (16%)       (9%)     (14%)
                                                                                                                                                                 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1794 Page
             Table A5.1 (continued)
             The following assume a 1 percent
             change in the portion of the       Violent-     Murder                Aggravated     Robbery   Property-    Burlgary   Larceny   Auto-theft
             population in each category        crime rate   rate      Rape rate   assault rate   rate      crime rate   rate       rate      rate
               40–49                              1%          59%*     –74%*        27%*           –7%        6%          –5%        –3%       48%*
                                                 (0%)        (19%)     (21%)       (10%)           (2%)      (4%)         (2%)       (2%)     (27%)
               50–64                            –21%*         20%***    10%         –5%             7%       –2%         –22%*        1%       12%
                                                (11%)         (9%)      (4%)        (3%)           (2%)      (2%)        (12%)       (1%)      (9%)
               65 and older                     –20%*         31%*     –52%*       –16%**         –37%*     –20%*        –39%*      –12%**     24%*
                                                (11%)        (14%)     (21%)        (8%)          (14%)     (22%)        (23%)      (12%)     (19%)
             Percent of population that
               is white, male, and in the
               following age ranges:
               10–19                             –1%         –3%         1%          4%**           0%       –1%           1%         0%       –6%*




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                                                 (1%)        (2%)       (0%)        (4%)           (0%)      (1%)         (1%)       (0%)      (8%)




Exhibit 10
               20–29                              1%          6%*        4%*         2%             4%*       0%           2%**       0%       –2%
                                                 (1%)        (5%)       (3%)        (2%)           (3%)      (1%)         (2%)       (1%)      (3%)
               30–39                             –1%         –1%        –4%          7%*           –7%*      –5%*         –3%***     –6%*      –6%*
                                                 (0%)        (1%)       (2%)        (6%)           (4%)      (8%)         (2%)       (8%)      (7%)
               40–49                             –1%         –2%         9%*        –4%           –11%*     –15%*        –10%*      –13%*     –10%*
                                                 (1%)        (1%)       (4%)        (2%)           (5%)     (17%)         (7%)      (13%)      (8%)
               50–64                             –1%         –5%         4%         –9%*          –14%*     –13%*          7%*      –11%*     –27%*
                                                 (0%)        (3%)       (2%)        (7%)           (8%)     (20%)         (6%)      (14%)     (31%)
               65 and over                      –13%*         2%         4%        –17%*            4%      –14%*        –12%*      –14%*     –11%*
                                                (15%)        (2%)       (4%)       (18%)           (3%)     (33%)        (15%)      (28%)     (19%)
                                                                                                                                                           3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1795 Page
             Percent of population that is
               white, female, and in the
               following age ranges:
               10–19                          2%       5%       7%*     –1%       6%**      8%*      8%*       9%*       9%*
                                             (2%)     (3%)     (5%)      (1%)    (4%)     (15%)     (8%)     (14%)     (12%)
              20–29                           1%      –4%***    6%*       4%**    1%       –1%      –4%*       3%**     –3%***
                                             (1%)     (3%)     (4%)      (4%)    (1%)      (2%)     (5%)      (5%)      (4%)
              30–39                           2%       4%      14%*       3%     –1%        4%*      2%        7%*     –10%*
                                             (2%)     (3%)     (8%)      (2%)    (0%)      (6%)     (1%)      (9%)     (12%)
              40–49                          –9%*      0%      –7%**      0%     –2%        6%*     –4%*       7%*      –2%
                                             (5%)     (0%)     (3%)      (0%)    (1%)      (7%)     (2%)      (7%)      (1%)
              50–64                           0%       1%       2%        8%*     3%       10%*      6%*      11%*      11%*
                                             (0%)     (1%)     (1%)      (6%)    (2%)     (17%)     (6%)     (16%)     (13%)
              65 and over                     6%*     –7%*      6%*       8%*    –9%*       2%**     5%*       4%*      –5%*
                                             (9%)     (8%)     (7%)     (12%)    (9%)      (6%)     (8%)      (9%)     (10%)
             Percent of population that




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               is other males in the
               following age ranges:




Exhibit 10
               10–19                          25%**    66%*     56%*     19%      54%*     16%***    27%*     15%       60%*
                                             (11%)    (23%)    (18%)     (7%)    (16%)    (13%)     (13%)    (11%)     (38%)
              20–29                          –12%**    14%     –17%**    –6%       1%       8%*       0%      20%*     –41%
                                              (4%)     (4%)     (4%)     (2%)     (0%)     (5%)      (0%)    (11%)     (18%)
              30–39                           23%**   –30%     –19%      40%*    –10%     –18%**    –43%*     –4%       65%*
                                              (6%)     (6%)     (4%)     (9%)     (2%)     (9%)     (12%)     (2%)     (24%)
              40–49                           13%     –36%     –24%     –19%      78%*      3%       24%**   –23%***    46%*
                                              (2%)     (5%)     (3%)     (3%)     (9%)     (1%)      (4%)     (7%)     (11%)
              50–64                           –9%     –16%      24%     –28%     –40%**    –2%       27%**   –20%      –42%**
                                              (2%)     (3%)     (4%)     (5%)     (6%)     (1%)      (6%)     (7%)     (13%)
              65 and over                     35%**   –26%      87%*    102%*    –27%      –8%       19%     –23%***   –18%
                                              (6%)     (3%)    (10%)    (15%)     (3%)     (2%)      (3%)     (6%)      (4%)
                                                                                                                                 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1796 Page
             Table A5.1 (continued)
             The following assume a 1 percent
             change in the portion of the                     Violent-            Murder                          Aggravated     Robbery   Property-    Burlgary   Larceny   Auto-theft
             population in each category                      crime rate          rate                Rape rate   assault rate   rate      crime rate   rate       rate      rate
             Percent of population that
               is other females in the
               following age ranges:
               10–19                                           –3%                –73%*               –11%         12%           –35%**    –18%**       –29%*      –23%**    –27%**
                                                               (1%)               (25%)                (3%)        (5%)          (10%)     (14%)        (13%)      (16%)     (17%)
               20–29                                          –13%                –33%**               21%*         9%           –30%      –15%**       –32%**     –33%**    –56%*
                                                               (4%)                (8%)                (5%)        (3%)           (6%)      (9%)        (11%)      (18%)     (26%)
               30–39                                          –22%*               –11%                 16%        –17%           –22%       –9%          27%*      –28%*     –75%*




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                                                               (6%)                (2%)                (3%)        (4%)           (4%)      (4%)         (8%)      (12%)     (28%)




Exhibit 10
               40–49                                          –14%                 57%**                8%         18%           –48%**     25%**        28%*       70%*     –15%
                                                               (2%)                (8%)                (1%)        (3%)           (6%)      (8%)         (5%)      (20%)      (4%)
               50–64                                          –10%                 44%                –66%*       –27%            37%       –5%         –49%*       16%       31%***
                                                               (2%)                (7%)               (10%)        (5%)           (5%)      (2%)        (11%)       (6%)      (9%)
               65 and over                                     44%*                 6%                –37%**      –44%*          –36%**    –11%         –14%        –5%      –59%*
                                                               (7%)                (1%)                (4%)        (6%)           (4%)      (3%)         (2%)       (1%)     (13%)
             *The result is statistically significant at the 1 percent level for a two-tailed t-test.
             **The result is statistically significant at the 5 percent level for a two-tailed t-test.
             ***The result is statistically significant at the 10 percent level for a two-tailed t-test.
                                                                                                                                                                                          3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1797 Page
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          APPENDIX SI X    Data and Additional Results for Chapter 10




                               Exhibit 10
                                 0786
             Table A6.1 Means and standard deviations for variables for state-level data set from 1977 to 2005
             Variable                                     Observations              Mean                         Standard deviation   Minimum        Maximum
             Natural log of murder rate                   1,477                             1.663805                     0.7535024      –2.302585        4.394449
             Natural log of rape rate                     1,470                             3.436527                     0.4527471       0               4.897914
             Natural log of robbery rate                  1,477                             4.606105                     0.9641285       1.166271        7.398854
             Natural log of aggravated                    1,477                             5.465097                     0.6679146       1.997418        7.350902
               assault rate
             Arrest rate for murder                       1,443                            82.51287                     49.81053         0            1363.16
             Arrest rate for rape                         1,422                            28.34408                     15.90256         0             368.171
             Arrest rate for robbery                      1,439                            34.38413                     17.31153         0             310.63
             Arrest rate for aggravated                   1,446                            42.64555                     18.83171         0             343.5685
               assault
             Execution rate                               1,476                             0.0018315                    0.0069163       0               0.0997791
             Prisoners as a percentage of                 1,478                             0.0031395                    0.0029579       0.0000262       0.0561262
               the population




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             Greater than or equal to 10                  1,479                             0.1670047                    0.3731063       0               1
               years before law




Exhibit 10
             8–9 years before law                         1,479                             0.0385396                    0.1925599       0               1
             6–7 years before law                         1,479                             0.0392157                    0.1941734       0               1
             4–5 years before law                         1,479                             0.0392157                    0.1941734       0               1
             2–3 years before law                         1,479                             0.0392157                    0.1941734       0               1
             0–1 years before law                         1,479                             0.0392157                    0.1941734       0               1
             1–2 years after law                          1,479                             0.0378634                    0.1909304       0               1
             3–4 years after law                          1,479                             0.0324544                    0.1772634       0               1
             5–6 years after law                          1,479                             0.0311021                    0.1736524       0               1
             7–8 years after law                          1,479                             0.0311021                    0.1736524       0               1
             9–10 years after law                         1,479                             0.0290737                    0.16807         0               1
             11–12 years after law                        1,479                             0.0162272                    0.1263909       0               1
                                                                                                                                                                     3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1799 Page
             13–14 years after law            1,479          0.0135227          0.1155371      0              1
             15 or more years after the law   1,479          0.0148749          0.1210932      0              1
             Training hours required          1,479          1.252874           2.821413       0             16
             Training hours required          1,479          9.524679          29.10097        0            256
               squared
             Training hours required >8       1,479          0.1156187          0.3198752      0               1
             Permit duration in years         1,479          1.323867           1.955158       0               8
             Age required for permit          1,479          6.853955           9.533732       0              23
             Permit fees                      1,479         22.67433           42.28191        0             219.0849
             Permit fees squared              1,479       2300.677           6100.163          0          47,998.21
             One-gun-a-month rule             1,479          0.0365112          0.186718       0               1
             Neighboring state has one-       1,479          0.0993915          0.2975878      0               1
               gun-a-month rule
             Assault weapons ban              1,479          0.354977           0.4666294      0              1




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             Castle Doctrine                  1,479          0.2151761          0.4105261      0              1




Exhibit 10
             Saturday night special           1,479          0.0892495          0.2852         0              1
             Regulations on private           1,479          0.2734909          0.4446851      0              1
               transfers
             State population                 1,479   4,988,618          5,505,221              0              3.62E+07
             Unemployment rate                1,479           5.945571           2.022835       2.2           18
             Poverty rate                     1,479          13.2191             5.488303       2.9          129
             Real per capita income           1,479      14,367.35           2,863.493      8,587.184     27,041.21
             Real per capita unemploy-        1,479          68.08383           41.86245       10.48574      403.6979
               ment insurance payments
             Real per capita income main-     1,479        185.6606            70.61742       45.84409      552.4575
               tenance payments
                                                                                                                          3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1800 Page
             Table A6.1 (continued)
             Variable                       Observations   Mean               Standard deviation   Minimum      Maximum
             Percentage of the population
               by sex, race, and age:
               Black male 10–19 years       1,479                 0.8328599           0.8871636       0.01642       5.45238
                 of age
               White male 10–19 years       1,479                 6.257005            1.431695        1.21827       9.55684
                 of age
               Neither male 10–19 years     1,479                 0.4455137           0.7688774       0.02724       5.72339
                 of age
               Black female 10–19 years     1,479                 0.8740414           0.9543196       0.02013       6.31461
                 of age
               White female 10–19 years     1,479                 6.370946            1.497998        1.38595       9.92206
                 of age
               Neither female 10–19 years   1,479                 0.4427511           0.7457205       0.02888       5.39289




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                 of age




Exhibit 10
               Black male 20–29 years       1,479                 0.8814284           1.017257        0.01565       7.25909
                 of age
               White male 20–29 years       1,479                 6.428597            1.493398        1.85564      10.59611
                 of age
               Neither male 20–29 years     1,479                 0.4574014           0.8148456       0.02696       6.57483
                 of age
               Black female 20–29 years     1,479                 0.9458942           1.147497        0.01144       8.40541
                 of age
               White female 20–29 years     1,479                 6.561392            1.588738        1.8211       10.00352
                 of age
               Neither female 20–29 years   1,479                 0.4594413           0.791113        0.02851       6.24559
                 of age
                                                                                                                              3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1801 Page
             Black male 30–39 years       1,479   0.801526    0.8907323   0.00809   5.69006
               of age
             White male 30–39 years       1,479   6.255831    1.217634    1.67978   9.51396
               of age
             Neither male 30–39 years     1,479   0.4593404   0.8215571   0.01779   5.90577
               of age
             Black female 30–39 years     1,479   0.8726103   1.010259    0.00463   6.53929
               of age
             White female 30–39 years     1,479   6.415199    1.258567    1.67469   9.44145
               of age
             Neither female 30–39 years   1,479   0.4669661   0.8115325   0.01889   5.72763
               of age
             Black male 40–49 years       1,479   0.6467276   0.7169999   0.00586   4.44528
               of age
             White male 40–49 years       1,479   5.288351    1.298221    1.28408   8.65968




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               of age




Exhibit 10
             Neither male 40–49 years     1,479   0.3694927   0.6834877   0.01525   5.41537
               of age
             Black female 40–49 years     1,479   0.7102121   0.8227117   0.00204   5.44682
               of age
             White female 40–49 years     1,479   5.439538    1.286688    1.49004   8.52743
               of age
             Neither female 40–49 years   1,479   0.3814887   0.6850796   0.01623   5.3861
               of age
             Black male 50–64 year of     1,479   0.6855771   0.7729429   0.00236   4.95675
               age
             White male 50–64 year        1,479   5.867447    1.255093    1.6931    9.81465
               of age
                                                                                              3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1802 Page
             Table A6.1 (continued)
             Variable                       Observations   Mean               Standard deviation   Minimum       Maximum
             Percentage of the population
               by sex, race, and age:
               Neither male 50–64 year      1,479                 0.3626394           0.6881734       0.02167        5.28878
                 of age
               Black female 50–64 year      1,479                 0.763614            0.8955906       0.00168        5.75757
                 of age
               White female 50–64 year      1,479                 6.101135            1.308835        1.8069        10.00725
                 of age
               Neither female 50–64 year    1,479                 0.3780827           0.6964578       0.02227        5.79369
                 of age
               Black male over 64 years     1,479                 0.5470208           0.6538146       0.000713       4.11721




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                 of age
               White male over 64 years     1,479                 4.851585            1.274724        0.9776         7.63618




Exhibit 10
                 of age
               Neither male over 64 years   1,479                 0.2767989           0.5631171       0.01591        4.54086
                 of age
               Black female over 64 years   1,479                 0.643306            0.7923862       0.000996       6.03449
                 of age
               White female over 64 years   1,479                 5.451655            1.553272        0.8869         9.49874
                 of age
               Neither female over 64       1,479                 0.2982582           0.6113198       0.01638        5.73696
                 years of age
                                                                                                                               3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1803 Page
             Table A6.2 The probability that any year’s crime rate is different from the crime rate during years 0–1 before the law was enacted, as shown in ﬁgures 10.1a–10.1i
                                                                                                                                  Probability that year’s                  Probability that year’s
                                                  Probability that year’s                 Probability that year’s                 robbery rate is different                aggravated assault rate is
                                                  murder rate is different from           rape rate is different from             from years 0–1 before       Aggravated   different from years 0–1
                                       Murder     years 0–1 before the law        Rape    years 0–1 before the law      Robbery   the law                     assault      before the law
             Greater than or           0.797                                      1.417                                 0.888                                 0.711
               equal to 10 years
               before law
             8–9 years before law      0.770                                      1.473                                 0.931                                 0.695
             6–7 years before law      0.770                                      1.460                                 0.948                                 0.702
             4–5 years before law      0.799                                      1.486                                 0.920                                 0.679
             2–3 years before law      0.792                                      1.463                                 0.921                                 0.672




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             0–1 years before law      0.795                                      1.476                                 0.945                                 0.646
                                                                                                                                                                                                                                        1057




             1–2 years after law       0.735      56.9%                           1.404   43.8%                         0.946     96.0%                       0.528        21.6%




Exhibit 10
             3–4 years after law       0.716      45.4%                           1.306    6.9%                         0.931     94.8%                       0.510        15.9%
             5–6 years after law       0.637      13.5%                           1.300    5.8%                         0.903     77.4%                       0.459         5.0%
             7–8 years after law       0.623      10.0%                           1.320    9.4%                         0.947     95.6%                       0.547        29.9%
             9–10 years after law      0.614       9.6%                           1.356   21.3%                         0.927     92.3%                       0.542        29.2%
             11–12 years after law     0.597       7.3%                           1.287    5.7%                         0.896     74.4%                       0.558        38.1%
             13–14 years after law     0.537       2.2%                           1.341   19.0%                         0.842     47.9%                       0.525        23.6%
             15 or more years          0.482       0.6%                           1.358   25.5%                         0.835     44.8%                       0.521        22.4%
               after the law
                                                                                                                                                                                                        3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1804 Page
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          Table A6.3 Regression for murder that corresponds to the estimates shown in ﬁgure 10.1b
                                                                                      Absolute
          Variable                                                    Coefﬁcient      t-statistic   Probability
          Arrest rate for murder                                      –0.00047        2.86          0.004
          Execution rate                                              –3.020          2.71          0.007
          Prisoners as a percentage of the population                 –7.312          1.92          0.055
          Greater than or equal to 10 years before law                 0.797          4.16          0
          8–9 years before law                                         0.770          4             0
          6–7 years before law                                         0.770          3.98          0
          4–5 years before law                                         0.799          4.1           0
          2–3 years before law                                         0.792          4.04          0
          0–1 years before law                                         0.795          4.07          0
          1–2 years after law                                          0.735          4.13          0
          3–4 years after law                                          0.716          4.02          0
          5–6 years after law                                          0.637          3.55          0
          7–8 years after law                                          0.623          3.47          0.001
          9–10 years after law                                         0.614          3.35          0.001
          11–12 years after law                                        0.597          3.15          0.002
          13–14 years after law                                        0.537          2.81          0.005
          15 or more years after the law                               0.482          2.53          0.011
          Training hours required                                     –0.022          1.74          0.082
          Training hours required squared                              0.001          1.02          0.309
          Training hours required >8                                  –0.014          0.47          0.636
          Permit duration in years                                    –0.015          1.07          0.284
          Age required for permit                                      0.018          3.22          0.001
          Permit fees                                                  0.002          1.83          0.067
          Permit fees squared                                          0.000001       0.2           0.839
          One-gun-a-month rule                                         0.001          0.03          0.976
          Neighboring state has one-gun-a-month rule                   0.167          5.13          0
          Assault weapons ban                                          0.004          0.11          0.91
          Castle Doctrine                                             –0.088          2.73          0.006
          Saturday night special                                       0.303          3.67          0
          Regulations on private transfers                             0.020          0.88          0.378
          State population                                             0.000          1.2           0.23
          Unemployment rate                                           –0.032          5.23          0
          Poverty rate                                                –0.002          1.36          0.174
          Real per capita income                                       0.000          0.59          0.555
          Real per capita unemployment insurance payments              0.001          2.42          0.016
          Real per capita income maintenance payments                  0.000          1.95          0.051




                                                  Exhibit 10
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          Table A6.3 (continued)
                                                                             Absolute
          Variable                                              Coefﬁcient   t-statistic   Probability
          Percentage of the population by sex, race, and age:
            Black male 10–19 years of age                        0.685       1.29          0.199
            White male 10–19 years of age                       –0.405       2.78          0.006
            Neither male 10–19 years of age                      2.362       3.1           0.002
            Black female 10–19 years of age                     –0.836       1.64          0.1
            White female 10–19 years of age                      0.383       2.69          0.007
            Neither female 10–19 years of age                   –1.880       2.52          0.012
            Black male 20–29 years of age                        0.462       1.07          0.284
            White male 20–29 years of age                        0.446       3.66          0
            Neither male 20–29 years of age                      0.879       1.06          0.291
            Black female 20–29 years of age                     –0.345       0.83          0.405
            White female 20–29 years of age                     –0.491       4.05          0
            Neither female 20–29 years of age                   –0.821       0.98          0.328
            Black male 30–39 years of age                       –1.199       2.28          0.023
            White male 30–39 years of age                       –0.511       3.01          0.003
            Neither male 30–39 years of age                      2.767       3.09          0.002
            Black female 30–39 years of age                      0.935       1.91          0.057
            White female 30–39 years of age                      0.597       3.54          0
            Neither female 30–39 years of age                   –3.145       3.48          0.001
            Black male 40–49 years of age                        0.847       1.45          0.148
            White male 40–49 years of age                        0.402       2.44          0.015
            Neither male 40–49 years of age                     –3.866       4.24          0
            Black female 40–49 years of age                     –0.561       1.11          0.269
            White female 40–49 years of age                     –0.412       2.49          0.013
            Neither female 40–49 years of age                    3.962       4.32          0
            Black male 50–64 year of age                         2.055       4.91          0
            White male 50–64 year of age                        –0.020       0.16          0.87
            Neither male 50–64 year of age                      –0.697       0.94          0.348
            Black female 50–64 year of age                      –1.617       4.64          0
            White female 50–64 year of age                       0.080       0.67          0.503
            Neither female 50–64 year of age                    –0.196       0.26          0.792
            Black male over 64 years of age                     –0.589       2.14          0.033
            White male over 64 years of age                     –0.172       3.25          0.001
            Neither male over 64 years of age                    1.118       2.86          0.004
            Black female over 64 years of age                    0.756       3.54          0
            White female over 64 years of age                   –0.008       0.17          0.864
            Neither female over 64 years of age                 –0.406       1.2           0.231




                                                 Exhibit 10
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          APPENDIX SEV EN   Using Gun Magazine Sales as a Proxy
                            for Gun Ownership

                            Table A7.1 examines whether changes in gun
                            magazine sales are related to changes in gun
                            ownership rates. Changes in the sales of the six
                            gun magazines are related to the gun ownership
                            rate in a state.1 Information on gun ownership
                            rates is from the National Opinion Research Cor-
                            poration’s General Social Survey. Survey data
                            was readily available from 1977 to 1998, though
                            they are not available for every year and the
                            sample size is relatively small.2 While I have used
                            the larger CBS News General Election Exit Poll
                            or the Voter News Survey in the past,3 I will use
                            the General Social Survey here because Duggan
                            refers to it.4 Two diﬀerent measures of gun own-
                            ership were derived from General Social Survey:
                            a simple rate at which people own guns and the
                            rate at which households owned guns.5
                                The regressions in table A7.1 attempt to ac-
                            count for the average diﬀerences in gun own-
                            ership across states and any national changes
                            in gun ownership rates across years. What the
                            table shows is that the gun magazines that most
                            closely proxy the survey data are the two NRA
                            publications, American Hunter and American Rifle-
                            man, and Handguns magazine. For these three mag-
                            azines, increasing magazine sales by 1 percent is
                            associated with an increased gun ownership rate
                            of anywhere from 0.34 to 0.52 percent.
                                Guns and Ammo is positively related to the sur-
                            vey data, but the relationship is not statistically



                                Exhibit 10
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          significant and is only about a third to a half as large as for the three most
          closely related magazines. Duggan provides a similar analysis using only
          Guns and Ammo and claims to provide a significant positive relationship be-
          tween survey data and magazine sales, but while he uses the data at the
          state level, he weights the polling data by regional and not state-level demo-
          graphic characteristics. Of the six magazines, Guns and Ammo ranked fourth
          in its ability to explain changes in the survey data, and its eﬀect was never
          statistically diﬀerent from zero.
              So do increases in either gun magazine sales or survey data precede
          changes in murder? To answer this I added the sales of the diﬀerent gun
          magazines into the crime regressions reported earlier in this book. This
          allows us to account for the impact that other factors have on murder
          rates. These include the arrest rate for murder, the death penalty execution
          rate, the population density, the unemployment rate, the poverty rate,
          per capita income, per capita welfare payments, and detailed demographic
          information on the share of the population by age, sex, and race.6
              The results are reported in table A7.1. If more sales of a gun magazine
          lead in a year or two to higher murder rates, it appears to occur only for
          the fourth largest magazine, Guns and Ammo, where a 1 percent increase in
          magazine sales increases murder rates by 0.24 percent the following year
          and by 0.17 percent two years later. What is puzzling with these results is
          that handguns are used to commit most murders (indeed, that is the rea-
          son that Duggan claims to focus on Guns and Ammo). Yet, the relationship
          between the two purely handgun magazines and murder rates is essentially
          zero, with coeﬃcients that are less than 18 percent of the size of the Guns
          and Ammo coeﬃcients in three of the four cases. Almost the same results are
          obtained when homicide or firearm homicide data are used. Guns and Ammo
          magazine is the only magazine that ever implies a statistically significant
          relationship for both previous years of sales.




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          Table A7.1 Effect of gun magazine sales on murder rate
                                                              Percent change
                                                              in the rate that
                                                              guns are owned in           Percent change in      Percent change in
                                                              households from             murder rate from       murder rate from
                                       Average annual         increasing magazine         increasing magazine    increasing magazine
                                       national sales         sales one year              sales one year         sales two years
          Name                         from 1990 to 1999      earlier by 1 percent        earlier by 1 percent   earlier by 1 percent
          Guns and Ammo           147,110                     0.28%                        0.25%*                 0.17%**
          American Handgunner 1,027,854                       0.19%                        0.04%                  0.03%
          Handguns              1,328,805                     0.50%***                     0.10%                  0.002%
          American Hunter         569,108                     0.58%*                       0.19%                 –0.31%***
          American Rifleman       148,308                     0.79%*                       0.32%                 –0.12%
          North American Hunter   766,326                     0.10%                       –0.11%                 –0.08%
          * The result is significant at the 1 percent level for a two-tailed t-test
          ** The result is significant at the 5 percent level for a two-tailed t-test
          *** The result is significant at the 10 percent level for a two-tailed t-test




                                                             Exhibit 10
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          NOTES


                           CHAPTER ONE
                               1. ABC News / Washington Post Poll, April 21–24, 2009;
                           Graduate Institute of International Studies, Small Arms Sur-
                           vey (London: Cambridge University Press, 2007); and U.S.
                           Department of Commerce, Bureau of the Census, Statistical
                           Abstract of the United States (Washington, DC: U.S. Govern-
                           ment Printing Oﬃce, 2009). And discussions of older data
                           are available in Gary Kleck, Targeting Guns (Hawthorne, NY:
                           Aldine de Gruyter Publishers, 1997); and David B. Kopel,
                           Guns: Who Should Have Them? (Amherst, NY: Prometheus
                           Books, 1995), pp. 260–61, 300–301. The estimates on the
                           number of guns are very sensitive to the rate at which guns
                           are assumed to wear out. Higher depreciation rates produce
                           a lower estimated current stock. About a third of all guns
                           are handguns.
                               A recent poll by the Dallas Morning News indicated that
                           “52 percent of the respondents said they or a member of
                           their household own a gun. That response is consistent
                           with Texas Polls dating to 1985 that found more than half
                           of Texans surveyed own guns.
                               “In the latest poll, of those who said they owned a gun,
                           43 percent said they had two to five guns; 28 percent said
                           they had one; and 19 percent said they had more than five
                           guns. And of the gun owners polled, 65 percent said they
                           had some type of shooting instruction.” See Sylvia Moreno,
                           “Concealed-Gun Law Alters Habits of Some Texans, Poll
                           Finds Supporters, Foes Disagree About What That Means,”
                           Dallas Morning News, Nov. 3, 1996, p. 45A. The number of people
                           owning guns is examined in more detail in chapter 3.
                               2. For example, in Chicago 59 percent of police oﬃcers
                           report never having had to fire their guns. See Andrew
                           Martin, “73% of Chicago Cops Have Been Attacked While
                           Doing Their Job,” Chicago Tribune, June 17, 1997, p. A3.
                               3. Dawn Lewis of Texans Against Gun Violence pro-
                           vided a typical reaction from gun-control advocates to
                           the grand jury decision not to charge Gordon Hale. She
                           said, “We are appalled. This law is doing what we expected,
                           causing senseless death.” Mark Potok, a Texan, said that the
                           concealed-gun law saved his life. “I did what I thought I had
                           to do,” (USA Today, Mar. 22, 1996, p. 3A). For a more recent




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          evaluation of the Texas experience, see “Few Problems Reported After Allowing Concealed
          Handguns, Oﬃcers Say,” Fort Worth Star-Telegram, July 16, 1996. By the end of December 1996,
          more than 120,000 permits had been issued in Texas.
              4. Japan Economic Newswire, “U.S. Jury Clears Man Who Shot Japanese Student,” Kyodo
          News Service, May 24, 1993; and Lori Sharn, “Violence Shoots Holes in USA’s Tourist Image,”
          USA Today, Sept. 9, 1993, p. 2A.
              5. Gary Kleck, Point Blank: Guns and Violence in America (Hawthorne, NY: Aldine de Gruyter
          Publishers, 1991).
              6. John R. Lott, Jr., “Now That the Brady Law Is Law, You Are Not Any Safer Than Before,”
          Philadelphia Inquirer, Feb. 1, 1994, p. A9. For a more detailed breakdown of police shootings in
          the larger U.S. cities, see William A. Geller and Michael S. Scott, Deadly Force: What We Know
          (Washington, DC: Police Executive Research Forum, 1992).
              7. “Mexican Woman Who Killed Would-Be Rapist to Turn to Activism,” Associated Press
          Newswire, Feb. 12, 1997, dateline Mexico City.
              8. For many examples of how guns have prevented rapes from occurring, see Paxton
          Quigley, Armed and Female (New York: St. Martin’s, 1989).
              9. Newspaper stories abound. Examples of pizza deliverymen defending themselves can
          be found in the Chicago Tribune, May 22, 1997, p. 1; Baltimore Sun, Aug. 9, 1996, p. B1; Tampa Tri-
          bune, Dec. 27, 1996, p. A1; and Los Angeles Times, Jan. 28, 1997, p. B1. Another recent example
          involved a pizza deliveryman in New Paltz, NY (Middletown (New York) Times Herald Record,
          Jan. 25, 1997). Examples of thwarted carjackings (Little Rock Democrat-Gazette, Aug. 3, 1996)
          and robberies at automatic teller machines (York (Pennsylvania) Daily Record, April 25, 1996)
          are also common.
              For a case in which a gun was merely brandished to stop an armed street robbery, see
          the Annapolis Capitol, Aug. 7, 1996. Other examples of street robberies that were foiled by
          law-abiding citizens using concealed handguns include the case of Francisco Castellano,
          who was shot in the chest during an attempted street robbery by two perpetrators but was
          able to draw his own handgun and fire back. Castellano’s actions caused the robbers to flee
          the scene (Corey Dada and Ivonne Perez, “Armed Robbery Botched as Restaurateur Shoots
          Back,” Miami Herald, Aug. 3, 1996, p. B6.) The following story gives another example: “Curtis
          Smalls was standing outside the USF&G building when he was attacked by two thugs. They
          knocked him down, robbed, and stabbed him. Mr. Smalls pulled a .38-caliber revolver and
          shot both attackers, who were later charged with this attack and two other robberies and
          are suspects in at least 15 more robberies.” This story was described in “Gun Laws Render
          Us Self-Defenseless,” Baltimore Sun, Sept. 27, 1996. See also Charles Strouse, “Attacker Killed
          by His Victim,” Fort Lauderdale (Florida) Sun-Sentinel, Sept. 16, 1997, p. 4B; Henry Pierson Curtis,
          “Bicyclist Kills Man Who Tried to Rob Him,” Orlando Sentinel, Sept. 19, 1997, p. D3; and Florence
          (Alabama) Times Daily, Dec. 27, 1996, for other examples. Examples of foiled carjackings can
          be found in “Guns and Carjacking: This Is My Car,” Economist, Sept. 20, 1997. Many other
          types of robberies have been foiled by people carrying concealed handguns. In at least one
          case, citizens carrying concealed handguns in Jacksonville, Florida may have saved a restau-
          rant waitress from being shot (“Pistol-Packing Seniors in Florida Wound Robber,” Reuter
          Information Service, Sept. 24, 1997, 6:15 p.m. EDT). For another example, see Clea Benson,
          “Wounded Barmaid Kills Gunman in Holdup,” Philadelphia Inquirer, Jan. 23, 1997, p. R1.
              10. Stories involving defensive uses of guns in the home are featured even more promi-
          nently. For example, four intruders forced their way into the home of two elderly women,
          struggled with them, and demanded their car keys. The attack stopped only after one
          of the women brandished her handgun (“Pistol-Packing Grandmas Honored by Sheriﬀ,”
          Associated Press Newswire, Feb. 16, 1997 2:30 p.m. EST, dateline Moses Lake, WA). In another case a
          twenty-three-year-old burglar “pummeled” a 92-year-old man and “ransack[ed]” his house.
          The burglar left only after the elderly man reached his gun (“Burglar Puts 92-Year-Old in
          the Gun Closet and Is Shot,” New York Times, Sept. 7, 1995, p. A16). Although the defensive




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           use of guns in the home is interesting, my focus in this book is on the eﬀects of allowing
           citizens to carry concealed handguns.
                11. Not all news stories of defensive uses involve shots being fired. For example, the Ari-
           zona Republic reported the following: “In January 1995, a permit-holder who lives in Scottsdale
           pulled a handgun from a shoulder holster and scared oﬀ two men armed with aluminum
           baseball bats who attempted to rob him near 77th Street and East McDowell Road. No shots
           were fired.” (“In Arizona, High Numbers of Concealed-Weapon Permit Holders Are Found
           in the Suburbs,” Arizona Republic, Mar. 17, 1996.)
                12. “Mom Saves Self and Child with Handgun,” Atlanta Constitution, Nov. 12, 1996, p. E2.
                13. See Los Angeles Times, Jan. 28, 1997, p. B1. Similarly, Pete Shields, Handgun Control,
           Inc.’s founder, wrote that “the best defense against injury is to put up no defense—give
           them what they want or run. This may not be macho, but it can keep you alive.” See Pete
           Shields, Guns Don’t Die, People Do (New York: Arbor, 1981).
                14. Problems exist with the National Crime Victimization Survey both because of its
           nonrepresentative sample (for example, it weights urban and minority populations too
           heavily) and because it fails to adjust for the fact that many people do not admit to a law-
           enforcement agency that they used a gun, even defensively; such problems make it diﬃcult
           to rely too heavily on these estimates. Unfortunately, this survey is the only source of
           evidence on the way the probability of significant injury varies with the level and type of
           resistance.
                15. Lawrence Southwick, Jr., “Self-Defense with Guns: The Consequences,” Journal of
           Criminal Justice, vol. 8 (2000), tables 5 and 6; see also Kleck, Point Blank.
                16. For example, see David B. Kopel, The Samurai, the Mountie, and the Cowboy (Amherst, NY:
           Prometheus, 1992), p. 155; and John R. Lott, Jr., “Now That the Brady Law Is Law, You Are
           Not Any Safer Than Before,” Philadelphia Inquirer, Feb. 1, 1994, p. A9.
                17. James D. Wright and Peter Rossi, Armed and Considered Dangerous: A Survey of Felons and Their
           Firearms (Hawthorne, NY: Aldine de Gruyter Publishers, 1986).
                Examples of anecdotes in which people successfully defend themselves from burglar-
           ies with guns are quite common. For example, see “Burglar Puts 92-Year-Old in the Gun
           Closet and Is Shot,” New York Times, Sept. 7, 1995, p. A16. George F. Will, in “Are We ‘a Nation
           of Cowards’?” Newsweek, Nov. 15, 1993, discusses more generally the benefits produced from
           an armed citizenry.
                18. See Wright and Rossi, Armed and Considered Dangerous, p. 150.
                19. Ibid., p. 151.
                20. Baltimore Sun, Oct. 26, 1991; referred to in Don Kates and Dan Polsby, “Of Genocide and
           Disarmament,” Journal of Criminal Law and Criminology 86 (Fall 1995): 252.
                21. Rebecca Trounson, “Anxiety, Anger Surround Return of Young Survivors,” Los An-
           geles Times, Mar. 14, 1997, p. A1.
                22. It is possible that both terrorists and citizens are worse oﬀ because of the switch to
           bombings if shootings would have involved targeted attacks against fewer citizens.
                23. David Firestone, “Political Memo: Gun Issue Gives Mayor Self-Defense on Crime,”
           New York Times, Mar. 7, 1997, p. B1.
                24. Using an on-line retrieval search, it is easy to find many news articles and letters to
           the editor that repeat this common claim. For example, one letter to the Newark Star-Ledger
           (Oct. 12, 1996) stated that “over half the firearm homicides are committed not by criminals
           but by friends, family members, and lovers—people with no criminal record.”
                25. The sum of these percentages does not equal precisely 100 percent because fractions
           of a percent were rounded to the nearest whole percent.
                26. Captain James Mulvihill recently testified before the U.S. Senate that “the greater L.A.
           area suﬀers under the weight of more than 1,250 known street gangs, whose membership
           numbers approximately 150,000. These gangs are responsible for nearly 7,000 homicides over
           the last 10 years, and injury to thousands of other people.” (Prepared testimony of Captain




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          James Mulvihill, commander of the Safe Streets Bureau for Sheriﬀ Block of Los Angeles
          County before the Senate Judiciary Committee, Apr. 23, 1997.)
               27. I would like to thank Kathy O’Connell of the Illinois Criminal Justice Informa-
          tion Authority for taking the time to provide me with such a detailed breakdown of
          these data.
               28. Many such murders also end up in the “undetermined relationship” category.
               Probably the best known study of who kills whom is by Daly and Wilson. They examined
          nonaccidental homicide data for Detroit in 1972. In contrast to my emphasis here, however,
          they focused exclusively on trying to explain the composition of murders when relatives
          killed relatives. Of the total of 690 murders committed in Detroit in 1972, 243 (47.8 percent)
          involved unrelated acquaintances, 138 (27.2 percent) involved strangers, and 127 (25 percent)
          involved relatives. Of this last category, 32 (4.6 percent) involved blood relatives, and 80
          (11.6 percent) victims were spouses (36 women killed by their husbands, and 44 men killed
          by their wives). The percentage of Chicago’s murders involving relatives in 1972 was very
          similar (25.2 percent), though by the 1990–95 period the percentage of murders involving
          relatives had fallen to 12.6 percent (7.2 percent involving spouses). For the information
          about Detroit, see Martin Daly and Margo Wilson, Homicide (Hawthorne, NY: Aldine de
          Gruyter Publishers, 1988).
               29. Kathy O’Connell of the Illinois Criminal Justice Information Authority provided
          these data.
               30. See also Daniel D. Polsby, “From the Hip: The Intellectual Argument in Favor of
          Restrictive Gun Control Is Collapsing. So How Come the Political Strength of Its Advocates
          Is Increasing?” National Review (Mar. 24, 1997): 35–36.
               31. In these seventy-five largest counties in 1988, 77 percent of murder arrestees and 78
          percent of defendants in murder prosecutions had criminal histories, with over 13 percent of
          murders being committed by minors, who by definition cannot have criminal records. This
          implies that 89 percent of those arrested for murders must be adults with criminal records,
          with 90 percent of those being prosecuted. See Bureau of Justice Statistics Special Reports,
          “Murder in Large Urban Counties, 1988,” (Washington, DC: U.S. Department of Justice,
          1993), and “Murder in Families” (Washington, DC: U.S. Department of Justice, 1994); see
          also Don B. Kates and Dan Polsby, “The Background of Murders,” Northwestern University
          Law School working paper (1997).
               32. The average victim had 9.5 prior arraignments, while the average oﬀender had 9.7.
          David M. Kennedy, Anne M. Piehl, and Anthony A. Braga, “Youth Violence in Boston: Gun
          Markets, Serious Youth Oﬀenders, and a Use-Reduction Strategy,” Law and Contemporary Prob-
          lems 59 (Winter 1996): 147–96.
               33. The relationship between age and sex and who commits murders holds across other
          countries such as Canada; see Daly and Wilson, Homicide, pp. 168–70.
               34. James Q. Wilson and Richard J. Herrnstein, Crime and Human Nature, (New York: Simon
          and Schuster, 1985), p. 177. Wilson and Herrnstein also discuss in chapter 3 evidence linking
          criminality to physical characteristics. The surveys that they summarize find evidence that
          criminality is more likely among those who are shorter and more muscular.
               35. Ibid., pp. 204–7; see also Michael K. Block and Vernon E. Gerety, “Some Experimental
          Evidence on the Diﬀerences between Student and Prisoner Reactions to Monetary Penal-
          ties,” Journal of Legal Studies 24 (Jan. 1995): 123–138.
               36. John J. Dilulio, Jr., “The Question of Black Crime,” The Public Interest 117 (Fall 1994):
          3–24; and “White Lies About Black Crime,” The Public Interest 118 (Winter 1995): 30–44.
               37. While there are many sources of misinformation on the deaths that arise from hand-
          guns, some stories attempt to clarify claims. For example, a Nando Times (www.nando.com)
          news story (Oct. 26, 1996) reported that “during a campaign visit here this week, President
          Clinton met with the widow of a police oﬃcer killed in the line of duty and later during
          a political rally cited his death as a reason to outlaw armor-piercing bullets. What he did




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           not tell his audience, however, was that the oﬃcer died in an auto accident, not from gun-
           fire. . . . Neither a bulletproof vest nor a ban on ‘cop-killer bullets,’ however, would have
           saved Oﬃcer Jerome Harrison Seaberry Sr., 35. He was responding to a radio call for backup
           on Christmas night last year when ‘he lost control of his vehicle, going too fast . . . hit a
           tree head-on, and the vehicle burst into flames,’ said Lake Charles Police Chief Sam Ivey.
           Armor-piercing bullets, Ivey said, ‘had nothing to do with it.’”
               38. National Center for Injury Prevention, Injury Mortality Statistics (Atlanta: Centers for
           Disease Control, 1999).
               39. Editorial, “The Story of a Gun and a Kid,” Washington Times, May 22, 1997, p. A18.
               40. Joyce Price, “Heston Attacks Trigger-Lock Proposal: Actor Begins Role as NRA Execu-
           tive,” Washington Times, May 19, 1997, p. A4.
               41. Currently, the impact of gun locks is diﬃcult to test simply because no state requires
           them. Seven states (California, Connecticut, Florida, Hawaii, Minnesota, New Jersey, and
           North Carolina) and the District of Columbia have laws regarding proper storage, but these
           laws do not mandate a particular method of storage.
               42. W. Kip Viscusi, “The Lulling Eﬀect: The Impact of Child-Resistant Packaging on As-
           pirin and Analgesic Ingestions,” American Economic Review (May, 1984): 324–27.
               43. The Department of Justice’s National Institute of Justice recently released a
           government-funded study entitled “Guns in America: National Survey on Private Owner-
           ship and Use of Firearms,” by Philip Cook and Jens Ludwig. The study used poll evidence
           from 2,568 adults in 1994 to claim that “20 percent of all gun-owning households had an
           unlocked, loaded gun at the time of the survey. The report cited the accidental deaths of
           185 children under the age of 14, and many times that number of accidental shootings. For
           each death, there are several accidental shootings that cause serious injuries.” Fifty percent
           of respondents were said to have stored an unloaded gun that was unlocked. The Justice
           Department’s press release quoted Attorney General Janet Reno as claiming that “these
           results show how dangerous unlocked guns are to children. That’s why we must pass the
           child-safety-lock provision in the President’s Anti-Gang and Youth Violence Act of 1997,
           now before Congress. A locked gun can avoid a family tragedy.” Ignoring problems with
           the survey itself, several problems exist with these conclusions. First, the report does not
           show that those 20 percent of gun-owning households with “unlocked, loaded” guns were
           responsible for the 185 firearm deaths of children. We would be interested to know if the
           20 percent of households included children. Second, the report only concentrates on the
           costs, while ignoring any possible benefits. One question that might be useful in considering
           benefits is this: Where did those with unlocked, loaded guns tend to live? For example, were
           they more likely to live in urban, high-crime areas? (See Department of Justice, PR Newswire,
           May 5, 1997.)
               Unfortunately, despite issuing press releases and talking to the press about their findings,
           neither the Department of Justice, nor professors Cook or Ludwig, nor the Police Founda-
           tion, which oversaw the government grant, have made any attempt to release their data
           at least by August 1997.
               44. U.S. Department of Commerce, Bureau of the Census, Statistical Abstract of the United
           States (Washington, DC: U.S. Government Printing Oﬃce, 1995). A common claim I will
           discuss later is that “more than half of all firearm deaths occur in the home where the
           firearm is kept.” As noted in the text, since one-half of all firearm deaths are suicides, this
           should come as no surprise.
               45. Editorial, Cincinnati Enquirer, Jan. 23, 1996, p. A8. Others share this belief. “It’s common
           sense,” says Doug Weil, research director at the Center to Prevent Handgun Violence, in
           Washington. “The more guns people are carrying, the more likely it is that ordinary con-
           frontations will escalate into violent confrontations” (William Tucker, “Maybe You Should
           Carry a Handgun,” the Weekly Standard, Dec. 16, 1996, p. 30).
               46. For these arguments, see P. J. Cook, “The Role of Firearms in Violent Crime,” in M. E.




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          Wolfgang and N. A. Werner, eds., Criminal Violence (Newbury, NJ: Sage Publishers, 1982); and
          Franklin Zimring, “The Medium Is the Message: Firearm Caliber as a Determinant of Death
          from Assault,” Journal of Legal Studies 1 (1972): 97–124.
               47. P. J. Cook, “The Technology of Personal Violence,” Crime and Justice: Annual Review of
          Research 14 (1991): 57, 56 n. 4. Cook reported 82,000 defensive uses for an earlier period. The
          irony of Cook’s position here is that his earlier work argued that the National Crime Vic-
          timization Survey radically underreports other violence-related events, including domestic
          violence, rapes, and gunshot woundings linked to criminal acts; see Gary Kleck, Targeting
          Guns (Hawthorne, NY: Aldine de Gruyter Publishers, 1997).
               It is easy to find people who argue that concealed handguns will have no deterrent eﬀect.
          H. Richard Uviller writes that “more handguns lawfully in civilian hands will not reduce
          deaths from bullets and cannot stop the predators from enforcing their criminal demands
          and expressing their lethal purposes with the most eﬀective tool they can get their hands
          on.” See H. Richard Uviller, Virtual Justice: The Flawed Prosecution of Crime in America (New Haven:
          Yale University Press, 1996), p. 95.
               48. For instance, the University of Chicago’s National Opinion Research Center states
          that reported gun ownership rates are much lower in urban areas. In the nation’s twelve
          largest cities, just 18 percent of all households report owning a gun. Women in rural ar-
          eas appear to own guns at about three times the rate that women in the twelve largest
          cities do. For a discussion about how these numbers vary between urban and rural areas
          generally or for women across areas, see James A. Davis and Tom W. Smith, General Social
          Surveys, 1972–1993: Cumulative Codebook (Chicago: National Opinion Research Center, 1993);
          and Tom W. Smith and Robert J. Smith, “Changes in Firearm Ownership Among Women,
          1980–1994,” Journal of Criminal Law and Criminology 86 (Fall 1995): 133–49. This issue is discussed
          further in chapter 3.
               49. Gary Kleck provides an excellent discussion of the methodological weaknesses in the
          National Crime Victimization Survey. As an example, he writes, “Unfortunately, 88 percent
          of the violent crimes reported to the [National Crime Victimization Survey] in 1992 were
          committed away from the victim’s home. Thus, by the time the self-protection question is
          asked, almost all the [respondents] who in fact had used a gun for self-protection know that
          they had already admitted that the incident occurred in a place where it would be a crime
          for them to have possessed a gun” (see Kleck, Targeting Guns).
               50. Still another survey deals more directly with the number of lives potentially saved
          by defensive gun uses. It reports that potential victims believe that each year, 400,000 people
          “almost certainly” saved a life by using a gun, though even the researchers providing this
          estimate believe that the number is too high. See Gary Kleck and Marc Gertz, “Armed Re-
          sistance to Crime: The Prevalence and Nature of Self-Defense with a Gun,” Journal of Criminal
          Law and Criminology 86 (Fall 1995): 150, 153, 180, 180–2; see also Gary Kleck, “Critique of Cook /
          Ludwig Paper,” undated manuscript, Dept. of Criminology, Florida State University). Re-
          cent evidence confirms other numbers from Kleck’s and Gertz’s study. For example, Annest
          et al. estimate that 99,025 people sought medical treatment for nonfatal firearm woundings.
          When one considers that many criminals will not seek treatment for wounds and that not
          all wounds require medical treatment, Kleck’s and Gertz’s estimate of 200,000 woundings
          seems somewhat plausible, though even Kleck and Gertz believe that this is undoubtedly
          too high, given the very high level of marksmanship that this implies for those firing the
          guns. Even if the true number of times that criminals are wounded is much smaller, how-
          ever, this still implies that criminals face a very real expected cost when they attack armed ci-
          vilians. For discussions of the defensive use of guns, see J. L. Annest et al., “National Estimates
          of Nonfatal, Firearm-Related Injuries: Beyond the Tip of the Iceberg,” Journal of the American
          Medical Association (June 14, 1995): 1749–54; and Lawrence Southwick, Jr., “Self-Defense with
          Guns: The Consequences,” Managerial and Decision Economics (forthcoming).
               51. Information from telephone call to Susan Harrell, Administrator, Bureau of License




                                                  Exhibit 10
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           Issuance for the state of Florida in Tallahassee. David Kopel writes that “in Florida as a whole,
           315,000 permits had been issued by December 31, 1995. Only five had been revoked because
           the permit holder committed a violent crime with a gun.” See David Kopel, “The Untold
           Triumph of Concealed-Carry Permits,” Policy Review 78 (July–Aug. 1996); see also Stan Schell-
           peper, “Case for a Handgun-Carry Law,” Omaha World-Herald, Feb. 6, 1997, p. 27; and Clayton E.
           Cramer and David B. Kopel, “‘Shall Issue’: The New Wave of Concealed-Handgun Permit
           Laws,” Tennessee Law Review 62 (Spring 1995): 679, 691. An expanded version of this last article
           is available from the Independence Institute, 14142 Denver West Parkway, Suite 185, Golden,
           Colorado, 80401–3134.
                52. Cramer and Kopel, “New Wave of Concealed-Handgun Permit Laws,” pp. 691–92.
                53. Bob Barnhart, “Concealed-Handgun Licensing in Multnomah County,” mimeo
           (Intelligence / Concealed Handgun Unit: Multnomah County, Oct. 1994).
                54. See Richmond Times Dispatch, Jan. 16, 1997.
                55. Schellpeper, “Case for a Handgun-Carry Law,” p. 27.
                56. “Packin’ and More Peaceful,” Las Vegas Review-Journal, Aug. 5, 1996, p. 6B.
                57. Kentucky State Police Trooper Jan Wuchner is also quoted as saying that he has
           “heard nothing around the state related to crime with a gun committed by permit holders.
           There has been nothing like that that I’ve been informed of.” See Terry Flynn, “Gun-Toting
           Kentuckians Hold Their Fire,” Cincinnati Enquirer, June 16, 1997, p. A1.
                58. Lee Anderson, “North Carolina’s Guns,” Chattanooga Free Press, May 31, 1997, p. A4.
                59. Lawrence Messina, “Gun-Permit Seekers Not the Criminal Type,” Charleston Gazette,
           July 28, 1997, p. C1.
                60. This is the incident discussed in note 3 that occurred during the beginning of 1996 in
           Texas. As for citizens with concealed handgun permits coming to the aid of police oﬃcers
           see the end of note 68.
                61. Peter Hermann, “Unarmed Resident Slain by Intruder; Victim’s Rifle Taken by Au-
           thorities,” Baltimore Sun, Sept. 19, 1996, p. B1.
                62. Christi Parsons and Andrew Martin, “Bead Drawn on Gun Law,” Chicago Tribune,
           May 22, 1997, p. 1; the article includes a long list of such cases, not all of which ended with
           the charges being dropped. For example,
              In Chicago, two motorists, both U.S. Marine Recruiters, were charged with felonies
              for allegedly having guns in their car when stopped by police for a minor traﬃc vio-
              lation. State Rep. Joel Brunsvold (D-Milan) said a downstate woman who kept an
              assembled rifle in her car to shoot rodents on her farm was pulled over and charged
              with a felony, as if she had been planning a drive-by shooting. And in March, Chicago
              Bears defensive end Alonzo Spellman was charged with a felony after volunteering
              to a police oﬃcer during a traﬃc stop that he had a handgun inside his car.
               63. Stephen Singular, Talked to Death (New York: Beech Tree Books, 1987), p. 142. In several
           other tragic cases people have carried concealed handguns because of death threats, only
           to be arrested by the police for carrying them; see, for example, Kristi Wright, “Executive
           Decision,” Omaha World-Herald, June 8, 1997, p. 1E.
               64. A recent case in Oklahoma illustrates how a gun allowed an elderly woman to de-
           fend herself:
              An 83-year-old woman proved her aim was good Tuesday morning as she shot a
              burglar trying to get inside her home. Delia Mae Wiggins’s home has been burglar-
              ized four times. She was beaten by a burglar in November. And she wasn’t going
              to let it happen again. When she heard someone trying to break into her home at
              about 5 a.m., Wiggins said she grabbed a gun that had been loaded for nine years but
              never fired. She told police an intruder removed her window-unit air conditioner to
              enter her home. She said she warned the intruder she was armed. Then she pulled




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             the trigger, hitting the intruder in the thigh. The man backed out the window and
             fled. (Robert Medley, “83-Year-Old Woman Shoots Fifth Burglar to Try to Victimize
             Her,” Oklahoma City Daily Oklahoman, May 21, 1997.
              This case also illustrates another point, because it involves a crime where the perpetrator
          would have been classified as knowing the intended victim. The attacker had just a few days
          earlier “mowed a lawn at a rental property for her.”
              65. Kristi O’Brien, “Concealed-Gun Legislation Bottled Up Again,” Copley News Service
          (Apr. 15, 1997).
              66. As Lon Cripps, the police chief in Langsberg, Montcalm County, Michigan, said in dis-
          cussing concealed handguns, “There comes a time when you have to take responsibility for
          your own life. Police oﬃcers just aren’t always going to be there” (Detroit News, June 14, 1996).
              67. States where less than 10 percent of the members responded to the poll were excluded
          from the polling numbers reported by the National Association of Chiefs of Police.
              68. Recent legislative testimony during 1997 provides similar evidence. In testifying be-
          fore the Kansas House of Representatives on behalf of the Kansas State Lodge of the Fraternal
          Order of Police, Joseph T. Gimar said, “We . . . continue our support of the [right-to-carry]
          legislation with the belief that the citizens of Kansas will use it responsibly. . . . I have gone
          to great lengths to speak to as many national [Fraternal Order of Police] members as pos-
          sible, many in jurisdictions that have concealed-carry statutes, but [I] have been unable
          to find any that were in opposition to their statutes.” (For this and other quotations by
          law-enforcement oﬃcers, see Gary K. Hayzlett, “Kansans Should Get to Carry and Conceal
          Arms,” Kansas City Star, Mar. 21, 1997.)
              Many stories involve armed citizens, some with licensed concealed handguns, who have
          come to the aid of police oﬃcers who are being attacked. For example,
             Shapiro was arrested April 9 after punching and kicking Howey police Oﬃcer David
             Kiss in the face and mouth during a State Road 48 traﬃc stop, which also involved
             his wife, Susan Jane Shapiro.
                 The melee didn’t break up until a Mission Inn employee who was passing by shot
             Mark Shapiro in the back of his left knee.
                 The passer-by, Vincent McCarthy, 46, of Eustis, had a permit to carry his .25-caliber
             automatic pistol and will not be charged, Lake sheriﬀ’s authorities said.
                 The Howey Town Council earlier this week commended McCarthy for coming
             to the aid of Kiss. (Linda Chong, “Man Gets House Arrest in Law Oﬃcer’s Beating,”
             Orlando Sentinel Tribune, May 16, 1992, p. 8)
              69. Related stories can be found in the Alva (Oklahoma) Review Courier, Jan. 8, 1995; the
          Tuscaloosa News, Jan. 12, 1995; and the Houston Post, Jan. 22, 1994; see “Gun-Control Survey” Law
          Enforcement Technology (July–Aug. 1991), pp. 14–15.
              Police oﬃcers are well aware that oﬀ-duty oﬃcers have often been able to thwart crimes
          because they were armed. News stories on such cases are easy to find; see, for example, Debo-
          rah Hastings, “Girl Killed in California During Stop for Ice Cream on Parents’ Anniversary,”
          Associated Press, June 18, 1997, dateline Los Angeles, 02:50 a.m. EDT).
              70. See Richard Connelly, “Handgun Law’s First Year Belies Fears of ‘Blood in the
          Streets,’” Texas Lawyer, Dec. 9, 1996, p. 2.
              71. See the Florida Times-Union, May 9, 1988, and Palm Beach Post, July 26, 1988.
              72. Flynn, “Gun-Toting Kentuckians Hold Their Fire,” p. A1.
              73. However, other polls, such as one done by the Johns Hopkins Center for Gun Policy
          and Research, a group that I will discuss again in chapter 7, argue that people favor more
          restrictions on gun ownership and claim that 82 percent favored mandatory registration of
          all handguns (Larry Bivens, “Most Want Child-Proof Handguns, Poll Shows,” Detroit News,
          Mar. 14, 1997, p. A5).




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                74. Zogby International, “Strong Majority of Independents, Democrats, and Obama Vot-
           ers Support Right to Carry a Firearm,” PR Web, Aug. 4, 2009. Tom Smith, “1996 National
           Gun-Policy Survey of the National Opinion Research Center: Research Findings,” (Chicago:
           National Opinion Research Center, Mar. 1997), p. 21.
                75. Lydia Saad, “Before Recent Shootings, Gun-Control Support Was Fading,” Gallup
           poll, Apr. 8, 2009. Smith, “1996 National Gun Policy Survey,” pp. 8–9. The survey did include
           overwhelmingly positive responses to many questions on additional safety regulations for
           guns. I believe that many of these responses would have been significantly altered if the
           questions had been posed in terms of the trade-oﬀ between safety benefits and estimates
           of their costs, or if terms describing dangers to children had been eliminated (especially, as
           already noted in the text, since the number of children harmed by gun accidents is probably
           much smaller than most people believe).
                76. Ibid., p. 13. The other major deciding factor for people’s views on gun control appears
           to be whether they trust government. Those who do trust government are much more in
           favor of gun control.
                77. Erika Schwarz (the first runner-up in the 1997 Miss America Pageant) decided to
           obtain a gun after a gunman stole her car when she pulled into her driveway. “It’s about
           time they allow citizens to protect themselves. I don’t advocate taking the law in your own
           hand. But in a situation where you’re cooped up in a car or house and somebody wants to
           harm you, this is a good law.” Erika Schwarz said that after a carjacking she had been afraid
           to drive at night. (Guy Coates, “Beauty Gets Ready to Shoot Carjackers “ Chattanooga Free
           Press, Aug. 14, 1997, p. B7). Similar stories are told by others who were motivated to obtain
           firearms training. A recent Wall Street Journal story discussed the reasons given by fourteen
           people who enrolled in a self-defense class run by Smith & Wesson: “The budget analyst
           had a knife held to her throat in a crowded Manhattan bar. Ms. Denman awoke 18 months
           ago in her rural home to find a masked, armed burglar at the foot of her bed. He’d kicked
           in her deadbolted door, and shot at her several times before fleeing. She dialed 911, and then
           waited 45 minutes for help to arrive.” See Caitlin Kelly, “Gun Control,” Wall Street Journal,
           Sept. 12, 1997, p. A20.
                78. “Georgia Lawmakers Quietly Vote Themselves the Right to Carry Weapons,” Associated
           Press, dateline Atlanta, Mar. 19, 1996, 11:09 p.m. EST.
                79. According to Larry Mason of the Association of California Deputy District Attorneys,
           “The association is . . . glad prosecutors have been permitted to protect themselves and
           that they can continue to do so for their own peace of mind and well-being” (quoted in
           Greg Krikorian, “Lungren Rules Prosecutors Can Carry Guns to Oﬃces,” Los Angeles Times,
           July 25, 1997, p. B1).
                The Fraternal Order of Police has also strongly supported legislation that would allow
           current or retired police oﬃcers to carry concealed handguns with them wherever they
           travel within the United States. (Prepared testimony of Bernard H. Teodorski, National
           Vice President, Fraternal Order of Police, before the House Committee on the Judiciary,
           Subcommittee on Crime (Federal News Service, July 22, 1997.)
                80. Los Angeles Times, Jan. 4, 1996, p. E1; Louis Graham, “Oﬃcials, Celebs Become Gun-
           Toting Sheriﬀ’s Deputies in Long Tradition,” Memphis Commercial Appeal, Oct. 3, 1994, pp. 1A,
           B7; and Clayton B. Cramer and David B. Kopel, “‘Shall Issue’: New Wave of Concealed-
           Handgun Permit Laws” (Independence Institute: Golden Colorado, Oct. 17, 1994).
                81. See note 77 above.
                82. See Adriel Bettelheim, “Campbell Gunning for Concealed-Weapon Proposal,” Denver
           Post, June 8, 1997, p. A31.
                83. Gary Marx and Janan Hanna, “Boy Called Unfit for Murder Trial,” Chicago Tribune,
           Jan. 18, 1995, p. 3; and Joan Beck, “The Murder of Children,” St. Louis Post-Dispatch, Oct. 24,
           1994, p. B19.
                84. Maggi Martin, “Symphony of Life Ended Too Quickly for Musician: Grieving




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          Friends Say Man Stabbed in Lakewood Had Much to Give,” Cleveland Plain Dealer, July 12,
          1995, p. 1A.
               85. John Stevenson, “Jurors Begin Deliberating Stroud’s Fate,” Durham (North Carolina)
          Herald-Sun, Feb. 9, 1995, p. C1.
               86. In 1992, only three states did not allow insanity as a defense (Idaho, Montana, and
          Utah), but even in these states, insanity can be used in determining whether a person
          had intent.
               87. See Dan Kahan and Martha Nussbaum, “Two Conceptions of Emotion in Criminal
          Law,” Columbia Law Review 96 (Mar. 1996): 269–374.
               88. Model Penal Code § 2100.3(1)(b) (1980).
               89. See Kahan and Nussbaum, “Emotion in Criminal Law,” Columbia Law Review: 315–17.
               90. Bullock v United States, 122 F2d 214 (DC Cir 1941).
               91. Kahan and Nussbaum, “Emotion in Criminal Law,” Columbia Law Review: 325.
               92. Anne Lamoy, “Murder Rate in KCK Lowest Since 1991,” Kansas City Star, Jan. 1,
          1997, p. C1.
               93. John H. Kagel, Raymond C. Battalio, Howard Rachlin, and Leonard Green, “Demand
          Curves for Animal Consumers,” Quarterly Journal of Economics 96 (Feb. 1981): 1–16; John H.
          Kagel, Raymond C. Battalio, Howard Rachlin, and Leonard Green, “Experimental Studies
          of Consumer Demand Behavior Using Laboratory Animals,” Economic Inquiry 13 (Jan. 1975):
          22–38; Raymond C. Battalio, John H. Kagel, and Owen R. Phillips, “Optimal Prices and
          Animal Consumers in Congested Markets,” Economic Inquiry 24 (Apr. 1986): 181–93; Todd
          Sandler, “Optimal Prices and Animal Consumers in Congested Markets: A Comment,”
          Economic Inquiry 25 (Oct. 1987): 715–20; Raymond C. Battalio, John H. Kagel, and Owen R.
          Phillips, “Optimal Prices and Animal Consumers in Congested Markets: A Reply,” Economic
          Inquiry 25 (Oct. 1987): 721–22; and Raymond C. Battalio, John H. Kagel, Howard Rachlin, and
          Leonard Green, “Commodity Choice Behavior with Pigeons as Subjects ,” Journal of Political
          Economy 84 (Feb. 1981): 116–51.
               94. William M. Landes, “An Economic Study of U.S. Aircraft Hijacking, 1961–1976,” Journal
          of Law and Economics 21 (Apr. 1978): 1–29.
               95. Alfred Blumstein and Daniel Nagin, “The Deterrent Eﬀect of Legal Sanctions on Draft
          Evasion,” Stanford University Law Review 28 (1977): 241–76.
               96. For a particularly well-done piece that uses data from another country, see Ken-
          neth Wolpin, “An Economic Analysis of Crime and Punishment in England and Wales,
          1894–1967,” Journal of Political Economy 86 (1978): 815–40. For a recent survey of papers in this
          area, see Isaac Ehrlich, “Crime, Punishment, and the Market for Oﬀenses,” Journal of Economic
          Perspectives 10 (Winter 1996): 43–67.
               97. Alfred Blumstein, Jacqueline Cohen, and Daniel Nagin, eds., Deterrence and Incapacitation:
          Estimating the Eﬀects of Criminal Sanctions on Crime Rates (Washington, DC: National Academy of
          Sciences, 1978), pp. 4, 7. Economists have responded to this report; see Isaac Ehrlich and Ran-
          dall Mark, “Fear of Deterrence: A Critical Evaluation of the ‘Report of the Panel on Research
          on Deterrent and Incapacitation Eﬀects,’” Journal of Legal Studies 6 (June 1977): 293–316.
               98. Wallace P. Mullin, “Will Gun Buyback Programs Increase the Quantity of Guns?”
          Michigan State University working paper (Mar. 1997), and Martha R. Plotkin, ed., Under
          Fire: Gun Buy-Backs, Exchanges, and Amnesty Programs (Washington, DC: Police Executive Research
          Forum, 1996).

          CHAPTER TWO
               1. The Supreme Court Justices would not uphold broad protections for gun ownership
          “if they thought blood would flow in the streets.” This point was made by Professor Daniel
          Polsby in a talk given at the University of Chicago, February 20, 1997. As he points out, the
          Supreme Court would not have allowed the publication of the Pentagon Papers, despite the




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           arguments about the freedom of the press, if it had posed a severe military risk to the United
           States. It is not the role of this book to debate the purpose of the Second Amendment. How-
           ever, the argument that the Second Amendment implies broad protection of gun ownership
           seems quite strong. William Van Alstyne argues that the reference to a “well-regulated Mili-
           tia” refers to the “ordinary citizen” and that it was emphatically not an allusion to “regular
           armed soldiers.” It was ordinary citizens who were to bring their own arms to form an army
           when the Republic was in danger. The amendment was viewed as the ultimate limit on a
           government’s turning against the will of the people. See William Van Alstyne, “The Second
           Amendment Right to Arms,” Duke Law Review 43 (Apr. 1994): 1236–55.
               2. The opposite of endogenous is exogenous. An exogenous change in something is an
           independent change, not a response to something else. In reality, almost everything is to
           some extent related to something else, so the distinction between exogenous and endog-
           enous is a matter of degree. Since models and statistical methods must put a limit on how
           much to include, some variables will always be treated as “exogenously given” rather than
           dependent on other variables. For the social sciences, this is a constant headache. Virtually
           any study is open to the criticism that “if variable X depends upon variable Y, your results
           are not necessarily valid.” In general, larger studies that rely on more data have better
           chances of reliably incorporating more relationships. Part of the process of doing research
           is determining which relationships may raise important concerns for readers and then at-
           tempting to test for those concerns.
               3. With purely cross-sectional data, if one recognizes that diﬀerences may exist in crime
           rates even after all the demographic and criminal-punishment variables are accounted for,
           there are simply not enough observations to take these regional diﬀerences into account.
           One cannot control for more variables than one has observations to explain.
               The problem with time-series data is the same. Time-series studies typically assume that
           crime follows a particular type of time trend (for example, they may simply assume that
           crime rises at a constant rate over time, or they may assume more complicated growth rates
           involving squared or cubic relationships). Yet almost any crime pattern over time is possible,
           and, as with cross-sectional data, unexplained diﬀerences over time will persist even after all
           the demographic and criminal-punishment variables are accounted for. Ideally, one could
           allow each year to have a diﬀerent eﬀect, but with time-series data we would again find that
           we had more variables with which to explain changes than we had observations to explain.
               4. Gary Kleck and E. Britt Patterson, “The Impact of Gun Control and Gun-Ownership
           Levels on Violence Rates,” Journal of Quantitative Criminology 9 (1993): 249–87.
               5. David McDowall, Colin Loftin, and Brian Wiersema, “Easing Concealed Firearm
           Laws: Eﬀects on Homicide in Three States,” Journal of Criminal Law and Criminology 86 (Fall 1995):
           193–206.
               6. Arthur L. Kellermann, et al., “Gun Ownership as a Risk Factor for Homicide in the
           Home,” New England Journal of Medicine (Oct. 7, 1993): 1084–91.
               7. Ibid., p. 1084.
               8. The interesting letter that provoked this response from Kellermann et al. was written
           by students in a graduate statistics class at St. Louis University. See the New England Journal of
           Medicine (Feb. 3, 1994): 366, 368. The estimated rate at which defensive gun uses result in the
           death of the criminal is derived by comparing the estimated number of defensive gun uses
           with the number of justifiable homicides. The justifiable-homicide number is obviously an
           underestimate, and it implies that the actual rate of criminal deaths from defensive gun
           uses is somewhat higher than reported in the text, but it could be several times higher and
           not aﬀect the overall statement.
               9. Recent attempts to relate the crime rate to the prison population concern me. Besides
           diﬃculties in relating the total prison population to any particular type of crime, I think it
           is problematic to compare a stock (the prison population) with a flow (the crime rate). See,




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          for example, Steven Levitt, “The Eﬀect of Prison Population Size on Crime Rates: Evidence
          from Prison Overcrowding Litigation,” Quarterly Journal of Economics 111 (1996): 144–67.
               10. Gary S. Becker, “Crime and Punishment: An Economic Approach,” Journal of Politi-
          cal Economy 76 (Mar. / Apr. 1968): 169–217. See also, for example, Isaac Ehrlich, “Participa-
          tion in Illegitimate Activities: A Theoretical and Empirical Investigation,” Journal of Political
          Economy 81 (1973): 521–65; Michael K. Block and John Heineke, “A Labor Theoretical Analysis
          of Criminal Choice,” American Economic Review 65 (June 1975): 314–25; William M. Landes,
          “An Economic Study of U.S. Aircraft Hijacking, 1961–1976,” Journal of Law and Economics 21
          (Apr. 1978): 1–29.; John R. Lott, Jr., “Juvenile Delinquency and Education: A Comparison
          of Public and Private Provision,” International Review of Law and Economics 7 (Dec. 1987): 163–75;
          James Andreoni, “Criminal Deterrence in the Reduce Form: A New Perspective on Ehrlich’s
          Seminal Study” Economic Inquiry 33 (July 1995): 476–83; Morgan O. Reynolds, “Crime and
          Punishment in America,” (Dallas: National Center for Policy Analysis, June 1995); and Levitt,
          “Eﬀect of Prison Population Size on Crime Rates.”
               11. John R. Lott, Jr., “Do We Punish High-Income Criminals Too Heavily?” Economic Inquiry
          30 (Oct. 1992): 583–608.
               12. John R. Lott, Jr., “The Eﬀect of Conviction on the Legitimate Income of Criminals,”
          Economics Letters 34 (Dec. 1990): 381–85; John R. Lott, Jr., “An Attempt at Measuring the Total
          Monetary Penalty from Drug Convictions: The Importance of an Individual’s Reputation,”
          Journal of Legal Studies 21 (Jan. 1992): 159–87.
               13. This approach is also known as controlling for “fixed eﬀects,” where a separate
          dummy variable is used to account for each county.
               14. James Q. Wilson and George L. Kelling, “Making Neighborhoods Safe,” Atlantic
          Monthly, Feb. 1989, and “Broken Windows,” Atlantic Monthly, Mar. 1982.
               15. Arson was excluded because of a large number of inconsistencies in the data and the
          small number of counties reporting this measure.
               16. Robbery includes street robbery, commercial robbery, service station robbery, con-
          venience store robbery, residence robbery, and bank robbery. (See also the discussion of
          burglary regarding why the inclusion of residence robbery creates diﬃculty with this broad
          measure.) After I wrote the original paper, two diﬀerent commentators attempted to ar-
          gue that “If ‘shall-issue’ [a synonym for “nondiscretionary”] concealed-carrying laws re-
          ally deter criminals from undertaking street crimes, then it is only reasonable to expect
          the laws to have an impact on robberies. Robbery takes place between strangers on the
          street. A high percentage of homicide and rape, on the other hand, occurs inside a home—
          where concealed-weapons laws should have no impact. These findings strongly suggest that
          something else—not new concealed-carry laws—is responsible for the reduction in crime
          observed by the authors.” See, for example, Doug Weil, “Response to John Lott’s Study
          on the Impact of ‘Carry-Concealed’ Laws on Crime Rates,” U.S. Newswire, Aug. 8,1996. The
          curious aspect of the emphasis on robbery over other crimes like murder and rape is that
          if robbery is the most obvious crime to be aﬀected by gun-control laws, why have virtually
          no gun-control studies examined robberies? In fact, Kleck’s literature survey only notes one
          previous gun-control study that examined the issue of robberies (“Guns and Violence: An
          Interpretive Review of the Field,” Social Pathology 1 [Jan. 1995]: 12–47). More important,
          given that the FBI includes many categories of robberies besides those that “take place be-
          tween strangers on the street,” it is not obvious why this category should exhibit the greatest
          sensitivity to concealed-handgun laws.
               17. “NRA poll: Salespeople No. 1 for Permit Applications,” Dallas Morning News, Apr. 19,
          1996, p. 32A.
               18. For example, see Arnold S. Linsky, Murray A. Strauss, and Ronet Bachman-Prehn,
          “Social Stress, Legitimate Violence, and Gun Availability,” Paper presented at the annual
          meetings of the Society for the Study of Social Problems, 1988; and Clayton E. Cramer and




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           David B. Kopel, “‘Shall Issue’: The New Wave of Concealed-Handgun Permit Laws,” Tennessee
           Law Review 62 (Spring 1995): 680–91.
               19. Among those who made this comment to David Mustard and me were Bob Barn-
           hart, Manager of the Intelligence / Concealed Handgun United of Multnomah County, Or-
           egon; Mike Woodward, of the Oregon Law Enforcement Data System; Joe Vincent of the
           Washington Department of Licensing Firearms Unit; Alan Krug, who provided us with the
           Pennsylvania Permit data; and Susan Harrell of the Florida Department of State Concealed
           Weapons Division. Evidence for this point with respect to Virginia was obtained from Eric
           Lipton, “Virginians Get Ready to Conceal Arms: State’s New Weapon Law Brings a Flood
           of Inquiries,” Washington Post, June 28, 1995, p. Al, who notes that “analysts say the new law,
           which drops the requirement that prospective gun carriers show a ‘demonstrated need’ to
           be armed, likely won’t make much of a diﬀerence in rural areas, where judges have long
           issued permits to most people who applied for them. But in urban areas such as Northern
           Virginia—where judges granted few permits because few residents could justify a need for
           them—the number of concealed weapon permits issued is expected to soar. In Fairfax, for
           example, a county of more than 850,000 people, only 10 now have permits.” See also Cramer
           and Kopel, “New Wave of Concealed-Handgun Permit Laws,” pp. 679–758.
               20. For example, see Kleck and Patterson, “Impact of Gun Control and Gun-Ownership
           Levels on Violence Rates.”
               21. The sex ratios in Alaska are quite large. For example, white males outnumber white
           females in the 20–29 age range by 19 percent, while the diﬀerence for the United States
           as a whole is 3 percent. The same ratio for the 30–39 age range is 12 percent in Alaska and
           1 percent nationally. Yet the greatest diﬀerences occur for blacks. In Alaska black males out-
           number black females in the 20–29 age range by 40 percent, while in the rest of the United
           States the reverse is true, with black females outnumbering (nonincarcerated) black males
           by 7 percent.
               22. While no reliable data are available on this question, a couple of polls indicate that
           the number of otherwise law-abiding citizens who carry concealed handguns may be sub-
           stantial. The results of a recent Oklahoma poll showed that up to 6 percent of Oklahoma
           residents already carry concealed handguns either on their persons or in their cars; see
           Michael Smith, “Many Permits to Go to Lawbreakers,” Tulsa World, May 5, 1996, p. A15. The
           margin of error in the poll was 3.5 percent, which is substantial, given the small value with
           which this error is compared.
               23. Sam Peltzman, “The Eﬀects of Automobile Safety Regulation,” Journal of Political Econ-
           omy 83 (Aug. 1975): 677–725.
               24. Steven Peterson, George Hoﬀer, and Edward Millner, “Are Drivers of Air-Bag-
           Equipped Cars More Aggressive? A Test of the Oﬀsetting-Behavior Hypothesis,” Journal of
           Law and Economics 38 (Oct. 1995): 251–64.
               25. Kieran Murray, “NRA Taps into Anger of Mid-American Gunlovers,” Reuters Newswire,
           dateline Dallas, Apr. 21, 1996.
               26. At least since the work of Isaac Ehrlich, economists have also realized that potential
           biases exist from using the oﬀense rate as both the variable that one is seeking to explain and
           as the denominator in determining the arrest rate. To see this, suppose that mistakes are
           made in measuring the crime rate (and mistakes are certainly made) because of recording
           inaccuracies or simply because citizens may change the rates at which they report crime
           over time. Accidentally recording a crime rate that is too high will result in our recording
           an arrest rate that is too low, since the arrest rate is the total number of arrests divided
           by the total number of crimes. The converse is also true: When too low a crime rate is
           recorded, the arrest rate that we observe will be too high. Obviously, this problem will
           make it appear that a negative relationship exists between arrest rates and crime even if no
           relationship exists. There is also the concern that increasing crime rates may lower arrest




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          rates if the same resources are being asked to do more work. See Isaac Ehrlich, “Participa-
          tion in Illegitimate Activities: A Theoretical and Empirical Investigation,” Journal of Political
          Economy 81 (1973): 548–53.

          CHAPTER THREE
              1. The 1988 poll’s margin of error was 1.1 percent, while that of the 1996 poll was
          2.2 percent.
              2. In order to obtain the rate at which people in the general population owned guns, I
          weighted the respondents’ answers to give less weight to groups that were overrepresented
          among voters compared to their share in the overall population, and to give greater weight
          to those groups that were underrepresented. Twenty-four categories of personal charac-
          teristics were used to compute these weightings: white males and females, and black males
          and females, aged 18–29; neither black nor white males and females 18–29; white males
          and females, and black males and females 30–44; neither black nor white males and fe-
          males 30–44; white males and females, and black males and females 45–59; neither black
          nor white males and females 45–59; white males and females, and black males and females
          over 59; neither black nor white males and females over 59.
              3. This argument has been made explicitly in the press many times. See, for example,
          Scott Baldauf, “As Crime Shrinks, Security Is Still Growth Industry,” Christian Science Monitor,
          Oct. 2, 1996, p. 1.
              4. Alix M. Freedman, “Tinier, Deadlier Pocket Pistols Are in Vogue,” Wall Street Journal,
          Sept. 12, 1996, P. B1.
              5. The primary concern here is that letting people check those parts of a list that ap-
          ply will result in fewer positive responses than asking people to answer individual ques-
          tions about each item. As one way of checking the importance of this concern, I examined
          whether other questions that changed in a similar way between the two polls experienced
          a change in the same direction as that shown for gun ownership. The two questions that
          I looked at—regarding marriage and whether children less than 18 lived with the respon-
          dent—moved in the opposite direction. Relatively more people indicated these responses
          in the 1988 poll when the questions were presented in a list than did so when they were
          presented with separate questions about these characteristics. I have also done extensive
          research using other questions involving marriage and children under 18 living with the
          respondent that were part of a “check as many as apply” question. That research provides
          extremely strong evidence that these questions were answered consistently between 1988
          and 1996. See John R. Lott, Jr. and Larry W. Kenny, “How Dramatically Did Women’s Suﬀrage
          Change the Size and Scope of Government?” University of Chicago School of Law working
          paper (1997). The relative diﬀerences in gun ownership across groups is also consistent with
          recent work using other polls by Edward Glaeser and Spencer Glendon, “Who Owns Guns?”
          American Economic Review 88 (May 1998).
              The empirical work that will be done later will allow us to adjust for the changes in the
          reported level of gun ownership that might result from the change in this question.
              6. I appreciate Tom Smith’s taking the time to talk to me about these issues on May 30,
          1997.
              7. Gun owners within each of the twenty-four categories listed in note 2 above may have
          particular characteristics that cause them to vote at rates that diﬀer from the rates at which
          other people vote. One would hope that some of that diﬀerence would be accounted for in
          the detailed demographic characteristics, but there is a good chance that this may not occur.
          Several attempts were made to see how large this eﬀect might be by asking, for example,
          whether gun owners were more or less likely not to have voted in previous elections. This
          question has also been broken down to account for those who are old enough to have voted
          previously. For 1988, the diﬀerence in gun ownership between those who were voting for
          the first time and those who had voted previously was 3 percent (23.2 percent of those vot-




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           ing for the first time and 26.2 percent of those who were not owned guns). Limiting this
           question to people who were 30 years of age or older produced an even smaller diﬀerence:
           28.9 percent of first-time voters owned guns versus 27.5 percent of those who had voted
           previously. Similarly, for the question of whether voters in 1988 had also voted in 1984, the
           diﬀerence was also 3 percent (23 percent of those who did not vote in 1984 and 26.4 percent
           of those who did owned guns).
               Because most people voted, a 13 percent increase in the proportion of the general popu-
           lation owning guns would require an even greater drop in gun ownership among those
           who didn’t vote in order for gun ownership to have remained constant. For some groups,
           such as women, for whom gun ownership among voters increased by over 70 percent, the
           increase is so large and the percent of women voting so high that an 80 percent drop in gun
           ownership among nonvoting women would have been required for gun ownership among
           women to have remained constant.
               8. Indeed, making this adjustment produces a number that is much closer to that found
           in other polls of the general population, such as the National Opinion Research Center’s
           1996 National Gun-Policy Survey, which finds that 42 percent of the general adult popula-
           tion owns guns.
               9. The data are available from the ICPSR at the University of Michigan as ICPSR 4181.
           The National Election Pool General Election Exit Polls, 2004, National Data National Election
           Pool, Edison Media Research Mitofsky International, March 2005.
               10. Richard Morin, “Surveying the Damage,” Washington Post, November 21, 2004, p. B1.
           Evidence that the underlying vote data did not involve fraud is provided by Kevin Hassett
           and John R. Lott, Jr., “Voting Technology and Voter Fraud: A Test Using Exit Poll Data,”
           American Enterprise Institute working paper, February 2005.
               11. Evaluation of Edison / Mitofsky Election System 2004 prepared by Edison Media Re-
           search and Mitofsky International for the National Election Pool, January 19, 2005 (http: //
           abcnews.go.com / images / Politics / EvaluationofEdisonMitofskyElectionSystem.pdf ).
               12. The initial exit poll survey results that were reported on election day used a weight-
           ing that “for the national exit poll overstated the proportion of women in the electorate.”
           That problem was fixed in the weightings that were released after that date. Weightings for
           the share of voters who were Republican or conservative could also have been introduced
           to rectify the skewness in the survey, but this was not done.
               13. The previous peak in murder rates occurred at the end of Prohibition in the early
           1930s, with the peak of 9.7 murders per 100,000 people being reached in 1933. The 1996
           murder rate of 7.3 murders per 100,000 people seems tame by comparison. Indeed many
           people, such as Milton Friedman, have argued that much of the change in murder rates
           over time has been driven by the country’s war on drugs and its earlier war on alcohol. Even
           the gradual increase in murder rates leading up to the Nineteenth Amendment’s adoption
           in 1991 corresponds with passage of individual state laws. Kansas, Maine, and North Dakota
           enacted prohibition laws between 1880 and 1890. Five states enacted prohibition in 1907–
           1909, followed by twelve more between 1912 and 1915 and another twelve between 1916 and
           1918. Obviously, all this points to the importance of other factors in the murder rate, and
           that is part of the reason why I include a measure of drug prices in my estimates to explain
           why crime rates change over time. See Ernest H. Cherrington, The Evolution of Prohibition in the
           United States of America (Westerville, OH: Tem-Press, 1920); Edward B. Dunford, The History of the
           Temperance Movement (Washington, DC: Tem-Press, 1943); D. Leigh Colvin, Prohibition in the United
           States, (New York: George H. Doran, 1926); as well as state statutes (as a check).
               14. While I will follow Cramer and Kopel’s definition of what constitutes a “shall-issue”
           or a “do-issue” state (see “‘Shall Issue’: The New Wave of Concealed-Handgun Permit Laws,”
           Tennessee Law Review 62 [Spring 1995]), one commentator has suggested that it is not appropri-
           ate to include Maine in these categories (Stephen P. Teret, “Critical Comments on a Paper
           by Lott and Mustard,” School of Hygiene and Public Health, Johns Hopkins University,




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          mimeo, Aug. 7, 1996). Neither defining Maine so that the “shall-issue” dummy equals zero
          nor removing Maine from the data set alters the findings shown in this book.
               15. While the intent of the 1988 legislation in Virginia was clearly to institute a “shall-
          issue” law, the law was not equally implemented in all counties in the state. To deal with
          this problem, I reran the regressions reported in this paper with the “shall-issue” dummy
          equal to both 1 and 0 for Virginia.
               16. I rely on Cramer and Kopel for this list of states. Some states, known as “do-issue”
          states, are also included in Cramer and Kopel’s list of “shall-issue” states, though these
          authors argue that for all practical purposes these two groups of states are identical. See
          Cramer and Kopel, “New Wave of Concealed-Handgun Permit Laws,” pp. 679–91.
               17. The Oregon counties providing permit data were Benton, Clackamas, Columbia,
          Coos, Curry, Deschutes, Douglas, Gilliam, Hood River, Jackson, Jeﬀerson, Josephine, Kla-
          math, Lane, Lincoln, Linn, Malheur, Marion, Morrow, Multnomah, Polk, Tillamook, Uma-
          tilla, Washington and Yamhill.
               18. In economics jargon I would say that I am interacting the sentence length with
          year-dummy variables.
               19. These variables are referred to as county fixed-eﬀects, where a separate dummy vari-
          able is set equal to 1 for each individual county.
               20. See appendix 4 for the list and summary statistics.
               21. For example, see James Q. Wilson and Richard J. Herrnstein, Crime and Human Nature
          (New York: Simon and Schuster, 1985), pp. 126–47.
               22. However, the eﬀect of an unusually large percentage of young males in the popula-
          tion may be mitigated because those most vulnerable to crime may be more likely to take
          actions to protect themselves. Depending upon how responsive victims are to these threats,
          the coeﬃcient for a variable like the percent of young males in the population could be zero
          even when the group in question poses a large criminal threat.
               23. Edward L. Glaeser and Bruce Sacerdote, “Why Is There More Crime in Cities?” Har-
          vard University working paper, Nov. 14, 1995.
               24. For a discussion of the relationship between income and crime, see John R. Lott, Jr.,
          “A Transaction-Costs Explanation for Why the Poor Are More Likely to Commit Crime”
          Journal of Legal Studies 19 (Jan. 1990): 243–45.
               25. A brief survey of the laws, excluding the changes in the rules regarding permits, re-
          veals the following: Alabama made no significant changes in these laws during the period.
          Connecticut law gradually changed its wording from “criminal use” to “criminal posses-
          sion” from 1986 to 1994. Florida has the most extensive description of penalties; the same
          basic law (790.161) persists throughout the years. An additional law (790.07) appeared only
          in 1986. In Georgia, a law (16-11-106) that does not appear in the 1986 edition appears in the
          1989 and 1994 editions. The law involves possession of a firearm during commission of a
          crime and specifies the associated penalties. Because this legal change might have occurred
          at the same time as the 1989 changes in the rules regarding permits, I used a Lexis search
          to check the legislative history of 16-11-106 and found that the laws were last changed in
          1987, two years before the permit rules were changed (Oﬃcial Code of Georgia, Annotated, at
          16-11-106 [1996]). Idaho has made no significant changes over time. In Indiana and Maine
          no significant changes occurred in these laws during the period. In Mississippi, Law 97-37-1
          talks explicitly about penalties. It appears in the 1986 version but not in the 1989 or the 1994
          versions. Montana enacted some changes in punishments related to unauthorized carrying
          of concealed weapons, but no changes in the punishment for using a weapon in a crime.
          New Hampshire, North Dakota, Oregon, Pennsylvania, and Washington made no significant
          changes in these laws during period. In South Dakota, Law 22-14-13, which specifies penalties
          for commission of a felony while armed, appears in 1986 but not 1989. In Vermont, Section
          4005, which outlines the penalties for carrying a gun when committing a felony, appears in




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           1986 but not in 1989 or 1994. Virginia and Washington made no significant changes in these
           laws during the period. West Virginia had Law 67-7-12 on the books in 1994, but not in the
           earlier versions. It involves punishment for endangerment with firearms. Removing Georgia
           from the sample, which was the only state that enacted changes in its gun laws near the year
           that the “shall-issue” law went into aﬀect, eliminates the chance that the other changes in
           gun laws might aﬀect my results and does not appreciably alter those results.
               26. Thomas B. Marvell and Carlisle E. Moody, “The Impact of Enhanced Prison Terms
           for Felonies Committed with Guns,” Criminology 33 (May 1995): 247, 258–61.
               27. Marvell and Moody’s findings (see note 22 above) show that the shortest time period
           between these sentencing enhancements and changes in concealed-weapon laws is seven
           years (Pennsylvania). Twenty-six states passed their enhancement laws prior to the beginning
           of my sample period, and only four states passed such laws after 1981. Maine, which imple-
           mented its concealed-handgun law in 1985, passed its sentencing-enhancement laws in 1971.
               28. The states that had waiting periods prior to the beginning of the sample are Alabama,
           California, Connecticut, Illinois, Maryland, Minnesota, New Jersey, North Carolina, Penn-
           sylvania, Rhode Island, South Dakota, Washington, and Wisconsin. The District of Columbia
           also had a waiting period prior to the beginning of my sample. The states that adopted this
           rule during the sample period are Hawaii, Indiana, Iowa, Missouri, Oregon, and Virginia.

           CHAPTER FOUR
                1. More precisely, it is the percentage of a one-standard-deviation change in the crime rate
           that can be explained by a one-standard-deviation change in the endogenous variable.
                2. All the results are reported for the higher threshold required with a two-tailed
           t-test.
                3. One possible concern with these initial results arises from my use of an aggregate
           public-policy variable (state right-to-carry laws) on county-level data. See Bruce C. Green-
           wald, “A General Analysis of the Bias in the Estimated Standard Errors of Least Squares
           Coeﬃcients,” Journal of Econometrics 22 (Aug. 1983): 323–38; and Brent R. Moulton, “An Illus-
           tration of a Pitfall in Estimating the Eﬀects of Aggregate Variables on Micro Units,” Review of
           Economics and Statistics 72 (1990): 334. Moulton writes, “If disturbances are correlated within the
           groupings that are used to merge aggregate with micro data, however, then even small levels
           of correlation can cause the standard errors from the ordinary least squares (OLS) to be seri-
           ously biased downward.” Yet this should not really be a concern here because of my use of
           dummy variables for all the counties, which is equivalent to using state dummies as well as
           county dummies for all but one of the counties within each state. Using these dummy vari-
           ables thus allows us to control for any disturbances that are correlated within any individual
           state. The regressions discussed in table 4.2 reestimate the specifications shown in table 4.1
           but also include state dummies that are interacted with a time trend. This should thus not
           only control for any disturbances that are correlated with the states, but also for any dis-
           turbances that are correlated within a state over time. Finally, while right-to-carry laws
           are almost always statewide laws, there is one exception. Pennsylvania partially exempted
           its largest county (Philadelphia) from the law when it was passed in 1989, and it remained
           exempt from the law during the rest of the sample period. However, permits granted in the
           counties surrounding Philadelphia were valid for use in the city.
                4. However, the increase in the number of property crimes is larger than the decrease
           in the number of robberies.
                5. While I adopt the classifications used by Cramer and Kopel in “‘Shall Issue’: The New Wave
           of Concealed-Handgun Permit Laws,” Tennessee Law Review 62 (Spring 1995), some are more
           convinced by other classifications of states (for example, see Doug Weil, “Response to John
           Lott’s Study on the Impact of ‘Carry-Concealed’ Laws on Crime Rates,” U.S. Newswire, Aug. 8,
           1996; and Stephen P. Teret, “Critical Comments on a Paper by Lott and Mustard,” School




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          of Hygiene and Public Health, Johns Hopkins University, mimeo, Aug. 7, 1996). Setting the
          “shall-issue” dummy for Maine to zero and rerunning the regressions shown in table 4.1 re-
          sults in the “shall-issue” coeﬃcient equaling –3% for violent crimes, –8% for murder, –6% for
          rape, –4.5% for aggravated assault, –1% for robbery, 3% for property crimes, 8.1% for automo-
          bile theft, 0.4% for burglary, and 3% for larceny. Similarly, setting the “shall-issue” dummy for
          Virginia to zero results in the “shall-issue” coeﬃcient equaling –4% for violent crimes, –9% for
          murder, –5% for rape, –5% for aggravated assault, –0.11% for robbery, 3% for property crimes,
          9% for automobile theft, 2% for burglary, and 3% for larceny. As a final test, dropping both
          Maine and Virginia from the data set results in the “shall-issue” coeﬃcient equaling –2% for
          violent crimes, –10% for murder, –6% for rape, –3% for aggravated assault, 0.6% for robbery,
          3.6% for property crimes, 10% for automobile theft, 2% for burglary, and 4% for larceny.
               6. This information is obtained from Mortality Detail Records provided by the U.S. De-
          partment of Health and Human Services.
               7. This assumption is implausible for many reasons. One reason is that accidental hand-
          gun deaths occur in states without concealed-handgun laws.
               8. Given the possible relationship between drug prices and crime, I reran the regressions
          in table 4.1 and included an additional variable for cocaine prices. One argument linking
          drug prices and crime is that if the demand for drugs is inelastic and if people commit crimes
          in order to finance their habits, higher drug prices might lead to increased levels of crime.
          Using the Drug Enforcement Administration’s STRIDE data set from 1977 to 1992 (with the
          exceptions of 1988 and 1989), Michael Grossman, Frank J. Chaloupka, and Charles C. Brown,
          (“The Demand for Cocaine by Young Adults: A Rational Addiction Approach,” NBER
          working paper, July 1996), estimate the price of cocaine as a function of its purity, weight,
          year dummies, year dummies interacted with eight regional dummies, and individual city
          dummies. There are two problems with this measure of predicted prices: (1) it removes
          observations during a couple of important years during which changes were occurring in
          concealed-handgun laws, and (2) the predicted values that I obtained ignored the city-level
          observations. The reduced number of observations provides an important reason why I do
          not include this variable in the regressions shown in table 4. 1. However, the primary impact
          of including this new variable is to make the “shall-issue” coeﬃcients in the violent-crime
          regressions even more negative and more significant (for example, the coeﬃcient for the
          violent-crime regression becomes –7.5%, –10% for the murder regression, –7.7% for rape,
          and –11% for aggravated assault, with all of them significant at more than the 0.01 level).
          Only for the burglary regression does the “shall-issue” coeﬃcient change appreciably: it
          becomes negative and insignificant. The variable for drug prices itself is negatively related
          to murders and rapes and positively and significantly related, at least at the 0.01 level for a
          one-tailed t-test, to all the other categories of crime. I would like to thank Michael Gross-
          man for providing me with the original regressions on drug prices from his paper.
               9. In contrast, if we had instead inquired what diﬀerence it would make in crime rates
          if either all states or no states adopted right-to-carry concealed-handgun laws, the case of
          all states adopting concealed-handgun laws would have produced 2,000 fewer murders;
          5,700 fewer rapes; 79,000 fewer aggravated assaults; and 14,900 fewer robberies. In contrast,
          property crimes would have risen by 336,410.
               10. Ted R. Miller, Mark A. Cohen, and Brian Wiersema, Victim Costs and Consequences: A New
          Look (Washington, DC: National Institute of Justice, Feb. 1996).
               11. See Sam Peltzman, “The Eﬀects of Automobile Safety Regulation,” Journal of Political
          Economy 83 (Aug. 1975): 677–725.
               12. To be more precise, a one-standard-deviation change in the probability of arrest ac-
          counts for 3 to 11 percent of a one-standard-deviation change in the various crime rates.
               13. Translating this into statistical terms, a one-standard-deviation change in the per-
          centage of the population that is black, male, and between 10 and 19 years of age explains
          22 percent of the ups and downs in the crime rate.




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                14. This is particularly observed when there are more black females between the ages
           of 20 and 39, more white females between the ages of 10 and 39 and over 65, and females of
           other races between 20 and 29.
                15. In other words, the second number shows how a one-standard-deviation change
           in an explanatory variable explains a certain percent of a one-standard-deviation change in
           the various crime rates.
                16. While I believe that such variables as the arrest rate should be included in any regres-
           sions on crime, one concern with the results reported in the various tables is over whether
           the relationship between the “shall-issue” variable and the crime rates occurs even when
           all the other variables are not controlled for. Using weighted least squares and reporting
           only the “shall-issue” coeﬃcients, I estimated the following regression coeﬃcients.

           How do average crime rates differ among states with and without nondiscretionary laws?
                                                                                              Crime rates in states with
                                                                                              nondiscretionary concealed-handgun
                                               Crime rates in states with                     laws compared to those without the
                                               nondiscretionary concealed-handgun             law after adjusting for national trends
                                               laws compared to those without the             (regressing the crime rate on the
                                               law (regressing the crime rate only on         variable for the law and year-dummy
           Crime rates                         the variable for the law)                      variables)
           Violent crimes                      –40%                                           –57%
           Murder                              –48                                            –52
           Rape                                –16                                            –28
           Aggravated assault                  –38                                            –57
           Robbery                             –62                                            –75
           Property crime                      –17                                            –20
           Auto theft                          –31                                            –43
           Burglary                            –28                                            –24
           Larceny                             –11                                            –15
           Note: The only factors included are the presence of the law and / or year-specific eﬀects. All these diﬀerences are
           statistically significant at least at the 1 percent level for a two-tailed t-test. To calculate these percentages, I used the
           approximation 100 [exp(coeﬃcient) – 1].


                17. The time-trend variable ranges from 1 to 16: for the first year in the sample, it equals
           1; for the last year, it is 16.
                18. Other diﬀerences arise in the other control variables, such as those relating to the
           portion of the population of a certain race, sex, and age. For example, the percent of black
           males in the population between 10 and 19 is no longer statistically significant.
                19. If the task instead had been to determine the diﬀerence in crime rates when either
           all states or no states adopt the right-to-carry handgun laws, the case of all states adopt-
           ing concealed-handgun laws would have produced 2,048 fewer murders, 6,618 fewer rapes,
           129,114 fewer aggravated assaults, and 86,459 fewer robberies. Non-arson property crimes
           also would have fallen by 511,940.
                20. Generally, aggregation is frowned on in statistics anyway, as it reduces the amount of
           information yielded by the data set. Lumping data together into a group cannot yield any
           new information that did not exist before; it only reduces the richness of the data.
                21. Eric Rasmusen, “Stigma and Self-Fulfilling Expectations of Criminality,” Journal of Law
           and Economics 39 (Oct. 1996): 519–44.
                22. In January 1996, women held 118,728 permits in Washington and 17,930 permits in
           Oregon. The time-series data available for Oregon during the sample period even indicate
           that 17.6 percent of all permit holders were women in 1991. The Washington state data
           were obtained from Joe Vincent of the Department of Licensing Firearms Unit in Olympia,




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          Washington. The Oregon state data were obtained from Mike Woodward of the Law Enforce-
          ment Data System, Department of State Police, Salem, Oregon. Recent evidence from Texas
          indicates that about 28 percent of applicants were women (“NRA poll: Sales people No. 1
          for Permit Applications,” Dallas Morning News, Apr. 19, 1996, p. 32A).
              23. For an interesting discussion of the benefits to women of owning guns, see Paxton
          Quigley, Armed and Female (New York: E. P. Dutton, 1989).
              24. Unpublished information obtained by Kleck and Gertz in their 1995 National Self-
          Defense Survey implies that women were as likely as men to use handguns in self-defense
          in or near their homes (defined as in the yard, carport, apartment hall, street adjacent to
          home, detached garage, etc.), but that women were less than half as likely to use a gun in
          self-defense away from home. See Gary Kleck and Marc Gertz, “Armed Resistance to Crime:
          The Prevalence and Nature of Self-Defense with a Gun,” Journal of Criminal Law and Criminology
          86 (Fall 1995): 249–87.
              25. Counties with real personal income of about $15,000 in real 1983 dollars experienced
          8 percent drops in murder, while mean-income counties experienced a 5.5 percent drop.
              26. Lori Montgomery, “More Blacks Say Guns Are Answer to Urban Violence,” Houston
          Chronicle, July 9, 1995, p. Al. This article argues that while the opposition to guns in the black
          community is strong, more people are coming to understand the benefits of self-protection.
              27. For an excellent overview of the role of race in gun control, see Robert J. Cottrol and
          Raymond T. Diamond, “The Second Amendment: Toward an Afro-Americanist Reconsid-
          eration,” Georgetown Law Review 80 (Dec. 1991): 309.
              28. See William Van Alstyne, “The Second Amendment Right to Arms,” Duke Law Review
          43 (Apr. 1994): 1236–55. In slave states prior to the Civil War, the freedoms guaranteed under
          the Bill of Rights were regularly restricted by states because of the fear that free reign might
          lead to an insurrection. As Akhil Reed Amar writes, “In a society that saw itself under siege
          after Nat Turner’s rebellion, access to firearms had to be strictly restricted, especially to free
          blacks.” See Akhil Reed Amar, “The Bill of Rights and the Fourteenth Amendment,” Yale
          Law Journal 101 (Apr. 1992): 1193.
              29. Associated Press Newswire, May 9, 1997, 4:37 p.m. EDT. As the Washington Times recently noted,
          this story “comes at an awkward time for the administration, since President Clinton has spent
          the last week or two berating Republicans for failing to include in anti-crime legislation a pro-
          vision requiring that child safety locks be sold with guns to keep children from hurting them-
          selves” (Editorial, “The Story of a Gun and a Kid,” Washington Times, May 22, 1997, p. A18).
              30. The conversation took place on March 18, 1997, though regrettably I have misplaced
          the note containing the representative’s name.
              31. John Carpenter, “Six Other States Have Same Law,” Chicago Sun-Times, Mar. 11,
          1997, p. 8.
              32. John J. Dilulio, Jr., “The Question of Black Crime,” The Public Interest 117 (Fall 1994):
          3–24. Similar concerns about the inability of minorities to rely on the police was also ex-
          pressed to me by Assemblyman Rod Wright (D-Los Angeles) during testimony before the
          California Assembly’s Public Safety Committee on November 18, 1997.
              33. One additional minor change is made in two of the earlier specifications. In order to
          avoid any artificial collinearity either between violent crime and robbery or between prop-
          erty crimes and burglary, violent crimes net of robbery and property crimes net of burglary
          are used as the endogenous variables when robbery or burglary are controlled for.
              34. The Pearson correlation coeﬃcient between robbery and the other crime categories
          ranges between .49 and .80, and all are so statistically significant that a negative correlation
          would only appear randomly once out of every ten thousand times. For burglary, the cor-
          relations range from 0.45 to 0.68, and they are also equally statistically significant.
              35. All the results in tables 4.1 and 4.4 as well as the regressions related to both parts of
          figure 4.1 were reestimated to deal with the concerns raised in chapter 3 over the “noise”
          in arrest rates arising from the timing of oﬀenses and arrests and the possibility of multiple




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           oﬀenders. I reran all the regressions in this section by limiting the sample to those counties
           with populations over 10,000, over 100,000, and then over 200,000 people. The more the
           sample was restricted to larger-population counties, the stronger and more statistically sig-
           nificant was the relationship between concealed-handgun laws and the previously reported
           eﬀects on crime. This is consistent with the evidence reported in figure 4. 1. The arrest-rate
           results also tended to be stronger and more significant. I further reestimated all the regres-
           sions by redefining the arrest rate as the number of arrests over the last three years divided
           by the total number of oﬀenses over the last three years. Despite the reduced sample size,
           the results remained similar to those already reported.
               36. More formally, by using restricted least squares, we can test whether constraining the
           coeﬃcients for the period before the law produces results that yield the same pattern after
           the passage of the law. Using both the time-trend and the time-trend-squared relationships,
           the F-tests reject the hypothesis that the before and after relationships are the same, at least
           at the 10 percent level, for all the crime categories except aggravated assault and larceny,
           for which the F-tests are only significant at the 20 percent level. Using only the time-trend
           relationship, the F-tests reject the hypothesis in all the cases.
               37. The main exception was West Virginia, which showed large drops in murder but not
           in other crime categories.
               38. See Thomas B. Marvell and Carlisle E. Moody, “The Impact of Enhanced Prison Terms
           for Felonies Committed with Guns,” Criminology 33 (May 1995): 259–60.
               39. I should note, however, that the “nondiscretionary” coeﬃcients for robbery in the
           county-level regressions and for property crimes using the state levels are no longer statisti-
           cally significant.
               40. Toni Heinzl, “Police Groups Oppose Concealed-Weapons Bill,” Omaha World-Herald,
           Mar. 18, 1997, p. 9SF.
               41. A simple dummy variable is used for whether the limit was 18 or 21 years of age.
               42. Here is one example: “Mrs. Elmasri, a Wisconsin woman whose estranged husband
           had threatened her and her children, called a firearms instructor for advice on how to
           buy a gun for self-defense. She was advised that, under Wisconsin’s progressive handgun
           law, she would have to wait 48 hours so that the police could perform the required back-
           ground check.
               “Twenty-four hours later, . . . Mrs. Elmasri’s husband murdered the defenseless woman
           and her two children” (William P. Cheshire, “Gun Laws No Answer for Crime,” Arizona
           Republic, Jan. 10, 1993, p. C1.) Other examples can be found in David B. Kopel, “Background
           Checks and Waiting Periods,” in Guns: Who Should Have Them, ed. David B. Kopel (Amherst,
           NY: Prometheus Books, 1995.) Other examples tell of women who successfully evaded these
           restrictions to obtain guns.
              In September 1990, mail carrier Catherine Latta of Charlotte, N. C, went to the police
              to obtain permission to buy a handgun. Her ex-boyfriend had previously robbed her,
              assaulted her several times, and raped her. The clerk at the sheriﬀ’s oﬃce informed
              her that processing a gun permit would take two to four weeks. “I told her I’d be
              dead by then,” Latta recalled.
                  That afternoon, Latta bought an illegal $20 semiautomatic pistol on the street.
              Five hours later, her ex-boyfriend attacked her outside her house. She shot him
              dead. The county prosecutor decided not to prosecute Latta for either the self-
              defense homicide or the illegal gun. (Quoted from David B. Kopel, “Guns and Crime:
              Does Restricting Firearms Really Reduce Violence?” San Diego Union-Tribune, May 9,
              1993, p. G4.)
           For another example where a woman’s ability to defend herself would have been impaired
           by a waiting period, see “Waiting Period Law Might Have Cost Mother’s Life,” USA Today,
           May 27, 1994, p. 10A.




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             43. Quoted in David Armstrong, “Cities’ Crime Moves to Suburbs,” Boston Globe, May 19,
          1997, pp. 1 and B6.

          CHAPTER FIVE
              1. While county-level data were provided in the Supplementary Homicide Reports, matching
          these county observations with those used in the Uniform Crime Reports proved unusually
          diﬃcult. A unique county identifier was used in the Supplementary Homicide Reports that was not
          consistent across years. In addition, some caution is necessary in using both the Mortality
          Detail Records and the Supplementary Homicide Reports, since the murder rates reported in both
          sources have relatively low correlations of less than .7 with the murder rates reported in the
          Uniform Crime Reports. This is especially surprising for the supplementary reports, which are
          derived from the Uniform Crime Reports. See U.S. Department of Justice, FBI staﬀ, Uniform Crime
          Reports (Washington, DC: U.S. Govt. Printing Oﬃce) for the years 1977 to 1992.
              2. Indeed, the average age of permit holders is frequently in the mid- to late forties (see,
          for example, “NRA poll: Salespeople No. 1 for Permit Applications,” Dallas Morning News,
          Apr. 19, 1996, p. 32A.) In Kentucky the average age of permit holders is about fifty (see Terry
          Flynn, “Gun-Toting Kentuckians Hold Their Fire,” Cincinnati Enquirer, June 16, 1997, p. Al).
              3. This is the significance for a two-tailed t-test.
              4. Similar breakdowns for deaths and injuries are explored in much more depth in a pa-
          per that I have written with William Landes; see William Landes and John R. Lott, Jr., “Mass
          Public Shootings, Bombings, and Right-to-Carry Concealed-Handgun Laws,” University of
          Chicago working paper, 1997.
              5. A second change was also made. Because of the large number of observations noting
          no deaths or injuries from mass public shootings in a given year, I used a statistical technique
          known as Tobit that is particularly well suited to this situation.
              6. The results shown below provide the estimates for the simple linear time trends before
          and after the adoption of the law. They demonstrate that for each year leading up to the
          passage of the law, total deaths or injuries from mass public shootings rose by 1.5 more per 10
          million people and that after the passage of the law, total deaths or injuries fell by 4 more per
          10 million people. The diﬀerence in these two trends is statistically significant at the 1 percent
          level for a two-tailed t-test. It is interesting to note that higher murder arrest rates, although
          they deter murderers, do not seem to deter perpetrators of mass public shootings.

          Linear time trends for deaths and injuries from mass public shootings before and after adoption of
          concealed-handgun law
                                                                                    Total deaths and injuries per 100,000 population
          Average annual change for years after adoption of                         –0.04***
           the law
          Average annual change for years before adoption                             0.015***
           of the law
          Arrest rate for murder                                                    –0.0003
          ***Statistically significant at least at the 10 percent level for a two-tailed t-test
          Note: numbers are negative; years furthest beyond adoption are the largest


             7. See appendix 4 for the means and standard deviations of the variables used in these
          regressions.
             8. Again, this is stating that a one-standard-deviation change in arrest rates explains more
          than 15 percent of a one-standard-deviation change in crime rates.
             9. Running the regressions for all Pennsylvania counties (not just those with more
          than 200,000 people) produced similar signs for the coeﬃcient for the change in concealed-




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            handgun permits, though the coeﬃcients were no longer statistically significant for vio-
            lent crimes, rape, and aggravated assault. Alan Krug, who provided us with the Pennsyl-
            vania handgun-permit data, told us that one reason for the large increase in concealed-
            handgun permits in some rural counties was that people used the guns for hunting. He
            told us that the number of permits issued in these low-population, rural counties tended
            to increase most sharply in the fall around hunting season. If people were in fact getting
            large numbers of permits in low-population counties (which already have extremely
            low crime rates) for some reason other than crime, it would be more diﬃcult to pick
            up the deterrent eﬀect of concealed handguns on crime that was occurring in the larger
            counties.
                10. A one-standard-deviation change in conviction rates explains 4 to 20 percent of a
            one-standard-deviation change in the corresponding crime rates.
                11. I reran these regressions using the natural logs of the arrest and conviction rates, and
            I consistently found statistically larger and even economically more important eﬀects for
            the arrest rates than for the conviction rates.
                12. For example, see Dan M. Kahan, “What Do Alternative Sanctions Mean?” University
            of Chicago Law Review 63 (1996): 591–653.
                13. See John R. Lott, Jr., “The Eﬀect of Conviction on the Legitimate Income of Crimi-
            nals,” Economics Letters 34 (Dec. 1990): 381–85; John R. Lott, Jr., “An Attempt at Measuring the
            Total Monetary Penalty from Drug Convictions: The Importance of an Individual’s Repu-
            tation,” Journal of Legal Studies 21 (Jan. 1992): 159–87; John R. Lott, Jr., “Do We Punish High-
            Income Criminals Too Heavily?” Economic Inquiry 30 (Oct. 1992): 583–608.
                14. Put diﬀerently, six of the specifications imply that a one-standard-deviation change
            in the number of concealed-handgun permits explains at least 8 percent of a one-standard-
            deviation change in the corresponding crime rates.
                15. Philip Heymann, a former deputy attorney general in the Clinton administration
            and currently a law professor at Harvard University, wrote, “None of this [the drop in crime
            rates] is the result of . . . the Brady Act (for most guns were never bought by youth from
            licensed gun dealers).” See “The Limits of Federal Crime-Fighting,” Washington Post, Jan. 5,
            1997, p. C7.
                16. For a discussion of externalities (both benefits and costs) from crime, see Kermit
            Daniel and John R. Lott, Jr., “Should Criminal Penalties Include Third-Party Avoidance
            Costs?” Journal of Legal Studies 24 (June 1995): 523–34.
                17. Alix M. Freedman, “Tinier, Deadlier Pocket Pistols Are in Vogue,” Wall Street Journal,
            Sept. 12, 1996, pp. B1, B16.
                18. One hundred and eighty-two million people lived in states without these laws in
            1991, so the regressions would have also implied nine more accidental deaths from hand-
            guns in that year.
                19. Given the very small number of accidental deaths from handguns in the United
            States, the rate of such deaths in the vast majority of counties is zero, and the last two
            columns of table 5.6 again use Tobit regressions to deal with this problem. Limitations in
            statistical packages, however, prevented me from being able to control for all the county
            dummies, and I opted to rerun these regressions with only state dummy variables.
                20. For example, see Nicholas D. Kristof, “Guns: One Nation Bars, the Other Requires,”
            New York Times, Mar. 10, 1996, sec. 4, p. 3. For some evidence on international gun ownership
            rates see Munday and Stevenson, Guns and Violence (1996): 30.
                21. See Ian Ayres and Steven Levitt, “Measuring Positive Externalities from Unobservable
            Victim Precaution: An Empirical Analysis of Lojack” NBER working paper 5928 (1997); and
            John Donohue and Peter Siegelman, “Is the United States at the Optimal Rate of Crime?”
            Journal of Legal Studies 27 (Jan. 1998).
                22. See notes 12 and 13 above.




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          CHAPTER SIX
               1. Isaac Ehrlich, “Participation in Illegitimate Activities: A Theoretical and Empirical In-
          vestigation,” Journal of Political Economy 81 (1973): 548–51. Except for the political variables, my
          specification accords fairly closely with at least the spirit of Ehrlich’s specification, though
          some of my variables, like the demographic breakdowns, are much more detailed, and I
          have a few other measures that were not available to him.
               2. See also Robert E. McCormick and Robert Tollison, “Crime on the Court,” Journal of
          Political Economy 92 (Apr. 1984): 223–35, for a novel article testing the endogeneity of the “ar-
          rest rate” in the context of basketball penalties.
               3. These last two variables are measured at the state level.
               4. Phil Cook suggested this addition to me. In a sense, this is similar to Ehrlich’s speci-
          fication, except that the current crime rate is broken down into its lagged value and the
          change between the current and previous periods. See Ehrlich, “Participation in Illegitimate
          Activities,” p. 557.
               5. The natural logs of the rates for violent crime and property crime were used.
               6. These estimates are known as two-stage least squares.
               7. Ehrlich raises the concern that the types of two-stage, least-squares estimates dis-
          cussed above might still be aﬀected by spurious correlation if the measurement errors for
          the crime rate were serially correlated over time. To account for this, I reestimated the
          first-stage regressions predicting the arrest rate without the lagged crime rate, which made
          the estimated results for the nondiscretionary law dummy even more negative and more
          statistically significant than those already shown. See Ehrlich, “Participation in Illegitimate
          Activities” p. 552 n. 46.
               8. Still another approach would be to estimate what are known as Tobit regressions, but
          unfortunately no statistical package is available that allows me both to control for all the
          diﬀerent county dummy variables and to use the Tobit procedure.

          CHAPTER SEVEN
              1. The Violence Policy Center grew out of the National Coalition to Ban Handguns.
              2. Douglas Weil, the research director for Handgun Control, Inc., has publicly disagreed
          with the claim that most gun-control advocates initially refused to comment on my study.
          In a letter to the Washington Times, Weil wrote,

             The Washington Times editorial (“Armed and Safer,” Aug. 14) is misinformed and mis-
             guided. The Times falsely claims that gun-control proponents “initially refused to
             read” John Lott’s and David Mustard’s study of the impact of laws regarding the right
             to carry concealed guns, and that I attacked the researchers’ motivations rather than
             challenge the study “on the merits.” This charge is untrue.
                 One look at the study would prove the Times wrong. On the title page of the
             study, several pro-gun-control researchers are credited for their comments “on the
             merits” of the study. Included in this list are David McDowall, a criminologist at
             the University of Maryland; Philip Cook, an economist at Duke University; and my-
             self, research director for the Center to Prevent Handgun Violence.
                 Upon reviewing the study, I found Mr. Lott’s methodology to be seriously flawed.
             I told Mr. Lott that his study did not adequately control for the whole range of ways
             that state and local governments attempt to lower the crime rate. In Oregon, for
             example, the same legislation that made it easier to carry a concealed handgun in-
             cluded one of the toughest new handgun-purchase laws in the country—a 15-day
             waiting period and fingerprint-background check on all purchases. . . .
                 I gladly shared my critique of this study with Mr. Lott and will now reiterate it
             here; as someone fully credentialed to evaluate Mr. Lott’s and Mr. Mustard’s work,




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              I would have recommended that the paper be rejected. (See Douglas Weil, “A Few
              Thoughts on the Study of Handgun Violence and Gun Control,” Washington Times,
              Aug. 22, 1996, p. A16.)

               While it is true that I thanked Mr. Weil in my paper for a comment that he made, his
           single comment was nothing like what his letter to the Times claimed. Before he explained
           his concerns to the press, he and I had no discussions about whether I had controlled for
           “ways that state and local governments attempt to lower the crime rate,” possibly because
           my study not only controls for arrest and conviction rates, prison sentences, the number of
           police oﬃcers and police payroll, but also waiting periods and criminal penalties for using
           a gun in the commission of a crime.
               Mr. Weil’s sole comment to me came after two previous telephone calls over a month
           and a half in which Mr. Weil had said that he was too busy to give me any comments. His
           sole comment on August 1 was that he was upset that I had cited a study by a professor, Gary
           Kleck, with whom Weil disagreed. I attempted to meet this unusual but minor criticism by
           rewriting the relevant sentence on the first page in a further attempt to dispassionately state
           the alternative hypotheses.
               Mr. Weil’s claims are particularly diﬃcult to understand in light of a conversation that I
           had with him on August 5. After hearing him discuss my paper on the news, I called him to
           say how surprised I was to hear about his telling the press that the paper was “fundamentally
           flawed” when the only comment that he had given me was on the reference to Kleck. Mr.
           Weil then immediately demanded to know whether it was true that I had thanked him for
           giving comments on the paper. He had heard from people in the news media who had seen
           a draft with his name listed among those thanked. (On August 1, I had added his name to
           the list of people who had given comments, and when the news of the paper suddenly broke
           on August 2 with the story in USA Today, it was this new version that had been faxed to the
           news media.) He wanted to know if I was trying to “embarrass” him with others in the gun-
           control community, and he insisted that he had not given me any comments. I said that I
           had only done it to be nice, and I mentioned the concern that he raised about the reference
           to Kleck. Weil then demanded that I “immediately remove [his] name” from the paper.
               3. This was not my only experience with Ms. Glick. On August 8, 1996, six days after the
           events of August 2 described above, I appeared with her on MSNBC. After I tried to make an
           introductory statement setting out my findings, Ms. Glick attacked me for having my study
           funded by “gun manufacturers.” She claimed that I was a “shill” for the gun manufactures
           and that it was important that I be properly identified as not being an objective academic.
           She also claimed that there were many serious problems with the paper. Referring to the
           study, she asserted that it was a fraud.
               I responded by saying that these were very serious charges and that if she had some evi-
           dence, she should say what it was. I told her that I didn’t think she had any such evidence,
           and that if she didn’t, we should talk about the issues involved in the study.
               At this point the moderator broke in and said to Ms. Glick that he agreed that these
           were very serious charges, and he asked her what evidence she had for her statements. Glick
           responded by saying that she had lots of evidence and that it was quite obvious to her that
           this study had been done to benefit gun manufacturers.
               The moderator then asked her to comment further on her claim that there were seri-
           ous problems with the study, and she stated that one only had to go to page 2 before find-
           ing a problem. Her concern was that I had used data for Florida that was a year and a half
           old. The moderator then asked her why this was a problem, since I couldn’t be expected
           to use data that was, say, as recent as last week. Ms. Glick responded by saying that a lot
           of things could have changed since the most recent data were available. I then mentioned
           that I had obtained more recent data since the study had been written and that the pattern




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          of people not using permitted guns improperly had held true from October 1987 to De-
          cember 31, 1995.
               A more recent exchange that I had with the Violence Policy Center’s President, Josh
          Sugarmann, on MSNBC on February 24, 1997, involved the same accusations.
               4. Douglas Weil, from the Center to Prevent Handgun Violence, a division of Handgun
          Control, wrote the following to the Washington Times: “Given that Mr. Lott has published
          70 papers in peer-reviewed journals, it is curious that he has chosen a law review for his
          research on concealed-gun-carrying laws” (Washington Times, Aug. 22, 1996, p. A16).
               5. Scott Harris, “To Build a Better America, Pack Heat,” Los Angeles Times, Jan. 9, 1997, p. B1.
          In many ways, my study was indeed fortunate for the coverage that it received. It appears
          that no other study documenting the ability of guns to deter crime has received the same
          level of coverage. MediaWatch, a conservative organization tracking the content of televi-
          sion news programs, reviewed every gun-control story on four evening shows (ABC’s World
          News Tonight, CBS’s Evening News, CNN’s The World Today, and NBC’s Nightly News) and three
          morning broadcasts (ABC’s Good Morning America, CBS’s This Morning, and NBC’s Today) from
          July 1, 1995 through June 30, 1997. MediaWatch categorized news stories in the following
          way: “Analysts counted the number of pro- and anti-gun-control statements by reporters
          in each story. Pieces with a disparity of greater than 1.5 to 1 were categorized as either for
          or against gun control. Stories closer than the ratio were deemed neutral. Among state-
          ments recorded as pro-gun control: violent crime occurs because of guns, not criminals,
          and gun control prevents crime. Categorized as arguments against gun control: gun con-
          trol would not reduce crime; that criminals, not guns are the problem; Americans have a
          constitutional right to keep and bear arms; right-to-carry concealed weapons laws caused
          a drop in crime.” MediaWatch concluded that “in 244 gun policy stories, those favoring
          gun control outnumbered stories opposing gun control by 157 to 10, or a ratio of almost 16
          to 1 (77 were neutral). Talking heads were slightly more balanced: gun-control advocates
          outnumbered gun-rights spokesmen 165 to 110 (40 were neutral).” The news coverage of
          my study apparently accounted for 4 of the 10 “anti-gun control” news reports. (Networks
          Use First Amendment Rights to Promote Opponents of Second Amendment Rights: Gun Rights Forces Outgunned
          on TV, MediaWatch, July 1997.)
               6. One of the unfortunate consequences of such attacks is the anger that they generate
          among the audience. For example, after Congressman Schumer’s letter to the Wall Street
          Journal, I received dozens of angry telephone calls denouncing me for publishing my Wall
          Street Journal op-ed piece on concealed-handgun laws without first publicly stating that the
          research had been paid for by gun manufacturers. Other letters from the Violence Policy
          Center making these funding claims produced similar results.
               Understandably, given the seriousness of the charges, this matter has been brought up by
          legislators in every state in which I have testified before the state legislature. Other politicians
          have also taken up these charges. Minnesota State Rep. Wes Skoglund (DFL-Minneapolis)
          provided one of the milder statements of these charges in the Minneapolis Star Tribune (Mar. 29,
          1997, p. A13): “Betterman [a Minnesota state representative] uses a much-publicized study
          by John Lott Jr., of the University of Chicago, to back up her claims about the benefits of her
          radical gun-carry law. . . . But what no one has told you about Lott’s study is that it has been
          found to be inaccurate and flawed. And Betterman didn’t tell you that the study was funded
          by the Olin Foundation, which was created by the founder of Winchester Arms.”
               7. I telephoned Ms. Rand to ask her what evidence she had for her claim that the study
          was “the product of gun-industry funding” and reminded her that the public relations
          oﬃce at the University of Chicago had already explained the funding issue to her boss, Josh
          Sugarmann, but Ms. Rand hung up on me within about a minute.
               8. Alex Rodriquez, “Gun Debate Flares; Study: Concealed Weapons Deter Crime,” Chicago
          Sun-Times, Aug. 9, 1996, p. 2. Kotowski made his remark at a press conference organized by
          the Violence Policy Center, whose president, Josh Sugarmann, had been clearly told by the




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           press oﬃce at the University of Chicago on August 6 that these charges were not true (as
           the letter by William E. Simon shown later will explain). Catherine Behan in the press oﬃce
           spent an hour trying to explain to him how funding works at universities.
               9. Chicago Tribune, Aug. 15, 1996.
               10. “Study: Concealed Guns Deterring Violent Crime,” Austin American Statesman, Aug. 9,
           1996, p. A12.
               11. The brief correction ran in the Austin American Statesman, Aug. 10, 1996.
               12. As Mr. Simon mentions, one journalist who looked into these charges was Stephen
           Chapman of the Chicago Tribune. One part of his article that is particularly relevant follows:
               Another problem is that the [Olin] foundation didn’t (1) choose Lott as a fellow,
               (2) give him money, or (3) approve his topic. It made a grant to the law school’s law
               and economics program (one of many grants it makes to top universities around the
               country). A committee at the law school then awarded the fellowship to Lott, one
               of many applicants in a highly competitive process.
                   Even the committee had nothing to do with his choice of topics. The fellowship
               was to allow Lott—a prolific scholar who has published some 75 academic articles—
               to do research on whatever subject he chose. . . .
                   To accept their conspiracy theory, you have to believe the following: A company
               that derives a small share of its earnings from sporting ammunition somehow pre-
               vailed on an independent family foundation to funnel money to a scholar who was
               willing to risk his academic reputation (and, since he does not yet have tenure, his
               future employment) by fudging data to serve the interests of the firearms lobby—
               and one of the premier research universities in the world cooperated in the fraud.
               (See Stephen Chapman, “A Gun Study and a Conspiracy Theory,” Chicago Tribune,
               Aug. 15, 1996, p. 31.)
                13. A Gannett Newswire story quoted a spokeswoman for the Coalition to Stop Gun
           Violence who made similar statements: “But Katcher said the study . . . was funded by the
           Olin Foundation, which has strong ties to the gun industry. The study has ‘been proven
           by a series of well-known, well-respected researchers to be inaccurate, false, junk science,’
           she said.” (Dennis Camire, “Legislation before Congress Would Allow Concealed Weapons
           Nationwide,” Gannett News Service, June 6, 1997.)
                14. John R. Lott, Jr., “Should the Wealthy Be Able to ‘Buy Justice’?” Journal of Political
           Economy 95 (Dec. 1987): 1307.
                15. “Notebook,” The New Republic, Apr. 14, 1997, p. 10.
                16. After much eﬀort, Randy was eventually able to get Cynthia Henry Thielen, a Hawai-
           ian State Representative, to participate in the radio program.
                17. Richard Morin, “Unconventional Wisdom: New Facts and Hot Stats from the Social
           Sciences,” Washington Post, Mar. 23, 1997, p. C5.
                18. It is surely not uncommon for academics to write letters to their local newspapers or
           to national or international publications, and indeed such letters were also written (see, for
           example, The Economist, Dec. 7, 1996, p. 8). But to track down the letters of everyday citizens
           to local newspapers and send replies is unusual.
                19. The Springfield State Journal-Register, Nov. 26, 1996. Steven Teret, director of the Center
           for Gun Policy and Research wrote dozens of letters to newspapers across the country. They
           usually began with statements like the following: “Recently in a letter to the editor dated
           October 19, Kurt Amebury cited the work of two University of Chicago professors” (Orlando
           Sentinel, Nov. 16, 1996, p. A18); “Recently the Dispatch published a letter to the editor citing the
           work of two researchers” (Columbus Dispatch, Nov. 16, 1996, p. A11); “The State Journal-Register
           Oct. 28 published two letters citing research by the University of Chicago’s John Lott” (Spring-
           field State Journal-Register, Nov. 13, 1996, p. 6); or “A recent letter to the editor . . .” (Buﬀalo News,
           Nov. 17, 1996, p. H3). In late November, I asked Stephen Teret how many newspapers he had




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          sent letters to. He would not give me an exact count, but he said “dozens” and then listed
          the names of some major newspapers to which they had written. It is curious that none of
          the eﬀort put into responding to my paper by the Center has gone into writing a comment
          for submission to the Journal of Legal Studies, where my original paper was published. Nor has
          the Center prepared a response for any other scholarly journal.
               20. My opinion piece appeared in the Omaha World-Herald, Mar. 9, 1997, p. B9.
               21. Virginia Code Annotated, § 18.2–3088 (1988).
               22. This discussion relies on conversations with Clayton Cramer.
               23. This point is similar to the “broken-window” argument made by Wilson and Kelling;
          see James Q. Wilson and George L. Kelling, “Making Neighborhoods Safe,” Atlantic Monthly,
          Feb. 1989.
               24. Some robberies also involve rape. While I am not taking a stand on whether rape or
          robbery is the primary motivation for the attack, there might be cases where robbery was
          the primary motive.
               25. Information obtained from Kathy O’Connell at the Illinois Criminal Justice Infor-
          mation Authority.
               26. For example, see Douglas Weil, “A Few Thoughts on the Study of Handgun Violence
          and Gun Control,” Washington Times, Aug. 22, 1996, p. A16.
               27. The durability of these initial false claims about Florida’s crime rates can be seen in
          more recent popular publications. For example, William Tucker, writing in the Weekly Stan-
          dard, claims that “Florida crime rates remained level from 1988 to 1990, then took a big dive.
          As with all social phenomena, though, it is diﬃcult to isolate cause and eﬀect.” See William
          Tucker, “Maybe You Should Carry a Handgun,” Weekly Standard, Dec. 16, 1996, p. 30.
               28. In an attempt to facilitate Black’s and Nagin’s research, I provided them not only with
          all the data that they used but also computer files containing the regressions, in order to
          facilitate the replication of each of my regressions. It was thus very easy for them to try all
          possible permutations of my regressions, doing such things as excluding one state at a time
          or excluding data based on other criteria.
               29. Dan Black and Dan Nagin, “Do ‘Right-to-Carry’ Laws Deter Violent Crime?”
          Carnegie-Mellon University working paper, Dec. 18, 1996, p. 5.
               30. In addition, because the regressions use individual county dummy variables, so that
          they are really measuring changes in crime rates relative to each county’s mean, one need
          not be concerned with the possibility that the average crime rates for the years that are
          farthest beyond the adoption of the concealed-handgun laws are being pulled down by
          relatively low crime rates in some states.
               31. Ian Ayres and Steven Levitt, “Measuring Positive Externalities from Unobservable
          Victim Precaution: An Empirical Analysis of Lojack,” NBER working paper 5928 (1997). The
          main issue with their empirical estimates, however, is whether they might be overestimat-
          ing the impact from Lojack because they do not control for any other responses to higher
          auto-theft rates. For example, while higher auto-theft rates might trigger implementation
          of Lojack, they might also increase purchases of other antitheft devices like The Club. In ad-
          dition, the political support for altering the distribution of police resources among diﬀerent
          types of crimes might also change. Unfortunately, neither Ayres and Levitt nor Lojack has
          made the information on the number of Lojacks installed available to other researchers. My
          attempts to replicate their results with dummy variables have found insignificant eﬀects.
               32. Ultimately, however, the levels of significance that I have tested for are the final
          arbiters in deciding whether one has enough data, and the results presented here are quite
          statistically significant.
               33. Daniel W. Webster, “The Claims That Right-to-Carry Laws Reduce Violent Crime Are
          Unsubstantiated,” The Johns Hopkins Center for Gun Policy and Research, copy obtained
          March 6, 1997, p. 5.




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               34. Jens Ludwig, “Do Permissive Concealed-Carry Laws Reduce Violent Crime?” George-
           town University working paper (Oct. 8, 1996), p. 12.
               35. “Battered Woman Found Not Guilty for Shooting Her Husband Five Times,” San
           Francisco Examiner, Apr. 9, 1997.
               36. In Chicago from 1990 to 1995, 383 murders (or 7.2 percent of all murders) were com-
           mitted by a spouse.
               37. For a detailed discussion of how Black’s and Nagin’s arguments have changed over
           time, see my paper entitled “‘If at First You Don’t Succeed . . .’: The Perils of Data Mining
           When There Is a Paper (and Video) Trail: The Concealed-Handgun Debate,” Journal of Legal
           Studies 27 (January 1998), forthcoming.
               38. Black and Nagin, “Do ‘Right-to-Carry’ Laws Deter Violent Crime?” Carnegie-Mellon
           working paper, version of December 18, p. 5, n. 4.
               39. The December 18, 1996, version of their paper included a footnote admitting this
           point:
              Lott and Mustard weight their regression by the county’s population, and smaller
              counties are much more likely to have missing data than larger counties. When we
              weight the data by population, the frequencies of missing data are 11.7% for homi-
              cides, 5.6% for rapes, 2.8% for assaults, and 5% for robberies.
               In discussing the sample comprising only counties with more than 100,000 people, they
           write in the same paper that “the (weighted) frequencies of missing arrest ratios are 1.9%
           for homicides, 0.9% for rapes, 1.5% for assaults, and 0.9% for robberies.”
               40. For rape, 82 percent of the counties are deleted to reduce the weighted frequencies
           of missing data from 5.6 to 0.9 percent. Finally, for robbery (the only other category that
           they examine), 82 percent of the observations are removed to reduce the weighted missing
           data from 5 to 0.9 percent.
               41. The reluctance of gun-control advocates to share their data is quite widespread. In
           May 1997 I tried to obtain data from the Police Foundation about a study that they had
           recently released by Philip Cook and Jens Ludwig, but after many telephone calls I was told
           by Earl Hamilton on May 27, “Well, lots of other researchers like Arthur Kellermann do not
           release their data.” I responded by saying that was true, but that it was not something other
           researchers approved of, nor did it give people much confidence in his results.
               42. See William Alan Bartley, Mark Cohen, and Luke Froeb, “The Eﬀect of Concealed-
           Weapon Laws: Estimating Misspecification Uncertainty,” Vanderbilt University working
           paper (1997).

           CHAPTER EIGHT
               1. Allison Thompson, “Robber Gets Outgunned on Westside,” Jacksonville (Florida) Times-
           Union, Sept. 24, 1997, p. B1.
               2. Craig Jarvis, “Pizza Worker’s Husband Shoots Masked Bandit,” Raleigh News and Observer,
           Dec. 11, 1996, p. B3.
               3. Other work that I have done indicates that while hiring certain types of police oﬃcers
           can be quite eﬀective in reducing crime rates, the net benefit from hiring an additional police
           oﬃcer is about a quarter of the benefit from spending an equivalent amount on concealed
           handguns. See John R. Lott, Jr., “Does a Helping Hand Put Others At Risk? Aﬃrmative Ac-
           tion, Police Departments, and Crime,” University of Chicago working paper (July 1997).
               4. The cost of public prisons runs about twice this rate; see Mike Flaherty, “Prisons for
           Profit; Can Texas System Work for Wisconsin’s Overflowing System,” Wisconsin State Journal,
           Feb. 16, 1997, p. Al.
               5. Fox Butterfield, “Serious Crime Decreased for Fifth Year in a Row,” New York Times,
           Jan. 5, 1997, p. 10.




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               6. Michael Fumento, “Are We Winning the Fight Against Crime?” Investor’s Business Daily,
          Feb. 5, 1997, p. A34.
               7. Yet there never was much controversy over this issue: when Congress debated the law,
          no one, not even the National Rifle Association, opposed background checks. The dispute
          was over a five-day waiting period versus an “instant check.”
               8. Fumento, “Fight Against Crime,” p. A34.
               9. After the Supreme Court decision, Arkansas completely stopped the background
          checks, while Ohio has essentially gutted the rules by making background checks voluntary.
          In addition, as “Ohio Deputy Attorney General Mark Weaver said, the responsibility for
          conducting background checks rests with counties and cities in most states—rather than
          with statewide agencies—and . . . ‘hundreds of counties’ stopped doing checks after the
          Supreme Court ruling.” (Joe Stumpe, “Arkansas Won’t Touch Gun Checks ‘Unwarranted,’
          Chief Cop Says,” Arkansas Democrat-Gazette, July 29, 1997, p. 1A.
               10. Bureau of Alcohol, Tobacco, and Firearms, A Progress Report: Gun-Dealer Licensing and Ille-
          gal Gun Traﬃcking, Washington, DC: Department of the Treasury, Bureau of Alcohol, Tobacco,
          and Firearms (Jan. 1997). John Lott, “A Fair Shot: New Legislation Claims to Ease the Unfair
          Burden on Gun-Stores,” National Review Online, July 26, 2006; and Michael Doyle, “Number
          of U.S. Gun Dealers Has Plunged,” Roanoke Times, Sept. 20, 2009.
               11. Many other restrictions on gun use have prevailed during the last couple of years,
          even some that appear fairly trivial. For example, in 1996 alone thirteen states voted on ini-
          tiatives to restrict hunting. The initiatives were successful in eleven of the states. Congress-
          man Steve Largent from Tulsa, Oklahoma, claims that the new rules are “part of a national
          eﬀort to erode our ability to hunt. . . . It wasn’t a local eﬀort. It was a national eﬀort.” Not
          only were the initiatives strongly supported by animal rights activists, but they also received
          strong support from gun-control advocates. It is probably not lost on gun-control advocates
          that support for gun control seems to be strongest among those who grew up in households
          without guns and that making hunting less attractive is one long-term way to alter support
          for these initiatives. See Janet Pearson, “A ‘Fair Chase’: Keep the Sport in Hunting” Tulsa
          World, Nov. 17, 1996, p. G1.
               12. For most government agencies that try to obtain higher funding, exaggerating the
          problems helps justify such higher funding. Michael Fitzgerald, a spokesman for the BATF
          in Chicago, is quoted as saying that 1 percent of federal license holders are estimated to
          be illegally running guns. “If that figure is accurate, the reduction of . . . dealers should
          eliminate a substantial number of traﬃckers.” See Jim Adams, “Number of Licenses Falls
          Dramatically: Crime Law Puts Squeeze on Gun Dealers; Zoning Can Be Used to Keep Gun
          Sales Out of Private Homes,” Louisville Courier-Journal, Mar. 20, 1997, p. A1.
               13. During the last few years, the BATF has been much more aggressive in harassing law-
          abiding gun owners and retailers. A recent study using 1995 data, by Jim Couch and William
          Shughart, claims not only that the BATF refers dramatically more criminal fire arm viola-
          tions to prosecutors in states that have more National Rifle Association members, but that
          Clinton’s own U.S. attorneys have declined to prosecute a much greater percentage of the
          cases referred to them in these states. They estimate that 54 percent of the variation across
          states in the BATF’s criminal referrals is explained simply by the number of NRA members
          in a state, and that about a quarter of these higher requests for prosecutions are declined by
          U.S. attorneys. See Jim F. Couch and William F. Shughart I, “Crime, Gun Control, and the
          BATF: The Political Economy of Law Enforcement,” University of Mississippi working paper
          presented at the March, 1997, Public Choice Meetings in San Francisco.
               14. I cannot end, however, without at least mentioning several excellent law-review
          articles on the issue of what was intended in the Second Amendment: see Nelson Lund,
          “The Second Amendment, Political Liberty, and the Right to Self-Preservation,” Alabama
          Law Review 33 (1988): 103–47; Robert J. Cottrol and Raymond T. Diamond, “The Fifth Aux-
          iliary Right,” Yale Law Journal 104 (1995): 309–42; Don B. Kates, “Handgun Prohibition and




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            the Original Meaning of the Second Amendment,” University of Michigan Law Review 82 (1983):
            204–68; William Van Alstyne, “The Second Amendment Right to Arms,” Duke Law Review 43
            (Apr. 1994): 1236–55; and Sanford Levinson, “The Embarrassing Second Amendment,” Yale
            Law Journal 99 (Dec. 1989): 637–89. Legal scholars seem to be in general agreement on the way
            the Second Amendment’s use of the word militia is so completely misinterpreted in current
            discussions of what the amendment means. The only twentieth-century case in which the
            Supreme Court directly interpreted the Second Amendment was United States v. Miller, 307 US
            174 (1939). The court was quite clear that historical sources “showed plainly enough that the
            Militia comprised all males physically capable of acting in concert for the common defense.”
            The court accepted “the common view . . . that adequate defense of the country and laws
            could be secured through the Militia—citizens primarily, soldiers on occasion.”
                The framers of the Constitution were also very clear on this issue. James Madison wrote
            in the Federalist papers that if a standing army threatened citizens’ liberties, it would be
            opposed by “a militia amounting to near a half-million citizens with arms in their hands”;
            see Clinton Rossiter, ed., The Federalist no. 46 (1961): 299. An excellent discussion of this and
            related issues is presented by David L. Franklin and Heather L. O’Farrell in their University
            of Chicago Moot Court brief on Printz and Mack v United States, Apr. 18, 1997.

            CHAPTER NINE
                1. Dates were established by doing a Nexis search. During 1996, Kentucky, Louisiana,
            and South Carolina enacted “shall-issue” laws. However, these did not go into eﬀect until
            extremely late in the year. Louisiana did not even start issuing applications until the end of
            September (Lisa Roland, “Applications for Concealed Handgun Permits to Be Issued This
            Week,” Gannett News Service, Sept. 20, 1999). In Kentucky, permits were also not issued until
            the very end of the year (Michael Quinlan, “Concealed Guns: Permits Will Take Time, Law
            Will Go into Eﬀect Tomorrow,” Louisville Courier-Journal, Sept. 30, 1996, p. Al). South Carolina’s
            law went into eﬀect August 22, 1996, but its permitting process also took a couple of months
            to start actually issuing permits (Kathy Steele, “Women with Guns on Rise,” Augusta (GA)
            Chronicle, Apr. 11, 1997, p. B2).
                2. While I believe the much more interesting question is how crime rates change before
            and after the adoption of right-to-carry laws, the states with right-to-carry laws in eﬀect
            for at least one year in 1996 had an average violent crime rate of 446.6 per 100,000 people,
            while the states with more restrictive “may-issue” rules had a violent crime rate of 592.6, and
            states banning concealed handguns a rate of 789.7. The main reason for not focusing on these
            numbers is simply that it ignores whether these states tended to be the lowest-crime-rate
            states even before they adopted right-to-carry laws. One method that partially accounts
            for this concern is to examine the cross-sectional data using the demographic, poverty,
            income, and other variables that have been employed throughout the book. After control-
            ling for these other factors, the presence of a right-to-carry law implies a violent crime
            rate 15 percent lower than the absence of a law implies, and the eﬀect is quite statistically
            significant, with a t-statistic that is significant at better than the .01 percent level for a two-
            tailed t-test.
                3. David Hemenway, “Book Review of More Guns, Less Crime,” New England Journal of Medicine,
            Dec. 31, 1998, pp. 2029–30.
                4. Jens Ludwig, “Concealed-Gun-Carrying Law and Violent Crime: Evidence from State
            Panel Data,” International Review of Law and Economics 18 (Sept. 1998): 239–54.
                5. The Northeast includes Connecticut, Delaware, the District of Columbia, Maine,
            Maryland, Massachusetts, New Hampshire, New Jersey, New York, Pennsylvania, Rhode
            Island, and Vermont; the South includes Alabama, Arkansas, Florida, Georgia, Louisiana,
            Mississippi, Missouri, North Carolina, Oklahoma, South Carolina, Tennessee, Texas, and
            Virginia; the Midwest includes Illinois, Indiana, Iowa, Kansas, Kentucky, Michigan, Min-
            nesota, Nebraska, North Dakota, Ohio, South Dakota, West Virginia, and Wisconsin; the




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          Rocky Mountains include Arizona, Colorado, Idaho, Montana, Nevada, New Mexico,
          Utah, and Wyoming; and the Pacific states include Alaska, California, Hawaii, Oregon, and
          Washington.
              6. Because of the criticism that it is unrealistic to use a simple dummy variable, I have
          decided to focus from the beginning on the more realistic approach that examines the
          before- and after-law trends in crime rates.
              7. The results using the old specifications also continue to be very similar.
              8. As another test of the sensitivity of the results, I also reestimated the before-and-after
          trends by limiting them to ten years before and after the adoption of the right-to-carry
          laws. The results equivalent to table 9.1 are –3.1 percent for violent crime, –0.8 percent for
          murder, –2.0 percent for rape, –2.6 percent for robbery, –3.3 percent for aggravated assault,
          and –0.4 percent for property crime. All the violent-crime category results are significant at
          least at the .01 percent level except for murder, which is significant at the 4 percent level.
              9. See also figures 7.7–7.9.
              10. Glenn Puit, “Survey: Gun Sales Increasing since Grocery Store Shooting,” Las Vegas
          Review-Journal, June 24, 1999, p. 4A; and “Gun Sales up 30 Percent This Year,” Associated Press
          Newswire, dateline San Francisco, Aug. 28, 1999. The Las Vegas Review-Journal article mentions
          that “Firearms instructors also said they have seen a jump in the number of people wanting
          to know the requirements to carry a concealed weapon. And, Las Vegas police have seen
          an increase in requests for concealed weapons permits in recent weeks.” The Associated
          Press story mentions that “Others say recent crime stories in the news, from the shooting
          rampage at a Los Angeles Jewish day camp to the tourist killings in Yosemite National Park,
          have motivated gun buyers.”
              11. The average murder rate for states over this period is 7.57 per 100,000; for rapes, 33.8;
          for aggravated assaults, 282.4; and for robberies, 161.8. A 4 percent change in murders is 0.3
          per 100,000, a 7 percent change in rape is 2.4 per 100,000, a 5 percent change in aggravated
          assaults is 14.1 per 100,000, and a 13 percent change in robberies is 21 per 100,000. By contrast,
          a one-percentage-point increase in the population with permits is 1,000 per 100,000.
              12. While small, lightweight guns are available and new materials have also made it
          possible to make lighter guns, most handguns weigh about the same as a laptop computer.
          Carrying them around requires some significant inconvenience.
              13. More precisely, I replaced the predicted percentage of the population with permits
          with the predicted percentage of the population with permits divided by the permit fee.
          This is the same as the interactions done earlier looking at the percentage with permits
          multiplied by county demographics.
              14. Ideally, one would also want to use the expected variation in permit rates across
          counties (though those data were not available at the time that I put these results together),
          but since I am examining all counties in the state, the state permitting rates at least allow us
          to rank the relative impact of right-to-carry laws across states.
              15. The diﬀerent drafts of their paper also went through diﬀerent specifications.
              16. Edward E. Leamer, “Let’s Take the Con Out of Econometrics,” American Economic Review
          173 (Mar. 1983): 31–43; and Walter S. McManus, “Estimates of the Deterrent Eﬀect of Capital
          Punishment: The Importance of the Researcher’s Prior Beliefs,” Journal of Political Economy 93
          (Feb. 1985): 417–25.
              17. I also included a tenth variable that examined the percentage of the adult population
          that was in prison, but there were suﬃcient theoretical objections to including this that I
          have decided not to report these results in the text. The major theoretical problem is that
          this variable is a “stock” while the crime rate is a “flow.” In other words, the prison popula-
          tion is created by the number of people who are convicted and sentenced over many years
          and not just how harsh the current sentences are. In fact, if tough sentencing in the past
          makes it more likely that current criminals will not be sentenced to prison terms as long
          as those of past criminals (e.g., because of a takeover of the prison system by the courts),




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           it is possible that there might even be a negative relationship between the prison popula-
           tion and the current toughness of the system. The bottom line is that past punishment is
           only roughly related to current punishment, particularly when average state diﬀerences
           are already being taken into account through fixed eﬀects and when regional yearly fixed
           eﬀects have also been added.
                18. In a powerful piece, Isaac Ehrlich and Zhiqiang Liu show that classic economics pa-
           pers concerning the law of demand, production theory, and investment theory would fail
           this test (Isaac Ehrlich and Zhiqiang Liu, “Sensitivity Analyses of the Deterrence Hypoth-
           esis: Let’s Keep the Econ in Econometrics,” Journal of Law and Economics 42 [Apr. 1999]: 455–88).
           Because of this strong bias toward not finding “true” relationships, Leamer and McManus
           have dropped oﬀ the 10 percent most extreme values on both ends of their estimates when
           they have reported their results. Yet even this does not protect most studies from having
           their results determined to be “fragile” by this test.
                19. One problem from excluding the arrest rate was never clearly made in the first edi-
           tion of this book. The reason using the arrest rate forces some county observations to be
           dropped is that when the number of crimes is zero, the arrest rate is “undefined.” Including
           counties with zero crime rates biases the results toward not finding an eﬀect because crime
           rates cannot fall below zero. Since these counties already have a zero crime rate, the passage
           of the right-to-carry law can produce no benefit. The more counties with zero crime rates
           that are included, the more the estimated benefit from the law will move toward zero.
                My work with Steve Bronars also examined whether replacing the crime-specific arrest
           rates with the overall violent-crime or property-crime arrest rates altered the results, and
           we found that it had no impact on the results. There are few counties which have no violent
           crimes of any type, so there are few missing observations for the violent-crime arrest rate
           (Stephen G. Bronars and John R. Lott, Jr., “Criminal Deterrence, Geographic Spillovers, and
           Right-to-Carry Laws,” American Economic Review 88 (May 1998): 475–79).
                20. While I find it diﬃcult to believe that anyone would argue that demographic fac-
           tors are not important in explaining crime rates, I did try a couple of specification tests.
           Paring the demographic variables down to the percentage of the population that is black,
           the percentage of the population that is white, the percentage of the population that is
           male, and the percentage of the population in the six diﬀerent age classifications leaves the
           results essentially unchanged. Eliminating the demographic variables entirely reduces the
           estimated drop in violent-crime rates from right-to-carry laws by at most one percentage
           point.
                21. The way that the county-level data were compiled was changed in 1994. Prior to that
           time those jurisdictions within a county which provided data for fewer than six months
           were estimated to have the same oﬀense rates as the rest of the county. From 1994 onward,
           the imputation method was applied only to counties with less than three months of data.
           For jurisdictions with at least six months of data prior to 1994 and at least three months of
           data after that time, the jurisdiction was calculated to have 12 / N oﬀenses, where N is the
           number of months reported.
                Because of concerns that this might aﬀect estimates using data after 1993, I reran the
           regressions reported in table 9.1 by including a variable for the change in a county’s crime
           rate between 1993 and 1994. This change variable was included for the 1994–1996 observa-
           tions to account for the relative diﬀerences that this change in measurement might have
           had across diﬀerent counties. The results are similar to those already reported. The annual
           diﬀerence in the trends in violent-crime rates before and after the passage of a right-to-carry
           law are –1.4 percent for murder, –2.94 percent for rape, –2.8 percent for robbery, and –3.12
           percent for aggravated assault. All the results are significant at better than the .01 percent
           level with F-tests of 17.36, 83.33, 87.38, and 87.31, respectively.
                22. These data draw on research that I am currently conducting with Kevin Cremin.
           Kevin collected all the data used here on policing policies.




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              23. “[The] problem-solving eﬀort began essentially as directed patrol operations designed
          to identify patterns of oﬀending or known oﬀenders and to deploy police to catch the
          oﬀenders. All gradually evolved into quite diﬀerent eﬀorts that involved activities other than
          arrest and agencies other than the police. The attack on burglaries in the housing projects
          involved surveying tenants, cleaning the projects, creating a multiagency task force to deal
          with particular problems in the housing projects, and organizing the tenants not only to
          undertake block watches but also to make demands on city agencies. The attack on thefts
          from cars eventually involved the inclusion of police oﬃcers in the design of new parking
          lots to make them less vulnerable to theft. The attack on prostitution and robbery involved
          enhanced code enforcement against hotels and bars that provided the meeting places for
          prostitutes and their customers as well as decoy operations” (Christopher Slobogin, “Why
          Liberals Should Chuck the Exclusionary Rule,” University of Illinois Law Review 99 (1999): 363.
              24. The data on community-oriented policing, problem-oriented policing, and the
          broken-windows strategy were primarily obtained by using the Westlaw “News” database.
          For community policing, the search took the form [name of city] & “community policing”
          & DA(BEF 1 / 1 / 1997) & DA(AFT 1 / 1 / 1975). For problem-oriented policing, the search took
          the form (“Problem Solving Policing” or “Problem-Solving Policing” or “Problem Oriented
          Policing” or “Problem-Oriented Policing”) & DA(AFT 1 / 1 / 1975) & DA(BEF 1 / 1 / 1997). Fi-
          nally, for the broken-windows strategy, the search consisted of “Broken Window” & Crime
          & DA(AFT 1 / 1 / 1975) & DA(BEF 1 / 1 / 1997) AND NOT “Broken Windows.” Other sources
          were also investigated. For community policing, the sources included Robert C. Trojano-
          wicz and Hazel A. Harden, “The Status of Contemporary Community Policing Programs,”
          National Center for Community Policing, 1985; Washington State University, Division of
          Governmental Studies and Services (DGSS), surveys of police administrators conducted
          at three-year intervals between 1978 and 1994; Anna Sampson, “National Survey of Com-
          munity Policing Strategies, 1992–93”; and Robert C. Trojanowicz et al., “Community Po-
          licing: A Survey of Police Departments in the United States,” 1994. However, the only one
          of these studies which identifies the cities is the 1985 Trojanowicz and Harden study. The
          authors of the other studies were unwilling to identify the cities in their samples. For the
          broken-windows strategy, George Kelling’s book was also used to identify additional cities
          (George L. Kelling, Fixing Broken Windows: Restoring Order and Reducing Crime in Our Communities [New
          York: Free Press, 1998]).
              25. John R. Lott, Jr., “Does a Helping Hand Put Others at Risk? Aﬃrmative Action, Police
          Departments, and Crime,” Economic Inquiry (forthcoming).
              26. For example, policing policies may have changed because of concerns about future
          crime rates. Not adopting the change might have resulted in even more crime.
              27. Bartholomew Sullivan, “Students Recall ‘Unreal’ Rampage,” Commercial Appeal,
          June 11, 1998, p. A1.
              28. Lance Gay, “New Gun Measure Wouldn’t Have Halted School Tragedies,” Cleveland
          Plain Dealer, May 30, 1999, p. 19A.
              29. Pam Belluck and Jodi Wilgoren, “Shattered Lives—a Special Report: Caring Parents,
          No Answers, in Columbine Killers’ Pasts,” New York Times, June 29, 1999, p. A1; and Virginia
          Culver, “Pastor Comforts Gunman’s Family,” Arizona Republic, May 1, 1999, p. D7.
              30. Evelyn Larrubia, Ted Rohrlich, and Andrew Blankstein, “Suspect Scouted 3 Promi-
          nent L.A. Jewish Sites as Targets,” Los Angeles Times, Aug. 13, 1999, p. 1.
              31. An earlier attempt by Congress to pass this law was never really enforced and was
          struck down by the Supreme Court in 1995. The 1995 law put in simple “boiler plate” lan-
          guage requiring that prosecutors make a finding that the gun or parts of the gun had been
          involved in interstate commerce.
              32. These results are available at http: // ssrn.com / abstract=272929. If the variance doesn’t
          equal the mean, the appropriate test is to use a negative binomial, which no longer requires
          this assumption. Redoing the results presented in this chapter with a negative binomial




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           produces results extremely similar to those that will be reported. For example, redoing the
           right-to-carry estimates for table 6.6 with a negative binomial produces
               Murders in multiple-victim public shootings: 71%, z = 2.496, significant at the 1.3%
                   level
               Injuries in multiple-victim public shootings: 83%, z = 3.414, significant at the 0.1%
                   level
               Attempted or actual bombings: 67%, z = 3.821, significant at the 0.1% level
               33. To illustrate, let the probability that a single individual is carrying a concealed hand-
           gun equal .10. Assume further that there are 10 individuals in a public place. Then the
           probability that at least one of them is armed is 1 – .910, or about .65.
               34. Baltimore Sun, Apr. 30, 1999.
               35. Greg Pierce, “Professional Viewpoint,” Washington Times, Sept. 3, 1999, p. A5.
               36. Even so-called smart locks, which are activated by one’s fingerprint or by a special
           ring with a computer, pose several types of risks. With locks activated by fingerprints, a
           spouse would be unable to use the gun to come to the other person’s rescue if the gun
           were coded for the other person. The person must also correctly position the finger on the
           fingerprint reader. Small diﬀerences in the angle of the finger may leave the gun inoperable
           even for the designated user.
               37. This discussion is based upon research that I am currently doing with John
           Whitley.
               38. Peter Cummings, David C. Grossman, Frederick P. Rivara, and Thomas D. Koepsell,
           “State Gun Safe Storage Laws and Child Mortality Due to Firearms,” Journal of the American
           Medical Association 278 (Oct. 1, 1997): 1084–86.
               39. U.S. General Accounting Oﬃce, “Accidental Shootings: Many Deaths and Injuries
           Caused by Firearms Could Be Prevented” (Washington, DC: U.S. General Accounting Oﬃce,
           Mar. 1991).
               40. An article in the Journal of the American Medical Association does not control for any other
           factors but claims that 23 percent of the accidental gun deaths for children under fifteen
           would have been prevented by these storage rules. In 1996, this would have amounted to
           thirty-two lives if the laws had been in eﬀect for the entire country. One obvious mistake
           that this article made was that it made no attempt to account for the normal downward
           trend in accidental gun deaths that would have continued to at least some extent even with-
           out these safe-storage laws. Since no other variables were being controlled for, all of the drop
           was being attributed to the new law (Cummings et al., “State Gun Safe Storage Laws”).
               41. As of this writing, the Violence Policy Center still has a section of its Web site entitled
           “Funder of the Lott CCW Study Has Links to the Gun Industry” at http: // www.vpc.org /
           fact_sht / lottlink.htm.
               42. M. W. Guzy, “Soft Logic on Hard Facts on Guns,” St. Louis Post-Dispatch, July 22,
           1998, p. B7.
               43. Shelley Kiel [state senator in Nebraska], “Some Gun Restrictions Needed,” Omaha
           World-Herald, July 11, 1998, p. 11.
               44. Kevin Beck, “Conceal Carry,” St. Louis Post-Dispatch, Aug. 12, 1998.
               45. Minnesota Representative Wesley Skoglund on PBS’s Almanac, Sept. 26, 1998.
               46. Take for example a June 21, 1999, discussion between two people on alt.fan
           .cecil-adams:
              “Dutch Courage”: hey, did you know Lott’s study was funded by a gun manufacturer?
                  I did. That’s a little suspicious, don’t you think?
              “Shawn Wilson”: Actually, it wasn’t.
              “Dutch Courage”: You’re right, it was a foundation founded by the owner of a gun
                  company, which is now an ammunition company, and further the foundation




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                 has large holdings in this company, and several of the directors of this foundation
                 are men with standing within the company which shares the name. So much for
                 his reputation as an honest scholar and academic reputation, eh?

               47. Linnet Myers, “Go Ahead . . . Make Her Day,” Chicago Tribune, May 2, 1999, p. C12. See
          also Diane Carman, “Gun-Bill Premise Is Bogus,” Denver Post, Mar. 23, 1999, p. B1: “While
          gun-control activists have criticized Lott’s work because it is funded in part through a grant
          from the Olin Foundation, which was founded by the largest manufacturer of ammuni-
          tion in the U.S., [Jens] Ludwig argues that the debate about the grant money ‘only distracts
          people. The study fails on its merits.’”
               48. This quote is from the Web site of Handgun Control, Inc. (http: // www
          .handgun-control.org / lott.htm). The Violence Policy Center’s claim that I believe that “in-
          creases in the percent of minority police oﬃcers increase crime rates” can be found at http: //
          www.vpc.org / fact_sht / wholott.htm. Of course, the Violence Policy Center fails to mention
          the rest of the abstract in question, which points out that the paper (Lott, “Does a Helping
          Hand Put Others at Risk?”) will investigate “whether these increases in crime are due to
          changes in the quality of all new police oﬃcers or just minority oﬃcers.”
               49. The previous footnote provides references for this claim on gun-control Web sites.
          Similar statements were made by Luis Tolley, the western regional director for Handgun
          Control, Inc., at a debate that I participated in at Claremont College, and Tom Diaz, an
          analyst for the Violence Policy Center, has made this claim a couple of times when we ap-
          peared on radio shows together.
               50. Lott, “Does a Helping Hand Put Others at Risk?”
               51. The selective quoting was obviously a well-orchestrated campaign, with newspaper
          editorials also getting involved in repeating the statements by Handgun Control. Consider
          the following editorial attack on me: “In May 1998, for instance, he published the follow-
          ing in a police research journal: ‘Increasing black oﬃcers’ share of the police force by one
          percentage point increases murders by four percent, the violent crimes by seven percent,
          and property crimes by eight percent. . . . More black and female oﬃcers are also associ-
          ated with declines in both the arrest and conviction rates’” (Editorial, “A Lott More Guns,”
          St. Louis Post-Dispatch, Mar. 23, 1999, p. B6). They failed to quote some other sentences in this
          same piece, such as “Not all black oﬃcers nor all white oﬃcers nor all oﬃcers of any other
          race are of the same quality. Some black oﬃcers are undoubtedly better at reducing crime
          than most potential white oﬃcers, and some white oﬃcers are probably better than most
          potential black oﬃcers. The question is how to select those oﬃcers who will do the best job.
          There is the possibility that choosing applicants by race or sex could work against hiring the
          best oﬃcers available. . . . One must be very clear about what is happening, however. The
          large impact of more black oﬃcers indicates that more than just the quality of new minor-
          ity recruits or new minority promotions are aﬀected. Indeed, changing tests to employ a
          greater percentage of blacks appears to make it more diﬃcult to screen out lower-quality
          candidates generally, including whites and other racial groups” (John R. Lott, Jr., “Who Is
          Really Hurt by Aﬃrmative Action?” Subject to Debate, May 1998, pp. 1, 3).
               52. William F. Shughart II, “More Guns, Less Crime: Understanding Crime and Gun
          Control Laws: Review,” Southern Economic Journal 65, no. 4 (Apr. 1, 1999): 978.
               53. Bruce L. Benson, “Review of More Guns, Less Crime,” Public Choice 100 (Sept. 1999), nos.
          3–4: 309.
               54. Stan Liebowitz, “Handgun Argument Is Loaded,” Dallas Morning News, June 21, 1998.
               55. Nelson Lund, “Gunning Down Crime: The Statistics of Concealed Weapons,” Weekly
          Standard, June 1, 1998.
               56. Joanne Eisen and Paul Gallant, “Scientific Proof That Gun Control Increases the Cost
          of Crime,” Shield, Summer 1998, p. 42.




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               57. I really don’t take most threats very seriously, and I believe that it is just people
           blowing oﬀ steam. The worst threats usually come over the telephone, though I did have
           some regular writers from Canada who would express the hope that someone would get a
           gun and kill either me or my family members. The one e-mail threat that was forwarded
           to me by one of the editors at the University of Chicago Press gives some idea of the types
           of comments I received:
                   Pass along the word, to that soulless weasel and absolutely irresponsible chicken-
              shit John M. Lott that he better change his name and get some plastic surgery be-
              cause his days of [obscenities deleted] of the NRA’s [obscenities deleted] will be quickly
              coming to a crashing close if he keeps trying to pass oﬀ unethical, and second rate
              statistics with his pseudoscience rhetorical sylogisms.
                   My point—someone is going to become very angered by the view of this imbe-
              cile, and is going to get a concealed hand-gun permit and find where he lives and
              make a point. I won’t lose sleep knowing that one more moron is dead, but I feel
              that he should be warned none-the-less. Also, if John Lott had any integrity he’d
              make it possible to reach him. Since the little scatmuncher is playing hide and seek
              by having no-available e-mail adress, whoever reads this please forward this too him.
              This is not a threat, just a warning.
                   Sometimes when views of cretins like this are expressed I think “love it or leave
              it,” and man, if our scholars get any stupider and any more immoral than Mr. Lott
              I’m out of this shit house. I nearly packed my bags.
               58. Matt Bai, “Is He the Smoking Gun?” Newsweek, Jan. 25, 1999, Business section.
               59. “According to the Federal Bureau of Investigation’s Uniform Crime Report, from 1992 to
           1997, states which made it easier for citizens to carry concealed handguns had a significantly
           smaller drop in their crime rates than states which chose not to loosen their concealed
           weapons laws” (Brian Morton [associate director of communications for Handgun Control
           and the Center to Prevent Handgun Violence], “John Lott’s Gun Research Doesn’t Hold Up
           to Review,” Fort Wayne Journal Gazette, Aug. 15, 1999, p. 3C).
               Even when others would state that the FBI indeed did not produce these claims, Hand-
           gun Control’s press release was put on the same footing as my research. Consider the fol-
           lowing: “The Center to Prevent Handgun Violence did a 1999 analysis of crime statistics
           that came to a conclusion opposite of Mr. Lott’s, and their study (like his) is open to re-
           view by experts in many fields” (Molly Ivins, “More Guns, Less Crime? Are You Sure?” Fort
           Worth Star-Telegram, Aug. 15, 1999). For clarification, the Center to Prevent Handgun Violence
           is part of Handgun Control, and Sarah Brady serves as the head of both organizations.
           Many similar statements were made by the media in Missouri during the debate over the
           concealed-handgun law.
               60. For example, a December 1998 press release on children and gun violence had South
           Carolina and Colorado ranking similarly in terms of how liberal their right-to-carry laws
           were, but by January 1999, in a press release examining the change between 1992 and 1997,
           Colorado was listed as having a more restrictive law than South Carolina. The only motiva-
           tion that I can conjecture for the change was that it helped get them the diﬀerent results
           that they wanted.
               61. “In stark contrast, a review of the national Uniformed Crime Reporting data, which is
           compiled by the FBI each year from state and local law enforcement agencies, indicates that
           the violent crime rate has fallen in all states by an average of 19 percent from 1992–97” (Rich-
           ard Cook, “Don’t Buy the Pro-Gun Arguments,” Kansas City Star, Mar. 11, 1999, p. B7).
               62. Peter Squires, “Review of More Guns, Less Crime,” British Journal of Criminology 39, no. 2
           (Spring 1999): 318–20.
               63. My book does not even cite this quotation, though I mentioned it in an earlier re-




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          search paper because it was “quite relevant” to the debate over concealed handguns: it
          illustrates both the possibility of deterrence and the fears about the possible disasters that
          such laws could lead to.
              Still other recent discussions in medical journals continue claiming that the nondiscre-
          tionary concealed-handgun laws for “several counties . . . were misclassified” and that the
          National Academy of Sciences deemed it inappropriate to account for arrest rates when
          researchers tried to explain changes in crime (see Arthur Kellermann and Sheryl Heron,
          “Firearms and Family Violence,” Emergency Medicine Clinics of North America, Aug. 1999, pp. 699–
          708). Of course, responses 4 and 9 on pages 132–33 and 142 in this book addressed the first
          concern and page 18 discussed the second one.
              64. http: // www.handguncontrol.org / gunowner / statflaw.htm.
              65. Doug Weil, Handgun Control’s research director, provided the only response that
          I know of to my research on the Brady law by claiming that “Since John’s data does not
          cover the years following implementation of the Brady Act, it’s hard to know how he can
          claim to have studied the impact of the Brady law on crime rates or criminal access to guns”
          (“More Guns, Less Crime?: A Debate between John Lott, Author of More Guns, Less Crime, and
          Douglas Weil, Research Director of Handgun Control, Inc.,” an online debate sponsored by
          Time magazine, transcript from July 1, 1998.) In fact, my book examined data up through
          1994, the first year that the Brady law was in eﬀect.
              66. Romesh Ratnesar, “Should You Carry A Gun? A New Study Argues for Concealed
          Weapons,” Time, July 6, 1998, p. 48.
              67. I responded by saying that he was doing more than simply reporting these statements
          as claims when he used phrases like “Lott dropped” or “the book does not account.” More
          importantly, readers were likely to believe that he had looked at the material and that he
          would not print something, even if the critics claimed it was true, unless it was true. Again,
          he emphasized that his role was that of a reporter and not to take sides in the debate.
              I had called Romesh in part to tell him that I planned to send in a letter clarifying these
          points, and Time magazine did print a letter. Undoubtedly he played some role in guaran-
          teeing that the letter was published, but it seems doubtful that the letter carried the same
          weight as a statement by the reporter about whether he could verify if the claims made
          against me were true. The letter in Time magazine was printed in the Aug. 3, 1998, issue under
          the heading “More about Concealed Weapons.” It read:
             While your piece “Should You Carry a Gun?” [July 6] was generally favorable toward
             my new book, More Guns, Less Crime, it contained seriously misleading statements.
             Despite accusations by some critics, my study on the eﬀect that carrying concealed
             weapons has on crime absolutely did not ignore “counties that had no reported mur-
             ders or assaults for a given year.” In contrast to the tiny samples in previous work by
             others, I used data on all the counties in the U.S. that were available when I did the
             study on the years from 1977 to 1994. It is likewise false that I did “not account for
             fluctuating factors like poverty levels and police techniques.” Among the factors I
             included in the analysis were poverty, income, unemployment, arrest and conviction
             rates, the number of police oﬃcers and police expenditures per capita, as well as the
             impact that the prevention of less serious crimes has on more serious ones.
               68. Ivins, “More Guns, Less Crime? Are You Sure?”
               69. Tom Teepen, “A Modest Proposal: Let’s Arm the Teachers,” Atlanta Journal and Constitu-
          tion, Sunday, May 17, 1998, p. 2G.
               70. The following letter of mine appeared in the Atlanta Journal and Constitution, May 24,
          1998, p. 6B:
               Tom Teepen’s column “A modest proposal: Let’s arm the teachers,” Perspective,
             May 17), an attack on my new book “More Guns, Less Crime” (University of Chicago




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              Press), contained misleading information. He claimed that “Lott can’t fairly compare
              1988 and 1996 exit polls on gun ownership, as he does, because the questions were
              asked diﬀerently.” Yet on pages 36–37 in my book, I point out this fact and discuss in
              detail what impact this has on estimates of changing gun ownership.
                   Citing a paper in the Journal of Legal Studies, Teepen claimed that I make a “funda-
              mental gaﬀe” by failing to consider other anti-crime variables. My book provides the
              first systematic national evidence and examines the crime, accidental gun death, and
              suicide rates for all 3,054 counties in the United States by year from 1977 to 1994. No
              other study on crime has attempted to account for anywhere near as many diﬀer-
              ent factors that could have aﬀected crime rates over time. Unlike the Centers for
              Disease Control and Prevention’s claim that homes with guns were “more likely to
              experience suicide,” or have “a member of the family killed by another member or
              by an acquaintance,” I did not focus on data from only one or a few cities for only
              one year. There is no evidence that these claims are correct.
                   Obviously, bad things can happen with guns, but guns also prevent bad things
              from happening to people. The evidence in my book indicates that many more lives
              are saved than lost from gun ownership.
               71. An editor at the Fort Worth Star-Telegraph, Bob Davis, was very helpful, and he took the
           time to read my book to evaluate whether a mistake had been made. He printed a response
           by me in his newspaper, and he asked Creators Syndicate, which distributes Ms. Ivins’s
           commentary, to make the response available to other newspapers around the country that
           carried Ms. Ivins’s column. Unfortunately, despite repeated promises by Creators to do so,
           they never followed through on this.
               72. Let me just give a couple of other examples.
              Even John Lott admits that 58 percent of homicides are committed either by family
              members or friends and acquaintances, not criminals. (Richard Scribner, [director
              of the Injury Control Research Center], “More Guns Don’t Mean a Safer Society,”
              New Orleans Times-Picayune, Apr. 28, 1999, p. B6)
              Dr. Lott’s own analysis accounts for only about 10 percent of why some crime rates
              have fallen. We need to explain the other 90 percent before concluding that the
              “best” social policy is to carry more handguns. (Shela Van Ness, “More Guns, Less
              Crime? This Isn’t Just a ‘Good Guy’ vs. ‘Bad Guy’ Issue,” Chattanooga Times / Chattanooga
              Free Press, May 9, 1999, p. H1)
           For the first point, not only do I not “admit” this, but my book points out that this claim
           is extremely misleading because the term “acquaintances” primarily includes rival gang
           members killing each other or drug buyers and drug sellers killing each other. As to the
           second point, the estimates shown in this book explain about 80–95 percent of the variation
           in crime rates.
               73. The Chronicle of Higher Education noted that the opposition to my book also showed
           up in the University of Chicago Press, this book’s publisher. The Chronicle reported that
           “The book also caused a mini-revolt at Chicago, where salespeople initially blanched at the
           prospect of pitching it to bookstores. Some cited personal views about guns; others thought
           that the book would alienate booksellers” (Christopher Shea, “‘More Guns, Less Crime’: A
           Scholar’s Thesis Inflames Debate over Weapons Control,” Chronicle of Higher Education, June 5,
           1998, p. A14).
               74. In this case, the dummy must be interpreted as whether the law raised or lowered
           the crime rate as quickly as the quadratic time trend would predict.
               75. This example is taken from David D. Friedman’s Web site, www.best.com / ~ddfr /
           Lott_v_Teret / Lott_Mustard_Controversy.html.
               76. Virtually identical complaints have been posted on the Handgun Control, Inc., Web




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          site, where Handgun Control writes: “To this day, John Lott has failed to provide any statisti-
          cal evidence of his own that counters Black and Nagin’s finding that Lott’s conclusions are
          inappropriately attributed to changes in concealed-carry laws. Until Lott can do this, it is
          inappropriate for him to continue to claim that allowing more people to carry concealed
          handguns causes a drop in crime.”
               77. Dan A. Black and Daniel S. Nagin, “Do Right-to-Carry Laws Deter Violent Crime?”
          Journal of Legal Studies 27 (Jan. 1998): p. 213.
               78. What is mystifying to me is how others have also continued to make this claim.
          Hashem Dezhbakhsh and Paul H. Rubin claim that “We believe that Lott and Mustard’s
          findings are suspect, mainly because of the way they parameterize and measure the eﬀect
          of permissive handgun laws on crime. They model the eﬀect as a shift in the intercept of the
          linear crime equation they estimate at the county level. This approach is predicated on two
          assumptions: (i) all behavioral (response) parameters of this equation (slope coeﬃcients)
          are fixed (unaﬀected by the law), and (ii) the eﬀect of the law on crime is identical across
          counties” (Hashem Dezbakhsh and Paul H. Rubin, “Lives Saved or Lives Lost? The Eﬀects
          of Concealed-Handgun Laws on Crime,” American Economic Review Papers and Proceedings, May
          1998, p. 468).
               79. http: // www.best.com / -ddfr / Lott_v_Teret / Friedman_on_B_and_N.html. A great
          deal of debate about my research and other gun-related research takes place on the Internet
          in discussion groups such as talk.politics.guns or on Web sites such as David Friedman’s,
          which allows for a very detailed discussion of the issues. The give and take also allows people
          to ferret out the weaknesses and strengths of diﬀerent arguments.
               80. Benson, “Review of More Guns, Less Crime” p. 312.
               81. An example of one of the other criticisms is by Ayres and Donohue where they
          write that “the ultimate criticism of Lott will be that the model is too flawed to provide
          any information on the eﬀect of the law. . . . One of the strongest results to emerge from
          Lott’s book is that shall issue laws, as he models them, lead to higher property crime. If
          you don’t believe this, then you cannot endorse any of Lott’s findings. But, to believe that
          property crime rose you must believe that the rate of robbery fell, because the only reason
          that more concealed handguns would cause property crime to go up is that some other
          money-generating activity became less available or less attractive. One would hardly expect
          that someone desiring to beat up an individul would instead decide to steal a car if the as-
          saultive option were foreclosed. But since the robbery results are arguably weak, it is hard to
          tell a convincing story that would explain the alleged shift from violent crime to property
          crime that the Lott model attributes to shall issue laws” (Ian Ayres and John J. Donohue III,
          “Nondiscretionary Concealed Weapons Laws: A Case Study of Statistics, Standards of Proof,
          and Public Policy,” American Law and Economics Review 1, nos. 1–2 (Fall 1999): 436–70.
               82. The “recidivism” referred to by Ayres and Donohue is actually not a good measure for
          what they are discussing, since recidivism refers to whether criminals keep on committing
          a crime after they have been punished by the legal system.
               83. Ayres and Donohue raise another issue that should be discussed at least briefly, and
          that is the use of the percentage of a state’s population that is in prison as an enforcement
          variable. They find that including this variable strengthens the results, but while the vari-
          able provides some information, there are some important theoretical problems with it.
          One problem is that the prison population and the crime rate are simply in diﬀerent units.
          The prison population measures a “stock,” while the crime rate represents a “flow.” The
          simplest comparison is between the amount of water in a bathtub (a stock) and the rate
          at which water is flowing into the bathtub (a flow). The amount of water in the bathtub is
          only loosely related to the current flow into it because it depends upon not only flows in
          previous periods but also the rate at which water is flowing out of it. A second problem is
          that I have focused on county-level data because of the heterogeneity in law enforcement
          across counties within a state, and this variable is available only at the state level.




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               84. For example, Sarah Brady, “Q: Would New Requirements for Gun Buyers Save lives?
           Yes: Stop Deadly, Unregulated Sales to Minors, at Gun Shows and on the Internet,” Insight,
           June 21, 1999, p. 24; or “More Guns, Less Crime? A Debate between John Lott and Douglas
           Weil.”
               85. Gary Kleck, Targeting Guns: Firearms and Their Control (Hawthorne, NY: Aldine de Gruyter
           Publishers, 1997), p. 371.
               86. This is true whether one uses the 430,000 instances in 1997 in which crimes with guns
           were reported to police in the Uniform Crime Report or the number that is about twice as large
           from the National Crime Victimization Survey.
               87. Frank Main, “Taxpayers Pay Big Part of Gunshot Victims’ Bills,” Chicago Sun-Times,
           Aug. 4, 1999, p. 30.
               88. Another survey by gun-control advocates claims that “four million legal handgun
           owners sometimes carried guns for protection ‘in connection with work.’ Two-thirds of
           those who carried handguns said they kept them in their vehicles, while the others said
           they sometimes carried them. . . . The researchers said about 56 percent of those who car-
           ried handguns outside of work did so fewer than 30 days per year, while 22 percent said they
           rarely left home without a gun” (Will Hacker, “Majority of Owners Cite Security Concerns,”
           South Bend Tribune, June 29, 1997, p. A6).
               89. Janelle Hartman, “Assailant Gets Shot by Victim,” Eugene (OR) Register Guard, Mar. 11,
           1998, p. 1.
               90. Nicole Marshall, “Concealed Gun Carrier Subdues Suspect: Man Reportedly Had
           Snatched Toddler,” Tulsa World, Jan. 31, 1998.
               91. Frank J. Murray, “Arizona Gun Owner’s Courage Led to Scary Arrests,” Washington
           Times, May 2, 1999, p. C8.
               92. Laurie Mason, “Customer Stops Would-Be Robber,” Bucks County Courier Times, Dec. 13,
           1998, p. 7C.
               93. Edward W. Lempinen, “Robber Shot Dead,” Newsday, Aug. 3, 1999, p. A3; “Concealed
           Carry Permit Pays Oﬀ,” Local Cincinnati-Northern Kentucky TV 9 Evening News, Aug. 19, 1999;
           Tom Jackman and Maria Glod, “A Glimmer of Hope, Then Violent Death,” Washington Post,
           June 21, 1999, p. B1; “Carjacking Suspect Critically Wounded,” Arizona Republic, June 5, 1999,
           p. B2; and Joe Brogan, “Rent Collector Shoots, Kills Riviera Robber,” Palm Beach Post, Jan. 14,
           1999, p. B1.
               A case from the end of 1998 that deserves some mention involved an eighty-one-year-old
           Chicago native who defended himself by illegally carrying a concealed handgun—a gun
           that he wasn’t even allowed to own legally in Chicago, let alone carry with him.
              In the pre-dawn hours Tuesday, 81-year-old Bruno Kosinski looked like an easy mark
              for a robbery. Kosinski, a frail man with thinning white hair who shuﬄes his feet as
              he walks slightly hunched over, was getting into his car in Ukrainian Village when
              he felt something wet on his head. In a few brief moments, two teenagers allegedly
              squirted pepper spray in his face, pushed him to the ground, took his wallet and,
              still unsatisfied, threatened to kill him, police said. Kosinski did something authori-
              ties said was rare: The 5-foot-5 elderly man used a concealed handgun he carries
              in his pants. Without saying a word, he got to his feet and fired once. . . . Kosinski,
              admitting he illegally carried a concealed handgun, was unapologetic. “I don’t feel
              at all sorry that it happened,” said Kosinski. . . .”The least that I could do was defend
              myself.” (Bechetta Jackson and Todd Lightly, “Aged Hold-Up Victim Shoots Teen
              Suspect,” Chicago Tribune, Dec. 8, 1998, sec. 2, p. 8)
               94. Mene Tekel Upharsin, “Homeowner Grabs Gun for Self-Defense, Assists Police in
           Capture of Escaped Murderer,” Associated Press Newswire, Aug. 21, 1999, 8:37 EDT. What would
           have become a multiple-victim public shooting at a business in July 1999 was stopped by
           a person with a concealed handgun (“Gunman Turns Weapon on Gun Store Employees,




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          Is Wounded in Shootout,” St. Louis Post-Dispatch (from Reuters), July 7, 1999, p. A11; and see
          also Thomas Sowell, “Why Does Media Hide Benefits of Arming Citizens?” Bergen County (NJ)
          Record, July 19, 1999, p. L3). Typical is the story of a Greenville, North Carolina, restaurant
          owner who prevented a robbery with a gun that he carried with him all the time “in the
          small of his back” (Travis Fain, “Man Shot, Killed in Attempted Robbery,” Daily Reflector,
          June 2, 1999, p. B1). Other articles on prevented robberies from June 1999 can be found in the
          Providence Journal, June 18, 1999; the Prescott (AZ) Daily Courier, June 13, 1999; the Augusta (GA)
          Chronicle, June 16, 1999; and the Aiken (SC) Standard, June 2, 1999.
               95. “Man Charged in Robbery Hurt in Intimidation Bid,” Buﬀalo News, Jan. 16, 1999; “Cops:
          Woman Shot by Man She Tried to Rob,” Orlando Sentinel (from Associated Press), Jan. 10,
          1999, p. B4; Seth Muller, “Homeowner Fires .357 at Night Burglar,” Martinsburg (WV) Journal,
          Mar. 2, 1999; Valerie Bauertein, “Woman Kills an Intruder in Her Home,” Winston-Salem Journal,
          Mar. 2, 1999, p. A1; “Woman Shoots Golf Stalker to Death during Attack,” Palm Beach Post
          (from Associated Press), May 12, 1999, p. All; Kirk Swauger, “Shooter’s Brother: Break-in
          Not First,” Johnstown (PA) Tribune-Democrat, Apr. 10, 1999, p. Al; Bill Blair, “West End Man Slays
          Intruder,” Johnstown (PA) Tribune-Democrat, Apr. 9, 1999, p. Al; Bill Hanna, “Robbery Victim
          Shoots Suspect,” Fort Worth Star-Telegram, June 15, 1999; Mark Duncan, “Hall of Fame Cowboy
          Stems Tragedy at Ranch: Family Survives Knife Attack,” Yavapai County (AZ) Daily Courier,
          June 13,1999, p. Al; Dan Richardson, “Armed Homeowner Drives Oﬀ Intruder,” Valley News
          (VT), July 2,1999; Heather Romero, “Intruder Is Wounded As Shots Fly ‘All Over,’” Arizona
          Daily Star, July 3, 1999, p 1B; Beena A. Hyatt, “Intruder Is Killed in Home,” Chattanooga Times,
          July 22, 1999, p. Bl; Kate Folmar and Luise Roug, “Late-Night Intruder Gets More Than He
          Bargained For,” Los Angeles Times, Aug. 2, 1999, Orange County edition, p. Bl; and “Home-
          owner Shoots Man Climbing into Window,” Knoxville (TN) Knox-News Sentinel, Aug. 1, 1999.
               96. While I find the claims greatly exaggerated, another recent study has come out claim-
          ing that sixty-four children under the age of two die every year from sleeping with their
          parents (Shari Roan, “Baby’s First Year: Dangerous to Doze with Baby Alongside?” Los Angeles
          Times, Oct. 4, 1999, p. S1).
               97. Brenda Rodriguez, “Notes Begin to Tell Story of Rampage in Atlanta: Killer Wanted
          to Exact Revenge,” Dallas Morning News, July 31, 1999, p. 1A.
               98. Rhonda Cook, “To the Rescue: Salesman Grabs Gun, Prevents Tragedy,” Atlanta Jour-
          nal and Constitution, Aug. 3, 1999, 1B; Lyda Longa and David Pendered, “Armed Patient Shot
          in Grady,” Atlanta Journal and Constitution, Aug. 4, 1999, p. 1B; Hannity and Colmes, Fox News
          Network, Aug. 11, 1999 (21:30 EST); and “Armed Georgia Defenders Thwart Two Gunmen,”
          Washington Times (from Reuters), Aug. 4, 1999, p. A9.
               99. Carol Robinson, “Gunman Opens Fire at Alabama Business,” New Orleans Times-
          Picayune, Aug. 6, 1999 p. A17.
               100. Editorial, “Lethal Weapon,” Daily News of Los Angeles, May 6, 1999, p. N20.
               101. Elaine Gale, “Grieving Mother Haunted by Crash Scene,” Los Angeles Times, May 6,
          1999, p. Al.
               102. A Nexis search of news stories for the one week after both incidents indicates that
          Buford Furrow was mentioned in the news about five times as often as Steve Abrams, and
          that while news accounts of Furrow tended to be full-feature news stories, virtually all of the
          mentions of Mr. Abrams were fairly minor recounts of the Associated Press story that ran
          on him. Later in the day it was discovered that Furrow had killed a U.S. Post Oﬃce worker,
          but the initial news coverage was based upon the attack at the community center.
               Other writers have done an excellent job of pointing out these biases (Sowell, “Why Does
          Media Hide Benefits of Arming Citizens?” p. L3; Jeﬀ Jacoby, “Media Bias Revealed by Crimes
          That Go Unnoticed,” San Jose Mercury News, Aug. 24, 1999).
               103. This total includes 427 incendiary bombings. Eleven deaths and 29 injuries were clas-
          sified as “noncriminal” (Bureau of Alcohol, Tobacco, and Firearms, “Arson and Explosives:
          Incidents Report, 1997” [Department of the Treasury, 1999]). For an example of a recent




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           knife attack that injured several people on an Amtrak train see Editorial, “Speak Up,” Dayton
           Daily News, Sept. 2, 1999.
                104. For example, CNN’s Late Edition with Wolf Blitzer, May 2, 1999, 12:00 a.m. EST.
                105. Tom Diaz, Making a Killing: The Business of Guns in America (New York: New Press, 1999).
                106. Ruth Teichroeb, “Hearing Today for Boy Expelled over Squirt Gun,” Seattle Post-
           Intelligencer, Sept. 22, 1998, p. Bl; Mike Martindale, “OU Acts after Police Take Youth into
           Custody after Call,” Detroit News, Aug. 13, 1999; Pete Falcone, “Student Expelled for Tot-
           ing BB Gun,” Bloomington (IL) Pantagraph, May 27, 1999, p. A2; Cathy Cummins, “Expulsion
           Law’s Author Says Schools Have Gone Too Far,” Rocky Mountain News, Feb. 23, 1998, p. A4; and
           “Howitzer Picture Cut From Yearbook,” Associated Press Newswire, Oct. 28, 1999, 3:16 EDT. These
           diﬀerent incidents were said to violate schools’ “zero tolerance” policy.
                107. This information on the number of words in diﬀerent gun-control laws was com-
           piled by Alan Korwin (Alan Korwin, The California Gun Owner’s Guide [Phoenix: Bloomfield
           Press, 1999], The Texas Gun Owner’s Guide [Phoenix: Bloomfield Press, 1998]; and Gun Laws of America
           [Phoenix: Bloomfield Press, 1997]).
                108. Terry L. Anderson, Charles W. Baird, Randy E. Barnett, et al. [letter signed by 290
           academics], “Disarming Good People,” Washington Times, June 16, 1999, p. A17. The correct
           number of 294 signatories was noted in John R. Lott, Jr., “More Gun Controls? They Haven’t
           Worked in the Past,” Wall Street Journal, June 17, 1999, p. A26.
                109. Dale Anema, “A Father at Columbine High,” American Enterprise, Sept. / Oct. 1999,
           pp. 48–50.

           CHAPTER TEN
               1. Matt Bai, “The Gun Crowd’s Guru,” Newsweek, Mar. 12, 2001.
               2. John Donohue, “The Final Bullet in the Body of the More Guns, Less Crime Hypoth-
           esis,” Criminology and Public Policy 2, no. 3 (2003): 397–410. In an interview for the Wichita Eagle
           (Kansas), Donohue would claim in 2003, “It borders on fraud for anyone to try to make the
           case that there is a drop in crime,” and “Lott’s earlier work failed to account for the peak
           and subsequent decline in violent crime related to the advent of crack cocaine in the 1980s.”
           Wichita Eagle, Oct. 12, 2003.
               3. John J. Donohue, “Can You Believe Econometric Evaluations of Law, Policy, and Medi-
           cine,” address given at the University of Virginia Law School, Oct. 24, 2008. The paper was
           said to contain a discussion that Donohue has in a forthcoming book.
               4. See the section “Fewer Guns, More Crime” for a detailed discussion of claims by Steven
           Levitt regarding these claims.
               5. Jordy Yager, “New Rule Prompts Fears of Guns at Inauguration,” Hill, Dec. 27, 2008
           (http: // thehill.com / leading-the-news / new-rule-prompts-fears-of-guns-at-inauguration
           -2008-12-27.html).
               6. Rep. Rob Bishop, “Telling the Second Amendment to Take a Hike,” Human Events,
           Jan. 15, 2009 (http: // www.humanevents.com / article.php?id=30284&page=1).
               7. There is some debate about whether Iowa should be classified as a right-to-carry state
           or as a may-issue state, but for the empirical work in this book it isn’t relevant, because it
           did not change its law during the period that I have examined since 1977. For convenience,
           I will classify Iowa as being more restrictive than some do and classify it as a may-issue
           state.
               8. Still, even if Alabama’s concealed-permit rate for the entire state is as low as the low-
           est urban county for which numbers are readily available (and urban counties tend to have
           lower rates of permits than rural areas), it would mean that more than 300,000 people in
           Alabama have permits—possibly the highest rate of any state in the country.
               9. Information obtained from State and Local Aﬀairs Department for the National
           Rifle Association’s Institute for Legislative Action (July 28, 2008) and confirmed again on
           March 3, 2009.




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               10. “Well-Armed Lawmakers,” State (Columbia, SC), Mar. 8, 2008 (http: // www.feedzilla
          .com / news-archive / usa / 2008-03-08-columbia.html).
               11. Andy Sher, “1 in 4 State Legislators Holds Gun Permit,” Chattanooga Times Free Press,
          Mar. 1, 2009 (http: // timesfreepress.com / news / 2009 / mar / 01 / 1-4-state-legislators-holds-gun
          -permit / ).
               12. Joanne Kimberlin, “Tech Massacre Only Heated Up the Gun Debate in Virginia,”
          Virginian-Pilot, Mar. 2, 2008 (http: // hamptonroads.com / 2008 / 03 / tech-massacre-only-heated
          -gun-debate-virginia).
               13. Phillip Morris, “Run-In Changes Lawmaker’s Stance,” Cleveland Plain Dealer, May 15,
          2007, p. B1.
               14. Richard Stenger, “Armed Pilots Oﬀer Added Protection, New Danger,” CNN.com,
          Sept. 26, 2001.
               15. John R. Lott, Jr., “P.C. Air Security: When Will Our Pilots Be Armed?” National Review
          Online, Sept. 2, 2003.
               16. I worked with several of the pilots’ unions over helping let pilots again carry guns.
          I did not accept any payments from them for the work that I did.
               17. Serena Parker, “Arming Airline Pilots,” Voice of America News, Sept. 4, 2003. See also
          John R. Lott, Jr., “Marshals Are Good, but Armed Pilots Are Better,” Wall Street Journal Eu-
          rope, Jan. 2, 2004 (http: // online.wsj.com / article / SB107299581523057500.html?mod=opinion
          %255Feurope%255Fcommentaries).
               18. Based on conversations with Tracy Price and Bob Lambert with the Airline Pilots
          Security Alliance and union representatives from Southwest and American Airlines.
               19. Based on conversations both with pilots’ union oﬃcials and with oﬃcials from the
          Transportation Security Administration during 2002 and 2003.
               20. John R. Lott, Jr., “Arming of Pilots Is Way Overdue,” Los Angeles Times, Apr. 14, 2003.
               21. Ben Dubose, “Pilot’s Gun Goes Oﬀ on US Airways Flight,” Los Angeles Times, Tuesday,
          Mar. 25, 2008.
               22. See a press release from the Airline Pilots Security Alliance, “Blame Shifts to TSA in
          Pilot’s Gun Mishap,” Mar. 27, 2008 (http: //secure-skies.org /doc /PRESS%20RELEASE%20-%20
          BLAME%20SHIFTS%20TO%20TSA%20IN%20PILOTS%20GUN%20MISHAP.pdf ).
               23. For example, John Donohue debating at the Contemporary Club in Charlottesville,
          Virginia, on October 22, 2008. After I described the gun going oﬀ in the cockpit, Donohue
          said: “John made the exact point that I made, I said that the gun went oﬀ in the cockpit
          and basically John [Lott]’s attitude, the NRA attitude, is sort of like NASA’s view when
          they are bringing down the spaceships. They crash them into the earth and most of the
          time they don’t hit anybody because there is a lot of ocean there.” Quote from recording
          of the debate.
               24. John R. Lott, Jr., “Letting Teachers Pack Guns Will Make America’s Schools Safer,”
          Los Angeles Times, July 13, 2003.
               25. While I will discuss some of the problems with the Brady Campaign listing of in-
          cidents with permit holders, it is still interesting to note that their list does not contain a
          single example involving a school. See “CCW License Holders: ‘Law-Abiding Citizens?’” on
          the Brady Campaign Web site, accessed Jan. 10, 2009 (http: // www.bradycampaign.org / facts /
          research / ?page=incident&menu=gvr). My own extensive research as well as calls to the
          NEA and the AFT confirm this.
               26. “Do Guns Reduce Crime?” debate on National Public Radio, Nov. 5, 2008 (broadcast
          available at http: // www.npr.org / templates / story / story.php?storyId=96409853).
               27. Ibid.
               28. I also talked with Philip Ward, the assistant managing editor at the Sun-Sentinel. When
          I noted that none of the stories by O’Matz and Maines had any examples of permit hold-
          ers committing crimes in their stories he said: “Well, I would say that answers your ques-
          tion.” See also Megan O’Matz and John Maines, “Investigation Reveals Criminal Pasts of




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           Those Toting Guns,” South Florida Sun-Sentinel, Jan. 28, 2007. Megan O’Matz can be reached at
           momatz@sun-sentinel.com and John Maines at jmaines@sun-sentinel.com.
                29. This is based on a series of e-mail exchanges during December 2008 and January 2009
           and telephone conversations with Sally Kestin and Philip Ward on February 17, 2009.
                30. “Texas Concealed Handgun Law and Selected Statutes, 2007–2008,” Texas De-
           partment of Public Safety, Austin, Oct. 2007 (http: // www.txdps.state.tx.us / ftp / forms /
           LS-16.pdf ).
                31. Katie Brown, “Permit Changes Opposed: Blind Man Who Passed Defends Tests,” Bis-
           marck Tribune, Nov. 25, 2005.
                32. Information obtained from Donna J. Street, administrative supervisor, Arizona De-
           partment of Public Safety, Concealed Weapons Permit Unit, P.O. Box 6488, Phoenix, AZ
           85005; phone: 602-223-2704.
                33. Jaime Holguin, “Arizona Gunman Had Threatened School,” CBSNews.com, Oct. 29,
           2002 (http: // www.cbsnews.com / stories / 2002 / 10 / 30 / national / main527553.shtml).
                34. Division of Licensing, Florida Department of Agriculture and Consumer Services,
           “Concealed Weapon / Firearm Summary Report, October 1, 1987–November 30, 2008”
           (http: // licgweb.doacs.state.fl.us / stats / cw_monthly.html).
                35. When asked about the July 1997 murder case involving Joseph Corcoran, Berkey said
           that case had been improperly reported as his having a permitted concealed handgun.
                36. Jim Hannah, “Shooting Stirs Vigilante Justice Fears,” Cincinnati Enquirer, Jan. 7,
           2002, p. B1.
                37. Information on the number of active permits is available from Dawson Bell, “Michi-
           gan Sees Fewer Gun Deaths—with More Permits,” Detroit Free Press, Jan. 6, 2008, p. A1.
           Michigan State Police, “Concealed Pistol Licensure Annual Report, July 1, 2006 to June 30,
           2007” (http: // www.michigan.gov / documents / msp / CCW_Annual_Report_2006-2007_
           228850_7.pdf ).
                38. See the various issues of the Concealed Pistol Licensure Annual Report for Michigan
           that are available at http://www.michigan.gov/msp/0,1607,7-123-1591_3503_4654-77621-,00.html.
                39. This information was supplied by Matt Connor with the Missouri Department of
           Revenue, and it covers the year up until December 11, 2008. Seventeen permits were re-
           voked due to a protection order issued by a court, 78 were revoked due to disqualifying
           convictions, and one is just listed as being revoked by a court. In addition, two permits were
           suspended.
                40. Ted Richardson, Montana Department of Justice, 406-444-2800. I talked to him dur-
           ing December 2008.
                41. All quotes here are from a telephone conversation that I had with Rosemary Ruby
           during January 2009.
                42. “North Carolina Concealed Handgun Permit Statistics by County, 12 / 01 / 1995 thru
           12 / 31 / 2008” (http: // sbi2.jus.state.nc.us / crp / public / other / conceal / Dec%2031_2008%20Data
           .pdf ).
                43. All quotes here are from a telephone conversation that I had with Tamara Road
           during January 2009.
                44. For example, in Johnston County, the information was provided to me by Angie
           Butts, an administrative assistant.
                45. John Futty, “Few Concealed-Carry Permits Revoked, Records Show,” Columbus
           Dispatch, Aug. 13, 2006 (http: // www.dispatch.com / live / contentbe / dispatch / 2006 / 08 / 13 /
           20060813-C6-00.html).
                46. Attorney General of the State of Ohio, “Ohio’s Concealed Handgun Law: 2008 Re-
           port to the Governor and General Assembly,” Mar. 1, 2008 (http: // www.ag.state.oh.us / le /
           prevention / concealcarry / docs / 07_cc_annual_rpt.pdf ).
                47. “Gun Law Marks Its First Year,” Cincinnati Post, Apr. 9, 2005, p. A1.
                48. Pennsylvania State Police. “Firearm Record Information by County for 2007.”




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               49. Pennsylvania State Police, “Firearm Record Information by County” for 2003
          to 2006.
               50. Conversations with Pennsylvania State Police Public Information Oﬃce press secre-
          tary Jack Lewis and Lt. Annette Quinn, Jan. 16, 2009.
               51. Pennsylvania State Polic, “Firearm Record Information by County for 2007.”
               52. Conversations with Kim Stolfer, chairman of Firearm Owners Against Crime,
          Jan. 19, 2009.
               53. Telephone conversation with Stolfer, Jan. 19, 2009.
               54. In 2006, there were 61,539 convictions for misdemeanors and felonies among those
          without a concealed-handgun permit (“Conviction Rates for Concealed Handgun License
          Holders, Reporting Period: 01/01/2006–12/31/2006,” Texas Department of Public Safety, http://
          www.txdps.state.tx.us / administration / crime_records / chl / ConvictionRatesReport2006
          .pdf ). The adult population was 16,925,604.
               55. This information is available in “Conviction Rates for Concealed Handgun License
          Holders, Reporting Period: 01/01/2006–12/31/2006,” Texas Department of Public Safety, http://
          www.txdps.state.tx.us / administration / crime_records / chl / ConvictionRatesReport2006
          .pdf; “Conviction Rates for Concealed Handgun License Holders, Reporting Period: 01 /
          01 / 2005–12 / 31 / 2005,” Texas Department of Public Safety, http: // www.txdps.state.tx.us /
          administration / crime_records / chl / ConvictionRatesReport2005.pdf; “Conviction Rates for
          Concealed Handgun License Holders, Reporting Period: 01 / 01 / 2004–12 / 31 / 2004,” Texas De-
          partment of Public Safety, http: // www.txdps.state.tx.us / administration / crime_records / chl /
          ConvictionRatesReport2004.pdf; “Conviction Rates for Concealed Handgun License Holders,
          Reporting Period: 01 / 01 / 2003–12 / 31 / 2003,” Texas Department of Public Safety, http: // www
          .txdps.state.tx.us / administration / crime_records / chl / ConvictionRatesReport2003.pdf; and
          “Conviction Rates for Concealed Handgun License Holders, Reporting Period: 01 / 01 / 2002–
          12/31/2002,” Texas Department of Public Safety, http://www.txdps.state.tx.us/administration/
          crime_records / chl / ConvictionRatesReport2002.pdf.
               56. Over the four years from 2005 to 2008, the rate at which new permits were denied
          was 1.3 percent. The reasons given for not issuing a permit include an alcohol violation, a
          protective order, that the person was wanted, a firearm oﬀense, being a threat to oneself or
          another, domestic violence, moral turpitude, abuse of a controlled substance, conviction
          of a felony, and other. Thirty-eight percent of the denials were due to alcohol violations.
          Fourteen percent were due to moral turpitude. Thirteen percent were due to felonies.
               One quote on the issuance of concealed-handgun permits in Utah has gotten some
          attention. A March 22, 2002, article in the Salt Lake Tribune quotes Joyce Carter, the then su-
          pervisor of the Bureau of Criminal Identification firearms section, “It’s an extremely small
          percentage that have been revoked. But they’re not all straight, law-abiding citizens. . . . I
          would hazard a fairly educated guess that better than 50 percent of the applicants have a
          criminal history of some kind.” But there seems to be some debate whether the reporter
          accurately quoted Carter. Regarding the 50 percent claim, Carter told me on January 6,
          2009, that “I am going to say that is wrong. I don’t remember making that statement or
          even where or when I would have made it, but I have heard others quote it back to me.”
          Nicole Starks, who replaced Carter as supervisor, said that “I don’t think that it is 50 percent.”
          There is at least one other mistake in the story. Clark Aposhian said that the reporter also
          confused arrests for murder with convictions. The article claimed that four permit holders
          had committed murder, and the actual number was two. See Dan Harrie, “Crimes Trigger
          Revocation of 584 Concealed-Weapon Permits,” Salt Lake Tribune, Mar. 25, 2002, p. A1.
               57. The oﬃcer had gotten a concealed-handgun permit so that he didn’t have to go
          through the background checks when he bought a gun. Information provided by Clark
          Aposhian.
               58. Chris Lynch, records analyst, Wyoming Division of Criminal Investigations, clynch@
          dci.wyo.gov.




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                59. I did talk to some county oﬃces in Colorado. In 2006, 95 revocations occurred for
           arrest, but there is no available information on how many of those revocations resulted
           in conviction. Revocations for arrest account for about 0.35 percent of active permits. The
           counties that I contacted were very helpful but were unable to provide me with infor-
           mation on convictions. Laurie Thomas, the concealed-handgun permit coordinator for El
           Paso County, told me that they didn’t follow up to see if the arrests resulted in conviction,
           though she did say that none of the 24 revocations in 2006 resulted in those permit holders
           applying for their permits to be reinstated. Two of the 24 revocations involved prohibited
           use of a firearm, but Ms. Thomas told me that those types of cases usually “simply involve,
           I say simply because it doesn’t involve the use of the gun, being drunk or intoxicated . . .
           while in possession of a firearm.” However, she was not sure of the actual facts of those two
           cases. Ms. Thomas was available at 719-520-7249. See also http: // www.rmgo.org / faq / CCW
           %20Permits%20by%20county.pdf.
                60. Interestingly, Texas has the most murders by permit holders, and it also has one of
           the strictest concealed handgun laws—having the longest training and retraining require-
           ments, among the highest fees for permits, and strictest restrictions on who can get permits.
           The Texas number is obtained by comparing Texas Department of Public Safety numbers
           with news reports to get more detail on each case, though this might overestimate the total
           because cases in the DPS conviction numbers which could not be confirmed as involving
           guns were assumed to involve guns. The numbers were based on calls to those state agen-
           cies that collect permit records as well as their annual reports on permit holders discussed
           earlier, reports from the Brady Campaign and the Violence Policy Center, and news reports.
           “Signature Grand Shooting an Apparent Murder-Suicide,” NBC 6, Miami, FL, Apr. 29, 2003
           (http: // www.nbc6.net / news / 2166227 / detail.html); “South Florida Couple, Dog Dead in Ap-
           parent Murder-Suicide,” Orlando News, Jan. 12, 2004 (http: // www.clickorlando.com / news /
           2758332 /detail.html); Louis Mockewich in Philadelphia (Associated Press, “Man Convicted of
           Shooting Neighbor over Snow Shoveling,” Jan. 27, 2000); Jamie Cokes in Pittsburgh (“Local
           News, Homicide Conviction,” Pittsburgh Post-Gazette, Nov. 8, 2002, p. B4); William Manies in
           Knoxville, Tennessee (Don Jacobs, “Judge Retains Gun Permit despite State Law; Statute Re-
           lies on Applicants’ Honesty,” Knoxville News-Sentinel, Oct. 1, 2000, p. B1; the crime occurred in
           December 1999); Shirley Henson in Alabama (Jay Reeves, “Woman Sentenced to 13 Years for
           ‘Road Rage’ Killing,” Associated Press, Dec. 4, 2000; the crime occurred in November 1999);
           Scott Stone in North Carolina (Betsy Blaney, “Custody Loss Prompts Separation Violence,”
           Chicago Tribune, Nov. 7, 1999, p. N8; the murder actually took place in Texas); John Corcoran
           in Indiana (Niki Kelly, “Corcoran Execution Is July 21; Killed 4 Men inside City House in
           ’97; Federal Appeal Planned,” Fort Wayne (IN) Journal Gazette, June 16, 2005, p. 1C); Geraldine
           Beasley in Ohio was convicted of voluntary manslaughter (Associated Press, “Woman Ac-
           cused of Shooting Beggar Had Her Concealed Weapon Permit,” Bryan Times, Aug. 13, 2007);
           Terrance Hough, Jr., in Ohio was convicted of murder (Associated Press, “Firefighter Charged
           in 3 Killings at Party,” Columbus Dispatch, July 7, 2007); David Ragsdale in Utah (Janice Peterson,
           “David Ragsdale Gets 20 Years to Life in Prison in Wife’s Murder,” Daily Herald, Jan. 30, 2009);
           Jason K. Hamilton in Maine was involved in a murder-suicide (Taryn Brodwater, Bill Morlin,
           and Amy Cannata, “Shooter Linked to Ayrans,” Spokesman-Review, May 23, 2007); Aaron P.
           Jackson in Virginia was involved in a murder-suicide (Nick Miroff, “Four Dead in Murder,
           Suicide in Va.,” Washington Post, May 7, 2008); Ashford Thompson killed Joshua Miktarian in
           Twinsburg Township, Ohio, in July (Macollvie Jean-Francois, Brian Haas, Andrew Tran,
           and Rachel Hatzipangos, “Police Report: Federal Agent’s Death Due to Road Rage,” South
           Florida Sun-Sentinel, Aug. 7, 2008; and Karen Farkas, “Man Indicted in Killing,” Cleveland Plain
           Dealer, July 22, 2008, p. B2).
                As this book was going to press, the Violence Policy Center released a report entitled
           “CCW Total Killed,” claiming that from May 2007 through December 2009, permit holders
           had killed 107 people. Thirty-six of the sixty-two cases involved instances where someone




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          was charged and not convicted of murder. Take Reginald Royal’s case, where the media
          report, “Royals saw the victim had a gun in his pocket. He saw it because he displayed it”
          and that he was confronted by four men who threatened him (Michelle Washington, “Wa-
          terside Shooting Was Self-Defense, Accused Man Says,” Virginian-Pilot, March 29, 2009). Other
          cases included instances where there was no evidence that a permit holder had committed
          the crime (indeed, the police did not know who had committed it), cases that never made
          it to court because they obviously involved self-defense (e.g., the case of Charles Podany,
          who obviously used his gun to protect himself from a man who was beating him; Jessica
          Vander Velde, “Man Shot after Speeding Confrontation,” St. Petersburg Times, March 2, 2008),
          and cases where no prison time was imposed even when there was a conviction (e.g., Willie
          Donaldson’s case, which involved self-defense). Even a quick examination indicates that
          many of these cases are exactly the self-defense type of cases that legislators wanted to let
          occur. Instead of being counted as a cost of right-to-carry laws, they should be counted as
          a benefit.
              61. Associated Press, “Jury Sent Home, to Return and Continue Deliberations,” Associ-
          ated Press Newswire, Sept. 28, 1999.
              62. Associated Press, “Man Killed After Argument,” Associated Press Newswire, Feb. 26,
          1999.
              63. Associated Press, “Wallace Found Guilty of Negligent Homicide,” Associated Press
          Newswire, Sept. 29, 1999.
              64. Associated Press, “Man Killed After Argument.”
              65. Associated Press, “Jury Sent Home, to Return and Continue Deliberations”; Associ-
          ated Press, “Wallace Found Guilty of Negligent Homicide.”
              66. Deon Hampton, “Charge Filed in Road-Rage Homicide: A Former Security Guard
          Who Said He Feared for His Life Was Not Justified in Shooting Another Man, the D.A. Says,”
          Tulsa World, Sept. 27, 2007.
              67. Bill Braun, “Plea Deal Reached in Fatal Shooting,” Tulsa World, May 30, 2008, A1.
              68. Mike Glenn, “Longshoreman Charged in Fatal Eastside Shooting,” Houston Chronicle,
          Apr. 25, 2006, p. B3.
              69. Identity of person engaging in the attack based on discussion with Brian Rogers of
          the Houston Chronicle.
              70. Brian Rogers, “Convicted Killer Ordered to Serve 10 Years’ Probation; Attorney Says
          Man Was Defending Himself at the Time of Fatal Shooting,” Houston Chronicle, July 22, 2008.
              71. See “Comments Opposing Proposed Rule to Allow the Carrying of Loaded, Hid-
          den Firearms in National Park Areas and National Wildlife Refuges” from the Brady Cam-
          paign Web site, accessed Jan. 10, 2009 (http: // www.bradycampaign.org / xshare / pdf / fedleg /
          national-park-comments.pdf ).
              72. Associated Press, “Public-Safety Department Lists 23 Concealed-Gun Incidents; House
          Panel Tracking Law’s Eﬀects, Enforcement,” Dallas Morning News, July 17, 1996.
              73. Ralph Winingham, “Although Cleared of Murder Charge, Memories Remain,” San
          Antonio Express-News, Sept. 7, 1997, p. 29A.
              74. “CCW License Holders: ‘Law-Abiding Citizens?’” on the Brady Campaign Web site,
          accessed Jan. 10, 2009 (http: // www.bradycampaign.org / facts / research / ?page=incident
          &menu=gvr).
              75. Bill Braun, “Man Cleared in Fatal Shooting: Slaying Case Is First Involving a Legally
          Concealed Weapon,” Tulsa World, Feb. 12, 1999, p. 17.
              76. William C. Rempel and Lianne Hart, “Murder Case Puts New Focus on Texas’ Con-
          cealed Gun Law,” Los Angeles Times, Nov. 2, 2000, p. A5.
              77. Both the Brady Campaign and the Violence Policy Center have tracked cases—
          the Brady Campaign up through the beginning of 2007 and the Violence Policy Center up
          through the end of 1998. Their Web sites were last checked on January 10, 2009. The Brady
          Campaign’s list of crimes by permit holder is at http: // www.bradycampaign.org / xshare /




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           pdf / reports / no-gun-left-behind.pdf and http: // www.bradycampaign.org / facts / research /
           ?page=incident&menu=gvr. The list for the Violence Policy Center is available at http: //
           www.vpc.org / Studies / ltk2cont.htm.
               78. In 2007, that equals 0.017 murders per 100,000 permit holders. By contrast, for the
           United States has a whole, 4.47 adults were arrested for committing murder out of every
           100,000 adults. “Expanded Homicide Data Table 3,” in “Crime in the United States 2007,”
           FBI Uniform Crime Reports (http:// www.fbi.gov/ ucr/ cius2007/ oﬀenses/ expanded_information/
           data / shrtable_03.html). These calculations assume an adult population in the United States
           of 227 million in 2007.
               79. The other cases are these:
               Thibodaux, Louisiana (Jan. 1, 2009)—“Police said a city man was shot and wounded
           Thursday night while trying to rob another at gunpoint near a Canal Boulevard conve-
           nience store. . . . No charges have been filed against [the armed victim]” (John DeSantis,
           “Police Say Victim Shot Robbery Suspect,” Thibodaux Daily Comment, Jan. 2, 2009; http: // www
           .dailycomet.com / article / 20090102 / ARTICLES / 901029977 / 1212?Title=Police_say_victim_
           shot_robbery_suspect).
               Anniston, Alabama (Dec. 24, 2008)—“A would-be robber was shot dead overnight
           Wednesday and his alleged accomplice was wounded after they attempted to commit a
           robbery at a gas station near Anniston. Calhoun County Sheriﬀ Larry Amerson said . . . he
           acted in self-defense” (Associated Press, “Robbery Suspect Shot Dead, Alleged Accomplice
           Wounded,” Huntsville Times, Dec. 25, 2008; http: // blog.al.com / breaking / 2008 / 12 / robbery_
           suspect_shot_dead_alle.html).
               Orlando, Florida (Dec. 23, 2008)—Three men attempted to rob a woman in a mall
           parking lot. Two of the men were wrestling with the woman. A permit holder shot one of
           the suspects in the leg (“Police: Bystander Shoots Robber in Mall Parking Lot,” WESH.com,
           Thursday, Dec. 23, 2008; http: // www.msnbc.msn.com / id / 28380721 / ).
               80. “Police: Man Shoots, Kills Suspect in Hammond Robbery Attempt,” Northwest In-
           diana Times, Jan. 12, 2009; http: // nwitimes .com / articles / 2009 / 01 / 12 / news / top_news /
           docce29b62cf028c9ef8625753c00081c82.txt).
               81. In this second follow-up story they mention that the individual who fired his gun de-
           fensively had a concealed-handgun permit. “Police: Statements Support Self Defense Claim
           in Fatal Shooting,” Northwest Indiana Times, Jan. 12, 2009; http: // www.thetimesonline.com /
           articles / 2009 / 01 / 12 / updates / breaking_news / doc496ba228600bb151954649.txt).
               82. “Victim Kills Robbery Suspect at Car Wash,” WFTV.com, Jan. 9, 2009 (http: // www
           .wftv.com / news / 18451573 / detail.html).
               83. “Police: Man Shoots, Kills Armed Robber at Car Wash,” WESH.com (Orlando),
           Jan. 10, 2009 (http: // www.wesh.com / news / 18451432 / detail.html).
               84. “2 Men Sought After Customer Saves Clerk from Robber,” WESH.com (Orlando),
           Jan. 7, 2009 (http: // www.msnbc.msn.com / id / 28518530 / ).
               85. “West Park Homeowner Kills Robber,” Florida Today, Dec. 26, 2008 (http: // www
           .floridatoday.com / article / 20081226 / BREAKINGNEWS / 81226044 / 1006 / NEWS01).
               86. “Dog Walker Kills Armed Teen Robber, Police Say,” MyFoxDFW, Dec. 18, 2008 (http: //
           www.myfoxdfw.com / myfox / pages / News / Detail?contentId=8100189&version=5&locale
           =EN-US&layoutCode=TSTY&pageId=3.2.1).
               87. Jared Broyles, “Concealed Carry Permit Comes in Handy for Woman in Fort
           Smith,” KFSM.com, Channel 5 News, Dec. 18, 2008 (http: // www.kfsm.com / Global / story
           .asp?S=9541680).
               88. Minnesota’s permit system was prevented from issuing more permits from July 2004
           to June 2005.
               89. The means and standard deviations for the state-level data are shown in appendix
           table 10A.1.
               90. Change.gov, the Oﬃce of the President-Elect, under Agenda, under Urban Policy,




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          under the headline “The Obama-Biden Plan” (http: // change.gov / agenda / urbanpolicy_
          agenda / ).
               91. One could add up the list of places where permitted concealed handguns are prohib-
          ited, and I have done that in some of my research, but it is also somewhat arbitrary, because
          it assumes that all prohibited places are equally important to permit holders. Grambsch is a
          public health researcher who estimates that later adoption of right-to-carry laws gives states
          reduced benefits, but despite my suggestion to her, there is no attempt to account for later
          states having more restrictive laws. Patricia Grambsch, “Regression to the Mean, Murder
          Rates, and Shall-Issue Laws,” American Statistician 62, no. 4 (2008): 289–95.
               92. “Bill Would Allow Prosecutors Guns in Court,” KCTV Channel 5 News, Jan. 23, 2009
          (http: // www.kctv5.com / news / 18546809 / detail.html). Gorman isn’t alone. Reno County
          prosecutor Thomas Stanton says, “We act to insure those who violate the laws of Kansas
          receive consequences for their actions. This can lead to prosecutors being targets of vio-
          lent acts perpetrated by defendants, their families and their friends.” Stanton said that he
          would carry a concealed firearm, but the prohibitions on where he can carry a gun makes
          it impracticable. Tim Carpenter, “Concealed-Carry Bill Would Let Prosecutors Be Armed in
          Court,” Topeka Capital-Journal, Jan. 21, 2009 (http: // cjonline.com / stories / 012109 / sta_379727801
          .shtml).
               93. Nancy Badertscher, “Georgia Law: Guns Allowed in More Places: 79% More Apply
          for Firearms Permit,” Atlanta Journal-Constitution, Feb. 1, 2009 (http: // www.ajc.com / services /
          content / printedition / 2009 / 02 / 01 / gunpermits02011.html).
               94. For Florida’s information see http: // licgweb.doacs.state.fl.us / stats / cw_active.html.
          The explosion in Utah’s issuing of permits in 2008 was due to out-of-state residents (http: //
          www.des.utah.gov / bci / documents / 2008Q4.pdf ).
               95. Following Donohue, “The Final Bullet in the Body of the More Guns, Less Crime Hy-
          pothesis,” and F. Plassmann and John Whitley, “Confirming ‘More Guns, Less Crime,’” Stan-
          ford Law Review, 2003, pp. 1313–69, I will do the year-by-year aﬀects by two-year intervals.
               96. The drops are statistically significant at better than the 10 percent level by years 5
          and 6 after the law was put in place. These levels of significance are calculated using robust
          standard errors. By years 11 and 12, the drop is statistically significant at the 5 percent level,
          and by years 15 or more later, the drop is significant at better than the 1 percent level. A
          breakdown of the year-by-year levels of significance is shown in appendix 10.2.
               97. The drop in violent crime is statistically significant at 7 percent level by years 3 and
          4 after the law.
               98. The drop is statistically significant at the 2 percent level by years 3 and 4 after
          the law.
               99. The estimated benefits from reduced property crimes shown in table 10.6 depend a
          lot upon what set of estimates are used. For example, if the change in average crime rates
          before and after the law had been used, property crimes would have been associated with
          an equally large increase in victimization costs, reducing the total gain to the states by
          about one-third.
               100. Ian Ayres and John Donohue, “Nondiscretionary Concealed Weapons Laws: A Case
          Study of Statistics, Standards of Proof, and Public Policy,” American Law and Economics Review 1
          (1999): 436; William Bartley and Mark Cohen, “The Eﬀect of Concealed Weapons Laws: An
          Extreme Bound Analysis,” Economic Inquiry 36 (Apr. 1998): 259; Daniel Black and Daniel Nagin,
          “Do Right-to-Carry Laws Deter Violent Crime?” Journal of Legal Studies 27 (1998): 209; Stephen
          Bronars and John R. Lott, “Criminal Deterrence, Geographic Spillovers, and Right-to-Carry
          Laws,” American Economic Review 88 (1998): 475.
               101. F. Plassmann and T. N. Tideman, “Does the Right to Carry Concealed Handguns
          Deter Countable Crimes? Only a Count Analysis Can Say,” Journal of Law and Economics 44
          (2001): 771–98.




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                102. C. E. Moody, “Testing for the Eﬀects of Concealed Weapons Laws: Specification
           Errors and Robustness,” Journal of Law and Economics 44, no. 2, pt. 2 (2001): 799–813.
                103. Carlisle Moody and Thomas Marvell, “The Debate on Shall-Issue Laws,” Econ Journal
           Watch, Sept. 2008, pp. 269–93.
                104. E. Helland and A. Tabarrok, “Using Placebo Laws to Test ‘More Guns, Less Crime,’”
           Advances in Economic Analysis and Policy 4, no. 1 (2004).
                105. D. E. Olsen and M. D. Maltz, “Right-to-Carry Concealed Weapons Laws and Ho-
           micide in Large U.S. Counties: The Eﬀect on Weapons Types, Victim Characteristics, and
           Victim-Oﬀender Relationships,” Journal of Law and Economics44 (2001): 747–70.
                106. B. L. Benson and B. D. Mast, “Privately Produced General Deterrence,” Journal of Law
           and Economics 44 (2001): 725–46.
                107. D. B. Mustard, “The Impact of Gun Laws on Police Deaths,” Journal of Law and Economics
           44 (2001): 635–57.
                108. James Q. Wilson, “Dissent,” in Firearms and Violence: A Critical Review, ed. Charles F.
           Wellford, John V. Pepper, and Carol V. Petrie (Washington, DC: National Academies Press,
           2005), appendix A.
                109. John R. Lott, Jr., and John Whitley, “Safe Storage Gun Laws: Accidental Deaths,
           Suicides, and Crime,” Journal of Law and Economics 44, no. 2, pt. 2 (Oct. 2001): 659–89.
                110. The only study that tried to retest my results for the Brady Act was by Jens Ludwig
           and Philip Cook, and they also found that the law had no statistical impact on murder rates
           or overall accidental gun deaths or suicides. Their study did not examine the one crime
           category for which I found an increase in crime, rapes. Even though they concede that the
           Brady Act had no eﬀect on total suicides, they claim that it reduced suicides for those over
           age 55. A closer look at narrower age groupings contradicts the pattern that they predict.
           The reduced incidence of firearm suicides for persons over 54 is overwhelmingly driven
           by the change for just those from ages 55 to 64, but this subcategory has the lowest suicide
           rate for those over age 54 and has the highest gun ownership rate. The diﬀerent age groups
           experienced apparently random increases and decreases in firearm suicides after enactment
           of the law: the groups aged 35–44 years, 45–54 years, and older than age 85 all show increases
           in firearm suicides after the Brady Act. (See Jens Ludwig and Philip Cook, “Homicide and
           Suicide Rates Associated with Implementation of the Brady Handgun Violence Prevention
           Act,” Journal of the American Medical Association, Aug. 2, 2000, pp. 585–91; and John R. Lott, Jr.,
           “Impact of the Brady Act on Homicide and Suicide Rates,” Journal of the American Medical As-
           sociation, Dec. 6, 2000, p. 2718.)
                111. In fact, there is frequently much more variation in crime rates or other individ-
           ual characteristics across counties within a state than there is across states. For example,
           80 percent of the counties in the United States have zero murders in any given year, and even
           the states with the highest murder rates contain many counties without any murders.
                112. To obtain the level of statistical significance for his table 12, column 2, one must
           divide the coeﬃcients by the reported standard errors. When that is done, four of the five
           violent crime rates indeed show a statistically significant reduction after the passage of the
           right-to-carry law. The t-statistics for these coeﬃcients when they are corrected are at least
           2.3 for a two-tailed t-test. See Mark Duggan, “More Guns, More Crime,” Journal of Political
           Economy 109 (2001): 1110, table 12.
                113. Two other points need to be made. First, Duggan provides no evidence that the ad-
           justments that he makes are appropriate (indeed, my original paper with Mustard discussed
           these adjustments). Second, examining the before-and-after trends produce extremely sta-
           tistically significant results. Duggan chose only to report the results for the before-and-after
           averages.
                114. Of the two significant positive coeﬃcients, one by Black and Nagin includes sepa-
           rate nonlinear time trends for each state (see chapter 9, critique 2, “Does it make sense for




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          nonlinear time trends for each state?” for a discussion of this). The one significant result
          from Duggan uses diﬀerences even though he doesn’t do any tests for whether this is the
          appropriate specification. (In fact, Moody, “Testing for the Eﬀects of Concealed Weapons
          Laws,” p. 805, tests for unit roots and finds that county crime rates are stationary.)
               There is one paper by Dezhbakhsh and Rubin that is critical of my work, but I have not
          included it in table 10.7, because it is a shorter version of the exact same empirical work that
          is already included in the list. They also do not investigate the diﬀerences in crime rates
          before and after right-to-carry laws are adopted (Hashem Dezhbakhsh and Paul H. Rubin,
          “Lives Saved or Lives Lost? The Eﬀects of Concealed-Handgun Laws on Crime,” American
          Economic Review Papers and Proceedings 88 (May 1998): 468–74). This has been discussed in other
          parts of this book.
               115. Black and Nagin mark only the levels of statistical significance at the 5 percent level.
          There are a number of negative coeﬃcients with statistical significance between the 5 and
          10 percent levels.
               116. For example, Ian Ayres and John J. Donohue III, “Shooting Down the More Guns,
          Less Crime Hypothesis” (draft version available from author), p. 20, write: “Note that for a
          number of the violent crime categories, very large negative estimated coeﬃcients are found
          on some of the dummies for more than 6 years after passage. As noted, only a small por-
          tion of the entire array of shall issue states contribute to these estimates, thereby allowing
          a substantial drop in crime in an early passing state (whether caused by the shall issue law
          or not) to have a disproportionate eﬀect in estimating a post-passage dummy or linear
          trend.”
               117. Steven Levitt, “Understanding Why Crime Fell in the 1990s: Four Factors That Ex-
          plain the Decline and Six That Do Not,” Journal of Economic Perspectives 18 (Winter 2004): 175.
               118. Grant Duwe, Tom Kovandzic, and Carl Moody, “The Impact of Right-to-Carry
          Concealed Firearm Laws on Mass Public Shootings,” Homicide Studies, Nov. 1, 2002.
               119. John R. Lott, Jr., and William M. Landes, “Acts of Terror with Guns: Multiple Victim
          Shootings,” in The Bias Against Guns (Washington, DC: Regnery, 2003), chapter 6.
               120. It was also nice of Maltz and Targonski to state: “We should note that the authors of
          these studies were not aware of the extent of the problems with the data they used. In fact,
          they went to great lengths to secure the best possible data and conferred with many people
          (including an author of this paper) prior to performing their analysis” (Michael D. Maltz
          and Joseph Targonski, “A Note on the Use of County-Level UCR Data,” Journal of Quantitative
          Criminology, Sept. 2002, p. 298.)
               121. John R. Lott, Jr., and John Whitley, “Measurement Error in County-Level UCR
          Data,” Journal of Quantitative Criminology 19, no. 2 (June 2003): 185–98.
               122. The city-level data also answer another related objection. A referee for this book
          argued that right-to-carry laws “required local police agencies to perform fingerprinting of
          carry permit (CP) applicants, as well as other administrative tasks in processing applications,
          it placed a strain on agencies with less manpower relative to the demand for their services.
          This caused the agencies to withdraw personnel who compiled the (voluntary) UCR sta-
          tistics and reassign them to the CP-related tasks mandated by the state legislature.” While
          such a bias might aﬀect county-level data, there is no bias that this creates in either city- or
          state-level data. Since all three types of data imply the same change in violent crime rates, it
          provides evidence against the claim that the results are driven by a bias in the county data.
          If this is a problem, eliminating the counties with the most missing data should cause the
          results to become less negative, but that is not the case.
               123. See Duggan, “More Guns, More Crime,” p. 1086.
               124. There is also work that finds that magazine sales did not precede increases in murder
          rates. Carlisle E. Moody and Thomas B. Marvell, “Guns and Crime,” Southern Economic Journal
          71 (2005): 720–36.
               125. Based on a telephone call with Mr. Johnson on December 5, 2001.




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                126. Ayres and Donohue, “Shooting Down the More Guns, Less Crime Hypothesis,”
           p. 1296.
                127. http: // www.npr.org / templates / story / story.php?storyId=96409853.
                128. See Roland Fryer, Paul Heaton, Steven Levitt, and Kevin Murphy, “Measuring
           the Impact of Crack Cocaine,” Social Science Research Network, May 2005 (http: // ssrn.com /
           abstract=720405).
                129. Charles F. Wellford, John V. Pepper, and Carol V. Petrie, eds., Firearms and Violence: A
           Critical Review (Washington, DC: National Research Council of the National Academies and
           National Academies Press, 2004), p. 2.
                130. “Do Guns Reduce Crime?”
                131. Wellford, Pepper, and Petrie, Firearms and Violence, p. 2.
                132. E-mail correspondence from James Q. Wilson to me, November 25, 2008. In e-mail
           correspondence with me on January 6, 2009, John Donohue did not accept this response
           from Wilson.
                133. Wilson, “Dissent,” p. 269.
                134. Charles C. Branas, Therese S. Richmond, Dennis P. Culhane, Thomas R. Ten Have,
           and Douglas J. Wiebe, “Investigating the Link between Gun Possession and Gun Assault,”
           American Journal of Public Health 99, no. 11 (Nov. 2009): 1–7.
                135. Gary Kleck and Miriam A. Delone, “Victim Resistance and Oﬀender Weapon Eﬀects
           in Robbery,” Journal of Quantitative Criminology 9 (1993): 55–81; Lawrence Southwick, “Self-
           Defense with Guns,” Journal of Criminal Justice 28 (2000): 351–370; and Jongyeon Tark and Gary
           Kleck, “Resisting Crime,” Criminology 42 (2004): 861–909.
                136. The complete text of Levitt’s letter is available at http: // johnrlott.blogspot.com /
           2007 / 08 / steve-levitts-correction-letter.html.
                137. David Glenn, “Unusual Agreement Means Settlement May Be Near in ‘Lott v. Lev-
           itt,’” Chronicle of Higher Education, July 27, 2007.
                138. Unfortunately, the Stanford Law Review’s correction piece hasn’t stopped Ayres and
           Donohue from continuing to make this claim even six years later. In a new paper that they
           released in 2009 just two days before I finished writing this book, Ayres and Donohue made
           the claim again, writing: “After we pointed out that our corrections of Lott’s errors had ren-
           dered statistically insignificant all of the Lott, Plassmann, and Whitley results, Lott removed
           his name from the reply to Ayres and Donohue (2003a), which then was published—with
           the errors uncorrected—as Plassmann and Whitley (2003).”
                Or take this example from another piece by Donohue that was published after the Stan-
           ford Law Review correction: “Lott acted somewhat incongruously in dropping his name from
           his reply to my work with Ian Ayres on the eve of publication. Ayres and I showed that
           virtually every regression in Lott’s reply to our paper in the Stanford Law Review was incorrect
           due to Lott’s coding errors.” Donohue, “The Final Bullet in the Body of the More Guns,
           Less Crime Hypothesis,” pp. 397–410.
                139. A copy of the Stanford Law Review “Clarification” can be found at http: // johnrlott
           .tripod.com / clarification.pdf.
                140. See http: // www.law.cornell.edu / supct / pdf / 07-290P.ZD1.
                141. Vivian S. Chu, “District of Columbia v. Heller: The Supreme Court and the Second
           Amendment,” Congressional Research Service report for Congress, Jan. 15, 2009.
                142. National Rifle Association, et al. v. City of Chicago and National Rifle Association, et al. v. Vil-
           lage of Oak Park, filed December 4, 2008, in the United States District Court for the Northern
           District of Illinois, Eastern Division, Case 1:08-cv-03697 4, 2008 (http: // www.chicagoguncase
           .com / wp-content / uploads / 2008 / 12 / dist_ct_nra_opinion.pdf ).
                143. Kim Murphy, “Proposed Seattle Gun Ban May Draw New Fire,” Los Angeles Times,
           Nov. 25, 2008.
                144. Suzanne Pardington, “Oregon Universities’ Gun Ban Faces Legal Test,” Oregonian,
           Feb. 20, 2009 (http: // www.oregonlive.com / news / index.ssf / 2009 / 02 / oregon_universities_




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          gun_ban_fa.html); Windsor Genova, “Rifle Association Suit Seeks End to Chicago, San
          Francisco Gun Bans,” Gant Daily, June 27, 2008 (http: // www.gantdaily.com / news / 35 /
          ARTICLE / 24122 / 2008-06-27.html).
             145. DC’s brief and various amici point to murder as the violent crime category that was
          reduced after the DC handgun ban went into eﬀect during February 1977. No other violent
          crime rate is pointed to.
             146. John R. Lott, Jr., “Does a Helping Hand Put Others at Risk? Aﬃrmative Action, Police
          Departments, and Crime,” Economic Inquiry 38, no. 2 (Apr. 2000): 239–77.
             147. Colin Loftin, David McDowall, Brian Wiersema, and Talbert J. Cottey, “Eﬀects of
          Restrictive Licensing of Handguns on Homicide and Suicide in the District of Columbia,”
          New England Journal of Medicine 325 (1991): 1615.


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          Ratio of DC's Homicide Rate to the




                                               4.5

                                                4
                   US Homicide Rate




                                               3.5

                                                3

                                               2.5

                                                2

                                               1.5

                                                1

                                               0.5

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                                                                                                                     Year                                                                 1987
          Comparison of homicide rates in DC and the United States for the years 1968–1987

              148. James Alan Fox and David McDowall, “Brief of Professors of Criminal Justice as
          Amici Curiae in Support of the Petitioners,” submitted to the Supreme Court of the United
          States in District of Columbia v. Heller, no. 07-290, Jan. 11, 2008 (http: // www.gurapossessky.com /
          news / parker / documents / 07-290tsacprof.ofcrim.just.pdf ).
              149. The debate between John Donohue and myself took place at the Contemporary
          Club in Charlottesville, Virginia, on October 22, 2008.
              150. The average ratio from 1968 to 1976 was 219 percent compared to the average rate
          of 257 percent from 1977 to 1987.
              151. Gary Kleck compares the changes in DC’s murder rate to the changes in Baltimore’s.
              152. “Do Guns Reduce Crime?”
              153. See http: // www.law.cornell.edu / supct / pdf / 07-290P.ZD1.
              154. The Chicago Handgun Freeze of 1982 stopped the registration of handguns after
          April 10, 1982, but a lawsuit was immediately filed by Jerome Sklar, an individual who had
          moved to Chicago from Skokie, Illinois, on April 15. The case Sklar v. Byrne (Federal Supplement,
          vol. 556, p. 736 [Northern District of Illinois, 1983]) did not have a judgment entered until
          February 1983, and enforcement of Chicago’s ordinances did not begin until that date. The
          Seventh Circuit didn’t reach its decision in Quilici v. Village of Morton Grove upholding Morton
          Grove’s ban on handguns until December 6, 1982. Richard Pearson, the executive director of
          the Illinois State Rifle Association, said that Chicago didn’t really enforce the ban until the be-




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           ginning of 1983, when these legal cases had run their course. Chicago’s registration rules had
           been in eﬀect since 1968. I interviewed Victor Quilici, the plaintiﬀ in Quilici v. Village of Morton
           Grove, on January 9, 2009. I also interviewed Kenneth Denberg, the lawyer who had filed Sklar’s
           case in District Court, on January 14, 2009, but he was unable to add anything to this discus-
           sion (312-704-3000). See Illinois Citizens for Handgun Control, “Sample Firearms Regulations
           in Illinois Municipalities—Four Types of Local Ordinances in Eﬀect in Illinois in 1983 and
           the Judicial Opinions Regarding Their Constitutionality,” National Institute of Justice, 1983
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          Charlotte Twight in the economics department at Boise State University, who consulted
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          to me by Bruce Wolberg, advertising manager for the Gun Show Calendar, was 2,630. The
          diﬀerences across some states was substantial and aﬀected the rankings. For example, Texas
          is 213 instead of the BATF’s 472. Pennsylvania is now 138 instead of 250, Florida 178 instead
          of 224, and Illinois 103 instead of 203.
              Back in 2002 after repeated attempts, James Knowles, my research assistant at the time,
          finally got John D’Angelo at the BATF to answer questions about these discrepancies. James
          told me that, according to D’Angelo, “it would be better to use our own numbers than the
          numbers from the report, unless I hear otherwise from him. He asks what we expect from
          him in response to our question. He explained that he could not find the exact documenta-
          tion for the manual counts and said that he will look into it a little further but that he is not
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           APPENDIX ONE
               1. Although this jargon may appear overwhelming, it is actually fairly simple. Consider
           the following example. Suppose we wish to present findings that height and SAT scores are
           correlated among college-bound students. Instead of reporting that an additional inch is
           related to an increase in test scores of so many points, we can compare standard-deviation
           changes, which would be equivalent to reporting the results as comparisons of changes in
           percentile height with percentile changes in the SAT scores.
               2. To phrase this in terms of the earlier discussion of standard deviations, with a sym-
           metric distribution, there is a 32 percent probability that a variable will take on a value that
           is more than one standard deviation diﬀerent from its mean, and only a five percent prob-
           ability that it will be more than two standard deviations away from the mean.

           APPENDIX THREE
                1. U.S. Department of Justice, Crime in the United States, 1994 (Washington, DC: U.S. De-
           partment of Justice, 1994.) I also wish to thank Tom Bailey of the FBI and Jeﬀ Maurer of the
           Department of Health and Human Services for answering questions concerning the data
           used in this paper.
                2. The Inter-University Consortium for Political and Social Research number for this
           data set was 6387, and the principle investigator was James Alan Fox of Northeastern Uni-
           versity College of Criminal Justice.
                3. Dropping the zero crime values from the sample made the “shall-issue” coeﬃcients
           larger and more significant, but doing the same thing for the accident-rate regressions did
           not alter “shall-issue” coeﬃcients. (See also the discussion at the end of the section headed
           “Using County and State Data for the United States” in chapter 4).
                4. For further descriptions of the procedures for calculating intercensus estimates of
           population, see ICPSR (8384): U.S. Department of Commerce, Bureau of the Census, Intercen-
           sal Estimates of the Population of Counties by Age, Sex, and Race (United States), 1970–1980 (Ann Arbor,
           MI: ICPSR, Winter 1985). See also Bureau of the Census, Methodology for Experimental Estimates of
           the Population of Counties by Age and Sex: July 1, 1975, Current Population Reports, series P-23, no.
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          APPENDIX SEVEN
              1. The regression is natural log of gun ownership given by General Social Survey on the
          natural log of per capita magazine sales and state and year fixed eﬀects
              2. The survey was not conducted every year. Initial years when the gun questions were
          not asked are 1972, 1975, 1978, 1983, and 1986. Beginning in 1988, the gun questions were
          asked every year but of only two-thirds of the total survey sample. There was no funding
          for surveys in 1979 and 1981, and beginning in 1994 the survey was switched to biennial (even
          years). The survey data are also weighted by the demographics in each individual state. Over
          the entire period, “owngun” was “refuse to answer” for 156 out of the total 24,855 observa-
          tions with a response to that variable.
              3. See chapter 3.
              4. Compared to other surveys such as the CBS General Election Exit Poll, with over
          36,000 observations in 1988, and the Voter News Service Poll, with over 3,400 people sur-
          veyed in 1996, the General Social Survey only surveys 899–1,973 in any given year. While
          the General Social Survey will not provide a very accurate picture of gun ownership in any
          given state in a year, the much larger number of years over which the survey is provided
          allows us to investigate trends.
              5. The household rate was calculated by assuming that married women owned guns at
          the same rate as married men of the same race and age grouping.
              6. Using weighted least squares where the weight was the state population, I estimated
             ln(murder rate) = a0 + b1 ln(magazine sales for the preceding year) + b2 ln(magazine
             sales two years previously) + b3 arrest rate for murder + b4 death penalty execution
             rate + b5 state population + b6 state population squared + b7 unemployment rate +
             b8 poverty rate + b9 real per capita income + b10 real per capita unemployment insur-
             ance payments + b11 real per capita welfare payments + b12 real per capita retirement
             payments + b13 36 diﬀerent demographic variables that measure the percentage of
             the state population in diﬀerent age, sex, and race divisions + state fixed eﬀects +
             year fixed eﬀects
          To deal with the endogeneity issues involved in using the arrest rate for murder in explain-
          ing the murder rate, I also tried using the arrest rate for violent crime, and the results were
          virtually identical. Removing the arrest rate entirely also produced similar results.




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             EXHIBIT "11"




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   J Urban Health (2018) 95:313–321  1057
   DOI 10.1007/s11524-017-0205-7




   Criminal Use of Assault Weapons and High-Capacity
   Semiautomatic Firearms: an Updated Examination of Local
   and National Sources
   Christopher S. Koper & William D. Johnson &
   Jordan L. Nichols & Ambrozine Ayers & Natalie Mullins


   Published online: 2 October 2017
   # The New York Academy of Medicine 2017


   Abstract Policies restricting semiautomatic assault               violence including murders of police. Assault weapons
   weapons and large-capacity ammunition magazines are               and other high-capacity semiautomatics appear to be
   intended to reduce gunshot victimizations by limiting             used in a higher share of firearm mass murders (up to
   the stock of semiautomatic firearms with large ammu-              57% in total), though data on this issue are very limited.
   nition capacities and other military-style features con-          Trend analyses also indicate that high-capacity semiau-
   ducive to criminal use. The federal government banned             tomatics have grown from 33 to 112% as a share of
   such weaponry from 1994 to 2004, and a few states                 crime guns since the expiration of the federal ban—a
   currently impose similar restrictions. Recent debates             trend that has coincided with recent growth in shootings
   concerning these weapons have highlighted their use               nationwide. Further research seems warranted on how
   in mass shootings, but there has been little examination          these weapons affect injuries and deaths from gun vio-
   of their use in gun crime more generally since the                lence and how their regulation may impact public
   expiration of the federal ban. This study investigates            health.
   current levels of criminal activity with assault weapons
   and other high-capacity semiautomatics in the USA                 Keywords Firearms . Assault weapons . Violence
   using several local and national data sources including
   the following: (1) guns recovered by police in ten large
   cities, (2) guns reported by police to federal authorities
                                                                     Introduction
   for investigative tracing, (3) guns used in murders of
   police, and (4) guns used in mass murders. Results
                                                                     Firearm violence imposes a significant burden on public
   suggest assault weapons (primarily assault-type rifles)
                                                                     health in the USA. From 2010 through 2012, the nation
   account for 2–12% of guns used in crime in general
                                                                     experienced an annual average of 11,256 firearm homi-
   (most estimates suggest less than 7%) and 13–16% of
                                                                     cides and 48,534 non-fatal assault-related gunshot vic-
   guns used in murders of police. Assault weapons and
                                                                     timizations that cost society nearly $22 billion a year in
   other high-capacity semiautomatics together generally
                                                                     lifetime medical and work-related costs [1]. One type of
   account for 22 to 36% of crime guns, with some esti-
                                                                     policy response to reduce gun violence involves
   mates upwards of 40% for cases involving serious
                                                                     restricting or mandating design changes in particular
                                                                     types of firearms that are considered to be especially
   C. S. Koper (*) : W. D. Johnson : J. L. Nichols :                 dangerous and/or attractive for criminal use.
   A. Ayers : N. Mullins                                                 Restrictions on assault weapons (AWs) represent one
   Center for Evidence-Based Crime Policy, Department of
   Criminology, Law and Society, George Mason University, Fairfax,
                                                                     particularly controversial and highly contested form of
   VA, USA                                                           such legislation that has featured prominently in gun
   e-mail: ckoper2@gmu.edu                                           policy debates in recent decades. In general, AW laws




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   restrict manufacturing, sales, and ownership of semiau-       with AWs and other LCM firearms as measured in a
   tomatic firearms with large ammunition capacities and         variety of national and local data sources.
   other military-style features that appear useful in mili-
   tary and criminal applications but unnecessary in shoot-
   ing sports or self-defense [2]. Examples of such features     Data and Methods
   include pistol grips on rifles, flash hiders, folding rifle
   stocks, threaded barrels for attaching silencers, and bar-    There is no national data source that can be used to
   rel shrouds on pistols. AW laws also commonly include         count the numbers of homicides, non-fatal shootings,
   restrictions on large-capacity magazines (LCMs), which        or other crimes committed with AWs and other LCM
   are typically defined as ammunition feeding devices           firearms. Therefore, criminal use of these weapons was
   holding more than ten rounds of ammunition (some              approximated by examining and triangulating across
   laws have higher limits). LCM restrictions are arguably       several local and national data sources on guns used in
   the most important components of AW laws in that they         different types of crimes.
   also apply to the larger class of high-capacity semiauto-
   matic firearms without military-style features. In the        Local Data Sources
   broadest sense, AW-LCM laws are thus intended to
   reduce gunshot victimizations by limiting the stock of        The local-level analyses are based on guns recovered by
   semiautomatic firearms with large ammunition capaci-          police over multiple years (defined below) in a conve-
   ties and other features conducive to criminal use. The        nience sample of ten cities including Hartford (CT),
   federal government enacted a national ban on AWs and          Rochester (NY), Syracuse (NY), Baltimore (MD), Rich-
   LCMs in 1994 but allowed it to expire in 2004. Cur-           mond (VA), Minneapolis (MN), Milwaukee (WI), Kan-
   rently, eight states and the District of Columbia have        sas City (MO), Seattle (WA), and Sacramento (CA).
   AW and/or LCM restrictions, as do some additional             Large cities were selected for the analysis (these cities
   localities [3].                                               range in size from roughly 124,000 to 684,500) due to
       Recent discussion and debates concerning these            the concentration of gun violence in urban areas [18,
   weapons have largely focused on their use in mass             19]. Patterns and trends in these particular cities may not
   shootings. However, there has been little examination         be indicative of those elsewhere; further, some (Balti-
   of the use of AWs and LCMs in gun crime more gener-           more, Hartford, Rochester, Syracuse, and Sacramento)
   ally since the expiration of the federal ban. Studies         are covered by state AW and LCM restrictions that were
   conducted around the time of the federal ban found that       in effect during all or portions of the study period (this
   AWs accounted for up to 8% of guns used in crime              study does not attempt to evaluate the implementation
   (generally between 1 and 6% and averaging around 2%)          and effects of these laws or variations therein). None-
   and that the broader class of firearms equipped with          theless, these cities constitute a geographically diverse
   LCMs (including AWs and other semiautomatic fire-             set of ban and non-ban locations, thus strengthening
   arms equipped with LCMs) accounted for up to a quar-          generalizations. The data were obtained from law en-
   ter [2, 4–12]. Criminal use of such weaponry declined         forcement authorities in these jurisdictions except where
   during the years of the federal ban [2, 13, 14], but trends   otherwise noted. Information available in most of the
   since then have only been examined in the state of            police databases included the type, make, model, and
   Virginia, where LCM use rose following the ban’s ex-          caliber of each confiscated firearm; the date when it was
   piration [14]. Semiautomatic weapons with LCMs and/           recovered; and the type of crime with which it was
   or other military-style features are common among             associated.
   models produced in the contemporary gun market [15,              Guns recovered by police (often referred to as Bcrime
   16], but precise estimates of their production and own-       guns^) are the only readily available data with which to
   ership are unavailable. Growth in the use of such             study patterns and trends in the types of guns used in
   weapons could have important implications for public          crime across jurisdictions, and they are commonly used
   health as these weapons tend to produce more lethal and       in research on gun markets, gun violence, and gun
   injurious outcomes when used in gun violence [2, 17].         policy [2, 9, 20–37]. Guns confiscated by police include
   This study provides an updated examination of the AW          guns recovered in violent crime investigations as well as
   issue by investigating current levels of criminal activity    those recovered in connection with weapon offenses




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   (illegal possession, carrying, and discharges), drug vio-    including the type, make, model, and caliber of each
   lations, property crimes, and other incidents. These         weapon, was obtained from the Federal Bureau of In-
   samples thus represent guns known to have been used          vestigation (FBI), which compiles these data from re-
   in violence as well as guns possessed and/or carried by      ports by police agencies throughout the country. Infor-
   criminal and otherwise high-risk persons. As others          mation on firearms used in mass murder shooting inci-
   have noted, they represent a sample from the population      dents was collected from lists and reports compiled by
   of guns that are at greatest risk of misuse [24] and         several organizations since there is no single official
   thereby provide a probable sample of guns used to            data source that regularly provides detailed and compre-
   commit crimes [21]. As caveats, nonetheless, it should       hensive information on mass murders and the guns used
   be noted that police do not recover all guns used and        in these incidents [41–50]. Consistent with many prior
   possessed illegally, and it is possible that the types of    studies of this issue, firearm mass murders were defined
   guns they confiscate differ from those of unrecovered        as incidents in which four or more people were mur-
   guns linked to illegal possessors and users. The analyses    dered with a firearm, not including the death of the
   highlighted below are based on all confiscated firearms      shooter if applicable and irrespective of the number of
   in the study jurisdictions. Additional analyses conducted    additional victims shot but not killed. This increased the
   with just those guns clearly connected to a violent          number of sources that could be used to gather informa-
   offense, which represented at least 13 to 19% of guns        tion. As described below, however, detailed weapon
   across the cities, produced very similar results except      information could not be found in public sources for
   where noted (separate offense-type analyses could not        many of the cases.
   be conducted with the Syracuse and Rochester gun data
   or the Richmond LCM data).
                                                                Methods
   National Data Sources
                                                                There is no universal definition of an AW that applies
   National-level analyses were conducted using three data      across current and past AW laws. For example, the
   sources and compilations. The first consists of informa-     expired federal ban and some current state laws define
   tion on firearms recovered by law enforcement agencies       AWs as having two military-style features, whereas
   throughout the nation and reported to the federal Bureau     other state bans and a recent (2013) proposal for a new
   of Alcohol, Tobacco, Firearms, and Explosives (ATF)          federal ban use a one feature criterion [2, 51]. For this
   for investigative tracing of their sale histories. Guns      study, AWs were defined based on the weapons that
   reported to ATF provide a national sample of crime guns      have most commonly been identified as such based on
   numbering in the hundreds of thousands annually (pre-        the old federal ban, current state laws, and the recently
   dominantly from urban jurisdictions), but they do not        proposed federal ban. This list included more than 200
   constitute a statistically representative sample for the     make-model combinations covered by either of the fed-
   nation given that gun tracing is voluntary (agencies trace   eral lists (2004 and 2013) or at least two of the state
   guns as needed for specific investigations and/or analy-     laws. Based on preliminary analyses showing that most
   sis of illegal gun markets) and varies between agencies      recovered AWs are assault rifles (as opposed to assault
   and over time [24, 27, 38–40]. Further, publicly avail-      pistols or assault shotguns), an additional ceiling esti-
   able data on traced guns are limited to aggregate figures    mate of AW use was calculated based on the prevalence
   on basic types and calibers of the weapons, thus limiting    of semiautomatic rifles. This was also done to compen-
   the analyses that could be conducted as described below.     sate for imprecision in the AW estimates (due, for ex-
   The other national data sources included information on      ample, to missing or partial gun model data, lack of
   guns used in murders of police officers and mass murder      information about the specific features or configurations
   incidents. Prior research has shown that AWs and LCM         of the weapons that could affect their AW status, and
   firearms are used in a higher share of these crimes, due     possible omissions from the operational AW list).
   presumably to their lethality and attractiveness to the         Use of guns with LCMs could only be measured
   types of offenders who commit these offenses [2, 4], and     precisely for the Syracuse, Baltimore, and Richmond
   this has been a prominent issue in the AW debate.            analyses, which are based on data sources having an
   Information on firearms used in murders of police,           indicator for magazine capacity (which is typically




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   missing from police gun databases), and some of the           analyzed ranged from 281 in Syracuse to 4994 in Kansas
   mass murder incidents. For most analyses, use of LCM          City and totaled 21,551 across all data sources.
   firearms was approximated based on recoveries of semi-            Estimates of the prevalence of AWs among crime
   automatics that are commonly manufactured and sold            guns ranged from a low of 2.4% in Baltimore to a high
   with LCMs, referred to below as LCM-compatible fire-          of 8.5% in Syracuse. Assault rifles (e.g., variations of
   arms. Identification of these models was based on gun         the AR-15 or AK-47) accounted for the majority of
   catalogs (such as the Blue Book of Gun Values and Gun         AWs in all sites and more than three-quarters in all but
   Digest) and examination of gun manufacturers’                 one (Richmond). The remaining AWs consisted entirely
   websites. This method likely overstates LCM use to            (or nearly so) of assault pistols (e.g., the TEC-9 or TEC-
   some degree since many LCM compatible firearms                22). The share of crime guns consisting of semiautomat-
   can also be equipped with smaller magazines. As a             ic rifles of any sort is also displayed in Table 1 for
   rough guide, inspection of all recoveries of a small          localities that had gun databases with gun-type designa-
   number of LCM-compatible handgun models in the                tions (i.e., handgun/rifle/shotgun, semiautomatic/non-
   Baltimore data revealed that approximately four of five       semiautomatic). These estimates ranged from a low of
   were equipped with LCMs. Conversely, LCM use can              4.1% in Hartford to 12.4% in Rochester but were less
   also be undercounted for guns that were missing com-          than 9% for most cities. (The Milwaukee estimate is
   plete model information or equipped with aftermarket          based on the percentage of crime guns that were rifles of
   LCMs, which are available for some guns not sold with         any sort as semiautomatic/non-semiautomatic designa-
   LCMs at retail. LCM use was not estimated for Roch-           tions were unavailable.) As noted, the semiautomatic
   ester and Sacramento since New York and California            rifle estimates, which include both AW-type and non-
   have had longstanding restrictions on magazines with          AW-type rifles, provide a likely ceiling for estimates of
   more than ten rounds (hence, it seems less likely that        AW prevalence.
   LCM-compatible guns recovered in those jurisdictions              The percentage of crime guns clearly equipped with
   were actually equipped with LCMs).                            an LCM (including AWs and other high-capacity semi-
       Data were collected from 2014 through 2016. Cur-          automatics, most of which are pistols) was 16.5% in
   rent estimates of AW and LCM use were developed               Baltimore during the 2012–2014 period, but this figure
   using the most recent 2–3 years of data from the local        rose to 21.5% for guns that were connected to a violent
   police databases and ATF data. Data spanning the most         crime. These findings are similar to those from a recent
   recent 5–6 years were used to generate contemporary           news report (involving a separate and independent anal-
   estimates of AW and LCM use in murders of police and          ysis of Baltimore data) indicating that 18.4% of guns
   mass murders due to the rarity of these events. As            recovered in Baltimore had LCMs for the period of 2010
   described below, some data sources were also used to          through 2016 [52]. In Richmond, 22% of crime guns
   estimate trends in the use of semiautomatic rifles and        were equipped with LCMs during 2008 and 2009 based
   LCM firearms since the expiration of the federal ban.         on data collected by the Virginia State Police and ini-
   Reported figures highlight AWs and LCM firearms as a          tially reported by The Washington Post [14] (the Post’s
   share of crime guns in order to control for differences in    reported figures have been reanalyzed here to focus on
   the volume of gun crime and overall gun recoveries            the most recent available years and to assess trends).
   between places and over time. Other noteworthy aspects        Crime guns were least likely to be equipped with LCMs
   of the data and analyses are discussed below.                 in Syracuse (14.6%), where New York State LCM re-
                                                                 strictions have been in effect since the early 2000s.
                                                                     For the other sites, the prevalence of LCM-compatible
                                                                 guns ranged from 22.2% in Hartford to 36.2% in both
   Results                                                       Kansas City and Seattle, with the majority of the esti-
                                                                 mates (3 of 5) higher than one-third. In most of these
   Local Analyses                                                cities, the prevalence of LCM guns was similar whether
                                                                 focusing on all guns or those connected to a violent
   Results of the local analyses are presented in Table 1. For   crime. In Hartford, however, 30% of violent crime guns
   each site, estimates are based on data spanning different     were LCM compatible in contrast to 22.2% for all guns.
   portions of the 2011–2014 period. The number of guns          Further, a supplemental analysis of guns linked to assault-




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   Table 1 Prevalence of assault weapons, semiautomatic rifles, and semiautomatics with large-capacity magazines among guns recovered by
   police: estimates for selected cities and years

   Location and sample                                     Assault weapons     Semiautomatic rifles Semiautomatics with large-capacity
                                                           as % of guns        as % of guns         magazines as % of guns

   Hartford, CT (2011–2012, N = 854)                       2.6%                4.1%                   22.2% overall, 30% for guns linked
                                                                                                        to violent crime
   Rochester, NY (2012–July 2014, N = 1687)                4.9%                12.4%                  Not estimated
   Syracuse, NY (2012–May 2014, N = 281)                   8.5%                12.1%                  14.6%
   Baltimore, MD (2012–Sep. 2014, N = 4680)                2.4%                5.4%                  16.5% overall, 21.5% for guns linked
                                                                                                       to violent crime
   Richmond, VA (AW analysis: 2012–2013, N = 1180)         2.7%                Not estimated          22.0%
   (LCM analysis: 2008–2009, N = 1960)
   Minneapolis, MN (2012–Aug. 2014, N = 2178)              3.4%                6.4%                  25.1% overall, 46.3% for guns linked
                                                                                                       to shootings
   Milwaukee, WI (Jul. 2013–Jun. 2014, N = 1868)           4.6%                < 9.4%                 35.5%
   Kansas City, MO (2012–Aug. 2014, N = 4994)              6.1%                6.3%                   36.2%
   Seattle, WA (2012–July 2014, N = 596 guns linked to     6.4%                7.9%                   36.2%
     violent crimes or weapons violations)
   Sacramento, CA (Aug. 2013–Jul. 2014, N = 1273)          6.0%                Not estimated          Not estimated

   Estimates are based on general gun recovery samples except where noted. Estimates were similar for guns known to have been connected to
   violent crimes except where noted. Large-capacity magazine (LCM) estimates for Syracuse, Baltimore, and Richmond are based on known
   LCM recoveries (the Richmond estimates are based on Virginia State Police data initially reported by The Washington Post). Other LCM
   estimates are based on recoveries of LCM compatible firearm models. The Milwaukee semiautomatic rifle estimate is based on the
   prevalence of all rifles



   related shootings in Minneapolis (using gunshot victim-               between 8 and 18% from year to year. Virtually all of the
   ization data provided by Minneapolis police) revealed                 AWs (97%) were assault rifles. Semiautomatic rifles over-
   that 46.3% were LCM compatible, though this was based                 all accounted for 15.5% of the firearms used in these cases
   on a small sample (n = 80 guns).                                      and ranged from 5 to 23% annually. LCM-compatible
                                                                         firearms more generally constituted 40.6% of the murder
   National Analyses                                                     weapons, ranging from 35 to 48% annually.
                                                                             AW and LCM use in firearm mass murders was
   Results of the national analyses are presented in Table 2.            examined for a sample of 145 incidents that occurred
   AW prevalence was approximated in the national ATF                    from 2009 through 2015 but could only be estimated
   tracing data for 2012 and 2013 (n = 481,632) based on                 within broad ranges due to high levels of missing
   traces of guns in calibers .223, 5.56, and 7.62 mm.                   weapons data in public accounts. AWs were used in at
   These are common calibers for AW-type semiautomatic                   least 10.3% of these incidents. However, only 42 inci-
   rifles, though not all firearms in these calibers are AWs,            dents had sufficiently detailed weapon information to
   and not all AWs fall into these calibers. This method                 make a definitive determination regarding AW use;
   nonetheless yielded an estimate of 5%, which is within                among these cases, 35.7% involved AW use. All but
   the range of estimates provided by the local analyses.                one AW case involved an assault rifle. (A separate
   Further estimates of semiautomatic rifles and LCM fire-               estimate for semiautomatic rifle use is not presented
   arms were not possible given the limitations of pub-                  because only two additional cases clearly involved a
   lished tracing data.                                                  semiautomatic rifle with an unclear or non-AW desig-
       Guns used in murders of police were analyzed for the              nation.) LCM firearms overall were involved in at least
   years 2009 through 2013 (n = 219, excluding cases                     18.6% of the incidents based on cases that involved
   involving the officers’ own weapons, which are often                  clear possession of LCMs, AWs, or other LCM-
   LCM firearms). AWs accounted for an estimated 13.2%                   compatible models. Although many additional cases
   of the firearms used in these crimes overall and varied               involved semiautomatic firearms, an LCM coding could




                                                              Exhibit 11
                                                                0880
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   Table 2 Prevalence of assault weapons, semiautomatic rifles, and semiautomatics with large-capacity magazines among national samples of
   guns recovered by police, guns used in murders of police, and guns used in mass murders

   Data source and sample                              Assault      Semiautomatic rifles Semiautomatics with large-capacity magazines
                                                       weapons      as % of guns         as % of guns
                                                       as % of guns

   Federal Bureau of Alcohol, Tobacco, Firearms,    5%                Not estimated         Not estimated
     and Explosives (ATF): guns recovered by police
     and reported to ATF for investigative tracing
   (2012–2013, N = 481,632)
   Federal Bureau of Investigation: guns used in    13.2%             15.5%                 40.6%
     murders of police
   (2009–2013, N = 219)
   Public reports of firearm mass murders           10.3–35.7%        Not estimated         18.6–57.4%
     (4+ killed)
   (2009–2015, N = 145)

   Assault weapon estimate for ATF data is based on reported firearms in calibers .223, 5.56, and 7.62 mm. LCM estimates are based on
   recoveries of LCM compatible firearm models in the FBI data and recoveries of both LCMs and LCM compatible firearms in the mass
   murder data


   only be made for 47 cases, 57.4% of which involved an                 terms, the prevalence of LCM firearms increased from
   LCM firearm. The identified AW and LCM cases typi-                    33 to 49% in the Baltimore, Minneapolis, and national
   cally occurred in public locations (80%) and resulted in              (FBI) data (note that Maryland restricted LCMs with
   more than twice as many people shot on average as did                 more than 20 rounds throughout this period and extend-
   other incidents (13.7 victims on average for AW-LCM                   ed these restrictions to LCMs with more than 10 rounds
   cases versus 5.2 for other cases; t test p level < 0.01).             in late 2013). The largest increase occurred in Rich-
                                                                         mond, where LCM firearms increased 111.5%, rising
   Trend Analyses                                                        from 10.4% of recovered guns in 2003–2004 (the final
                                                                         years of the federal AW ban) to 22% in 2008–2009.
   Trends in the use of AWs and LCM firearms since the                   Similar trends have also been reported for the state of
   end of the federal AW ban or the early post-ban years                 Virginia overall [14]. All of these changes were statisti-
   were also estimated using selected data sources that had              cally significant (p < 0.05) based on chi-square tests of
   sufficiently detailed weapon information and spanned                  the equality of proportions.
   the period of interest. First, trends in recoveries of
   semiautomatic rifles were used to approximate trends
   in crime with AWs using the FBI national data on police               Discussion
   murders (2003–2013) and data from the following cities
   and time periods: Baltimore (2004–2014), Rochester                    Subject to caveats noted above, this examination of
   (2004–2014), Syracuse (2004–2014), Milwaukee                          several national and local data sources suggests that
   (2006–2014, based on all rifles), Seattle (2008–2014),                AWs are used in between 2 and 9% of gun crimes in
   Minneapolis (2006–2014), and Kansas City (2008–                       general with most estimates being less than 7%. Upper
   2014). In summary, these analyses (not shown) revealed                bound estimates of AW use based on semiautomatic
   little evidence of upward trends in the use of semiauto-              rifles range from 4 to 12% in most data sources and
   matic rifles across sites.                                            are typically less than 9%. These estimates are broadly
       Second, trends in crimes with LCM firearms were                   similar to those generated in the early 1990s prior to the
   estimated based on guns used in murders of police                     federal AW ban [2], though they are perhaps somewhat
   (2003–2013) as well as guns recovered in Baltimore                    higher on average. However, comparisons of these esti-
   (2004–2014), Richmond (2003–2009), and Minneapo-                      mates with others should be made cautiously, as opera-
   lis (2006–2014). Table 3 shows changes over time in the               tional definitions of an AW have varied across studies
   percentage of guns that were LCM firearms using the                   and estimates presented here are based on the most
   earliest and latest years of each data source. In relative            contemporary definitions of AWs. One clearly notable




                                                              Exhibit 11
                                                                0881
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   Table 3 Changes in prevalence of semiautomatics with LCMs: estimates for selected local and national data sources and time frames, 2003–
   2014

   Data source/location                                 LCM firearm prevalence:       LCM firearm prevalence:       Change in LCM firearm
                                                        early time period             late time period              prevalence

   Baltimore crime guns                                 11.1% (2004, 2006,            16.5% (2012–Sep. 2014,        + 48.6%**
                                                          N = 5369 total firearms)      N = 4381 total firearms)
   Richmond, VA crime guns                              10.4% (2003–2004,             22.0% (2008–2009,             + 111.5%**
                                                          N = 2413 total firearms)      N = 1960 total firearms)
   Minneapolis crime guns                               16.8% (2006–2007,             25.1% (2012–Aug. 2014,        + 49.4%**
                                                          N = 2564 total firearms)      N = 2178 total firearms)
   National (FBI): guns used in murders of police       30.4% (2003–2007,             40.6% (2009–2013,             + 33.6%*
                                                          N = 224 total firearms)       N = 219 total firearms)

   Change in proportions statistically significant at p < 0.05 (*) or p < 0.01 (**)
   Estimates are based on general gun recovery samples except where noted. LCM estimates for Baltimore and Richmond are based on known
   LCM recoveries (the Richmond estimates are based on Virginia State Police data initially reported by The Washington Post). The early
   period estimate for Baltimore excludes the year 2005 due to an unusually large number of guns appearing that year within the buyback/turn-
   in/safekeeping category. Other LCM estimates are based on recoveries of LCM compatible firearm models



   recent change is that assault rifles, rather than assault                 gunfire and injury per gun attack during this time. Con-
   pistols, now account for a substantial majority of AWs                    sistent with this inference, national statistics from the
   used in crime in contrast to prior estimates [2]. This                    Centers for Disease Control and Prevention (CDC) and
   implies an increase over time in the average lethality                    the FBI show that the ratio of gun homicides and as-
   of AWs used in violence.                                                  saultive non-fatal shootings to overall reported violent
      LCM firearms, which include AWs as well as other                       gun crimes (homicides, assaults, and robberies) rose
   high-capacity semiautomatics, appear to account for 22                    from an average of 0.163 for 2003–2005 to an average
   to 36% of crime guns in most places, with some esti-                      of 0.21 for 2010–2012 (calculated from CDC [53] and
   mates upwards of 40% for cases involving serious vio-                     FBI [54] data). This change was driven by non-fatal
   lence. These estimates are comparable to or higher than                   shootings, which have been trending upward since the
   earlier estimates of LCM use. However, the higher-end                     early 2000s and recently reached their highest levels
   estimates may overstate LCM use somewhat as most are                      since 1995 [1]. The findings presented in this study
   based on measurement of LCM-compatible guns that                          suggest the possibility that greater use of high-capacity
   may not all have been equipped with LCMs.                                 semiautomatics has contributed to this upward trend in
      Consistent with prior research, this study also finds                  shootings.
   that AWs and LCM firearms are more heavily repre-                            Further study would seem warranted on LCM use
   sented among guns used in murders of police and mass                      trends with additional jurisdictions and data sources.
   murders. AWs account for 13–16% of guns used in                           Research on this issue could be facilitated by more
   murders of police, while LCM weapons overall account                      systematic efforts to collect detailed information on
   for about 41% of these weapons. Estimates for firearm                     crime guns and magazines in local police databases as
   mass murders are very imprecise due to lack of data on                    well as through national data collection systems like the
   the guns and magazines used in these cases, but avail-                    Supplemental Homicide Reports and the National Vio-
   able information suggests that AWs and other high-                        lent Death Reporting System. Study of these weapons is
   capacity semiautomatics are involved in as many as                        also hampered by lack of public data on production of
   57% of such incidents. Further, they are particularly                     LCMs and LCM-compatible firearms. The need for
   prominent in public mass shootings and those resulting                    better data on this issue may become more pressing if
   in the highest casualty counts.                                           there continue to be significant changes in the lethality
      Importantly, trend analyses suggest that LCM fire-                     of commercially available firearms.
   arms have grown substantially as a share of crime guns                       Additional research is also needed to quantify the
   since the expiration of the federal ban on AWs and                        effects that LCM use has on injuries and deaths from
   LCMs. This implies possible increases in the level of                     gun attacks—and by extension on the costs to society




                                                                 Exhibit 11
                                                                   0882
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                                                                   0883
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             EXHIBIT "12"




                                   Exhibit 12
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                        Journal of Trauma and Acute Care Surgery
                        Issue: Volume 86(1), January 2019, p 11-19
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                        Publication Type: [AAST 2018 PODIUM PAPER]




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  [AAST 2018 PODIUM PAPER]



  Changes in US mass shooting deaths associated with the 1994-2004
  federal assault weapons ban: Analysis of open-source data
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Source Reference
  New York, New York

  Abstract

  BACKGROUND: A federal assault weapons ban has been proposed as a way to reduce mass shootings in
  the United States. The Federal Assault Weapons Ban of 1994 made the manufacture and civilian use of a
  defined set of automatic and semiautomatic weapons and large capacity magazines illegal. The ban expired
  in 2004. The period from 1994 to 2004 serves as a single-arm pre-post observational study to assess the
  effectiveness of this policy intervention.

  METHODS: Mass shooting data for 1981 to 2017 were obtained from three well-documented, referenced,
  and open-source sets of data, based on media reports. We calculated the yearly rates of mass shooting
  fatalities as a proportion of total firearm homicide deaths and per US population. We compared the 1994 to
  2004 federal ban period to non-ban periods, using simple linear regression models for rates and a Poison
  model for counts with a year variable to control for trend. The relative effects of the ban period were
  estimated with odds ratios.

  RESULTS: Assault rifles accounted for 430 or 85.8% of the total 501 mass-shooting fatalities reported (95%
  confidence interval, 82.8-88.9) in 44 mass-shooting incidents. Mass shootings in the United States
  accounted for an increasing proportion of all firearm-related homicides (coefficient for year, 0.7; p = 0.0003),
  with increment in year alone capturing over a third of the overall variance in the data (adjusted R2 = 0.3). In
                                                          Exhibit 12
                                                            0886
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                                                          1057
a linear regression model controlling for yearly trend, the federal ban period was associated with a
statistically significant 9 fewer mass shooting related deaths per 10,000 firearm homicides (p = 0.03). Mass-
shooting fatalities were 70% less likely to occur during the federal ban period (relative rate, 0.30; 95%
confidence interval, 0.22-0.39).

CONCLUSION: Mass-shooting related homicides in the United States were reduced during the years of the
federal assault weapons ban of 1994 to 2004.

LEVEL OF EVIDENCE: Observational, level II/IV.




Increases in firearm-related injuries, particularly mass-shooting related fatalities, in the United States have
contributed to a polarizing and sometimes contentious debate over gun ownership and limiting weapons
characterized as assault weapons.1,2 Despite the increasing sense that there is an epidemic of indiscriminate
firearm violence in our schools and public spaces, there is a paucity of public health evidence on the topic.
Among a number of recommendations, a federal Assault Weapons Ban (AWB) has been proposed as a way to
prevent and control mass shootings in the United States. In this article, we assess evidence for the
effectiveness of such a ban in preventing or controlling mass-shooting homicides in the United States.


While mass shootings occur in other industrialized nations, the United States is particularly prone to these
crimes. In a recent 30-year period, the United States had double the number of mass-shooting incidents than
the next 24 industrialized nations combined.3 Any public perception of recent increases in the number of these
events is borne out by analysis of available data.4 By one measure, there have been more deaths due to mass
shootings in the United States in the past 18 years than in the entire 20th century.5 While there is some debate
about the role of mental illness in mass shootings,6-8 many high-profile recent mass shootings (Aurora, CO;
Roseburg, OR; San Bernadino, CA; Newtown, CT; Orlando; Las Vegas; Sutherland Springs, TX) have been
characterized by the use of semiautomatic assault rifles,9 leading some to advocate for restrictions on the
manufacture and sale of these weapons.


While survey results indicate that researchers in criminology, law and public health rank an assault weapons
ban as one of the most effective measures to prevent mass shootings, and that 67% of the US general
population support such a ban,10 the existing evidence on banning assault weapons is scant and sometimes
contradictory. Most evidence is related to the Federal AWB of 1994, which made illegal the manufacture and
use by civilians of a defined set of automatic and semiautomatic weapons and large capacity magazines.
Formally known as "The Public Safety and Recreational Firearms Use Protection Act", the AWB was part of the
broader "Violent Crime Control and Law Enforcement Act of 1994. The ban lasted 10 years, expiring in 2004
when the US Congress declined to renew it.


In a study soon following the implementation of the 1994 ban, researchers reported a 55% decrease in the
recovery of assault weapons by the Baltimore City Police in the first 6 months of 1995, indicating a statistically
significant 29 fewer such firearms in the population.11 In a 2009 study based on ICD9 external cause of injury
codes for patients younger than 18 years in the United States, 11 states with assault and large-capacity
magazine bans, as well as other firearm laws, were compared with 33 states without such restrictions. The
incidence of firearm injuries per 1,000 total traumatic injuries was significantly lower in states with restrictive
laws, 2.2 compared with 5.9.12 In contrast, a comprehensive 2001 evaluation of the AWB itself concluded that
there was "no evidence of reductions in multiple-victim gun homicides or multiple-gunshot wound
victimizations". The authors cautioned their results should be "interpreted cautiously" because of the short
period since the ban's inception, and that future assessments were warranted.13 More recent studies, while not
primarily addressing the US Federal AWB have found results generally consistent with its effectiveness in
preventing mass-shooting fatalities.14,15

                                                    Exhibit 12
                                                      0887
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We believe sufficient time has passed and enough data1057
                                                      have accumulated to treat the period from 1994 to 2004
as a naturalistic pre-post observational comparison period for the association of the AWB with changes in mass-
shootings in the United States. Because there is no authoritative source or registry, or even a widely agreed
upon definition for these incidents, we obtained data from three open source references and restricted our
analyses to only those incidents confirmed by all three sources. We assess evidence for the potential
effectiveness of such a ban in preventing and controlling mass-shooting homicides in the United States. We
hypothesized that the implementation of the Federal AWB contributed to a reduction in mass shooting deaths as
measured by the number and rate of mass shooting fatalities before, during, and after the federal AWB.


METHODS
Mass incident shooting data were obtained from three independent, well-documented and referenced online
sources: Mother Jones Magazine, the Los Angeles Times and Stanford University.16-18 These sources have
each been the basis for a number of previous studies.19-26 Data from the three online open-source references
were combined. Analyses were restricted to incidents reported by all three sources. Entries were further
restricted to those for which four or more fatalities (not including the shooter) were reported, which meets the
strictest definition of mass shootings as defined by the Federal Bureau of Investigation.27,28 Yearly homicide
data were obtained from the US Centers for Disease Control and Prevention Web-based Injury Statistics Query
and Reporting System (WISQARS) an online database of fatal and nonfatal injury.29 Because 2017 data were
not yet available in the WISQARS system, data for firearm-related homicide data for that year were obtained
from a separate online source.30


A variable was created to indicate the 1994 to 2004 period as the federal ban period. We attempted to identify
incidents involving assault weapons. An assault weapon has been defined as semiautomatic rifle that
incorporates military-style features such as pistol grips, folding stocks, and high-capacity detachable
magazines.31 In this study, assault weapons were identified using the text search terms "AK," "AR," "MCX,"
"assault," "assault," or "semiautomatic" in a text field for weapon details. These terms were based on
descriptions of the federal assault ban legislative language.32 The total number of mass shooting fatalities and
injuries were aggregated by year and merged with the yearly firearm homicide data.


The rate of mass shooting fatalities per 10,000 firearm homicide deaths was calculated. For the years covered
by the data sources, we calculated (1) the total and yearly number of mass-shooting incidents that met the
strictest criteria and were confirmed by all three sources, (2) the number of all weapon (assault and nonassault
weapons) mass-shooting fatalities, and (3) the case-fatality ratio of all-weapon mass-shooting fatalities per 100
total mass-shooting fatalities and injuries. The yearly case-fatality ratio was plotted with overlying Loess line for
trend and standard error limits. We also plotted the yearly rate of mass shooting fatalities per 10,000 firearm-
related homicides with an overlying simple linear model with year as the predictor for (1) the total period, and (2)
for preban, ban, and postban periods.


We evaluated assumptions of normality and linearity of the data using graphical methods such as density plots
and Q-Q normal plots as well as summary statistics. We tested the hypothesis that the federal ban period was
associated with a decrease in the number and rate of mass-shooting fatalities in the United States with a
multiple linear regression model, with total homicide-based mass-shooting fatality rate as the outcome variable,
a dichotomous indicator variable for the federal ban period as the predictor variable, and year as a control
variable for trend over time. We calculated the relative risk of mass shooting fatalities during the federal ban
period compared to nonban periods by using the "epitab" function of the R "epitools" package. This estimate is
based on the ratio of the fatality rate during the ban period divided by the fatality rate during the nonban period.
All results are presented with two-sided p values with a significance level of 0.05 and/or 95% confidence
intervals (CI). We conducted subgroup analysis with data restricted to incidents in which an assault-type
weapon was explicitly noted.



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We conducted analyses to test the sensitivity of our results to the choice of denominator with linear regression
models controlling for trend with yearly rates based on (1) CDC WISQARS homicide data ending in 2016, (2)
extrapolated CDC WISQARS homicide data for 2017, and (3) population denominator-based rates. We tested
the robustness of our underlying modeling assumptions with an alternate mixed-effects generalized linear model
of yearly mass shooting fatality counts with an observation-level random effect to account for overdispersion.


The study was determined to be exempt as nonidentifiable data. The study data and analytic code are available
for download at
http://www.injuryepi.org/styled-2/
.


RESULTS
The three data sources listed incidents ranging in number from 51 (LA Times) to 335 (Stanford) and in dates
from 1966 (Stanford) to 2018 (LA Times). There were a total of 51 reported cases of mass shootings between
1981 and 2017 confirmed by all three sources. Forty-four of these incidents met the strictest criteria for mass
shootings (4 or more killed), totaling 501 all-weapon fatalities. In total 1,460 persons were injured or killed over
the 37-year period, for a total case-fatality ratio of 34.3% (95% CI, 31.9-36.8). The overall rate of mass shooting
fatalities per 10,000 firearm-related homicides was 10.2 (95% CI, 9.4-11.2). There was an increase in the all-
weapon yearly number of mass-shooting fatalities in the United States during the study period, (Fig. 1) and
evidence of a decrease in case fatality in the post-2010 period (Fig. 2). Incidents in which weapons were
characterized as assault rifles accounted for 430 or 85.8% of mass-shooting fatalities (95% CI, 82.8-88.9).
Weapons characterized as assault rifles accounted for all mass-shooting fatalities in 15 (62.5%) of the 24 (95%
CI, 42.6-78.9) years for which a mass-shooting incident was reported, accounting for a total of 230 fatalities in
those years.




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Figure 1. Mass shooting deaths. United States 1981-2017.




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Figure 2. Case fatality per 100 total mass-shooting injuries with loess smoothing line for trend and standard error bounds.
United States 1981-2017.


Between 1981 and 2017, mass shootings in the United States accounted for an increasing proportion of all
firearm-related homicides, with increment in year accounting for nearly 32% of the overall variance in the data.
During the years in which the AWB was in effect, this slope decreased, with an increase in the slope of yearly
mass-shooting homicides in the postban period (Fig. 3). A similar pattern was evident in data restricted to those
incidents characterized as involving assault weapons (Fig. 4).




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Figure 3. Mass shooting deaths per 10,000 firearm-related homicides with linear trends for preban, ban, and postban
periods. United States 1981-2017.




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Figure 4. Mass-shooting shooting deaths per 10,000 firearm-related homicides restricted to incidents involving assault
weapons with linear trends for preban, ban, and postban periods. United States 1981-2017.


In a linear regression model controlling for yearly trend, the federal ban period was associated with a statistically
significant 9 fewer mass shooting-related deaths per 10,000 firearm homicides per year (Table 1). The model
indicated that year and federal ban period alone accounted for nearly 40% of all the variation in the data
(adjusted R2 = 0.37). A subanalysis restricted to just those incidents characterized by the use of an assault
weapon indicated that seven preventable deaths during the ban period were due to assault weapons alone
(Table 2).




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                                                        1057Weapon Ban on Mass-Shooting Deaths per 10,000
TABLE 1 Linear Regression Effect of 1994-2004 Federal Assault
Firearm Homicides, United States, 1981-2017




TABLE 2 Linear Regression Effect of 1994-2004 Federal Assault Weapon Ban on Mass-Shooting Deaths Characterized
by Use of Assault Weapon per 10,000 Firearm Homicides, United States, 1981-2017


The risk of mass shooting fatalities during the federal van period was 53 per 140,515 total firearm homicides
compared with 448 per 348,528 during the nonban periods, for a risk ratio of 0.30 (95% CI, 0.22-0.39). The
calculated risk ratio for the association of the federal ban period with mass-shooting fatalities as a proportion of
all firearm-related homicides was 0.29 (95% CI, 0.22-0.29), indicating that mass shooting fatalities were 70%
less likely to occur during the federal ban period.


The results of our sensitivity analyses were consistent with our main analyses for total mass shooting fatalities.
In a linear regression analysis controlling for yearly trend and restricted to the period ending in 2016 using just
CDC WISQARS homicide data as the denominator, the effect of ban period was associated with a statistically
significant eight fewer mass shooting related deaths per 10,000 firearm homicides per year (coefficient for ban
period, 8.0; p = 0.05). In a similar model using extrapolated CDC WISQARS homicide data for 2017 instead of
Online Gun Violence Archive data as the denominator, the effect of ban period was associated with a
statistically significant 9 fewer mass shooting related deaths per 10,000 firearm homicides per year (coefficient
for ban period, 8.6; p = 0.03). A model based on the total yearly US population as the denominator, the effect of
ban period was associated with a statistically significant 0.4 fewer mass shooting related deaths per 10,000,000
population (coefficient for ban period, 0.4; p = 0.02).


The results of a mixed-effects generalized linear Poisson model of yearly mass shooting fatality counts with an
observation-level random effect to account for overdispersion were very similar whether the offset variable was
the number of total firearm deaths or the population size. In either case, the assault weapons ban period was
associated with an approximately 85% reduction in mass shooting fatalities (Table 3).




TABLE 3 Exponentiated Coefficients Generalized Linear Poisson Model


DISCUSSION



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Recently, 75% of members of the American College of Surgeons           Committee on Trauma endorsed restrictions to
"civilian access to assault rifles (magazine fed, semiautomatic, i.e., AR-15),"33 and 76% of the Board of
Governors were in favor of a limit to "[horizontal ellipsis] civilian access to ammunition designed for military or
law enforcement use (that is, armor piercing, large magazine capacity)."34 In 2015, the American College of
Surgeons joined seven of the largest most prestigious professional health organizations in the United States
and the American Bar Association to call for "restricting the manufacture and sale of military-style assault
weapons and large-capacity magazines for civilian use."35 This analysis adds evidence to support these
recommendations.


No observational epidemiologic study can answer the question whether the 1994 US federal assault ban was
causally related to preventing mass-shooting homicides. However, this study adds to the evidence by narrowly
focusing our question on the potential effect of a national assault weapon ban on mass shootings as measured
through the lens of case fatality. While the data are amenable to a number of additional analyses, such as
stratification by location (e.g. school vs. nonschool) or by characterization of large-capacity magazines versus
non large-capacity magazine, we chose to focus only on year of occurrence and total number of fatalities. In this
way, we relied on the least subjective aspects of the published reports. We believe our results support the
conclusion that the ban period was associated with fewer overall mass-shooting homicides. These results are
also consistent with a similar study of the effect of a 1996 ban on assault type weapons in Australia after which
mass-shooting fatalities dropped to zero.36


While the absolute effects of our regression analyses appears modest (7 to 9 fewer deaths per 10,000 firearm-
homicides), it must be interpreted in the context of the overall number of such fatalities, which ranges from none
to 60 in any given year in our data. However, if our linear regression estimate of 9 fewer mass shooting-related
deaths per 10,000 homicides is correct, an assault weapons ban would have prevented 314 of the 448 or 70%
of the mass shooting deaths during the nonban periods under study. Notably, this estimate is roughly consistent
with our odds ratio estimate and Poisson model results.


Our results add to the documentation that mass shooting-related homicides are indeed increasing, most rapidly
in the postban period, and that these incidents are frequently associated with weapons characterized as assault
rifles by the language of the 1994 AWB. We did not find an increase in the case fatality ratio of mass-shooting
deaths to mass-shooting injuries. This might at first seem counterintuitive and paradoxical. The destructive
effect of these weapons is unequivocal. They are engineered to cause maximum tissue damage rapidly to the
greatest number of targets. However, it may be that the use of these kinds of weapons results in indiscriminate
injury with additional rounds more likely to injure more people increasing the denominator in a case-fatality ratio.
By contrast, the use of nonassault weapons may result in more precise targeting of victims. It is also possible
that improvements in trauma care are driving down case fatality.37 Also, it is worth noting that in absolute terms,
there were many more fatalities outside the ban period and that survivable injury comes with its own physical,
emotional, and economic costs, which have been estimated at US $32,237 per hospital admission.38


Despite US federal funding restrictions on firearm-related research dating to 1996,39,40 there is a small but
growing number of analyses of mass shooting violence in the United States. Many articles have focused on the
mental health aspects of these incidents,41-43 or on social effects like increased firearm acquisition following
mass shootings.44,45 However, fewer studies have taken a strictly public health or clinical approach. Among
these, an autopsy-based study of the incidence and severity of mass-shooting casualties concluded the wound
patterns differed sufficiently from combat injuries to require new management strategies, indicating there is
much to be learned from a systematic epidemiological perspective.46 Recently, there have been calls to remove
such funding restrictions from both academics and elected officials from across the political spectrum.47,48




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Our choice of data and analytic approach may reasonably  1057 be debated. We chose to base our analyses on the
yearly rate of mass shooting fatalities per 10,000 overall firearm homicides. This is not a population-based risk
estimate, but is in fact a risk as commonly used in the epidemiologic literature which is essentially a probability
statement, that is, the number of events that occurred over the number of times that event could occur. It is the
risk of a homicide occurring as a result of a mass shooting. It may be considered a strong assumption to build
mass shooting death rates based on the overall firearm homicide rate. The demographics of most homicide
victims may differ appreciably from those of mass shooting victims. We selected this approach from among a
number of imperfect potential denominators, believing that basing the rates on the number of firearm-homicides
partly controls for secular trends in overall homicides and firearm availability. Our sensitivity analyses indicate
that our results were robust to most any choice of denominator. We chose linear regression as our primary
model because it was straightforward, accessible to most readers, accounted for linear trends in the data, and
returned results in the metric in which we were most interested, that is, changes in the rate of fatalities. Our
comparative Poisson model results were essentially consistent with the primary model.


These analyses are subject to a number of additional limitations and caveats, primary among which is that there
is no authoritative source of data on mass shooting, and any one source may be biased and incomplete. It was
for this reason that we chose to combine three independent sources of data, each with its own strengths and
weaknesses, and base our analyses only on those numbers that were verified by all three sources. We further
restricted our analyses to only the number of fatalities and the year in which the incident occurred, and to the
strictest definition of mass shootings as defined by the Federal Bureau of Investigation.27,28 Even with this
approach, the data remain imprecise and subject to differing definitions. We attempted to compensate for this by
framing our questions as precisely as possible, following the advice of the scientist and statistician John Tukey
to pursue, "[horizontal ellipsis] an approximate answer to the right question ...(rather) than the exact answer to
the wrong question..."


In this study, we failed to falsify the hypothesis that the AWB was associated with a decrease in mass shooting
fatalities in the United States. However, it is important to note that our model did not include important and
potentially confounding factors like state-level and local differences in assault weapon laws following the sun
downing of the federal AWB. Additional analyses including such variables and using approaches like propensity
score matching and regression discontinuity 49 with data further aggregated to state and local levels are
necessary to test the strength and consistency of our results.


Federally referenced denominator data were not available for the last year of the study. We chose to use data
from the Online Gun Violence Archive to account for firearm homicide in 2017. This resource is a nonpartisan
not-for-profit group founded and maintained by a retired computer systems analyst and gun advocate.50 The
alternative would have been to extrapolate from the CDC data, but the 15,593 firearm-related homicides
reported by the Online Gun Violence Archive in 2017 was more consistent with the 14,415 reported by CDC in
2016 compared with the 11,599 predicted by an extrapolation and returned more conservative estimates of the
increased rate of recent mass shootings. We note there were many years in which the number of mass-shooting
fatalities is listed as zero. There were, in fact, fatalities and incidents in those years that could meet a definition
of mass shooting, but they were not reported by all three sources, or did not meet the strict criteria we set for
this analysis.




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An assault weapon ban is not a panacea, nor do our analyses 1057 indicate that an assault weapon ban will result in
fewer overall firearm-related homicides. It is important to recognize that suicides make up the majority of
firearm-related deaths in the United States, accounting for 60.7% of 36,252 deaths from firearms in 2015.51
However, while this is a critically important issue in its own right, suicides differ fundamentally from mass-
shootings, and are unlikely to be affected by an assault weapons ban. Also, compared with the 501 mass-
shooting fatalities we counted, there were 489,043 firearm-related homicides in the United States. Public health
efforts should be directed at reducing all gun violence and must be multipronged, including targeted initiatives to
address mental illness and reducing access to weapons in those with a propensity for violence. However, taken
in the context of the increase in mass shootings in the United States, these results support the conclusion that
the federal AWB of 1994 to 2004 was effective in reducing mass shooting-related homicides in the United
States, and we believe our results support a re-institution of the 1994 federal assault weapons ban as a way to
prevent and control mass shooting fatalities in the United States.


DISCLOSURE
The authors have no conflicts of interest to declare.


There are no federal or nonfederal funding sources associated with this study.


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DISCUSSION
Ernest E. 'Gene' Moore, MD (Denver, Colorado): Thank you, Dr. Rotondo and Dr. Reilly. Can I please have the
discussion video. [sounds of a gun shooting]. Well, that is the AR15 rifle. Literally, 30 potential lethal shots
delivered within 10 seconds. Is this safe to have in our society?


I congratulate Dr. DiMaggio and his colleagues from NYU for their superb presentation on a very timely issue.
The AAST has had a long-term interest in reducing gun violence in the United States, and has recently
published our 14-point approach. Access to assault rifles is one of them. At a reductionist level, mass shootings
are the net result of (1) a deranged person intending to kill random individuals in a populated area, and (2) the
use of an assault rifle. Since we seem to be unable to identify the active shooter preemptively, we are left with
the alternative solution of eliminating the weapon.


The presentation today provides evidence that a federal assault weapon ban can reduce mass shootings.
According to our recent national trauma surgeon surveys, three-fourths of us in the audience, including me,
would like to believe the analysis; but I think we need to consider some of the potential limitations.


Many of these issues relate to the fact that research support for gun violence control in the United States
remains frustratingly suppressed and fundamentally inadequate. The general lack of information, low quality of
data, and need to merge data sets from diverse sources - medical, coroner, police, legal, and behavioral -
compounded by scarce funding and public controversy, undermine research to inform policy and enlighten the
public. The fact that you had to compare three open-access databases to be certain that the reported mass
shootings occurred underscores this deficiency.


Furthermore, there is no definition of a mass shooting, although you employed perhaps the most acceptable at
the moment - the FBI's definition. Could you explain for us the rationale for this definition?




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You present an analysis of 44 events with four or more 1057
                                                       deaths, including the shooter, from 1981 to 2017 - a 36-
year period; whereas, others suggest a much higher incidence, such as Klaveras, who reported 69 shootings of
six or more over the past 27 years.


Identifying all known mass shootings per year during a study period would be useful to appreciate the overall
trends, as your data somewhat understates the magnitude of mass shootings in the United States.


You employed the Gun Violence Archive to estimate homicides in 2017. Why did you not use this source for
mass shootings? The Archive has reported an alarming 261 mass shootings - defined as six or more shot - thus
far in 2018. Nonetheless, in the sample you studied, assault rifles accounted for greater than 85 percent of the
fatalities, and this is the key issue.


You have evaluated the impact of the federal assault rifle ban by analyzing the rate of mass shootings per
10,000 firearm homicide deaths per year to adjust for confounders. This would assume that the factors
influencing mass shootings are the same as those for homicides, which seems very unlikely. You have idicated
that you analyzed mass-shooting fatalities per population per year; perhaps you could elaborate more about this
analysis.


Another confounder as acknowledged in the presentation is the impact of individual state limitations on
magazine capacity. The first state to enforce these limitations was New Jersey in 1990, and now at least eight
states and Washington, D.C., have these restrictions in effect. How can we distinguish the effects of this policy?
And could this be a potential bridge to ultimately reestablish a national assault rifle ban?


You have also calculated the case fatality of all weapons in mass shootings per 100 total shootings, finding a
decrease since 2010. While you conjecture this may be due to indiscriminate injury from assault rifles or
possibly attributed to better trauma care, I am uncertain how this is relevant to the issue of banning assault
rifles. The Las Vegas shooting is a cogent example of how these data may be misleading.


Finally, there is the issue of so-called falsification that could be addressed by examining other causes of trauma
mortality during this time period.


In sum, this study adds to overwhelming evidence that assault rifles are an essential component in the dramatic
escalation of mass shootings in the United States. While the scientific data to support a federal ban on civilian
assault rifles is imperfect due to inadequate research support, I submit collectively the existing information
argues strongly for enactment of this measure, and compliment the authors for their timely contribution.


Sheldon H. Teperman, MD (Bronx, New York): Dr. DiMaggio, your home institution, Bellevue, plays a seminal
role in the trauma center safety of our nation.


In fact, right now, your trauma medical director is not present with us, but he is at home on guard for the U.N.
General Assembly. But in New York, we don't see long-gun injuries. New York has the Safe Act, and there is an
assault weapons ban. So why is it so important to America's trauma center - Bellevue - that we see a national
ban on assault rifles?


Charles E. Lucas, MD (Detroit, Michigan): Thank you for your nice presentation. How many of these incidents
occurred in an inner-city environment, where most of the victims that we treat have received multiple wounds
which were purposely inflicted in order to compete competitively for the distribution of heroin and other drugs?
Also, how many of the assailants were African-American?


                                                    Exhibit 12
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Martin A. Croce, MD (Memphis, Tennessee): Thank you.     1057
                                                            I want to commend the authors for an excellent study,
and really, not so much to ask any questions but I rise to put out a plea to the membership that this issue is a
public health problem.


This is not a right versus left problem, this is not a Second Amendment problem. This is a public health problem.


And to quote Wayne Meredith at one of the recent Board meetings, 'Our primary goal is to reduce the number of
bullet holes in people." So I implore the Membership to correct this dearth of research that is going on about gun
violence in order to promote a public health approach, so that we can reduce the number of bullet holes in
people.


Deborah A. Kuhls, MD (Las Vegas, Nevada): And to carry on that thought, I would urge the authors to
incorporate the public health data from the CDC when it is available, because part of the methodological issues
for this paper is that one data set was used for a certain period of time.


But for the last year, the CDC data was not used because it was not available, so I would urge you to not only
do that analysis, but I would also urge the Journal of Trauma to consider an update to that article when that is
available. Thank you.


Charles DiMaggio, MPH, PhD (New York, New York): Thank you very much for all these comments and
questions.


Dr. Moore, so with regard to your observation about the reductionist approach to looking at this particular issue,
that puts me in the mind very much of the traditional epidemiologic triad of agent, host, and environment, and if
you break one link in that connection, you can break the transmission. In this case, we could call assault
weapons one link, whether it's agent or host, we can decide.


With regards to the rationale for the definition, I think it's reflective of the lack of research in this area.


A case definition is an essential and critical first step in any epidemiologic investigation, and you can see that
we are barely there. I think the FBI definition makes sense, I think it's the oldest one, I think it's informed by
expert consensus.


And I think all the other definitions are based in some form on that, which is why we chose it. And I would urge
that if we are going to be doing this research going forward, probably it would be best if we all had the
consensus that that be the definition.


Why did we not use the Gun Violence Archive to estimate some of these results, and why are our numbers so
much smaller than some of the other numbers? I have to agree, our numbers are very much an under-count.


We restricted our analysis to these three databases. And so the limiting factor was the one database. And I can
tell you it was the LA Times - they had the fewest number. And if it wasn't in the LA Times, then the other
databases didn't contribute to this data set.


We felt that the important aspect of this particular study was to demonstrate the relative effects, merits or
associations with the assault weapon ban as opposed to documenting the absolute numbers.




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So the Gun Archive, for example, defines mass shootings1057
                                                          as four or more deaths or injuries. That really raises
the number of deaths that can be included. We didn't include it, but I think going forward we absolutely should.


With regard to the analysis using population denominators, we agree, actually, that gun homicides are an
imperfect denominator. We also felt that population was an imperfect denominator. And again, as we keep on
circling around, it has to do with the data in this case.


We did feel that gun homicides captured something about gun availability and criminality in the United States,
although homicides themselves differ very much from these mass shooting fatalities.


We do note that our population-based results essentially mirrored the gun homicide results, indicating that, at
least for the relative effects and benefits of the assault weapons ban, the results are robust and invariant to the
choice of denominator in this case.


Can we distinguish local effects, and could this possibly be a bridge to reestablishing an assault rifle ban? The
short answer is yes and yes. We can distinguish local effects.


We took a very broad approach on this particular study as a first pass on the data. But, there are data sources
(and even within the data sources we used) where you can tease out local, municipal and state policies.


Also, we can link our data to other sources that have those variables. There are statistical methods available
that will not only account for those variables, but also allow us to measure or estimate in some way the
contribution of local or regional variation in these policies to the overall effectiveness.


The issue of the case fatality rate is very interesting and challenging. I want to note that there was a paper in
JAMA on September 11th - just a couple of weeks ago - looking at mass shooter fatalities, that came essentially
to the same conclusion - that there has been this recent decrease.


In our paper, in this write-up, we look at three potential explanations, and one of them is, first of all, it's just a
matter of denominator. These are indiscriminate weapons.


You have someone shooting at a large group of people, and there are going to be more injuries and more
casualties, and it just inflates the denominator in this case.


The second thing is, the obverse of that, is single-fire weapons, guns, are very personal weapons. They're
usually characterized by someone who knows who they want to kill. And finally, we feel that perhaps there may
be some improvement by the folks in this room in treating these.


I'm going to close at this point, given the time constraints.


KEY WORDS: Firearms; mass-shootings; assault weapons; epidemiology




IMAGE GALLERY

 Select All                                                                             Export Selected to PowerPoint


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                                                         0904
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     Figure 1
                                             Figure 2                              Figure 3




                                             Table 1                               Table 2




     Figure 4




     Table 3

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             EXHIBIT "13"




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          Applied Economics Letters




          ISSN: 1350-4851 (Print) 1466-4291 (Online) Journal homepage: https://www.tandfonline.com/loi/rael20




    The impact of state and federal assault weapons
    bans on public mass shootings

    Mark Gius

    To cite this article: Mark Gius (2015) The impact of state and federal assault weapons
    bans on public mass shootings, Applied Economics Letters, 22:4, 281-284, DOI:
    10.1080/13504851.2014.939367

    To link to this article: https://doi.org/10.1080/13504851.2014.939367




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                                                      Exhibit 13
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 Applied Economics Letters, 2015
 Vol. 22, No. 4, 281–284, http://dx.doi.org/10.1080/13504851.2014.939367




 The impact of state and federal
 assault weapons bans on public
 mass shootings
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 The purpose of the present study is to determine the effects of federal and
 state assault weapons bans on public mass shootings. Using a Poisson
 effect model and data for the period 1982 to 2011, it was found that both
 state and federal assault weapons bans have statistically signiﬁcant and
 negative effects on mass shooting fatalities but that only the federal assault
 weapons ban had a negative effect on mass shooting injuries. This study is
 one of the ﬁrst studies that looks solely at the effects of assault weapons
 bans on public mass shootings.
 Keywords: assault weapons ban; mass shootings
 JEL Classiﬁcation: K14; I12


 I. Introduction                                                 however, assault riﬂes were not the predominant
                                                                 type of weapon used in these types of crimes. In
 According to a recent report prepared by the                    fact, according to a recent study, handguns were the
 Congressional Research Service (Bjelopera et al.,               most commonly used type of ﬁrearm in mass shoot-
 2013), a public mass shooting has four distinct                 ings (32.99% of mass shootings); riﬂes were used in
 attributes:                                                     only 8.25% of mass shootings (Huff-Corzine et al.,
                                                                 2014). All data used in Huff-Corzine et al. (2014) is
   (1) Occurred in a relatively public place.                    for the period 2001–2010.
   (2) Involved four or more deaths – not including                 Even though riﬂes are used in less than 10% of
       the shooter.                                              public mass shootings, one of the ﬁrst pieces of
   (3) Victims were selected randomly.                           legislation that comes up for consideration whenever
   (4) Shooting was not a means to a criminal end,               there is a mass shooting is an assault weapons ban.
       such as robbery or terrorism.                             For example, after the Sandy Hook shooting, there
                                                                 was a call for a revival of the 1994 federal assault
 Examples of high-proﬁle public mass shootings that
                                                                 weapons ban. This ﬁrearms ban was part of the
 ﬁt this deﬁnition are Sandy Hook, Aurora, Fort
                                                                 Violent Crime Control and Law Enforcement Act
 Hood, Virginia Tech and Columbine. Many of the
                                                                 of 1994 and outlawed semi-automatic weapons that
 perpetrators in these mass shootings used multiple
                                                                 had certain distinguishing features, such as pistol
 types of ﬁrearms. Contrary to popular belief,




                                                 © 2014 Taylor & Francis                                           281

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 grips, ﬂash hiders and folding stocks (Koper, 2004).       laws. Koper (2004) looked at trends and correlations
 The ban was very narrow; only 118 gun models were          and concluded that the federal assault weapons ban’s
 banned under this law. In addition to banning certain      effect on gun-related violence was minimal at best.
 types of guns, the 1994 law also prohibited large-         Duwe et al. (2002) examined the effects of right-to-
 capacity magazines, which held more than 10 rounds         carry laws on mass shootings. Using data for the
 of ammunition. This prohibition affected many more         period 1977 to 1999, the authors employed both
 types of guns than the assault weapons ban primarily       Poisson and negative binomial models and found
 because many semi-automatic weapons, including             that right-to-carry laws had no statistically-signiﬁcant
 handguns, are capable of using large-capacity              effects on mass shootings. Finally, Lott and Landes
 magazines.                                                 (2000) looked at mass shooting incidents also for the
    The 1994 law had several loopholes and exemp-           period 1977 to 1997 and found that states that enacted
 tions. All assault weapons and large-capacity maga-        right-to-carry laws had fewer mass shootings than
 zines manufactured prior to the effective date of the      states that did not enact such laws.
 ban were legal to own and transfer. In addition, only         The purpose of the present study is to determine the
 exact copies of the banned assault weapon models           effects of the federal and state assault weapons bans
 were banned; models without certain characteristics        on public mass shootings. Using a Poisson, ﬁxed-
 were still legal even though the rate of ﬁre was the       effect model and data for the period 1982 to 2011, it
 same. Finally, there was no prohibition against new,       was found that both state and federal assault weapons
 legal assault weapons being able to accept older,          bans had statistically signiﬁcant and negative effects
 grandfathered large-capacity magazines. Hence,             on mass shooting fatalities but that only the federal
 most new, legal models of assault riﬂes could use          assault weapons ban had a negative effect on mass
 pre-ban large-capacity magazines. Given the above,         shooting injuries. This study is one of the ﬁrst studies
 the federal law was limited in its ability to affect       that looks solely at the effects of assault weapons bans
 ﬁrearm availability or crime.                              on public mass shootings. Most prior studies exam-
    Regarding state-level assault weapons bans,             ined the effects of other types of gun control measures
 California was the ﬁrst state to enact such a law in       on mass shootings (Lott and Landes, 2000; Duwe
 1989. Several other states followed California’s lead      et al., 2002; Chapman et al., 2006) or the effects of
 and enacted their own bans shortly thereafter              assault weapons bans on much broader categories of
 (Connecticut, Hawaii and New Jersey), and then, in         crime (Koper, 2004; Gius, 2014).
 1994, the federal ban was enacted. After the federal
 ban expired in 2004, all of the states that had bans
 prior to 1994 opted to continue with them.                 II. Empirical Technique and Data
    Even though there have been numerous calls for
 assault weapons bans, both at the state and at the         In order to determine whether assault weapons bans
 federal level, very little research has been conducted     have any effects on public mass shootings, the fol-
 on the effects of these laws on mass shootings. Gius       lowing equation is estimated in the present study:
 (2014), looking at data for the period 1980 to 2009,
 found that state-level assault weapons bans had no              Y ¼ α0 þ α1 state assault weapons ban
 signiﬁcant effects on gun-related murder rates, but that            þ α2 federal assault weapons ban
 the federal assault weapons ban was associated with a               þ α3 control variables                     (1)
 19% increase in gun-related murders. Chapman et al.
                                                                     þ α4 state fixed effects
 (2006) examined the effects of Australia’s 1996 gun
 law reforms on ﬁrearm-related homicides, including                  þ α5 year fixed effects
 mass shootings, and found that, after enactment of the
 laws, there were declines in ﬁrearm-related homicides      where Y is the number of deaths or injuries due to mass
 and suicides but no signiﬁcant decrease in uninten-        shootings. Control variables include the following: per-
 tional ﬁrearm deaths. It was also noted that there were    centage of population that is black; population density;
 13 mass shooting incidents in Australia in the 18 years    percentage of population that has a 4-year college
 prior to the enactment of the stricter gun control         degree; per capita median income; annual unemploy-
 measures but no mass shootings after passage of the        ment rate; percentage of population that is aged 18–24;




                                                    Exhibit 13
                                                      0909
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 Assault weapons bans and mass shootings                                                                         283
 percentage of population that is aged 25–34 and per           used to estimate the effects of state and federal
 capita prison population. The state assault weapons ban       assault weapons bans on public mass shootings. All
 variable is expressed as a dummy variable that equals         observations were weighted by state population.
 one if the state has an assault weapons ban and zero          Results are presented on Table 1.
 otherwise. The federal assault weapons ban dummy                 These results indicate that fatalities due to mass
 variable equals one for the years 1995–2004.                  shootings were lower during both the federal and
    All data are state level and were collected for the        state assault weapons ban periods. Although some
 years 1982–2011. Socio-economic data were                     prior research has shown either that assault weapons
 obtained from the Statistical Abstract of the United          bans did not reduce crime or that they actually
 States and other relevant Census Bureau documents.            increased gun-related murder rates (Gius, 2014),
 Information on state-level assault weapons bans               the present study’s focus on mass shootings shows
 were obtained from Ludwig and Cook (2003), the                the effectiveness of these gun control measures in
 Legal Community against Violence, the National                reducing murders due to mass shootings. Regarding
 Riﬂe Association and the US Bureau of Alcohol,                the injury regression, state-level assault weapons
 Tobacco, Firearms and Explosives.                             bans had no statistically-signiﬁcant effects, but the
    Data on mass shootings were obtained from the              federal ban had a signiﬁcant and negative effect on
 Mother Jones website and the Supplementary                    mass shooting injuries.
 Homicide Reports, US Department of Justice.                      It is important to note that these results are not
 According to this data, there were 57 public mass             unexpected. In 2012, for example, there were 72
 shooting incidents from 1982 to 2011. For the assault         fatalities due to mass public shootings. Of those 72,
 weapons ban period (which includes the federal ban            at least 30 were committed using a riﬂe. In the same
 years and the years when states that had their own            year, there were 12 765 murders, of which only 322
 assault weapons bans), there were 24 public mass              were committed using a riﬂe. Riﬂes (assault weap-
 shootings; for the nonban period, there were 33 inci-         ons) are used much more frequently in mass shoot-
 dents. The average number of fatalities per mass              ings than they are in murders in general. Hence, any
 shooting during the assault ban period was 7.5; dur-          law that restricts access to riﬂes is likely to be much
 ing the nonban period, the average number of fatal-           more effective in reducing mass shootings than it is
 ities was 8.6.                                                in reducing murders in general.
                                                                  Finally, it is important to note that mass shooting
                                                               fatalities are a very small percentage of overall mur-
 III. Results and Concluding Remarks                           ders. Hence, even if a certain type of gun control
                                                               measure was found to completely eliminate mass
 A Poisson, two-way ﬁxed-effect model, controlling             shootings (which assault weapons bans do not), the
 for both state-speciﬁc and year-speciﬁc effects, was          overall murder rate would decline by a very small

 Table 1. Poisson ﬁxed-effects regression results
 Variable                                                  Mass shooting deaths               Mass shooting injuries
 State assault weapons ban                                    −0.59202 (−2.28)**                  0.298 (1.16)
 Federal assault weapons ban                                  −1.079 (−7.04)***                  −1.733 (−10.10)***
 Proportion of population that is black                       65.66 (5.33)***                    87.05 (6.20)***
 Population density                                           −0.0177 (−2.73)***                 −0.0542 (−7.18)***
 Real per capita median income                                 0.000029 (0.48)                    0.00021 (3.53)***
 Proportion of population with college degree                  1.66 (0.70)                       −4.72 (−2.21)**
 Unemployment rate                                            −0.0698 (−0.02)                    −3.51 (−1.06)
 Proportion of population >18 and <25                        −55.21 (−5.94)***                  −84.27 (−7.81)***
 Proportion of population >24 and <35                        −39.20 (−5.09)***                  −20.59 (−2.65)***
 Per capita prison population                                 −0.00362 (−4.62)***                −0.00067 (−0.85)
 Log-likelihood                                            −1846.48                           −2860.63

 Notes: ** 1% < p-value < 5%; *** p-value < 1%.
 Test statistics are in parentheses.
 State and year ﬁxed effects are not reported.




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 amount. Therefore, although the results of the present             mass public shootings, Homicide Studies, 6, 271–96.
 study indicate that assault weapons bans are effective             doi:10.1177/108876702237341
 in reducing mass shooting fatalities, their effects on        Gius, M. (2014) An examination of the effects of con-
                                                                    cealed weapons laws and assault weapons bans on
 the overall murder rate are probably minimal at best.              state-level murder rates, Applied Economics Letters,
                                                                    21, 265–7. doi:10.1080/13504851.2013.854294
                                                               Huff-Corzine, L., McCutcheon, J., Corzine, J. et al.
 References                                                         (2014) Shooting for accuracy: comparing data
 Bjelopera, J., Bagalman, E., Caldwell, S. et al. (2013)            sources on mass murder, Homicide Studies, 18,
      Public Mass Shootings in the United States:                   105–24. doi:10.1177/1088767913512205
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      Washington, DC.                                               Gun Violence, 1994–2003, Report to the National
 Chapman, S., Alpers, P., Agho, K. et al. (2006) Australia’s        Institute of Justice, US Department of Justice.
      1996 Gun law reforms: faster falls in ﬁrearm deaths,     Lott, J. and Landes, W. (2000) Multiple victim public
      ﬁrearm suicides, and a decade without mass shoot-             shootings, Unpublished Paper, University of
      ings, Injury Prevention, 12, 365–72. doi:10.1136/             Chicago Law School, Chicago, IL.
      ip.2006.013714                                           Ludwig, J. and Cook, P. (Eds) (2003) Evaluating Gun
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      impact of right-to-carry concealed ﬁrearm laws on             Brookings Institution, Washington, DC.




                                                       Exhibit 13
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             EXHIBIT "14"




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  Homicides in Mexico and the Expiration of the U.S. Federal Assault

            Weapons Ban: A Difference-in-Discontinuities Approach

                                                     Luke E. Chicoine∗



                                                        August 2016



                                                           Abstract

        The year following the expiration of the U.S. Assault Weapons Ban (AWB), the homicide rate in Mexico

        increased for the first time in a decade. A difference-in-discontinuities model and a unique dataset are

        used to compare discontinuities generated by close mayoral elections on either side of the AWB expiration.

        The model finds a statistically significant increase in the firearm homicide rate following the expiration of

        the AWB. This effect is larger closer to the U.S.-Mexico border, is isolated to the timing of the expiration,

        and there is no evidence of a concurrent increase in non-firearm homicides or other violent crime.




      JEL classification: F52, I18, K42

      Keywords: Mexico; gun violence; homicides; assault weapons ban




     ∗ Department of Economics, DePaul University and IZA; lchicoin@depaul.edu. I would like to thank Bill Evans, Jim Sullivan,

  Elizabeth Munnich, Kevin Rinz, C. Adam Bee, the faculty at the University of Notre Dame (ND), Northern Illinois University,
  Loyola University, and Development Economics Day at the University of Michigan, and the Department of Economics at SMU
  for their comments and suggestions, and the Kellogg Institute for International Studies (ND) and the Institute for Scholarship
  in the Liberal Arts (ND) for their support. I would also like to thank Sean O’Farrell for his excellent research assistance.


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  1     Introduction

  After declining each of the ten years the U.S. Federal Assault Weapons Ban (AWB) was in place, the homicide

  rate in Mexico increased over 250 percent in the six years following the ban’s expiration. Originally passed

  on September 13, 1994, as part of a larger anti-crime bill, the law had a ten-year sunset provision that was

  not extended by Congress. As a result, the law expired on September 13, 2004. The AWB prohibited the

  domestic sale and production of a large class of semi-automatic firearms and limited the size of a magazine to

  ten rounds. There were also a number of guns banned by name, including the AR-15 and AK-47. In Mexico,

  homicides committed with or without a firearm declined at similar rates prior to the AWB expiration. During

  the six years following the expiration of the AWB, the growth of homicides committed with firearms was

  more than four times larger than the growth of non-firearm homicides.

      This paper examines whether the expiration of the AWB in the United States, and the increased avail-

  ability of high powered firearms that accompanied the ban, contributed to the 2005 reversal of the homicide

  trend in Mexico. Using data from 2000 to 2006, estimates yield a 35 percent increase in the firearm homicide

  rate following the expiration of the AWB. This rules out the estimates being driven by President Calderon’s

  2007 deployment of federal troops, or 2007 changes in illicit narcotics prices. However, the estimates remain

  both quantitatively and qualitatively similar when the sample is expanded to include this period. The same

  model finds no evidence of a concurrent change in the non-firearm homicide rate, but an increase in the

  overall homicide rate in Mexico. Furthermore, there is no change in the underlying crime rate of six other

  major crimes and no evidence of changes in the illicit narcotics market that coincide with the expiration of

  the AWB. The increase in the firearm homicide rate is shown to be isolated to the timing of the expiration

  of the AWB, and the effect is found to be greater closer to U.S.-Mexico border crossings. These results rule

  out a secular increase in homicides and general criminal behavior, events that occurred at other points in

  time, and changes in the state of the narcotics market. The expiration of the AWB is isolated as the only

  plausible explanation of an increase in homicides in Mexico in 2005 that fits these criteria, only impacts

  homicides committed with a firearm, and has a larger impact closer to the United States.

      These conclusions are generated by a difference-in-discontinuity model (DiRD), separately estimating

  a regression discontinuity (RD) model on either side of the expiration of the AWB. An RD framework,

  motivated by Dell (2015), is used to compare municipalities in which the incumbent mayoral party wins a

  close election, to those where the incumbent is defeated. In municipalities where the incumbent party is

  defeated the resulting dissolution of the status quo, and forthcoming policy shock, provides an environment

  in which friction between criminal entities and law enforcement likely increases; when the incumbent party

  remains in power the status quo is maintained. Close elections provide a setting in which municipalities in



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  Mexico are randomly sorted across the election threshold. The RD model is estimated for the post-AWB

  period, where the status quo effect is combined with the availability of high powered firearms from the United

  States, and a separate RD model is estimated for the years the ban was in place. To measure the impact

  of the expiration of the AWB following an incumbent defeat, these RD models are then differenced in a

  DiRD framework. Differencing the two estimates removes the consistent status quo effect of an incumbent

  losing, and the resulting estimate is the effect of having the newly available firearms in the post-AWB period,

  versus their unavailability in the pre-expiration period. Available evidence also demonstrates that there is

  no change in the status quo effect within either the pre-expiration or the post-expiration period. Only when

  the comparison crosses the expiration of the AWB is there evidence of an increase in the firearm homicide

  rate.

     A consistent complication in identifying the causes of the escalating homicide rate in Mexico that occurred

  over the past decade is the local spikes in violence due to conflict between drug trafficking organizations, and

  more recently, with the federal government. An important innovation of this model is that municipalities

  from every part of Mexico are sorted to either side of the election discontinuity, in both the pre and post-

  expiration states of the AWB. This means that any specific conflict, and local spike in violence, is unlikely

  to be driving these estimates. A municipality with a close mayoral election is equally likely to be on either

  side of the status quo election threshold, and there is no statistically significant difference in violence leading

  up to an election that would bias this sorting. This is an important contribution to the literature that rules

  out specific localized conflict as an explanation of the model’s estimates.

     Finally, this work informs the policy debate on whether access to high-powered firearms, such as those

  banned under the AWB, can lead to a higher homicide rate. The evidence presented in this paper finds

  that, at least in certain settings, access to these firearms does lead to increased rate of homicide. These

  findings also highlight the potential international ramifications of domestic policy in today’s globalized world.

  Although the effect is found to be larger closer to the border, it is important to highlight that the effects

  found in this paper are not isolated to regions of Mexico that border the United States. This escalates the

  importance of a comprehensive evaluation of policy effects, that can extend well beyond a nation’s borders.

     The remainder of the paper is organized as follows. Background on homicide trends in Mexico, the

  prevalence of firearm trafficking across the U.S.-Mexico border, and the current literature are summarized

  in Section 2. In Section 3, the underlying identification strategy and estimating model are described, and

  election and municipal data used in the paper are outlined in Section 4. In Section 5, the relevant tests are

  also shown to demonstrate that the density of the observations and predetermined outcomes at the election

  discontinuity are consistent across the expiration of the AWB, and the key results of the paper are discussed

  in detail. Section 6 concludes.


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  2      Background and Literature Review

  Time series data suggest that the expiration of the AWB is related to the homicide rate in Mexico. The

  national homicide rate, shown as fatalities per 10,000 people, from 1990 to 2010 is plotted in Figure 1.1

  Homicide rate data are available for the five years prior to the implementation of the AWB, from 1990

  to 1994. During this period the homicide rate in Mexico increased nearly 23 percent to 1.69 homicides

  per 10,000 people. In the United States, legal ownership of every firearm possessed prior to the law being

  enacted was extended into the post-implementation period; therefore, there was no immediate change in the

  stock of available firearms between 1994 and 1995. However, over each of the next ten years, when the AWB

  was in place, the homicide rate in Mexico declined, possibly due to a deteriorating stock of high-powered

  firearms and large capacity magazines banned under the AWB. This trend reversed in the first year after

  the ban’s expiration, 2005. Over the next six years the homicide rate increased more than 250 percent. The

  initial deployment of federal troops by President Calderon, aimed at directly confronting drug trafficking

  organizations in Mexico, coincides with the 2007 decline in the homicide rate.2

       The main analysis of this paper focuses on the 2004 expiration of the AWB, and to ensure that the

  post-deployment conflict is not responsible for any of the study’s conclusions, this analysis focuses on the

  period ending in 2006. Due to data limitations – firearm homicide data are first available in 1998 – it is not

  possible to examine the 1994 implementation of the law. A simple counterfactual analysis of the trend can

  be used to illustrate the impact of the AWB expiration. The homicide rate from 1995 to 2006 is plotted in

  Figure 2, the solid line. The dashed line is constructed using data from 1994 to 2004 to estimate an OLS

  slope, and that slope is used to predict the counterfactual levels for 2005 and 2006, assuming a continuation

  of the pre-expiration trend. The same is done to construct the dotted line, using only the more recent 2000

  to 2004 data. The difference between the 2006 data and the forecasted level is between 19.6 percent (2000

  forecast) and 29.8 percent (1995 forecast) of the 2004 homicide rate. The same exercise is repeated with data

  for homicides committed using firearms, shown in Figure 3. The difference between the firearm homicide

  rate data and the forecasted level in 2006 is between 29.5 percent (2000 forecast) and 39.5 percent (1998

  forecast) of the 2004 firearm homicide rate. Even though the post-2007 spike in the violence is massive,

  this descriptive analysis highlights the significant change in the homicide rate following the expiration of the
      1 The range of the figure is cut at 1.75 to better focus on the relevant time period. The full plot can be seen in Figure A.1.
      2 Priorto the election of President Calderon, Mexican officials had already publicly expressed concern regarding the expiration
  of the AWB. In January of 2006, an official with Mexico’s Federal Preventive Police stated that, “Assault rifles such as the
  AR-15 and the AK-47 are by far the most popular weapons imported into Mexico by the drug cartels” (Tobar, 2006). Within
  the first month of the Calderon administration, Mexico’s Deputy Attorney General had said that, “Re-imposing the U.S.
  Assault Weapons Ban would go a long way towards stemming the violence along the border. These weapons come from your
  country, we know that for a fact.” He also directly tied the post-AWB firearms to the increase in violence stating, “there is a
  direct relationship between the flow of these weapons and the explosion of violence” (Hawley and Solache, 2007). Finally, in a
  2010 speech to the United States Congress, President Calderon directly stated his belief that the expiration of the AWB has
  contributed to the violence in Mexico, and he directly asked congress to reinstate the ban (Charles, 2010; Sheridan, 2010).



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  AWB. The estimates from this simple descriptive analysis, for both the overall homicide rate and the firearm

  homicide rate, are similar to the estimates found by the DiRD model later in the paper.

      If the reversal of trends is due to the expiration of the AWB, the change in the trend at the expiration

  of the AWB should be most prevalent for firearm homicides. The time series of the firearm homicide and

  non-firearm homicide rates are compared in Figure 4. The two trends are similar prior to 2004, if anything

  the decline of the firearm homicide rate is slightly steeper. However, immediately following the expiration

  of the AWB, the two rates diverge. In the first two post-AWB years, the firearm homicide rate increased

  18 percent, while the non-firearm homicide rate declined less than one percent.3 As the level of conflict

  increased over the next few years, this divergence continued to grow. This descriptive analysis is by no

  means definitive, but does provide evidence of a potential relationship between the expiration of the AWB

  and both the homicide rate and the firearm homicide rate in Mexico that warrants further investigation.

      For the relationship between the AWB and the homicide rate in Mexico to exist, firearms banned by the

  AWB must be moving from the U.S. to Mexico in the post-AWB period. Although data on this topic are

  not widely available, both the statistics and related literature suggest a connection. Importantly, gun laws

  in Mexico are extremely restrictive. Firearms can only be sold through a single retailer in Mexico City, and

  only a single, permitted, small caliber handgun can be kept at home (Kopel, 2013). The most common type

  of firearms seized by Mexican authorities and traced back to the United States are the AR-15 and AK-47

  models (Goodman and Marizco, 2010), which were banned during the AWB. In 2008, 25 percent of all

  firearms traced backed to the United States were variants of the AR-15 and AK-47 (Chu and Krouse, 2010).

  The trafficking of the AK-47 from the United States is particularly important, it is one of the most widely

  available firearms in the world, and is used by non-state groups in every region of the world.4 The fact that

  the AK-47 is being so heavily trafficked from the United States suggests that the U.S. is providing the lowest

  cost sources for this rifle.5 Although comparable pre-expiration data do not exist, between 2005 and 2014,

  the U.S. and Mexico have confirmed that tens of thousands of illegal firearms were trafficked from the United

  States and into Mexico.6 This includes nearly 50 percent of all firearms recovered between 2006 and 2012;
      3 The increased lethality of the post-AWB firearms could have led this divergence. Evidence shown in Appendix Table A.3

  documents that the rate of firearm homicides increased relative to the level of illegal arms possession and non-firearm homicides
  following the expiration of the AWB. Additionally, like the overall time trend, the number of municipal months with a high
  level of firearm homicides, four, five or ten, saw an annual increase of between 15 and 25 percent in 2005. The largest annual
  increase in each category since 1998, the initial year of the dataset (Appendix Table A.9).
      4 Small Arms Survey’s Weapon Identification Sheet for the Kalashnikov AK-47.
      5 An AK-47 purchased in the U.S. can be sold in Mexico at 300 to 400 percent of the original price, with an additional

  markup for post-AWB models (Goodman and Marizco, 2010). Analysis of pre-expiration firearm catalogs (from River Arms
  Inc., Olympic Arms Inc., and Arma Lite Inc.) found that pre-expiration rifles had to be combined with additional parts that
  required assembly to meet “pre-ban” specifications, and that pre-expiration consumer prices were roughly equivalent to “law
  enforcement” models and post-AWB consumer prices. Therefore, the AWB added an additional cost of both time and money
  to build a pre-expiration model equivalent to what was available in the post-AWB period.
      6 The exact number of firearms recovered in Mexico and traced back to the United States during this period is 90,654 These

  data are from the Government Accountability Office (2009), and the Firearm Tracing System released by the Bureau of Alcohol,
  Tobacco, Firearms and Explosives’ (ATF) Office of Strategic Intelligence and Information.



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  when Mexican authorities confiscated a total of 154,943 firearms, 99,691 were submitted for tracing, and

  68,161 were traced back to the United States (Scroeder, 2013). These firearms were seized from criminals,

  actually submitted for tracing, and then had enough recoverable information remaining to be successfully

  traced back the the U.S., likely setting a lower bound for the number and fraction of firearms trafficked from

  the United States. In fact, examining variation in licensed firearm dealers in the United States, relative

  to the size of their domestic local market, McDougal et al. (2015) estimated that the firearms successfully

  traced back to the United States from Mexico represent less than one-fifth of all firearms bought with intent

  to traffic to Mexico.

      Recent literature provides the framework in which such a movement of firearms would be expected.

  In an international setting, DellaVigna and La Ferrara (2010) find that arms embargoes tend to increase

  stock prices of firearm manufactures in low accountability settings. Knight (2013) finds that crime guns

  in the United States flow from low regulation states to high regulation states, and that criminal firearm

  possession is higher in states exposed to weaker firearm laws in nearby states. In the context of the U.S. And

  Mexico border, a movement of firearms from the low regulation states (i.e. Texas and Arizona) to the high

  regulation area of Mexico is consistent with the findings in this literature. Previous work has also found a

  positive relationship between gun prevalence and homicides (Cook, 1983; Duggan, 2001; Miller et al., 2002;

  Cook and Ludwig, 2006), and a survey of the literature by Hepburn and Hemenway (2004) concludes that

  there is a consistent positive relationship between firearm prevalence and homicides.7 However, instead of

  focusing on the relationship between homicides and firearm prevalence, this paper examines the relationship

  between homicides and the type of firearms available. The most closely related work is Dube et al. (2013)

  who also investigated the impact of the expiration of the AWB in Mexico. They examined the effect in

  areas close to the border by exploiting geographic variation in state level bans within the U.S., and found

  that municipalities in Mexico closer to Arizona and Texas border crossings had higher rates of homicide,

  relative to those near California border crossings. These findings are consistent with the conclusions from

  this paper. However, the current study comes to this conclusion without relying on geographic variation for

  identification, lessening the likelihood of localized spikes in violence generated by inter-cartel conflict driving

  the result. Furthermore, this paper finds evidence that the effect was more widespread than previously

  documented, and that it exists even without the inclusion of municipalities closest to the border.
     7 In contrast to this literature, other work finds increased access to firearms through gun shows, which generally have less

  regulated sales, does not increase firearm-related deaths (Duggan et al., 2011). Lott and Mustard (1997) find that less restrictive
  gun carrying laws decrease crime; however, other work on this topic has not found the same result (Ludwig, 1998; Ayres and
  Donohue III, 2003).




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  3     Identification

  3.1    Identification Strategy

  The identification model in this paper considers crime to be a function of two inputs: the existence of

  a status quo local government and the relative strength between criminal groups and law enforcement.

  Increased access to high-powered firearms (e.g. the AK-47 and AR-15) in the post-AWB period could grow

  the relative strength of criminal entities in Mexico, in comparison to the pre-expiration period. If these

  firearms are in fact more deadly, in times of disharmony the effect should be most dramatic on the directly

  affected crime: homicides committed with a firearm. The ideal experiment would be to randomly sort areas

  into two groups. A treatment group in which local policy is shocked, possibly leading to increased conflict,

  bringing relative strength into play, and a control group where a consistent status quo is maintained. A

  comparison of the “treatment” and “control” groups in the post-expiration period would yield an estimated

  effect of dissolving the status quo and in a state with high-relative power of the criminal entities (i.e. after

  introducing more powerful firearms). Repeating this experiment in the pre-expiration environment yields

  an estimated effect of dissolving of the status quo in a low-relative power state. Under the assumption that

  the effect of dissolving the status quo is consistent across time, differencing the two effects then isolates the

  impact of the increased relative power, in this case, due to the newly available firearms.

      Using local election data from Mexico it is possible to construct the experiment described above. In

  close elections, Lee (2008) shows that as long as some component of the vote cannot be precisely controlled,

  observations, in this case municipalities, are randomly distributed across the election threshold. This random

  distribution across the precise election threshold sorts municipalities into the two groups described above.

  Municipalities in which nothing changes, where the incumbent mayor’s party is reelected, and municipalities

  in which the status quo is dissolved, where the incumbent party is defeated. Previous work exploits this

  type of variation using local mayoral elections in Mexico. Dell (2015) used an RD model to link efforts

  to combat illicit trafficking to political policies PAN (Partido Accion Nacional) pursued during President

  Felipe Calderon’s term in office, and finds that these policing efforts led to an increase in homicides.8 Unlike

  Dell (2015), the proposed estimating model does not rely on any specific party policies, but instead focuses

  on the success or failure of the incumbent political party in local mayoral elections. The defeat of the

  incumbent part, and the dissolution of the status quo, creates an environment in which conflict is more likely

  to occur. This could be due to explicit policing policies of the new mayor, as in Dell (2015), or more benign

  changes such as the severing of any implicit or explicit understanding between the outgoing administration
    8 President Calderon was in office from December 1, 2006 to November 30, 2012. Estimates in Appendix Table A.10

  demonstrate that the link between PAN elections and homicides does not exist prior to the election of President Calderon.




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  and local criminal groups.9 Conflict does not necessarily lead to an increase in violence; if law enforcement

  is sufficiently strong relative to the local criminal entities, increased interactions between law enforcement

  and criminals could lead to a reduction in crime. As described below, the effect of an incumbent defeat on

  firearm homicides is tested using an RD model in both the post-expiration (status quo + post-AWB relative

  strength) and pre-expiration (status quo + pre-expiration relative strength) periods. These estimates are

  then differenced in a DiRD model to isolate the impact of the increased non-government strength following

  the expiration of the AWB. A necessary assumption of this model is that impact of the change in the status

  quo, an incumbent defeat, is consistent across time. Evidence that this assumption holds in the data is

  shown later in the paper by estimating the DiRD model within both the pre and post-expiration periods.

      To ensure that estimates are not driven by changes in Mexican federal government policy the main

  analysis focuses on evaluating this identification strategy for the 2000 to 2006 period. Results are also shown

  to be consistent for the extended time period from 1999 to 2010; however, the 2000 to 2006 sample focuses

  on the period of a single administration, that of President Vicente Fox.


  3.2     Estimating Model

  The effect of an incumbent loss, and dissolution of the status quo, is estimated using an RD model. This

  model is estimated separately for both the pre-expiration and post-expiration periods. The crime rates in

  the newly elected mayor’s first full year in office, denoted at time-period t, are matched to the previous year’s
                                                                                                          
  election results, denoted (t − 1). The running variable for the RD model is the vote margin vms(t−1) , which

  is calculated as the vote share of the highest ranked challenger minus the incumbent party’s vote share. The

  vote margin is positive if the challenger wins the election and negative if the incumbent party is reelected.10
                                                          
  The RD variable of interest is Dmst = 1 vms(t−1) > 0 , where Dmst is equal to one when the incumbent is

  defeated, and zero otherwise, yielding a sharp discontinuity. The following equation describes the RD model
     9 It is likely that low rates of violent crime, such as murder, are in the best interest of both the government and local

  organized crime. Data from municipalities in Mexico show there is a negative relationship between a party’s “years in power”
  in a municipality and firearm homicide rates. This could be due to either explicit communication networks, or an implicit
  understanding of acceptable behavior from both sides. The removal of the incumbent party would severe either of these
  relationships. Details of the analysis are included in appendix section A.3.
    10 Mexico is a multiparty democracy in which individual candidates cannot run for reelection; therefore, reelection following

  a coalition administration is defined using the following conditions. If the incumbent mayoral administration is a coalition, the
  vote share is assigned to the incumbent party using the following rules. If the PRI, PAN and/or PRD parties are part of the
  coalition, the incumbent share is defined as the largest vote share of these “tier 1” parties. If no “tier 1” parties are part of the
  incumbent coalition, the largest vote share of the “tier 2” parties is assigned (PVEM, PANAL, PT, Convergencia). If none of
  these parties are part of the incumbent coalition, the largest vote share is assigned, or the incumbent share is equal to zero if
  no incumbent party is running for reelection. In 98.84 percent of elections, this is equivalent to assigning the vote share to the
  largest vote share of any incumbent party, regardless of tier. In the one percent of cases that a smaller member of the incumbent
  coalition outperforms a larger member, it is unclear how to define incumbent performance, these cases are not included in the
  baseline analysis. Estimates defining incumbent vote share as simply the largest incumbent party vote share regardless of tier
  can be seen in panel (d) of Appendix Table A.4.




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  that is estimated separately for the pre and post expiration periods.
                                 P
                                 X                             P
                                                               X
                                        p                             p                                
   ln (ymst ) = α + Dmst θ +           vms(t−1) Dmst γp    +         vms(t−1) γp + Xmst π + ln yms(t−1) ρ + τst + εmst . (1)
                                 p=1                           p=1

  The dependent variable is the log of the crime rate in municipality m, in state s, and year t. The coefficient

  of interest is θ, which measures the effect of a close incumbent loss on crime rates. However, as described

  in the previous subsection this estimate contains two components: (i) a time-invariant destruction of the

  status quo, and (ii) the relative strength of criminal groups. The second factor, relative strength, is possibly

  affected by the expiration of the AWB due to increased access to more powerful firearms. The polynomial
                                                   
  of the running variable, the vote margin vms(t−1) , is allowed to vary on either side of the discontinuity.

  Xmst is a vector of municipal level control variables for crime rates, demographics, and additional election

  and party information.11 These elections range over a number of years; therefore, a set of state-specific year

  fixed effects (τst ) are included. When these state-year fixed effects are incorporated into the model, only

  state-year cells with at least five observations are used in the estimation.12 Although it is not possible to

  include municipal fixed effects, each municipality holds mayoral elections every three years and not every
                                                                          
  election is a “close” election, a lagged dependent variable, ln yms(t−1) , is included to take into account the

  municipal level environment in which the outcome of interest is determined.

      To separate the effect of an incumbent loss estimated in the above equation from a change in crime

  levels coinciding with the expiration of the AWB, the RD model described in equation (1) is combined

  with a difference-in-difference model to construct a DiRD model.13 This model compares the change at the

  discontinuity in the post-expiration (Pt = 1 [t≥2005]) period to the same change during the period when the

  law was in place.


                                                     P
                                                     X                           P
                                                                                 X
                                                            p                           p
         ln (ymst ) = α + Pt Dmst β + Dmst θ +             vms(t−1) Dmst γp +          vms(t−1) γp
                                                     p=1                         p=1
                              " P                                            #                                                  (2)
                               X                           P
                                                           X
                                     p                            p                                      
                       + Pt         vms(t−1) Dmst µp +           vms(t−1) µp + Xmst π + ln yms(t−1) ρ + τst + εmst .
                              p=1                          p=1

      The model closely builds on equation (1). The dependent variable is again the log of the crime rate in

  municipality m, in state s, and year t. The set of control variables and trends remain the same, with the
    11 Election variables include the total vote share of the winning party, an indicator of whether a coalition of parties won the

  election, an indicator if the election occurred in the last half of the year, two sets of indicator variables for each of the nine
  most common parties in this sample (one for whether the party won the election and the other for whether the party was an
  incumbent), and a set of indicators for each year the incumbent party had been in power at the time of the election. Municipal
  characteristics include the portion of population that is male age 20 to 49, the logged values of the population density, GDP
  per capita, municipal government income per capita, infant mortality rate, a cubic measure of distance to the border, vehicular
  mortality rate, narcotics crime rate, theft rate, illegal weapons possession rate, rape rate, assault and battery rate, and the
  property damage rate.
    12 Estimates including all available municipalities using year fixed effects can be found in Appendix Table A.4.
    13 Grembi et al. (2016), Lalive (2008), and Leonardi and Pica (2013) also utilize similar DiRD strategies.




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  addition of allowing the vote margin polynomial to also vary across time periods. The percent change in

  the crime rate following the expiration of the AWB, relative to the pre-expiration period, is captured by β,

  the coefficient on the interaction between the post-expiration indicator (Pt ) and the defeat of an incumbent

  indicator (Dmst ). The DiRD model differences out the effect of the loss of the status quo, which occurs

  in both the pre and post-expiration periods, yielding the change in the effect that occurs at the time of

  the AWB’s expiration. Observations are weighted by a triangular kernel; the kernel is interacted with the

  municipal population for all logged crime rates.14 Optimal bandwidths are calculated using a cross-validation

  (CV) procedure (Ludwig and Miller, 2007; Imbens and Lemieux, 2008) that is adjusted to accommodate the

  DiRD model.



  4     Data

  4.1     Election Data

  This paper utilizes a unique dataset of every mayoral election in Mexico between 1995 and 2010. Election

  data for a number of years, especially for the earlier years of the sample, are compiled by the Instituto de

  Mercadotecnia y Opinion, and Elecciones en Mexico has assembled information for the most recent years.

  Data available from electoral institutes of each state are also used to cross-reference the other sources and to

  fill in missing information.15 Local mayoral elections generally occur every three years. This pattern can be

  seen in the first two columns of panel (a) in Table 1. The number of mayoral elections held the previous year

  is shown in the first column, and the fraction of the total number of elections in this time period is shown in

  the second column. The years above the line at the center of the table are pre-expiration, and the years below

  are post-AWB. The rotation of municipal elections every three years is visible in these first two columns. The

  year in which elections are held is determined at the state level, the smallest fraction of the country holds

  elections prior to 2000, 2003, 2006, and 2009. A significantly larger number of municipalities hold elections

  in the other two periods. The range from 1999 to 2010 includes four full electoral rotations, two on either

  side of the AWB expiration. The next two columns show a similar distribution for close elections, defined

  as elections in which an incumbent party either wins or loses by less than seven percentage points, the CV

  optimal bandwidth. This subsample yields a similar pattern to the previous two columns. The fraction of

  municipalities from each year that fall below the seven percent cutoff is shown in the last column of panel

  (a). The range is relatively consistent over the entire period. The years with the largest fraction of close
    14 Estimates using alternative weighting methods, including a uniform weights are shown in Appendix Table A.4. The table

  also contains a set of estimates that includes an interaction between the control variables (Xmst )and the post-AWB indicator
  (Pt ).
    15 Information from the Instituto de Mercadotecnia y Opinion can be found at http://imocorp.com.mx; and at

  http://www.eleccionesenmexico.org.mx for Elecciones en Mexico.


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  elections are balanced on either side of the AWB’s expiration, the last year pre-expiration, and the first year

  post-expiration.

      Sorting across the discontinuity is determined by the success or failure of the party of the incumbent

  mayor. The number of times an incumbent party lost a mayoral election over the four election cycles, from

  1999 to 2010, is shown in panel (b) of Table 1 for each of the 1,864 municipalities. The municipalities are

  distributed across all possible outcomes, from having no incumbent losses (252 municipalities) to always

  voting challengers into office (130 municipalities). The incumbent party is not reelected in nearly half of

  the elections, 49.79 percent of the time. The frequency with which incumbents lose elections ensures that a

  sufficient number of incumbent losses will be included in the sample. The distribution of the municipalities

  guarantees that incumbent losses are spread across most of the municipalities in the sample; over 85 percent

  of municipalities have at least one incumbent loss during this period.

      Additionally, the municipalities in which incumbents are defeated are distributed throughout the country.

  Over the period of the study there were a number of confrontations between cartels that led to local spikes

  in violence; a study focusing on geographical variation may be susceptible to bias generated by these events.

  Allowing municipalities to be sorted across the election threshold yields a sample in which all regions of

  the country are represented on either side of the election cutoff. In the two election cycles prior to the

  AWB expiration (1999 - 2004) each of the 31 states in the sample include both municipalities in which the

  incumbent won a close election, and those in which the incumbent lost. In the two election cycles following

  the expiration of the AWB (2005 - 2010), 29 of the 31 states include both types of municipalities, the two

  states that do not meet these criteria (Federal District and Baja California Sur) have a total of three close

  elections between them in the post-expiration period. In every part of the country incumbents both won

  and lost close elections, both prior to, and following the expiration of the AWB. The distribution of these

  elections are shown in Figure 5, for both the pre-expiration (Figure 5a) and post-expiration periods (Figure

  5b).16


  4.2      Municipal Data

  The main analysis of this paper consists of annual observations for every municipality outside of the state

  of Oaxaca, from 2000 to 2006. A total of 1,864 municipalities.17 Population and mortality (homicide and
     16 Municipalities where incumbents won reelection by less than seven percent twice during the specified time period are filled

  in black, and dark gray municipalities denote a single close incumbent win. The checkered pattern denotes municipalities in
  which there were two close incumbent elections, one won by the incumbent and the other lost. The municipalities shaded in
  light gray are those in which the incumbent lost a single close election, and municipalities filled in white with a black outline
  saw two close incumbent defeats. The gray lines represent state borders, and blank areas saw no close elections during the time
  period.
     17 Municipal government structure and mayoral elections in the state of Oaxaca differ from other states in Mexico, and a

  number of control variables are missing for these municipalities. There are over twice as many municipalities in Oaxaca than
  any other state in Mexico. This leads to Oaxaca having the smallest average population per municipality with only about a



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  vehicle-caused deaths) data are from Mexico’s National System of Health Information (SINAIS – Sistema

  Nacional de Informacion en Salud). Data for both firearm homicides and non-firearm homicides are also

  obtained from SINAIS, and are available beginning in 1998. Non-firearm homicides are defined as the

  difference between the total number of homicides and those committed with the use of a firearm. Crime

  data and municipal data for all other control variables are from Mexico’s National Institute of Statistics and

  Geography (INEGI – Instituto Nacional de Estadistica y Geografia). To minimize any potential corruption

  in the judicial process, crime data from the beginning of the sample to 2008 are for the crimes of suspected

  criminals. After 2008, the definition used by INEGI changed to crimes of the accused criminals. These

  definitions do not require a conviction, only a documented crime, lessening the possibility of corruption

  skewing the data.18

      Means of key variables, separated by incumbent election status and time-period, are included in Table

  2 for the years 2000 to 2006. The variables shown are time-invariant, election outcomes, or once lagged

  to allow for validity tests of the DiRD model in the following section. All rates represent occurrences per

  10,000 people, and log calculations take the natural log of the rate plus one to maintain a consistent measure

  of zero when there are no occurrences.19 Variables included in the table, beginning at the top, are three

  separate homicide rates, the logged firearm homicide rate (the main outcome of interest), the logged (total)

  homicide rate, and the logged non-firearm homicide rate. Logged crime rates included are theft, narcotics

  crime, illegal arms possession, assault and battery, property damage, and rape. These crime rates are also

  used as control variables, and to demonstrate that the post-AWB increase is isolated to firearm homicides.

  The municipal characteristics shown are also included in the main model as control variables. Distance is

  calculated as the driving distance in kilometers to the nearest border crossing, and area is recorded as square

  kilometers. The selection of variables includes those that take into account municipal level well-being and

  investment, such as the infant mortality rate, per capita GDP, and municipal income (taxes) collected.20

  The vehicular mortality rate is one of the few causes of death that has an age profile similar to homicides,

  and mostly young men are involved in violent crime, therefore, the fraction of the population that is male
  third of the population of the next smallest state. Due to these traits, municipalities from Oaxaca are not included in the
  analysis.
    18 During the pre-2008 period, the illegal arms possession variable is constructed as the sum of illegal arms possession and

  violations of federal firearms law. The two variables are recorded separately only before 2008; combining the two variables
  during this period creates a consistent variable that can be used when the time period of the sample is expanded. Estimates
  of the paper’s main analysis are not sensitive to the substitution of violations of the federal firearms law in the 2000 to 2006
  period. See Appendix Table A.3.
    19 The paper’s main estimates remain qualitatively similar, and results for firearm homicides statistically significant, with

  alternative rate calculations (i.e. 5,000, 50,000 and 100,000). The base estimates use a logged crime rate per 10,000 to ensure
  that the model does not overweight smaller municipalities with one homicide. Estimates with alternative rate calculations and
  municipal population cutoffs can be found in Appendix Table A.4.
    20 Distances are calculated using Google Maps. The furthest municipality is Isla Mujeres, which is 2,306 kilometers from

  the border. Municipal level GDP data are available in five-year intervals, and state level data are available annually. Annual
  GDP estimates for municipalities were imputed using trends in the share of state GDP between the five-year intervals. Only
  expenditure data, not municipal income data, are available for the municipalities in the Federal District.



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  between 20 and 49 is included. Election statistics include the years an incumbent party has been in power,

  fraction of municipalities won by PAN, and the vote share of the candidates from the three largest parties,

  PAN, PRI, and PRD.



  5     Results

  5.1    Validity Tests

  Hahn et al. (2001) outline key assumptions that must be met to ensure proper identification of an RD

  model. Grembi et al. (2016) extend the necessary assumptions to the DiRD framework. In a cross sec-

  tional RD model the key assumption is that time-invariant and predetermined characteristics are equiv-

  alent within a sufficiently small range of the running variable, E [xm |vm = vm + e] ≈ [xm |vm = vm − e],

  most importantly this assumption must hold in the range of values that brackets the discontinuity thresh-

  old. Expanding this to the DiRD model only requires that any difference that may exist be consistent

  in both the pre (0) and post-treatment (1) periods, {E [xm1 |vm1 = vm1 + e] − E [xm1 |vm1 = vm1 − e]} ≈

  {E [xm0 |vm0 = vm0 + e] − E [xm0 |vm0 = vm0 − e]}. If the RD assumptions are satisfied within each time

  period, it is easy to see that the DiRD criteria will also be met. While it remains unrealistic to definitively

  test the assumption that the characteristics of observations on either side of the cutoff are identical, it is

  possible to demonstrate that any differences in the observable characteristics of municipalities near the cutoff

  are consistent over time, if they exist at all. These differences are first examined using the sample means

  presented in Table 2. The DiRD model is used to test the same set of variables, and examine whether the

  variation in these characteristics at the election threshold remained consistent across the expiration of the

  AWB. Finally, the McCrary (2008) density test can be expanded to accommodate the DiRD framework to

  test if there is a difference in the pre and post expiration densities around the cutoff.

      To initially test the balance of the sample across the discontinuity the difference in the means across

  the election threshold are calculated separately for the pre and the post-expiration time periods, and are

  shown along with the t-statistic of the difference in Table 2. It is important to note that the characteristics

  being tested are either time-invariant (distance and area), or determined prior to the newly elected mayor’s

  first full year in office. Only three non-election municipal characteristics across either time period have a

  statistically significant difference. They are the post-expiration lagged firearm homicide rate, the lagged

  theft rate, and the lagged illegal arms rate. For each of these differences, the level of crime is lower for the

  municipalities where the incumbent lost; if this has any impact on the rate in the following year, it would bias

  the model away from finding a result. However, as described above this is not the key difference that needs



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  to be explored. The key statistic of interest to the DiRD model is the difference of the differences, shown

  at the right hand side of the table, again along with the t-statistic of the difference-in-difference calculation.

  Only one of the three variables that exhibited a difference in the post-AWB period is statistically different

  from the pre-expiration period. However, this difference suggests a relatively lower level of illegal arms

  possession following an incumbent defeat in the post-AWB period. Again, likely making it more difficult

  to find an impact of illegal arms during this period. The differences that occur more frequently during

  each of the time periods seem to be the election outcomes. PAN are more likely to win close elections as

  the challenger, but consistently so across both time periods. Although the vote shares demonstrate some

  statistically significant differences within each time period, these differences are also consistent across time

  as seen in the difference-in-difference calculations.

     These tests can be complemented by using the DiRD framework, described in equation (2), to estimate the

  difference between the pre and post periods more precisely at the discontinuity threshold. When estimating

  the model using time-invariant characteristics as the outcome of interest, road distance to the nearest U.S.

  border crossing and area, the vector of control variables are not included. These estimates, obtained at

  the CV optimal bandwidth, can be seen in panel (a) of Table 3. The coefficient on distance is small and

  statistically insignificant, and after a single outlier is removed (Ocampo, Coahuila), there is no evidence of a

  statistically significant change in municipality area at the RD threshold. Estimates in panel (c) demonstrate

  that the election environment and outcomes are consistent over time, at the threshold. Similar to Table 2,

  there is no evidence that PAN is more likely to win close elections following the expiration of the AWB, and

  no evidence of a change in the vote share received on either side of the election threshold for any of the three

  major parties or in the winning party’s vote share. Unlike the calculations in Table 2, the final estimate

  in panel (c) finds no statistically significant evidence of a change in the length of time that the incumbent

  party was in power. Importantly, this evidence reveals that the electoral environment remained consistent

  through the ban’s expiration.

     Estimates of once lagged, (t − 1), crime rates and municipal characteristics are shown in panel (d)

  and panel (e), respectively. The difference in the discontinuities for five of the six municipal crime rates

  are statistically insignificant. This includes the illegal weapons possession variable, which is statistically

  significant and negative in Table 2. The only crime variable that shows evidence of imbalance in the lagged

  period is assault and battery. However, this variable is small and statistically in significant in Table 2, and

  the post-AWB change in discontinuity will be shown to be small and statistically insignificant when using

  time t, year after the election, crime rates. This movement is counter to the evolution in firearm homicides,

  suggesting that the assault and battery rate is not a factor contributing to the change in firearm violence.

  Of the six municipal characteristics used as control variables in this study, only the logged tax rate and


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  population density yield statistically significant evidence of possible imbalance across the AWB expiration.

  However, like the estimates for area in panel (a), removing a single outlier again yields estimates that are

  small and statistically insignificant.21

     Like the estimates in Table 2, the estimates for all three homicides rates, in panel (b) of Table 3, are small

  and statistically insignificant. Most importantly, there is no evidence of a difference in the discontinuities of

  the lagged firearm homicide rate, the key variable of interest. These results establish that all three lagged

  homicide rates were consistent on either side of the AWB expiration, at the election threshold. Together, the

  full set of baseline estimates shown in Table 2 and Table 3 demonstrates that any change in homicide rate

  following the expiration of the AWB cannot be explained by permanent characteristics of the municipality,

  the election environment in which the incumbent was removed from office, or observable characteristics of

  the municipality prior to the newly elected official taking charge.

     Finally, the density of the municipalities around the election threshold is examined. The distribution

  of municipalities sorted by vote margin is shown in Figure 6, separately for (a) pre and (b) post-AWB

  expiration periods. Positive margins indicate an incumbent defeat. In both time periods the distribution

  of municipalities follows a similar pattern, both distributions have a steady increase through the threshold

  to the modal bin which is immediately to the right of the cutoff. With the distribution skewed away from

  incumbent party reelection it is unlikely that the group in power is manipulating the election; furthermore,

  the distributions yield comparable patterns, suggesting that the election dynamics are similar both before and

  after the expiration of the AWB. Whether there exists any difference in the density at the threshold between

  the two time periods can be more formally tested by comparing logged bin counts in a DiRD framework. The

  results across a number of bandwidths and bin sizes are shown in Table 4. Estimates across all bandwidth

  and bin size combinations yield small and statistically insignificant estimates.22 This information can also

  be expressed by plotting the differences in the logged bin count (post - pre) across the election threshold.

  These plots can be seen in Figure 7 for the 20 percent bandwidth and all three bin sizes (0.01, 0.005, and

  0.0025). These figures again show no evidence of a change in the distribution of municipalities around the

  election threshold.
    21 The coefficient estimate for the lagged Ln(Tax Rate) reduces to 0.187 with a standard error of (0.189) when Poza Rica

  de Hidalgo, Veracruz is removed from the estimate. Without Guadalajara, Jalisco the estimate for the lagged Ln(Population
  Density) reduces to 0.213 with a standard error of (0.445).
    22 The combinations of options shown in Table 4 are selected to cover the optimized bin size (0.007 ~ 0.01) and bandwidth

  (0.16 ~ 0.19) for the McCrary (2008) density test for the pre and post RD samples. Estimates shown are from a model with a
  quadratic polynomial to best match point estimates from the separate pre and post McCrary density tests. Estimates using a
  cubic polynomial again yield 16 statistically insignificant estimates.




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  5.2    Firearm Homicide Rate and the Expiration of the AWB

  Before using equation (2) to estimate the effect of the expiration of the AWB on the firearm homicide rate,

  the RD model, estimated separately for the pre and post-expiration periods, can be used to illustrate how

  the logged firearm homicide rate changes across the election threshold. To do this, the residuals of the

  logged firearm homicide rate are extracted using the control variables and state-year fixed effects shown in

  equation (1). The residuals are plotted in Figure 8 on either side of the vote threshold with a cubic spline

  and 95 percent confidence bands. The CV optimized bandwidth (0.07) is shown with 35 bins on either side

  of the election threshold, and observations are weighted by the interaction between a triangular kernel and

  municipal population. The incumbent vote margin is plotted on the horizontal axis. Positive values denote

  a victory by a challenger, and negative values an incumbent victory. Prior to the expiration of the AWB,

  Figure 8(a), there is a large decline at the election threshold. This decline is the graphical representation

  of the coefficient, θ, on the RD indicator variable, Dmst , in equation (1). The same calculation is repeated

  for the post-expiration time period, shown in Figure 8(b); here the effect is less pronounced, but positive. A

  significant change from the pre-expiration period. The coefficient, β, on the DiRD estimator, Pt Dmst , from

  equation (2), calculates the difference between the post-expiration change and the pre-expiration change.

  This can be demonstrated by taking the difference, post minus pre, of each bin shown in Figures 8(a) and

  8(b). The result is shown in Figure 8(c) for the 2000 to 2006 period, and in 8(d) for the extended 1999 to

  2010 period. Each of these figures illustrates the sizable increase in the firearm homicide rate that followed

  the expiration of the AWB.

     To quantify the magnitude of the effects seen in Figure 8, estimates using the natural log of the firearm

  homicide rate as the dependent variable are shown in Table 5. Each estimate is from a separate regression and

  number of observations in each regression is shown below the point estimate and standard error. Estimates

  in panel (a) use the CV optimal bandwidth, alternative bandwidths from 0.05 to 0.09 are shown in panel

  (b). Regression discontinuity estimates of θ, from equation (1), are shown for the pre-expiration in column

  (1). As seen in the previous figure, the estimates for the effect of an incumbent loss prior to the expiration

  of the ban is large and negative, across all bandwidths. This suggests that without the availability of the

  restricted firearms, the relative strength of the newly elected mayors enables them to overcome any adverse

  impact generated by the deterioration of the status quo. The same exercise is repeated for the post-AWB

  period, the RD estimates are shown in column (2). The point estimates are positive, but generally smaller in

  magnitude than the pre-expiration estimates. This matches the pattern seen in the residual plot. However,

  the correct comparison is not the value of the post-expiration estimate alone, but whether there was a change

  relative to the pre-expiration baseline.



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      Equation (2) is used to estimate the difference in the incumbency effect before and after the expiration

  of the AWB; the difference is captured by the equation’s β coefficient. The DiRD estimates for equation

  (2)’s β coefficient, with the logged firearm homicide rate as the dependent variable, are shown in column

  (3) of Table 5. The estimates for the change in the firearm homicide rate following the ban’s expiration

  are positive and statistically significant for each of the five bandwidths. At the CV optimal bandwidth, the

  model estimates an increase in the firearm homicide rate of about 35 percent following the expiration of the

  AWB.23 This evidence is consistent with the hypothesis that the expiration of the AWB contributed to the

  reversal of the firearm homicide trend in Mexico that began in 2005. Furthermore, the relationship described

  by the estimates in Table 5 must exist if the theory that the increased availability of high powered firearms

  led to an increase in the firearm homicide rate is correct. Due to the central importance of this result to the

  paper’s hypothesis, the following sections investigate alternative explanations of the increase in the firearm

  homicide rate, a more detailed analysis of the timing of the increase, and whether the distance to the U.S.

  border impacts the magnitude of the increase in firearm homicides.


  5.3     Examining Alternative Explanations

  The evidence that the increase in the firearm homicide rate coincided with the expiration of the AWB is

  shown in the previous section. However, this relationship alone is not enough to isolate the cause of the

  increase in firearm homicides to the expiration of the AWB. A central concern could be that the increase in

  firearm homicides identified in the previous section is driven by a larger secular trend affecting all homicide

  and crime rates. To investigate this, the DiRD model shown in equation (2) is estimated using the non-

  firearm homicide rate and a number of other crime rates, as the dependent variable. The estimates of the

  DiRD coefficient, β, for these alternative crime rates are shown in panel (a) of Table 6. The estimate for the

  logged non-firearm homicide rate is shown in column (2), and for comparison the analogous estimate using

  the logged firearm homicide rate can be found in column (1). Estimates for the overall homicide rate, both

  firearm and non-firearm, are shown in column (3), and the other six columns include estimates using the

  alternative crime rates as the dependent variable.

      The most important takeaway from Table 6 is that there was no concurrent increase in the non-firearm
    23 Alternative model specifications are shown in Appendix Table A.4. The table includes the baseline estimates for comparison,

  and 19 alternatives, each estimated using the state-year fixed effects used throughout the paper as well as models with only
  year fixed effects, and a post-AWB indicator variable. Estimates are shown for alternative weights, definition of incumbency,
  samples restricted to larger municipalities, samples dropping municipalities with the largest change in narcotics related activity,
  samples dropping municipalities with the highest levels of firearm homicide rates to rule out the effect of outliers, samples using
  crime rates per 100,000, 50,000 and 5,000, alternative spline calculations, and estimates dropping the outlying municipalities
  from the baseline estimates. Furthermore, to ensure that no single municipality is driving the firearm homicide estimates, the
  model was estimated dropping one municipality at a time. Each point estimate remains statistically significant at the 95-percent
  confidence level, and ranges from 0.290 to 0.382. These results demonstrate the strength of the firearm homicide estimates, and
  rule out any outlying municipality driving the result.




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  homicide rate; this isolates the increase in homicides to only those committed with firearms. However,

  increased access to more deadly firearms could have simply substituted murders that would have happened

  in any state of the AWB from non-firearm homicides to homicides with a firearm. If this substitution

  occurred, the change in firearm homicides would be more a function of the individuals wielding the firearms,

  and not the actual firearms. However, there is no evidence of a decline in the non-firearm homicide rate.

  This removes the possibility that the increase in the firearm homicide rate was a simple substitution away

  from non-firearm homicides, and lends more evidence to the hypothesis that newly available assault weapons

  led to an increase in homicides that would not have otherwise occurred. This is directly seen in column (3),

  where the model estimates a large, roughly 30 percent, and statistically significant increase in the overall

  homicide rate.

     Examining the crime rates from six of the most common non-homicide crimes yields insight into whether

  a secular trend in the general level of crime could be behind the surge in the post-AWB firearm homicide rate.

  Interestingly, estimates for illegal arms possession are small and statistically insignificant. This is consistent

  with the theory that the expiration of the AWB changed the type of firearms available and that these guns

  are more lethal; to impact the level of gun-violence the expiration need not affect the quantity of firearms

  available.24 Estimates for the rate of theft, assault and battery, and rape are also small and statistically

  insignificant. The estimate for property damage is larger, but also statistically insignificant. As previously

  discussed, assault and battery is the only crime that is not balanced in the lagged period. However, as seen

  in Table 6, there was no increase in this violent crime that contemporaneously changed with the firearm

  homicide rate.

     The only non-firearm crime that consistently shows evidence of change following the expiration of the

  AWB is the level of narcotics crime. The importance of this result is that it contains no evidence of a rise

  in narcotics related crime that could have caused the increase in firearm homicides following 2004. Possible

  explanations for this change could be a strategic shift away from municipalities where the incumbent party

  was defeated, much like the results found in Dell (2015); this type of movement of criminal organizations

  would likely put a downward pressure on violent activity. Alternatively, this result could also be due to

  the strengthening of these groups, relative to the local government, following the increase in their access

  to high powered firearms. In this case, the estimate would be additional evidence of a decline in the

  government’s relative strength following the expiration of the AWB. While the narcotics crime result is

  interesting, examining its cause is largely outside the scope of this study. Of central importance is that there

  is no evidence that narcotics crime increased at the same time as the firearm homicide rate. Additionally,
    24 Evidence of this is shown in Appendix Table A.12, where it is documented that following the expiration of the AWB, the

  rate of firearm homicides increased relative to a given level of illegal arms possession.




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  evidence presented in later in this section shows that there was no change in the overall narcotics market that

  coincided with the expiration of the AWB, and that pre-expiration levels of narcotics crime are unrelated

  to the magnitude of the increase in the post-AWB firearm homicide rate. The estimates in Table 6 indicate

  that there was no general increase in crime rates, or non-firearm homicides, that coincided with the increase

  in the firearm homicide. Furthermore, the increase in the firearm homicide rate was not a substitution away

  from other types of homicides, but led to an increase in the overall rate of homicide.

      Extending the model past 2006 is not entirely straightforward. The DiRD model used in this paper iden-

  tifies the effect of pre and post-expiration discontinuities using the change in the party of a municipality’s

  mayor, irrespective of which party is entering or leaving office. However, during Calderon’s administra-

  tion, Dell (2015) found that Calderon’s PAN party begins to act more aggressively against drug trafficking

  organizations.25 Therefore, expanding the model into the period of the Calderon administration makes iden-

  tification, and possibly interpretation, more difficult. Expanding the sample to include the years from 1999

  to 2010 allows two cycles of mayoral elections to occur on either side of the AWB expiration. Estimates for

  this time period are shown in panel (b) of Table 6.

      The pattern of the estimates for this extended sample mirrors the results from the original 2000 to 2006

  sample. The estimate on the logged firearm homicide rate is large, positive, and statistically significant. The

  estimate for the non-firearm homicide rate is close to zero and statistically insignificant; estimates for the

  homicide rate are large and positive, and statistically significant at the 90-percent confidence level. Four of

  the other crime rates show no evidence of an effect, the narcotics crime rate is again negative, and the effect

  on property damage is positive and statistically significant in this extended time period.

      It is unclear exactly how much of these estimates are driven by the expiration of the AWB, and how much

  may be due to the aggressive tactics employed in the later years of the expanded sample. This aggressiveness

  was targeted at parts of the country in which cartel activity and violence increased to unacceptable levels;

  therefore, to attempt and correct for this, municipalities that were in the top decile of pre-expiration narcotics

  crime are removed from the sample and the model re-estimated. This strategy has the added benefit of only

  relying on pre-expiration information, ensuring that the expiration of the ban itself does not influence which

  municipalities remain in the sample. These estimates are shown in panel (c) of Table 6. A similar pattern

  emerges. There are consistently large positive estimates for the firearm homicide rate, and there remains no

  evidence of a secular increase in the general rate of crime.

      After ruling out an underlying increase in the general rate of crime as a possible cause of the increase in

  the firearm homicide rate, an alternative explanation could be attributed to a change in the illicit narcotics
    25 President Calderon’s administration begins in 2007 for the purposes of this paper, the exact inauguration date was December

  1, 2006.




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  market facing the drug trafficking organizations in Mexico that coincided with the expiration of the AWB.

  Two pieces of information are used to examine whether or not such a change occurred. First, price data

  from the United Nations Office on Drugs and Crime’s World Drug Report are shown in Figure 9. The figure

  plots the retail price in the United States, the central market for illicit narcotics trafficked from Mexico, for

  both heroin and cocaine. The third major drug trafficked into the United States is marijuana; however, it

  does not have a single market price because its production is extremely fragmented. Both prices steadily

  decline through the expiration of the AWB. It may be of interest to note that the increase in the cocaine

  price follows the Calderon offensive.26 In addition to the stability in the price trend at the time of the AWB

  expiration, the National Survey on Drug Use and Health provides data on self-reported drug use which are

  displayed in Table 7. There is no evidence of a significant change in reported use for any of the three drugs

  that coincided with the expiration of the AWB. This information demonstrates that there was no change in

  either the price or use of narcotics at the time the AWB expired; this rules out changes in the illicit narcotics

  market as a possible cause for the increase in the firearm homicide rate.

      In addition to ruling out alternative explanations of what caused the increase in the firearm homicide

  rate, it is also important to show that the estimated effect is unique to the timing of the AWB’s expiration.

  This demonstrates the implicit assumption used in the identification strategy that the dissolution of the

  status quo should be consistent across periods where relative strength remains consistent. In practice, this

  means that comparisons of two RD estimates within a consistent state of the AWB should yield no difference

  in the status quo effect. The three-year cycle of mayoral elections can be exploited to create a set of smaller

  samples and pseudo cutoffs.

      The first comparison uses the true cutoff, the AWB expiration, to define pre and post treatment years.

  All municipalities included in these estimates had an incumbent margin victory (or defeat) of less than seven

  percentage points. The year immediately following the expiration of the AWB, 2005, has a large number

  of eligible municipalities with newly elected mayors. Municipalities within the same set of states that had

  newly elected officials in 2005, also had newly elected officials three years prior, in 2002.27 The balance in

  the two-year sample used here is essential to isolate the timing effect, and rule out changes in the sample

  composition as a cause of any difference between the discontinuities. Estimating the DiRD model with only

  these two years yields the point estimates seen in the column (3) of panel (b) in Table 8. The estimated

  increase in the firearm homicide rate is similar to the estimates seen using the full sample, and is again

  statistically significant. The sample can also be expanded to include one additional year on either side of
    26 Castillo et al. (2014) also find evidence that policy changes in Colombia may help explain the 2007 spike in cocaine prices,

  and the post-2007 increase in the homicide in Mexico.
    27 The state of Veracruz, which had newly elected officials in 2001, held their following round of elections prior to 2005.

  Therefore, the 2001 Veracruz observations are combined with the 2002 observations when paired with the data from 2005 to
  balance the set of states in the sample.



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  the AWB’s expiration. Data from 2003 are added to the pre-expiration sample, and the set of observations

  three years later, from 2006, are added to the post-expiration sample. Although these years do not contain

  enough observations to be estimated on their own, they can complement the two-year sample from column

  (3). Estimates from DiRD model after expanding the sample to include an additional year on either side of

  the cutoff are shown in column (4) of panel (b), and yield a similar estimate.

     To construct samples around pseudo cutoffs, each election cycle can be moved three years in either

  direction. This again allows for the inclusion of a consistent set of municipal elections around two pseudo

  cutoffs, one in 2002, and the other in 2008. For the early, pre-expiration, pseudo cutoff, data from the

  previous three-year election cycle are used. The “pre-treatment” sample is defined as data from 1999 (and

  2000) municipalities with representatives elected in the previous year, and the “post-treatment” sample

  includes data from 2002 (and 2003). The estimate for the two-year sample is shown in column (1) of panel

  (a), and the estimate with two years on either side of the cutoff is shown in column (2) of panel (a). The

  estimates show no signs of the increase seen at the expiration of the AWB, both are smaller in magnitude

  and statistically insignificant.

     A second pseudo cutoff can be constructed in the post-expiration period using the same technique.

  Moving the cutoff one election cycle after the expiration of the AWB yields a “pre-treatment” sample of

  2005 (and 2006), and a “post-treatment” sample of 2008 (and 2009). As with earlier estimates using data

  from the Calderon period, the estimated effect is more difficult to interpret due to the importance of party

  affiliation. The post-expiration pseudo estimates for the full sample are shown in panel (c), and estimates for

  the restricted sample without municipalities in the top decile of pre-expiration narcotics crime are in panel

  (d). All four estimates are small and statistically insignificant.

     Within both the pre and post-expiration periods, comparisons of RD estimates yield no evidence of a

  statistically significant difference in the status quo effect. This supports the key assumption of a consistent

  status quo effect over time. The evidence from Table 8 demonstrates that only when the sample crosses

  the expiration of the AWB, when there is an increase in the availability of high-powered firearms from the

  United States, is there evidence of an increase in the firearm homicide rate.


  5.4    Distance to U.S. Border and the Firearm Homicide Rate

  In addition to the timing of the effect, it would be expected that the magnitude of the increase in the firearm

  homicide rate would be greater in municipalities closer to U.S.-Mexico border crossings. Although this is

  not a necessary condition for the effect of the expiration of the AWB to exist, the further a municipality is

  from the border, the greater the cost of acquiring an illegal firearm from the United States. To investigate



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  whether this occurs, an additional distance term is added to the DiRD equation. The distance is again

  measured as the road distance from the municipality to the nearest border crossing into the United States.

  For ease of interpretation, an inverse distance term is calculated and normalized to be between zero and one

  using the following equation:
                                    InverseDistance (Im ) = 1 − (Distance/2306).                                           (3)


  A municipality that shares a border crossing with the United States has a value equal to one, and the value

  of I m for the furthest municipality is zero. To estimate whether the effect of the expiration of the AWB is

  different for municipalities closer to the border, I m is added to the DiRD equation. The estimating equation

  with the inclusion of the inverse distance variable can be expressed in the following form:


                                                                                                      P
                                                                                                      X      p
   ln (ymst ) = α + Im Pt Dmst β + Pt Dmst θ1 + Pt Im θ2 + Im Dmst θ3 + Im θ4 + Dmst θ5 +                   vmst Dmst γp
                                                                                                      p=1
                                        "                                      #                                           (4)
                   P
                   X                        P
                                            X                      P
                                                                   X
                          p                        p                      p                             
               +         vmst γp + Pt             vmst Dmst µp +         vmst µp + Xmst π + ln yms(t−1) ρ + τt + εmst .
                   p=1                      p=1                    p=1

  The outcome of interest is again the logged firearm homicide rate in municipality m, in state s, and year

  t. The coefficient of interest is the coefficient on the triple interaction, β. This coefficient measures the

  change in the DiRD effect when moving from the furthest municipality (I m = 0) to the border (I m = 1),

  if the increase in the firearm homicide rate is greater closer to the border, the coefficient will be positive

  (β > 0). The inverse distance is also interacted with the post-expiration indicator variable (Pt ) to capture

  any nationwide changes in the distance effect, and the regression discontinuity indicator (Dmst ) to capture

  whether the distance matters in a different way if the incumbent is defeated. I m is also included alone to

  capture any time and election invariant effect of the distance to the U.S.-Mexico border. The same set of

  trend and control variables are used, except for the previously included distance variables, and the model is

  estimated using year-specific fixed effects (τt ). With the large number of items estimated in this model, the

  key focus of the output is not the exact point estimate of β, but whether the estimated value is positive, as

  expected.

     Estimates from equation (4) can be seen in Table 9. Coefficient estimates using data from the 2000

  to 2006 period are shown in the first two columns, and for the expanded 1999 to 2010 sample in the last

  four columns, all using a seven percent bandwidth. The sample used in the first two columns only include

  two years of post-AWB elections, and therefore, do not include municipalities from all parts of the country.

  In this context the extended sample has the benefit of balanced geographic distribution. Additionally, the

  relevant distance for illicit trafficking from the Yucatan Peninsula may not be road distance, for this part

  of the country movement over the Gulf of Mexico could be preferred. To take this into account, the states


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  that make up the peninsula are removed from columns (1), (3), and (5).28 The sample used to estimate

  the results shown in panel (a) of Table 9 include municipalities on the U.S.-Mexico border; all six estimates

  yield evidence that the effect of the AWB is larger the closer a municipality is to the border.29 Although

  estimates in the first two columns, for the pre-Calderon period, are smaller and statistically insignificant,

  they remain positive, yielding suggestive evidence of a stronger effect closer to the border. This is reinforced

  by the four large and statistically significant estimates using the extended sample.

      Removing municipalities on the Yucatan Peninsula from the sample also removes Mexico’s southern

  border. For balance, estimates in panel (b) only include municipalities that are at least 100 kilometers

  from the United States border. This is done to ensure that the distance effect is not solely driven by a

  large effect directly at the border. The estimates in panel (b) remain consistently positive, and almost

  identical when municipalities in the top decile of pre-expiration narcotics crime are removed. The effect

  of the AWB expiration is not limited to the U.S.-Mexico border region, the area analyzed in Dube et al.

  (2013), but impacted a much larger part of the country. In fact, estimating the basic DiRD estimate without

  municipalities within 100 kilometers of a U.S.-Mexico border crossing yields a point-estimate of 0.363 that is

  statistically significant at the 99-percent confidence level, similar to the main estimate from Table 5. These

  estimates reinforce that the expiration of the AWB led to a large increase in the firearm homicide rate, even

  in areas away from the U.S.-Mexico border.



  6     Conclusion

  In municipalities with close incumbent defeats the expiration of the AWB coincided with a 35 percent

  increase in the firearm homicide rate in Mexico, and this increase was isolated to the timing of the AWB’s

  expiration. There was no concurrent increase in either non-firearm homicides or the overall rate of crime,

  and the illicit narcotics market was stable through the expiration of the AWB. Furthermore, the magnitude

  of the increase in firearm homicides is positively associated with proximity to the U.S.-Mexico border. The

  expiration of the AWB is the lone explanation for the increase in the firearm homicide rate that fits each

  criteria, and possesses the magnitude to have such a widespread effect. Finally, there is no evidence of a

  substitution away from non-firearm homicides, thus the expiration of the AWB also led to an increase in the

  overall homicide rate.

      This paper provides a number of important contributions to the literature. It introduces a dataset

  that can be used to identify any number of municipal level outcomes and evaluate policy in the world’s
   28 These states are Campeche, Chiapas, Quintana Roo, Tabasco, and Yucatan.
   29 All two dozen estimates for alternative bandwidths also show evidence of a larger impact closer to the border. Estimates
  are shown in Appendix Table A.8.



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  eleventh most populous country. The estimates from this paper show that the effect of the AWB expiration

  spread far beyond the border region, yielding evidence of an impact that is more widespread than previously

  documented. The paper also addresses the widely debated relationship between firearms and homicide

  prevalence, finding that access to high powered firearms, which were banned for a decade in the United

  States and are not legally available in Mexico, does lead to higher levels of homicides. Finally, much like

  DellaVigna and La Ferrara (2010), it highlights the fact that these type of rule of law issues are no longer

  domestic ones, but regulations made in one nation can significantly impact individuals who have no direct

  say in the decision making process.




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  Figures




                             Figure 1: Homicide Rate in Mexico




                  Figure 2: Overall Homicide Rate and Counterfactual Trends




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                   Figure 3: Firearm Homicide Rate and Counterfactual Trends
             Note: Firearm homicide data is available from SINAIS beginning in 1998.




                   Figure 4: Firearm vs. Non-Firearm Homicide Rate in Mexico
             Note: Firearm homicide data is available from SINAIS beginning in 1998.




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                                                          Figure 5: Close Municipal Elections: 1999 - 2010




                                       30
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                      (a) Pre-AWB Expiration Elections (2000 – 2004)                          (b) Post-AWB Expiration Elections (2005 – 2006)




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                                    Figure 6: Frequency of Municipalities by Vote Margin (>0 if incumbent defeated)




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Exhibit 14
                  (a) Bin Size = 0.01                                  (b) Bin Size = 0.005                                   (c) Bin Size = 0.0025

                                        Figure 7: Difference in Logged Bin Count (Post – Pre; Bandwidth = 0.20)
                                                                                                                                                      Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1955 Page 973 of
                             (a) Pre-AWB (2000 - 2004)                                    (b) Post-AWB (2005 - 2006)




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                          (c) DiRD: Post - Pre (2000 - 2006)                           (d) DiRD: Post - Pre (1999 - 2010)
                                                                                                                    
                  Figure 8: Residuals of Ln(Firearm Homicide Rate): Using Equation (3) Controls (X mst ,Ln y ms(t−1) ,τ (s)t )
                                                                                                                                 Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1956 Page 974 of
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            Figure 9: Wholesale Price per kg (adjusted for purity and inflation, 2009 USD)




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  Tables




                              Table 1: Mayoral Elections in the Previous Year

                                       (a) Mayoral Elections in the Previous Year
                  Number of Elections         Close Elections (< 7%)           Percent of Elections
                  Count % of Total            Count      % of Total          That Are Close: By Year
           1999    796        9.82             197          7.07                        24.75
           2000    232        2.86             72            2.59                       31.03
           2001    771        9.51             245           8.80                       31.78
           2002    846        10.43            303          10.88                       35.82
           2003    233        2.87             77            2.76                       33.05
           2004    575        7.09             224           8.04                       38.96
           2005   1,018       12.55            396          14.22                       38.90
           2006    230         2.84             81           2.91                       35.22
           2007    577         7.12            207           7.43                       35.88
           2008   1,033       12.74            335          12.03                       32.43
           2009    190         2.34             65           2.33                       34.21
           2010    599         7.39            190           6.82                       31.72

         Total    7,100                       2,392

                               (b) Number of Incumbent Losses
                              Losses             Municipalities
                              (of 4)          Count     Percent
                                 0             252          13.52
                                 1             395          21.19
                                 2             640          34.33
                                 3             447          23.98
                                 4             130           6.97
         Note: Shown in panel (a) are the total number of mayoral elections (left), number of close
         mayoral elections (center), and percent of elections each year that are close (right). Displayed
         in panel (b) are the number of incumbent losses (out of 4) in each municipality.




                                                       34
                                                 Exhibit 14
                                                   0946
                                         Table 2: Means for Pre and Post-AWB Expiration Time-Periods, by Election Outcome of the Incumbent Party

                                                                 Pre-Expiration Means (2000-2004)             Post-Expiration Means (2005-2006)          Post Exp. Minus Pre Exp.
                           Bandwith = 0.07                  Incumbent Challenger                          Incumbent Challenger                           Difference-in
                                                              Victory    Victory  Difference  T-stat        Victory   Victory   Difference  T-stat        -Difference   T-stat
                         Ln(F irearmHom.Rate)ms(t−1)          0.332       0.32      -0.012       [0.38]     0.292      0.212       -0.08     [1.90]*        -0.068         [-1.25]
                             Ln(HomicideRate)ms(t−1)          0.533      0.508      -0.026       [0.70]     0.441      0.373      -0.067       [1.36]       -0.042         [-0.66]
                     Ln(N on − F ire.Hom.Rate)ms(t−1)          0.27      0.251      -0.019       [0.80]     0.197        0.2       0.002      [-0.08]       0.022           [0.53]
                                  Ln(T hef tRate)ms(t−1)       0.9       0.922       0.022      [-0.40]     0.728      0.604      -0.124     [1.73]*        -0.146         [-1.60]
                       Ln(N arcoticsCrimeRate)ms(t−1)         0.402      0.362      -0.041       [1.02]     0.273      0.267      -0.005       [0.11]       0.035           [0.55]
                           Ln(IllegalArmsRate)ms(t−1)          0.62      0.653       0.032      [-0.74]     0.622      0.524      -0.098     [1.67]*         -0.13        [-1.76]*
                          Ln(AssaultBatt.Rate)ms(t−1)         1.037      1.007       -0.03       [0.59]     0.905      0.877      -0.028       [0.40]       0.002           [0.02]
                         Ln(P rop.DamageRate)ms(t−1)          0.498       0.53       0.032      [-0.86]      0.48      0.433      -0.047       [0.85]       -0.079         [-1.21]
                                   Ln(RapeRate)ms(t−1)        0.252      0.269       0.017      [-0.70]     0.227      0.205      -0.022       [0.71]       -0.039         [-0.97]
                                              Distancems       981        969       -11.71       [0.41]     1104       1102        -2.52       [0.06]        9.192          [0.18]
                                                 Areams        922       1069         146       [-0.82]     1115        778        -338        [1.27]        -484          [-1.54]
                            Ln(GDP P erCapita)ms(t−1)         8.952      8.988       0.036      [-1.06]     8.764       8.79       0.026      [-0.57]        -0.01         [-0.17]
                                                              1.341      1.316      -0.025       [0.53]     1.229      1.232       0.004      [-0.06]       0.029           [0.36]




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                          Ln(Inf antM ort.Rate)ms(t−1)




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                                                              5.765      5.768       0.003      [-0.06]     6.003      5.961      -0.042       [1.06]       -0.045         [-0.68]
                                                                                                                                                                                                                              1057




                         Ln(T axRev.P erCapita)ms(t−1)
                       Ln(V ehicularM ort.Rate)ms(t−1)        0.505      0.556        0.05      [-1.32]     0.495      0.484       -0.01       [0.19]       -0.061         [-0.92]




Exhibit 14
                                Ln(P op.Density)ms(t−1)       4.003      4.088       0.085      [-0.80]     3.943      4.023        0.08      [-0.63]       -0.004         [-0.03]
                   P ercentof P op.M ale : 20 − 49ms(t−1)     0.187      0.187          0       [-0.10]     0.185      0.185         0        [-0.16]          0            [0.08]
                                  Y earsInP owerms(t−1)       4.288      4.446       0.158      [-1.55]     5.945      5.668      -0.277       [1.15]       -0.435        [-1.95]*
                                       P AN W inms(t−1)       0.172      0.362        0.19   [-6.63]***     0.174      0.405       0.231   [-5.66]***       0.041           [0.83]
                            W inning V ote Sharems(t−1)       0.421      0.415      -0.006       [1.27]     0.418      0.406      -0.012       [1.60]       -0.006         [-0.63]
                                P AN V ote Sharems(t−1)       0.281      0.302       0.021     [-1.92]*     0.278      0.293       0.015      [-0.95]       -0.006         [-0.34]
                                 P RI V ote Sharems(t−1)      0.406      0.389      -0.017    [3.17]***     0.399      0.376      -0.023    [2.69]***       -0.005         [-0.54]
                                P RD V ote Sharems(t−1)       0.244      0.221      -0.022      [1.87]*     0.252       0.26       0.008      [-0.51]        0.03           [1.52]

                                                       N                  921                                           477                                 1398
                  Note: *** p<0.01, ** p<0.05, * p<0.1. Data include all municipality observations, outside of Oaxaca, with an election in which the incumbent party margin is
                  within seven percentage points. All rates are per 10,000 people, and logged variables are calculated as the natural log of the rate plus one to include observations
                  with zero occurrences. Per capita GDP and municipal income are recorded in 1,000s of constant 1993 Mexican pesos. Population, homicide, and mortality data
                  are from SINAIS; all other data are from INEGI.
                                                                                                                                                                                         Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1959 Page 977 of
                    Table 3: DiRD - Estimates of Time-Invariant, Election Outcomes, and Lagged Municipal Characteristics and Crime Rates (2000 - 2006)


                          (a) Time-Invariant                   (c) Election Outcomes             (d) Lagged Alternative Crimes            (e) Lagged Municipal Characteristics
                                                  (1)                               (2)                                      (3)                                           (4)
                               Distancems       -12.35       PAN Winms(t−1)        0.016       Ln(Theft Rate)ms(t−1)        0.219                        Ln(GDP           0.053
                                               (53.95)                            (0.189)                                  (0.208)              Per Capita)ms(t−1)       (0.094)

                                   Areams     -1,644**             PAN Vote        -0.025               Ln(Narcotics        -0.127                     Ln(Infant          -0.020
                                                (678)             Sharem(t−1)     (0.053)         Crime Rate)ms(t−1)       (0.167)             Mort. Rate)ms(t−1)        (0.194)

                                 Areams         -744                PRI Vote       0.004                  Ln(Illegal        -0.078                   Ln(Tax Rev.         0.334*
                  (drop one municipality)      (563)             Sharems(t−1)     (0.032)          Arms Rate)ms(t−1)       (0.196)              Per Capita)ms(t−1)       (0.188)

                        (b) Lagged Homicides                        PRD Vote       0.053               Ln(Assault and     0.646***                    Ln(Vehicular        0.240
                            Ln(Firearm          -0.127           Sharems(t−1)     (0.056)        Battery Rate)ms(t−1)      (0.213)          Mortality Rate)ms(t−1)       (0.189)
                  Homicide Rate)ms(t−1)        (0.144)
                                                                Winning Vote       0.024               Ln(Property          -0.151                Percent of Pop.         -0.006




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                       Ln(Non-Firearm           0.147                             (0.028)                                  (0.164)                                       (0.005)
                                                                                                                                                                                                                          1057




                                                                 Sharems(t−1)                   Damage Rate)ms(t−1)                             Male: 20-49ms(t−1)
                  Homicide Rate)ms(t−1)        (0.124)




Exhibit 14
                                                                     Years In      -1.337       Ln(Rape Rate)ms(t−1)        -0.188        Ln(Pop. Density)ms(t−1)        0.888*
                             Ln(Homicide        0.032            Powerms(t−1)     (0.818)                                  (0.123)                                       (0.464)
                             Rate)ms(t−1)      (0.166)

                                         N     1,360                         N     1,360                              N     1,360                                  N      1,360
                  Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the value of the specified municipal characteristic. The estimates shown are for the
                  coefficient (β) on the interaction between the indicator variable for an incumbent defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2).
                  Each regression includes state-year fixed effects, a cubic RD polynomial allowed to vary on either side of the election threshold and AWB expiration. The
                  top five estimates in panel (c) include an indicator for whether the election is held in the last half of the year, and the predetermined outcomes of years
                  in power (set of indicators), incumbent party (set of indicators), area, and distance (cubic). The estimate for years in power, determined in the previous
                  election, only include the area and distance (cubic) controls. Excluding the dependent variable, all estimates in panels (b), (d), and (e) also include
                  lagged values of the portion of the population that is male age 20 to 49, the logged population density, GDP per capita, municipal government income per
                  capita, infant mortality rate, vehicular mortality rate, narcotics crime rate, theft rate, illegal weapons possession rate, rape rate, assault and battery rate,
                  and the property damage rate. The eligible sample includes all municipalities outside of Oaxaca. Each regression is weighted using a triangular kernel,
                  calculated using the vote margin, which is interacted with population for panels (b), (d), and (e), and total votes cast for panel (c).
                                                                                                                                                                                     Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1960 Page 978 of
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                       Table 4: DiRD - Density Test - Estimates of the Logged Bin Count

                                                             Ln(Bin Count)
                                         BW=0.10           BW=0.15   BW=0.20                    BW=0.25
                                            (1)                   (2)                 (3)          (4)

                          P t * Dmst       0.040                 -0.022              -0.028       -0.111
                    (Bin Size = 0.01)     (0.255)               (0.236)             (0.241)      (0.260)

                          P t * Dmst       0.080                 -0.007              0.017        -0.035
                   (Bin Size = 0.005)     (0.259)               (0.273)             (0.248)      (0.241)

                          P t * Dmst       0.076                 0.010               -0.086       -0.062
                   (Bin Size = 0.002)     (0.281)               (0.227)             (0.208)      (0.187)
    Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the logged count of observations within the
    specified bin size. The estimates shown are for the coefficient on the interaction between the indicator variable
    for an incumbent defeat and the post-AWB indicator, from a density test adjusted to the DiRD framework.

           Table 5: DiRD - Effect of AWB Expiration on Ln(Firearm Homicide Rate) (2000 - 2006)

                                           Pre-Expiration               Post-Expiration          DiRD
                                            (2000 - 2004)                (2005 - 2006)        (2000 - 2006)
                                                  (1)                         (2)                  (3)

                                                           (a) CV Optimal Bandwidth
                        Ln(Firearm            -0.262***                      0.079              0.354***
                  Homicide Rate)mst            (0.080)                      (0.106)              (0.131)
                        BW = 0.07                       N=897                       N=463          N=1,360


                                                           (b) Alternative Bandwidths
                        Ln(Firearm             -0.180*                       0.085               0.276*
                  Homicide Rate)mst            (0.105)                      (0.114)              (0.157)
                        BW = 0.05                       N=638                       N=344            N=982


                        Ln(Firearm            -0.197**                      0.201*              0.434***
                  Homicide Rate)mst            (0.090)                      (0.108)              (0.142)
                        BW = 0.06                       N=760                       N=399          N=1,159

                        Ln(Firearm            -0.211***                      0.003              0.273**
                  Homicide Rate)mst            (0.072)                      (0.096)             (0.119)
                        BW = 0.08                   N=1,016                         N=518          N=1,534


                        Ln(Firearm            -0.229***                      0.115              0.333***
                  Homicide Rate)mst            (0.065)                      (0.092)              (0.110)
                        BW = 0.09                   N=1,130                         N=583          N=1,713

   Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the natural log of the firearm
   homicide rate. The estimates shown in column (3) are for the coefficient (β) on the interaction between the indicator
   variable for an incumbent defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2); the estimates shown
   in column (1) and column (2) are for the coefficient (θ)on the indicator for an incumbent defeat, from equation
   (1). Regressions include state-year fixed effects, a lagged value of the dependent variable, a cubic RD polynomial
   allowed to vary on either side of the election threshold and AWB expiration, and the set of municipal controls
   described in footnote 11. The eligible sample includes all municipalities outside of Oaxaca. Each regression is
   weighted using an interaction between a triangular kernel, calculated using the vote margin, and the municipal
   population.                                               37
                                                        Exhibit 14
                                                          0949
                                                    Table 6: DiRD - Effect of AWB Expiration on Alternative Crime Rates (2000 - 2006)


                               Ln(Firearm      Ln(Non-Firearm                                              Ln(Narcotics       Ln(Illegal    Ln(Assault and    Ln(Property
                              Homicide Rate)   Homicide Rate)   Ln(Homicide Rate)     Ln(Theft Rate)       Crime Rate)       Arms Rate)      Battery Rate)   Damage Rate)   Ln(Rape Rate)
                                   (1)               (2)               (3)                  (4)                (5)                  (6)           (7)             (8)            (9)

                                                                                        (a) Alternative Crime Rates (2000 - 2006)
                  P t *Dmst      0.354***           0.121            0.320**               -0.060           -0.708***           0.032            0.141           0.256          -0.110
                                  (0.131)          (0.119)           (0.154)              (0.201)            (0.150)           (0.177)          (0.195)         (0.166)        (0.123)

                         N        1,360            1,360              1,360                1,360              1,360             1,360            1,360          1,360           1,360

                                                                                           (b) Extended Sample (1999 - 2010)
                  P t *Dmst      0.255**            0.015            0.190*                -0.040            -0.240**           0.097            0.146         0.233**          -0.023




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                                 (0.101)           (0.086)           (0.113)              (0.140)             (0.113)          (0.130)          (0.136)        (0.115)         (0.084)




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                         N        2,307            2,307              2,307                2,307              2,307             2,307            2,307          2,307           2,307




Exhibit 14
                                                                 (c) Extended Sample: Remove Top Decile of Pre-Expiration Narcotics Crime (1999 - 2010)
                  P t *Dmst      0.240**            0.035             0.188                0.014             -0.220*            -0.116           0.057           0.190          -0.077
                                 (0.104)           (0.092)           (0.120)              (0.154)            (0.114)           (0.137)          (0.150)         (0.124)        (0.091)

                         N        2,073            2,073              2,073                2,073              2,073             2,073            2,073          2,073           2,073

                   Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the stated crime. The estimates shown are for the coefficient (β) on the interaction
                   between the indicator variable for an incumbent defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2). Regressions include state-year fixed
                   effects, a lagged value of the dependent variable, a cubic RD polynomial allowed to vary on either side of the election threshold and AWB expiration, and
                   the set of municipal controls described in footnote 11, excluding the dependent variable. The eligible sample includes all municipalities outside of Oaxaca.
                   Each regression is weighted using an interaction between a triangular kernel, calculated using the vote margin, and the municipal population.
                                                                                                                                                                                            Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1962 Page 980 of
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   Table 7: Percent of Self-Reported Drug Use in the Past Year: United Sates (All Individuals 12 and older)

                                     2002    2003   2004       2005   2006   2007      2008   2009
                       Cocaine         2.5    2.5     2.4       2.3    2.5    2.3       2.1    1.9
                        Heroin         0.2   0.1     0.2        0.2   0.2    0.1       0.2    0.2
                      Marijuana        11    10.6    10.6      10.4   10.3   10.1      10.3   11.3
                     Note: From the National Survey on Drug Use and Health, as reported
                     in various rounds of the National Drug Intelligence Center’s National
                     Drug Threat Assessment.




                      Table 8: Pseudo Estimates of Effect Away from Expiration of AWB


                          (a) Pseudo Cutoff: Pre-Expiration                         (b) AWB Expiration
      Pre-Cutoff Years        1999                  1999/2000                 2002                   2002/2003
     Post-Cutoff Years        2002                  2002/2003                 2005                   2005/2006
                               (1)                     (2)                     (3)                      (4)

          Ln(Firearm          -0.089                  0.067                  0.327*                   0.317**
       Homicide Rate)        (0.264)                 (0.224)                 (0.187)                  (0.151)

                     N         479                     621                    681                      915

                                                                         (d) Pseudo Cutoff: Post-Expiration
                                                                                  (Remove Top 10% of
                         (c) Pseudo Cutoff: Post-Expiration                 Pre-2005 Narcotics Crime Rates)
      Pre-Cutoff Years        2005                  2005/2006                 2005                   2005/2006
     Post-Cutoff Years        2008                  2008/2009                 2008                   2008/2009

          Ln(Firearm          -0.036                  -0.145                  -0.004                   -0.096
       Homicide Rate)        (0.155)                 (0.156)                 (0.161)                  (0.166)

                     N         713                     854                    667                      789
    Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the natural log of the
    firearm homicide rate. The estimates shown are for the coefficient (β) on the interaction between the indicator
    variable for an incumbent defeat (Dmst ) and the post-cutoff indicator (P t ), from equation (2). The placement
    of the cutoff is defined by the pre and post years specified in each panel. Regressions include state-year fixed
    effects, a lagged value of the dependent variable, a cubic RD polynomial allowed to vary on either side of the
    election threshold and AWB expiration, and the set of municipal controls described in footnote 11. The eligible
    sample includes all municipalities outside of Oaxaca. Each regression is weighted using an interaction between
    a triangular kernel calculated using the vote margin and the municipal population.




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  Table 9: Inverse Distance to U.S.-Mexico Border and the Effect of AWB Expiration on Ln(Firearm Homicide
  Rate)


                                                                      (a) Full Sample

                                    2000 - 2006                                               1999 - 2010
                                                                                                             (Remove Top 10% of
                                                                                                        Pre-2005 Narcotics Crime Rates)
                        Remove Yucatan                       Remove Yucatan                          Remove Yucatan
                          Peninsula          Full Sample       Peninsula         Full Sample           Peninsula             Full Sample
                              (1)                   (2)            (3)                  (4)                   (5)                 (6)

          Ln(Firearm         0.226                 0.093         0.429**           0.389***                 0.610**           0.464***
    Homicide Rate)mst       (0.263)               (0.155)        (0.189)            (0.124)                 (0.239)            (0.137)

                   N        1,200                 1,398           2,053             2,392                    1,826              2,156

                                                   (b) Distance from U.S. Border Greater than 100 KM

                                    2000 - 2006                                               1999 - 2010
                                                                                                             (Remove Top 10% of
                                                                                                        Pre-2005 Narcotics Crime Rates)
                        Remove Yucatan                       Remove Yucatan                          Remove Yucatan
                          Peninsula          Full Sample       Peninsula         Full Sample           Peninsula             Full Sample
                              (1)                   (2)            (3)                  (4)                   (5)                 (6)

          Ln(Firearm         0.129                 0.160          0.219            0.437***                 0.616**           0.481***
    Homicide Rate)mst       (0.340)               (0.178)        (0.219)            (0.135)                 (0.246)            (0.139)

                   N        1,164                 1,362           1,989             2,328                    1,802              2,132

    Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the natural log of the firearm
    homicide rate. The estimates shown are for the coefficient (β) on the triple interaction between the indicator
    variable for an incumbent defeat (Dmst ), the post-AWB indicator (P t ), and the inverse distance measure (I m )
    from equation (4). All regressions include year fixed effects, the lagged value of the dependent variable, a cubic
    RD polynomial allowed to vary on either side of the election threshold and AWB expiration, and the set of
    municipal controls described in footnote 11, except for the previously described distance control. The eligible
    sample includes all municipalities outside of Oaxaca. Each regression is weighted using an interaction between
    a triangular kernel calculated using the vote margin and the municipal population.




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  A     Online Appendix

  A.1     Text of the U.S. Federal Assault Weapons Ban

  The AWB was Subtitle A of Title XI in H.R. 3355, the Violent Crime Control and Law Enforcement Act of

  1994. The key text banning assault weapons is as follows:

  (1) It shall be unlawful for a person to manufacture, transfer, or possess a semiautomatic assault weapon.

  The following paragraph allows for the continued possession of firearms legally owned before the law was

  enacted.

  (2) Paragraph (1) shall not apply to the possession or transfer of any semiautomatic assault weapon otherwise

        lawfully possessed under Federal law on the date of the enactment of this subsection.

  The assault weapons were defined as follows:

  (b) DEFINITION OF SEMIAUTOMATIC ASSAULT WEAPON - Section 921(a) of title 18, United States

        Code, is amended by adding at the end the following new paragraph: (30) The term ’semiautomatic

        assault weapon’ means–

        (A) any of the firearms, or copies or duplicates of the firearms in any caliber, known as–

             (i) Norinco, Mitchell, and Poly Technologies Avtomat Kalashnikovs (all models);

             (ii) Action Arms Israeli Military Industries UZI and Galil;

             (iii) Beretta Ar70 (SC-70);

             (iv) Colt AR-15;

             (v) Fabrique National FN/FAL, FN/LAR, and FNC;

             (vi) SWD M-10, M-11, M-11/9, and M-12;

             (vii) Steyr AUG;

             (viii) INTRATEC TEC-9, TEC-DC9 and TEC-22; and

             (ix) revolving cylinder shotguns, such as (or similar to) the Street Sweeper and Striker 12;

        (B) a semiautomatic rifle that has an ability to accept a detachable magazine and has at least 2 of–

             (i) a folding or telescoping stock;

             (ii) a pistol grip that protrudes conspicuously beneath the action of the weapon;

             (iii) a bayonet mount;

             (iv) a flash suppressor or threaded barrel designed to accommodate a flash suppressor; and

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             (v) a grenade launcher;

        (C) a semiautomatic pistol that has an ability to accept a detachable magazine and has at least 2 of–

             (i) an ammunition magazine that attaches to the pistol outside of the pistol grip;

             (ii) a threaded barrel capable of accepting a barrel extender, flash suppressor, forward handgrip,

                 or silencer;

             (iii) a shroud that is attached to, or partially or completely encircles, the barrel and that permits

                 the shooter to hold the firearm with the nontrigger hand without being burned;

             (iv) a manufactured weight of 50 ounces or more when the pistol is unloaded; and

             (v) a semiautomatic version of an automatic firearm; and

        (D) a semiautomatic shotgun that has at least 2 of–

             (i) a folding or telescoping stock;

             (ii) a pistol grip that protrudes conspicuously beneath the action of the weapon;

             (iii) a fixed magazine capacity in excess of 5 rounds; and

             (iv) an ability to accept a detachable magazine.


        Finally, large capacity magazines were also banned.


        (b) DEFINITION OF LARGE CAPACITY AMMUNITION FEEDING DEVICE - Section 921(a) of

             title 18, United States Code, as amended by section 110102(b), is amended by adding at the end

             the following new paragraph: (31) The term ’large capacity ammunition feeding device’–

             (A) means a magazine, belt, drum, feed strip, or similar device manufactured after the date of

                 enactment of the Violent Crime Control and Law Enforcement Act of 1994 that has a capacity

                 of, or that can be readily restored or converted to accept, more than 10 rounds of ammunition;


  A.2     Expiration of AWB and Relative Homicide Rate

  A descriptive empirical analysis can be used to complement the observational evidence seen in Figure 1 and

  Figure 4. If the expiration of the AWB is contributing to the increase in the firearm homicide rate for any

  given level of violence, firearm homicides should become relatively more frequent, and for a given level of

  firearm prevalence, the type of guns made available should lead to a higher rate of firearm homicide. The

  following equation can be used to test these two concepts,
                     ln (ymst ) = α + Pt ln (xmst ) β + ln (xmst ) φ + Xmst π + δm + τst + εmst .           (A.1)



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  The dependent variable is the logged homicide rate per 10,000 people in municipality m, in state s, in

  year t. Pt is equal to one in the year 2005 and later (Pt = 1 [t ≥ 2005]). The logged x variable, ln (xmst ),

  measures the log of either the non-firearm homicide rate or the rate of illegal weapons possession. Xmst

  is a vector of municipal and year specific crime rates and other characteristics. Time-invariant municipal

  fixed effects (δm ) are included along with state specific year fixed effects (τst ) . Estimates are weighted by

  municipal population and standard errors are clustered at the municipal level.30 The coefficient φ captures

  the elasticity between the homicide rate on the left-hand side and the crime rate denoted by x, and the

  coefficient on the interaction between the post-AWB indicator and the logged crime rate, β, estimates the

  change in this relationship following the AWB’s expiration.

     Three estimates from equation (A.1) are shown in panel (a) of Table A.12 for the years 2000 to 2006.

  This time period spans a single administration and does not include any of the years following the military

  deployment by President Calderon. In the first two columns the dependent variable is the logged firearm

  homicide rate, and the dependent variable in column (3) is the logged non-firearm homicide rate. In column

  (1) the crime rate denoted by xmst is the non-firearm homicide rate, and in the last two columns it is

  the logged illegal weapons possession rate. Using only municipality variation, the statistically significant

  estimates in the first column show that a ten percent increase in the non-firearm homicide rate following

  the AWB’s expiration is associated with an additional increase in the firearm homicide rate of one-half

  of a percent, nearly double the pre-expiration elasticity. The second column yields a qualitatively similar

  estimate of the relationship between firearm homicides and illegal weapons possession. These two estimates

  demonstrate that the expiration of the AWB coincides with an increase in the level of firearm violence

  relative to the general level of violence as measured by the non-firearm homicide rate, and relative to the

  number of weapons illegally possessed. As a counterfactual, non-firearm homicides are compared to illegal

  weapons possession in column (3), and as would be expected, there is no statistically significant change in this

  relationship at the time of the AWB’s expiration. The estimates in panel (b) extend the sample to include

  the years from 1999 to 2010, yielding a similar pattern. The only notable difference is that the inclusion of

  the drug war induces an increase in the level of non-firearm homicides, relative to illegal weapons possession,

  following the AWB expiration. However, this increase is less than half the estimated increase in the firearm

  homicide rate, and is not found in the better identified model in the following sections. All of these effects

  are consistent with the theory that the there need not be an increase in the number of available firearms, but

  a change in the type of firearms available, an increase in the availability of high powered firearms following

  the expiration of the AWB, contributed to the increase in the homicide rate in Mexico.
   30 The   sample contains the same 1,864 municipalities that will be used in the paper’s main analysis.




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  A.3     Tenure in Office and Violent Crime

  A possible explanation for increased conflict between criminal groups and the government is that severing of

  some type of understanding that is built between the two entities over time. This could either be an explicit

  network of communication, or an implicit understanding of established boundaries. In either scenario, if

  both sides see benefit in lower levels of violent crime, there may exist a negative relationship between years

  of a single party in power as the mayor of a municipality and violent crime. This would be a plausible

  explanation of why the dissolution of the status quo following an incumbent defeat could lead to increased

  conflict between law enforcement and criminal groups. Although, the outcome of deterioration of the status

  quo is not clear, is it likely determined by the relative strength of the two competing entities, it would be

  helpful to understand why increased conflict could occur.

     To examine whether a negative relationship does in fact exist between years a party remains in power

  and violent crime rates, a model similar to the one expressed in equation (A.1) is used.
                          ln (ymst ) = α + Y rslnP owermst β + Xmst π + δm + τst + εmst .                   (A.2)


  The dependent variable is the log of the crime rate in municipality m, in state s, and year t. The set of

  controls are identical to equation (A.1). Y rslnP owermst is the number of years the party of the mayor

  has been in power since 1995, and β is the coefficient of interest. Only measuring years in power from

  1995 is unlikely to affect the measure; a single party, PRI (Partido Revolucionario Institucional), controlled

  most levels of government in Mexico for a number of decades prior to the years included in this study. The

  estimates for β are shown in Table A.13. Across all three types of homicides (firearm, non-firearm, total

  homicides) an additional year of a party in power is associated with a decline in the homicide rate, from a

  quarter of one percent per year for the non-firearm homicide rate to over four-tenths of a percent per year

  for the general homicide rate. This is evidence of a negative association between a party’s tenure as mayor

  and violence, as suggested by the status quo assumption. This analysis can be expanded to show that the

  estimate is not driven by a single outlying year by substituting the years in power variable for a vector of

  indicator variables for each year in power, relative to the first year. These coefficient estimates are shown in

  Figure A.2, displaying the increasingly negative trend the longer a party remains in power. While the effect

  does exist, it is not statistically significant until a party is into its third three-year term.




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  A.4   Appendix - Figures and Tables




                       Figure A.1: Homicide Rate in Mexico (Full 2010 Scale)




          Figure A.2: Ln(Firearm Homicide Rate) and Years in Power: Relative to Year One




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                                                          Figure A.3: Close Municipal Elections: 2000 - 2006




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                  (a) Ln(Non-Firearm Homicide Rate): 2000-2006           (b) Ln(Non-Firearm Homicide Rate): 1999-2010




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                        (c) Ln(Homicide Rate): 2000-2006                       (d) Ln(Homicide Rate): 1999-2010

                        Figure A.4: DiRD Residuals of Ln(Non-Firearm Homicide Rate) and Ln(Homicide Rate)
                                                                                                                        Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1971 Page 989 of
                  Table A.1: DiRD - Estimates of Time-Invariant, Election Outcomes, and Lagged Municipal Characteristics and Crime Rates (Alternative Bandwidths)

                                             (a) Time-Invariant                                             (c) Election Outcomes                                       (d) Lagged Alternative Crimes                                     (e) Lagged Municipal Characteristics
                                   BW=          0.05      0.06       0.08       0.09              BW=          0.05      0.06       0.08      0.09                   BW=        0.05       0.06         0.08     0.09                      BW=        0.05       0.06       0.08       0.09

                               Distancems       -3.991    -19.96     -18.51     3.040     PAN Winms(t−1)       -0.158    -0.081    0.055      0.044    Ln(Theft Rate)ms(t−1)    -0.005     0.098      0.224     0.307*                   Ln(GDP       0.030      0.062      0.026      0.074
                                               (63.77)   (58.61)    (49.47)    (45.953)                       (0.228)   (0.205)   (0.175)    (0.163)                           (0.252)    (0.230)    (0.191)    (0.176)         Per Capita)ms(t−1)   (0.116)    (0.104)    (0.088)    (0.080)

                                  Areams       -1,611*   -1,481*   -1,657***   -1,359**     Winning Vote       0.043     0.032     0.025      0.004            Ln(Narcotics     -0.193     -0.124     0.006      0.118                  Ln(Infant     0.351      0.175      -0.024     0.132
                                                (839)     (763)      (609)       (567)       Sharems(t−1)     (0.034)   (0.031)   (0.026)    (0.024)     Crime Rate)ms(t−1)    (0.203)    (0.185)    (0.155)    (0.142)         Mort. Rate)ms(t−1)   (0.242)    (0.216)    (0.178)    (0.163)

                                  Areams         -610     -593        -801       -551          PAN Vote        -0.051    -0.065    -0.030     0.036              Ln(Illegal     -0.126     -0.158     -0.202     -0.085              Ln(Tax Rev.     0.565***   0.736***   0.392**    0.348**
                   (drop one municipality)      (670)    (625)       (510)      (484)         Sharem(t−1)     (0.062)   (0.057)   (0.050)    (0.046)      Arms Rate)ms(t−1)    (0.243)    (0.217)    (0.183)    (0.165)         Per Capita)ms(t−1)    (0.218)    (0.205)   (0.174)    (0.154)
                                       N=          980     1,157       1,532      1,711
                                        (b) Lagged Homicides                                    PRI Vote      0.043     0.023       0.018    -0.019          Ln(Assault and    0.804***   0.613***   0.563***   0.405***             Ln(Vehicular     -0.187     0.195      0.199      0.121
                              Ln(Firearm        -0.223    -0.236     -0.124     -0.078       Sharems(t−1)     (0.038)   (0.034)   (0.030)    (0.027)    Battery Rate)ms(t−1)   (0.257)    (0.234)    (0.197)    (0.183)     Mortality Rate)ms(t−1)   (0.226)    (0.211)    (0.174)    (0.159)
                    Homicide Rate)ms(t−1)      (0.174)   (0.158)    (0.132)    (0.120)
                                                                                               PRD Vote        0.102     0.054     0.049      0.045           Ln(Property       -0.219     -0.083     -0.048     -0.147           Percent of Pop.     -0.002     -0.003    -0.008*    -0.011**
                         Ln(Non-Firearm         0.147     0.202      0.082      0.010        Sharems(t−1)     (0.067)   (0.061)   (0.052)    (0.048)   Damage Rate)ms(t−1)     (0.195)    (0.178)    (0.155)    (0.142)         Male: 20-49ms(t−1)   (0.006)    (0.006)    (0.005)     (0.004)
                    Homicide Rate)ms(t−1)      (0.149)   (0.136)    (0.116)    (0.105)
                                                                                                 Years In      -1.129    -1.419   -1.577**    -1.000   Ln(Rape Rate)ms(t−1)     -0.184    -0.278**    -0.169     -0.079    Ln(Pop. Density)ms(t−1)    0.277      0.287     1.237***   0.986**




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                             Ln(Homicide        -0.069    -0.037     -0.023     -0.047       Powerms(t−1)     (0.973)   (0.892)    (0.757)   (0.707)                           (0.145)     (0.132)   (0.115)    (0.105)                              (0.560)    (0.516)     (0.421)   (0.387)
                             Rate)ms(t−1)      (0.199)   (0.182)    (0.153)    (0.138)




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                                        N        982     1,159       1,534      1,713                  N       982      1,159       1,534    1,713                        N      982       1,159        1,534    1,713                          N      982       1,159      1,534      1,713




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                      Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the value of the specified municipal characteristic. The estimates shown are for the
                      coefficient (β) on the interaction between the indicator variable for an incumbent defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2).
                      Each regression includes state-year fixed effects, a cubic RD polynomial allowed to vary on either side of the election threshold and AWB expiration. The
                      top five estimates in panel (c) include an indicator for whether the election is held in the last half of the year, and the predetermined outcomes of years
                      in power (set of indicators), incumbent party (set of indicators), area, and distance (cubic). The estimate for years in power, determined in the previous
                      election, only include the area and distance (cubic) controls. Excluding the dependent variable, all estimates in panels (b), (d), and (e) also include
                      lagged values of the portion of the population that is male age 20 to 49, the logged population density, GDP per capita, municipal government income per
                      capita, infant mortality rate, vehicular mortality rate, narcotics crime rate, theft rate, illegal weapons possession rate, rape rate, assault and battery rate,
                      and the property damage rate. The eligible sample includes all municipalities outside of Oaxaca. Each regression is weighted using a triangular kernel,
                      calculated using the vote margin, which is interacted with population for panels (b), (d), and (e), and total votes cast for panel (c).
                                                                                                                                                                                                                                                                                                 Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1972 Page 990 of
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   Table A.2: DiRD - AWB Expiration and Ln(Firearm Homicide Rate) (Only July to November Elections)

                                        Pre-Expiration           Post-Expiration         DiRD
                                         (2000 - 2004)            (2005 - 2006)       (2000 - 2006)
                                              (1)                      (2)                  (3)

                                                       (a) CV Optimal Bandwidth
                      Ln(Firearm           -0.225***                  0.046              0.279**
                Homicide Rate)mst           (0.083)                  (0.112)             (0.137)
                      BW = 0.07                     N=790                    N=414          N=1,204


                                                       (b) Alternative Bandwidths
                      Ln(Firearm             -0.167                   0.066               0.230
                Homicide Rate)mst           (0.108)                  (0.122)             (0.164)
                      BW = 0.05                     N=563                    N=305            N=868


                      Ln(Firearm            -0.158*                  0.197*              0.367**
                Homicide Rate)mst           (0.093)                  (0.115)             (0.148)
                      BW = 0.06                     N=669                    N=356          N=1,025


                      Ln(Firearm           -0.195***                  -0.009             0.234*
                Homicide Rate)mst           (0.075)                  (0.102)             (0.124)
                      BW = 0.08                     N=898                    N=465          N=1,363


                      Ln(Firearm           -0.219***                  0.109             0.307***
                Homicide Rate)mst           (0.068)                  (0.099)             (0.115)
                      BW = 0.09                     N=999                    N=525          N=1,524

               Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the
               natural log of the firearm homicide rate. The estimates shown in column (3) are for
               the coefficient (β) on the interaction between the indicator variable for an incumbent
               defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2); the estimates
               shown in column (1) and column (2) are for the coefficient (θ)on the indicator for
               an incumbent defeat, from equation (1). Regressions include state-year fixed effects,
               a lagged value of the dependent variable, a cubic RD polynomial allowed to vary on
               either side of the election threshold and AWB expiration, and the set of municipal
               controls described in footnote 11. The eligible sample includes all municipalities out-
               side of Oaxaca with elections in July or later. Each regression is weighted using an
               interaction between a triangular kernel, calculated using the vote margin, and the
               municipal population.




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  Table A.3: DiRD - AWB Expiration and Ln(Firearm Homicide Rate) (With Violation of the Federal Firearms
  Law as Control Variable)

                                       Pre-Expiration            Post-Expiration        DiRD
                                        (2000 - 2004)             (2005 - 2006)      (2000 - 2006)
                                              (1)                      (2)                 (3)

                                                       (a) CV Optimal Bandwidth
                      Ln(Firearm          -0.264***                   0.080             0.360***
                Homicide Rate)mst          (0.080)                   (0.106)             (0.131)
                      BW = 0.07                     N=897                    N=463         N=1,360


                                                       (b) Alternative Bandwidths
                      Ln(Firearm             -0.169                   0.094             0.279*
                Homicide Rate)mst           (0.105)                  (0.114)            (0.157)
                      BW = 0.05                     N=638                    N=344           N=982


                      Ln(Firearm           -0.195**                  0.209*             0.440***
                Homicide Rate)mst           (0.090)                  (0.108)             (0.142)
                      BW = 0.06                     N=760                    N=399         N=1,159


                      Ln(Firearm          -0.216***                   -0.003            0.275**
                Homicide Rate)mst          (0.072)                   (0.097)            (0.119)
                      BW = 0.08                 N=1,016                      N=518         N=1,534


                      Ln(Firearm          -0.228***                   0.110             0.331***
                Homicide Rate)mst          (0.065)                   (0.093)             (0.110)
                      BW = 0.09                 N=1,130                      N=583         N=1,713

               Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the
               natural log of the firearm homicide rate. The estimates shown in column (3) are for
               the coefficient (β) on the interaction between the indicator variable for an incumbent
               defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2); the estimates
               shown in column (1) and column (2) are for the coefficient (θ)on the indicator for
               an incumbent defeat, from equation (1). Regressions include state-year fixed effects,
               a lagged value of the dependent variable, a cubic RD polynomial allowed to vary on
               either side of the election threshold and AWB expiration, and the set of municipal
               controls described in footnote 11, except natural log of violation in federal firearm
               law per 10,000 people replaces the same calculation using illegal arms possession.
               The eligible sample includes all municipalities outside of Oaxaca. Each regression is
               weighted using an interaction between a triangular kernel, calculated using the vote
               margin, and the municipal population.




                                                            50
                                                    Exhibit 14
                                                      0962
                                      Table A.4: DiRD - Alternative Specifications of Ln(Firearm Homicide Rate) Estimates (Alternative Bandwidths)


                                             (a) Baseline (Table 5)                         (b) Epanechnikov Kernel                        (c) Uniform Kernel                     (d) Any Party As Incumbent
                      Pt ∗ Dmst    0.263**    0.290**    0.354***     0.328**    0.261**      0.288**     0.356***    0.330**    0.261**   0.288**   0.356***   0.331**    0.250*     0.284**    0.353***   0.328**
                                   (0.130)    (0.131)     (0.131)     (0.138)    (0.132)      (0.132)      (0.132)    (0.139)    (0.132)   (0.132)    (0.132)   (0.139)    (0.128)    (0.129)     (0.129)   (0.140)
                                              N=1,398                 N=1,360                  N=1,398                 N=1,360             N=1,398               N=1,360              N=1,398                N=1,360


                                                                                                                                    (g) Remove Top 1% of Change in            (h) Remove Top 5% of Change in
                                      (e) Municipal Population > 10,000             (f) Municipal Population > 20,000                   Ln(Narcotics Crime Rate)                  Ln(Narcotics Crime Rate)
                      Pt ∗ Dmst    0.291*     0.323**    0.431***     0.421***   0.371**      0.394**     0.470**     0.489**    0.277**   0.305**   0.367***   0.372***   0.271**    0.298**    0.352***   0.373***
                                   (0.153)    (0.154)     (0.156)      (0.162)   (0.181)      (0.182)     (0.205)     (0.217)    (0.130)   (0.131)    (0.131)    (0.135)   (0.130)    (0.131)     (0.131)    (0.136)
                                                N=937                   N=897                   N=581                   N=515              N=1,379               N=1,341              N=1,318                N=1,280


                                       (i) Remove Top 1% of Change in                (j) Remove Top 5% of Change in                      (k) Remove Top 1% of                       (l) Remove Top 5% of
                                             Ln(Illegal Arms Rate)                         Ln(Illegal Arms Rate)                       Ln(Firearm Homicide Rate)                  Ln(Firearm Homicide Rate)
                      Pt ∗ Dmst    0.262**    0.290**    0.353***     0.348**    0.274**      0.303**     0.384***    0.386***   0.243*    0.270**   0.310**    0.302**    0.206*     0.235*     0.293**    0.261**
                                   (0.131)    (0.131)     (0.131)     (0.135)    (0.134)      (0.134)      (0.134)     (0.139)   (0.129)   (0.129)   (0.128)    (0.132)    (0.122)    (0.123)    (0.119)    (0.123)
                                              N=1,388                  N=1,350                 N=1,310                 N=1,274             N=1,387               N=1,349              N=1,327                N=1,290


                                         (m) Homicide Rate per 100,000                  (n) Homicide Rate per 50,000                   (o) Homicide Rate per 5,000           (p) Drop Ln(Tax) Outlier (Table 3)




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                      Pt ∗ Dmst     0.614       0.697*   0.918**      0.905**    0.515*         0.577*    0.747**     0.711**    0.174**   0.191**   0.226***   0.212**    0.220*       0.248*   0.298**    0.295**




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                                   (0.385)     (0.386)   (0.385)      (0.403)    (0.294)       (0.294)    (0.294)     (0.308)    (0.084)   (0.084)    (0.085)   (0.089)    (0.131)     (0.132)   (0.132)    (0.136)
                                                                                                                                                                                                                                                            1057




                                              N=1,398                  N=1,360                 N=1,398                 N=1,360             N=1,398               N=1,360              N=1,396                N=1,358




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                                                 (q) Quadratic                                    (r) Quartic                        (s) Drop Area Outlier (Table 3)        (t) Drop Ln(Density) Outlier (Table 3)
                      Pt ∗ Dmst    0.219**   0.250***    0.234**      0.177*     0.479***     0.491***    0.499***    0.484***   0.263**   0.290**   0.354***   0.351***   0.264***   0.294**    0.339**    0.343**
                                   (0.095)     (0.096)   (0.098)      (0.103)     (0.159)       (0.159)    (0.164)     (0.166)   (0.130)   (0.131)    (0.131)    (0.135)    (0.131)   (0.131)    (0.132)    (0.135)
                                              N=1,398                  N=1,360                 N=1,398                 N=1,360             N=1,396               N=1,358              N=1,397                N=1,359


                             Pt      X                                              X                                              X                                          X
                        Year FE                 X                                                X                                           X                                           X
                  State-Year FE                             X            X                                   X           X                              X            X                              X          X
                       Pt ∗ Xmst                                         X                                               X                                           X                                         X

                   Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the natural log of the firearm homicide rate (per 10,000 unless otherwise
                   noted in the table). The estimates shown are for the coefficient (β) on the interaction between the indicator variable for an incumbent defeat (Dmst )
                   and the post-AWB indicator (P t ), from equation (2). Unless otherwise noted, regressions include time-specific fixed effects, as specified in the table, a
                   lagged value of the dependent variable, a cubic RD polynomial allowed to vary on either side of the election threshold and AWB expiration, and the set
                   of municipal controls described in footnote 11, and estimates in the fourth column of each panel interact each control variable (Xmst )with the post-AWB
                   indicator (P t ). Unless noted in the table, the eligible sample includes all municipalities outside of Oaxaca; each regression is weighted using an interaction
                   between a triangular kernel, calculated using the vote margin, and the municipal population.
                                                                                                                                                                                                                       Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1975 Page 993 of
                                  Table A.5: DiRD - (2000 - 2006) - Effect of AWB Expiration on Alternative Crime Rates (Alternative Bandwidths)


                              Ln(Non-Firearm                                        Ln(Narcotics    Ln(Illegal   Ln(Assault and    Ln(Property                      Ln(Vehicular
                              Homicide Rate)   Ln(Homicide Rate)   Ln(Theft Rate)   Crime Rate)    Arms Rate)     Battery Rate)   Damage Rate)    Ln(Rape Rate)    Mortality Rate)
                                    (1)               (2)               (3)             (4)            (5)            (6)              (7)             (8)               (9)
                  Bandwidth
                        5%         0.084             0.182             -0.238        -0.847***        0.063          0.248            0.246           -0.144            -0.096
                      N=982       (0.144)           (0.185)           (0.244)         (0.183)        (0.215)        (0.235)          (0.206)         (0.146)           (0.212)

                        6%         0.131            0.361**            -0.006        -0.811***        0.094          0.137            0.290           -0.115            -0.105
                    N=1,159       (0.129)           (0.167)           (0.221)         (0.163)        (0.195)        (0.213)          (0.185)         (0.131)           (0.194)




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                        8%         0.118            0.260*             -0.018        -0.656***        0.038          0.159           0.275*           -0.058            -0.029
                    N=1,534       (0.109)           (0.140)           (0.183)         (0.139)        (0.164)        (0.179)          (0.153)         (0.116)           (0.162)




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                        9%         0.151           0.335***            -0.040        -0.678***        0.021          0.232            0.170           0.019             0.020
                    N=1,713       (0.099)           (0.128)           (0.168)         (0.128)        (0.151)        (0.162)          (0.140)         (0.106)           (0.148)

                   Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the stated crime. The estimates shown are for the coefficient (β) on the interaction
                   between the indicator variable for an incumbent defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2). Regressions include state-year fixed
                   effects, a lagged value of the dependent variable, a cubic RD polynomial allowed to vary on either side of the election threshold and AWB expiration, and
                   the set of municipal controls described in footnote 11, excluding the dependent variable. The eligible sample includes all municipalities outside of Oaxaca.
                   Each regression is weighted using an interaction between a triangular kernel, calculated using the vote margin, and the municipal population.
                                                                                                                                                                                     Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1976 Page 994 of
                                           Table A.6: DiRD - (1999 - 2010) - Expiration of the AWB and All Crime Rates (Alternative Bandwidths)

                               Ln(Firearm      Ln(Non-Firearm                                        Ln(Narcotics    Ln(Illegal   Ln(Assault and    Ln(Property                    Ln(Vehicular
                              Homicide Rate)   Homicide Rate)   Ln(Homicide Rate)   Ln(Theft Rate)   Crime Rate)    Arms Rate)     Battery Rate)   Damage Rate)   Ln(Rape Rate)   Mortality Rate)
                                   (1)               (2)               (3)               (4)             (5)            (6)            (7)              (8)            (9)             (10)
                  Bandwidth
                        5%       0.288**            0.004             0.188             -0.075         -0.301**        0.105          0.160            0.234          0.005            0.076
                    N=1,642      (0.127)           (0.109)           (0.142)           (0.174)          (0.141)       (0.162)        (0.172)          (0.143)        (0.103)          (0.154)

                        6%       0.268**            0.074            0.239*             0.025          -0.296**        0.035          0.172          0.249**          -0.024           0.050
                    N=1,954      (0.112)           (0.096)           (0.125)           (0.156)          (0.124)       (0.143)        (0.152)         (0.127)         (0.092)          (0.137)




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                        8%       0.225**            0.042            0.197*             0.085         -0.305***        0.051          0.116          0.229**          -0.039           -0.070




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                    N=2,618      (0.094)           (0.079)           (0.104)           (0.129)         (0.105)        (0.121)        (0.125)         (0.105)         (0.078)          (0.114)




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                        9%       0.200**            0.042            0.192**            -0.005         -0.173*         0.004          0.130          0.191**          0.016            -0.097
                    N=2,942      (0.084)           (0.072)           (0.094)           (0.117)         (0.095)        (0.110)        (0.111)         (0.095)         (0.070)          (0.103)

                   Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the stated crime. The estimates shown are for the coefficient (β) on the interaction
                   between the indicator variable for an incumbent defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2). Regressions include state-year fixed
                   effects, a lagged value of the dependent variable, a cubic RD polynomial allowed to vary on either side of the election threshold and AWB expiration, and
                   the set of municipal controls described in footnote 11, excluding the dependent variable. The eligible sample includes all municipalities outside of Oaxaca.
                   Each regression is weighted using an interaction between a triangular kernel, calculated using the vote margin, and the municipal population.
                                                                                                                                                                                                    Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1977 Page 995 of
                  Table A.7: DiRD - (1999 - 2010) - Expiration of the AWB and All Crime Rates (Alternative Bandwidths - Cut Pre-Expiration Narcotics Crime)

                               Ln(Firearm      Ln(Non-Firearm                                          Ln(Narcotics      Ln(Illegal      Ln(Assault and    Ln(Property                    Ln(Vehicular
                              Homicide Rate)   Homicide Rate)   Ln(Homicide Rate)   Ln(Theft Rate)     Crime Rate)      Arms Rate)        Battery Rate)   Damage Rate)   Ln(Rape Rate)   Mortality Rate)
                                   (1)               (2)               (3)               (4)               (5)               (6)               (7)             (8)            (9)             (10)
                                                                                       (a) Remove Top Decile of Pre-Expiration Narcotics Crime
                  Bandwidth
                        5%       0.251*             -0.048            0.127             -0.007          -0.429***           -0.077            0.030           0.141          -0.010           -0.009
                    N=1,469      (0.129)           (0.113)           (0.147)           (0.189)           (0.139)           (0.168)           (0.189)         (0.152)        (0.110)          (0.163)

                        6%       0.226*             0.067             0.195             0.047           -0.325***           -0.126            0.034           0.181          -0.044           -0.098
                    N=1,748      (0.114)           (0.101)           (0.130)           (0.169)           (0.123)           (0.148)           (0.166)         (0.136)        (0.098)          (0.147)




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                        8%       0.221**            0.083            0.216*             0.146            -0.266**           -0.073            -0.018          0.161          -0.077          -0.233*




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                    N=2,369      (0.098)           (0.086)           (0.112)           (0.143)            (0.107)          (0.129)           (0.139)         (0.115)        (0.086)          (0.125)




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                        9%       0.192**            0.074            0.194*             0.053            -0.171*            -0.087            0.003           0.129          -0.036         -0.233**
                    N=2,642      (0.089)           (0.079)           (0.102)           (0.131)           (0.099)           (0.119)           (0.126)         (0.106)        (0.078)          (0.115)

                   Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the stated crime. The estimates shown are for the coefficient (β) on the interaction
                   between the indicator variable for an incumbent defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2). Regressions include state-year fixed
                   effects, a lagged value of the dependent variable, a cubic RD polynomial allowed to vary on either side of the election threshold and AWB expiration,
                   and the set of municipal controls described in footnote 11, excluding the dependent variable. The eligible sample includes all municipalities outside of
                   Oaxaca that were in the bottom nine deciles of pre-expiration narcotics crime. Each regression is weighted using an interaction between a triangular
                   kernel, calculated using the vote margin, and the municipal population.
                                                                                                                                                                                                           Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1978 Page 996 of
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  Table A.8: Inverse Distance to U.S.-Mexico Border and the Effect of AWB Expiration on Ln(Firearm
  Homicide Rate) - Alternative Bandwidths


                        (a) 2000 - 2006                                      (b) 1999 - 2010
                                                                                               (Remove Top 10% of
                                                                                         Pre-2005 Narcotics Crime Rates)
                Remove Yucatan                      Remove Yucatan                     Remove Yucatan
                  Peninsula         Full Sample       Peninsula        Full Sample       Peninsula            Full Sample
    Bandwidth         (1)                 (2)             (3)              (4)                 (5)                  (6)

           5%       0.700**            0.199           0.699***          0.457***          0.638**             0.424***
                    (0.316)           (0.179)           (0.229)           (0.146)          (0.279)              (0.157)
                            N=870         N=1,022           N=1,476        N=1,728               N=1,317            N=1,561


           6%        0.336             0.173           0.538***          0.460***          0.615**             0.439***
                    (0.283)           (0.166)           (0.205)           (0.132)          (0.253)              (0.144)
                        N=1,025           N=1,196           N=1,750        N=2,045               N=1,558            N=1,844


           8%        0.184             0.011            0.324*           0.292**           0.514**             0.395***
                    (0.241)           (0.144)           (0.181)          (0.119)           (0.227)              (0.130)
                        N=1,354           N=1,574           N=2,321        N=2,700               N=2,065            N=2,435

           9%       0.396*             0.072             0.165           0.228**           0.458**             0.375***
                    (0.228)           (0.138)           (0.171)          (0.113)           (0.214)              (0.124)
                        N=1,510           N=1,750           N=2,606        N=3,019               N=2,319            N=2,720

    Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the natural log of the firearm
    homicide rate. The estimates shown are for the coefficient (β) on the triple interaction between the indicator
    variable for an incumbent defeat (Dmst ), the post-AWB indicator (P t ), and the inverse distance measure (I m )
    from equation (4). All regressions include year fixed effects, the lagged value of the dependent variable, a cubic
    RD polynomial allowed to vary on either side of the election threshold and AWB expiration, and the set of
    municipal controls described in footnote 11, except for the previously described distance control. The eligible
    sample includes all municipalities outside of Oaxaca. Each regression is weighted using an interaction between
    a triangular kernel calculated using the vote margin and the municipal population.




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                   Table A.9: Municipal Months With At Least ____ Firearm Homicides

                                 Four                         Five                      Ten
                         Count     % Change          Count     % Change        Count     % Change
                  1998    389          —              277          —             86          —
                  1999    357        -0.08            240        -0.13           64        -0.26
                  2000    280        -0.22            190        -0.21           49        -0.23
                  2001    296         0.06            203         0.09           57         0.16
                  2002    281        -0.05            184        -0.09           54        -0.05
                  2003    265        -0.06            190        0.03            48        -0.11
                  2004    242        -0.09            166        -0.13           40        -0.17
                  2005    277         0.15            193         0.16           50         0.25
                  2006    309         0.12            215         0.11           66         0.32
                  2007    272        -0.12            186        -0.14           41        -0.38
                  2008    443         0.63            310         0.67           99         1.42
                  2009    657         0.48            476         0.54          170         0.72
                  2010    914         0.39            703         0.48          286         0.68
    Counts are of monthly municipal observations with at least the stated number of homicides occuring within a
    given month; therefore, each municipality could have 12 observations above the inclusion threshold in a given
    year. This proxy matches the large post-2007 increase found in Ferguson et al. (2015).




                 Table A.10: Testing Impact of PAN Election Victory: Pre and Post-Calderon

                          Dependent Variable: Ln(Firearm Homicide Rate)mst
                                         Post-Calderon             Pre-Calderon
                                    2007 - 2008 2007 - 2010  2000 - 2006 2000 - 2006
                                              (1)             (2)               (3)             (4)

                   P AN W inms(t−1)       0.503***        0.443***             -0.047
                                           (0.163)         (0.148)            (0.069)

               Pt * P AN W inms(t−1)                                                           0.019
                                                                                              (0.170)

                                    N        289              427              662             649
             Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the
             natural log of the firearm homicide rate. The estimates shown in columns (1) to (3) are for
             the coefficient on an RD indicator variable equal to one for a PAN victory. The estimate in
             column (4) is for the coefficient on the DiRD interaction between the PAN victory indicator
             and an indicator equal to one for post-AWB years. In all estimates the running variable is
             the PAN vote margin; regressions include a lagged value of the dependent variable, a cubic
             RD polynomial allowed to vary on either side of the election threshold, and in column (4),
             on either side of the expiration of the AWB. The eligible sample includes all municipalities
             outside of Oaxaca. Each regression is weighted using an interaction between a triangular
             kernel, calculated using the vote margin, and the municipal population.




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                                               Table A.11: DiRD – Effect of Expiration of AWB on Ln(Firearm Homicide Rate) (2000 - 2006)

                                              Bandwidth:      0.01        0.015       0.02        0.03        0.04    0.05            0.06        0.07        0.08        0.09
                           Controls                                                                           A. Quadratic
                     Only Ln(F irearm          Pt ∗ Dmst    0.745***    0.493**     0.361**      0.268*     0.207*      0.264**     0.178*      0.192**     0.260***    0.173**
                   HomicideRate)ms(t−1)                      (0.238)    (0.193)     (0.170)      (0.142)    (0.123)     (0.117)     (0.105)     (0.095)      (0.086)    (0.079)

                              + Full Set of    Pt ∗ Dmst    0.809***    0.481**       0.228       0.219     0.289**    0.352***     0.222**     0.219**     0.247***     0.155*
                                 Controls                    (0.259)    (0.206)      (0.172)     (0.143)    (0.124)     (0.118)     (0.105)     (0.095)      (0.086)     (0.079)
                                                       N       214        322          423         630        834        1,022       1,196       1,398        1,574       1,750

                         + State-Year FE       Pt ∗ Dmst    0.730**     0.539**       0.012       0.175     0.298**    0.304***     0.211**     0.234**     0.199**       0.136
                                                            (0.335)     (0.243)      (0.184)     (0.158)    (0.132)     (0.118)     (0.106)     (0.098)     (0.088)      (0.084)
                                                       N      150         269          372         573        788         982        1,159       1,360       1,534        1,713

                                                                                                                 B. Cubic
                     Only Ln(F irearm          Pt ∗ Dmst    0.908**     0.656**     0.616***     0.323*     0.327**      0.159      0.245*       0.174        0.129     0.243**
                   HomicideRate)ms(t−1)                     (0.351)     (0.266)      (0.226)     (0.188)    (0.163)     (0.156)     (0.141)     (0.130)      (0.119)    (0.110)

                              + Full Set of    Pt ∗ Dmst    0.753**      0.538*     0.656***     0.308*     0.382**     0.339**    0.388***     0.263**      0.197*     0.290***
                                 Controls                   (0.369)      (0.287)     (0.226)     (0.182)    (0.160)     (0.155)     (0.140)     (0.130)      (0.118)     (0.109)
                                                       N      214          322         423         630        834        1,022       1,196       1,398        1,574       1,750




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                         + State-Year FE       Pt ∗ Dmst     0.619      0.745**     0.534**       0.216      0.239      0.276*     0.434***    0.354***     0.273**     0.333***




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                                                            (0.516)     (0.342)     (0.250)      (0.201)    (0.176)     (0.157)     (0.142)     (0.131)     (0.119)      (0.110)
                                                       N      150         269         372          573        788         982        1,159       1,360       1,534        1,713

                                                                                                                C. Quartic
                     Only Ln(F irearm          Pt ∗ Dmst    0.799**     1.266***    0.790***    0.673***    0.413**     0.488**      0.277      0.333**      0.264*       0.114
                   HomicideRate)ms(t−1)                     (0.363)      (0.354)     (0.294)     (0.230)    (0.204)     (0.192)     (0.176)     (0.161)      (0.148)     (0.139)

                              + Full Set of    Pt ∗ Dmst    0.777**     0.923**     0.773**      0.594**    0.463**    0.534***     0.392**    0.479***     0.374**       0.222
                                 Controls                   (0.377)     (0.376)     (0.299)      (0.232)    (0.198)     (0.188)     (0.171)     (0.159)     (0.147)      (0.138)
                                                       N      214         322         423          630        834        1,022       1,196       1,398       1,574        1,750

                         + State-Year FE       Pt ∗ Dmst     0.628      1.089**      0.570*      0.640**    0.364*       0.163       0.249     0.499***     0.428***     0.261*
                                                            (0.551)     (0.429)      (0.320)     (0.257)    (0.216)     (0.192)     (0.174)     (0.162)      (0.149)     (0.141)
                                                       N      150         269          372         573        788         982        1,159       1,360        1,534       1,713
                  Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable in all estimates is the natural log of the firearm homicide rate. The estimates shown are for
                  the coefficient (β) on the interaction between the indicator variable for an incumbent defeat (Dmst ) and the post-AWB indicator (P t ), from equation (2). All
                  regressions include the specified RD polynomial allowed to vary on either side of the election threshold and AWB expiration and a lagged value of the dependent
                  variable, the second row in each panel adds the set of municipal controls described in footnote 11, and the third row adds a set of state-year fixed effects. The
                                                                                                                                                                                      Case 3:19-cv-01537-BEN-JLB Document 22-18 Filed 12/06/19 PageID.1981 Page 999 of




                  eligible sample includes all municipalities outside of Oaxaca. Each regression is weighted using an interaction between a triangular kernel, calculated using the
                  vote margin, and the municipal population.
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                   Table A.12: Change in Relative Homicide Rate At Time of AWB Expiration

                                   Ln(Firearm                                  Ln(Firearm          Ln(Non-Firearm
                                  Homicide Rate)                              Homicide Rate)       Homicide Rate)
                                        (1)                                          (2)                    (3)
                                                                  (a) 2000 - 2006
     P t * Ln(Non-Firearm             0.051*             P t * Ln(Illegal          0.041**                 -0.002
         HomicideRate)mst             (0.030)          W eaponsRate)mst            (0.018)                (0.012)

         Ln(Non-Firearm              0.060***                 Ln(Illegal            0.003                 0.021***
        HomicideRate)mst              (0.013)          W eaponsRate)mst            (0.008)                 (0.008)

                          N           13,048                                        13,048                 13,048

                                                                  (b) 1999 - 2010
     P t * Ln(Non-Firearm            0.124***            P t * Ln(Illegal         0.058***                0.024**
         HomicideRate)mst             (0.029)          W eaponsRate)mst            (0.015)                (0.011)

         Ln(Non-Firearm              0.097***                 Ln(Illegal          0.025***                0.023***
        HomicideRate)mst              (0.014)          W eaponsRate)mst            (0.009)                 (0.008)

                          N           22,368                                        22,368                 22,368
     Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the specified logged homicide rate. Each
     regression includes a set of state-year and municipal fixed effects. Control variables included are the fraction of
     the population that is male age 20 to 49, logged values of the population density, GDP per capita, municipal
     government income per capita, infant mortality rate, vehicular mortality rate, narcotics crime rate, theft rate,
     illegal weapons possession rate, rape rate, assault and battery rate, property damage rate. The sample includes
     all municipalities outside of Oaxaca. Each regression is weighted by the municipal population, and standard
     errors are clustered at the municipal level.




                              Table A.13: Incumbency and Homicide Rates (1999 - 2010)

                                    Ln(Firearm              Ln(Non-Firearm
                                   Homicide Rate)           Homicide Rate)              Ln(Homicide Rate)
                                          (1)                        (2)                          (3)

           Y rsInP owermst            -0.0037***                  -0.0025**                   -0.0044***
                                       (0.0013)                    (0.0011)                    (0.0013)

                              N          22,336                    22,336                        22,336
           Note: *** p<0.01, ** p<0.05, * p<0.1. The dependent variable is the specified logged homicide
           rate. Each regression includes a set of state-year fixed and municipal effects. Control variables
           included are the fraction of the population that is male age 20 to 49, logged values of the population
           density, GDP per capita, municipal government income per capita, infant mortality rate, vehicular
           mortality rate, narcotics crime rate, theft rate, illegal weapons possession rate, rape rate, assault
           and battery rate, property damage rate. The eligible sample includes all municipalities outside of
           Oaxaca. Each regression is weighted by the municipal population, and standard errors are clustered
           at the municipal level.



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              EXHIBIT "15"




                                   Exhibit 15
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                                                               ORIGINAL INVESTIGATION

               HEALTH CARE REFORM
               Firearm Legislation and Firearm-Related Fatalities
               in the United States
               Eric W. Fleegler, MD, MPH; Lois K. Lee, MD, MPH; Michael C. Monuteaux, ScD;
               David Hemenway, PhD; Rebekah Mannix, MD, MPH



               Importance: Over 30 000 people die annually in the                    Results: Over the 4-year study period, there were 121 084
               United States from injuries caused by firearms. Although              firearm fatalities. The average state-based firearm fatal-
               most firearm laws are enacted by states, whether the laws             ity rates varied from a high of 17.9 (Louisiana) to a low
               are associated with rates of firearm deaths is uncertain.             of 2.9 (Hawaii) per 100 000 individuals per year. An-
                                                                                     nual firearm legislative strength scores ranged from 0
               Objective: To evaluate whether more firearm laws in a                 (Utah) to 24 (Massachusetts) of 28 possible points. States
               state are associated with fewer firearm fatalities.                   in the highest quartile of legislative strength (scores of
                                                                                     ⱖ9) had a lower overall firearm fatality rate than those
               Design: Using an ecological and cross-sectional method,               in the lowest quartile (scores of ⱕ2) (absolute rate dif-
               we retrospectively analyzed all firearm-related deaths re-            ference, 6.64 deaths/100 000/y; age-adjusted incident rate
               ported to the Centers for Disease Control and Preven-                 ratio [IRR], 0.58; 95% CI, 0.37-0.92). Compared with the
               tion Web-based Injury Statistics Query and Reporting Sys-
                                                                                     quartile of states with the fewest laws, the quartile with
               tem from 2007 through 2010. We used state-level firearm
                                                                                     the most laws had a lower firearm suicide rate (absolute
               legislation across 5 categories of laws to create a “legis-
                                                                                     rate difference, 6.25 deaths/100 000/y; IRR, 0.63; 95% CI,
               lative strength score,” and measured the association of
               the score with state mortality rates using a clustered Pois-          0.48-0.83) and a lower firearm homicide rate (absolute
               son regression. States were divided into quartiles based              rate difference, 0.40 deaths/100 000/y; IRR, 0.60; 95% CI,
               on their score.                                                       0.38-0.95).

               Setting: Fifty US states.                                             Conclusions and Relevance: A higher number of
                                                                                     firearm laws in a state are associated with a lower rate
               Participants: Populations of all US states.                           of firearm fatalities in the state, overall and for suicides
                                                                                     and homicides individually. As our study could not
               Main Outcome Measures: The outcome measures were                      determine cause-and-effect relationships, further
               state-level firearm-related fatalities per 100 000 individu-          studies are necessary to define the nature of this
               als per year overall, for suicide, and for homicide. In vari-         association.
               ous models, we controlled for age, sex, race/ethnicity, pov-
               erty, unemployment, college education, population                     JAMA Intern Med. 2013;173(9):732-740.
               density, nonfirearm violence–related deaths, and house-               Published online March 6, 2013.
               hold firearm ownership.                                               doi:10.1001/jamainternmed.2013.1286




                                                  T
                                                                 HE TOTAL NUMBER OF AN-             these years. In 2010, firearms killed 68%
                                                                 nual firearm fatalities in the     of the 16 259 victims of homicide. In the
                                                                 United States has been             same year, there were 38 364 suicides, of
                                                                 stable over the last de-           which 51% were by firearms.1 Beyond the
                                                                 cade.1,2 From 2007 to 2010,        loss of life and nonfatal traumatic inju-
                                                  the range was 31 224 to 31 672 fatalities         ries, the financial cost of firearm injuries
                                                  per year.1 There is substantial variation in

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                                                     See Invited Commentary                                jamanetworkcme.com
                                                                                                                                                    Author Affil
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               Children’s Hospital, Boston,              at end of article                                 and questions on page 723                Children’s H
               Massachusetts (Drs Fleegler,                                                                                                         Massachuset
               Lee, Monuteaux, and Mannix);       firearm fatality rates among states,              is enormous. In 2005, the medical costs         Lee, Monute
               Harvard Medical School, Boston     however, with the average annual state-           associated with fatal and nonfatal firearm      Harvard Med
               (Drs Fleegler, Lee, Monuteaux,                                                                                                       (Drs Fleegle
               and Mannix); and Harvard           based firearm fatality rates ranging from         injuries were estimated at $112 million and     and Mannix
               School of Public Health, Boston    a high of 17.9 (Louisiana) to a low of 2.9        $599 million, respectively, and work loss       School of Pu
               (Dr Hemenway).                     (Hawaii) per 100 000 individuals during           costs were estimated at $40.5 billion.1         (Dr Hemenw


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                   Mass killings such as those in Columbine and Au-                   vent Gun Violence10 and the Brady Center to Prevent Gun Vio-
               rora in Colorado, the Wisconsin Sikh temple shooting,                  lence (referred to collectively herein as the Brady Center). Work-
               and most recently the Newtown, Connecticut, school mas-                ing with the Law Center to Prevent Gun Violence (formerly
               sacre have renewed debate about the need for more strin-               Legal Community Against Violence), the Brady Center has
               gent firearm legislation. Some have called for more re-                tracked firearm legislation annually since 2007 and prepared
                                                                                      legislative scorecards for every state each year. It divides fire-
               strictions on gun purchases.3 Others have called for arming            arm legislation into 5 categories according to the intended ef-
               teachers.4 It is challenging to calculate the exact num-               fect: (1) curb firearm trafficking; (2) strengthen background
               ber of firearm laws: a single law may have multiple parts;             checks on purchasers of firearms beyond those required by the
               laws are potentially passed at the national, state, county,            Brady Handgun Violence Prevention Act; (3) ensure child safety;
               and city level; and there is no repository available for tal-          (4) ban military style assault weapons; and (5) restrict guns in
               lying these laws.5 The factoid that there are “20 000 laws             public places (Table 1). The Brady Act, which went into ef-
               governing firearms”5 has been erroneously quoted since                 fect in 1994, requires background checks of potential buyers
               1965, but the most recent and reliable estimate, per-                  before a firearm may be purchased from a federally licensed
               formed in 1999, counted about 300 state firearm laws.6                 dealer, manufacturer, or importer. Firearm sales are prohib-
                   The real question is not about the number of firearm               ited to convicted felons and fugitives. They are also prohibited
                                                                                      to persons with a history of addiction to controlled sub-
               laws but whether the laws ultimately safeguard the citi-
                                                                                      stances, persons restrained by court order against harassment,
               zens they are intended to protect. Although multiple stud-             those convicted of domestic violence, and those adjudicated as
               ies have examined the relationship between federal and                 “mentally defective,” among other groups. The Brady Center’s
               state firearm laws and homicide and suicide rates, the over-           fifth category, restricting guns in public places, refers to the ab-
               all association between firearm legislation and firearm                sence of laws that would allow guns in public places.
               mortality is uncertain and remains controversial.7,8                       For our primary analysis, we used a simplified approach to cre-
                   We evaluated whether variations in the strength of state           ate a “legislative strength score” for each state. The legislative
               firearm legislation are associated with variations in the              strength score was developed before the analyses were con-
               rates of firearm fatalities. We examined overall firearm               ducted. Each state could have enacted up to 28 laws; each en-
               death rates as well as firearm suicide and firearm homi-               acted law received 1 point. This “1 law = 1 point” score gives each
                                                                                      law equal weight. However, the Brady Center also prepares an
               cide rates by state, controlling for other factors previ-
                                                                                      empirical weight schema for each set of laws, scaling the scores
               ously associated with firearm fatalities.                              out of 100 points and giving additional weight to laws believed
                                                                                      to be more important. In their weighted scoring system, the
                                          METHODS                                     “strengthen Brady background checks” category (which in-
                                                                                      cludes requiring universal background checks on all firearm pur-
               The Boston Children’s Hospital institutional review board ap-          chases no matter who sells the firearm and requiring permits to pur-
               proved the study.                                                      chase firearms) receives the greatest number of points. We
                                                                                      separately analyzed the data using this weighted scoring system.
                                                                                      A detailed description of each of the laws and the weighted scor-
                                         DATABASE                                     ing system is available from the Brady Center.10
                                                                                          We used US Census data to capture state-level statistics
               We used data from the Web-Based Injury Statistics Query and            on factors and characteristics previously shown to be associ-
               Reporting System (WISQARS),1 which provides mortality tables           ated with firearm fatalities: race/ethnicity (white, black, His-
               with the numbers of injury-related deaths and mortality rates          panic), sex, living below the federal poverty level, unemploy-
               according to cause (mechanism) and intent of injury (unin-             ment, college education, and state population density. 8
               tentional, violence-related [including homicide and suicide],          In addition, we calculated household firearm ownership rates
               or undetermined) by year, sex, age, race/ethnicity, and state.         per state using the firearm suicide/total suicide ratio, which is
               These mortality data are compiled by the National Center for           the proportion of all suicides in a state caused by firearms.11
               Health Statistics, Centers for Disease Control and Prevention          This ratio has been highly correlated with firearm ownership
               (CDC) from multiple cause of death data. The federal govern-           rates in the United States and other developed nations.12-17 There
               ment mandates that each state provide information about deaths         are no direct data from 2007 through 2010 on firearm owner-
               that occur within its border.9 Mortality data on nonfirearm in-        ships rates in the United States; the last large state-based sur-
               tentional deaths (suicides and homicides) were also obtained           vey of firearm ownership was performed in 2004 by the CDC’s
               from WISQARS.                                                          Behavioral Risk Factor Surveillance System.

                                  STUDY POPULATION
                                                                                                        OUTCOME MEASURES
               We identified all violence-related firearm fatalities between Janu-
               ary 2007 and December 2010, and used data on age-adjusted              Our primary outcome measures were overall firearm-related
               firearm mortality, including suicides (60.9% of firearm-               fatality rates per 100 000 individuals per year. The rates for fire-
               related fatalities) and homicides (39.1% of firearm-related fa-        arm suicides and firearm homicides were considered sepa-
               talities). Homicides due to legal intervention, unintentional fire-    rately.
               arm fatalities, and fatalities of undetermined intent (1.1%, 1.9%,
               and 0.8% of total firearm-related fatalities, respectively) were                             DATA ANALYSIS
               excluded from the analyses.
                                                                                      First, we obtained the number of firearm-related suicides and
                                STATE-LEVEL FACTORS                                   firearm-related homicides for each state. We calculated death
                                                                                      rates by dividing the total number of deaths by the state popu-
               We studied all 50 states. To quantify state-level variation in gun     lations each year and adjusting for age. We then divided states
               regulations, we used data from the Brady Campaign to Pre-              into quartiles based on their legislative strength score, with quar-


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                  Table 1. Scoring System for Firearm Legislative Strength Score a

                  Legislation Intent                                                  Description of Measures
                  Curb firearm trafficking (9 points)
                    Gun dealer regulations (6 points)                                 State license required for firearm dealers
                                                                                      Record keeping and retention by firearm dealers
                                                                                      Report records to the state, and state retains records
                                                                                      Mandatory theft reporting for all firearms by firearm dealers
                                                                                      At least 1 store security precaution required
                                                                                      Inspections by police allowed/required to inspect dealer inventories
                    Limit bulk purchases (1 point)                                    One handgun per month (exceptions possible)
                    Crime gun identification (1 point)                                Ballistic fingerprinting or require microstamping on semi-automatic handguns
                    Report lost/stolen guns (1 point)                                 Mandatory reporting by firearm owners
                  Strengthen Brady background checks (8 points)
                    Universal background check b                                      All firearms
                       (1 point)                                                      Handguns only
                    Closed gun show loophole c                                        Background check on firearm purchasers at gun shows
                       (1 point)
                    Permit to purchase                                                Permits required to purchase firearms
                       (5 points)                                                     Fingerprinting of applicants required for identification
                                                                                      Safety training and/or testing required
                                                                                      Extend three-day limit for background checks
                                                                                      Permit process involves law enforcement
                    Ammunition regulations                                            Ammunition purchaser records kept/vendor license required
                      (2 points)                                                      Ammunition Brady check/permit required to purchase
                  Improve child safety (5 points)
                    Childproof handguns                                               Only authorized users are able to operate new handguns
                      (1 point)
                    Child safety locks d                                              Integrated locks sold on all handguns
                      (2 points)                                                      External locks sold with all handguns
                                                                                      Standards on all external locks – child safety locks certified
                    Child access prevention e                                         Adults must store loaded guns in inaccessible place or lock the gun
                       (1 point)
                    Juvenile handgun purchases                                        Must be 21 to purchase a handgun
                       (1 point)
                  Ban military-style assault weapons (2 points)
                    Assault weapons ban                                               Regulation of firearms with military-style features
                       (2 points)                                                     Maximum number of rounds per magazine 15 or less
                  Restrict guns in public places f (4 points)
                    No guns in workplace                                              Employers not required to allow firearms in parking lots
                       (1 point)
                    No guns on college campuses                                       Colleges are not required to allow firearms on campus
                       (1 point)
                    Not carrying a concealed weapon shall issue state                 Law enforcement is not required to issue a permit to carry a concealed weapon to all
                       (1 point)                                                        individuals who can legally own a firearm
                    No state preemption of local laws                                 Local governments can enact firearm laws and regulations that are stricter than state
                       (1 point)                                                        laws
                  Overall possible points, 28

                 a Table data source, Brady Center State Scorecards.10
                 b States receive a point for background checks on either all firearms or handguns only.
                 c States with universal background checks on all firearms not eligible for gun show loophole points.
                 d One point for either integrated or external locks.
                 e If a child in the specified age ranges obtains a stored, loaded gun, the adult owner may be held criminallyliable. Any age category receives credit: 16 to 17
               years or younger, 14 to 15 years or younger, or 13 years or younger.
                 f Points assigned for restriction of guns in public places to trained law enforcement and security and preserve local control over municipal gun laws.



               tile 1 including the states with the lowest scores and quartile                        population density, and rates of nonfirearm suicides and/or
               4, the states with the highest scores.                                                 nonfirearm homicides. In model 3 we added household fire-
                   Our study design used an ecological and cross-sectional                            arm ownership rates to the variables included in model 2.
               method. To evaluate the association of firearm-related fatali-                         Across all 3 models, we analyzed the firearm suicide data by
               ties (overall, suicide, and homicide) with the legislative                             year. Overall firearm-related fatalities and homicide fatalities
               strength score as the main predictor,12 we constructed 3                               were aggregated at the state level over the entire 4-year study
               models for each outcome. In model 1, we computed a Pois-                               period: the small numbers of firearm homicides in 12 states
               son regression, adjusting for age, to evaluate the association                         precluded the availability of annual data. These aggregate
               between the annual score and firearm fatality rates without                            data were divided to derive a mean annual fatality rate. To
               further adjustments. In model 2, to account for other socio-                           evaluate whether weighting the relative significance of spe-
               economic factors associated with firearm fatalities, we used a                         cific laws would alter the association of the legislative
               multivariable Poisson regression to adjust for age, race/                              strength score with firearm fatalities, we ran the multivari-
               ethnicity, sex, poverty, unemployment, college education,                              able model 2 with the quartiles derived from the weighted


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                                                 1057
                                                                                                                                                                 New Hampshire
                                                                                                                                                                    ∅∅ 362
                                               Washington
                                                 ∅∅∅                                                                                                          Vermont                    Massachusetts
                                                                                                                                                                          Maine
                                                 2336                      Montana         North Dakota                                                       ∅∅ 232                      ∅∅∅∅ 930
                                                                                                                                                                          ∅∅∅
                                                                            ∅∅                  ∅
                                                                                                          Minnesota                                                        459
                                         Oregon                             618                231                                                                                        Rhode Island
                                         ∅∅∅                                                               ∅∅∅                                                                            ∅∅∅∅ 184
                                                            Idaho                                                   Wisconsin
                                          1625                                             South Dakota     1396
                                                              ∅                                                      ∅∅∅                                  New York                        Connecticut
                                                             752                                ∅                                   Michigan
                                                                              Wyoming                                 1872                               ∅∅∅∅ 3892                        ∅∅∅∅ 730
                                                                               ∅∅∅             275                                  ∅∅∅∅
                                                                                348                           Iowa                   4312             Pennsylvania                        New Jersey
                                                                                            Nebraska          ∅∅∅
                                                 Nevada                                                                                              ∅∅∅∅ 5282                           ∅∅∅∅ 1733
                                                                                              ∅∅               785
                                                                                                                                           Ohio
                                                                                                                                                                              Delaware
                                                  ∅∅                Utah                      571
                                                                                                                         Illinois Indiana ∅∅∅
                                                                                                                        ∅∅∅∅ ∅∅                   West                       ∅∅∅∅ 338
                                                  1603               ∅          Colorado                                                   4431
                                  California                                                                              4214     2806          Virginia                     Maryland
                                                                    1053         ∅∅∅             Kansas        Missouri
                                  ∅∅∅∅                                                                                                           ∅ 1014 Virginia             ∅∅∅∅ 2457
                                   12 367
                                                                                 2125              ∅              ∅                     Kentucky        ∅∅∅ 3325
                                                                                                  1150          3223                     ∅ 2277
                                                                                                                                                      North Carolina
                                                                                                   Oklahoma                        Tennessee           ∅∅∅ 4471                   Mortality rate per 100 000, mean
                                                             Arizona
                                                                             New Mexico                ∅       Arkansas            ∅∅ 3753       South Carolina
                                                                ∅                                                                                                                     2.9-8.0
                                                                                 ∅                   2035         ∅                                  ∅∅∅
                                                              3605
                                                                                1168                             1733 Missis- Alabama Georgia 2462                                    8.1-10.1
                                                                                                                            sippi ∅∅∅          ∅
                                                                                               Texas           Louisiana      ∅     3199      4829                                    10.2-13.0
                                Alaska                                                          ∅∅                ∅         2051
                                  ∅                                                            10 465            3318                                                                 13.1-18.0
                                 503
                                                                                                                                                       ∅∅                         Legislative strength score, median
                                                                                                                                                       9151
                                                                                                                                                                                  ∅000       Quartile 1: 0-2 laws
                                                                                                                                                                                  ∅∅ 1p10Quartile 2: 3-4 laws
                                                                                                                                                                                  ∅∅∅0 Quartile 3: 5-8 laws
                                                                           Hawaii
                                                                           ∅∅∅∅
                                                                                                                                                                                  ∅∅∅∅ Quartile 4: 9-24 laws
                                                                            161                                                                                                   Numbers indicate total firearm-related deaths,
                                                                                                                                                                                  2007-2010




               Figure 1. Firearm-related mortality rates, legislative strength scores, and total firearm deaths in the United States, 2007 through 2010.


               Brady score as a separate analysis.10 We present age-adjusted                                                 Poisson regression to evaluate the relationship between legis-
               absolute rate differences, referenced to quartile 1.                                                          lative strength scores and nonfirearm-related violent fatali-
                   To further explore whether some legislative categories                                                    ties. If these fatalities were associated with firearm legislation,
               may have a greater association with firearm fatalities than                                                   it would suggest that other unmeasured factors affected the rates
               other legislative categories, we created a multivariable Pois-                                                of both firearm- and nonfirearm-related fatalities.
               son regression to evaluate the association of each of the 5                                                       All of the data analyses were performed using STATA SE,
               categories of legislation with firearm fatality rates (overall,                                               version 11 (StataCorp).
               suicide, and homicide). Similar to model 2, we adjusted for
               socioeconomic factors and nonfirearm suicides and/or homi-
               cides. For all modeling, we used clustered robust sandwich                                                                                                 RESULTS
               standard error estimates, which allow for intrastate correla-
               tion, relaxing the assumption that observations from the
               same state are independent.
                                                                                                                             Between 2007 and 2010, there were 121 084 firearm fa-
                   Firearm ownership rates have been associated with firearm                                                 talities in the United States, including 73 702 firearm sui-
               suicide and firearm homicide rates in other studies.8,18 We hy-                                               cides and 47 382 firearm homicides. The overall firearm
               pothesized that an important way in which legislation might                                                   fatality rate was 9.9/100 000 individuals per year. The varia-
               affect the firearm fatality rate in a state is through changes in                                             tion between the highest and lowest state-level mortality
               firearm prevalence. For example, laws requiring background                                                    rates was up to a 6-fold difference (Figure 1 and Table 2).
               checks for all gun purchases or raising the purchase age to 21                                                Firearm legislative strength scores per year by state ranged
               can be expected to reduce firearm ownership rates. To explore                                                 from 0 (Utah) to 24 (Massachusetts) of 28 possible points,
               this hypothesis, we conducted a stepwise analysis of firearm                                                  with some variation by year (Table 2). The median and range
               ownership. First, we examined the association of the legisla-                                                 for each legislative strength score quartile were as follows:
               tive strength score with firearm ownership rates using a simple
               linear regression with firearm ownership rates as the outcome
                                                                                                                             first quartile, 2 (0-2); second quartile, 3 (3-4); third quar-
               and the score as the predictor. Then, using simple linear re-                                                 tile, 6 (5-8); and fourth quartile, 16 (9-24).
               gression, we evaluated whether household firearm ownership                                                        The simple regression model demonstrated that higher
               rates were associated with overall firearm fatality rates. Then                                               legislative strength scores were associated with lower rates
               we reanalyzed our multivariable model 3 with linear regres-                                                   of firearm fatalities overall (P ⬍ .001) (Figure 2A). In the
               sion and evaluated the effect of firearm ownership rates on the                                               multivariable overall fatality Poisson model, which con-
               legislative strength score and overall firearm fatalities using the                                           trolled for state-specific socioeconomic and demo-
               Sobel-Goodman test.19,20                                                                                      graphic factors, we found that compared with the refer-
                   Finally, we examined whether differences between states in                                                ent group of the quartile with the fewest laws, the quartile
               their rates of firearm-related fatalities were owing to a replace-                                            of states with the most laws had an absolute rate differ-
               ment effect, ie, the possibility that lower rates of firearm-
               related fatalities were being replaced with higher rates of non-
                                                                                                                             ence of 6.64 deaths/100 000 per year, with an adjusted
               firearm-related violent fatalities. We controlled for nonfirearm                                              incident rate ratio (IRR) of 0.58 (95% CI, 0.37-0.92). In the
               suicide rates in the suicide regression and for nonfirearm ho-                                                multivariable suicide model, compared with the refer-
               micide rates in the homicide regression. We performed a Pois-                                                 ent, the quartile with the most laws had an absolute rate
               son regression with nonfirearm violent fatalities as the out-                                                 difference of 6.25 deaths/100 000 per year, with an ad-
               come and firearm fatalities as the predictor. In addition, we used                                            justed IRR of 0.63 (95% CI, 0.48-0.83). In the multivari-

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                 Table 2. State Legislative Strength Scores and Firearm Fatality Rates per 100 000 Individuals per Year, 2007-2010 a

                                                                                                                               Firearm Fatalities, Mean (SD)
                                                                    Legislative Strength Score,
                 Rank                      State                         Median (Range) b                        Overall                  Suicide                     Homicide
                 1                   Massachusetts                          22.5 (22-24)                        3.4 (0.42)                1.7 (0.31)                  1.7 (0.18)
                 2                   California                               22 (22-23)                        8.0 (0.45)                4.0 (0.06)                  4.0 (0.45)
                                     New Jersey                               22 (22-24)                        4.9 (0.19)                1.9 (0.04)                  3.0 (0.27)
                 4                   Connecticut                              20 (19-20)                        5.1 (0.76)                2.6 (0.40)                  2.5 (0.39)
                 5                   New York                                 19 (19-19)                        4.8 (0.18)                2.1 (0.10)                  2.7 (0.06)
                 6                   Hawaii                                   16 (15-16)                        2.9 (0.44)                2.3 (0.39)                  0.7 (0.08)
                                     Maryland                                 16 (15-17)                       10.5 (1.20)                4.1 (0.35)                  6.3 (1.00)
                 8                   Rhode Island                             14 (13-14)                        4.1 (0.61)                2.6 (0.70)                  1.5 (0.25)
                 9                   Illinois                               11.5 (11-12)                        7.9 (0.18)                3.3 (0.15)                  4.7 (0.22)
                 10                  Michigan                                 11 (10-11)                       10.6 (0.05)                5.6 (0.22)                  5.1 (0.22)
                 11                  Delaware                                  9 (8-9)                          9.5 (1.10)                4.6 (0.34)                  4.8 (1.20)
                 12                  Pennsylvania                            8.5 (8-9)                         10.1 (0.24)                5.7 (0.25)                  4.3 (0.27)
                 13                  Alabama                                   8 (8-8)                         16.3 (0.73)                9.0 (0.64)                  7.2 (0.99)
                                     North Carolina                            8 (7-8)                         11.7 (0.44)                7.0 (0.27)                  4.6 (0.56)
                                     Virginia                                  8 (8-8)                         10.1 (0.28)                6.5 (0.33)                  3.4 (0.30)
                                     Washington                                8 (8-9)                          8.4 (0.12)                6.6 (0.29)                  1.8 (0.10)
                 17                  Iowa                                      7 (3-7)                          6.2 (0.87)                5.2 (0.72)                  0.9 (0.30)
                 18                  Minnesota                                 6 (5.6)                          6.4 (0.33)                5.2 (0.18)                  1.2 (0.22)
                                     Oregon                                    6 (6-6)                          9.9 (0.64)                8.5 (0.51)                  1.3 (0.19)
                 20                  Colorado                                  5 (5-5)                         10.3 (0.54)                8.3 (0.47)                  2.1 (0.16)
                                     Maine                                     5 (5-5)                          8.0 (0.44)                6.8 (0.58)                  1.1 (0.09)
                                     Ohio                                      5 (4.5)                          9.1 (0.70)                5.5 (0.51)                  3.6 (0.19)
                                     South Carolina                            5 (5-6)                         13.0 (0.24)                7.5 (0.64)                  5.4 (0.29)
                                     Wisconsin                                 5 (4-5)                          8.0 (0.45)                6.0 (0.24)                  1.9 (0.34)
                                     Wyoming                                   5 (4-5)                         15.5 (1.80)               14.6 (1.50)                  1.3 (0.004)
                 26                  Georgia                                   4 (4-5)                         12.2 (0.37)                7.2 (0.56)                  5.1 (0.58)
                                     Nebraska                                  4 (3-4)                          7.6 (0.56)                5.2 (0.28)                  2.3 (0.40)
                                     New Hampshire c                           4 (3-4)                          6.4 (0.51)                6.0 (0.86)                      NA
                                     Tennessee                                 4 (4-4)                         14.3 (0.54)                8.9 (0.34)                  5.3 (0.44)
                                     Vermont c                                 4 (4-4)                          8.7 (0.75)                7.8 (1.50)                      NA
                 31                  Florida                                   3 (3-4)                         11.8 (0.45)                6.9 (0.33)                  4.8 (0.48)
                                     Indiana                                   3 (2-3)                         10.5 (0.36)                6.7 (0.40)                  3.8 (0.21)
                                     Mississippi                               3 (3-3)                         16.8 (1.10)                9.3 (0.55)                  7.4 (0.68)
                                     Nevada                                    3 (3-3)                         14.9 (0.73)               10.9 (0.35)                  3.9 (0.78)
                                     Texas                                     3 (3-3)                         10.5 (0.21)                6.6 (0.33)                  3.9 (0.28)
                 36                  Montana                                 2.5 (2-3)                         14.8 (0.48)               12.8 (0.72)                  1.8 (0.41)
                 37                  Arkansas                                  2 (2-2)                         14.5 (0.78)                9.1 (0.52)                  5.3 (0.44)
                                     Kansas                                    2 (2-4)                          9.9 (0.58)                7.0 (0.47)                  2.8 (0.41)
                                     Missouri                                  2 (2-2)                         13.0 (0.56)                7.4 (0.43)                  5.5 (0.67)
                                     North Dakota c                            2 (2-2)                          8.4 (0.16)                7.9 (0.48)                      NA
                                     New Mexico                                2 (2-2)                         13.8 (0.22)                9.6 (0.26)                  4.2 (0.33)
                                     South Dakota                              2 (2-2)                          8.2 (1.50)                7.3 (1.50)                  0.9 (0.02)
                                     West Virginia                             2 (2-2)                         12.7 (1.30)                9.9 (0.88)                  2.7 (0.45)
                 44                  Arizona                                 1.5 (1-2)                         13.6 (0.68)                8.9 (0.57)                  4.8 (0.89)
                                     Idaho                                   1.5 (1-2)                         11.8 (0.85)               10.8 (1.00)                  1.1 (0.62)
                 46                  Alaska                                    1 (1-1)                         17.5 (2.80)               14.4 (2.70)                  3.2 (0.87)
                                     Kentucky                                  1 (1-1)                         12.6 (0.71)                9.2 (0.36)                  3.3 (0.41)
                                     Louisiana                                 1 (1-2)                         18.0 (0.85)                7.8 (0.54)                 10.1 (0.73)
                                     Oklahoma                                  1 (1-1)                         13.4 (0.41)                9.4 (0.58)                  4.0 (0.33)
                 50                  Utah                                    0.5 (0-1)                          9.8 (1.30)                8.8 (1.30)                  1.1 (0.19)

                 Abbreviations: CDC, Centers for Disease Control and Prevention; NA, not available.
                 a Data are from the WISQARS (Web-based Injury Statistics Query and Reporting System)1 and the legislative strength score.
                 b Legislative strength score is the median of the annual scores for 2007 through 2010. The highest legislative strength score   received the lowest rank. States
               with the same legislative strength score are listed in alphabetical order within that score.
                 c State with a low number of annual deaths (⬍20) from homicide. Mean rate was not available from CDC.




               able homicide model, compared with the referent, the                                   Controlling for firearm availability attenuated the asso-
               quartile with the most laws had an absolute rate differ-                               ciation between legislative strength score and firearm sui-
               ence of 0.40 deaths/100 000 per year, with an adjusted                                 cide. When the Brady Center weighted scores were used
               IRR of 0.60 (95% CI, 0.38-0.95) (Table 3). In the mod-                                 as the predictor in the models, the IRRs did not substan-
               els including firearm availability, an increased legisla-                              tially change (data not shown).
               tive strength score trended in the direction of lower fire-                                For the specific legislative categories, only back-
               arm homicides but was significant only in quartile 3.                                  ground checks had a significant relationship across all

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                                  A                                                                                                                                                   B
                                                                   20                                                                                                                                       80
                                                                              LA

                                                                                                                                                                                                                   WV    MS          AL
                                                                                   MS
                                                                            AK                                                                                                                                   KY LA         WY
                                                                                                   AL
                                                                                   NV                                                                                                                                 MT GA
                                                                                                                                                                                                               AK AR     TN
                  Firearm Deaths/100 000 Individuals/y, Mean No.




                                                                   15        AZ MT  TN                                                                                                                      60 ID OK TX SC        NC
                                                                                      WY                                                                                                                        ND AZ     VT        VA
                                                                             AR WV




                                                                                                                                                                           Household Firearm Ownership, %
                                                                                                                                                                                                                   MO NV       OR
                                                                            KY NM                                                                                                                                KS IN      ME
                                                                              OK      SC                                                                                                                               FLNE OH     WA
                                                                                MO GA                                                                                                                           UT                           MI
                                                                                  FL                                         MD                                                                                      NM     CO MN PA                     MD
                                                                            ID                     NC                                                                                                                SD NH
                                                                                                                                                                                                                           WI
                                                                              TX CO      VA                       MI                                                                                                            IA DE
                                                                   10    KS                 PA                                                                                                              40
                                                                             IN        OR                                                                                                                                                      IL                            CA
                                                                        UT        OH                                                                   CA
                                                                               VT    WI      DE                                                                                                                                                                         NY
                                                                          ND         ME WA
                                                                                                                                                                                                                                                                   CT             NJ
                                                                                                                  IL
                                                                                    NE
                                                                            SD            MN                                                                                                                                                        RI
                                                                                                                                                       NJ                                                                                                                         MA
                                                                                    NH
                                                                    5                         IA                                        NY                                                                  20
                                                                                                                                                                                                                                                              HI
                                                                                                                            RI               CT
                                                                                                                                                            MA
                                                                                                                                  HI




                                                                    0                                                                                                                                        0
                                                                        0 1 2 3 4 5 6 7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28                                                             0 1 2 3 4 5 6 7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28
                                                                                                Legislative Strength Score, Median                                                                                                    Legislative Strength Score, Median
                                  C
                                                                   20
                                                                                                                                                            LA


                                                                                                                                                       AK
                                                                                                                                                                 MS

                                                                                                                                             NV              AL
                  Firearm Deaths/100 000 Individuals/y, Mean No.




                                                                   15
                                                                                                                                         AZ AR       WY
                                                                                                                                 NM         TN MT     WV
                                                                                                                                                   KY                                                             Figure 2. Relationship between legislative strength score,
                                                                                                                                            SC
                                                                                                                                                 GA
                                                                                                                                    FL MO    OK                                                                   household firearm ownership, and firearm death rates, 2007
                                                                                                                                MD
                                                                                                                                                                                                                  through 2010. A, Legislative strength score vs overall firearm
                                                                                                                                           NC ID
                                                                                                                                   MI                                                                             death rate (P ⬍ .001). B, Legislative strength score vs
                                                                                                                                    PA VAKS                                                                       percentage household firearm ownership (P ⬍ .001).
                                                                   10                                                           CO          TX
                                                                                                                                    OR IN                                                                         C, Percentage household firearm ownership vs overall firearm
                                                                                                                             DE
                                                                                                                       CA          UT OH VT                                                                       death rate (P ⬍ .001). Percentage household firearm ownership
                                                                                                                                      ME
                                                                                                                                WI WA ND                                                                          was calculated by mean firearm suicides/total suicides
                                                                                                                        IL
                                                                                                                                  MN        NE                                                                    (2007-2010) by state. Lines represent regression lines with 90%
                                                                                                                                  SD NH                                                                           prediction bands. The US postal abbreviation codes used for all
                                                                                                    NJ       NY                                                                                                   state names.
                                                                    5
                                                                                                                                  IA
                                                                                              MA                  CT
                                                                                                        RI
                                                                                         HI



                                                                    0
                                                                        0          10      20                30             40         50         60             70   80
                                                                                                   Household Firearm Ownership, %




               outcomes, with stronger background checks associated                                                                                                                                         ownership on the relationship between the legislative
               with lower overall firearm fatality rates: a 1-point in-                                                                                                                                     strength score and overall firearm fatalities (P ⬍ .001).
               crease in the background check category had an ad-                                                                                                                                              The simple Poisson regression demonstrated no as-
               justed IRR of 0.84 (95% CI, 0.78-0.92), lower firearm                                                                                                                                        sociation between firearm-related deaths and nonfire-
               suicide fatality rates (adjusted IRR, 0.90; 95% CI, 0.87-                                                                                                                                    arm violent deaths (P = .50). There was also no associa-
               0.94), and lower firearm homicide fatality rates (ad-                                                                                                                                        tion between legislative strength scores and nonfirearm
               justed IRR, 0.91; 95% CI, 0.84-0.99) (Table 4).                                                                                                                                              violence–related deaths (P = .20).
                  Higher legislative strength scores were associated
               with lower household firearm ownership (P ⬍ .001)                                                                                                                                                                               COMMENT
               (Figure 2B). Higher percentage of household firearm own-
               ership was associated with higher rates of overall firearm
               fatalities (P ⬍ .001) (Figure 2C). The Sobel-Goodman test                                                                                                                                    In an analysis of all states using data from 2007 through
               of mediation demonstrated a significant effect of firearm                                                                                                                                    2010, we found that a higher number of firearm laws in

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                  Table 3. Change in Firearm Fatality Rates by Legislative Strength Quartile

                                                                                                                        Incident Rate Ratio (95% CI) a
                  Legislative Strength                   Absolute Rate
                  Quartile                               Difference b,c                        Model   1c                          Model 2 d                         Model 3 e
                                                                                    Overall Firearm    Fatalities f
                  1 (0-2 laws)                           0 [Reference]                  1 [Reference]                           1 [Reference]                    1 [Reference]
                  2 (3-4 laws)                               1.48                        0.88 (0.74-1.06)                       0.92 (0.74-1.10)                 0.95 (0.88-1.02)
                  3 (5-8 laws)                               2.96                       0.77 (0.63-0.93)                        0.88 (0.65-1.19)                 0.89 (0.79-1.00)
                  4 (9-24 laws)                              6.64                       0.48 (0.36-0.65)                        0.58 (0.37-0.92)                 1.00 (0.83-1.21)
                                                                                            Firearm Suicide
                  1 (0-2 laws)                           0 [Reference]                      1 [Reference]                       1 [Reference]                    1 [Reference]
                  2 (3-4 laws)                               1.17                           0.85 (0.73-0.99)                    0.94 (0.82-1.08)                 0.97 (0.94-1.00)
                  3 (5-8 laws)                               2.52                           0.78 (0.65-0.93)                    0.94 (0.78-1.14)                 0.99 (0.95-1.01)
                  4 (9-24 laws)                              6.25                           0.34 (0.26-0.43)                    0.63 (0.48-0.83)                 0.97 (0.92-1.02)
                                                                                           Firearm Homicide f
                  1 (0-2 laws)                           0 [Reference]                      1 [Reference]                       1 [Reference]                    1 [Reference]
                  2 (3-4 laws)                               0.31                            0.91 (0.57-1.46)                   0.89 (0.71-1.12)                 0.83 (0.68-1.08)
                  3 (5-8 laws)                               0.44                            0.88 (0.52-1.48)                   0.69 (0.46-1.04)                 0.65 (0.46-0.93
                  4 (9-24 laws)                              0.40                            0.89 (0.54-1.47)                   0.60 (0.38-0.95)                 0.79 (0.49-1.26)

                 a Change in firearm fatality rate represented by the incident rate ratio with reference to quartile 1; boldface type indicates a confidence interval that does not
               overlap 1.
                 b Absolute rate differences are per 100 000 individuals per year with reference to quartile 1.
                 c Absolute rate differences and model 1 are both age adjusted.
                 d Model 2 is adjusted for age and for control variables (state population density; nonfirearm violence–related fatalities; and percentage of the study population
               that was male, white, black, Hispanic, in poverty, unemployed, and college educated).
                 e Model 3 is adjusted for age and all control variables, including household firearm ownership.
                 f Data aggregated over 4 years for analysis.




                  Table 4. Change in Overall Firearm Fatality Rates Associated With 1-Point Increase in Each Legislative Category a

                                                       Overall Firearm Fatalities b                           Firearm Suicide                         Firearm Homicide b
                                                  Absolute Rate                                  Absolute Rate                                 Absolute Rate
                  Legislative Category             Difference c           IRR (95% CI) d          Difference c         IRR (95% CI) d           Difference c      IRR (95% CI) d
                  Firearm trafficking                   6.67             1.01 (0.96-1.07)              6.22           1.01 (0.97-1.05)              0.46         0.99 (0.92-1.06)
                  Strengthen Brady checks e             9.80             0.84 (0.78-0.92)              9.42           0.90 (0.87-0.94)              0.41         0.91 (0.84-0.99)
                  Child safety                          5.52             0.87 (0.75-1.00)              5.84           0.86 (0.78-0.95)             ⫺0.32         1.01 (0.89-1.13)
                  Ban assault weapons                   6.35             0.73 (0.59-0.90)              5.37           0.77 (0.67-0.89)              0.97         0.84 (0.66-1.07)
                  Guns in public places f               6.35             0.88 (0.77-0.99)              6.61           0.91 (0.82-0.99)             ⫺0.26         0.94 (0.82-1.09)

                 Abbreviations: IRR, incident rate ratio; US postal code abbreviations used to indicate individual US states.
                 a The  models are adjusted for age and for control variables (state population density; nonfirearm violence–related fatalities; and percentage of the study
               population that was male, white, black, Hispanic, in poverty, unemployed, and college educated); bold type indicates a confidence interval that does not overlap 1.
                 b Data aggregated over 4 years for analysis.
                 c Absolute rate difference between states with lowest score and those with highest score in given legislative category. Rates are age adjusted and reflect the
               number per 100 000 individuals per year. Low and high scores in the given categories are as follows: Firearm trafficking low, 0 (20 states); high, 7-8 (CA, MA, and
               NJ). Strengthen Brady checks low, 0 (33 states); high, 6-7 (CT, HI, MA, and NJ). Child safety low, 0 (21 states); high, 4-5 (CA, MD, MA, and NJ). Ban assault
               weapons low, 0 (43 states); high, 2 (CA, HI, MA, NJ, and NY). Guns in public places low, 0-1 (10 states); high, 4 (CA, CT, HI, IL, MA, NJ, and NY).
                 d Change in firearm fatality rates, represented by the IRR, between scores 1 point apart in a specific legislative category.
                 e This includes universal background checks and permits to purchase. See Table 1 for further details.
                 f States that do not have laws that allow guns in public places. See Table 1.



               a state was associated with a lower rate of firearm fatali-                              fatalities in the United States have had mixed results.
               ties in the state. This association was present both be-                                 Most of the studies focused on specific laws, not the
               fore and after controlling for other state-specific and so-                              aggregate effect of all laws. 21 For example, a study
               cioeconomic factors. Although the results across quartiles                               evaluating the Brady Act, which mandates background
               2 through 4 of the legislative strength score demon-                                     checks for firearm purchases, found that suicide rates
               strated lower firearm fatalities, these results were only                                among persons 55 years or older were reduced, but
               significant when the states with the highest scores were                                 there were no other differential effects of the law.22
               compared with those with the lowest scores. It is impor-                                 Despite the law’s intent, background checks are rela-
               tant to note that our study was ecological and cross-                                    tively easily thwarted at gun shows, flea markets, and
               sectional and could not determine cause-and-effect                                       elsewhere, where a person who would otherwise be
               relationship.                                                                            prohibited from purchasing firearms can purchase a
                  Previous studies evaluating the association of fire-                                  gun from a private seller without a background
               arm legislation and reducing firearm injuries and                                        check.23,24

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                   Studies that have examined the cumulative impact of              tween states. Fourth, although we adjusted for many state-
               firearm legislation, rather than single laws, have often fo-         based factors associated with firearm fatalities, there may
               cused on the association of legislation and suicide.25,26 Con-       be additional factors not considered in our model that are
               ner and Zhong,27 using data across all 50 states from 1999           relevant (eg, city laws and police enforcement). However,
               to 2000, demonstrated that more restrictive firearm laws             we included nonfirearm suicides and nonfirearm homi-
               were associated with lower rates of suicide. Price et al,12          cides in some of our analyses to control for the potential
               using data from 1999 across all 50 states, also found a strong       role of additional factors. We found little evidence of sub-
               association between restrictiveness of gun laws and fire-            stitution—rates of firearm-related deaths were not corre-
               arm suicide but little association with firearm homicide.            lated with rates of nonfirearm violent death in the multi-
               The association with firearm suicide was not significant af-         variable model. Fifth, although we found that states with
               ter adjusting for household gun ownership levels.12                  more legislation have lower fatality rates, ie, are “safer” states,
                   Another important factor affecting suicide is whether            in a cross-sectional ecological study we could not deter-
               guns are stored safely in the home. Guns are the most                mine if the greater number of laws were the reason for the
               common method of suicide overall1 and teen suicide in                reduced fatality rates. The association could have been con-
               particular,28,29 and increased accessibility to loaded, un-          founded by firearm ownership rates or other unac-
               locked guns is associated with an increased risk of sui-             counted factors.
               cide.30-33 A case-control study found that safe gun stor-                In conclusion, we found an association between the
               age practices, which can be required by state law, were              legislative strength of a state’s firearm laws—as mea-
               associated with a decreased risk of teen suicide and un-             sured by a higher number of laws—and a lower rate of
               intentional firearm injuries.34                                      firearm fatalities. The association was significant for fire-
                   One way that firearm legislation may act to reduce fire-         arm fatalities overall and for firearm suicide and firearm
               arm fatalities is through reducing firearm prevalence.35             homicide deaths, individually. As our study could not de-
               Studies have shown a strong connection between gun                   termine a cause-and-effect relationship, further studies
               ownership and firearm suicide8,36 and firearm homi-                  are necessary to define the nature of this association.
               cide.37 A cross-sectional study of all 50 states from 2001
               to 2003 found that higher rates of household firearm own-            Accepted for Publication: February 25, 2013.
               ership were associated with significantly higher rates of            Published Online: March 6, 2013. doi:10.1001
               homicide.38 Similarly, rates of suicide are higher in states         /jamainternmed.2013.1286
               with greater rates of household firearm ownership.39                 Correspondence: Eric W. Fleegler, MD, MPH, Division
                   Although our study found an association between leg-             of Emergency Medicine, Boston Children’s Hospital, 300
               islation strength, firearm availability, and overall fire-           Longwood Ave, Boston, MA 02115 (Eric.Fleegler
               arm fatalities, the nature of this association should be fur-        @childrens.harvard.edu).
               ther characterized. Within a state, culture and attitudes            Author Contributions: Dr Fleegler has had full access
               toward firearms may confound the association between                 to all the data in the study and takes responsibility for
               firearm ownership and firearm legislation. High levels of            the integrity of the data and the accuracy of the data analy-
               gun ownership might be related to both high rates of fire-           sis. Study concept and design: Fleegler, Lee, and Mannix.
               arm deaths and a cultural environment in which it is more            Acquisition of data: Fleegler and Mannix. Analysis and in-
               difficult for a state to enact strict firearm laws. Firearm          terpretation of data: Fleegler, Lee, Monuteaux, Hemenway,
               ownership may also be a mediator of the relationship be-             and Mannix. Drafting of the manuscript: Fleegler and
               tween the legislative strength score and overall fatali-             Mannix. Critical revision of the manuscript for important
               ties. The change in the coefficients in the model after the          intellectual content: Fleegler, Lee, Monuteaux, Hemenway,
               inclusion of household gun ownership rates is consis-                and Mannix. Statistical analysis: Monuteaux and Mannix.
               tent with both mediation and confounding.                            Administrative, technical, and material support: Fleegler.
                   As is not surprising in a cross-sectional ecological study,      Conflict of Interest Disclosures: None reported.
               we found some heterogeneity in the firearm fatality rates            Funding/Support: Dr Hemenway received funding from
               among the states within each level of the legislative                the Joyce Foundation to conduct and disseminate re-
               strength scores (eg, South Dakota has weak gun control               search on firearms.
               laws and low rates of firearm fatality). Such heteroge-
               neity is to be expected and is the reason to conduct a study                                        REFERENCES
               that involves all 50 states.
                   Our study has limitations. First, the legislative strength        1. Centers for Disease Control and Prevention. Injury Prevention and Control: Data
               score, which tallies a single point per law, has not been vali-          & Statistics (WISQARS). http://www.cdc.gov/injury/wisqars/index.html. Ac-
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                                                                                      INVITED COMMENTARY


               Responding to the Crisis of Firearm Violence
               in the United States

               T        he United States has belatedly awakened to the
                        knowledge that it is, in effect, under armed attack.
                        More than 30 000 people are purposely shot to
               death each year—more than 300 000 since the World
                                                                                                           ship between firearm laws and firearm-related deaths
                                                                                                           in the United States. Their state-level ecological study
                                                                                                           (a design in which the unit of analysis is a population
                                                                                                           in aggregate, not the individuals in it) correlated the
               Trade Center was destroyed in 2001. Rates of firearm-                                       presence or absence of 28 laws arguably related to fire-
               related violent crime have increased 26% since 2008.1 Phy-                                  arm violence with firearm-related mortality rates.
               sicians have joined others in demanding a strong re-                                        Their main finding is that having more laws on the
               sponse to this crisis. We look to scientific research to                                    books is associated with having lower rates of firearm-
               provide the evidence on which that response should be                                       related homicide and suicide. This would be an impor-
               based. Such evidence should include a thorough explo-                                       tant finding—if it were robust and if its meaning were
               ration of risk and protective factors and, most impor-                                      clear.
               tantly, controlled studies showing which interventions                                          Ecological studies of association are inherently weak,
               work to reduce firearm violence and why.                                                    however; correlation does not imply causation. This fun-
                  At a time when guidance is urgently needed,                                              damental limitation is beyond the power of the authors
               Fleegler and colleagues2 have examined the relation-                                        to redress. And there are additional concerns. The study’s

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              EXHIBIT "16"




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The Impact of State Firearm Laws on Homicide
and Suicide Deaths in the USA, 1991–2016: a Panel Study
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1
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Children’s Hospital, Boston, MA, USA; 3Harvard T.H. Chan School of Public Health, Boston, MA, USA.


BACKGROUND: Firearm injuries are a major cause of                                                INTRODUCTION
mortality in the USA. Few recent studies have simulta-
neously examined the impact of multiple state gun laws to                From 1991 to 2016, the average annual firearm death rate in
determine their independent association with homicide                    the USA was 11.4 per 100,000 individuals.1 This amounts to
and suicide rates.                                                       859,871 lives lost due to a single cause of preventable death
OBJECTIVE: To examine the relationship between state                     over a 26-year period.1 Although numerous studies have eval-
firearm laws and overall homicide and suicide rates at the               uated the impact of state firearm laws on homicide or suicide
state level across all 50 states over a 26-year period.                  rates (Online Supplemental Tables S1, S2), a major limitation
DESIGN: Using a panel design, we analyzed the relation-
                                                                         is that most examined the impact of only one type of policy.
ship between 10 state firearm laws and total, age-
adjusted homicide and suicide rates from 1991 to 2016                    Because states that enact one type of law are also more likely
in a difference-in-differences, fixed effects, multivariable             to enact others,2 it is difficult to isolate the effect of one law
regression model. There were 1222 observations for ho-                   without considering the simultaneous impact of other policies.
micide analyses and 1300 observations for suicide                           To improve our ability to draw causal inferences, a stronger
analyses.                                                                study design would examine the relationship between the
PARTICIPANTS: Populations of all US states.                              enactment of multiple types of state firearm laws over time
MAIN MEASURES: The outcome measures were the an-
                                                                         and differences in fatality rates between states. However, we
nual age-adjusted rates of homicide and suicide in each
state during the period 1991–2016. We controlled for a
                                                                         are aware of only one multi-year panel study of homicide rates
wide range of state-level factors.                                       that examined multiple laws and included data from the past
KEY RESULTS: Universal background checks were asso-                      decade; this study was conducted at the level of urban
ciated with a 14.9% (95% CI, 5.2–23.6%) reduction in                     counties, and only 34 states were included.3 We are not aware
overall homicide rates, violent misdemeanor laws were                    of any panel study at the state level that used data within the
associated with a 18.1% (95% CI, 8.1–27.1%) reduction                    past decade to assess simultaneously the effect of multiple
in homicide, and Bshall issue^ laws were associated with a               state firearm laws on homicide or suicide death rates.
9.0% (95% CI, 1.1–17.4%) increase in homicide. These
                                                                            One reason why many previous studies have focused on a
laws were significantly associated only with firearm-
related homicide rates, not non-firearm-related homicide                 single type of law is the absence of a comprehensive national
rates. None of the other laws examined were consistently                 database of state firearm laws. For most previous studies,
related to overall homicide or suicide rates.                            researchers had to track down the status of state firearm laws
CONCLUSIONS: We found a relationship between the en-                     by conducting their own legal research, a painstaking process
actment of two types of state firearm laws and reductions                that precluded a single study of a large range of gun-related
in homicide over time. However, further research is nec-                 policies. We recently created a novel database in which we
essary to determine whether these associations are causal
                                                                         recorded, quantified, and classified the largest-to-date compi-
ones.
                                                                         lation of firearm provisions by state over a 26-year period.2 In
KEY WORDS: community health; firearms; health policy; injury;            this study, we examine the simultaneous impact of 10 different
prevention; public health.                                               types of state firearm laws on overall homicide and suicide
J Gen Intern Med 34(10):2021–8
                                                                         rates over a 26-year period using the same model specification.
DOI: 10.1007/s11606-019-04922-x
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                                                                                                     METHODS
Electronic supplementary material The online version of this article
(https://doi.org/10.1007/s11606-019-04922-x) contains supplementary      Data Sources
material, which is available to authorized users.
Received January 30, 2018
                                                                         We ascertained the annual presence or absence of 10 state
Revised August 21, 2018                                                  firearm laws in all 50 states from 1991 to 2016 using the State
Accepted January 10, 2019                                                Firearm Law Database, which provides a panel of firearm-
Published online March 28, 2019                                          related laws in each state, for each year.2 The database was
                                                                                                                                        2021


                                                               Exhibit 16
                                                                 0982
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compiled using the Thompson Reuters Westlaw database of                  of policy outcomes,5, 6 an approach that is widely used in the
state statutes and session laws and a database assembled by              econometric and criminology literature on the effect of state
Everytown for Gun Safety.4                                               firearm laws and was first introduced by Lott and Mustard in
   We obtained homicide and suicide mortality data from the              their classic 1997 paper.7 Using multivariable linear regres-
Centers for Disease Control and Prevention Web-Based Injury              sion, we evaluated the association between the firearm law
Statistics Query and Reporting System (WISQARS), which                   provisions in each state (which were time-varying) and the
are derived from the vital statistics death registry of the Na-          homicide and suicide rates over the study period, while con-
tional Center for Health Statistics.1 WISQARS reports annual             trolling for several other time-varying state-level factors. We
state-specific, age-adjusted fatality rates for homicide and             included year and state fixed effects and estimated cluster-
suicide.                                                                 robust standard errors, which account for the clustering of
                                                                         observations, serial autocorrelation, and heteroskedasticity.8
Study Population                                                         By including state fixed effects, our analysis focuses on the
                                                                         time series of observations within each state, comparing
We assembled annual, state-specific age-adjusted total homi-
                                                                         changes in homicide or suicide rates within a state from before
cide and suicide rates in each state from 1991 to 2016. We
                                                                         to after the implementation of a particular firearm law, using
excluded homicides due to legal intervention (1% of firearm
                                                                         states without that law as controls. Because the outcome
deaths), unintentional firearm fatalities (2.5% of firearm
                                                                         variables are not normally distributed but skewed, we log-
deaths), and fatalities of undetermined intent (1% of firearm
                                                                         transformed the homicide and suicide rates.
deaths) from our analysis.
                                                                            Our final model was as follows:
Outcome Measures                                                         ln ðμst Þ ¼ α þ ðB LAW st Þ þ ðC  CONTROLst Þ þ S þ T þ e;

The main outcome measures were the annual, age-adjusted                  where μst is the homicide or suicide rate in state s in year t,
homicide rate and age-adjusted suicide rate in each state over           LAWst is a dummy variable for the presence or absence of a
the study period. Because there were 50 states and 26 years,             particular state firearm law in state s in year t, CONTROLst is a
the total number of possible observations was 1300. However,             vector of control variables, S represents state fixed effects, and
the CDC does not report death rates when the absolute number             T represents year fixed effects.
of deaths in a state during a given year is less than 10. For this          We controlled for the following time-varying state-level
reason, we did not have a complete panel of homicide data for            factors, chosen because of their association with homicide or
three states: North Dakota, Vermont, and Wyoming. We there-              suicide rates in the published literature and their association
fore excluded these states from the homicide analyses, yield-            with both death rates and the adoption of firearm laws in our
ing a total of 1222 observations. There were no missing data             data set: (1) the percent of the population that is black; (2) the
for suicide death rates, so there were 1300 observations for             percent of population ages 15–29 that is male; (3) per capita
analyses involving this outcome.                                         law enforcement officers; (4) the violent crime rate (excluding
                                                                         homicide); (5) the divorce rate; (6) the unemployment rate; (7)
Main Predictor Variables                                                 the poverty rate; (8) per capita alcohol consumption; (9) the
                                                                         incarceration rate; (10) population density; (11) log of popu-
From the state law database, we selected 10 laws to analyze
                                                                         lation; and (12) household gun ownership percentage.
based on several considerations: (1) laws that are currently being
                                                                            Because annual survey data of household gun ownership at
considered by state legislatures; (2) laws that have been exam-
                                                                         the state level are not available, most previous studies have
ined in prior research; and (3) laws that were enacted by at least
                                                                         used the ratio of firearm suicides to all suicides (FS/S) as a
two states during the study period. We analyzed the following 10
                                                                         proxy for household firearm ownership.9 This proxy is highly
laws (defined in detail in Table 1): (1) universal background
                                                                         correlated (r = 0.80) with state-specific measures of firearm
checks, either through point-of-purchase checks or a permit to
                                                                         ownership on a cross-sectional basis.10 Recently, we devel-
purchase requirement; (2) ban on handgun possession for people
                                                                         oped a new proxy measure that improves the correlation with
convicted of a violent misdemeanor; (3) age 21 limit for handgun
                                                                         survey-measured gun ownership from 0.80 to 0.95.10 This
possession; (4) Bshall issue^ laws; (5) permitless carry laws; (6)
                                                                         new proxy measure incorporates a state’s hunting license rate
prohibition against gun trafficking; (7) ban on Bjunk guns^; (8)
                                                                         in addition to FS/S.10 In this study, we used this new proxy.
Bstand your ground^ laws; (9) assault weapons ban; and (10) ban
                                                                            Per capita law enforcement officers and violent crime rates
on large-capacity ammunition magazines. Laws were lagged by
                                                                         were obtained from the FBI Uniform Crime Reports;11 incar-
1 year in the analysis; that is, we considered the potential effect of
                                                                         ceration rates were obtained from the Bureau of Justice Sta-
a law only in the full first year after its enactment.
                                                                         tistics;12 and per capita alcohol consumption was obtained
                                                                         from the National Institute on Alcohol Abuse and Alcoholism
Data Analysis
                                                                         (NIAAA) for 1991–201513 and from Statistica14 for 2016.
Unlike many earlier analyses in the public health literature, we         Hunting licensing data were obtained from the U.S. Fish and
employed a difference-in-differences approach to the analysis            Wildlife Service.15 The remaining variables were obtained

                                                                 Exhibit 16
                                                                   0983
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                                             Table 1 Description of State Firearm Laws Examined

Law                  Brief description                Detailed description                States with   Additional states with      Law
                                                                                          law in 1991   law in 2016                 changes
                                                                                                                                    from 1991
                                                                                                                                    to 2016

Universal            Background checks                Individuals must undergo a          CA, IL, MA,   CO, CT, DE, HI, NY, OR,     7
background checks    conducted through permit         background check to purchase        NJ, RI        WA
                     requirement for all firearm      any type of firearm, either at
                     sales or through required        the point of purchase or
                     background checks for all        through a license/permit appli-
                     sales)                           cation. This may or may not
                                                      include exemptions for buyers
                                                      who have already undergone a
                                                      background check for a con-
                                                      cealed carry permit or other
                                                      licensing requirements.
Violent              Handgun possession is            Must cover possession of            CA, HI, NY    CT, MD                      2
misdemeanor is       prohibited for people who        handguns, not just purchase.
prohibiting for      have committed a violent         Must cover assault, not just
handgun              misdemeanor punishable by        aggravated assault. Must
possession           less than 1 year of              extend beyond domestic
                     imprisonment                     violence-related misdemeanors,
                                                      restraining orders, and stalking.
                                                      Must not require that misde-
                                                      meanor be punishable by im-
                                                      prisonment of more than
                                                      1 year. Must not require that
                                                      misdemeanor involve use of a
                                                      firearm or result in injury.
Age 21 limit for     No possession of handguns        You must be 21 to possess a         IA, RI, SC    CT, HI, MD, MA, NJ, NY      7
handgun              until age 21                     handgun. No exemption for                         (SC repealed)
possession                                            parental consent. Exclusions
                                                      for adult-supervised hunting,
                                                      sporting, or training activities
                                                      are OK. Exception for posses-
                                                      sion on private premises NOT
                                                      OK unless minor required to be
                                                      under adult supervision.
Shall issue law      Law provides no discretion       A permit must be issued unless      FL, GA, ID,   AL, AR, CO, IL, KY, LA,     23
                     to law enforcement               the applicant meets pre-            IN, IA, ME,   MI, MN, MO, NE, NV,
                     authorities in deciding          established disqualifying crite-    MS, MT, NH,   NM, NC, OH, OK, SC,
                     whether to grant a concealed     ria.                                ND, OR, PA,   TN, TX, UT, VA, WA, WI
                     carry permit.                                                        SD, WA, WV    (WV moved to permitless
                                                                                                        carry)
Permitless carry     No permit is required to         Age restrictions may apply, and     VT            AK, AZ, ID, KS, ME,         8
                     carry a concealed handgun.       a voluntary permitting system                     MS, WV, WY
                                                      may still be in place.
Trafficking          No person may purchase a         The law prohibits the purchase      FL, MA, ND,   CA, CO, CT, DE, IL, MN,     9
prohibited           firearm with the intent to re-   of a firearm with the intent to     OH, VA        NY, UT, VA
                     sell to a person who is          re-sell to a prohibited person.
                     prohibited from buying or        We make no distinction be-
                     possessing a firearm             tween whether the trafficker
                                                      (original purchaser) must actu-
                                                      ally know or have reason to
                                                      believe that the buyer is pro-
                                                      hibited. An exemption for sale
                                                      to relatives is acceptable.
Junk gun ban         Ban on junk guns                 The law prohibits the sale of       HI, IL, MD,   CA, MA (SC repealed)        3
                     (sometimes called BSaturday      handguns that fail to meet one      MN, SC
                     night specials^)                 or more of the following
                                                      requirements: (1) Passes drop
                                                      testing and firing testing; (2)
                                                      Passes a melting point test; (3)
                                                      Possesses specific handgun
                                                      safety features; (4) Appears on
                                                      a list of approved handguns.
                                                      This may or may not apply to
                                                      private sellers.
Stand your ground    A Bstand your ground^ law        Use of deadly force is allowed      None          AL, AK, AZ, FL, GA, IN,     24
law                  is in place                      to be a first resort if you are                   KS, KY, LA, MI, MS,
                                                      threatened in a public place in                   MO, MT, NV, NH, NC,
                                                      which you have the right to be                    OK, PA, SC, SD, TN, TX,
                                                      present. There is no duty to                      UT, WV
                                                      retreat. Does not count as stand
                                                      your ground law if it only
                                                                                                                         (continued on next page)



                                                                  Exhibit 16
                                                                    0984
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                                                             Table 1. (continued)

Law                  Brief description             Detailed description                States with    Additional states with    Law
                                                                                       law in 1991    law in 2016               changes
                                                                                                                                from 1991
                                                                                                                                to 2016
                                                   applies when person is in a
                                                   vehicle.
Assault weapons      Ban on sale of assault        Law bans the sale of both           CA, NJ         CT, MD, MA, NY            4
ban                  weapons beyond just assault   assault pistols and other assault
                     pistols                       weapons.
Large capacity       Ban on sale large capacity    Law bans the sale of both           NJ             CA, CO, CT, MD, MA,       6
ammunition           magazines beyond just         assault pistol ammunition and                      NY
magazine ban         ammunition for pistols        other large-capacity magazines.




from the U.S. Census. We conducted the analysis using Stata                falsification test, each of these three laws was found to be
version 15 (StataCorp LP, College Station, TX).                            significantly associated only with the firearm-related homicide
   Because the outcome variables are log-transformed, the                  rate, not the non-firearm-related homicide rate (Online
regression coefficients can be interpreted as the percentage               Supplemental Table S3).
change in the firearm homicide or suicide rate associated with                In the fully adjusted model, household gun ownership was
the presence of a particular law by exponentiating the coeffi-             not associated with overall rates of homicide (Table 3). Factors
cient, subtracting 1, and then multiplying by 100 (i.e., a                 that were significant positive predictors of overall homicide
coefficient of 0.10 for a given law would indicate a 10.5%                 rates were the percentage of males, the violent crime rate, and
increase in the mortality rate associated with that law).                  population density. Overall population was negatively associ-
   To test the plausibility of any observed associations be-               ated with homicide rates.
tween firearm laws and overall homicide or suicide rates, we                  When examined individually, four of the 10 firearm laws
conducted a falsification test: we analyzed the relationship               were significantly associated with overall suicide rates
between these laws and firearm compared to non-firearm                     (Table 4). However, after simultaneously controlling for all
mortality rates. These laws would be expected to primarily                 10 firearm laws, only two laws were significantly related to
affect only the firearm-related rates.                                     suicide rates: bans on junk guns were associated with 6.4%
   In a final sensitivity analysis, we modeled the secular time            lower suicide rates (95% CI, 3.5–9.2%) and permitless carry
trend in firearm homicide or suicide rates by including year as            laws were associated with 5.1% higher suicide rates (95% CI,
a continuous variable in the model rather than as a fixed effect.          0.2–10.4%). Both laws failed the falsification test, as both
                                                                           were significantly related to non-firearm as well as firearm
                                                                           homicide rates (Online Supplemental Table S4). None of the
                                                                           other laws were significantly associated with overall suicide
                           RESULTS
                                                                           rates.
Over the 26-year study period, there was a substantial varia-                 In the fully adjusted model, household gun ownership was
tion in the violent death rates across states. In 2016, overall            not associated with overall rates of suicide (Table 4). Factors
homicide rates ranged from a low of 1.3 per 100,000 in Maine               that were significant positive predictors of suicide rates were
and New Hampshire to a high of 14.2 per 100,000 in Louisi-                 the violent crime rate, unemployment rate, poverty rate, and
ana (Table 2). In 2016, overall suicide rates ranged from a low            per capita alcohol consumption. Overall population was neg-
of 7.2 per 100,000 in New Jersey to a high of 26.0 per 100,000             atively related to suicide rates.
in Montana. Across the study period, there were a total of 93                 Entering year as a continuous variable instead of as a fixed
law changes among the 10 laws studied (Table 1).                           effect had no appreciable impact on the results (Online
   When examined individually, universal background checks                 Supplemental Table S5).
and violent misdemeanor laws were significantly associated
with lower overall homicide rates and Bshall issue^ laws were
significantly associated with higher homicide rates (Table 3).
After simultaneously controlling for all 10 firearm laws, uni-                                       DISCUSSION
versal background checks were associated with 14.9% lower                  To the best of our knowledge, this is the first study using data
overall homicide rates (95% confidence interval [CI], 5.2%–                from within the past decade to simultaneously model the effect
23.6%); violent misdemeanor laws were associated with                      of multiple state firearm laws on homicide and suicide rates at
18.1% lower homicide rates (95% CI, 8.1–27.1%); and Bshall                 the state level using a multi-year panel design. Using a
issue^ laws were associated with 9.0% higher homicide rates                difference-in-differences analysis, we found that laws requir-
(95% CI, 1.1%–17.4%). None of the other seven laws were                    ing universal background checks and those prohibiting firearm
significantly associated with overall homicide rates. In a                 possession by people with a conviction for a violent
                                                               Exhibit 16
                                                                 0985
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                                      Table 2 Status of State Firearm Laws and Violent Death Rates, 2016

State            UBC      VM     21     SI   PC     TP    JG    SYG      AW      LCM      Age-adjusted overall          Age-adjusted overall
                                                                                          homicide rate (per            suicide rate (per
                                                                                          100,000)                      100,000)

Louisiana                               √                       √                         14.2                          14.1
Mississippi                                  √                  √                         12.0                          12.7
Alabama                                 √                       √                         11.8                          15.6
Maryland                  √      √                        √              √       √        10.0                          9.3
Missouri                                √                                                 9.9                           18.3
New Mexico                              √                                                 9.5                           22.5
Illinois         √                      √           √     √                               9.2                           10.7
South Carolina                          √                       √                         9.0                           15.7
Tennessee                               √                       √                         8.7                           16.3
Arkansas                                √                                                 8.7                           18.2
Oklahoma                                √                       √                         8.6                           20.9
Georgia                                 √                       √                         7.9                           13.3
Alaska                                       √                  √                         7.5                           25.4
Indiana                                 √                       √                         7.5                           15.4
North Carolina                          √                       √                         7.4                           13.0
Nevada                                  √                       √                         7.4                           21.4
Kentucky                                √                       √                         7.1                           16.8
Delaware         √                                  √                                     7.0                           11.5
Florida                                 √           √           √                         6.8                           13.9
Michigan                                √                       √                         6.6                           13.3
Ohio                                    √           √                                     6.5                           14.1
West Virginia                                √                  √                         6.3                           19.5
Arizona                                      √                  √                         6.3                           17.6
Pennsylvania                            √                       √                         6.0                           14.7
Texas                                   √                       √                         6.0                           12.6
Virginia                                √           √                                     5.5                           13.2
Kansas                                       √                  √                         5.3                           17.9
California       √        √                         √     √              √       √        5.2                           10.5
Wisconsin                               √                                                 4.8                           14.6
South Dakota                            √                       √                         4.7                           20.5
New Jersey       √               √                                       √       √        4.6                           7.2
Montana                                 √                       √                         4.3                           26.0
Colorado         √                      √           √                            √        4.2                           20.5
New York         √        √      √                  √                    √       √        3.5                           8.1
Nebraska                                √                                                 3.3                           13.0
Oregon           √                      √                                                 3.2                           17.8
Wyoming                                      √                                            3.0                           25.2
Washington       √                      √                                                 2.9                           14.8
Iowa                             √      √                                                 2.8                           14.5
Hawaii           √        √      √                        √                               2.8                           12.0
Connecticut      √        √      √                  √                    √       √        2.6                           10.0
Utah                                    √           √           √                         2.5                           21.8
Minnesota                               √           √     √                               2.4                           13.2
Rhode Island     √               √                                                        2.3                           11.1
North Dakota                            √           √                                     2.2                           19.0
Massachusetts    √               √                  √     √              √       √        2.0                           8.7
Idaho                                        √                                            2.0                           21.3
Vermont                                      √                                            1.9                           17.3
New                                     √                       √                         1.3                           17.3
Hampshire
Maine                                        √                                            1.3                           15.7
Includes the following 10 laws: UBC, universal background checks; VM, violent misdemeanor prohibitor; 21, age 21 limit for handgun purchase; SI,
shall issue; PC, permitless carry; TP, trafficking prohibited; JG, junk gun ban; SYG, stand your ground law; AW, assault weapons ban; LCM, large
capacity magazine ban


misdemeanor were associated with significant reductions in                      Second, using a difference-in-differences approach helps to
the overall homicide rate, while Bshall issue^ laws were asso-               address the major threat to validity in this type of research:
ciated with a significant increase in the homicide rate. There               states with lower homicide rates to begin with may be more
was no significant association between homicide and the other                likely to enact stronger gun laws. By including state and year
laws studied, and we did not find consistent relationships                   fixed effects, we are using a Bwithin-estimator^ that assesses
between any of the laws and overall suicide rates.                           differences within states over time.5, 6 Studies that do not
   This study has several strengths. First, it is one of the first           include state fixed effects are also assessing differences across
studies to clearly define each law with attention to the detailed            states at a given time (Bbetween effects^), which may reflect
provisions of the law, including its scope, exceptions, and                  different propensities of states with lower or higher homicide
exemptions. One reason for some of the conflicting results of                rates to enact laws, rather than law effects. Thus, the
previous studies (Online Supplemental Tables S1, S2) may be                  difference-in-differences approach is less subject to the possi-
the inconsistent definition of state statutes.                               bility of Breverse causation^ (i.e., it is the level of the homicide

                                                               Exhibit 16
                                                                 0986
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                           Table 3 Linear Regression Model Results: Factors Affecting Homicide Rates, 1991–2016

                                                               Regression coefficient for state firearm      Regression coefficient, fully adjusted
                                                               laws entered one at a time (95% CI)           model [all laws entered together]
                                                                                                             (95% CI)

Percent black                                                                                                0.043 (− 0.004, 0.089)
Percent male among population ages 15–29                                                                     0.100* (0.021, 0.179)
Per capita law enforcement officers                                                                          − 0.023 (− 0.079, 0.033)
Violent crime rate                                                                                           0.054* (0.026, 0.081)
Divorce rate                                                                                                 − 0.030 (− 0.066, 0.005)
Unemployment rate                                                                                            0.002 (− 0.015, 0.019)
Poverty rate                                                                                                 0.002 (− 0.005, 0.010)
Per capita alcohol consumption                                                                               0.138 (− 0.021, 0.298)
Incarceration rate (per 1000 population)                                                                     − 0.025 (− 0.058, 0.008)
Population density (per 0.1 mile2)                                                                           0.032* (0.010, 0.054)
Log of population                                                                                            − 0.629* (− 1.081, − 0.177)
Proxy for household gun ownership percentage                                                                 0.001 (− 0.004, 0.007)
Firearm laws
Universal background checks                                    − 0.173* (− 0.299, − 0.048)                   − 0.161* (− 0.269, − 0.053)
Violent misdemeanor is prohibiting for handgun possession      − 0.155* (− 0.276, − 0.033)                   − 0.200* (− 0.316, − 0.084)
Age 21 limit for handgun possession                            − 0.117 (− 0.245, 0.010)                      − 0.068 (− 0.200, 0.064)
Shall issue law                                                0.082* (0.018, 0.146)                         0.086* (0.011, 0.160)
Permitless carry law                                           − 0.063 (− 0.152, 0.027)                      0.015 (− 0.101, 0.131)
Trafficking prohibited                                         − 0.045 (− 0.133, 0.044)                      0.005 (− 0.050, 0.061)
Junk gun ban                                                   − 0.028 (− 0.177, 0.121)                      − 0.010 (− 0.136, 0.116)
Stand Your Ground law                                          0.020 (− 0.042, 0.083)                        0.009 (− 0.050, 0.067)
Ban on assault weapons                                         − 0.143 (− 0.300, 0.013)                      − 0.092 (− 0.222, 0.039)
Ban on large capacity ammunition magazines                     − 0.089 (− 0.205, 0.027)                      0.038 (− 0.036, 0.112)
R2                                                                                                                            0.94
Outcome variable is the log of the age-adjusted total homicide rate. All models include year and state fixed effects. Standard errors are robust and
adjusted for state-level clustering
CI, confidence interval
*Coefficient is statistically significant from zero (p < 0.05). Also shown in italic



rates that are affecting the law enactment, not the other way                When we restrict our analysis to that decade, we obtain similar
around). The inclusion of state fixed effects has the added                  results.
advantage of controlling for any differences between states in                  A second important finding of this study is that changes in
time-invariant factors.                                                      household gun ownership were not found to be significantly
   Third, including a large panel of time-varying state factors              associated with homicide or suicide rates, a result that differs
as independent variables helps address the problem of omitted                from several previous studies.34, 35 The discrepancy in these
variable bias. Nevertheless, it is still possible that states which          results could possibly be due to our inclusion of state fixed
were experiencing large declines in homicide were more likely                effects. It is possible that although there is a strong cross-
to enact a particular law; even the within-estimator may not be              sectional relationship between the prevalence of firearm own-
sufficient to rule out the possibility of reverse causation.                 ership and homicide and suicide rates, small changes in fire-
   Our finding of a negative association between universal                   arm ownership that are observed over time are not sufficient
background checks (including permit requirements) and ho-                    enough to result in measurable differences in overall popula-
micide rates is consistent with several other studies.3, 16–20 Our           tion homicide or suicide rates. Even if we had survey-based
finding of a negative association between violent misdemean-                 measures of household gun ownership, the margin of error is
or laws and homicide rates is consistent with one other recent               probably greater than the actual change in gun ownership
study, which reported a 24% reduction in intimate partner                    levels from year to year. There is too much noise in our
homicide in states with these laws.21 However, caution should                measure of gun ownership and too little variability in true
be exercised when interpreting this finding because only two                 levels of household gun ownership to determine if changes
states implemented violent misdemeanor laws during the                       in gun ownership are related to differences in homicide or
study period. While historically the literature on the impact                suicide rates. Few of the previous studies included state fixed
of concealed carry–permitting laws has been inconsistent and                 effects. Because of the conflict with the existing literature,
several studies have found an association between Bshall                     further study is required before any definitive conclusion is
issue^ laws and reduced murder rates,7, 22–29 the three most                 drawn.
recent studies to examine these laws found a positive associ-                   It is important to note that the absence of an observed
ation with homicide rates.3, 30, 31                                          association of a law and overall homicide or suicide rates does
   Our finding that there was no association between stand                   not necessarily mean that these laws are ineffective. It may
your ground laws and homicide rates conflicts with the find-                 also be that the laws are not broad enough to affect overall
ings of two previous studies on these laws.32, 33 However, both              population death rates or that the laws are not being adequately
of these studies examined only the decade of 2000–2010.                      enforced.
                                                                  Exhibit 16
                                                                    0987
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                            Table 4 Linear Regression Model Results: Factors Affecting Suicide Rates, 1991–2016

                                                                  Regression Coefficient for State             Regression Coefficient, Fully Adjusted
                                                                  Firearm Laws Entered One at                  Model [All Laws Entered Together]
                                                                  a Time (95% CI)                              (95% CI)

Percent black                                                                                                  − 0.015 (− 0.033, 0.003)
Percent male among population ages 15–29                                                                       0.018 (− 0.014, 0.049)
Per capita law enforcement officers                                                                            0.006 (− 0.015, 0.027)
Violent crime rate                                                                                             0.018* (0.007, 0.029)
Divorce rate                                                                                                   − 0.008 (− 0.028, 0.012)
Unemployment rate                                                                                              0.008* (0.001, 0.016)
Poverty rate                                                                                                   0.004* (0.000, 0.007)
Per capita alcohol consumption                                                                                 0.075* (0.012, 0.138)
Incarceration rate (per 1000 population)                                                                       0.007 (− 0.011, 0.025)
Population density (per 0.1 mile2)                                                                             − 0.001 (− 0.010, 0.007)
Log of population                                                                                              − 0.349* (− 0.601, − 0.097)
Proxy for household gun ownership percentage                                                                   0.001 (− 0.001, 0.003)
Firearm laws
Universal background checks                                       0.008 (− 0.034, 0.050)                       − 0.010 (− 0.033, 0.053)
Violent misdemeanor is prohibiting for handgun possession         − 0.024 (− 0.064, 0.016)                     − 0.043 (− 0.090, 0.004)
Age 21 limit for handgun possession                               − 0.040* (− 0.078, − 0.001)                  − 0.030 (− 0.070, 0.010)
Shall issue law                                                   0.000 (− 0.025, 0.024)                       0.004 (− 0.022, 0.029)
Permitless carry law                                              0.063* (0.006, 0.120)                        0.050* (0.002, 0.099)
Trafficking prohibited                                            − 0.013 (− 0.047, 0.021)                     − 0.002 (− 0.043, 0.038)
Junk gun ban                                                      − 0.074* (− 0.101, − 0.047)                  − 0.066* (− 0.097, − 0.036)
Stand Your Ground law                                             − 0.014 (− 0.033, 0.006)                     − 0.018 (− 0.037, 0.001)
Ban on assault weapons                                            − 0.037 (− 0.081, 0.006)                     0.001 (− 0.063, 0.066)
Ban on large-capacity ammunition magazines                        − 0.052* (− 0.099, − 0.005)                  − 0.004 (− 0.053, 0.046)
R2                                                                                                                               0.94
Outcome variable is the log of the age-adjusted total suicide rate. All models include year and state fixed effects. Standard errors are robust and
adjusted for state-level clustering
CI confidence interval
*Coefficient is statistically significant from zero (p < 0.05). Also shown in italic



   Several other limitations deserve mention. First, the firearm            discretion to law enforcement officials in approving concealed
ownership proxy has been validated with cross-sectional data,               carry permits are associated with higher homicide rates. Fur-
but not with longitudinal data.36 It is not clear whether this              ther research on the impact of state firearm laws is necessary to
proxy is able to accurately measure changes in household gun                assess causality and should rely upon detailed definitions of
ownership over time.                                                        each law.
   Second, while we controlled for a range of state-level
factors associated with homicide death rates, there may be                  Corresponding Author: Michael Siegel, Department of Community
                                                                            Health Sciences, Boston University School of Public Health, 801
unidentified omitted variables. For example, in the early
                                                                            Massachusetts Avenue, 4th Floor, Boston, MA 02118, USA
1990s, firearm homicide rates were very high in many cities,                (e-mail: mbsiegel@bu.edu).
seemingly related to the crack cocaine epidemic.37, 38 Never-
theless, when we restrict the analysis to the period 2000–2016,             Funding Information Support for this research was provided by the
our results remain essentially unchanged, although the preci-               Robert Wood Johnson Foundation, Evidence for Action Program (grant
sion of the estimates decreases.                                            73337).

   Third, we accounted only for the presence or absence of
firearm law provisions, not for the implementation and en-                  Compliance with Ethical Standards:
forcement of these laws. Fourth, trying to incorporate the most
                                                                            Conflict of Interest: The authors declare that they do not have a
important explanatory variables in a large regression almost                conflict of interest.
invariably leads to some multicollinearity. For example, when
we use all the other independent variables to explain variations            Disclaimer: The views expressed here do not necessarily reflect the
                                                                            views of the Robert Wood Johnson Foundation.
in the gun ownership proxy, the adjusted R2 is 0.69.
   Finally, we do not disaggregate homicide rates by the age or
other characteristics of either the offender or victim, which could
mask the effect of laws intended to affect a particular subpopu-
lation. For example, age restrictions on gun possession would                                              REFERENCES
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   In conclusion, this study provides evidence that universal                      Query and Reporting System (WISQARS). Atlanta, GA: National Center
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                                                                 Exhibit 16
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              EXHIBIT "17"




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Firearms laws and the reduction of violence: A systematic review

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 Firearms Laws and the Reduction of Violence
 A Systematic Review
 Robert A. Hahn, PhD, MPH, Oleg Bilukha, MD, PhD, Alex Crosby, MD, MPH, Mindy T. Fullilove, MD,
 Akiva Liberman, PhD, Eve Moscicki, ScD, MPH, Susan Snyder, PhD, Farris Tuma, ScD, Peter A. Briss, MD, MPH,
 Task Force on Community Preventive Services




 Overview                                                              Introduction
                                                                       Although rates of firearms-relateda injuries in the

 T
          he Task Force on Community Preventive Services
          (the Task Force) is conducting systematic reviews            United States have declined since 1993, they remained
          of scientific evidence about diverse interventions           the second leading cause of injury mortality in 2001,
 for the prevention of violence, and resulting injury and              the most recent year for which complete data are
 death, including, among others, early childhood home                  available.4 Of 29,573 firearms-related deaths in
 visitation,1,2 therapeutic foster care,3 the transfer of juve-        2001—an average of 81 per day—16,869 (57.0%) were
 niles to the adult justice system, school programs for the            suicide; 11,671 (39.5%) were homicide or legal inter-
 teaching of prosocial behavior, and community policing.               vention (e.g., homicide by police); 802 (2.7%) were
 This report presents findings about the effectiveness of              unintentional; and 231 (0.8%) were of undetermined
                                                                       circumstances. In 1998, for each firearm-related death,
 firearms laws in preventing violence. Studies of the follow-
                                                                       2.1 nonfatal firearm-related injuries were treated in
 ing firearms laws were included in the review: bans on
                                                                       emergency departments.5 It is estimated that 24.3% of
 specified firearms or ammunition; restrictions on firearms
                                                                       all violent crimes—murder, aggravated assault, rape,
 acquisition; waiting periods for firearms acquisition; fire-
                                                                       and robbery— committed in 1999 (a total of 1,430,693)
 arms registration; licensing of firearms owners; “shall               were committed with a firearm.6 Rates of firearm-
 issue” carry laws that allow people who pass background               related homicide, suicide, and unintentional death in
 checks to carry concealed weapons; child access preven-               the United States exceed those of 25 other high-income
 tion laws; zero tolerance laws for firearms in schools; and           nations (i.e., 1996 GNP ⱖUS$9636 per capita) for
 combinations of firearms laws.                                        which data are available (Figure 1).7 The cost of
    The Task Force found the evidence available from                   firearm-related violence in the United States is esti-
 identified studies was insufficient to determine the effec-           mated to be approximately $100 billion per year.8
 tiveness of any of the firearms laws reviewed singly or in               Approximately 4.5 million new (i.e., not previously
 combination. A finding that evidence is insufficient to               owned) firearms are sold each year in the United
 determine effectiveness means that we do not yet know                 States, including 2 million handguns. In addition,
 what effect, if any, the law has on an outcome—not that               estimates of annual secondhand firearms transactions
 the law has no effect on the outcome. This report de-                 range from 2 to 4.5 million.9,10 Further, it is estimated
 scribes how the reviews were conducted, gives detailed                that approximately 0.5 million firearms are stolen an-
 information about the Task Force’s findings, and provides             nually.10 Thus, the estimated total number of firearms
 information about research gaps and priority areas for                transactions ranges from 7 to 9.5 million per year, of
 future research.                                                      which between 47% and 64% are new firearms.
                                                                          New firearms can be sold legally only by federal
                                                                       firearms licensees (FFLs); FFL transactions comprise
                                                                       the primary market.10 FFLs are required to comply with
 From the Epidemiology Program Office (Hahn, Bilukha, Snyder,          the Permanent “Brady Law” (P.L. 103-159, Title XVIII,
 Briss) and National Center for Injury Prevention and Control          Section 922(t)) and initiate background checks to
 (Crosby), Centers for Disease Control and Prevention, Atlanta,        investigate whether would-be purchasers violate federal
 Georgia; Department of Psychiatry and Public Health, Columbia
 University (Fullilove), New York, New York; National Institute of     or state purchasing requirements (e.g., people con-
 Justice (Liberman), Washington, DC; National Institute of Mental      victed of a felony must be excluded). In the “secondary
 Health (Moscicki, Tuma), Bethesda, Maryland                           market” of firearms not sold by FFLs, private citizens
   Address correspondence and reprint requests to: Robert A. Hahn,
 PhD, MPH, Senior Scientist, Violence Prevention Review, Commu-
                                                                       a
 nity Guide Branch, Centers for Disease Control and Prevention, 1600    A firearm is a weapon (e.g., handgun, rifle, or shotgun) in which a
 Clifton Road, MS E-90, Atlanta, GA 30333. E-mail: RHahn@cdc.gov.      shot is propelled by gunpowder.



 40    Am J Prev Med 2005;28(2S1)                                                                   0749-3797/05/$–see front matter
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                                                      • Published                                   doi:10.1016/j.amepre.2004.10.005
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          United States
                 Finland
                  France
                Belgium
                  Austria
                 Canada
                 Norway
                    Israel
          New Zealand
                Sweden
                Portugal
                      Italy
               Denmark
                 Greece
                Australia
                  Ireland
               Germany
                    Spain
            Netherlands
        United Kingdom
       Republic of Korea
                   Japan
              Singapore
                  Kuwait
                 Iceland
           Luxembourg
                              0        2               4                6              8               10              12

                                                           Death rate per 100,000

 Figure 1. Firearm-related mortality for high-income World Health Organization Member States (most recent year available
 between 1990 and 2000). (Note: A firearm is defined as a weapon [e.g., handgun, rifle, or shotgun] in which a shot is propelled
 by gunpowder.)



 may sell their firearms without a license; firearms shows             The NSPOF also found that, among adult firearm
 constitute an important segment of the secondary                   owners, 9.7 million owned more than an average of ten
 market.10 Private citizens are not supposed to know-               firearms each, whereas 34.4 million owned a mean of
 ingly sell firearms to people in excluded categories, but,         approximately 2.5 firearms each. Among owners who
 although several states require background checks for              only owned handguns, 74.4% reported owning for
 private sales,9 private sales are not federally regulated.11       self-defense, 0.5% for hunting, 10.8% for target or
    The 1994 National Survey of the Private Ownership               sport shooting, and the remaining 13.5% for other
 of Firearms (NSPOF) indicated that adults in the                   purposes. Among owners of long firearms only (i.e.,
 United States owned approximately 192 million work-                rifles and shotguns), 14.9% reported owning for self-
 ing firearms—an average of one per adult.12 NSPOF                  defense, 69.9% for hunting, 6.1% for target or sport
 also indicated that firearms ownership was unevenly                shooting, and the remaining 9.1% for other purposes.
 distributed in the population: 24.6% of U.S. adults                   This review examines firearms laws as one of many
 owned a firearm— 41.8% of men and 9.0% of women.                   potential approaches to the reduction of firearm-
 Another survey6 found that 41% of (adult) respondents              related violence.14,15 The manufacture, distribution,
 reported having a firearm in their home in 1994, as did            sale, acquisition, storage, transportation, carrying, and
 32% in 2000. A third survey13 reported that 35% of                 use of firearms in the United States are regulated by a
 homes with children aged ⬍18 years had at least one                complex array of federal, state, and local laws and
 firearm. Of the 192 million firearms owned in the                  regulations. The focus of this review is on assessing the
 United States in 1994, 65 million were handguns, 70                effects of selected federal and state laws on violence-
 million rifles, 49 million shotguns, and the remainder,            related public health outcomes, including death and
 other firearms.12 Approximately 40% of handguns and                injury resulting from violent crimes, suicide, and unin-
 long firearms were semiautomatic. Among handgun                    tentional incidents; we also note effects on other out-
 owners, 34.0% kept their firearms loaded and un-                   comes, such as property crime, the apprehension of
 locked. An estimated 10 million handguns— one sixth                criminals, and school expulsion.
 of the handguns owned—are regularly carried by their                  Reviews of firearms laws and studies of their effects
 owners, about half in the owners’ cars and the other               have been conducted by many others.16 –20 The present
 half on the owners’ persons.10                                     review of selected laws differs from those reviews in that

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 Table 1. Selected Healthy People 2010 21 objectives related to firearms legislation, and proposed health-related outcomes
 Injury prevention
 Reduce firearm-related deaths from 11:3 to 4.1 per 100,000 populationa (Objective 15-3).
 Reduce the proportion of persons living in homes with firearms that are loaded and unlocked from 19% to 16%a (Objective
   15-4).
 Reduce nonfatal firearm-related injuries from 24.0 (in 1997) to 8.6 per 100,000 population (Objective 15-5).
 Unintentional injury prevention
 Reduce deaths caused by unintentional injuries from 35.0 to 17.5 per 100,000 populationa (Objective 15-13).
 (Developmental) Reduce nonfatal unintentional injuries (Objective 15-14).
 Violence and abuse prevention
 Reduce homicides from 6.5 to 3.0 per 100,000 populationa (Objective 15-32).
 Reduce the rate of physical assault by current or former intimate partners from 4.4 (in 1998) to 3.3 per 1000 persons aged
   ⱖ12 years (Objective 15-34).
 Reduce the annual rate of rape or attempted rape from 0.8 (in 1998) to 0.7 per 1000 persons aged ⱖ12 years (Objective 15-
   35).
 Reduce sexual assault other than rape from 0.6 (in 1998) to 0.4 per 1000 persons aged ⱖ12 years (Objective 15-36).
 Reduce physical assaults from 31.1 (in 1998) to 13.6 per 1000 persons aged ⱖ12 years (Objective 15-37).
 Reduce weapon carrying by adolescents on school property from 6.9% (in 1999) to 4.9% (students in grades 9 through 12,
   carrying during the past 30 days) (Objective 15-39).
 Mental health and mental disorders
 Reduce the suicide rate from 11.3 to 5.0 per 100,000 populationa (Objective 18-1).
 Reduce the 12-month average rate of suicide attempts from 2.6% to 1% among adolescents in grades 9 though 12 (Objective
   18-2).
 a
     Baseline: 1998 data, age adjusted to the year 2000 standard population.



 it is based on systematic epidemiologic evaluations and                       violence prevention objectives in Healthy People 2010,21
 syntheses of all available literature meeting specified                       the disease prevention and health promotion agenda
 criteria.                                                                     for the United States. These objectives identify some of
                                                                               the significant preventable threats to health and help
 The Guide to Community Preventive Services                                    focus the efforts of public health systems, policymakers,
                                                                               and law enforcement officials in their efforts to address
 The systematic reviews in this report represent the work                      those threats. Many of the proposed Healthy People
 of the independent, nonfederal Task Force on Com-                             objectives in Chapter 15, “Injury and Violence Preven-
 munity Preventive Services (the Task Force). The Task                         tion,” include outcomes that might be affected by
 Force is developing the Guide to Community Preventive                         firearms laws (Table 1).
 Services (the Community Guide) with the support of the
 U.S. Department of Health and Human Services
 (DHHS) in collaboration with public and private part-                         Conceptual Approach and Analytic Framework
 ners. The Centers for Disease Control and Prevention                          The general methods for conducting systematic reviews
 (CDC) provides staff support to the Task Force for                            for the Community Guide have been described in detail
 development of the Community Guide. A special supple-
                                                                               elsewhere.22–25 This section describes the conceptual
 ment to the American Journal of Preventive Medicine,
                                                                               approach, the selection of laws for review, review meth-
 “Introducing the Guide to Community Preventive Ser-
                                                                               ods, and the determination of which outcomes to
 vices: Methods, First Recommendations and Expert
                                                                               consider in assessing the effects of firearms laws on
 Commentary,” published in January 2000 (volume 18,
                                                                               violence.
 supplement 1), presents the background and the meth-
 ods used in developing the Community Guide. The                                  The logic model used by the review team to evaluate
 Community Guide conducts reviews on a wide array of                           the effectiveness of firearms laws in reducing violence
 public health topics. The present review is part of a                         (Figure 2) depicts the flow of influences of firearms
 broader Community Guide review of violence prevention.                        laws on firearms from their manufacture, through their
 The broader review focuses on youth as victims and                            distribution, acquisition, storage, carrying, and use, to
 perpetrators of violence, but this review addresses fire-                     violent acts (including self-defense) and physical or
 arms laws affecting both adults and youth, since there                        psychosocial injury to direct and indirect victims. En-
 are few laws directed specifically toward youth.                              forcement plays a role at several stages in this process.
                                                                               The enforcement of firearms laws may prevent violence
                                                                               by averting illegal firearms use and may also deter
 Healthy People 2010 Goals and Objectives                                      potential violence. Inadequate enforcement may di-
 This review provides information on the state of knowl-                       minish the effect of a law and make it difficult to assess
 edge about firearms laws interventions related to the                         the potential effect of a law.


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           Regulation              Firearms/
           restrictions           ammunition
       (e.g., pre-emption           laws and
          and litigation          rule-making
              bans)

                                                                               Firearms/
                                                                              ammunition
                                                                                storage
                                     Legal
                                    markets
              Manufacture,                         Legal and
                                                                                                                             Firearms
              import, and                            illegal
                                                                                                                                use
               distribution                        acquisition
                                     Illegal
                                    markets
                                                                                Firearms
                                                                                carrying


         Firearms
         litigation
                                    Societal                                                                           Violent acts,
                                  norms about                              Unintentional                              including self-
                                   violence,                                 injuries                               defense and legal
                                    firearms                                                                           intervention




                                                                                                  Physical/
                                                                                            psychosocial injury
                                                                                           to direct and indirect
                                                                                                   victims

                                                   Interventions
                                                   Intermediate outcomes
                                                   Health outcomes
                                                   Reviewed
                                                   Not reviewed

 Figure 2. Effects of firearms laws on violence.


    We note (Figure 2) two ways in which the legal                   The scientific evidence of effectiveness was reviewed
 process may itself be limited by regulation restric-              for seven firearms laws and for combinations of fire-
 tions: (1) through bans on firearms litigation, and               arms laws (including combinations of the other laws
 (2) through preemption laws that prohibit lower-                  reviewed):
 level legislative bodies (e.g., counties) from enacting
 stronger firearms laws than those enacted at a higher             Bans on specified firearms or ammunition
 level (e.g., states). The model also indicates how                Restrictions on firearms acquisition
 violent outcomes may, in turn, affect the legislative             Waiting periods between application to purchase and
 process by means of several feedback loops (e.g., the               acquisition of firearm
 effects of mass shootings on efforts to pass laws). The           Licensing of firearms users and registration of firearms
 laws reviewed here were chosen to cover different                 Shall issue concealed-weapons carry laws (which obli-
 facets of this model. Many other legal measures also                gate issuing agencies to grant permits for carrying
 merit study (e.g., laws requiring firearm safety train-             concealed weapons to applicants unless excluded by
 ing, allowing purchase of only one firearm per                      specific criteria)
 month, increasing taxes, and requiring background                 Child access prevention laws requiring safe storage of
 checks in private sales).26                                         firearms by owners
    The present review focuses on firearms laws as one             Zero tolerance of firearms in school
 means of preventing violence. Our approach is consis-             Combinations or systems of firearms laws
 tent with the preventive orientation of public health
 and with the general approach of the Community Guide.
 Prevention is regarded as a complement to, not a                  Methods
 replacement for, law enforcement. Subsequent reviews              In the Community Guide, evidence is summarized about (1) the
 will examine several aspects of the justice system in             effectiveness of interventions; (2) the applicability of findings
 reducing violence.                                                (i.e., the extent to which available effectiveness data might


                                                         Exhibit 17                            Am J Prev Med 2005;28(2S1)               43
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 apply to diverse populations and settings); (3) other positive    ECONLIT. We also reviewed the references listed in all
 or negative effects of the intervention, including positive or    retrieved articles, and consulted with experts on the system-
 negative health and nonhealth outcomes; (4) economic              atic review development team and elsewhere to find addi-
 impact; and (5) barriers to implementation of interventions.      tional published reports of studies. We included journal
 In the present review, in which sufficient evidence to deter-     articles, governmental reports, books, and book chapters. We
 mine the effects of firearms laws on violence was not found, we   also reviewed several papers that were in press at the time,
 rarely included comments on applicability or barriers to imple-   identified in web searches and by consultants.
 mentation, and no economic evaluations were conducted.               Articles were considered for inclusion in the systematic
   As with other Community Guide reviews, the process that was     review if they had the following characteristics:
 used to review evidence systematically and then translate that
                                                                   Evaluated the specified law
 evidence into the conclusions presented in this article
                                                                   Assessed at least one of the violent outcomes specified
 involved:
                                                                   Were conducted in an established market economyb
 Forming a systematic review development team                      Reported on a primary study rather than, for example, a
 Developing a conceptual approach to organizing, grouping,           guideline or review
   and selecting interventions                                     Compared a group of people who had been exposed to the
 Selecting interventions to evaluate                                 intervention with a group of people who had not been
 Searching for and retrieving evidence                               exposed or who had been less exposed (the comparisons
 Assessing the quality of and abstracting information from           could be concurrent or in the same group over a period of
   each study                                                        time)
 Assessing the quality of and summarizing/synthesizing the         Published between 1979 and March 2001.
   body of evidence of effectiveness                                  We define a “study” as a research project conducted by a
 Translating the evidence about effectiveness into conclusions     researcher or research group on a particular (study) popula-
                                                                   tion during a given time period, assessing specified research
                                                                   questions using specified methods. Some studies report anal-
 Systematic Review Development Team                                yses of a population at more than one time; multiple findings
 Three groups of individuals served on the systematic review       may thus be included within the study. A study may result in
 development team:                                                 several “reports” on different aspects of the study (e.g., study
                                                                   theory or methods, study population, specific findings). We
 A coordination team drafted the conceptual framework for          consider all reports together to constitute the study and use
   the reviews, coordinated the data collection and review         aspects of the reports that correspond to the topics of our
   process, and drafted evidence tables, summaries of the          review and our review criteria. In some cases, the distinction
   evidence, and the reports. This team consisted of a Task        between studies and reports may be arguable—there is not
   Force member, experts in the methods of systematic re-          always a clear line. When a research team completes a study,
   views and economics from the Community Guide and Pre-           another team responds to it with a different analysis of the
   vention Effectiveness Branches, Division of Prevention Re-      original population (a second study) and the original team
   search and Analytic Methods, Epidemiology Program               then conducts yet a different version of their original study
   Office, CDC; and experts on violence prevention from the        (e.g., using a new control population); we count the original
   National Center for Injury Prevention and Control, CDC,         team’s new study as a different, third study, and note the
   the National Institutes of Health, and the National Institute   connection to the original study and study team.
   of Justice, U.S. Department of Justice.
 A consultation team set initial priorities for the reviews and
   reviewed and commented on materials developed by the            Outcomes Reviewed
   coordination team. The consultants are experts on
                                                                   The outcome measures evaluated to determine the effect of
   violence-related topics in state and local public health
                                                                   the laws reviewed were specific violent crimes (i.e., murder,
   settings, academic organizations, federal agencies, and
                                                                   aggravated assault, robbery, and rape), suicide, and uninten-
   voluntary organizations. These experts have backgrounds
                                                                   tional firearm injury. Aggravated assault is considered a
   in sociology, medicine, public health, economics, health
                                                                   health-related outcome insofar as it is “an unlawful attack by
   promotion, intervention design and implementation,
                                                                   one person upon another for the purpose of inflicting severe
   health education, health policy, and epidemiology.
                                                                   or aggravated bodily injury.”6 Similarly, robbery is considered
 An abstraction team collected and recorded data from studies
                                                                   a health-related outcome insofar as it is “the taking or
   for possible inclusion in the systematic reviews. (See Eval-
                                                                   attempting to take anything of value from the care, custody,
   uating and Summarizing the Studies section.)
                                                                   or control of a person or persons by force or threat of force
                                                                   or violence and/or by putting the victim in fear.”6
 Search for Evidence
                                                                   b
                                                                    Established market economies as defined by the World Bank are
 Electronic searches for literature were conducted in              Andorra, Australia, Austria, Belgium, Bermuda, Canada, Channel
 MEDLINE, EMBASE, ERIC, NTIS (National Technical Infor-            Islands, Denmark, Faeroe Islands, Finland, France, Germany,
 mation Service), PSYCHLIT, PAIS (Public Affairs Informa-          Gibraltar, Greece, Greenland, Holy See, Iceland, Ireland, Isle of Man,
                                                                   Italy, Japan, Liechtenstein, Luxembourg, Monaco, the Netherlands,
 tion Service), Sociological Abstracts, NCJRS (National Crim-      New Zealand, Norway, Portugal, San Marino, Spain, St. Pierre and
 inal Justice Reference Service), CJPI (Criminal Justice           Miquelon, Sweden, Switzerland, the United Kingdom, and the
 Periodicals Index), Gale Group Legal Research Index, and          United States.


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    Although some studies reported firearm-specific outcomes        outcomes effectively, demonstrate effective follow-up, use
 (e.g., firearm-related suicide), we preferred to use outcomes      appropriate analytic methods, and control for confounding
 that did not specify a relationship to firearms, because of a      or other bias. Studies with zero or one limitation are reported
 concern that the reduction in the firearm-specific outcome         to have “good execution”; studies with two to four limitations
 might be accompanied by an increase in non–firearm-specific        are reported to have “fair execution”; and studies with five or
 outcomes (e.g., suicide by hanging), thus possibly reducing or     more limitations are reported to have “limited execution”
 even outweighing the firearm-related benefit. Because vio-         and are not included in the body of evidence.
 lence is not reduced if those who intend to commit suicide            Unless otherwise noted, we represented results of each
 with firearms find other means when firearms are no longer         study as point estimates for the relative change in the rate of
 available, we measure the overall change in outcomes (e.g.,        violent crime, suicide, or unintentional injury or death attrib-
 the rate of suicide).                                              utable to the interventions. We calculated percent changes
    Some studies27,28 assessed the numbers of firearms re-          and baselines using the following formulas for relative
 trieved in the course of investigating crimes, including violent   change:
 crimes, as outcome measures. For example, studies of fire-            For studies with before-and-after measurements and con-
 arms bans may have considered counts of firearms found at          current comparison groups:
 crime scenes before and after bans as an indication of the
 effects of the bans. The use of such evidence to assess the                       (Ipost ⁄ Ipre) ⁄ (Cpost ⁄ Cpre) ⫺ 1
 effects of interventions on violent outcomes rests on many         where
 assumptions, for example, that rates of firearms retrieval are
                                                                    Ipost ⫽ last reported outcome rate in the intervention group
 similar over time for different kinds of firearms, in different
                                                                      after the intervention
 settings. We use such studies only as secondary evidence
                                                                    Ipre ⫽ reported outcome rate in the intervention group
 unless the researchers provide evidence that a high propor-
                                                                      immediately before the intervention
 tion of crime firearms are recovered or other evidence that
                                                                    Cpost ⫽ last reported outcome rate in the comparison group
 the recovery process does not bias the assessment of the
                                                                      after the intervention
 violent outcomes of interest.
                                                                    Cpre ⫽ reported outcome rate in the comparison group
                                                                      immediately before the intervention
 Abstraction and Evaluation of Individual Studies
                                                                      For studies with post-intervention measurements only and
 Two reviewers read each study that met the inclusion criteria,     concurrent comparison groups:
 using standardized Community Guide criteria to assess the
 study evidence.25 Disagreements between the reviewers were                             (Ipost ⫺ Cpost) ⁄ Cpost
 reconciled by consensus of the coordination team members.            For studies with before-and-after measurements but no
 In addition, to ensure consistent assessment of study design       concurrent comparison:
 suitability and limitations in execution quality within the body
 of evidence for each intervention, evaluated studies were                               (Ipost ⫺ Ipre) ⁄ Ipre
 discussed by the coordination team.                                We report the effect as “desired” when, compared with the
                                                                    absence of such a law, the law is associated with a decrease in
 Assessing Suitability of Study Design                              a violent outcome examined, and as “undesired” when the
                                                                    law is associated with an increase in the violent outcome.
 Design suitability was assessed for every included study.22 Our    When effect measures reported by the authors could not be
 study design classifications, chosen to ensure consistency in      converted into percentage changes (e.g., when results were
 the review process, sometimes differ from the classification or    presented as absolute change in rates, without information on
 nomenclature used by study authors. Studies of “greatest           baseline rates), the reported findings are described in the
 design suitability” were those with a concurrent comparison        text. In the reporting of study findings, we used the standard
 group, in which data were collected prospectively; studies of      two-tailed p -value cut-off at the 0.05 level as a measure of
 “moderate design suitability” were retrospective studies or        statistical significance.
 those with multiple pre- or post-intervention measurements,           We often had to select among several possible effect
 but no concurrent comparison group; studies of “least suit-        measures for inclusion in our summary measures of effective-
 able design” were cross-sectional studies or those with no         ness. When available, we used measures adjusted for potential
 concurrent comparison group and only single pre- and               confounders in multivariate analysis in preference to crude
 post-intervention measurements. Noncomparative studies             effect measures. Although no studies were excluded from
 (i.e., those without before-and-after intervention comparison      evaluation strictly on the basis of an insufficient follow-up
 or distinct concurrent comparison populations) were not            period, follow-up periods of ⬍1 year were considered an
 considered in our reviews.                                         execution flaw, and studies with longer follow-up were
                                                                    preferred.
 Assessing Study Quality and Summarizing the                           The studies we examined did not always share our research
                                                                    goals; they examined or provided data to assess outcomes of
 Body of Evidence of Effectiveness
                                                                    interest to us, but may have focused on outcomes that
 Quality of study execution was systematically assessed using       differed from those we sought to examine. For example, one
 the published Community Guide methods.22,25 Studies can            study29 examined the effect of misdemeanor restrictions on
 have as many as nine limitations, including failure to describe    firearms purchase on subsequent first arrests for firearms or
 the study population and intervention, measure exposures or        violent crime. Because we were specifically interested in


                                                            Exhibit 17                      Am J Prev Med 2005;28(2S1)           45
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 violent, but not nonviolent, firearm-related crime, and in all      Other Effects
 subsequent arrests rather than only the first, we used only
 study findings on the outcomes of interest to our review,           We routinely sought information on other (i.e., not violence-
                                                                     related) effects of these population-based interventions, such
 rather than those focused on by the authors.
                                                                     as property crime and school expulsions. We sought evidence
    As noted above, we often transformed the researcher’s
                                                                     of potential harms or benefits if they were mentioned in the
 findings mathematically to make measures comparable across
                                                                     effectiveness literature or considered important by the coor-
 studies. For example, in one study30 of the effects of shall
                                                                     dination team. With the exception of property crime, addi-
 issue concealed-weapons carry laws, the author focused on
                                                                     tional outcomes were not specifically assessed in the papers
 the difference in changes of rates for juveniles and adults, on     that we reviewed.
 the premise that the law should reduce homicide among
 adults at a greater rate than among juveniles (because the law
 does not directly apply to juveniles), and assuming that this       Economic Evaluations, Applicability of
 comparison was an effective way to control confounding. We          Interventions, and Barriers to Implementation
 could not use the results of this analysis to compare with other
                                                                     In Community Guide reviews, economic evaluations are sum-
 studies that assessed changes in rates, so we used baseline         marized for each intervention found to have at least sufficient
 information provided in this study, and calculated changes in       evidence of effectiveness.22 Because we did not find sufficient
 adult and juvenile homicide rates associated with implemen-         evidence of effectiveness of any of the laws reviewed, no
 tation of the law. Our modifications of study approaches are        economic evaluations were performed.24 The applicability of
 noted in the summary evidence tables available at the Com-          the intervention to populations and settings not specifically
 munity Guide website (www.thecommunityguide.org/violence).          studied and the barriers to implementation of the interven-
    In several firearms law reviews, two or more studies—most        tion may be assessed whether or not the intervention is found
 often conducted by different research teams— examined the           to be effective.
 same intervention (e.g., a specific law, in the same popula-
 tion, over the same time period) and reported on the same
 outcome(s), but differed in study design and execution
                                                                     Summarizing Research Gaps
 quality. We characterize such studies as nonindependent             Many systematic reviews in the Community Guide identify
 because they represent a single experience of the assessed          existing information on which to base public health practice.
 intervention. To avoid double counting of a single experi-          Whether or not a sufficient evidence base supports practice
 ence, we chose the study with the best combination of design        recommendations, an important benefit of these reviews is
 suitability and quality of execution to represent the overlap-      identification of areas where information is lacking or of poor
 ping group of studies. We refer to separate analyses from one       quality. For the topics reviewed here, evidence was insuffi-
 study, including distinct publications, as “reports.” Some          cient to develop recommendations. We summarized remain-
 studies were only partially overlapping (e.g., providing over-      ing questions about effectiveness, and identified key issues
 lapping national estimates but one or more unique state             that had emerged from the review, based on the informed
 estimates). In those cases, we excluded the overlapping             judgment of the systematic review development team.
 estimates but used the nonoverlapping ones. Some studies
 provided findings on several firearms laws and may thus be          Sources of Information for Firearms Law
 analyzed in two or more of our reviews.                             Effectiveness Studies
    We summarized the strength of the body of evidence based
 on numbers of available studies, strength of their design and       Studies of firearms law effectiveness have employed several
 execution, and size and consistency of reported effects using       sources of information, and the limitations of these sources
 the Community Guide approach described in detail else-              should be understood. Information on laws—the “exposures”
 where.22 When the number of studies and their design and            in these studies—are derived from federal government re-
                                                                     ports (e.g., Bureau of Alcohol, Tobacco and Firearms,
 execution quality were sufficient by Community Guide stan-
                                                                     200011) and published analyses (e.g., Cramer and Kopel,
 dards to draw a conclusion on effectiveness, results are
                                                                     199531). There have been substantial discrepancies among
 summarized graphically and statistically. To summarize the
                                                                     sources in the specification of which jurisdictions have en-
 findings about the effectiveness of an intervention across the
                                                                     acted which laws; this has led to differences in the classifica-
 studies in a body of evidence, we display results of individual
                                                                     tion of “exposure” to laws in evaluation studies and systematic
 studies in tables and figures and report median and inter-          reviews.
 quartile range of effect measures. We note whether or not              Evaluations of the effectiveness of firearms laws most often
 zero is included within the upper and the lower interquartile       rely on two sources of information on violent outcomes: the
 ranges. When the range includes zero, we infer that the             Uniform Crime Report (UCR) from the Federal Bureau of
 results are inconsistent in direction; when the interquartile       Investigation (FBI), and Vital Statistics of the United States
 range does not include zero, we infer that the results are          from the National Center for Health Statistics of the CDC.
 consistent in direction.                                            These record systems were initially developed for administra-
    It is critical to note that when we conclude that evidence for   tive uses and simple statistical monitoring, but have been
 the effectiveness of a given firearms law on an outcome is          widely used for research.
 insufficient, we mean simply that we do not yet know what              Most studies of the effects of firearms laws use the UCR to
 effect, if any, the law has on that outcome. We do not mean         assess outcomes; the UCR documents reports of and arrests
 that the law has no effect on the outcome.                          for violent crimes (i.e., murder, robbery, aggravated assault,


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 and rape) and property crimes (i.e., burglary, larceny, auto-          suicide and unintentional injury)38 as well as by demographic
 mobile theft, and arson) sent to the FBI by the 18,413 law             characteristics.39,40 Unintentional firearm-related deaths ap-
 enforcement reporting agencies in the United States.32 There           pear to be substantially undercounted (i.e., misclassified as
 are several limitations of UCR data. First, crime reporting to         due to another cause).41 Furthermore, there is a lack of
 the police is not complete.6 A population-based survey, the            circumstantial detail in vital statistics data, particularly about
 National Crime Victimization Survey, indicates that, in 2001,          the perpetrators of homicide and the agents of unintentional
 U.S. adults reported to law enforcement agencies only 61.4%            injuries.
 of their 1.8 million experiences of violent crime victimization           Finally, sources of information on potential confounders in
 (excluding murder).                                                    firearms law effectiveness studies have presented a challenge.
    In addition to incomplete reporting to police by victims,           Major confounders include phenomena such as poverty,
 law enforcement agencies substantially under-report crime to           unemployment, gangs, drug cycles, intensity of law enforce-
 the FBI. For example, during the 36-month period from 1992             ment, and other existing laws. There have been disagree-
 to 1994, only 64% of these agencies reported crimes for each           ments about how best to conceptualize and measure these,
 month, and 5% provided no data at all.32 Moreover, quality of          and data for some have been difficult, if not impossible, to
 reporting varies substantially by time and by state: from the          find. Information on arrests for crime has been used as an
 mid-1980s to the late 1990s, 12 states reported problems with          independent variable in firearms law studies to control for
 their data (e.g., using definitions for specific crimes that           degree of enforcement activity. Yet FBI arrest data may be
 differed from UCR definitions) for ⬎1 year, and these data             even more problematic than UCR crime data in terms of
 could not be used in the UCR.                                          under-reporting and differential reporting by crime and
    When data are missing in the UCR, they are imputed,                 other characteristics.32 Arrest rates (i.e., number of arrests
 generally on the assumption that information not reported for
                                                                        per number of crimes) have been used to control for poten-
 given reporting areas at given times is similar to that reported in
                                                                        tial confounding by degree of law enforcement; however, the
 other places or time periods. Maltz and Targonski33 recently
                                                                        use of arrest rates creates statistical problems, because crime
 argued that UCR crime data at the county level are currently too
                                                                        is then both the dependent and an independent variable in
 unreliable for use in research; however, because crime generally
                                                                        these analyses. Taken together, all of these features of avail-
 occurs at higher rates in cities, city-level crime data are regarded
                                                                        able data sources severely limit the ability to understand the
 as sufficiently reliable for research use. The problems of police
                                                                        effectiveness of firearms law in preventing violence.
 reporting described by Maltz32 compound the under-reporting
 of crime by victims. Since nationally representative surveys of
 victims indicate that victims report only 43.9% of violent victim-     Results: Part I—Intervention Effectiveness
 izations and since the UCR represents 87% of the U.S. popula-
                                                                        Bans on Specified Firearms or Ammunition
 tion, UCR crime data are likely to represent approximately
 38.2% (i.e., 0.87⫻0.439) of violent victimizations in the United       Bans on specified firearms and ammunition prohibit
 States.34 Under-reporting by itself might not result in bias, but if   the acquisition and possession of certain categories of
 under-reporting differs systematically across times or places—a        firearms (e.g., machine guns or assault weapons) or
 plausible scenario—it could result in biases in either direction.
                                                                        ammunition (e.g., large-capacity magazines or hollow-
 The UCR data source supplies a special population data set that
 is reduced in numbers in proportion to the under-reporting in
                                                                        point bullets). They can also include prohibitions on
 each reporting area: use of standard, unreduced population             the importation or manufacture of the specified fire-
 estimates from the Bureau of the Census will underestimate             arms. Bans may be adopted at the federal, state, or local
 rates in these circumstances.                                          level, and may be combined with additional firearms
    In addition to under-reporting, UCR data present another            regulations, such as requirements for safe storage, age
 challenge for research: They are aggregated, so that numbers           restrictions on acquisition, or restrictive licensing re-
 of events are reported, but not information on the circum-             quirements for firearms dealers. Bans are intended to
 stances of each event. Aggregate reporting limits the analysis         decrease the availability of certain types of firearms to
 of social “mechanisms” by which firearms laws might work.
                                                                        potential offenders, and thus reduce the capacity of
 Several studies of the effects of firearms laws on homicide
 have used the FBI’s Supplemental Homicide Reports35 in which
                                                                        such offenders to perpetrate crime.27
 individual record information is available, allowing fuller               Bans are usually imposed on the types of firearms or
 analysis of the circumstances of homicides. The implementa-            ammunition that are either thought to be particularly
 tion of the FBI’s National Incident-Based Reporting System36           dangerous and not well suited for hunting or self-
 and the development of the National Violent Death Report-              defense (e.g., semiautomatic and fully automatic assault
 ing System37 may substantially address this limitation of the          weapons) or disproportionately involved in crime (such
 UCR data system.                                                       as cheap, low-quality, small-caliber handguns usually
    The other principal source of data for firearms law evalu-          referred to as “Saturday night specials”). Sometimes,
 ation outcomes, Vital Statistics of the United States—a report
                                                                        especially in high-crime urban settings, bans may in-
 of U.S. deaths prepared by CDC’s National Center for Health
 Statistics—includes information on homicides, suicides, and
                                                                        clude a broad spectrum of firearms (e.g., the ban
 unintentional deaths, including firearm-related deaths. Al-            enacted in Washington DC in 1976,42 on purchase, sale,
 though virtually all U.S. deaths, including deaths in all              transfer, and possession of all handguns by civilians
 counties, are counted in this system, some misclassification           unless the handguns were previously owned and
 occurs by cause of death (particularly for causes such as              registered).

                                                               Exhibit 17                       Am J Prev Med 2005;28(2S1)             47
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 Table 2. Bans of gun acquisition or possession: descriptive              studies had fair execution quality. Five studies42– 44,46,47
 information about included studies                                       evaluated the 1976 Washington DC handgun ban. Two
                                                   Studies (n)            of these were not considered because they assessed
                                                                          follow-up periods that were relatively short (2 years)
 Studies meeting inclusion criteria                917,27,28,42–47
                                                                          compared with the remaining studies of the DC ban.
 Studies excluded, limited design or               0
   execution quality                                                         Because the three remaining studies42,46,47 (two42,47
 Qualifying studies                                917,27,28,42–47        conducted by the same team of researchers) assessed
   Independent studies included in body            317,42,45–47b          the effects of the DC handgun ban on homicide during
     of evidencea                                                         a similar time period, they were counted as non-
   Studies assessing nonrecommendation             227,28
     outcomes
                                                                          independent and as one study experience. They
   Nonindependent studies, not in body             243,44                 reached inconsistent conclusions about the effects of
     of evidencea                                                         the law on homicide, principally because of method-
 Designs of included studies                                              ologic differences and differences in comparison pop-
   Time series with concurrent                     442,45–47              ulations. Two found a decrease in homicide in
     comparison group
                                                                          Washington DC compared with surrounding regions,42
   Time series, no concurrent                      128
     comparison group                                                     and with Memphis and Philadelphia,47 cities of compa-
   Retrospective with concurrent                   127                    rable size. The third46 found increases in homicide
     comparison group                                                     rates in Washington DC compared with Baltimore, a
   Cross-sectional                                 117                    city with comparable crime rates. Because of the limi-
 Outcomes reported in included studies
   Homicide                                        317,42,45–47b
                                                                          tations of all the studies and inconsistent results and
   Aggravated assault                              117                    conclusions, and because there was no best study, we
   Robbery                                         117                    concluded that the evidence was insufficient to deter-
   Rape                                            117                    mine the effectiveness of the Washington DC handgun
   Suicide                                         317,42,47              ban on reducing homicide.
   Unintentional firearm-related injury            117
     death
                                                                             Two studies of the Washington DC handgun ban42,47
   Gun counts or proportions                       227,28                 found a decrease in suicide, compared with control
 a                                                                        regions without a similar ban. These results, however,
  Studies are described as “independent” if they do not assess the same
 intervention in the same population for a similar follow-up period.      were inconsistent with the other study of the effect of
 Among nonindependent studies, the one with the longest follow-up         bans on suicide,17 which found increases as well as
 or the best design or execution is chosen to represent this interven-    decreases in suicides associated with several types of
 tion experience.
 b
   Three studies42,46,47 are nonindependent, with no clear superiority    bans.
 of one study over the others in design or execution. All assessed the       One study examined the effects on homicide rates of
 Washington DC handgun ban; each used a different control popula-         the 1994 Federal Violent Crime Control Act that
 tion.
                                                                          banned assault weapons and large-capacity ammunition
                                                                          magazines. Comparing states with bans similar to but
    Bans commonly exempt firearms in the banned
                                                                          enacted before the federal ban with states with no such
 category owned prior to implementation of the ban
                                                                          ban, the study found a relative decline in homicide
 (i.e., they “grandfather” those weapons), although such
                                                                          rates in states without a prior ban, suggesting a benefit
 bans may require the registration of grandfathered
                                                                          associated with the new ban.45 A study of least suitable
 firearms. Grandfathering is a critical element in bans
                                                                          (i.e., cross-sectional) design17 assessed the effects of
 insofar as it could allow large stocks of the banned
                                                                          handgun possession, handgun sales, and bans of sales
 items to remain available after the ban goes into effect.
                                                                          of Saturday night specials on homicide, aggravated
 Review of evidence: effectiveness. Our search identi-                    assault, robbery, rape, fatal unintentional firearm-
 fied nine studies on the effects of bans on violent                      related injury, and suicide in the 170 U.S. cities with
 outcomes or on the use of the banned fire-                               populations ⬎100,000 in 1980, and found no consistent
 arms.17,27,28,42– 47 Descriptive information about exe-                  results.
 cution quality, design suitability, and outcomes eval-                      Two studies evaluated Maryland laws—a 1988 law
 uated in these studies is provided in Table 2. More                      banning manufacture and sale of Saturday night spe-
 detailed information on the studies used in this                         cials,27 and a 1994 law banning sales of assault pistols.28
 review are provided at the website (www.                                 These studies evaluated outcomes not directly related
 thecommunityguide.org/violence); Appendix A, which                       to health, such as proportions of banned firearms
 shows evidence used in the review of the effects of                      among all recovered crime firearms, or counts of
 bans, is an example of the detailed tables for all                       recovered banned firearms used in crime. They indi-
 firearms law evidence reviews available on the                           cated reductions in banned firearms, either in compar-
 website.                                                                 ison with firearms used prior to the ban28 or with other
    Among the seven studies that evaluated violent out-                   cities without such a ban.27 Because the decrease in the
 comes, one17 was of least suitable design; all seven                     number of banned firearms exceeded the increase in


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 the number of additional nonbanned firearms, there          Law, was implemented in March 1994 to strengthen the
 was a net reduction in firearm retrievals overall.27        Gun Control Act of 1968 (P.L. 90-618) and to require
   Overall, the number of independent studies was            the active investigation of the backgrounds of people
 small (three) and available evidence on violent out-        applying to purchase handguns. Applications can be
 comes was inconsistent. One study of greatest design        rejected if the applicant’s background is found to
 suitability found a decrease in homicide,45 while other     include a felony indictment or conviction, domestic
 nonindependent studies42,46,47—also of greatest design      violence restraining order, unlawful use of or addiction
 suitability—showed inconsistent findings. A study with a    to drugs, or dishonorable discharge, or if the applicant
 least suitable design17 also found mixed effects for        is a fugitive from justice or an illegal alien or has been
 multiple outcomes. Additional evidence suggested that       adjudicated a “mental defective.” The Interim Brady
 banned firearms are about half as likely to be used in      Law required a 5-day waiting period to allow the
 crimes after the ban, compared with before the ban          background investigation. (Evidence about the Interim
 period or with areas where the same firearms are not        Brady Law is included in the review of the effects of
 banned.27,28                                                waiting periods.) The interim law was to be replaced by
                                                             a permanent law following implementation of the
 Other effects. In the period immediately preceding
                                                             National Instant Background Check System in 1998.
 initiation of a ban, the production and sales of firearms
                                                             The Lautenberg amendment (P.L. 104-208) of 1996
 about to be banned can increase dramatically.45 Ban-
                                                             added a restriction that prohibits the sale of firearms to
 ning cheap firearms has been asserted48 to decrease the
                                                             those convicted of a domestic violence misdemeanor.
 capacity for self-protection among people in economi-
                                                             In 1997, in Printz v. United States (521 U.S. 98, 117 S.Ct.
 cally disadvantaged populations, who are also more
                                                             2365 (1997)), the U.S. Supreme Court ruled that states
 likely to reside in high-crime neighborhoods. There is,
                                                             could not be required to conduct background checks
 however, no evidence for or against this hypothesis.
                                                             for the Interim Brady Law; for states that chose not to
 Conclusion. According to Community Guide criteria,22        conduct background checks, the FBI had to conduct
 available evidence is insufficient to determine the ef-     the checks.
 fectiveness or ineffectiveness on violent outcomes of          The Permanent Brady Act (November 1998, P.L.
 banning the acquisition and possession of firearms.         103-159), subsequently referred to as the Brady Law,
 The number of available studies was small, some avail-      required instant background checks for all firearms
 able studies were limited in their design and execution,    purchases, not only handguns. It eliminated the 5-day
 and results were inconsistent. Further research is          waiting period, but required firearms dealers to wait a
 needed to evaluate the effects of bans of specified         maximum of 3 days to allow the location of required
 weapons or ammunition on violence and related health        records, after which, if no prohibitory information had
 and social outcomes.                                        been identified, the purchase could proceed. Some
                                                             states have restrictions in addition to the federal ones,
                                                             and some states had such laws preceding the Interim
 Acquisition Restrictions
                                                             Brady Law.50,51
 State governments and the federal government have              Studies by the federal government52,53 indicate diffi-
 made concerted efforts to deny the purchase of fire-        culties in the instant background check system, primar-
 arms to people with specified characteristics thought to    ily because of a lack of records on many restriction
 indicate high risk for illegal or other harmful use of      categories (e.g., on individuals adjudicated “mental
 firearms. Restriction characteristics include criminal      defective,” with a history of drug addiction, or with
 histories (e.g., felony conviction or indictment, domes-    illegal immigrant status) or because criminal records
 tic violence restraining order, fugitive of justice, or     are difficult and sometimes impossible to retrieve. The
 conviction on drug charges); personal histories (e.g.,      Bureau of Justice Statistics reports54 that in 1999, of an
 people adjudicated as “mental defective,” illegal immi-     estimated 59 million criminal history records available
 grants, those with a dishonorable military discharge);      to states, 89.4% were automated. However, only a
 and other characteristics (e.g., juveniles). (The term      median of 69% of state records systems had the records
 “mental defective” is a determination by a lawful au-       of conviction status required to assess firearms restric-
 thority that a person, as a result of marked subnormal      tions. The investigation of individual applicant criminal
 intelligence or mental illness, is a danger to self or      histories may thus require the search of paper files—a
 others, or lacks the mental capacity to manage his or       time-consuming, costly, and not always successful activ-
 her own affairs. The term also includes a court finding     ity, especially within the 3 days allowed.55 Notable
 of insanity in a criminal case, incompetence to stand       improvements in the background check system have
 trial, or not guilty by reason of lack of mental            been made,56 but the system is still incomplete and
 responsibility.49)                                          lacks the records needed to be fully effective.
    The federal Interim Brady Handgun Violence Pre-             The Brady Law has prevented some prohibited peo-
 vention Act (P.L. 103-159), hereafter Interim Brady         ple from purchasing firearms at the point of applica-

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 Table 3. Legal restrictions on gun acquisition: descriptive               the largest proportion of those excluded by the law, we
 information about included studies                                        assessed this study as evaluating the felony conviction
                                                         Studies (n)       restriction, and note that evaluation studies often assess
                                                                           several intervention components at once. One study29
 Studies meeting inclusion criteria                      417,29,50,59
                                                                           examined the effect of restrictions based on misde-
 Studies excluded, limited design or                     0
   execution quality                                                       meanor convictions on violent crime overall. Another
 Qualifying studies                                      417,29,50,59      study17 examined the effect of “mental defective” sta-
   Independent studies included in                       417,29,50,59      tus, drug abuse, alcohol, and (unspecified) age restric-
     body of evidencea                                                     tions against minors on specific violent crimes, suicide,
   Nonindependent studies, not in                        0
     body of evidencea
                                                                           and unintentional injury. The studies of felony convic-
 Designs of included studies                                               tion restrictions50,59 were of greatest design suitability
   Prospective with concurrent                           229,50,59         and fair execution; the study of misdemeanor restric-
     comparison group                                                      tions29 was of greatest design suitability and good
   Cross-sectional                                       117               execution; and the study of “mental defective” status,
 Outcomes reported in included studies
   Homicide                                              217,50
                                                                           drug abuse, alcohol, and age restrictions17 was of least
   Aggravated assault                                    117               suitable design and fair execution.
   Robbery                                               117                  One study59 evaluated the effect of felony conviction
   Rape                                                  117               restrictions in California, and concluded that subse-
   Violent crime                                         229,59            quent arrest for violent crime among restricted felons
   Suicide                                               217,50
                                                                           was 19.4% lower (95% confidence interval [CI]⫽9.9%,
   Unintentional firearm-related injury                  117
     death                                                                 28.1%) than would have been expected had these
 a                                                                         felons been allowed to purchase firearms. The second
  Studies are described as “independent” if they differ by intervention,
 population, or follow-up period.                                          study of felony conviction restrictions50 indicated statis-
                                                                           tically nonsignificant declines for firearm-related homi-
                                                                           cide and suicide and total homicide and suicide in the
 tion for purchase. A review conducted in 199957
                                                                           U.S. population aged ⱖ21 years, and a statistically
 indicated that of 12.7 million handgun purchase appli-
                                                                           significant decline in firearm-related suicide deaths
 cations (approximately 2.8 million per year) made
                                                                           among people aged ⱖ55 years. However, by comparing
 during the period of the Interim Brady Law, 312,000
                                                                           outcomes in states that had a waiting period prior to
 (2.4%) had been rejected— 63.3% of those because of
                                                                           the Brady Law with states that did not previously have a
 a felony conviction, 13.3% because of a domestic
                                                                           waiting period, this study showed that this reduction
 violence misdemeanor conviction or restraining order,
                                                                           was attributable not to the felony restriction per se, but
 6.6% because of state-specific prohibitions, 6.1% be-
                                                                           to the waiting period component of the Interim Brady
 cause the applicant was a fugitive from justice, and
                                                                           Law.
 8.3% for other reasons. During the first year of the
                                                                              A single study29 indicated that a misdemeanor con-
 Permanent Brady Law, there were 8.8 million back-
                                                                           viction restriction reduces the rate of first arrest for
 ground checks, 2% resulting in denial; 17% of denials
                                                                           violent crime by 19.4% and arrests over a 3-year period
 were appealed, of which 22% were reversed.58 During
                                                                           for firearm or violent crime by 10.7%; however, neither
 the same period, 2230 fugitives of the law were identi-
                                                                           result is statistically significant, and the single study is
 fied, and 3353 prohibited people were found to have
                                                                           thus not sufficient to draw a conclusion about effective-
 been erroneously permitted to acquire firearms.
                                                                           ness, because it is not clear that either finding differs
 Review of evidence: effectiveness. Our search identi-                     from no change.
 fied four studies on the effects of acquisition restric-                     One study17 examined four personal history restric-
 tions on violent outcomes.17,29,50,59 One additional                      tions (i.e., “mental defective,” drug abuse, alcohol, and
 study60 examined only the waiting period component                        minor age) and their associations with homicide, aggra-
 of the Brady Law (see review of waiting periods, below).                  vated assault, robbery, rape, suicide, and unintentional
 Descriptive information about execution quality, de-                      injury. This cross-sectional study had 10 effects in the
 sign suitability, and outcomes evaluated in these studies                 desired direction and 14 in the undesired direction, 2
 is provided in Table 3. Details of the four independent                   of them statistically significant. Overall, evidence of
 qualifying studies are available at the website (www.                     consistent effect by restriction or outcome is limited,
 thecommunityguide.org/violence).                                          because of small numbers of studies of each outcome
    Two studies50,59 examined the effects of restrictions                  and inconsistent directions of effect.
 based on prior felony conviction; one59 assessed overall                     One study50 allowed assessment of the substitution
 violent crime as an outcome, and the second50 assessed                    effect (i.e., because the restriction or a waiting period
 homicide and suicide. One of these studies50 examined                     makes firearms unavailable, people substitute other
 the effect of the Interim Brady Law as a whole. Because                   means to harm others or commit suicide). The re-
 felony convictions constitute the exclusion factor for                    searchers found evidence of a substitution effect for


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 suicide, but not for homicide; however, the suicide           Table 4. Waiting periods for firearm acquisition: descriptive
 substitution effect is relatively minor: an increase of       information about included studies
 3.0% in non-gun suicide, compared with the firearm-                                                         Studies (n)
 specific suicide decline of 8.6%.
                                                               Studies meeting inclusion criteria            717,50,63–67
 Other effects. Restrictions may facilitate the identifica-    Studies excluded, limited design or           0
 tion and capture of wanted persons.56 Background                execution quality
                                                               Qualifying studies                            717,50,63–67
 checks may also act as a deterrent to application by          Designs of included studies
 people prohibited from purchasing weapons. However,             Time series with concurrent                 250,64
 we found no evidence of this or of whether denied                 comparison group
 applicants subsequently acquired firearms by other              Before and after, no concurrent             163
 means (e.g., from the secondary market). One poten-               comparison group
                                                                 Cross-sectional                             417,65–67
 tial harm is false positives, that is, people falsely re-
                                                               Outcomes reported in included studies
 ported as having a restriction, who may subsequently be         Homicide                                    617,50,64–67
 stigmatized and mistakenly denied a firearm.                    Aggravated assault                          517,64–67
                                                                 Robbery                                     517,64–67
 Conclusion. According to the Community Guide crite-             Rape                                        217,64
 ria,22 the available evidence is insufficient to determine      Suicide                                     617,63–67
 the effect of firearms acquisition restrictions on public       Unintentional firearm-related injury        317,64,66
 health and criminal violence, because of a small num-             death
 ber of available studies, limitations in their design and
 execution, and variability in the direction and statistical
                                                               website: www.nra.org) to 1561 to 1962, with waiting
 significance of findings. The only restriction for which
                                                               periods ranging from 2 days (in Alabama, Nebraska,
 study design suitability and execution met our criteria
                                                               South Dakota, and Wisconsin) to 6 months (in New
 was the misdemeanor conviction restriction; in this
                                                               York).61
 instance, the effect was in the expected direction, but
 was not statistically significant, and we were thus unable    Review of evidence: effectiveness. Our search identi-
 to draw a conclusion. Further research is needed to           fied seven studies on the effects of waiting periods on
 evaluate the effects of acquisition restriction laws on       violent outcomes.17,50,63– 67 Descriptive information
 violence, other health-related outcomes, and related          about execution, design suitability, and outcomes eval-
 health and social effects.                                    uated in these studies is provided in Table 4. Details of
                                                               the seven independent qualifying studies are available at
                                                               the website (www.thecommunityguide.org/violence). One
 Waiting Periods for Firearms Acquisition
                                                               study63 was conducted in Queensland, Australia; the re-
 Waiting periods for firearms acquisition require a spec-      maining studies were conducted in the United States.
 ified delay between application for and acquisition of a         Among the seven qualifying studies, five17,63,65– 67
 firearm. This requirement is usually imposed to allow         were of lowest design suitability, and two50,64 of greatest
 time to check the applicant’s background or to provide        design suitability; all seven studies had fair execution.
 a “cooling-off” period for people at risk of committing       One study64 presented the effectiveness results as a
 an impulsive crime or suicide. In addition to back-           mathematical function of the length of waiting period;
 ground checks, waiting periods can be combined with           for purposes of this review, we calculated an effect
 other provisions, such as a requirement for safety            estimate for a 5-day waiting period (as required by the
 training.                                                     Interim Brady Law).
    The Interim Brady Handgun Violence Prevention                 Of six studies that evaluated the effects of waiting
 Act, a federal law that went into effect in 1994, man-        periods on homicide, four17,65– 67 had least suitable
 dated a background check and a 5-day waiting period           designs. Results were mixed: three point estimates
 for handgun purchasers. In 1998, the 5-day waiting            showed a reduction in homicide, two showed an in-
 period required by the Interim Brady Law expired, and         crease (one study with results for 2 decades, the 1960s
 was replaced by a mandatory, computerized National            and 1970s), and none of these findings were statistically
 Instant Criminal Background Check System (required            significant. Two studies66,67 found that results were not
 not only for handguns, but for all firearms purchases),       statistically significant without providing either size or
 allowing dealers to sell the firearm if the FBI reported      direction of the effect.
 no adverse evidence to the dealer within 3 days of               Six studies evaluated effects of waiting periods on
 application. However, many states have their own pro-         suicide. One study63 evaluated the effect of waiting
 visions mandating longer waiting periods for handgun          periods for long firearm purchase, one50 for handgun
 or long firearm purchases or both. Reports on the             purchase (under the Interim Brady Law 5-day waiting
 number of states with waiting periods for handgun             period), and four17,64,66,67 for both long firearm and
 purchases vary from 10 (National Rifle Association            handgun purchases. Two17,63 studies presented data

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 that allowed the calculation of relative percentage          Firearms Registration and Licensing of Firearm
 change in suicide rates; one17 found a small (0.5%)          Owners
 increase and one63 a small (2.9%) decrease in total
 suicides. Two50,64 studies reported only absolute            Registration requires that a record of the owners of
 changes in suicide rates without data on baseline rates,     specified firearms be created and retained.68 Licensing
 which did not allow calculation of relative percent          requires an individual to obtain a license or other form
 change. One study reported decreases in firearm sui-         of authorization or certification that allows the pur-
 cide rates among children (aged 0 to 14 years) and           chase or possession of a firearm.68 Licensing and
 adolescents64 (aged 15 to 19 years), and the second          registration requirements are often combined with
 study reported a decrease in both firearm-related and        other firearms regulations, such as safety training or
 total suicide rates among adults (aged ⱖ21 years).50         safe storage requirements.
 However the second study’s decrease was statistically           The registration practices of states and the federal
 significant only in a subsample of people aged ⱖ55           government vary widely.69 Recorded information may
 years, and only for firearm-related suicide.50 Two stud-     be retained by a specified recorder, such as by federal
 ies66,67 reported that results were not significant, with-   firearms licensees; such records may be accessible un-
 out providing either size or direction of the effect.        der specified circumstances, such as criminal investiga-
    Evidence of the law’s effects on aggravated assault,      tions. In some states, recorded information is kept in
 robbery, rape, and unintentional firearm-related injury      centralized registries. The Firearm Ownership Protec-
 death were inconsistent in direction, with six of the        tion Act of 1986 specifically precludes the federal
 effect estimates indicating an increase, five indicating a   government from establishing and maintaining a na-
 decrease, and none being statistically significant.          tional registry of firearms and their owners. Likewise,
    Comparison of the effect on suicide of a 28-day           there are no current federal firearms licensing require-
 waiting period for long firearms (in Queensland, Aus-        ments or provisions for individual purchasers. How-
 tralia)63 with a 5-day waiting period for handguns           ever, several states have laws that require the licensing
 (associated with the Interim Brady Law)50 indicated a
                                                              of firearm owners or registration of firearms, and
 greater effect associated with the longer waiting period
                                                              recorded information is kept in centralized registries.
 for firearm-related suicide, but not for total suicide.
                                                              For example, licensing of handgun owners is required
    Several studies,17,50,63 for which both firearm and
                                                              in 17 states and the District of Columbia.6 Statewide
 non-firearm effect estimates were available, suggested
 the presence of a partial substitution effect for suicide,   handgun registration laws currently exist in four states.
 in which decreases in firearm-related suicide are offset,    Licensing and registration may serve as instruments for
 but at substantially lower levels, by increases in non-gun   the control of illegal firearms ownership, transfer, and
 suicide. No such substitution effects were found for         use,56,70 and might also deter illegal acquisition and
 homicide, aggravated assault, or robbery.                    use.

 Other effects. It has also been asserted60 that waiting      Review of evidence: effectiveness. Our search identi-
 periods may give criminals (who may be more likely to        fied five studies17,65– 67,71 on the effects of licensing
 acquire firearms by illegal means and avoid the waiting      on violent outcomes, two17,71 of which also report on
 period) an advantage in obtaining firearms over law-         the effects of registration. One study17 was based on
 abiding citizens (who may lack means of self-defense         data collected in 1979 to 1981, one65 on data collected
 during the waiting period). However, there is no evi-        in the 1960s and 1970s, one66 on data collected in 1978,
 dence for or against this hypothesis. One study64 re-        and one67 on data collected in 1969 –1970; one71
 ported inconsistent effects of waiting periods on prop-      assessed firearms retrieved from crimes during a 1-year
 erty crime; it found an increase in burglary and a           period (1997–1998). All five studies were of least suit-
 decrease in larceny and auto theft.                          able (cross-sectional) design and had fair execution.
 Conclusion. According to the Community Guide crite-          Descriptive information about execution quality, de-
 ria,22 the evidence is insufficient to determine the         sign suitability, and outcomes evaluated in these studies
 effectiveness of waiting periods for the prevention of       is provided in Table 5, and at the Community Guide
 suicide, homicide, aggravated assault, robbery, rape,        website (www.thecommunityguide.org/violence). Details of
 and unintentional firearm-related injury death, be-          the four independent qualifying studies are also avail-
 cause of the small number of available studies, limita-      able at the website.
 tions in the design and execution of available studies,         Evidence of the effects of licensing and registration
 and effects that are inconsistent in direction or fail to    on diverse study outcomes was inconsistent, with eight
 reach statistical significance. Further research is          of the effect estimates showing increases in violence,
 needed to evaluate the effects of waiting period laws on     and eight showing decreases. (One study had data on
 violence, other health-related outcomes, and associated      three outcomes each for 1960 and 1970.) Two stud-
 health and social effects.                                   ies66,67 reported that results were statistically nonsignif-


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 Table 5. Firearm registration and owner licensing:                 to have specified characteristics that disqualify them. In
 descriptive information about included studies                     contrast, some states have adopted “may issue” laws, in
                                                 Studies (n)        which the issuing authority has the discretion to issue
                                                                    or deny a firearms permit based on criteria such as the
 Studies meeting inclusion criteria              517,65–67,71
 Studies excluded, limited design or             0
                                                                    perceived need or moral character of the applicant,
   execution quality                                                and other states prohibit all carrying of concealed
 Qualifying studies                              517,65–67,71       weapons (as of 2001, six states had such a prohibition).6
   Studies used as secondary evidencea           171                Disqualification criteria in shall issue laws vary by state,
 Designs of included studies                                        but generally include, among others, prior felony con-
   Cross-sectional                               517,65–67,71
 Outcomes reported in included studies                              viction, conviction on a drug charge in the past 3 years,
   Homicide                                      417,65–67          commitment to a mental hospital in the past 5 years,
   Aggravated assault                            417,65–67          fugitive from justice, or age below a specified mini-
   Robbery                                       417,65–67          mum. States also differ substantially in requirements
   Rape                                          166                such as firearms safety training, permit fees, and spec-
   Suicide                                       417,65–67
   Unintentional firearm-related injury          217,66             ifying places where firearms may not be carried.11
     death                                                             Before 1977, only eight states had shall issue laws,
   Gun counts or proportions                     171                compared with 31 states as of 2000.62 Researchers
 a
  Secondary evidence does not directly measure a violent outcome,   disagree on which states adopted shall issue laws and
 but may be suggestive of an effect.                                when.74 –76 For example, several studies consider Vir-
                                                                    ginia to have had a shall issue law in 1988.74,75,77– 80
 icant without providing either size or direction of the            However, although the Virginia law at that time in-
 effect.                                                            cluded the phrase “shall issue,” the law also required
    One study71 assessed recovered firearms that had                demonstration of the applicant’s need and “good char-
 been used in crimes in states with and without licensing           acter”— both characteristics of the more discretionary
 and registration laws. We counted this study as second-            “may issue” laws. Differential classification of the laws
 ary evidence because it provided neither a direct mea-             may affect analyses of their effects.
 sure of violent outcomes or evidence that the use of                  Two principal hypotheses, which are not mutually
 recovered firearms is a good proxy measure of crime.               exclusive, have been proposed to predict the conse-
 This study reported that crime firearms purchase in-               quences of shall issue laws. Some analysts have rea-
 state was 48.5% lower in cities that had both licensing            soned that, because the law allows for self-defense,
 and registration requirements, compared with cities                potential criminals may be deterred by fear that a
 that had neither.                                                  possible victim could be armed.60 If so, publicity about
                                                                    the law and the perception on the part of potential
 Other effects. Potential benefits that have been associ-           criminals that individuals could be carrying concealed
 ated with the licensing of firearm owners and the                  firearms is likely to be more important in reducing
 registration of firearms include increased ability to              violence than the actual numbers of firearms carried.
 enforce firearms laws, tracing sources of illegally pos-           Others have reasoned that the presence of more fire-
 sessed or used firearms, and data for research on the              arms increases rates of unintended and intended injury
 etiology of harmful and illegal firearms uses.70,72 Poten-         in interpersonal confrontations, and, in addition, leads
 tial harms that have been associated with licensing and            potential criminals to carry and use more lethal fire-
 registration are the perceived threat to the privacy and           arms more often.81 If this is so, the actual number of
 rights of owners.73                                                additional firearms carried is important. In the only
 Conclusion. According to the Community Guide crite-                available survey on the attitudes of (imprisoned) felons,
 ria,22 the evidence on licensing and registration is               Wright and Rossi82,83 report that felons claim to be
 insufficient to determine their effectiveness in reducing          deterred from committing a crime if they think that
 violence. Only a few studies were available, there were            potential victims might be armed, but also carry fire-
 limitations in the studies’ design and execution, and              arms themselves to deter violence by victims. This
 results were inconsistent. Further research is needed to           finding suggests that shall issue laws may have contrary
 evaluate the effects of licensing and registration laws on         effects on firearms behavior— both deterring and esca-
 violence, other health-related outcomes, and associated            lating firearms carrying in the criminal population—
 health and social effects.                                         with unknown net effect.
                                                                    Review of evidence: effectiveness. Our search identi-
 Shall Issue Concealed Weapons Carry Laws
                                                                    fied 12 studies17,30,60,75,77– 80,84 – 87 on the effects of shall
 Shall issue concealed-weapons carry laws (shall issue              issue laws on violent outcomes. Descriptive information
 laws) require authorities to issue permits to carry                about the quality, study design, and outcome measures
 concealed weapons to all applicants who are not found              from these studies is provided in Table 6. Details of all

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 Table 6. “Shall issue” carry laws: descriptive information                available studies of shall issue laws by data source and
 about included studies                                                    unit of analysis (Figure 3)) indicate that most studies of
                                            Studies (n)                    these laws suffer from basic data problems associated
                                                                           with county-level information. Because of these critical
 Studies meeting inclusion criteria         1217,30,60,75,77–80,84–87
 Studies excluded, limited design           0
                                                                           concerns about the accuracy of county-level crime data
   and execution quality                                                   for research purposes,33 we did not use data from any
 Studies excluded, limited data             860,75,77–80,84,85             of the county-level studies in our assessment of the
   qualitya                                                                effects of shall issue laws on violence.
 Qualifying papers                          417,30,86,87                      The four qualifying studies of shall issue laws include
   Studies included in body of              417,30,86,87
     evidence
                                                                           one study30 that examined national level effects on
 Designs of included studies                                               homicide using Vital Statistics reports (from the CDC’s
   Time series with concurrent              230,87                         National Center for Health Statistics), one study17 that
     comparison group                                                      used both Vital Statistics and UCR data to examine the
   Time series, no concurrent               186                            effects of shall issue and other firearms laws on multiple
     comparison group
                                                                           violent outcomes, one study86 that used Vital Statistics
   Cross-sectional                          117
 Outcomes reported in included                                             to assess the effects of shall issue laws in five selected
   studies                                                                 counties, and one study87 that used state-level UCR data
   Homicide                                 317,30,86                      to assess the effects of shall issue laws on homicides of
   Homicide of the police (i.e.,            187                            police (homicides in which police are the victims).
     police as homicide victims)
                                                                           Thus, three qualifying studies assessed homicide as an
   Aggravated assault                       217,30
   Robbery                                  217,30                         outcome; of these one assessed homicide of police
   Rape                                     217,30                         officers, and another multiple violent outcomes. Two of
 a
  Because county-level crime data have been shown to be highly             these studies are of greatest design suitability, one each
 unreliable,33 and because they have not been consistently used            of moderate and least suitable design, and all had fair
 correctly, we excluded studies based on these data regardless of other    execution. In contrast to county-level data from the
 design or execution qualities.
                                                                           UCR, county-level mortality Vital Statistics data are
                                                                           essentially complete.89
 qualifying studies are available at the website                              Two studies17,30 suggested a reduction in homicide
 (www.thecommunityguide.org/violence).                                     associated with shall issue laws at the national level, and
    In 1997, Lott and Mustard74 published an analysis of                   the third86 suggested mixed effects in five counties,
 the effects of shall issue laws based on a large data set                 with an overall increase in homicide associated with the
 and spanning a 17-year period. They tested multiple                       laws. The study of police homicide87 shows a small,
 hypotheses about the effects of shall issue laws on                       statistically nonsignificant decline in the homicide of
 diverse outcomes, including violent crimes, property                      police associated with shall issue laws. Homicides of
 crimes, unintentional injury deaths, and suicide.60,64,88                 police occur at a rate of ⬍100 per year, accounting for
 Because crime rates vary considerably among counties,                     0.6% of all U.S. homicides.
 Lott and Mustard74 focused their analysis on U.S.
                                                                           Conclusion. According to Community Guide criteria,22
 county-level rather than state-level data. Five additional
                                                                           the small number of qualifying studies that evaluate the
 studies75,78 – 80,85 used Lott and Mustard’s data74 or
                                                                           effects of shall issue laws on homicide, aggravated
 independently derived county-level data77 as the basis
                                                                           assault, robbery, rape, and homicide of police is not
 for their own analyses. However, county-level crime
                                                                           sufficient to determine the effectiveness of these laws in
 data are highly problematic.
                                                                           reducing the rate of these crimes. We have not in-
    At the county level, missing data and under-reporting
                                                                           cluded data from studies based on county-level evi-
 are prevalent. Concerns have been raised about the
                                                                           dence in our assessment, because county-level data
 procedures for extrapolating to estimate the extensive
                                                                           have important systematic flaws that preclude reliable
 missing county-level data.33 Lott and Mustard74 and
                                                                           conclusions. Further research is needed to assess the
 those who used these authors’ data did not adjust for
                                                                           effects of shall issue laws on violence.
 missing information by using population denominator
 data that corresponded to crime numerator data. Thus,
                                                                           Child Access Prevention Laws
 Lott and Mustard’s denominator numbers were often
 too high, leading to underestimated crime rates in                        Child access prevention (CAP) laws are designed to
 regions with poor reporting.33 For example, less popu-                    limit children’s access to and use of firearms; states vary
 lous regions may have lower rates of crime as well as less                in the ages of children covered by the laws, from ⬍14 to
 complete reporting; comparisons by region would then                      ⬍18 years. The laws require firearm owners to store
 be biased. Finally, these county-level studies may have                   their firearms locked, unloaded, or both. In some
 misclassified as many as three out of ten reviewed states                 states, firearm owners are liable when firearms are
 as shall issue jurisdictions.30 The relationships among                   improperly stored or when a child uses the owner’s


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 Figure 3. Sources of data and designs in studies of “shall issue” laws. NCHS, National Center for Health Statistics; UCR, Uniform
 Crime Report.


 improperly stored firearm to threaten or harm him- or              study design, and outcome measures from these
 her-self or another person.                                        studies is provided in Table 7. Details of the three
    Laws aimed at preventing child access are a relatively          qualifying studies are available at the website
 recent development: Florida passed the first CAP law in            (www.thecommunityguide.org/violence).
 1989, and after the Columbine shootings in April 1999,                All the studies present a common challenge for pur-
 two more states adopted CAP laws.90 By 2000, a total of            poses of analysis: The law is intended to reduce injuries
 16 states had adopted CAP laws.62 In three states (FL,
 CT, CA), violating a CAP law is a felony; in the other             Table 7. Child access prevention laws: descriptive
 states with CAP laws, it is a misdemeanor.                         information about included studies

 Review of evidence: effectiveness. Our search identi-                                                                Studies (n)
 fied three studies64,91,92 of the effect of CAP laws; all          Studies meeting inclusion criteria                364,91,92
 examined unintentional firearm-related injury deaths               Studies excluded, limited design and              0
 as outcomes, and one92 examined firearm-related and                  execution quality
                                                                    Qualifying studies                                364,91,92
 non–firearm-related suicides and homicides. All three              Designs of included studies
 studies were of greatest design suitability and fair                 Time series with concurrent                     364,91,92
 execution. On the untested assumption that locked and                  comparison group
 unloaded firearms may hinder rapid access to firearms              Outcomes reported in included studies
 for self-defense, one study64 examined multiple out-                 Homicide                                        264,92
                                                                      Aggravated assault                              164
 comes, including violent crimes (i.e., homicide, aggra-              Robbery                                         164
 vated assault, robbery, and rape) committed with and                 Rape                                            164
 without firearms. All studies assessed outcomes among                Suicide                                         264,92
 juveniles; one study64 also examined effects for older               Unintentional firearm-related injury            364,91,92
 age groups. Descriptive information about the quality,                 death


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 caused by juveniles. The studies, however, assess juvenile    Zero Tolerance of Firearms in Schools
 victims, whose injuries (other than suicide) could be
                                                               The Gun-Free Schools Act,93 which affected 94% of
 caused either by adults or by juveniles. As a result, the
 assessment of the effects of CAP laws on outcomes other       schools in 1996 –1997, stipulates that each state receiv-
 than suicide may be biased. None of the studies assessed      ing federal funds under the Act must have a law
 levels of publicity, awareness, or enforcement of CAP laws    requiring local education agencies to expel a student
 as mediators of their potential effects.                      from school for ⱖ1 year if the student is found in
    Two studies64,91 examined effects of the same laws on      possession of a firearm at school, although this expul-
 unintentional firearm-related injury in the same popu-        sion requirement can be modified on a case-by-case
 lations in similar time periods. Of these, we chose the       basis. Expulsion may lead to alternative school place-
 study91 with the greatest suitability of design and exe-      ment or to “street” placement (full expulsion, with no
 cution scores to assess effects of the laws on uninten-       formal education, for a specified length of time), after
 tional firearm-related injury. However, we used the           which students are generally allowed to return to their
 study with a lower execution score64 to assess additional     regular schools.
 outcomes (i.e., homicide, assault, robbery, and rape).           In the 1998 –1999 school year, 3523 students were
    An earlier study92 indicated a reduction in uninten-       expelled for having a firearm in school. Of the total
 tional firearm-related injury death among juveniles           expelled, 44% were referred to alternative schools. (A
 aged ⬍15 years that was statistically significant in states   national survey94 indicated that, as of 1993, 66% of
 providing a felony prosecution for CAP law violation,         school districts reported implementing some type of
 and a nonsignificant increase in unintentional firearm-       alternative program to address school violence.) In
 related injury death among juveniles in states providing      1996 –1997, 4% of public schools reported having ran-
 a misdemeanor prosecution. However, a later study,91          dom, handheld metal detector checks on students, and
 including data from three additional states that had          in 1% of schools, students were required to pass
 passed CAP laws and 3 more years of follow-up, con-           through metal detectors every day.95
 firms the earlier finding on states with misdemeanor             A national survey96 indicates that approximately 3%
 prosecution, but shows that, among states with a felony
                                                               of the 12th graders in 1997 (an estimated 80,190
 prosecution, the effect of the law on unintentional
                                                               students nationwide) reported carrying firearms on
 firearm-related injury death among juveniles aged ⬍15
                                                               school property in the previous 4 weeks. According to
 years is statistically significant only in Florida (a state
                                                               these separate estimates, even if only seniors carry
 with a felony sanction) but not in the other two felony
                                                               firearms, ⬍4.4% of firearms (i.e., 3523/80,190) are
 states.
    One study92 indicated a reduction associated with          being detected in association with the Gun-Free
 CAP laws in firearm-related suicide among juveniles           Schools Act. If students in lower grades also carry
 aged ⬍15 years. Data from studies of homicide, assault,       firearms (statistics are not available to determine this),
 robbery, and rape64,92 indicate mixed results, with two       the proportion of firearms being detected would be
 findings indicating reductions (in firearm-related ho-        even lower.
 micide among juveniles aged ⬍15 years, and in assault            The Gun-Free Schools Act does not require report-
 among all ages), and three indicating increases (in total     ing on possible effects of its requirements on school
 homicide, robbery, and rape in all ages) associated with      safety conditions other than numbers of firearm-carry-
 CAP laws. Only the findings on robbery and rape are           ing students detected and expelled; however, reports
 statistically significant. However, too few studies exam-     from other sources indicate changes in some aspects of
 ine each outcome to determine the effect of the law on        violence in the school environment. The carrying of
 specific types of violence.                                   weapons appears to have declined steadily during the
                                                               1990s, as did involvement in physical fights on school
 Other effects. One study64 suggests that CAP laws may
 be associated with an increase of 2% in property crimes;      property.97,98 However, the proportion of high school
 the increase was statistically significant for burglary but   students who reported being threatened or injured
 not for property crime overall.                               with a weapon on school property in the past 12 months
                                                               remained steady over this period, at 7% to 9%. The rate
 Conclusion. According to Community Guide criteria,22          of serious violent crimes at or on the way to or from
 the small number of studies of CAP laws, all of limited       school peaked in 1994, and has declined from then
 quality of execution and inconsistent findings, is insuf-     until at least 2000.98
 ficient to determine the effectiveness of the laws in
 reducing violence or unintentional firearm-related in-        Review of evidence: effectiveness. No studies were
 jury and other violent outcomes. Further research with        located that attempted to evaluate the effects on school
 longer follow-up periods is needed to assess effects of       violence of zero tolerance of firearms in schools; nor
 CAP laws on violence, unintentional injury, and other         did any study measure the specific effect of the Gun-
 outcomes of interest.                                         Free Schools Act on firearm carrying in schools.


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    There was one study99 of the effectiveness of metal       Conclusion. It was not possible to assess the effective-
 detector programs in reducing the carrying of firearms       ness of zero tolerance of firearms in schools because no
 in schools. Although firearms detection is not explicitly    studies of zero tolerance were identified and only a
 required in the Gun-Free Schools Act, the effectiveness      single study of least suitable design was identified that
 of the law may depend on the ability to detect firearms.     measured the effect of a school metal detector program
 The study was a cross-sectional survey of New York           on firearm-carrying behavior but not on violence
 school administrators and students to assess the associ-     per se. The effectiveness of such widespread policies in
 ation of metal detector programs with student behavior       reducing violence and related health and social out-
 and attitudes. The metal detection program studied con-      comes needs additional evaluation.
 sisted of approximately weekly scanning of “randomly
 selected students” with a handheld device; the likelihood    Combinations of Firearms Laws
 of detection was unclear. The study was of least suitable    Government jurisdictions (e.g., states or nations) differ
 design and fair execution. Details about the quality,        in the degree to which they regulate firearms posses-
 design, and outcome measure from this study are avail-       sion and use as well as in rates at which specific forms of
 able at the website (www.thecommunityguide.org/violence).    violence occur (as is the case with the United States and
    The study compared rates or counts of firearms            Canada).102 In our review, we considered whether
 detection at schools with and without metal detection        these characteristics— degree of firearms regulation,
 programs. Compared with schools without metal detec-         and firearm-related and other forms of violent behav-
 tion programs, schools with such programs had rates of       ior—are causally associated. Causality is difficult to
 carrying firearms to, from, or in school that were half as   assess because levels of firearm-related violence and the
 great (1.9% to 2.1% vs 4.0% to 4.6%), but did not differ     degree of firearms regulation may each affect the
 in weapons carrying overall. Moreover, the study re-         other: high levels of firearm-related violence may lead
 ported that schools did not differ in rates of threats or    to the increased regulation of firearms, and regulation
 fights outside or inside of school. We could not deter-      may also lead to the reduction of violence. Moreover,
 mine the effectiveness of these programs because only        these possibilities are not mutually exclusive. The inter-
 a single study of least suitable design was available, and   pretation of association is thus difficult and depends on
 because the intermediate outcome of firearms carrying        temporal sequence, which cannot be determined in
 is not necessarily a good proxy for violence or injury.      simple cross-sectional studies. An additional challenge
 Other effects. The effects of firearms detection pro-        to establishing a causal link may be the lack of compa-
 grams in schools on students, school staff, or commu-        rable information from nations about laws, violent
 nity are unknown; it is possible that such programs          outcomes, and possible confounders of the association
 either reduce fear of harm or increase awareness,            between them.
 concern, and fear about the possibility of firearm-          Review of evidence: effectiveness. We reviewed three
 related violence. These effects may vary to the extent       forms of evidence: studies of the effects of comprehen-
 that a program is more or less effective in reducing         sive national laws within nations; cross-national studies
 firearms in schools.                                         of firearms law systems; and studies in which law types
    A major, albeit unintended, harm of the Gun-Free          within jurisdictions (i.e., regulation of specific, defined
 Schools Act of 1994, particularly if firearms detection      aspects of firearms acquisition and use) are categorized
 becomes more effective, is the “street” expulsion of         and counted, and the counts correlated with rates of
 thousands of students with low school achievement and        specific forms of violence within the same jurisdictions.
 high risk of violence. One review for the U.S. Depart-       We refer to these last as “index studies” because they
 ment of Education100 indicates that alternative schools      develop indices of regulation based on the kinds and
 for violent students may be effective as well as cost-       numbers of firearms laws found in different jurisdic-
 effective in reducing violent behavior and enhancing         tions. We considered the three kinds of evidence
 emotional development for youth suspended or ex-             together in drawing conclusions. Descriptive informa-
 pelled from their usual schools; however, the review         tion about execution quality, design suitability, and
 also notes that attendance at alternative schools may        outcomes evaluated in these studies is provided in
 stigmatize students and increase discrimination against      Tables 8, 9, and 10. Details of the studies that
 them. Even though the specific effect of firearm-related     met inclusion criteria are available at the website
 expulsion is not known, expulsion can result in a life       (www.thecommunityguide.org/violence).
 course with fewer opportunities for (legal) employ-             We considered available studies of two comprehen-
 ment, fewer resources, and a greater likelihood of           sive national laws, the Gun Control Act of 1968 (P.L.
 criminal behavior and imprisonment compared with             90-618) in the United States and the Criminal Law
 retention in special school programs.101 The resulting       Amendment Act of 1977 in Canada. Our search iden-
 lower productivity and increased criminal activity are       tified two studies65,113 of the U.S. law that assessed
 likely to have high societal costs.101                       violent outcomes and ten studies103–112 of the Canadian

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 Table 8. Combinations of laws: Gun Control Act of 1986                  Table 10. Combinations of laws: firearm law index studies
 (United States) and Firearms Control Legislation of 1977
                                                                                                                         Studies (n)
 (Canada)
                                                                         Studies meeting inclusion criteria              817,65–67,117–120
                                                  Studies (n)
                                                                         Studies excluded, limited design                0
 Studies meeting inclusion criteria               1265,103–113             and execution quality
 Studies excluded, limited design and             0                      Qualifying papers                               817,65–67,117–120
   execution quality                                                       Studies included in body of                   617,65,66,117,118,120
 Qualifying papers                                12103                      evidence
   Studies included in body of evidence           265,109                  Papers excluded,                              267,119
   Nonindependent studies, not in                 10103–108,110–113          nonindependenta
     body of evidencea                                                   Study designs
 Designs of included studies                                               Cross-sectional                               617,65–67,117,118,120
   Before-after, no concurrent                    165                    Outcomes reported
     comparison group                                                      Homicide                                      417,65,66,118
   Time series, no concurrent                     1109                     Suicide                                       517,66,117,118,120
     comparison group                                                      Unintentional firearm-related                 317,66,118
 Outcomes reported in included studies                                       injury death
   Homicide                                       265,109                  Aggravated assault                            417,65,66,118
   Suicide                                        1109                     Robbery                                       417,65,66,118
   Unintentional firearm-related injury           1109                     Rape                                          117
     death                                                               a
                                                                          Nonindependent studies are not included in the body of evidence
 a                                                                       because they assess the same intervention in the same population for
  Nonindependent studies are not included in the body of evidence
 because they assess the same intervention in the same population for    the same (or a shorter) follow-up period, are not as well designed or
 the same (or a shorter) follow-up period, are not as well designed or   executed as an included study, or both.
 executed as an included study, or both.

                                                                         regions within two nations, the United States and
 law that assessed violent outcomes (Table 8). Because
                                                                         Canada. Our search identified three such studies (Ta-
 the studies of each law were not independent, we chose
                                                                         ble 9).114 –116 All three studies were of least suitable
 the study with the greatest design and execution scores
                                                                         design and fair execution. Because the two Canadian–
 to represent the effects of the U.S. law65 and one
                                                                         U.S. comparisons of homicide assessed largely distinct
 Canadian study109 to represent the effects of the Cana-
                                                                         populations in different time periods—1976 to 1980114
 dian law (on rates of homicide, suicide, and uninten-
                                                                         and 1980 to 1986115—these two studies were regarded
 tional firearm-related deaths). The U.S. study was of
                                                                         as independent.
 least suitable design and fair execution; the Canadian
                                                                            One study115 comparing Seattle with Vancouver
 study was of moderate design suitability and fair execu-
                                                                         found an inverse association between the degree of
 tion. The study of the Gun Control Act of 1968 yielded
                                                                         firearms regulation in these cities and their rates of
 two nonsignificant results in opposing directions (i.e.,
                                                                         firearm-related aggravated assault (relative risk 7.7,
 an increase in homicide, adjusted for new firearms, and
                                                                         95% CI⫽6.7, 8.7) and homicide (relative risk 5.1, 95%
 a decrease in homicide, adjusted for the total firearms
                                                                         CI⫽3.5, 7.3), but not of other forms of interpersonal
 stock). The study of the comprehensive Canadian fire-
                                                                         violence. A second study in the same setting116 found a
 arms law indicated decreased rates of homicide, but
                                                                         similar inverse association of the degree of firearms
 increased rates of firearm-related suicide.
                                                                         regulation and firearm-related suicide, counterbal-
    In the cross-national studies of comprehensive laws,
                                                                         anced by an opposing difference in other forms of
 the effects of more and less comprehensive firearms
                                                                         suicide; that is, the degree of regulation was associated
 regulations on violence were assessed by comparing
                                                                         with lower rates of firearm-related suicide and higher
                                                                         rates of other forms of suicide. The third study114
 Table 9. Combinations of laws: international comparative                compared U.S. and Canadian border states and prov-
 studies (United States and Canada)                                      inces, respectively, and indicated no association be-
                                                         Studies (n)     tween national levels of firearms regulation and rates of
 Studies meeting inclusion criteria                      3114–116        homicide; no summary statistic was reported.
 Studies excluded, limited design and                    0                  The index studies compared degrees of firearms
   execution quality                                                     regulation and violent outcomes among U.S. states and
 Qualifying papers                                       3114–116        cities. We found eight index studies,17,65– 67,117–120 of
 Study designs                                                           which all but two67,119 qualified for analysis (Table 10).
   Cross-sectional                                       3114–116
 Outcomes reported                                                       Several qualifying studies include separate analyses of
   Homicide                                              2114,115        data from different years; thus, separate findings from a
   Aggravated assault                                    2114,115        single study (e.g., from 1960 and 1979 in the study by
   Robbery                                               1115            Maggadino and Medoff65) are included in our analysis,
   Suicide                                               1116            insofar as the study is independent from other studies.


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 One qualifying study66 noted only the lack of statisti-       recording of events and accessibility of the relevant
 cally significant differences between levels of violence      data. Improvements would allow better evaluation of
 associated with the degree of regulation, without indi-       the effects of firearms laws as well as improvements in
 cating the quantity or even the direction of difference.      understanding of other aspects of violence and injury.
 All six qualifying studies were of least suitable design      These include:
 and fair execution.
    Index studies yielded heterogeneous results. Of six        Reporting systems for individual criminal and violent
 findings on homicide from three studies,17,65,118 one           events and details of their circumstances
 indicated a statistically significant increase and five       More detailed data on the location and perpetrators of
 indicated decreases, two of which are statistically signif-     the crime
 icant. One study with rape as an outcome indicated a          More detailed data on agents in unintentional firearm-
 statistically nonsignificant decrease. Three studies with       related injuries, linked to information on both the
 aggravated assault, robbery, and unintentional firearm-         victim and the storage conditions of firearms
 related injury death as outcomes had inconsistent find-         involved
 ings, some indicating an increase in the outcome              More detailed information on firearms used in crimes
 associated with greater regulation, and others a de-            (e.g., type of firearm used, whether the firearm was
 crease. Only for suicide did all index studies show a           carried legally, was registered, how it was acquired,
 reduction associated with a greater amount of regula-           and whether the owner was licensed)
 tion; two of five results were statistically significant.     More statistics relevant to changes in behaviors that can
 Overall, index studies were found to have inconsistent          be attributed to laws (e.g., the numbers of concealed
 results on violent outcomes.                                    carry permits issued, or changes in safe storage
                                                                 practices).
 Other effects. High levels of regulation may be seen as
 an infringement on individual rights.                         2. Measurement of exposure: What laws are in place,
                                                               and where?
 Conclusion. Based on findings from national law as-
 sessments, cross-national comparisons, and index stud-        Classification: There have been disputes about which
 ies, evidence is insufficient to determine whether the          states have which types of laws. Misclassification of
 degree or intensity of firearms regulation is associated        state laws and their dates of implementation hin-
 with decreased (or increased) violence. Current evi-            ders firearms law research. Some differences
 dence is inconsistent and, in general, methodologically         among states in the effects of laws may be attribut-
 inadequate, based on Task Force standards, to draw              able to differences among states in provisions of
 conclusions about causal effects. Moreover, even if             the law, such as their requirements, penalties, or
 findings were clear, the design of index studies con-           the presence of other laws. A recent analysis of
 ducted to date would not allow us to specify which              firearms laws62 may help to resolve some of these
 firearms laws did or did not contribute to the reduction        issues for researchers by providing a recent, system-
 of violence. Additional research is needed to determine         atic, and detailed analysis of major federal, state,
 the relationship(s) between specific types and degree           and local firearms laws.
 of firearms regulation and the rates of specified types of    Implementation and enforcement. As with any inter-
 violence in given jurisdictions.                                vention, the degree of implementation may affect the
                                                                 intervention’s effectiveness. Data on implementation
                                                                 have typically not been included in the evaluation of
 Results: Part II—Research Issues for Firearms Laws
                                                                 firearms laws. How do the intensity and visibility of
 Review of eight firearms laws and law types found               law enforcement differ among jurisdictions, and how
 insufficient evidence to determine whether the laws             do they affect the law’s effectiveness?
 reviewed reduce (or increase) violence. Additional            Publicity and awareness of laws. Knowledge about laws
 high-quality research is required to determine whether          may be one means by which they become effective. If
 a relationship exists between firearms laws and violent         deterrence is a factor in the effectiveness of a law,
 outcomes. Areas for further potential study are dis-            then public (and criminal) awareness is of particular
 cussed below.                                                   importance. Awareness can mitigate a law’s potential
                                                                 effects, as when firearms are purchased at increased
                                                                 rates prior to the implementation of a ban.
 General Research Issues
                                                               Duration of exposure and follow-up. Follow-up peri-
 1. Violent outcome data sources                                 ods of ⬍2 years may be inadequate to assess the
    It was noted at the outset of this article and in the        long-term societal effects of a law. It will be useful
 assessments of specific laws that multiple problems exist       to determine whether specific laws have immediate
 with the available data on outcomes used in studies of          or gradual impact, and how effects change over
 firearms laws. Much remains to be done to improve the           time.

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 3. Measurement of violent outcomes                               Analytic techniques should include appropriate ad-
 Specific measures. Studies should measure outcomes               justment for autocorrelation of data in time series
    directly associated with the law being evaluated (e.g.,       and in adjacent geographic locations.
    violence outside the home for laws about firearm            Assumptions and validation. Analytic techniques com-
    carrying outside the home, and child violence perpe-          monly rest on assumptions about the study design or
    tration for laws about child access to and use of             the characteristics of the study data. Assumptions
    firearms in the home). Failure to do so may result            should be validated, and, to the extent that they are
    from a lack of information on direct measures of the          violated, the consequences of violation considered
    outcome of interest.                                          and addressed.
 Intermediate outcomes. Even when outcomes of inter-
    est are directly assessed, it may be useful to have         Research Issues Specific to Reviewed Firearms-
    information on intermediate outcomes in order to            Related Topics
    understand the way in which the outcome of interest
                                                                Several data and research gaps were uncovered in this
    is achieved (e.g., decreasing violence by changing
                                                                evaluation that could be potential topics for study.
    firearm storage or carrying behavior).
 Population-specific effects. The measurement of the            Bans
    effects of laws (e.g., acquisition restrictions) on vio-
    lence perpetrated by criminals is important. It is also     Examine effect of grandfathering and registration of
    important to measure or estimate overall population           grandfathered banned firearms on ban effectiveness.
    effects of the same laws—for example, whether fel-          Examine effects on purchases of firearms to be banned
    ony conviction restrictions for firearms purchase             prior to implementation of the ban.
    affect not only rates of violence among people with         Examine substitution effects.
    felony convictions, but also rates of violence in the       Restrictions
    general population.
 Substitution of weapons. If the goal of a firearms law is      Examine effects of restriction requirements in the
    the reduction of harm, it is essential to determine           secondary market (gun shows, private sales).
    whether, given that one weapon may become less              Assess the proportion of firearm-related crimes com-
    available because of the law, that weapon is not              mitted by people in each of the prohibited
    readily replaced by another that causes the same (or          categories.
    more or less) harm.                                         Examine the effect of specific restrictions on violence
 Substitution of place. Similarly, given that many fire-          by populations to whom the restrictions apply (e.g.,
    arms laws are local, it is important to determine             felons, drug abusers, or those adjudicated “mental
    whether enacting a law in one location displaces              defective”).
    harm from that setting to another (e.g., affecting          Waiting periods
    crime in neighboring jurisdictions that do not have
    such a law).                                                Examine the effect of length of waiting period on
                                                                  violent outcomes.
 4. Measurement of potential confounders and effect             Examine substitution effects (especially for suicide).
 modifiers                                                      Compare effects of Interim and Permanent Brady laws
 Measuring and adjusting for confounders. In the anal-            on firearm-related violence.
   ysis of firearms laws, important confounders (e.g.,          Licensing and registration
   gang activity, drug-related issues, crime cycles, law
   enforcement practices) are often difficult to mea-           Assess substitution effects.
   sure. Better measures should be developed and used.          Look for specifics in state laws (e.g., fingerprinting or
 Effect modification. It is critical to assess the conditions     other requirements) as effect modifiers.
   under which laws may work, may work best, and may            Examine effects of licensing and registration in a recent
   not work (e.g., alone or in combination with other             time period, with before-and-after study design and
   laws, or in some settings but not in others). Many laws        comparison populations.
   have multiple provisions, and it is important to             Shall issue carry laws
   determine which combinations of laws or provisions
   are the most effective.                                      Focus specifically on crimes outside the home as
                                                                  outcomes.
 5. Methods
                                                                Examine permit status for firearms used in crimes.
 Appropriate design and analytic techniques. Where              Examine the effects of differences in state laws on the
   possible, the data should be collected as prospective          number of permits issued.
   time-series measurements; analyses of trends are             Examine the deterrent effects of publicity about the
   preferable to analyses of before-and-after changes.            law.


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 Child access prevention laws                                 with other public health problems, efforts have been
 Assess effects of laws on juvenile firearms users rather     made to reduce firearm-related violence by means of
   than victims.                                              legal interventions. However, at least based on identi-
 Examine the effect of laws on storage practices, strati-     fied studies of the range of firearms laws reviewed here,
   fied by the presence of children in the home.              the evidence is insufficient to determine whether U.S.
 Assess the storage of firearms involved in unintentional     firearms laws affect violence. When we conclude that
   injuries, suicide, and crime.                              evidence for the effectiveness of a given firearms law on
 Assess effects of enforcement, punishment, and convic-       an outcome is insufficient, we do not imply that the law
   tion on storage violation.                                 has no effect; rather, we mean that we do not yet know
 Compare effects of the CAP law in Florida (a state with      what effect, if any, the law has on that outcome. Other
   felony sanction for CAP law violation) with effects in     researchers have also noted “the absence of a critical
   other states where violation is a misdemeanor.             mass of high-quality published studies evaluating the
                                                              effectiveness of specific gun laws, relative to the magni-
 Zero firearms tolerance in schools
                                                              tude of the problem in the United States.”62
 Assess effects of zero firearms tolerance policies on           There are numerous challenges to evaluating the
   school violence, firearm-related violence, and the         effects of firearms laws on violence in the United States.
   school environment.                                        Information about firearms is collected to regulate,
 Assess school policies and practices for firearms detec-     monitor, and investigate firearms transactions, but the
   tion, and their relative effectiveness.                    collection and use of this information is also limited to
 Assess cost and benefit of “street” expulsion.               protect the privacy of firearms owners. For example,
 Multiple laws and systems of laws                            firearms application information used in Brady Law
                                                              background checks must be destroyed within a given
 Assess the effects of combinations of specific laws on       time period. And the Firearms Owners Protection Act
   specific forms of violence. Studies should allow the       of 1986 (P.L. 99-308, 99 Cong., 2d Sess., 100 Stat.
   determination of which laws are critical to effective      449 – 461) forbids the federal government from estab-
   combinations and which are not.                            lishing a federal registry of firearms owners. In addi-
                                                              tion, some of the data sources for violent outcomes
 Other Effects                                                (e.g., UCR) that have been most available and most
 The reviews also identified potential research questions     widely used have also been of questionable value be-
 related to outcomes in addition to violence. These           cause of substantial under-reporting and questionable
 include:                                                     validity.
                                                                 However, there are also emerging opportunities to
 Property crime. Assess the effects of firearms laws on       determine whether existing laws are an effective means
 property crime.                                              of reducing violence. The FBI’s National Incident-
 Self-defense. Assess the effects of firearms laws on         Based Reporting System is designed to replace the UCR
 people’s capacity to defend themselves legally. Deter-       and will focus on the detailed circumstances of criminal
 mine whether all demographic population segments             events. The National Violent Death Reporting System
 are similarly affected.                                      will link multiple sources of information on violent
                                                              deaths—including death certificates, and medical ex-
 Legal rights. Assess the effects of firearms laws on legal   aminer, police, and crime lab reports—to provide
 rights. For example, expulsion under the Gun-Free            comprehensive information on the circumstances of
 Schools Act to keep schools safe may conflict with the       child abuse deaths, suicides, domestic violence homi-
 rights of students to an education.                          cides, and other forms of violent death. These report-
 Justice. Assess the effects of firearms laws (such as        ing systems will greatly enhance the ability to evaluate
 licensing, registration, background checks of appli-         the effects of firearms laws and other interventions to
 cants) on the apprehension of “wanted persons,” such         reduce these forms of violence.
 as fugitives from justice.                                      Laws can and have played a prominent role in public
                                                              health in the United States,121 and may be one reason-
 Cost. Assess the costs and benefits associated with          able approach to the problem of firearm-related vio-
 implementing and enforcing firearms laws.                    lence.14 Further research is needed to understand how
                                                              laws might affect firearm-related injury and death in
 Discussion: Reviewing Firearms Law Effects in the            the United States.
 United States
                                                              Members of the coordination team were Robert A. Hahn,
 International comparisons indicate that firearm-related      PhD, MPH, Oleg O. Bilukha, MD, PhD, and Susan Snyder,
 violence is considerably higher in the United States         PhD, Division of Prevention Research and Analytic Methods,
 than in other developed, industrialized nations.7 As         Epidemiology Program Office, Centers for Disease Control


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                             Appendix A
                             Table A1. Studies measuring effect of gun acquisition or possession bans on violence
                                                                                   Study period
                             Author & year                                         Location
                                                                                                                                                          Results
                             Design suitability: design                            Unit of analysis
                             Type of analysis             Intervention; additional Sample size
                             Quality of execution         intervention components Sample characteristics
                             (# of limitations)           when used (date)         Follow-up percent and        Reported effect           Reported           Reported effect          Value used in review
                             Specific limitations         Comparison               length                       measure                   baseline           (p value)                (p value)
                             Britta (1996)1               Intervention: DC law,       1968–1987/1989            Monthly firearm-related   None reported      Change in monthly      Relative percent
                             Greatest: time⫽series          Firearm Control           Washington, DC and         and nonfirearm-                               firearm-related       change in
                               with comparison              Regulations Act—ban         Baltimore, MD            related homicide                              homicide counts       homicide rates:
                               ARIMA, examines              on handgun                DC and Baltimore as        counts                                        (1968–1987, no        not calculable (no
                               effect of law and            purchases, registration     units of analysis                                                      effect, confirmed by  baseline provided)
                               timing of effect             of preowned               Sample size: two cities                                                  additional years of
                             Fair (3)                       handguns, and safe        Sample characteristics:                                                  data, 1987–1989)
                             Description: minimal           gun storage                 comparable                                                           FBI data:
                               population                   regulations (signed         sociodemographics                                                    Washington 1.5 (NS)
                               description                  7/23/76; fully in           and crime rates                                                      Baltimore ⫺2.6
                             Outcome: ecological            effect since 2/21/77)     Follow-up percent: NA;                                                   (p⬍0.05)
                               measurementb               Control: Baltimore MD         regionwide study                                                     NCHS data (change in
                             Confounding: no                (no comparable law),      Follow-up length: 21 yr                                                  natural logarithm
                               control for some             and before-and-after                                                                               rate):
                               important                    comparison                                                                                       Washington ⫺0.002
                               confounders                                                                                                                     (NS)
                                                                                                                                                             Baltimore ⫺3.8
                                                                                                                                                               (p⬍0.01)

                             Kleck (1993)2                Intervention: ban on        1980 (1979–1981)          Natural logarithm of      None reported      Effects of ban on        Relative percent
                             Least; cross-sectional         handgun possession,       USA, cities with           difference in total and                       handgun possession:      change
                             Regression                     ban on handgun sales,       population ⬎100,000      firearm-related-specific                    Homicide total: 0.087    Ban on handgun
                             Fair (2)                       ban on Saturday night     Cities with ⬎100,000       crime, suicide, and                           (NS)                     possession:
                             Outcome: ecological            specials (multiple          residents in 1980 as     unintentional injury                        Assault total: 0.022     Homicide total: 9.1
                               measurementb                 dates, not specified)       unit of analysis         rate between cities that                      (NS)                     (NS)
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                             Confounding: no              Control: cities with no     n⫽170                      had specified bans and                      Robbery total: 0.104     Assault total: 2.2
                               control for some             such laws                 Multiple sample            those that did not                            (NS)                     (NS)
                               important                                                characteristics                                                      Rape total: ⫺0.092       Robbery total: 11.0
                               confounders                                              summarized                                                             (NS)                     (NS)
                                                                                      Follow-up percent and                                                  Suicide total: ⫺0.062    Rape total: ⫺8.8
                                                                                        length: NA                                                             (NS)                     (NS)
                                                                                                                                                             Firearm-related          Suicide total: ⫺6.0
                                                                                                                                                               unintentional death:     (NS)
                                                                                                                                                               0.009 (NS)             Firearm-related
                                                                                                                                                             Effects of ban on          unintentional
                                                                                                                                                               handgun sales:           death: 0.9 (NS)

                                                                                                                                                                                       (continued on next page)
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                                                                 Table A1. (continued)
                                                                                                                       Study period
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                                                                 Author & year                                         Location
                                                                                                                                                                            Results
                                                                 Design suitability: design                            Unit of analysis
                                                                 Type of analysis             Intervention; additional Sample size
                                                                 Quality of execution         intervention components Sample characteristics
                                                                 (# of limitations)           when used (date)         Follow-up percent and   Reported effect   Reported      Reported effect          Value used in review
                                                                 Specific limitations         Comparison               length                  measure           baseline      (p value)                (p value)
                                                                                                                                                                               Homicide total: 0.001    Ban on handgun
                                                                                                                                                                                 (NS)                     sales:
                                                                                                                                                                               Assault total: ⫺0.106    Homicide total: 0.1
                                                                                                                                                                                 (NS)                     (NS)
                                                                                                                                                                               Robbery total: ⫺0.105    Assault total: ⫺10.1
                                                                                                                                                                                 (NS)                     (NS)
                                                                                                                                                                               Rape total: ⫺0.112       Robbery total: ⫺9.9
                                                                                                                                                                                 (NS)                     (NS)
                                                                                                                                                                               Suicide total: ⫺0.066    Rape total: ⫺10.6
                                                                                                                                                                                 (NS)                     (NS)
                                                                                                                                                                               Firearm-related          Suicide total: ⫺6.4
                                                                                                                                                                                 unintentional death:     (NS)
                                                                                                                                                                                 ⫺0.099 (NS)            Firearm-related
                                                                                                                                                                               Effects of Saturday        unintentional
                                                                                                                                                                                 night specials ban:      death: ⫺9.4 (NS)
                                                                                                                                                                               Homicide total: 0.083    Saturday night
                                                                                                                                                                                 (NS)                     specials ban:
                                                                                                                                                                               Assault total: 0.069     Homicide total: 8.7
                                                                                                                                                                                 (NS)                     (NS)
                                                                                                                                                                               Robbery total: 0.060     Assault total: 7.1
                                                                                                                                                                                 (NS)                     (NS)
                                                                                                                                                                               Rape total: 0.084 (NS)   Robbery total: 6.2
                                                                                                                                                                               Suicide total: 0.094       (NS)
                                                                                                                                                                                 (NS)                   Rape total: 8.8 (NS)
                                                                                                                                                                               Firearm-related          Suicide total: 9.9
                                                                                                                                                                                 unintentional death:     (NS)
                                                                                                                                                                                 0.063 (NS)             Firearm-related
                                                                                                                                                                                                          unintentional
                                                                                                                                                                                                          death: 6.5 (NS)

                                                                                                                                                                                                         (continued on next page)




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                             Table A1. (continued)
                                                                                   Study period
                             Author & year                                         Location
                                                                                                                                                      Results
                             Design suitability: design                            Unit of analysis
                             Type of analysis             Intervention; additional Sample size
                             Quality of execution         intervention components Sample characteristics
                             (# of limitations)           when used (date)         Follow-up percent and      Reported effect          Reported             Reported effect        Value used in review
                             Specific limitations         Comparison               length                     measure                  baseline             (p value)              (p value)
                             Loftin (1991)3             Intervention: DC law,       1968–1987                 Monthly nomicide and     Firearm-related      Change in firearm-     Relative percent
                             Greatest: time-series with   Firearm Control           Washington, DC and         suicide counts: pre-law   homicides            related homicides      change (total
                               comparison                 Regulations Act—ban         adjacent comparison      average levels and        (deaths/month)       (deaths/month):        estimates
                             Before-and-after t-test      on handgun                  counties of MD and       change after the law    DC: 13.0             DC: ⫺3.3 (p⬍0.001)       calculated from
                               and ARIMA                  purchases, registration     VA (combined; DC-                                MD/VA: 5.8           MD/VA: ⫺0.4 (NS)         firearm-related
                             Fair (4)                     of preowned                 MD-VA SMSA)                                      Non-firearm-         Change in non-           and non-firearm-
                             Description: no              handguns, and safe        DC and adjacent                                      related              firearm-related        related estimates)
                               population                 gun storage                 comparison counties                                homicides            homicides:           Firearm-related
                               description                regulations (signed         (combined) as unit                               DC: 7.3              DC: ⫺0.3 (NS)            homicide: ⫺19.9
                             Outcome: ecological          7/23/76; fully in           of analysis                                      MD/VA: 3.0           MD/VA: 0.7               (p⬍0.001)
                               measurementb               effect since 2/21/77)     Sample size: three                                 Firearm-related        (p⬍0.05)             Total homicide:
                             Confounding: no            Control: neighboring          regions                                            suicides           Change in firearm-       ⫺20.4 (NS)
                               control for some           counties with no such     Sample characteristics                             DC: 2.6                related suicides:    Firearm-related
                               important                  law, and before-and-        not described                                    MD/VA: 9.2             DC: ⫺0.6               suicide: ⫺12.6
                               confounders                after comparison          Follow-up percent: NA;                             Non-firearm-           (p⬍0.05)               (p⬍0.005)
                             Other biases: change in                                  regionwide study                                   related suicides   MD/VA: 1.1             Total suicide: ⫺18.1
                               rates before law                                     Follow-up length: 19 yr                            DC: 4.4                (p⬍0.05)               (NS)
                               adoption, population                                                                                    MD/VA: 9.9           Change in non-
                               changes not                                                                                                                    firearm-related
                               accounted for                                                                                                                  suicides:
                                                                                                                                                            DC: ⫺0.4 (NS)
                                                                                                                                                            MD/VA: ⫺0.2 (NS)

                             McDowall (1996)4           Intervention: DC law,       1968–1987/1990            Monthly homicide and    None reported         Change in firearm-     Relative percent
                             Greatest: time-series with   Firearm Control           Washington, DC and         suicide counts: change                         related homicides      change not
                               comparison                 Regulations Act—ban         Baltimore, Boston,       in average levels                              (deaths/month):        calculable.
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                             Before-and-after change      on handgun                  and Memphis              before and after law                         DC: 2.08 (1968–1990)     Baseline rates not
                               t-test                     purchases, registration   DC and Baltimore,                                                       Memphis: 0.74            provided
                             Fair (4)                     of preowned                 Boston, and                                                             (1968–1987)            for comparison
                             Description: minimal         handguns, and safe          Memphis as units of                                                   Boston: ⫺0.80            cities; data
                               population                 gun storage                 analysis                                                                (1968–1987)            collection periods
                               description                regulations (signed       Sample size: four                                                       Baltimore: ⫺3.01         in this report
                             Outcome: ecological          7/23/76; fully in           regions                                                                 (1968–1987)            differ for
                               measurementb               effect since 2/21/77)     Sample characteristics                                                  Change in non–           intervention and
                             Confounding: no            Control: Boston and           not described                                                           firearm-related        comparison cities,
                               control for some           Memphis—similar size      Follow-up percent: NA;                                                    homicides:             but available in
                               important                  cities with no such         regionwide study                                                      DC: 0.61 (1968–1990)     earlier study3
                               confounders                law, and before-and-      Follow-up length: 19 to                                                 Memphis: 0.37
                                                          after change                22 yr                                                                   (1968–1987)
                                                          comparison
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                                                                 Table A1. (continued)
                                                                                                                       Study period
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                                                                 Author & year                                         Location
                                                                                                                                                                                             Results
                                                                 Design suitability: design                            Unit of analysis
                                                                 Type of analysis             Intervention; additional Sample size
                                                                 Quality of execution         intervention components Sample characteristics
                                                                 (# of limitations)           when used (date)         Follow-up percent and         Reported effect        Reported            Reported effect       Value used in review
                                                                 Specific limitations         Comparison               length                        measure                baseline            (p value)             (p value)
                                                                 Other biases: change in                                                                                                        Boston: ⫺0.31
                                                                   rates before law                                                                                                               (1968–1987)
                                                                   adoption, population                                                                                                         Baltimore: ⫺1.41
                                                                   changes not                                                                                                                    (1968–1987)
                                                                   accounted for                                                                                                                Change in firearm-
                                                                                                                                                                                                  related suicides:
                                                                                                                                                                                                DC: ⫺0.47
                                                                                                                                                                                                  (1968–1990)
                                                                                                                                                                                                Memphis: 0.65
                                                                                                                                                                                                  (1968–1987)
                                                                                                                                                                                                Boston: 0.10
                                                                                                                                                                                                  (1968–1987)
                                                                                                                                                                                                Baltimore: 0.17
                                                                                                                                                                                                  (1968–1987)
                                                                                                                                                                                                Change in non–
                                                                                                                                                                                                  firearm-related
                                                                                                                                                                                                  suicides:
                                                                                                                                                                                                DC: ⫺0.33
                                                                                                                                                                                                  (1968–1990)
                                                                                                                                                                                                Memphis: 0.30
                                                                                                                                                                                                  (1968–1987)
                                                                                                                                                                                                Boston: ⫺0.26
                                                                                                                                                                                                  (1968–1987)
                                                                                                                                                                                                Baltimore: ⫺0.62
                                                                                                                                                                                                  (1968–1987)

                                                                 Roth (1999)5                 Intervention: Federal      1980–1995                   Percentage difference   None reported      States (n⫽15) that had Relative percent
                                                                 Greatest: time series          Violent Crime Control    USA, 42 states                between predicted and                      no similar assault     change in firearm
                                                                   with comparison              and Law Enforcement      State as unit of analysis     observed firearm                           weapons ban before     homicide rates,
                                                                 Regression                     Act banning              n⫽42                          homicide rates                             and had prior ban      comparing states
                                                                 Fair (4)                       manufacture, transfer,   Sample characteristics:                                                  on juvenile handgun    with and without
                                                                 Description: minimal           and possession of          U.S. states,                                                           possession; New        similar weapons
                                                                   population                   certain semiautomatic      populations not                                                        York State excluded,   bans prior to
                                                                   description                  firearms and large-        described                                                              because of             federal ban;
                                                                 Outcome: ecological            capacity ammunition      Follow-up percent: NA,                                                   enactment of other     intervention and
                                                                   measurementb                 magazines, plus            statewide study                                                        firearms laws in       comparison states
                                                                 Follow-up: short follow-       restrictions on          Follow-up length: 1 yr                                                   same period: ⫺6.7      had prior bans on
                                                                   up period                    firearms dealer                                                                                   (NS)                   juvenile handgun
                                                                 Confounding: no                licensing and age of                                                                                                     possession; NY
                                                                   control for some             gun acquisition                                                                                                          and CA excluded
                                                                   important                    (1994)
                                                                   confounders                                                                       Exhibit 17
                                                                                                                                                                                                                        (continued on next page)
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                             Table A1. (continued)
                                                                                   Study period
                             Author & year                                         Location
                                                                                                                                                           Results
                             Design suitability: design                            Unit of analysis
                             Type of analysis             Intervention; additional Sample size
                             Quality of execution         intervention components Sample characteristics
                             (# of limitations)           when used (date)         Follow-up percent and         Reported effect           Reported             Reported effect        Value used in review
                             Specific limitations         Comparison               length                        measure                   baseline             (p value)              (p value)
                                                          Control: states that had                                                                                                       from comparison
                                                            similar laws before                                                                                                          because of
                                                            1994                                                                                                                         enactment of
                                                                                                                                                                                         other firearms
                                                                                                                                                                                         laws in same
                                                                                                                                                                                         period: ⫺6.7 (NS)

                             Vernick (1999)6          Intervention: MD law           1985–1996/1997              Relative percent of        Baltimore, before   Ratio of percent of    Relative percent
                             Moderate: retrospective    banning manufacture          Location: Baltimore           banned crime gun           the law: 13.6%      banned crime gun       change in
                               design with              and sale of Saturday           and 15 comparison           trace requests (process Other cities           trace requests         proportion of
                               comparison               night specials (passed,        cities                      by which law               before the law:     among all gun trace    crime guns used
                             Pre–post proportions of    1988, effective 1990)        City as unit of analysis,     enforcement identifies     17.6%               requests in other      between July 1996
                               requests for traces of Control: 15 YCGII cities         n⫽16                        source of weapon)                              cities compared with   and April 1997
                               crime firearms;          without such a law           Population                    among all gun trace                            Baltimore, after the   that were traced
                               proportions of                                          characteristics not         requests in other cities                       law, controlling for   to purchase dates
                               banned guns traced to                                   provided                    compared with                                  some confounders:      before and after
                               purchase year pre-                                    Follow-up percent: NA         Baltimore, after the                           2.3 (p value ⬍0.05)    the ban, in
                               and post-ban in ban                                   Follow-up length: 12 yr       law, controlling for                                                  Baltimore and
                               and non-ban cities                                      retrospective               confounders                                                           comparison cities:
                             Fair (4)                                                                                                                                                    ⫺107.6 (p value
                             Description: minimal                                                                                                                                        NA)
                               population
                               description
                             Sampling: convenience
                               sample of 16 cities in
                               YCGII, excluding
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                               Washington, DC
                             Outcome: ecological
                               measurementb
                             Confounding: no
                               control for some
                               important
                               confounders

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                                                                                                                        Study period
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                                                                 Author & year                                          Location
                                                                                                                                                                                                           Results
                                                                 Design suitability: design                             Unit of analysis
                                                                 Type of analysis              Intervention; additional Sample size
                                                                 Quality of execution          intervention components Sample characteristics
                                                                 (# of limitations)            when used (date)         Follow-up percent and              Reported effect               Reported               Reported effect             Value used in review
                                                                 Specific limitations          Comparison               length                             measure                       baseline               (p value)                   (p value)
                                                                 Weil (1997)7                  Intervention: MD law          1989–1995                     Difference between        None reported              Expected number of          Relative percent
                                                                 Moderate: time-series           banning sales of            Location: Baltimore,            expected and actual                                  assault guns                change:
                                                                   with no comparison            assault pistols and           MD                            number of assault                                    recovered: 52.5             ⫺55.0
                                                                 Regression                      high-capacity               Baltimore (data from            guns recovered in first                            Actual number of              (p⫽0.018)
                                                                 Fair (4)                        ammunition                    first 6 months of             6 months of 1995                                     assault guns
                                                                 Description: population         magazines (1994)              each year) as unit of                                                              recovered: 24
                                                                 Outcome: ecological           Comparison: no separate         analysis                                                                         55% reduction
                                                                   measurementb                  control population,         Population                                                                           (p⫽0.018)
                                                                 Follow-up: short follow-        before-and-after              characteristics not
                                                                   up period                     comparison only               provided
                                                                 Confounding: no                                             Follow-up percent: NA;
                                                                   control for some                                            regionwide study
                                                                   important                                                 Follow-up length: 6
                                                                   confounders                                                 months
                                                                 a
                                                                  Publications excluded because they report on the same intervention in the same population were: Jones ED. The District of Columbia’s “Firearms Control Regulation Act of 1975”: the toughest
                                                                 handgun control law in the United States— or is it? Ann Am Acad Political Social Sci 1981;455:138 – 49; and Nicholson R, Garner A. The Analysis of the Firearms Control Act of 1975: Handgun Control
                                                                 in the District of Columbia. Washington DC: U.S. Conference of Mayors, 1980.
                                                                 b
                                                                   In ecological measurement, exposures and outcomes are measured in the same population, but it cannot be determined whether those in the population who are exposed are also those with
                                                                 the outcome (or whether those in the population who are not exposed are also those without the outcome), and thus, whether exposure and outcome are associated.
                                                                 ARIMA, autoregressive integrated moving average; DC, Washington DC; FBI, Federal Bureau of Investigation; MD, Maryland; NCHS, National Center for Health Statistics; NA, not applicable or
                                                                 not available; NS, not statistically significant; SMSA, standard metropolitan statistical area; VA, Virginia; yr, year(s); YCGII, Youth Crime Gun Interdiction Initiative.




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 References for the Appendix                                         ments to evaluate firearm laws: comment on Britt et al.’s
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      time series designs for policy impact. Law Society Rev      5. Roth JA, Koper CS. Impacts of the 1994 Assault Weapons
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   2. Kleck G, Patterson EB. The impact of gun control and           Justice, 1999.
       gun ownership levels on violence rates. J Quantitative     6. Vernick JS, Webster DW, Hepburn LM. Effects of Mary-
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   3. Loftin C, McDowall D, Wiersma B, Cottey TJ. Effects of         crime guns. Inj Prev 1999;5:259 – 63.
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       cide in the District of Columbia. N Engl J Med 1991;325:      assault pistols and high-capacity magazines: estimating
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              EXHIBIT "18"




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